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Volume 25: Exhibits 348-377




                     No. 1:20-CV-03590-JEB
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              Exhibit 348
4/5/24, 12:18AM   Case 1:20-cv-03590-JEB          Document
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about. fb. com /news/2022/09/community-chats-on-messenger-and-facebook/

Introducing Community Chats: Connecting Your Community in
Real Time on Messenger and Facebook I Meta
By Loredana Crisan, Head of Messenger : 4-4 minutes : 9/13/2022


We've helped more than a billion people connect with loved ones in a trusted space on Messenger, and we
know that people want to engage in real time with larger communities over shared interests. Today, Mark
Zuckerberg announced we'll begin testing the ability for people to start Community Chats in Messenger in the
coming weeks, allowing people to create a Facebook Group, start chats and audio channels, and invite others
to join their new group all within the app. We'll also be expanding Community Chats to even more Facebook
Groups.



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                                                 Bay Area Biking          •
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                                        rr       Women Who Surf


                                         +       Create a community




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                   Visibility, Anyon0 can find this group, Only members
                   can see who's In the group and what tney pcs learn                  Leni Sitompul
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Community Chats let people connect more deeply with communities in real time around the topics they care
about in multiple formats, including text, audio and video. The experience seamlessly blends Messenger and
Facebook Groups to allow people to connect when, where and how they want. Admins can now start a
conversation about a topic and get in-the-moment responses instead of waiting for people to comment on a
post. And, rather than navigating multiple topics in a single Messenger group chat, the person who creates the
Community Chat can organize chats into categories so group members can easily find what's most interesting
to them. For example, a band's fan group could have a "Breaking News" category with chats dedicated to new
album drops, tour dates and group activities.




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                  Women Who Surf

                  General

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How It Works
Check out how Vanessa Yaeger, admin of the Women Who Surf Facebook Group, uses Community Chats to
bring her members together in real time for a spontaneous IRL meetup.

Admins can choose from several options to help their communities connect. They can start a chat for group
members around a specific topic, an event chat for an outing or meetup, a view-only broadcast chat for
admins to announce group-wide updates and an admin-only chat to collaborate with admins and moderators.
Admins can also create audio channels so group members can share live commentary or receive real-time
support. Participants also have the option to enable video once they're in the audio channel. For example, the
admin of a Facebook Group for chemistry students could create audio channels for study groups during finals
season, and participants can turn on video for live tutoring. Community Chats are only accessible to members
of a group. To learn more about how to use Community Chats, check out the Facebook Community Blog .


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                               Announcements                                            Pedals + Scoops
                  <            Bay Area Biking                               <          Event tomorrow ;ii 7 PM
                         Biking. Join chats you're
                         interested in and chat with                               Brando11

                         your fellow bay area bikers!                              Want to bike to get some
                                                                                   ice cream this weekend?
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                         will be made tn t his chat
                         such as IRL events. Stay
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                         More trail s in East Bay are
                         opening up                                                Works for me!
                         nbsbayarea.com

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                                                     eyes on this please?

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                                                     I was about to ask the same thing!
                                                     Seen a few of these types lately...




Given the more public nature of Community Chats, we've developed a robust suite of tools to help admins
easily manage both chat and audio experiences. This includes moderation capabilities like blocking, muting
or suspending group members, and removing members or messages, as well as Admin Assist, which allows
admins to set custom criteria that will automatically suspend users, remove reported messages, and stop
messages from ineligible authors or containing violating content from being sent. Members of Community Chats
can also report messages to group admins or Meta, block users or leave a chat at any time. Learn more about
privacy and safety controls in Community Chats.


What's Next
We're committed to building messaging experiences that help people connect with their communities, friends
and families. As Community Chats rolls out to more people and groups around the world, we'll continue
exploring new features and capabilities to make it easier to connect with one another.


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     (9 WhatsApp                                WHATSAPP WEB    FEATURES   DOWNLOAD      SECURITY         HELP CENTER         @ EN.




                                    TEXTS                                                     GROUP CHAT

         Simple, Reliable Messaging                                             Groups to keep in touch
               Message your friends and family for free*.                       Keep in touch with the groups of people that
                 WhatsApp uses your phone's Internet                            matter the most, like your family or coworkers.
               connection to send messages so you can                             With group chats, you can share messages,
                           avoid SMS fees                                        photos, and videos with up to 256 people at
                                                                                 once. You can also name your group, mute or
                                                                                      customize notifications, and more.
                             •                       •


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                                                                                                            FRIENDS


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                     -   ,   OMG hahaha, she'S1he
                     cutest! How is the trip?
                                                                                          FAMILY




                                                                                                           WEEKEND




      * Data charges may apply. Contact your provider for details.


                                                                                WHAT SAPP ON WEB AND DESKTOP

                                                                             Keep the Conversation Going
                                                                                 With WhatsApp on the web and desktop, you
                                                                                 can seamlessly sync all of your chats to your
           WHATSAPP VOICE AND VIDEO CALLS                                         computer so that you can chat on whatever
                                                                                 device is most convenient for you Download
                         Speak Freely                                           the desktop app or visit webwhatsapp com to
                                                                                                 get started
              With voice calls, you can talk to your friends
             and family for free*, even if they're in another
              country. And with free* video calls, you can
              have face-to-face conversations for when
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            voice or text just isn't enough WhatsApp voice                               r ·-       •- - • .
                                                                                                    :--·-·
               and video calls use your phone's Internet
             connection, instead of your cell plan's voice                                          -·- .
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               minutes, so you don't have to worry about
                       expensive calling charges
                                                                                                     -~
      * Data charges may apply Contact your provider for details.




                                                                         END-TO-END ENCRYPTION

                                                                        Security by Default

                     PHOTOS AND VIDEOS                                Some of your most personal moments are
                                                                      shared on WhatsApp, which is why we built
         Share Moments that Matter                                  end-to-end encryption into the latest versions
                                                                     of our app When end-to-end encrypted, your
                 Send photos and videos on WhatsApp                   messages and ca Ils are secured so only you
             instantly. You can even capture the moments            and the person you're communicating with can
            that matter to you most with a built-in camera.         read or listen to them, and nobody in between,
                With WhatsApp, photos and videos send                             not even WhatsApp
              quickly even if you're on a slow connection.




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                          DOCUMENTS

       Document Sharing Made Easy

                 Send PDFs, documents, spreadsheets,
              slideshows and more, without the hassle of
                                                                              VOICE MESSAGES
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             documents up to 100 MB, so it's easy to get
                what you need over to who you want.
                                                                                                                             Say What's On Your Mind
                                                                                                                             Sometimes, your voice says it all With just one
                                                                                                                              tap you can record a Voice Message, perfect
                                                                                                                                    for a quick hello or a longer story.
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          WHATS APP                                                                   COMPANY                      DOWNLOAD                   HELP


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          Security                                                                    Careers                      Android                    Twitter
          Download                                                                    Brand Center                 iPhone                     Facebook
          WhatsApp Web                                                                Get in touch                                            Coronavirus
          Business                                                                    Blog
          Privacy                                                                     WhatsApp Stories




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    OO Meta




      Business App


      Built with the small business owner in
      mind
      Connect with your customers and showcase your products from an easy to use
      app.




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                              Why businesses choose the WhatsApp Business App


         Use the app to communicate one-on-one
           with your customers throughout their
         purchase process, so they can shop with
                       confidence.


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          Earn Trust
          Make a great first impression with a business profile that provides helpful
          information for your customers in one place.




          Showcase Your Products
          Show people all that your business has to offer and simplify the shopping
          experience for your customers.




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          Respond with Ease
          Greet people the moment they start a conversation and respond to messages
          even when you’re away so your customers always feel seen and heard.




          ____
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          Build Relationships
          Respond instantly to incoming messages, assist sales and manage your
          customer communication.


           0 Learn more




          ____
          Increase Sales
          Make transactions easier with special features that help you showcase your
          products and services, set prices and share items with customers in just a few

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           0 Learn more




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          ____
          Attract New Customers
          Drive the discovery of your business and encourage engagement with new
          customers to help grow sales.
          0




                   Learn more




       Success Stories

       See how the WhatsApp Business
       app is helping businesses like
       yours get more out of meaningful
       customer connections.
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                                           Download app
                       The WhatsApp Business App offers a more personal customer
                            experience so you can better run your business.




       '-' WhatsApp Business

      Trust & Safety

      Become a Partner

      Help

      Terms and Conditions

      Data Policy




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      2022 © WhatsApp Business




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                        WhatsApp Blog



                    Introducing WhatsApp Channels. A Private Way to
                    Follow What Matters
                    Today we're excited to introduce Channels: a simple, reliable, and private way to receive important
                    updates from people and organizations, right within WhatsApp. We're building Channels in a new
                    tab called Updates - where you'll find Status and channels you choose to follow - separate from
                    your chats with family, friends, and communities.

                    Channels are a one-way broadcast tool for admins to send text, photos, videos, stickers, and polls.
                    To help you select channels to follow, we're building a searchable directory where you can find
                    your hobbies, sports teams, updates from local officials, and more. You can also get to a channel
                    from invite links sent in chats, e-mail, or posted online.



                                                              WhatsApp Channels:
                                                       A private way to follow what matters
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                    We're aspiring to build the most private broadcast service available. This starts by protecting the
                    personal information of both admins and followers. As a channel admin, your phone number and
                    profile photo won't be shown to followers. Likewise, following a channel won't reveal your phone
                    number to the admin or other followers. Who you decide to follow is your choice and it's private.

                    Similar to how we build messaging, we don't believe Channel updates should have to stick around
                    forever. So we'll only store channel history on our servers for up to 30 days and we'll add ways to
                    make updates disappear even faster from follower's devices. Admins will also have the option to
                    block screenshots and forwards from their channel.

                    Lastly, we'll make it possible for admins to decide who can follow their channel and whether they
                    want their channel to be discoverable in the directory or not. Given the aim of Channels is to reach
                    a wide audience, channels are not end-to-end encrypted by default. We do think there are some
                    cases where end-to-end encrvoted channels to a limited audience mioht make sense. such as a
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                    non profit or health organization, and we're exploring this as a future option as well.

                    To kick off Channels, we're excited to work with leading global voices and select organizations in
                    Colombia and Singapore, where Channels will first be available, to build, learn, and adapt the
                    experience. We'll bring Channels to more countries and the ability for anyone to create a channel
                    over the coming months.

                    We also believe there is an opportunity to support admins with a way for them to build a business
                    around their channel using our expanding payment services as well as the ability to promote
                    certain channels in the directory to help increase awareness.

                    Naturally, the core of how people use WhatsApp will continue to be private messaging among
                    friends, family, and communities, and that will always be our first priority. Building channels is a big
                    step our users have asked us to take for years. We think the time is finally right to introduce a
                    simple, reliable, and private broadcast tool and we hope you enjoy using it in the months and years
                    to come.




                                                                                                        titMI !tl&ii
                     June 8, 2023




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   (9whatsApp
                                       Features                 About us                Android                 Contact Us

                                       Blog                     Careers                 iPhone                  Help Center

                                       Security                 Brand Center            Mac/PC                  Coronavirus
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                                  FACE BOOK
                                   Annual Report 2019
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                                                              UNITED STATES
                                                  SECURITIES AND EXCHANGE COMMISSION
                                                           Washington, D.C. 20549
                                                                          __________________________

                                                                             FORM 10-K
                                                                          __________________________
      (Mark One)
      ☒ ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                       For the fiscal year ended December 31, 2019
                                                             or
      ☐ TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                        For the transition period from      to
                                          Commission File Number: 001-35551
                                                                          __________________________


                                                                     Facebook, Inc.
                                                           (Exact name of registrant as specified in its charter)
                                                                          __________________________

                                            Delaware                                                                     XX-XXXXXXX
                   (State or other jurisdiction of incorporation or organization)                           (I.R.S. Employer Identification Number)

                                                             1601 Willow Road, Menlo Park, California 94025
                                                               (Address of principal executive offices and Zip Code)
                                                                                    (650) 543-4800
                                                                (Registrant's telephone number, including area code)
                                                                          __________________________
                                                        Securities registered pursuant to Section 12(b) of the Act

                               Title of each class                              Trading symbol(s)              Name of each exchange on which registered
               Class A Common Stock, $0.000006 par value                                 FB                            The Nasdaq Stock Market LLC
                                                     Securities registered pursuant to Section 12(g) of the Act: None

Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☐ No ☒
Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ☐ No ☒
Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 (Exchange
Act) during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing
requirements for the past 90 days. Yes ☒ No ☐
Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation
S-T (§ 232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes ☒ No ☐
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or an emerging
growth company. See the definitions of "large accelerated filer," "accelerated filer," "smaller reporting company," and "emerging growth company" in Rule 12b-2
of the Exchange Act.

Large accelerated filer         ☒                                                                                                        Accelerated filer           ☐
Non-accelerated filer           ☐                                                                                                        Smaller reporting company   ☐
                                                                                                                                         Emerging growth company     ☐
If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or
revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐

Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes ☐                    No ☒

The aggregate market value of the voting and non-voting stock held by non-affiliates of the registrant as of June 28, 2019, the last business day of the
registrant's most recently completed second fiscal quarter, was $478 billion based upon the closing price reported for such date on the Nasdaq Global Select
Market. On January 23, 2020, the registrant had 2,405,745,740 shares of Class A common stock and 444,704,919 shares of Class B common stock outstanding.

                                                              DOCUMENTS INCORPORATED BY REFERENCE

Portions of the registrant's Proxy Statement for the 2020 Annual Meeting of Stockholders are incorporated herein by reference in Part III of this Annual Report
on Form 10-K to the extent stated herein. Such proxy statement will be filed with the Securities and Exchange Commission within 120 days of the registrant's
fiscal year ended December 31, 2019.
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                                                   Facebook, Inc.
                                                    Form 10-K

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                                  NOTE ABOUT FORWARD-LOOKING STATEMENTS

       This Annual Report on Form 10-K contains forward-looking statements. All statements contained in this Annual Report
on Form 10-K other than statements of historical fact, including statements regarding our future results of operations and financial
position, our business strategy and plans, and our objectives for future operations, are forward-looking statements. The words
"believe," "may," "will," "estimate," "continue," "anticipate," "intend," "expect," and similar expressions are intended to identify
forward-looking statements. We have based these forward-looking statements largely on our current expectations and projections
about future events and trends that we believe may affect our financial condition, results of operations, business strategy, short-
term and long-term business operations and objectives, and financial needs. These forward-looking statements are subject to a
number of risks, uncertainties and assumptions, including those described in Part I, Item 1A, "Risk Factors" in this Annual
Report on Form 10-K. Moreover, we operate in a very competitive and rapidly changing environment. New risks emerge from
time to time. It is not possible for our management to predict all risks, nor can we assess the impact of all factors on our business
or the extent to which any factor, or combination of factors, may cause actual results to differ materially from those contained
in any forward-looking statements we may make. In light of these risks, uncertainties and assumptions, the future events and
trends discussed in this Annual Report on Form 10-K may not occur and actual results could differ materially and adversely
from those anticipated or implied in the forward-looking statements.

      We undertake no obligation to revise or publicly release the results of any revision to these forward-looking statements,
except as required by law. Given these risks and uncertainties, readers are cautioned not to place undue reliance on such forward-
looking statements.

       Unless expressly indicated or the context requires otherwise, the terms "Facebook," "company," "we," "us," and "our" in
this document refer to Facebook, Inc., a Delaware corporation, and, where appropriate, its wholly owned subsidiaries. The term
"Facebook" may also refer to our products, regardless of the manner in which they are accessed. The term "Family" refers to
our Facebook, Instagram, Messenger, and WhatsApp products. For references to accessing Facebook or our other products on
the "web" or via a "website," such terms refer to accessing such products on personal computers. For references to accessing
Facebook or our other products on "mobile," such term refers to accessing such products via a mobile application or via a mobile-
optimized version of our websites such as m.facebook.com, whether on a mobile phone or tablet.




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                                 LIMITATIONS OF KEY METRICS AND OTHER DATA

       The numbers for our key metrics are calculated using internal company data based on the activity of user accounts. We
have historically reported the numbers of our daily active users (DAUs), monthly active users (MAUs), and average revenue
per user (ARPU) (collectively, our "Facebook metrics") based on user activity only on Facebook and Messenger and not on our
other products. Beginning with this Annual Report on Form 10-K, we also are reporting our estimates of the numbers of our
daily active people (DAP), monthly active people (MAP), and average revenue per person (ARPP) (collectively, our "Family
metrics") based on the activity of users who visited at least one of Facebook, Instagram, Messenger, and WhatsApp (collectively,
our "Family" of products) during the applicable period of measurement. We believe our Family metrics better reflect the size
of our community and the fact that many people are using more than one of our products. As a result, over time we intend to
report our Family metrics as our key metrics in place of DAUs, MAUs, and ARPU in our periodic reports filed with the Securities
and Exchange Commission.

       While these numbers are based on what we believe to be reasonable estimates of our user base for the applicable period
of measurement, there are inherent challenges in measuring usage of our products across large online and mobile populations
around the world. The methodologies used to measure these metrics require significant judgment and are also susceptible to
algorithm or other technical errors. In addition, we are continually seeking to improve our estimates of our user base, and such
estimates may change due to improvements or changes in our methodology. We regularly review our processes for calculating
these metrics, and from time to time we discover inaccuracies in our metrics or make adjustments to improve their accuracy,
which can result in adjustments to our historical metrics. Our ability to recalculate our historical metrics may be impacted by
data limitations or other factors that require us to apply different methodologies for such adjustments. We generally do not intend
to update previously disclosed Family metrics for any such inaccuracies or adjustments that are within the error margins disclosed
below.

        In addition, our Facebook metrics and Family metrics estimates will differ from estimates published by third parties due
to differences in methodology.

Facebook Metrics

       We regularly evaluate our Facebook metrics to estimate the number of "duplicate" and "false" accounts among our MAUs.
A duplicate account is one that a user maintains in addition to his or her principal account. We divide "false" accounts into two
categories: (1) user-misclassified accounts, where users have created personal profiles for a business, organization, or non-
human entity such as a pet (such entities are permitted on Facebook using a Page rather than a personal profile under our terms
of service); and (2) violating accounts, which represent user profiles that we believe are intended to be used for purposes that
violate our terms of service, such as bots and spam. The estimates of duplicate and false accounts are based on an internal review
of a limited sample of accounts, and we apply significant judgment in making this determination. For example, to identify
duplicate accounts we use data signals such as identical IP addresses and similar user names, and to identify false accounts we
look for names that appear to be fake or other behavior that appears inauthentic to the reviewers. Any loss of access to data
signals we use in this process, whether as a result of our own product decisions, actions by third-party browser or mobile
platforms, regulatory or legislative requirements, or other factors, also may impact the stability or accuracy of our estimates of
duplicate and false accounts. Our estimates also may change as our methodologies evolve, including through the application of
new data signals or technologies or product changes that may allow us to identify previously undetected duplicate or false
accounts and may improve our ability to evaluate a broader population of our users. Duplicate and false accounts are very difficult
to measure at our scale, and it is possible that the actual number of duplicate and false accounts may vary significantly from our
estimates.

       In the fourth quarter of 2019, we estimated that duplicate accounts may have represented approximately 11% of our
worldwide MAUs. We believe the percentage of duplicate accounts is meaningfully higher in developing markets such as the
Philippines and Vietnam, as compared to more developed markets. In the fourth quarter of 2019, we estimated that false accounts
may have represented approximately 5% of our worldwide MAUs. Our estimation of false accounts can vary as a result of
episodic spikes in the creation of such accounts, which we have seen originate more frequently in specific countries such as
Indonesia and Vietnam. From time to time, we disable certain user accounts, make product changes, or take other actions to
reduce the number of duplicate or false accounts among our users, which may also reduce our DAU and MAU estimates in a
particular period. We intend to disclose our estimates of the number of duplicate and false accounts among our MAUs on an
annual basis.


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       The numbers of DAUs and MAUs discussed in this Annual Report on Form 10-K, as well as ARPU, do not include users
on Instagram, WhatsApp, or our other products, unless they would otherwise qualify as DAUs or MAUs, respectively, based
on their other activities on Facebook.

Family Metrics

        Many people in our community have user accounts on more than one of our products, and some people have multiple
user accounts within an individual product. Accordingly, for our Family metrics, we do not seek to count the total number of
user accounts across our products because we believe that would not reflect the actual size of our community. Rather, our Family
metrics represent our estimates of the number of unique people using at least one of Facebook, Instagram, Messenger, and
WhatsApp. We do not require people to use a common identifier or link their accounts to use multiple products in our Family,
and therefore must seek to attribute multiple user accounts within and across products to individual people. To calculate these
metrics, we rely upon complex techniques, algorithms and machine learning models that seek to count the individual people
behind user accounts, including by matching multiple user accounts within an individual product and across multiple products
when we believe they are attributable to a single person, and counting such group of accounts as one person. These techniques
and models require significant judgment, are subject to data and other limitations discussed below, and inherently are subject
to statistical variances and uncertainties. We estimate the potential error in our Family metrics primarily based on user survey
data, which itself is subject to error as well. While we expect the error margin for our Family metrics to vary from period to
period, we estimate that such margin generally will be approximately 3% of our worldwide MAP. At our scale, it is very difficult
to attribute multiple user accounts within and across products to individual people, and it is possible that the actual numbers of
unique people using our products may vary significantly from our estimates, potentially beyond our estimated error margins.
As a result, it is also possible that our Family metrics may indicate changes or trends in user numbers that do not match actual
changes or trends.

        To calculate our estimates of Family DAP and MAP, we currently use a series of machine learning models that are
developed based on internal reviews of limited samples of user accounts and calibrated against user survey data. We apply
significant judgment in designing these models and calculating these estimates. For example, to match user accounts within
individual products and across multiple products, we use data signals such as similar device information, IP addresses, and user
names. We also calibrate our models against data from periodic user surveys of varying sizes and frequency across our products,
which are inherently subject to error. In addition, our data limitations may affect our understanding of certain details of our
business and increase the risk of error for our Family metrics estimates. Our techniques and models rely on a variety of data
signals from different products, and we rely on more limited data signals for some products compared to others. For example,
as a result of limited visibility into encrypted products, we have fewer data signals from WhatsApp user accounts and primarily
rely on phone numbers and device information to match WhatsApp user accounts with accounts on our other products. Similarly,
although Messenger Kids users are included in our Family metrics, we do not seek to match their accounts with accounts on our
other applications for purposes of calculating DAP and MAP. Any loss of access to data signals we use in our process for
calculating Family metrics, whether as a result of our own product decisions, actions by third-party browser or mobile platforms,
regulatory or legislative requirements, or other factors, also may impact the stability or accuracy of our reported Family metrics.
Our estimates of Family metrics also may change as our methodologies evolve, including through the application of new data
signals or technologies, product changes, or other improvements in our user surveys, algorithms, or machine learning that may
improve our ability to match accounts within and across our products or otherwise evaluate the broad population of our users.
In addition, such evolution may allow us to identify previously undetected violating accounts (as defined below).

       We regularly evaluate our Family metrics to estimate the percentage of our MAP consisting solely of "violating" accounts.
We define "violating" accounts as accounts which we believe are intended to be used for purposes that violate our terms of
service, including bots and spam. In the fourth quarter of 2019, we estimated that approximately 3% of our worldwide MAP
consisted solely of violating accounts. Such estimation is based on an internal review of a limited sample of accounts, and we
apply significant judgment in making this determination. For example, we look for account information and behaviors associated
with Facebook and Instagram accounts that appear to be inauthentic to the reviewers, but we have limited visibility into WhatsApp
user activity due to encryption. In addition, if we believe an individual person has one or more violating accounts, we do not
include such person in our violating accounts estimation as long as we believe they have one account that does not constitute a
violating account. From time to time, we disable certain user accounts, make product changes, or take other actions to reduce
the number of violating accounts among our users, which may also reduce our DAP and MAP estimates in a particular period.
We intend to disclose our estimates of the percentage of our MAP consisting solely of violating accounts on an annual basis.
Violating accounts are very difficult to measure at our scale, and it is possible that the actual number of violating accounts may
vary significantly from our estimates.

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       The numbers of Family DAP and MAP discussed in this Annual Report on Form 10-K, as well as ARPP, do not include
users on our other products, unless they would otherwise qualify as DAP or MAP, respectively, based on their other activities
on our Family products.

User Geography

        Our data regarding the geographic location of our users is estimated based on a number of factors, such as the user's IP
address and self-disclosed location. These factors may not always accurately reflect the user's actual location. For example, a
user may appear to be accessing Facebook from the location of the proxy server that the user connects to rather than from the
user's actual location. The methodologies used to measure our metrics are also susceptible to algorithm or other technical errors,
and our estimates for revenue by user location and revenue by user device are also affected by these factors.




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PART I

Item 1. Business

Overview

      Our mission is to give people the power to build community and bring the world closer together.

       We build useful and engaging products that enable people to connect and share with friends and family through mobile
devices, personal computers, virtual reality headsets, and in-home devices. We also help people discover and learn about what
is going on in the world around them, enable people to share their opinions, ideas, photos and videos, and other activities with
audiences ranging from their closest family members and friends to the public at large, and stay connected everywhere by
accessing our products, including:

       •     Facebook. Facebook enables people to connect, share, discover, and communicate with each other on mobile devices
             and personal computers. There are a number of different ways to engage with people on Facebook, including News
             Feed, Stories, Marketplace, and Watch.

       •     Instagram. Instagram brings people closer to the people and things they love. It is a place where people can express
             themselves through photos, videos, and private messaging, including through Instagram Feed and Stories, and
             explore their interests in businesses, creators and niche communities.

       •     Messenger. Messenger is a simple yet powerful messaging application for people to connect with friends, family,
             groups, and businesses across platforms and devices.

       •     WhatsApp. WhatsApp is a simple, reliable, and secure messaging application that is used by people and businesses
             around the world to communicate in a private way.

       •     Oculus. Our hardware, software, and developer ecosystem allows people around the world to come together and
             connect with each other through our Oculus virtual reality products.

       We generate substantially all of our revenue from selling advertising placements to marketers. Our ads enable marketers
to reach people based on a variety of factors including age, gender, location, interests, and behaviors. Marketers purchase ads
that can appear in multiple places including on Facebook, Instagram, Messenger, and third-party applications and websites.

       We are also investing heavily in other consumer hardware products and a number of longer-term initiatives, such as
augmented reality, artificial intelligence (AI), and connectivity efforts, to develop technologies that we believe will help us better
serve our mission over the long run.

Competition

       Our business is characterized by innovation, rapid change, and disruptive technologies. We compete with companies that
sell advertising, as well as with companies that provide social, media, and communication products and services that are designed
to engage users on mobile devices and online. We face significant competition in every aspect of our business, including from
companies that facilitate communication and the sharing of content and information, companies that enable marketers to display
advertising, companies that distribute video and other forms of media content, and companies that provide development platforms
for applications developers. We compete to attract, engage, and retain people who use our products, to attract and retain marketers,
and to attract and retain developers to build compelling mobile and web applications that integrate with our products.

       We also compete with the following:

       •     Companies that offer products across broad platforms that replicate capabilities we provide. For example, among
             other areas, we compete with Apple in messaging, Google and YouTube in advertising and video, Tencent and Snap
             in messaging and social media, Bytedance and Twitter in social media, and Amazon in advertising.

       •     Companies that provide regional social networks and messaging products, many of which have strong positions in

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             particular countries.

       •     Traditional, online, and mobile businesses that provide media for marketers to reach their audiences and/or develop
             tools and systems for managing and optimizing advertising campaigns.

       •     Companies that develop and deliver consumer hardware and virtual reality products and services.

       As we introduce or acquire new products, as our existing products evolve, or as other companies introduce new products
and services, we may become subject to additional competition.

Technology

       Our product development philosophy is centered on continuous innovation in creating and improving products that are
social by design, which means that our products are designed to place people and their social interactions at the core of the
product experience. As our user base grows, as engagement with products like video increases, and as we deepen our investment
in new technologies like AI, our computing needs continue to expand. We make significant investments in technology both to
improve our existing products and services and to develop new ones, as well as for our marketers and developers. We are also
investing in protecting the security, privacy, and integrity of our platform by investing in both people and technology to strengthen
our systems against abuse.

Sales and Operations

       The majority of our marketers use our self-service ad platform to launch and manage their advertising campaigns. We
also have a global sales force that is focused on attracting and retaining advertisers and providing support to them throughout
the stages of the marketing cycle from pre-purchase decision-making to real-time optimizations to post-campaign analytics. We
work directly with these advertisers, as well as through advertising agencies and resellers. We operate more than 70 offices
around the globe, the majority of which have a sales presence. We also invest in and rely on self-service tools to provide direct
customer support to our users and partners.

Marketing

      Historically, our communities have generally grown organically with people inviting their friends to connect with them,
supported by internal efforts to stimulate awareness and interest. In addition, we have invested and will continue to invest in
marketing our products and services to grow our brand and help build community around the world.

Intellectual Property

       To establish and protect our proprietary rights, we rely on a combination of patents, trademarks, copyrights, trade secrets,
including know-how, license agreements, confidentiality procedures, non-disclosure agreements with third parties, employee
disclosure and invention assignment agreements, and other contractual rights. In addition, to further protect our proprietary
rights, from time to time we have purchased patents and patent applications from third parties. We do not believe that our
proprietary technology is dependent on any single patent or copyright or groups of related patents or copyrights. We believe the
duration of our patents is adequate relative to the expected lives of our products.

Government Regulation

        We are subject to a variety of laws and regulations in the United States and abroad that involve matters central to our
business. Many of these laws and regulations are still evolving and being tested in courts, and could be interpreted in ways that
could harm our business. These may involve privacy, data protection and personal information, rights of publicity, content,
intellectual property, advertising, marketing, distribution, data security, data retention and deletion, electronic contracts and other
communications, competition, protection of minors, consumer protection, telecommunications, product liability, taxation,
economic or other trade prohibitions or sanctions, anti-corruption law compliance, securities law compliance, and online payment
services. In particular, we are subject to federal, state, and foreign laws regarding privacy and protection of people's data. Foreign
data protection, privacy, content, competition, and other laws and regulations can impose different obligations or be more
restrictive than those in the United States. U.S. federal and state and foreign laws and regulations, which in some cases can be
enforced by private parties in addition to government entities, are constantly evolving and can be subject to significant change.
As a result, the application, interpretation, and enforcement of these laws and regulations are often uncertain, particularly in the

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new and rapidly evolving industry in which we operate, and may be interpreted and applied inconsistently from country to
country and inconsistently with our current policies and practices.

       Proposed or new legislation and regulations could also significantly affect our business. For example, the European
General Data Protection Regulation (GDPR) took effect in May 2018 and applies to all of our products and services used by
people in Europe. The GDPR includes operational requirements for companies that receive or process personal data of residents
of the European Union that are different from those previously in place in the European Union, and includes significant penalties
for non-compliance. The Brazilian General Data Protection Law will impose requirements similar to GDPR on products and
services offered to users in Brazil, effective in August 2020. The California Consumer Privacy Act, which took effect in January
2020, also establishes certain transparency rules and creates new data privacy rights for users. Similarly, there are a number of
legislative proposals in the European Union, the United States, at both the federal and state level, as well as other jurisdictions
that could impose new obligations or limitations in areas affecting our business, such as liability for copyright infringement. In
addition, some countries are considering or have passed legislation implementing data protection requirements or requiring local
storage and processing of data or similar requirements that could increase the cost and complexity of delivering our services.

       We are, and expect to continue to be, the subject of investigations, inquiries, data requests, requests for information,
actions, and audits by government authorities and regulators in the United States, Europe, and around the world, particularly in
the areas of privacy, data protection, law enforcement, consumer protection, and competition, as we continue to grow and expand
our operations. We are currently, and may in the future be, subject to regulatory orders or consent decrees, including the modified
consent order we entered into in July 2019 with the U.S. Federal Trade Commission (FTC) which is pending federal court
approval and which, among other matters, will require us to implement a comprehensive expansion of our privacy program.
Orders issued by, or inquiries or enforcement actions initiated by, government or regulatory authorities could cause us to incur
substantial costs, expose us to unanticipated civil and criminal liability or penalties (including substantial monetary remedies),
interrupt or require us to change our business practices in a manner materially adverse to our business, divert resources and the
attention of management from our business, or subject us to other remedies that adversely affect our business.

Employees

      As of December 31, 2019, we had 44,942 employees.

Corporate Information

      We were incorporated in Delaware in July 2004. We completed our initial public offering in May 2012 and our Class A
common stock is listed on The Nasdaq Global Select Market under the symbol "FB." Our principal executive offices are located
at 1601 Willow Road, Menlo Park, California 94025, and our telephone number is (650) 543-4800.

       Facebook, the Facebook logo, FB, the Like button, Instagram, Oculus, WhatsApp, and our other registered or common
law trademarks, service marks, or trade names appearing in this Annual Report on Form 10-K are the property of Facebook,
Inc. or its affiliates. Other trademarks, service marks, or trade names appearing in this Annual Report on Form 10‑K are the
property of their respective owners.

Available Information

       Our website address is www.facebook.com. Our Annual Reports on Form 10-K, Quarterly Reports on Form 10-Q, Current
Reports on Form 8-K, and amendments to reports filed pursuant to Sections 13(a) and 15(d) of the Securities Exchange Act of
1934, as amended (Exchange Act), are filed with the U.S. Securities and Exchange Commission (SEC). We are subject to the
informational requirements of the Exchange Act and file or furnish reports, proxy statements, and other information with the
SEC. Such reports and other information filed by us with the SEC are available free of charge on our website at investor.fb.com
when such reports are available on the SEC's website. We use our investor.fb.com and newsroom.fb.com websites as well as
Mark Zuckerberg's Facebook Page (https://www.facebook.com/zuck) as means of disclosing material non-public information
and for complying with our disclosure obligations under Regulation FD.

       The SEC maintains an Internet site that contains reports, proxy and information statements, and other information regarding
issuers that file electronically with the SEC at www.sec.gov.

       The contents of the websites referred to above are not incorporated into this filing. Further, our references to the URLs
for these websites are intended to be inactive textual references only.

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Item 1A. Risk Factors

Certain factors may have a material adverse effect on our business, financial condition, and results of operations. You should
consider carefully the risks and uncertainties described below, in addition to other information contained in this Annual Report
on Form 10-K, including our consolidated financial statements and related notes. The risks and uncertainties described below
are not the only ones we face. Additional risks and uncertainties that we are unaware of, or that we currently believe are not
material, may also become important factors that adversely affect our business. If any of the following risks actually occurs,
our business, financial condition, results of operations, and future prospects could be materially and adversely affected. In that
event, the trading price of our Class A common stock could decline, and you could lose part or all of your investment.

Risks Related to Our Business and Industry

If we fail to retain existing users or add new users, or if our users decrease their level of engagement with our products, our
revenue, financial results, and business may be significantly harmed.

        The size of our user base and our users' level of engagement are critical to our success. Our financial performance has
been and will continue to be significantly determined by our success in adding, retaining, and engaging active users of our
products, particularly for Facebook and Instagram. We anticipate that our active user growth rate will generally decline over
time as the size of our active user base increases, and we expect that the size of our active user base will fluctuate or decline in
one or more markets from time to time, particularly in markets where we have achieved higher penetration rates. For example,
in the fourth quarter of 2017, we experienced a slight decline on a quarter-over-quarter basis in the number of daily active users
on Facebook in the United States & Canada region. If people do not perceive our products to be useful, reliable, and trustworthy,
we may not be able to attract or retain users or otherwise maintain or increase the frequency and duration of their engagement.
A number of other social networking companies that achieved early popularity have since seen their active user bases or levels
of engagement decline, in some cases precipitously. There is no guarantee that we will not experience a similar erosion of our
active user base or engagement levels. Our user engagement patterns have changed over time, and user engagement can be
difficult to measure, particularly as we introduce new and different products and services. Any number of factors can negatively
affect user retention, growth, and engagement, including if:

    •         users increasingly engage with other competitive products or services;

    •         we fail to introduce new features, products or services that users find engaging or if we introduce new products or
              services, or make changes to existing products and services, that are not favorably received;

    •         users feel that their experience is diminished as a result of the decisions we make with respect to the frequency,
              prominence, format, size, and quality of ads that we display;

    •         users have difficulty installing, updating, or otherwise accessing our products on mobile devices as a result of
              actions by us or third parties that we rely on to distribute our products and deliver our services;

    •         user behavior on any of our products changes, including decreases in the quality and frequency of content shared
              on our products and services;

    •         we are unable to continue to develop products for mobile devices that users find engaging, that work with a variety
              of mobile operating systems and networks, and that achieve a high level of market acceptance;

    •         there are decreases in user sentiment due to questions about the quality or usefulness of our products or our user
              data practices, or concerns related to privacy and sharing, safety, security, well-being, or other factors;

    •         we are unable to manage and prioritize information to ensure users are presented with content that is appropriate,
              interesting, useful, and relevant to them;

    •         we are unable to obtain or attract engaging third-party content;

    •         we are unable to successfully maintain or grow usage of and engagement with mobile and web applications that
              integrate with Facebook and our other products;

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    •        users adopt new technologies where our products may be displaced in favor of other products or services, or may
             not be featured or otherwise available;

    •        there are changes mandated by legislation, regulatory authorities, or litigation that adversely affect our products
             or users;

    •        there is decreased engagement with our products, or failure to accept our terms of service, as part of changes that
             we implemented in connection with the General Data Protection Regulation (GDPR) in Europe, other similar
             changes that we implemented in the United States and around the world, or other changes we have implemented
             or may implement in the future in connection with other regulations, regulatory actions or otherwise;

    •        technical or other problems prevent us from delivering our products in a rapid and reliable manner or otherwise
             affect the user experience, such as security breaches or failure to prevent or limit spam or similar content;

    •        we adopt terms, policies, or procedures related to areas such as sharing, content, user data, or advertising that are
             perceived negatively by our users or the general public;

    •        we elect to focus our product decisions on longer-term initiatives that do not prioritize near-term user growth and
             engagement;

    •        we make changes in how we promote different products and services across our family of products;

    •        initiatives designed to attract and retain users and engagement are unsuccessful or discontinued, whether as a result
             of actions by us, third parties, or otherwise;

    •        third-party initiatives that may enable greater use of our products, including low-cost or discounted data plans, are
             discontinued;

    •        there is decreased engagement with our products as a result of taxes imposed on the use of social media or other
             mobile applications in certain countries, internet shutdowns, or other actions by governments that affect the
             accessibility of our products in their countries;

    •        we fail to provide adequate customer service to users, marketers, developers, or other partners;

    •        we, developers whose products are integrated with our products, or other partners and companies in our industry
             are the subject of adverse media reports or other negative publicity, including as a result of our or their user data
             practices; or

    •        our current or future products, such as our development tools and application programming interfaces that enable
             developers to build, grow, and monetize mobile and web applications, reduce user activity on our products by
             making it easier for our users to interact and share on third-party mobile and web applications.

       From time to time, certain of these factors have negatively affected user retention, growth, and engagement to varying
degrees. If we are unable to maintain or increase our user base and user engagement, our revenue and financial results may be
adversely affected. Any decrease in user retention, growth, or engagement could render our products less attractive to users,
marketers, and developers, which is likely to have a material and adverse impact on our revenue, business, financial condition,
and results of operations. If our active user growth rate continues to slow, we will become increasingly dependent on our ability
to maintain or increase levels of user engagement and monetization in order to drive revenue growth.

We generate substantially all of our revenue from advertising. The loss of marketers, or reduction in spending by marketers,
could seriously harm our business.

       Substantially all of our revenue is currently generated from third parties advertising on Facebook and Instagram. As is
common in the industry, our marketers do not have long-term advertising commitments with us. Many of our marketers spend
only a relatively small portion of their overall advertising budget with us. Marketers will not continue to do business with us,

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or they will reduce the budgets they are willing to commit to us, if we do not deliver ads in an effective manner, or if they do
not believe that their investment in advertising with us will generate a competitive return relative to other alternatives. We have
recently implemented, and we will continue to implement, changes to our user data practices. Some of these changes reduce our
ability to effectively target ads, which has to some extent adversely affected, and will continue to adversely affect, our advertising
business. If we are unable to provide marketers with a suitable return on investment, the pricing of our ads may not increase, or
may decline, in which case our revenue and financial results may be harmed.

        Our advertising revenue can also be adversely affected by a number of other factors, including:

    •         decreases in user engagement, including time spent on our products;

    •         our inability to continue to increase user access to and engagement with our products;

    •         product changes or inventory management decisions we may make that change the size, format, frequency, or
              relative prominence of ads displayed on our products or of other unpaid content shared by marketers on our products;

    •         our inability to maintain or increase marketer demand, the pricing of our ads, or both;

    •         our inability to maintain or increase the quantity or quality of ads shown to users, including as a result of technical
              infrastructure constraints;

    •         user behavior or product changes that may reduce traffic to features or products that we successfully monetize,
              including as a result of our efforts to promote the Stories format or increased usage of our messaging products;

    •         reductions of advertising by marketers due to our efforts to implement advertising policies that protect the security
              and integrity of our platform;

    •         changes to third-party policies that limit our ability to deliver, target, or measure the effectiveness of advertising;

    •         the availability, accuracy, utility, and security of analytics and measurement solutions offered by us or third parties
              that demonstrate the value of our ads to marketers, or our ability to further improve such tools;

    •         loss of advertising market share to our competitors, including if prices to purchase our ads increase or if competitors
              offer lower priced, more integrated or otherwise more effective products;

    •         adverse government actions or legislative, regulatory, or other legal developments relating to advertising, including
              developments that may impact our ability to deliver, target, or measure the effectiveness of advertising;

    •         decisions by marketers to reduce their advertising as a result of adverse media reports or other negative publicity
              involving us, our user data practices, our advertising metrics or tools, content on our products, developers with
              mobile and web applications that are integrated with our products, or other companies in our industry;

    •         reductions of advertising by marketers due to objectionable content published on our products by third parties,
              questions about our user data practices, concerns about brand safety or potential legal liability, or uncertainty
              regarding their own legal and compliance obligations;

    •         the effectiveness of our ad targeting or degree to which users opt out of certain types of ad targeting, including as
              a result of product changes and controls that we implemented in connection with the GDPR, California Consumer
              Privacy Act (CCPA), or other similar changes that we implemented in the United States and around the world (for
              example, we have seen an increasing number of users opt out of certain types of ad targeting in Europe following
              adoption of the GDPR), or other product changes or controls we have implemented or may implement in the future,
              whether in connection with other regulations, regulatory actions or otherwise, that impact our ability to target ads;

    •         the degree to which users cease or reduce the number of times they engage with our ads;

    •         changes in the way advertising on mobile devices or on personal computers is measured or priced;

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    •         changes in the composition of our marketer base or our inability to maintain or grow our marketer base; and

    •         the impact of macroeconomic conditions, whether in the advertising industry in general, or among specific types
              of marketers or within particular geographies.

       From time to time, certain of these factors have adversely affected our advertising revenue to varying degrees. The
occurrence of any of these or other factors in the future could result in a reduction in demand for our ads, which may reduce the
prices we receive for our ads, or cause marketers to stop advertising with us altogether, either of which would negatively affect
our revenue and financial results.

Our advertising revenue is dependent on targeting and measurement tools that incorporate data signals from user activity
on websites and services that we do not control, and changes to the regulatory environment, third-party mobile operating
systems and browsers, and our own products have impacted, and we expect will continue to impact, the availability of such
signals, which will adversely affect our advertising revenue.

       We rely on data signals from user activity on websites and services that we do not control in order to deliver relevant and
effective ads to our users. Our advertising revenue is dependent on targeting and measurement tools that incorporate these signals,
and any changes in our ability to use such signals will adversely affect our business. For example, legislative and regulatory
changes, such as the GDPR and CCPA, have impacted, and we expect will continue to impact, our ability to use such signals in
our ad products. In addition, mobile operating system and browser providers, such as Apple and Google, have announced product
changes as well as future plans to limit the ability of application developers to use these signals to target and measure advertising
on their platforms. Similarly, we have implemented, and may continue to implement, product changes that give users the ability
to limit our use of such data signals to improve ads and other experiences on our products and services, including our Off-
Facebook Activity tool and our worldwide offering of product changes we implemented in connection with the GDPR. These
developments have limited our ability to target and measure the effectiveness of ads on our platform, and any additional loss of
such signals in the future will adversely affect our targeting and measurement capabilities and negatively impact our advertising
revenue.

Our user growth, engagement, and monetization on mobile devices depend upon effective operation with mobile operating
systems, networks, technologies, products, and standards that we do not control.

        The substantial majority of our revenue is generated from advertising on mobile devices. There is no guarantee that
popular mobile devices will continue to feature Facebook or our other products, or that mobile device users will continue to use
our products rather than competing products. We are dependent on the interoperability of Facebook and our other products with
popular mobile operating systems, networks, technologies, products, and standards that we do not control, such as the Android
and iOS operating systems and mobile browsers. Any changes, bugs, or technical issues in such systems, or changes in our
relationships with mobile operating system partners, handset manufacturers, browser developers, or mobile carriers, or in their
terms of service or policies that degrade our products' functionality, reduce or eliminate our ability to update or distribute our
products, give preferential treatment to competitive products, limit our ability to deliver, target, or measure the effectiveness of
ads, or charge fees related to the distribution of our products or our delivery of ads could adversely affect the usage of Facebook
or our other products and monetization on mobile devices. For example, Apple previously released an update to its Safari browser
that limits the use of third-party cookies, which reduces our ability to provide the most relevant ads to our users and impacts
monetization, and we expect that any similar changes to its, Google's, or other browser or mobile platforms will further limit
our ability to target and measure the effectiveness of ads and impact monetization. Additionally, in order to deliver high quality
mobile products, it is important that our products work well with a range of mobile technologies, products, systems, networks,
and standards that we do not control, and that we have good relationships with handset manufacturers, mobile carriers and
browser developers. We may not be successful in maintaining or developing relationships with key participants in the mobile
ecosystem or in developing products that operate effectively with these technologies, products, systems, networks, or standards.
In the event that it is more difficult for our users to access and use Facebook or our other products on their mobile devices, or
if our users choose not to access or use Facebook or our other products on their mobile devices or use mobile products that do
not offer access to Facebook or our other products, our user growth and user engagement could be harmed. From time to time,
we may also take actions regarding the distribution of our products or the operation of our business based on what we believe
to be in our long-term best interests. Such actions may adversely affect our users and our relationships with the operators of
mobile operating systems, handset manufacturers, mobile carriers, browser developers, or other business partners, and there is
no assurance that these actions will result in the anticipated long-term benefits. In the event that our users are adversely affected

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by these actions or if our relationships with such third parties deteriorate, our user growth, engagement, and monetization could
be adversely affected and our business could be harmed.

Our business is highly competitive. Competition presents an ongoing threat to the success of our business.

        We compete with companies that sell advertising, as well as with companies that provide social, media, and communication
products and services that are designed to engage users on mobile devices and online. We face significant competition in every
aspect of our business, including from companies that facilitate communication and the sharing of content and information,
companies that enable marketers to display advertising, companies that distribute video and other forms of media content, and
companies that provide development platforms for applications developers. We compete with companies that offer products
across broad platforms that replicate capabilities we provide. For example, among other areas, we compete with Apple in
messaging, Google and YouTube in advertising and video, Tencent and Snap in messaging and social media, Bytedance and
Twitter in social media, and Amazon in advertising. We also compete with companies that provide regional social networks and
messaging products, many of which have strong positions in particular countries. Some of our competitors may be domiciled
in different countries and subject to political, legal, and regulatory regimes that enable them to compete more effectively than
us. In addition, we face competition from traditional, online, and mobile businesses that provide media for marketers to reach
their audiences and/or develop tools and systems for managing and optimizing advertising campaigns. We also compete with
companies that develop and deliver consumer hardware and virtual reality products and services.

       Some of our current and potential competitors may have greater resources or stronger competitive positions in certain
product segments, geographic regions, or user demographics than we do. These factors may allow our competitors to respond
more effectively than us to new or emerging technologies and changes in market conditions. We believe that some users,
particularly younger users, are aware of and actively engaging with other products and services similar to, or as a substitute for,
our products and services, and we believe that some users have reduced their use of and engagement with our products and
services in favor of these other products and services. In the event that users increasingly engage with other products and services,
we may experience a decline in use and engagement in key user demographics or more broadly, in which case our business
would likely be harmed.

       Our competitors may develop products, features, or services that are similar to ours or that achieve greater acceptance,
may undertake more far-reaching and successful product development efforts or marketing campaigns, or may adopt more
aggressive pricing policies. In addition, developers whose mobile and web applications are integrated with Facebook or our
other products may use information shared by our users through our products in order to develop products or features that
compete with us. Some competitors may gain a competitive advantage against us in areas where we operate, including: by
making acquisitions; by limiting our ability to deliver, target, or measure the effectiveness of ads; by imposing fees or other
charges related to our delivery of ads; by making access to our products more difficult or impossible; by making it more difficult
to communicate with our users; or by integrating competing platforms, applications, or features into products they control such
as mobile device operating systems, search engines, browsers, or e-commerce platforms. For example, each of Apple and Google
have integrated competitive products with iOS and Android, respectively. As a result, our competitors may acquire and engage
users or generate advertising or other revenue at the expense of our own efforts, which may negatively affect our business and
financial results. In addition, from time to time, we may take actions in response to competitive threats, but we cannot assure
you that these actions will be successful or that they will not negatively affect our business and financial results.

       We believe that our ability to compete effectively depends upon many factors both within and beyond our control,
including:

    •         the popularity, usefulness, ease of use, performance, and reliability of our products compared to our competitors'
              products;

    •         the size and composition of our user base;

    •         the engagement of users with our products and competing products;

    •         the timing and market acceptance of products, including developments and enhancements to our or our competitors'
              products;

    •         our safety and security efforts and our ability to protect user data and to provide users with control over their data;

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    •         our ability to distribute our products to new and existing users;

    •         our ability to monetize our products;

    •         the frequency, size, format, quality, and relative prominence of the ads displayed by us or our competitors;

    •         customer service and support efforts;

    •         marketing and selling efforts, including our ability to measure the effectiveness of our ads and to provide marketers
              with a compelling return on their investments;

    •         our ability to establish and maintain developers' interest in building mobile and web applications that integrate
              with Facebook and our other products;

    •         our ability to establish and maintain publisher interest in integrating their content with Facebook and our other
              products;

    •         changes mandated by legislation, regulatory authorities, or litigation, some of which may have a disproportionate
              effect on us;

    •         acquisitions or consolidation within our industry, which may result in more formidable competitors;

    •         our ability to attract, retain, and motivate talented employees, particularly software engineers, designers, and
              product managers;

    •         our ability to cost-effectively manage and grow our operations; and

    •         our reputation and brand strength relative to those of our competitors.

        If we are not able to compete effectively, our user base and level of user engagement may decrease, we may become less
attractive to developers and marketers, and our revenue and results of operations may be materially and adversely affected.

Actions by governments that restrict access to Facebook or our other products in their countries, or that otherwise impair
our ability to sell advertising in their countries, could substantially harm our business and financial results.

        Governments from time to time seek to censor content available on Facebook or our other products in their country,
restrict access to our products from their country entirely, or impose other restrictions that may affect the accessibility of our
products in their country for an extended period of time or indefinitely. For example, user access to Facebook and certain of our
other products has been or is currently restricted in whole or in part in China, Iran, and North Korea. In addition, government
authorities in other countries may seek to restrict user access to our products if they consider us to be in violation of their laws
or a threat to public safety or for other reasons, and certain of our products have been restricted by governments in other countries
from time to time. It is possible that government authorities could take action that impairs our ability to sell advertising, including
in countries where access to our consumer-facing products may be blocked or restricted. For example, we generate meaningful
revenue from a limited number of resellers representing advertisers based in China, and it is possible that the Chinese government
could take action that reduces or eliminates our China-based advertising revenue, whether as a result of the trade dispute with
the United States, in response to content issues, or otherwise, or take other action against us, such as imposing taxes or other
penalties, which could adversely affect our financial results. In the event that content shown on Facebook or our other products
is subject to censorship, access to our products is restricted, in whole or in part, in one or more countries, or other restrictions
are imposed on our products, or our competitors are able to successfully penetrate new geographic markets or capture a greater
share of existing geographic markets that we cannot access or where we face other restrictions, our ability to retain or increase
our user base, user engagement, or the level of advertising by marketers may be adversely affected, we may not be able to
maintain or grow our revenue as anticipated, and our financial results could be adversely affected.




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Our new products and changes to existing products could fail to attract or retain users or generate revenue and profits.

       Our ability to retain, increase, and engage our user base and to increase our revenue depends heavily on our ability to
continue to evolve our existing products and to create successful new products, both independently and in conjunction with
developers or other third parties. We may introduce significant changes to our existing products or acquire or introduce new and
unproven products, including using technologies with which we have little or no prior development or operating experience.
For example, we do not have significant experience with consumer hardware products or virtual or augmented reality technology,
which may adversely affect our ability to successfully develop and market these products and technologies. We continue to incur
substantial costs, and we may not be successful in generating profits, in connection with these efforts. In addition, the introduction
of new products, or changes to existing products, may result in new or enhanced governmental or regulatory scrutiny or other
complications that could adversely affect our business and financial results. We have also invested, and expect to continue to
invest, significant resources in growing our WhatsApp and Messenger products to support increasing usage of such products.
We have historically monetized messaging in only a limited fashion, and we may not be successful in our efforts to generate
meaningful revenue or profits from messaging over the long term. In addition, we have announced plans to implement end-to-
end encryption across our messaging services, as well as facilitate interoperability between these platforms, which plans have
drawn governmental and regulatory scrutiny in multiple jurisdictions. If our new or enhanced products fail to engage users,
marketers, or developers, or if our business plans are unsuccessful, we may fail to attract or retain users or to generate sufficient
revenue, operating margin, or other value to justify our investments, and our business may be adversely affected.

We make product and investment decisions that may not prioritize short-term financial results and may not produce the long-
term benefits that we expect.

        We frequently make product and investment decisions that may not prioritize short-term financial results if we believe
that the decisions are consistent with our mission and benefit the aggregate user experience and will thereby improve our financial
performance over the long term. For example, we have recently implemented, and we will continue to implement, changes to
our user data practices. Some of these changes reduce our ability to effectively target ads, which has to some extent adversely
affected, and will continue to adversely affect, our advertising business. For example, our Off-Facebook Activity tool enables
users to place limits on our storage and use of information about their interactions with advertisers' apps and websites, which
will reduce our ability to deliver the most relevant and effective ads to our users. Similarly, from time to time we update our
News Feed ranking algorithm to optimize the user experience, and these changes have had, and may in the future have, the effect
of reducing time spent and some measures of user engagement with Facebook, which could adversely affect our financial results.
From time to time, we may also change the size, frequency, or relative prominence of ads in order to improve ad quality and
overall user experience. In addition, we have made, and we expect to continue to make, other changes to our products which
may adversely affect the distribution of content of publishers, marketers, and developers, and could reduce their incentive to
invest in their efforts on Facebook. We also may introduce new features or other changes to existing products, or introduce new
stand-alone products, that attract users away from properties, formats, or use cases where we have more proven means of
monetization. For example, we plan to continue to promote the Stories format, which is becoming increasingly popular for
sharing content across our products, but our advertising efforts with this format are still under development and we do not
currently monetize Stories at the same rate as News Feed. In addition, as we focus on growing users and engagement across our
family of products, from time to time these efforts have reduced, and may in the future reduce, engagement with one or more
products and services in favor of other products or services that we monetize less successfully or that are not growing as quickly.
These decisions may adversely affect our business and results of operations and may not produce the long-term benefits that we
expect.

If we are not able to maintain and enhance our brands, our ability to expand our base of users, marketers, and developers
may be impaired, and our business and financial results may be harmed.

       We believe that our brands have significantly contributed to the success of our business. We also believe that maintaining
and enhancing our brands is critical to expanding our base of users, marketers, and developers. Many of our new users are
referred by existing users. Maintaining and enhancing our brands will depend largely on our ability to continue to provide useful,
reliable, trustworthy, and innovative products, which we may not do successfully. We may introduce new products or terms of
service or policies that users do not like, which may negatively affect our brands. Additionally, the actions of our developers or
advertisers may affect our brands if users do not have a positive experience using third-party mobile and web applications
integrated with our products or interacting with parties that advertise through our products. We will also continue to experience
media, legislative, or regulatory scrutiny of our actions or decisions regarding user privacy, encryption, content, advertising,
and other issues, including actions or decisions in connection with elections, which may adversely affect our reputation and

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brands. For example, in March 2018, we announced developments regarding the misuse of certain data by a developer that
shared such data with third parties in violation of our terms and policies. We also may fail to respond expeditiously or appropriately
to the sharing of objectionable content on our services or objectionable practices by advertisers or developers, or to otherwise
address user concerns, which has occurred in the past and which could erode confidence in our brands. Our brands may also be
negatively affected by the actions of users that are deemed to be hostile or inappropriate to other users, by the actions of users
acting under false or inauthentic identities, by the use of our products or services to disseminate information that is deemed to
be misleading (or intended to manipulate opinions), by perceived or actual efforts by governments to obtain access to user
information for security-related purposes or to censor certain content on our platform, or by the use of our products or services
for illicit or objectionable ends, including, for example, any such actions around the 2020 U.S. presidential election or other
elections around the world. Maintaining and enhancing our brands will require us to make substantial investments and these
investments may not be successful. Certain of our past actions, such as the foregoing matter regarding developer misuse of data,
have eroded confidence in our brands, and if we fail to successfully promote and maintain our brands or if we incur excessive
expenses in this effort, our business and financial results may be adversely affected.

Security breaches, improper access to or disclosure of our data or user data, other hacking and phishing attacks on our
systems, or other cyber incidents could harm our reputation and adversely affect our business.

        Our industry is prone to cyber-attacks by third parties seeking unauthorized access to our data or users' data or to disrupt
our ability to provide service. Our products and services involve the collection, storage, processing, and transmission of a large
amount of data. Any failure to prevent or mitigate security breaches and improper access to or disclosure of our data or user
data, including personal information, content, or payment information from users, or information from marketers, could result
in the loss, modification, disclosure, destruction, or other misuse of such data, which could harm our business and reputation
and diminish our competitive position. In addition, computer malware, viruses, social engineering (predominantly spear phishing
attacks), and general hacking have become more prevalent in our industry, have occurred on our systems in the past, and will
occur on our systems in the future. We also regularly encounter attempts to create false or undesirable user accounts, purchase
ads, or take other actions on our platform for purposes such as spamming, spreading misinformation, or other objectionable
ends. As a result of our prominence, the size of our user base, the types and volume of personal data on our systems, and the
evolving nature of our products and services (including our efforts involving new and emerging technologies), we believe that
we are a particularly attractive target for such breaches and attacks, including from highly sophisticated, state-sponsored, or
otherwise well-funded actors. Our efforts to address undesirable activity on our platform also increase the risk of retaliatory
attacks. Such breaches and attacks may cause interruptions to the services we provide, degrade the user experience, cause users
or marketers to lose confidence and trust in our products, impair our internal systems, or result in financial harm to us. Our
efforts to protect our company data or the information we receive, and to disable undesirable activities on our platform, may
also be unsuccessful due to software bugs or other technical malfunctions; employee, contractor, or vendor error or malfeasance,
including defects or vulnerabilities in our vendors' information technology systems or offerings; government surveillance;
breaches of physical security of our facilities or technical infrastructure; or other threats that evolve. In addition, third parties
may attempt to fraudulently induce employees or users to disclose information in order to gain access to our data or our users'
data. Cyber-attacks continue to evolve in sophistication and volume, and inherently may be difficult to detect for long periods
of time. Although we have developed systems and processes that are designed to protect our data and user data, to prevent data
loss, to disable undesirable accounts and activities on our platform, and to prevent or detect security breaches, we cannot assure
you that such measures will provide absolute security, that we will be able to react in a timely manner, or that our remediation
efforts will be successful. We experience cyber-attacks and other security incidents of varying degrees from time to time, and
we may incur significant costs in protecting against or remediating such incidents.

       In addition, some of our developers or other partners, such as those that help us measure the effectiveness of ads, may
receive or store information provided by us or by our users through mobile or web applications integrated with Facebook. We
provide limited information to such third parties based on the scope of services provided to us. However, if these third parties
or developers fail to adopt or adhere to adequate data security practices, or in the event of a breach of their networks, our data
or our users' data may be improperly accessed, used, or disclosed.

       We are subject to a variety of laws and regulations in the United States and abroad relating to cybersecurity and data
protection, as well as obligations under the modified consent order we entered into in July 2019 with the U.S. Federal Trade
Commission (FTC), which is pending federal court approval. As a result, affected users or government authorities could initiate
legal or regulatory actions against us in connection with any actual or perceived security breaches or improper access to or
disclosure of data, which has occurred in the past and which could cause us to incur significant expense and liability or result
in orders or consent decrees forcing us to modify our business practices. Such incidents or our efforts to remediate such incidents

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may also result in a decline in our active user base or engagement levels. Any of these events could have a material and adverse
effect on our business, reputation, or financial results.

       For example, in September 2018, we announced our discovery of a third-party cyber-attack that exploited a vulnerability
in Facebook's code to steal user access tokens, which were then used to access certain profile information from approximately
29 million user accounts on Facebook. While we took steps to remediate the attack, including fixing the vulnerability, resetting
user access tokens and notifying affected users, we may discover and announce additional developments, which could further
erode confidence in our brand. In addition, the events surrounding this cyber-attack became the subject of Irish Data Protection
Commission and other government inquiries. Any such inquiries could subject us to substantial fines and costs, require us to
change our business practices, divert resources and the attention of management from our business, or adversely affect our
business.

We anticipate that our ongoing efforts related to privacy, safety, security, and content review will identify additional instances
of misuse of user data or other undesirable activity by third parties on our platform.

        In addition to our efforts to mitigate cybersecurity risks, we are making significant investments in privacy, safety, security,
and content review efforts to combat misuse of our services and user data by third parties, including investigations and audits
of platform applications that previously accessed information of a large number of users of our services. As a result of these
efforts we have discovered and announced, and anticipate that we will continue to discover and announce, additional incidents
of misuse of user data or other undesirable activity by third parties. We may not discover all such incidents or activity, whether
as a result of our data limitations, including our lack of visibility over our encrypted services, the scale of activity on our platform,
or other factors, and we may be notified of such incidents or activity by the independent privacy assessor required under our
consent order with the FTC, the media, or other third parties. Such incidents and activities have in the past, and may in the future,
include the use of user data or our systems in a manner inconsistent with our terms, contracts or policies, the existence of false
or undesirable user accounts, election interference, improper ad purchases, activities that threaten people's safety on- or offline,
or instances of spamming, scraping, or spreading misinformation. We may also be unsuccessful in our efforts to enforce our
policies or otherwise remediate any such incidents. Any of the foregoing developments may negatively affect user trust and
engagement, harm our reputation and brands, require us to change our business practices in a manner adverse to our business,
and adversely affect our business and financial results. Any such developments may also subject us to additional litigation and
regulatory inquiries, which could subject us to monetary penalties and damages, divert management's time and attention, and
lead to enhanced regulatory oversight.

Unfavorable media coverage could negatively affect our business.

       We receive a high degree of media coverage around the world. Unfavorable publicity regarding, for example, our privacy
practices, terms of service, advertising policies, product changes, product quality, litigation or regulatory activity, government
surveillance, the actions of our advertisers, the actions of our developers whose products are integrated with our products, the
use of our products or services for illicit or objectionable ends, the substance or enforcement of our community standards, the
actions of our users, the quality and integrity of content shared on our platform, or the actions of other companies that provide
similar services to ours, has in the past, and could in the future, adversely affect our reputation. For example, beginning in March
2018, we were the subject of intense media coverage involving the misuse of certain data by a developer that shared such data
with third parties in violation of our terms and policies, and we have continued to receive negative publicity. In addition, we
may be subject to negative publicity if we are not successful in our efforts to prevent the illicit or objectionable use of our
products or services in connection with the 2020 U.S. presidential election or other elections around the world. Any such negative
publicity could have an adverse effect on the size, engagement, and loyalty of our user base and result in decreased revenue,
which could adversely affect our business and financial results.

Our financial results will fluctuate from quarter to quarter and are difficult to predict.

       Our quarterly financial results have fluctuated in the past and will fluctuate in the future. Additionally, we have a limited
operating history with the current scale of our business, which makes it difficult to forecast our future results. As a result, you
should not rely upon our past quarterly financial results as indicators of future performance. You should take into account the
risks and uncertainties frequently encountered by companies in rapidly evolving markets. Our financial results in any given
quarter can be influenced by numerous factors, many of which we are unable to predict or are outside of our control, including:

    •         our ability to maintain and grow our user base and user engagement;

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•    our ability to attract and retain marketers in a particular period;

•    fluctuations in spending by our marketers due to seasonality, such as historically strong spending in the fourth
     quarter of each year, episodic regional or global events, or other factors;

•    the frequency, prominence, size, format, and quality of ads shown to users;

•    the success of technologies designed to block the display of ads;

•    changes to third-party policies that limit our ability to deliver, target, or measure the effectiveness of
     advertising;

•    the pricing of our ads and other products;

•    the diversification and growth of revenue sources beyond advertising on Facebook and Instagram;

•    our ability to generate revenue from Payments, or the sale of our consumer hardware products or other products
     we may introduce in the future;

•    changes to existing products or services or the development and introduction of new products or services by us or
     our competitors;

•    user behavior or product changes that may reduce traffic to features or products that we successfully monetize;

•    increases in marketing, sales, and other operating expenses that we will incur to grow and expand our operations
     and to remain competitive, including costs related to our data centers and technical infrastructure;

•    costs related to our privacy, safety, security, and content review efforts;

•    costs and expenses related to the development and delivery of our consumer hardware products;

•    our ability to maintain gross margins and operating margins;

•    costs related to acquisitions, including costs associated with amortization and additional investments to develop
     the acquired technologies;

•    charges associated with impairment of any assets on our balance sheet;

•    our ability to obtain equipment, components, and labor for our data centers and other technical infrastructure in a
     timely and cost-effective manner;

•    system failures or outages or government blocking, which could prevent us from serving ads for any period of
     time;

•    breaches of security or privacy, and the costs associated with any such breaches and remediation;

•    changes in the manner in which we distribute our products or inaccessibility of our products due to third-party
     actions;

•    fees paid to third parties for content or the distribution of our products;

•    refunds or other concessions provided to advertisers;

•    share-based compensation expense, including acquisition-related expense;


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    •         adverse litigation judgments, settlements, or other litigation-related costs;

    •         changes in the legislative or regulatory environment, including with respect to privacy and data protection, or
              actions by governments or regulators, including fines, orders, or consent decrees;

    •         the overall tax rate for our business, which may be affected by the mix of income we earn in the U.S. and in
              jurisdictions with comparatively lower tax rates, the effects of share-based compensation, the effects of integrating
              intellectual property from acquisitions, and the effects of changes in our business;

    •         the impact of changes in tax laws or judicial or regulatory interpretations of tax laws, which are recorded in the
              period such laws are enacted or interpretations are issued, and may significantly affect the effective tax rate of that
              period;

    •         tax obligations that may arise from resolutions of tax examinations, including the examination we are currently
              under by the Internal Revenue Service (IRS), that materially differ from the amounts we have anticipated;

    •         fluctuations in currency exchange rates and changes in the proportion of our revenue and expenses denominated
              in foreign currencies;

    •         trading activity in our share repurchase program;

    •         fluctuations in the market values of our portfolio investments and in interest rates;

    •         changes in U.S. generally accepted accounting principles; and

    •         changes in global business or macroeconomic conditions.

We expect our rates of growth to decline in the future.

        We expect that our user growth rate will generally decline over time as the size of our active user base increases, and it
is possible that the size of our active user base may fluctuate or decline in one or more markets, particularly as we achieve greater
market penetration. We expect our revenue growth rate will continue to decline over time as our revenue increases to higher
levels. As our growth rates decline, investors' perceptions of our business may be adversely affected and the trading price of our
Class A common stock could decline.

Our costs are continuing to grow, and some of our investments have the effect of reducing our operating margin and
profitability. If our investments are not successful, our business and financial performance could be harmed.

       Operating our business is costly, and we expect our expenses to continue to increase in the future as we broaden our user
base, as users increase the amount and types of content they consume and the data they share with us, for example with respect
to video, as we develop and implement new products, as we market new and existing products and promote our brands, as we
continue to expand our technical infrastructure, as we continue to invest in new and unproven technologies, and as we continue
to hire additional employees and contractors to support our expanding operations, including our efforts to focus on privacy,
safety, security, and content review. In addition, from time to time we are subject to settlements, judgments, fines, or other
monetary penalties in connection with legal and regulatory developments that may be material to our business. We are also
continuing to increase our investments in new platforms and technologies. Some of these investments, particularly our significant
investments in virtual and augmented reality, have generated only limited revenue and reduced our operating margin and
profitability. If our investments are not successful, our ability to grow revenue will be harmed, which could adversely affect our
business and financial performance.

Given our levels of share-based compensation, our tax rate may vary significantly depending on our stock price.

       The tax effects of the accounting for share-based compensation may significantly impact our effective tax rate from period
to period. In periods in which our stock price is higher than the grant price of the share-based compensation vesting in that
period, we will recognize excess tax benefits that will decrease our effective tax rate. For example, in 2019, excess tax benefits
recognized from share-based compensation decreased our provision for income taxes by $313 million and our effective tax rate

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by one percentage point as compared to the tax rate without such benefits. In future periods in which our stock price is lower
than the grant price of the share-based compensation vesting in that period, our effective tax rate may increase. The amount and
value of share-based compensation issued relative to our earnings in a particular period will also affect the magnitude of the
impact of share-based compensation on our effective tax rate. These tax effects are dependent on our stock price, which we do
not control, and a decline in our stock price could significantly increase our effective tax rate and adversely affect our financial
results.

Our business is subject to complex and evolving U.S. and foreign laws and regulations regarding privacy, data protection,
content, competition, consumer protection, and other matters. Many of these laws and regulations are subject to change and
uncertain interpretation, and could result in claims, changes to our business practices, monetary penalties, increased cost
of operations, or declines in user growth or engagement, or otherwise harm our business.

        We are subject to a variety of laws and regulations in the United States and abroad that involve matters central to our
business, including privacy, data protection and personal information, rights of publicity, content, intellectual property,
advertising, marketing, distribution, data security, data retention and deletion, electronic contracts and other communications,
competition, protection of minors, consumer protection, telecommunications, product liability, taxation, economic or other trade
prohibitions or sanctions, anti-corruption law compliance, securities law compliance, and online payment services. The
introduction of new products, expansion of our activities in certain jurisdictions, or other actions that we may take may subject
us to additional laws, regulations, or other government scrutiny. In addition, foreign data protection, privacy, content, competition,
and other laws and regulations can impose different obligations or be more restrictive than those in the United States.

       These U.S. federal and state and foreign laws and regulations, which in some cases can be enforced by private parties in
addition to government entities, are constantly evolving and can be subject to significant change. As a result, the application,
interpretation, and enforcement of these laws and regulations are often uncertain, particularly in the new and rapidly evolving
industry in which we operate, and may be interpreted and applied inconsistently from country to country and inconsistently with
our current policies and practices. For example, regulatory or legislative actions affecting the manner in which we display content
to our users or obtain consent to various practices could adversely affect user growth and engagement. Such actions could affect
the manner in which we provide our services or adversely affect our financial results.

        We are also subject to laws and regulations that dictate whether, how, and under what circumstances we can transfer,
process and/or receive certain data that is critical to our operations, including data shared between countries or regions in which
we operate and data shared among our products and services. For example, in 2016, the European Union and United States
agreed to a transfer framework for data transferred from the European Union to the United States, called the Privacy Shield, but
this framework is subject to an annual review that could result in changes to our obligations and also is subject to challenge by
regulators and private parties, including a pending legal challenge by a private party. In addition, the other bases upon which
Facebook relies to legitimize the transfer of such data, such as Standard Contractual Clauses (SCCs), have been subjected to
regulatory and judicial scrutiny. For example, the Irish Data Protection Commissioner has challenged the legal grounds for
transfers of user data to Facebook, Inc., and the Irish High Court has referred this challenge to the Court of Justice of the European
Union for decision. We have also been managing investigations and lawsuits in Europe, India, and other jurisdictions regarding
the August 2016 update to WhatsApp's terms of service and privacy policy and its sharing of certain data with other Facebook
products and services, including a lawsuit currently pending before the Supreme Court of India. If one or more of the legal bases
for transferring data from Europe to the United States is invalidated or the transfer frameworks are amended, if we are unable
to transfer data between and among countries and regions in which we operate, or if we are restricted from sharing data among
our products and services, it could affect the manner in which we provide our services or our ability to target ads, which could
adversely affect our financial results.

       Proposed or new legislation and regulations could also significantly affect our business. For example, the European
General Data Protection Regulation (GDPR) took effect in May 2018 and applies to all of our products and services used by
people in Europe. The GDPR includes operational requirements for companies that receive or process personal data of residents
of the European Union that are different from those previously in place in the European Union. As a result, we implemented
measures to change our service for minors under the age of 16 for certain countries in Europe that maintain the minimum age
of 16 under the GDPR. We also obtain consent and/or offer new controls to existing and new users in Europe before processing
data for certain aspects of our service. In addition, the GDPR requires submission of personal data breach notifications to our
designated European privacy regulator, the Irish Data Protection Commission, and includes significant penalties for non-
compliance with the notification obligation as well as other requirements of the regulation. The Brazilian General Data Protection
Law will impose requirements similar to GDPR on products and services offered to users in Brazil, effective in August 2020.

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The California Consumer Privacy Act (CCPA), which took effect in January 2020, also establishes certain transparency rules
and creates new data privacy rights for users, including more ability to control how their data is shared with third parties. These
laws and regulations are evolving and subject to interpretation, and resulting limitations on our advertising services, or reductions
of advertising by marketers, have to some extent adversely affected, and will continue to adversely affect, our advertising
business. Similarly, there are a number of legislative proposals in the European Union, the United States, at both the federal and
state level, as well as other jurisdictions that could impose new obligations or limitations in areas affecting our business. In
addition, some countries are considering or have passed legislation implementing data protection requirements or requiring local
storage and processing of data or similar requirements that could increase the cost and complexity of delivering our services.

       These laws and regulations, as well as any associated claims, inquiries, or investigations or any other government actions,
have in the past led to, and may in the future lead to, unfavorable outcomes including increased compliance costs, delays or
impediments in the development of new products, negative publicity and reputational harm, increased operating costs, diversion
of management time and attention, and remedies that harm our business, including fines or demands or orders that we modify
or cease existing business practices.

We have been subject to regulatory and other government investigations, enforcement actions, and settlements, and we expect
to continue to be subject to such proceedings and other inquiries in the future, which could cause us to incur substantial
costs or require us to change our business practices in a manner materially adverse to our business.

       From time to time, we receive formal and informal inquiries from government authorities and regulators regarding our
compliance with laws and regulations, many of which are evolving and subject to interpretation. We are and expect to continue
to be the subject of investigations, inquiries, data requests, requests for information, actions, and audits in the United States,
Europe, and around the world, particularly in the areas of privacy, data protection, law enforcement, consumer protection, and
competition, as we continue to grow and expand our operations. In addition, we are currently, and may in the future be, subject
to regulatory orders or consent decrees. For example, data protection, competition, and consumer protection authorities in the
European Union have initiated actions, investigations, or administrative orders seeking to restrict the ways in which we collect
and use information, or impose sanctions, and other authorities may do the same. In addition, beginning in March 2018, we
became subject to FTC, state attorneys general, and other government inquiries in the United States, Europe, and other jurisdictions
in connection with our platform and user data practices as well as the misuse of certain data by a developer that shared such
data with third parties in violation of our terms and policies. In July 2019, we entered into a settlement and modified consent
order to resolve the FTC inquiry, which is pending federal court approval. Among other matters, our settlement with the FTC
requires us to pay a penalty of $5.0 billion and to significantly enhance our practices and processes for privacy compliance and
oversight. Beginning in September 2018, we also became subject to Irish Data Protection Commission (IDPC) and other
government inquiries in connection with a third-party cyber-attack that exploited a vulnerability in Facebook's code to steal user
access tokens and access certain profile information from user accounts on Facebook. From time to time we also notify the
IDPC, our designated European privacy regulator under the GDPR, of certain other personal data breaches and privacy issues,
and are subject to inquiries and investigations regarding various aspects of our regulatory compliance.

       In addition, competition authorities in the United States, Europe, and other jurisdictions have initiated formal and informal
inquiries and investigations into many aspects of our business, including with respect to users and advertisers, as well as our
industry. For example, in June 2019 we were informed by the FTC that it had opened an antitrust investigation of our company.
In addition, beginning in the third quarter of 2019, we became the subject of antitrust inquiries and investigations by the U.S.
Department of Justice, the U.S. House of Representatives, and state attorneys general. These inquiries and investigations concern,
among other things, our business practices in the areas of social networking or social media services, digital advertising, and/
or mobile or online applications, as well as past acquisitions.

       Orders issued by, or inquiries or enforcement actions initiated by, government or regulatory authorities could cause us to
incur substantial costs, expose us to unanticipated civil and criminal liability or penalties (including substantial monetary
remedies), interrupt or require us to change our business practices in a manner materially adverse to our business, result in
negative publicity and reputational harm, divert resources and the attention of management from our business, or subject us to
other remedies that adversely affect our business.




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Compliance with our FTC consent order, the GDPR, the CCPA, and other regulatory and legislative privacy requirements
will require significant operational resources and modifications to our business practices, and any compliance failures may
have a material adverse effect on our business, reputation, and financial results.

       We are engaged in ongoing privacy compliance and oversight efforts, including as a result of the modified consent order
we entered into in July 2019 with the FTC, as well as our efforts to comply with the GDPR and other regulatory and legislative
requirements around the world, including the CCPA. In particular, we have agreed with the FTC to implement a comprehensive
expansion of our privacy program, including substantial management and board of directors oversight, stringent operational
requirements and reporting obligations, and a process to regularly certify our compliance with the privacy program to the FTC,
which will be challenging and costly to implement. We expect that these enhancements will result in both improved privacy
compliance and oversight and the discovery of additional privacy issues, at least in the near-term, and we expect to continue to
notify the FTC of such issues from time to time in accordance with our reporting obligations under the consent order. These
compliance and oversight efforts will increase demand on our systems and resources, and will require significant investments,
including investments in compliance processes, personnel, and technical infrastructure. In the near-term, we are reallocating
resources internally to assist with these efforts, and this has had, and will continue to have, an adverse impact on our other
business initiatives. In addition, these efforts will require substantial modifications to our business practices and make some
practices such as product and ads development more difficult, time-consuming, and costly. As a result, we believe our ability
to develop and launch new features, products, and services in a timely manner will be adversely affected. We also expect that
our privacy compliance and oversight efforts will require significant time and attention from our management and board of
directors. In addition, regulatory and legislative privacy requirements are constantly evolving and can be subject to significant
change and uncertain interpretation. If we are unable to successfully implement and comply with the mandates of the FTC
consent order, GDPR, CCPA, or other regulatory or legislative requirements, or if we are found to be in violation of the consent
order or other requirements, we may be subject to regulatory or governmental investigations or lawsuits, which may result in
significant monetary fines, judgments, or other penalties, and we may also be required to make additional changes to our business
practices. Any of these events could have a material adverse effect on our business, reputation, and financial results.

If we are unable to protect our intellectual property, the value of our brands and other intangible assets may be diminished,
and our business may be adversely affected.

       We rely and expect to continue to rely on a combination of confidentiality, assignment, and license agreements with our
employees, consultants, and third parties with whom we have relationships, as well as trademark, copyright, patent, trade secret,
and domain name protection laws, to protect our proprietary rights. In the United States and internationally, we have filed various
applications for protection of certain aspects of our intellectual property, and we currently hold a significant number of registered
trademarks and issued patents in multiple jurisdictions and have acquired patents and patent applications from third parties.
Third parties may knowingly or unknowingly infringe our proprietary rights, third parties may challenge proprietary rights held
by us, and pending and future trademark and patent applications may not be approved. In addition, effective intellectual property
protection may not be available in every country in which we operate or intend to operate our business. In any or all of these
cases, we may be required to expend significant time and expense in order to prevent infringement or to enforce our rights.
Although we have generally taken measures to protect our proprietary rights, there can be no assurance that others will not offer
products or concepts that are substantially similar to ours and compete with our business. In addition, we regularly contribute
software source code under open source licenses and have made other technology we developed available under other open
licenses, and we include open source software in our products. For example, we have contributed certain specifications and
designs related to our data center equipment to the Open Compute Project Foundation, a non-profit entity that shares and develops
such information with the technology community, under the Open Web Foundation License. As a result of our open source
contributions and the use of open source in our products, we may license or be required to license or disclose code and/or
innovations that turn out to be material to our business and may also be exposed to increased litigation risk. If the protection of
our proprietary rights is inadequate to prevent unauthorized use or appropriation by third parties, the value of our brands and
other intangible assets may be diminished and competitors may be able to more effectively mimic our products, services, and
methods of operations. Any of these events could have an adverse effect on our business and financial results.

We are currently, and expect to be in the future, party to patent lawsuits and other intellectual property rights claims that are
expensive and time consuming and, if resolved adversely, could have a significant impact on our business, financial condition,
or results of operations.

       Companies in the Internet, technology, and media industries own large numbers of patents, copyrights, trademarks, and
trade secrets, and frequently enter into litigation based on allegations of infringement, misappropriation, or other violations of

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intellectual property or other rights. In addition, various "non-practicing entities" that own patents and other intellectual property
rights often attempt to aggressively assert their rights in order to extract value from technology companies. Furthermore, from
time to time we may introduce or acquire new products, including in areas where we historically have not competed, which
could increase our exposure to patent and other intellectual property claims from competitors and non-practicing entities.

       From time to time, we receive notice from patent holders and other parties alleging that certain of our products and
services, or user content, infringe their intellectual property rights. We presently are involved in a number of intellectual property
lawsuits, and as we face increasing competition and gain an increasingly high profile, we expect the number of patent and other
intellectual property claims against us to grow. Defending patent and other intellectual property litigation is costly and can
impose a significant burden on management and employees, and there can be no assurances that favorable final outcomes will
be obtained in all cases. In addition, plaintiffs may seek, and we may become subject to, preliminary or provisional rulings in
the course of any such litigation, including potential preliminary injunctions requiring us to cease some or all of our operations.
We may decide to settle such lawsuits and disputes on terms that are unfavorable to us. Similarly, if any litigation to which we
are a party is resolved adversely, we may be subject to an unfavorable judgment that may not be reversed upon appeal. The
terms of such a settlement or judgment may require us to cease some or all of our operations or pay substantial amounts to the
other party. In addition, we may have to seek a license to continue practices found to be in violation of a third party's rights,
which may not be available on reasonable terms, or at all, and may significantly increase our operating costs and expenses. As
a result, we may also be required to develop alternative non-infringing technology or practices or discontinue the practices. The
development of alternative non-infringing technology or practices could require significant effort and expense, could result in
less effective technology or practices or otherwise negatively affect the user experience, or may not be feasible. We have
experienced unfavorable outcomes in such disputes and litigation in the past, and our business, financial condition, and results
of operations could be adversely affected as a result of an unfavorable resolution of the disputes and litigation referred to above.

We are involved in numerous class action lawsuits and other litigation matters that are expensive and time consuming, and,
if resolved adversely, could harm our business, financial condition, or results of operations.

       In addition to intellectual property claims, we are also involved in numerous other lawsuits, including putative class action
lawsuits, many of which claim statutory damages and/or seek significant changes to our business operations, and we anticipate
that we will continue to be a target for numerous lawsuits in the future. Because of the scale of our user base, the plaintiffs in
class action cases filed against us typically claim enormous monetary damages even if the alleged per-user harm is small or non-
existent. In addition, we have in the past, and may in the future, be subject to additional class action lawsuits based on advertiser
claims, antitrust claims, employment claims, product performance or other claims related to the use of consumer hardware and
software, as well as virtual reality technology and products, which are new and unproven. For example, we are currently the
subject of multiple putative class action suits in connection with our platform and user data practices and the misuse of certain
data by a developer that shared such data with third parties in violation of our terms and policies, as well as the disclosure of
our earnings results for the second quarter of 2018. We also recently agreed to settlements in principle to resolve certain lawsuits
in connection with the "tag suggestions" facial recognition feature on Facebook and a third-party cyber-attack that exploited a
vulnerability in Facebook's code to steal user access tokens and access certain profile information from user accounts on Facebook.
We believe the remaining lawsuits are without merit and are vigorously defending them. However, the results of such lawsuits
and claims cannot be predicted with certainty, and any negative outcome from any such lawsuits could result in payments of
substantial monetary damages or fines, or undesirable changes to our products or business practices, and accordingly our business,
financial condition, or results of operations could be materially and adversely affected.

       There can be no assurances that a favorable final outcome will be obtained in all our cases, and defending any lawsuit is
costly and can impose a significant burden on management and employees. Any litigation to which we are a party may result
in an onerous or unfavorable judgment that may not be reversed upon appeal or in payments of substantial monetary damages
or fines, or we may decide to settle lawsuits on similarly unfavorable terms, which has occurred in the past and which could
adversely affect our business, financial conditions, or results of operations.

We may incur liability as a result of information retrieved from or transmitted over the Internet or published using our
products or as a result of claims related to our products, and legislation regulating content on our platform may require us
to change our products or business practices.

      We have faced, currently face, and will continue to face claims relating to information that is published or made available
on our products. In particular, the nature of our business exposes us to claims related to defamation, dissemination of
misinformation or news hoaxes, discrimination, intellectual property rights, rights of publicity and privacy, personal injury torts,

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or laws regulating hate speech or other types of content. This risk is enhanced in certain jurisdictions outside the United States
where our protection from liability for third-party actions may be unclear or where we may be less protected under local laws
than we are in the United States. For example, in April 2019, the European Union passed a directive expanding online platform
liability for copyright infringement and regulating certain uses of news content online, which member states must implement
by June 2021. In addition, there have been various Congressional efforts to restrict the scope of the protections available to
online platforms under Section 230 of the Communications Decency Act, and our current protections from liability for third-
party content in the United States could decrease or change. We could incur significant costs investigating and defending such
claims and, if we are found liable, significant damages. We could also face fines or orders restricting or blocking our services
in particular geographies as a result of content hosted on our services. For example, legislation in Germany has in the past, and
may in the future, result in the imposition of fines for failure to comply with certain content removal, law enforcement cooperation,
and disclosure obligations. Other countries, including Australia, France, Singapore, and the United Kingdom, are considering
or have implemented similar legislation imposing penalties for failure to remove content or follow certain processes. Such
legislation also has in the past, and may in the future, require us to change our products or business practices, increase our
compliance costs, or otherwise impact our operations or our ability to provide services in certain geographies. For example, the
European Copyright Directive requires certain online services to obtain authorizations for copyrighted content or to implement
measures to prevent the availability of that content, which may require us to make substantial investments in compliance processes.
If any of the foregoing events occur, our business and financial results could be adversely affected.

Our CEO has control over key decision making as a result of his control of a majority of the voting power of our outstanding
capital stock.

       Mark Zuckerberg, our founder, Chairman, and CEO, is able to exercise voting rights with respect to a majority of the
voting power of our outstanding capital stock and therefore has the ability to control the outcome of matters submitted to our
stockholders for approval, including the election of directors and any merger, consolidation, or sale of all or substantially all of
our assets. This concentrated control could delay, defer, or prevent a change of control, merger, consolidation, or sale of all or
substantially all of our assets that our other stockholders support, or conversely this concentrated control could result in the
consummation of such a transaction that our other stockholders do not support. This concentrated control could also discourage
a potential investor from acquiring our Class A common stock, which has limited voting power relative to the Class B common
stock, and might harm the trading price of our Class A common stock. In addition, Mr. Zuckerberg has the ability to control the
management and major strategic investments of our company as a result of his position as our CEO and his ability to control
the election or replacement of our directors. In the event of his death, the shares of our capital stock that Mr. Zuckerberg owns
will be transferred to the persons or entities that he has designated. As a board member and officer, Mr. Zuckerberg owes a
fiduciary duty to our stockholders and must act in good faith in a manner he reasonably believes to be in the best interests of
our stockholders. As a stockholder, even a controlling stockholder, Mr. Zuckerberg is entitled to vote his shares, and shares over
which he has voting control as governed by a voting agreement, in his own interests, which may not always be in the interests
of our stockholders generally.

We plan to continue to make acquisitions, which could harm our financial condition or results of operations and may adversely
affect the price of our common stock.

      As part of our business strategy, we have made and intend to continue to make acquisitions to add specialized employees
and complementary companies, products, or technologies. We may not be able to find suitable acquisition candidates, and we
may not be able to complete acquisitions on favorable terms, if at all. In some cases, the costs of such acquisitions may be
substantial, and there is no assurance that we will receive a favorable return on investment for our acquisitions.

       We may pay substantial amounts of cash or incur debt to pay for acquisitions, which could adversely affect our liquidity.
The incurrence of indebtedness would also result in increased fixed obligations and increased interest expense, and could also
include covenants or other restrictions that would impede our ability to manage our operations. We may also issue equity securities
to pay for acquisitions and we regularly grant RSUs to retain the employees of acquired companies, which could increase our
expenses, adversely affect our financial results, and result in dilution to our stockholders. In addition, any acquisitions we
announce could be viewed negatively by users, marketers, developers, or investors, which may adversely affect our business or
the price of our Class A common stock.

       We may also discover liabilities or deficiencies associated with the companies or assets we acquire that were not identified
in advance, which may result in significant unanticipated costs. The effectiveness of our due diligence review and our ability to
evaluate the results of such due diligence are dependent upon the accuracy and completeness of statements and disclosures made

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or actions taken by the companies we acquire or their representatives, as well as the limited amount of time in which acquisitions
are executed. In addition, we may fail to accurately forecast the financial impact of an acquisition transaction, including tax and
accounting charges. Acquisitions may also result in our recording of significant additional expenses to our results of operations
and recording of substantial finite-lived intangible assets on our balance sheet upon closing. Any of these factors may adversely
affect our financial condition or results of operations.

We may not be able to successfully integrate our acquisitions, and we may incur significant costs to integrate and support
the companies we acquire.

       The integration of acquisitions requires significant time and resources, and we may not manage these processes
successfully. Our ability to successfully integrate complex acquisitions is unproven, particularly with respect to companies that
have significant operations or that develop products where we do not have prior experience. For example, the technology and
products we acquired from Oculus were relatively new to Facebook at the time of the acquisition, and we did not have significant
experience with, or structure in place to support, such technology and products prior to the acquisition. We continue to make
substantial investments of resources to support our acquisitions, which will result in significant ongoing operating expenses and
may divert resources and management attention from other areas of our business. We cannot assure you that these investments
will be successful. If we fail to successfully integrate the companies we acquire, we may not realize the benefits expected from
the transaction and our business may be harmed.

If our goodwill or finite-lived intangible assets become impaired, we may be required to record a significant charge to earnings.

        We review our finite-lived intangible assets for impairment when events or changes in circumstances indicate the carrying
value may not be recoverable, such as a decline in stock price and market capitalization. We test goodwill for impairment at
least annually. If such goodwill or finite-lived intangible assets are deemed to be impaired, an impairment loss equal to the
amount by which the carrying amount exceeds the fair value of the assets would be recognized. We may be required to record
a significant charge in our financial statements during the period in which any impairment of our goodwill or finite-lived intangible
assets is determined, which would negatively affect our results of operations.

Our business is dependent on our ability to maintain and scale our technical infrastructure, and any significant disruption
in our service could damage our reputation, result in a potential loss of users and engagement, and adversely affect our
financial results.

       Our reputation and ability to attract, retain, and serve our users is dependent upon the reliable performance of our products
and our underlying technical infrastructure. We have in the past experienced, and may in the future experience, interruptions in
the availability or performance of our products from time to time. Our systems may not be adequately designed or may not
operate with the reliability and redundancy necessary to avoid performance delays or outages that could be harmful to our
business. If our products are unavailable when users attempt to access them, or if they do not load as quickly as expected, users
may not use our products as often in the future, or at all, and our ability to serve ads may be disrupted, any of which could
adversely affect our business and financial performance. As the amount and types of information shared on Facebook and our
other products continue to grow and evolve, as the usage patterns of our global community continue to evolve, and as our internal
operational demands continue to grow, we will need an increasing amount of technical infrastructure, including network capacity
and computing power, to continue to satisfy our needs. It is possible that we may fail to continue to effectively scale and grow
our technical infrastructure to accommodate these increased demands, which may adversely affect our user engagement and
advertising revenue growth. In addition, our business may be subject to interruptions, delays, or failures resulting from
earthquakes, adverse weather conditions, other natural disasters, power loss, terrorism, geopolitical conflict, other physical
security threats, cyber-attacks, or other catastrophic events. If such an event were to occur, users may be subject to service
disruptions or outages and we may not be able to recover our technical infrastructure and user data in a timely manner to restart
or provide our services, which may adversely affect our financial results.

       A substantial portion of our network infrastructure is provided by third parties. Any disruption or failure in the services
we receive from these providers could harm our ability to handle existing or increased traffic and could significantly harm our
business. Any financial or other difficulties these providers face may adversely affect our business, and we exercise little control
over these providers, which increases our vulnerability to problems with the services they provide.




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We could experience unforeseen difficulties in building and operating key portions of our technical infrastructure.

        We have designed and built our own data centers and key portions of our technical infrastructure through which we serve
our products, and we plan to continue to significantly expand the size of our infrastructure primarily through data centers and
other projects. The infrastructure expansion we are undertaking is complex and involves projects in multiple locations.
Unanticipated delays in the completion of these projects, including due to any shortage of labor necessary in building portions
of such projects, or availability of components, challenges in obtaining required government or regulatory approvals, or other
geopolitical challenges or actions by governments, may lead to increased project costs, operational inefficiencies, or interruptions
in the delivery or degradation of the quality of our products. In addition, there may be issues related to this infrastructure that
are not identified during the testing phases of design and implementation, which may only become evident after we have started
to fully utilize the underlying equipment, that could further degrade the user experience or increase our costs. Any of these events
could adversely affect our business, reputation, or financial results.

Our products and internal systems rely on software and hardware that is highly technical, and if these systems contain errors,
bugs, or vulnerabilities, or if we are unsuccessful in addressing or mitigating technical limitations in our systems, our business
could be adversely affected.

       Our products and internal systems rely on software and hardware, including software and hardware developed or
maintained internally and/or by third parties, that is highly technical and complex. In addition, our products and internal systems
depend on the ability of such software and hardware to store, retrieve, process, and manage immense amounts of data. The
software and hardware on which we rely has contained, and will in the future contain, errors, bugs, or vulnerabilities, and our
systems are subject to certain technical limitations that may compromise our ability to meet our objectives. Some errors, bugs,
or vulnerabilities inherently may be difficult to detect and may only be discovered after the code has been released for external
or internal use. For example, in September 2018, we announced our discovery of a third-party cyber-attack that exploited a
vulnerability in Facebook's code to steal user access tokens and access certain profile information from user accounts on Facebook.
Errors, bugs, vulnerabilities, design defects, or technical limitations within the software and hardware on which we rely have
in the past led to, and may in the future lead to, outcomes including a negative experience for users and marketers who use our
products, compromised ability of our products to perform in a manner consistent with our terms, contracts, or policies, delayed
product introductions or enhancements, targeting, measurement, or billing errors, compromised ability to protect the data of our
users and/or our intellectual property, or reductions in our ability to provide some or all of our services. For example, we make
commitments to our users as to how their data will be used within and across our products, and our systems are subject to errors,
bugs and technical limitations that may prevent us from fulfilling these commitments reliably. If our systems contain bugs or
errors or if we do not properly address or mitigate the technical limitations in our systems, we may fail to fulfill our commitments
to our users and be subject to regulatory scrutiny or litigation that could harm our business and result in fines, damages, or other
remedies. In addition, errors, bugs, vulnerabilities, or defects in the software and hardware on which we rely, and any associated
degradations or interruptions of service, have in the past led to, and may in the future lead to, outcomes including damage to
our reputation, loss of users, loss of marketers, loss of revenue, regulatory inquiries, or liability for damages, any of which could
adversely affect our business and financial results.

Technologies have been developed that can block the display of our ads, which could adversely affect our financial results.

       Technologies have been developed, and will likely continue to be developed, that can block the display of our ads or
block our ad measurement tools, particularly for advertising displayed on personal computers. We generate substantially all of
our revenue from advertising, including revenue resulting from the display of ads on personal computers. Revenue generated
from the display of ads on personal computers has been impacted by these technologies from time to time. As a result, these
technologies have had an adverse effect on our financial results and, if such technologies continue to proliferate, in particular
with respect to mobile platforms, our future financial results may be harmed.

Real or perceived inaccuracies in our community and other metrics may harm our reputation and negatively affect our
business.

       The numbers for our key metrics, which include our Facebook metrics (DAUs, MAUs, and average revenue per user
(ARPU)) and Family metrics (DAP, MAP, and average revenue per person (ARPP)), are calculated using internal company data
based on the activity of user accounts. While these numbers are based on what we believe to be reasonable estimates of our user
base for the applicable period of measurement, there are inherent challenges in measuring usage of our products across large
online and mobile populations around the world. The methodologies used to measure these metrics require significant judgment

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and are also susceptible to algorithm or other technical errors. In addition, we are continually seeking to improve our estimates
of our user base, and such estimates may change due to improvements or changes in our methodology. We regularly review our
processes for calculating these metrics, and from time to time we discover inaccuracies in our metrics or make adjustments to
improve their accuracy, which can result in adjustments to our historical metrics. Our ability to recalculate our historical metrics
may be impacted by data limitations or other factors that require us to apply different methodologies for such adjustments. We
generally do not intend to update previously disclosed Family metrics for any such inaccuracies or adjustments that are within
the error margins disclosed below.

        In addition, our Facebook metrics and Family metrics estimates will differ from estimates published by third parties due
to differences in methodology.

       We regularly evaluate our Facebook metrics to estimate the number of "duplicate" and "false" accounts among our MAUs.
A duplicate account is one that a user maintains in addition to his or her principal account. We divide "false" accounts into two
categories: (1) user-misclassified accounts, where users have created personal profiles for a business, organization, or non-
human entity such as a pet (such entities are permitted on Facebook using a Page rather than a personal profile under our terms
of service); and (2) violating accounts, which represent user profiles that we believe are intended to be used for purposes that
violate our terms of service, such as bots and spam. The estimates of duplicate and false accounts are based on an internal review
of a limited sample of accounts, and we apply significant judgment in making this determination. For example, to identify
duplicate accounts we use data signals such as identical IP addresses and similar user names, and to identify false accounts we
look for names that appear to be fake or other behavior that appears inauthentic to the reviewers. Any loss of access to data
signals we use in this process, whether as a result of our own product decisions, actions by third-party browser or mobile
platforms, regulatory or legislative requirements, or other factors, also may impact the stability or accuracy of our estimates of
duplicate and false accounts. Our estimates also may change as our methodologies evolve, including through the application of
new data signals or technologies or product changes that may allow us to identify previously undetected duplicate or false
accounts and may improve our ability to evaluate a broader population of our users. Duplicate and false accounts are very difficult
to measure at our scale, and it is possible that the actual number of duplicate and false accounts may vary significantly from our
estimates.

       In the fourth quarter of 2019, we estimated that duplicate accounts may have represented approximately 11% of our
worldwide MAUs. We believe the percentage of duplicate accounts is meaningfully higher in developing markets such as the
Philippines and Vietnam, as compared to more developed markets. In the fourth quarter of 2019, we estimated that false accounts
may have represented approximately 5% of our worldwide MAUs. Our estimation of false accounts can vary as a result of
episodic spikes in the creation of such accounts, which we have seen originate more frequently in specific countries such as
Indonesia and Vietnam. From time to time, we disable certain user accounts, make product changes, or take other actions to
reduce the number of duplicate or false accounts among our users, which may also reduce our DAU and MAU estimates in a
particular period. We intend to disclose our estimates of the number of duplicate and false accounts among our MAUs on an
annual basis.

        Many people in our community have user accounts on more than one of our products, and some people have multiple
user accounts within an individual product. Accordingly, for our Family metrics, we do not seek to count the total number of
user accounts across our products because we believe that would not reflect the actual size of our community. Rather, our Family
metrics represent our estimates of the number of unique people using at least one of Facebook, Instagram, Messenger, and
WhatsApp. We do not require people to use a common identifier or link their accounts to use multiple products in our Family,
and therefore must seek to attribute multiple user accounts within and across products to individual people. To calculate these
metrics, we rely upon complex techniques, algorithms and machine learning models that seek to count the individual people
behind user accounts, including by matching multiple user accounts within an individual product and across multiple products
when we believe they are attributable to a single person, and counting such group of accounts as one person. These techniques
and models require significant judgment, are subject to data and other limitations discussed below, and inherently are subject
to statistical variances and uncertainties. We estimate the potential error in our Family metrics primarily based on user survey
data, which itself is subject to error as well. While we expect the error margin for our Family metrics to vary from period to
period, we estimate that such margin generally will be approximately 3% of our worldwide MAP. At our scale, it is very difficult
to attribute multiple user accounts within and across products to individual people, and it is possible that the actual numbers of
unique people using our products may vary significantly from our estimates, potentially beyond our estimated error margins.
As a result, it is also possible that our Family metrics may indicate changes or trends in user numbers that do not match actual
changes or trends.


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        To calculate our estimates of Family DAP and MAP, we currently use a series of machine learning models that are
developed based on internal reviews of limited samples of user accounts and calibrated against user survey data. We apply
significant judgment in designing these models and calculating these estimates. For example, to match user accounts within
individual products and across multiple products, we use data signals such as similar device information, IP addresses, and user
names. We also calibrate our models against data from periodic user surveys of varying sizes and frequency across our products,
which are inherently subject to error. In addition, our data limitations may affect our understanding of certain details of our
business and increase the risk of error for our Family metrics estimates. Our techniques and models rely on a variety of data
signals from different products, and we rely on more limited data signals for some products compared to others. For example,
as a result of limited visibility into encrypted products, we have fewer data signals from WhatsApp user accounts and primarily
rely on phone numbers and device information to match WhatsApp user accounts with accounts on our other products. Similarly,
although Messenger Kids users are included in our Family metrics, we do not seek to match their accounts with accounts on our
other applications for purposes of calculating DAP and MAP. Any loss of access to data signals we use in our process for
calculating Family metrics, whether as a result of our own product decisions, actions by third-party browser or mobile platforms,
regulatory or legislative requirements, or other factors, also may impact the stability or accuracy of our reported Family metrics.
Our estimates of Family metrics also may change as our methodologies evolve, including through the application of new data
signals or technologies, product changes, or other improvements in our user surveys, algorithms, or machine learning that may
improve our ability to match accounts within and across our products or otherwise evaluate the broad population of our users.
In addition, such evolution may allow us to identify previously undetected violating accounts (as defined below).

       We regularly evaluate our Family metrics to estimate the percentage of our MAP consisting solely of "violating" accounts.
We define "violating" accounts as accounts which we believe are intended to be used for purposes that violate our terms of
service, including bots and spam. In the fourth quarter of 2019, we estimated that approximately 3% of our worldwide MAP
consisted solely of violating accounts. Such estimation is based on an internal review of a limited sample of accounts, and we
apply significant judgment in making this determination. For example, we look for account information and behaviors associated
with Facebook and Instagram accounts that appear to be inauthentic to the reviewers, but we have limited visibility into WhatsApp
user activity due to encryption. In addition, if we believe an individual person has one or more violating accounts, we do not
include such person in our violating accounts estimation as long as we believe they have one account that does not constitute a
violating account. From time to time, we disable certain user accounts, make product changes, or take other actions to reduce
the number of violating accounts among our users, which may also reduce our DAP and MAP estimates in a particular period.
We intend to disclose our estimates of the percentage of our MAP consisting solely of violating accounts on an annual basis.
Violating accounts are very difficult to measure at our scale, and it is possible that the actual number of violating accounts may
vary significantly from our estimates.

       Other data limitations also may affect our understanding of certain details of our business. For example, while user-
provided data indicates a decline in usage among younger users, this age data is unreliable because a disproportionate number
of our younger users register with an inaccurate age. Accordingly, our understanding of usage by age group may not be complete.

       In addition, our data regarding the geographic location of our users is estimated based on a number of factors, such as
the user's IP address and self-disclosed location. These factors may not always accurately reflect the user's actual location. For
example, a user may appear to be accessing Facebook from the location of the proxy server that the user connects to rather than
from the user's actual location. The methodologies used to measure our metrics are also susceptible to algorithm or other technical
errors, and our estimates for revenue by user location and revenue by user device are also affected by these factors.

       In addition, from time to time we provide, or rely on, certain other metrics, including those relating to the reach and
effectiveness of our ads. All of our metrics are subject to software bugs, inconsistencies in our systems, and human error. If
marketers, developers, or investors do not perceive our metrics to be accurate, or if we discover material inaccuracies in our
metrics, we may be subject to liability, our reputation may be harmed, and marketers and developers may be less willing to
allocate their budgets or resources to Facebook or our other products, which could negatively affect our business and financial
results.

We cannot assure you that we will effectively manage our growth.

       Our employee headcount and the scope and complexity of our business have increased significantly, with the number of
employees increasing to 44,942 as of December 31, 2019 from 35,587 as of December 31, 2018, and we expect such headcount
growth to continue for the foreseeable future. In addition, we plan to continue to hire a number of employees and contractors
in order to address various privacy, safety, security, and content review initiatives. The growth and expansion of our business

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and products create significant challenges for our management, operational, and financial resources, including managing multiple
relationships with users, marketers, developers, and other third parties. As our operations and the number of our third-party
relationships continue to grow, our information technology systems or our internal controls and procedures may not be adequate
to support such growth. In addition, some members of our management do not have significant experience managing a large
global business operation, so our management may not be able to manage such growth effectively. To effectively manage our
growth, we must continue to improve our operational, financial, and management processes and systems and to effectively
expand, train, and manage our personnel. As our organization continues to grow, and we are required to implement more complex
organizational management structures, we may find it increasingly difficult to maintain the benefits of our corporate culture,
including our ability to quickly develop and launch new and innovative products. This could negatively affect our business
performance.

The loss of one or more of our key personnel, or our failure to attract and retain other highly qualified personnel in the
future, could harm our business.

       We currently depend on the continued services and performance of our key personnel, including Mark Zuckerberg and
Sheryl K. Sandberg. Although we have entered into employment agreements with Mr. Zuckerberg and Ms. Sandberg, the
agreements have no specific duration and constitute at-will employment. In addition, many of our key technologies and systems
are custom-made for our business by our personnel. The loss of key personnel, including members of management as well as
key engineering, product development, marketing, and sales personnel, could disrupt our operations and have an adverse effect
on our business.

        As we continue to grow, we cannot guarantee we will continue to attract and retain the personnel we need to maintain
our competitive position. In particular, we intend to continue to hire a significant number of technical personnel in the foreseeable
future, and we expect to continue to face significant challenges in hiring such personnel, particularly in the San Francisco Bay
Area, where our headquarters are located, whether as a result of competition with other companies, challenges due to the high
cost of living, facilities and infrastructure constraints, or other factors. As we continue to mature, the incentives to attract, retain,
and motivate employees provided by our equity awards or by future arrangements may not be as effective as in the past, and if
we issue significant equity to attract additional employees or to retain our existing employees, we would incur substantial
additional share-based compensation expense and the ownership of our existing stockholders would be further diluted. Our
ability to attract, retain, and motivate employees may also be adversely affected by stock price volatility. As a result of these
factors, it may be difficult for us to continue to retain and motivate our employees. If we do not succeed in attracting, hiring,
and integrating excellent personnel, or retaining and motivating existing personnel, we may be unable to grow effectively.

We may not be able to continue to successfully maintain or grow usage of and engagement with mobile and web applications
that integrate with Facebook and our other products.

        We have made and are continuing to make investments to enable developers to build, grow, and monetize mobile and
web applications that integrate with Facebook and our other products. Such existing and prospective developers may not be
successful in building, growing, or monetizing mobile and/or web applications that create and maintain user engagement.
Additionally, developers may choose to build on other platforms, including mobile platforms controlled by third parties, rather
than building products that integrate with Facebook and our other products. We are continuously seeking to balance the distribution
objectives of our developers with our desire to provide an optimal user experience, and we may not be successful in achieving
a balance that continues to attract and retain such developers. For example, from time to time, we have taken actions to reduce
the volume of communications from these developers to users on Facebook and our other products with the objective of enhancing
the user experience, and such actions have reduced distribution from, user engagement with, and our monetization opportunities
from, mobile and web applications integrated with our products. In addition, as part of our efforts related to privacy, safety, and
security, we are conducting investigations and audits of a large number of platform applications, and we also have announced
several product changes that restrict developer access to certain user data. In some instances, these actions, as well as other
actions to enforce our policies applicable to developers, have adversely affected, or will adversely affect, our relationships with
developers. If we are not successful in our efforts to maintain or grow the number of developers that choose to build products
that integrate with Facebook and our other products or if we are unable to continue to build and maintain good relations with
such developers, our user growth and user engagement and our financial results may be adversely affected.




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Payment transactions may subject us to additional regulatory requirements and other risks that could be costly and difficult
to comply with or that could harm our business.

        Our users can purchase virtual and digital goods from developers that offer applications using our Payments infrastructure
on the Facebook website. In addition, certain of our users can use our Payments infrastructure, including on Messenger, for
other activities, such as sending money to other users and making donations to certain charitable organizations. We are subject
to a variety of laws and regulations in the United States, Europe, and elsewhere, including those governing anti-money laundering
and counter-terrorist financing, money transmission, gift cards and other prepaid access instruments, electronic funds transfer,
charitable fundraising, and import and export restrictions. Depending on how our Payments product evolves, we may also be
subject to other laws and regulations including those governing gambling, banking, and lending. In some jurisdictions, the
application or interpretation of these laws and regulations is not clear. To increase flexibility in how our use of Payments may
evolve and to mitigate regulatory uncertainty, we have received certain money transmitter licenses in the United States and an
Electronic Money (E-Money) license that allows us to conduct certain regulated payment activities in the participating member
countries of the European Economic Area, which will generally require us to demonstrate compliance with many domestic and
foreign laws in these areas. Our efforts to comply with these laws and regulations could be costly and result in diversion of
management time and effort and may still not guarantee compliance. In the event that we are found to be in violation of any
such legal or regulatory requirements, we may be subject to monetary fines or other penalties such as a cease and desist order,
or we may be required to make product changes, any of which could have an adverse effect on our business and financial results.

       In addition, we may be subject to a variety of additional risks as a result of Payments transactions, including: increased
costs and diversion of management time and effort and other resources to deal with bad transactions or customer disputes;
potential fraudulent or otherwise illegal activity by users, developers, employees, or third parties; restrictions on the investment
of consumer funds used to transact Payments; and additional disclosure and reporting requirements. We also intend to launch
certain payments functionality on WhatsApp and have announced plans to develop digital payments products and services,
which may subject us to many of the foregoing risks and additional licensing requirements.

Our participation in the Libra Association will subject us to significant regulatory scrutiny and other risks that could adversely
affect our business, reputation, or financial results.

      In June 2019, we announced our participation in the Libra Association, which will oversee a proposed digital payments
system powered by blockchain technology, and our plans for Calibra, a digital wallet for Libra which we expect to launch in
Messenger, WhatsApp, and as a standalone application.

       Libra is based on relatively new and unproven technology, and the laws and regulations surrounding blockchain-based
payments are uncertain and evolving. Libra has drawn significant scrutiny from governments and regulators in multiple
jurisdictions and we expect that scrutiny to continue. As a primary sponsor of the initiative, we are participating in responses to
inquiries from governments and regulators, and adverse government or regulatory actions or negative publicity resulting from
such participation may adversely affect our reputation and harm our business.

       As this initiative evolves, we may be subject to a variety of laws and regulations in the United States and international
jurisdictions, including those governing payments, financial services, anti-money laundering, counter-terrorism financing,
economic sanctions, data protection, tax, and competition. In many jurisdictions, the application or interpretation of these laws
and regulations is not clear, particularly with respect to evolving laws and regulations that are applied to blockchain and digital
payments. These laws and regulations, as well as any associated inquiries or investigations, may delay or impede the launch of
the Libra currency as well as the development of our products and services, increase our operating costs, require significant
management time and attention, or otherwise harm our business.

       In addition, market acceptance of such currency is subject to significant uncertainty. As such, there can be no assurance
that Libra or our associated products and services will be made available in a timely manner, or at all. We do not have significant
prior experience with blockchain-based payments technology, which may adversely affect our ability to successfully develop
and market these products and services. We will also incur increased costs in connection with our participation in the Libra
Association and the development and marketing of associated products and services, and our investments may not be successful.
Any of these events could adversely affect our business, reputation, or financial results.




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We have significant international operations and plan to continue expanding our operations abroad where we have more
limited operating experience, and this may subject us to increased business and economic risks that could affect our financial
results.

        We have significant international operations and plan to continue the international expansion of our business operations
and the translation of our products. We currently make Facebook available in more than 100 different languages, and we have
offices or data centers in more than 30 different countries. We may enter new international markets where we have limited or
no experience in marketing, selling, and deploying our products. Our products are generally available globally, but some or all
of our products or functionality may not be available in certain markets due to legal and regulatory complexities. For example,
Facebook and certain of our other products are not generally available in China. We also outsource certain operational functions
to third-party vendors globally. If we fail to deploy, manage, or oversee our international operations successfully, our business
may suffer. In addition, we are subject to a variety of risks inherent in doing business internationally, including:

    •         political, social, or economic instability;

    •         risks related to legal, regulatory, and other government scrutiny applicable to U.S. companies with sales and
              operations in foreign jurisdictions, including with respect to privacy, tax, law enforcement, content, trade
              compliance, competition, consumer protection, intellectual property, and terrestrial infrastructure matters;

    •         potential damage to our brand and reputation due to compliance with local laws, including potential censorship or
              requirements to provide user information to local authorities;

    •         enhanced difficulty in reviewing content on our platform and enforcing our community standards across different
              languages and countries;

    •         fluctuations in currency exchange rates and compliance with currency controls;

    •         foreign exchange controls and tax and other regulations and orders that might prevent us from repatriating cash
              earned in countries outside the United States or otherwise limit our ability to move cash freely, and impede our
              ability to invest such cash efficiently;

    •         higher levels of credit risk and payment fraud;

    •         enhanced difficulties of integrating any foreign acquisitions;

    •         burdens of complying with a variety of foreign laws, including laws related to taxation, content removal, data
              localization, and regulatory oversight;

    •         reduced protection for intellectual property rights in some countries;

    •         difficulties in staffing, managing, and overseeing global operations and the increased travel, infrastructure, and
              legal compliance costs associated with multiple international locations;

    •         compliance with the U.S. Foreign Corrupt Practices Act, the U.K. Bribery Act, and similar laws in other jurisdictions;

    •         compliance with statutory equity requirements and management of tax consequences; and

    •         geopolitical events affecting us, our marketers or our industry, including trade disputes.

       If we are unable to expand internationally and manage the complexity of our global operations successfully, our financial
results could be adversely affected.

We face design, manufacturing, and supply chain risks that, if not properly managed, could adversely impact our financial
results.

        We face a number of risks related to design, manufacturing, and supply chain management with respect to our consumer

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hardware products. For example, the consumer hardware products we sell may have quality issues resulting from the design or
manufacture of the products, or from the software used in the products. Sometimes, these issues may be caused by components
we purchase from other manufacturers or suppliers. If the quality of our consumer hardware products does not meet our customers'
expectations or such products are found to be defective, then our brand and financial results could be adversely affected.

       We rely on third parties to manufacture and manage the logistics of transporting and distributing our consumer hardware
products. We may experience supply shortages or other disruptions in logistics or the supply chain in the future that could result
in shipping delays and negatively impact our operations. We could be negatively affected if we are not able to engage third
parties with the necessary capabilities or capacity on reasonable terms, or if those we engage with fail to meet their obligations
(whether due to financial difficulties or other reasons), or make adverse changes in the pricing or other material terms of such
arrangements with them. The manufacturing and sale of our consumer hardware products also may be negatively impacted by
geopolitical challenges, trade disputes, or other actions by governments that subject us to supply shortages, increased costs, or
supply chain disruptions.

       We also require the suppliers and business partners of our consumer hardware products to comply with laws and certain
company policies regarding sourcing practices and standards on labor, health and safety, the environment, and business ethics,
but we do not control them or their practices and standards. If any of them violates laws, fails to implement changes in accordance
with newly enacted laws, or implements practices or standards regarded as unethical, corrupt, or non-compliant, we could
experience supply chain disruptions, government action or fines, canceled orders, or damage to our reputation.

We face inventory risk with respect to our consumer hardware products.

       We are exposed to inventory risks with respect to our consumer hardware products as a result of rapid changes in product
cycles and pricing, unsafe or defective merchandise, changes in consumer demand and consumer spending patterns, changes in
consumer tastes with respect to our consumer hardware products, and other factors. We endeavor to accurately predict these
trends and avoid overstocking or understocking consumer hardware products we may sell. Demand for products, however, can
change significantly between the time inventory or components are ordered and the date of sale. In addition, when we begin
selling or manufacturing a new consumer hardware product, it may be difficult to establish vendor relationships, determine
appropriate product or component selection, and accurately forecast demand. The acquisition of certain types of inventory or
components may require significant lead-time and prepayment and they may not be returnable. Any one of these factors may
adversely affect our operating results.

We may have exposure to greater than anticipated tax liabilities.

       Our tax obligations, including income and non-income taxes, are based in part on our corporate operating structure and
intercompany arrangements, including the manner in which we operate our business, develop, value, manage, protect, and use
our intellectual property, and the valuations of our intercompany transactions. The tax laws applicable to our business, including
the laws of the United States and other jurisdictions, are subject to interpretation and certain jurisdictions are aggressively
interpreting their laws in new ways in an effort to raise additional tax revenue from companies such as Facebook. We are subject
to regular review and audit by U.S. federal, state, and foreign tax authorities. Tax authorities may disagree with certain positions
we have taken, including our methodologies for valuing developed technology or intercompany arrangements, and any adverse
outcome of such a review or audit could increase our worldwide effective tax rate, increase the amount of non-income taxes
imposed on our business, and harm our financial position, results of operations, and cash flows. For example, in 2016 and 2018,
the IRS issued formal assessments relating to transfer pricing with our foreign subsidiaries in conjunction with the examination
of the 2010 through 2013 tax years. Although we disagree with the IRS's position and are contesting this issue, the ultimate
resolution is uncertain and, if resolved in a manner unfavorable to us, may adversely affect our financial results.

       The determination of our worldwide provision for income taxes and other tax liabilities requires significant judgment by
management, and there are many transactions where the ultimate tax determination is uncertain. Our provision for income taxes
is determined by the manner in which we operate our business, and any changes to such operations or laws applicable to such
operations may affect our effective tax rate. Although we believe that our provision for income taxes and estimates of our non-
income tax liabilities are reasonable, the ultimate settlement may differ from the amounts recorded in our financial statements
and may materially affect our financial results in the period or periods for which such determination is made.

        Our future income tax rates could be volatile and difficult to predict due to changes in jurisdictional profit split, changes
in the amount and recognition of deferred tax assets and liabilities, or by changes in tax laws, regulations, or accounting principles.

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Changes in tax laws or tax rulings could materially affect our financial position, results of operations, and cash flows.

       The tax regimes we are subject to or operate under, including income and non-income taxes, are unsettled and may be
subject to significant change. Changes in tax laws or tax rulings, or changes in interpretations of existing laws, could materially
affect our financial position, results of operations, and cash flows. For example, the 2017 Tax Cuts and Jobs Act (Tax Act)
enacted in December 2017 had a significant impact on our tax obligations and effective tax rate for the fourth quarter of 2017,
and the issuance of additional regulatory or accounting guidance related to the Tax Act could materially affect our tax obligations
and effective tax rate in the period issued. In addition, a three-judge panel from the Ninth Circuit Court of Appeals issued a
decision in Altera Corp. v. Commissioner regarding the treatment of share-based compensation expense in a cost sharing
arrangement, which had a material effect on our tax obligations and effective tax rate for the second quarter of 2019. As the
taxpayer may appeal the decision to the Supreme Court of the United States, the final outcome of the case is uncertain and could
have a material effect on our tax obligations and effective tax rate in future quarters. In addition, many countries in Europe, as
well as a number of other countries and organizations, have recently proposed or recommended changes to existing tax laws or
have enacted new laws that could significantly increase our tax obligations in many countries where we do business or require
us to change the manner in which we operate our business.

       The Organization for Economic Cooperation and Development has been working on a Base Erosion and Profit Shifting
Project, and issued a report in 2015, an interim report in 2018, and is expected to continue to issue guidelines and proposals that
may change various aspects of the existing framework under which our tax obligations are determined in many of the countries
in which we do business. Similarly, the European Commission and several countries have issued proposals that would change
various aspects of the current tax framework under which we are taxed. These proposals include changes to the existing framework
to calculate income tax, as well as proposals to change or impose new types of non-income taxes, including taxes based on a
percentage of revenue. For example, several countries have proposed or enacted taxes applicable to digital services, which
includes business activities on social media platforms and online marketplaces, and would likely apply to our business.

        The European Commission has conducted investigations in multiple countries focusing on whether local country tax
rulings or tax legislation provides preferential tax treatment that violates European Union state aid rules and concluded that
certain countries, including Ireland, have provided illegal state aid in certain cases. These investigations may result in changes
to the tax treatment of our foreign operations.

       Due to the large and expanding scale of our international business activities, many of these types of changes to the taxation
of our activities described above could increase our worldwide effective tax rate, increase the amount of non-income taxes
imposed on our business, and harm our financial position, results of operations, and cash flows. Such changes may also apply
retroactively to our historical operations and result in taxes greater than the amounts estimated and recorded in our financial
statements.

We cannot guarantee that our share repurchase program will be fully consummated or that it will enhance long-term
stockholder value. Share repurchases could also increase the volatility of the trading price of our stock and will diminish
our cash reserves.

        Although our board of directors has authorized a share repurchase program that commenced in 2017 and does not have
an expiration date, the program does not obligate us to repurchase any specific dollar amount or to acquire any specific number
of shares of our Class A common stock. We cannot guarantee that the program will be fully consummated or that it will enhance
long-term stockholder value. The program could affect the trading price of our stock and increase volatility, and any announcement
of a termination of this program may result in a decrease in the trading price of our stock. In addition, this program will diminish
our cash reserves.

Risks Related to Ownership of Our Class A Common Stock

The trading price of our Class A common stock has been and will likely continue to be volatile.

       The trading price of our Class A common stock has been, and is likely to continue to be, volatile. Since shares of our
Class A common stock were sold in our initial public offering in May 2012 at a price of $38.00 per share, our stock price has
ranged from $17.55 to $218.62 through December 31, 2019. In addition to the factors discussed in this Annual Report on Form
10-K, the trading price of our Class A common stock may fluctuate significantly in response to numerous factors, many of which

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are beyond our control, including:

    •         actual or anticipated fluctuations in our revenue and other operating results;

    •         the financial projections we may provide to the public, any changes in these projections or our failure to meet these
              projections;

    •         actions of securities analysts who initiate or maintain coverage of us, changes in financial estimates by any securities
              analysts who follow our company, or our failure to meet these estimates or the expectations of investors;

    •         additional shares of our stock being sold into the market by us, our existing stockholders, or in connection with
              acquisitions, or the anticipation of such sales;

    •         investor sentiment with respect to our competitors, our business partners, and our industry in general;

    •         announcements by us or our competitors of significant products or features, technical innovations, acquisitions,
              strategic partnerships, joint ventures, or capital commitments;

    •         announcements by us or estimates by third parties of actual or anticipated changes in the size of our user base, the
              level of user engagement, or the effectiveness of our ad products;

    •         changes in operating performance and stock market valuations of technology companies in our industry, including
              our developers and competitors;

    •         price and volume fluctuations in the overall stock market, including as a result of trends in the economy as a whole;

    •         the inclusion, exclusion, or deletion of our stock from any trading indices, such as the S&P 500 Index;

    •         media coverage of our business and financial performance;

    •         lawsuits threatened or filed against us, or developments in pending lawsuits;

    •         developments in anticipated or new legislation or regulatory actions, including interim or final rulings by tax,
              judicial, or regulatory bodies;

    •         trading activity in our share repurchase program; and

    •         other events or factors, including those resulting from war or incidents of terrorism, or responses to these events.

       In addition, the stock markets have experienced extreme price and volume fluctuations that have affected and continue
to affect the market prices of equity securities of many technology companies. Stock prices of many technology companies have
fluctuated in a manner unrelated or disproportionate to the operating performance of those companies. We are currently subject
to securities litigation in connection with our platform and user data practices and the misuse of certain data by a developer that
shared such data with third parties in violation of our terms and policies, as well as the disclosure of our earnings results for the
second quarter of 2018. We may experience more such litigation following future periods of volatility. Any securities litigation
could subject us to substantial costs, divert resources and the attention of management from our business, and adversely affect
our business.

We do not intend to pay cash dividends for the foreseeable future.

      We have never declared or paid cash dividends on our capital stock. We currently intend to retain any future earnings to
finance the operation and expansion of our business and fund our share repurchase program, and we do not expect to declare or
pay any cash dividends in the foreseeable future. As a result, you may only receive a return on your investment in our Class A
common stock if the trading price of your shares increases.

The dual class structure of our common stock and a voting agreement between certain stockholders have the effect of

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concentrating voting control with our CEO and certain other holders of our Class B common stock; this will limit or preclude
your ability to influence corporate matters.

        Our Class B common stock has ten votes per share and our Class A common stock has one vote per share. Stockholders
who hold shares of Class B common stock, including certain of our executive officers, employees, and directors and their
affiliates, together hold a substantial majority of the voting power of our outstanding capital stock. Because of the ten-to-one
voting ratio between our Class B and Class A common stock, the holders of our Class B common stock collectively control a
majority of the combined voting power of our common stock and therefore are able to control all matters submitted to our
stockholders for approval so long as the shares of Class B common stock represent at least 9.1% of all outstanding shares of our
Class A and Class B common stock. This concentrated control will limit or preclude your ability to influence corporate matters
for the foreseeable future.

       Transfers by holders of Class B common stock will generally result in those shares converting to Class A common stock,
subject to limited exceptions, such as certain transfers effected for estate planning or charitable purposes. The conversion of
Class B common stock to Class A common stock will have the effect, over time, of increasing the relative voting power of those
holders of Class B common stock who retain their shares in the long term. If, for example, Mr. Zuckerberg retains a significant
portion of his holdings of Class B common stock for an extended period of time, he could, in the future, continue to control a
majority of the combined voting power of our outstanding capital stock.

Our status as a "controlled company" could make our Class A common stock less attractive to some investors or otherwise
harm our stock price.

        Because we qualify as a "controlled company" under the corporate governance rules for Nasdaq-listed companies, we
are not required to have a majority of our board of directors be independent, nor are we required to have a compensation committee
or an independent nominating function. In the future we could elect not to have a majority of our board of directors be independent
or not to have a compensation committee or an independent nominating function. Accordingly, should the interests of our
controlling stockholder differ from those of other stockholders, the other stockholders may not have the same protections afforded
to stockholders of companies that are subject to all of the corporate governance rules for Nasdaq-listed companies. Our status
as a controlled company could make our Class A common stock less attractive to some investors or otherwise harm our stock
price.

Delaware law and provisions in our restated certificate of incorporation and bylaws could make a merger, tender offer, or
proxy contest difficult, thereby depressing the trading price of our Class A common stock.

      Our status as a Delaware corporation and the anti-takeover provisions of the Delaware General Corporation Law may
discourage, delay, or prevent a change in control by prohibiting us from engaging in a business combination with an interested
stockholder for a period of three years after the person becomes an interested stockholder, even if a change of control would be
beneficial to our existing stockholders. In addition, our current restated certificate of incorporation and bylaws contain provisions
that may make the acquisition of our company more difficult, including the following:

    •         until the first date on which the outstanding shares of our Class B common stock represent less than 35% of the
              combined voting power of our common stock, any transaction that would result in a change in control of our
              company requires the approval of a majority of our outstanding Class B common stock voting as a separate class;

    •         we currently have a dual class common stock structure, which provides Mr. Zuckerberg with the ability to control
              the outcome of matters requiring stockholder approval, even if he owns significantly less than a majority of the
              shares of our outstanding Class A and Class B common stock;

    •         when the outstanding shares of our Class B common stock represent less than a majority of the combined voting
              power of common stock, certain amendments to our restated certificate of incorporation or bylaws will require the
              approval of two-thirds of the combined vote of our then-outstanding shares of Class A and Class B common stock;

    •         when the outstanding shares of our Class B common stock represent less than a majority of the combined voting
              power of our common stock, vacancies on our board of directors will be able to be filled only by our board of
              directors and not by stockholders;


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•    when the outstanding shares of our Class B common stock represent less than a majority of the combined voting
     power of our common stock, our board of directors will be classified into three classes of directors with staggered
     three-year terms and directors will only be able to be removed from office for cause;

•    when the outstanding shares of our Class B common stock represent less than a majority of the combined voting
     power of our common stock, our stockholders will only be able to take action at a meeting of stockholders and not
     by written consent;

•    only our chairman, our chief executive officer, our president, or a majority of our board of directors are authorized
     to call a special meeting of stockholders;

•    advance notice procedures apply for stockholders to nominate candidates for election as directors or to bring matters
     before an annual meeting of stockholders;

•    our restated certificate of incorporation authorizes undesignated preferred stock, the terms of which may be
     established, and shares of which may be issued, without stockholder approval; and

•    certain litigation against us can only be brought in Delaware.




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Item 1B. Unresolved Staff Comments

       None.

Item 2. Properties

      Our corporate headquarters are located in Menlo Park, California. As of December 31, 2019, we owned and leased
approximately nine million square feet of office and building space for our corporate headquarters and in the surrounding areas,
and approximately 90 acres of land to be developed to accommodate anticipated future growth.

      In addition, we have offices in approximately 70 cities across North America, Latin America, Europe, the Middle East,
Africa and Asia Pacific. We also own 15 data centers globally.

      We believe that our facilities are adequate for our current needs.

Item 3. Legal Proceedings

       Beginning on March 20, 2018, multiple putative class actions and derivative actions were filed in state and federal courts
in the United States and elsewhere against us and certain of our directors and officers alleging violations of securities laws,
breach of fiduciary duties, and other causes of action in connection with our platform and user data practices as well as the
misuse of certain data by a developer that shared such data with third parties in violation of our terms and policies, and seeking
unspecified damages and injunctive relief. Beginning on July 27, 2018, two putative class actions were filed in federal court in
the United States against us and certain of our directors and officers alleging violations of securities laws in connection with the
disclosure of our earnings results for the second quarter of 2018 and seeking unspecified damages. These two actions subsequently
were transferred and consolidated in the U.S. District Court for the Northern District of California with the putative securities
class action described above relating to our platform and user data practices. On September 25, 2019, the district court granted
our motion to dismiss the consolidated putative securities class action, with leave to amend. On November 15, 2019, an amended
complaint was filed in the consolidated putative securities class action. We believe these lawsuits are without merit, and we are
vigorously defending them. In addition, our platform and user data practices, as well as the events surrounding the misuse of
certain data by a developer, became the subject of U.S. Federal Trade Commission (FTC), state attorneys general, and other
government inquiries in the United States, Europe, and other jurisdictions. In July 2019, we entered into a settlement and modified
consent order to resolve the FTC inquiry, which is pending federal court approval. Among other matters, our settlement with
the FTC requires us to pay a penalty of $5.0 billion and to significantly enhance our practices and processes for privacy compliance
and oversight. Any other government inquiries regarding these matters could subject us to additional substantial fines and costs,
require us to change our business practices, divert resources and the attention of management from our business, or adversely
affect our business.

       On April 1, 2015, a putative class action was filed against us in the U.S. District Court for the Northern District of California
by Facebook users alleging that the "tag suggestions" facial recognition feature violates the Illinois Biometric Information
Privacy Act, and seeking statutory damages and injunctive relief. On April 16, 2018, the district court certified a class of Illinois
residents, and on May 14, 2018, the district court denied both parties' motions for summary judgment. On May 29, 2018, the
U.S. Court of Appeals for the Ninth Circuit granted our petition for review of the class certification order and stayed the proceeding.
On August 8, 2019, the Ninth Circuit affirmed the class certification order. On December 2, 2019, we filed a petition with the
U.S. Supreme Court seeking review of the decision of the Ninth Circuit, which was denied. On January 15, 2020, the parties
agreed to a settlement in principle to resolve the lawsuit, which will require a payment of $550 million by us and is subject to
approval by the court.




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        Beginning on September 28, 2018, multiple putative class actions were filed in state and federal courts in the United
States and elsewhere against us alleging violations of consumer protection laws and other causes of action in connection with
a third-party cyber-attack that exploited a vulnerability in Facebook's code to steal user access tokens and access certain profile
information from user accounts on Facebook, and seeking unspecified damages and injunctive relief. The actions filed in the
United States were consolidated in the U.S. District Court for the Northern District of California. On November 26, 2019, the
district court certified a class for injunctive relief purposes, but denied certification of a class for purposes of pursuing damages.
On January 16, 2020, the parties agreed to a settlement in principle to resolve the lawsuit. We believe the remaining lawsuits
are without merit, and we are vigorously defending them. In addition, the events surrounding this cyber-attack became the subject
of Irish Data Protection Commission (IDPC) and other government inquiries. Any such inquiries could subject us to substantial
fines and costs, require us to change our business practices, divert resources and the attention of management from our business,
or adversely affect our business.

       From time to time we also notify the IDPC, our designated European privacy regulator under the General Data Protection
Regulation, of certain other personal data breaches and privacy issues, and are subject to inquiries and investigations regarding
various aspects of our regulatory compliance. Any such inquiries or investigations could subject us to substantial fines and costs,
require us to change our business practices, divert resources and the attention of management from our business, or adversely
affect our business.

       In addition, from time to time we are subject to inquiries and investigations, formal or informal, by competition authorities
in the United States, Europe, and other jurisdictions. For example, in June 2019 we were informed by the FTC that it had opened
an antitrust investigation of our company. In addition, beginning in the third quarter of 2019, we became the subject of antitrust
investigations by the U.S. Department of Justice and state attorneys general. These investigations and inquiries concern, among
other things, our business practices in the areas of social networking or social media services, digital advertising, and/or mobile
or online applications, as well as past acquisitions. The result of such investigations or inquiries could subject us to substantial
monetary remedies and costs, interrupt or require us to change our business practices, divert resources and the attention of
management from our business, or subject us to other remedies that adversely affect our business.

       In addition, from time to time, we are subject to litigation and other proceedings involving law enforcement and other
regulatory agencies, including in particular in Brazil and Europe, in order to ascertain the precise scope of our legal obligations
to comply with the requests of those agencies, including our obligation to disclose user information in particular circumstances.
A number of such instances have resulted in the assessment of fines and penalties against us. We believe we have multiple legal
grounds to satisfy these requests or prevail against associated fines and penalties, and we intend to vigorously defend such fines
and penalties.

        We are also party to various other legal proceedings, claims, and regulatory, tax or government inquiries and investigations
that arise in the ordinary course of business, and we may in the future be subject to additional legal proceedings and disputes.

Item 4. Mine Safety Disclosures

       Not applicable.




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PART II

Item 5. Market for Registrant's Common Equity, Related Stockholder Matters and Issuer Purchases of Equity Securities

Market Information for Common Stock

      Our Class A common stock has been listed on the Nasdaq Global Select Market under the symbol "FB" since May 18,
2012. Prior to that time, there was no public market for our stock.

       Our Class B common stock is not listed on any stock exchange nor traded on any public market.

Holders of Record

       As of December 31, 2019, there were 3,624 stockholders of record of our Class A common stock, and the closing price
of our Class A common stock was $205.25 per share as reported on the Nasdaq Global Select Market. Because many of our
shares of Class A common stock are held by brokers and other institutions on behalf of stockholders, we are unable to estimate
the total number of stockholders represented by these record holders. As of December 31, 2019, there were 39 stockholders of
record of our Class B common stock.

Dividend Policy

      We have never declared or paid any cash dividend on our common stock. We intend to retain any future earnings and do
not expect to pay cash dividends in the foreseeable future.

Purchases of Equity Securities by the Issuer and Affiliated Purchasers

       The following table summarizes the share repurchase activity for the three months ended December 31, 2019:

                                                                                            Total Number of
                                                                                          Shares Purchased as      Approximate Dollar
                                                                                            Part of Publicly     Value of Shares that May
                                             Total Number of        Average Price Paid        Announced          Yet Be Purchased Under
                                            Shares Purchased (1)       Per Share (2)          Programs (1)       the Plans or Programs (1)
                                               (in thousands)                                (in thousands)             (in millions)

October 1 - 31, 2019                                      2,415    $           184.42                   2,415    $                      5,757
November 1 - 30, 2019                                     2,100    $           195.74                   2,100    $                      5,346
December 1 - 31, 2019                                     2,205    $           202.02                   2,205    $                      4,901
                                                          6,720                                         6,720
_________________________
(1) Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in January 2017 and
    does not have an expiration date. As of December 31, 2019, $4.90 billion remained available and authorized for repurchases. In January
    2020, an additional $10.0 billion of repurchases was authorized under this program. The timing and actual number of shares repurchased
    depend on a variety of factors, including price, general business and market conditions, and other investment opportunities, and shares
    may be repurchased through open market purchases or privately negotiated transactions, including through the use of trading plans
    intended to qualify under Rule 10b5-1 under the Exchange Act.

(2) Average price paid per share includes costs associated with the repurchases.

Recent Sale of Unregistered Securities and Use of Proceeds

       Recent Sale of Unregistered Securities

       None.




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Stock Performance Graph

This performance graph shall not be deemed "soliciting material" or to be "filed" with the SEC for purposes of Section 18 of
the Exchange Act, or otherwise subject to the liabilities under that Section, and shall not be deemed to be incorporated by
reference into any filing of Facebook, Inc. under the Securities Act of 1933, as amended, or the Exchange Act.

        The following graph shows a comparison of the cumulative total return for our Class A common stock, the Dow Jones
Internet Composite Index (DJINET), the Standard & Poor's 500 Stock Index (S&P 500) and the Nasdaq Composite Index (Nasdaq
Composite) for the five years ended December 31, 2019. The graph assumes that $100 was invested at the market close on the
last trading day for the fiscal year ended December 31, 2014 in the Class A common stock of Facebook, Inc., the DJINET, the
S&P 500 and the Nasdaq Composite and data for the DJINET, the S&P 500 and the Nasdaq Composite assumes reinvestments
of gross dividends. The stock price performance of the following graph is not necessarily indicative of future stock price
performance.


                                Comparison of Five-Year Cumulative Total Return for Facebook, Inc.


                                             DJINET, S&P 500 and Nasdaq Composite

     $300


     $250


     $200


     $150


     $100


      $50
                12/31/2014           12/31/2015        12/31/2016       12/31/2017       12/31/2018       12/31/2019


               Facebook, Inc.                 DJINET                      S&P 500
                                                                                            -----     Nasdaq Composite




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Item 6. Selected Financial Data

       You should read the following selected consolidated financial data in conjunction with Part II, Item 7, "Management's
Discussion and Analysis of Financial Condition and Results of Operations," and our consolidated financial statements and the
related notes included in Part II, Item 8, "Financial Statements and Supplementary Data" of this Annual Report on Form 10-K.

       The consolidated statements of income data for each of the years ended December 31, 2019, 2018, and 2017 and the
consolidated balance sheets data as of December 31, 2019 and 2018 are derived from our audited consolidated financial statements
included in Part II, Item 8, "Financial Statements and Supplementary Data" of this Annual Report on Form 10-K. The consolidated
statements of income data for the years ended December 31, 2016 and 2015 and the consolidated balance sheets data as of
December 31, 2017, 2016, and 2015 are derived from our audited consolidated financial statements, except as otherwise noted,
that are not included in this Annual Report on Form 10-K. Our historical results are not necessarily indicative of our results in
any future period.

                                                                                       Year Ended December 31,
                                                          2019               2018                  2017               2016              2015
                                                                                    (in millions, except per share data)
Consolidated Statements of Income Data:
Revenue                                              $      70,697       $    55,838        $         40,653     $         27,638   $    17,928
                            (1)
Total costs and expenses                             $      46,711       $    30,925        $         20,450     $         15,211   $    11,703
Income from operations                               $      23,986       $    24,913        $         20,203     $         12,427   $      6,225
Income before provision for income taxes             $      24,812       $    25,361        $         20,594     $         12,518   $      6,194
Net income                                           $      18,485       $    22,112        $         15,934     $         10,217   $      3,688
Net income attributable to Class A and
Class B common stockholders                          $      18,485       $    22,111        $         15,920     $         10,188   $      3,669
Earnings per share attributable to Class A
and Class B common stockholders:
      Basic                                          $           6.48    $          7.65    $             5.49   $           3.56   $          1.31
       Diluted                                       $           6.43    $          7.57    $             5.39   $           3.49   $          1.29
_________________________
(1) Total costs and expenses include $4.84 billion, $4.15 billion, $3.72 billion, $3.22 billion, and $2.97 billion of share-based compensation
    for the years ended December 31, 2019, 2018, 2017, 2016, and 2015, respectively.

                                                                                           As of December 31,
                                                          2019               2018                  2017               2016              2015
                                                                                                (in millions)
Consolidated Balance Sheets Data:
Cash, cash equivalents, and marketable
securities                                           $      54,855       $    41,114        $         41,711     $         29,449   $    18,434
Working capital                                      $      51,172       $    43,463        $         44,803     $         31,526   $    19,727
Property and equipment, net                          $      35,323       $    24,683        $         13,721     $          8,591   $     5,687
Total assets                                         $     133,376       $    97,334        $         84,524     $         64,961   $    49,407
Operating lease liabilities(1)                       $      10,324       $        —         $             —      $             —    $        —
Total liabilities                                    $      32,322       $    13,207        $         10,177     $          5,767   $     5,189
Additional paid-in capital                           $      45,851       $    42,906        $         40,584     $         38,227   $    34,886
Total stockholders' equity                           $     101,054       $    84,127        $         74,347     $         59,194   $    44,218
_________________________
(1) On January 1, 2019, we adopted Accounting Standards Update No. 2016-02, Leases (Topic 842). Prior period amounts have not been
    adjusted under the modified retrospective method.




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Free Cash Flow

      In addition to other financial measures presented in accordance with U.S. generally accepted accounting principles (GAAP),
we monitor free cash flow (FCF) as a non-GAAP measure to manage our business, make planning decisions, evaluate our
performance, and allocate resources. We define FCF as net cash provided by operating activities reduced by net purchases of
property and equipment and principal payments on finance leases.

      We believe that FCF is one of the key financial indicators of our business performance over the long term and provides
useful information regarding how cash provided by operating activities compares to the property and equipment investments
required to maintain and grow our business.

      We have chosen our definition for FCF because we believe that this methodology can provide useful supplemental
information to help investors better understand underlying trends in our business. We use FCF in discussions with our senior
management and board of directors.

      FCF has limitations as an analytical tool, and you should not consider it in isolation or as a substitute for analysis of other
GAAP financial measures, such as net cash provided by operating activities. FCF is not intended to represent our residual cash
flow available for discretionary expenses. Some of the limitations of FCF are:

       •     FCF does not reflect our future contractual commitments; and
       •     other companies in our industry present similarly titled measures differently than we do, limiting their usefulness
             as comparative measures.

       Management compensates for the inherent limitations associated with using the FCF measure through disclosure of such
limitations, presentation of our financial statements in accordance with GAAP, and reconciliation of FCF to the most directly
comparable GAAP measure, net cash provided by operating activities, as presented below.

      The following is a reconciliation of FCF to the most comparable GAAP measure, net cash provided by operating activities:


                                                                                Year Ended December 31,
                                                       2019             2018                2017           2016            2015
                                                                                       (in millions)
Net cash provided by operating activities         $     36,314      $    29,274    $         24,216    $   16,108     $     10,320
   Less: Purchases of property and
      equipment, net                                    (15,102)        (13,915)             (6,733)        (4,491)         (2,523)
   Less: Principal payments on finance
      leases                                              (552)              —                   —             —                —
Free cash flow                                    $     20,660 $         15,359    $         17,483    $   11,617     $      7,797




                                                                   43
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Item 7. Management's Discussion and Analysis of Financial Condition and Results of Operations

You should read the following discussion of our financial condition and results of operations in conjunction with our consolidated
financial statements and the related notes included in Part II, Item 8, "Financial Statements and Supplementary Data" of this
Annual Report on Form 10-K. In addition to our historical consolidated financial information, the following discussion contains
forward-looking statements that reflect our plans, estimates, and beliefs. Our actual results could differ materially from those
discussed in the forward-looking statements. Factors that could cause or contribute to these differences include those discussed
below and elsewhere in this Annual Report on Form 10-K, particularly in Part I, Item 1A, "Risk Factors." For a discussion of
limitations in the measurement of certain of our community metrics, see the section entitled "Limitations of Key Metrics and
Other Data" in this Annual Report on Form 10-K.

Certain revenue information in the section entitled "—Revenue—Foreign Exchange Impact on Revenue" is presented on a
constant currency basis. This information is a non-GAAP financial measure. To calculate revenue on a constant currency basis,
we translated revenue for the full year 2019 using 2018 monthly exchange rates for our settlement or billing currencies other
than the U.S. dollar. This non-GAAP financial measure is not intended to be considered in isolation or as a substitute for, or
superior to, financial information prepared and presented in accordance with GAAP. This measure may be different from
non‑GAAP financial measures used by other companies, limiting its usefulness for comparison purposes. Moreover, presentation
of revenue on a constant currency basis is provided for year-over-year comparison purposes, and investors should be cautioned
that the effect of changing foreign currency exchange rates has an actual effect on our operating results. We believe this non-
GAAP financial measure provides investors with useful supplemental information about the financial performance of our
business, enables comparison of financial results between periods where certain items may vary independent of business
performance, and allows for greater transparency with respect to key metrics used by management in operating our business.

Executive Overview of Full Year 2019 Results

       Our key community metrics and financial results for 2019 are as follows:

Community growth:

•   Facebook daily active users (DAUs) were 1.66 billion on average for December 2019, an increase of 9% year-over-year.
•   Facebook monthly active users (MAUs) were 2.50 billion as of December 31, 2019, an increase of 8% year-over-year.
•   Family daily active people (DAP) was 2.26 billion on average for December 2019, an increase of 11% year-over-year.
•   Family monthly active people (MAP) was 2.89 billion as of December 31, 2019, an increase of 9% year-over-year.

Financial results:

•   Revenue was $70.70 billion, up 27% year-over-year, and advertising revenue was $69.66 billion, up 27% year-over-year.
•   Total costs and expenses were $46.71 billion.
•   Income from operations was $23.99 billion and operating margin was 34%.
•   Net income was $18.48 billion with diluted earnings per share of $6.43.
•   Capital expenditures, including principal payments on finance leases, were $15.65 billion.
•   Effective tax rate was 25.5%.
•   Cash and cash equivalents and marketable securities were $54.86 billion as of December 31, 2019.
•   Headcount was 44,942 as of December 31, 2019, an increase of 26% year-over-year.

      In 2019, we continued to focus on our main revenue growth priorities: (i) helping marketers use our products to connect
with consumers where they are and (ii) making our ads more relevant and effective.

       We invested based on the following company priorities that we believe will further our mission to give people the power
to build community and bring the world closer together: (i) continue making progress on the major social issues facing the
internet and our company, including privacy, safety, and security; (ii) build new experiences that meaningfully improve people's
lives today and set the stage for even bigger improvements in the future; (iii) keep building our business by supporting the
millions of businesses that rely on our services to grow and create jobs; and (iv) communicate more transparently about what
we're doing and the role our services play in the world. We intend to continue to invest based on these priorities, and we anticipate
that additional investments in our data center capacity, network infrastructure, and office facilities, as well as scaling our headcount
to support our growth, will continue to drive expense growth in 2020.

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Trends in Our Facebook User Metrics

       The numbers for our key Facebook metrics, our DAUs, MAUs, and average revenue per user (ARPU), do not include
users on Instagram, WhatsApp, or our other products, unless they would otherwise qualify as DAUs or MAUs, respectively,
based on their other activities on Facebook.

       Trends in the number of users affect our revenue and financial results by influencing the number of ads we are able to
show, the value of our ads to marketers, the volume of Payments transactions, as well as our expenses and capital expenditures.
Substantially all of our daily and monthly active users (as defined below) access Facebook on mobile devices.

    •          Daily Active Users (DAUs). We define a daily active user as a registered and logged-in Facebook user who visited
               Facebook through our website or a mobile device, or used our Messenger application (and is also a registered Facebook
               user), on a given day. We view DAUs, and DAUs as a percentage of MAUs, as measures of user engagement on
               Facebook.
                                                                                                                                    Daily Active Users
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                                                                                                                             (In millions)
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                                                                    DAU/MAU: 66'<              66%          66%        66%     66%        66"     66% 66%        66"      66%      66%        66% 66%


                                                        Daily Active Users                                                                                                                                    Daily Active Users
                                                          US&C..nada
                                                                                                                                                                                                            Europe
                                                            (in millions)                                                                                                                                Un millions)
                                           (daily average over tha month ended)                                                                                                             (daily average over the month ended)


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                 180      182     183                                                                                                                                                                                                                     286      286     288    2!14
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                                                                                                                                                                                                                                           74"                                     75"

                                                   Daily Active Users
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                                                        Asia-Pacific
                                                      (in millions)                                                                                                                                                  (in millions)
                                         (dally average over the month ended)                                                                                                                 (daily average over the month ended)


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                                                                                                                615         627                                                                                                                            490     499
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                                                            529     546                                                                                                                         433           441
        560                                                                                                                                                               408       419
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   DAU/MAU:                                                                                                                                     OAU/MAU,
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                         '""'                                                                                                                                                                                                             64'6                              65"    65"



               Note: For purposes of reporting DAUs, MAUs, and ARPU by geographic region, Europe includes all users in Russia and Turkey and Rest of
               World includes all users in Africa, Latin America, and the Middle East.

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        Worldwide DAUs increased 9% to 1.66 billion on average during December 2019 from 1.52 billion during December
2018. Users in India, Indonesia, and the Philippines represented key sources of growth in DAUs during December 2019, relative
to the same period in 2018.

    •     Monthly Active Users (MAUs). We define a monthly active user as a registered and logged-in Facebook user who
          visited Facebook through our website or a mobile device, or used our Messenger application (and is also a registered
          Facebook user), in the last 30 days as of the date of measurement. MAUs are a measure of the size of our global active
          user community on Facebook.

                                                                                                     Monthly Active Users
                                                                                                             Worldwide
                                                                                                            (In millions)

                                                            2,500                                                                     2 320 2,375 2 414 2,449 2.498
                                                                                                                2,196 2,234 2,271      •
                                                             2,250                  2 006 2,072 2,129
                                                            2,000        1,860 1,936 '
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                                                                         2016       2017   2017   2017   2017   2018   2018    2018   2018    2019    2019    2019    2019

                                                   Monthly Active Users                                                                                              Monthly Active Users
                                                      US&Canada                                                                                                            Europe
                                                      (In millions)                                                                                                     (lnmllllons)

            300                                                                                                               450
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               250       231 234 236 239 239 241 241 242 242 243 244 247 248                                                          349 354 360 364
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                                                   Monthly Active Users                                                                                               Monthly Active Users
                                                       Asia-Pacific                                                                                                          Rest of World
                                                      (in millions)                                                                                                           (In millions)

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        1,000                                                                                                                                                                                               768 782 802 817
                                                           873 894           917 947              '                800
          900                                                                                                                                                          692 705 723 736 750
                                                    828
                                     756 794                                                                                  700      606 632 654 675
          800                 716
          700         673                                                                                                     600
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                      2016    201?   2017   2011    2017   2018   2018       2018     2018    2019   2019   2019     2019              2016    2017    2017    2017    2017    2018   2018    2018   2018   2019   2019   2019   2019



      As of December 31, 2019, we had 2.50 billion MAUs, an increase of 8% from December 31, 2018. Users in India,
Indonesia, and the Philippines represented key sources of growth in 2019, relative to the same period in 2018.




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Trends in Our Monetization by Facebook User Geography

        We calculate our revenue by Facebook user geography based on our estimate of the geography in which ad impressions
are delivered, virtual and digital goods are purchased, or consumer hardware devices are shipped. We define ARPU as our total
revenue in a given geography during a given quarter, divided by the average of the number of MAUs in the geography at the
beginning and end of the quarter. While ARPU includes all sources of revenue, the number of MAUs used in this calculation
only includes users of Facebook and Messenger as described in the definition of MAU above. The share of revenue from users
who are not also Facebook or Messenger MAUs was not material. The geography of our users affects our revenue and financial
results because we currently monetize users in different geographies at different average rates. Our revenue and ARPU in regions
such as United States & Canada and Europe are relatively higher primarily due to the size and maturity of those online and
mobile advertising markets. For example, ARPU in 2019 in the United States & Canada region was more than 11 times higher
than in the Asia-Pacific region.
                                                                                                                      Revenue
                                                                                                                     Worldwide
                                                                                                                   (In $ millions)
                                                           $25,000

                                                                                                                                                                           $20,736
                                                           $20,000
                                                                                                                          $16,640                    $16,624    $17,383
                                                                                                                                       $14,912
                                                           $15,000     $12,779                 $13,038        $13,539
                                                                                   $11,79S

                                                           510,000


                                                            $5,000

                                                                            $193        $171            $193           $188       $274
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                                                                          2017       2018            2018        2018          2018        2019         2019        2019     2019


                                                           ARPU:          $6. 18      $5.53          $5.97      $6.09         $7.37         $6.42       $7.05      $7.26     $8.52
                                                       Revenue                                                                                                                   Revenue
                                                    us&canada                                                                                                                     Europe
                                                    (in$ millions)                                                                                                            (in$ millions)

     511,000                                                                                                                  $5,500                                                                                                      $5,071
                                                                                                              $10,021
     510,000                                                                                                                  $5,000
      59,000                                               58,246                                  $8,317                     $4,500                                                   $4,087                 $4,043        $4,057
                                                                                   $7,952
      58,000
      $7,000
      $6,000
                 $6,271              56,137     56,547                 SL7,203
                                                                                                                              $4,000
                                                                                                                              $3,500
                                                                                                                              53,000
                                                                                                                                       I $3 196                 $3,247     $3.266
                                                                                                                                                                                                   $3,609




                                                                                                                                         LlLL
      55,000                                                                                                                  $2,500




                L.LL.L. .
      $4,000                                                                                                                  52,000
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                  2017       2018       2018       2018       2018        2019        2019            2019       2019                       2017        2018       2018       2018        2018        2019       2019          2019          2019


       ARPU:      $26.76    $23.59     $25.91     $27.61     $34.86      $30.12 $33.27             $34.SS      $41.41          ARPU:       $8.86       $8.12     $8.76      $8.82       $10.98       $9.SS     $10.70        $10.68        $13.21
                                                   Revenue                                                                                                                     Revenue
                                                  Asia-Pacific                                                                                                               Rest of World
                                                 (in $ mllliom)                                                                                                              (in$ millions)

     $4,000                                                                                                                   $2,250
                                                                                                              $3,642                                                                                                                      52,002
                                                                                               53,243                         52,000
     $3,500                                                                                                                                                                                                                 51,766
                                                                                   $2,985                                     51,750                                                                          $1,644
     $3,000                                                                                                                                                                            51,565
                                                           $2,742      52,670
                                                                                                                              51,500




                                                                                                                                         ·~.•LLL .·L
     $2,500
                                                                                                                              $1,250
     $2,000
                                                                                                                              $1,000
     $1,500                                                                                                                     S750
     $1,000                                                                                                                     $500

       $500                                                                                                                     $250
                                                                 $17        512         $27            $24         $23                                                                                                 56            $8            $8
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                                                                                                                               ARPU:        $1.86       $1.68      $1.91       $1.82       $2.11      $1.89      $2.13          $2.24       $2.48
       ARPU: $2.54         $2.46     $2.62      $2.67       $2.96        $2.78      $3.04           $3.24      $3.57

                                                                                                   ■ Ad Revenue                 ■ Other Revenue

              Note: Our revenue by Facebook user geography in the charts above is geographically apportioned based on our estimation of the geographic
              location of our Facebook users when they perform a revenue-generating activity. This allocation differs from our revenue disaggregated by geography
              disclosure in our consolidated financial statements where revenue is geographically apportioned based on the billing address of the customer.




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      Our annual worldwide ARPU in 2019, which represents the sum of quarterly ARPU during such period, was $29.25, an
increase of 17% from 2018. Over this period, ARPU increased by 24% in the United States & Canada, 20% in Europe, 18% in
Asia‑Pacific, and 16% in Rest of World. In addition, user growth was more rapid in geographies with relatively lower ARPU,
such as Asia‑Pacific and Rest of World. We expect that user growth in the future will be primarily concentrated in those regions
where ARPU is relatively lower, such that worldwide ARPU may continue to increase at a slower rate relative to ARPU in any
geographic region, or potentially decrease even if ARPU increases in each geographic region.




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Trends in Our Family Metrics

      The numbers for our key Family metrics, our DAP, MAP, and average revenue per person (ARPP), do not include users
on our other products unless they would otherwise qualify as MAP or DAP, respectively, based on their other activities on our
Family products.

       Trends in the number of people in our community affect our revenue and financial results by influencing the number of
ads we are able to show, the value of our ads to marketers, the volume of Payments transactions, as well as our expenses and
capital expenditures. Substantially all of our daily and monthly active people (as defined below) access our Family products on
mobile devices.

    •     Daily Active People (DAP). We define a daily active person as a registered and logged-in user of Facebook, Instagram,
          Messenger, and/or WhatsApp (collectively, our "Family" of products) who visited at least one of these Family products
          through a mobile device application or using a web or mobile browser on a given day. We do not require people to use
          a common identifier or link their accounts to use multiple products in our Family, and therefore must seek to attribute
          multiple user accounts within and across products to individual people. Our calculations of DAP rely upon complex
          techniques, algorithms, and machine learning models that seek to estimate the underlying number of unique people
          using one or more of these products, including by matching user accounts within an individual product and across
          multiple products when we believe they are attributable to a single person, and counting such group of accounts as one
          person. As these techniques and models require significant judgment, are developed based on internal reviews of limited
          samples of user accounts, and are calibrated against user survey data, there is necessarily some margin of error in our
          estimates. We view DAP, and DAP as a percentage of MAP, as measures of engagement across our products. For
          additional information, see the section entitled "Limitations of Key Metrics and Other Data" in this Annual Report on
          Form 10-K.

                                                                     Daily Active People
                                                                         Worldwide
                                                                         (in billions)
                                                           (daily average over the month ended)

                                2.50



                                2.00



                                1.50



                                1.00



                                a.so


                                0.00
                                             Dec 31             Ma r 31            Jun 30            Sep 30             Dec 31
                                              20 18              2019               2019              2019               2019

                                DAP/ MAP      77%                78%                78%               78%                78%


          Note: We report the numbers of DAP and MAP as specific amounts, but these numbers are estimates of the numbers of unique people using our
          products and are subject to statistical variances and errors. While we expect the error margin for these estimates to vary from period to period, we
          estimate that such margin generally will be approximately 3% of our worldwide MAP. At our scale, it is very difficult to attribute multiple user
          accounts within and across products to individual people, and it is possible that the actual numbers of unique people using our products may vary
          significantly from our estimates, potentially beyond our estimated error margins. For additional information, see the section entitled "Limitations
          of Key Metrics and Other Data" in this Annual Report on Form 10-K.


        Worldwide DAP increased 11% to 2.26 billion on average during December 2019 from 2.03 billion during December
2018.




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•     Monthly Active People (MAP). We define a monthly active person as a registered and logged-in user of one or more
      Family products who visited at least one of these Family products through a mobile device application or using a web
      or mobile browser in the last 30 days as of the date of measurement. We do not require people to use a common identifier
      or link their accounts to use multiple products in our Family, and therefore must seek to attribute multiple user accounts
      within and across products to individual people. Our calculations of MAP rely upon complex techniques, algorithms,
      and machine learning models that seek to estimate the underlying number of unique people using one or more of these
      products, including by matching user accounts within an individual product and across multiple products when we
      believe they are attributable to a single person, and counting such group of accounts as one person. As these techniques
      and models require significant judgment, are developed based on internal reviews of limited samples of user accounts,
      and are calibrated against user survey data, there is necessarily some margin of error in our estimates. We view MAP
      as a measure of the size of our global active community of people using our products. For additional information, see
      the section entitled "Limitations of Key Metrics and Other Data" in this Annual Report on Form 10-K.

                                                                      Monthly Active People
                                                                          Worldwide
                                                                          (in billions)


                               3.00                                                                                    2.89


                               2.50


                               2.00


                               1.50


                               1.00


                               0.50


                               0.00
                                            Dec 31            Mar31              Jun 30             Sep 30            Dec 31
                                             2018              2019               2019               2019              2019



      Note: We report the numbers of DAP and MAP as specific amounts, but these numbers are estimates of the numbers of unique people using our
      products and are subject to statistical variances and errors. While we expect the error margin for these estimates to vary from period to period, we
      estimate that such margin generally will be approximately 3% of our worldwide MAP. At our scale, it is very difficult to attribute multiple user
      accounts within and across products to individual people, and it is possible that the actual numbers of unique people using our products may vary
      significantly from our estimates, potentially beyond our estimated error margins. For additional information, see the section entitled "Limitations
      of Key Metrics and Other Data" in this Annual Report on Form 10-K.


    As of December 31, 2019, we had 2.89 billion MAP, an increase of 9% from 2.64 billion as of December 31, 2018.




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    •   Average Revenue Per Person (ARPP). We define ARPP as our total revenue during a given quarter, divided by the
        average of the number of MAP at the beginning and end of the quarter. While ARPP includes all sources of revenue,
        the number of MAP used in this calculation only includes users of our Family products as described in the definition
        of MAP above. The share of revenue from users who are not also MAP was not material.

                                                           Revenue
                                                          Worldwide
                                                        (in $ millions)
                     $25,000

                                                                                          $20,736
                     $20,000


                     $15,000



                     $10,000



                      $5,000



                         $0
                                  Dec 31        Mar31             Jun 30         Sep 30       Dec 31
                                   2018          2019              2019           2019         2019


                      ARPP :      $6.52         $5.66             $6.20          $6.33       $7.38


                                                  ■ Ad Revenue      ■ Other Revenue




      Our annual worldwide ARPP in 2019, which represents the sum of quarterly ARPP during such period, was $25.57, an
increase of 14% from 2018.




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Critical Accounting Policies and Estimates

       Our consolidated financial statements are prepared in accordance with U.S. GAAP. The preparation of these consolidated
financial statements requires us to make estimates and assumptions that affect the reported amounts of assets, liabilities, revenue,
costs and expenses, and related disclosures. We evaluate our estimates and assumptions on an ongoing basis. Our estimates are
based on historical experience and various other assumptions that we believe to be reasonable under the circumstances. Our
actual results could differ from these estimates under different assumptions or conditions.

       An accounting policy is deemed to be critical if it requires an accounting estimate to be made based on assumptions about
matters that are highly uncertain at the time the estimate is made, if different estimates reasonably could have been used, or if
changes in the estimate that are reasonably possible could materially impact the financial statements. We believe that the
assumptions and estimates associated with income taxes, loss contingencies, and valuation of long-lived assets including goodwill
and intangible assets and their associated estimated useful lives have the greatest potential impact on our consolidated financial
statements. Therefore, we consider these to be our critical accounting policies and estimates. For further information on all of
our significant accounting policies, see Note 1—Summary of Significant Accounting Policies in the accompanying notes to
consolidated financial statements included in Part II, Item 8, "Financial Statements and Supplementary Data" of this Annual
Report on Form 10-K.

       Income Taxes

      We are subject to income taxes in the United States and numerous foreign jurisdictions. Significant judgment is required
in determining our provision for income taxes and income tax assets and liabilities, including evaluating uncertainties in the
application of accounting principles and complex tax laws.

       We record a provision for income taxes for the anticipated tax consequences of the reported results of operations using
the asset and liability method. Under this method, we recognize deferred income tax assets and liabilities for the expected future
tax consequences of temporary differences between the financial reporting and tax bases of assets and liabilities, as well as for
loss and tax credit carryforwards. Deferred tax assets and liabilities are measured using the tax rates that are expected to apply
to taxable income for the years in which those tax assets and liabilities are expected to be realized or settled. We recognize the
deferred income tax effects of a change in tax rates in the period of the enactment.

      We record a valuation allowance to reduce our deferred tax assets to the net amount that we believe is more likely than
not to be realized. We consider all available evidence, both positive and negative, including historical levels of income,
expectations and risks associated with estimates of future taxable income, and ongoing tax planning strategies in assessing the
need for a valuation allowance.

       We recognize tax benefits from uncertain tax positions only if we believe that it is more likely than not that the tax position
will be sustained on examination by the taxing authorities based on the technical merits of the position. These uncertain tax
positions include our estimates for transfer pricing that have been developed based upon analyses of appropriate arms-length
prices. Similarly, our estimates related to uncertain tax positions concerning research tax credits are based on an assessment of
whether our available documentation corroborating the nature of our activities supporting the tax credits will be sufficient.
Although we believe that we have adequately reserved for our uncertain tax positions (including net interest and penalties), we
can provide no assurance that the final tax outcome of these matters will not be materially different. We make adjustments to
these reserves in accordance with the income tax accounting guidance when facts and circumstances change, such as the closing
of a tax audit or the refinement of an estimate. To the extent that the final tax outcome of these matters is different from the
amounts recorded, such differences will affect the provision for income taxes in the period in which such determination is made,
and could have a material impact on our financial condition and operating results.

       Loss Contingencies

       We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations that arise in
the ordinary course of business. Certain of these matters include speculative claims for substantial or indeterminate amounts of
damages. We evaluate the associated developments on a regular basis and accrue a liability when we believe that it is both
probable that a loss has been incurred and the amount can be reasonably estimated. If we determine there is a reasonable possibility
that we may incur a loss and the loss or range of loss can be estimated, we disclose the possible loss in the accompanying notes
to the consolidated financial statements to the extent material.

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       We review the developments in our contingencies that could affect the amount of the provisions that have been previously
recorded, and the matters and related reasonably possible losses disclosed. We make adjustments to our provisions and changes
to our disclosures accordingly to reflect the impact of negotiations, settlements, rulings, advice of legal counsel, and updated
information. Significant judgment is required to determine both the probability of loss and the estimated amount of loss.

        The outcome of these matters is inherently uncertain. Therefore, if one or more of these matters were resolved against us
for amounts in excess of management's expectations, our results of operations and financial condition, including in a particular
reporting period in which any such outcome becomes probable and estimable, could be materially adversely affected. See Note 11
—Commitments and Contingencies and Note 14—Income Taxes of the accompanying notes to our consolidated financial
statements included in Part II, Item 8, "Financial Statements and Supplementary Data" and Part I, Item 3, "Legal Proceedings"
of this Annual Report on Form 10-K for additional information regarding these contingencies.

       Valuation of Long-lived Assets including Goodwill, Intangible Assets and Estimated Useful Lives

        We allocate the fair value of purchase consideration to the tangible assets acquired, liabilities assumed, and intangible
assets acquired based on their estimated fair values. The excess of the fair value of purchase consideration over the fair values
of these identifiable assets and liabilities is recorded as goodwill. Such valuations require management to make significant
estimates and assumptions, especially with respect to intangible assets. Significant estimates in valuing certain intangible assets
include, but are not limited to, future expected cash flows from acquired users, acquired technology, and trade names from a
market participant perspective, useful lives, and discount rates. Management's estimates of fair value are based upon assumptions
believed to be reasonable, but which are inherently uncertain and unpredictable and, as a result, actual results may differ from
estimates. Allocation of purchase consideration to identifiable assets and liabilities affects our amortization expense, as acquired
finite-lived intangible assets are amortized over the useful life, whereas any indefinite lived intangible assets, including goodwill,
are not amortized. During the measurement period, which is not to exceed one year from the acquisition date, we may record
adjustments to the assets acquired and liabilities assumed, with the corresponding offset to goodwill. Upon the conclusion of
the measurement period, any subsequent adjustments are recorded to earnings.

      We review goodwill for impairment at least annually or more frequently if events or changes in circumstances would
more likely than not reduce the fair value of our single reporting unit below its carrying value. As of December 31, 2019, no
impairment of goodwill has been identified.

       Long-lived assets, including property and equipment and intangible assets are reviewed for possible impairment whenever
events or circumstances indicate that the carrying amount of such assets may not be recoverable. The evaluation is performed
at the lowest level for which identifiable cash flows are largely independent of the cash flows of other assets and liabilities.
Recoverability of these assets is measured by a comparison of the carrying amounts to the future undiscounted cash flows the
assets are expected to generate from the use and eventual disposition. If such review indicates that the carrying amount of
property and equipment and intangible assets is not recoverable, the carrying amount of such assets is reduced to fair value. We
have not recorded any significant impairment charges during the years presented.

       The useful lives of our long-lived assets including property and equipment and finite-lived intangible assets are determined
by management when those assets are initially recognized and are routinely reviewed for the remaining estimated useful lives.
The current estimate of useful lives represents our best estimate based on current facts and circumstances, but may differ from
the actual useful lives due to changes in future circumstances such as changes to our business operations, changes in the planned
use of assets, and technological advancements. When we change the estimated useful life assumption for any asset, the remaining
carrying amount of the asset is accounted for prospectively and depreciated or amortized over the revised estimated useful life.
Historically changes in useful lives have not resulted in material changes to our depreciation and amortization expense.




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Components of Results of Operations

Revenue

       Advertising. We generate substantially all of our revenue from advertising. Our advertising revenue is generated by
displaying ad products on Facebook, Instagram, Messenger, and third-party affiliated websites or mobile applications. Marketers
pay for ad products either directly or through their relationships with advertising agencies or resellers, based on the number of
impressions delivered or the number of actions, such as clicks, taken by users.

       We recognize revenue from the display of impression-based ads in the contracted period in which the impressions are
delivered. Impressions are considered delivered when an ad is displayed to a user. We recognize revenue from the delivery of
action-based ads in the period in which a user takes the action the marketer contracted for. The number of ads we show is subject
to methodological changes as we continue to evolve our ads business and the structure of our ads products. We calculate price
per ad as total ad revenue divided by the number of ads delivered, representing the effective price paid per impression by a
marketer regardless of their desired objective such as impression or action. For advertising revenue arrangements where we are
not the principal, we recognize revenue on a net basis.

       Other revenue. Other revenue consists of revenue from the delivery of consumer hardware devices and net fees we
receive from developers using our Payments infrastructure, as well as revenue from various other sources.

Cost of Revenue and Operating Expenses

       Cost of revenue. Our cost of revenue consists primarily of expenses associated with the delivery and distribution of our
products. These include expenses related to the operation of our data centers and technical infrastructure, such as facility and
server equipment depreciation, salaries, benefits, and share-based compensation for employees on our operations teams, and
energy and bandwidth costs. Cost of revenue also includes costs associated with partner arrangements, including traffic acquisition
and content acquisition costs, credit card and other transaction fees related to processing customer transactions, and cost of
consumer hardware devices sold.

       Research and development. Research and development expenses consist primarily of salaries and benefits, share-based
compensation, and facilities-related costs for employees on our engineering and technical teams who are responsible for building
new products as well as improving existing products. We currently expense all of our research and development costs as they
are incurred.

       Marketing and sales. Marketing and sales expenses consist of salaries and benefits, and share-based compensation for
our employees engaged in sales, sales support, marketing, business development, and customer service functions. Our marketing
and sales expenses also include marketing and promotional expenditures and professional services such as content reviewers to
support our community and product operations.

      General and administrative. General and administrative expenses consist of legal-related costs; salaries and benefits,
and share-based compensation for certain of our executives as well as our legal, finance, human resources, corporate
communications and policy, and other administrative employees; and professional services.

Results of Operations

       In this section, we discuss the results of our operations for the year ended December 31, 2019 compared to the year ended
December 31, 2018. For a discussion of the year ended December 31, 2018 compared to the year ended December 31, 2017,
please refer to Part II, Item 7, "Management's Discussion and Analysis of Financial Condition and Results of Operations" in our
Annual Report on Form 10-K for the year ended December 31, 2018.




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      The following table sets forth our consolidated statements of income data:

                                                                                                 Year Ended December 31,
                                                                                         2019                  2018               2017
                                                                                                            (in millions)
Revenue                                                                             $      70,697      $          55,838      $    40,653
Costs and expenses:
      Cost of revenue                                                                      12,770                  9,355            5,454
      Research and development                                                             13,600                 10,273            7,754
      Marketing and sales                                                                   9,876                  7,846            4,725
      General and administrative                                                           10,465                  3,451            2,517
           Total costs and expenses                                                        46,711                 30,925           20,450
Income from operations                                                                     23,986                 24,913           20,203
Interest and other income, net                                                                826                    448              391
Income before provision for income taxes                                                   24,812                 25,361           20,594
Provision for income taxes                                                                  6,327                  3,249            4,660
Net income                                                                          $      18,485      $          22,112      $    15,934

      The following table sets forth our consolidated statements of income data (as a percentage of revenue)(1):

                                                                                                 Year Ended December 31,
                                                                                         2019                    2018             2017
Revenue                                                                                      100%                   100%             100%
Costs and expenses:
      Cost of revenue                                                                           18                      17               13
      Research and development                                                                  19                      18               19
      Marketing and sales                                                                       14                      14               12
      General and administrative                                                                15                       6                6
           Total costs and expenses                                                             66                      55               50
Income from operations                                                                          34                      45               50
Interest and other income, net                                                                   1                       1                1
Income before provision for income taxes                                                        35                      45               51
Provision for income taxes                                                                       9                       6               11
Net income                                                                                      26%                     40%              39%
_________________________
(1) Percentages have been rounded for presentation purposes and may differ from unrounded results.

       Share-based compensation expense included in costs and expenses:

                                                                                                     Year Ended December 31,
                                                                                         2019                    2018              2017
                                                                                                             (in millions)
Cost of revenue                                                                     $          377      $             284     $        178
Research and development                                                                     3,488                  3,022            2,820
Marketing and sales                                                                            569                    511              436
General and administrative                                                                     402                    335              289
      Total share-based compensation expense                                        $        4,836      $           4,152     $      3,723



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       Share-based compensation expense included in costs and expenses (as a percentage of revenue)(1):

                                                                                                 Year Ended December 31,
                                                                                         2019              2018             2017
Cost of revenue                                                                                  1%               1%               —%
Research and development                                                                         5                5                7
Marketing and sales                                                                              1                1                1
General and administrative                                                                       1                1                1
      Total share-based compensation expense                                                     7%               7%               9%
_________________________
(1) Percentages have been rounded for presentation purposes and may differ from unrounded results.

      Revenue
                                                                                                     2019 vs 2018 %    2018 vs 2017 %
                                                          Year Ended December 31,                       Change            Change
                                                 2019                2018             2017
                                                                  (in millions)
Advertising                                $        69,655    $          55,013   $     39,942                 27%                 38%
Other revenue                                        1,042                  825            711                 26%                 16%
  Total revenue                            $        70,697    $          55,838   $     40,653                 27%                 37%

       2019 Compared to 2018. Revenue in 2019 increased $14.86 billion, or 27%, compared to 2018. The increase was almost
entirely due to an increase in advertising revenue as a result of an increase in the number of ads delivered, partially offset by a
slight decrease in the average price per ad.

       In 2019, the number of ads delivered increased by 33%, as compared with approximately 22% in 2018. The increase in
the ads delivered was driven by an increase in the number and frequency of ads displayed across our products, and an increase
in users and their engagement. In 2019, the average price per ad decreased by 5%, as compared with an increase of approximately
13% in 2018. The decrease in average price per ad was primarily driven by an increasing proportion of the number of ads
delivered as Stories ads and in geographies that monetize at lower rates. We anticipate that future advertising revenue growth
will be determined by a combination of the number of ads delivered and price.

        Advertising spending is traditionally seasonally strong in the fourth quarter of each year. We believe that this seasonality
in advertising spending affects our quarterly results, which generally reflect significant growth in advertising revenue between
the third and fourth quarters and a decline in advertising spending between the fourth and subsequent first quarters. For instance,
our advertising revenue increased 19%, 23%, and 26% between the third and fourth quarters of 2019, 2018, and 2017, respectively,
while advertising revenue for both the first quarters of 2019 and 2018 declined 10% and 8% compared to the fourth quarters of
2018 and 2017, respectively.

       No customer represented 10% or more of total revenue during the years ended December 31, 2019, 2018, and 2017.

       Foreign Exchange Impact on Revenue

        The general strengthening of the U.S. dollar relative to certain foreign currencies in the full year 2019 compared to the
same period in 2018, had an unfavorable impact on revenue. If we had translated revenue for the full year 2019 using the prior
year's monthly exchange rates for our settlement or billing currencies other than the U.S. dollar, our total revenue and advertising
revenue would have been $72.37 billion and $71.32 billion, respectively. Using these constant rates, total revenue and advertising
revenue would have been $1.67 billion and $1.66 billion, respectively, higher than actual total revenue and advertising revenue
for the full year 2019, and $16.53 billion and $16.31 billion higher than actual total revenue and advertising revenue, respectively,
for the full year 2018.




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      Cost of revenue
                                                               Year Ended December 31,
                                                                                                          2019 vs 2018   2018 vs 2017
                                                    2019                 2018                2017          % Change       % Change
                                                                 (dollars in millions)
Cost of revenue                                $     12,770       $         9,355        $     5,454               37%            72%
Percentage of revenue                                      18%                  17%                 13%

      2019 Compared to 2018. Cost of revenue in 2019 increased $3.42 billion, or 37%, compared to 2018. The increase was
mostly due to an increase in operational expenses related to our data centers and technical infrastructure, as well as higher cost
of consumer hardware devices sold and traffic acquisition costs.

       In 2020, we anticipate that the cost of revenue will increase as we continue to expand our data center capacity and technical
infrastructure to support user growth, increased user engagement, and the delivery of new products and services and, to a lesser
extent, due to higher costs associated with various partner arrangements.

      Research and development
                                                              Year Ended December 31,
                                                                                                          2019 vs 2018   2018 vs 2017
                                                    2019                2018                 2017          % Change       % Change
                                                                 (dollars in millions)
Research and development                      $      13,600       $       10,273         $     7,754              32%            32%
Percentage of revenue                                      19%                  18%                 19%

      2019 Compared to 2018. Research and development expenses in 2019 increased $3.33 billion, or 32%, compared to 2018.
The increase was primarily due to increases in payroll and benefits expenses and facilities-related costs as a result of a 31%
growth in employee headcount from December 31, 2018 to December 31, 2019 in engineering and other technical functions.

     In 2020, we plan to continue to hire software engineers and other technical employees, and to increase our investment to
support our research and development initiatives.

      Marketing and sales
                                                               Year Ended December 31,
                                                                                                          2019 vs 2018   2018 vs 2017
                                                    2019                 2018                2017          % Change       % Change
                                                                 (dollars in millions)
Marketing and sales                            $       9,876      $         7,846        $     4,725               26%            66%
Percentage of revenue                                      14%                  14%                 12%

      2019 Compared to 2018. Marketing and sales expenses in 2019 increased $2.03 billion, or 26%, compared to 2018. The
increase was primarily driven by increases in marketing expenses, payroll and benefits expenses, and community and product
operations expenses. Our payroll and benefits expenses increased as a result of a 23% increase in employee headcount from
December 31, 2018 to December 31, 2019 in our marketing and sales functions.

      In 2020, we anticipate that marketing expense will increase and plan to continue the hiring of marketing and sales employees
to support our marketing, sales, and partnership efforts and to increase our investment in community and product operations to
support our security efforts.




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      General and administrative
                                                             Year Ended December 31,
                                                                                                                   2019 vs 2018     2018 vs 2017
                                                   2019                  2018                     2017              % Change         % Change
                                                                 (dollars in millions)
Legal accrual related to FTC settlement      $       5,000        $             —           $             —                NM               NM
Other general and administrative                     5,465                   3,451                     2,517               58%              37%
General and administrative                   $      10,465        $          3,451          $          2,517              203%              37%
Percentage of revenue                                     15%                     6%                      6%

       2019 Compared to 2018. General and administrative expenses in 2019 increased $7.01 billion, or 203%, compared to
2018. The majority of the increase was due to the $5.0 billion FTC settlement expense recorded in the first six months of 2019.
In addition, other general and administrative expense increased in 2019 compared to 2018 primarily due to an increase in other
legal-related costs and higher payroll and benefits expenses as a result of a 31% increase in employee headcount from
December 31, 2018 to December 31, 2019 in our general and administrative functions.

      In 2020, we plan to continue to increase general and administrative expenses to support overall company growth.

      Interest and other income, net
                                                             Year Ended December 31,
                                                                                                                   2019 vs 2018     2018 vs 2017
                                                   2019                  2018                     2017              % Change         % Change
                                                                      (in millions)
Interest income, net                         $            904 $                  652 $                   392               39%              66%
Other income (expense), net                               (78)                  (204)                     (1)              NM               NM
   Interest and other income, net            $            826     $             448         $            391               84%               15%

       2019 Compared to 2018. Interest and other income, net in 2019 increased $378 million compared to 2018. The increase
was due to an increase in interest income driven by higher investment balances and interest rates and a decrease in other expense
as a result of lower foreign exchange losses as compared to 2018 due to foreign currency transactions and re-measurement.

      Provision for income taxes
                                                           Year Ended December 31,
                                                                                                               2019 vs 2018 %     2018 vs 2017 %
                                                   2019                 2018                    2017              Change             Change
                                                                (dollars in millions)
Provision for income taxes                    $      6,327       $        3,249         $        4,660                   95%               (30)%
Effective tax rate                                    25.5%                 12.8%                  22.6%

      2019 Compared to 2018. Our provision for income taxes in 2019 increased $3.08 billion, or 95%, compared to 2018, a
majority of which is due to an increase in income taxes from the Altera Ninth Circuit Opinion discussed below, an increase in
income from operations prior to the effect of the legal accrual related to the FTC settlement that is not expected to be tax-
deductible, and a decrease in excess tax benefits recognized from share-based compensation.

      Our effective tax rate in 2019 increased compared to 2018, primarily due to an increase in income taxes from the Altera
Ninth Circuit Opinion, the legal accrual related to the FTC settlement that is not expected to be tax-deductible, and a decrease
in excess tax benefits recognized from share-based compensation.

     On July 27, 2015, the United States Tax Court issued a decision (Tax Court Decision) in Altera Corp. v. Commissioner,
which concluded that related parties in a cost sharing arrangement are not required to share expenses related to share-based
compensation. The Tax Court Decision was appealed by the Commissioner to the Ninth Circuit Court of Appeals (Ninth Circuit).

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On June 7, 2019, the Ninth Circuit issued an opinion (Altera Ninth Circuit Opinion) that reversed the Tax Court Decision. Based
on the Altera Ninth Circuit Opinion, we recorded a cumulative income tax expense of $1.11 billion in the second quarter of
2019. On July 22, 2019, the taxpayer requested a rehearing before the full Ninth Circuit and the request was denied on November
12, 2019. The taxpayer has until February 10, 2020 to request a hearing before the Supreme Court of the United States. As a
result, the final outcome of the case is uncertain. In November 2019, we made a $1.64 billion payment related to this matter and
recorded the payment to net against the tax liability included within other liabilities in our consolidated balance sheets. If the
Altera Ninth Circuit Opinion is reversed, we would anticipate recording an income tax benefit at that time.

       Effective Tax Rate Items. Our effective tax rate in the future will depend upon the proportion of our income before provision
for income taxes earned in the United States and in jurisdictions with a tax rate lower than the U.S. statutory rate, as well as a
number of other factors, including excess tax benefits from share-based compensation, tax effects of integrating intellectual
property from acquisitions, settlement of tax contingency items, tax effects of changes in our business, and the impact of changes
in tax law.

       The proportion of our income before provision for income taxes earned in jurisdictions with a tax rate lower than the U.S.
statutory rate will depend upon the proportion of revenue and costs associated with the respective jurisdictions.

        The accounting for share-based compensation may increase or decrease our effective tax rate based upon the difference
between our share-based compensation expense and the deductions taken on our tax return which depends upon the stock price
at the time of employee award vesting. If our stock price remains constant to the January 23, 2020 price, we expect our effective
tax rate for 2020 will be in the high-teens. The range reflects expected effects from a transfer of intellectual property rights
between Facebook entities that we anticipate implementing in 2020.

       Integrating intellectual property from acquisitions into our business generally involves intercompany transactions that
have the impact of increasing our provision for income taxes. Consequently, our provision for income taxes and our effective
tax rate may initially increase in the period of an acquisition and integration. The magnitude of this impact will depend upon
the specific type, size, and taxing jurisdictions of the intellectual property as well as the relative contribution to income in
subsequent periods.

       Unrecognized Tax Benefits. As of December 31, 2019, we had net unrecognized tax benefits of $3.74 billion which were
accrued as other liabilities. These unrecognized tax benefits were predominantly accrued for uncertainties related to transfer
pricing with our foreign subsidiaries, which includes licensing of intellectual property, providing services and other transactions,
as well as for uncertainties with our research tax credits. The ultimate settlement of the liabilities will depend upon resolution
of tax audits, litigation, or events that would otherwise change the assessment of such items. Based upon the status of litigation
described below and the current status of tax audits in various jurisdictions, we do not anticipate a material change to such
amounts within the next 12 months.

       In July 2016, we received a Statutory Notice of Deficiency (Notice) from the IRS related to transfer pricing with our
foreign subsidiaries in conjunction with the examination of the 2010 tax year. While the Notice applies only to the 2010 tax
year, the IRS stated that it will also apply its position for tax years subsequent to 2010. We do not agree with the position of the
IRS and have filed a petition in the Tax Court challenging the Notice. The case is scheduled for trial beginning in February 2020.
On January 15, 2020, the IRS filed its Pretrial Memorandum in the case stating that it planned to assert at trial an adjustment
that is higher than the adjustment stated in the Notice. The IRS did not provide any information about how it intends to apply
the revised adjustment to future years. Based on the information provided, we believe that, if the IRS prevails in its updated
position, this could result in an additional federal tax liability of an estimated, aggregate amount of up to approximately $9.0
billion in excess of the amounts in our originally filed U.S. return, plus interest and any penalties asserted.

       In March 2018, we received a second Notice from the IRS in conjunction with the examination of our 2011 through 2013
tax years. The IRS applied its position from the 2010 tax year to each of these years and also proposed new adjustments related
to other transfer pricing with our foreign subsidiaries and certain tax credits that we claimed. If the IRS prevails in its position
for these new adjustments, this could result in an additional federal tax liability of up to approximately $680 million in excess
of the amounts in our originally filed U.S. returns, plus interest and any penalties asserted. We do not agree with the positions
of the IRS in the second Notice and have filed a petition in the Tax Court challenging the second Notice.

       We have previously accrued an estimated unrecognized tax benefit consistent with the guidance in ASC 740, Income
Taxes, that is lower than the potential additional federal tax liability from the positions taken by the IRS in the two Notices and
its Pretrial Memorandum. In addition, if the IRS prevails in its positions related to transfer pricing with our foreign subsidiaries,
the additional tax that we would owe would be partially offset by a reduction in the tax that we owe under the mandatory transition

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tax on accumulated foreign earnings from the 2017 Tax Cuts and Jobs Act (Tax Act). As of December 31, 2019, we have not
resolved these matters and proceedings continue in the Tax Court.

      We believe that adequate amounts have been reserved in accordance with ASC 740, Income Taxes, for any adjustments
to the provision for income taxes or other tax items that may ultimately result from these examinations. The timing of the
resolution, settlement, and closure of any audits is highly uncertain, and it is reasonably possible that the balance of gross
unrecognized tax benefits could significantly change in the next 12 months. Given the number of years remaining that are subject
to examination in various jurisdictions, we are unable to estimate the full range of possible adjustments to the balance of gross
unrecognized tax benefits. If the taxing authorities prevail in the assessment of additional tax due, the assessed tax, interest, and
penalties, if any, could have a material adverse effect on our financial position, results of operations, and cash flows.




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Quarterly Results of Operations Data

        The following tables set forth our unaudited quarterly consolidated statements of income data in dollars and as a percentage
of total revenue for each of the eight quarters in the period ended December 31, 2019. We have prepared the quarterly consolidated
statements of income data on a basis consistent with the audited consolidated financial statements included in Part II, Item 8,
"Financial Statements and Supplementary Data" in this Annual Report on Form 10-K. In the opinion of management, the financial
information reflects all adjustments, consisting only of normal recurring adjustments, which we consider necessary for a fair
presentation of this data. This information should be read in conjunction with the audited consolidated financial statements and
related notes included in Part II, Item 8, "Financial Statements and Supplementary Data" in this Annual Report on Form 10-K.
The results of historical periods are not necessarily indicative of the results of operations for any future period.


                                                                                    Three Months Ended

                                          Dec 31,      Sep 30,      Jun 30,      Mar 31,       Dec 31,      Sep 30,      Jun 30,    Mar 31,
                                           2019         2019         2019         2019          2018         2018         2018       2018
                                                                          (in millions, except per share amounts)
Revenue:
      Advertising                        $ 20,736     $ 17,383     $ 16,624     $ 14,912     $ 16,640     $ 13,539      $ 13,038    $ 11,795
      Other revenue                           346          269          262          165          274          188           193         171
           Total revenue                   21,082       17,652       16,886       15,077       16,914       13,727        13,231      11,966
Costs and expenses:
      Cost of revenue                         3,492        3,155        3,307        2,816       2,796        2,418         2,214       1,927
      Research and development                3,877        3,548        3,315        2,860       2,855        2,657         2,523       2,238
      Marketing and sales                     3,026        2,416        2,414        2,020       2,467        1,928         1,855       1,595
      General and administrative              1,829        1,348        3,224        4,064         976          943           776         757
           Total costs and expenses          12,224       10,467       12,260       11,760       9,094        7,946         7,368       6,517
Income from operations                        8,858        7,185        4,626        3,317       7,820        5,781         5,863       5,449
Interest and other income, net                  311          144          206          165         151          131             5         161
Income before provision for income
   taxes                                   9,169        7,329        4,832        3,482        7,971        5,912         5,868       5,610
Provision for income taxes                 1,820        1,238        2,216        1,053        1,089          775           762         622
Net income                               $ 7,349      $ 6,091      $ 2,616      $ 2,429      $ 6,882      $ 5,137       $ 5,106     $ 4,988
Less: Net income attributable to
   participating securities                     —            —            —            —            —               —         —            (1)
Net income attributable to Class A
   and Class B common
   stockholders                          $ 7,349      $ 6,091      $ 2,616      $ 2,429      $ 6,882      $ 5,137       $ 5,106     $ 4,987
Earnings per share attributable to
   Class A and Class B common
   stockholders:
   Basic                                 $     2.58   $     2.13   $     0.92   $     0.85   $    2.40    $    1.78     $    1.76   $    1.72
   Diluted                               $     2.56   $     2.12   $     0.91   $     0.85   $    2.38    $    1.76     $    1.74   $    1.69




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       The following tables set forth our consolidated statements of income data (as a percentage of revenue)(1):

                                                                                Three Months Ended

                                           Dec 31,     Sep 30,    Jun 30,      Mar 31,      Dec 31,         Sep 30,   Jun 30,   Mar 31,
                                            2019        2019       2019         2019         2018            2018      2018      2018
                                                                             (as a percentage of revenue)
Revenue:
      Advertising                              98%        98%         98%          99%          98%            99%       99%       99%
      Other revenue                            2           2            2           1            2              1         1         1
           Total revenue                     100%        100%         100%        100%         100%           100%      100%      100%
Costs and expenses:
     Cost of revenue                           17         18          20           19           17             18        17        16
     Research and development                  18         20          20           19           17             19        19        19
     Marketing and sales                       14         14          14           13           15             14        14        13
     General and administrative                 9          8          19           27            6              7         6         6
         Total costs and expenses              58         59          73           78           54             58        56        54
Income from operations                         42         41          27           22           46             42        44        46
Interest and other income, net                  1          1           1            1            1              1        —          1
Income before provision for income
   taxes                                       43         42          29           23           47             43        44        47
Provision for income taxes                      9          7          13            7            6              6         6         5
Net income                                     35%        35%         15%          16%          41%            37%       39%       42%
Less: Net income attributable to
   participating securities                    —          —           —            —            —              —         —         —
Net income attributable to Class A
   and Class B common
   stockholders                                35%        35%         15%          16%          41%            37%       39%       42%
_________________________
(1) Percentages have been rounded for presentation purposes and may differ from unrounded results.




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       Share-based compensation expense included in costs and expenses:
                                                                                 Three Months Ended

                                           Dec 31,     Sep 30,    Jun 30,     Mar 31,       Dec 31,        Sep 30,   Jun 30,   Mar 31,
                                            2019        2019       2019        2019          2018           2018      2018      2018
                                                                                    (in millions)
Cost of revenue                           $     90   $     91    $    109    $      87    $      82      $     72    $    74   $    56
Research and development                       931        907         927          723          675           748        881       718
Marketing and sales                            147        148         160          113          130           133        139       109
General and administrative                     105        103         107           87           84            87         92        72
   Total share-based compensation
   expense                                $ 1,273    $ 1,249     $ 1,303     $ 1,010      $     971      $ 1,040     $ 1,186   $   955

       Share-based compensation expense included in costs and expenses (as a percentage of revenue)(1):

                                                                              Three Months Ended
                                           Dec 31,     Sep 30,    Jun 30,     Mar 31,       Dec 31,        Sep 30,   Jun 30,   Mar 31,
                                            2019        2019       2019        2019          2018           2018      2018      2018
                                                                            (as a percentage of revenue)
Cost of revenue                                —%           1%         1%           1%          —%              1%        1%       —%
Research and development                        4           5          5            5            4              5         7        6
Marketing and sales                             1           1          1            1            1              1         1        1
General and administrative                     —            1          1            1           —               1         1        1
  Total share-based compensation
  expense                                       6%          7%         8%           7%              6%          8%        9%        8%
_________________________
(1) Percentages have been rounded for presentation purposes and may differ from unrounded results.




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Liquidity and Capital Resources

                                                                                              Year Ended December 31,
                                                                                      2019              2018              2017
                                                                                                      (in millions)
Consolidated Statements of Cash Flows Data:
Net cash provided by operating activities                                       $       36,314 $           29,274 $         24,216
Net cash used in investing activities                                           $      (19,864) $         (11,603) $       (20,118)
Net cash used in financing activities                                           $       (7,299) $         (15,572) $        (5,235)
Purchase of property and equipment and principal payments on finance
leases                                                                          $       15,654    $        13,915     $      6,733
Depreciation and amortization                                                   $        5,741    $         4,315     $      3,025
Share-based compensation                                                        $        4,836    $         4,152     $      3,723

        Our principal sources of liquidity are our cash and cash equivalents, marketable securities, and cash generated from
operations. Cash and cash equivalents and marketable securities consist mostly of cash on deposit with banks, investments in
money market funds, and investments in U.S. government securities, U.S. government agency securities, and corporate debt
securities. Cash and cash equivalents and marketable securities were $54.86 billion as of December 31, 2019, an increase of
$13.74 billion from December 31, 2018. The majority of the increase was due to $36.31 billion of cash generated from operations,
offset by $15.65 billion for capital expenditures, including principal payments on finance leases, $4.20 billion for repurchases
of our Class A common stock, $4.19 billion for net purchases of marketable securities, and $2.34 billion of taxes paid related
to net share settlement of equity awards.

       Cash paid for income taxes was $5.18 billion for the year ended December 31, 2019, of which $1.64 billion was related
to the Altera Ninth Circuit Opinion. As of December 31, 2019, our federal net operating loss carryforward was $9.06 billion,
and we anticipate that none of this amount will be utilized to offset our federal taxable income in 2019. As of December 31,
2019, we had $357 million of federal tax credit carryforward, of which none will be available to offset our federal tax liabilities
in 2019.

       In May 2016, we entered into a $2.0 billion senior unsecured revolving credit facility, and any amounts outstanding under
the facility will be due and payable on May 20, 2021. As of December 31, 2019, no amounts had been drawn down and we were
in compliance with the covenants under this credit facility.

       Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in
January 2017 and does not have an expiration date. As of December 31, 2018, $9.0 billion remained available and authorized
for repurchases under this program. In 2019, we repurchased and subsequently retired 22 million shares of our Class A common
stock for $4.10 billion. As of December 31, 2019, $4.90 billion remained available and authorized for repurchases. In January
2020, an additional $10.0 billion of repurchases was authorized under this program.

       As of December 31, 2019, $19.01 billion of the $54.86 billion in cash and cash equivalents and marketable securities was
held by our foreign subsidiaries. The Tax Act imposed a mandatory transition tax on accumulated foreign earnings and eliminated
U.S. taxes on foreign subsidiary distributions. As a result, earnings in foreign jurisdictions are available for distribution to the
U.S. without incremental U.S. taxes.

      In July 2019, we entered into a settlement and modified consent order to resolve the inquiry of the FTC into our platform
and user data practices, which is pending federal court approval. The settlement requires us to pay a penalty of $5.0 billion,
which is included in accrued expenses and other current liabilities on our consolidated balance sheet as of December 31, 2019.

      We currently anticipate that our available funds, credit facility, and cash flow from operations will be sufficient to meet
our operational cash needs for the foreseeable future.




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Cash Provided by Operating Activities

       Cash flow from operating activities during 2019 primarily consisted of net income adjusted for certain non-cash items,
such as $5.74 billion of depreciation and amortization and $4.84 billion of share-based compensation expense. The increase in
cash flow from operating activities during 2019 compared to 2018 was primarily due to higher net income prior to the effect of
the $5.0 billion FTC legal settlement accrual, an increase in taxes payable, as well as increases in the non-cash items discussed
above.

       Cash flow from operating activities during 2018 mostly consisted of net income, adjusted for certain non-cash items,
such as total depreciation and amortization of $4.32 billion and share-based compensation expense of $4.15 billion. The increase
in cash flow from operating activities during 2018 compared to 2017 was mostly due to an increase in net income, adjusted for
certain non-cash items, such as depreciation and amortization, deferred income tax and share-based compensation expense. Due
to the enactment of the Tax Act in 2017, we recorded a higher tax liability in 2017, which partially offset the increase in cash
flow from operating activities in 2018.

Cash Used in Investing Activities

      Cash used in investing activities during 2019 mostly resulted from $15.10 billion of net purchases of property and equipment
as we continued to invest in data centers, servers, office buildings, and network infrastructure, and $4.19 billion of net purchases
of marketable securities. The increase in cash used in investing activities during 2019 compared to 2018 was mostly due to
increases in net purchases of marketable securities and property and equipment.

       Cash used in investing activities during 2018 mostly resulted from $13.92 billion of capital expenditures as we continued
to invest in data centers, servers, network infrastructure, and office buildings, offset by $2.47 billion of net sales and maturities
of marketable securities. The decrease in cash used in investing activities during 2018 compared to 2017 was mostly due to a
decrease in the net purchases of marketable securities, partially offset by an increase in capital expenditures.

      We anticipate making capital expenditures of approximately $17 billion to $19 billion in 2020.

Cash Used in Financing Activities

      Cash used in financing activities during 2019 mostly consisted of $4.20 billion cash used to settle repurchases of our
Class A common stock, $2.34 billion of taxes paid related to net share settlement of equity awards, and $552 million of principal
payments on finance leases. The decrease in cash used in financing activities during 2019 compared to 2018 was mostly due to
a decrease in repurchases of our Class A common stock.

       Cash used in financing activities during 2018 consisted of $12.88 billion paid for repurchases of our Class A common
stock, and $3.21 billion of taxes paid related to net share settlement of equity awards, offset by $500 million in overdraft balances
in cash pooling entities. The increase in cash used in financing activities during 2018 compared to 2017 was mostly due to an
increase in repurchases of our Class A common stock, partially offset by an increase in overdraft balances in cash pooling entities.

Off-Balance Sheet Arrangements

      We did not have any off-balance sheet arrangements as of December 31, 2019.




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Contractual Obligations

      Our principal commitments consist primarily of obligations under operating leases, which include among others, certain
of our offices, data centers, land, and colocation leases, as well as contractual commitments related to network infrastructure
and data center operations. The following table summarizes our commitments to settle contractual obligations in cash as of
December 31, 2019:

                                                                                                Payment Due by Period
                                                          Total            2020             2021-2022          2023-2024        Thereafter
                                                                                           (in millions)
Operating lease obligations, including
imputed interest(1)                                 $      18,267    $        1,085    $           2,510   $        2,577   $      12,095
Finance lease obligations, including imputed
interest(1)                                                   920               246                  107               88             479
Transition tax payable                                      1,579                —                    —               880             699
Other contractual commitments(2)                            4,542             2,792                  625              170             955
   Total contractual obligations                    $      25,308    $        4,123    $           3,242   $        3,715   $      14,228
_________________________
(1) Includes variable lease payments that were fixed subsequent to lease commencement or modification.
(2) The majority of other contractual commitments were related to network infrastructure and our data center operations.

       As part of the normal course of the business, we may enter into multi-year agreements to purchase certain network
components that do not specify a fixed or minimum price commitment or to purchase renewable energy that do not specify a
fixed or minimum volume commitment. These agreements are generally entered into in order to secure either volume or
price. Using projected market prices or expected volume consumption, the total estimated spend is approximately $4.99 billion.
The ultimate spend under these agreements may vary and will be based on prevailing market prices or actual volume purchased.

       In addition, our other liabilities also include $3.74 billion related to net uncertain tax positions as of December 31, 2019.
Due to uncertainties in the timing of the completion of tax audits, the timing of the resolution of these positions is uncertain and
we are unable to make a reasonably reliable estimate of the timing of payments in individual years beyond 12 months. As a
result, this amount is not included in the above contractual obligations table.

Contingencies

       We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations. We record
a provision for a liability when we believe that it is both probable that a liability has been incurred, and that the amount can be
reasonably estimated. If we determine there is a reasonable possibility that we may incur a loss and the loss or range of loss can
be estimated, we disclose the possible loss in the accompanying notes to the consolidated financial statements to the extent
material. Significant judgment is required to determine both probability and the estimated amount of loss. Such matters are
inherently unpredictable and subject to significant uncertainties, some of which are beyond our control. Should any of these
estimates and assumptions change or prove to be incorrect, it could have a material impact on our results of operations, financial
position, and cash flows.

       See Note 11—Commitments and Contingencies and Note 14—Income Taxes in the notes to our consolidated financial
statements included in Part II, Item 8, "Financial Statements and Supplementary Data" and Part I, Item 3, "Legal Proceedings"
of this Annual Report on Form 10-K for additional information regarding contingencies.

Recently Issued Accounting Pronouncements

       For further information on recently issued accounting pronouncements, see Note 1—Summary of Significant Accounting
Policies in the accompanying notes to consolidated financial statements included in Part II, Item 8, "Financial Statements and
Supplementary Data" of this Annual Report on Form 10-K.




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Item 7A. Quantitative and Qualitative Disclosures About Market Risk

       We are exposed to market risks, including changes to foreign currency exchange rates, interest rates, and inflation.

Foreign Currency Exchange Risk

       We have foreign currency risks related to our revenue and operating expenses denominated in currencies other than the
U.S. dollar, primarily the Euro. Accordingly, changes in exchange rates, and in particular a strengthening of the U.S. dollar, have
negatively affected, and may continue to negatively affect, our revenue and other operating results as expressed in U.S. dollars.

       We have experienced and will continue to experience fluctuations in our net income as a result of transaction gains or
losses related to revaluing monetary asset and liability balances that are denominated in currencies other than the functional
currency of the entities in which they are recorded. At this time, we have not entered into, but in the future we may enter into,
derivatives or other financial instruments in an attempt to hedge our foreign currency exchange risk. It is difficult to predict the
effect hedging activities would have on our results of operations. Foreign currency losses of $105 million, $213 million, and
$6 million were recognized in 2019, 2018, and 2017, respectively, as interest and other income, net in our consolidated statements
of income.

Interest Rate Sensitivity

      Our exposure to changes in interest rates relates primarily to interest earned and market value on our cash and cash
equivalents and marketable securities.

       Our cash and cash equivalents and marketable securities consist of cash, certificates of deposit, time deposits, money
market funds, U.S. government securities, U.S. government agency securities, and investment grade corporate debt securities.
Our investment policy and strategy are focused on preservation of capital and supporting our liquidity requirements. Changes
in U.S. interest rates affect the interest earned on our cash and cash equivalents and marketable securities, and the market value
of those securities. A hypothetical 100 basis point increase in interest rates would have resulted in a decrease of $525 million
and $468 million in the market value of our available-for-sale debt securities as of December 31, 2019 and December 31, 2018,
respectively. Any realized gains or losses resulting from such interest rate changes would only occur if we sold the investments
prior to maturity.




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Item 8. Financial Statements and Supplementary Data

                                                   FACEBOOK, INC.

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The supplementary financial information required by this Item 8, is included in Part II, Item 7 under the caption "Quarterly
Results of Operations Data," which is incorporated herein by reference.
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                                 Report of Independent Registered Public Accounting Firm

To the Stockholders and the Board of Directors of Facebook, Inc.

Opinion on the Financial Statements

We have audited the accompanying consolidated balance sheets of Facebook, Inc. (the Company) as of December 31, 2019 and
2018, the related consolidated statements of income, comprehensive income, stockholders' equity and cash flows for each of
the three years in the period ended December 31, 2019, and the related notes (collectively referred to as the "consolidated
financial statements"). In our opinion, the consolidated financial statements present fairly, in all material respects, the financial
position of the Company at December 31, 2019 and 2018, and the results of its operations and its cash flows for each of the
three years in the period ended December 31, 2019, in conformity with U.S. generally accepted accounting principles.

We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States)
(PCAOB), the Company's internal control over financial reporting as of December 31, 2019, based on criteria established in
Internal Control – Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission
(2013 framework), and our report dated January 29, 2020 expressed an unqualified opinion thereon.

Adoption of ASU No. 2016-02

As discussed in Note 1 to the consolidated financial statements, the Company changed its method of accounting for leases in
2019 due to the adoption of Accounting Standards Update (ASU) No. 2016-02, Leases (Topic 842), and the related
amendments.

Basis for Opinion

These financial statements are the responsibility of the Company's management. Our responsibility is to express an opinion on
the Company's financial statements based on our audits. We are a public accounting firm registered with the PCAOB and are
required to be independent with respect to the Company in accordance with the U.S. federal securities laws and the applicable
rules and regulations of the Securities and Exchange Commission and the PCAOB.

We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan and perform the
audit to obtain reasonable assurance about whether the financial statements are free of material misstatement, whether due to
error or fraud. Our audits included performing procedures to assess the risks of material misstatement of the financial statements,
whether due to error or fraud, and performing procedures that respond to those risks. Such procedures included examining, on
a test basis, evidence regarding the amounts and disclosures in the financial statements. Our audits also included evaluating the
accounting principles used and significant estimates made by management, as well as evaluating the overall presentation of the
financial statements. We believe that our audits provide a reasonable basis for our opinion.

Critical Audit Matters

The critical audit matters communicated below are matters arising from the current period audit of the financial statements that
were communicated or required to be communicated to the Audit & Risk Oversight Committee and that: (1) relate to accounts
or disclosures that are material to the financial statements and (2) involved our especially challenging, subjective or complex
judgments. The communication of critical audit matters does not alter in any way our opinion on the consolidated financial
statements, taken as a whole, and we are not, by communicating the critical audit matters below, providing separate opinions
on the critical audit matters or on the accounts or disclosures to which they relate.




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                     Loss Contingencies


Description of the   As described in Note 11 to the consolidated financial statements, the Company is party to various legal
Matter               proceedings, claims, and regulatory, tax or government inquiries and investigations. The Company
                     accrues a liability when it believes a loss is probable and the amount can be reasonably estimated. In
                     addition, the Company believes it is reasonably possible that it will incur a loss in some of these cases,
                     actions or inquiries described above, but that the amount of such losses or a range of possible losses
                     cannot be reasonably estimated at this time.

                     Auditing the Company's accounting for, and disclosure of, loss contingencies related to the various
                     legal proceedings was especially challenging due to the significant judgment required to evaluate
                     management's assessments of the likelihood of a loss, and their estimate of the potential amount or
                     range of such losses.


How We Addressed     We obtained an understanding, evaluated the design and tested the operating effectiveness of controls
the Matter in Our    over the identification and evaluation of these matters, including controls relating to the Company's
Audit                assessment of the likelihood that a loss will be realized and their ability to reasonably estimate the
                     potential range of possible losses.

                     To test the Company's assessment of the probability of incurrence of a loss, whether the loss was
                     reasonably estimable, and the conclusion and disclosure that a range of possible losses cannot be
                     reasonably estimated at this time, we read the minutes of the meetings of the board of directors and its
                     committees, read the proceedings, claims, and regulatory, or government inquiries and investigations,
                     or summaries as we deemed appropriate, requested and received internal and external legal counsel
                     confirmation letters, met with internal and external legal counsel to discuss the nature of the various
                     matters, and obtained a representation letter from the Company. We also evaluated the appropriateness
                     of the related disclosures included in Note 11 to the consolidated financial statements.


                     Uncertain Tax Positions


Description of the   As discussed in Note 14 to the consolidated financial statements, the Company has received certain
Matter               notices from the Internal Revenue Service (IRS) related to transfer pricing agreements with the
                     Company's foreign subsidiaries for certain periods examined. The IRS has stated that it will also apply
                     its position to tax years subsequent to those examined. If the IRS prevails in its position, it could result
                     in an additional federal tax liability, plus interest and any penalties asserted. The Company uses judgment
                     to (1) determine whether a tax position's technical merits are more-likely-than-not to be sustained and
                     (2) measure the amount of tax benefit that qualifies for recognition.

                     Auditing the Company's accounting for, and disclosure of, these uncertain tax positions was especially
                     challenging due to the significant judgment required to assess management's evaluation of technical
                     merits and the measurement of the tax position based on interpretations of tax laws and legal rulings.




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How We Addressed     We obtained an understanding, evaluated the design and tested the operating effectiveness of controls
the Matter in Our    over the Company's process to assess the technical merits of tax positions related to these transfer pricing
Audit                agreements and to measure the benefit of those tax positions.

                     As part of our audit procedures over the Company's accounting for these positions, we involved our
                     tax professionals to assist with our assessment of the technical merits of the Company's tax positions.
                     This included assessing the Company's correspondence with the relevant tax authorities, evaluating
                     income tax opinions or other third-party advice obtained by the Company, and requesting and receiving
                     confirmation letters from third-party advisors. We also used our knowledge of, and experience with,
                     the application of international and local income tax laws by the relevant income tax authorities to
                     evaluate the Company's accounting for those tax positions. We analyzed the Company's assumptions
                     and data used to determine the amount of the federal tax liability recognized and tested the mathematical
                     accuracy of the underlying data and calculations. We also evaluated the appropriateness of the related
                     disclosures included in Note 14 to the consolidated financial statements in relation to these matters.




                                                                                                          /s/ Ernst & Young LLP

We have served as the Company's auditor since 2007.
Redwood City, California
January 29, 2020




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                                Report of Independent Registered Public Accounting Firm

To the Stockholders and the Board of Directors of Facebook, Inc.

Opinion on Internal Control over Financial Reporting

We have audited Facebook, Inc.'s internal control over financial reporting as of December 31, 2019, based on criteria established
in Internal Control – Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission
(2013 framework) (the COSO criteria). In our opinion, Facebook, Inc. (the Company) maintained, in all material respects,
effective internal control over financial reporting as of December 31, 2019, based on the COSO criteria.

We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States)
(PCAOB), the consolidated balance sheets of the Company as of December 31, 2019 and 2018, the related consolidated statements
of income, comprehensive income, stockholders' equity and cash flows for each of the three years in the period ended
December 31, 2019, and the related notes and our report dated January 29, 2020 expressed an unqualified opinion thereon.

Basis for Opinion

The Company's management is responsible for maintaining effective internal control over financial reporting and for its
assessment of the effectiveness of internal control over financial reporting included in the accompanying Management's Report
on Internal Control over Financial Reporting. Our responsibility is to express an opinion on the Company's internal control over
financial reporting based on our audit. We are a public accounting firm registered with the PCAOB and are required to be
independent with respect to the Company in accordance with the U.S. federal securities laws and the applicable rules and
regulations of the Securities and Exchange Commission and the PCAOB.

We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and perform the
audit to obtain reasonable assurance about whether effective internal control over financial reporting was maintained in all
material respects.

Our audit included obtaining an understanding of internal control over financial reporting, assessing the risk that a material
weakness exists, testing and evaluating the design and operating effectiveness of internal control based on the assessed risk, and
performing such other procedures as we considered necessary in the circumstances. We believe that our audit provides a reasonable
basis for our opinion.

Definition and Limitations of Internal Control Over Financial Reporting

A company's internal control over financial reporting is a process designed to provide reasonable assurance regarding the
reliability of financial reporting and the preparation of financial statements for external purposes in accordance with generally
accepted accounting principles. A company's internal control over financial reporting includes those policies and procedures
that (1) pertain to the maintenance of records that, in reasonable detail, accurately and fairly reflect the transactions and
dispositions of the assets of the company; (2) provide reasonable assurance that transactions are recorded as necessary to permit
preparation of financial statements in accordance with generally accepted accounting principles, and that receipts and
expenditures of the company are being made only in accordance with authorizations of management and directors of the company;
and (3) provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use, or disposition
of the company's assets that could have a material effect on the financial statements.

Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also,
projections of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate
because of changes in conditions, or that the degree of compliance with the policies or procedures may deteriorate.

                                                                                                          /s/ Ernst & Young LLP

Redwood City, California
January 29, 2020




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                                                    FACEBOOK, INC.
                                        CONSOLIDATED BALANCE SHEETS
                                  (In millions, except for number of shares and par value)

                                                                                                        December 31,
                                                                                                 2019                  2018
Assets
Current assets:
   Cash and cash equivalents                                                           $           19,079      $         10,019
   Marketable securities                                                                           35,776                31,095
   Accounts receivable, net of allowances of $206 and $229 as of December 31, 2019 and
   December 31, 2018, respectively                                                                  9,518                 7,587
   Prepaid expenses and other current assets                                                        1,852                 1,779
      Total current assets                                                                         66,225                50,480
Property and equipment, net                                                                        35,323                24,683
Operating lease right-of-use assets, net                                                            9,460                    —
Intangible assets, net                                                                                894                 1,294
Goodwill                                                                                           18,715                18,301
Other assets                                                                                        2,759                 2,576
Total assets                                                                                 $    133,376      $         97,334


Liabilities and stockholders' equity
Current liabilities:
   Accounts payable                                                                          $      1,363      $            820
   Partners payable                                                                                   886                   541
   Operating lease liabilities, current                                                               800                    —
   Accrued expenses and other current liabilities                                                  11,735                 5,509
   Deferred revenue and deposits                                                                      269                   147
      Total current liabilities                                                                    15,053                 7,017
Operating lease liabilities, non-current                                                            9,524                    —
Other liabilities                                                                                   7,745                 6,190
      Total liabilities                                                                            32,322                13,207
Commitments and contingencies
Stockholders' equity:
   Common stock, $0.000006 par value; 5,000 million Class A shares authorized, 2,407
   million and 2,385 million shares issued and outstanding, as of December 31, 2019 and
   December 31, 2018, respectively; 4,141 million Class B shares authorized, 445 million
   and 469 million shares issued and outstanding, as of December 31, 2019 and
   December 31, 2018, respectively.                                                                    —                     —
   Additional paid-in capital                                                                      45,851                42,906
   Accumulated other comprehensive loss                                                              (489)                 (760)
   Retained earnings                                                                               55,692                41,981
      Total stockholders' equity                                                                  101,054                84,127
Total liabilities and stockholders' equity                                                   $    133,376 $              97,334

                              See Accompanying Notes to Consolidated Financial Statements.




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                                                  FACEBOOK, INC.
                                    CONSOLIDATED STATEMENTS OF INCOME
                                        (In millions, except per share amounts)

                                                                                      Year Ended December 31,
                                                                             2019              2018              2017
Revenue                                                                 $       70,697     $     55,838      $     40,653
Costs and expenses:
  Cost of revenue                                                               12,770            9,355             5,454
  Research and development                                                      13,600           10,273             7,754
  Marketing and sales                                                            9,876            7,846             4,725
  General and administrative                                                    10,465            3,451             2,517
      Total costs and expenses                                                  46,711           30,925            20,450
Income from operations                                                          23,986           24,913            20,203
Interest and other income, net                                                     826              448               391
Income before provision for income taxes                                        24,812           25,361            20,594
Provision for income taxes                                                       6,327            3,249             4,660
Net income                                                              $       18,485     $     22,112 $          15,934
Less: Net income attributable to participating securities                           —                (1)              (14)
Net income attributable to Class A and Class B common
stockholders                                                            $       18,485     $     22,111      $     15,920
Earnings per share attributable to Class A and Class B common
stockholders:
   Basic                                                                $           6.48   $          7.65   $          5.49
   Diluted                                                              $           6.43   $          7.57   $          5.39
Weighted-average shares used to compute earnings per share
attributable to Class A and Class B common stockholders:
   Basic                                                                         2,854             2,890            2,901
   Diluted                                                                       2,876             2,921            2,956
Share-based compensation expense included in costs and expenses:
  Cost of revenue                                                       $          377     $         284     $        178
  Research and development                                                       3,488             3,022            2,820
  Marketing and sales                                                              569               511              436
  General and administrative                                                       402               335              289
     Total share-based compensation expense                             $        4,836     $       4,152     $      3,723

                               See Accompanying Notes to Consolidated Financial Statements.




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                                         FACEBOOK, INC.
                        CONSOLIDATED STATEMENTS OF COMPREHENSIVE INCOME
                                           (In millions)

                                                                                       Year Ended December 31,
                                                                             2019               2018               2017
Net income                                                               $    18,485        $     22,112       $    15,934
Other comprehensive income (loss):
  Change in foreign currency translation adjustment, net of tax                     (151)              (450)              566
  Change in unrealized gain/loss on available-for-sale investments and
  other, net of tax                                                              422                 (52)              (90)
Comprehensive income                                                     $    18,756        $     21,610 $          16,410

                             See Accompanying Notes to Consolidated Financial Statements.




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                                                              FACEBOOK, INC.
                                             CONSOLIDATED STATEMENTS OF STOCKHOLDERS' EQUITY
                                                                 (In millions)

                                                                            Class A and Class B
                                                                              Common Stock                                  Accumulated
                                                                                                                               Other                        Total
                                                                                                           Additional      Comprehensive     Retained   Stockholders'
                                                                         Shares          Par Value       Paid-In Capital       Loss          Earnings      Equity
Balances at December 31, 2016                                                2,892 $                 —   $      38,227 $           (703) $       21,670 $     59,194
  Issuance of common stock related to acquisitions                               2                   —             323               —               —           323
  Issuance of common stock for cash upon exercise of stock options               3                   —              13               —               —            13
  Issuance of common stock for settlement of RSUs                               43                   —              —                —               —            —
  Shares withheld related to net share settlement                              (21)                  —          (1,702)              —           (1,544)      (3,246)
  Share-based compensation                                                      —                    —           3,723               —               —         3,723
  Share repurchases                                                            (13)                  —              —                —           (2,070)      (2,070)
  Other comprehensive income                                                    —                    —              —               476              —           476
  Net income                                                                    —                    —              —                —           15,934       15,934
Balances at December 31, 2017                                                2,906                   —          40,584             (227)         33,990       74,347
  Impact of the adoption of new accounting pronouncements                       —                    —              —               (31)            172          141
  Issuance of common stock for cash upon exercise of stock options               2                   —              15               —               —            15
  Issuance of common stock for settlement of RSUs                               44                   —              —                —               —            —
  Shares withheld related to net share settlement                              (19)                  —          (1,845)              —           (1,363)      (3,208)
  Share-based compensation                                                      —                    —           4,152               —               —         4,152
  Share repurchases                                                            (79)                  —              —                —          (12,930)     (12,930)
  Other comprehensive loss                                                      —                    —              —              (502)             —          (502)
  Net income                                                                    —                    —              —                —           22,112       22,112
Balances at December 31, 2018                                                2,854                   —          42,906             (760)         41,981       84,127
  Issuance of common stock for cash upon exercise of stock options               1                   —              15               —               —            15
  Issuance of common stock for settlement of RSUs                               32                   —              —                —               —            —
  Shares withheld related to net share settlement and other                    (13)                  —          (1,906)              —             (675)      (2,581)
  Share-based compensation                                                      —                    —           4,836               —               —         4,836
  Share repurchases                                                            (22)                  —              —                —           (4,099)      (4,099)
  Other comprehensive income                                                    —                    —              —               271              —           271
  Net income                                                                    —                    —              —                —           18,485       18,485
                                                                                                                                                                        Case 1:20-cv-03590-JEB Document 324-29 Filed 04/05/24 Page 107 of 969




Balances at December 31, 2019                                                2,852 $                 —   $      45,851 $           (489) $       55,692 $    101,054
                                                  See Accompanying Notes to Consolidated Financial Statements.


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                                                FACEBOOK, INC.
                                     CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                    (In millions)
                                                                                               Year Ended December 31,
                                                                                       2019            2018              2017
Cash flows from operating activities
  Net income                                                                       $     18,485    $      22,112    $      15,934
  Adjustments to reconcile net income to net cash provided by operating
  activities:
        Depreciation and amortization                                                     5,741            4,315            3,025
        Share-based compensation                                                          4,836            4,152            3,723
        Deferred income taxes                                                               (37)             286             (377)
        Other                                                                                39              (64)              24
  Changes in assets and liabilities:
       Accounts receivable                                                               (1,961)          (1,892)          (1,609)
       Prepaid expenses and other current assets                                             47             (690)            (192)
       Other assets                                                                          41             (159)             154
       Accounts payable                                                                     113              221               43
       Partners payable                                                                     348              157               95
       Accrued expenses and other current liabilities                                     7,300            1,417              309
       Deferred revenue and deposits                                                        123               53                4
       Other liabilities                                                                  1,239             (634)           3,083
      Net cash provided by operating activities                                          36,314           29,274           24,216
Cash flows from investing activities
  Purchases of property and equipment, net                                              (15,102)         (13,915)          (6,733)
  Purchases of marketable securities                                                    (23,910)         (14,656)         (25,682)
  Sales of marketable securities                                                          9,565           12,358            9,444
  Maturities of marketable securities                                                    10,152            4,772            2,988
   Acquisitions of businesses, net of cash acquired, and purchases of intangible
   assets                                                                                  (508)            (137)            (122)
   Other investing activities, net                                                          (61)             (25)             (13)
       Net cash used in investing activities                                            (19,864)         (11,603)         (20,118)
Cash flows from financing activities
   Taxes paid related to net share settlement of equity awards                           (2,337)          (3,208)           (3,246)
   Repurchases of Class A common stock                                                   (4,202)         (12,879)           (1,976)
   Principal payments on finance leases                                                    (552)              —                 —
   Net change in overdraft in cash pooling entities                                        (223)             500                —
   Other financing activities, net                                                           15               15               (13)
       Net cash used in financing activities                                             (7,299)         (15,572)           (5,235)
Effect of exchange rate changes on cash, cash equivalents, and restricted cash                4             (179)              232
Net increase (decrease) in cash, cash equivalents, and restricted cash                    9,155            1,920              (905)
Cash, cash equivalents, and restricted cash at beginning of the period                   10,124            8,204             9,109
Cash, cash equivalents, and restricted cash at end of the period                   $     19,279 $         10,124 $           8,204

Reconciliation of cash, cash equivalents, and restricted cash to the
consolidated balance sheets
   Cash and cash equivalents                                                       $     19,079    $      10,019    $       8,079
   Restricted cash, included in prepaid expenses and other current assets                     8               10               18
   Restricted cash, included in other assets                                                192               95              107
Total cash, cash equivalents, and restricted cash                                  $     19,279    $      10,124    $       8,204


                                 See Accompanying Notes to Consolidated Financial Statements.

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                                               FACEBOOK, INC.
                                    CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                   (In millions)
                                                                                           Year Ended December 31,
                                                                                    2019            2018             2017
Supplemental cash flow data
  Cash paid for income taxes, net                                               $      5,182   $        3,762   $       2,117
  Non-cash investing activities:
     Net change in prepaids and liabilities related to property and equipment   $       (153) $           918   $           495
     Property and equipment in accounts payable and accrued liabilities         $      1,887 $          1,955   $           882


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                                              FACEBOOK, INC.
                                NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

Note 1. Summary of Significant Accounting Policies

       Organization and Description of Business

       Facebook was incorporated in Delaware in July 2004. Our mission is to give people the power to build community and
bring the world closer together. We generate substantially all of our revenue from advertising.

       Basis of Presentation

       We prepared the consolidated financial statements in accordance with U.S. generally accepted accounting principles
(GAAP). The consolidated financial statements include the accounts of Facebook, Inc., subsidiaries where we have controlling
financial interests, and any variable interest entities for which we are deemed to be the primary beneficiary. All intercompany
balances and transactions have been eliminated.

       Use of Estimates

       Conformity with GAAP requires the use of estimates and judgments that affect the reported amounts in the consolidated
financial statements and accompanying notes. These estimates form the basis for judgments we make about the carrying values
of our assets and liabilities, which are not readily apparent from other sources. We base our estimates and judgments on historical
information and on various other assumptions that we believe are reasonable under the circumstances. GAAP requires us to
make estimates and judgments in several areas, including, but not limited to, those related to income taxes, loss contingencies,
fair value of acquired intangible assets and goodwill, collectability of accounts receivable, fair value of financial instruments,
leases, useful lives of intangible assets and property and equipment, and revenue recognition. These estimates are based on
management's knowledge about current events and expectations about actions we may undertake in the future. Actual results
could differ materially from those estimates.

       Revenue Recognition

       Revenue is recognized when control of the promised goods or services is transferred to our customers, in an amount that
reflects the consideration we expect to be entitled to in exchange for those goods or services.

       We determine revenue recognition through the following steps:

         •     identification of the contract, or contracts, with a customer;
         •     identification of the performance obligations in the contract;
         •     determination of the transaction price;
         •     allocation of the transaction price to the performance obligations in the contract; and
         •     recognition of revenue when, or as, we satisfy a performance obligation.

       Revenue excludes sales and usage‑based taxes where it has been determined that we are acting as a pass‑through agent.

       Advertising

      Advertising revenue is generated by displaying ad products on Facebook, Instagram, Messenger, and third-party affiliated
websites or mobile applications. Marketers pay for ad products either directly or through their relationships with advertising
agencies or resellers, based on the number of impressions delivered or the number of actions, such as clicks, taken by our users.

       We recognize revenue from the display of impression-based ads in the contracted period in which the impressions are
delivered. Impressions are considered delivered when an ad is displayed to users. We recognize revenue from the delivery of
action-based ads in the period in which a user takes the action the marketer contracted for. For advertising revenue arrangements
where we are not the principal, we recognize revenue on a net basis.




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      We may accept lower consideration than the amount promised per the contract for certain revenue transactions and certain
customers may receive cash-based incentives or credits, which are accounted for as variable consideration when estimating the
amount of revenue to recognize. We believe that there will not be significant changes to our estimates of variable consideration.

       Other Revenue

       Other revenue consists of revenue from the delivery of consumer hardware devices, net fees we receive from developers
using our Payments infrastructure, as well as revenue from various other sources.

       Deferred Revenue and Deposits

       Deferred revenue mostly consists of billings and payments we receive from marketers in advance of revenue recognition.
Deposits relate to unused balances held on behalf of our users who primarily use these balances to make purchases in games on
our platform. Once this balance is utilized by a user, the majority of this amount would then be payable to the developer and the
balance would be recognized as revenue. The increase in the deferred revenue balance for the year ended December 31, 2019
was driven by cash payments from customers in advance of satisfying our performance obligations, offset by revenue recognized
that was included in the deferred revenue balance at the beginning of the period.

       Our payment terms vary by the products or services offered. The term between billings and when payment is due is not
significant. For certain products or services and customer types, we require payment before the products or services are delivered
to the customer.

       Practical Expedients and Exemptions

       We generally expense sales commissions when incurred because the amortization period would have been one year or
less. These costs are recorded within marketing and sales on our consolidated statements of income.

      We do not disclose the value of unsatisfied performance obligations for (i) contracts with an original expected length of
one year or less and (ii) contracts for which we recognize revenue at the amount to which we have the right to invoice for services
performed.

       Cost of Revenue

       Our cost of revenue consists primarily of expenses associated with the delivery and distribution of our products. These
include expenses related to the operation of our data centers and technical infrastructure, such as facility and server equipment
depreciation, salaries, benefits, and share-based compensation for employees on our operations teams, and energy and bandwidth
costs. Cost of revenue also includes costs associated with partner arrangements, including traffic acquisition and content
acquisition costs, credit card and other transaction fees related to processing customer transactions, and cost of consumer hardware
devices sold.

       Content acquisition costs

       We license and pay to produce content in order to increase engagement on the platform. For licensed content, the capitalized
amounts are limited to the greater of estimated net realizable value or cost on a per title basis. We expense the cost per title in
cost of revenue on the consolidated statements of income when the title is accepted and available for viewing, and before the
capitalization criteria are met. For original content, we expense costs associated with the production, including development
costs and direct costs as incurred, unless those amounts are determined to be recoverable. Expensed original content costs are
included in cost of revenue on the consolidated statements of income.

       Content acquisition costs that meet the criteria for capitalization were not material to date.

       Software Development Costs

        Software development costs, including costs to develop software products or the software component of products to be
sold, leased, or marketed to external users, are expensed before the software or technology reach technological feasibility, which
is typically reached shortly before the release of such products.

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       Software development costs also include costs to develop software to be used solely to meet internal needs and applications
used to deliver our services. These software development costs meet the criteria for capitalization once the preliminary project
stage is complete and it is probable that the project will be completed and the software will be used to perform the function
intended.

       Development costs that meet the criteria for capitalization were not material to date.

       Income Taxes

       We are subject to income taxes in the United States and numerous foreign jurisdictions. Significant judgment is required
in determining our provision for income taxes and income tax assets and liabilities, including evaluating uncertainties in the
application of accounting principles and complex tax laws.

       We record a provision for income taxes for the anticipated tax consequences of the reported results of operations using
the asset and liability method. Under this method, we recognize deferred income tax assets and liabilities for the expected future
consequences of temporary differences between the financial reporting and tax bases of assets and liabilities, as well as for loss
and tax credit carryforwards. Deferred tax assets and liabilities are measured using the tax rates that are expected to apply to
taxable income for the years in which those tax assets and liabilities are expected to be realized or settled. We recognize the
deferred income tax effects of a change in tax rates in the period of the enactment.

       We record a valuation allowance to reduce our deferred tax assets to the net amount that we believe is more likely than
not to be realized. We consider all available evidence, both positive and negative, including historical levels of income,
expectations and risks associated with estimates of future taxable income and ongoing tax planning strategies in assessing the
need for a valuation allowance.

       We recognize tax benefits from uncertain tax positions only if we believe that it is more likely than not that the tax position
will be sustained on examination by the taxing authorities based on the technical merits of the position. These uncertain tax
positions include our estimates for transfer pricing that have been developed based upon analyses of appropriate arms-length
prices. Similarly, our estimates related to uncertain tax positions concerning research tax credits are based on an assessment of
whether our available documentation corroborating the nature of our activities supporting the tax credits will be sufficient.
Although we believe that we have adequately reserved for our uncertain tax positions (including net interest and penalties), we
can provide no assurance that the final tax outcome of these matters will not be materially different. We make adjustments to
these reserves in accordance with the income tax guidance when facts and circumstances change, such as the closing of a tax
audit or the refinement of an estimate. To the extent that the final tax outcome of these matters is different from the amounts
recorded, such differences will affect the provision for income taxes in the period in which such determination is made and could
have a material impact on our financial condition and operating results.

       Advertising Expense

       Advertising costs are expensed when incurred and are included in marketing and sales expenses in the accompanying
consolidated statements of income. We incurred advertising expenses of $1.57 billion, $1.10 billion, and $324 million for the
years ended December 31, 2019, 2018, and 2017, respectively.

       Cash and Cash Equivalents, Marketable Securities, and Restricted Cash

       Cash and cash equivalents consist of cash on deposit with banks and highly liquid investments with maturities of 90 days
or less from the date of purchase.

       We hold investments in marketable securities, consisting of U.S. government securities, U.S. government agency
securities, and investment grade corporate debt securities. We classify our marketable securities as available-for-sale investments
in our current assets because they represent investments of cash available for current operations. Our available-for-sale
investments are carried at estimated fair value with any unrealized gains and losses, net of taxes, included in accumulated other
comprehensive income (loss) in stockholders' equity. Unrealized losses are charged against interest and other income, net when
a decline in fair value is determined to be other-than-temporary. We have not recorded any such impairment charge in the periods


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presented. We determine realized gains or losses on sale of marketable securities on a specific identification method, and record
such gains or losses as interest and other income, net.

       We also maintain a multi-currency notional cash pool for our participating entities with a third-party bank provider. Actual
cash balances are not physically converted and are not commingled between participating legal entities. We classify the overdraft
balances within accrued expenses and other current liabilities on the accompanying consolidated balance sheets.

     We classify certain restricted cash balances within prepaid expenses and other current assets and other assets on the
accompanying consolidated balance sheets based upon the term of the remaining restrictions.

       Fair Value of Financial Instruments

        We apply fair value accounting for all financial assets and liabilities and non-financial assets and liabilities that are
recognized or disclosed at fair value in the financial statements on a recurring basis. We define fair value as the price that would
be received from selling an asset or paid to transfer a liability in an orderly transaction between market participants at the
measurement date. When determining the fair value measurements for assets and liabilities, which are required to be recorded
at fair value, we consider the principal or most advantageous market in which we would transact and the market-based risk
measurements or assumptions that market participants would use in pricing the asset or liability, such as risks inherent in valuation
techniques, transfer restrictions and credit risk. Fair value is estimated by applying the following hierarchy, which prioritizes
the inputs used to measure fair value into three levels and bases the categorization within the hierarchy upon the lowest level
of input that is available and significant to the fair value measurement:

       Level 1-Quoted prices in active markets for identical assets or liabilities.

       Level 2-Observable inputs other than quoted prices in active markets for identical assets and liabilities, quoted prices for
identical or similar assets or liabilities in inactive markets, or other inputs that are observable or can be corroborated by observable
market data for substantially the full term of the assets or liabilities.

       Level 3-Inputs that are generally unobservable and typically reflect management's estimate of assumptions that market
participants would use in pricing the asset or liability.

      Our valuation techniques used to measure the fair value of cash equivalents and marketable debt securities were derived
from quoted market prices or alternative pricing sources and models utilizing observable market inputs.

       Accounts Receivable and Allowances

       Accounts receivable are recorded and carried at the original invoiced amount less an allowance for any potential
uncollectible amounts. We make estimates for the allowance for doubtful accounts and allowance for unbilled receivables based
upon our assessment of various factors, including historical experience, the age of the accounts receivable balances, credit quality
of our customers, current economic conditions, and other factors that may affect our ability to collect from customers.

       Property and Equipment

       Property and equipment, which includes amounts recorded under finance leases, are stated at cost less accumulated
depreciation. Depreciation is computed using the straight-line method over the estimated useful lives of the assets or the remaining
lease term, whichever is shorter.

       The estimated useful lives of property and equipment are described below:

Property and Equipment                                                 Useful Life
Network equipment                                                      Three to 20 years
Buildings                                                              Three to 30 years
Computer software, office equipment and other                          Two to five years
Finance lease right-of-use assets                                      Three to 20 years
Leasehold improvements                                                 Lesser of estimated useful life or remaining lease term

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       The useful lives of our property and equipment are determined by management when those assets are initially recognized
and are routinely reviewed for the remaining estimated useful lives. Our current estimate of useful lives represents the best
estimate of the useful lives based on current facts and circumstances, but may differ from the actual useful lives due to changes
in future circumstances such as changes to our business operations, changes in the planned use of assets, and technological
advancements. When we change the estimated useful life assumption for any asset, the remaining carrying amount of the asset
is accounted for prospectively and depreciated or amortized over the revised estimated useful life. Historically changes in useful
lives have not resulted in material changes to our depreciation and amortization expense.

       Land and assets held within construction in progress are not depreciated. Construction in progress is related to the
construction or development of property and equipment that have not yet been placed in service for their intended use.

        The cost of maintenance and repairs is expensed as incurred. When assets are retired or otherwise disposed of, the cost
and related accumulated depreciation are removed from their respective accounts, and any gain or loss on such sale or disposal
is reflected in income from operations.

       Lease Obligations

       On January 1, 2019, we adopted Accounting Standards Update No. 2016-02, Leases (Topic 842) (ASU 2016-02) using
the modified retrospective transition approach by applying the new standard to all leases existing at the date of initial application.
Results and disclosure requirements for reporting periods beginning after January 1, 2019 are presented under Topic 842, while
prior period amounts have not been adjusted and continue to be reported in accordance with our historical accounting under
Topic 840.

       We elected the package of practical expedients permitted under the transition guidance, which allowed us to carryforward
our historical lease classification, our assessment on whether a contract was or contains a lease, and our initial direct costs for
any leases that existed prior to January 1, 2019. We also elected to combine our lease and non-lease components and to keep
leases with an initial term of 12 months or less off the balance sheet and recognize the associated lease payments in the consolidated
statements of income on a straight-line basis over the lease term. Additionally, for certain equipment leases, we apply a portfolio
approach to effectively account for the operating lease right-of-use (ROU) assets and lease liabilities.

       Upon adoption, we recognized total ROU assets of $6.63 billion, with corresponding lease liabilities of $6.35 billion on
the consolidated balance sheets. This included $761 million of pre-existing finance lease ROU assets previously reported in the
network equipment within property and equipment, net. The ROU assets include adjustments for prepayments and accrued lease
payments. The adoption did not impact our beginning retained earnings, or our prior year consolidated statements of income
and statements of cash flows.

       Under Topic 842, we determine if an arrangement is a lease at inception. ROU assets and lease liabilities are recognized
at commencement date based on the present value of remaining lease payments over the lease term. For this purpose, we consider
only payments that are fixed and determinable at the time of commencement. As most of our leases do not provide an implicit
rate, we use our incremental borrowing rate based on the information available at commencement date in determining the present
value of lease payments. Our incremental borrowing rate is a hypothetical rate based on our understanding of what our credit
rating would be. The ROU asset also includes any lease payments made prior to commencement and is recorded net of any lease
incentives received. Our lease terms may include options to extend or terminate the lease when it is reasonably certain that we
will exercise such options. When determining the probability of exercising such options, we consider contract-based, asset-
based, entity-based, and market-based factors. Our lease agreements may contain variable costs such as common area
maintenance, insurance, real estate taxes or other costs. Variable lease costs are expensed as incurred on the consolidated
statements of income. Our lease agreements generally do not contain any residual value guarantees or restrictive covenants.

        Operating leases are included in operating lease ROU assets, operating lease liabilities, current and operating lease
liabilities, non-current on our consolidated balance sheets. Finance leases are included in property and equipment, accrued
expenses and other current liabilities, and other liabilities on our consolidated balance sheets.




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       Loss Contingencies

       We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations that arise in
the ordinary course of business. Certain of these matters include speculative claims for substantial or indeterminate amounts of
damages. We evaluate the developments on a regular basis and accrue a liability when we believe that it is both probable that a
loss has been incurred and the amount can be reasonably estimated. If we determine there is a reasonable possibility that we
may incur a loss and the loss or range of loss can be estimated, we disclose the possible loss in the notes to the consolidated
financial statements to the extent material.

       We review the developments in our contingencies that could affect the amount of the provisions that has been previously
recorded, and the matters and related possible losses disclosed. We make adjustments to our provisions and changes to our
disclosures accordingly to reflect the impact of negotiations, settlements, rulings, advice of legal counsel, and updated
information. Significant judgment is required to determine both the probability of loss and the estimated amount of loss.

       Business Combinations

       We allocate the fair value of purchase consideration to the tangible assets acquired, liabilities assumed and intangible
assets acquired based on their estimated fair values. The excess of the fair value of purchase consideration over the fair values
of these identifiable assets and liabilities is recorded as goodwill. Such valuations require management to make significant
estimates and assumptions, especially with respect to intangible assets. Significant estimates in valuing certain intangible assets
include, but are not limited to, future expected cash flows from acquired users, acquired technology, and trade names from a
market participant perspective, useful lives and discount rates. Management's estimates of fair value are based upon assumptions
believed to be reasonable, but which are inherently uncertain and unpredictable and, as a result, actual results may differ from
estimates. Allocation of purchase consideration to identifiable assets and liabilities affects Company amortization expense, as
acquired finite-lived intangible assets are amortized over the useful life, whereas any indefinite lived intangible assets, including
goodwill, are not amortized. During the measurement period, which is not to exceed one year from the acquisition date, we may
record adjustments to the assets acquired and liabilities assumed, with the corresponding offset to goodwill. Upon the conclusion
of the measurement period, any subsequent adjustments are recorded to earnings.

       Long-lived Assets Including Goodwill and Other Acquired Intangibles Assets

        We evaluate the recoverability of property and equipment and acquired finite-lived intangible assets for possible
impairment whenever events or circumstances indicate that the carrying amount of such assets may not be recoverable. The
evaluation is performed at the lowest level for which identifiable cash flows are largely independent of the cash flows of other
assets and liabilities. Recoverability of these assets is measured by a comparison of the carrying amounts to the future undiscounted
cash flows the assets are expected to generate from the use and eventual disposition. If such review indicates that the carrying
amount of property and equipment and intangible assets is not recoverable, the carrying amount of such assets is reduced to fair
value. We have not recorded any significant impairment charges during the years presented.

      We review goodwill for impairment at least annually or more frequently if events or changes in circumstances would
more likely than not reduce the fair value of our single reporting unit below its carrying value. As of December 31, 2019, no
impairment of goodwill has been identified.

       Acquired finite-lived intangible assets are amortized on a straight-line basis over the estimated useful lives of the assets.
We routinely review the remaining estimated useful lives of property and equipment and finite-lived intangible assets. If we
change the estimated useful life assumption for any asset, the remaining unamortized balance is amortized or depreciated over
the revised estimated useful life.

       Foreign Currency

       Generally, the functional currency of our international subsidiaries is the local currency. We translate the financial
statements of these subsidiaries to U.S. dollars using month-end rates of exchange for assets and liabilities, and average rates
of exchange for revenue, costs, and expenses. Translation gains and losses are recorded in accumulated other comprehensive
loss as a component of stockholders' equity. As of December 31, 2019 and 2018, we had a cumulative translation loss, net of
tax of $617 million and $466 million, respectively. Net losses resulting from foreign exchange transactions were $105 million,
$213 million, and $6 million for the years ended December 31, 2019, 2018, and 2017, respectively. These losses were recorded
as interest and other income, net in our consolidated statements of income.

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       Credit Risk and Concentration

       Our financial instruments that are potentially subject to concentrations of credit risk consist primarily of cash, cash
equivalents, restricted cash, marketable securities, and accounts receivable. The majority of cash equivalents consists of money
market funds, that primarily invest in U.S. government and agency securities. Marketable securities consist of investments in
U.S. government securities, U.S. government agency securities, and investment grade corporate debt securities. Our investment
portfolio in corporate debt securities is highly liquid and diversified among individual issuers.

       Accounts receivable are typically unsecured and are derived from revenue earned from customers across different
industries and countries. We generated 43% of our revenue for the years ended December 31, 2019 and 2018 and 44% of our
revenue for the year ended December 31, 2017 from marketers and developers based in the United States, with the majority of
revenue outside of the United States coming from customers located in western Europe, China, Canada, Brazil, and Australia.

        We perform ongoing credit evaluations of our customers and generally do not require collateral. We maintain an allowance
for estimated credit losses. Bad debt expense was not material during the years ended December 31, 2019, 2018, or 2017. In the
event that accounts receivable collection cycles deteriorate, our operating results and financial position could be adversely
affected.

       No customer represented 10% or more of total revenue during the years ended December 31, 2019, 2018, and 2017.

       Segments

       Our chief operating decision-maker is our Chief Executive Officer who makes resource allocation decisions and assesses
performance based on financial information presented on a consolidated basis. There are no segment managers who are held
accountable by the chief operating decision-maker, or anyone else, for operations, operating results, and planning for levels or
components below the consolidated unit level. Accordingly, we have determined that we have a single reportable segment and
operating segment structure.

       Recently Adopted Accounting Pronouncements

       On January 1, 2019, we adopted Topic 842, as amended, which supersedes the lease accounting guidance under Topic
840, and generally requires lessees to recognize operating and financing lease liabilities and corresponding ROU assets on the
balance sheet and to provide enhanced disclosures surrounding the amount, timing and uncertainty of cash flows arising from
leasing arrangements. We adopted the new guidance using the modified retrospective transition approach by applying the new
standard to all leases existing at the date of initial application and not restating comparative periods. The most significant impact
was the recognition of ROU assets and lease liabilities for operating leases, while our accounting for finance leases remained
substantially unchanged. For information regarding the impact of Topic 842 adoption, see Significant Accounting Policies -
Leases above and Note 7 - Leases.

       On October 1, 2019, we early adopted Accounting Standards Update No. 2017-04, Intangibles—Goodwill and Other
(Topic 350): Simplifying the Test for Goodwill Impairment (ASU 2017-04) using the prospective approach, which eliminates
step two from the goodwill impairment test. Under ASU 2017-04, an entity should recognize an impairment charge for the
amount by which the carrying amount of a reporting unit exceeds its fair value up to the amount of goodwill allocated to that
reporting unit. This guidance was effective beginning January 1, 2020, with early adoption permitted. The adoption of this new
standard did not have a material impact on our consolidated financial statements.

       On October 1, 2019, we early adopted Accounting Standards Update No. 2019-02, Entertainment-Films-Other Assets-
Film Costs (Subtopic 926-20) and Entertainment-Broadcasters-Intangibles-Goodwill and Other (Subtopic 920-350):
Improvements to Accounting for Costs of Films and License Agreements for Program Materials (ASU 2019-02) using the
prospective approach, which eliminates certain revenue-related constraints on capitalization of inventory costs for episodic
television that existed under prior guidance. In addition, the balance sheet classification requirements that existed in prior
guidance for film production costs and programming inventory were eliminated. This guidance was effective beginning January
1, 2020, with early adoption permitted. The adoption of this new standard did not have a material impact on our consolidated
financial statements.



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       Recent Accounting Pronouncements Not Yet Adopted

        In June 2016, the Financial Accounting Standards Board (FASB) issued Accounting Standard Update No. 2016-13,
Financial Instruments-Credit Losses (Topic 326): Measurement of Credit Losses on Financial Instruments (ASU 2016-13),
which requires the measurement and recognition of expected credit losses for financial assets held at amortized cost. ASU
2016-13 replaces the existing incurred loss impairment model with a forward-looking expected credit loss model which will
result in earlier recognition of credit losses. We will adopt the new standard effective January 1, 2020 and do not expect the
adoption of this guidance to have a material impact on our consolidated financial statements.

       In August 2018, the FASB issued Accounting Standard Update No. 2018-13, Changes to Disclosure Requirements for
Fair Value Measurements (Topic 820) (ASU 2018-13), which improved the effectiveness of disclosure requirements for recurring
and nonrecurring fair value measurements. The standard removes, modifies, and adds certain disclosure requirements. We will
adopt the new standard effective January 1, 2020 and do not expect the adoption of this guidance to have a material impact on
our consolidated financial statements.

       In December 2019, the FASB issued Accounting Standard Update No. 2019-12, Income Taxes (Topic 740): Simplifying
the Accounting for Income Taxes (ASU 2019-12), which simplifies the accounting for income taxes. This guidance will be
effective for us in the first quarter of 2021 on a prospective basis, and early adoption is permitted. We are currently evaluating
the impact of the new guidance on our consolidated financial statements.

Note 2. Revenue

       Revenue disaggregated by revenue source consists of the following (in millions):

                                                                                                 Year Ended December 31,
                                                                                        2019               2018             2017 (1)
Advertising                                                                       $        69,655    $        55,013    $       39,942
Other revenue                                                                               1,042                825               711
    Total revenue                                                                 $        70,697    $        55,838    $       40,653
_________________________
(1) Prior period amounts have not been adjusted under the modified retrospective method of the adoption of Topic 606.

       Revenue disaggregated by geography, based on the billing address of our customers, consists of the following (in millions):

                                                                                                 Year Ended December 31,
                                                                                        2019               2018             2017 (1)
Revenue:
  United States and Canada(2)                                                     $        32,206    $        25,727    $       19,065
   Europe(3)                                                                               16,826             13,631            10,126
   Asia-Pacific                                                                            15,406             11,733             7,921
   Rest of World(3)                                                                         6,259              4,747             3,541
     Total revenue                                                                $        70,697    $        55,838    $       40,653
_________________________
(1) Prior period amounts have not been adjusted under the modified retrospective method of the adoption of Topic 606.
(2) United States revenue was $30.23 billion, $24.10 billion, and $17.73 billion for the years ended December 31, 2019, 2018, and 2017.
(3) Europe includes Russia and Turkey, and Rest of World includes Africa, Latin America, and the Middle East.




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      Deferred revenue and deposits consists of the following (in millions):

                                                                                                        December 31,
                                                                                                 2019                  2018
Deferred revenue                                                                          $             234    $              117
Deposits                                                                                                 35                    30
   Total deferred revenue and deposits                                                    $             269    $              147



Note 3. Earnings per Share

       We compute earnings per share (EPS) of Class A and Class B common stock using the two-class method required for
participating securities. We consider restricted stock awards to be participating securities because holders of such shares have
non-forfeitable dividend rights in the event of our declaration of a dividend for common shares.

       Undistributed earnings allocated to participating securities are subtracted from net income in determining net income
attributable to common stockholders. Basic EPS is computed by dividing net income attributable to common stockholders by
the weighted-average number of shares of our Class A and Class B common stock outstanding, adjusted for outstanding shares
that are subject to repurchase.

       For the calculation of diluted EPS, net income attributable to common stockholders for basic EPS is adjusted by the effect
of dilutive securities, including awards under our equity compensation plans. In 2018 and 2017, the calculation of diluted EPS
also included the effect of inducement awards under separate non-plan restricted stock unit (RSU) award agreements.

       In addition, the computation of the diluted EPS of Class A common stock assumes the conversion of our Class B common
stock to Class A common stock, while the diluted EPS of Class B common stock does not assume the conversion of those shares
to Class A common stock. Diluted EPS attributable to common stockholders is computed by dividing the resulting net income
attributable to common stockholders by the weighted-average number of fully diluted common shares outstanding.

     RSUs with anti-dilutive effect were excluded from the EPS calculation and they were not material for the years ended
December 31, 2019, 2018, and 2017, respectively.

      Basic and diluted EPS are the same for each class of common stock because they are entitled to the same liquidation and
dividend rights.




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      The numerators and denominators of the basic and diluted EPS computations for our common stock are calculated as
follows (in millions, except per share amounts):

                                                                                         Year Ended December 31,
                                                                        2019                        2018                       2017
                                                                Class          Class        Class           Class      Class          Class
                                                                 A              B            A               B          A              B
Basic EPS:
 Numerator
   Net income                                                  $ 15,569    $ 2,916        $ 18,411 $ 3,701            $ 13,034 $ 2,900
   Less: Net income attributable to participating securities         —          —               (1)     —                  (12)     (2)
      Net income attributable to common stockholders           $ 15,569    $ 2,916        $ 18,410 $ 3,701            $ 13,022 $ 2,898
 Denominator
   Weighted-average shares outstanding                           2,404            450       2,406              484      2,375            528
   Less: Shares subject to repurchase                               —              —           —                —          (2)            —
      Number of shares used for basic EPS computation            2,404           450        2,406             484       2,373           528
      Basic EPS                                                $ 6.48      $     6.48     $ 7.65        $     7.65    $ 5.49 $          5.49
Diluted EPS:
 Numerator
  Net income attributable to common stockholders           $ 15,569        $ 2,916        $ 18,410      $ 3,701       $ 13,022    $ 2,898
  Reallocation of net income attributable to participating
  securities                                                     —                 —                1           —          14             —
  Reallocation of net income as a result of conversion of
  Class B to Class A common stock                             2,916                —         3,701              —       2,898             —
  Reallocation of net income to Class B common stock             —                (18)          —              (16)        —             (13)
     Net income attributable to common stockholders for
     diluted EPS                                           $ 18,485        $ 2,898        $ 22,112      $ 3,685       $ 15,934    $ 2,885
 Denominator
  Number of shares used for basic EPS computation             2,404              450         2,406            484       2,373           528
  Conversion of Class B to Class A common stock                 450               —            484             —          528            —
  Weighted-average effect of dilutive RSUs and employee
  stock options                                                  22                 1          31                3         53              7
  Shares subject to repurchase                                   —                 —           —                —           2             —
     Number of shares used for diluted EPS computation        2,876               451       2,921              487      2,956            535
     Diluted EPS                                           $ 6.43          $     6.43     $ 7.57        $     7.57    $ 5.39      $     5.39




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Note 4. Cash and Cash Equivalents and Marketable Securities

       The following table sets forth the cash and cash equivalents and marketable securities (in millions):

                                                                                                         December 31,
                                                                                                  2019                  2018
Cash and cash equivalents:
    Cash                                                                                   $           4,735    $           2,713
    Money market funds                                                                                12,787                6,792
    U.S. government securities                                                                           815                   90
    U.S. government agency securities                                                                    444                   54
    Certificate of deposits and time deposits                                                            217                  369
    Corporate debt securities                                                                             81                    1
Total cash and cash equivalents                                                                       19,079               10,019
Marketable securities:
    U.S. government securities                                                                        18,679               13,836
    U.S. government agency securities                                                                  6,712                8,333
    Corporate debt securities                                                                         10,385                8,926
Total marketable securities                                                                           35,776               31,095
Total cash and cash equivalents and marketable securities                                  $          54,855    $          41,114

       The gross unrealized gains on our marketable securities were $205 million and $24 million as of December 31, 2019 and
2018, respectively. The gross unrealized losses on our marketable securities were $24 million and $357 million as of December 31,
2019 and 2018, respectively. In addition, gross unrealized losses that had been in a continuous loss position for 12 months or
longer were $17 million and $332 million as of December 31, 2019 and 2018, respectively. As of December 31, 2019, we
considered the unrealized losses on our marketable securities to be temporary in nature and did not consider any of our investments
to be other-than-temporarily impaired.

       The following table classifies our marketable securities by contractual maturities (in millions):

                                                                                                         December 31,
                                                                                                  2019                  2018
Due in one year                                                                            $          12,803    $              9,746
Due after one year to five years                                                                      22,973               21,349
  Total                                                                                    $          35,776    $          31,095




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Note 5. Fair Value Measurement

       The following table summarizes our assets measured at fair value and the classification by level of input within the fair
value hierarchy (in millions):

                                                                                  Fair Value Measurement at Reporting Date Using

                                                                              Quoted Prices in       Significant
                                                                                  Active               Other             Significant
                                                                                Markets for          Observable         Unobservable
                                                               December 31,   Identical Assets         Inputs              Inputs
Description                                                        2019          (Level 1)            (Level 2)           (Level 3)
Cash equivalents:
   Money market funds                                      $         12,787   $       12,787     $             —    $              —
   U.S. government securities                                           815              815                   —                   —
   U.S. government agency securities                                    444              444                   —                   —
   Certificate of deposits and time deposits                            217               —                   217                  —
   Corporate debt securities                                             81               —                    81                  —
Marketable securities:
   U.S. government securities                                        18,679           18,679                  —                    —
   U.S. government agency securities                                  6,712            6,712                  —                    —
   Corporate debt securities                                         10,385               —               10,385                   —
Total cash equivalents and marketable securities           $         50,120   $       39,437     $        10,683    $              —

                                                                                  Fair Value Measurement at Reporting Date Using

                                                                              Quoted Prices in       Significant
                                                                                  Active               Other             Significant
                                                                                Markets for          Observable         Unobservable
                                                               December 31,   Identical Assets         Inputs              Inputs
Description                                                        2018          (Level 1)            (Level 2)           (Level 3)
Cash equivalents:
   Money market funds                                      $          6,792   $         6,792    $             —    $              —
   U.S. government securities                                            90                90                  —                   —
   U.S. government agency securities                                     54                54                  —                   —
   Certificate of deposits and time deposits                            369                —                  369                  —
   Corporate debt securities                                              1                —                    1                  —
Marketable securities:
   U.S. government securities                                        13,836           13,836                   —                   —
   U.S. government agency securities                                  8,333            8,333                   —                   —
   Corporate debt securities                                          8,926               —                 8,926                  —
Total cash equivalents and marketable securities           $         38,401   $       29,105     $          9,296   $              —

        We classify our cash equivalents and marketable securities within Level 1 or Level 2 because we use quoted market prices
or alternative pricing sources and models utilizing market observable inputs to determine their fair value.




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Note 6. Property and Equipment

      Property and equipment, net consists of the following (in millions):

                                                                                                           December 31,
                                                                                                    2019                  2018
Land                                                                                           $        1,097 $                899
Buildings                                                                                              11,226                7,401
Leasehold improvements                                                                                  3,112                1,841
Network equipment                                                                                      17,004               13,017
Computer software, office equipment and other                                                           1,813                1,187
Finance lease right-of-use assets                                                                       1,635                   —
Construction in progress                                                                               10,099                7,228
  Total                                                                                                45,986               31,573
Less: Accumulated depreciation                                                                        (10,663)              (6,890)
Property and equipment, net                                                                    $       35,323 $             24,683

       Depreciation expense on property and equipment were $5.18 billion, $3.68 billion, and $2.33 billion for the years ended
December 31, 2019, 2018, and 2017, respectively. The majority of the property and equipment depreciation expense was from
network equipment depreciation of $3.83 billion, $2.94 billion, and $1.84 billion for the years ended December 31, 2019, 2018,
and 2017, respectively. Construction in progress includes costs mostly related to construction of data centers, network equipment
infrastructure to support our data centers around the world, and office buildings. No interest was capitalized for any period
presented.

Note 7. Leases

        We have entered into various non-cancelable operating lease agreements for certain of our offices, data center, land,
colocations, and equipment. We have also entered into various non-cancelable finance lease agreements for certain network
equipment. Our leases have original lease periods expiring between 2020 and 2093. Many leases include one or more options
to renew. We do not assume renewals in our determination of the lease term unless the renewals are deemed to be reasonably
assured at lease commencement. Our lease agreements generally do not contain any material residual value guarantees or material
restrictive covenants.

       The components of lease costs, lease term and discount rate for the year ended December 31, 2019 are as follows
(in millions):

Finance lease cost
   Amortization of right-of-use assets                                                                         $               195
   Interest                                                                                                                     12
Operating lease cost                                                                                                         1,139
Variable lease cost and other, net                                                                                             160
      Total lease cost                                                                                         $             1,506


Weighted-average remaining lease term
  Operating leases                                                                                                        13.0 years
  Finance leases                                                                                                          15.3 years


Weighted-average discount rate
  Operating leases                                                                                                               3.2%
  Finance leases                                                                                                                 3.1%

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      Operating lease expense was $629 million and $363 million for the years ended December 31, 2018 and 2017, respectively,
under Topic 840.

       The following is a schedule, by years, of maturities of lease liabilities as of December 31, 2019 (in millions):

                                                                                           Operating Leases         Finance Leases
2020                                                                                       $           1,060 $                  69
2021                                                                                                   1,244                    48
2022                                                                                                   1,141                    35
2023                                                                                                   1,116                    35
2024                                                                                                   1,039                    35
Thereafter                                                                                             7,572                   371
Total undiscounted cash flows                                                                         13,172                   593
Less: Imputed interest                                                                                (2,848)                 (120)
    Present value of lease liabilities                                                     $          10,324 $                 473


Lease liabilities, current                                                                 $             800    $               55
Lease liabilities, non-current                                                                         9,524                   418
    Present value of lease liabilities                                                     $          10,324    $              473

       As of December 31, 2019, we have additional operating and finance leases for facilities and network equipment that have
not yet commenced with lease obligations of approximately $5.04 billion and $317 million, respectively. These operating and
finance leases will commence between 2020 and 2023 with lease terms of greater than one year to 25 years. The table above
does not include lease payments that were not fixed at commencement or lease modification.

       Supplemental cash flow information related to leases for the year ended December 31, 2019 are as follows (in millions):
Cash paid for amounts included in the measurement of lease liabilities:
    Operating cash flows from operating leases                                                                  $              902
    Operating cash flows from finance leases                                                                    $               12
    Financing cash flows from finance leases                                                                    $              552
Lease liabilities arising from obtaining right-of-use assets:
    Operating leases                                                                                            $            5,081
    Finance leases                                                                                              $              193

Note 8. Goodwill and Intangible Assets

       During the year ended December 31, 2019, we purchased certain intangible assets and completed several business
acquisitions that were not material to our consolidated financial statements, either individually or in the aggregate. Accordingly,
pro forma historical results of operations related to these business acquisitions during the year ended December 31, 2019 have
not been presented. We have included the financial results of these business acquisitions in our consolidated financial statements
from their respective dates of acquisition.

      Goodwill generated from all business acquisitions completed was primarily attributable to expected synergies from future
growth and potential monetization opportunities. The amount of goodwill generated that was deductible for tax purposes was
not material.




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       The changes in the carrying amount of goodwill for the years ended December 31, 2019 and 2018 are as follows (in
millions):

Balance as of December 31, 2017                                                                                       $          18,221
  Goodwill acquired                                                                                                                  88
  Effect of currency translation adjustment                                                                                          (8)
Balance as of December 31, 2018                                                                                                  18,301
  Goodwill acquired                                                                                                                 408
  Effect of currency translation adjustment                                                                                           6
Balance as of December 31, 2019                                                                                       $          18,715

       The following table sets forth the major categories of the intangible assets and the weighted-average remaining useful
lives for those assets that are not already fully amortized (in millions):

                                                              December 31, 2019                             December 31, 2018

                              Weighted-
                               Average
                              Remaining             Gross                           Net           Gross                           Net
                            Useful Lives (in       Carrying      Accumulated      Carrying       Carrying     Accumulated       Carrying
                                years)             Amount        Amortization     Amount         Amount       Amortization      Amount
Acquired users                    1.8          $       2,056     $        (1,550) $    506   $      2,056     $     (1,260) $        796
Acquired technology               2.6                  1,158                (986)      172          1,002             (871)          131
Acquired patents                  4.6                    805                (625)      180            805             (565)          240
Trade names                       2.0                    635                (604)       31            629             (517)          112
Other                             3.3                    162                (157)        5            162             (147)           15
  Total intangible assets                      $       4,816     $        (3,922) $    894   $      4,654     $     (3,360) $      1,294

      Amortization expense of intangible assets for the years ended December 31, 2019, 2018, and 2017 was $562 million,
$640 million, and $692 million, respectively.

       As of December 31, 2019, expected amortization expense for the unamortized acquired intangible assets for the next five
years and thereafter is as follows (in millions):

2020                                                                                                                  $              431
2021                                                                                                                                 326
2022                                                                                                                                  78
2023                                                                                                                                  27
2024                                                                                                                                  17
Thereafter                                                                                                                            15
    Total                                                                                                             $              894




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Note 9. Liabilities

       The components of accrued expenses and other current liabilities are as follows (in millions):

                                                                                                               December 31,
                                                                                                       2019                   2018
                                                  (1)
Accrued legal settlements for FTC and BIPA                                                     $            5,550     $                 —
Accrued compensation and benefits                                                                           1,704                    1,203
Accrued property and equipment                                                                              1,082                    1,531
Accrued taxes                                                                                                 624                      491
Overdraft in cash pooling entities                                                                            277                      500
Other current liabilities                                                                                   2,498                    1,784
   Accrued expenses and other current liabilities                                              $           11,735     $              5,509
_________________________
(1) Includes accrued legal settlements for U.S. Federal Trade Commission (FTC) of $5.0 billion and Illinois Biometric Information Privacy
    Act (BIPA) of $550 million. For further information, see Legal Matters in Note. 11—Commitments and Contingencies.

       The components of other liabilities are as follows (in millions):

                                                                                                               December 31,
                                                                                                       2019                   2018
Income tax payable                                                                             $              5,651   $              4,655
Deferred tax liabilities                                                                                      1,039                    673
Other liabilities                                                                                             1,055                    862
    Other liabilities                                                                          $              7,745   $              6,190

Note 10. Long-term Debt

       In May 2016, we entered into a $2.0 billion senior unsecured revolving credit facility, and any amounts outstanding under
this facility will be due and payable on May 20, 2021. As of December 31, 2019, no amounts had been drawn down and we
were in compliance with the covenants under this facility.

Note 11. Commitments and Contingencies

       Guarantee

       In 2018, we established a multi-currency notional cash pool for certain of our entities with a third-party bank provider.
Actual cash balances are not physically converted and are not commingled between participating legal entities. As part of the
notional cash pool agreement, the bank extends overdraft credit to our participating entities as needed, provided that the overall
notionally pooled balance of all accounts in the pool at the end of each day is at least zero. In the unlikely event of a default by
our collective entities participating in the pool, any overdraft balances incurred would be guaranteed by Facebook, Inc.

       Other contractual commitments

       We also have $4.54 billion of non-cancelable contractual commitments as of December 31, 2019, which is primarily
related to network infrastructure and our data center operations. These commitments are primarily due within five years.

       Legal Matters

       Beginning on March 20, 2018, multiple putative class actions and derivative actions were filed in state and federal courts
in the United States and elsewhere against us and certain of our directors and officers alleging violations of securities laws,
breach of fiduciary duties, and other causes of action in connection with our platform and user data practices as well as the
misuse of certain data by a developer that shared such data with third parties in violation of our terms and policies, and seeking

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unspecified damages and injunctive relief. Beginning on July 27, 2018, two putative class actions were filed in federal court in
the United States against us and certain of our directors and officers alleging violations of securities laws in connection with the
disclosure of our earnings results for the second quarter of 2018 and seeking unspecified damages. These two actions subsequently
were transferred and consolidated in the U.S. District Court for the Northern District of California with the putative securities
class action described above relating to our platform and user data practices. On September 25, 2019, the district court granted
our motion to dismiss the consolidated putative securities class action, with leave to amend. On November 15, 2019, an amended
complaint was filed in the consolidated putative securities class action. We believe these lawsuits are without merit, and we are
vigorously defending them. In addition, our platform and user data practices, as well as the events surrounding the misuse of
certain data by a developer, became the subject of U.S. Federal Trade Commission (FTC), state attorneys general, and other
government inquiries in the United States, Europe, and other jurisdictions. In July 2019, we entered into a settlement and modified
consent order to resolve the FTC inquiry, which is pending federal court approval. Among other matters, our settlement with
the FTC requires us to pay a penalty of $5.0 billion and to significantly enhance our practices and processes for privacy compliance
and oversight. We have recognized the penalty in accrued expenses and other current liabilities on our consolidated balance
sheet as of December 31, 2019.

       On April 1, 2015, a putative class action was filed against us in the U.S. District Court for the Northern District of California
by Facebook users alleging that the "tag suggestions" facial recognition feature violates the Illinois Biometric Information
Privacy Act, and seeking statutory damages and injunctive relief. On April 16, 2018, the district court certified a class of Illinois
residents, and on May 14, 2018, the district court denied both parties' motions for summary judgment. On May 29, 2018, the
U.S. Court of Appeals for the Ninth Circuit granted our petition for review of the class certification order and stayed the proceeding.
On August 8, 2019, the Ninth Circuit affirmed the class certification order. On December 2, 2019, we filed a petition with the
U.S. Supreme Court seeking review of the decision of the Ninth Circuit, which was denied. On January 15, 2020, the parties
agreed to a settlement in principle to resolve the lawsuit, which will require a payment of $550 million by us and is subject to
approval by the court.

        Beginning on September 28, 2018, multiple putative class actions were filed in state and federal courts in the United
States and elsewhere against us alleging violations of consumer protection laws and other causes of action in connection with
a third-party cyber-attack that exploited a vulnerability in Facebook's code to steal user access tokens and access certain profile
information from user accounts on Facebook, and seeking unspecified damages and injunctive relief. The actions filed in the
United States were consolidated in the U.S. District Court for the Northern District of California. On November 26, 2019, the
district court certified a class for injunctive relief purposes, but denied certification of a class for purposes of pursuing damages.
On January 16, 2020, the parties agreed to a settlement in principle to resolve the lawsuit. We believe the remaining lawsuits
are without merit, and we are vigorously defending them. In addition, the events surrounding this cyber-attack became the subject
of Irish Data Protection Commission (IDPC) and other government inquiries.

       From time to time we also notify the IDPC, our designated European privacy regulator under the General Data Protection
Regulation, of certain other personal data breaches and privacy issues, and are subject to inquiries and investigations regarding
various aspects of our regulatory compliance. Although we are vigorously defending our regulatory compliance, we believe
there is a reasonable possibility that the ultimate potential loss related to the inquiries and investigations by the IDPC could be
material in the aggregate.

       In addition, from time to time, we are subject to litigation and other proceedings involving law enforcement and other
regulatory agencies, including in particular in Brazil and Europe, in order to ascertain the precise scope of our legal obligations
to comply with the requests of those agencies, including our obligation to disclose user information in particular circumstances.
A number of such instances have resulted in the assessment of fines and penalties against us. We believe we have multiple legal
grounds to satisfy these requests or prevail against associated fines and penalties, and we intend to vigorously defend such fines
and penalties.

       With respect to the cases, actions, and inquiries described above, we evaluate the associated developments on a regular
basis and accrue a liability when we believe a loss is probable and the amount can be reasonably estimated. In addition, we
believe there is a reasonable possibility that we may incur a loss in some of these matters. With respect to the matters described
above that do not include an estimate of the amount of loss or range of possible loss, such losses or range of possible losses
either cannot be estimated or are not individually material, but we believe there is a reasonable possibility that they may be
material in the aggregate.




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        We are also party to various other legal proceedings, claims, and regulatory, tax or government inquiries and investigations
that arise in the ordinary course of business. With respect to these other matters, we evaluate the associated developments on a
regular basis and accrue a liability when we believe a loss is probable and the amount can be reasonably estimated. In addition,
we believe there is a reasonable possibility that we may incur a loss in some of these other matters. We believe that the amount
of losses or any estimable range of possible losses with respect to these other matters will not, either individually or in the
aggregate, have a material adverse effect on our business and consolidated financial statements.

       However, the outcome of the legal matters described in this section is inherently uncertain. Therefore, if one or more of
these matters were resolved against us for amounts in excess of management's expectations, our results of operations and financial
condition, including in a particular reporting period in which any such outcome becomes probable and estimable, could be
materially adversely affected.

       For information regarding income tax contingencies, see Note 14—Income Taxes.

       Indemnifications

       In the normal course of business, to facilitate transactions of services and products, we have agreed to indemnify certain
parties with respect to certain matters. We have agreed to hold certain parties harmless against losses arising from a breach of
representations or covenants, or out of intellectual property infringement or other claims made by third parties. These agreements
may limit the time within which an indemnification claim can be made and the amount of the claim. In addition, we have entered
into indemnification agreements with our officers, directors, and certain employees, and our certificate of incorporation and
bylaws contain similar indemnification obligations.

       It is not possible to determine the maximum potential amount under these indemnification agreements due to the limited
history of prior indemnification claims and the unique facts and circumstances involved in each particular agreement. Historically,
payments made by us under these agreements have not had a material impact on our consolidated financial statements. In our
opinion, as of December 31, 2019, there was not at least a reasonable possibility we had incurred a material loss with respect
to indemnification of such parties. We have not recorded any liability for costs related to indemnification through December 31,
2019.

Note 12. Stockholders' Equity

       Common Stock

        Our certificate of incorporation authorizes the issuance of Class A common stock and Class B common stock. As of
December 31, 2019, we are authorized to issue 5,000 million shares of Class A common stock and 4,141 million shares of Class B
common stock, each with a par value of $0.000006 per share. Holders of our Class A common stock and Class B common stock
are entitled to dividends when, as and if, declared by our board of directors, subject to the rights of the holders of all classes of
stock outstanding having priority rights to dividends. As of December 31, 2019, we have not declared any dividends and our
credit facility contains restrictions on our ability to pay dividends. The holder of each share of Class A common stock is entitled
to one vote, while the holder of each share of Class B common stock is entitled to ten votes. Shares of our Class B common
stock are convertible into an equivalent number of shares of our Class A common stock and generally convert into shares of our
Class A common stock upon transfer. Class A common stock and Class B common stock are referred to as common stock
throughout the notes to these financial statements, unless otherwise noted.

    As of December 31, 2019, there were 2,407 million shares and 445 million shares of Class A common stock and Class B
common stock, respectively, issued and outstanding.

       Share Repurchase Program

       Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in
January 2017 and does not have an expiration date. As of December 31, 2018, $9.0 billion remained available and authorized
for repurchases under this program. In 2019, we repurchased and subsequently retired 22 million shares of our Class A common
stock for $4.10 billion. As of December 31, 2019, $4.90 billion remained available and authorized for repurchases. In January
2020, an additional $10.0 billion of repurchases was authorized under this program.



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       The timing and actual number of shares repurchased under the repurchase program depend on a variety of factors, including
price, general business and market conditions, and other investment opportunities, and shares may be repurchased through open
market purchases or privately negotiated transactions, including through the use of trading plans intended to qualify under Rule
10b5-1 under the Securities Exchange Act of 1934, as amended.

        Share-based Compensation Plans

        We maintain two share-based employee compensation plans: the 2012 Equity Incentive Plan, which was amended in each
of June 2016 and February 2018 (Amended 2012 Plan), and the 2005 Stock Plan (collectively, Stock Plans). Our Amended 2012
Plan serves as the successor to our 2005 Stock Plan and provides for the issuance of incentive and nonstatutory stock options,
restricted stock awards, stock appreciation rights, RSUs, performance shares, and stock bonuses to qualified employees, directors
and consultants. Outstanding awards under the 2005 Stock Plan continue to be subject to the terms and conditions of the 2005
Stock Plan. Shares that are withheld in connection with the net settlement of RSUs or forfeited under our Stock Plans are added
to the reserves of the Amended 2012 Plan. We account for forfeitures as they occur.

      Share-based compensation expense mostly consists of the Company's restricted stock units (RSUs) expense. RSUs granted
to employees are measured based on the grant-date fair value. In general, our RSUs vest over a service period of four years.
Share-based compensation expense is generally recognized based on the straight-line basis over the requisite service period.

       As of December 31, 2019, there were 111 million shares of our Class A common stock reserved for future issuance under
our Amended 2012 Plan. The number of shares reserved for issuance under our Amended 2012 Plan increases automatically on
January 1 of each of the calendar years during the term of the Amended 2012 Plan, which will continue through April 2026 , by
a number of shares of Class A common stock equal to the lesser of (i) 2.5% of the total issued and outstanding shares of our
Class A common stock as of the immediately preceding December 31st or (ii) a number of shares determined by our board of
directors. Pursuant to this automatic increase provision, our board of directors approved an increase of 60 million shares reserved
for issuance effective January 1, 2020.

        The following table summarizes the activities of stock option awards under the Stock Plans for the year ended December 31,
2019:
                                                                                                         Weighted-
                                                                                           Weighted-     Average
                                                                                           Average      Remaining         Aggregate
                                                                          Number of        Exercise     Contractual       Intrinsic
                                                                           Shares           Price         Term              Value
                                                                         (in thousands)                  (in years)   (in millions)
Balance as of December 31, 2018                                                 1,137 $        13.74
  Stock options exercised                                                      (1,137) $       13.74
Balances at December 31, 2019                                                      — $            —              —    $           —

        There were no options granted, forfeited, or canceled for the year ended December 31, 2019. The aggregate intrinsic
value of the options exercised in the years ended December 31, 2019, 2018, and 2017 was $185 million, $315 million, and
$359 million, respectively. All of our outstanding options had vested by December 31, 2018. The total grant date fair value of
stock options vested during the years ended December 31, 2018, and 2017 was not material.




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      The following table summarizes the activities for our unvested RSUs for the year ended December 31, 2019:
                                                                                                                   Weighted-
                                                                                                 Number of       Average Grant
                                                                                                  Shares         Date Fair Value
                                                                                                (in thousands)
Unvested at December 31, 2018                                                                          67,298    $      144.77
  Granted                                                                                              54,379    $      173.66
  Vested                                                                                              (33,501)   $      142.04
  Forfeited                                                                                            (9,325)   $      145.86
Unvested at December 31, 2019                                                                          78,851    $      165.74

      The fair value as of the respective vesting dates of RSUs that vested during the years ended December 31, 2019, 2018,
and 2017 was $6.01 billion, $7.57 billion, and $6.76 billion, respectively.

       As of December 31, 2019, there was $12.21 billion of unrecognized share-based compensation expense related to RSUs
awards. This unrecognized compensation expense is expected to be recognized over a weighted-average period of approximately
three years based on vesting under the award service conditions.

Note 13. Interest and other income, net

      The following table presents the detail of interest and other income, net, for the years ended December 31, 2019, 2018,
and 2017 are as follows (in millions):

                                                                                         Year Ended December 31,
                                                                                2019                2018              2017
Interest income                                                            $            924 $               661 $            398
Interest expense                                                                        (20)                 (9)              (6)
Foreign currency exchange losses, net                                                  (105)               (213)              (6)
Other                                                                                    27                   9                5
     Interest and other income, net                                        $            826 $               448 $            391




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Note 14. Income Taxes

       The components of income before provision for income taxes are as follows (in millions):

                                                                                               Year Ended December 31,
                                                                                      2019               2018              2017
Domestic                                                                         $        5,317    $         8,800    $        7,079
Foreign                                                                                  19,495             16,561            13,515
Income before provision for income taxes                                         $       24,812    $        25,361    $       20,594

       The provision for income taxes consisted of the following (in millions):

                                                                                               Year Ended December 31,
                                                                                      2019               2018              2017
Current:
   Federal                                                                       $        4,321    $         1,747    $        4,455
   State                                                                                    565                176               190
   Foreign                                                                                1,481              1,031               389
Total current tax expense                                                                 6,367              2,954             5,034
Deferred:
   Federal                                                                                  (39)               316              (296)
   State                                                                                     19                 34               (33)
   Foreign                                                                                  (20)               (55)              (45)
Total deferred tax (benefits)/expense                                                       (40)               295              (374)
Provision for income taxes                                                       $        6,327 $            3,249 $           4,660

       A reconciliation of the U.S. federal statutory income tax rates to our effective tax rate is as follows (in percentages):

                                                                                               Year Ended December 31,
                                                                                      2019               2018              2017
U.S. federal statutory income tax rate                                                    21.0%              21.0%              35.0%
State income taxes, net of federal benefit                                                 1.8                0.7                0.6
Research tax credits                                                                      (0.8)              (1.0)              (0.9)
Share-based compensation                                                                   4.5                0.3                0.4
Excess tax benefits related to share-based compensation                                   (0.7)              (2.6)              (5.8)
Effect of non-U.S. operations                                                             (5.8)              (5.9)             (18.6)
Effect of U.S. tax law change (1)                                                           —                  —                11.0
Non-deductible FTC settlement accrual                                                      4.5                 —                  —
Other                                                                                      1.0                0.3                0.9
Effective tax rate                                                                        25.5%              12.8%              22.6%
_________________________
(1) Due to the 2017 Tax Cuts and Jobs Act, provisional one-time mandatory transition tax on accumulated foreign earnings was accrued as
    of December 31, 2017. In addition, deferred taxes were derecognized for previous estimated tax liabilities that would arise upon
    repatriation of a portion of these earnings in the foreign jurisdictions.




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       Our deferred tax assets (liabilities) are as follows (in millions):

                                                                                                              December 31,
                                                                                                       2019                  2018
Deferred tax assets:
   Net operating loss carryforward                                                                $        2,051 $              1,825
   Tax credit carryforward                                                                                 1,333                  668
   Share-based compensation                                                                                  135                  270
   Accrued expenses and other liabilities                                                                    798                  487
   Lease liabilities                                                                                       1,999                   —
   Other                                                                                                     149                  153
Total deferred tax assets                                                                                  6,465                3,403
   Less: valuation allowance                                                                              (1,012)                (600)
Deferred tax assets, net of valuation allowance                                                            5,453                2,803

Deferred tax liabilities:
   Depreciation and amortization                                                                          (2,387)              (1,401)
   Right-of-use assets                                                                                    (1,910)                  —
   Purchased intangible assets                                                                                —                  (195)
Total deferred tax liabilities                                                                            (4,297)              (1,596)
Net deferred tax assets                                                                           $        1,156 $              1,207

       The valuation allowance was approximately $1.01 billion and $600 million as of December 31, 2019 and 2018,
respectively, mostly relating to U.S. state tax credit carryforwards and U.S. foreign tax credits for which we do not believe a tax
benefit is more likely than not to be realized.

       As of December 31, 2019, the U.S. federal and state net operating loss carryforwards were $9.06 billion and $2.37 billion,
which will begin to expire in 2033 and 2027, respectively, if not utilized. We have federal tax credit carryforwards of $357 million,
which will begin to expire in 2029, if not utilized, and state tax credit carryforwards of $2.28 billion, most of which do not
expire.

       Utilization of our net operating loss and tax credit carryforwards may be subject to substantial annual limitations due to
the ownership change limitations provided by the Internal Revenue Code and similar state provisions. Such annual limitations
could result in the expiration of the net operating loss and tax credit carryforwards before their utilization. The events that may
cause ownership changes include, but are not limited to, a cumulative stock ownership change of greater than 50% over a
three‑year period.

       The 2017 Tax Cuts and Jobs Act (Tax Act) imposed a mandatory transition tax on accumulated foreign earnings and
generally eliminated U.S. taxes on foreign subsidiary distribution. As a result, accumulated earnings in foreign jurisdictions are
available for distribution to the U.S. without incremental U.S. taxes.




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       The following table reflects changes in the gross unrecognized tax benefits (in millions):

                                                                                             Year Ended December 31,
                                                                                     2019              2018              2017
Gross unrecognized tax benefits ‑ beginning of period                          $        4,678 $            3,870 $           3,309
Increases related to prior year tax positions                                           2,309                457                72
Decreases related to prior year tax positions                                            (525)              (396)              (34)
Increases related to current year tax positions                                         1,402                831               536
Decreases related to settlements of prior year tax positions                               (1)               (84)              (13)
Gross unrecognized tax benefits ‑ end of period                                $        7,863 $            4,678 $           3,870

       During all years presented, we recognized interest and penalties related to unrecognized tax benefits within the provision
for income taxes on the consolidated statements of income. The amount of interest and penalties accrued as of December 31,
2019 and 2018 were $747 million and $340 million, respectively.

       If the balance of gross unrecognized tax benefits of $7.86 billion as of December 31, 2019 were realized in a future period,
this would result in a tax benefit of $4.71 billion within our provision of income taxes at such time.

        On July 27, 2015, the United States Tax Court issued a decision (Tax Court Decision) in Altera Corp. v. Commissioner,
which concluded that related parties in a cost sharing arrangement are not required to share expenses related to share-based
compensation. The Tax Court Decision was appealed by the Commissioner to the Ninth Circuit Court of Appeals (Ninth Circuit).
On June 7, 2019, the Ninth Circuit issued an opinion (Altera Ninth Circuit Opinion) that reversed the Tax Court Decision. Based
on the Altera Ninth Circuit Opinion, we recorded a cumulative income tax expense of $1.11 billion in the second quarter of
2019. On July 22, 2019, the taxpayer requested a rehearing before the full Ninth Circuit and the request was denied on November
12, 2019. The taxpayer has until February 10, 2020 to request a hearing before the Supreme Court of the United States. As a
result, the final outcome of the case is uncertain. In November 2019, we made a $1.64 billion payment related to this matter and
recorded the payment to net against the related tax liability included within other liabilities in our consolidated balance sheets.
If the Altera Ninth Circuit Opinion is reversed, we would anticipate recording an income tax benefit at that time.

       We are subject to taxation in the United States and various other state and foreign jurisdictions. The material jurisdictions
in which we are subject to potential examination include the United States and Ireland. We are under examination by the Internal
Revenue Service (IRS) for our 2014 through 2016 tax years and by the Ireland tax authorities for our 2012 through 2015 tax
years. Our 2017 and subsequent tax years remain open to examination by the IRS. Our 2016 and subsequent tax years remain
open to examination in Ireland.

        In July 2016, we received a Statutory Notice of Deficiency (Notice) from the IRS related to transfer pricing with our
foreign subsidiaries in conjunction with the examination of the 2010 tax year. While the Notice applies only to the 2010 tax
year, the IRS stated that it will also apply its position for tax years subsequent to 2010. We do not agree with the position of the
IRS and have filed a petition in the Tax Court challenging the Notice. The case is scheduled for trial beginning in February 2020.
On January 15, 2020, the IRS filed its Pretrial Memorandum in the case stating that it planned to assert at trial an adjustment
that is higher than the adjustment stated in the Notice. The IRS did not provide any information about how it intends to apply
the revised adjustment to future years. Based on the information provided, we believe that, if the IRS prevails in its updated
position, this could result in an additional federal tax liability of an estimated, aggregate amount of up to approximately $9.0
billion in excess of the amounts in our originally filed U.S. return, plus interest and any penalties asserted.

       In March 2018, we received a second Notice from the IRS in conjunction with the examination of our 2011 through 2013
tax years. The IRS applied its position from the 2010 tax year to each of these years and also proposed new adjustments related
to other transfer pricing with our foreign subsidiaries and certain tax credits that we claimed. If the IRS prevails in its position
for these new adjustments, this could result in an additional federal tax liability of up to approximately $680 million in excess
of the amounts in our originally filed U.S. returns, plus interest and any penalties asserted. We do not agree with the positions
of the IRS in the second Notice and have filed a petition in the Tax Court challenging the second Notice.

       We have previously accrued an estimated unrecognized tax benefit consistent with the guidance in ASC 740, Income
Taxes, that is lower than the potential additional federal tax liability from the positions taken by the IRS in the two Notices and


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its Pretrial Memorandum. In addition, if the IRS prevails in its positions related to transfer pricing with our foreign subsidiaries,
the additional tax that we would owe would be partially offset by a reduction in the tax that we owe under the mandatory transition
tax on accumulated foreign earnings from the Tax Act. As of December 31, 2019, we have not resolved these matters and
proceedings continue in the Tax Court.

       We believe that adequate amounts have been reserved in accordance with ASC 740 for any adjustments to the provision
for income taxes or other tax items that may ultimately result from these examinations. The timing of the resolution, settlement,
and closure of any audits is highly uncertain, and it is reasonably possible that the balance of gross unrecognized tax benefits
could significantly change in the next 12 months. Given the number of years remaining that are subject to examination, we are
unable to estimate the full range of possible adjustments to the balance of gross unrecognized tax benefits. If the taxing authorities
prevail in the assessment of additional tax due, the assessed tax, interest, and penalties, if any, could have a material adverse
impact on our financial position, results of operations, and cash flows.

Note 15. Geographical Information

       The following table sets forth our long-lived assets by geographic area, which consist of property and equipment, net and
operating lease right-of-use assets, net (in millions):

                                                                                                               December 31,
                                                                                                        2019                   2018
Long-lived assets:
   United States                                                                                 $          35,858     $          18,950
   Rest of the world(1)                                                                                      8,925                 5,733
Total long-lived assets                                                                          $          44,783     $          24,683
_________________________
(1) No individual country, other than disclosed above, exceeded 10% of our total long-lived assets for any period presented.




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Item 9. Changes in and Disagreements with Accountants on Accounting and Financial Disclosure

       None.

Item 9A. Controls and Procedures

Evaluation of Disclosure Controls and Procedures

       Our management, with the participation of our chief executive officer (CEO) and chief financial officer (CFO), has
evaluated the effectiveness of our disclosure controls and procedures (as defined in Rules 13a- 15(e) and 15d- 15(e) under the
Securities Exchange Act of 1934, as amended (Exchange Act)), as of the end of the period covered by this Annual Report on
Form 10-K. Based on such evaluation, our CEO and CFO have concluded that as of December 31, 2019, our disclosure controls
and procedures are designed at a reasonable assurance level and are effective to provide reasonable assurance that information
we are required to disclose in reports that we file or submit under the Exchange Act is recorded, processed, summarized, and
reported within the time periods specified in the rules and forms of the Securities and Exchange Commission (SEC), and that
such information is accumulated and communicated to our management, including our CEO and CFO, as appropriate, to allow
timely decisions regarding required disclosure.

Management's Report on Internal Control over Financial Reporting

       Our management is responsible for establishing and maintaining adequate internal control over financial reporting (as
defined in Rule 13a-15(f) under the Exchange Act). Management conducted an assessment of the effectiveness of our internal
control over financial reporting based on the criteria set forth in Internal Control—Integrated Framework issued by the Committee
of Sponsoring Organizations of the Treadway Commission (2013 framework). Based on the assessment, management has
concluded that its internal control over financial reporting was effective as of December 31, 2019 to provide reasonable assurance
regarding the reliability of financial reporting and the preparation of financial statements in accordance with U.S. GAAP. Our
independent registered public accounting firm, Ernst & Young LLP, has issued an audit report with respect to our internal control
over financial reporting, which appears in Part II, Item 8 of this Annual Report on Form 10-K.

Changes in Internal Control

        There were no changes in our internal control over financial reporting identified in management's evaluation pursuant to
Rules 13a-15(d) or 15d-15(d) of the Exchange Act during the fourth quarter of 2019 that materially affected, or are reasonably
likely to materially affect, our internal control over financial reporting.

Limitations on Effectiveness of Controls and Procedures and Internal Control over Financial Reporting

       In designing and evaluating the disclosure controls and procedures and internal control over financial reporting,
management recognizes that any controls and procedures, no matter how well designed and operated, can provide only reasonable
assurance of achieving the desired control objectives. In addition, the design of disclosure controls and procedures and internal
control over financial reporting must reflect the fact that there are resource constraints and that management is required to apply
judgment in evaluating the benefits of possible controls and procedures relative to their costs.

Item 9B. Other Information

       None.




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PART III

Item 10. Directors, Executive Officers and Corporate Governance

       The information required by this item is incorporated by reference to our Proxy Statement for the 2020 Annual Meeting
of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2019.

       Our board of directors has adopted a Code of Conduct applicable to all officers, directors and employees, which is available
on our website (investor.fb.com) under "Corporate Governance." We intend to satisfy the disclosure requirement under Item
5.05 of Form 8-K regarding amendment to, or waiver from, a provision of our Code of Conduct by posting such information
on the website address and location specified above.

Item 11. Executive Compensation

       The information required by this item is incorporated by reference to our Proxy Statement for the 2020 Annual Meeting
of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2019.

Item 12. Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters

       The information required by this item is incorporated by reference to our Proxy Statement for the 2020 Annual Meeting
of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2019.

Item 13. Certain Relationships and Related Transactions, and Director Independence

       The information required by this item is incorporated by reference to our Proxy Statement for the 2020 Annual Meeting
of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2019.

Item 14. Principal Accounting Fees and Services

       The information required by this item is incorporated by reference to our Proxy Statement for the 2020 Annual Meeting
of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2019.




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PART IV

Item 15. Exhibits, Financial Statement Schedules

We have filed the following documents as part of this Form 10-K:

1. Consolidated Financial Statements:
                                                                                                                   Page
Reports of Independent Registered Public Accounting Firm                                                           69
Consolidated Balance Sheets                                                                                        73
Consolidated Statements of Income                                                                                  74
Consolidated Statements of Comprehensive Income                                                                    75
Consolidated Statements of Stockholders' Equity                                                                    76
Consolidated Statements of Cash Flows                                                                              77
Notes to Consolidated Financial Statements                                                                         79

2. Financial Statement Schedules

All schedules have been omitted because they are not required, not applicable, not present in amounts sufficient to require
submission of the schedule, or the required information is otherwise included.

3. Exhibits

  Exhibit                                                                Incorporated by Reference
                                                                                                                    Filed
  Number                   Exhibit Description              Form       File No.     Exhibit          Filing Date   Herewith

3.1           Restated Certificate of Incorporation.       10-Q     001-35551      3.1         July 31, 2012
3.2           Amended and Restated Bylaws.                 8-K      001-35551      3.1         April 15, 2019
3.3           Description of Registrant's Capital Stock.                                                                X
4.1           Form of Class A Common Stock                 S-1      333-179287     4.1         February 8, 2012
              Certificate.
4.2           Form of Class B Common Stock                 S-8      333-181566     4.4         May 21, 2012
              Certificate.
4.3           Form of "Type 1" Holder Voting               S-1      333-179287     4.3         February 8, 2012
              Agreement, between Registrant, Mark
              Zuckerberg, and certain parties thereto.
10.1+         Form of Indemnification Agreement.           8-K      333-179287     10.1        April 15, 2019
10.2(A)+      2005 Stock Plan, as amended.                 10-K     001-35551      10.2(A)     February 1, 2013
10.2(B)+      2005 Stock Plan forms of award               S-1      333-179287     10.2        February 8, 2012
              agreements.
10.3(A)+      2012 Equity Incentive Plan, as amended.      10-Q     001-35551      10.1        April 26, 2018
10.3(B)+      2012 Equity Incentive Plan forms of          10-Q     001-35551      10.2        July 31, 2012
              award agreements.
10.3(C)+      2012 Equity Incentive Plan forms of          10-K     001-35551      10.3(C)     January 29, 2015
              award agreements (Additional Forms).
10.3(D)+      2012 Equity Incentive Plan forms of          10-Q     001-35551      10.1        May 4, 2017
              award agreements (Additional Forms).
10.3(E)+      2012 Equity Incentive Plan forms of          10-Q     001-35551      10.1        July 27, 2017
              award agreements (Additional Forms).




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  Exhibit                                                              Incorporated by Reference
                                                                                                                  Filed
 Number                    Exhibit Description              Form     File No.     Exhibit          Filing Date   Herewith

10.3(F)+      2012 Equity Incentive Plan forms of          10-Q    001-35551     10.2        April 26, 2018
              award agreements (Additional Forms).
10.3(G)+      2012 Equity Incentive Plan forms of          10-K    001-35551     10.3(G)     January 31, 2019
              award agreements (Additional Forms).
10.3(H)+      2012 Equity Incentive Plan forms of          10-Q    001-35551     10.2        April 25, 2019
              award agreements (Additional Forms).
10.4+         Bonus Plan.                                  10-Q    001-35551     10.3        April 25, 2019
10.5+         Amended and Restated Offer Letter, dated     S-1     333-179287    10.6        February 8, 2012
              January 27, 2012, between Registrant and
              Mark Zuckerberg.
10.6+         Amended and Restated Employment              S-1     333-179287    10.7        February 8, 2012
              Agreement, dated January 27, 2012,
              between Registrant and Sheryl K.
              Sandberg.
10.7+         Amended and Restated Offer Letter, dated     10-K    001-35551     10.8        January 29, 2015
              May 2, 2014, between Registrant and
              Christopher Cox.
10.8+         Amended and Restated Offer Letter, dated     S-1     333-179287    10.9        February 8, 2012
              January 27, 2012, between Registrant and
              Mike Schroepfer.
10.11+        Amended and Restated Offer Letter, dated     10-K    001-35551     10.10       January 29, 2015
              August 25, 2014, between Registrant and
              David M. Wehner.
10.12+        Offer Letter, dated December 8, 2017,        10-Q    001-35551     10.4        April 26, 2018
              between Registrant and Kenneth I.
              Chenault.
10.13+        Offer Letter, dated April 23, 2018,          10-Q    001-35551     10.1        July 26, 2018
              between Registrant and Jeffrey D. Zients.
10.14+        Advisory Services Agreement, dated April     10-Q    001-35551     10.4        April 25, 2019
              8, 2019, between Registrant and
              Christopher Cox.
10.15+        Form of Executive Officer Offer Letter.      10-Q    001-35551     10.3        July 25, 2019
10.16+        Executive Sales Incentive Plan.              10-Q    001-35551     10.4        July 25, 2019
21.1          List of subsidiaries.                                                                                 X
23.1          Consent of Independent Registered Public                                                              X
              Accounting Firm.
31.1          Certification of Mark Zuckerberg, Chief                                                               X
              Executive Officer, pursuant to Rule
              13a-14(a)/15d-14(a), as adopted pursuant
              to Section 302 of the Sarbanes-Oxley Act
              of 2002.
31.2          Certification of David M. Wehner, Chief                                                               X
              Financial Officer, pursuant to Rule 13a-14
              (a)/15d-14(a), as adopted pursuant to
              Section 302 of the Sarbanes-Oxley Act of
              2002.
32.1#         Certification of Mark Zuckerberg, Chief                                                               X
              Executive Officer, pursuant to 18 U.S.C.
              Section 1350, as adopted pursuant to
              Section 906 of the Sarbanes-Oxley Act of
              2002.



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     Exhibit                                                                   Incorporated by Reference                   Filed
     Number                   Exhibit Description                Form        File No.      Exhibit         Filing Date    Herewith

   32.2#         Certification of David M. Wehner, Chief                                                                     X
                 Financial Officer, pursuant to 18 U.S.C.
                 Section 1350, as adopted pursuant to
                 Section 906 of the Sarbanes-Oxley Act of
                 2002.
   101.INS       XBRL Instance Document.                                                                                     X
   101.SCH       XBRL Taxonomy Extension Schema                                                                              X
                 Document.
   101.CAL       XBRL Taxonomy Extension Calculation                                                                         X
                 Linkbase Document.
   101.DEF       XBRL Taxonomy Extension Definition                                                                          X
                 Linkbase Document.
   101.LAB       XBRL Taxonomy Extension Labels                                                                              X
                 Linkbase Document.
   101.PRE       XBRL Taxonomy Extension Presentation                                                                        X
                 Linkbase Document.
   104           Cover Page Interactive Data File                                                                            X
                 (formatted as inline XBRL and contained
                 in Exhibit 101).


         + Indicates a management contract or compensatory plan.

        # This certification is deemed not filed for purposes of section 18 of the Securities Exchange Act of 1934, as amended
   (Exchange Act), or otherwise subject to the liability of that section, nor shall it be deemed incorporated by reference into any
   filing under the Securities Act of 1933, as amended or the Exchange Act.

Item 16. Form 10-K Summary

     None.




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                                                       SIGNATURES

      Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the Registrant has duly caused
this Annual Report on Form 10-K to be signed on its behalf by the undersigned, thereunto duly authorized, in the City of Menlo
Park, State of California, on this 29th day of January 2020.


                                                        FACEBOOK, INC.

Date:           January 29, 2020                        /s/ David M. Wehner
                                                        David M. Wehner

                                                        Chief Financial Officer




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                                                   POWER OF ATTORNEY

       KNOW ALL PERSONS BY THESE PRESENTS, that each person whose signature appears below constitutes and appoints
David M. Wehner and David W. Kling, and each of them, as his or her true and lawful attorneys-in-fact and agents, with full
power of substitution and resubstitution, for him or her and in his or her name, place and stead, in any and all capacities, to sign
any and all amendments to this Annual Report on Form 10-K, and to file the same, with all exhibits thereto, and other documents
in connection therewith, with the Securities and Exchange Commission, granting unto said attorneys-in-fact and agents, and
each of them, full power and authority to do and perform each and every act and thing requisite and necessary to be done in
connection therewith, as fully to all intents and purposes as he or she might or could do in person, hereby ratifying and confirming
that all said attorneys-in-fact and agents, or any of them or their or his or her substitute or substitutes, may lawfully do or cause
to be done by virtue hereof.

      Pursuant to the requirements of the Securities Exchange Act of 1934, this Annual Report on Form 10-K has been signed
by the following persons on behalf of the Registrant and in the capacities and on the dates indicated:

                   Signature                                          Title                                     Date


            /s/ Mark Zuckerberg                    Chairman and Chief Executive Officer                  January 29, 2020
                Mark Zuckerberg                        (Principal Executive Officer)

            /s/ David M. Wehner                            Chief Financial Officer                       January 29, 2020
                David M. Wehner                         (Principal Financial Officer)

            /S/ Susan J.S. Taylor                        Chief Accounting Officer                        January 29, 2020
                Susan J.S. Taylor                      (Principal Accounting Officer)


              /s/ Peggy Alford                                     Director                              January 29, 2020
                  Peggy Alford



           /s/ Marc L. Andreessen                                  Director                              January 29, 2020
               Marc L. Andreessen



           /s/ Kenneth I. Chenault                                 Director                              January 29, 2020
               Kenneth I. Chenault



           /s/ Sheryl K. Sandberg                                  Director                              January 29, 2020
               Sheryl K. Sandberg



              /s/ Peter A. Thiel                                   Director                              January 29, 2020
                  Peter A. Thiel



            /s/ Jeffrey D. Zients                                  Director                              January 29, 2020
                Jeffrey D. Zients




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DIRECTORS                                               STOCKHOLDER INFORMATION
Mark Zuckerberg                                         Investor Relations
Founder, Chairman and Chief Executive Officer,          Facebook, Inc.
Facebook                                                1601 Willow Road
Sheryl K. Sandberg                                      Menlo Park, California 94025
Chief Operating Officer, Facebook                       investor@fb.com

Peggy Alford                                            Investor Relations Website
Executive Vice President, Global Sales, PayPal          http://investor.fb.com
Holdings                                                Facebook’s Class A common stock trades on Nasdaq
                                                        under the ticker symbol ‘‘FB’’
Marc L. Andreessen
Co-founder & General Partner, Andreessen Horowitz       Transfer Agent
                                                        Computershare Trust Company, N.A.
Kenneth I. Chenault
                                                        462 South 4th Street
Chairman and Managing Director, General Catalyst
                                                        Louisville, Kentucky 40202
Drew Houston                                            1 (855) 879-3967 (U.S.)
Co-founder and Chief Executive Officer, Dropbox         1 (781) 575-4340 (non-U.S.)
Nancy Killefer                                          http://www.computershare.com/investor
Retired Senior Partner, McKinsey & Company              Independent Registered Public Accounting Firm
Robert M. Kimmitt                                       Ernst & Young LLP
Senior International Counsel, WilmerHale                Annual Stockholder Meeting
Peter A. Thiel                                          Facebook’s Annual Stockholder Meeting will be held
Co-founder and Partner, Founders Fund                   virtually via live audio webcast on May 27, 2020 at
                                                        10:00 am PT at
Tracey T. Travis
                                                        www.virtualshareholdermeeting.com/FB2020
Executive Vice President and Chief Financial Officer,
The Estée Lauder Companies                              Please refer to http://investor.fb.com/annual-
Jeffrey D. Zients                                       proxy.cfm for important information regarding
Chief Executive Officer, The Cranemere Group            attending the Virtual Annual Stockholder
                                                        Meeting.


This Annual Report contains forward-looking
statements. All statements contained in this
Annual Report other than statements of historical
fact, including statements regarding our future
results of operations and financial position, our
business strategy and plans, and our objectives
for future operations, are forward-looking
statements. Please read the section of our Annual
Report on Form 10-K entitled ‘‘Note About
Forward-Looking Statements’’ for a discussion of
the limitations and risks regarding
forward-looking statements made in this Annual
Report. These forward-looking statements are
                                                        Facebook, the Facebook logo, FB, the Like button, Instagram,
subject to a number of risks, uncertainties and         Oculus, WhatsApp, and our other registered or common law
assumptions, including those described in Part I,       trademarks, service marks, or trade names appearing in this
                                                        Annual Report on Form 10-K are the property of Facebook, Inc. or
Item 1A, ‘‘Risk Factors’’ of our Annual Report on       its affiliates. Other trademarks, service marks, or trade names
Form 10-K included herein, which may cause              appearing in this Annual Report are the property of their
actual results to differ materially from those          respective owners.
contained in any forward-looking statements we
may make. We undertake no obligation to revise
or publicly release the results of any revision to
these forward-looking statements, except as
required by law. Given these risks and
uncertainties, readers are cautioned not to place
undue reliance on such forward-looking
statements.
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            FACEBOOK OO@@o
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                                                           UNITED STATES
                                               SECURITIES AND EXCHANGE COMMISSION
                                                        Washington, D.C. 20549
                                                                        __________________________



                                                                         FORM 10-K
                                                                        __________________________
         (Mark One)
         ☒     ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                         For the fiscal year ended December 31, 2022
                                                               or
         ☐     TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                        For the transition period from      to
                                            Commission File Number: 001-35551
                                                                        __________________________


                                                                            OO Meta
                                                            Meta Platforms, Inc.
                                                         (Exact name of registrant as specified in its charter)
                                                                        __________________________
                                        Delaware                                                                            XX-XXXXXXX
               (State or other jurisdiction of incorporation or organization)                                 (I.R.S. Employer Identification Number)

                                                          1601 Willow Road, Menlo Park, California 94025
                                                             (Address of principal executive offices and Zip Code)
                                                                                 (650) 543-4800
                                                              (Registrant's telephone number, including area code)
                                                                        __________________________
                                                     Securities registered pursuant to Section 12(b) of the Act:
                      Title of each class                                       Trading symbol(s)                 Name of each exchange on which registered
           Class A Common Stock, $0.000006 par value                                 META                              The Nasdaq Stock Market LLC
                                                  Securities registered pursuant to Section 12(g) of the Act: None

  Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☒ No ☐

  Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ☐ No ☒

  Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 (Exchange Act)
  during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for
  the past 90 days. Yes ☒ No ☐

  Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation S-T
  (§ 232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes ☒ No ☐

  Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or an emerging growth
  company. See the definitions of "large accelerated filer," "accelerated filer," "smaller reporting company," and "emerging growth company" in Rule 12b-2 of the
  Exchange Act.

  Large accelerated filer           ☒                                                                                             Accelerated filer                       ☐
  Non-accelerated filer             ☐                                                                                             Smaller reporting company               ☐
                                                                                                                                  Emerging growth company                 ☐

  If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised
  financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐


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  Indicate by check mark whether the registrant has filed a report on and attestation to its management's assessment of the effectiveness of its internal control over financial
  reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm that prepared or issued its audit report. ☒

  If securities are registered pursuant to Section 12(b) of the Act, indicate by check mark whether the financial statements of the registrant included in the filing reflect the
  correction of an error to previously issued financial statements. ☐

  Indicate by check mark whether any of those error corrections are restatements that required a recovery analysis of incentive-based compensation received by any of the
  registrant’s executive officers during the relevant recovery period pursuant to §240.10D-1(b). ☐

  Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes ☐ No ☒

  The aggregate market value of the voting and non-voting stock held by non-affiliates of the registrant as of June 30, 2022, the last business day of the registrant's most
  recently completed second fiscal quarter, was $378 billion based upon the closing price reported for such date on the Nasdaq Global Select Market. On January 27, 2023,
  the registrant had 2,225,763,078 shares of Class A common stock and 366,876,470 shares of Class B common stock outstanding.

                                                            DOCUMENTS INCORPORATED BY REFERENCE

  Portions of the registrant's Proxy Statement for the 2023 Annual Meeting of Stockholders are incorporated herein by reference in Part III of this Annual Report on Form
  10-K to the extent stated herein. Such proxy statement will be filed with the Securities and Exchange Commission within 120 days of the registrant's fiscal year ended
  December 31, 2022.




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                                                          Meta Platforms, Inc.
                                                              Form 10-K

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                                        NOTE ABOUT FORWARD-LOOKING STATEMENTS

         This Annual Report on Form 10-K contains forward-looking statements. All statements contained in this Annual Report on Form
  10-K other than statements of historical fact, including statements regarding our future results of operations and financial position, our
  business strategy and plans, and our objectives for future operations, are forward-looking statements. The words "believe," "may,"
  "will," "estimate," "continue," "anticipate," "intend," "expect," and similar expressions are intended to identify forward-looking
  statements. We have based these forward-looking statements largely on our current expectations and projections about future events
  and trends that we believe may affect our financial condition, results of operations, business strategy, short-term and long-term business
  operations and objectives, and financial needs. These forward-looking statements are subject to a number of risks, uncertainties and
  assumptions, including those described in Part I, Item 1A, "Risk Factors" in this Annual Report on Form 10-K. Moreover, we operate in
  a very competitive and rapidly changing environment. New risks emerge from time to time. It is not possible for our management to
  predict all risks, nor can we assess the impact of all factors on our business or the extent to which any factor, or combination of factors,
  may cause actual results to differ materially from those contained in any forward-looking statements we may make. In light of these
  risks, uncertainties and assumptions, the future events and trends discussed in this Annual Report on Form 10-K may not occur and
  actual results could differ materially and adversely from those anticipated or implied in the forward-looking statements.

        We undertake no obligation to revise or publicly release the results of any revision to these forward-looking statements, except
  as required by law. Given these risks and uncertainties, readers are cautioned not to place undue reliance on such forward-looking
  statements.

        Unless expressly indicated or the context requires otherwise, the terms "Meta," "company," "we," "us," and "our" in this
  document refer to Meta Platforms, Inc., a Delaware corporation, and, where appropriate, its subsidiaries. The term "Family" refers to
  our Facebook, Instagram, Messenger, and WhatsApp products. For references to accessing Meta's products on the "web" or via a
  "website," such terms refer to accessing such products on personal computers. For references to accessing Meta's products on "mobile,"
  such term refers to accessing such products via a mobile application or via a mobile-optimized version of our websites such as
  m.facebook.com, whether on a mobile phone or tablet.




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                                        LIMITATIONS OF KEY METRICS AND OTHER DATA

         The numbers for our key metrics are calculated using internal company data based on the activity of user accounts. We report
  our estimates of the numbers of our daily active people (DAP), monthly active people (MAP), and average revenue per person (ARPP)
  (collectively, our "Family metrics") based on the activity of users who visited at least one of Facebook, Instagram, Messenger, and
  WhatsApp (collectively, our "Family" of products) during the applicable period of measurement. We have historically reported the
  numbers of our daily active users (DAUs), monthly active users (MAUs), and average revenue per user (ARPU) (collectively, our
  "Facebook metrics") based on user activity only on Facebook and Messenger and not on our other products. We believe our Family
  metrics better reflect the size of our community and the fact that many people are using more than one of our products. As a result, over
  time we intend to report our Family metrics as key metrics in place of DAUs, MAUs, and ARPU in our periodic reports filed with the
  Securities and Exchange Commission.

         While these numbers are based on what we believe to be reasonable estimates of our user base for the applicable period of
  measurement, there are inherent challenges in measuring usage of our products across large online and mobile populations around the
  world. The methodologies used to measure these metrics require significant judgment and are also susceptible to algorithm or other
  technical errors. In addition, we are continually seeking to improve our estimates of our user base, and such estimates may change due
  to improvements or changes in our methodology. We regularly review our processes for calculating these metrics, and from time to
  time we discover inaccuracies in our metrics or make adjustments to improve their accuracy, which can result in adjustments to our
  historical metrics. Our ability to recalculate our historical metrics may be impacted by data limitations or other factors that require us to
  apply different methodologies for such adjustments. We generally do not intend to update previously disclosed Family metrics for any
  such inaccuracies or adjustments that are within the error margins disclosed below.

         In addition, our Family metrics and Facebook metrics estimates will differ from estimates published by third parties due to
  differences in methodology.

  Family Metrics

         Many people in our community have user accounts on more than one of our products, and some people have multiple user
  accounts within an individual product. Accordingly, for our Family metrics, we do not seek to count the total number of user accounts
  across our products because we believe that would not reflect the actual size of our community. Rather, our Family metrics represent
  our estimates of the number of unique people using at least one of Facebook, Instagram, Messenger, and WhatsApp. We do not require
  people to use a common identifier or link their accounts to use multiple products in our Family, and therefore must seek to attribute
  multiple user accounts within and across products to individual people. To calculate these metrics, we rely upon complex techniques,
  algorithms and machine learning models that seek to count the individual people behind user accounts, including by matching multiple
  user accounts within an individual product and across multiple products when we believe they are attributable to a single person, and
  counting such group of accounts as one person. These techniques and models require significant judgment, are subject to data and other
  limitations discussed below, and inherently are subject to statistical variances and uncertainties. We estimate the potential error in our
  Family metrics primarily based on user survey data, which itself is subject to error as well. While we expect the error margin for our
  Family metrics to vary from period to period, we estimate that such margin generally will be approximately 3% of our worldwide MAP.
  At our scale, it is very difficult to attribute multiple user accounts within and across products to individual people, and it is possible that
  the actual numbers of unique people using our products may vary significantly from our estimates, potentially beyond our estimated
  error margins. As a result, it is also possible that our Family metrics may indicate changes or trends in user numbers that do not match
  actual changes or trends.

         To calculate our estimates of Family DAP and MAP, we currently use a series of machine learning models that are developed
  based on internal reviews of limited samples of user accounts and calibrated against user survey data. We apply significant judgment in
  designing these models and calculating these estimates. For example, to match user accounts within individual products and across
  multiple products, we use data signals such as similar device information, IP addresses, and user names. We also calibrate our models
  against data from periodic user surveys of varying sizes and frequency across our products, which are inherently subject to error. The
  timing and results of such user surveys have in the past contributed, and may in the future contribute, to changes in our reported Family
  metrics from period to period. In addition, our data limitations may affect our understanding of certain details of our business and
  increase the risk of error for our Family metrics estimates. Our techniques and models rely on a variety of data signals from different
  products, and we rely on more limited data signals for some products compared to others. For example, as a result of limited visibility
  into encrypted products, we have fewer


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  data signals from WhatsApp user accounts and primarily rely on phone numbers and device information to match WhatsApp user
  accounts with accounts on our other products. Similarly, although Messenger Kids users are included in our Family metrics, we do not
  seek to match their accounts with accounts on our other applications for purposes of calculating DAP and MAP. Any loss of access to
  data signals we use in our process for calculating Family metrics, whether as a result of our own product decisions, actions by third-
  party browser or mobile platforms, regulatory or legislative requirements, or other factors, also may impact the stability or accuracy of
  our reported Family metrics, as well as our ability to report these metrics at all. Our estimates of Family metrics also may change as our
  methodologies evolve, including through the application of new data signals or technologies, product changes, or other improvements
  in our user surveys, algorithms, or machine learning that may improve our ability to match accounts within and across our products or
  otherwise evaluate the broad population of our users. In addition, such evolution may allow us to identify previously undetected
  violating accounts (as defined below).

         We regularly evaluate our Family metrics to estimate the percentage of our MAP consisting solely of "violating" accounts. We
  define "violating" accounts as accounts which we believe are intended to be used for purposes that violate our terms of service,
  including bots and spam. In the fourth quarter of 2022, we estimated that approximately 3% of our worldwide MAP consisted solely of
  violating accounts. Such estimation is based on an internal review of a limited sample of accounts, and we apply significant judgment
  in making this determination. For example, we look for account information and behaviors associated with Facebook and Instagram
  accounts that appear to be inauthentic to the reviewers, but we have limited visibility into WhatsApp user activity due to encryption. In
  addition, if we believe an individual person has one or more violating accounts, we do not include such person in our violating accounts
  estimation as long as we believe they have one account that does not constitute a violating account. From time to time, we disable
  certain user accounts, make product changes, or take other actions to reduce the number of violating accounts among our users, which
  may also reduce our DAP and MAP estimates in a particular period. We intend to disclose our estimates of the percentage of our MAP
  consisting solely of violating accounts on an annual basis. Violating accounts are very difficult to measure at our scale, and it is
  possible that the actual number of violating accounts may vary significantly from our estimates.

        The numbers of Family DAP and MAP discussed in this Annual Report on Form 10-K, as well as ARPP, do not include users on
  our other products, unless they would otherwise qualify as DAP or MAP, respectively, based on their other activities on our Family
  products.

  Facebook Metrics

         We regularly evaluate our Facebook metrics to estimate the number of "duplicate" and "false" accounts among our MAUs. A
  duplicate account is one that a user maintains in addition to his or her principal account. We divide "false" accounts into two categories:
  (1) user-misclassified accounts, where users have created personal profiles for a business, organization, or non-human entity such as a
  pet (such entities are permitted on Facebook using a Page rather than a personal profile under our terms of service); and (2) violating
  accounts, which represent user profiles that we believe are intended to be used for purposes that violate our terms of service, such as
  bots and spam. The estimates of duplicate and false accounts are based on an internal review of a limited sample of accounts, and we
  apply significant judgment in making this determination. For example, to identify duplicate accounts we use data signals such as
  identical IP addresses and similar user names, and to identify false accounts we look for names that appear to be fake or other behavior
  that appears inauthentic to the reviewers. Any loss of access to data signals we use in this process, whether as a result of our own
  product decisions, actions by third-party browser or mobile platforms, regulatory or legislative requirements, or other factors, also may
  impact the stability or accuracy of our estimates of duplicate and false accounts. Our estimates also may change as our methodologies
  evolve, including through the application of new data signals or technologies or product changes that may allow us to identify
  previously undetected duplicate or false accounts and may improve our ability to evaluate a broader population of our users. Duplicate
  and false accounts are very difficult to measure at our scale, and it is possible that the actual number of duplicate and false accounts
  may vary significantly from our estimates.

        In the fourth quarter of 2022, we estimated that duplicate accounts may have represented approximately 11% of our worldwide
  MAUs. We believe the percentage of duplicate accounts is meaningfully higher in developing markets such as the Philippines and
  Vietnam, as compared to more developed markets. In the fourth quarter of 2022, we estimated that false accounts may have represented
  approximately 4-5% of our worldwide MAUs. Our estimation of false accounts can vary as a result of episodic spikes in the creation of
  such accounts, which we have seen originate more frequently in specific countries such as Indonesia, Nigeria, and Vietnam. From time
  to time, we disable certain user accounts, make product changes, or take other actions to reduce the number of duplicate or false
  accounts among our users, which may also reduce our DAU and



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  MAU estimates in a particular period. We intend to disclose our estimates of the number of duplicate and false accounts among our
  MAUs on an annual basis.

          The numbers of DAUs and MAUs discussed in this Annual Report on Form 10-K, as well as ARPU, do not include users on
  Instagram, WhatsApp, or our other products, unless they would otherwise qualify as DAUs or MAUs, respectively, based on their other
  activities on Facebook.

  User Geography

         Our data regarding the geographic location of our users is estimated based on a number of factors, such as the user's IP address
  and self-disclosed location. These factors may not always accurately reflect the user's actual location. For example, a user may appear
  to be accessing Facebook from the location of the proxy server that the user connects to rather than from the user's actual location. The
  methodologies used to measure our metrics are also susceptible to algorithm or other technical errors, and our estimates for revenue by
  user location and revenue by user device are also affected by these factors.




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  PART I

  Item 1. Business

  Overview

        Our mission is to give people the power to build community and bring the world closer together.

         All of our products, including our apps, share the vision of helping to bring the metaverse to life. We build technology that helps
  people connect and share, find communities, and grow businesses. Our useful and engaging products enable people to connect and
  share with friends and family through mobile devices, personal computers, virtual reality headsets, and wearables. We also help people
  discover and learn about what is going on in the world around them, enable people to share their experiences, ideas, photos and videos,
  and other activities with audiences ranging from their closest family members and friends to the public at large, and stay connected
  everywhere by accessing our products. Meta is moving our offerings beyond 2D screens toward immersive experiences like augmented
  and virtual reality to help build the metaverse, which we believe is the next evolution in social technology. Our vision for the metaverse
  does not center on any single product, but rather an entire ecosystem of experiences, devices, and new technologies. While the
  metaverse is in the very early stages of its development, we believe it will become the next computing platform and the future of social
  interaction.

         We report financial results for two segments: Family of Apps (FoA) and Reality Labs (RL). Currently, we generate substantially
  all of our revenue from selling advertising placements on our family of apps to marketers, which is reflected in FoA. Ads on our
  platforms enable marketers to reach people across a range of marketing objectives, such as generating leads or driving awareness.
  Marketers purchase ads that can appear in multiple places including on Facebook, Instagram, Messenger, and third-party applications
  and websites. RL reflects our efforts to develop the metaverse and generates revenue from sales of consumer hardware products,
  software and content.

         We invest in our business based on our company priorities, and the majority of our investments are directed toward developing
  our family of apps. In 2022, 82% of our total costs and expenses were recognized in FoA and 18% were recognized in RL. Our FoA
  investments were $71.79 billion in 2022 and include expenses relating to headcount, data centers and technical infrastructure as part of
  our efforts to develop our apps and our advertising services. We are also making significant investments in our metaverse efforts,
  including developing virtual and augmented reality devices, software for social platforms, neural interfaces, and other foundational
  technologies for the metaverse. Our total RL investments were $15.88 billion in 2022 and include expenses relating to headcount and
  technology development across these efforts. As these are fundamentally new technologies that we expect will evolve as the metaverse
  ecosystem develops, many products for the metaverse may only be fully realized in the next decade. Although it is inherently difficult
  to predict when and how the metaverse ecosystem will develop, we expect our RL segment to continue to operate at a loss for the
  foreseeable future, and our ability to support our metaverse efforts is dependent on generating sufficient profits from other areas of our
  business. We expect this will be a complex, evolving, and long-term initiative. We are investing now because we believe this is the next
  chapter of the internet and will unlock monetization opportunities for businesses, developers, and creators, including around
  advertising, hardware, and digital goods.

  Family of Apps Products

        •     Facebook. Facebook helps give people the power to build community and bring the world closer together. It's a place for
              people to share life's moments and discuss what's happening, nurture and build relationships, discover and connect to
              interests, and create economic opportunity. They can do this through Feed, Reels, Stories, Groups, and more.

        •     Instagram. Instagram brings people closer to the people and things they love. Instagram Feed, Stories, Reels, Video, Live,
              Shops, and messaging are places where people and creators can connect and express themselves through photos, video, and
              private messaging, and discover and shop from their favorite businesses.

        •     Messenger. Messenger is a simple yet powerful messaging application for people to connect with friends, family,
              communities, and businesses across platforms and devices through text, audio and video calls.



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        •      WhatsApp. WhatsApp is a simple, reliable, and secure messaging application that is used by people and businesses around
               the world to communicate and transact in a private way.

  Reality Labs Products

          Many of our metaverse investments are directed toward long-term, cutting edge research and development for products that are
  not on the market today and may only be fully realized in the next decade. This includes exploring new technologies such as neural
  interfaces using electromyography, which lets people control their devices using neuromuscular signals, as well as innovations in
  artificial intelligence (AI) and hardware to help build next-generation interfaces. In the near term, we are continuing to develop early
  metaverse experiences through Reality Labs' augmented and virtual reality products that help people feel connected, anytime,
  anywhere. Our current product offerings include Meta Quest virtual reality devices, as well as software and content available through
  the Meta Quest Store, which enable a range of social experiences that allow people to defy physical distance, including gaming, fitness,
  entertainment, and more. For example, we have launched Horizon Worlds, a social platform where people can interact with friends,
  meet new people, play games, and attend virtual events, and Horizon Workrooms, a virtual reality space for teams to connect and
  collaborate at work. As part of our virtual reality initiatives, we have also introduced mixed reality capabilities through our Meta
  Reality system on Meta Quest Pro, which allows users to experience the immersion and presence of virtual reality while still being
  grounded in the physical world. As part of our augmented reality initiatives, we have introduced Ray-Ban Stories smart glasses, which
  let people stay more present through hands-free interaction, and Meta Spark, a platform that allows creators and businesses to build
  augmented reality experiences that bring the digital and physical worlds together in our apps. In general, while all of these investments
  are part of our long-term initiative to help build the metaverse, our virtual reality and social platform efforts also include notable
  shorter-term projects developing specific products and services to go to market, whereas our augmented reality efforts are primarily
  directed toward longer-term research and development projects. For example, in 2023, we expect to spend approximately 50% of our
  Reality Labs operating expenses on our augmented reality initiatives, approximately 40% on our virtual reality initiatives, and
  approximately 10% on social platforms and other initiatives. We apply significant judgment in estimating this expense breakdown as
  there are certain shared costs across product lines, and our expectations are subject to change, including as the metaverse ecosystem
  and our business strategies evolve. In particular, we regularly evaluate our product roadmaps and make significant changes as our
  understanding of the technological challenges and market landscape and our product ideas and designs evolve.

  Competition

         Our business is characterized by innovation, rapid change, and disruptive technologies. We compete with companies providing
  connection, sharing, discovery, and communication products and services to users online, as well as companies that sell advertising to
  businesses looking to reach consumers and/or develop tools and systems for managing and optimizing advertising campaigns. We face
  significant competition in every aspect of our business, including, but not limited to, companies that facilitate the ability of users to
  create, share, communicate, and discover content and information online or enable marketers to reach their existing or prospective
  audiences. We compete to attract, engage, and retain people who use our products, to attract and retain businesses that use our free or
  paid business and advertising services, and to attract and retain developers who build compelling applications that integrate with our
  products. We also compete with companies that develop and deliver consumer hardware and virtual and augmented reality products and
  services. As we introduce or acquire new products, as our existing products evolve, or as other companies introduce new products and
  services, including as part of efforts to develop the metaverse or innovate through the application of new technologies such as AI, we
  may become subject to additional competition.

  Technology

         Our product development philosophy centers on continuous innovation in creating and improving products that are social by
  design, which means that our products are designed to place people and their social interactions at the core of the product experience.
  As our user base grows, as engagement with products like video and virtual reality increases, and as we deepen our investment in new
  technologies, our computing needs continue to expand. We make significant investments in technology both to improve our existing
  products and services and to develop new ones, as well as for our marketers and developers. We are also investing in protecting the
  security, privacy, and integrity of our platform by investing in both people and technology to strengthen our systems against abuse.
  Across all of these efforts, we are making significant investments in AI and machine learning, including to recommend relevant
  unconnected content across our products through our AI-powered discovery engine, to enhance our advertising tools and improve our
  ad delivery, targeting, and measurement capabilities, and



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  to develop new product features using generative AI.

  Sales and Operations

         The majority of our marketers use our self-service ad platform to launch and manage their advertising campaigns. We also have
  a global sales force that is focused on attracting and retaining advertisers and providing support to them throughout the stages of the
  marketing cycle from pre-purchase decision-making to real-time optimizations to post-campaign analytics. We work directly with these
  advertisers, as well as through advertising agencies and resellers. We operate offices in more than 90 cities around the globe, the
  majority of which have a sales presence. We also invest in and rely on self-service tools to provide direct customer support to our users
  and partners.

  Marketing

         Historically, our communities have generally grown organically with people inviting their friends to connect with them,
  supported by internal efforts to stimulate awareness and interest. In addition, we have invested and will continue to invest in marketing
  our products and services to grow our brand and help build community around the world.

  Intellectual Property

         To establish and protect our proprietary rights, we rely on a combination of patents, trademarks, copyrights, trade secrets,
  including know-how, license agreements, confidentiality procedures, non-disclosure agreements with third parties, employee disclosure
  and invention assignment agreements, and other contractual rights. In addition, to further protect our proprietary rights, from time to
  time we have purchased patents and patent applications from third parties. We do not believe that our proprietary technology is
  dependent on any single patent or copyright or groups of related patents or copyrights. We believe the duration of our patents is
  adequate relative to the expected lives of our products.

  Government Regulation

          We are subject to a variety of laws and regulations in the United States and abroad that involve matters central to our business,
  many of which are still evolving and being tested in courts, and could be interpreted in ways that could harm our business. These laws
  and regulations involve matters including privacy, data use, data protection and personal information, biometrics, encryption, rights of
  publicity, content, integrity, intellectual property, advertising, marketing, distribution, data security, data retention and deletion, data
  localization and storage, data disclosure, artificial intelligence and machine learning, electronic contracts and other communications,
  competition, protection of minors, consumer protection, civil rights, accessibility, telecommunications, product liability, e-commerce,
  taxation, economic or other trade controls including sanctions, anti-corruption and political law compliance, securities law compliance,
  and online payment services. Foreign data protection, privacy, content, competition, consumer protection, and other laws and
  regulations can impose different obligations, or penalties or fines for non-compliance, or be more restrictive than those in the United
  States.

         These U.S. federal, state, and foreign laws and regulations, which in some cases can be enforced by private parties in addition to
  government entities, are constantly evolving and can be subject to significant change. As a result, the application, interpretation, and
  enforcement of these laws and regulations are often uncertain, particularly in the new and rapidly evolving industry in which we
  operate, and may be interpreted and applied inconsistently from jurisdiction to jurisdiction and inconsistently with our current policies
  and practices. For example, regulatory or legislative actions or litigation affecting the manner in which we display content to our users,
  moderate content, or obtain consent to various practices, or otherwise relating to content that is made available on our products, could
  adversely affect our financial results. In the United States, the U.S. Supreme Court recently agreed to review a matter in which the
  scope of the protections available to online platforms under Section 230 of the Communications Decency Act (Section 230) is at issue.
  In addition, there have been, and continue to be, various efforts to remove or restrict the scope of the protections available to online
  platforms under Section 230, and any such changes may increase our costs or require significant changes to our products, business
  practices, or operations, which could adversely affect our business and financial results.

        We are also subject to evolving laws and regulations that dictate whether, how, and under what circumstances we can transfer,
  process and/or receive certain data that is critical to our operations, including data shared between countries or regions in which we


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  operate and data shared among our products and services. If we are unable to transfer data between and among countries and regions in
  which we operate, or if we are restricted from sharing data among our products and services,




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  it could affect our ability to provide our services, the manner in which we provide our services or our ability to target ads, which could
  adversely affect our financial results. For example, the Privacy Shield, a transfer framework we relied upon for data transferred from
  the European Union to the United States, was invalidated in July 2020 by the Court of Justice of the European Union (CJEU). In
  addition, the other bases upon which Meta relies to transfer such data, such as Standard Contractual Clauses (SCCs), have been
  subjected to regulatory and judicial scrutiny. On July 6, 2022, we received a draft decision from the Irish Data Protection Commission
  (IDPC) that preliminarily concluded that Meta Platforms Ireland's reliance on SCCs in respect of European Union/European Economic
  Area Facebook user data does not achieve compliance with the General Data Protection Regulation (GDPR) and preliminarily
  proposed that such transfers of user data from the European Union to the United States should therefore be suspended. Separately, on
  March 25, 2022, the European Union and United States announced that they had reached an agreement in principle on a new EU-U.S.
  Data Privacy Framework (EU-U.S. DPF). On October 7, 2022, President Biden signed the Executive Order on Enhancing Safeguards
  for United States Signals Intelligence Activities (E.O.), and on December 13, 2022, the European Commission published its draft
  adequacy decision on the proposed new EU-U.S. DPF. We believe a final decision in this inquiry may issue as early as the first quarter
  of 2023. Although the E.O. is a significant and positive step, if no adequacy decision is adopted by the European Commission and we
  are unable to continue to rely on SCCs or rely upon other alternative means of data transfers from the European Union to the United
  States, we will likely be unable to offer a number of our most significant products and services, including Facebook and Instagram, in
  Europe, which would materially and adversely affect our business, financial condition, and results of operations.

          We have been subject to other significant legislative and regulatory developments in the past, and proposed or new legislation
  and regulations could significantly affect our business in the future. For example, we have implemented a number of product changes
  and controls as a result of requirements under the GDPR, and may implement additional changes in the future. The GDPR also requires
  submission of personal data breach notifications to our lead European Union privacy regulator, the IDPC, and includes significant
  penalties for non-compliance with the notification obligation as well as other requirements of the regulation. The interpretation of the
  GDPR is still evolving and draft decisions in investigations by the IDPC are subject to review by other European privacy regulators as
  part of the GDPR's consistency mechanism, which may lead to significant changes in the final outcome of such investigations. As a
  result, the interpretation and enforcement of the GDPR, as well as the imposition and amount of penalties for non-compliance, are
  subject to significant uncertainty. In addition, Brazil, the United Kingdom, and other countries have enacted similar data protection
  regulations imposing data privacy-related requirements on products and services offered to users in their respective jurisdictions. The
  California Consumer Privacy Act, as amended by the California Privacy Rights Act, and similar laws recently enacted by other states
  also establish certain transparency rules and create certain data privacy rights for users. In addition, the European Union's ePrivacy
  Directive and national implementation laws impose additional limitations on the use of data across messaging products and include
  significant penalties for non-compliance. Changes to our products or business practices as a result of these or similar developments
  have in the past adversely affected, and may in the future adversely affect, our advertising business. Similarly, there are a number of
  legislative proposals or recently enacted laws in the European Union, the United States, at both the federal and state level, as well as
  other jurisdictions that could impose new obligations or limitations in areas affecting our business. For example, the Digital Markets
  Act (DMA) in the European Union imposes new restrictions and requirements on companies like ours, including in areas such as the
  combination of data across services, mergers and acquisitions, and product design. The DMA also includes significant penalties for
  non-compliance, and its key requirements will be enforceable against designated gatekeeper companies in early 2024. We expect the
  DMA will cause us to incur significant compliance costs and make additional changes to our products or business practices. The
  requirements under the DMA will likely be subject to further interpretation and regulatory engagement. Pending or future proposals to
  modify competition laws in the United States and other jurisdictions could have similar effects. Further, the Digital Services Act (DSA)
  in the European Union, which will apply to our business as early as June 2023, will impose new restrictions and requirements for our
  products and services and may significantly increase our compliance costs. The DSA also includes significant penalties for non-
  compliance. In addition, some countries, such as India and Turkey, are considering or have passed legislation implementing data
  protection requirements or requiring local storage and processing of data or similar requirements that could increase the cost and
  complexity of delivering our services, cause us to cease the offering of our products and services in certain countries, or result in fines
  or other penalties. New legislation or regulatory decisions that restrict our ability to collect and use information about minors may also
  result in limitations on our advertising services or our ability to offer products and services to minors in certain jurisdictions.

         We are, and expect to continue to be, the subject of investigations, inquiries, data requests, requests for information, actions, and
  audits by government authorities and regulators in the United States, Europe, and around the world, particularly in the areas of privacy
  and data protection, including with respect to minors, law enforcement, consumer protection, civil




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  rights, content moderation, and competition. We are also currently, and may in the future be, subject to regulatory orders or consent
  decrees, including the modified consent order we entered into with the U.S. Federal Trade Commission (FTC), which took effect in
  April 2020 and, among other matters, requires us to maintain a comprehensive privacy program. Orders issued by, or inquiries or
  enforcement actions initiated by, government or regulatory authorities could cause us to incur substantial costs, expose us to civil and
  criminal liability (including liability for our personnel) or penalties (including substantial monetary remedies), interrupt or require us to
  change our business practices in a manner materially adverse to our business (including changes to our products or user data practices),
  result in negative publicity and reputational harm, divert resources and the time and attention of management from our business, or
  subject us to other structural or behavioral remedies that adversely affect our business.

       For additional information about government regulation applicable to our business, see Part I, Item 1A, "Risk Factors" in this
  Annual Report on Form 10-K.

  Human Capital

        At Meta, our mission is to give people the power to build community and bring the world closer together. People are at the heart
  of every connection we empower, and we are proud of our unique company culture. We strive to build diverse teams across
  engineering, product design, marketing, and other areas to further our mission.

         As we look forward, we expect the lasting effects of the global COVID-19 pandemic will change how we work and who we
  reach. We are proud of our response to the COVID-19 pandemic both internally and externally. Employee benefits were robust and
  established quickly: we implemented 15 days of subsidized backup care for child, adult, or eldercare; we paid emergency leave to help
  address short-term or transitional needs; and we established a temporary stipend to help employees work from home, to name just a few
  of the benefits.

         We are committed to fostering an enriching environment for our global workforce, and we are focused on supporting our people
  in doing the best work of their careers, no matter where they are located. For example:

         •    Location is flexible but presence is essential. As of September 30, 2022, 83% of managers at Meta had direct reports in a
              different location, and 24% of our employees were fully remote.

         •    Remote work has helped us reach new talent in a competitive tech landscape and broaden our representation. We have seen
              that candidates who accepted remote job offers were more often underrepresented people.

         •    Beginning March 2023, we are permitting employees in eligible roles to transfer to any Meta office within their country of
              employment. We expect distributed teams to establish strong norms that support efficiency, including more predictable and
              coordinated in-person working time.

         At the start of the COVID-19 pandemic, the world rapidly moved online and the surge of online commerce led to accelerated
  revenue growth. Many people predicted this would be a permanent acceleration that would continue even after the pandemic ended.
  Instead, not only did online commerce return to prior trends, but the more challenging macroeconomic environment and limitations on
  our ad targeting and measurement tools, among other factors, contributed to a decline in our revenue.

         To address this new environment, we took a number of steps to become a more capital efficient company and, in November
  2022, made one of the most difficult changes in Meta's history and announced a layoff of approximately 11,000 employees. The cost
  reduction efforts that we announced, including our plans to scale back budgets, reduce company perks, shrink our real estate footprint,
  and restructure teams to increase efficiency alone would not bring our expenses in line with our revenue growth and we had to
  implement the layoff. We made it a priority to treat outgoing employees with respect and announced a package for U.S. employees that
  included:

         •    Severance: 16 weeks of base pay plus two additional weeks for every year of service.

         •    Paid time off: payment for all remaining paid time off.



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        •     Restricted stock unit vesting: receipt of November 2022 vesting for outstanding employee restricted stock unit awards.

        •     Health insurance: coverage of the cost of healthcare for employees and their families for six months.

        •     Career services: three months of career support with an external vendor, including early access to unpublished job leads.

        •     Immigration support: dedicated immigration specialists to help guide employees based on their needs.

        We offered similar support for outgoing employees outside of the United States, taking into account local employment laws.

        Employee Learning and Development

        We value our investment in growing and keeping a highly skilled and efficient workforce. In addition to permitting employees to
  seek education reimbursement, we offer career development opportunities and work experience programs that extend beyond the
  physical and virtual classroom. To do this, we utilize various learning modalities, such as live virtual and in-person learning
  experiences, on-demand e-learning, self-service resources, learning communities, and coaching engagements.

        The Pulse of Our Workforce

         Each year, we conduct company-wide employee surveys to help understand how employees feel about working at Meta and
  what we can do to improve their experience. Our surveys help us measure company, manager, and personal experience over time.
  Further, our more frequent surveys, such as those that have been administered daily to an ongoing random sample of employees, allows
  us to measure real-time sentiment around emerging events and company changes. These surveys are designed to invite feedback and
  actionable suggestions, inform decisions, and drive change across the company.

        Health and Well-being

         Meta's health and well-being programs are designed to give employees a choice of flexible benefits to help them reach their
  personal well-being goals. Our programs are tailored to help boost employee physical and mental health, create financial peace of
  mind, provide support for families, and help employees build a strong community. Programs are designed and funded to support needs
  like autism care, cancer care, transgender services, holistic well-being, and mental health programs, which represent a few of the ways
  we support our employees and their dependents.

        Diversity, Equity and Inclusion

        We work to build a diverse and inclusive workplace where we can leverage our collective cognitive diversity to build the best
  products and make the best decisions for the global community we serve.

         We offer full-time fully remote positions, including in locations where we do not have offices, which has deepened the diversity
  of our candidate pool. As published in our Diversity Report in July 2022, we saw that providing remote optionality increased the
  diversity of the overall composition of our workforce: U.S candidates who accepted remote job offers were substantially more likely to
  be Black, Hispanic, Native American, Alaskan Native, Pacific Islander, veterans and/or people with disabilities, and globally,
  candidates who accepted remote job offers were more likely to be women.

        As part of our 2022 Diversity Report, we published our global gender diversity and U.S. ethnic diversity workforce data. As of
  June 30, 2022, our global employee base was comprised of 37.1% females and 62.9% males, and our U.S. employee base was
  comprised of the following ethnicities: 46.5% Asian, 37.6% White, 6.7% Hispanic, 4.9% Black, 4.0% two or more ethnicities, and
  0.3% additional groups (including American Indian or Alaska Native and Native Hawaiian or Other Pacific Islander).

        We want our products to work for the world and we need to grow and keep the best talent in order to do that. To aid in this effort,
  we have taken steps to reduce bias from our hiring processes and performance management systems.




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         We have also invested in learning opportunities to identify and reduce inherent bias through Diversity, Equity and Inclusion
  trainings for our employees and enhanced learning and development courses. In addition, we offer career development programs to
  employees, including opportunities for women leaders at Meta to connect, support and grow together and programs to help ensure that
  we develop leaders of color, build a more diverse leadership pipeline and foster a culture of sponsorship through leader advocacy.

        Compensation and Benefits

         We offer competitive compensation to attract and retain the best people, and we help care for our people so they can focus on our
  mission. Our employees' total compensation package includes market-competitive salary, bonuses or sales incentives, and equity. We
  generally offer full-time employees equity at the time of hire and through annual equity grants because we want them to be owners of
  the company and committed to our long-term success. We have conducted pay equity analyses for many years, and continue to be
  committed to pay equity. In 2022, we announced that our analyses indicate that we continue to have pay equity across genders globally
  and race in the United States for people in similar jobs, accounting for factors such as location, role, and level.

         Through Life@ Meta, our holistic approach to benefits, we provide our employees and their dependents with resources to help
  them thrive. We offer a wide range of benefits across areas such as health, family, finance, community, and time away, including
  healthcare and wellness benefits, family building benefits, family care resources, retirement savings plans, access to tax and legal
  services, and Meta Resource Groups to build community at Meta.

  Corporate Information

         We were incorporated in Delaware in July 2004. We completed our initial public offering in May 2012 and our Class A common
  stock is currently listed on the Nasdaq Global Select Market under the symbol "META." Our principal executive offices are located at
  1601 Willow Road, Menlo Park, California 94025, and our telephone number is (650) 543-4800.

        Meta, the Meta logo, Facebook, FB, Instagram, Oculus, WhatsApp, and our other registered or common law trademarks, service
  marks, or trade names appearing in this Annual Report on Form 10-K are the property of Meta Platforms, Inc. or its affiliates. Other
  trademarks, service marks, or trade names appearing in this Annual Report on Form 10‑K are the property of their respective owners.

  Available Information

         Our Annual Reports on Form 10-K, Quarterly Reports on Form 10-Q, Current Reports on Form 8-K, and amendments to reports
  filed pursuant to Sections 13(a) and 15(d) of the Securities Exchange Act of 1934, as amended (Exchange Act), are filed with the U.S.
  Securities and Exchange Commission (SEC). We are subject to the informational requirements of the Exchange Act and file or furnish
  reports, proxy statements, and other information with the SEC. Such reports and other information filed by us with the SEC are
  available free of charge on our website at investor.fb.com when such reports are available on the SEC's website. We use our
  investor.fb.com and about.fb.com/news/ websites as well as Mark Zuckerberg's Facebook Page (www.facebook.com/zuck) and
  Instagram account (www.instagram.com/zuck) as means of disclosing material non-public information and for complying with our
  disclosure obligations under Regulation FD.

         The SEC maintains an Internet site that contains reports, proxy and information statements, and other information regarding
  issuers that file electronically with the SEC at www.sec.gov.

        The contents of the websites referred to above are not incorporated into this filing. Further, our references to the URLs for these
  websites are intended to be inactive textual references only.




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  Item 1A. Risk Factors

  Certain factors may have a material adverse effect on our business, financial condition, and results of operations. You should consider
  carefully the risks and uncertainties described below, in addition to other information contained in this Annual Report on Form 10-K,
  including our consolidated financial statements and related notes. The risks and uncertainties described below are not the only ones we
  face. Additional risks and uncertainties that we are unaware of, or that we currently believe are not material, may also become
  important factors that adversely affect our business. If any of the following risks actually occurs, our business, financial condition,
  results of operations, and future prospects could be materially and adversely affected. In that event, the trading price of our Class A
  common stock could decline, and you could lose part or all of your investment.

  Summary Risk Factors

        Our business is subject to a number of risks, including risks that may prevent us from achieving our business objectives or may
  adversely affect our business, financial condition, results of operations, cash flows, and prospects. These risks are discussed more fully
  below and include, but are not limited to, risks related to:

  Risks Related to Our Product Offerings

      •    our ability to add and retain users and maintain levels of user engagement with our products;

      •    the loss of, or reduction in spending by, our marketers;

      •    reduced availability of data signals used by our ad targeting and measurement tools;

      •    ineffective operation with mobile operating systems or changes in our relationships with mobile operating system partners;

      •    failure of our new products, or changes to our existing products, to attract or retain users or generate revenue;

  Risks Related to Our Business Operations and Financial Results

      •    our ability to compete effectively;

      •    fluctuations in our financial results;

      •    unfavorable media coverage and other risks affecting our ability to maintain and enhance our brands;

      •    the COVID-19 pandemic, including its impact on our advertising business;

      •    acquisitions and our ability to successfully integrate our acquisitions;

      •    our ability to build, maintain, and scale our technical infrastructure, and risks associated with disruptions in our service;

      •    operating our business in multiple countries around the world;

      •    litigation, including class action lawsuits;

  Risks Related to Government Regulation and Enforcement

      •    government restrictions on access to Facebook or our other products, or other actions that impair our ability to sell advertising,
           in their countries;

      •    complex and evolving U.S. and foreign privacy, data use and data protection, content, competition, consumer protection, and
           other laws and regulations;

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      •    the impact of government investigations, enforcement actions, and settlements, including litigation and investigations by
           privacy and competition authorities;

      •    our ability to comply with regulatory and legislative privacy requirements, including our consent order with the Federal Trade
           Commission (FTC);

  Risks Related to Data, Security, and Intellectual Property

      •    the occurrence of security breaches, improper access to or disclosure of our data or user data, and other cyber incidents or
           undesirable activity on our platform;

      •    our ability to obtain, maintain, protect, and enforce our intellectual property rights; and

  Risks Related to Ownership of Our Class A Common Stock

      •    limitations on the ability of holders of our Class A Common Stock to influence corporate matters due to the dual class
           structure of our common stock and the control of a majority of the voting power of our outstanding capital stock by our
           founder, Chairman, and CEO.

                                                  Risks Related to Our Product Offerings

  If we fail to retain existing users or add new users, or if our users decrease their level of engagement with our products, our
  revenue, financial results, and business may be significantly harmed.

         The size of our user base and our users' level of engagement across our products are critical to our success. Our financial
  performance has been and will continue to be significantly determined by our success in adding, retaining, and engaging active users of
  our products that deliver ad impressions, particularly for Facebook and Instagram. We have experienced, and expect to continue to
  experience, fluctuations and declines in the size of our active user base in one or more markets from time to time, particularly in
  markets where we have achieved higher penetration rates. User growth and engagement are also impacted by a number of other factors,
  including competitive products and services, such as TikTok, that have reduced some users' engagement with our products and services,
  as well as global and regional business, macroeconomic, and geopolitical conditions. For example, the COVID-19 pandemic has led to
  increases and decreases in the size and engagement of our active user base from period to period at different points during the
  pandemic, and may continue to have a varied impact on the size and engagement of our active user base in the future. In addition, in
  connection with the war in Ukraine, access to Facebook and Instagram was restricted in Russia and these services were then prohibited
  by the Russian government, which contributed to slight declines on a quarter-over-quarter basis in the number of DAUs and MAUs on
  Facebook in Europe in the first quarter and the second quarter of 2022, as well as a slight decline on a quarter-over-quarter basis in the
  total number of MAUs on Facebook in the second quarter of 2022. Any future declines in the size of our active user base may
  adversely impact our ability to deliver ad impressions and, in turn, our financial performance.

         If people do not perceive our products to be useful, reliable, and trustworthy, we may not be able to attract or retain users or
  otherwise maintain or increase the frequency and duration of their engagement. A number of other social networking companies that
  achieved early popularity have since seen their active user bases or levels of engagement decline, in some cases precipitously. There is
  no guarantee that we will not experience a similar erosion of our active user base or engagement levels. Our user engagement patterns
  have changed over time, and user engagement can be difficult to measure, particularly as we introduce new and different products and
  services. Any number of factors can negatively affect user retention, growth, and engagement, including if:

      •    users increasingly engage with other competitive products or services;

      •    we fail to introduce new features, products, or services that users find engaging or if we introduce new products or services, or
           make changes to existing products and services, that are not favorably received;

      •    users feel that their experience is diminished as a result of the decisions we make with respect to the frequency, prominence,
           format, size, and quality of ads that we display;
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      •    users have difficulty installing, updating, or otherwise accessing our products on mobile devices as a result of actions by us or
           third parties that we rely on to distribute our products and deliver our services;

      •    user behavior on any of our products changes, including decreases in the quality and frequency of content shared on our
           products and services;

      •    we are unable to continue to develop products for mobile devices that users find engaging, that work with a variety of mobile
           operating systems and networks, and that achieve a high level of market acceptance;

      •    there are decreases in user sentiment due to questions about the quality or usefulness of our products or our user data practices,
           concerns about the nature of content made available on our products, or concerns related to privacy, safety, security, well-
           being, or other factors;

      •    we are unable to manage and prioritize information to ensure users are presented with content that is appropriate, interesting,
           useful, and relevant to them;

      •    we are unable to obtain or attract engaging third-party content;

      •    we are unable to successfully maintain or grow usage of and engagement with applications that integrate with our products;

      •    users adopt new technologies where our products may be displaced in favor of other products or services, or may not be
           featured or otherwise available;

      •    there are changes mandated by legislation, government and regulatory authorities, or litigation that adversely affect our
           products or users;

      •    we are unable to offer a number of our most significant products and services, including Facebook and Instagram, in Europe,
           or are otherwise limited in our business operations, as a result of European regulators, courts, or legislative bodies determining
           that our reliance on Standard Contractual Clauses (SCCs) or other legal bases we rely upon to transfer user data from the
           European Union to the United States is invalid;

      •    there is decreased engagement with our products, or failure to accept our terms of service, as part of privacy-focused changes
           that we have implemented or may implement in the future, whether voluntarily, in connection with the General Data
           Protection Regulation (GDPR), the European Union's ePrivacy Directive, the California Privacy Rights Act (CPRA), or other
           laws, regulations, or regulatory actions, or otherwise;

      •    technical or other problems prevent us from delivering our products in a rapid and reliable manner or otherwise affect the user
           experience, such as security breaches or failure to prevent or limit spam or similar content, or users feel their experience is
           diminished as a result of our efforts to protect the security and integrity of our platform;

      •    we adopt terms, policies, or procedures related to areas such as sharing, content, user data, or advertising, or we take, or fail to
           take, actions to enforce our policies, that are perceived negatively by our users or the general public, including as a result of
           decisions or recommendations from the independent Oversight Board regarding content on our platform;

      •    we elect to focus our product decisions on longer-term initiatives that do not prioritize near-term user growth and engagement
           (for example, we have announced plans to focus product decisions on optimizing the young adult experience in the long term);

      •    we make changes in our user account login or registration processes or changes in how we promote different products and
           services across our family of products;




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      •     initiatives designed to attract and retain users and engagement, including the use of new technologies such as artificial
            intelligence, are unsuccessful or discontinued, whether as a result of actions by us, our competitors, or other third parties, or
            otherwise;

      •     third-party initiatives that may enable greater use of our products, including low-cost or discounted data plans, are scaled back
            or discontinued, or the pricing of data plans otherwise increases;

      •     there is decreased engagement with our products as a result of taxes imposed on the use of social media or other mobile
            applications in certain countries, internet shutdowns, or other actions by governments that affect the accessibility of our
            products in their countries (for example, beginning in the first quarter of 2022, our user growth and engagement were
            adversely affected by the war in Ukraine and service restrictions imposed by the Russian government);

      •     we fail to provide adequate customer service to users, marketers, developers, or other partners;

      •     we, developers whose products are integrated with our products, or other partners and companies in our industry are the
            subject of adverse media reports or other negative publicity, including as a result of our or their user data practices; or

      •     our current or future products, such as our development tools and application programming interfaces that enable developers
            to build, grow, and monetize applications, reduce user activity on our products by making it easier for our users to interact and
            share on third-party applications.

         From time to time, certain of these factors have negatively affected user retention, growth, and engagement to varying degrees.
  If we are unable to maintain or increase our user base and user engagement, particularly for our significant revenue-generating products
  like Facebook and Instagram, our revenue and financial results may be adversely affected. Any significant decrease in user retention,
  growth, or engagement could render our products less attractive to users, marketers, and developers, which is likely to have a material
  and adverse impact on our ability to deliver ad impressions and, accordingly, our revenue, business, financial condition, and results of
  operations. As the size of our active user base fluctuates in one or more markets from time to time, we will become increasingly
  dependent on our ability to maintain or increase levels of user engagement and monetization in order to grow revenue.

  We generate substantially all of our revenue from advertising. The loss of marketers, or reduction in spending by marketers, could
  seriously harm our business.

         Substantially all of our revenue is currently generated from marketers advertising on Facebook and Instagram. As is common in
  the industry, our marketers do not have long-term advertising commitments with us. Many of our marketers spend only a relatively
  small portion of their overall advertising budget with us. Marketers will not continue to do business with us, or they will reduce the
  budgets they are willing to commit to us, if we do not deliver ads in an effective manner, if they do not believe that their investment in
  advertising with us will generate a competitive return relative to other alternatives, or if they are not satisfied for any other reason. We
  have implemented, and we will continue to implement, changes to our user data practices. Some of these changes reduce our ability to
  effectively target ads, which has to some extent adversely affected, and will continue to adversely affect, our advertising business. If we
  are unable to provide marketers with a suitable return on investment, the demand for our ads may not increase, or may decline, in
  which case our revenue and financial results may be harmed.

          Our advertising revenue can also be adversely affected by a number of other factors, including:

      •     decreases in user engagement, including time spent on our products;

      •     our inability to continue to increase user access to and engagement with our products;

      •     product changes or inventory management decisions we may make that change the size, format, frequency, or relative
            prominence of ads displayed on our products or of other unpaid content shared by marketers on our products;




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      •    our inability to maintain or increase marketer demand, the pricing of our ads, or both;

      •    our inability to maintain or increase the quantity or quality of ads shown to users;

      •    changes to the content or application of third-party policies that limit our ability to deliver, target, or measure the effectiveness
           of advertising, including changes by mobile operating system and browser providers such as Apple and Google;

      •    adverse litigation, government actions, or legislative, regulatory, or other legal developments relating to advertising, including
           developments that may impact our ability to deliver, target, or measure the effectiveness of advertising;

      •    user behavior or product changes that may reduce traffic to features or products that we successfully monetize, such as our
           feed and Stories products, including as a result of increased usage of our Reels or other video or messaging products;

      •    reductions of advertising by marketers due to our efforts to implement or enforce advertising policies that protect the security
           and integrity of our platform;

      •    the availability, accuracy, utility, and security of analytics and measurement solutions offered by us or third parties that
           demonstrate the value of our ads to marketers, or our ability to further improve such tools;

      •    loss of advertising market share to our competitors, including if prices to purchase our ads increase or if competitors offer
           lower priced, more integrated, or otherwise more effective products;

      •    limitations on our ability to offer a number of our most significant products and services, including Facebook and Instagram,
           in Europe as a result of European regulators, courts, or legislative bodies determining that our reliance on SCCs or other legal
           bases we rely upon to transfer user data from the European Union to the United States is invalid;

      •    changes in our marketing and sales or other operations that we are required to or elect to make as a result of risks related to
           complying with foreign laws or regulatory requirements or other government actions;

      •    decisions by marketers to reduce their advertising as a result of announcements by us or adverse media reports or other
           negative publicity involving us, our user data practices, our advertising metrics or tools, content on our products, our
           interpretation, implementation, or enforcement of policies relating to content on our products (including as a result of
           decisions or recommendations from the independent Oversight Board), developers with applications that are integrated with
           our products, or other companies in our industry;

      •    reductions of advertising by marketers due to objectionable content made available on our products by third parties, questions
           about our user data practices or the security of our platform, concerns about brand safety or potential legal liability, or
           uncertainty regarding their own legal and compliance obligations;

      •    the effectiveness of our ad targeting or degree to which users opt in or out of the use of data for ads, including as a result of
           product changes and controls that we have implemented or may implement in the future in connection with the GDPR,
           ePrivacy Directive, California Privacy Rights Act (CPRA), the Digital Markets Act (DMA), other laws, regulations, regulatory
           actions, or litigation, or otherwise, that impact our ability to use data for advertising purposes;

      •    the degree to which users cease or reduce the number of times they engage with our ads;

      •    changes in the way advertising on mobile devices or on personal computers is measured or priced;

      •    the success of technologies designed to block the display of ads or ad measurement tools;

      •    changes in the composition of our marketer base or our inability to maintain or grow our marketer base; and




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      •    the impact of macroeconomic and geopolitical conditions, whether in the advertising industry in general, or among specific
           types of marketers or within particular geographies (for example, the war in Ukraine and service restrictions imposed by the
           Russian government have adversely affected our advertising business in Europe and other regions).

         From time to time, certain of these factors have adversely affected our advertising revenue to varying degrees. The occurrence of
  any of these or other factors in the future could result in a reduction in demand for our ads, which may reduce the prices we receive for
  our ads, or cause marketers to stop advertising with us altogether, either of which would negatively affect our revenue and financial
  results.

  Our ad targeting and measurement tools incorporate data signals from user activity on websites and services that we do not control,
  as well as signals generated within our products, and changes to the regulatory environment, third-party mobile operating systems
  and browsers, and our own products have impacted, and we expect will continue to impact, the availability of such signals, which
  will adversely affect our advertising revenue.

          Our ad targeting and measurement tools rely on data signals from user activity on websites and services that we do not control,
  as well as signals generated within our products, in order to deliver relevant and effective ads to our users, and any changes in our
  ability to use such signals will adversely affect our business. For example, legislative and regulatory developments, such as the GDPR,
  ePrivacy Directive, and California Consumer Privacy Act (CCPA), as amended by the CPRA, have impacted, and we expect will
  continue to impact, our ability to use such signals in our ad products. In particular, we have seen increases in the number of users
  opting to control certain types of ad targeting in Europe following product changes implemented in connection with our GDPR and
  ePrivacy Directive compliance, and we have introduced product changes that limit data signal use for certain users in California
  following adoption of the CCPA. Regulatory guidance, decisions, or new legislation in these or other jurisdictions, such as the DMA,
  may require us to make additional changes to our products in the future that further reduce our ability to use these signals, which has
  occurred in the past. For example, we expect to implement additional changes in response to the December 2022 decision by the IDPC
  regarding the legal basis for our delivery of behavioral advertising in Europe.

         In addition, mobile operating system and browser providers, such as Apple and Google, have implemented product changes
  and/or announced future plans to limit the ability of websites and application developers to collect and use these signals to target and
  measure advertising. For example, in 2021, Apple made certain changes to its products and data use policies in connection with
  changes to its iOS operating system that reduce our and other iOS developers' ability to target and measure advertising, which has
  negatively impacted, and we expect will continue to negatively impact, the size of the budgets marketers are willing to commit to us
  and other advertising platforms. In addition, we have implemented, and may continue to implement, product changes that give users the
  ability to limit our use of such data signals to improve ads and other experiences on our products and services, including changes
  implemented in connection with the GDPR and other regulatory frameworks.

         These developments have limited our ability to target and measure the effectiveness of ads on our platform and negatively
  impacted our advertising revenue. For example, our advertising revenue has been negatively impacted by marketer reaction to targeting
  and measurement challenges associated with iOS changes beginning in 2021. If we are unable to mitigate these developments as they
  take further effect in the future, our targeting and measurement capabilities will be materially and adversely affected, which would in
  turn significantly impact our advertising revenue.

  Our user growth, engagement, and monetization on mobile devices depend upon effective operation with mobile operating systems,
  networks, technologies, products, and standards that we do not control.

         The substantial majority of our revenue is generated from advertising on mobile devices. There is no guarantee that popular
  mobile devices will continue to feature our products, or that mobile device users will continue to use our products rather than
  competing products. We are dependent on the interoperability of our products with popular mobile operating systems, networks,
  technologies, products, and standards that we do not control, such as the Android and iOS operating systems and mobile browsers.
  Changes, bugs, or technical issues in such systems, or changes in our relationships with mobile operating system partners, handset
  manufacturers, browser developers, or mobile carriers, or in the content or application of their terms of service or policies (which they
  have made in the past and continue to seek to implement) that degrade our products' functionality, reduce or eliminate our ability to
  update or distribute our products, give preferential treatment to competitive products, limit our ability to deliver, target, or measure the
  effectiveness of ads, or charge fees related to the distribution of our products or our delivery of ads have in the past adversely affected,
  and could in the future adversely affect,


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  the usage of our products and monetization on mobile devices. For example, Apple previously released an update to its Safari browser
  that limits the use of third-party cookies, which reduces our ability to provide the most relevant ads to our users and impacts
  monetization, and also released changes to iOS that limit our ability to target and measure ads effectively, while expanding their own
  advertising business. We expect that any similar changes to its, Google's, or other browser or mobile platforms will further limit our
  ability to target and measure the effectiveness of ads and impact monetization. Additionally, in order to deliver high quality mobile
  products, it is important that our products work well with a range of mobile technologies, products, systems, networks, and standards
  that we do not control, and that we have good relationships with handset manufacturers, mobile carriers, and browser developers. We
  may not be successful in maintaining or developing relationships with key participants in the mobile ecosystem or in developing
  products that operate effectively with these technologies, products, systems, networks, or standards. In the event that it is more difficult
  for our users to access and use our products on their mobile devices, or if our users choose not to access or use our products on their
  mobile devices or use mobile products that do not offer access to our products, our user growth and user engagement could be harmed.
  From time to time, we may also take actions regarding the distribution of our products or the operation of our business based on what
  we believe to be in our long-term best interests. Such actions may adversely affect our users and our relationships with the operators of
  mobile operating systems, handset manufacturers, mobile carriers, browser developers, other business partners, or advertisers, and there
  is no assurance that these actions will result in the anticipated long-term benefits. In the event that our users are adversely affected by
  these actions or if our relationships with such third parties deteriorate, our user growth, engagement, and monetization could be
  adversely affected and our business could be harmed. We have in the past experienced challenges in operating with mobile operating
  systems, networks, technologies, products, and standards that we do not control, and any such occurrences in the future may negatively
  impact our user growth, engagement, and monetization on mobile devices, which may in turn materially and adversely affect our
  business and financial results.

  Our new products and changes to existing products could fail to attract or retain users or generate revenue and profits, or otherwise
  adversely affect our business.

          Our ability to retain, increase, and engage our user base and to increase our revenue depends heavily on our ability to continue to
  evolve our existing products and to create successful new products, both independently and in conjunction with developers or other
  third parties. We may introduce significant changes to our existing products or acquire or introduce new and unproven products,
  including using technologies with which we have little or no prior development or operating experience. For example, we do not have
  significant experience with consumer hardware products or virtual or augmented reality technology, which may adversely affect our
  ability to successfully develop and market these products and technologies. We continue to incur substantial costs, and we may not be
  successful in generating profits, in connection with these efforts. We are also making significant investments in artificial intelligence
  (AI) initiatives, including to recommend relevant unconnected content across our products, enhance our advertising tools, and develop
  new product features using generative AI. These efforts, including the introduction of new products or changes to existing products,
  may result in new or enhanced governmental or regulatory scrutiny, litigation, ethical concerns, or other complications that could
  adversely affect our business, reputation, or financial results. We have also invested, and expect to continue to invest, significant
  resources in growing our messaging products to support increasing usage of such products. We have historically monetized messaging
  in only a limited fashion, and we may not be successful in our efforts to generate meaningful revenue or profits from messaging over
  the long term. In addition, we are moving forward with plans to implement end-to-end encryption across our messaging services, as
  well as facilitate cross-app communication between these platforms, which are subject to governmental and regulatory scrutiny in
  multiple jurisdictions. If our new products or changes to existing products fail to engage users, marketers, or developers, or if our
  business plans are unsuccessful, we may fail to attract or retain users or to generate sufficient revenue, operating margin, or other value
  to justify our investments, and our business may be adversely affected.

  We make product and investment decisions that may not prioritize short-term financial results and may not produce the long-term
  benefits that we expect.

          We frequently make product and investment decisions that may not prioritize short-term financial results if we believe that the
  decisions are consistent with our mission and benefit the aggregate user experience and will thereby improve our financial performance
  over the long term. For example, we have implemented, and we will continue to implement, changes to our user data practices. Some
  of these changes reduce our ability to effectively target ads, which has to some extent adversely affected, and will continue to adversely
  affect, our advertising business. For example, our Off-Facebook Activity tool enables users to place limits on our storage and use of
  information about their interactions with advertisers' apps and websites, which reduces our ability to deliver the most relevant and
  effective ads to our users. Similarly, from time to time we update our feed display and ranking algorithms or other product features to
  optimize the user experience, and these changes have had, and


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  may in the future have, the effect of reducing time spent and some measures of user engagement with our products, which could
  adversely affect our financial results. From time to time, we also change the size, frequency, or relative prominence of ads as part of our
  product and monetization strategies. In addition, we have made, and we expect to continue to make, other changes to our products
  which may adversely affect the distribution of content of publishers, marketers, and developers, and could reduce their incentive to
  invest in their efforts on our products. We also may introduce new features or other changes to existing products, or introduce new
  stand-alone products, that attract users away from properties, formats, or use cases where we have more proven means of monetization,
  such as our feed products. In addition, as we focus on growing users and engagement across our family of products, from time to time
  these efforts have reduced, and may in the future reduce, engagement with one or more products and services in favor of other products
  or services that we monetize less successfully or that are not growing as quickly. For example, we plan to continue to promote Reels,
  which we do not currently monetize at the same rate as our feed or Stories products. These decisions may adversely affect our business
  and results of operations and may not produce the long-term benefits that we expect.

  We may not be successful in our metaverse strategy and investments, which could adversely affect our business, reputation, or
  financial results.

          We believe the metaverse, an embodied internet where people have immersive experiences beyond two-dimensional screens, is
  the next evolution in social technology. In 2021, we announced a shift in our business and product strategy to focus on helping to bring
  the metaverse to life. We expect this will be a complex, evolving, and long-term initiative that will involve the development of new and
  emerging technologies, continued investment in infrastructure as well as privacy, safety, and security efforts, and collaboration with
  other companies, developers, partners, and other participants. However, the metaverse may not develop in accordance with our
  expectations, and market acceptance of features, products, or services we build for the metaverse is uncertain. We regularly evaluate
  our product roadmaps and make significant changes as our understanding of the technological challenges and market landscape and our
  product ideas and designs evolve. In addition, we have limited experience with consumer hardware products and virtual and augmented
  reality technology, which may enable other companies to compete more effectively than us. We may be unsuccessful in our research
  and product development efforts, including if we are unable to develop relationships with key participants in the metaverse or develop
  products that operate effectively with metaverse technologies, products, systems, networks, or standards. Our metaverse efforts may
  also divert resources and management attention from other areas of our business. We expect to continue to make significant
  investments in virtual and augmented reality and other technologies to support these efforts, and our ability to support these efforts is
  dependent on generating sufficient profits from other areas of our business. In addition, as our metaverse efforts evolve, we may be
  subject to a variety of existing or new laws and regulations in the United States and international jurisdictions, including in the areas of
  privacy, safety, competition, content regulation, consumer protection, and e-commerce, which may delay or impede the development of
  our products and services, increase our operating costs, require significant management time and attention, or otherwise harm our
  business. As a result of these or other factors, our metaverse strategy and investments may not be successful in the foreseeable future,
  or at all, which could adversely affect our business, reputation, or financial results.

  If we are not able to maintain and enhance our brands, our ability to expand our base of users, marketers, and developers may be
  impaired, and our business and financial results may be harmed.

         We believe that our brands have significantly contributed to the success of our business. We also believe that maintaining and
  enhancing our brands is critical to expanding our base of users, marketers, and developers. Many of our new users are referred by
  existing users. Maintaining and enhancing our brands will depend largely on our ability to continue to provide useful, reliable,
  trustworthy, and innovative products, which we may not do successfully. We may introduce new products or terms of service or
  policies that users do not like, which may negatively affect our brands. Additionally, the actions of our developers or advertisers may
  affect our brands if users do not have a positive experience using third-party applications integrated with our products or interacting
  with parties that advertise through our products. We will also continue to experience media, legislative, or regulatory scrutiny of our
  actions or decisions regarding user privacy, data use, encryption, content, product design, algorithms, advertising, competition, and
  other issues, including actions or decisions in connection with elections, the COVID-19 pandemic, or geopolitical events, which has in
  the past adversely affected, and may in the future adversely affect, our reputation and brands. For example, beginning in September
  2021, we became the subject of media, legislative, and regulatory scrutiny as a result of a former employee's allegations and release of
  internal company documents relating to, among other things, our algorithms, advertising and user metrics, and content enforcement
  practices, as well as misinformation and other undesirable activity on our platform, and user well-being. In addition, in March 2018, we
  announced developments regarding the misuse of certain data by a developer that shared such data with third parties in




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  violation of our terms and policies. We also may fail to respond expeditiously or appropriately to the sharing of objectionable content
  on our services or objectionable practices by advertisers or developers, or to otherwise enforce our policies or address user concerns,
  which has occurred in the past and which could erode confidence in our brands. Our brands may also be negatively affected by the
  actions of users that are deemed to be hostile or inappropriate to other users, by the actions of users acting under false or inauthentic
  identities, by the use of our products or services to disseminate information that is deemed to be misleading (or intended to manipulate
  opinions), by perceived or actual efforts by governments to obtain access to user information for security-related purposes or to censor
  certain content on our platform, by the use of our products or services for illicit or objectionable ends, including, for example, any such
  actions around the pandemic, geopolitical events, or elections in the United States and around the world, by decisions or
  recommendations regarding content on our platform from the independent Oversight Board, by research or media reports concerning
  the perceived or actual impacts of our products or services on user well-being, or by our decisions regarding whether to remove content
  or suspend participation on our platform by persons who violate our community standards or terms of service. Maintaining and
  enhancing our brands will require us to make substantial investments and these investments may not be successful. Certain of our
  actions, such as the foregoing matter regarding developer misuse of data and concerns around our handling of political speech and
  advertising, hate speech, and other content, as well as user well-being issues, have eroded confidence in our brands and may continue
  to do so in the future. If we fail to successfully promote and maintain our brands or if we incur excessive expenses in this effort, our
  business and financial results may be adversely affected.

  We may not be able to continue to successfully maintain or grow usage of and engagement with applications that integrate with our
  products.

         We have made and are continuing to make investments to enable developers to build, grow, and monetize applications that
  integrate with our products. Such existing and prospective developers may not be successful in building, growing, or monetizing
  applications that create and maintain user engagement. Additionally, developers may choose to build on other platforms, including
  platforms controlled by third parties, rather than building products that integrate with our products. We are continuously seeking to
  balance the distribution objectives of our developers with our desire to provide an optimal user experience, and we may not be
  successful in achieving a balance that continues to attract and retain such developers. For example, from time to time, we have taken
  actions to reduce the volume of communications from these developers to users on our products with the objective of enhancing the
  user experience, and such actions have reduced distribution from, user engagement with, and our monetization opportunities from,
  applications integrated with our products. In addition, as part of our efforts related to privacy, safety, and security, we conduct
  investigations and audits of platform applications from time to time, and we also have announced several product changes that restrict
  developer access to certain user data. In some instances, these actions, as well as other actions to enforce our policies applicable to
  developers, have adversely affected, or will adversely affect, our relationships with developers. If we are not successful in our efforts to
  maintain or grow the number of developers that choose to build products that integrate with our products or if we are unable to
  continue to build and maintain good relations with such developers, our user growth and user engagement and our financial results may
  be adversely affected.

                                    Risks Related to Our Business Operations and Financial Results

  Our business is highly competitive. Competition presents an ongoing threat to the success of our business.

          We compete with companies providing connection, sharing, discovery, and communication products and services to users online,
  as well as companies that sell advertising to businesses looking to reach consumers and/or develop tools and systems for managing and
  optimizing advertising campaigns. We face significant competition in every aspect of our business, including, but not limited to,
  companies that facilitate the ability of users to create, share, communicate, and discover content and information online or enable
  marketers to reach their existing or prospective audiences. We compete to attract, engage, and retain people who use our products, to
  attract and retain businesses that use our free or paid business and advertising services, and to attract and retain developers who build
  compelling applications that integrate with our products. We also compete with companies that develop and deliver consumer hardware
  and virtual and augmented reality products and services. As we introduce or acquire new products, as our existing products evolve, or
  as other companies introduce new products and services, including as part of efforts to develop the metaverse or innovate through the
  application of new technologies such as artificial intelligence, we may become subject to additional competition.




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         Some of our current and potential competitors may have greater resources, experience, or stronger competitive positions in
  certain product segments, geographic regions, or user demographics than we do. For example, some of our competitors may be
  domiciled in different countries and subject to political, legal, and regulatory regimes that enable them to compete more effectively
  than us. These factors may allow our competitors to respond more effectively than us to new or emerging technologies and changes in
  market conditions. We believe that some users, particularly younger users, are aware of and actively engaging with other products and
  services similar to, or as a substitute for, our products and services, and we believe that some users have reduced their use of and
  engagement with our products and services in favor of these other products and services. In the event that users increasingly engage
  with other products and services, we may experience a decline in use and engagement in key user demographics or more broadly, in
  which case our business would likely be harmed.

         Our competitors may develop products, features, or services that are similar to ours or that achieve greater acceptance, may
  undertake more far-reaching and successful product development efforts or marketing campaigns, or may adopt more aggressive
  pricing policies. Some competitors may gain a competitive advantage against us in areas where we operate, including: by making
  acquisitions; by limiting our ability to deliver, target, or measure the effectiveness of ads; by imposing fees or other charges related to
  our delivery of ads; by making access to our products more difficult or impossible; by making it more difficult to communicate with
  our users; or by integrating competing platforms, applications, or features into products they control such as mobile device operating
  systems, search engines, browsers, or e-commerce platforms. For example, each of Apple and Google have integrated competitive
  products with iOS and Android, respectively. In addition, Apple has released changes to iOS that limit our ability, and the ability of
  others in the digital advertising industry, to target and measure ads effectively. As a result, our competitors may, and in some cases will,
  acquire and engage users or generate advertising or other revenue at the expense of our own efforts, which would negatively affect our
  business and financial results. In addition, from time to time, we may take actions in response to competitive threats, but we cannot
  assure you that these actions will be successful or that they will not negatively affect our business and financial results.

          We believe that our ability to compete effectively depends upon many factors both within and beyond our control, including:

      •     the popularity, usefulness, ease of use, performance, and reliability of our products compared to our competitors' products;

      •     the size and composition of our user base;

      •     the engagement of users with our products and competing products;

      •     our ability to attract and retain businesses who use our free or paid business and advertising services;

      •     the timing and market acceptance of products, including developments and enhancements to our or our competitors' products;

      •     our safety and security efforts and our ability to protect user data and to provide users with control over their data;

      •     our ability to distribute our products to new and existing users;

      •     our ability to monetize our products;

      •     the frequency, size, format, quality, and relative prominence of the ads displayed by us or our competitors;

      •     customer service and support efforts;

      •     marketing and selling efforts, including our ability to measure the effectiveness of our ads and to provide marketers with a
            compelling return on their investments;

      •     our ability to establish and maintain developers' interest in building applications that integrate with our products;

      •     our ability to establish and maintain publisher interest in integrating their content with our products;




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      •    changes mandated by legislation, regulatory authorities, or litigation, some of which may have a disproportionate effect on us;

      •    acquisitions or consolidation within our industry, which may result in more formidable competitors;

      •    our ability to attract, retain, and motivate talented employees, particularly software engineers, designers, and product
           managers;

      •    our ability to cost-effectively manage and grow our operations; and

      •    our reputation and brand strength relative to those of our competitors.

        If we are not able to compete effectively, our user base, level of user engagement, and ability to deliver ad impressions may
  decrease, we may become less attractive to developers and marketers, and our revenue and results of operations may be materially and
  adversely affected.

  Our financial results will fluctuate from quarter to quarter and are difficult to predict.

         Our quarterly financial results have fluctuated in the past and will fluctuate in the future. Additionally, we have a limited
  operating history with the current scale of our business, which makes it difficult to forecast our future results. As a result, you should
  not rely upon our past quarterly financial results as indicators of future performance. You should take into account the risks and
  uncertainties frequently encountered by companies in rapidly evolving markets. Our financial results in any given quarter can be
  influenced by numerous factors, many of which we are unable to predict or are outside of our control, including:

      •    our ability to maintain and grow our user base and user engagement, particularly for our products that deliver ad impressions;

      •    our ability to attract and retain marketers in a particular period;

      •    our ability to recognize revenue or collect payments from marketers in a particular period;

      •    fluctuations in spending by our marketers due to seasonality, such as historically strong spending in the fourth quarter of each
           year, episodic regional or global events, including the COVID-19 pandemic, or other factors;

      •    the frequency, prominence, size, format, and quality of ads shown to users;

      •    the success of technologies designed to block the display of ads;

      •    changes to the content or application of third-party policies that limit our ability to deliver, target, or measure the effectiveness
           of advertising, including changes by mobile operating system and browser providers such as Apple and Google;

      •    the pricing of our ads and other products;

      •    the diversification and growth of revenue sources beyond advertising on Facebook and Instagram;

      •    our ability to generate revenue from Payments, or the sale of our consumer hardware products or other products we may
           introduce in the future;

      •    changes to existing products or services or the development and introduction of new products or services by us or our
           competitors;

      •    user behavior or product changes that may reduce traffic to features or products that we successfully monetize;



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      •    increases in marketing, sales, and other operating expenses that we will incur to grow and expand our operations and to remain
           competitive, including costs related to our data centers and technical infrastructure;

      •    costs related to our privacy, safety, security, and content review efforts, including as a result of implementing changes to our
           practices, whether voluntarily, in connection with laws, regulations, regulatory actions, or decisions or recommendations from
           the independent Oversight Board, or otherwise;

      •    costs and expenses related to the development, manufacturing, and delivery of our consumer hardware products;

      •    our ability to maintain gross margins and operating margins;

      •    costs related to acquisitions, including costs associated with amortization and additional investments to develop the acquired
           technologies;

      •    charges associated with impairment or abandonment of any assets on our balance sheet, including as a result of changes to our
           real property lease arrangements and data center assets;

      •    our ability to obtain equipment, components, and labor for our data centers and other technical infrastructure in a timely and
           cost-effective manner;

      •    system failures or outages or government blocking that prevent us from serving ads for any period of time;

      •    breaches of security or privacy, and the costs associated with any such breaches and remediation;

      •    changes in the manner in which we distribute our products or inaccessibility of our products due to third-party actions;

      •    fees paid to third parties for content or the distribution of our products;

      •    refunds or other concessions provided to advertisers;

      •    share-based compensation expense, including acquisition-related expense;

      •    adverse litigation judgments, settlements, or other litigation-related costs;

      •    changes in the legislative or regulatory environment, including with respect to privacy, data protection, and content, or actions
           by governments or regulators, including fines, orders, or consent decrees;

      •    the overall tax rate for our business, which is affected by the mix of income we earn in the U.S. and in jurisdictions with
           different tax rates, the effects of share-based compensation, the effects of integrating intellectual property from acquisitions,
           the effects of changes in our business or structure, and the effects of discrete items such as legal and tax settlements and tax
           elections;

      •    the impact of changes in tax laws or judicial or regulatory interpretations of tax laws, which are recorded in the period such
           laws are enacted or interpretations are issued, and may significantly affect the effective tax rate of that period;

      •    tax obligations that may arise from resolutions of tax examinations, including the examination we are currently under by the
           Internal Revenue Service (IRS), that materially differ from the amounts we have anticipated;

      •    fluctuations in currency exchange rates and changes in the proportion of our revenue and expenses denominated in foreign
           currencies;

      •    trading activity in our share repurchase program;


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      •    fluctuations in the market values of our investments in marketable securities, in the valuation of our non-marketable equity
           securities, and in interest rates;

      •    the incurrence of indebtedness or our ability to refinance existing indebtedness on acceptable terms;

      •    changes in U.S. generally accepted accounting principles; and

      •    changes in regional or global business, macroeconomic, or geopolitical conditions, including as a result of the COVID-19
           pandemic, which may impact the other factors described above.

  Unfavorable media coverage negatively affects our business from time to time.

           We receive a high degree of media coverage around the world. Unfavorable publicity regarding, for example, our privacy
  practices, advertising policies, product decisions, product quality, litigation or regulatory activity, government surveillance, the actions
  of our advertisers, the actions of our developers whose products are integrated with our products, the use of our products or services for
  illicit or objectionable ends, the substance or enforcement of our community standards, terms of service, or other policies, the actions of
  our users, the quality and integrity of content shared on our platform, the perceived or actual impacts of our products or services on
  user well-being, or the actions of other companies that provide similar services to ours, has in the past, and could in the future,
  adversely affect our reputation. For example, we have been the subject of significant media coverage involving concerns around our
  handling of political speech and advertising, hate speech, and other content, as well as user well-being issues, and we continue to
  receive negative publicity related to these topics. Beginning in September 2021, we became the subject of significant media coverage
  as a result of allegations and the release of internal company documents by a former employee. In addition, we have been, and may in
  the future be, subject to negative publicity in connection with our handling of misinformation and other illicit or objectionable use of
  our products or services, including in connection with the COVID-19 pandemic, geopolitical events, and elections in the United States
  and around the world. Any such negative publicity could have an adverse effect on the size, engagement, and loyalty of our user base
  and marketer demand for advertising on our products, which could result in decreased revenue and adversely affect our business and
  financial results, and we have experienced such adverse effects to varying degrees from time to time.

  The COVID-19 pandemic has previously had, and may in the future have, a significant adverse impact on our advertising revenue
  and also exposes our business to other risks.

          We are subject to public health crises such as the COVID-19 pandemic, which has previously significantly impacted, and may in
  the future impact, our business and results of operations. For example, the COVID-19 pandemic resulted in authorities implementing
  numerous preventative measures from time to time to contain or mitigate the outbreak of the virus, such as travel bans and restrictions,
  limitations on business activity, quarantines, and shelter-in-place orders, which have previously caused, and may in the future cause,
  business slowdowns or shutdowns in certain affected countries and regions. These developments led to volatility in the demand for and
  pricing of our advertising services at various points throughout the pandemic, and we may experience similar effects in the future. In
  addition to the impact on our advertising business, the pandemic exposes our business, operations, and workforce to a variety of other
  risks, including:

      •    volatility in the size of our user base and user engagement, particularly for our messaging products, whether as a result of
           shelter-in-place measures or other factors;

      •    delays in product development or releases, or reductions in manufacturing production and sales of consumer hardware, as a
           result of inventory shortages, supply chain or labor shortages;

      •    increased misuse of our products and services or user data by third parties, including improper advertising practices or other
           activity inconsistent with our terms, contracts, or policies, misinformation or other illicit or objectionable material on our
           platforms, election interference, or other undesirable activity;

      •    significant volatility and disruption of global financial markets, which could cause fluctuations in currency exchange rates or
           negatively impact our ability to access capital in the future;



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      •    illnesses to key employees, or a significant portion of our workforce, which may result in inefficiencies, delays, and
           disruptions in our business; and




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      •    increased volatility and uncertainty in the financial projections we use as the basis for estimates used in our financial
           statements.

         Any of these developments may adversely affect our business, harm our reputation, or result in legal or regulatory actions
  against us.

  Our costs are continuing to grow, and some of our investments, particularly our investments in virtual and augmented reality, have
  the effect of reducing our operating margin and profitability. If our investments are not successful longer-term, our business and
  financial performance will be harmed.

          Operating our business is costly, and we expect our expenses to continue to increase in the future as we broaden our user base, as
  users increase the amount and types of content they consume and the data they share with us, for example with respect to video, as we
  develop and implement new products, as we market new and existing products and promote our brands, as we continue to expand our
  technical infrastructure, as we continue to invest in new and unproven technologies, including artificial intelligence and machine
  learning, and as we continue our efforts to focus on privacy, safety, security, and content review. We have recently undertaken cost
  reduction measures in light of a more challenging operating environment, which may adversely affect these or other business
  initiatives, and some of these measures have involved, and may in the future involve, up-front charges and outlays of cash to reduce
  certain longer-term expenses. In addition, from time to time we are subject to settlements, judgments, fines, or other monetary penalties
  in connection with legal and regulatory developments that may be material to our business. We are also continuing to increase our
  investments in new platforms and technologies, including as part of our efforts related to building the metaverse. Some of these
  investments, particularly our significant investments in virtual and augmented reality, have generated only limited revenue and reduced
  our operating margin and profitability, and we expect the adverse financial impact of such investments to continue for the foreseeable
  future. For example, our investments in Reality Labs reduced our 2022 overall operating profit by approximately $13.72 billion, and
  we expect our investments to increase in the future. If our investments are not successful longer-term, our business and financial
  performance will be harmed.

  We plan to continue to make acquisitions and pursue other strategic transactions, which could impact our financial condition or
  results of operations and may adversely affect the price of our common stock.

         As part of our business strategy, we have made and intend to continue to make acquisitions to add specialized employees and
  complementary companies, products, or technologies, and from time to time may enter into other strategic transactions such as
  investments and joint ventures. We may not be able to find suitable acquisition candidates, and we may not be able to complete
  acquisitions or other strategic transactions on favorable terms, or at all, including as a result of regulatory challenges. For example, in
  2022, the United Kingdom Competition and Markets Authority directed us to divest our Giphy acquisition. In addition, in 2022, the
  FTC filed lawsuits against us to enjoin our proposed acquisition of Within Unlimited. In some cases, the costs of such acquisitions or
  other strategic transactions may be substantial, and there is no assurance that we will realize expected synergies and potential
  monetization opportunities for our acquisitions or a favorable return on investment for our strategic investments.

         We may pay substantial amounts of cash or incur debt to pay for acquisitions or other strategic transactions, which has occurred
  in the past and could adversely affect our liquidity. The incurrence of indebtedness also results in increased fixed obligations and
  increased interest expense, and could also include covenants or other restrictions that would impede our ability to manage our
  operations. We may also issue equity securities to pay for acquisitions and we regularly grant RSUs to retain the employees of acquired
  companies, which could increase our expenses, adversely affect our financial results, and result in dilution to our stockholders. In
  addition, any acquisitions or other strategic transactions we announce could be viewed negatively by users, marketers, developers, or
  investors, which may adversely affect our business or the price of our Class A common stock.

         We may also discover liabilities, deficiencies, or other claims associated with the companies or assets we acquire that were not
  identified in advance, which may result in significant unanticipated costs. The effectiveness of our due diligence review and our ability
  to evaluate the results of such due diligence are dependent upon the accuracy and completeness of statements and disclosures made or
  actions taken by the companies we acquire or their representatives, as well as the limited amount of time in which acquisitions are
  executed. In addition, we may fail to accurately forecast the financial impact of an acquisition or other strategic transaction, including
  tax and accounting charges. Acquisitions or other strategic transactions



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  may also result in our recording of significant additional expenses to our results of operations and recording of substantial finite-lived
  intangible assets on our balance sheet upon closing. Any of these factors may adversely affect our financial condition or results of
  operations.

  We may not be able to successfully integrate our acquisitions, and we incur significant costs to integrate and support the companies
  we acquire.

         The integration of acquisitions requires significant time and resources, particularly with respect to companies that have
  significant operations or that develop products where we do not have prior experience, and we may not manage these processes
  successfully. We continue to make substantial investments of resources to support our acquisitions, which has in the past resulted, and
  we expect will in the future result, in significant ongoing operating expenses and the diversion of resources and management attention
  from other areas of our business. We cannot assure you that these investments will be successful. If we fail to successfully integrate the
  companies we acquire, we may not realize the benefits expected from the transaction and our business may be harmed.

  Our business is dependent on our ability to maintain and scale our technical infrastructure, and any significant disruption in our
  service could damage our reputation, result in a potential loss of users and engagement, and adversely affect our financial results.

          Our reputation and ability to attract, retain, and serve our users is dependent upon the reliable performance of our products and
  our underlying technical infrastructure. We have in the past experienced, and may in the future experience, interruptions in the
  availability or performance of our products from time to time. Our systems may not be adequately designed or may not operate with the
  reliability and redundancy necessary to avoid performance delays or outages that could be harmful to our business. If our products are
  unavailable when users attempt to access them, or if they do not load as quickly as expected, users may not use our products as often in
  the future, or at all, and our ability to serve ads may be disrupted, any of which could adversely affect our business and financial
  performance. We have experienced such issues to varying degrees from time to time. For example, in October 2021, a combination of
  an error and a bug resulted in an approximately six-hour outage of our services. In addition, as the amount and types of information
  shared on our products continue to grow and evolve, as the usage patterns of our global community continue to evolve, and as our
  internal operational demands continue to grow, we will need an increasing amount of technical infrastructure, including network
  capacity and computing power, to continue to satisfy our needs. It is possible that we may fail to continue to effectively scale and grow
  our technical infrastructure to accommodate these increased demands, which may adversely affect our user engagement and advertising
  revenue. In addition, our business may be subject to interruptions, delays, or failures resulting from earthquakes, adverse weather
  conditions, other natural disasters, power loss, terrorism, geopolitical conflict, other physical security threats, cyber-attacks, or other
  catastrophic events. Global climate change could result in certain types of natural disasters occurring more frequently or with more
  intense effects. Any such events may result in users being subject to service disruptions or outages and we may not be able to recover
  our technical infrastructure and user data in a timely manner to restart or provide our services, which may adversely affect our financial
  results. We also have been, and may in the future be, subject to increased energy and/or other costs to maintain the availability or
  performance of our products in connection with any such events.

         A substantial portion of our network infrastructure is provided by third parties. Any disruption or failure in the services we
  receive from these providers could harm our ability to handle existing or increased traffic and could significantly harm our business.
  Any financial or other difficulties these providers face may adversely affect our business, and we exercise little control over these
  providers, which increases our vulnerability to problems with the services they provide. Due to the effects of the COVID-19 pandemic,
  we have experienced, and expect to continue to experience, supply and labor shortages and other disruptions in logistics and the supply
  chain for our technical infrastructure. As a result, we have had to make certain changes to our procurement practices, and in the future
  we may not be able to procure sufficient components, equipment, or services from third parties to satisfy our needs, or we may be
  required to procure such components, equipment, or services on unfavorable terms.

        Any of these developments may result in interruptions in the availability or performance of our products, require unfavorable
  changes to existing products, delay the introduction of future products, or otherwise adversely affect our business and financial results.




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  We could experience unforeseen difficulties in building and operating key portions of our technical infrastructure.

          We have designed and built our own data centers and key portions of our technical infrastructure through which we serve our
  products, and we plan to continue to significantly expand the size of our infrastructure primarily through data centers, subsea and
  terrestrial fiber optic cable systems, and other projects. The infrastructure expansion we are undertaking is complex and involves
  projects in multiple locations around the world, including in emerging markets that expose us to increased risks relating to anti-
  corruption compliance and political challenges, among others. We have in the past suspended, and may in the future suspend, certain of
  these projects as a result of the COVID-19 pandemic or other factors. Additional unanticipated delays or disruptions in the completion
  of these projects, including due to any shortage of labor necessary in building portions of such projects, or availability of components,
  challenges in obtaining required government or regulatory approvals, or other geopolitical challenges or actions by governments,
  whether as a result of the pandemic, trade disputes, or otherwise, may lead to increased project costs, operational inefficiencies,
  interruptions in the delivery or degradation of the quality or reliability of our products, or impairment of assets on our balance sheet. In
  addition, there may be issues related to this infrastructure that are not identified during the testing phases of design and implementation,
  which may only become evident after we have started to fully utilize the underlying equipment, that could further degrade the user
  experience or increase our costs. Further, much of our technical infrastructure is located outside the United States, and action by a
  foreign government, or our response to such government action, has resulted in the past, and may result in the future, in the impairment
  of a portion of our technical infrastructure, which may interrupt the delivery or degrade the quality or reliability of our products and
  lead to a negative user experience or increase our costs. Any of these events could adversely affect our business, reputation, or financial
  results.

  Real or perceived inaccuracies in our community and other metrics may harm our reputation and negatively affect our business.

         The numbers for our key metrics, which include our Family metrics (DAP, MAP, and average revenue per person (ARPP)) and
  Facebook metrics (DAUs, MAUs, and average revenue per user (ARPU)), are calculated using internal company data based on the
  activity of user accounts. While these numbers are based on what we believe to be reasonable estimates of our user base for the
  applicable period of measurement, there are inherent challenges in measuring usage of our products across large online and mobile
  populations around the world. The methodologies used to measure these metrics require significant judgment and are also susceptible
  to algorithm or other technical errors. In addition, we are continually seeking to improve our estimates of our user base, and such
  estimates may change due to improvements or changes in our methodology. We regularly review our processes for calculating these
  metrics, and from time to time we discover inaccuracies in our metrics or make adjustments to improve their accuracy, which can result
  in adjustments to our historical metrics. Our ability to recalculate our historical metrics may be impacted by data limitations or other
  factors that require us to apply different methodologies for such adjustments. We generally do not intend to update previously disclosed
  Family metrics for any such inaccuracies or adjustments that are within the error margins disclosed below.

         In addition, our Family metrics and Facebook metrics estimates will differ from estimates published by third parties due to
  differences in methodology.

         Many people in our community have user accounts on more than one of our products, and some people have multiple user
  accounts within an individual product. Accordingly, for our Family metrics, we do not seek to count the total number of user accounts
  across our products because we believe that would not reflect the actual size of our community. Rather, our Family metrics represent
  our estimates of the number of unique people using at least one of Facebook, Instagram, Messenger, and WhatsApp. We do not require
  people to use a common identifier or link their accounts to use multiple products in our Family, and therefore must seek to attribute
  multiple user accounts within and across products to individual people. To calculate these metrics, we rely upon complex techniques,
  algorithms and machine learning models that seek to count the individual people behind user accounts, including by matching multiple
  user accounts within an individual product and across multiple products when we believe they are attributable to a single person, and
  counting such group of accounts as one person. These techniques and models require significant judgment, are subject to data and other
  limitations discussed below, and inherently are subject to statistical variances and uncertainties. We estimate the potential error in our
  Family metrics primarily based on user survey data, which itself is subject to error as well. While we expect the error margin for our
  Family metrics to vary from period to period, we estimate that such margin generally will be approximately 3% of our worldwide MAP.
  At our scale, it is very difficult to attribute multiple user accounts within and across products to individual people, and it is possible that
  the actual numbers of unique people using our products may vary significantly from our estimates,




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  potentially beyond our estimated error margins. As a result, it is also possible that our Family metrics may indicate changes or trends in
  user numbers that do not match actual changes or trends.

         To calculate our estimates of Family DAP and MAP, we currently use a series of machine learning models that are developed
  based on internal reviews of limited samples of user accounts and calibrated against user survey data. We apply significant judgment in
  designing these models and calculating these estimates. For example, to match user accounts within individual products and across
  multiple products, we use data signals such as similar device information, IP addresses, and user names. We also calibrate our models
  against data from periodic user surveys of varying sizes and frequency across our products, which are inherently subject to error. The
  timing and results of such user surveys have in the past contributed, and may in the future contribute, to changes in our reported Family
  metrics from period to period. In addition, our data limitations may affect our understanding of certain details of our business and
  increase the risk of error for our Family metrics estimates. Our techniques and models rely on a variety of data signals from different
  products, and we rely on more limited data signals for some products compared to others. For example, as a result of limited visibility
  into encrypted products, we have fewer data signals from WhatsApp user accounts and primarily rely on phone numbers and device
  information to match WhatsApp user accounts with accounts on our other products. Similarly, although Messenger Kids users are
  included in our Family metrics, we do not seek to match their accounts with accounts on our other applications for purposes of
  calculating DAP and MAP. Any loss of access to data signals we use in our process for calculating Family metrics, whether as a result
  of our own product decisions, actions by third-party browser or mobile platforms, regulatory or legislative requirements, or other
  factors, also may impact the stability or accuracy of our reported Family metrics, as well as our ability to report these metrics at all. Our
  estimates of Family metrics also may change as our methodologies evolve, including through the application of new data signals or
  technologies, product changes, or other improvements in our user surveys, algorithms, or machine learning that may improve our
  ability to match accounts within and across our products or otherwise evaluate the broad population of our users. In addition, such
  evolution may allow us to identify previously undetected violating accounts (as defined below).

         We regularly evaluate our Family metrics to estimate the percentage of our MAP consisting solely of "violating" accounts. We
  define "violating" accounts as accounts which we believe are intended to be used for purposes that violate our terms of service,
  including bots and spam. In the fourth quarter of 2022, we estimated that approximately 3% of our worldwide MAP consisted solely of
  violating accounts. Such estimation is based on an internal review of a limited sample of accounts, and we apply significant judgment
  in making this determination. For example, we look for account information and behaviors associated with Facebook and Instagram
  accounts that appear to be inauthentic to the reviewers, but we have limited visibility into WhatsApp user activity due to encryption. In
  addition, if we believe an individual person has one or more violating accounts, we do not include such person in our violating accounts
  estimation as long as we believe they have one account that does not constitute a violating account. From time to time, we disable
  certain user accounts, make product changes, or take other actions to reduce the number of violating accounts among our users, which
  may also reduce our DAP and MAP estimates in a particular period. We intend to disclose our estimates of the percentage of our MAP
  consisting solely of violating accounts on an annual basis. Violating accounts are very difficult to measure at our scale, and it is
  possible that the actual number of violating accounts may vary significantly from our estimates.

         We also regularly evaluate our Facebook metrics to estimate the number of "duplicate" and "false" accounts among our MAUs.
  A duplicate account is one that a user maintains in addition to his or her principal account. We divide "false" accounts into two
  categories: (1) user-misclassified accounts, where users have created personal profiles for a business, organization, or non-human entity
  such as a pet (such entities are permitted on Facebook using a Page rather than a personal profile under our terms of service); and
  (2) violating accounts, which represent user profiles that we believe are intended to be used for purposes that violate our terms of
  service, such as bots and spam. The estimates of duplicate and false accounts are based on an internal review of a limited sample of
  accounts, and we apply significant judgment in making this determination. For example, to identify duplicate accounts we use data
  signals such as identical IP addresses and similar user names, and to identify false accounts we look for names that appear to be fake or
  other behavior that appears inauthentic to the reviewers. Any loss of access to data signals we use in this process, whether as a result of
  our own product decisions, actions by third-party browser or mobile platforms, regulatory or legislative requirements, or other factors,
  also may impact the stability or accuracy of our estimates of duplicate and false accounts. Our estimates also may change as our
  methodologies evolve, including through the application of new data signals or technologies or product changes that may allow us to
  identify previously undetected duplicate or false accounts and may improve our ability to evaluate a broader population of our users.
  Duplicate and false accounts are very difficult to measure at our scale, and it is possible that the actual number of duplicate and false
  accounts may vary significantly from our estimates.




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        In the fourth quarter of 2022, we estimated that duplicate accounts may have represented approximately 11% of our worldwide
  MAUs. We believe the percentage of duplicate accounts is meaningfully higher in developing markets such as the Philippines and
  Vietnam, as compared to more developed markets. In the fourth quarter of 2022, we estimated that false accounts may have represented
  approximately 4-5% of our worldwide MAUs. Our estimation of false accounts can vary as a result of episodic spikes in the creation of
  such accounts, which we have seen originate more frequently in specific countries such as Indonesia, Nigeria, and Vietnam. From time
  to time, we disable certain user accounts, make product changes, or take other actions to reduce the number of duplicate or false
  accounts among our users, which may also reduce our DAU and MAU estimates in a particular period. We intend to disclose our
  estimates of the number of duplicate and false accounts among our MAUs on an annual basis.

         Other data limitations also may affect our understanding of certain details of our business. For example, while user-provided
  data indicates a decline in usage among younger users, this age data may be unreliable because a disproportionate number of our
  younger users register with an inaccurate age. Accordingly, our understanding of usage by age group may not be complete.

         In addition, our data regarding the geographic location of our users is estimated based on a number of factors, such as the user's
  IP address and self-disclosed location. These factors may not always accurately reflect the user's actual location. For example, a user
  may appear to be accessing Facebook from the location of the proxy server that the user connects to rather than from the user's actual
  location. The methodologies used to measure our metrics are also susceptible to algorithm or other technical errors, and our estimates
  for revenue by user location and revenue by user device are also affected by these factors.

         In addition, from time to time we provide, or rely on, certain other metrics and estimates, including those relating to the reach
  and effectiveness of our ads. Many of our metrics involve the use of estimations and judgments, and our metrics and estimates are
  subject to software bugs, inconsistencies in our systems, and human error. Such metrics and estimates also change from time to time
  due to improvements or changes in our terminology or methodology, including as a result of loss of access to data signals we use in
  calculating such metrics and estimates. We have in the past been, and may in the future be, subject to litigation as well as marketer,
  regulatory, and other inquiries regarding the accuracy of such metrics and estimates. Where marketers, developers, or investors do not
  perceive our metrics or estimates to be accurate, or where we discover material inaccuracies in our metrics or estimates, we may be
  subject to liability, our reputation may be harmed, and marketers and developers may be less willing to allocate their budgets or
  resources to our products that deliver ad impressions, which could negatively affect our business and financial results.

  We cannot assure you that we will effectively manage our scale.

          Our employee headcount and the scale and complexity of our business have increased significantly over time. The scale of our
  business and breadth of our products create significant challenges for our management, operational, and financial resources, including
  managing multiple relationships with users, marketers, developers, and other third parties, and maintaining information technology
  systems and internal controls and procedures that support the scale and complexity of our business. In addition, some members of our
  management do not have significant experience managing a large global business operation, so our management may not be able to
  manage our scale effectively. To effectively manage our scale, we must maintain, and continue to adapt, our operational, financial, and
  management processes and systems, manage our headcount and facilities, and effectively train and manage our personnel. Many of our
  personnel work remotely, which may lead to challenges in productivity and collaboration. In addition, from time to time, we implement
  organizational changes to pursue greater efficiency and realign our business and strategic priorities. For example, in 2022, we
  announced a layoff of approximately 11,000 employees and initiated several measures to scale down our office facilities. As our
  organization continues to evolve, and we are required to implement and adapt complex organizational management structures, we may
  find it difficult to maintain the benefits of our corporate culture, including our ability to quickly develop and launch new and innovative
  products. This could negatively affect our business performance.

  We have significant international operations and plan to continue expanding our operations abroad where we have more limited
  operating experience, and this may subject us to increased business, economic, and legal risks that could affect our financial
  results.

         We have significant international operations and plan to continue the international expansion of our business operations and the
  translation of our products. We currently make Facebook available in more than 100 different languages,




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  and we have offices or data centers in approximately 40 different countries. We may enter new international markets where we have
  limited or no experience in marketing, selling, and deploying our products. Our products are generally available globally, but some or
  all of our products or functionality may not be available in certain markets due to legal and regulatory complexities. For example,
  several of our products are not generally available in China. We also outsource certain operational functions to third parties globally. If
  we fail to deploy, manage, or oversee our international operations successfully, our business may suffer. In addition, we are subject to a
  variety of risks inherent in doing business internationally, including:

      •    political, social, or economic instability;

      •    risks related to legal, regulatory, and other government scrutiny applicable to U.S. companies with sales and operations in
           foreign jurisdictions, including with respect to privacy, tax, law enforcement, content, trade compliance, supply chain,
           competition, consumer protection, intellectual property, environmental, health and safety, licensing, and infrastructure matters;

      •    potential damage to our brand and reputation due to compliance with local laws, including potential censorship or
           requirements to provide user information to local authorities;

      •    enhanced difficulty in reviewing content on our platform and enforcing our community standards across different languages
           and countries;

      •    fluctuations in currency exchange rates and compliance with currency controls;

      •    foreign exchange controls and tax and other regulations and orders that might prevent us from repatriating cash earned in
           countries outside the United States or otherwise limit our ability to move cash freely, and impede our ability to invest such
           cash efficiently;

      •    higher levels of credit risk and payment fraud;

      •    enhanced difficulties of integrating any foreign acquisitions;

      •    burdens of complying with a variety of foreign laws, including laws related to taxation, content removal, content moderation,
           data localization, data protection, e-commerce and payments, and regulatory oversight;

      •    reduced protection for intellectual property rights in some countries;

      •    difficulties in staffing, managing, and overseeing global operations and the increased travel, infrastructure, and legal
           compliance costs associated with multiple international locations, including difficulties arising from personnel working
           remotely;

      •    compliance with statutory equity requirements and management of tax consequences; and

      •    geopolitical events affecting us, our marketers or our industry, including trade disputes, armed conflicts, and pandemics.

         In addition, we must manage the potential conflicts between locally accepted business practices in any given jurisdiction and our
  obligations to comply with laws and regulations, including anti-corruption laws or regulations applicable to us, such as the U.S.
  Foreign Corrupt Practices Act and the U.K. Bribery Act 2010. We also must manage our obligations to comply with laws and
  regulations related to import and export controls, trade restrictions, and sanctions, including regulations established by the U.S. Office
  of Foreign Assets Control. Government agencies and authorities have a broad range of civil and criminal penalties they may seek to
  impose against companies for violations of anti-corruption laws or regulations, import and export controls, trade restrictions, sanctions,
  and other laws, rules, and regulations.

         If we are unable to expand internationally and manage the complexity of our global operations successfully, our financial results
  could be adversely affected. We also may be required to or elect to cease or modify our operations or the offering of our products and
  services in certain regions, including as a result of the risks described above, which could adversely affect our business, user growth
  and engagement, and financial results.
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  We face design, manufacturing, and supply chain risks that, if not properly managed, could adversely impact our financial results.

         We face a number of risks related to design, manufacturing, and supply chain management with respect to our consumer
  hardware products. For example, the consumer hardware products we sell from time to time have had, and in the future may have,
  quality issues resulting from the design or manufacture of the products, or from the software used in the products. Sometimes, these
  issues may be caused by components we purchase from other manufacturers or suppliers. Our brand and financial results could be
  adversely affected by any such quality issues, other failures to meet our customers' expectations, or findings of our consumer hardware
  products to be defective.

         We rely on third parties to manufacture and manage the logistics of transporting and distributing our consumer hardware
  products, which subjects us to a number of risks that have been exacerbated as a result of the COVID-19 pandemic. We have
  experienced, and may in the future experience, supply or labor shortages or other disruptions in logistics and the supply chain, which
  could result in shipping delays and negatively impact our operations, product development, and sales. We could be negatively affected
  if we are not able to engage third parties with the necessary capabilities or capacity on reasonable terms, or if those we engage with fail
  to meet their obligations (whether due to financial difficulties, manufacturing or supply constraints, or other reasons), or make adverse
  changes in the pricing or other material terms of such arrangements with them. The manufacturing, distribution, and sale of our
  consumer hardware products also may be negatively impacted by macroeconomic conditions, geopolitical challenges, trade disputes, or
  other actions by governments that subject us to supply shortages, increased costs, or supply chain or logistics disruptions.

        We also require the suppliers and business partners of our consumer hardware products to comply with laws and certain
  company policies regarding sourcing practices and standards on labor, trade compliance, health and safety, the environment, and
  business ethics, but we do not control them or their practices and standards. If any of them violates laws, fails to implement changes in
  accordance with newly enacted laws, or implements practices or standards regarded as unethical, corrupt, or non-compliant, we could
  experience supply chain disruptions, government action or fines, canceled orders, or damage to our reputation.

  We face inventory risk with respect to our consumer hardware products.

         We are exposed to inventory risks with respect to our consumer hardware products as a result of rapid changes in product cycles
  and pricing, unsafe or defective merchandise, supply chain disruptions, changes in consumer demand and consumer spending patterns,
  changes in consumer tastes with respect to our consumer hardware products, and other factors. The demand for our products can also
  change significantly between the time inventory or components are ordered and the date of sale. While we endeavor to accurately
  predict these trends and avoid overstocking or understocking consumer hardware products we may sell, from time to time we have
  experienced difficulties in accurately predicting and meeting the consumer demand for our products. In addition, when we begin selling
  or manufacturing a new consumer hardware product or enter new international markets, it may be difficult to establish vendor
  relationships, determine appropriate product or component selection, and accurately forecast demand. The acquisition of certain types
  of inventory or components may require significant lead-time and prepayment and they may not be returnable. Any one of the
  foregoing factors may adversely affect our operating results.

  We are involved in numerous class action lawsuits and other litigation matters that are expensive and time consuming, and, if
  resolved adversely, could harm our business, financial condition, or results of operations.

         We are involved in numerous lawsuits, including stockholder derivative lawsuits and putative class action lawsuits, many of
  which claim statutory damages and/or seek significant changes to our business operations, and we anticipate that we will continue to be
  a target for numerous lawsuits in the future. Because of the scale of our user, advertiser, and developer base, the plaintiffs in class
  action cases filed against us typically claim enormous monetary damages even if the alleged per-user or entity harm is small or non-
  existent. In addition, we have faced, currently face, and will continue to face additional class action and other lawsuits based on claims
  related to advertising, antitrust, privacy, security, biometrics, content, algorithms, user well-being, employment, activities on our
  platform, consumer protection, or product performance or other claims related to the use of consumer hardware and software, including
  virtual reality technology and products, which are new and unproven. For example, we are currently the subject of multiple putative
  class action suits in connection with our platform and user data practices and the misuse of certain data by a developer that shared such
  data with third parties in




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  violation of our terms and policies; the disclosure of our earnings results for the second quarter of 2018; our acquisitions of Instagram
  and WhatsApp, as well as other alleged anticompetitive conduct; a former employee's allegations and release of internal company
  documents beginning in September 2021; the disclosure of our earnings results for the fourth quarter of 2021; and allegations that we
  inflated our estimates of the potential audience size for advertisements, resulting in artificially increased demand and higher prices. We
  are also the subject of multiple lawsuits related to our alleged recommendation of and/or failure to remove harmful content. The results
  of any such lawsuits and claims cannot be predicted with certainty, and any negative outcome from any such lawsuits could result in
  payments of substantial monetary damages or fines, or undesirable changes to our products or business practices, and accordingly our
  business, financial condition, or results of operations could be materially and adversely affected.

         There can be no assurances that a favorable final outcome will be obtained in all our cases, and defending any lawsuit is costly
  and can impose a significant burden on management and employees. Any litigation to which we are a party may result in an onerous or
  unfavorable judgment that may not be reversed upon appeal or in payments of substantial monetary damages or fines, or we may
  decide to settle lawsuits on similarly unfavorable terms, which has occurred in the past and which could adversely affect our business,
  financial conditions, or results of operations.

  We may have exposure to greater than anticipated tax liabilities.

         Our tax obligations, including income and non-income taxes, are based in part on our corporate operating structure and
  intercompany arrangements, including the manner in which we operate our business, develop, value, manage, protect, and use our
  intellectual property, and the valuations of our intercompany transactions. The tax laws applicable to our business, including the laws of
  the United States and other jurisdictions, are subject to interpretation and certain jurisdictions are aggressively interpreting their laws in
  new ways in an effort to raise additional tax revenue from companies such as Meta. We are subject to regular review and audit by U.S.
  federal, state, and foreign tax authorities. Tax authorities may disagree with certain positions we have taken, including our
  methodologies for valuing developed technology or intercompany arrangements, and any adverse outcome of such a review or audit
  could increase our worldwide effective tax rate, increase the amount of non-income taxes imposed on our business, and harm our
  financial position, results of operations, and cash flows. For example, in 2016 and 2018, the IRS issued formal assessments relating to
  transfer pricing with our foreign subsidiaries in conjunction with the examination of the 2010 through 2013 tax years. Although we
  disagree with the IRS's position and are litigating this issue, the ultimate resolution is uncertain and, if resolved in a manner
  unfavorable to us, may adversely affect our financial results.

          The determination of our worldwide provision for income taxes and other tax liabilities requires significant judgment by
  management, and there are many transactions where the ultimate tax determination is uncertain. Our provision for income taxes is
  determined by the manner in which we operate our business, and any changes to such operations or laws applicable to such operations
  may affect our effective tax rate. Although we believe that our provision for income taxes and estimates of our non-income tax
  liabilities are reasonable, the ultimate settlement may differ from the amounts recorded in our financial statements and may materially
  affect our financial results in the period or periods for which such determination is made.

       Our future income tax rates could be volatile and difficult to predict due to changes in jurisdictional profit split, changes in the
  amount and recognition of deferred tax assets and liabilities, or by changes in tax laws, regulations, or accounting principles.

  Changes in tax laws or tax rulings could materially affect our financial position, results of operations, and cash flows.

         The tax regimes we are subject to or operate under, including income and non-income taxes, are unsettled and may be subject to
  significant change. Changes in tax laws or tax rulings, or changes in interpretations of existing laws, could materially affect our
  financial position, results of operations, and cash flows. For example, the 2017 Tax Cuts and Jobs Act (Tax Act) enacted in December
  2017 had a significant impact on our tax obligations and effective tax rate for the fourth quarter of 2017. The issuance of additional
  regulatory or accounting guidance related to the Tax Act, or other executive or Congressional actions in the United States or globally
  could materially increase our tax obligations and significantly impact our effective tax rate in the period such guidance is issued or such
  actions take effect, and in future periods. In addition, many countries have recently proposed or recommended changes to existing tax
  laws or have enacted new laws that could significantly increase our tax obligations in many countries where we do business or require
  us to change the manner in which we operate our business.




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         Over the last several years, the Organization for Economic Cooperation and Development has been working on a Base Erosion
  and Profit Shifting Project that, if implemented, would change various aspects of the existing framework under which our tax
  obligations are determined in many of the countries in which we do business. In 2021, more than 140 countries tentatively signed on to
  a framework that imposes a minimum tax rate of 15%, among other provisions. As this framework is subject to further negotiation and
  implementation by each member country, the timing and ultimate impact of any such changes on our tax obligations are uncertain.
  Similarly, the European Commission and several countries have issued proposals that would apply to various aspects of the current tax
  framework under which we are taxed. These proposals include changes to the existing framework to calculate income tax, as well as
  proposals to change or impose new types of non-income taxes, including taxes based on a percentage of revenue. For example, several
  jurisdictions have proposed or enacted taxes applicable to digital services, which include business activities on digital advertising and
  online marketplaces, and which apply to our business.

          The European Commission has conducted investigations in multiple countries focusing on whether local country tax rulings or
  tax legislation provides preferential tax treatment that violates European Union state aid rules and concluded that certain member
  states, including Ireland, have provided illegal state aid in certain cases. These investigations may result in changes to the tax treatment
  of our foreign operations.

         Due to the large and expanding scale of our international business activities, many of these types of changes to the taxation of
  our activities described above could increase our worldwide effective tax rate, increase the amount of non-income taxes imposed on our
  business, and harm our financial position, results of operations, and cash flows. Such changes may also apply retroactively to our
  historical operations and result in taxes greater than the amounts estimated and recorded in our financial statements.

  Given our levels of share-based compensation, our tax rate may vary significantly depending on our stock price.

         The tax effects of the accounting for share-based compensation may significantly impact our effective tax rate from period to
  period. In periods in which our stock price varies from the grant price of the share-based compensation vesting in that period, we will
  recognize excess tax benefits or shortfalls that will impact our effective tax rate. For example, in 2022, tax shortfalls recognized from
  share-based compensation increased our provision for income taxes by $471 million and our effective tax rate by two percentage points
  as compared to the tax rate without such shortfalls. In future periods in which our stock price varies in comparison to the grant price of
  the share-based compensation vesting in that period, our effective tax rate may be inversely impacted. The amount and value of share-
  based compensation issued relative to our earnings in a particular period will also affect the magnitude of the impact of share-based
  compensation on our effective tax rate. These tax effects are dependent on our stock price, which we do not control, and a decline in
  our stock price could significantly increase our effective tax rate and adversely affect our financial results.

  If our goodwill or intangible assets become impaired, we may be required to record a significant charge to earnings.

         We review our intangible assets for impairment when events or changes in circumstances indicate the carrying value may not be
  recoverable, such as a decline in stock price and market capitalization. We test goodwill for impairment at the reporting unit level at
  least annually. If such goodwill or intangible assets are deemed to be impaired, an impairment loss equal to the amount by which the
  carrying amount exceeds the fair value of the assets would be recognized. We may be required to record a significant charge in our
  financial statements during the period in which any impairment of our goodwill or intangible assets is determined, which would
  negatively affect our results of operations.

  The loss of one or more of our key personnel, or our failure to attract and retain other highly qualified personnel in the future,
  could harm our business.

        We currently depend on the continued services and performance of our key personnel, including Mark Zuckerberg. Although we
  have entered into an employment agreement with Mr. Zuckerberg, the agreement has no specific duration and constitutes at-will
  employment. In addition, many of our key technologies and systems are custom-made for our business by our personnel. The loss of
  key personnel, including members of management as well as key engineering, product development, marketing, and sales personnel,
  could disrupt our operations and have an adverse effect on our business.




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          In addition, we cannot guarantee we will continue to attract and retain the personnel we need to maintain our competitive
  position. In particular, we expect to continue to face significant challenges in hiring technical personnel, particularly for engineering
  talent, whether as a result of competition with other companies or other factors. As we continue to mature, the incentives to attract,
  retain, and motivate employees provided by our equity awards or by future arrangements may not be as effective as in the past, and if
  we issue significant equity to attract additional employees or to retain our existing employees, we would incur substantial additional
  share-based compensation expense and the ownership of our existing stockholders would be further diluted. Our ability to attract,
  retain, and motivate employees may also be adversely affected by stock price volatility. In addition, restrictive immigration policies or
  legal or regulatory developments relating to immigration may negatively affect our efforts to attract and hire new personnel as well as
  retain our existing personnel. If we do not succeed in attracting, hiring, and integrating excellent personnel, or retaining and motivating
  existing personnel, we may be unable to grow effectively.

  Our CEO has control over key decision making as a result of his control of a majority of the voting power of our outstanding
  capital stock.

         Mark Zuckerberg, our founder, Chairman, and CEO, is able to exercise voting rights with respect to a majority of the voting
  power of our outstanding capital stock and therefore has the ability to control the outcome of all matters submitted to our stockholders
  for approval, including the election of directors and any merger, consolidation, or sale of all or substantially all of our assets. This
  concentrated control could delay, defer, or prevent a change of control, merger, consolidation, or sale of all or substantially all of our
  assets that our other stockholders support, or conversely this concentrated control could result in the consummation of such a
  transaction that our other stockholders do not support. This concentrated control could also discourage a potential investor from
  acquiring our Class A common stock, which has limited voting power relative to the Class B common stock, and might harm the
  trading price of our Class A common stock. In addition, Mr. Zuckerberg has the ability to control the management and major strategic
  investments of our company as a result of his position as our CEO and his ability to control the election or, in some cases, the
  replacement of our directors. In the event of his death, the shares of our capital stock that Mr. Zuckerberg owns will be transferred to
  the persons or entities that he has designated. As a board member and officer, Mr. Zuckerberg owes a fiduciary duty to our stockholders
  and must act in good faith in a manner he reasonably believes to be in the best interests of our stockholders. As a stockholder, even a
  controlling stockholder, Mr. Zuckerberg is entitled to vote his shares, and shares over which he has voting control as governed by a
  voting agreement, in his own interests, which may not always be in the interests of our stockholders generally.

  We cannot guarantee that our share repurchase program will be fully consummated or that it will enhance long-term stockholder
  value. Share repurchases could also increase the volatility of the trading price of our stock and will diminish our cash reserves.

         Although our board of directors has authorized a share repurchase program that does not have an expiration date, the program
  does not obligate us to repurchase any specific dollar amount or to acquire any specific number of shares of our Class A common stock.
  We cannot guarantee that the program will be fully consummated or that it will enhance long-term stockholder value. The program
  could affect the trading price of our stock and increase volatility, and any announcement of a termination of this program may result in
  a decrease in the trading price of our stock. In addition, this program will diminish our cash reserves.

                                       Risks Related to Government Regulation and Enforcement

  Actions by governments that restrict access to Facebook or our other products in their countries, censor or moderate content on our
  products in their countries, or otherwise impair our ability to sell advertising in their countries, could substantially harm our
  business and financial results.

          Governments from time to time seek to censor or moderate content available on Facebook or our other products in their country,
  restrict access to our products from their country partially or entirely, or impose other restrictions that may affect the accessibility of
  our products in their country for an extended period of time or indefinitely. For example, user access to Facebook and certain of our
  other products has been or is currently restricted in whole or in part in China, Iran, and North Korea. In addition, government
  authorities in other countries may seek to restrict user access to our products if they consider us to be in violation of their laws or a
  threat to public safety or for other reasons, and certain of our products have been restricted by governments in other countries from
  time to time. For example, in 2020, Hong Kong adopted a National Security Law that provides authorities with the ability to obtain
  information, remove and block access to content, and suspend




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  user services, and if we are found to be in violation of this law then the use of our products may be restricted. In addition, if we are
  required to or elect to make changes to our marketing and sales or other operations in Hong Kong as a result of the National Security
  Law or other legislation, our revenue and business in the region will be adversely affected. In addition, in connection with the war in
  Ukraine in the first quarter of 2022, access to Facebook and Instagram was restricted in Russia and the services were then prohibited by
  the Russian government, which has adversely affected, and will likely continue to adversely affect, our revenue and business in the
  region. It is also possible that government authorities could take action that impairs our ability to sell advertising, including in countries
  where access to our consumer-facing products may be blocked or restricted. For example, we generate meaningful revenue from a
  limited number of resellers serving advertisers based in China, and it is possible that the Chinese government could take action that
  reduces or eliminates our China-based advertising revenue, whether as a result of the trade dispute with the United States, in response
  to content issues or information requests in Hong Kong or elsewhere, or for other reasons, or take other action against us, such as
  imposing taxes or other penalties, which could adversely affect our financial results. Similarly, if we are found to be out of compliance
  with certain legal requirements for social media companies in Turkey, the Turkish government could take action to reduce or eliminate
  our Turkey-based advertising revenue or otherwise adversely impact access to our products. In the event that content shown on
  Facebook or our other products is subject to censorship, access to our products is restricted, in whole or in part, in one or more
  countries, we are required to or elect to make changes to our operations, or other restrictions are imposed on our products, or our
  competitors are able to successfully penetrate new geographic markets or capture a greater share of existing geographic markets that we
  cannot access or where we face other restrictions, our ability to retain or increase our user base, user engagement, or the level of
  advertising by marketers may be adversely affected, we may not be able to maintain or grow our revenue as anticipated, and our
  financial results could be adversely affected.

  Our business is subject to complex and evolving U.S. and foreign laws and regulations regarding privacy, data use and data
  protection, content, competition, safety and consumer protection, e-commerce, and other matters. Many of these laws and
  regulations are subject to change and uncertain interpretation, and could result in claims, changes to our products and business
  practices, monetary penalties, increased cost of operations, or declines in user growth or engagement, or otherwise harm our
  business.

         We are subject to a variety of laws and regulations in the United States and abroad that involve matters central to our business,
  including privacy, data use, data protection and personal information, biometrics, encryption, rights of publicity, content, integrity,
  intellectual property, advertising, marketing, distribution, data security, data retention and deletion, data localization and storage, data
  disclosure, artificial intelligence and machine learning, electronic contracts and other communications, competition, protection of
  minors, consumer protection, civil rights, accessibility, telecommunications, product liability, e-commerce, taxation, economic or other
  trade controls including sanctions, anti-corruption and political law compliance, securities law compliance, and online payment
  services. The introduction of new products, expansion of our activities in certain jurisdictions, or other actions that we may take may
  subject us to additional laws, regulations, or other government scrutiny. In addition, foreign data protection, privacy, content,
  competition, consumer protection, and other laws and regulations can impose different obligations or be more restrictive than those in
  the United States.

        These U.S. federal, state, and foreign laws and regulations, which in some cases can be enforced by private parties in addition to
  government entities, are constantly evolving and can be subject to significant change. As a result, the application, interpretation, and
  enforcement of these laws and regulations are often uncertain, particularly in the new and rapidly evolving industry in which we
  operate, and may be interpreted and applied inconsistently from jurisdiction to jurisdiction and inconsistently with our current policies
  and practices. For example, regulatory or legislative actions or litigation affecting the manner in which we display content to our users,
  moderate content, or obtain consent to various practices could adversely affect user growth and engagement. Such actions could affect
  the manner in which we provide our services or adversely affect our financial results.

          We are also subject to evolving laws and regulations that dictate whether, how, and under what circumstances we can transfer,
  process and/or receive certain data that is critical to our operations, including data shared between countries or regions in which we
  operate and data shared among our products and services. For example, in 2016, the European Union and United States agreed to a
  transfer framework for data transferred from the European Union to the United States, called the Privacy Shield, but the Privacy Shield
  was invalidated in July 2020 by the Court of Justice of the European Union (CJEU). In addition, the other bases upon which Meta
  relies to transfer such data, such as Standard Contractual Clauses (SCCs), have been subjected to regulatory and judicial scrutiny. For
  example, the CJEU considered the validity of SCCs as a basis to transfer user data from the European Union to the United States
  following a challenge brought by the Irish Data Protection Commission (IDPC). Although the CJEU upheld the validity of SCCs in
  July 2020, our continued reliance on


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  SCCs will be the subject of future regulatory consideration. In particular, in August 2020, we received a preliminary draft decision from
  the IDPC that preliminarily concluded that Meta Platforms Ireland's reliance on SCCs in respect of European Union/European
  Economic Area Facebook user data does not achieve compliance with the GDPR and preliminarily proposed that such transfers should
  therefore be suspended. In February 2022, we received a revised preliminary draft decision in which the IDPC maintained its
  preliminary conclusion that these transfers should be suspended. The IDPC's draft decision was then further refined and shared on
  July 6, 2022 with other European data protection regulators (CSAs) as part of the GDPR's consistency mechanism. Separately, on
  March 25, 2022, the European Union and United States announced that they had reached an agreement in principle on a new EU-U.S.
  Data Privacy Framework (EU-U.S. DPF). On October 7, 2022, President Biden signed the Executive Order on Enhancing Safeguards
  for United States Signals Intelligence Activities (E.O.), and on December 13, 2022, the European Commission published its draft
  adequacy decision on the proposed new EU-U.S. DPF. On January 19, 2023, the IDPC referred the inquiry to a vote by the European
  Data Protection Board (EDPB), pursuant to the dispute resolution process under Article 65 GDPR, in respect of elements of the draft
  decision over which consensus could not be reached between concerned supervisory authorities. We believe a final decision in this
  inquiry may issue as early as the first quarter of 2023. Although the E.O. is a significant and positive step, if no adequacy decision is
  adopted by the European Commission and we are unable to continue to rely on SCCs or rely upon other alternative means of data
  transfers from the European Union to the United States, we will likely be unable to offer a number of our most significant products and
  services, including Facebook and Instagram, in Europe, which would materially and adversely affect our business, financial condition,
  and results of operations. In addition, we have been managing investigations and lawsuits in Europe, India, and other jurisdictions
  regarding the 2016 and 2021 updates to WhatsApp's terms of service and privacy policy and its sharing of certain data with other Meta
  products and services, including a lawsuit currently pending before the Supreme Court of India. If we are unable to transfer data
  between and among countries and regions in which we operate, or if we are restricted from sharing data among our products and
  services, it could affect our ability to provide our services, the manner in which we provide our services or our ability to target ads,
  which could adversely affect our financial results.

         We have been subject to other significant legislative and regulatory developments in the past, and proposed or new legislation
  and regulations could significantly affect our business in the future. For example, we have implemented a number of product changes
  and controls as a result of requirements under the European General Data Protection Regulation (GDPR), and may implement
  additional changes in the future. The GDPR also requires submission of personal data breach notifications to our lead European Union
  privacy regulator, the IDPC, and includes significant penalties for non-compliance with the notification obligation as well as other
  requirements of the regulation. The interpretation of the GDPR is still evolving and draft decisions in investigations by the IDPC are
  subject to review by other European privacy regulators as part of the GDPR's consistency mechanism, which may lead to significant
  changes in the final outcome of such investigations. As a result, the interpretation and enforcement of the GDPR, as well as the
  imposition and amount of penalties for non-compliance, are subject to significant uncertainty. In addition, Brazil, the United Kingdom,
  and other countries have enacted similar data protection regulations imposing data privacy-related requirements on products and
  services offered to users in their respective jurisdictions. The California Consumer Privacy Act (CCPA), as amended by the California
  Privacy Rights Act (CPRA), also establishes certain transparency rules and create new data privacy rights for users, including
  limitations on our use of certain sensitive personal information and more ability for users to control the purposes for which their data is
  shared with third parties. Other states have proposed or enacted similar comprehensive privacy laws that afford users with similar data
  privacy rights and controls. These laws and regulations are evolving and subject to interpretation, and resulting limitations on our
  advertising services, or reductions of advertising by marketers, have to some extent adversely affected, and will continue to adversely
  affect, our advertising business. For example, state regulators in California and Colorado are considering adopting regulations that
  could further limit how companies can use personal information for advertising purposes. In Europe, regulators continue to issue
  guidance concerning the ePrivacy Directive's requirements regarding the use of cookies and similar technologies, and may impose
  specific measures in the future which could directly impact our use of such technologies. In addition, the ePrivacy Directive and
  national implementation laws impose additional limitations on the use of data across messaging products and include significant
  penalties for non-compliance. Changes to our products or business practices as a result of these or similar developments have in the
  past adversely affected, and may in the future adversely affect, our advertising business. Similarly, there are a number of legislative
  proposals or recently enacted laws in the European Union, the United States, at both the federal and state level, as well as other
  jurisdictions that could impose new obligations or limitations in areas affecting our business. For example, the DMA in the European
  Union imposes new restrictions and requirements on companies like ours, including in areas such as the combination of data across
  services, mergers and acquisitions, and product design. The DMA also includes significant penalties for non-compliance, and its key
  requirements will be enforceable against designated gatekeeper companies in early 2024. We expect the DMA will cause us to incur
  significant compliance costs and make additional changes to our products or business practices. The requirements under the DMA will
  likely be subject to further interpretation and regulatory engagement. Pending or future proposals to




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  modify competition laws in the United States and other jurisdictions could have similar effects. Further, the Digital Services Act (DSA)
  in the European Union, which will apply to our business as early as June 2023, will impose new restrictions and requirements for our
  products and services and may significantly increase our compliance costs. The DSA also includes significant penalties for non-
  compliance. In addition, some countries, such as India and Turkey, are considering or have passed legislation implementing data
  protection requirements or requiring local storage and processing of data or similar requirements that could increase the cost and
  complexity of delivering our services, cause us to cease the offering of our products and services in certain countries, or result in fines
  or other penalties. New legislation or regulatory decisions that restrict our ability to collect and use information about minors may also
  result in limitations on our advertising services or our ability to offer products and services to minors in certain jurisdictions.

         These laws and regulations, as well as any associated claims, inquiries, or investigations or any other government actions, have
  in the past led to, and may in the future lead to, unfavorable outcomes including increased compliance costs, loss of revenue, delays or
  impediments in the development of new products, negative publicity and reputational harm, increased operating costs, diversion of
  management time and attention, and remedies that harm our business, including fines or demands or orders that we modify or cease
  existing business practices.

  We have been subject to regulatory and other government investigations, enforcement actions, and settlements, and we expect to
  continue to be subject to such proceedings and other inquiries in the future, which could cause us to incur substantial costs or
  require us to change our business practices in a manner materially adverse to our business.

          We receive formal and informal inquiries from government authorities and regulators regarding our compliance with laws and
  regulations, many of which are evolving and subject to interpretation. We are and expect to continue to be the subject of investigations,
  inquiries, data requests, requests for information, actions, and audits in the United States, Europe, and around the world, particularly in
  the areas of privacy and data protection, including with respect to minors, law enforcement, consumer protection, civil rights, content
  moderation, and competition. In addition, we are currently, and may in the future be, subject to regulatory orders or consent decrees.
  For example, data protection, competition, and consumer protection authorities in the European Union and other jurisdictions have
  initiated actions, investigations, or administrative orders seeking to restrict the ways in which we collect and use information, or impose
  sanctions, and other authorities may do the same. In addition, beginning in March 2018, we became subject to FTC, state attorneys
  general, and other government inquiries in the United States, Europe, and other jurisdictions in connection with our platform and user
  data practices as well as the misuse of certain data by a developer that shared such data with third parties in violation of our terms and
  policies. In July 2019, we entered into a settlement and modified consent order to resolve the FTC inquiry, which was approved by the
  federal court and took effect in April 2020. Among other matters, our settlement with the FTC required us to pay a penalty of
  $5.0 billion and to significantly enhance our practices and processes for privacy compliance and oversight. The state attorneys general
  inquiry and certain government inquiries in other jurisdictions remain ongoing. We also notify the IDPC, our lead European Union
  privacy regulator under the GDPR, and other regulators of certain other personal data breaches and privacy issues, and are subject to
  inquiries and investigations by the IDPC and other regulators regarding various aspects of our regulatory compliance. We have in the
  past been, and may in the future be, subject to fines and requirements to changes to our business practices as a result of such inquiries
  and investigations. In addition, we are subject to a lawsuit by the state of Texas in connection with the “tag suggestions” and other
  facial recognition features on our products.

         We are also subject to various litigation and formal and informal inquiries and investigations by competition authorities in the
  United States, Europe, and other jurisdictions, which relate to many aspects of our business, including with respect to users and
  advertisers, as well as our industry. Such inquiries, investigations, and lawsuits concern, among other things, our business practices in
  the areas of social networking or social media services, digital advertising, and/or mobile or online applications, as well as our
  acquisitions. For example, in June 2019 we were informed by the FTC that it had opened an antitrust investigation of our company. In
  addition, beginning in the third quarter of 2019, we became the subject of antitrust inquiries and investigations by the U.S. Department
  of Justice and state attorneys general. Beginning in December 2020, we also became subject to lawsuits by the FTC and the attorneys
  general from 46 states, the territory of Guam, and the District of Columbia in the U.S. District Court for the District of Columbia
  alleging that we violated antitrust laws, including by acquiring Instagram in 2012 and WhatsApp in 2014 and by maintaining
  conditions on access to our platform, among other things. The complaints of the FTC and attorneys general both sought a permanent
  injunction against our company's alleged violations of the antitrust laws, and other equitable relief, including divestiture or
  reconstruction of Instagram and WhatsApp. In addition, in December 2022, the European Commission issued a Statement of
  Objections alleging that we tie Facebook Marketplace to Facebook and use data in a manner that infringes European Union competition
  rules. We are also subject to other government inquiries and investigations relating to our business activities and disclosure practices.
  For example,


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  beginning in September 2021, we became subject to government investigations and requests relating to allegations and the release of
  internal company documents by a former employee.

         Orders issued by, or inquiries or enforcement actions initiated by, government or regulatory authorities could cause us to incur
  substantial costs, expose us to civil and criminal liability (including liability for our personnel) or penalties (including substantial
  monetary remedies), interrupt or require us to change our business practices in a manner materially adverse to our business (including
  changes to our products or user data practices), result in negative publicity and reputational harm, divert resources and the time and
  attention of management from our business, or subject us to other structural or behavioral remedies that adversely affect our business,
  and we have experienced some of these adverse effects to varying degrees from time to time.

  Compliance with our FTC consent order, the GDPR, the CPRA, the ePrivacy Directive, the DMA, the DSA, and other regulatory
  and legislative privacy requirements require significant operational resources and modifications to our business practices, and any
  compliance failures may have a material adverse effect on our business, reputation, and financial results.

          We are engaged in ongoing privacy compliance and oversight efforts, including in connection with our modified consent order
  with the FTC, requirements of the GDPR, and other current and anticipated regulatory and legislative requirements around the world,
  such as the CPRA, ePrivacy Directive, DMA, and DSA. In particular, we are maintaining a comprehensive privacy program in
  connection with the FTC consent order that includes substantial management and board of directors oversight, stringent operational
  requirements and reporting obligations, prohibitions against making misrepresentations relating to user data, a process to regularly
  certify our compliance with the privacy program to the FTC, and regular assessments of our privacy program by an independent third-
  party assessor, which has been and will continue to be challenging and costly to maintain and enhance. These compliance and oversight
  efforts are increasing demand on our systems and resources, and require significant new and ongoing investments, including
  investments in compliance processes, personnel, and technical infrastructure. We are reallocating resources internally to assist with
  these efforts, and this has had, and will continue to have, an adverse impact on our other business initiatives. In addition, these efforts
  require substantial modifications to our business practices and make some practices such as product and ads development more
  difficult, time-consuming, and costly. As a result, we believe our ability to develop and launch new features, products, and services in a
  timely manner has been and will continue to be adversely affected. We also expect that our privacy compliance and oversight efforts
  will require significant time and attention from our management and board of directors. The requirements of the FTC consent order and
  other privacy-related laws and regulations are complex and apply broadly to our business, and from time to time we notify relevant
  authorities of instances where we are not in full compliance with these requirements or otherwise discover privacy issues, and we
  expect to continue to do so as any such issues arise in the future. In addition, regulatory and legislative privacy requirements are
  constantly evolving and can be subject to significant change and uncertain interpretation. For example, we will be subject to new
  restrictions and requirements under the DMA, including in areas such as the combination of data across services and product design,
  which will likely be subject to further interpretation and regulatory engagement. If we are unable to successfully implement and
  comply with the mandates of the FTC consent order, GDPR, CPRA, ePrivacy Directive, DMA, DSA, or other regulatory or legislative
  requirements, or if we are found to be in violation of the consent order or other applicable requirements, we may be subject to
  regulatory or governmental investigations or lawsuits, which may result in significant monetary fines, judgments, or other penalties,
  and we may also be required to make additional changes to our business practices. Any of these events could have a material adverse
  effect on our business, reputation, and financial results.

  We may incur liability as a result of information retrieved from or transmitted over the internet or published using our products or
  as a result of claims related to our products, and legislation regulating content on our platform may require us to change our
  products or business practices and may adversely affect our business and financial results.

         We have faced, currently face, and will continue to face claims relating to information or content that is published or made
  available on our products, including our policies, algorithms, and enforcement actions with respect to such information or content. In
  particular, the nature of our business exposes us to claims related to defamation, dissemination of misinformation or news hoaxes,
  discrimination, harassment, intellectual property rights, rights of publicity and privacy, personal injury torts, laws regulating hate
  speech or other types of content, online safety, products liability, consumer protection, and breach of contract, among others. For
  example, we have recently seen an increase in claims brought by younger users related to well-being issues based on allegedly harmful
  content that is shared on or recommended by our products. The potential risks relating to any of the foregoing types of claims are
  currently enhanced in certain jurisdictions




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  outside the United States where our protection from liability for third-party actions may be unclear or where we may be less protected
  under local laws than we are in the United States. For example, in April 2019, the European Union passed a directive (the European
  Copyright Directive) expanding online platform liability for copyright infringement and regulating certain uses of news content online,
  which member states are currently implementing into their national laws. In addition, the European Union revised the European
  Audiovisual Media Service Directive to apply to online video-sharing platforms, which member states have begun to implement. In the
  United States, the U.S. Supreme Court recently agreed to review a matter in which the scope of the protections available to online
  platforms under Section 230 of the Communications Decency Act (Section 230) is at issue. In addition, there have been, and continue
  to be, various state and federal legislative and executive efforts to remove or restrict the scope of the protections under Section 230, as
  well as to impose new obligations on online platforms with respect to commerce listings, user content, counterfeit goods and copyright-
  infringing material, and our current protections from liability for third-party content in the United States could decrease or change. We
  could incur significant costs investigating and defending such claims and, if we are found liable, significant damages. We could also
  face fines, orders restricting or blocking our services in particular geographies, or other government-imposed remedies as a result of
  content hosted on our services. For example, legislation in Germany and India has resulted in the past, and may result in the future, in
  the imposition of fines or other penalties for failure to comply with certain content removal, law enforcement cooperation, and
  disclosure obligations. Numerous other countries in Europe, the Middle East, Asia-Pacific, and Latin America are considering or have
  implemented similar legislation imposing potentially significant penalties, including fines, service throttling, or advertising bans, for
  failure to remove certain types of content or follow certain processes. For example, we have been subject to fines and may in the future
  be subject to other penalties in connection with social media legislation in Turkey, and we have been subject to fines and service
  blocking and prohibition in Russia. Content-related legislation also has required us in the past, and may require us in the future, to
  change our products or business practices, increase our costs, or otherwise impact our operations or our ability to provide services in
  certain geographies. For example, the European Copyright Directive requires certain online services to obtain authorizations for
  copyrighted content or to implement measures to prevent the availability of that content, which may require us to make substantial
  investments in compliance processes. Member states' laws implementing the European Copyright Directive may also require online
  platforms to pay for content. In addition, our products and services will be subject to new restrictions and requirements, and our
  compliance costs may significantly increase, as a result of the Digital Services Act in the European Union, which will apply to our
  business as early as June 2023, and potentially other content-related legislative developments such as proposed online safety bills in
  Ireland and the United Kingdom. Certain countries have also proposed legislation that may require us to pay publishers for certain
  news content shared on our products. In the United States, changes to the protections available under Section 230 or the First
  Amendment to the U.S. Constitution or new state or federal content-related legislation may increase our costs or require significant
  changes to our products, business practices, or operations, which could adversely affect user growth and engagement. Any of the
  foregoing events could adversely affect our business and financial results.

  Payment transactions may subject us to additional regulatory requirements and other risks that could be costly and difficult to
  comply with or that could harm our business.

         Several of our products offer Payments functionality, including enabling our users to purchase tangible, virtual, and digital goods
  from merchants and developers that offer applications using our Payments infrastructure, send money to other users, and make
  donations to certain charitable organizations, among other activities. We are subject to a variety of laws and regulations in the United
  States, Europe, and elsewhere, including those governing anti-money laundering and counter-terrorist financing, money transmission,
  stored value, gift cards and other prepaid access instruments, electronic funds transfer, virtual currency, consumer protection, charitable
  fundraising, trade sanctions, and import and export restrictions. Depending on how our Payments products evolve, we may also be
  subject to other laws and regulations including those governing gambling, banking, and lending. In some jurisdictions, the application
  or interpretation of these laws and regulations is not clear. To increase flexibility in how our use of Payments may evolve and to
  mitigate regulatory uncertainty, we have received certain payments licenses in the United States, the European Economic Area, and
  other jurisdictions, which will generally require us to demonstrate compliance with many domestic and foreign laws in these areas. Our
  efforts to comply with these laws and regulations could be costly and result in diversion of management time and effort and may still
  not guarantee compliance. In the event that we are found to be in violation of any such legal or regulatory requirements, we may be
  subject to monetary fines or other penalties such as a cease and desist order, or we may be required to make product changes, any of
  which could have an adverse effect on our business and financial results.

         In addition, we are subject to a variety of additional risks as a result of Payments transactions, including: increased costs and
  diversion of management time and effort and other resources to deal with bad transactions or customer disputes; potential fraudulent or
  otherwise illegal activity by users, developers, employees, or third parties; restrictions on the



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  investment of consumer funds used to transact Payments; and additional disclosure and reporting requirements. We have also launched
  payments functionality on certain of our applications and may in the future undertake additional payments initiatives, including as part
  of our metaverse efforts, which may subject us to many of the foregoing risks and additional licensing requirements.

                                       Risks Related to Data, Security, and Intellectual Property

  Security breaches, improper access to or disclosure of our data or user data, other hacking and phishing attacks on our systems, or
  other cyber incidents could harm our reputation and adversely affect our business.

         Our industry is prone to cyber-attacks by third parties seeking unauthorized access to our data or users' data or to disrupt our
  ability to provide service. Our products and services involve the collection, storage, processing, and transmission of a large amount of
  data. Any failure to prevent or mitigate security breaches and improper access to or disclosure of our data or user data, including
  personal information, content, or payment information from users, or information from marketers, could result in the loss, modification,
  disclosure, destruction, or other misuse of such data, which could harm our business and reputation and diminish our competitive
  position. In addition, computer malware, viruses, social engineering (such as spear phishing attacks), scraping, and general hacking
  continue to be prevalent in our industry, have occurred on our systems in the past, and will occur on our systems in the future. We also
  regularly encounter attempts to create false or undesirable user accounts, purchase ads, or take other actions on our platform for
  purposes such as spamming, spreading misinformation, or other objectionable ends. As a result of our prominence, the size of our user
  base, the types and volume of personal data and content on our systems, and the evolving nature of our products and services (including
  our efforts involving new and emerging technologies), we believe that we are a particularly attractive target for such breaches and
  attacks, including from nation states and highly sophisticated, state-sponsored, or otherwise well-funded actors, and we experience
  heightened risk from time to time as a result of geopolitical events. Our efforts to address undesirable activity on our platform also
  increase the risk of retaliatory attacks. Such breaches and attacks may cause interruptions to the services we provide, degrade the user
  experience, cause users or marketers to lose confidence and trust in our products, impair our internal systems, or result in financial
  harm to us. Our efforts to protect our company data or the information we receive, and to disable undesirable activities on our platform,
  may also be unsuccessful due to software bugs or other technical malfunctions; employee, contractor, or vendor error or malfeasance,
  including defects or vulnerabilities in our vendors' information technology systems or offerings; government surveillance; breaches of
  physical security of our facilities or technical infrastructure; or other threats that evolve. In addition, third parties may attempt to
  fraudulently induce employees or users to disclose information in order to gain access to our data or our users' data. Cyber-attacks
  continue to evolve in sophistication and volume, and inherently may be difficult to detect for long periods of time. Although we have
  developed systems and processes that are designed to protect our data and user data, to prevent data loss, to disable undesirable
  accounts and activities on our platform, and to prevent or detect security breaches, we cannot assure you that such measures will
  provide absolute security, that we will be able to react in a timely manner, or that our remediation efforts will be successful. The
  changes in our work environment as a result of certain personnel working remotely could also impact the security of our systems, as
  well as our ability to protect against attacks and detect and respond to them quickly.

         In addition, some of our developers or other partners, such as those that help us measure the effectiveness of ads, may receive or
  store information provided by us or by our users through mobile or web applications integrated with our products. We provide limited
  information to such third parties based on the scope of services provided to us. However, if these third parties or developers fail to
  adopt or adhere to adequate data security practices, or in the event of a breach of their networks, our data or our users' data may be
  improperly accessed, used, or disclosed.

         We experience such cyber-attacks and other security incidents of varying degrees from time to time, and we incur significant
  costs in protecting against or remediating such incidents. In addition, we are subject to a variety of laws and regulations in the United
  States and abroad relating to cybersecurity and data protection, as well as obligations under our modified consent order with the FTC.
  As a result, affected users or government authorities could initiate legal or regulatory actions against us in connection with any actual
  or perceived security breaches or improper access to or disclosure of data, which has occurred in the past and which could cause us to
  incur significant expense and liability or result in orders or consent decrees forcing us to modify our business practices. Such incidents
  or our efforts to remediate such incidents may also result in a decline in our active user base or engagement levels. Any of these events
  could have a material and adverse effect on our business, reputation, or financial results.




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         For example, in September 2018, we announced our discovery of a third-party cyber-attack that exploited a vulnerability in
  Facebook's code to steal user access tokens, which were then used to access certain profile information from approximately 29 million
  user accounts on Facebook. The events surrounding this cyber-attack became the subject of Irish Data Protection Commission and
  other government inquiries. Any such inquiries could subject us to substantial fines and costs, require us to change our business
  practices, divert resources and the attention of management from our business, or adversely affect our business.

  We anticipate that our ongoing efforts related to privacy, safety, security, and content review will identify additional instances of
  misuse of user data or other undesirable activity by third parties on our platform.

         In addition to our efforts to mitigate cybersecurity risks, we are making significant investments in privacy, safety, security, and
  content review efforts to combat misuse of our services and user data by third parties, including investigations and audits of platform
  applications, as well as other enforcement efforts. As a result of these efforts we have discovered and announced, and anticipate that we
  will continue to discover and announce, additional incidents of misuse of user data or other undesirable activity by third parties. We
  may not discover all such incidents or activity, whether as a result of our data or technical limitations, including our lack of visibility
  over our encrypted services, the scale of activity on our platform, the allocation of resources to other projects, or other factors, and we
  may be notified of such incidents or activity by the independent privacy assessor required under our modified consent order with the
  FTC, the media, or other third parties. Such incidents and activities have in the past, and may in the future, include the use of user data
  or our systems in a manner inconsistent with our terms, contracts or policies, the existence of false or undesirable user accounts,
  election interference, improper advertising practices, activities that threaten people's safety on- or offline, or instances of spamming,
  scraping, data harvesting, unsecured datasets, or spreading misinformation. We may also be unsuccessful in our efforts to enforce our
  policies or otherwise remediate any such incidents. Consequences of any of the foregoing developments include negative effects on
  user trust and engagement, harm to our reputation and brands, changes to our business practices in a manner adverse to our business,
  and adverse effects on our business and financial results. Any such developments may also subject us to additional litigation and
  regulatory inquiries, which could subject us to monetary penalties and damages, divert management's time and attention, and lead to
  enhanced regulatory oversight.

  Our products and internal systems rely on software and hardware that is highly technical, and any errors, bugs, or vulnerabilities in
  these systems, or failures to address or mitigate technical limitations in our systems, could adversely affect our business.

          Our products and internal systems rely on software and hardware, including software and hardware developed or maintained
  internally and/or by third parties, that is highly technical and complex. In addition, our products and internal systems depend on the
  ability of such software and hardware to store, retrieve, process, and manage immense amounts of data. The software and hardware on
  which we rely has contained, and will in the future contain, errors, bugs, or vulnerabilities, and our systems are subject to certain
  technical limitations that may compromise our ability to meet our objectives. Some errors, bugs, or vulnerabilities inherently may be
  difficult to detect and may only be discovered after the code has been released for external or internal use. For example, in September
  2018, we announced our discovery of a third-party cyber-attack that exploited a vulnerability in Facebook's code to steal user access
  tokens and access certain profile information from user accounts on Facebook. Errors, bugs, vulnerabilities, design defects, or technical
  limitations within the software and hardware on which we rely, or human error in using such systems, have in the past led to, and may
  in the future lead to, outcomes including a negative experience for users and marketers who use our products, compromised ability of
  our products to perform in a manner consistent with our terms, contracts, or policies, delayed product introductions or enhancements,
  targeting, measurement, or billing errors, compromised ability to protect the data of our users and/or our intellectual property or other
  data, or reductions in our ability to provide some or all of our services. For example, we make commitments to our users as to how their
  data will be collected, used, shared, and retained within and across our products, and our systems are subject to errors, bugs and
  technical limitations that may prevent us from fulfilling these commitments reliably. In addition, any errors, bugs, vulnerabilities, or
  defects in our systems or the software and hardware on which we rely, failures to properly address or mitigate the technical limitations
  in our systems, or associated degradations or interruptions of service or failures to fulfill our commitments to our users, have in the past
  led to, and may in the future lead to, outcomes including damage to our reputation, loss of users, loss of marketers, loss of revenue,
  regulatory inquiries, litigation, or liability for fines, damages, or other remedies, any of which could adversely affect our business and
  financial results.




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  If we are unable to protect our intellectual property, the value of our brands and other intangible assets may be diminished, and our
  business may be adversely affected.

          We rely and expect to continue to rely on a combination of confidentiality, assignment, and license agreements with our
  employees, consultants, and third parties with whom we have relationships, as well as trademark, copyright, patent, trade secret, and
  domain name protection laws, to protect our proprietary rights. In the United States and internationally, we have filed various
  applications for protection of certain aspects of our intellectual property, and we currently hold a significant number of registered
  trademarks and issued patents in multiple jurisdictions and have acquired patents and patent applications from third parties. Third
  parties may knowingly or unknowingly infringe our proprietary rights, third parties may challenge proprietary rights held by us, and
  pending and future trademark and patent applications may not be approved. In addition, effective intellectual property protection may
  not be available in every country in which we operate or intend to operate our business. In any or all of these cases, we may be required
  to expend significant time and expense in order to prevent infringement or to enforce our rights. Although we have generally taken
  measures to protect our proprietary rights, there can be no assurance that others will not offer products or concepts that are substantially
  similar to ours and compete with our business. In addition, we regularly contribute software source code under open source licenses
  and have made other technology we developed available under other open licenses, and we include open source software in our
  products. As a result of our open source contributions and the use of open source in our products, we may license or be required to
  license or disclose code and/or innovations that turn out to be material to our business and may also be exposed to increased litigation
  risk. If the protection of our proprietary rights is inadequate to prevent unauthorized use or appropriation by third parties, the value of
  our brands and other intangible assets may be diminished and competitors may be able to more effectively mimic our products,
  services, and methods of operations. Any of these events could have an adverse effect on our business and financial results.

  We are currently, and expect to be in the future, party to patent lawsuits and other intellectual property rights claims that are
  expensive and time consuming and, if resolved adversely, could have a significant impact on our business, financial condition, or
  results of operations.

         Companies in the internet, technology, and media industries own large numbers of patents, copyrights, trademarks, and trade
  secrets, and frequently enter into litigation based on allegations of infringement, misappropriation, or other violations of intellectual
  property or other rights. In addition, various "non-practicing entities" that own patents and other intellectual property rights often
  attempt to aggressively assert their rights in order to extract value from technology companies. Furthermore, from time to time we may
  introduce or acquire new products, including in areas where we historically have not competed, which could increase our exposure to
  patent and other intellectual property claims from competitors and non-practicing entities.

          From time to time, we receive notice from patent holders and other parties alleging that certain of our products and services, or
  user content, infringe their intellectual property rights. We presently are involved in a number of intellectual property lawsuits, and as
  we face increasing competition and develop new products and services, we expect the number of patent and other intellectual property
  claims against us to grow. Defending patent and other intellectual property litigation is costly and can impose a significant burden on
  management and employees, and there can be no assurances that favorable final outcomes will be obtained in all cases. In addition,
  plaintiffs may seek, and we may become subject to, preliminary or provisional rulings in the course of any such litigation, including
  potential preliminary injunctions requiring us to cease some or all of our operations. We may decide to settle such lawsuits and disputes
  on terms that are unfavorable to us. Similarly, if any litigation to which we are a party is resolved adversely, we may be subject to an
  unfavorable judgment that may not be reversed upon appeal. The terms of such a settlement or judgment may require us to cease some
  or all of our operations or pay substantial amounts to the other party. In addition, we may have to seek a license to continue practices
  found to be in violation of a third party's rights, which may not be available on reasonable terms, or at all, and may significantly
  increase our operating costs and expenses. As a result, we may also be required to develop alternative non-infringing technology or
  practices or discontinue the practices. The development of alternative non-infringing technology or practices could require significant
  effort and expense, could result in less effective technology or practices or otherwise negatively affect the user experience, or may not
  be feasible. We have experienced unfavorable outcomes in such disputes and litigation in the past, and our business, financial
  condition, and results of operations could be adversely affected as a result of an unfavorable resolution of the disputes and litigation
  referred to above.




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                                       Risks Related to Ownership of Our Class A Common Stock

  The trading price of our Class A common stock has been and will likely continue to be volatile.

         The trading price of our Class A common stock has been, and is likely to continue to be, volatile. Since shares of our Class A
  common stock were sold in our initial public offering in May 2012 at a price of $38.00 per share, our stock price has ranged from
  $17.55 to $384.33 through December 31, 2022. In addition to the factors discussed in this Annual Report on Form 10-K, the trading
  price of our Class A common stock has in the past fluctuated and may in the future fluctuate significantly in response to numerous
  factors, many of which are beyond our control, including:

      •    actual or anticipated fluctuations in our revenue and other operating results for either of our reportable segments;

      •    the financial projections we may provide to the public, any changes in these projections, or our failure to meet these
           projections;

      •    actions of securities analysts who initiate or maintain coverage of us, changes in financial estimates by any securities analysts
           who follow our company, or our failure to meet these estimates or the expectations of investors;

      •    additional shares of our stock being sold into the market by us, our existing stockholders, or in connection with acquisitions,
           or the anticipation of such sales;

      •    investor sentiment with respect to our competitors, our business partners, and our industry in general;

      •    announcements by us or our competitors of significant products or features, technical innovations, acquisitions, strategic
           partnerships, joint ventures, or capital commitments;

      •    announcements by us or estimates by third parties of actual or anticipated changes in the size of our user base, the level of user
           engagement, or the effectiveness of our ad products;

      •    changes in operating performance and stock market valuations of technology companies in our industry, including our
           developers and competitors;

      •    price and volume fluctuations in the overall stock market, including as a result of trends in the economy as a whole;

      •    the inclusion, exclusion, or deletion of our stock from any trading indices, such as the S&P 500 Index;

      •    media coverage of our business and financial performance;

      •    lawsuits threatened or filed against us, or developments in pending lawsuits;

      •    adverse government actions or legislative or regulatory developments relating to advertising, competition, content, privacy, or
           other matters, including interim or final rulings by tax, judicial, or regulatory bodies;

      •    trading activity in our share repurchase program; and

      •    other events or factors, including those resulting from war, incidents of terrorism, pandemics, and other disruptive external
           events, or responses to these events.

         In addition, the stock markets have experienced extreme price and volume fluctuations that have affected and continue to affect
  the market prices of equity securities of many technology companies. We are currently subject to securities litigation in connection with
  our platform and user data practices and the misuse of certain data by a developer that shared such data with third parties in violation of
  our terms and policies; the disclosure of our earnings results for the second quarter of 2018; a former employee's allegations and release
  of internal company documents beginning in September 2021; and the disclosure of our earnings results for the fourth quarter of 2021.

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  We may experience more such litigation following future periods of volatility. Any securities litigation could subject us to substantial
  costs, divert resources and the attention of management from our business, and adversely affect our business.




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  We do not intend to pay cash dividends for the foreseeable future.

         We have never declared or paid cash dividends on our capital stock. We currently intend to retain any future earnings to finance
  the operation and expansion of our business and fund our share repurchase program, and we do not expect to declare or pay any cash
  dividends in the foreseeable future. As a result, you may only receive a return on your investment in our Class A common stock if the
  trading price of your shares increases.

  The dual class structure of our common stock and a voting agreement between certain stockholders have the effect of concentrating
  voting control with our CEO and certain other holders of our Class B common stock; this will limit or preclude your ability to
  influence corporate matters.

         Our Class B common stock has ten votes per share and our Class A common stock has one vote per share. Holders of our
  Class B common stock, including our founder, Chairman, and CEO, together hold a majority of the combined voting power of our
  outstanding capital stock, and therefore are able to control the outcome of all matters submitted to our stockholders for approval so long
  as the shares of Class B common stock represent at least 9.1% of all outstanding shares of our Class A and Class B common stock. This
  concentrated control will limit or preclude your ability to influence corporate matters for the foreseeable future.

         Transfers by holders of Class B common stock will generally result in those shares converting to Class A common stock, subject
  to limited exceptions, such as certain transfers effected for estate planning or charitable purposes. The conversion of Class B common
  stock to Class A common stock will have the effect, over time, of increasing the relative voting power of those holders of Class B
  common stock who retain their shares in the long term. If, for example, Mr. Zuckerberg retains a significant portion of his holdings of
  Class B common stock for an extended period of time, he could, in the future, continue to control a majority of the combined voting
  power of our outstanding capital stock.

  Our status as a "controlled company" could make our Class A common stock less attractive to some investors or otherwise harm
  our stock price.

         Because we qualify as a "controlled company" under the corporate governance rules for Nasdaq-listed companies, we are not
  required to have a majority of our board of directors be independent, nor are we required to have a compensation committee or an
  independent nominating function. In the future we could elect not to have a majority of our board of directors be independent or not to
  have a compensation committee or an independent nominating function. Accordingly, should the interests of our controlling
  stockholder differ from those of other stockholders, the other stockholders may not have the same protections afforded to stockholders
  of companies that are subject to all of the corporate governance rules for Nasdaq-listed companies. Our status as a controlled company
  could make our Class A common stock less attractive to some investors or otherwise harm our stock price.

  Delaware law and provisions in our certificate of incorporation and bylaws could make a merger, tender offer, or proxy contest
  difficult, thereby depressing the trading price of our Class A common stock.

        Our status as a Delaware corporation and the anti-takeover provisions of the Delaware General Corporation Law may
  discourage, delay, or prevent a change in control by prohibiting us from engaging in a business combination with an interested
  stockholder for a period of three years after the person becomes an interested stockholder, even if a change of control would be
  beneficial to our existing stockholders. In addition, our current certificate of incorporation and bylaws contain provisions that may
  make the acquisition of our company more difficult, including the following:

      •    until the first date on which the outstanding shares of our Class B common stock represent less than 35% of the combined
           voting power of our common stock, any transaction that would result in a change in control of our company requires the
           approval of a majority of our outstanding Class B common stock voting as a separate class;

      •    we currently have a dual class common stock structure, which provides Mr. Zuckerberg with the ability to control the outcome
           of matters requiring stockholder approval, even if he owns significantly less than a majority of the shares of our outstanding
           Class A and Class B common stock;



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      •    when the outstanding shares of our Class B common stock represent less than a majority of the combined voting power of
           common stock, certain amendments to our certificate of incorporation or bylaws will require the approval of two-thirds of the
           combined vote of our then-outstanding shares of Class A and Class B common stock;

      •    when the outstanding shares of our Class B common stock represent less than a majority of the combined voting power of our
           common stock, vacancies on our board of directors will be able to be filled only by our board of directors and not by
           stockholders;

      •    when the outstanding shares of our Class B common stock represent less than a majority of the combined voting power of our
           common stock, our board of directors will be classified into three classes of directors with staggered three-year terms and
           directors will only be able to be removed from office for cause;

      •    when the outstanding shares of our Class B common stock represent less than a majority of the combined voting power of our
           common stock, our stockholders will only be able to take action at a meeting of stockholders and not by written consent;

      •    only our chairman, our chief executive officer, our president, or a majority of our board of directors are authorized to call a
           special meeting of stockholders;

      •    advance notice procedures apply for stockholders to nominate candidates for election as directors or to bring matters before an
           annual meeting of stockholders;

      •    our certificate of incorporation authorizes undesignated preferred stock, the terms of which may be established, and shares of
           which may be issued, without stockholder approval; and

      •    certain litigation against us can only be brought in Delaware.




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  Item 1B. Unresolved Staff Comments

        None.

  Item 2. Properties

         Our corporate headquarters are located in Menlo Park, California. As of December 31, 2022, we owned and leased
  approximately 10 million square feet of office and building space for our corporate headquarters and in the surrounding areas.
  However, beginning in the third quarter of 2022, we made a decision to either sublease, early terminate, or abandon several office
  buildings under operating leases. We also owned and leased approximately 62 acres of land to be developed to accommodate
  anticipated future growth.

         In addition, we have offices in more than 90 cities across North America, Europe, the Middle East, Africa, Asia Pacific, and
  Latin America. We also own 21 data centers locations globally.

        See Note 3 — Restructuring in the notes to the consolidated financial statements included in Part II, Item 8, "Financial
  Statements and Supplementary Data" of this Annual Report on Form 10-K for additional information regarding our facilities
  consolidation efforts.

        We believe that our facilities are adequate for our current needs.

  Item 3. Legal Proceedings

         Beginning on March 20, 2018, multiple putative class actions and derivative actions were filed in state and federal courts in the
  United States and elsewhere against us and certain of our directors and officers alleging violations of securities laws, breach of
  fiduciary duties, and other causes of action in connection with our platform and user data practices as well as the misuse of certain data
  by a developer that shared such data with third parties in violation of our terms and policies, and seeking unspecified damages and
  injunctive relief. Beginning on July 27, 2018, two putative class actions were filed in federal court in the United States against us and
  certain of our directors and officers alleging violations of securities laws in connection with the disclosure of our earnings results for
  the second quarter of 2018 and seeking unspecified damages. These two actions subsequently were transferred and consolidated in the
  U.S. District Court for the Northern District of California with the putative securities class action described above relating to our
  platform and user data practices. On September 25, 2019, the district court granted our motion to dismiss the consolidated putative
  securities class action, with leave to amend. On November 15, 2019, a second amended complaint was filed in the consolidated
  putative securities class action. On August 7, 2020, the district court granted our motion to dismiss the second amended complaint, with
  leave to amend. On October 16, 2020, a third amended complaint was filed in the consolidated putative securities class action. On
  December 20, 2021, the district court granted our motion to dismiss the third amended complaint, with prejudice. On January 17, 2022,
  the plaintiffs filed a notice of appeal of the order dismissing their case, and the appeal is now pending before the U.S. Court of Appeals
  for the Ninth Circuit. With respect to the multiple putative class actions filed against us beginning on March 20, 2018 alleging fraud
  and violations of consumer protection, privacy, and other laws in connection with the same matters, several of the cases brought on
  behalf of consumers in the United States were consolidated in the U.S. District Court for the Northern District of California. On
  September 9, 2019, the court granted, in part, and denied, in part, our motion to dismiss the consolidated putative consumer class
  action. On December 22, 2022, the parties entered into a settlement agreement to resolve the lawsuit, which provides for a payment of
  $725 million by us and is subject to court approval. In addition, our platform and user data practices, as well as the events surrounding
  the misuse of certain data by a developer, became the subject of U.S. Federal Trade Commission (FTC), state attorneys general, and
  other government inquiries in the United States, Europe, and other jurisdictions. We entered into a settlement and modified consent
  order to resolve the FTC inquiry, which took effect in April 2020 and required us to pay a penalty of $5.0 billion and to significantly
  enhance our practices and processes for privacy compliance and oversight. The state attorneys general inquiry and certain government
  inquiries in other jurisdictions remain ongoing and could subject us to additional substantial fines and costs, require us to change our
  business practices, divert resources and the attention of management from our business, or adversely affect our business. On July 16,
  2021, a stockholder derivative action was filed in Delaware Chancery Court against certain of our directors and officers asserting
  breach of fiduciary duty and related claims relating to our historical platform and user data practices, as well as our settlement with the
  FTC. On July 20, 2021, other stockholders filed an amended derivative complaint in a related Delaware Chancery Court action,
  asserting breach of fiduciary duty and related claims against certain of our current and former directors and officers in connection with
  our historical platform and user data practices. On November 4, 2021, the lead

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  plaintiffs filed a second amended and consolidated complaint in the stockholder derivative action. We believe the lawsuits described
  above are without merit, and we are vigorously defending them.

         We also notify the Irish Data Protection Commission (IDPC), our lead European Union privacy regulator under the General Data
  Protection Regulation (GDPR), of certain other personal data breaches and privacy issues, and are subject to inquiries and
  investigations by the IDPC and other European regulators regarding various aspects of our regulatory compliance. For example, in
  August 2020, we received a preliminary draft decision from the IDPC that preliminarily concluded that Meta Platforms Ireland's
  reliance on Standard Contractual Clauses in respect of European Union/European Economic Area Facebook user data does not achieve
  compliance with the GDPR and preliminarily proposed that transfers of such user data from the European Union to the United States
  should therefore be suspended. In February 2022, we received a revised preliminary draft decision in which the IDPC maintained its
  preliminary conclusion that these transfers should be suspended. The IDPC's draft decision was then further refined and shared on
  July 6, 2022 with other European data protection regulators (CSAs) as part of the GDPR's consistency mechanism. Separately, on
  October 7, 2022, President Biden signed the Executive Order on Enhancing Safeguards for United States Signals Intelligence
  Activities, and on December 13, 2022, the European Commission published its draft adequacy decision on the proposed new European
  Union-U.S. Data Privacy Framework. On January 19, 2023, the IDPC referred the inquiry to a vote by the European Data Protection
  Board, pursuant to the dispute resolution process under Article 65 GDPR, in respect of elements of the draft decision over which
  consensus could not be reached between concerned supervisory authorities. We believe a final decision in this inquiry may issue as
  early as the first quarter of 2023. For additional information, see Part I, Item 1A, "Risk Factors—Our business is subject to complex
  and evolving U.S. and foreign laws and regulations regarding privacy, data use and data protection, content, competition, safety and
  consumer protection, e-commerce, and other matters" in this Annual Report on Form 10-K. Any such inquiries or investigations
  (including the IDPC proceeding) could subject us to substantial fines and costs, require us to change our business practices, divert
  resources and the attention of management from our business, or adversely affect our business.

         In addition, we are subject to various litigation and government inquiries and investigations, formal or informal, by competition
  authorities in the United States, Europe, and other jurisdictions. Such investigations, inquiries, and lawsuits concern, among other
  things, our business practices in the areas of social networking or social media services, digital advertising, and/or mobile or online
  applications, as well as our acquisitions. For example, in June 2019 we were informed by the FTC that it had opened an antitrust
  investigation of our company. On December 9, 2020, the FTC filed a complaint against us in the U.S. District Court for the District of
  Columbia alleging that we engaged in anticompetitive conduct and unfair methods of competition in violation of Section 5 of the
  Federal Trade Commission Act and Section 2 of the Sherman Act, including by acquiring Instagram in 2012 and WhatsApp in 2014
  and by maintaining conditions on access to our platform. In addition, beginning in the third quarter of 2019, we became the subject of
  antitrust investigations by the U.S. Department of Justice and state attorneys general. On December 9, 2020, the attorneys general from
  46 states, the territory of Guam, and the District of Columbia filed a complaint against us in the U.S. District Court for the District of
  Columbia alleging that we engaged in anticompetitive conduct in violation of Section 2 of the Sherman Act, including by acquiring
  Instagram in 2012 and WhatsApp in 2014 and by maintaining conditions on access to our platform. The complaint also alleged that we
  violated Section 7 of the Clayton Act by acquiring Instagram and WhatsApp. The complaints of the FTC and attorneys general both
  sought a permanent injunction against our company's alleged violations of the antitrust laws, and other equitable relief, including
  divestiture or reconstruction of Instagram and WhatsApp. On June 28, 2021, the court granted our motions to dismiss the complaints
  filed by the FTC and attorneys general, dismissing the FTC's complaint with leave to amend and dismissing the attorneys general's case
  without prejudice. On July 28, 2021, the attorneys general filed a notice of appeal of the order dismissing their case and that appeal is
  now pending before the U.S. Court of Appeals for the District of Columbia Circuit. On August 19, 2021, the FTC filed an amended
  complaint, and on October 4, 2021, we filed a motion to dismiss this amended complaint. On January 11, 2022, the court denied our
  motion to dismiss the FTC's amended complaint. Multiple putative class actions have also been filed in state and federal courts in the
  United States and in the United Kingdom against us alleging violations of antitrust laws and other causes of action in connection with
  these acquisitions and/or other alleged anticompetitive conduct, and seeking damages and injunctive relief. Several of the cases brought
  on behalf of certain advertisers and users in the United States were consolidated in the U.S. District Court for the Northern District of
  California. On January 14, 2022, the court granted, in part, and denied, in part, our motion to dismiss the consolidated actions. On
  March 1, 2022, a first amended consolidated complaint was filed in the putative class action brought on behalf of certain advertisers.
  On December 6, 2022, the court denied our motion to dismiss the first amended consolidated complaint filed in the putative class
  action brought on behalf of certain advertisers. In addition, on July 27, 2022, the FTC filed a complaint against us in the U.S. District
  Court for the Northern District of California seeking to preliminarily enjoin our proposed acquisition of Within Unlimited as an alleged
  violation of antitrust law. The FTC subsequently filed a related complaint in




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  their administrative court seeking to permanently enjoin the transaction as a violation of Section 7 of the Clayton Act, and seeking other
  relief as well. We believe these lawsuits are without merit, and we are vigorously defending them. In December 2022, the European
  Commission issued a Statement of Objections alleging that we tie Facebook Marketplace to Facebook and use data in a manner that
  infringes European Union competition rules. The result of such litigation, investigations or inquiries could subject us to substantial
  monetary remedies and costs, interrupt or require us to change our business practices, divert resources and the attention of management
  from our business, or subject us to other structural or behavioral remedies that adversely affect our business.

         Beginning in January 2022, we became subject to litigation and other proceedings that were filed in various federal and
  California state courts alleging that Facebook and Instagram cause "social media addiction" in teenage users, resulting in various
  mental health and other harms. A putative class action alleging similar harms was also filed in California state court on behalf of users
  under the age of 13 and three school districts recently filed public nuisance claims based on similar allegations. On October 6, 2022,
  the federal cases were consolidated in the U.S. District Court for the Northern District of California. The state court proceedings are
  now pending before a trial judge from Los Angeles County Superior Court. We believe these lawsuits are without merit, and we are
  vigorously defending them. We are also subject to government investigations and requests from multiple regulators concerning the use
  of our products, and the related mental and physical health and safety impacts on teenage users.

         We are also subject to other government inquiries and investigations relating to our business activities and disclosure practices.
  For example, beginning in September 2021, we became subject to government investigations and requests relating to a former
  employee's allegations and release of internal company documents concerning, among other things, our algorithms, advertising and
  user metrics, and content enforcement practices, as well as misinformation and other undesirable activity on our platform, and user
  well-being. We have since received additional requests relating to these and other topics. Beginning on October 27, 2021, multiple
  putative class actions and derivative actions were filed in the U.S. District Court for the Northern District of California against us and
  certain of our directors and officers alleging violations of securities laws, breach of fiduciary duties, and other causes of action in
  connection with the same matters, and seeking unspecified damages. We believe these lawsuits are without merit, and we are
  vigorously defending them.

         On March 8, 2022, a putative class action was filed in the U.S. District Court for the Northern District of California against us
  and certain of our directors and officers alleging violations of securities laws in connection with the disclosure of our earnings results
  for the fourth quarter of 2021 and seeking unspecified damages. We believe this lawsuit is without merit, and we are vigorously
  defending it.

         Beginning on August 15, 2018, multiple putative class actions were filed against us alleging that we inflated our estimates of the
  potential audience size for advertisements, resulting in artificially increased demand and higher prices. The cases were consolidated in
  the U.S. District Court for the Northern District of California and seek unspecified damages and injunctive relief. In a series of rulings
  in 2019, 2021, and 2022, the court dismissed certain of the plaintiffs' claims, but permitted its fraud and unfair competition claims to
  proceed. On March 29, 2022, the court granted the plaintiffs' motion for class certification. On June 21, 2022, the U.S. Court of
  Appeals for the Ninth Circuit granted our petition for permission to appeal the district court's class certification order, and the district
  court subsequently stayed the case. We believe this lawsuit is without merit, and we are vigorously defending it.

         In July 2017, an individual filed an action in the U.S. District Court for the Northern District of California against us and other
  companies for allegedly violating the Anti-Terrorism Act by aiding, abetting, and providing material support to an organization that
  committed an international terrorist act, and seeking unspecified damages. In October 2018, the district court granted our motion to
  dismiss. In June 2021, the U.S. Court of Appeals for the Ninth Circuit reversed the judgment. On October 3, 2022, the U.S. Supreme
  Court agreed to review the judgment in this action, along with a companion case against another company in which the U.S. Supreme
  Court agreed to review the scope of protection available to online platforms under Section 230 of the Communications Decency Act
  (Section 230). We believe this lawsuit is without merit, and we are vigorously defending it. However, changes to the protections
  available under Section 230 may increase our costs or require significant changes to our products, business practices, or operations,
  which could adversely affect our business.

         On February 14, 2022, the State of Texas filed a lawsuit against us in Texas state court alleging that “tag suggestions" and other
  facial recognition features on our products violated the Texas Capture or Use of Biometric Identifiers Act and the Texas Deceptive
  Trade Practices-Consumer Protection Act, and seeking statutory damages and injunctive relief. The case is currently scheduled for trial
  in October 2023. We believe this lawsuit is without merit, and we are vigorously defending it.



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         In addition, we are subject to litigation and other proceedings involving law enforcement and other regulatory agencies,
  including in particular in Brazil, Russia, and other countries in Europe, in order to ascertain the precise scope of our legal obligations to
  comply with the requests of those agencies, including our obligation to disclose user information in particular circumstances. A number
  of such instances have resulted in the assessment of fines and penalties against us. We believe we have multiple legal grounds to satisfy
  these requests or prevail against associated fines and penalties, and we intend to vigorously defend such fines and penalties.

          We are also party to various other legal proceedings, claims, and regulatory, tax or government inquiries and investigations that
  arise in the ordinary course of business, and we may in the future be subject to additional legal proceedings and disputes.

  Item 4. Mine Safety Disclosures

         Not applicable.




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  PART II

  Item 5. Market for Registrant's Common Equity, Related Stockholder Matters and Issuer Purchases of Equity Securities

  Market Information for Common Stock

         On June 9, 2022, Meta's Class A common stock began trading on the Nasdaq Global Select Market under the ticker symbol
  'META'. This replaced the ticker symbol 'FB,' which had been used since the company's initial public offering in 2012. Prior to that
  time, there was no public market for our stock.

         Our Class B common stock is not listed on any stock exchange nor traded on any public market.

  Holders of Record

        As of December 31, 2022, there were 3,204 stockholders of record of our Class A common stock, and the closing price of our
  Class A common stock was $120.34 per share as reported on the Nasdaq Global Select Market. Because many of our shares of Class A
  common stock are held by brokers and other institutions on behalf of stockholders, we are unable to estimate the total number of
  stockholders represented by these record holders. As of December 31, 2022, there were 27 stockholders of record of our Class B
  common stock.

  Dividend Policy

         We have never declared or paid any cash dividend on our common stock. We intend to retain any future earnings to finance the
  operation and expansion of our business and fund our share repurchase program, and we do not expect to pay cash dividends in the
  foreseeable future.

  Purchases of Equity Securities by the Issuer and Affiliated Purchasers

         The following table summarizes the share repurchase activity for the three months ended December 31, 2022:
                                                                                                 Total Number of Shares   Approximate Dollar Value of
                                                                                                  Purchased as Part of      Shares that May Yet Be
                                               Total Number of Shares       Average Price Paid    Publicly Announced      Purchased Under the Plans
                                                     Purchased (1)             Per Share (2)           Programs (1)            or Programs (1)
                                                   (in thousands)                                    (in thousands)              (in millions)
  October 1 - 31, 2022                                       20,180     $              126.03                   20,180    $                  15,232
  November 1 - 30, 2022                                      24,878     $              105.28                   24,878    $                  12,613
  December 1 - 31, 2022                                      14,808     $              117.87                   14,808    $                  10,868
                                                             59,866                                             59,866

  _________________________
  (1) Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in January 2017 and does not
      have an expiration date. In January 2023, an additional $40 billion of repurchases was authorized under this program. The timing and actual
      number of shares repurchased depend on a variety of factors, including price, general business and market conditions, and other investment
      opportunities, and shares may be repurchased through open market purchases or privately negotiated transactions, including through the use of
      trading plans intended to qualify under Rule 10b5-1 under the Exchange Act. See Note 14 — Stockholders' Equity in Part II, Item 8 of the Annual
      Report on Form 10-K for additional information related to share repurchases.
  (2) Average price paid per share includes costs associated with the repurchases.

  Recent Sale of Unregistered Securities and Use of Proceeds

         Recent Sale of Unregistered Securities

         None.



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  Stock Performance Graph

  This performance graph shall not be deemed "soliciting material" or to be "filed" with the SEC for purposes of Section 18 of the
  Exchange Act, or otherwise subject to the liabilities under that Section, and shall not be deemed to be incorporated by reference into
  any filing of Meta Platforms, Inc. under the Securities Act of 1933, as amended, or the Exchange Act.

         The following graph shows a comparison of the cumulative total return for our Class A common stock, the Dow Jones Internet
  Composite Index (DJINET), the Standard & Poor's 500 Stock Index (S&P 500) and the Nasdaq Composite Index (Nasdaq Composite)
  for the five years ended December 31, 2022. The graph assumes that $100 was invested at the market close on the last trading day for
  the fiscal year ended December 31, 2017 in the Class A common stock of Meta Platforms, Inc., the DJINET, the S&P 500, and the
  Nasdaq Composite and data for the DJINET, the S&P 500, and the Nasdaq Composite assumes reinvestments of gross dividends. The
  stock price performance of the following graph is not necessarily indicative of future stock price performance.



                                      Comparison of Five-Year Cumulative Total Return for Meta Platforms, Inc.,


                                                        DJINET, S&P 500 and       asdaq Composite

             $300


             $250


             $200


             $ 150


             $ 100


              $50
                          I 2/31 /20 l 7       I 2/3 1/2018        12/31/2019        12/3 1/2020     12/31 /202 I   12/31 /2022


                     - e - Meta Platforms, Inc.               - + - DJINET        - . - S&P500      -a- Nasdaq Composite




  Item 6. [Reserved]




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  Item 7. Management's Discussion and Analysis of Financial Condition and Results of Operations

  You should read the following discussion of our financial condition and results of operations in conjunction with our consolidated
  financial statements and the related notes included in Part II, Item 8, "Financial Statements and Supplementary Data" of this Annual
  Report on Form 10-K. In addition to our historical consolidated financial information, the following discussion contains forward-
  looking statements that reflect our plans, estimates, and beliefs. Our actual results could differ materially from those discussed in the
  forward-looking statements. Factors that could cause or contribute to these differences include those discussed below and elsewhere in
  this Annual Report on Form 10-K, particularly in Part I, Item 1A, "Risk Factors." For a discussion of limitations in the measurement of
  certain of our community metrics, see the section entitled "Limitations of Key Metrics and Other Data" in this Annual Report on Form
  10-K.

  To supplement our consolidated financial statements, which are prepared and presented in accordance with generally accepted
  accounting principles in the United States (GAAP), we present revenue on a constant currency basis and free cash flow, which are non-
  GAAP financial measures. Revenue on a constant currency basis is presented in the section entitled "—Revenue—Foreign Exchange
  Impact on Revenue." To calculate revenue on a constant currency basis, we translated revenue for the full year 2022 using 2021
  monthly exchange rates for our settlement or billing currencies other than the U.S. dollar. For a full description of our free cash flow
  non-GAAP measure, see the section entitled "—Liquidity and Capital Resources—Free Cash Flow."

  These non-GAAP financial measures are not intended to be considered in isolation or as a substitute for, or superior to, financial
  information prepared and presented in accordance with GAAP. These measures may be different from non‑GAAP financial measures
  used by other companies, limiting their usefulness for comparison purposes. Moreover, presentation of revenue on a constant currency
  basis is provided for year-over-year comparison purposes, and investors should be cautioned that the effect of changing foreign
  currency exchange rates has an actual effect on our operating results. We believe these non-GAAP financial measures provide investors
  with useful supplemental information about the financial performance of our business, enable comparison of financial results between
  periods where certain items may vary independent of business performance, and allow for greater transparency with respect to key
  metrics used by management in operating our business.

  Executive Overview of Full Year 2022 Results

          Our mission is to give people the power to build community and bring the world closer together. In 2022, we continued to focus
  on our main revenue growth priorities: (i) helping marketers use our products to connect with consumers and (ii) making our ads more
  relevant and effective. We also continued to invest in both our family of apps and our metaverse efforts based on our company
  priorities.

         Our financial results and key community metrics for 2022 are set forth below. Our total revenue for 2022 was $116.61 billion, a
  decrease of 1% compared to 2021, which reflects a $5.96 billion negative impact from the appreciation of the U.S. dollar relative to
  other foreign currencies. Revenue on a constant currency basis was $122.57 billion for 2022, an increase of 4% compared to 2021. Our
  advertising revenue was impacted by a reduction in advertising demand during 2022 compared to 2021, which we believe was
  primarily driven by reduced marketer spending as a result of a more challenging macroeconomic environment, as well as limitations on
  our ad targeting and measurement tools arising from changes to iOS and the regulatory environment. Our average price per ad
  decreased by 16% year-over-year in 2022, partially offset by an 18% year-over-year increase in ad impressions delivered across our
  Family of Apps.

         Income from operations for 2022 was $28.94 billion, a decrease of $17.81 billion, or 38%, compared to 2021, mainly due to an
  increase in payroll and related expenses associated with a 20% increase in employee headcount particularly in engineering and other
  technical functions and higher operational expenses related to our data centers and technical infrastructure. Starting in the third quarter
  of 2022, we began a series of cost management initiatives including facilities consolidation, a layoff of approximately 11,000
  employees, and a pivot in our data center strategy, which resulted in total restructuring charges of $4.61 billion in 2022. We expect we
  may incur significant additional restructuring charges as we continue to focus on cost efficiency measures through 2023.




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  Consolidated and Segment Results

        We report our financial results for our two reportable segments: Family of Apps (FoA) and Reality Labs (RL). FoA includes
  Facebook, Instagram, Messenger, WhatsApp, and other services. RL includes our augmented and virtual reality related consumer
  hardware, software, and content.

                                     Family of Apps                             Reality Labs                                          Total
                                Year Ended                                Year Ended                                        Year Ended
                               December 31,                              December 31,                                      December 31,
                            2022           2021       % change       2022            2021          % change             2022             2021         % change

                                                                      (in millions, except percentages)
  Revenue               $ 114,450      $ 115,655        (1)%     $    2,159      $      2,274         (5)%      $ 116,609         $ 117,929              (1)%
  Costs and expenses    $   71,789     $   58,709       22%      $   15,876      $   12,467           27%       $       87,665    $      71,176          23%
  Income (loss) from
  operations            $   42,661     $   56,946      (25)%     $ (13,717)      $ (10,193)          (35)%      $       28,944    $      46,753         (38)%
  Operating margin              37 %          49 %                     (635)%           (448)%                             25 %               40 %

    •    Net income was $23.20 billion, with diluted earnings per share of $8.59 for the year ended December 31, 2022.
    •    Capital expenditures, including principal payments on finance leases, were $32.04 billion for the year ended December 31, 2022.
    •    Effective tax rate was 19.5% for the year ended December 31, 2022.
    •    Cash, cash equivalents, and marketable securities were $40.74 billion as of December 31, 2022.
    •    Long-term debt was $9.92 billion as of December 31, 2022.
    •    Headcount was 86,482 as of December 31, 2022, an increase of 20% year-over-year. Our reported headcount includes a
         substantial majority of the approximately 11,000 employees impacted by the layoff we announced in November 2022, who will
         no longer be reflected in our headcount by the end of the first quarter of 2023.

  Restructuring

         In 2022, we initiated several measures to pursue greater efficiency and to realign our business and strategic priorities. This
  includes a facilities consolidation strategy to sublease, early terminate, or abandon several office buildings under operating leases, a
  layoff of approximately 11,000 of our employees across the FoA and RL segments, and a pivot towards a next generation data center
  design, including cancellation of multiple data center projects.

         A summary of our restructuring charges for the year ended December 31, 2022 by major activity type is as follows (in millions):
                                                                                               Severance and
                                                                       Facilities             Other Personnel
                                                                     Consolidation                 Costs            Data Center Assets               Total
  Cost of revenue                                                $                154     $                —        $            1,341     $             1,495
  Research and development                                                      1,311                     408                       —                    1,719
  Marketing and sales                                                             404                     234                       —                      638
  General and administrative                                                      426                     333                       —                      759
        Total                                                    $              2,295     $               975       $            1,341     $             4,611


        Total restructuring charges recorded under our FoA segment were $4.10 billion and RL segment were $515 million. These
  charges lowered our operating margin by four percentage points and diluted earnings per share (EPS) by $1.34. The impact of
  severance and other personnel costs recorded in the fourth quarter of 2022 was not material after offsetting with the savings from the
  decreases in payroll, bonus and other benefits expenses.

        See Note 3 — Restructuring in the notes to the consolidated financial statements included in Part II, Item 8, "Financial
  Statements and Supplementary Data" of this Annual Report on Form 10-K for additional information regarding restructuring charges.




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  Family of Apps Metrics

    •   Family daily active people (DAP) was 2.96 billion on average for December 2022, an increase of 5% year-over-year.
    •   Family monthly active people (MAP) was 3.74 billion as of December 31, 2022, an increase of 4% year-over-year.
    •   Facebook daily active users (DAUs) were 2.00 billion on average for December 2022, an increase of 4% year-over-year.
    •   Facebook monthly active users (MAUs) were 2.96 billion as of December 31, 2022, an increase of 2% year-over-year.
    •   Ad impressions delivered across our Family of Apps increased by 18% year-over-year in 2022, and the average price per ad
        decreased by 16% year-over-year in 2022.

  Developments in Advertising

         Substantially all of our revenue is currently generated from advertising on Facebook and Instagram. We rely on targeting and
  measurement tools that incorporate data signals from user activity on websites and services that we do not control in order to deliver
  relevant and effective ads to our users. Our advertising revenue has been, and we expect will continue to be, adversely affected by
  reduced marketer spending as a result of limitations on our ad targeting and measurement tools arising from changes to the regulatory
  environment and third-party mobile operating systems and browsers.

         In particular, legislative and regulatory developments such as the General Data Protection Regulation, ePrivacy Directive, and
  California Privacy Rights Act have impacted our ability to use data signals in our ad products, and we expect these and other
  developments such as the Digital Markets Act will have further impact in the future. As a result, we have implemented, and we will
  continue to implement, changes to our products and user data practices, which reduce our ability to effectively target and measure ads.
  In addition, mobile operating system and browser providers, such as Apple and Google, have implemented product changes and/or
  announced future plans to limit the ability of websites and application developers to collect and use these signals to target and measure
  advertising. For example, in 2021, Apple made certain changes to its products and data use policies in connection with changes to its
  iOS operating system that reduce our and other iOS developers' ability to target and measure advertising, which has negatively
  impacted, and we expect will continue to negatively impact, the size of the budgets marketers are willing to commit to us and other
  advertising platforms.

         To mitigate these developments, we are working to evolve our advertising systems to improve the performance of our ad
  products. We are developing privacy enhancing technologies to deliver relevant ads and measurement capabilities while reducing the
  amount of personal information we process, including by relying more on anonymized or aggregated third-party data. In addition, we
  are developing tools that enable marketers to share their data into our systems, as well as ad products that generate more valuable
  signals within our apps. More broadly, we also continue to innovate our advertising tools to help marketers prepare campaigns and
  connect with consumers, including developing growing formats such as Reels ads and our business messaging ad products. Across all
  of these efforts, we are making significant investments in artificial intelligence and machine learning to improve our delivery, targeting,
  and measurement capabilities. We are also engaging with others across our industry to explore the possibility of new open standards for
  the private and secure processing of data for advertising purposes. We expect that some of these efforts will be long-term initiatives,
  and that the regulatory and platform developments described above will continue to adversely impact our advertising revenue for the
  foreseeable future.

  Other Business and Macroeconomic Conditions

          Other global and regional business, macroeconomic, and geopolitical conditions also have had, and we believe will continue to
  have, an impact on our user growth and engagement and advertising revenue. In particular, we believe advertising budgets have been
  pressured by factors such as inflation, rising interest rates, and related market uncertainty, which has led to reduced marketer spending.
  In addition, competitive products and services have reduced some users' engagement with our products and services. In response to
  competitive pressures, we have introduced new features such as Reels and are investing in our artificial intelligence-powered discovery
  engine to recommend relevant unconnected content across our products. While Reels is growing in usage, it is not currently monetized
  at the same rate as our feed or Stories products. We also have seen fluctuations and declines in the size of our active user base in one or
  more markets from time to time. For example, in connection with the war in Ukraine, access to Facebook and Instagram was restricted
  in Russia and the services were then prohibited by the Russian government, which adversely affected user growth and engagement in
  2022. These trends adversely affected advertising revenue in 2022, and we expect will continue to affect our advertising revenue in the
  foreseeable future.


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         The COVID-19 pandemic has also impacted our business and results of operations, with a varied impact on user growth and
  engagement, as well as the demand for and pricing of our ads from period to period. While we experienced a reduction in advertising
  demand and a related decline in pricing during the onset of the pandemic, we believe the pandemic subsequently contributed to an
  acceleration in the growth of online commerce, and we experienced increasing demand for advertising as a result of this trend. More
  recently, we believe this growth has declined, and we saw continued softening of advertising demand in 2022 as many activities that
  shifted online during COVID-19 related lockdowns resumed in person. We may experience similar volatility in the demand for and
  pricing of our advertising services as a result of the pandemic in the future.

          Although we regularly evaluate a variety of sources to understand trends in our advertising revenue, we do not have perfect
  visibility into the factors driving advertiser spending decisions and our assessments involve complex judgments about what is driving
  advertising decisions across a large and diversified advertiser base across the globe. Trends impacting advertising spend are also
  dynamic and interrelated. As a result, it is difficult to identify with precision which advertiser spending decisions are attributable to
  which trends, and we are unable to quantify the exact impact that each trend had on our advertising revenue during the periods
  presented.

  Investment Philosophy

         In 2022, we continued to invest based on the following company priorities: (i) continue making progress on the major social
  issues facing the internet and our company, including privacy, safety, and security; (ii) build new experiences that meaningfully
  improve people's lives today and set the stage for even bigger improvements in the future; (iii) keep building our business by
  supporting the millions of businesses that rely on our services to grow and create jobs; and (iv) communicate more transparently about
  what we're doing and the role our services play in the world.

         We anticipate that investments in our data center capacity, servers, network infrastructure, and headcount will continue to drive
  expense growth in 2023, which will adversely affect our operating margin and profitability. The majority of our investments are
  directed toward developing our family of apps. In 2022, 82% of our total costs and expenses were recognized in FoA and 18% were
  recognized in RL. Our FoA investments include expenses relating to headcount, data centers and technical infrastructure as part of our
  efforts to develop our apps and our advertising services. We are also making significant investments in our metaverse efforts, including
  developing virtual and augmented reality devices, software for social platforms, neural interfaces, and other foundational technologies
  for the metaverse. Our RL investments include expenses relating to headcount and technology development across these efforts. Many
  of our RL investments are directed toward long-term, cutting-edge research and development for products for the metaverse that are not
  on the market today and may only be fully realized in the next decade. Although it is inherently difficult to predict when and how the
  metaverse ecosystem will develop, we expect our RL segment to continue to operate at a loss for the foreseeable future, and our ability
  to support our metaverse efforts is dependent on generating sufficient profits from other areas of our business. We expect this will be a
  complex, evolving, and long-term initiative. We are investing now because we believe this is the next chapter of the internet and will
  unlock monetization opportunities for businesses, developers, and creators, including around advertising, hardware, and digital goods.




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  Trends in Our Family Metrics

        The numbers for our key Family metrics, our DAP, MAP, and average revenue per person (ARPP), do not include users on our
  other products unless they would otherwise qualify as DAP or MAP, respectively, based on their other activities on our Family
  products.

         Trends in the number of people in our community affect our revenue and financial results by influencing the number of ads we
  are able to show, the value of our ads to marketers, as well as our expenses and capital expenditures. Substantially all of our daily and
  monthly active people (as defined below) access our Family products on mobile devices.

      •     Daily Active People (DAP). We define a daily active person as a registered and logged-in user of Facebook, Instagram,
            Messenger, and/or WhatsApp (collectively, our "Family" of products) who visited at least one of these Family products
            through a mobile device application or using a web or mobile browser on a given day. We do not require people to use a
            common identifier or link their accounts to use multiple products in our Family, and therefore must seek to attribute multiple
            user accounts within and across products to individual people. Our calculations of DAP rely upon complex techniques,
            algorithms, and machine learning models that seek to estimate the underlying number of unique people using one or more of
            these products, including by matching user accounts within an individual product and across multiple products when we
            believe they are attributable to a single person, and counting such group of accounts as one person. As these techniques and
            models require significant judgment, are developed based on internal reviews of limited samples of user accounts, and are
            calibrated against user survey data, there is necessarily some margin of error in our estimates. We view DAP, and DAP as a
            percentage of MAP, as measures of engagement across our products. For additional information, see the section entitled
            "Limitations of Key Metrics and Other Data" in this Annual Report on Form 10-K.


                                                                             Daily Active People
                                                                                 Worldwide
                                                                                 (in billions)
                                                                     (daily average over month ended)

                                          4.00


                                                                               2.81     2.82    2.87      2.88     2.93    2.96
                                          3.00


                                          2.00


                                          1.00


                                          0.00
                                                   Dec 31   Mar 31   Jun 30   Sep 30   Dec 31   Mar 31   Jun 30   Sep 30   Dec 31
                                                    2020     2021     2021     2021     2021     2022     2022     2022     2022



                                        DAP/MAP: 79%         79%      79%      78%      79%      79%       79%      79%      79%


          Note: We report the numbers of DAP and MAP as specific amounts, but these numbers are estimates of the numbers of unique people using our products and are
          subject to statistical variances and errors. While we expect the error margin for these estimates to vary from period to period, we estimate that such margin
          generally will be approximately 3% of our worldwide MAP. At our scale, it is very difficult to attribute multiple user accounts within and across products to
          individual people, and it is possible that the actual numbers of unique people using our products may vary significantly from our estimates, potentially beyond
          our estimated error margins. For additional information, see the section entitled "Limitations of Key Metrics and Other Data" in this Annual Report on Form
          10-K. In the first quarter of 2021, we updated our Family metrics calculations to maintain calibration of our models against recent user survey data, and we
          estimate such update contributed an aggregate of approximately 60 million DAP to our reported worldwide DAP in March 2021. In the third quarter of 2022, we
          updated our Family metrics calculations to maintain calibration of our models against recent user survey data, and we estimate such update contributed an
          aggregate of approximately 30 million DAP to our reported worldwide DAP in September 2022.


          Worldwide DAP increased 5% to 2.96 billion on average during December 2022 from 2.82 billion during December 2021.




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      •     Monthly Active People (MAP). We define a monthly active person as a registered and logged-in user of one or more Family
            products who visited at least one of these Family products through a mobile device application or using a web or mobile
            browser in the last 30 days as of the date of measurement. We do not require people to use a common identifier or link their
            accounts to use multiple products in our Family, and therefore must seek to attribute multiple user accounts within and across
            products to individual people. Our calculations of MAP rely upon complex techniques, algorithms, and machine learning
            models that seek to estimate the underlying number of unique people using one or more of these products, including by
            matching user accounts within an individual product and across multiple products when we believe they are attributable to a
            single person, and counting such group of accounts as one person. As these techniques and models require significant
            judgment, are developed based on internal reviews of limited samples of user accounts, and are calibrated against user survey
            data, there is necessarily some margin of error in our estimates. We view MAP as a measure of the size of our global active
            community of people using our products. For additional information, see the section entitled "Limitations of Key Metrics and
            Other Data" in this Annual Report on Form 10-K.


                                                                          Monthly Active People
                                                                              Worldwide
                                                                              (in billions)

                                          4.00                                                     3.64      3.65     3.71    3.74
                                                                               3.58         3.59


                                          3.00



                                          2.00



                                          1.00



                                          0.00
                                                   Dec 31   Mar 31   Jun 30   Sep 30    Dec 31     Mar 31   Jun 30   Sep 30   Dec 31
                                                    2020     2021     2021     2021      2021       2022     2022     2022     2022


          Note: We report the numbers of DAP and MAP as specific amounts, but these numbers are estimates of the numbers of unique people using our products and are
          subject to statistical variances and errors. While we expect the error margin for these estimates to vary from period to period, we estimate that such margin
          generally will be approximately 3% of our worldwide MAP. At our scale, it is very difficult to attribute multiple user accounts within and across products to
          individual people, and it is possible that the actual numbers of unique people using our products may vary significantly from our estimates, potentially beyond
          our estimated error margins. For additional information, see the section entitled "Limitations of Key Metrics and Other Data" in this Annual Report on Form
          10-K. In the first quarter of 2021, we updated our Family metrics calculations to maintain calibration of our models against recent user survey data, and we
          estimate such update contributed an aggregate of approximately 70 million MAP to our reported worldwide MAP in March 2021. In the third quarter of 2022,
          we updated our Family metrics calculations to maintain calibration of our models against recent user survey data, and we estimate such update contributed an
          aggregate of approximately 40 million MAP to our reported worldwide MAP in September 2022.


          As of December 31, 2022, we had 3.74 billion MAP, an increase of 4% from 3.59 billion as of December 31, 2021.




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      •     Average Revenue Per Person (ARPP). We define ARPP as our total revenue during a given quarter, divided by the average of
            the number of MAP at the beginning and end of the quarter. While ARPP includes all sources of revenue, the number of MAP
            used in this calculation only includes users of our Family products as described in the definition of MAP above. We estimate
            that the share of revenue from users who are not also MAP was not material.


                                                                                 Revenue
                                                                               Worldwide
                                                                      (in $ millions, except ARPP)


                                35,000

                                28,000

                                21,000

                                14,000

                                 7,000

                                     0
                                            Dec 31   Mar 31     Ju n 30    Sep 30        Dec 31   Mar 31   Jun 30   Sep 30   Dec 31
                                            2020       2021      2021       2021         2021      2022     2022    2022     2022


                                    ARPP:   $8.62     $7.75    $8.36       $8.18      $9.39       $7.72    $7.91    $7.53    $8.63

                                                                      ■ Ad Re\·enue       ■ Non-Ad Remme



          Note: Non-advertising revenue includes RL revenue generated from the delivery of consumer hardware products and FoA Other revenue, which consists of net
          fees we receive from developers using our Payments infrastructure and revenue from various other sources.


        Our annual worldwide ARPP in 2022, which represents the sum of quarterly ARPP during such period, was $31.79, a decrease
  of 6% from 2021.




                                                                                    60




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  Trends in Our Facebook User Metrics

          The numbers for our key Facebook metrics, our DAUs, MAUs, and average revenue per user (ARPU), do not include users on
  Instagram, WhatsApp, or our other products, unless they would otherwise qualify as DAUs or MAUs, respectively, based on their other
  activities on Facebook.

         Trends in the number of users affect our revenue and financial results by influencing the number of ads we are able to show, the
  value of our ads to marketers, as well as our expenses and capital expenditures. Substantially all of our daily and monthly active users
  (as defined below) access Facebook on mobile devices.

      •    Daily Active Users (DAUs). We define a daily active user as a registered and logged-in Facebook user who visited Facebook
           through our website or a mobile device, or used our Messenger application (and is also a registered Facebook user), on a given
           day. We view DAUs, and DAUs as a percentage of MAUs, as measures of user engagement on Facebook.

                                                                                                      Daily Active Users
                                                                                                          Worldwide
                                                                                                         (in millions)
                                                                                            (daily average over the month ended)


                                                             2,500
                                                                                                                    1,984 2,000
                                                             2,000        1,845 1,878 1,908 1,930 1,929 1,960 1,968

                                                             1,500

                                                             1,000

                                                              500

                                                                0
                                                                          Dec 31   Mar31        Jun 30     Sep30      Dec 31   Mar31    Jun 30   Sep30       Dec 31
                                                                          2020     202 1        202 1       202 1     202 1    2022     2022      2022        2022

                                                              DAU/MAU: 66%            66%         66%           66%      66%     67%      67%      67%        67%

                                             Daily Active Users                                                                                      Daily Active Users
                                                US & Canada                                                                                                Europe
                                                (in millions)                                                                                           (in millions)
                                   (daily average over the month ended)                                                                    (daily average over the month ended)


               350                                                                                                    350       308     309      307        308       309      307    303      303     304
               300                                                                                                    300
               250                                                                                                    250
                      195       195      195        196         195       196      197         197       199
               200                                                                                                    200
               150                                                                                                    150
               100                                                                                                    100
                so                                                                                                     so
                 0                                                                                                      0
                      Dec 3 1   Mar3 1   Jun 30     Sep 30     0ec31      Mar31    Jun 30     Sep30      Dec 31                Dec 31   Mar3 1   Jun 30     Sep30     0ec31   Mar31   Jun 30   Sep30   Dec 31
                       2020     202 1     2021       202 1      202 1     2022     2022        2022      2022                   2020    2021      2021       2021     2021     2022   2022      2022   2022

               DAU/MAU: 76%        75%     75%        75%        74%       75%      75%        74%       75%          DAU/MAU: 74%         73%      73%       73%       72%     73%      74%     74%     75%

                                                  Daily Active Users                                                                                      Daily Active Users
                                                     Asia -Pacific                                                                                          Rest of World
                                                     (in millions)                                                                                           (in millions)
                                   (daily average over the month ended)                                                                    (daily average over the month ended)

                                                    805         806       827      836         845       854
               900                       788                                                                          900
               800                                                                                                    800
               700                                                                                                    700       598     613      618        622       619      629    631      638     643
               600                                                                                                    600
               500                                                                                                    500
               400                                                                                                    400
               300                                                                                                    300
               200                                                                                                    200
               100                                                                                                    100
                 0                                                                                                      0
                      Dec 31    Mar31    Jun 30     Sep30      Dec 31     Mar31    Jun 30     Sep30      Dec 31                Dec 31   Mar3 1   Jun 30     5ep30     0ec31   Mar31   Jun 30   Sep30   Dec 31
                      2020      202 1     2021       202 1      2021      2022     2022        2022      2022                   2020    2021     2021        2021      2021    2022   2022      2022   20 22

               DAU/MAU: 62%        62%      62%       63%           63%     64%     64%        64%       65%          DAU/MAU: 65%       65%      65%        66%      65%       66%    66%      66%    66%




https://www.sec.gov/Archives/edgar/data/1326801/000132680123000013/meta-20221231.htm                                                                                                                            108/205
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        Note: For purposes of reporting DAUs, MAUs, and ARPU by geographic region, Europe includes all users in Russia and Turkey and Rest of World includes all
        users in Africa, Latin America, and the Middle East.




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         Worldwide DAUs increased 4% to 2.00 billion on average during December 2022 from 1.93 billion during December 2021.
  Users in India, the Philippines, and Bangladesh represented the top three sources of growth in DAUs during December 2022, relative to
  the same period in 2021.

      •    Monthly Active Users (MAUs). We define a monthly active user as a registered and logged-in Facebook user who visited
           Facebook through our website or a mobile device, or used our Messenger application (and is also a registered Facebook user),
           in the last 30 days as of the date of measurement. MAUs are a measure of the size of our global active user community on
           Facebook.


                                                                                                               Monthly Active Users
                                                                                                                   Worldwide
                                                                                                                  (in millions)


                                                                  3,500
                                                                                  2,797 2,853 2,895 2,9 10 2,912 2,936 2,934 2,958 2,963
                                                                  3,000
                                                                  2,500
                                                                  2,000
                                                                  1,500
                                                                  1,000
                                                                       500
                                                                        0

                                                                                      ~" - "               ~m          -m       ~" - " ~m                           -m            ~"
                                                                                      2020       2021       202 1       202 1   2021           2022       2022         2022        2022




                                                Monthly Active Users                                                                                                             Monthly Active Users
                                                   US & Canada                                                                                                                         Europe
                                                   (in millions)                                                                                                                    (in millions)


            400                                                                                                                   500
                                                                                                                                                  419          42 3       420          423         4 27     418     407      408      407
                                                                                                    266         266              400
            300       258        259        259       261      262           263        264
                                                                                                                                  300
            200
                                                                                                                                  200
            100
                                                                                                                                  100

              0                                                                                                                        0
                      Dec 31     Mar31      Jun 30    Sep 30   Dec 31        Mar3 1     Jun 30     Sep30       0ec31                             Dec31         Marll      Jun 30       Sep30       Dec 31   Mar31   Jun 30   Sep 30   Dec 31
                      2020       2021        2021      2021    202 1         2022       2022        2022        2022                              2020         2021        2021         2021        2021    2022    2022      2022    2022




                                                Monthly Active Users                                                                                                             Monthly Active Users
                                                   Asia-Pacific                                                                                                                    Rest of World
                                                   (in millions)                                                                                                                    (in millions)

            1,400      1,199 1,230 1,265 1,278 1,278 1,297 1,305 1,312 1,312                                                      1, 200
                                                                                                                                                                 940          951         949       945      957     959      971     979
            1,200                                                                                                                 1,000               921
            1,000
                                                                                                                                   800
             800
                                                                                                                                   600
             600
                                                                                                                                    400
             400
             200                                                                                                                    200

                  0                                                                                                                        0
                        Dec 31    M ar3 1    Jun 30   Sep30    Dec 31        Mar31      Jun 30     Sep 30      Dec 31                                 Dec 31     Mar31        Jun 30      Sep 30   Dec 31   Mar31   Jun 30   Sep30    Dec31
                        2020       202 1      2021     202 1    202 1         2022       2022       2022        2022                                  2020       2021         202 1        202 1    202 1    2022    2022     202 2   2022




        As of December 31, 2022, we had 2.96 billion MAUs, an increase of 2% from December 31, 2021. Users in India, Nigeria, and
  Bangladesh represented the top three sources of growth in 2022, relative to the same period in 2021.




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  Trends in Our Monetization by Facebook User Geography

         We calculate our revenue by user geography based on our estimate of the geography in which ad impressions are delivered,
  virtual and digital goods are purchased, or consumer hardware products are shipped. We define ARPU as our total revenue in a given
  geography during a given quarter, divided by the average of the number of MAUs in the geography at the beginning and end of the
  quarter. While ARPU includes all sources of revenue, the number of MAUs used in this calculation only includes users of Facebook
  and Messenger as described in the definition of MAU above. While the share of revenue from users who are not also Facebook or
  Messenger MAUs has grown over time, we estimate that revenue from users who are Facebook or Messenger MAUs represents the
  substantial majority of our total revenue. See "Average Revenue Per Person (ARPP)" above for our estimates of trends in our
  monetization of our Family products. The geography of our users affects our revenue and financial results because we currently
  monetize users in different geographies at different average rates. Our revenue and ARPU in regions such as United States & Canada
  and Europe are relatively higher primarily due to the size and maturity of those online and mobile advertising markets. For example,
  ARPU in 2022 in the United States & Canada region was more than 11 times higher than in the Asia-Pacific region.

                                                                                                                   Revenue
                                                                                                                 Worldwide
                                                                                                        (in$ mi llion s, exce pt ARPU)
                                                                                                                               33,671
                                                          35,000
                                                                           :    '                     .'         .'       I
                                                                                                                                1,032
                                                                                                                                             •1:     ..
                                                          28,000                                                                                                         911
                                                                           885                         497        734                                 670
                                                                                                                                           910                 477
                                                                                            732
                                                          21,000
                                                                                                                               32,639                                   31,254
                                                          14,000          27,187                      28,580     28,276                   26,998    28,152    27,237
                                                                                       25,439

                                                           7,000

                                                                         - -           -             ---         --            ---        - -           -    - -       ---
                                                              0
                                                                          Dec 31       Mar31          Jun 30     Sep 30        Dec 31     Mar31     Jun 30   Sep 30     Dec 31
                                                                          2020             2021       2021        2021          2021      2022       2022     2022       2022

                                                            ARPU:        $10.14            $9.27     $10.12 $10.00            $11.57      $9.54     $9.82    $9.41     $10.86
                                                    Revenu e                                                                                                             Revenue
                                                 US & Canada                                                                                                              Europe
                                          (in$ million s, except ARPU )                                                                                       (in $ millions, except ARPU )
         18,000                                            15,826                                               15,636 IO,OOO
                                                                                                                                                                                 8,357
         15,000
                                                                                                                                                                                                                      I    I
                                                                                                                              7,500                                               183       •:.
         12,000                                                                                                                                                65
                                                                                                                                           189                          134                                          146
                                                                                                                                                     150                                   122       92
         9,000                                                                                                                5,000                                                                          90
                                                                                                                                                                                 8,174
         6,000                                                                                                                             6,822             7,205     6,821                                        6,904
                                                                                                                                                     6,373                                 6,364   6,360
                                                                                                                                                                                                            5,707
                                                                                                                              2,500
         3,000

                0                                                                                                                 0
                      Dec 31    Mar31    Jun 30    Sep30       Dec 31          Mar31        Jun 30     Sep 30    Dec 31                    Dec 31   Mar31    Jun 30    Sep30     Dec 31   Mar31    Jun 30   Sep30   Dec 31
                       2020      2021     2021      2021          2021          2022         2022       2022      2022                      2020     2021     2021      2021      2021     2022     2022     2022    2022


           ARPU: $ 53.56 $ 48.03 $ 53.01 $ 52.34 $ 60.57 $48.29 $50.25 $49.13 $58.77                                                  ARPU: $16.87 $15.49 $17.23 $16.50 $19.68 $15.35 $15.64 $14.23 $17.29

                                                    Revenue                                                                                                              Revenue
                                                  Asia-Pacific                                                                                                       Rest of World
                                         (in $ millions, except ARPU )                                                                                        (in $ millions, except ARPU )
        3,000                                                                                                                 ~,000

                                                             6,244                                              6,050
                                                                                                                              1,000                                                                                 3,429
        5,000                                                                                                                                                                    3,244

                                                                                                                              3,000
        1,000
                                                                                                                              1,000

        1,000
                                                                                                                              1,000


            0                                                                                                                    0
                    Dec 31     Mar31    Jun 30    Sep30      0ec31        Mar31            Jun 30     Sep30     0ec31                     Dec 31    Mar31    Jun 30    Sep30     0ec31    Mar31    Jun 30   Sep30   0ec31
                     2020       2021    2021       2021       2021         2022            2022       2022       2022                      2020      2021    2021       2021      2.021    2022     2022     2022    2022


          ARPU: $4.05          $3.94    $4.16     $4.30      $4.89        $4.47 $4.54                $4.42      $4.61           ARPU: $2.77         $2.64    $3.05     $3.14 $3.43        $3.14    $3.35    $3.21   $3.52

                                                                                                      ■ Ad Re\·enue               ■ Non-Ad Re\·enue




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        Note: Non-advertising revenue includes RL revenue generated from the delivery of consumer hardware products and FoA Other revenue, which consists of net
        fees we receive from developers using our Payments infrastructure and revenue from various other sources.




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        Our revenue by user geography in the charts above is geographically apportioned based on our estimation of the geographic location of our users when they
        perform a revenue-generating activity. This allocation differs from our revenue disaggregated by geography disclosure in Note 2 — Revenue in our consolidated
        financial statements included in Part II, Item 8, "Financial Statements and Supplemental Data" where revenue is geographically apportioned based on the
        addresses of our customers.


         Our annual worldwide ARPU in 2022, which represents the sum of quarterly ARPU during such period, was $39.63, a decrease
  of 3% from 2021. For 2022, ARPU decreased by 9% in Europe and 4% in United States & Canada, and increased by 4% in Asia-
  Pacific and 8% in Rest of World. In addition, user growth was mostly in geographies with relatively lower ARPU, such as Asia‑Pacific
  and Rest of World. We expect that user growth in the future will be primarily concentrated in those regions where ARPU is relatively
  lower, such that worldwide ARPU may decrease at a higher rate, or increase at a slower rate, relative to ARPU in any geographic region
  in a particular period, or potentially decrease even if ARPU increases in each geographic region.




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  Critical Accounting Policies and Estimates

         Our consolidated financial statements are prepared in accordance with U.S. GAAP. The preparation of these consolidated
  financial statements requires us to make estimates and assumptions that affect the reported amounts of assets, liabilities, revenue, costs
  and expenses, and related disclosures. On an ongoing basis, we evaluate our estimates and assumptions based on historical experience
  and on various other assumptions that we believe are reasonable under the circumstances. Our actual results could differ from these
  estimates under different assumptions or conditions.

         An accounting policy is deemed to be critical if the nature of the estimates or assumptions is material due to the levels of
  subjectivity and judgment necessary to account for highly uncertain matters or the susceptibility of such matters to change, and the
  impact of the estimates and assumptions on our consolidated financial statements is material. We believe that the assumptions and
  estimates associated with gross vs. net in revenue recognition, valuation of non-marketable equity securities, income taxes, loss
  contingencies, and valuation of long-lived assets including goodwill, intangible assets, and property and equipment, and their
  associated estimated useful lives, when applicable, have the greatest potential impact on our consolidated financial statements.
  Therefore, we consider these to be our critical accounting policies and estimates. For further information on all of our significant
  accounting policies, see Note 1 — Summary of Significant Accounting Policies in the accompanying notes to consolidated financial
  statements included in Part II, Item 8, "Financial Statements and Supplementary Data" of this Annual Report on Form 10-K.

  Gross vs. Net in Revenue Recognition

         For revenue generated from arrangements that involve third parties, there is significant judgment in evaluating whether we are
  the principal, and report revenue on a gross basis, or the agent, and report revenue on a net basis. In this assessment, we consider if we
  obtain control of the specified goods or services before they are transferred to the customer, as well as other indicators such as the party
  primarily responsible for fulfillment, inventory risk, and discretion in establishing price. The assessment of whether we are considered
  the principal or the agent in a transaction could impact our revenue and cost of revenue recognized on the consolidated statements of
  income.

  Valuation of Non-marketable Equity Securities

         For our non-marketable equity securities without readily determinable fair values accounted for using the measurement
  alternative, determining whether a non-marketable equity security issued by the same issuer is similar to the non-marketable equity
  security we hold may require judgment in (a) assessment of differences in rights and obligations associated with the instruments such
  as voting rights, distribution rights and preferences, and conversion features, and (b) adjustments to the observable price for differences
  such as, but not limited to, rights and obligations, control premium, liquidity, or principal or most advantageous markets. In addition,
  the identification of observable transactions will depend on the timely reporting of these transactions from our investee companies,
  which may occur in a period subsequent to when the transactions take place. Therefore, our fair value adjustment for these observable
  transactions may occur in a period subsequent to when the transaction actually occurred. For non-marketable equity securities, we
  perform a qualitative assessment at each reporting date to determine whether there are triggering events for impairment. The qualitative
  assessment considers factors such as, but not limited to, the investee's financial condition and business outlook; industry and sector
  performance; regulatory, economic or technological environment; operational and financing cash flows; and other relevant events and
  factors affecting the investee. When indicators of impairment exist, we estimate the fair value of our non-marketable equity securities
  using the market approach and/or the income approach and recognize impairment loss in the consolidated statements of income if the
  estimated fair value is less than the carrying value. Estimating fair value requires judgment and use of estimates such as discount rates,
  forecast cash flows, holding period, and market data of comparable companies, among others.

  Income Taxes

        We are subject to income taxes in the United States and numerous foreign jurisdictions. Significant judgment is required in
  determining our provision for income taxes and income tax assets and liabilities, including evaluating uncertainties in the application of
  accounting principles and complex tax laws.

        We recognize tax benefits from uncertain tax positions only if we believe that it is more likely than not that the tax position will
  be sustained on examination by the taxing authorities based on the technical merits of the position. These uncertain tax positions
  include our estimates for transfer pricing that have been developed based upon analyses of appropriate

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  arms-length prices. Similarly, our estimates related to uncertain tax positions concerning research and development tax credits are
  based on an assessment of whether our available documentation corroborating the nature of our activities supporting the tax credits will
  be sufficient. Although we believe that we have adequately reserved for our uncertain tax positions (including net interest and
  penalties), we can provide no assurance that the final tax outcome of these matters will not be materially different. We make
  adjustments to these reserves in accordance with the income tax accounting guidance when facts and circumstances change, such as the
  closing of a tax audit or the refinement of an estimate. To the extent that the final tax outcome of these matters is different from the
  amounts recorded, such differences will affect the provision for income taxes in the period in which such determination is made, and
  could have a material impact on our financial condition and operating results.

  Loss Contingencies

         We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations that arise in the
  ordinary course of business. Certain of these matters include speculative claims for substantial or indeterminate amounts of damages.
  Additionally, we are required to comply with various legal and regulatory obligations around the world, and we regularly become
  subject to new laws and regulations in the jurisdictions in which we operate. The requirements for complying with these obligations
  may be uncertain and subject to interpretation and enforcement by regulatory and other authorities, and any failure to comply with such
  obligations could eventually lead to asserted legal or regulatory action. With respect to these matters, asserted and unasserted, we
  evaluate the associated developments on a regular basis and accrue a liability when we believe that it is both probable that a loss has
  been incurred and the amount can be reasonably estimated. If we determine there is a reasonable possibility that we may incur a loss
  and the loss or range of loss can be reasonably estimated, we disclose the possible loss in the accompanying notes to the consolidated
  financial statements to the extent material.

         We review the developments in our contingencies that could affect the amount of the provisions that have been previously
  recorded, and the matters and related reasonably possible losses disclosed. We make adjustments to our provisions and changes to our
  disclosures accordingly to reflect the merits of our defenses and the impact of negotiations, settlements, regulatory proceedings,
  rulings, advice of legal counsel, and updated information. Significant judgment is required to determine the probability of loss and the
  estimated amount of loss, including when and if the probability and estimate has changed for asserted and unasserted matters. Certain
  factors, in particular, have resulted in significant changes to these estimates and judgments in prior quarters based on updated
  information available. For example, in certain jurisdictions where we operate, fines and penalties may be the result of new laws and
  preliminary interpretations regarding the basis of assessing damages, which may make it difficult to estimate what such fines and
  penalties would amount to if successfully asserted against us. In addition, certain government inquiries and investigations, such as
  matters before our lead European Union privacy regulator, the IDPC, are subject to review by other regulatory bodies before decisions
  are finalized, which can lead to significant changes in the outcome of an inquiry. As a result of these and other factors, we reasonably
  expect that our estimates and judgments with respect to our contingencies may continue to be revised in future quarters.

         The ultimate outcome of these matters, such as whether the likelihood of loss is remote, reasonably possible, or probable or if
  and when the reasonably possible range of loss is estimable, is inherently uncertain. Therefore, if one or more of these matters were
  resolved against us for amounts in excess of management's estimates of losses, our results of operations and financial condition,
  including in a particular reporting period in which any such outcome becomes probable and estimable, could be materially adversely
  affected. See Note 13 — Commitments and Contingencies and Note 16 — Income Taxes of the accompanying notes to our
  consolidated financial statements included in Part II, Item 8, "Financial Statements and Supplementary Data" and Part I, Item 3, "Legal
  Proceedings" of this Annual Report on Form 10-K for additional information regarding these contingencies.

  Valuation of Long-lived Assets including Goodwill, Intangible Assets, and Property and Equipment and Estimated Useful Lives

         We allocate the fair value of purchase consideration to the tangible assets acquired, liabilities assumed, and intangible assets
  acquired based on their estimated fair values. The excess of the fair value of purchase consideration over the fair values of these
  identifiable assets and liabilities is recorded as goodwill to reporting units based on the expected benefit from the business combination.
  Such valuations require management to make significant estimates and assumptions, especially with respect to intangible assets.
  Significant estimates in valuing certain intangible assets include, but are not limited to, estimated replacement costs and future expected
  cash flows from acquired users, acquired technology, acquired patents, and trade




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  names from a market participant perspective, useful lives, and discount rates. Management's estimates of fair value are based upon
  assumptions believed to be reasonable, but which are inherently uncertain and unpredictable and, as a result, actual results may differ
  from estimates. Allocation of purchase consideration to identifiable assets and liabilities affects our amortization expense, as acquired
  finite-lived intangible assets are amortized over the useful life, whereas any indefinite-lived intangible assets, including goodwill, are
  not amortized. During the measurement period, which is not to exceed one year from the acquisition date, we may record adjustments
  to the assets acquired and liabilities assumed, with the corresponding offset to goodwill. Upon the conclusion of the measurement
  period, any subsequent adjustments are recorded to earnings.

        Goodwill is tested for impairment at the reporting unit level annually or more frequently if events or changes in circumstances
  would more likely than not reduce the fair value of a reporting unit below its carrying value. We have two reporting units subject to
  goodwill impairment testing. As of December 31, 2022, no impairment of goodwill has been identified.

        Long-lived assets, including property and equipment and finite-lived intangible assets are reviewed for possible impairment
  whenever events or circumstances indicate that the carrying amount of such assets may not be recoverable. The evaluation is performed
  at the lowest level for which identifiable cash flows are largely independent of the cash flows of other assets and liabilities.
  Recoverability of these assets is measured by a comparison of the carrying amounts to the future undiscounted cash flows the assets are
  expected to generate from the use and eventual disposition. If such review indicates that the carrying amount of property and
  equipment and intangible assets is not recoverable, the carrying amount of such assets is reduced to fair value.

          The useful lives of our long-lived assets including property and equipment and finite-lived intangible assets are determined by
  management when those assets are initially recognized and are routinely reviewed for the remaining estimated useful lives. The current
  estimate of useful lives represents our best estimate based on current facts and circumstances, but may differ from the actual useful
  lives due to changes in future circumstances such as changes to our business operations, changes in the planned use of assets, and
  technological advancements. When we change the estimated useful life assumption for any asset, the remaining carrying amount of the
  asset is accounted for prospectively and depreciated or amortized over the revised remaining useful life.

         In connection with our periodic reviews of the estimated useful lives of property and equipment, we extended the estimated
  average useful lives of our servers and network assets category effective the second and the fourth quarters of 2022. The financial
  impact of the changes in estimates was a reduction in depreciation expense of $860 million and an increase in net income of
  $693 million, or $0.26 per diluted share for the year ended December 31, 2022. The impact from the changes in our estimates was
  calculated based on the servers and network assets existing as of the effective date of the change and applying the revised useful lives
  prospectively.

        See Note 1 — Summary of Significant Accounting Policies in the accompanying notes to consolidated financial statements
  included in Part II, Item 8, "Financial Statements and Supplementary Data" of this Annual Report on Form 10-K, for additional
  information regarding the changes in the estimated useful lives of our servers and network assets.




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  Components of Results of Operations

  Revenue

        Family of Apps (FoA)

         Advertising. We generate substantially all of our revenue from advertising. Our advertising revenue is generated by displaying
  ad products on Facebook, Instagram, Messenger, and third-party mobile applications. Marketers pay for ad products either directly or
  through their relationships with advertising agencies or resellers, based on the number of impressions delivered or the number of
  actions, such as clicks, taken by users.

         We recognize revenue from the display of impression-based ads in the contracted period in which the impressions are delivered.
  Impressions are considered delivered when an ad is displayed to a user. We recognize revenue from the delivery of action-based ads in
  the period in which a user takes the action the marketer contracted for. The number of ads we show is subject to methodological
  changes as we continue to evolve our ads business and the structure of our ads products. In particular, the number of ads we show may
  vary by product (for example, our video and Reels products are not currently monetized at the same rate as our feed or Stories
  products), and from time to time we increase or decrease the number or frequency of ads we show as part of our product and
  monetization strategies. We calculate average price per ad as total advertising revenue divided by the number of ads delivered,
  representing the average price paid per ad by a marketer regardless of their desired objective such as impression or action. For
  advertising revenue arrangements where we are not the principal, we recognize revenue on a net basis.

        Other revenue. Other revenue consists of net fees we receive from developers using our Payments infrastructure and revenue
  from WhatsApp Business Platform and various other sources.

        Reality Labs (RL)

        RL revenue is generated from the delivery of consumer hardware products, such as Meta Quest, wearables, and related software
  and content.

  Cost of Revenue and Operating Expenses

         Cost of revenue. Our cost of revenue consists mostly of expenses associated with the delivery and distribution of our products.
  These include expenses related to the operation of our data centers and technical infrastructure, such as depreciation expense from
  servers, network infrastructure and buildings, as well as payroll and related expenses which include share-based compensation for
  employees on our operations teams, and energy and bandwidth costs. Cost of revenue also includes costs associated with partner
  arrangements, including traffic acquisition costs and credit card and other fees related to processing customer transactions, and content
  costs. Additionally, cost of revenue includes RL inventory costs, which consist of cost of products sold and estimated losses on non-
  cancelable contractual commitments.

         Research and development. Research and development expenses consist primarily of payroll and related expenses which
  include share-based compensation, facilities-related costs for employees on our engineering and technical teams who are responsible
  for developing new products as well as improving existing products, RL technology development costs, and professional services.

         Marketing and sales. Marketing and sales expenses consist mostly of marketing and promotional expenses as well as payroll
  and related expenses which include share-based compensation for our employees engaged in sales, sales support, marketing, business
  development, and customer service functions. Our marketing and sales expenses also include professional services such as content
  reviewers to support our community and product operations.

          General and administrative. General and administrative expenses consist primarily of payroll and related expenses which
  include share-based compensation for certain of our executives as well as our legal, finance, human resources, corporate
  communications and policy, and other administrative employees; legal-related costs, which include estimated fines, settlements, or
  other losses in connection with legal and related matters, as well as other legal fees; professional services, and other taxes, such as
  digital services taxes, other tax levies.



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  Results of Operations

         In this section, we discuss the results of our operations for the year ended December 31, 2022 compared to the year ended
  December 31, 2021. For a discussion of the year ended December 31, 2021 compared to the year ended December 31, 2020, please
  refer to Part II, Item 7, "Management's Discussion and Analysis of Financial Condition and Results of Operations" in our Annual
  Report on Form 10-K for the year ended December 31, 2021.

          The following table sets forth our consolidated statements of income data (in millions):
                                                                                                              Year Ended December 31,
                                                                                                 2022                  2021              2020
  Revenue                                                                                  $       116,609       $      117,929      $     85,965
  Costs and expenses:
    Cost of revenue                                                                                    25,249               22,649         16,692
    Research and development                                                                           35,338               24,655         18,447
    Marketing and sales                                                                                15,262               14,043         11,591
    General and administrative                                                                         11,816                9,829          6,564
       Total costs and expenses                                                                        87,665               71,176         53,294
  Income from operations                                                                               28,944               46,753         32,671
  Interest and other income (expense), net                                                               (125)                 531            509
  Income before provision for income taxes                                                             28,819               47,284         33,180
  Provision for income taxes                                                                            5,619                7,914          4,034
  Net income                                                                               $           23,200 $             39,370   $     29,146


          The following table sets forth our consolidated statements of income data (as a percentage of revenue)(1):
                                                                                                          Year Ended December 31,
                                                                                               2022                  2021                2020
  Revenue                                                                                             100 %                 100 %               100 %
  Costs and expenses:
    Cost of revenue                                                                                    22                    19                 19
    Research and development                                                                           30                    21                 21
    Marketing and sales                                                                                13                    12                 13
    General and administrative                                                                         10                     8                  8
       Total costs and expenses                                                                        75                    60                 62
  Income from operations                                                                               25                    40                 38
  Interest and other income (expense), net                                                             —                     —                   1
  Income before provision for income taxes                                                             25                    40                 39
  Provision for income taxes                                                                            5                     7                  5
  Net income                                                                                           20 %                  33 %               34 %
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  (1) Percentages have been rounded for presentation purposes and may differ from unrounded results.




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  Revenue

       The following table sets forth our revenue by source and by segment. For comparative purposes, amounts for the year ended
  December 31, 2020 have been recast:
                                                               Year Ended December 31,
                                                                                                              2022 vs 2021 %   2021 vs 2020 %
                                                      2022              2021                 2020                 change           change
                                                                               (in millions, except percentages)
    Advertising                                $       113,642    $       114,934      $         84,169                 (1)%            37 %
    Other revenue                                          808                721                   657                 12 %            10 %
  Family of Apps                                       114,450            115,655                84,826                 (1)%            36 %
  Reality Labs                                           2,159              2,274                 1,139                 (5)%           100 %
      Total revenue                            $       116,609    $       117,929      $         85,965                 (1)%             37 %


        Family of Apps

        FoA revenue in 2022 decreased $1.21 billion, or 1%, compared to 2021. The decrease was mostly driven by advertising revenue.

        Advertising

          Advertising revenue in 2022 decreased $1.29 billion, or 1%, compared to 2021 due to a decrease in the average price per ad,
  partially offset by an increase in the number of ads delivered. In 2022, the average price per ad decreased by 16%, as compared with an
  increase of 24% in 2021. The decrease in average price per ad was driven by an increase in the number of ads delivered, especially in
  geographies and in products such as video and Reels that monetize at lower rates, and an unfavorable foreign exchange impact. In
  addition, the decrease in average price per ad was impacted by a reduction in advertising demand, which we believe was primarily
  driven by reduced marketer spending as a result of a more challenging macroeconomic environment and limitations on our ad targeting
  and measurement tools arising from changes to iOS and the regulatory environment, as well as, to a lesser extent, the other factors
  discussed in the section entitled "—Executive Overview of Full Year 2022 Results." In 2022, the number of ads delivered increased by
  18%, as compared with a 10% increase in 2021. Ads impressions grew in all regions during 2022, mostly driven by an increase in ads
  delivered in Asia-Pacific and Rest of World. The increase in the ads delivered during 2022 was driven by increases in the number and
  frequency of ads displayed across our products and an increase in users. We anticipate that future advertising revenue will be driven by
  a combination of price and the number of ads delivered.

        Reality Labs

         RL revenue in 2022 decreased $115 million, or 5%, compared to 2021. The decrease in RL revenue was driven by a decrease in
  the volume of Meta Quest sales.

        Revenue Seasonality and Customer Concentration

         Revenue is traditionally seasonally strong in the fourth quarter of each year due in part to seasonal holiday demand. We believe
  that this seasonality in both advertising revenue and RL consumer hardware sales affects our quarterly results, which generally reflect
  significant growth in revenue between the third and fourth quarters and a decline between the fourth and subsequent first quarters. For
  instance, our total revenue increased 16%, 16%, and 31% between the third and fourth quarters of 2022, 2021, and 2020, respectively,
  while total revenue for the first quarters of 2022, 2021, and 2020 declined 17%, 7%, and 16% compared to the fourth quarters of 2021,
  2020, and 2019, respectively.

        No customer represented 10% or more of total revenue during the years ended December 31, 2022, 2021, and 2020.

        Foreign Exchange Impact on Revenue

         The general strengthening of the U.S. dollar relative to certain foreign currencies in the full year 2022 compared to the same
  period in 2021 had an unfavorable impact on revenue. If we had translated revenue for the full year 2022 using the prior


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  year's monthly exchange rates for our settlement or billing currencies other than the U.S. dollar, our total revenue and advertising
  revenue would have been $122.57 billion and $119.54 billion, respectively. Using these constant rates, total revenue and advertising
  revenue would have been $5.96 billion and $5.90 billion higher than actual total revenue and advertising revenue, respectively, for the
  full year 2022. Using the same constant rates, full year 2022 total revenue and advertising revenue would have been $4.64 billion and
  $4.60 billion, respectively, higher than actual total revenue and advertising revenue for the full year 2021.

  Cost of revenue
                                                               Year Ended December 31,
                                                                                                                   2022 vs 2021 %   2021 vs 2020 %
                                                    2022                2021                    2020                   change           change
                                                                               (in millions, except percentages)
  Cost of revenue                            $       25,249   $           22,649   $             16,692                     11 %             36 %
  Percentage of revenue                                  22 %                 19 %                   19 %


         Cost of revenue in 2022 increased $2.60 billion, or 11%, compared to 2021. The increase was mainly due to an increase in
  operational expenses related to our data centers and technical infrastructure, adjusted for a decrease in the depreciation growth rate due
  to extensions in the useful lives of servers and network assets. In addition, we recorded $1.34 billion of abandonment charges related to
  data center assets. These increases were partially offset by a decrease in RL inventory cost including lower losses on purchase
  commitments.

         See Note 1 — Summary of Significant Accounting Policies and Note 3 — Restructuring in the notes to the consolidated
  financial statements included in Part II, Item 8, "Financial Statements and Supplementary Data" of this Annual Report on Form 10-K
  for additional information regarding changes in the estimated useful life of our servers and network assets as well as the abandonment
  charges related to data center assets, respectively.

  Research and development
                                                               Year Ended December 31,
                                                                                                                   2022 vs 2021 %   2021 vs 2020 %
                                                    2022                2021                    2020                   change           change
                                                                               (in millions, except percentages)
  Research and development                   $       35,338   $           24,655   $              18,447                    43 %             34 %
  Percentage of revenue                                  30 %                 21 %                    21 %


         Research and development expenses in 2022 increased $10.68 billion, or 43%, compared to 2021. The increase was mainly due
  to higher payroll and related expenses and $1.31 billion impairment charges to leases and leasehold improvements as part of our
  restructuring efforts. Our payroll and related expenses increased as a result of a 26% increase in employee headcount from
  December 31, 2021 to December 31, 2022 in engineering and other technical functions supporting our continued investment in our
  family of products and RL.

  Marketing and sales
                                                               Year Ended December 31,
                                                                                                                   2022 vs 2021 %   2021 vs 2020 %
                                                    2022                2021                    2020                   change           change
                                                                               (in millions, except percentages)
  Marketing and sales                        $       15,262   $           14,043   $              11,591                      9%             21 %
  Percentage of revenue                                  13 %                 12 %                    13 %


         Marketing and sales expenses in 2022 increased $1.22 billion, or 9%, compared to 2021. The increase was mostly due to
  increases in payroll and related expenses and $404 million impairment charges to leases and leasehold improvements as part of our
  restructuring efforts.




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  General and administrative
                                                               Year Ended December 31,
                                                                                                                      2022 vs 2021 %   2021 vs 2020 %
                                                     2022                 2021                    2020                    change           change
                                                                                 (in millions, except percentages)
  General and administrative                 $        11,816   $            9,829  $                 6,564                     20 %              50 %
  Percentage of revenue                                   10 %                  8%                       8%


         General and administrative expenses in 2022 increased $1.99 billion, or 20%, compared to 2021. The increase was primarily due
  to increases in payroll and related expenses and $426 million impairment charges to leases and leasehold improvements as part of our
  restructuring efforts. Our payroll and related expenses increased as a result of a 20% increase in employee headcount from
  December 31, 2021 to December 31, 2022 in our general and administrative functions.

         See Note 3 — Restructuring in the notes to the consolidated financial statements included in Part II, Item 8, "Financial
  Statements and Supplementary Data" of this Annual Report on Form 10-K for additional information regarding impairment charges to
  leases and leasehold improvements.

  Segment profitability

       The following table sets forth income (loss) from operations by segment. For comparative purposes, amounts for the year ended
  December 31, 2020 have been recast:
                                                               Year Ended December 31,
                                                                                                                 2022 vs 2021 %        2021 vs 2020 %
                                                      2022                2021                  2020                 change                change
                                                                                  (in millions, except percentages)
  Family of Apps                                 $       42,661 $           56,946 $                39,294                   (25)%              45 %
  Reality Labs                                          (13,717)           (10,193)                 (6,623)                  (35)%             (54)%
      Total income from operations               $       28,944 $           46,753 $                32,671                   (38)%               43 %


        Family of Apps

         FoA income from operations in 2022 decreased $14.29 billion, or 25%, compared to 2021. The decrease was due to an increase
  in FoA total costs and expenses, primarily due to an increase in payroll and related expenses as a result of higher employee headcount,
  additional charges recorded related to our restructuring efforts and an increase in costs related to our data centers and technical
  infrastructure.

        See Note 3 — Restructuring in the notes to the consolidated financial statements included in Part II, Item 8, "Financial
  Statements and Supplementary Data" of this Annual Report on Form 10-K for additional information.

        Reality Labs

        RL loss from operations in 2022 increased $3.52 billion, or 35%, compared to 2021. The increase in loss from operations was
  mainly driven by increases in payroll and related expenses and research and development expenses, partially offset by a decrease in RL
  inventory cost including lower losses on purchase commitments.




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  Interest and other income (expense), net
                                                                 Year Ended December 31,
                                                                                                                    2022 vs 2021 %       2021 vs 2020 %
                                                       2022                  2021                  2020                 change               change
                                                                                     (in millions, except percentages)
  Interest income, net                           $             276 $                 461 $                 672                 (40)%              (31)%
  Foreign currency exchange losses, net                        (81)                 (140)                 (129)                 42 %               (9)%
  Other income (expense), net                                 (320)                  210                   (34)               (252)%                NM
      Interest and other income (expense), net $              (125) $                531 $                 509                (124)%                4%

         Interest and other income (expense), net in 2022 decreased $656 million, or 124%, compared to 2021. The decrease was mostly
  due to a decrease in other income (expense), net related to higher unrealized losses recognized for our equity investments and an
  increase in interest expense recognized on long-term debt.

  Provision for income taxes
                                                                 Year Ended December 31,
                                                                                                                        2022 vs 2021 %   2021 vs 2020 %
                                                     2022                    2021                   2020                    change           change
                                                                                    (in millions, except percentages)
  Provision for income taxes                 $         5,619   $               7,914   $                4,034                   (29)%             96 %
  Effective tax rate                                    19.5 %                  16.7 %                   12.2 %


        Our provision for income taxes in 2022 decreased $2.29 billion, or 29%, compared to 2021, mostly due to a decrease in income
  from operations.

         Our effective tax rate in 2022 increased compared to 2021, mainly due to an increase in tax shortfalls recognized from share-
  based compensation and the effect of regulations issued by the U.S. Department of the Treasury in 2022 on foreign tax credits, partially
  offset by an increase in tax benefits from foreign-derived intangible income.

         Effective Tax Rate Items. Our effective tax rate in the future will depend upon the proportion between the following items and
  income before provision for income taxes: U.S. tax benefits from foreign-derived intangible income, tax effects from share-based
  compensation, research tax credit, tax effects of integrating intellectual property from acquisitions, settlement of tax contingency items,
  tax effects of changes in our business, and the effects of changes in tax law.

          The accounting for share-based compensation may increase or decrease our effective tax rate based upon the difference between
  our share-based compensation expense and the deductions taken on our tax return, which depend upon the stock price at the time of
  employee award vesting. If our stock price remains constant to the January 27, 2023 price, and absent any changes to U.S. tax law, we
  expect our effective tax rate for the full year 2023 to be in the low twenties. This includes the effects of the mandatory capitalization
  and amortization of research and development expenses incurred in 2022, as required by the 2017 Tax Cuts and Jobs Act (Tax Act). The
  mandatory capitalization requirement increased our 2022 cash tax liabilities materially but also decreased our effective tax rate due to
  increasing the foreign-derived intangible income deduction. If the mandatory capitalization requirement is deferred, our effective tax
  rate in 2023 could be higher when compared to current law and our cash tax liabilities could be several billion dollars lower.

          Integrating intellectual property from acquisitions into our business generally involves intercompany transactions that have the
  impact of increasing our provision for income taxes. Consequently, our provision for income taxes and our effective tax rate may
  initially increase in the period of an acquisition and integration. The magnitude of this impact will depend upon the specific type, size,
  and taxing jurisdictions of the intellectual property as well as the relative contribution to income in subsequent periods.

        On August 16, 2022, Congress passed the Inflation Reduction Act of 2022. The key tax provisions applicable to us are a 15%
  corporate minimum tax on book income and a 1% excise tax on stock repurchases effective January 1, 2023. We do




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  not expect these tax law changes to have a material impact on our consolidated financial position; however, we will continue to
  evaluate their impact as further information becomes available.

         Unrecognized Tax Benefits. As of December 31, 2022, we had net uncertain tax positions of $5.49 billion which were accrued as
  other liabilities. These unrecognized tax benefits were predominantly accrued for uncertainties related to transfer pricing with our
  foreign subsidiaries, which includes licensing of intellectual property, providing services and other transactions, as well as for
  uncertainties regarding the utilization of our research tax credits. The ultimate settlement of the liabilities will depend upon resolution
  of tax audits, litigation, or events that would otherwise change the assessment of such items. Based upon the status of litigation
  described below and the current status of tax audits in various jurisdictions, we do not anticipate a material change to such amounts
  within the next 12 months.

        See Note 16 — Income Taxes in the notes to consolidated financial statements included in Part II, Item 8, "Financial Statements
  and Supplementary Data" of this Annual Report on Form 10-K for additional information regarding income tax contingencies.




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  Liquidity and Capital Resources

          Our principal sources of liquidity are our cash and cash equivalents, marketable securities, and cash generated from operations.
  Cash and cash equivalents and marketable securities consist mostly of cash on deposit with banks, investments in money market funds,
  U.S. government securities, U.S. government agency securities, and investment grade corporate debt securities. Cash and cash
  equivalents and marketable securities were $40.74 billion as of December 31, 2022, a decrease of $7.26 billion from December 31,
  2021. The majority of the decrease was due to $32.04 billion for capital expenditures, including principal payments on finance leases,
  $27.96 billion repurchases of our Class A common stock, $3.60 billion of taxes paid related to net share settlement of employee
  restricted stock unit (RSU) awards, and $1.31 billion for acquisitions of businesses and intangible assets. These decreases were partially
  offset by $50.48 billion of cash generated from operations and $9.92 billion of net proceeds from the issuance of fixed-rate senior notes
  (the "Notes") in August 2022.

         Cash paid for income taxes was $6.41 billion for the year ended December 31, 2022. As of December 31, 2022, our federal net
  operating loss carryforward was $196 million and our federal tax credit carryforward was $276 million. We anticipate the utilization of
  most of these net operating losses and credits within the next two years.

         Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in January
  2017 and does not have an expiration date. In 2022, we repurchased and subsequently retired 161 million shares of our Class A
  common stock for an aggregate amount of $27.93 billion. As of December 31, 2022, $10.87 billion remained available and authorized
  for repurchases. In January 2023, an additional $40 billion of repurchases was authorized under this program.

        The following table presents our cash flows (in millions):
                                                                                                    Year Ended December 31,
                                                                                          2022               2021                2020
  Net cash provided by operating activities                                         $        50,475 $           57,683 $           38,747
  Net cash used in investing activities                                             $       (28,970) $          (7,570) $         (30,059)
  Net cash used in financing activities                                             $       (22,136) $         (50,728) $         (10,292)


        Cash Provided by Operating Activities

         Cash provided by operating activities during 2022 mostly consisted of net income adjusted for certain non-cash items, such as
  $11.99 billion of share-based compensation expense, $8.69 billion of depreciation and amortization, and $3.56 billion of impairment
  for leases, leasehold improvements, and abandonment charges for data center assets related to our restructuring efforts. The decrease in
  cash flows from operating activities during 2022 compared to 2021 was mainly due to a decrease in net income as adjusted for the
  aforementioned non-cash items, partially offset by changes in working capital.

        Cash Used in Investing Activities

         Cash used in investing activities during 2022 mostly consisted of $31.19 billion of net purchases of property and equipment as
  we continued to invest in servers, data centers, and network infrastructure, partially offset by $3.53 billion proceeds from net sales and
  maturities of marketable debt securities. The increase in cash used in investing activities during 2022 compared to 2021 was mostly due
  to an increase in net purchases of property and equipment, and a decrease in proceeds from net sales and maturities of marketable debt
  securities.

        We anticipate making capital expenditures of approximately $30 billion to $33 billion in 2023.

        Cash Used in Financing Activities

         Cash used in financing activities during 2022 mostly consisted of $27.96 billion for repurchases of our Class A common stock
  and $3.60 billion of taxes paid related to net share settlement of RSUs, partially offset by $9.92 billion proceeds from the issuance of
  the Notes. The decrease in cash used in financing activities during 2022 compared to 2021 was mostly due to a decrease in repurchases
  of our Class A common stock and proceeds from the issuance of the Notes.



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        Free Cash Flow

         In addition to other financial measures presented in accordance with U.S. GAAP, we monitor free cash flow (FCF) as a non-
  GAAP measure to manage our business, make planning decisions, evaluate our performance, and allocate resources. We define FCF as
  net cash provided by operating activities reduced by net purchases of property and equipment and principal payments on finance leases.

        We believe that FCF is one of the key financial indicators of our business performance over the long term and provides useful
  information regarding how cash provided by operating activities compares to the property and equipment investments required to
  maintain and grow our business.

         We have chosen our definition for FCF because we believe that this methodology can provide useful supplemental information
  to help investors better understand underlying trends in our business. We use FCF in discussions with our senior management and
  board of directors.

         FCF has limitations as an analytical tool, and you should not consider it in isolation or as a substitute for analysis of other GAAP
  financial measures, such as net cash provided by operating activities. FCF is not intended to represent our residual cash flow available
  for discretionary expenses. Some of the limitations of FCF are:

        •     FCF does not reflect our future contractual commitments; and
        •     other companies in our industry present similarly titled measures differently than we do, limiting their usefulness as
              comparative measures.

         Management compensates for the inherent limitations associated with using the FCF measure through disclosure of such
  limitations, presentation of our financial statements in accordance with GAAP, and reconciliation of FCF to the most directly
  comparable GAAP measure, net cash provided by operating activities, as presented below.

         The following is a reconciliation of FCF to the most comparable GAAP measure, net cash provided by operating activities (in
  millions):
                                                                                                    Year Ended December 31,
                                                                                          2022                2021               2020
  Net cash provided by operating activities                                        $         50,475 $            57,683 $           38,747
   Purchases of property and equipment, net                                                 (31,186)            (18,567)           (15,115)
   Principal payments on finance leases                                                        (850)               (677)              (604)
      Free Cash Flow                                                               $         18,439 $            38,439 $           23,028


  Material Cash Requirements

         We currently anticipate that our available funds and cash flow from operations and financing activities will be sufficient to meet
  our operational cash needs and fund our share repurchase program for at least the next 12 months and thereafter for the foreseeable
  future. We continuously evaluate our liquidity and capital resources, including our access to external capital, to ensure we can finance
  our future capital requirements.

        Leases and Contractual Commitments

         Our operating lease obligations mostly include, among others, offices, data centers, colocations, and land. Our finance lease
  obligations mostly include certain network infrastructure. Our restructuring efforts to sublease, early terminate or abandon several
  office buildings under operating leases did not materially change our operating lease obligations.

        Our contractual commitments are primarily related to our investments in network infrastructure, servers, and consumer hardware
  products in Reality Labs.




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        Long-term Debt

        In August 2022, we issued an aggregate of $10.0 billion principal amount of the Notes. The Notes were issued in four series,
  which mature from 2027 through 2062. Short-term and long-term future interest payments obligations as of December 31, 2022 are
  $411 million and $7.69 billion, respectively. We intend to use the net proceeds from the offering for general corporate purposes, which
  may include, but are not limited to, capital expenditures, repurchases of outstanding shares of our common stock, acquisitions, or
  investments.

        Taxes

         As of December 31, 2022, we had taxes payable of $1.51 billion related to a one-time transition tax payable incurred as a result
  of the Tax Act, of which $361 million is due within one year. As permitted by the Tax Act, we will pay the transition tax in annual
  interest-free installments through 2025. Our other liabilities also include $5.49 billion related to the uncertain tax positions as of
  December 31, 2022. Due to uncertainties in the timing of the completion of tax audits, the timing of the resolution of these positions is
  uncertain and we are unable to make a reasonably reliable estimate of the timing of payments.

        Contingencies

          We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations. We record a
  liability when we believe that it is both probable that a liability has been incurred, and that the amount can be reasonably estimated. If
  we determine there is a reasonable possibility that we may incur a loss and the loss or range of loss can be estimated, we disclose the
  possible loss in the accompanying notes to the consolidated financial statements to the extent material. Significant judgment is required
  to determine both probability and the estimated amount of loss. Such matters are inherently unpredictable and subject to significant
  uncertainties, some of which are beyond our control. Should any of these estimates and assumptions change or prove to be incorrect, it
  could have a material impact on our results of operations, financial position, and cash flows.

         See Note 9 — Leases, Note 11 — Long-term Debt, Note 13 — Commitments and Contingencies, and Note 16 — Income Taxes
  in the notes to the consolidated financial statements included in Part II, Item 8, and "Legal Proceedings" contained in Part I, Item 3 of
  this Annual Report on Form 10-K for additional information regarding leases and contractual commitments, long-term debt, taxes, and
  contingencies.

  Recently Issued Accounting Pronouncements

        For information on recently issued accounting pronouncements, see Note 1 — Summary of Significant Accounting Policies in
  the accompanying notes to consolidated financial statements included in Part II, Item 8, "Financial Statements and Supplementary
  Data" of this Annual Report on Form 10-K.




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  Item 7A. Quantitative and Qualitative Disclosures About Market Risk

        We are exposed to market risks, including changes to foreign currency exchange rates, interest rates, and equity price risk.

  Foreign Currency Exchange Risk

          We have foreign currency risks related to our revenue and operating expenses denominated in currencies other than the U.S.
  dollar, primarily the Euro. Accordingly, changes in exchange rates, and in particular a strengthening of the U.S. dollar, have negatively
  affected, and may continue to negatively affect, our revenue and other operating results as expressed in U.S. dollars. See Management's
  Discussion and Analysis of Financial Condition and Results of Operations — Foreign Exchange Impact on Revenue section included in
  Part II, Item 7 of this Annual Report on Form 10-K for additional information.

          We have experienced and will continue to experience fluctuations in our net income as a result of transaction gains or losses
  related to revaluing monetary asset and liability balances that are denominated in currencies other than the functional currency of the
  entities in which they are recorded. At this time, we have not entered into, but in the future we may enter into, derivatives or other
  financial instruments in an attempt to hedge our foreign currency exchange risk. It is difficult to predict the effect hedging activities
  would have on our results of operations. Foreign currency exchange net losses of $81 million, $140 million, and $129 million were
  recognized in 2022, 2021, and 2020, respectively.

  Interest Rate Sensitivity

        Our exposure to changes in interest rates relates primarily to interest income and market value of our cash equivalents,
  marketable debt securities, and the fair value of our long-term debt.

         Our cash, cash equivalents, and marketable debt securities consist of cash, certificates of deposit, time deposits, money market
  funds, U.S. government securities, U.S. government agency securities, and investment grade corporate debt securities. Our investment
  policy and strategy are focused on preservation of capital and supporting our liquidity requirements. Changes in U.S. interest rates
  affect the interest earned on our cash, cash equivalents, and marketable securities, and the market value of those securities. A
  hypothetical 100 basis point increase in market interest rates would have resulted in a decrease of $558 million and $714 million in the
  market value of our available-for-sale debt securities and cash equivalents as of December 31, 2022 and 2021, respectively. Any
  realized gains or losses resulting from such interest rate changes and from the current unrealized losses would only occur if we sold the
  investments prior to maturity.

          As of December 31, 2022, we also had $10.0 billion aggregate principal amount of fixed-rate senior notes (the "Notes")
  outstanding. Since our Notes bear interest at fixed rates and are carried at amortized cost, fluctuations in interest rates do not have any
  impact on our consolidated financial statements. However, the fair value of the Notes will fluctuate with movements in market interest
  rates, increasing in periods of declining interest rates and declining in periods of increasing interest rates.

  Equity Price Risk

        Our equity investments are substantially all in non-marketable equity securities and are subject to equity price risks that could
  have a material impact on the carrying value of our holdings.

          Our non-marketable equity securities are investments in privately-held companies without readily determinable fair values. We
  elected to account for most of our non-marketable equity securities using the measurement alternative, which is cost, less any
  impairment, adjusted for changes in fair value resulting from observable transactions for identical or similar investments of the same
  issuer. We perform a qualitative assessment at each reporting date to determine whether there are triggering events for impairment. The
  qualitative assessment considers factors such as, but not limited to, the investee's financial condition and business outlook; industry and
  sector performance; economic or technological environment; and other relevant events and factors affecting the investee. Valuations of
  our non-marketable equity securities are complex due to the lack of readily available market data and observable transactions.
  Uncertainties in the global economic climate and financial markets could adversely impact the valuation of these companies we invest
  in and, therefore, result in a material impairment or downward adjustment in our investments. Our total non-marketable equity
  securities had a carrying value of $6.20 billion and $6.78 billion as of December 31, 2022 and 2021, respectively.



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         For additional information, see Note 1 — Summary of Significant Accounting Policies, Note 6 — Non-marketable Equity
  Securities, Note 7 — Fair Value Measurements, and Note 11 — Long-term Debt in the notes to the consolidated financial statements
  included in Part II, Item 8, "Financial Statements and Supplementary Data" and Part II, Item 7, "Management’s Discussion and
  Analysis of Financial Conditions and Results of Operations — Critical Accounting Policies and Estimates" contained in this Annual
  Report on Form 10-K.




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  Item 8. Financial Statements and Supplementary Data

                                                       META PLATFORMS, INC.

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                                       Report of Independent Registered Public Accounting Firm

  To the Stockholders and the Board of Directors of Meta Platforms, Inc.

  Opinion on the Financial Statements

  We have audited the accompanying consolidated balance sheets of Meta Platforms, Inc. (the Company) as of December 31, 2022 and
  2021, the related consolidated statements of income, comprehensive income, stockholders' equity and cash flows for each of the three
  years in the period ended December 31, 2022, and the related notes (collectively referred to as the "consolidated financial statements").
  In our opinion, the consolidated financial statements present fairly, in all material respects, the financial position of the Company at
  December 31, 2022 and 2021, and the results of its operations and its cash flows for each of the three years in the period ended
  December 31, 2022, in conformity with U.S. generally accepted accounting principles.

  We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States) (PCAOB),
  the Company's internal control over financial reporting as of December 31, 2022, based on criteria established in Internal Control –
  Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission (2013 framework), and our
  report dated February 1, 2023, expressed an unqualified opinion thereon.

  Basis for Opinion

  These financial statements are the responsibility of the Company's management. Our responsibility is to express an opinion on the
  Company's financial statements based on our audits. We are a public accounting firm registered with the PCAOB and are required to be
  independent with respect to the Company in accordance with the U.S. federal securities laws and the applicable rules and regulations of
  the Securities and Exchange Commission and the PCAOB.

  We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit
  to obtain reasonable assurance about whether the financial statements are free of material misstatement, whether due to error or fraud.
  Our audits included performing procedures to assess the risks of material misstatement of the financial statements, whether due to error
  or fraud, and performing procedures that respond to those risks. Such procedures included examining, on a test basis, evidence
  regarding the amounts and disclosures in the financial statements. Our audits also included evaluating the accounting principles used
  and significant estimates made by management, as well as evaluating the overall presentation of the financial statements. We believe
  that our audits provide a reasonable basis for our opinion.

  Critical Audit Matters

  The critical audit matters communicated below are matters arising from the current period audit of the financial statements that were
  communicated or required to be communicated to the Audit & Risk Oversight Committee and that: (1) relate to accounts or disclosures
  that are material to the financial statements and (2) involved our especially challenging, subjective or complex judgments. The
  communication of critical audit matters does not alter in any way our opinion on the consolidated financial statements, taken as a
  whole, and we are not, by communicating the critical audit matters below, providing separate opinions on the critical audit matters or
  on the accounts or disclosures to which they relate.




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                           Loss Contingencies

  Description of the       As described in Note 13 to the consolidated financial statements, the Company is party to various legal
  Matter                   proceedings, claims, and regulatory or government inquiries and investigations. The Company accrues a
                           liability when it believes a loss is probable and the amount can be reasonably estimated. In addition, the
                           Company believes it is reasonably possible that it will incur a loss in some of these cases, actions or inquiries
                           described above. When applicable, the Company discloses an estimate of the amount of loss or range of
                           possible loss that may be incurred. However, for certain other matters, the Company discloses that the amount
                           of such losses or a range of possible losses cannot be reasonably estimated at this time.

                           Auditing the Company's accounting for, and disclosure of, these loss contingencies was especially challenging
                           due to the significant judgment required to evaluate management's assessments of the likelihood of a loss, and
                           their estimate of the potential amount or range of such losses.

  How We Addressed the We obtained an understanding, evaluated the design and tested the operating effectiveness of controls over the
  Matter in Our Audit  identification and evaluation of these matters, including controls relating to the Company's assessment of the
                           likelihood that a loss will be realized and their ability to reasonably estimate the potential range of possible
                           losses.

                           To test the Company's assessment of the probability of incurrence of a loss, whether the loss was reasonably
                           estimable, and the conclusion and disclosure regarding any range of possible losses, including when the
                           Company believes it cannot be reasonably estimated at this time, we read the minutes or a summary of the
                           meetings of the committees of the board of directors, read the proceedings, claims, and regulatory, or
                           government inquiries and investigations, or summaries as we deemed appropriate, requested and received
                           internal and external legal counsel confirmation letters, met with internal and external legal counsel to discuss
                           the nature of the various matters, and obtained representations from management. We also evaluated the
                           appropriateness of the related disclosures included in Note 13 to the consolidated financial statements.




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                           Uncertain Tax Positions
  Description of the       As discussed in Note 16 to the consolidated financial statements, the Company has received certain notices
  Matter                   from the Internal Revenue Service (IRS) related to transfer pricing agreements with the Company's foreign
                           subsidiaries for certain periods examined. The IRS has stated that it will also apply its position to tax years
                           subsequent to those examined. If the IRS prevails in its position, it could result in an additional federal tax
                           liability, plus interest and any penalties asserted. The Company uses judgment to (1) determine whether a tax
                           position's technical merits are more-likely-than-not to be sustained and (2) measure the amount of tax benefit
                           that qualifies for recognition.

                           Auditing the Company's accounting for, and disclosure of, these uncertain tax positions was especially
                           challenging due to the significant judgment required to assess management's evaluation of technical merits
                           and the measurement of the tax position based on interpretations of tax laws and legal rulings.

  How We Addressed the We obtained an understanding, evaluated the design and tested the operating effectiveness of controls over the
  Matter in Our Audit  Company's process to assess the technical merits of tax positions related to these transfer pricing agreements
                       and to measure the benefit of those tax positions.

                           As part of our audit procedures over the Company's accounting for these positions, we involved our tax
                           professionals to assist with our assessment of the technical merits of the Company's tax positions. This
                           included assessing the Company's correspondence with the relevant tax authorities, evaluating income tax
                           opinions or other third-party advice obtained by the Company, and requesting and receiving confirmation
                           letters from third-party advisors. We also used our knowledge of, and experience with, the application of
                           international and local income tax laws by the relevant income tax authorities to evaluate the Company's
                           accounting for those tax positions. We analyzed the Company's assumptions and data used to determine the
                           amount of the federal tax liability recognized and tested the mathematical accuracy of the underlying data and
                           calculations. We also evaluated the appropriateness of the related disclosures included in Note 16 to the
                           consolidated financial statements in relation to these matters.




  /s/ Ernst & Young LLP

  We have served as the Company's auditor since 2007.

  San Mateo, California
  February 1, 2023




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                                       Report of Independent Registered Public Accounting Firm

  To the Stockholders and the Board of Directors of Meta Platforms, Inc.

  Opinion on Internal Control over Financial Reporting

  We have audited Meta Platforms, Inc.'s internal control over financial reporting as of December 31, 2022, based on criteria established
  in Internal Control – Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission (2013
  framework), (the COSO criteria). In our opinion, Meta Platforms, Inc. (the Company) maintained, in all material respects, effective
  internal control over financial reporting as of December 31, 2022, based on the COSO criteria.

  We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States) (PCAOB),
  the consolidated balance sheets of the Company as of December 31, 2022 and 2021, the related consolidated statements of income,
  comprehensive income, stockholders' equity and cash flows for each of the three years in the period ended December 31, 2022, and the
  related notes and our report dated February 1, 2023 expressed an unqualified opinion thereon.

  Basis for Opinion

  The Company's management is responsible for maintaining effective internal control over financial reporting and for its assessment of
  the effectiveness of internal control over financial reporting included in the accompanying Management's Report on Internal Control
  over Financial Reporting. Our responsibility is to express an opinion on the Company's internal control over financial reporting based
  on our audit. We are a public accounting firm registered with the PCAOB and are required to be independent with respect to the
  Company in accordance with the U.S. federal securities laws and the applicable rules and regulations of the Securities and Exchange
  Commission and the PCAOB.

  We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and perform the audit to
  obtain reasonable assurance about whether effective internal control over financial reporting was maintained in all material respects.

  Our audit included obtaining an understanding of internal control over financial reporting, assessing the risk that a material weakness
  exists, testing and evaluating the design and operating effectiveness of internal control based on the assessed risk, and performing such
  other procedures as we considered necessary in the circumstances. We believe that our audit provides a reasonable basis for our
  opinion.

  Definition and Limitations of Internal Control Over Financial Reporting

  A company's internal control over financial reporting is a process designed to provide reasonable assurance regarding the reliability of
  financial reporting and the preparation of financial statements for external purposes in accordance with generally accepted accounting
  principles. A company's internal control over financial reporting includes those policies and procedures that (1) pertain to the
  maintenance of records that, in reasonable detail, accurately and fairly reflect the transactions and dispositions of the assets of the
  company; (2) provide reasonable assurance that transactions are recorded as necessary to permit preparation of financial statements in
  accordance with generally accepted accounting principles, and that receipts and expenditures of the company are being made only in
  accordance with authorizations of management and directors of the company; and (3) provide reasonable assurance regarding
  prevention or timely detection of unauthorized acquisition, use, or disposition of the company's assets that could have a material effect
  on the financial statements.

  Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also, projections
  of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate because of changes in
  conditions, or that the degree of compliance with the policies or procedures may deteriorate.

  /s/ Ernst & Young LLP

  San Mateo, California
  February 1, 2023



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                                                        META PLATFORMS, INC.
                                                CONSOLIDATED BALANCE SHEETS
                                          (In millions, except for number of shares and par value)
                                                                                                                December 31,
                                                                                                         2022                  2021
  Assets
  Current assets:
    Cash and cash equivalents                                                                        $     14,681      $         16,601
    Marketable securities                                                                                  26,057                31,397
    Accounts receivable, net                                                                               13,466                14,039
    Prepaid expenses and other current assets                                                               5,345                 4,629
      Total current assets                                                                                 59,549                66,666
  Non-marketable equity securities                                                                          6,201                 6,775
  Property and equipment, net                                                                              79,518                57,809
  Operating lease right-of-use assets                                                                      12,673                12,155
  Intangible assets, net                                                                                      897                   634
  Goodwill                                                                                                 20,306                19,197
  Other assets                                                                                              6,583                 2,751
  Total assets                                                                                       $    185,727      $        165,987

  Liabilities and stockholders' equity
  Current liabilities:
    Accounts payable                                                                                 $       4,990     $           4,083
    Partners payable                                                                                         1,117                 1,052
    Operating lease liabilities, current                                                                     1,367                 1,127
    Accrued expenses and other current liabilities                                                          19,552                14,873
       Total current liabilities                                                                            27,026                21,135
  Operating lease liabilities, non-current                                                                  15,301                12,746
  Long-term debt                                                                                             9,923                    —
  Other liabilities                                                                                          7,764                 7,227
       Total liabilities                                                                                    60,014                41,108
  Commitments and contingencies
  Stockholders' equity:
    Common stock, $0.000006 par value; 5,000 million Class A shares authorized, 2,247 million
    and 2,328 million shares issued and outstanding, as of December 31, 2022 and 2021,
    respectively; 4,141 million Class B shares authorized, 367 million and 413 million shares
    issued and outstanding, as of December 31, 2022 and 2021, respectively                                     —                     —
    Additional paid-in capital                                                                             64,444                55,811
    Accumulated other comprehensive loss                                                                   (3,530)                 (693)
    Retained earnings                                                                                      64,799                69,761
       Total stockholders' equity                                                                         125,713               124,879
  Total liabilities and stockholders' equity                                                         $    185,727 $             165,987


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                                                     META PLATFORMS, INC.
                                            CONSOLIDATED STATEMENTS OF INCOME
                                                (In millions, except per share amounts)
                                                                                                      Year Ended December 31,
                                                                                       2022                    2021             2020
  Revenue                                                                 $             116,609         $        117,929    $     85,965
  Costs and expenses:
    Cost of revenue                                                                       25,249                  22,649          16,692
    Research and development                                                              35,338                  24,655          18,447
    Marketing and sales                                                                   15,262                  14,043          11,591
    General and administrative                                                            11,816                   9,829           6,564
       Total costs and expenses                                                           87,665                  71,176          53,294
  Income from operations                                                                  28,944                  46,753          32,671
  Interest and other income (expense), net                                                  (125)                    531             509
  Income before provision for income taxes                                                28,819                  47,284          33,180
  Provision for income taxes                                                               5,619                   7,914           4,034
  Net income                                                              $               23,200 $                39,370    $     29,146
  Earnings per share attributable to Class A and Class B common
  stockholders:
    Basic                                                                 $                    8.63     $          13.99    $          10.22
    Diluted                                                               $                    8.59     $          13.77    $          10.09
  Weighted-average shares used to compute earnings per share attributable
  to Class A and Class B common stockholders:
    Basic                                                                                     2,687                2,815               2,851
    Diluted                                                                                   2,702                2,859               2,888
  Share-based compensation expense included in costs and expenses:
    Cost of revenue                                                       $                  768        $            577    $            447
    Research and development                                                               9,361                   7,106               4,918
    Marketing and sales                                                                    1,004                     837                 691
    General and administrative                                                               859                     644                 480
       Total share-based compensation expense                             $               11,992        $          9,164    $          6,536


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                                               META PLATFORMS, INC.
                                CONSOLIDATED STATEMENTS OF COMPREHENSIVE INCOME
                                                     (In millions)
                                                                                                  Year Ended December 31,
                                                                                       2022                2021              2020
  Net income                                                                     $       23,200     $         39,370     $     29,146
  Other comprehensive income (loss):
   Change in foreign currency translation adjustment, net of tax                          (1,184)              (1,116)              1,056
   Change in unrealized gain (loss) on available-for-sale investments and other,
   net of tax                                                                            (1,653)                (504)             360
  Comprehensive income                                                           $       20,363 $             37,750 $         30,562


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                                               META PLATFORMS, INC.
                                 CONSOLIDATED STATEMENTS OF STOCKHOLDERS' EQUITY
                                                     (In millions)
                                                             Class A and Class B
                                                               Common Stock                              Accumulated
                                                                                           Additional       Other                      Total
                                                                                            Paid-In     Comprehensive   Retained   Stockholders'
                                                            Shares        Par Value         Capital     Income (Loss)   Earnings      Equity
  Balances at December 31, 2019                               2,852 $              —   $      45,851 $         (489) $ 55,692 $       101,054
   Issuance of common stock                                      38                —              —              —          —              —
   Shares withheld related to net share settlement              (14)               —          (2,369)            —      (1,195)        (3,564)
   Share-based compensation                                      —                 —           6,536             —          —           6,536
   Share repurchases                                            (27)               —              —              —      (6,298)        (6,298)
   Other comprehensive income                                    —                 —              —           1,416         —           1,416
   Net income                                                    —                 —              —              —      29,146         29,146
  Balances at December 31, 2020                               2,849                —          50,018            927     77,345        128,290
   Issuance of common stock                                      45                —              —              —          —              —
   Shares withheld related to net share settlement              (17)               —          (3,371)            —      (2,144)        (5,515)
   Share-based compensation                                      —                 —           9,164             —          —           9,164
   Share repurchases                                           (136)               —              —              —     (44,810)       (44,810)
   Other comprehensive loss                                      —                 —              —          (1,620)        —          (1,620)
   Net income                                                    —                 —              —              —      39,370         39,370
  Balances at December 31, 2021                               2,741                —          55,811           (693)    69,761        124,879
   Issuance of common stock                                      54                —              —              —          —              —
   Shares withheld related to net share settlement              (20)               —          (3,359)            —        (236)        (3,595)
   Share-based compensation                                      —                 —          11,992             —          —          11,992
   Share repurchases                                           (161)               —              —              —     (27,926)       (27,926)
   Other comprehensive loss                                      —                 —              —          (2,837)        —          (2,837)
   Net income                                                    —                 —              —              —      23,200         23,200
  Balances at December 31, 2022                               2,614 $              —   $      64,444 $       (3,530) $ 64,799 $       125,713



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                                                  META PLATFORMS, INC.
                                         CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                        (In millions)
                                                                                                  Year Ended December 31,
                                                                                       2022                2021              2020
  Cash flows from operating activities
    Net income                                                                   $       23,200     $         39,370     $     29,146
    Adjustments to reconcile net income to net cash provided by operating
    activities:
      Depreciation and amortization                                                        8,686                7,967            6,862
      Share-based compensation                                                            11,992                9,164            6,536
      Deferred income taxes                                                               (3,286)                 609           (1,192)
      Impairment charges for leases and leasehold improvements                             2,218                   —                —
      Abandonment charges for data center assets                                           1,341                   —                —
      Fair value adjustments for non-marketable securities                                   463                 (232)              33
      Other                                                                                  178                  105               85
    Changes in assets and liabilities:
      Accounts receivable                                                                   231               (3,110)          (1,512)
      Prepaid expenses and other current assets                                             162               (1,750)             135
      Other assets                                                                         (106)                (349)             (34)
      Accounts payable                                                                      210                1,436              (17)
      Partners payable                                                                       90                  (12)             178
      Accrued expenses and other current liabilities                                      4,210                3,544             (946)
      Other liabilities                                                                     886                  941             (527)
         Net cash provided by operating activities                                       50,475               57,683           38,747
  Cash flows from investing activities
    Purchases of property and equipment                                                 (31,431)             (18,690)         (15,163)
    Proceeds relating to property and equipment                                             245                  123               48
    Purchases of marketable debt securities                                              (9,626)             (30,407)         (33,930)
    Sales of marketable debt securities                                                  11,083               31,671           11,787
    Maturities of marketable debt securities                                              2,075               10,915           13,984
    Purchases of non-marketable equity securities                                            (5)                 (47)          (6,361)
    Acquisitions of businesses and intangible assets                                     (1,312)                (851)            (388)
    Other investing activities                                                                1                 (284)             (36)
         Net cash used in investing activities                                          (28,970)              (7,570)         (30,059)
  Cash flows from financing activities
    Taxes paid related to net share settlement of equity awards                          (3,595)              (5,515)          (3,564)
    Repurchases of Class A common stock                                                 (27,956)             (44,537)          (6,272)
    Proceeds from issuance of long-term debt, net                                         9,921                   —                —
    Principal payments on finance leases                                                   (850)                (677)            (604)
    Other financing activities                                                              344                    1              148
         Net cash used in financing activities                                          (22,136)             (50,728)         (10,292)
  Effect of exchange rate changes on cash, cash equivalents, and restricted cash           (638)                (474)             279
  Net decrease in cash, cash equivalents, and restricted cash                            (1,269)              (1,089)          (1,325)
  Cash, cash equivalents, and restricted cash at beginning of the period                 16,865               17,954           19,279
  Cash, cash equivalents, and restricted cash at end of the period               $       15,596 $             16,865 $         17,954
  Reconciliation of cash, cash equivalents, and restricted cash to the
  consolidated balance sheets
    Cash and cash equivalents                                                    $       14,681     $         16,601     $     17,576
    Restricted cash, included in prepaid expenses and other current assets                  294                  149              241
    Restricted cash, included in other assets                                               621                  115              137
  Total cash, cash equivalents, and restricted cash                              $       15,596     $         16,865     $     17,954


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                                                  META PLATFORMS, INC.
                                         CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                        (In millions)
                                                                                                      Year Ended December 31,
                                                                                       2022                    2021               2020
  Supplemental cash flow data
    Cash paid for income taxes, net                                               $           6,407     $             8,525   $          4,229
    Non-cash investing and financing activities:
      Property and equipment in accounts payable and accrued expenses and
      other current liabilities                                                   $           3,319     $             3,404   $          2,201
      Acquisition of businesses in accrued expenses and other current liabilities
      and other liabilities                                                       $            291      $               73    $           118
      Other current assets through financing arrangement in accrued expenses
      and other current liabilities                                               $             16      $              508    $            —
      Repurchases of Class A common stock in accrued expenses and other
      current liabilities                                                         $            310      $              340    $            68


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                                                 META PLATFORMS, INC.
                                      NOTES TO CONSOLIDATED FINANCIAL STATEMENTS


  Note 1. Summary of Significant Accounting Policies

  Organization and Description of Business

        We were incorporated in Delaware in July 2004. Our mission is to give people the power to build community and bring the
  world closer together. All of our products, including our apps, share the vision of helping to bring the metaverse to life.

        We report our financial results based on two reportable segments: Family of Apps (FoA) and Reality Labs (RL). The segment
  information aligns with how the chief operating decision maker (CODM), who is our Chief Executive Officer (CEO), reviews and
  manages the business. We generate substantially all of our revenue from advertising.

  Basis of Presentation

         We prepared the consolidated financial statements in accordance with U.S. generally accepted accounting principles (GAAP).
  The consolidated financial statements include the accounts of Meta Platforms, Inc., its subsidiaries where we have controlling financial
  interests, and any variable interest entities for which we are deemed to be the primary beneficiary. All intercompany balances and
  transactions have been eliminated.

  Use of Estimates

          Preparation of consolidated financial statements in conformity with GAAP requires the use of estimates and judgments that
  affect the reported amounts in the consolidated financial statements and accompanying notes. These estimates form the basis for
  judgments we make about the carrying values of our assets and liabilities, which are not readily apparent from other sources. We base
  our estimates and judgments on historical information and on various other assumptions that we believe are reasonable under the
  circumstances. GAAP requires us to make estimates and judgments in several areas, including, but not limited to, those related to
  revenue recognition, valuation of non-marketable equity securities, income taxes, loss contingencies, including the ultimate resolution
  of litigation, regulatory matters, and asserted and unasserted claims, valuation of long-lived assets including goodwill, intangible assets,
  and property and equipment, and their associated estimated useful lives, credit losses of available-for-sale (AFS) debt securities and
  accounts receivable, fair value of financial instruments, and fair value of leases. These estimates are based on management's knowledge
  about current events, interpretation of regulations, and expectations about actions we may undertake in the future. Actual results could
  differ materially from those estimates.

        In connection with our periodic reviews of the estimated useful lives of property and equipment, we extended the estimated
  average useful lives of a majority of the servers and network assets from four years to 4.5 years, effective the second quarter of 2022,
  and further extended the useful lives to five years effective the fourth quarter of 2022. The changes in estimated useful lives were due
  to expected longer refresh cycles in our data centers. The financial impact of the changes was a reduction in depreciation expense of
  $860 million and an increase in net income of $693 million, or $0.26 per diluted share for the year ended December 31, 2022. The
  impact from the changes in our estimates was calculated based on the servers and network assets existing as of the effective dates of the
  changes and applying the revised estimated useful lives prospectively.

  Revenue Recognition

         Revenue is recognized when control of the promised goods or services is transferred to our customers, in an amount that reflects
  the consideration we expect to be entitled to in exchange for those goods or services.

        We determine revenue recognition by applying the following steps:

        •    identification of the contract, or contracts, with a customer;
        •    identification of the performance obligations in the contract;
        •    determination of the transaction price;
        •    allocation of the transaction price to the performance obligations in the contract; and

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        •    recognition of revenue when, or as, we satisfy a performance obligation.

        We expense sales commissions when incurred if the amortization period is one year or less. These costs are recorded within
  marketing and sales on our consolidated statements of income.

         We do not disclose the value of unsatisfied performance obligations for (i) contracts with an original expected length of one year
  or less and (ii) contracts for which we recognize revenue at the amount to which we have the right to invoice for services performed.

        Revenue excludes sales and usage‑based taxes where it has been determined that we are acting as a pass‑through agent.

        Advertising

         Advertising revenue is generated by displaying ad products on Facebook, Instagram, Messenger, and third-party mobile
  applications. Marketers pay for ad products either directly or through their relationships with advertising agencies or resellers, based on
  the number of impressions delivered or the number of actions, such as clicks, taken by our users.

         We recognize revenue from the display of impression-based ads in the contracted period in which the impressions are delivered.
  Impressions are considered delivered when an ad is displayed to users. We recognize revenue from the delivery of action-based ads in
  the period in which a user takes the action the marketer contracted for. In general, we report advertising revenue on a gross basis, since
  we control the advertising inventory before it is transferred to our customers. Our control is evidenced by our sole ability to monetize
  the advertising inventory before it is transferred to our customers. For revenue generated from arrangements that involve third-party
  publishers, we evaluate whether we are the principal or the agent, and for those advertising revenue arrangements where we are the
  agent, we recognize revenue on a net basis.

        We may accept lower consideration than the amount promised per the contract for certain revenue transactions and certain
  customers may receive cash-based incentives, credits, or refunds, which are accounted for as variable consideration when estimating
  the amount of revenue to recognize. We estimate these amounts and reduce revenue based on the amounts expected to be provided to
  customers. We believe that there will not be significant changes to our estimates of variable consideration.

        Reality Labs Revenue

         RL revenue is generated from the delivery of consumer hardware products, such as Meta Quest, wearables, and related software
  and content. Revenue is recognized at the time control of the products is transferred to customers, which is generally at the time of
  delivery, in an amount that reflects the consideration RL expects to be entitled to in exchange for the products.

        Other Revenue

        Other revenue consists of net fees we receive from developers using our Payments infrastructure and revenue from WhatsApp
  Business Platform and various other sources.

  Cost of Revenue

          Our cost of revenue consists mostly of expenses associated with the delivery and distribution of our products. These include
  expenses related to the operation of our data centers and technical infrastructure, such as depreciation expense from servers, network
  infrastructure and buildings, as well as payroll and related expenses which include share-based compensation for employees on our
  operations teams, and energy and bandwidth costs. Cost of revenue also includes costs associated with partner arrangements, including
  traffic acquisition costs and credit card and other fees related to processing customer transactions, and content costs. Additionally, cost
  of revenue includes RL inventory costs, which consist of cost of products sold and estimated losses on non-cancelable contractual
  commitments.

  Content Costs

        Our content costs are mostly related to payments to content providers from whom we license video and music to increase
  engagement on the platform. For licensed video, we expense the cost per title when the title is accepted and available

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  for viewing if the capitalization criteria are not met. Video content costs that meet the criteria for capitalization were not material to
  date.

         For licensed music, we expense the license fees over the contractual license period. Expensed content costs are included in cost
  of revenue on the consolidated statements of income.

  Software Development Costs

         Software development costs, including costs to develop software products or the software component of products to be marketed
  or sold to external users, are expensed before the software or technology reach technological feasibility, which is typically reached
  shortly before the release of such products.

         Software development costs also include costs to develop software to be used solely to meet internal needs and applications used
  to deliver our services. These software development costs meet the criteria for capitalization once the preliminary project stage is
  complete and it is probable that the project will be completed and the software will be used to perform the function intended.

        Development costs that meet the criteria for capitalization were not material to date.

  Share-based Compensation

         Share-based compensation expense consists of the company's restricted stock units (RSUs) expense. RSUs granted to employees
  are measured based on the grant-date fair value. In general, our RSUs vest over a service period of four years. Share-based
  compensation expense is generally recognized based on the straight-line basis over the requisite service period. We account for
  forfeitures as they occur.

  Income Taxes

        We are subject to income taxes in the United States and numerous foreign jurisdictions. Significant judgment is required in
  determining our provision for income taxes and income tax assets and liabilities, including evaluating uncertainties in the application of
  accounting principles and complex tax laws.

         We record a provision for income taxes for the anticipated tax consequences of the reported results of operations using the asset
  and liability method. Under this method, we recognize deferred income tax assets and liabilities for the expected future consequences
  of temporary differences between the financial reporting and tax bases of assets and liabilities, as well as for loss and tax credit
  carryforwards. Deferred tax assets and liabilities are measured using the tax rates that are expected to apply to taxable income for the
  years in which those tax assets and liabilities are expected to be realized or settled. We recognize the deferred income tax effects of a
  change in tax rates in the period of the enactment.

         We record a valuation allowance to reduce our deferred tax assets to the net amount that we believe is more likely than not to be
  realized. We consider all available evidence, both positive and negative, including historical levels of income, expectations and risks
  associated with estimates of future taxable income and ongoing tax planning strategies in assessing the need for a valuation allowance.

         We recognize tax benefits from uncertain tax positions only if we believe that it is more likely than not that the tax position will
  be sustained on examination by the taxing authorities based on the technical merits of the position. These uncertain tax positions
  include our estimates for transfer pricing that have been developed based upon analyses of appropriate arms-length prices. Similarly,
  our estimates related to uncertain tax positions concerning research tax credits are based on an assessment of whether our available
  documentation corroborating the nature of our activities supporting the tax credits will be sufficient. Although we believe that we have
  adequately reserved for our uncertain tax positions (including net interest and penalties), we can provide no assurance that the final tax
  outcome of these matters will not be materially different. We make adjustments to these reserves in accordance with the income tax
  accounting guidance when facts and circumstances change, such as the closing of a tax audit or the refinement of an estimate. To the
  extent that the final tax outcome of these matters is different from the amounts recorded, such differences will affect the provision for
  income taxes in the period in which such determination is made, and could have a material impact on our financial condition and
  operating results.



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  Advertising Expense

         Advertising costs are expensed when incurred and are included in marketing and sales expenses on the consolidated statements
  of income. We incurred advertising expenses of $2.65 billion, $2.99 billion, and $2.26 billion for the years ended December 31, 2022,
  2021, and 2020, respectively.

  Cash and Cash Equivalents, Marketable Securities, and Restricted Cash

        Cash and cash equivalents consist of cash on deposit with banks and highly liquid investments with maturities of 90 days or less
  from the date of purchase.

         We hold investments in marketable securities, consisting mostly of U.S. government securities, U.S. government agency
  securities, and investment grade corporate debt securities. We classify our marketable securities as available-for-sale (AFS) investments
  in our current assets because they represent investments of cash available for current operations. Our AFS investments are carried at
  estimated fair value with any unrealized gains and losses, net of taxes, included in accumulated other comprehensive income (loss) in
  stockholders' equity. AFS debt securities with an amortized cost basis in excess of estimated fair value are assessed to determine what
  amount of that difference, if any, is caused by expected credit losses. Allowance for credit losses on AFS debt securities are recognized
  as a charge in interest and other income (expense), net on our consolidated statements of income, and any remaining unrealized losses,
  net of taxes, are included in accumulated other comprehensive income (loss) in stockholders' equity. The amounts of credit losses
  recorded for the years ended December 31, 2022, 2021, and 2020 were not material. We determine realized gains or losses on sale of
  marketable securities on a specific identification method and include such gains or losses in interest and other income (expense), net on
  the consolidated statements of income.

        We classify certain restricted cash balances, consisting mostly of cash related to insurance policies, and retention and
  indemnification holdback for our acquisitions, within prepaid expenses and other current assets and other assets on the consolidated
  balance sheets based upon the expected duration of the restrictions.

  Non-marketable Equity Securities

         Our non-marketable equity securities are investments in privately-held companies without readily determinable fair values. We
  elected to account for substantially all of our non-marketable equity securities using the measurement alternative, which is cost, less
  any impairment, adjusted for changes in fair value resulting from observable transactions for identical or similar investments of the
  same issuer as of the respective transaction dates. The change in carrying value, if any, is recognized in interest and other income
  (expense), net on our consolidated statements of income. We periodically review our non-marketable equity securities for impairment.
  When indicators exist and the estimated fair value of an investment is below the carrying amount, we write down the investment to fair
  value. During the year ended December 31, 2022, losses resulted from such remeasurements were $447 million. Gains and losses
  recorded in the years ended December 31, 2021 and 2020 were immaterial. For additional information, see Note 6 — Non-marketable
  Equity Securities.

         In addition, we also held other non-marketable equity securities accounted for under the equity method which were immaterial
  as of December 31, 2022 and 2021.

  Fair Value Measurements

         We apply fair value accounting for all financial assets and liabilities and non-financial assets and liabilities that are recognized or
  disclosed at fair value in the financial statements on a recurring basis. We define fair value as the price that would be received from
  selling an asset or paid to transfer a liability in an orderly transaction between market participants at the measurement date. When
  determining the fair value measurements for assets and liabilities, which are required to be recorded at fair value, we consider the
  principal or most advantageous market in which we would transact and the market-based risk measurements or assumptions that market
  participants would use in pricing the asset or liability, such as risks inherent in valuation techniques, transfer restrictions and credit risk.
  Fair value is estimated by applying the following hierarchy, which prioritizes the inputs used to measure fair value into three levels and
  bases the categorization within the hierarchy upon the lowest level of input that is available and significant to the fair value
  measurement:

         Level 1- Quoted prices in active markets for identical assets or liabilities.

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         Level 2- Observable inputs other than quoted prices in active markets for identical assets and liabilities, quoted prices for
  identical or similar assets or liabilities in inactive markets, or other inputs that are observable or can be corroborated by observable
  market data for substantially the full term of the assets or liabilities.

         Level 3- Inputs that are generally unobservable and typically reflect management's estimate of assumptions that market
  participants would use in pricing the asset or liability.

          Our cash equivalents and marketable debt securities are classified within Level 1 or Level 2 of the fair value hierarchy because
  their fair value is derived from quoted market prices or alternative pricing sources and models utilizing observable market inputs. Our
  marketable equity securities are publicly traded stocks measured at fair value and classified within Level 1 in the fair value hierarchy
  because we use quoted prices for identical assets in active markets to estimate their fair value. Certain other assets are classified within
  Level 3 because factors used to develop the estimated fair value are unobservable inputs that are not supported by market activity.

         Our non-marketable equity securities accounted for using the measurement alternative are recorded at fair value on a non-
  recurring basis. When indicators of impairment exist or observable price changes of qualified transactions occur, the respective non-
  marketable equity security would be classified within Level 3 of the fair value hierarchy because the valuation methods include a
  combination of the observable transaction price at the transaction date and other unobservable inputs including volatility, rights, and
  obligations of the securities we hold.

  Accounts Receivable and Allowances

         Accounts receivable are recorded and carried at the original invoiced amount less an allowance for any potential uncollectible
  amounts. We make estimates of expected credit and collectibility trends for the allowance for credit losses and allowance for unbilled
  receivables based upon our assessment of various factors, including historical experience, the age of the accounts receivable balances,
  credit quality of our customers, current economic conditions, reasonable and supportable forecasts of future economic conditions, and
  other factors that may affect our ability to collect from customers. Expected credit losses are recorded as general and administrative
  expenses on our consolidated statements of income. As of December 31, 2022 and 2021, the allowances for accounts receivable were
  immaterial.

  Property and Equipment

        Property and equipment, which includes amounts recorded under finance leases, which are amortized, are stated at cost less
  accumulated depreciation. Depreciation is computed using the straight-line method over the estimated useful lives of the assets or the
  remaining lease term, whichever is shorter.


        The estimated useful lives of property and equipment and amortization periods of finance lease right-of-use assets are described
  below:
  Property and Equipment                                                  Useful Life/ Amortization period
  Servers and network assets                                              Four to Five years
  Buildings                                                               25 to 30 years
  Equipment and other                                                     One to 25 years
  Finance lease right-of-use assets                                       Three to 20 years
  Leasehold improvements                                                  Lesser of estimated useful life or remaining lease term


         We evaluate at least annually the recoverability of property and equipment for possible impairment whenever events or
  circumstances indicate that the carrying amount of such assets may not be recoverable. If such review indicates that the carrying
  amount of property and equipment assets is not recoverable, and the asset's fair value is less than the carrying amount, an impairment
  charge is recognized. During the year ended December 31, 2022, we recorded $1.34 billion of abandonment charges for data center
  construction in progress (CIP) assets under Accounting Standards Codification (ASC) Topic 360 related to our restructuring efforts. For
  additional information regarding our restructuring efforts, see Note 3 — Restructuring.




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         The useful lives of our property and equipment are determined by management when those assets are initially recognized and are
  routinely reviewed for the remaining estimated useful lives. Our current estimate of useful lives represents the best estimate of the
  useful lives based on current facts and circumstances, but may differ from the actual useful lives due to changes to our business
  operations, changes in the planned use of assets, and technological advancements. When we change the estimated useful life
  assumption for any asset, the remaining carrying amount of the asset is accounted for prospectively and depreciated or amortized over
  the revised estimated useful life. See section "Use of Estimates" above for additional information regarding changes in the estimated
  useful lives of our servers and network assets.

          Servers and network assets include property and equipment mostly in our data centers, which is used to support production
  traffic. Land and assets held within construction in progress are not depreciated. Construction in progress is related to the construction
  or development of property and equipment that have not yet been placed in service for their intended use.

         The cost of maintenance and repairs is expensed as incurred. When assets are retired or otherwise disposed of, the cost and
  related accumulated depreciation are removed from their respective accounts, and any gain or loss on such sale or disposal is reflected
  in income from operations.

  Lease Obligations

         We have operating leases comprised of certain offices, data centers, colocations, land, network infrastructure, and other
  equipment. We also have finance leases for certain network infrastructure. We determine if an arrangement is a lease at inception. Most
  of our leases contain lease and non-lease components. Non-lease components include fixed payments for maintenance, utilities, real
  estate taxes, and management fees. We combine fixed lease and non-lease components and account for them as a single lease
  component. Our lease agreements may contain variable costs such as contingent rent escalations, common area maintenance, insurance,
  real estate taxes, or other costs. Such variable lease costs are expensed as incurred on the consolidated statements of income. For
  certain colocation and equipment leases, we apply a portfolio approach to effectively account for the operating lease right-of-use
  (ROU) assets and lease liabilities.

         For leases with a lease term greater than 12 months, ROU assets and lease liabilities are recognized on the consolidated balance
  sheets at the commencement date based on the present value of the remaining fixed lease payments and includes only payments that are
  fixed and determinable at the time of commencement.

        Our lease terms may include options to extend or terminate the lease when it is reasonably certain that we will exercise such
  options. When determining the probability of exercising such options, we consider contract-based, asset-based, entity-based, and
  market-based factors.

         As most of our leases do not provide an implicit rate, we use our incremental borrowing rate based on the information available
  at the commencement date in determining the present value of lease payments. Our incremental borrowing rate is a hypothetical rate
  based on our understanding of what our credit rating would be in a similar economic environment.

         Operating leases are included in operating lease ROU assets, operating lease liabilities, current, and operating lease liabilities,
  non-current on our consolidated balance sheets. Finance leases are included in property and equipment, net, accrued expenses and other
  current liabilities, and other liabilities on our consolidated balance sheets.

         Operating lease costs are recognized on a straight-line basis over the lease terms. Finance lease assets are amortized on a
  straight-line basis over the shorter of the estimated useful lives of the assets or the lease terms.

         During the year ended December 31, 2022, we recorded impairment losses of $2.22 billion in aggregate for operating lease ROU
  assets and leasehold improvements under ASC Topic 360 as a part of our facilities consolidation restructuring efforts. The fair values of
  the impaired assets were estimated using discounted cash flow models (income approach) based on market participant assumptions
  with Level 3 inputs. The assumptions used in estimating fair value include the expected downtime prior to the commencement of future
  subleases, projected sublease income over the remaining lease periods, and discount rates that reflect the level of risk associated with
  receiving future cash flows. For additional information regarding our restructuring efforts, see Note 3 — Restructuring.




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  Loss Contingencies

         We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations that arise in the
  ordinary course of business. Certain of these matters include speculative claims for substantial or indeterminate amounts of damages.
  Additionally, we are required to comply with various legal and regulatory obligations around the world, and we regularly become
  subject to new laws and regulations in the jurisdictions in which we operate. The requirements for complying with these obligations
  may be uncertain and subject to interpretation and enforcement by regulatory and other authorities, and any failure to comply with such
  obligations could eventually lead to asserted legal or regulatory action. With respect to these matters, asserted and unasserted, we
  evaluate the associated developments on a regular basis and accrue a liability when we believe that it is both probable that a loss has
  been incurred and the amount can be reasonably estimated. If we determine there is a reasonable possibility that we may incur a loss
  and the loss or range of loss can be reasonably estimated, we disclose the possible loss in the accompanying notes to the consolidated
  financial statements to the extent material.

         We review the developments in our contingencies that could affect the amount of the provisions that have been previously
  recorded, and the matters and related reasonably possible losses disclosed. We make adjustments to our provisions and changes to our
  disclosures accordingly to reflect the merits of our defenses and the impact of negotiations, settlements, regulatory proceedings,
  rulings, advice of legal counsel, and updated information. Significant judgment is required to determine the probability of loss and the
  estimated amount of loss, including when and if the probability and estimate has changed for asserted and unasserted matters. Certain
  factors, in particular, have resulted in significant changes to these estimates and judgments in prior quarters based on updated
  information available. For example, in certain jurisdictions where we operate, fines and penalties may be the result of new laws and
  preliminary interpretations regarding the basis of assessing damages, which may make it difficult to estimate what such fines and
  penalties would amount to if successfully asserted against us. In addition, certain government inquiries and investigations, such as
  matters before our lead European Union privacy regulator, the IDPC, are subject to review by other regulatory bodies before decisions
  can be finalized, which can lead to significant changes in the outcome of an inquiry. As a result of these and other factors, we
  reasonably expect that our estimates and judgments with respect to our contingencies may continue to be revised in future quarters.

  Business Combinations

         We allocate the fair value of purchase consideration to the tangible assets acquired, liabilities assumed and intangible assets
  acquired based on their estimated fair values. The excess of the fair value of purchase consideration over the fair values of these
  identifiable assets and liabilities is recorded as goodwill to reporting units based on the expected benefit from the business combination.
  Allocation of purchase consideration to identifiable assets and liabilities affects the amortization expense, as acquired finite-lived
  intangible assets are amortized over the useful life, whereas any indefinite-lived intangible assets, including goodwill, are not
  amortized. During the measurement period, which is not to exceed one year from the acquisition date, we record adjustments to the
  assets acquired and liabilities assumed, with the corresponding offset to goodwill. Upon the conclusion of the measurement period, any
  subsequent adjustments are recorded to earnings. Acquisition-related expenses are recognized separately from business combinations
  and are expensed as incurred.

  Goodwill and Intangibles Assets

         We allocate goodwill to reporting units based on the expected benefit from business combinations. We evaluate our reporting
  units annually, as well as when changes in our operating segments occur. For changes in reporting units, we reassign goodwill using a
  relative fair value allocation approach. Goodwill is tested for impairment at the reporting unit level annually or more frequently if
  events or changes in circumstances would more likely than not reduce the fair value of a reporting unit below its carrying value. We
  have two reporting units subject to goodwill impairment testing. As of December 31, 2022, no impairment of goodwill has been
  identified.

         We evaluate the recoverability of finite-lived intangible assets for possible impairment whenever events or circumstances
  indicate that the carrying amount of such assets may not be recoverable. The evaluation of these intangible assets are performed at the
  lowest level for which identifiable cash flows are largely independent of the cash flows of other assets and liabilities. Recoverability of
  these assets is measured by a comparison of the carrying amounts to the future undiscounted cash flows the assets are expected to
  generate from the use and eventual disposition. If such review indicates that the carrying amount of finite-lived intangible assets is not
  recoverable, and the assets fair value is less than the carrying amount, an impairment charge is recognized. We have not recorded any
  material impairment charges during the years presented.


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          Our finite-lived intangible assets are amortized on a straight-line basis over the estimated useful lives of the assets. Indefinite-
  lived intangible assets are not amortized. If an indefinite-lived intangible asset is subsequently determined to have a finite useful life,
  the asset will be tested for impairment and accounted for as a finite-lived intangible asset prospectively over its estimated remaining
  useful life. We routinely review the remaining estimated useful lives of finite-lived intangible assets. If we change the estimated useful
  life assumption for any asset, the remaining unamortized balance is amortized over the revised estimated useful life.

  Foreign Currency

         Generally, the functional currency of our international subsidiaries is the local currency. We translate the financial statements of
  these subsidiaries to U.S. dollars using month-end rates of exchange for assets and liabilities, and average rates of exchange for
  revenue, costs, and expenses. Translation gains and losses are recorded in accumulated other comprehensive income (loss) as a
  component of stockholders' equity. As of December 31, 2022 and 2021, we had cumulative translation losses, net of tax of $1.86 billion
  and $677 million, respectively.

         Foreign currency transaction gains and losses from transactions denominated in a currency other than the functional currency of
  the subsidiary involved are recorded within interest and other income (expense), net on our consolidated statements of income. Net
  losses resulting from foreign currency transactions were $81 million, $140 million, and $129 million for the years ended December 31,
  2022, 2021, and 2020, respectively.

  Credit Risk and Concentration

          Our financial instruments that are potentially subject to concentrations of credit risk consist primarily of cash, cash equivalents,
  restricted cash, marketable securities, and accounts receivable. Cash equivalents consists mostly of money market funds, that primarily
  invest in U.S. government and agency securities. Marketable securities consist of investments in U.S. government securities, U.S.
  government agency securities, and investment grade corporate debt securities. Our investment portfolio in corporate debt securities is
  highly liquid and diversified among individual issuers. The amount of credit losses recorded for the year ended December 31, 2022 was
  not material.

         Accounts receivable are typically unsecured and are derived from revenue earned from customers across different industries and
  countries. We generated 40%, 41%, and 42% of our revenue for the years ended December 31, 2022, 2021, and 2020, respectively,
  from marketers and developers based in the United States, with the majority of revenue outside of the United States coming from
  customers located in western Europe, China, Brazil, Canada, Australia and Japan.

         We perform ongoing credit evaluations of our customers and generally do not require collateral. We maintain an allowance for
  estimated credit losses, and bad debt expense on these losses was not material during the years ended December 31, 2022, 2021, or
  2020. In the event that accounts receivable collection cycles deteriorate, our operating results and financial position could be adversely
  affected.

        No customer represented 10% or more of total revenue during the years ended December 31, 2022, 2021, and 2020.

  Recently Adopted Accounting Pronouncements

         On January 1, 2022, we early adopted Accounting Standards Update (ASU) No. 2021-08, Business Combinations (Topic 805):
  Accounting for Contract Assets and Contract Liabilities from Contracts with Customers (ASU 2021-08), which clarifies that an
  acquirer of a business should recognize and measure contract assets and contract liabilities in a business combination in accordance
  with Accounting Standards Codification (ASC) Topic 606, Revenue from Contracts with Customers. The adoption of this new standard
  did not have a material impact on our consolidated financial statements.

         On July 1, 2022, we early adopted ASU No. 2022-03, Fair Value Measurement (Topic 820): Fair Value Measurement of Equity
  Securities Subject to Contractual Sale Restrictions (ASU 2022-03), which clarifies and amends the guidance of measuring the fair
  value of equity securities subject to contractual restrictions that prohibit the sale of the equity securities. The adoption of this new
  standard did not have a material impact on our consolidated financial statements.



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       On October 1, 2022, we adopted ASU No. 2021-10, Government Assistance (Topic 832): Disclosure by Business Entities about
  Government Assistance (ASU 2021-10), which improves the transparency of government assistance received




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  by most business entities by requiring annual disclosures of: (1) the types of government assistance received; (2) the accounting for
  such assistance; and (3) the effect of the assistance on a business entity's financial statements. The adoption of this new standard did not
  have a material impact on our consolidated financial statements.


  Note 2. Revenue

       Revenue disaggregated by revenue source and by segment consists of the following (in millions). For comparative purposes,
  amounts for the year ended December 31, 2020 have been recast:

                                                                                                           Year Ended December 31,
                                                                                               2022                 2021                    2020
    Advertising                                                                         $        113,642     $        114,934     $           84,169
    Other revenue                                                                                    808                  721                    657
  Family of Apps                                                                                 114,450              115,655                 84,826
  Reality Labs                                                                                     2,159                2,274                  1,139
        Total revenue                                                                   $        116,609     $        117,929     $           85,965


          Revenue disaggregated by geography, based on the addresses of our customers, consists of the following (in millions):

                                                                                                           Year Ended December 31,
                                                                                               2022                 2021                    2020
  United States and Canada (1)                                                          $         50,150     $         51,541     $           38,433
  Europe (2)                                                                                      26,681               29,057                 20,349
  Asia-Pacific                                                                                    27,760               26,739                 19,848
  Rest of World (2)                                                                               12,018               10,592                  7,335
        Total revenue                                                                   $        116,609     $        117,929     $           85,965

  _________________________
  (1) United States revenue was $47.20 billion, $48.38 billion, and $36.25 billion for the years ended December 31, 2022, 2021, and 2020,
      respectively.
  (2) Europe includes Russia and Turkey, and Rest of World includes Africa, Latin America, and the Middle East.

       Our total deferred revenue was $526 million and $596 million as of December 31, 2022 and 2021, respectively. As of
  December 31, 2022, we expect $482 million of our deferred revenue to be realized in less than a year.




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  Note 3. Restructuring

        During the year ended December 31, 2022, we initiated several measures to pursue greater cost efficiency and to realign our
  business and strategic priorities.

         Beginning in the third quarter of 2022, as a part of our facilities consolidation strategy, we made a decision to sublease, early
  terminate, or abandon several office buildings under operating leases to align our real property lease arrangements with our anticipated
  operating needs. As a result, we recorded impairment charges for the related operating lease right-of-use (ROU) assets and leasehold
  improvements.

          In November 2022, we announced a layoff of approximately 11,000 of our employees across the FoA and RL segments. As a
  result, we recorded severance and other personnel related expenses for the impacted employees.

         In December 2022, we reevaluated our data center investment strategy to improve efficiency and further advance our efforts
  around artificial intelligence. As a result, we decided to pivot several of our data center building projects to a next generation design
  while also canceling multiple existing data center projects. This strategy led to abandonment charges of the related data center assets.

          A summary of our restructuring charges for the year ended December 31, 2022 by major activity type is as follows (in millions):

                                                                          Facilities       Severance and Other
                                                                       Consolidation (1)     Personnel Costs      Data Center Assets              Total
  Cost of revenue                                                  $                154    $              —      $            1,341    $                  1,495
  Research and development                                                        1,311                  408                     —                        1,719
  Marketing and sales                                                               404                  234                     —                          638
  General and administrative                                                        426                  333                     —                          759
        Total                                                      $              2,295    $             975     $            1,341    $                  4,611
  ________________________

  (1) Facilities consolidation includes impairment charges and accelerated expenses related to certain operating lease ROU assets and leasehold
      improvements.

          Total restructuring charges recorded under our FoA segment were $4.10 billion and RL segment were $515 million.

        The following table is a summary of the changes in the severance and other personnel liabilities, included within accrued
  expenses and other current liabilities on the consolidated balance sheets, related to the workforce reduction (in millions):

  Balance as of January 1, 2022                                                                                                    $                        —
    Severance and other personnel costs                                                                                                                    975
    Cash payments during the period                                                                                                                       (203)
  Balance as of December 31, 2022 (1)                                                                                              $                       772
  __________________________

  (1) We expect the remaining severance and termination related liabilities to be substantially paid out in cash during the first half of 2023.




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  Note 4. Earnings per Share

         We compute earnings per share (EPS) of Class A and Class B common stock using the two-class method. As the liquidation and
  dividend rights for both Class A and Class B common stock are identical, the undistributed earnings are allocated on a proportionate
  basis to the weighted-average number of common shares outstanding for the period.

         Basic EPS is computed by dividing net income by the weighted-average number of shares of our Class A and Class B common
  stock outstanding. For the calculation of diluted EPS, net income for basic EPS is adjusted by the effect of dilutive securities, including
  awards under our equity compensation plan.

         In addition, the computation of the diluted EPS of Class A common stock assumes the conversion of our Class B common stock
  to Class A common stock, while the diluted EPS of Class B common stock does not assume the conversion of those shares to Class A
  common stock. Diluted EPS is computed by dividing the resulting net income by the weighted-average number of fully diluted
  common shares outstanding.

         For the year ended December 31, 2022, approximately 95 million shares of Class A common stock equivalents of restricted stock
  units (RSUs) were excluded from the diluted EPS calculation as including them would have an anti-dilutive effect. RSUs with anti-
  dilutive effect were not material for the years ended December 31, 2021 and 2020.

        Basic and diluted EPS are the same for each class of common stock because they are entitled to the same liquidation and
  dividend rights.

         The numerators and denominators of the basic and diluted EPS computations for our common stock are calculated as follows (in
  millions, except per share amounts):

                                                                                              Year Ended December 31,
                                                                              2022                        2021                        2020
                                                                      Class          Class        Class          Class        Class          Class
                                                                       A              B            A              B            A              B
  Basic EPS:
  Numerator
    Net income                                                    $ 19,729       $    3,471   $ 33,328       $    6,042   $ 24,607       $    4,539
  Denominator
    Shares used in computation of basic earnings per share             2,285           402         2,383            432        2,407            444
  Basic EPS                                                       $     8.63     $     8.63   $    13.99     $    13.99   $    10.22     $    10.22
  Diluted EPS:
  Numerator
    Net income                                                    $ 19,729       $    3,471   $ 33,328       $    6,042   $ 24,607       $    4,539
    Reallocation of net income as a result of conversion of
    Class B to Class A common stock                                  3,471               —     6,042                 —     4,539                 —
    Reallocation of net income to Class B common stock                  —               (19)      —                 (93)      —                 (58)
      Net income for diluted EPS                                  $ 23,200       $    3,452 $ 39,370         $    5,949 $ 29,146         $    4,481
  Denominator
    Shares used in computation of basic earnings per share             2,285           402         2,383            432        2,407            444
    Conversion of Class B to Class A common stock                        402             —           432             —           444             —
    Weighted-average effect of dilutive RSUs                              15             —            44             —            37             —
    Shares used in computation of diluted earnings per share           2,702           402         2,859            432        2,888            444
  Diluted EPS                                                     $     8.59     $     8.59   $    13.77     $    13.77   $    10.09     $    10.09




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  Note 5. Cash, Cash Equivalent, Marketable Securities, and Restricted Cash

        The following table sets forth cash, cash equivalents, marketable securities and restricted cash (in millions):

                                                                                                              December 31,
                                                                                                     2022                    2021
  Cash and cash equivalents:
    Cash                                                                                    $                6,176   $               7,308
    Money market funds                                                                                       8,305                   8,850
    U.S. government securities                                                                                  —                       25
    U.S. government agency securities                                                                           16                     108
    Certificates of deposit and time deposits                                                                  156                     250
    Corporate debt securities                                                                                   28                      60
      Total cash and cash equivalents                                                                       14,681                  16,601
  Marketable securities:
    Marketable debt securities:
      U.S. government securities                                                                             8,708                  10,901
      U.S. government agency securities                                                                      4,989                   5,927
      Corporate debt securities                                                                             12,335                  14,569
         Total marketable debt securities                                                                   26,032                  31,397
    Marketable equity securities                                                                                25                      —
      Total marketable securities                                                                           26,057                  31,397
  Restricted cash:
   Restricted cash included in prepaid expenses and other current assets                                       294                     149
   Restricted cash included in other assets                                                                    621                     115
      Total restricted cash                                                                                    915                     264
  Total cash, cash equivalents, marketable securities, and restricted cash                  $               41,653   $              48,262




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        The following table summarizes our available-for-sale marketable debt securities and cash equivalents with unrealized losses as
  of December 31, 2022 and 2021, aggregated by major security type and the length of time that individual securities have been in a
  continuous loss position (in millions):

                                                                                          December 31, 2022
                                                       Less than 12 months                12 months or greater                       Total
                                                                    Unrealized                         Unrealized                            Unrealized
                                                   Fair Value         Losses          Fair Value         Losses         Fair Value            Losses
  U.S. government securities                   $        5,008    $          (234) $        3,499    $         (247) $        8,507      $          (481)
  U.S. government agency securities                       524                (17)          4,415              (308)          4,939                 (325)
  Corporate debt securities                             4,555               (249)          7,256              (634)         11,811                 (883)
      Total                                    $       10,087    $          (500) $       15,170    $       (1,189) $       25,257      $        (1,689)


                                                                                          December 31, 2021
                                                      Less than 12 months                12 months or greater                        Total
                                                                     Unrealized                         Unrealized                           Unrealized
                                                   Fair Value         Losses          Fair Value         Losses         Fair Value            Losses
  U.S. government securities                   $       5,184     $           (38) $           30   $            — $         5,214       $           (38)
  U.S. government agency securities                    5,029                 (61)              2                —           5,031                   (61)
  Corporate debt securities                           10,041                 (93)             40                (1)        10,081                   (94)
      Total                                    $      20,254     $          (192) $           72   $            (1) $      20,326       $          (193)


         The increase in the gross unrealized losses for the year ended December 31, 2022 is due to higher interest rates. The allowance
  for credit losses and the gross unrealized gains on our marketable debt securities was not material as of December 31, 2022 and 2021.

        The following table classifies our marketable debt securities by contractual maturities (in millions):

                                                                                                                                  December 31, 2022
  Due within one year                                                                                                         $                   4,170
  Due after one year to five years                                                                                                               21,862
      Total                                                                                                                   $                  26,032




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  Note 6. Non-marketable Equity Securities

         Our non-marketable equity securities are investments in privately-held companies without readily determinable fair values. The
  following table summarizes our non-marketable equity securities that were measured using measurement alternative and equity method
  (in millions):

                                                                                                                    December 31,
                                                                                                           2022                     2021
  Non-marketable equity securities under measurement alternative:
    Initial cost                                                                              $                   6,388     $              6,480
    Cumulative upward adjustments                                                                                   293                      311
    Cumulative impairment/downward adjustments                                                                    (497)                     (50)
  Carrying value                                                                                                  6,184                    6,741
  Non-marketable equity securities under equity method                                                               17                       34
      Total                                                                                   $                   6,201     $              6,775


        During the year ended December 31, 2022, we recorded $447 million of impairment and downward adjustments on our non-
  marketable equity securities that were measured using measurement alternative, which includes the impairment of our equity
  investment in Giphy due to a regulatory decision announced by the United Kingdom Competition and Markets Authority in October
  2022.


  Note 7. Fair Value Measurements

         The following table summarizes our assets measured at fair value on a recurring basis and the classification by level of input
  within the fair value hierarchy (in millions):

                                                                                          Fair Value Measurement at Reporting Date Using
                                                                                   Quoted Prices in
                                                                                  Active Markets for     Significant Other         Significant
                                                              December 31,         Identical Assets     Observable Inputs     Unobservable Inputs
  Description                                                     2022                 (Level 1)             (Level 2)              (Level 3)
  Cash equivalents:
    Money market funds                                    $           8,305   $               8,305    $                   —    $             —
    U.S. government agency securities                                    16                      16                        —                  —
    Certificates of deposit and time deposits                           156                      —                        156                 —
    Corporate debt securities                                            28                      —                         28                 —
  Marketable securities:
    U.S. government securities                                       8,708                   8,708                       —                    —
    U.S. government agency securities                                4,989                   4,989                       —                    —
    Corporate debt securities                                       12,335                      —                    12,335                   —
    Marketable equity securities                                        25                      25                       —                    —
  Restricted cash equivalents                                          583                     583                       —                    —
  Other assets                                                         157                      —                        —                   157
       Total                                              $         35,302    $             22,626     $             12,519     $            157




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                                                                                            Fair Value Measurement at Reporting Date Using
                                                                                     Quoted Prices in
                                                                                    Active Markets for       Significant Other        Significant
                                                                December 31,         Identical Assets        Observable Inputs    Unobservable Inputs
  Description                                                       2021                 (Level 1)               (Level 2)             (Level 3)
  Cash equivalents:
    Money market funds                                      $           8,850   $               8,850    $                   —    $                —
    U.S. government securities                                             25                      25                        —                     —
    U.S. government agency securities                                     108                     108                        —                     —
    Certificates of deposit and time deposits                             250                      —                        250                    —
    Corporate debt securities                                              60                      —                         60                    —
  Marketable securities:
    U.S. government securities                                        10,901                   10,901                      —                       —
    U.S. government agency securities                                  5,927                    5,927                      —                       —
    Corporate debt securities                                         14,569                       —                   14,569                      —
  Restricted cash equivalents                                             71                       71                      —                       —
  Other assets                                                           160                       —                       —                      160
       Total                                                $         40,921    $              25,882    $             14,879     $               160


         We classify our cash equivalents and marketable debt securities within Level 1 or Level 2 because we use quoted market prices
  or alternative pricing sources and models utilizing market observable inputs to determine their fair value. Our marketable equity
  securities are publicly traded stocks measured at fair value and classified within Level 1 in the fair value hierarchy because we use
  quoted prices for identical assets in active markets to estimate their fair value. Certain other assets are classified within Level 3 because
  factors used to develop the estimated fair value are unobservable inputs that are not supported by market activity.

          Our non-marketable equity securities accounted for using the measurement alternative are measured at fair value on a non-
  recurring basis and are classified within Level 3 of the fair value hierarchy because we use significant unobservable inputs to estimate
  their fair value. Assets remeasured at fair value within Level 3 during the years ended December 31, 2022 and 2021 were immaterial
  and $913 million, respectively. For additional information, see Note 6 — Non-marketable Equity Securities.


  Note 8. Property and Equipment

         Property and equipment, net consists of the following (in millions):
                                                                                                                            December 31,
                                                                                                                     2022                  2021
    Land                                                                                                      $          1,874 $               1,688
    Servers and network assets                                                                                          34,330                25,584
    Buildings                                                                                                           27,720                22,531
    Leasehold improvements                                                                                               6,522                 5,795
    Equipment and other                                                                                                  5,642                 4,764
    Finance lease right-of-use assets                                                                                    3,353                 2,840
    Construction in progress                                                                                            25,052                14,687
  Property and equipment, gross                                                                                        104,493                77,889
  Less: Accumulated depreciation                                                                                       (24,975)              (20,080)
      Property and equipment, net                                                                             $         79,518 $              57,809




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          Construction in progress includes costs mostly related to construction of data centers, network infrastructure, servers, and office
  facilities. As of December 31, 2022, construction in progress also includes $2.18 billion of servers and network assets components
  stored by our suppliers until required by our design manufacturers to fulfill certain purchase orders.

        Depreciation expense on property and equipment was $8.50 billion, $7.56 billion, and $6.39 billion for the years ended
  December 31, 2022, 2021, and 2020, respectively. The majority of the property and equipment depreciation expense was from servers
  and network assets depreciation of $5.29 billion, $4.94 billion, and $4.38 billion for the years ended December 31, 2022, 2021, and
  2020, respectively. For additional information regarding changes in the estimated useful life of our servers and network assets, see
  Note 1 — Summary of Significant Accounting Policies.

         During the year ended December 31, 2022, we recorded $1.34 billion abandonment charge and $508 million impairment loss for
  data center assets and leasehold improvements assets, respectively, as a result of our restructuring efforts. For additional information,
  see Note 3 — Restructuring.


  Note 9. Leases

         We have entered into various non-cancelable operating lease agreements mostly for certain of our offices, data centers,
  colocations, and land. We have also entered into various non-cancelable finance lease agreements mostly for certain network
  infrastructure. Our leases have original lease periods expiring between 2023 and 2093. Many leases include one or more options to
  renew. We do not assume renewals in our determination of the lease term unless the renewals are deemed to be reasonably assured. Our
  lease agreements generally do not contain any material residual value guarantees or material restrictive covenants.

        The components of lease costs are as follows (in millions):

                                                                                                         Year Ended December 31,
                                                                                          2022                     2021                2020
  Finance lease cost:
    Amortization of right-of-use assets                                            $               380     $                344   $             259
    Interest                                                                                        16                       15                  14
  Operating lease cost                                                                           1,857                    1,540               1,391
  Variable lease cost and other, net                                                               363                      272                 269
      Total lease cost                                                             $             2,616     $              2,171   $           1,933

         During the year ended December 31, 2022, we also recorded $1.71 billion impairment loss for operating lease ROU assets as a
  part of our facilities consolidation restructuring efforts. For additional information, see Note 3 — Restructuring.

        Supplemental balance sheet information related to leases is as follows:

                                                                                                                    December 31,
                                                                                                            2022                      2021
  Weighted-average remaining lease term:
   Finance leases                                                                                              14.4 years               13.9 years
   Operating leases                                                                                            12.5 years               13.0 years
  Weighted-average discount rate:
   Finance leases                                                                                                  3.1 %                      2.7 %
   Operating leases                                                                                                3.2 %                      2.8 %




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         The following is a schedule, by years, of maturities of lease liabilities as of December 31, 2022 (in millions):
                                                                                                                  Operating Leases            Finance Leases
  2023                                                                                                        $               1,739 $                       146
  2024                                                                                                                        2,034                          57
  2025                                                                                                                        1,771                          57
  2026                                                                                                                        1,723                          53
  2027                                                                                                                        1,699                          52
  Thereafter                                                                                                                 11,801                         460
    Total undiscounted cash flows                                                                                            20,767                         825
    Less: Imputed interest                                                                                                   (4,099)                       (138)
       Present value of lease liabilities (1)                                                                 $              16,668 $                       687

  Lease liabilities, current                                                                                  $               1,367     $                   129
  Lease liabilities, non current                                                                                             15,301                         558
       Present value of lease liabilities (1)                                                                 $              16,668     $                   687
  _________________
  (1) Lease liabilities include those operating leases that we plan to sublease or abandon as a part of our facilities consolidation restructuring efforts.
      For additional information, see Note 3 — Restructuring.

        The table above does not include lease payments that were not fixed at commencement or lease modification. As of
  December 31, 2022, we have additional operating and finance leases, that have not yet commenced, with lease obligations of
  approximately $8.36 billion and $1.43 billion, respectively, mostly for data centers, offices, network infrastructure, and colocations.
  These operating and finance leases will commence between 2023 and 2028 with lease terms of greater than one year to 30 years.

         Supplemental cash flow information related to leases is as follows (in millions):
                                                                                                                    Year Ended December 31,
                                                                                                     2022                    2021                   2020
  Cash paid for amounts included in the measurement of lease liabilities:
    Operating cash flows for operating leases                                                $              1,654     $             1,406   $              1,208
    Operating cash flows for finance leases                                                  $                 16     $                15   $                 14
    Financing cash flows for finance leases                                                  $                850     $               677   $                604
  Lease liabilities arising from obtaining right-of-use assets:
    Operating leases                                                                         $              4,366     $             4,466   $              1,158
    Finance leases                                                                           $                223     $               160   $                121


  Note 10. Acquisitions, Goodwill, and Intangible Assets

         During the year ended December 31, 2022, we completed several business combinations with total cash consideration
  transferred of $1.23 billion, which in aggregate was allocated to $317 million of intangible assets, $1.14 billion of goodwill, and
  $223 million of net liabilities assumed. Goodwill generated from all business acquisitions completed was primarily attributable to
  expected synergies and potential monetization opportunities. The amount of goodwill generated that was deductible for tax purposes
  was not material. Acquisition-related costs were immaterial and were expensed as incurred. Pro forma historical results of operations
  related to these business acquisitions have not been presented because they are not significant to our consolidated financial statements,
  either individually or in aggregate. We have included the financial results of these acquired businesses in our consolidated financial
  statements from their respective dates of acquisition.




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        Changes in the carrying amount of goodwill by reportable segment for the years ended December 31, 2022 and 2021 are as
  follows (in millions):

                                                                                          Family of Apps           Reality Labs               Total
  Goodwill at December 31, 2020                                                                                                        $         19,050
   Acquisitions                                                                                                                                     210
   Adjustments/transfer                                                                                                                            (191)
   Effect of currency translation adjustment                                                                                                         (4)
   Segment allocation in the fourth quarter of 2021 (1)                               $            18,455    $                610                19,065
   Acquisitions in the fourth quarter of 2021                                                          —                      128                   128
   Effect of currency translation adjustment                                                            3                       1                     4
  Goodwill at December 31, 2021                                                                    18,458                     739                19,197
   Acquisitions                                                                                       773                     364                 1,137
   Adjustments                                                                                         19                     (47)                  (28)
  Goodwill at December 31, 2022                                                       $            19,250    $              1,056 $              20,306
  _________________________
  (1) Represents reallocation of goodwill as a result of our change in segments in the fourth quarter of 2021. See Note 17 — Segment and
      Geographical Information for further details.

         The following table sets forth the major categories of the intangible assets and the weighted-average remaining useful lives for
  those assets that are not already fully amortized (in millions):

                                                                December 31, 2022                                     December 31, 2021
                                   Weighted-
                                   Average
                                  Remaining           Gross                                              Gross
                                  Useful Lives       Carrying       Accumulated     Net Carrying        Carrying          Accumulated      Net Carrying
                                   (in years)        Amount         Amortization      Amount            Amount            Amortization       Amount
    Acquired technology               5.2        $        507   $           (144) $          363    $       1,412     $           (1,169) $           243
    Acquired patents                  3.0                 380               (289)             91              827                   (722)             105
    Trade names                       3.7                  11                 (3)              8              644                   (633)              11
    Other                             8.9                  75                (22)             53              176                   (167)               9
  Total finite-lived assets                               973               (458)            515            3,059                 (2,691)             368
  Total indefinite-lived assets      N/A                  382                 —              382              266                     —               266
        Total intangible assets                  $      1,355   $           (458) $          897    $       3,325     $           (2,691) $           634


        Amortization expense of intangible assets for the years ended December 31, 2022, 2021, and 2020 was $185 million,
  $407 million, and $473 million, respectively.

         As of December 31, 2022, expected amortization expense for the unamortized finite-lived intangible assets for the next five
  years and thereafter is as follows (in millions):

  2023                                                                                                                             $                  153
  2024                                                                                                                                                126
  2025                                                                                                                                                 83
  2026                                                                                                                                                 44
  2027                                                                                                                                                 27
  Thereafter                                                                                                                                           82
        Total                                                                                                                      $                  515




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  Note 11. Long-term Debt

         In August 2022, we issued an aggregate of $10.0 billion principal amount of fixed-rate senior unsecured notes in four series (the
  “Original Notes”) in a private offering to qualified institutional buyers and certain non-U.S. persons. The proceeds from this offering,
  net of discounts and debt issuance costs, was $9.92 billion. We intend to use the net proceeds from the offering for general corporate
  purposes, which may include, but are not limited to, capital expenditures, repurchases of outstanding shares of our common stock,
  acquisitions, or investments. In connection with the offering, we entered into a registration rights agreement (the "Registration Rights
  Agreement") providing for the filing of a registration statement with the Securities and Exchange Commission in order to exchange the
  Original Notes for registered notes having substantially the same terms.

         On November 29, 2022, we commenced an offer to exchange (the "Exchange Offer") the Original Notes for new registered notes
  (the "Exchange Notes" and, together with the Original Notes, the "Notes") in order to fulfill our obligations under the Registration
  Rights Agreement. The Exchange Offer expired on December 28, 2022 and settled on December 29, 2022. We did not receive any
  proceeds from the Exchange Offer, and the aggregate principal amount of the Exchange Notes that were issued was equal to the
  aggregate principal amount of the Original Notes that were surrendered pursuant to the Exchange Offer. Each series of the Exchange
  Notes is part of the same series of the applicable series of the Original Notes and the terms of the Exchange Notes offered in the
  Exchange Offer are substantially identical to the terms of the respective series of the Original Notes, except that the Exchange Notes
  are registered under the Securities Act, and certain transfer restrictions, registration rights, and additional interest provisions relating to
  the Original Notes do not apply to the Exchange Notes. The Notes of each series rank equally with each other and we are not subject to
  any financial covenants. We may redeem each series of the Notes at any time in whole or in part, at specified redemption prices.

        The following table summarizes the Notes and the carrying amount of our debt as of December 31, 2022 (in millions, except
  percentages):

                                                                                                       Effective Interest
                                                                    Maturity    Stated Interest Rate         Rate               December 31, 2022
  2027 Notes                                                         2027             3.50%                 3.63%           $               2,750
  2032 Notes                                                         2032             3.85%                 3.92%                           3,000
  2052 Notes                                                         2052             4.45%                 4.51%                           2,750
  2062 Notes                                                         2062             4.65%                 4.71%                           1,500
      Total face amount of long-term debt                                                                                                  10,000
  Unamortized discount and issuance costs, net                                                                                                (77)
      Long-term debt                                                                                                        $               9,923


         Interest on each of the Notes is payable semi-annually in arrears in February and August of each year, commencing in February
  2023. The effective interest rates include the interest rates stated on the Notes and amortization of the discounts and issuance costs. For
  the year ended December 31, 2022, interest expense recognized on the debt was $160 million.

         The total estimated fair value of our outstanding debt was $8.63 billion as of December 31, 2022. The fair value was determined
  based on the closing trading price per $100 of the Notes as of December 31, 2022 and is categorized accordingly as Level 2 in the fair
  value hierarchy.

         As of December 31, 2022, future principal payments for the Notes, by year, are as follows (in millions):

  2023 through 2026                                                                                                         $                  —
  2027                                                                                                                                      2,750
  Thereafter                                                                                                                                7,250
      Total outstanding debt                                                                                                $              10,000




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  Note 12. Liabilities

          The components of accrued expenses and other current liabilities are as follows (in millions):

                                                                                                                           December 31,
                                                                                                                  2022                    2021
  Legal-related accruals (1)                                                                             $                4,795       $           3,254
  Accrued compensation and benefits                                                                                       4,591                   3,152
  Accrued property and equipment                                                                                          2,921                   1,392
  Accrued taxes                                                                                                           2,339                   1,256
  Other current liabilities                                                                                               4,906                   5,819
        Accrued expenses and other current liabilities                                                   $               19,552       $          14,873
  _________________________
  (1) Includes accruals for estimated fines, settlements, or other losses in connection with legal and related matters, as well as other legal fees. For
      further information, see Legal and Related Matters in Note 13 — Commitments and Contingencies.

          The components of other liabilities are as follows (in millions):

                                                                                                                           December 31,
                                                                                                                  2022                    2021
  Income tax payable                                                                                     $                6,645       $           5,938
  Other non-current liabilities                                                                                           1,119                   1,289
        Other liabilities                                                                                $                7,764       $           7,227



  Note 13. Commitments and Contingencies

  Guarantee

         In 2018, we established a multi-currency notional cash pool for certain of our entities with a third-party bank provider, which
  was terminated on December 2, 2022. As a result, the parental guarantee by Meta Platforms, Inc. was no longer required.

  Contractual Commitments

        We have $19.91 billion of non-cancelable contractual commitments as of December 31, 2022, which are primarily related to our
  investments in network infrastructure, servers, and consumer hardware products in Reality Labs. The following is a schedule, by years,
  of non-cancelable contractual commitments as of December 31, 2022 (in millions):


  2023                                                                                                                            $              13,203
  2024                                                                                                                                            2,295
  2025                                                                                                                                            1,434
  2026                                                                                                                                              265
  2027                                                                                                                                              209
  Thereafter                                                                                                                                      2,504
        Total                                                                                                                     $              19,910


         Additionally, as part of the normal course of business, we have entered into multi-year agreements to purchase renewable energy
  that do not specify a fixed or minimum volume commitment or to purchase certain server components that do not specify a fixed or
  minimum price commitment. We enter into these agreements in order to secure either volume or price. Using the projected market
  prices or expected volume consumption, the total estimated spend as of December 31, 2022


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  is approximately $10.34 billion, a majority of which is due beyond five years. The ultimate spend under these agreements may vary and
  will be based on prevailing market prices or actual volume purchased.

         In January 2023, we entered into multi-year agreements to purchase renewable energy in the amount of approximately $1.6
  billion.

  Legal and Related Matters

         Beginning on March 20, 2018, multiple putative class actions and derivative actions were filed in state and federal courts in the
  United States and elsewhere against us and certain of our directors and officers alleging violations of securities laws, breach of
  fiduciary duties, and other causes of action in connection with our platform and user data practices as well as the misuse of certain data
  by a developer that shared such data with third parties in violation of our terms and policies, and seeking unspecified damages and
  injunctive relief. Beginning on July 27, 2018, two putative class actions were filed in federal court in the United States against us and
  certain of our directors and officers alleging violations of securities laws in connection with the disclosure of our earnings results for
  the second quarter of 2018 and seeking unspecified damages. These two actions subsequently were transferred and consolidated in the
  U.S. District Court for the Northern District of California with the putative securities class action described above relating to our
  platform and user data practices. On September 25, 2019, the district court granted our motion to dismiss the consolidated putative
  securities class action, with leave to amend. On November 15, 2019, a second amended complaint was filed in the consolidated
  putative securities class action. On August 7, 2020, the district court granted our motion to dismiss the second amended complaint, with
  leave to amend. On October 16, 2020, a third amended complaint was filed in the consolidated putative securities class action. On
  December 20, 2021, the district court granted our motion to dismiss the third amended complaint, with prejudice. On January 17, 2022,
  the plaintiffs filed a notice of appeal of the order dismissing their case, and the appeal is now pending before the U.S. Court of Appeals
  for the Ninth Circuit. With respect to the multiple putative class actions filed against us beginning on March 20, 2018 alleging fraud
  and violations of consumer protection, privacy, and other laws in connection with the same matters, several of the cases brought on
  behalf of consumers in the United States were consolidated in the U.S. District Court for the Northern District of California. On
  September 9, 2019, the court granted, in part, and denied, in part, our motion to dismiss the consolidated putative consumer class
  action. On December 22, 2022, the parties entered into a settlement agreement to resolve the lawsuit, which provides for a payment of
  $725 million by us and is subject to court approval. In addition, our platform and user data practices, as well as the events surrounding
  the misuse of certain data by a developer, became the subject of U.S. Federal Trade Commission (FTC), state attorneys general, and
  other government inquiries in the United States, Europe, and other jurisdictions. We entered into a settlement and modified consent
  order to resolve the FTC inquiry, which took effect in April 2020. Among other matters, our settlement with the FTC required us to pay
  a penalty of $5.0 billion which was paid in April 2020 upon the effectiveness of the modified consent order. The state attorneys general
  inquiry and certain government inquiries in other jurisdictions remain ongoing. On July 16, 2021, a stockholder derivative action was
  filed in Delaware Chancery Court against certain of our directors and officers asserting breach of fiduciary duty and related claims
  relating to our historical platform and user data practices, as well as our settlement with the FTC. On July 20, 2021, other stockholders
  filed an amended derivative complaint in a related Delaware Chancery Court action, asserting breach of fiduciary duty and related
  claims against certain of our current and former directors and officers in connection with our historical platform and user data practices.
  On November 4, 2021, the lead plaintiffs filed a second amended and consolidated complaint in the stockholder derivative action. We
  believe the lawsuits described above are without merit, and we are vigorously defending them.

         We also notify the Irish Data Protection Commission (IDPC), our lead European Union privacy regulator under the General Data
  Protection Regulation (GDPR), of certain other personal data breaches and privacy issues, and are subject to inquiries and
  investigations by the IDPC and other European regulators regarding various aspects of our regulatory compliance. For example, we are
  currently subject to an IDPC inquiry regarding Meta Platforms Ireland's ability to transfer European Union/European Economic Area
  Facebook user data to the United States, which is described further in "Legal Proceedings" contained in Part I, Item 3 of this Annual
  Report on Form 10-K. The interpretation of the GDPR is still evolving and draft decisions in investigations by the IDPC are subject to
  review by other European privacy regulators as part of the GDPR's consistency mechanism, which may lead to significant changes in
  the final outcome of such investigations. As a result, the interpretation and enforcement of the GDPR, as well as the imposition and
  amount of penalties for non-compliance, are subject to significant uncertainty. Although we are vigorously defending our regulatory
  compliance, we have accrued significant amounts for loss contingencies related to these inquiries and investigations in Europe, and we
  believe there is a reasonable possibility that additional accruals for losses related to these matters could be material in the aggregate.




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         Beginning in January 2022, we became subject to litigation and other proceedings that were filed in various federal and
  California state courts alleging that Facebook and Instagram cause "social media addiction" in teenage users, resulting in various
  mental health and other harms. A putative class action alleging similar harms was also filed in California state court on behalf of users
  under the age of 13 and three school districts recently filed public nuisance claims based on similar allegations. On October 6, 2022,
  the federal cases were consolidated in the U.S. District Court for the Northern District of California. The state court proceedings are
  now pending before a trial judge from Los Angeles County Superior Court. We believe these lawsuits are without merit, and we are
  vigorously defending them. We are also subject to government investigations and requests from multiple regulators concerning the use
  of our products, and the related mental and physical health and safety impacts on teenage users.

         We are also subject to other government inquiries and investigations relating to our business activities and disclosure practices.
  For example, beginning in September 2021, we became subject to government investigations and requests relating to a former
  employee's allegations and release of internal company documents concerning, among other things, our algorithms, advertising and
  user metrics, and content enforcement practices, as well as misinformation and other undesirable activity on our platform, and user
  well-being. We have since received additional requests relating to these and other topics. Beginning on October 27, 2021, multiple
  putative class actions and derivative actions were filed in the U.S. District Court for the Northern District of California against us and
  certain of our directors and officers alleging violations of securities laws, breach of fiduciary duties, and other causes of action in
  connection with the same matters, and seeking unspecified damages. We believe these lawsuits are without merit, and we are
  vigorously defending them.

         On March 8, 2022, a putative class action was filed in the U.S. District Court for the Northern District of California against us
  and certain of our directors and officers alleging violations of securities laws in connection with the disclosure of our earnings results
  for the fourth quarter of 2021 and seeking unspecified damages. We believe this lawsuit is without merit, and we are vigorously
  defending it.

         Beginning on August 15, 2018, multiple putative class actions were filed against us alleging that we inflated our estimates of the
  potential audience size for advertisements, resulting in artificially increased demand and higher prices. The cases were consolidated in
  the U.S. District Court for the Northern District of California and seek unspecified damages and injunctive relief. In a series of rulings
  in 2019, 2021, and 2022, the court dismissed certain of the plaintiffs' claims, but permitted its fraud and unfair competition claims to
  proceed. On March 29, 2022, the court granted the plaintiffs' motion for class certification. On June 21, 2022, the U.S. Court of
  Appeals for the Ninth Circuit granted our petition for permission to appeal the district court's class certification order, and the district
  court subsequently stayed the case. We believe this lawsuit is without merit, and we are vigorously defending it.

         In addition, we are subject to litigation and other proceedings involving law enforcement and other regulatory agencies,
  including in particular in Brazil, Russia, and other countries in Europe, in order to ascertain the precise scope of our legal obligations to
  comply with the requests of those agencies, including our obligation to disclose user information in particular circumstances. A number
  of such instances have resulted in the assessment of fines and penalties against us. We believe we have multiple legal grounds to satisfy
  these requests or prevail against associated fines and penalties, and we intend to vigorously defend such fines and penalties.

         With respect to the cases, actions, and inquiries described above, we evaluate the associated developments on a regular basis and
  accrue a liability when we believe a loss is probable and the amount can be reasonably estimated. In addition, we believe there is a
  reasonable possibility that we may incur a loss in some of these matters. With respect to the matters described above that do not include
  an estimate of the amount of loss or range of possible loss, such losses or range of possible losses either cannot be estimated or are not
  individually material, but we believe there is a reasonable possibility that they may be material in the aggregate.

          We are also party to various other legal proceedings, claims, and regulatory, tax or government inquiries and investigations that
  arise in the ordinary course of business. For example, we are subject to various litigation and government inquiries and investigations,
  formal or informal, by competition authorities in the United States, Europe, and other jurisdictions. Such investigations, inquiries, and
  lawsuits concern, among other things, our business practices in the areas of social networking or social media services, digital
  advertising, and/or mobile or online applications, as well as our acquisitions. For example, in June 2019 we were informed by the FTC
  that it had opened an antitrust investigation of our company. On December 9, 2020, the FTC filed a complaint against us in the U.S.
  District Court for the District of Columbia alleging that we engaged in anticompetitive conduct and unfair methods of competition in
  violation of Section 5 of the Federal Trade Commission Act and Section 2 of the Sherman Act, including by acquiring Instagram in
  2012 and WhatsApp




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  in 2014 and by maintaining conditions on access to our platform. In addition, beginning in the third quarter of 2019, we became the
  subject of antitrust investigations by the U.S. Department of Justice and state attorneys general. On December 9, 2020, the attorneys
  general from 46 states, the territory of Guam, and the District of Columbia filed a complaint against us in the U.S. District Court for the
  District of Columbia alleging that we engaged in anticompetitive conduct in violation of Section 2 of the Sherman Act, including by
  acquiring Instagram in 2012 and WhatsApp in 2014 and by maintaining conditions on access to our platform. The complaint also
  alleged that we violated Section 7 of the Clayton Act by acquiring Instagram and WhatsApp. The complaints of the FTC and attorneys
  general both sought a permanent injunction against our company's alleged violations of the antitrust laws, and other equitable relief,
  including divestiture or reconstruction of Instagram and WhatsApp. On June 28, 2021, the court granted our motions to dismiss the
  complaints filed by the FTC and attorneys general, dismissing the FTC's complaint with leave to amend and dismissing the attorneys
  general's case without prejudice. On July 28, 2021, the attorneys general filed a notice of appeal of the order dismissing their case and
  that appeal is now pending before the U.S. Court of Appeals for the District of Columbia Circuit. On August 19, 2021, the FTC filed an
  amended complaint, and on October 4, 2021, we filed a motion to dismiss this amended complaint. On January 11, 2022, the court
  denied our motion to dismiss the FTC's amended complaint. Multiple putative class actions have also been filed in state and federal
  courts in the United States and in the United Kingdom against us alleging violations of antitrust laws and other causes of action in
  connection with these acquisitions and/or other alleged anticompetitive conduct, and seeking damages and injunctive relief. Several of
  the cases brought on behalf of certain advertisers and users in the United States were consolidated in the U.S. District Court for the
  Northern District of California. On January 14, 2022, the court granted, in part, and denied, in part, our motion to dismiss the
  consolidated actions. On March 1, 2022, a first amended consolidated complaint was filed in the putative class action brought on behalf
  of certain advertisers. On December 6, 2022, the court denied our motion to dismiss the first amended consolidated complaint filed in
  the putative class action brought on behalf of certain advertisers. In addition, on July 27, 2022, the FTC filed a complaint against us in
  the U.S. District Court for the Northern District of California seeking to preliminarily enjoin our proposed acquisition of Within
  Unlimited as an alleged violation of antitrust law. The FTC subsequently filed a related complaint in their administrative court seeking
  to permanently enjoin the transaction as a violation of Section 7 of the Clayton Act, and seeking other relief as well. We believe these
  lawsuits are without merit, and we are vigorously defending them. In December 2022, the European Commission issued a Statement of
  Objections alleging that we tie Facebook Marketplace to Facebook and use data in a manner that infringes European Union competition
  rules.

         On February 14, 2022, the State of Texas filed a lawsuit against us in Texas state court alleging that “tag suggestions" and other
  facial recognition features on our products violated the Texas Capture or Use of Biometric Identifiers Act and the Texas Deceptive
  Trade Practices-Consumer Protection Act, and seeking statutory damages and injunctive relief. The case is currently scheduled for trial
  in October 2023. We believe this lawsuit is without merit, and we are vigorously defending it.

         Additionally, we are required to comply with various legal and regulatory obligations around the world. The requirements for
  complying with these obligations may be uncertain and subject to interpretation and enforcement by regulatory and other authorities,
  and any failure to comply with such obligations could eventually lead to asserted legal or regulatory action. With respect to these other
  legal proceedings, claims, regulatory, tax, or government inquiries and investigations, and other matters, asserted and unasserted, we
  evaluate the associated developments on a regular basis and accrue a liability when we believe a loss is probable and the amount can be
  reasonably estimated. In addition, we believe there is a reasonable possibility that we may incur a loss in some of these other matters.
  We believe that the amount of losses or any estimable range of possible losses with respect to these other matters will not, either
  individually or in the aggregate, have a material adverse effect on our business and consolidated financial statements.

         The ultimate outcome of the legal and related matters described in this section, such as whether the likelihood of loss is remote,
  reasonably possible, or probable, or if and when the reasonably possible range of loss is estimable, is inherently uncertain. Therefore, if
  one or more of these matters were resolved against us for amounts in excess of management's estimates of loss, our results of
  operations and financial condition, including in a particular reporting period in which any such outcome becomes probable and
  estimable, could be materially adversely affected.

        For information regarding income tax contingencies, see Note 16 — Income Taxes.

  Indemnifications

         In the normal course of business, to facilitate transactions of services and products, we have agreed to indemnify certain parties
  with respect to certain matters. We have agreed to hold certain parties harmless against losses arising from a breach of representations
  or covenants, or out of intellectual property infringement or other claims made by third parties.



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  These agreements may limit the time within which an indemnification claim can be made and the amount of the claim. In addition, we
  have entered into indemnification agreements with our officers, directors, and certain employees, and our certificate of incorporation
  and bylaws contain similar indemnification obligations.

         It is not possible to determine the maximum potential amount under these indemnification agreements due to the limited history
  of prior indemnification claims and the unique facts and circumstances involved in each particular agreement. Historically, payments
  made by us under these agreements have not had a material impact on our consolidated financial statements. In our opinion, as of
  December 31, 2022, there was not a reasonable possibility we had incurred a material loss with respect to indemnification of such
  parties. We have not recorded any liability for costs related to indemnification through December 31, 2022.


  Note 14. Stockholders' Equity

  Common Stock

         Our certificate of incorporation authorizes the issuance of Class A common stock and Class B common stock. As of
  December 31, 2022, we are authorized to issue 5,000 million shares of Class A common stock and 4,141 million shares of Class B
  common stock, each with a par value of $0.000006 per share. Holders of our Class A common stock and Class B common stock are
  entitled to dividends when, as, and if declared by our board of directors, subject to the rights of the holders of all classes of stock
  outstanding having priority rights to dividends. As of December 31, 2022, we have not declared any dividends. The holder of each
  share of Class A common stock is entitled to one vote, while the holder of each share of Class B common stock is entitled to ten votes.
  Shares of our Class B common stock are convertible into an equivalent number of shares of our Class A common stock and generally
  convert into shares of our Class A common stock upon transfer. Class A common stock and Class B common stock are collectively
  referred to as common stock throughout the notes to these financial statements, unless otherwise noted.

         As of December 31, 2022, there were 2,247 million shares of Class A common stock and 367 million shares of Class B common
  stock issued and outstanding.

  Share Repurchase Program

        Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in January
  2017 and does not have an expiration date. As of December 31, 2021, $38.79 billion remained available and authorized for repurchases
  under this program. In 2022, we repurchased and subsequently retired 161 million shares of our Class A common stock for an
  aggregate amount of $27.93 billion. As of December 31, 2022, $10.87 billion remained available and authorized for repurchases. In
  January 2023, an additional $40 billion of repurchases was authorized under this program.

         The timing and actual number of shares repurchased under the repurchase program depend on a variety of factors, including
  price, general business and market conditions, and other investment opportunities, and shares may be repurchased through open market
  purchases or privately negotiated transactions, including through the use of trading plans intended to qualify under Rule 10b5-1 under
  the Securities Exchange Act of 1934, as amended.

  Share-based Compensation Plan

         We have one active share-based employee compensation plan, the 2012 Equity Incentive Plan (Amended 2012 Plan), which was
  amended in each of June 2016, February 2018, and December 2022. Our Amended 2012 Plan provides for the issuance of incentive and
  nonqualified stock options, restricted stock awards, stock appreciation rights, RSUs, performance shares, and stock bonuses to qualified
  employees, directors, and consultants. Shares that are withheld in connection with the net settlement of RSUs or forfeited are added to
  the reserves of the Amended 2012 Plan.

         As of December 31, 2022, there were 66 million shares of our Class A common stock reserved for future issuance under our
  Amended 2012 Plan. Pursuant to the automatic increase provision under our Amended 2012 Plan, the number of shares reserved for
  issuance increases automatically on January 1 of each of the calendar years during the term of the Amended 2012 Plan, which will
  continue through April 2026, by a number of shares of Class A common stock equal to the lesser of (i) 2.5% of the total issued and
  outstanding shares of our Class A common stock as of the immediately preceding


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  December 31st or (ii) a number of shares determined by our board of directors. Pursuant to this automatic increase provision, our board
  of directors approved an increase of 56 million shares of Class A common stock reserved for issuance, effective January 1, 2023.

         In December 2022, our board of directors approved an amendment to our Amended 2012 Plan to increase the number of shares
  reserved for issuance under the Amended 2012 Plan by 425 million shares, effective March 1, 2023 (Plan Amendment). The Plan
  Amendment was also approved by holders of a majority of the voting power of our outstanding capital stock in December 2022.

        The following table summarizes the activities for our unvested RSUs for the year ended December 31, 2022:
                                                                                                                             Weighted-Average
                                                                                                                             Grant Date Fair
                                                                                                      Number of Shares        Value Per Share
                                                                                                       (in thousands)
  Unvested at December 31, 2021                                                                                98,848    $            244.32
   Granted                                                                                                    106,693    $            195.66
   Vested                                                                                                     (54,013)   $            218.24
   Forfeited                                                                                                  (24,418)   $            231.98
  Unvested at December 31, 2022                                                                               127,110    $            216.93


         The weighted-average grant date fair value of RSUs granted in the years ended December 31, 2021 and 2020 was $305.40 and
  $188.73, respectively. The fair value as of the respective vesting dates of RSUs that vested during the years ended December 31, 2022,
  2021, and 2020 was $9.44 billion, $14.42 billion, and $9.38 billion, respectively. The income tax benefit recognized related to awards
  vested during the years ended December 31, 2022, 2021, and 2020 was $2.0 billion, $3.08 billion, and $1.81 billion, respectively.

        As of December 31, 2022, there was $26.01 billion of unrecognized share-based compensation expense related to RSU awards.
  This unrecognized compensation expense is expected to be recognized over a weighted-average period of approximately three years
  based on vesting under the award service conditions.


  Note 15. Interest and Other Income (Expense), Net

        The following table presents the detail of interest and other income (expense), net (in millions):

                                                                                                     Year Ended December 31,
                                                                                          2022                2021                 2020
  Interest income, net                                                             $              276 $              461 $                 672
  Foreign currency exchange losses, net                                                           (81)              (140)                 (129)
  Other income (expense), net                                                                    (320)               210                   (34)
      Interest and other income (expense), net                                     $             (125) $             531 $                 509




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  Note 16. Income Taxes

        The components of income before provision for income taxes are as follows (in millions):

                                                                                                         Year Ended December 31,
                                                                                           2022                    2021               2020
  Domestic                                                                          $           25,025      $         43,669      $      24,233
  Foreign                                                                                        3,794                 3,615              8,947
      Income before provision for income taxes                                      $           28,819      $         47,284      $      33,180


        The provision for income taxes consists of the following (in millions):

                                                                                                          Year Ended December 31,
                                                                                           2022                    2021               2020
  Current:
    Federal                                                                         $             6,094     $             4,971   $          3,297
    State                                                                                           874                     548                523
    Foreign                                                                                       1,928                   1,786              1,211
  Total current tax expense                                                                       8,896                   7,305              5,031

  Deferred:
    Federal                                                                                     (2,776)                     585               (859)
    State                                                                                         (405)                      43               (122)
    Foreign                                                                                        (96)                     (19)               (16)
  Total deferred tax (benefits)/expense                                                         (3,277)                     609               (997)
      Provision for income taxes                                                    $            5,619 $                  7,914 $            4,034

        A reconciliation of the U.S. federal statutory income tax rates to our effective tax rate is as follows (in percentages):

                                                                                                     Year Ended December 31,
                                                                                        2022                  2021                    2020
  U.S. federal statutory income tax rate                                                       21.0 %                 21.0 %                 21.0 %
  State income taxes, net of federal benefit                                                    1.0                    1.0                    0.8
  Share-based compensation                                                                      2.6                   (1.7)                  (1.4)
  Research and development tax credits                                                         (2.4)                  (1.3)                  (1.3)
  Foreign-derived intangible income deduction                                                  (7.0)                  (3.5)                  (1.9)
  Effect of non-U.S. operations                                                                 3.0                    0.9                   (2.4)
  Research and development capitalization                                                        —                      —                    (3.0)
  Other                                                                                         1.3                    0.3                    0.4
      Effective tax rate                                                                       19.5 %                 16.7 %                 12.2 %




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        Our deferred tax assets (liabilities) are as follows (in millions):

                                                                                                                     December 31,
                                                                                                              2022                  2021
  Deferred tax assets:
    Loss carryforwards                                                                                 $            234 $               2,443
    Tax credit carryforwards                                                                                      1,576                 1,385
    Share-based compensation                                                                                        368                   319
    Accrued expenses and other liabilities                                                                        1,627                 1,195
    Lease liabilities                                                                                             3,200                 2,597
    Capitalized research and development                                                                          8,175                 1,691
    Unrealized losses in securities and investments                                                                 489                    —
    Other                                                                                                           621                   449
  Total deferred tax assets                                                                                      16,290                10,079
    Less: valuation allowance                                                                                    (2,493)               (1,586)
      Deferred tax assets, net of valuation allowance                                                            13,797                 8,493

  Deferred tax liabilities:
    Depreciation and amortization                                                                                (6,296)               (4,425)
    Right-of-use assets                                                                                          (2,555)               (2,339)
  Total deferred tax liabilities                                                                                 (8,851)               (6,764)
      Net deferred tax assets                                                                          $          4,946 $               1,729


         The valuation allowance was approximately $2.49 billion and $1.59 billion as of December 31, 2022 and 2021, respectively,
  primarily related to U.S. state tax credit carryforwards, U.S. foreign tax credits, unrealized losses in securities and investments, and
  certain foreign tax attributes for which we do not believe a tax benefit is more likely than not to be realized.

         As of December 31, 2022, the U.S. federal and state net operating loss carryforwards were $196 million and $1.40 billion, which
  will begin to expire in 2035 and 2032, respectively, if not utilized. We have federal tax credit carryforwards of $276 million, which will
  begin to expire in 2029, if not utilized, and state tax credit carryforwards of $3.72 billion, most of which do not expire.

         Utilization of our net operating loss and tax credit carryforwards may be subject to substantial annual limitations due to the
  ownership change limitations provided by the Internal Revenue Code and similar state provisions. Such annual limitations could result
  in the expiration of the net operating loss and tax credit carryforwards before their utilization. The events that may cause ownership
  changes include, but are not limited to, a cumulative stock ownership change of greater than 50% over a three‑year period.

        The following table reflects changes in the gross unrecognized tax benefits (in millions):

                                                                                                     Year Ended December 31,
                                                                                         2022                 2021                  2020
  Gross unrecognized tax benefits ‑ beginning of period                            $         9,807 $                 8,692 $               7,863
    Increases related to prior year tax positions                                              210                     328                   356
    Decreases related to prior year tax positions                                             (172)                    (86)                 (253)
    Increases related to current year tax positions                                          1,166                     963                 1,045
    Decreases related to settlements of prior year tax positions                              (254)                    (90)                 (319)
  Gross unrecognized tax benefits ‑ end of period                                  $        10,757 $                 9,807 $               8,692




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         These unrecognized tax benefits were primarily accrued for the uncertainties related to transfer pricing with our foreign
  subsidiaries, which include licensing of intellectual property, providing services and other transactions, as well as for the uncertainties
  with our research tax credits. During all years presented, we recognized interest and penalties related to unrecognized tax benefits
  within the provision for income taxes on the consolidated statements of income. The amount of interest and penalties accrued as of
  December 31, 2022 and 2021 were $1.07 billion and $960 million, respectively.

        If the balance of gross unrecognized tax benefits of $10.76 billion as of December 31, 2022 were realized in a future period, this
  would result in a tax benefit of $6.49 billion within our provision of income taxes at such time.

         We are subject to taxation in the United States and various other state and foreign jurisdictions. The material jurisdictions in
  which we are subject to potential examination include the United States and Ireland. We are under examination by the Internal Revenue
  Service (IRS) for our 2014 through 2019 tax years. Our 2020 and subsequent tax years remain open to examination by the IRS and the
  Irish Revenue Commissioners.

          In July 2016, we received a Statutory Notice of Deficiency (Notice) from the IRS related to transfer pricing with our foreign
  subsidiaries in conjunction with the examination of the 2010 tax year. While the Notice applies only to the 2010 tax year, the IRS stated
  that it will also apply its position for tax years subsequent to 2010 and has done so in years covered by the second Notice described
  below. We do not agree with the position of the IRS and have filed a petition in the Tax Court challenging the Notice. On January 15,
  2020, the IRS's amendment to answer was filed stating that it planned to assert at trial an adjustment that is higher than the adjustment
  stated in the Notice. The first session of the trial was completed in March 2020 and the final trial session was completed in August
  2022. We expect the Tax Court to issue an opinion in 2024. Based on the information provided, we believe that, if the IRS prevails in
  its updated position, this could result in an additional federal tax liability of an estimated, aggregate amount of up to approximately
  $9.0 billion in excess of the amounts in our originally filed U.S. return, plus interest and any penalties asserted.

         In March 2018, we received a second Notice from the IRS in conjunction with the examination of our 2011 through 2013 tax
  years. The IRS applied its position from the 2010 tax year to each of these years and also proposed new adjustments related to other
  transfer pricing with our foreign subsidiaries and certain tax credits that we claimed. If the IRS prevails in its position for these new
  adjustments, this could result in an additional federal tax liability of up to approximately $680 million in excess of the amounts in our
  originally filed U.S. returns, plus interest and any penalties asserted. We do not agree with the positions of the IRS in the second Notice
  and have filed a petition in the Tax Court challenging the second Notice.

         We have previously accrued an estimated unrecognized tax benefit consistent with the guidance in ASC 740, Income Taxes
  (ASC 740), that is lower than the potential additional federal tax liability from the positions taken by the IRS in the two Notices and its
  Pretrial Memorandum. In addition, if the IRS prevails in its positions related to transfer pricing with our foreign subsidiaries, the
  additional tax that we would owe would be partially offset by a reduction in the tax that we owe under the mandatory transition tax on
  accumulated foreign earnings from the 2017 Tax Cuts and Jobs Act. As of December 31, 2022, we have not resolved these matters and
  proceedings continue in the Tax Court.

         We believe that adequate amounts have been reserved in accordance with ASC 740 for any adjustments to the provision for
  income taxes or other tax items that may ultimately result from these examinations. The timing of the resolution, settlement, and
  closure of any audits is highly uncertain, and it is reasonably possible that the balance of gross unrecognized tax benefits could
  significantly change in the next 12 months. Given the number of years remaining that are subject to examination, we are unable to
  estimate the full range of possible adjustments to the balance of gross unrecognized tax benefits. If the tax authorities prevail in the
  assessment of additional tax due, the assessed tax, interest, and penalties, if any, could have a material adverse impact on our financial
  position, results of operations, and cash flows.




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  Note 17. Segment and Geographical Information

         Beginning in the fourth quarter of 2021, we report our financial results for our two reportable segments: Family of Apps (FoA)
  and Reality Labs (RL). FoA includes Facebook, Instagram, Messenger, WhatsApp, and other services. RL includes augmented and
  virtual reality related consumer hardware, software, and content. Our operating segments are the same as our reportable segments.

        Our Chief Executive Officer is our chief operating decision maker (CODM), who allocates resources to and assesses the
  performance of each operating segment using information about the operating segment's revenue and income (loss) from operations.
  Our CODM does not evaluate operating segments using asset or liability information.

          Revenue and costs and expenses are generally directly attributed to our segments. These costs and expenses include certain
  product development related operating expenses, costs associated with partnership arrangements, consumer hardware product costs,
  content costs, and legal-related costs. Indirect costs are allocated to segments based on a reasonable allocation methodology, when such
  costs are significant to the performance measures of the operating segments. Indirect cost of revenue is allocated to our segments based
  on usage, such as costs related to the operation of our data centers and technical infrastructure. Indirect operating expenses, such as
  facilities, information technology, certain shared research and development activities, recruiting, and physical security expenses, are
  mostly allocated based on headcount.

       The following table sets forth our segment information of revenue and income (loss) from operations (in millions). For
  comparative purposes, amounts for the year ended December 31, 2020 have been recast:

                                                                                                        Year Ended December 31,
                                                                                          2022                    2021                   2020
  Revenue:
    Family of Apps                                                               $            114,450    $           115,655      $             84,826
    Reality Labs                                                                                2,159                  2,274                     1,139
        Total revenue                                                            $            116,609    $           117,929      $             85,965

  Income (loss) from operations:
    Family of Apps                                                               $             42,661 $               56,946 $                  39,294
    Reality Labs                                                                              (13,717)               (10,193)                   (6,623)
      Total income from operations                                               $             28,944 $               46,753 $                  32,671


          For information regarding revenue disaggregated by geography, see Note 2 — Revenue.

         The following table sets forth our long-lived assets by geographic area, which consist of property and equipment, net and
  operating lease right-of-use assets (in millions):

                                                                                                                          December 31,
                                                                                                                 2022                    2021
  United States                                                                                          $              76,334    $             55,497
  Rest of the world (1)                                                                                                 15,857                  14,467
        Total long-lived assets                                                                          $              92,191    $             69,964
  _________________________
  (1) No individual country, other than disclosed above, exceeded 10% of our total long-lived assets for any period presented.




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  Item 9. Changes in and Disagreements with Accountants on Accounting and Financial Disclosure

        None.

  Item 9A. Controls and Procedures

  Evaluation of Disclosure Controls and Procedures

         Our management, with the participation of our chief executive officer (CEO) and chief financial officer (CFO), has evaluated the
  effectiveness of our disclosure controls and procedures (as defined in Rules 13a- 15(e) and 15d- 15(e) under the Securities Exchange
  Act of 1934, as amended (Exchange Act)), as of the end of the period covered by this Annual Report on Form 10-K. Based on such
  evaluation, our CEO and CFO have concluded that as of December 31, 2022, our disclosure controls and procedures are designed at a
  reasonable assurance level and are effective to provide reasonable assurance that information we are required to disclose in reports that
  we file or submit under the Exchange Act is recorded, processed, summarized, and reported within the time periods specified in the
  rules and forms of the Securities and Exchange Commission, and that such information is accumulated and communicated to our
  management, including our CEO and CFO, as appropriate, to allow timely decisions regarding required disclosure.

  Management's Report on Internal Control over Financial Reporting

         Our management is responsible for establishing and maintaining adequate internal control over financial reporting (as defined in
  Rule 13a-15(f) under the Exchange Act). Management conducted an assessment of the effectiveness of our internal control over
  financial reporting based on the criteria set forth in Internal Control—Integrated Framework issued by the Committee of Sponsoring
  Organizations of the Treadway Commission (2013 framework). Based on the assessment, management has concluded that its internal
  control over financial reporting was effective as of December 31, 2022 to provide reasonable assurance regarding the reliability of
  financial reporting and the preparation of financial statements in accordance with U.S. GAAP. Our independent registered public
  accounting firm, Ernst & Young LLP, has issued an audit report with respect to our internal control over financial reporting, which
  appears in Part II, Item 8 of this Annual Report on Form 10-K.

  Changes in Internal Control

        There were no changes in our internal control over financial reporting identified in management's evaluation pursuant to Rules
  13a-15(d) or 15d-15(d) of the Exchange Act during the fourth quarter of 2022 that materially affected, or are reasonably likely to
  materially affect, our internal control over financial reporting.

  Limitations on Effectiveness of Controls and Procedures and Internal Control over Financial Reporting

         In designing and evaluating the disclosure controls and procedures and internal control over financial reporting, management
  recognizes that any controls and procedures, no matter how well designed and operated, can provide only reasonable assurance of
  achieving the desired control objectives. In addition, the design of disclosure controls and procedures and internal control over financial
  reporting must reflect the fact that there are resource constraints and that management is required to apply judgment in evaluating the
  benefits of possible controls and procedures relative to their costs.

  Item 9B. Other Information

        None.

  Item 9C. Disclosure Regarding Foreign Jurisdictions that Prevent Inspections

        Not Applicable.




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  PART III

  Item 10. Directors, Executive Officers and Corporate Governance

        The information required by this item is incorporated by reference to our Proxy Statement for the 2023 Annual Meeting of
  Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2022.

        Our board of directors has adopted a Code of Conduct applicable to all officers, directors, and employees, which is available on
  our website (investor.fb.com) under "Leadership & Governance." We intend to satisfy the disclosure requirement under Item 5.05 of
  Form 8-K regarding amendment to, or waiver from, a provision of our Code of Conduct by posting such information on the website
  address and location specified above.

  Item 11. Executive Compensation

        The information required by this item is incorporated by reference to our Proxy Statement for the 2023 Annual Meeting of
  Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2022.

  Item 12. Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters

        The information required by this item is incorporated by reference to our Proxy Statement for the 2023 Annual Meeting of
  Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2022.

  Item 13. Certain Relationships and Related Transactions, and Director Independence

        The information required by this item is incorporated by reference to our Proxy Statement for the 2023 Annual Meeting of
  Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2022.

  Item 14. Principal Accountant Fees and Services

        The information required by this item is incorporated by reference to our Proxy Statement for the 2023 Annual Meeting of
  Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2022.




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  PART IV

  Item 15. Exhibit and Financial Statement Schedules

  We have filed the following documents as part of this Form 10-K:

  1. Consolidated Financial Statements:
                                                                                                                                 Page
  Reports of Independent Registered Public Accounting Firm (PCAOB ID No. 42)                                                     81
  Consolidated Balance Sheets                                                                                                    85
  Consolidated Statements of Income                                                                                              86
  Consolidated Statements of Comprehensive Income                                                                                87
  Consolidated Statements of Stockholders' Equity                                                                                88
  Consolidated Statements of Cash Flows                                                                                          89
  Notes to Consolidated Financial Statements                                                                                     91

  2. Financial Statement Schedules

  All schedules have been omitted because they are not required, not applicable, not present in amounts sufficient to require submission
  of the schedule, or the required information is otherwise included.

  3. Exhibits

        Exhibit                                                                        Incorporated by Reference
                                                                                                                                  Filed
     Number                    Exhibit Description                 Form          File No.          Exhibit         Filing Date   Herewith

  3.1             Amended and Restated Certificate of            8-K         001-35551           3.1          October 28, 2021
                  Incorporation.
  3.2             Amended and Restated Bylaws.                   8-K         001-35551           3.2          October 28, 2021
  4.1             Form of Class A Common Stock Certificate.      10-K        001-35551           4.1          February 3, 2022
  4.2             Form of Class B Common Stock Certificate.      10-K        001-35551           4.2          February 3, 2022
  4.3             Form of "Type 1" Holder Voting Agreement,      S-1         333-179287          4.3          February 8, 2012
                  between Registrant, Mark Zuckerberg, and
                  certain parties thereto.
  4.4             Indenture, dated as of August 9, 2022,         8-K         001-35551           4.1          August 9, 2022
                  between Meta Platforms, Inc. and U.S. Bank
                  Trust Company, National Association, as
                  trustee.
  4.5             First Supplemental Indenture, dated as of      8-K         001-35551           4.2          August 9, 2022
                  August
                  --   ---9,---
                             2022,-------------
                                    between Meta Platforms,
                  Inc. and U.S. Bank Trust Company, National
                  Association, as trustee.
  4.6             Description of Registrant's Capital Stock.                                                                        X
  10.1+           Form of Indemnification Agreement.             8-K         001-35551           10.1         April 15, 2019
  10.2(A)+        2012 Equity Incentive Plan, as amended.                                                                           X
  10.2(B)+        Third Amendment to the 2012 Equity
                  Incentive Plan.                                                                                                   X
  10.2(C)+        2012 Equity Incentive Plan forms of award      10-Q        001-35551           10.2         July 31, 2012
                  agreements.
  10.2(D)+        2012 Equity Incentive Plan forms of award      10-Q        001-35551           10.1         May 4, 2017
                  agreements (Additional Forms).
  10.2(E)+        2012 Equity Incentive Plan forms of award      10-Q        001-35551           10.1         July 27, 2017
                  agreements (Additional Forms).




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     Exhibit                                                                           Incorporated by Reference
                                                                                                                                  Filed
     Number                    Exhibit Description                  Form         File No.          Exhibit         Filing Date   Herewith

  10.2(F)+        2012 Equity Incentive Plan forms of award       10-Q       001-35551           10.2         April 26, 2018
                  agreements (Additional Forms).
  10.2(G)+        2012 Equity Incentive Plan forms of award       10-K       001-35551           10.3(G)      January 31, 2019
                  agreements (Additional Forms).
  10.2(H)+        2012 Equity Incentive Plan forms of award       10-Q       001-35551           10.2         April 25, 2019
                  agreements (Additional Forms).
  10.2(I)+        2012 Equity Incentive Plan forms of award       10-Q       001-35551           10.2         April 30, 2020
                  agreements (Additional Forms).
  10.2(J)+        2012 Equity Incentive Plan forms of award       10-Q       001-35551           10.2         July 29, 2021
                  agreements (Additional Forms).
  10.2(K)+        2012 Equity Incentive Plan forms of award       10-Q       001-35551           10.3         April 28, 2022
                  agreements (Additional Forms).
  10.3+           Bonus Plan,---------
                 ------        effective January-1,-2022.
                                                      --          10-K       001-35551           10.3         February 3, 2022
  10.4+           Amended and Restated Offer Letter, dated        S-1        333-179287          10.6         February 8, 2012
                 -January
                    - - -- 27,---
                               2012,-------
                                     between Registrant and
                  Mark Zuckerberg.
  10.5+           Offer Letter, dated November 15, 2022,                                                                            X
                  between Registrant and David M. Wehner.
  10.6+           Offer Letter, dated June 5, 2020, between       10-Q       001-35551           10.1         April 29, 2021
                  Registrant and Christopher K. Cox.
  10.7+           Amended and Restated Offer Letter, dated        10-Q       001-35551           10.2         April 28, 2022
                  September 14, 2021, between Registrant and
                  Marne L. Levine.
  10.8+           Offer Letter, dated December 22, 2022,                                                                            X
                  between Registrant and Javier Olivan.
  10.9+           Form of Executive Officer Offer Letter.         10-Q       001-35551           10.3         July 25, 2019
  10.10+          Executive Sales Incentive Plan.                 10-Q       001-35551           10.4         July 25, 2019
  10.11+          Director Compensation Policy, as amended.       10-Q       001-35551           10.1         July 29, 2021
  10.12+          Deferred Compensation Plan for Non-                                                                               X
                  Employee Directors.
  10.13+          Indemnification Agreement Relating to           10-Q       001-35551           10.2         April 29, 2021
                  Subsidiary Operations, dated March 14,
                  2021, between Registrant and Mark
                  Zuckerberg.
  21.1            List of Subsidiaries.                                                                                             X
  23.1            Consent of Independent Registered Public                                                                          X
                  Accounting Firm.
  31.1            Certification of Mark Zuckerberg, Chief                                                                           X
                  Executive Officer, pursuant to Rule 13a-
                  14(a)/15d-14(a), as adopted pursuant to
                  Section 302 of the Sarbanes-Oxley Act of
                  2002.
  31.2            Certification of Susan Li, Chief Financial                                                                        X
                  Officer,-pursuant
                 ----               to Rule 13a-14(a)/15d-
                           ------------
                 -14(a), as adopted
                     - '----    ---pursuant   to Section 302 of
                                     --------------
                  the Sarbanes-Oxley Act of 2002.
  32.1#           Certification of Mark Zuckerberg, Chief                                                                           X
                  Executive Officer, pursuant to 18 U.S.C.
                  Section 1350, as adopted pursuant to
                  Section 906 of the Sarbanes-Oxley Act of
                  2002.




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     Exhibit                                                                           Incorporated by Reference
                                                                                                                                     Filed
     Number                     Exhibit Description                  Form         File No.         Exhibit         Filing Date      Herewith

  32.2#           Certification of Susan Li, Chief Financial                                                                           X
                  Officer, pursuant to 18 U.S.C. Section 1350,
                  -----------------------
                  as-
                  -  adopted
                       - - -pursuant   to Section 906 of the
                              ----------------
                  Sarbanes-Oxley Act of 2002.
  101.INS         Inline XBRL Instance Document (the                                                                                   X
                  instance document does not appear in the
                  Interactive Data File because its XBRL tags
                  are embedded within the Inline XBRL
                  document).
  101.SCH         Inline XBRL Taxonomy Extension Schema                                                                                X
                  Document.
  101.CAL         Inline XBRL Taxonomy Extension                                                                                       X
                  Calculation Linkbase Document.
  101.DEF         Inline XBRL Taxonomy Extension                                                                                       X
                  Definition Linkbase Document.
  101.LAB         Inline XBRL Taxonomy Extension Labels                                                                                X
                  Linkbase Document.
  101.PRE         Inline XBRL Taxonomy Extension                                                                                       X
                  Presentation Linkbase Document.
  104             Cover Page Interactive Data File (formatted                                                                          X
                  as inline XBRL and contained in Exhibit
                  101).


          + Indicates a management contract or compensatory plan.

         # This certification is deemed not filed for purposes of Section 18 of the Securities Exchange Act of 1934, as amended
  (Exchange Act), or otherwise subject to the liability of that section, nor shall it be deemed incorporated by reference into any filing
  under the Securities Act of 1933, as amended, or the Exchange Act.

  Item 16. Form 10-K Summary

          None.




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                                                              SIGNATURES

         Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the Registrant has duly caused this
  Annual Report on Form 10-K to be signed on its behalf by the undersigned, thereunto duly authorized, in the City of Menlo Park, State
  of California, on this 1st day of February 2023.


                                                                  META PLATFORMS, INC.

  Date:         February 1, 2023                                  /s/ Susan Li
                                                                  Susan Li
                                                                  Chief Financial Officer




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                                                           POWER OF ATTORNEY
         KNOW ALL PERSONS BY THESE PRESENTS, that each person whose signature appears below constitutes and appoints
  Susan Li and Katherine R. Kelly, and each of them, as his or her true and lawful attorneys-in-fact and agents, with full power of
  substitution and resubstitution, for him or her and in his or her name, place and stead, in any and all capacities, to sign any and all
  amendments to this Annual Report on Form 10-K, and to file the same, with all exhibits thereto, and other documents in connection
  therewith, with the Securities and Exchange Commission, granting unto said attorneys-in-fact and agents, and each of them, full power
  and authority to do and perform each and every act and thing requisite and necessary to be done in connection therewith, as fully to all
  intents and purposes as he or she might or could do in person, hereby ratifying and confirming that all said attorneys-in-fact and agents,
  or any of them or their or his or her substitute or substitutes, may lawfully do or cause to be done by virtue hereof.

        Pursuant to the requirements of the Securities Exchange Act of 1934, this Annual Report on Form 10-K has been signed by the
  following persons on behalf of the Registrant and in the capacities and on the dates indicated:

                       Signature                                           Title                                       Date


                /s/ Mark Zuckerberg                      Chairman and Chief Executive Officer                   February 1, 2023
                   Mark Zuckerberg                           (Principal Executive Officer)

                      /s/ Susan Li                               Chief Financial Officer                        February 1, 2023
                         Susan Li                             (Principal Financial Officer)

                /S/ Susan J.S. Taylor                          Chief Accounting Officer                         February 1, 2023
                    Susan J.S. Taylor                        (Principal Accounting Officer)
                  /s/ Peggy Alford                                      Director                                February 1, 2023
                       Peggy Alford

              /s/ Marc L. Andreessen                                    Director                                February 1, 2023
                  Marc L. Andreessen

              /s/ Andrew W. Houston                                     Director                                February 1, 2023
                  Andrew W. Houston

                 /s/ Nancy Killefer                                     Director                                February 1, 2023
                      Nancy Killefer

               /s/ Robert M. Kimmitt                                    Director                                February 1, 2023
                   Robert M. Kimmitt

               /s/ Sheryl K. Sandberg                                   Director                                February 1, 2023
                   Sheryl K. Sandberg

                /s/ Tracey T. Travis                                    Director                                February 1, 2023
                      Tracey T. Travis

                      /s/ Tony Xu                                       Director                                February 1, 2023
                         Tony Xu




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                        How Social Media Disrupts Our Elections,
                Our Economy, and Our Health-and How We Must Adapt




                               SINAN ARAL
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                                                            Praise for Sinan Aral
                                                          and The Hype Machine


                                    «With his precision science and rollicking narrative storytelling, Sinan
                                     Aral, the director of MIT's Initiative on the Digital Economy, takes us
                                     on his fascinating twenty-year journey as one of the first and most
                                     prescient scholars of social media. He explains how social media im-
                                     pacts our democracy, disseminates truth and lies, propagates hate and
                                     makes people fall in love, hooks us neurologically and emotionally,
                                     and connects us all, for better or worse. Is social media a boon for
                                     society or a curse? The answer is complex, and you'll have to read The
                                     Hype Machine to find out:'
                                                 -RICHARD STENGEL, former U.S. Under Secretary of State for
                                                    Public Diplomacy and Public Affairs, former editor of Time,
                                                   and author of Information Wars and A Long Walk to Freedom



                                    «It reads like a thriller, but it's all too true-a thoughtful, well-researched,
                                     and timely look at how the structure of media changes the structure
                                     of our lives. It's time we took action and amplified the ideas that truly
                                     matter:'
                                                                     -SETH GODIN, author of This Is Marketing



                                    "Brilliant! Arars masterful integration of science, business, law, and
                                     policy presents a powerful, accessible explanation of how social media
                                     affects all of us. Whether you simply want to understand the how and
                                     why, or need to make business or policy decisions, this is a must-
                                     read!"
                                                            -FOSTER PROVOST, NYU Stern School of Business,
                                                                         author of Data Science for Business
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    "Sinan Aral is a scientist and entrepreneur, and his unique perspec-                 "The most important book of the year! Our friendships, economy,
     tive makes him the perfect guide to the world we live in today. From                 and society now depend on billions of social media connections
     ads to fake news, The Hype Machine is the best critical foundation)                  around the world and no one on the planet understands them better
     for understanding the connected world and how we might navigate                      than Sinan Aral. In this lively, engaging masterpiece, drawing on his
     through it to a better future:'                                                      twenty years of pioneering research, Aral separates hype from reality,
                    -HILARY MASON, founder a~d CEO of Fast Forward Labs,                 clarifies our most pressing challenges, and explains how we must re-
           data scientist in residence at Accel, and former chief scientist at Bitly     spond:'
                                                                                              -ERIK BRYNJOLFSSON, director of the Stanford Digital Economy Lab
                                                                                                           and bestselling co-author of The Second Machine Age
    "If you want the truth about falsehoods, real information about mis-
     information, and rigorous analysis of hype, this is the book for you.
     Nobody knows better than Sinan Aral how ideas spread online, and                   "In a sea of books about social media, this is the one to read. Sinan
     in these pages he's distilled a brilliant career into a fascinating read.           Aral understands the new social age like no one else, and The Hype
     Don't miss it if you care about how the Internet is changing our world:'            Machine offers the single best examination of how social media works,
                      -ANDREW MCAFEE, MIT, author of More from Less and                  what it does to us, and how we can make it better for consumers, citi-
                            bestselling co-author of The Second Machine Age             zens, and democracies. In short, it offers solutions for making social
                                                                                        media 'social' again:'
                                                                                                               -CLINT WATTS, author of Messing with the Enemy
    "In this book, Sinan Aral, one of the world's leading computational
     social scientists, tackles one of the great challenges of our time: how
     to reengineer digital technology to better serve society. Authoritative,          "Is social media a force for good or evil? Sinan Aral deconstructs the
     comprehensive, nuanced, and engaging, The Hype Machine is essen-                   Hype Machine and takes us on a breathtaking journey through the
     tial reading for anyone who wants to understand how we got here and                economics, technology, and behavioral psychology that shape it. When
     how we can get somewhere better:'                                                  lies spread faster than facts, how do we ensure the integrity of markets
                                -DUNCAN WATTS, University of Pennsylvania,              and elections? If you want to understand how we can capture the
                                 author of Six Degrees and Everything Is Obvious       promise of social media and avoid its peril, read this!"
                                                                                          -MARIA RESSA, CEO ofRappler and a Time Person of the Year for 2018

    "The Hype Machine explains how social media changes who we know,
     what we do, and even how we think.. As the world relies even more                 "Everyone has a theory about social media, but Sinan Aral brings the
     heavily on social media during the COVID-19 pandemic and the up-                   science-and the storytelling. The Hype Machine is an immensely in -
     surge against racism and police violence, he helps us understand how               teresting, informative, and provocative look at the driving forces of
     digital technology will change our future, and what individuals, com-              some of the biggest technological questions of our time, and how
     panies, and society should do differently to adapt and thrive:'                    they'll play out in the future of our democracy:'
                                  -DAVID KIRKPATRICK, founder and CEO of                                   -ELI PARISER, bestselling author of The Filter Bubble
                                  Techonomy and author of The Facebook Effect
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"The Hype Machine is a riveting story of social media's impact on how
 we vote, date, and shop-and thus how we live. With our democracy
 in the crosshairs, and tech companies controlling our screens, leading
 expert Sinan Aral pulls back the curtain on the digital tools used td
                                                                                       The Hype Machine
 direct the flow of influence in society. Part spy novel and part science
 thriller, it is an essential guide to ensuring our digital future:'
                         -JONAH BERGER, Wharton, bestselling author of
                           Contagious, Invisible Influence, c!nd The Catalyst


"Full of rigor and insight, The Hype Machine tackles some of the most
 pressing policy questions of the Digital Age while keeping you on the
 edge of your seat (an unlikely combination). It's a mu~t-read for policy-
 makers, business executives, and parents alike:'
                              -DJ PATIL, former U.S. Chief Data Scientist



«The Hype Machine is a meticulous dissection of social media and how
it affects our lives. Aral gives us a much-needed framework for under-
standing what happened in the 2016 election, and what will likely
happen again if nothing changes:'
                       -SCOTT GALLOWAY, bestselling author of The Four
                                   and co-creator and co-host of Pivot



"In a timely and far- reaching book, Aral carefully and deftly examines
 the promise and peril of our social media environment, separating
 fact from fiction as well as offering thoughtful and practical sugges-
 tions for moving forward in our new world. The Hype Machine will be
 of interest to anyone concerned with building a healthy public sphere
 in the twenty-first century:'
                        -ZEYNEP TuFEKCI, author of Twitter and Teargas
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                                              How Social Media Disrupts Our Elections,
                                                  Our Economy, and Our Health-
                                                      and How We Must Adapt




                                                SINAN ARAL




                                                         Currency I New York
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                                                                                                                                 I
                       All rights reserved.
                                                                               To my parents-Thank you for every opportunity,
                                                                                     every conversation, and every hug.          I
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                                                                               presence or absence of these elements to key performance indicators
   The Hype Machine's Visual Cortex                                            (KPls) like video view-throughs, retention, drop-off rates, clicks, en-
Collectively, we spend 100 million hours watching 8 billion Facebook           gagement, brand recognition, and satisfaction. By closing the loop of
videos every day. Video accounts for 80 percent of all consumer Inter-         video production, analytics, optimization, and publishing, VidMob
net traffic, and while viewers retain 10 percent of the messages they         can improve its clients' return on marketing investment.
read, they retain 95 percent of messages they watch in video. Let that            ACS automatically extracts video metadata and performs sentiment
sink in for a minute. In other words, video, not text, is the Hype Ma-        analysis. It uses deep learning and computer vision to identify the
chine's primary medium now. While text analysis was important to the          emotions, objects, logos, people, and words in videos; it can detect fa-
Hype Machine at its founding, today social platforms make sense of            cial expressions like delight, surprise, or disgust. It then analyzes how
our world by ingesting and understanding the moving image. In hind--          each of these elements corresponds, for instance, to moments when
sight, ifs unsurprising that Snapchat went public as a "camera com-           viewers are dropping off from watching the video, and it recommends
pany" and now launches as a camera app on our phones. Facebook                (and automates) editing that improves retention. The object, people,
also pivoted hard toward video, purchasing Instagram in 2012 and              language, and emotion tagging also enables clients to organize and
moving to Stories on that platform and on Facebook proper.                    search their video assets by visual and language attributes. Language
    Videos are incredibly rich. Understanding them is critical to tag-        processing enables VidMob to transcribe and analyze the text in vid-
ging who's in them, their context, the moods of the people pictured,          eos and analyze how the timing and sizing of text or logos influence
the activities those people are engaged in, the location of the scene, the   video performance. As Alex says, "These types of insights illustrate why
weather, and the connections between all these elements. Facebook            we truly believe the role of AI is to empower and enhance human crea-
needs to sense and understand all these dimensions in real time in the       tivitY:'
8 billion videos we watch on its platform every day. This understand-            Facebook has developed a similar video-understanding platform
ing is critical to powering its video search, advertising effectiveness,     called Lumos, which Manohar Paluri, head of the company's Com-
accessibility features that describe what's in a video for the blind, and    puter Vision, calls Facebook's "visual cortex:' The visual cortex is the
even its marketplace, where buyers and sellers post pictures and videos      part of our brain that processes sensory nerve impulses from our eyes.
of items being sold without offering much textual description of what        Lumos processes what we see in Facebook videos in much the same
they are selling.                                                            way VidMob's ACS does for its marketing clients. The system uses
    I've come to understand video analytics by working with VidMob,          deep residual learning networks, a form of machine learning that
one of the world's leading video analytics platforms. It focuses exclu-      stacks multilayered neural networks, to classify images by connect-
sively on understanding video because, as CEO Alex Collmer loves to          ing layers at multiple depths simultaneously. Its models can accurately
say, "video is eating the world:, VidMob is a portfolio company of           scale video processing to analyze the avalanche of video that Facebook
Manifest Capital, the venture fund I started in 2016 with my longtime        sees every day.
friend and business partner Paul Falzone. I work directly with VidMob            And what it can sense is quite extraordinary. Lumas not only tags
on developing its Agile Creative Studio (ACS), the leading platform          the objects, logos, and words in videos, but it also conducts sophisti-
for video optimization. The task of video optimization is challenging.       cated facial r~cognition to uniquely identify people and the emotions
It requires a complex combination of machine learning, computer vi-          in their facial expressions. It estimates the poses people are in, too. For
sion, predictive modeling, and optimization. But the basic process is        example, it can tell if we are sitting down, standing up, or swinging our
easy to understand.                                                          arms. Once it knows this, it can start to reason about what activities we
    The main goal is to understand, second by second, what's in a video,     are engaged in-if we are running, biking, skiing, dancing, or playing
what it's about, its context, feelings, and sentiment, and to compare the    tennis. It analyzes speech and audio to see what people are talking
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about or what music they are listening to; and it detects facial expres-       in the same place at the same time, by sniffing network packets. The
sions to catalog our emotions. As Joaquin Quiiionero Candela, Face-            patent describes how Facebook could compare phones' accelerometer
                                                               1
book's director of applied machine learning, says, "We ve pushed               and gyroscope data to infer whether people were facing each other or
computer vision to the next stage with the goal of understanding im-           walking together. In 2015 it filed another patent for a process that
ages at the pixel lever'                                                       would infer, from dust particles on the camera lenses of uploaded pho-
   Visual understanding is important not only for how Facebook                 tos, whether two people were uploading photos from the same camera.
serves us ads and content but also for how it innovates to reduce any          But while the privacy implications of the data collection necessary to
negative impact on us. If Lumos can understand when we are walking,            power link-prediction algorithms inside PYMK are potentially quite
dancing, or riding a horse, it can be trained to detect violence, sexual       troubling, a more systematic outcome of this particular piece of ma-
predation, illicit or illegal activities, fake news, and spam. (I'll discuss   chine intelligence inside the Hype Machine is perhaps more globally
how code like Lumos can be used for good in Chapter 11.)                       consequential-the tendency of PYMK to close triangles.
   The visual cortex is an example of the "sense" part of the Sense and
Suggest Loop. The next step in this loop describes the Hype Machine's
                                                                                  Closing Triangles
suggestion algorithms, like its friend-suggestion (or "people you may
know") algorithms and its newsfeed algorithms, both of which are                Closing triangles is part of Facebook's and Linkedln's friend-suggestion
common to all social media platforms today.                                    strategies. In conversations with their engineers, I've personally heard
                                                                               that these algorithms are "going around closing triangles all day long:'
                                                                               To understand why, ifs worth examining the problem of friend sug-
  "People You May Know" (PYMK) Algorithms
                                                                               gestions from the perspective of three of our four levers-money, code,
Who we connect to online is largely driven by friend-suggestion algo-          and norms.
rithms that exist on nearly every platform in the Hype Machine, from               Money plays an outsize role because engagement drives revenue,
Facebook's friend-suggestion algorithm to Linkedlns "people you may            and triadic closure drives engagement. The basic business model pur-
know" (PYMK) algorithm and the various algorithms that suggest                 sued by Facebook and other social media platforms is to monetize
who we should date or do business or socialize with. As Lars Back-             highly curated sets of eyeballs. Curating the right audiences drives a
strom, who ran Facebook's PYMK algorithm before becoming Face-                 higher return on brands' marketing investments and thus Facebook's
book's VP of engineering, noted in 2010, the friend suggestions that           ability to monetize those audiences. Facebook and Google now ac-
Facebook makes drive "a significant chunk of all friending on Face-            count for 65 percent of all digital advertising in the United States and
book:' Although PYMK was invented at Linkedln in 2006, the ma-                 over 90 percent of the growth in advertising. But to monetize eyeballs,
chine intelligence that connects people on the Hype Machine is now             you have to retain those eyeballs. As I'll discuss in Chapters 6 and 9,
ubiquitous.                                                                    microtargeting can improve marketing ROI, but it's useless if no one
   Though the details of the algorithms are proprietary, we do know            shows up to your site. There's less value in the granular curation of seg-
they use information about our friends and their friends as well as in-        ments if engagement is low. So Facebook is obsessed with engagement,
formation about where we work and where we went to school to sug-              and from a shareholder's perspective, given its current business model,
gest new contacts. There is also widespread belief that the Hype               it should be.
Machine uses the emails and phone numbers of people who are not on                 One of the main goals of PYMK is to suggest connections that peo-
their platforms to enhance their understanding of the true underlying          ple actually make. Creating more connection is part of Facebook's mis-
human social network. In 2014, Facebook filed a patent/or making               sion because connections create economic value through network
friend suggestions, based on detecting whether two cell phones were            effects and generate engagement as a result. As people connect, the
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82 I The Hype Machine                                                                                                          The Hype Machine I 83

platforms become more valuable, interesting, and difficult for users to    bops away from you dramatically reduces the computational complex-
leave. Suggesting friends of friends is the most successful strategy for   ity of PYMK algorithms, while increasing their effectiveness. The algo-
making suggestions that people take. As Lars Backstrom noted in            rithms are able to hum through the data more efficiently, making
2010, 92 percent of new friendships on Facebook are friends of friends.    connections at a faster, more profitable rate.
Closing triangles is good business. If we follow the money, it leads us        Norms also play a role in the tendency toward clustering. First, we
to denser clustering in the social graph among people who are racially,    choose to take friend recommendations rather than search for
ethnically, and politically similar.                                       connections-it's easier and faster. Our tendency to follow this path of
    Code also plays an important role in guiding PYMK algorithms to        least resistance contributes to clustering. Second, given the "chance;'
close triangles. It turns out that recommending connections from the       we make the "choice" to connect to similar others. This interplay of
set of all other people on the social graph is extraordinarily challeng-   choice and chance-of human agency and machine intelligence-has
ing. The engineers coding these algorithms have to somehow reduce          created a highly clustered network segregated by race, religion, ethnic-
the space of possible recommendations that an algorithm considers.         ity, and economics.
Otherwise the run times and resource usage of the algorithms will be           Money, code, and norms are rewiring the human social network in
overwhelming and unworkable. So they search for logical engineering        very specific ways. So what are the societal implications of PYMK? As
shortcuts that reduce this complexity.                                     it nudges us to connect more to people with whom we share many
    One simple workaround that dramatically reduces complexity while       mutual friends, we tend to connect with people who are more like our-
still providing high-performing suggestions (i.e., those that lead to      selves. Thinking back to the small worlds structure of the social graph,
new and engaging contacts) is to consider only possible connections        there are more triangles to close within clusters than across them. So as
that are no more than two hops away in network structure from the          the Hype Machine's design closes triangles, it likely increases the den-
person receiving the recommendation. Research shows that friend-of-        sity of connections within clusters faster than it does across them. As
friend suggestions create connections five times more efficiently than     we'll see in Chapter 10, the rise of Facebook corresponds eerily well to
do three-hop connections. At Facebook, two people are twelve times         the rise of political polarization in the United States. In that chapter,
more likely to become friends when they have ten mutual friends than       we'll explore experimental evidence on how the computational con-
when they have one.                                                        straints faced by PYMK engineers may be contributing to this political
   In 2010, Lars Backstrom presented some back-of-the-envelope             polarization, by connecting people who are similar at a faster rate than
math on the computational complexity of friend suggestions. If the         people who are dissimilar.
average user had 130 friends, he noted (assuming they had no overlap
in their networks), users had on average 17,000 (130 x 130) friends
                                                                              Feed Algorithms
of friends as possible recommendations. Going one hop further, the
average user had 2.2 million (130 x 130 x 130) three-hop friends of        The Hype Machine's intelligence doesn't just shape the social graph by
friends of friends. If the average user had 130 friends in 2010, and       recommending friends. It also shapes how we think by recommending
power users had 5,000 friends, considering contacts three hops away        the content we consume-from news, to pictures, to videos, to stories,
from a user would make recommending friends dramatically more              to ads. It's not a stretch to say feed algorithms determine, in large part,
complex, especially for power users. Facebook would likely have to         what we know and when we know it. Understanding their design helps
search the entire social graph to make recommendations to power            us understand their consequences. Feed algorithms vary by platform,
users.                                                                     but they've all coalesced into similar designs (though some platforms,
   Today the average user has 338 friends. So the back-o~-:-the-envelope   like Twitter, now allow us to opt out of algorithmic curation).
math is clear. Restricting possible friend suggestions to people two          The need for feed arose when the supply of content outstripped our
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                                                                                                                       The Attention Economy and the Tyranny of Trends I 20!

                                                                                                     all old people or rich people or young people to get the same message
                                                                                                     because of their demographics just doesn't make any sense:' He
                           CHAPTER 9
                                                                                                     sounded a lot like Rob Cain, the CIO of Coca-Cola, whose framework
                                                                                                     for digital engagement puts this kind of segmentation strategy three
          The Attention Economy and                                                                  decades behind the times. Nix then described how Cambridge Ana-
                                                                                                     lytica transformed this approach:
            the Tyranny of Trends
                                                                                                       We were able to form a model to predict the personality of every
                                                                                                       single adult in the United States .... If you know the personality of
                           .                 rty o+ attention.                                         the people you're targeting, you can nuance your messaging to
      A wealth of information creates a pove      'J
                                              -HERBERT SIMON                                           resonate more effectively with those key audience groups .... We
                                                                                                       can use hundreds or thousands of individual data points on our
                                                                                                       target audiences to understand exactly which messages are going
                                                                                                       to appeal to which audiences .... Blanket advertising, the idea that
                                                                                                       a hundred million people receive the same piece of direct mail, the
                                                                                                       same television advert, the same digital advert, is dead.... Today,
                              d N. the now-disgraced former CEO
 n September 2016, as Alexan ;r ixfi.d ntly onstage at the Concordia                                   communication is becoming ever increasingly targeted. It's being


Iof Cambridge Analytica, stro e conlk eb t "the power of big data in
                  • · N w York to ta a ou
  Annual Summit m e
                 ,, h    £ nee sound system P aye
global elections, t e con ere
. " by Creedence Clearwater Rev1va
                                                  1 d "Bad Moon Ris-
                                     . 1 as his hype music. "I see a bad
                                                      h      ,,
                                                                                                       individualized for every single person in this room.

                                                                                                        How does the Hype Machine institutionalize behavior change
                                                                                                     across an entire economy? Across society? To answer these questions,
mg                              t "I see trouble on t e way.
moon rising:' sang John Foger Yi . the room understood how pro-                                      we have to take a step back, to understand the structure and function
   I don't think Nix or anyone~ she m        onths later in March 2018,                              of the social media economy itself, which is, at its core, what econo-
                   .       Just  e1g  teen m            '                                            mists call an "attention economy:' The attention economy contextual-
 phetic those lyncs were.                  .d O claiming to use fake news
 Nix would be caught i~ an und:r~~~: :~e:tions. That same month he                                   izes how the Hype Machine drives the social, economic, and business
 propagated online to mfluenc g 1 . , CEO two months before it                                       outcomes we care about-from election manipulation, to fake news, to
 was removed as Cambridge Ana yticas              ,                                                  marketing success. And arguably the best person to ask about how this
 shut its doors for good:               d 1· of the data-driven advertising                          type of economy works is a guy they call Gary Vee.
      In 2016, however, Nix was the_ ar mg 1 t d its work on Ted Cruz's
                            he led had JUSt comp e e
 world. 1he company                               . Nix's version of the story,
              .          . n taking the senator, m                         . ,,
 presidentia1 campa1g '                   1      d" dates seeking nomination                         #AskGaryVee
             • "         f the less popu ar can i                           ,,
  from bemg one o                    . . t "the only serious contender to
  with very little name reco~nitiond oh. ?" Nix asked the crowd at the                   , ·.•· I'll admit, I was a Gary Vaynerchuk skeptic. Not a hater exactly-
                       "S how did he o t is.                                               •J I admonish my son for using that word-but definitely a skeptic. Brash,
  Donald Trump. 0                  .       h b"t to give them the secret sauce.
              .         ·t champing at t e 1                             .              t~O;/ unapologetic, and uncompromising, Gary Vee, as he's known, the
   Concordia summ1 ,                    .    d     f 11 segment their audiences
   "Most communication compan~es ,~oh ay ~d1 "1his is a really ridiculous               : :~-..:founder and CEO ofVaynerMedia, touts some fairly gimmicky punch
                     .      d eograph1cs, e sa1 •                              b   • . r ~i Jines. With bestselling book titles like Jab, Jab, Right Hook and Crush It,
   by demograph 1cs an g                     ld       • the c·ame message e-
                             ll      en shou receive         ~
   idea. The i~ea that a w~:frican-Americans beca~se of their race or                ,
                                                                                         if :'.you could be forgiven for mistaking his presence on social media for
                                                                                         .. ~-'.i;
    r::n1~~ of their gender or a
                                 Case 1:20-cv-03590-JEB Document 324-29 Filed 04/05/24 Page 362 of 969


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                                                                                                                  The Attention Economy and the Tyranny of Trends I 203
an infomercial: trendy "swipe up,, animations on Instagram, bobble-
head dolls, and Gary Vee cartoons next to pictures of smiling "turds:'            they need our attention. Before governments can convince us t
                                                                                   • t       kid h                                              o vac-
He seems, at first blush, like a circus sideshow act. You might also ex-          c1na e our    s, t ey need ... you get it. Our attention.
cuse my personal skepticism because he and I have several fundamen-
tal disagreements on some basic issues, like the value of education and
the merit of telling kids they can be anything they want. He's frequently        The Attention Economy
advising teenagers and twentysomethings to drop out of school. (Pic-
ture me covering my six-year-old's ears.) On second thought, maybe r            ~ttention is valua~le because it's a precursor to persuasion. Platforms
was a hater.                                                                   hke Facebook, Twitter, and YouTube provide connect·                    .
                                                                                   ·        d                                           10ns, commum-
   But I was wrong-totally wrong: well, not about education, but               cat10n,. an content to get consumers' attent1·on • Th ey th en seII t hat
about whether Gary understands marketing. As I watched more of his             attention to brands, governments and poli't· .        h
                                                                                       ,        .                  '        1cians w o want to change
Instagram videos, listened to his podcasts, perused his speeches on-           peoples perceptions, opinions, and behaviors with ads Th                t
                                                                                 d       I"   f h                                         • e amoun
line, and watched him curse his way through television interviews              an qua ity o t e platforms' ad inventory-the units of advertisin
with flabbergasted reporters (you can find this avalanche of impec-           they have to sell-scales with the number of consumers they serve an!
cably curated content all over social media), I realized how wrong            how e~gaged those consumers are with the content the platforms cu-
I was about him. As I went deeper into his content-half-listening             rat~ (Figure 9.1). That's why the platforms are obsessed with (and wh
and half-hating-at some point, I realized he'd proven his point. He           theu market valuations depend on) user gr,owth (th .               . hy
                                                                                                                                      e mcrease m t e
could, in that moment, rest his case about the value of his content, his                                          THE ATTENTION ECONOMY
advice, and his traveling circus, because he had succeeded in captur-
ing and keeping the one thing he was after~my attention. How did he                         ORGAt-41:c CONTENT
                                                                                              ..         +.
do it?
                                                                              ~-
                                                                                         PERS.UA.51V          •                              PERSUASIVE MESSAGES
                                                                                        (ADS, SP9N                                          (ADS, SPONS ORED STORIES)

   Well, it turns out Gary Vee is not a shallow gimmick. He's deeply
philosophical on the core concept driving the digital economy. (He
would argue it drives the entire economy.) What he understands in
practice, better than anyone else I've seen, about the nature of today's      \....._
digital, social, media-fueled economy is that it's fundamentally and in-
alterably an attention economy. As he likes to say, "Attention is the cur-
                                                                                                     +
rency of business:' And in fact, attention is the currency, or the fuel (in                        DATA
                                                                                                                                              ,~~·:·: + .'   ·..
                                                                                        PnJii?REifc1~.G:~tJfJRs)
our machine analogy), of the Hype Machine. It's what powers the busi-
ness models of all the major social media platforms. It's what they
                                                                                                     +
                                                                                          ORGANIC CONTENT
                                                                                                                                              ::t~;;:1.: ,
                                                                               F"                                                   .... ".,·, :·.~.{ . .·. •.
compete for and sell to brands and governments attempting to create
                                                                                 igure 9.1 The structure of the attention economy. The social media plat-
behavior change on a global scale. Without attention, social media plat-      forms that make up the Hype Machine serve as intermediaries between
forms wither and die.                                                          :on~umers and !nstitutions (brands, governments, nonprofits, and small-
   Attention is also the lifeblood of the brands, politicians, and gov-         usmess advert~sers) delivering content and persuasive messages to con-
ernments trying to persuade consumers, voters, and citizens on the            ::;ers and selling consumers' attention to institutions, in the form of ad
Hype Machine. ·Before brands can sell us their latest products, they               entory, as ~n opportunity to persuade them to change their behavior.
need our attention. Before politicians can convince us r,o vote for them,     whell_ as ~ar~etm? and optimization services to improve the effectiveness ~,fas
                                                                              t e institutions persuasion.
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number of users on a social platform) and engagement (the frequencf :                    i,books and high-priced marketing services to brands, sports stars, and
and intensity of users' interactions with social content and features). ,; •        ,, ·-/:musicians depends on his ability to garner attention (and to leverage
   When we were building Humin (my second startup, which we sold, ·              (' ,,_<that attention to achieve his clients' aims). So beginning in the 1990s,
to Tinder in 2016), we were obsessed with analytics. We built a dash{                   1
                                                                                      • when he took his father's wine business online and grew its annual
board to track all the key metrics describing the growth and use of the/ .             .:'revenue from $3 million to $60 million, he looked for underpriced ac-
platform around the world. To keep our team informed, we installedia .                  '-cess to consumers' attention and favored the cheapest and most effec-
large TV monitor in the most central spot in our San Francisco offic¢ .                 ;,tive channels to get it.
right across from the kitchen, where everyone would congregate dul., ,              . :- At the time, the cheapest attention was available through email
ing breaks from coding. The monitor cycled through screens summa;-,                          'marketing, so he invested in email to drive his business. Then prices
rizing what was happening on the platform in real time-the number,.' ·                   . :and effectiveness changed as new platforms and social services, like
of times the app was downloaded, user retention, connections betweeti.               ·-/ Google and Facebook, came online. To grow their own businesses,
users, conversations, profile opens, searches. But the two metrics that·                 ' ·new platforms like Google initially underpriced their attention. So
were the most critical for managing the business were user growth and                , _.iGary Vee invested his marketing dollars in Google. As it became estab-
engagement. We didn't sell advertising, and we didn't share users' data,_:·;_       -":;}ished, the price of Google's attention increased, and even newer ser-
but our market valuation depended completely on how fast our use)· "                    - yices, like Twitter and YouTube, came online. So when their price of
base grew and how engaged consumers were with the app. These tw& _-                 : <attention was lower, Gary poured his money into those platforms.
numbers summarized how many people's attention we had and wh~t:_- •              ·: ,}Now he's touting TikTok as the next attention gold rush. He says he has
fraction of their attention we commanded every day. That, in essencei            ·.; }no particular affinity for any channel-he's "platform agnostic:' He
determined how much we were worth.                                               ·,. 'simply engages in attention arbitrage. ''I've built a career on exploiting
   In ad-driven businesses, the more users an app, platform, or puha.               : >µnderpriced attention. Email marketing in '97, Google AdWords in
lisher has, and the more time their users spend with them, the mor~.·_:               .. . }000,   YouTube in '06, Twitter '07, Snapchat;' he says. "That's my ca-
                                                                                           ..   ,,
ads the app, platform, or publisher can show: in marketing-speak, the-··:               :, reer.
more ad inventory they have to sell. But not all ad inventory is value4 -        :r .   Ad inventory is also differentiated by a platform's ability to target its
equally. It's priced, sometimes by auction and sometimes through di~--      i'
                                                                                 r "::persuasive messages at the right people-the people they are intended
rect sales, according to who the ad will be shown to, the page on whic~:/ :      "· ·'.fo persuade. If, for example, a politician wishes to persuade conserva-
it will be shown, the time it will be shown, where on the page it will b~.           , :Jives, aged 35 to 45, in specific districts of a particular state, with a
shown, what type of ad it is (for _example, a video interstitial ad,     l--i        • .;message about gun rights, the platforms that can most accurately iden-
newsfeed ad, or a banner display ad), and so on. Different platform$ .·,             ,. tify 35-to-45-year-old gun enthusiasts in those districts are more likely
fetch different prices for their ads as well. For example, Facebook can _             , to attract ad revenue and be able to charge a premium for their ads. So
charge higher per-click prices for its ads. (An advertiser typically pays: •           .Platforms that can most effectively target ads at the right people, and
for an ad only when it's clicked on, known as the "cost per click:' ot ;              ; brands and marketers that understand targeting, have a competitive
CPC, pricing model.) Twitter's prices, by contrast, are lower. And Snapf :--      • <advantage. This ability to microtarget persuasive messages-to direct
chat's cost per click is somewhere in between-it can charge more tha~: •            _).ads at narrower and narrower categories of consumers-depends on
Twitter because it attracts coveted millennials more than other platf ::          _'} he quantity and quality of the data that social media platforms collect
forms. So the price of attention varies by platform.                    ·( :      ,: )about the demographics, opinions, behaviors, psychological profiles,
   Gary Vee exploits this price variation. As he describes it, he's buil~           - focations, and social networks of their users.
his career on investing in "underpriced attention:';.His ability to sell·
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               Exhibit 355
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   =      YouTube Help                   Q.     Describe your issue


   Help Center      Community           Creator Tips


  Fix a problem       Watch videos          Manage your account & settings        Supervised experience on YouTube     YouTube Premium      Create & grow your channel       Monetize w ith the YouTube Partner



 Comment, subscribe, & connect with creators           > Post & interact with comments
                                                                                                                                                        Comment, subscribe, & connect with
                                                                                                                                                        creators


                               Post & interact with comments                                                                                            !ID   View, organize, or delete comments

                                                                                                                                        X               lID   Post & interact with comments


                                                                                                                                                        0     Change comment notification settings


                                                                                                                                                        0     Explore comment topics

                                                                                               I love this!!! ~,;;I~
                                                                                                                                                        ~     Changes to comment counts


                                                                                                                                                        0     Find profile cards


                                                                                                                                                        !ID   Learn about comments that aren't
                                                                                                                                                              showing or have been removed




                               If a video's owner has turned on comments, you can post comments and like, dislike, or reply to
                               other people's comments on a video, song, or podcast in YouTube and the YouTube Music
                               app. You can also edit or delete any of your own comments. Replies to a comment are t hreaded
                               beneath the original comment so you can follow the conversation.


                               Interact with comments on your smart TV



                                 Computer          Android       iPhone & iPad




                               Post comments on a video                                                                             V



                               Reply to comments


                               Add formatting to comment s


                               Add hearts to favorite comments


                               Pin comments to the top


                               Like or dislike comments


                               Edit or remove your comment


                               Comment previews FAQ


                               Comment reminders, warnings, and t imeouts


                                PJ Give feedback about this article



                               Was this helpful?          a a
           • 2024 Google - Privac~ Polic~ - YouTube Terms of Service   IEnglish      •   I
                                                                       ~-----~
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               Exhibit 356
01021345ÿ73879ÿ Case 1:20-cv-03590-JEB Document 324-29
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           YouTube Help                   Q.     Describe your issue



   Help Center       Community           Creator Tips


  Fix a problem       Watch videos           Manage your account & settings          Supervised experience on You Tube   YouTube Premium   Create & grow your channel     Monetize with tt


  Save or share videos & playlists     > Share videos and channels
                                                                                                                                                       Save or share videos & playlists


                                                                                                                                                       ®    Share videos and channels

                                Share videos and channels                                                                                              ®    Embed videos & playlists


                                                                                                                                                       ®    Create & manage Clips




                                  Computer          Android       iPhone 6. iPad




                                Share You Tube videos
                                1. Start watching a video on youtube.com e; .

                                2. Under the video, click Share ,.. .

                                3. A panel will open, presenting different sharing options:
                                     • Social networks: Click a social network icon (for example, Facebook, Twitter) to share the
                                      video there.
                                     • Email: Choose the email icon to send an email using the default email software on your
                                       computer.
                                     • Embed: Click the Embed button to generate a code you can use to embed the video in a
                                      website.
                                       Copy the link: Click the Copy button to copy a link to the video that you can paste
                                       somewhere else, like in an email message.
                                       Start at: To link to a specific part of the video, check this box and enter the start time
                                       before you copy the link. For example, to start the video at 2 minutes and 30 seconds,
                                       check the box and enter "2:30."
                                       Community post: If you have access to the Community tab, you can share a video in a
                                       public post.


                                Share You Tube channels
                                1. Go to the Channel page.
                                2. In the browser address bar, copy the URL.
                                3. Paste the URL wherever you want to share it.

                                If you want to create a custom channel URL to be easily shared, add your YouTube Channel
                                name to the YouTube URL.


                                 [JJ Give feedback about th~ article




                                Was this helpful?          2 2

            "2024 Google - Privacy..fQ!!cy - YouTube Terms of Service   '~E              •~I
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               Exhibit 357
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 ‭ his transcript is provided for the convenience of investors only, for a full recording please see‬
 T
‭the‬‭Q2 2023 Earnings Call webcast‬‭.‬

‭ lphabet Q2 2023 Earnings Call‬
A
‭July 25, 2023‬

‭ perator:‬‭Welcome, everyone. Thank you for standing‬‭by for the Alphabet second quarter‬
O
‭2023 Earnings conference call. At this time, all participants are in a listen-only mode. After the‬
 ‭speaker presentation, there will be a question-and-answer session. To ask a question during‬
  ‭the session, you will need to press *1 on your telephone. I would now like to hand the‬
   ‭conference over to your speaker today, Jim Friedland, Director of Investor Relations. Please go‬
    ‭ahead.‬

‭ im Friedland, Director Investor Relations:‬‭Thank‬‭you. Good afternoon, everyone, and‬
J
‭welcome to Alphabet's second quarter 2023 earnings conference call. With us today are‬
 ‭Sundar Pichai, Philipp Schindler and Ruth Porat. Now I’ll quickly cover the Safe Harbor.‬

‭ ome of the statements that we make today regarding our business, operations and financial‬
S
‭performance may be considered forward-looking, and such statements involve a number of‬
 ‭risks and uncertainties that could cause actual results to differ materially.‬

 ‭ or more information, please refer to the risk factors discussed in our most recent Form 10-K‬
 F
‭filed with the SEC.‬

  ‭During this call, we will present both GAAP and non-GAAP financial measures. A reconciliation‬
‭ f non-GAAP to GAAP measures is included in today's earnings press release, which is‬
o
‭distributed and available to the public through our Investor Relations website located at‬
 ‭abc.xyz/investor.‬

‭Our comments will be on year-over-year comparisons unless we state otherwise.‬

‭And now I’ll turn the call over to Sundar.‬

‭Sundar Pichai, CEO Alphabet and Google:‬‭Thank you,‬‭Jim. And hello, everyone.‬

‭ e’re holding our call from London today. It’s an important hub for us, and I’m excited to spend‬
W
‭time with our local teams, including Google DeepMind, as well as leaders and partners from‬
 ‭across the region.‬

‭ his quarter we shared great progress at I/O, Brandcast and Google Marketing Live, and we’re‬
T
‭looking forward to Cloud Next in August. The momentum across the company drove our results‬
 ‭this quarter.‬

‭ e delivered solid performance in Search and YouTube, and ongoing strong growth in Cloud,‬
W
‭where we remain focused on long-term value creation.‬

‭And we continue our important work to operate more efficiently, creating durable savings to 1‬
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‭fund investments in our biggest priorities.‬

‭ oday I’ll talk about this momentum, including our continued leadership in AI and our‬
T
‭excitement about the evolution of Search.‬

‭ t I/O, we shared how we are making AI helpful for everyone in four important ways. First,‬
A
‭improving knowledge and learning. This is our seventh year as an AI-first company, and we‬
 ‭intuitively know how to incorporate AI into our products. Large language models make them‬
  ‭even more helpful -- models like PaLM 2, and soon, Gemini, which we’re building to be‬
   ‭multimodal.‬

‭ hese advances provide an opportunity to reimagine many of our products, including our most‬
T
‭important product, Search. We’re in a period of incredible innovation for Search, which has‬
 ‭continuously evolved over the years.‬

 ‭ his‬‭quarter‬‭saw‬‭our‬‭next‬‭major‬‭evolution‬‭with‬‭the‬‭launch‬‭of‬‭the‬‭Search‬‭Generative‬‭Experience,‬
 T
 ‭or‬‭SGE,‬‭which‬‭uses‬‭the‬‭power‬‭of‬‭generative‬‭AI‬‭to‬‭make‬‭Search‬‭even‬‭more‬‭natural‬‭and‬‭intuitive.‬
‭User feedback has been very positive so far.‬

 ‭It can better answer the queries people come to us with today, while also unlocking entirely new‬
t‭ypes of questions that Search can answer.‬

  ‭ or example, we found that generative AI can connect the dots for people as they explore a‬
  F
‭topic or project, helping them weigh multiple factors and personal preferences before making a‬
 ‭purchase or booking a trip.‬

‭ e see this new experience as another jumping-off point for exploring the web, enabling users‬
W
‭to go deeper to learn about a topic. I'm proud of the engineering excellence underlying our‬
 ‭progress.‬

‭ ince the May launch, we've boosted serving efficiency, reducing the time it takes to generate‬
S
‭AI snapshots by half. We’ll deliver even faster responses over time.‬

‭ e’re engaging with the broader ecosystem and will continue to prioritize approaches that send‬
W
‭valuable traffic and support a healthy, open web.‬

‭ ds will continue to play an important role in this new Search experience. Many of these new‬
A
‭queries are inherently commercial in nature. We have more than 20 years of experience serving‬
 ‭ads relevant to users’ commercial queries and SGE enhances our ability to do this even better.‬

‭ e are testing and evolving placements and formats and giving advertisers tools to take‬
W
‭advantage of generative AI.‬

‭ hilipp will talk more about how we’re using generative AI in our ads products to better serve‬
P
‭both advertisers and users.‬

‭Second, we’re helping people use AI to boost their creativity and productivity. One example is 2‬
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‭Bard, our experiment in conversational AI. Since launching in March, it continues to get better.‬

‭ e rolled out a number of exciting features and capabilities earlier this month. Bard is now‬
W
‭available in most of the world and over 40 of the most widely spoken languages.‬

‭ e also added Google Lens capabilities, so you can take an image and ask all kinds of‬
W
‭questions, turn it into code, and more. This new feature has been really popular, and it’s been‬
 ‭great to see people sharing their experiences.‬

‭Bard can now read its responses aloud, and you can adjust them for tone and style. We‬
‭ ontinue to see great interest in using Bard for coding tasks.‬
c

‭ n productivity, earlier this year, we introduced Duet AI in both Google Cloud and Workspace. It‬
O
‭helps people collaborate with AI to code, write, and get better insights from data and more.‬
 ‭Today, more than 750,000 Workspace users have access to the new features in preview.‬

‭ hird, we’re making it easier for others to innovate using AI. One way is by providing Google‬
T
‭Cloud’s high-performance infrastructure, optimized for a range of generative AI models. It’s‬
 ‭being used by thousands of customers and partners to transform their businesses. I’ll give an‬
  ‭update on the Cloud business in just a moment.‬

 ‭Finally, we’re making sure we develop and deploy AI technology responsibly, so that everyone‬
‭ an benefit. Last week we signed on to joint commitments with other leading AI companies at‬
c
‭the White House, building on the principles that have guided our work for many years.‬

‭ o take advantage of the AI opportunities ahead, we've been sharpening our focus as a‬
T
‭company: investing responsibly with great discipline, and finding areas where we can operate‬
 ‭more cost effectively. We've made good progress in data center machine efficiency which will‬
  ‭pay dividends as we continue to invest in AI.‬

‭ e continue to slow our expense growth and pace of hiring and ensure our teams are aligned‬
W
‭to our highest priorities. This quarter we reallocated a number of teams, including aligning‬
 ‭Waze’s ad sales with our existing business organization. We are combining various engineering‬
  ‭efforts across core infrastructure and Cloud. Products like Bard and SGE are being built by‬
   ‭small, fast-moving teams that have been re-allocated to these high-priority efforts.‬

‭ verall, we’re actively moving people to higher-priority activities within the company. And we‬
O
‭continue to optimize our real estate footprint for current and future needs.‬

 ‭ ext, Google Cloud. We see continued growth, with Q2 revenue of $8 billion, up 28%, and‬
 N
‭operating profit of $395 million.‬

‭ ur AI-optimized infrastructure is a leading platform for training and serving generative AI‬
O
‭models. More than 70% of Gen AI unicorns are Google Cloud customers, including Cohere,‬
 ‭Jasper, Typeface, and many more.‬

‭We provide the widest choice of AI supercomputer options with Google TPUs and advanced 3‬
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 ‭Nvidia‬ ‭GPUs,‬ ‭and‬ ‭recently‬ ‭launched‬ ‭new‬ ‭A3‬ ‭AI‬ ‭supercomputers‬ ‭powered‬ ‭by‬ ‭Nvidia's‬
 ‭ 100.‬ ‭This‬ ‭enables‬ ‭customers‬ ‭like‬ ‭AppLovin‬ ‭to‬ ‭achieve‬ ‭nearly‬ ‭two‬ ‭times‬ ‭better‬ ‭price‬
 H
‭performance than industry alternatives.‬

‭ ur new generative AI offerings are expanding our total addressable market and winning new‬
O
‭customers. We are seeing strong demand for the more than 80 models - including third party‬
 ‭and popular open source - in our Vertex, Search, and Conversational AI platforms, with the‬
  ‭number of customers growing more than 15X from April to June. Among them, Priceline is‬
   ‭improving trip planning capabilities; Carrefour is creating full marketing campaigns in a matter of‬
    ‭minutes; and Capgemini is building hundreds of use cases to streamline time-consuming‬
     ‭business processes.‬

 ‭ ur‬‭new‬‭Anti-Money‬‭Laundering‬‭AI‬‭helps‬‭banks‬‭like‬‭HSBC‬‭identify‬‭financial‬‭crime‬‭risk,‬‭and‬‭our‬
 O
 ‭new‬‭AI-powered‬‭Target‬‭and‬‭Lead‬‭Identification‬‭Suite‬‭is‬‭being‬‭applied‬‭at‬‭Cerevel‬‭to‬‭help‬‭enable‬
‭drug discovery.‬

‭ ur generative AI capabilities also give us an opportunity to win new customers and upsell into‬
O
‭our installed base of 9 million paying Google Workspace customers. I mentioned Duet AI‬
 ‭earlier; Instacart is using it to improve customer service workflows, and companies like Extend‬
  ‭are scaling sales outreach and optimizing customer service. Customers confidently choose‬
   ‭Workspace because of the safety and security we provide their distributed workforces.‬

‭ ur AI capabilities are helping us differentiate core products, like cybersecurity. We have‬
O
‭integrated AI throughout our portfolio, winning organizations like Pfizer, who are using Google‬
 ‭Cloud to transform their security operations. Chronicle Security Operations Suite, with Mandiant‬
  ‭fully integrated, is helping customers stay protected at every stage of the security lifecycle. In‬
   ‭the first half of 2023, we saw a 35% increase in incident response engagements compared to‬
    ‭the same period last year.‬

  ‭Finally, our AI capabilities are also expanding our partner ecosystem, with hundreds of ISVs‬
‭ nd SaaS providers such as Box, Salesforce, and Snorkel, and the world’s largest consulting‬
a
‭firms, like Accenture and Deloitte. They’ve collectively committed to train more than 150,000‬
 ‭people on Google Cloud generative AI.‬

‭ urning next to YouTube. Earlier this year, we shared that revenues across YouTube products‬
T
‭were nearly $40 billion for the 12 months ending in March.‬

  I‭’m really pleased with how YouTube is growing audiences and driving increased engagement.‬
‭YouTube Shorts are now watched by over 2 billion logged-in users every month, up from 1.5‬
 ‭billion just one year ago.‬

‭ he Living Room remained our fastest growing screen in 2022 in terms of watchtime. We’re‬
T
‭reaching more than 150 million people on Connected TV screens in the U.S., and seeing‬
 ‭growth and momentum internationally.‬

‭ nd on subscriptions, there’s good growth. Late last year, we announced over 80 million‬
A
‭YouTube Music and Premium subscribers.‬
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                                                                                                    ‭4‬
‭ ignups for NFL Sunday Ticket kicked off in April, and we look forward to hosting our first‬
S
‭football season on YouTube this fall.‬

‭ inally, Hardware and Android. Pixel continues to have strong sales momentum. We introduced‬
F
‭new Pixel devices at I/O, including Pixel Fold, Pixel Tablet and Pixel 7a, and we’ve had a great‬
 ‭response.‬

‭ ndroid 14, our latest OS, will incorporate our advances in generative AI to personalize Android‬
A
‭phones. The Pixel and Android teams are working together to advance the latest devices. The‬
 ‭Pixel Fold is a great example with its many hardware and software innovations.‬

   ‭Before I close, you may have seen that we just announced some exciting news that Ruth is‬
t‭aking on the important new role of President and Chief Investment Officer. As our‬
 ‭longest-serving CFO, she has helped guide the company through an amazing period of growth,‬
  ‭a global pandemic and the ongoing economic uncertainty that has followed.‬

   ‭I'm excited to continue to work with Ruth, who will lead our 2024 planning and remain as CFO‬
‭ hile we do a full search for a successor. So it’s business as usual now and no change in‬
w
‭approach for the future. I look forward to seeing the impact Ruth will have in her new role‬
 ‭driving our investments, engaging with our stakeholders and creating opportunities for people‬
  ‭and communities everywhere.‬

‭ o close, I’m energized by the pace of innovation and the momentum across the company. With‬
T
‭15 products that each serve a half a billion people, and six that serve over 2 billion each, we‬
 ‭have so many opportunities to deliver on our mission.‬

‭Thank you to our employees around the world for their great work this quarter.‬

‭Over to you, Philipp.‬

‭ hilipp Schindler, SVP and CBO, Google:‬‭Thanks, Sundar.‬‭And hello, everyone. Happy to be‬
P
‭here with you all today.‬

‭Let’s jump right into our performance for the quarter. Google Services revenues of $66 billion‬
‭ ere up 5% year-on-year.‬
w

   ‭In Google Advertising, Search & Other revenues grew 5% year-on-year, led by solid growth in‬
t‭he Retail vertical. In YouTube Ads, revenues were up 4% year-on-year, driven by growth in‬
 ‭brand, followed by direct response, reflecting further stabilization in advertiser spend. In‬
  ‭Network, revenues declined 5% year-on-year.‬

‭ oogle Other revenues were up 24% year-on-year, led by strong growth in YouTube‬
G
‭subscriptions revenues.‬

 ‭ et’s now take a few minutes to cover our three key priority areas: Google AI, Retail and‬
 L
‭YouTube, which I've laid out in prior quarters as clear opportunities for long-term advertising‬
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                                                                                                       ‭5‬
‭growth. I’ll then turn it over to Ruth for more details on our financial performance.‬

‭ 2 was a big quarter for Google AI and our Ads products. I/O, GML, and Brandcast were a‬
Q
‭testament to our deep commitment to building cutting-edge tools and solutions that help‬
 ‭businesses navigate complexity in real-time and deliver the results they need, all while‬
  ‭improving the experience for users. Sundar covered some of these innovations; I’ll share more.‬
   ‭It’s worth reiterating that while generative AI is now supercharging new and existing Ads‬
    ‭products with tons of potential ahead, AI has been at the core of our Ads business for years. In‬
     ‭fact, today, nearly 80% of advertisers already use at least one AI-powered Search Ads product.‬

‭ ur approach to AI in ads remains grounded in understanding what drives real value for‬
O
‭businesses right now and what’s most helpful for users.‬

‭ dvertisers tell us they’re looking for more assistive experience to get set up with us faster. So‬
A
‭at GML, we launched a new conversational experience in Google Ads, powered by a LLM‬
 ‭tuned specifically from ads data to make campaign construction easier than ever.‬

‭ dvertisers also tell us they want help creating high-quality ads that work in an instant, so we’re‬
A
‭rolling out a revamped asset creation flow in Performance Max that helps customers adapt and‬
 ‭scale their most successful creative concepts in a few clicks.‬

‭ nd there’s even more with PMax. We launched new asset insights and new search term‬
A
‭insights that improve campaign performance understanding and new customer lifecycle goals‬
 ‭that let advertisers optimize for new and existing customers while maximizing sales.‬

‭ e've long said it’s all about reaching the right customer with the right creative at the right time,‬
W
‭so later this year, Automatically Created Assets, which are already generating headlines and‬
 ‭descriptions for Search ads, will start using generative AI to create assets that are even more‬
  ‭relevant to customers’ queries.‬

 ‭Broad Match also got updates. AI-based keyword prioritization ensures the right keyword, bid,‬
‭ udget, creative and landing page is chosen when there are multiple overlapping keywords‬
b
‭eligible.‬

‭ hen to make it easier for advertisers to optimize visual storytelling and drive consideration in‬
T
‭the mid-funnel, we’re launching two new AI-powered ad solutions -- Demand Gen and Video‬
 ‭View Campaigns -- and both will include Shorts inventory.‬

‭ undar talked earlier about SGE and our early experiments with new ad formats. We’re in‬
S
‭active conversations with advertisers, publishers and partners to get their input on how to make‬
 ‭these solutions work best for them and are excited to test and evolve this experience as we‬
  ‭learn more.‬

  ‭ et’s pivot to Retail, where we had a good quarter. Profitability remains a top theme for‬
  L
‭retailers, so solutions like PMax that drive bottom-line value continue to do well. We also‬
 ‭continued to see success in helping businesses unlock efficient growth and deliver on their‬
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‭omnichannel goals.‬


                                                                                                  ‭‬
                                                                                                  6
‭Take Ace Hardware, who tapped into AI-powered Search and omnibidding to capture increased‬
 ‭seasonal demand leading up to Memorial Day. This drove increases across online sales, store‬
  ‭visits and in-store sales, resulting in 87% year-over-year growth in omni revenue from Google‬
   ‭Ads, and led to one of the largest revenue weeks ever for Ace store owners.‬

‭ 2 also brought innovation on the consumer and merchant front. We rolled out a new gen‬
Q
‭AI-powered virtual try-on tool that brings the fitting room experience online. Shoppers can try on‬
 ‭women’s tops across a wide array of models from brands like Anthropologie, Everlane, H&M‬
  ‭and Loft.‬

    ‭Rich, visual, engaging content is a win-win for both consumers and merchants. In fact, product‬
‭ ffers with more than one image see a 76% average increase in impressions and a 32%‬
o
‭increase in clicks. Our new Product Studio uses gen AI to help retailers create tailored,‬
 ‭eye-catching imagery for free, and we’re working towards optimizing for performance. We think‬
  ‭this will be a game-changer, especially for SMBs who can now create high-quality images to‬
   ‭use both across Google and their own sites without spending a lot of time or money.‬

‭ s we continue to make Google a valuable place for merchants to grow their businesses and‬
A
‭connect with users, Merchant Center Next is another win. We've seen 2X growth in the number‬
 ‭of businesses using Merchant Center in the past two years, and we're now simplifying it by‬
  ‭automating inventory management and giving a consolidated view of performance insights.‬
   ‭Better tools means better growth for merchants and better experiences for users.‬

     ‭Moving to YouTube. I've said it before, I’ll say it again: YouTube starts with our creators, and it's‬
t‭heir success and our multiformat strategy that will drive YouTube’s long-term growth. In prior‬
 ‭quarters, I've laid out how we think about this: enabling our creators to make a living on our‬
  ‭platform, with more formats and awesome tools, leads to more content, which leads to quality‬
   ‭consumption of video content -- another big focus of the team -- and this leads to better‬
    ‭opportunities for monetization and for advertisers to support this incredible ecosystem.‬

‭ s we think about growth, we’re focused on Shorts, Connected TV and our Subscription‬
A
‭Offerings, all of which grew nicely this quarter. Let me double-click into Shorts and CTV.‬

    ‭ irst, Shorts. Momentum remains strong. Watchtime and monetization are moving in the right‬
    F
‭direction. Last year we introduced ads on Shorts to help drive performance in direct response‬
 ‭campaigns via Video Action, Performance Max and App Campaigns. As of Q2, brand‬
  ‭advertisers can start testing Shorts ads in awareness campaigns. It’s still early days, but we’re‬
   ‭excited by the results.‬

‭ aneige, Amorepacific's number one premium skincare brand, was an early adopter. It leaned‬
L
‭into Video Reach campaigns and new creative over a 10-day test to drive a 21% increase in‬
 ‭unique users reached from Shorts and In-feed, all at a more efficient CPM.‬

‭ econd, Connected TV. Substantial engagement by viewers and ROI for advertisers is driving‬
S
‭monetization of the Living Room. We’re very pleased with the growth we've seen and how we’re‬
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‭delivering the reach, results and relevance that businesses are looking for, at scale.‬


                                                                                                     ‭7‬
‭ t Brandcast, we announced two new ad offerings for streaming. First, 30-second unskippable‬
A
‭ads are coming to YouTube Select, which is landing 70%+ of impressions on the TV screen.‬
 ‭30-second ads are a TV industry staple, and now YouTube is bringing our advanced audience‬
  ‭capabilities and unparalleled reach to the format.‬

‭ e’re also exploring new Pause experiences so brands can drive awareness or action when‬
W
‭you hit pause.‬

‭Looking at YouTube holistically, according to our measurement partners -- Nielsen, TransUnion,‬
‭ nd Ipsos MMA -- YouTube delivers higher ROI than TV and other online video on average.‬
a

‭ ake the Hershey Company. As part of a multiyear partnership to optimize its YouTube strategy,‬
T
‭Hershey’s brands have been tapping into CTV, efficient AI-powered formats and‬
 ‭made-for-platform creative, leading to YouTube becoming its number one ROI-driving media‬
  ‭partner, producing a 65%+ increase in ROI from 2018-2023.‬

‭ ne last highlight that bridges the power of YouTube with our continued efforts to bring the best‬
O
‭across Google to our partners. With Warner Bros. Discovery, we expanded our multiyear‬
 ‭relationship across our entire Android ecosystem, including partnering on the launch of Max, a‬
  ‭deepened, mutually-beneficial relationship on Google TV and plans to work together on new‬
   ‭surfaces. YouTube’s expanded deal for Max, inclusive of a Max/NFL Sunday Ticket bundle on‬
    ‭YouTube TV, also underscores our joint commitment to bring the highest quality content and‬
     ‭experiences to our customers.‬

 ‭I’ll close by echoing Sundar, with a huge thank you to Googlers everywhere for their incredible‬
‭ assion and hard work, and to our customers and partners for their continued collaboration and‬
p
‭trust.‬

‭Ruth, over to you.‬

‭Ruth Porat, CFO Alphabet and Google:‬‭Thank you, Philipp.‬

‭Before I go into the results, first, Sundar, thank you very much for the opportunity. I’m very‬
‭ xcited about the new role, and I look forward to it.‬
e

‭ o turning to the results. We’re very pleased with our financial results for the second quarter,‬
S
‭which reflect an acceleration of growth in Search and momentum in Cloud.‬

‭My comments will be on year-over-year comparisons for the second quarter, unless I state‬
‭ therwise.‬
o

‭I will start with results at the Alphabet level, followed by segment results, and conclude with our‬
‭ utlook.‬
o

‭For the second quarter, our Consolidated Revenues were $74.6 billion, up 7%, or up 9% in‬
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‭constant currency. Search remained the largest contributor to revenue growth.‬


                                                                                                    ‭8‬
‭ otal Cost of Revenues was $31.9 billion, up 6%, driven by Other Cost of Revenues of $19.4‬
T
‭billion, which was up 8%.‬

‭ rowth here was driven by Content Acquisition Costs, primarily for YouTube subscription‬
G
‭offerings, followed by Hardware costs associated with Pixel family launches in the second‬
 ‭quarter.‬

‭ s noted in our earnings release, the overall increase in data center and other operations costs‬
A
‭was partially offset by a reduction in depreciation expense due to the change in estimated‬
 ‭useful lives we discussed last quarter.‬

‭ perating expenses were $20.9 billion, up 4%. Operating income was $21.8 billion, up 12%,‬
O
‭and our operating margin was 29%. I will cover our expense and margin performance in our‬
 ‭outlook.‬

‭Other Income & Expense was $65 million. Net income was $18.4 billion.‬

‭ e delivered Free Cash Flow of $21.8 billion in the second quarter and $71 billion for the‬
W
‭trailing 12 months, reflecting improved operating performance, as well as the deferral of certain‬
 ‭tax payments to the fourth quarter of 2023 as noted in our earnings release. We ended the‬
  ‭quarter with $118 billion in cash and marketable securities.‬

‭ urning to our segment results, prior period results have been recast for two changes that we‬
T
‭made as of the first quarter.‬

     ‭ irst, DeepMind is now reported as part of Alphabet’s unallocated corporate costs. Second, we‬
     F
‭updated our cost allocation methodologies. In the second quarter, we then combined the Brain‬
 ‭team from Google Research with DeepMind to form Google DeepMind. Costs associated with‬
  ‭the Brain team, which were previously included in Google Services, are now reported as part of‬
   ‭Alphabet’s unallocated corporate costs. We have not recast prior period results to reflect this‬
    ‭additional change.‬

‭Within Google Services, revenues were $66.3 billion, up 5%.‬

‭ oogle Search and Other advertising revenues of $42.6 billion in the quarter were up 5%, led‬
G
‭by growth in retail.‬

‭ ouTube advertising revenues of $7.7 billion, were up 4% driven by brand advertising, followed‬
Y
‭by direct response, reflecting further stabilization in spending by advertisers.‬

‭Network advertising revenues of $7.9 billion were down 5%.‬

‭ ther Revenues were $8.1 billion, up 24%, reflecting growth in YouTube non-advertising‬
O
‭revenues, primarily from subscription growth in YouTube Music Premium and YouTube TV;‬
 ‭followed by growth in Hardware revenues, primarily driven by the launch of the Pixel 7a in the‬
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‭second quarter.‬


                                                                                                   ‭9‬
‭Finally, Play returned to positive growth in the second quarter.‬

‭TAC was $12.5 billion, up 3%.‬

‭ oogle Services operating income was $23.5 billion, up 8%, and the operating margin was‬
G
‭35%.‬

‭Turning to the Google Cloud segment, revenues were $8.0 billion for the quarter, up 28%.‬

‭ CP revenue growth remained strong across geographies, industries and products. That being‬
G
‭said, we saw a continued moderation in the rate of consumption growth as consumers‬‭[sic:‬
 ‭customers]‬‭optimized their spend.‬

‭ oogle Workspace strong revenue growth was driven by increases in both seats and average‬
G
‭revenue per seat.‬

‭Google Cloud had Operating Income of $395 million and the operating margin was 5%.‬

‭ s to our Other Bets, for the second quarter, revenues were $285 million and the operating loss‬
A
‭was $813 million. The decrease in operating loss was primarily driven by a reduction in‬
 ‭valuation-based compensation liabilities related to certain Other Bets.‬

‭ urning to our outlook for the business, with respect to Google Services, first, within‬
T
‭Advertising, we were pleased with the acceleration of Search advertising revenue growth in the‬
 ‭second quarter. Our continued ability to generate sustained growth reflects our unparalleled‬
  ‭engineering innovation that creates extraordinary experiences for users and capabilities for‬
   ‭advertisers and delivered with the deep expertise of our Go-to-Market team.‬

‭ nd in YouTube, we saw ongoing signs of stabilization in advertiser spending. We are‬
A
‭prioritizing product focus on increasing quality consumption of video content with both Shorts‬
 ‭and in the Living Room, which is translating into improved monetization.‬

‭ econd, within Other Revenues, in our YouTube subscription products, the sustained strong‬
S
‭growth in revenues reflects significant subscriber growth. You may have seen that last week we‬
 ‭increased subscription prices for YouTube Music and Premium which underscores the value of‬
  ‭the products.‬

‭ trong year-on-year growth in Hardware revenues was due in large part to a timing change,‬
S
‭given the Pixel 7a was launched in the second quarter, whereas the Pixel 6a launch occurred in‬
 ‭the third quarter last year. Looking ahead, the launch timing change will be a headwind to‬
  ‭Hardware revenue growth in the third quarter.‬

‭ lay returned to positive growth in the second quarter, driven primarily by a solid increase in the‬
P
‭number of buyers.‬
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‭Turning to Google Cloud, we are particularly excited about the customer interest in our 10‬


 ‭ I-optimized‬‭infrastructure,‬‭our‬‭large‬‭language‬‭models,‬‭our‬‭AI‬‭platform‬‭services,‬‭and‬‭our‬‭new‬
 A
 ‭generative‬‭AI‬‭offerings‬‭such‬‭as‬‭Duet‬‭AI‬‭for‬‭Google‬‭Workspace,‬‭although‬‭we‬‭are‬‭still‬‭clearly‬‭in‬
‭the early days.‬

‭ t the same time, we continued to experience headwinds in the second quarter from‬
A
‭moderation in consumption growth as customers optimized their spend. We continue to invest‬
 ‭aggressively, while remaining focused on profitable growth.‬

 I‭n terms of expenses and profitability, we remain very focused on durably re-engineering our‬
‭cost base.‬

   ‭ ost evident to date are the actions we have taken to reduce the pace of headcount‬
   M
‭growth, including the workforce reductions we announced in the first quarter, and a slower‬
 ‭pace of organic hiring, in part given our focus on reallocating talent from within to fuel our‬
  ‭growth priorities.‬

‭ quick comment on the sequential improvement in operating margins in the second quarter.‬
A
‭There are two factors to note. First, the benefit from an acceleration in Search advertising‬
 ‭revenue growth in the second quarter. Second, the vast majority of the charges related to our‬
  ‭workforce reduction and optimization of our global office space were taken in Q1.‬

‭ inally, as it relates to capex, in Q2, the largest component was for servers, which included a‬
F
‭meaningful increase in our investments in AI compute.‬

‭The sequential step-up in the second quarter was lower than anticipated for two reasons.‬

 ‭First, with respect to office facilities, we continue to moderate the pace of fit-outs and ground-up‬
‭ onstruction to reflect the slower expected pace of headcount growth. Second, there were‬
c
‭delays in certain data center construction projects.‬

‭ e expect elevated levels of investment in our technical infrastructure, increasing through the‬
W
‭back half of 2023 and continuing to grow in 2024. The primary driver is to support the‬
 ‭opportunities we see in AI across Alphabet, including investments in GPUs and proprietary‬
  ‭TPUs, as well as data center capacity.‬

‭ ith all that said, we remain committed to durably re-engineering our cost base in order to help‬
W
‭create capacity for these investments in support of long-term, sustainable financial value.‬

‭Thank you. Sundar, Philipp and I will now take your questions.‬

‭ perator:‬‭Thank you. As a reminder, to ask a question‬‭you will need to press star *1 on your‬
O
‭telephone. To prevent any background noise, we ask that you please mute your line once your‬
 ‭question has been stated.‬
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‭Our first question comes from Brian Nowak of Morgan Stanley. Please go ahead.‬‭Brian‬

‭Nowak (Morgan Stanley):‬‭Thanks for taking my questions.‬‭I have two. The first one for‬


                                                                                                   ‭11‬
‭Sundar.‬

‭ undar, I would be curious to learn about some of your early learnings and surprises around‬
S
‭consumer behavior on how people are using Bard versus Search. And what new behaviors or‬
 ‭consumer utility are you most excited about as you think about what Gemini could provide for‬
  ‭people over the course of the next year or so?‬

‭ nd then the second one for Ruth. Ruth, congrats on the new position. One question just about‬
A
‭the durable expense comments. I think last quarter you talked about the idea that expenses‬
 ‭could grow slower than revenue in 2024. Is that still the right way to think about it? And just to‬
  ‭confirm, does that include the impact of depreciation in those comments? Thanks.‬

‭ undar Pichai, CEO Alphabet and Google:‬‭Thanks, Brian.‬‭I'll take the first part. It's definitely‬
S
‭early days, but both across Bard and Search Generative Experience, feedback has been very‬
 ‭positive from our users. I think we are definitely now able to serve, I would say, deeper and‬
  ‭broader information use cases, which is very exciting.‬

I‭ wouldn't say surprise. So, for example, people really using it for coding is something we‬
 ‭understood, but it's definitely on the new side.‬

‭ here's a lot of excitement around we integrated Google Lens into Bard. We have known how‬
T
‭big Google Lens can be. We see that in the visual searches. We get, then, how much it has‬
 ‭grown over the last two years, since we've been doing this for a while. But definitely that and‬
  ‭Bard has been super well-received, so which gives me a sense that as -- given Gemini is being‬
   ‭built from the ground up to be multimodal, I think that's an area that's going to excite users.‬

‭ nd I go back many years ago when we did universal search. Whenever, for users, we can‬
A
‭abstract different content types and put them in a seamless way, they tend to receive it well.‬
 ‭And so I'm definitely excited about what's ahead.‬

     ‭Ruth Porat, CFO Alphabet and Google:‬‭And on your second‬‭question, Brian, we are really‬
‭ leased with the operating performance in the second quarter. We have been saying for some‬
p
‭time that we are focused on revenue growth ahead of expense growth and achieved that for the‬
 ‭first time in some time, and that is cost of sales plus operating expenses overall. And we do‬
  ‭remain very focused on durably re-engineering our cost base. There are a lot of work streams‬
   ‭that are in flight, and I mentioned a couple of them in opening comments. This remains a major‬
    ‭priority, as Sundar and I both commented on.‬

‭Brian Nowak (Morgan Stanley):‬‭Great. Thank you, both.‬

‭Operator:‬‭Thank you.‬
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‭The next question comes from Eric Sheridan of Goldman Sachs. Please go ahead.‬

 ‭Eric Sheridan (Goldman Sachs):‬‭Thank you so much for‬‭taking the questions. Maybe one‬
f‭or Sundar and one also for Ruth.‬




                                                                                                     ‭12‬
‭ undar, can you talk a little bit about elements of open source versus closed and things like‬
S
‭custom silicon and how you're thinking about AI offerings broadly developing over the next‬
 ‭couple years, and what you see as some of the key differentiation points that Google, either‬
  ‭through their Cloud business or the consumer offerings, are going to bring to market and how‬
   ‭we should think about differentiation playing out to a greater degree in AI in the years ahead.‬
    ‭That will be number one.‬

‭ nd then, Ruth, I'll echo Brian's congrats as well on the new role. Maybe both of you could talk‬
A
‭to why this type of role might be important at this point in time for Alphabet; and Ruth, what‬
 ‭you're looking to sort of drive into the organization from this new role as you move into it in the‬
  ‭fall. Thanks.‬

‭Sundar Pichai, CEO Alphabet and Google:‬‭Thanks, Eric.‬

‭ n the first part, obviously a big topic. I would broadly say that investments for AI, when you‬
O
‭look at the type of deep computer science work, the talent we have worked hard to bring to the‬
 ‭company and from the ground up, the infrastructure we have built.‬

  ‭ rom the earliest days Google has been a company, we have thought about the switches in‬
  F
‭our data centers. Wherever we think we can do the best and get an advantage by innovating,‬
 ‭we have chosen to do so. We have done that on AI on the silicon side.‬

   ‭But what's important to us is really stay focused on our users and customers and support all the‬
i‭nnovations that's needed. So, for example, with Cloud, we've really embraced open‬
 ‭architecture. We have embraced customers wanting to be multicloud when it makes sense for‬
  ‭them.‬

‭ o similarly, you would see with AI, we will embrace -- we will offer not just our first-party‬
S
‭models; we'll offer third-party models, including open source models. I think open source has a‬
 ‭critical role to play in this ecosystem.‬

‭ oogle is one of the largest contributors, if you look at Hugging Face in terms of the‬
G
‭contribution there, when you look at projects like Android, Chromium and so on, Kubernetes‬
 ‭and so on. So we'll embrace that and we'll stay at the cutting edge of technology. I think that will‬
  ‭serve us well for the long term.‬

‭ n the second part of your question, first of all, I'm very grateful and thankful to all the work that‬
O
‭Ruth has done for the company. It's too invaluable to capture in words.‬

‭I am super thrilled that she is going to continue on an impactful new role, and at the scale of‬
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‭ ur company with the broad changes in technology, I think it's more important than ever before‬
o
‭to engage on these issues globally at scale, and advocate on the economic opportunity of the‬
 ‭investments we make across Alphabet and Google.‬

‭ nd I'm glad that she's going to continue as CFO, and so no changes there. And we'll take the‬
A
‭time to find a successor, and Ruth will be closely involved not just on that but also our‬
 ‭long-range planning, including 2024.‬


                                                                                                    ‭13‬
‭Ruth, anything to add?‬

    ‭Ruth Porat, CFO Alphabet and Google:‬‭Just to underscore‬‭when you asked the point about‬
i‭mpact, one of the places Sundar and I have discussed quite a bit is landing well the 2024‬
 ‭capital plan and the multiyear plan and completing all of the very important efforts we have‬
  ‭underway. We're excited about what they mean, setting the company up well to be able to‬
   ‭invest for long-term growth. And so we are continuing to execute against those.‬

‭ nd then I think Sundar summarized it well. We see technology can make such a difference in‬
A
‭the lives of so many and the lives of economies. And to be able to focus on the impact on‬
 ‭economic growth and the opportunity for people, for organizations, for countries, I think, is a‬
  ‭privilege. I'm really excited about it, in particular with this amazing company.‬

‭ nd so focusing there as well as the investments that we make across Alphabet to drive‬
A
‭economic growth globally across numerous sectors.‬

‭Eric Sheridan (Goldman Sachs):‬‭Great, thank you.‬

‭ perator:‬‭Thank you. The next question comes from‬‭Doug Anmuth of JPMorgan. Please go‬
O
‭ahead.‬

‭Doug Anmuth (JPMorgan):‬‭Thanks for taking the questions.‬‭One for Sundar and one for Ruth.‬

‭ irst, Sundar. Curious, how do you think about timing for more broadly integrating generative‬
F
‭AI into Search? More specifically, what are some of the things you'll need to see to do that?‬

‭ nd then, Ruth, just on capex, the 2Q capex lower than expected, as you explained. Do you still‬
A
‭expect modestly higher capex in '23 versus '22? And then I know it's getting a little bit ahead,‬
 ‭but how should we think about kind of timing of that real estate and office optimization efforts‬
  ‭through '23 and then also into '24? Thanks.‬

‭ undar Pichai, CEO Alphabet and Google:‬‭Look, on the‬‭Search Generative Experience, we‬
S
‭definitely wanted to make sure we're thinking deeply from first principles. While it's exciting new‬
 ‭technology, we've constantly been bringing in AI innovations into Search for the past few years,‬
  ‭and this is the next step in that journey.‬

 ‭But it is a big change. So we thought about from first principles, it really gives us a chance to,‬
‭ ow, not always be constrained in the way Search was working before, allowed us to think‬
n
‭outside the box. And I see that play out in the experience.‬
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‭ o I would say, we are ahead of where I thought we would be at this point in time, and the‬
S
‭feedback has been very positive. We've just improved our efficiency pretty dramatically since‬
 ‭the product launched. The latency has improved significantly. We are keeping a very high bar,‬
  ‭but I would say we are ahead on all the metrics in terms of how we look at it internally, and so‬
   ‭couldn't be more pleased with it.‬




                                                                                                  ‭14‬
‭ nd so you will see us continue to bring it to more and more users, and over time this will just‬
A
‭be how Search works. And so while we are taking deliberate steps, we are building the next‬
 ‭major evolution in Search, and I'm pleased with how it's going so far.‬

  ‭Ruth Porat, CFO Alphabet and Google:‬‭In terms of capex,‬‭I tried to lay out sort of the‬
‭ adence of capex and the point, it's an important one, that the sequential step-up in the second‬
c
‭quarter was lower than anticipated for the two reasons I noted. One, the work that we're doing‬
 ‭around office facilities and then the delays in certain data center construction projects.‬

‭ hat's why we wanted to be really clear that we do expect elevated levels of investment in our‬
T
‭technical infrastructure, and that would be increasing through the back half of 2023, consistent‬
 ‭with the comments we've made previously that we expected 2023 to be higher and given the‬
  ‭slower start at the front half of the year and then continuing to grow into 2024.‬

‭ nd the primary driver of this, as you know well, is to support the opportunities we see in AI‬
A
‭across the company, including the investments that we've already talked about: proprietary‬
 ‭TPUs, all that we're doing with GPUs, as well as data center capacity. And as we continue to‬
  ‭see the pace of innovation accelerate, we just want to make sure we're positioned to address‬
   ‭the opportunity across Alphabet.‬

‭ nd to the other part of your question, when we look at real estate optimization, that's one of‬
A
‭many work streams that are important when we talk about durably re-engineering our cost base‬
 ‭to create capacity for investments and support long-term sustainable financial value. And we‬
  ‭are continuing to work against that.‬

‭Doug Anmuth (JPMorgan):‬‭Thank you, both.‬

‭ perator:‬‭Thank you. The next question comes from‬‭Lloyd Walmsley of UBS. Please go‬
O
‭ahead.‬

    ‭Lloyd Walmsley (UBS):‬‭Thanks a lot for taking the‬‭question. I wanted to just follow up on‬
‭ ome of the SGE questions and just get a sense -- I know it's early, but what are you seeing in‬
s
‭terms of monetization and how do you guys think about that as you scale up the deployment of‬
 ‭SGE? I think there's a lot of concern out there that maybe in the short term, it's a bit of a‬
  ‭headwind; but over the longer term, maybe query growth from a more useful product can kind‬
   ‭of make up for that.‬

‭But how do you guys see that playing out, and what can you share there?‬
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‭Sundar Pichai, CEO Alphabet and Google:‬‭Maybe I can give some color here.‬

‭ e've obviously been focused on bringing this experience and making sure it works well for‬
W
‭users. And it's very clear to me, first of all, as a user myself, there are certain queries for which‬
 ‭the answers are so, so significantly better. It's a clear quality win. And so I think we are‬
  ‭definitely headed in the right direction, and we can see it in our metrics and the feedback we're‬
   ‭getting from our users as well.‬




                                                                                              ‭15‬
‭ nd the thing that doesn't change with these experiences is that a lot of user journeys are‬
A
‭commercial in nature. There are inherent commercial user needs. And what's exciting to me is‬
 ‭that SGE gives us an opportunity to serve those needs, again, better, right? Better.‬

‭ o it's clearly an exciting area. And as part of that, the fundamentals don't change. Users have‬
S
‭commercial needs and they are looking for choices, and there are merchants and advertisers‬
 ‭looking to provide those choices. So those fundamentals are true in SGE as well.‬

‭ nd we have a number of experiments in flight, including ads, and we are pleased with the‬
A
‭early results we are seeing. And so we will continue to evolve the experience, but I'm‬
 ‭comfortable at what we're seeing, and we have a lot of experience working through these‬
  ‭transitions and will bring all those learnings here as well.‬

‭Lloyd Walmsley (UBS):‬‭All right. Thank you.‬

‭ perator:‬‭Thank you. The next question comes from‬‭Justin Post of Bank of America. Please‬
O
‭go ahead.‬

‭ ustin Post (Bank of America):‬‭Great, thank you. Just‬‭ask about the Cloud. It really looked‬
J
‭like revenue growth stabilized despite optimization. So could you talk about the pipeline and the‬
 ‭client wins in the quarter, how you feel about those.‬

‭ nd then any uptick, are you seeing, related to AI spending in the total revenues this quarter or‬
A
‭in the second half? Thank you.‬

‭Sundar Pichai, CEO Alphabet and Google:‬‭Thanks, Justin.‬

‭Look, it is an exciting moment overall in Cloud because there is definitely a lot of interest from‬
‭ ustomers on AI, and they definitely are engaging in many more conversations with us.‬
c

‭ o I would say, without commenting on the short term but when I think about it long term, I view‬
S
‭the AI opportunity as expanding our total addressable market and allows us to win new‬
 ‭customers.‬

‭ he scale of investments that we can directly bring to Cloud now, as I said earlier, we have over‬
T
‭80 models across Vertex, Enterprise, Search and Conversational AI and we are taking all of‬
 ‭them, translating it into deep industry solutions. So I'm excited about it.‬
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‭ econd, it gives us an opportunity to upsell and cross-sell into our installed base. So, for‬
S
‭example, if you think about Duet AI and Google Workspace now, it's a collection of all our‬
 ‭generative AI-powered collaboration features. We can bring it and make it available to more‬
  ‭than 9 million paying Google Workspace customers.‬

‭ imilarly, Duet AI and Google Cloud, again, allows us to go back to our installed base and‬
S
‭engage in deeper conversations.‬

‭And, finally, I think AI helps us differentiate our core products. For example, if you take a look at‬


                                                                                                                    ‭1‬


                                                                                                                    ‭6‬


‭cybersecurity, we are deeply incorporating AI to drive profound changes there.‬

‭ o overall, I'm excited, excited. And I view this as a long-term opportunity. And all the‬
S
‭investments we are doing in AI across Alphabet, including the work we are doing in Google‬
 ‭DeepMind and Google Research on Gemini and so on are directly applicable to Cloud as well.‬
  ‭So, excited about it.‬

‭Justin Post (Bank of America):‬‭Great, thank you. Maybe‬‭one follow-up for Ruth.‬

‭Did the infrastructure Cloud grow faster than Workspace’s again this quarter?‬

‭Ruth Porat, CFO Alphabet and Google:‬‭So I don't think‬‭we commented on that. Yes, in the‬
‭ econd quarter, GCP growth was above the growth rate for Cloud overall.‬
s

‭Justin Post (Bank of America):‬‭Great. Thank you.‬

‭ perator:‬‭Thank you. The next question comes from‬‭Michael Nathanson of MoffettNathanson.‬
O
‭Please go ahead.‬

‭Michael Nathanson (Moffett):‬‭Thanks. I have one for‬‭Philipp and one for Sundar.‬

  ‭ hilipp,‬‭can‬‭you‬‭talk‬‭about‬‭the‬‭ad‬‭market?‬‭If‬‭you‬‭step‬‭back,‬‭you're‬‭seeing‬‭real‬‭signs‬‭now‬‭of‬
  P
 ‭weakness‬‭in‬‭linear‬‭TV,‬‭ad‬‭agencies,‬‭smaller‬‭digital‬‭companies.‬‭They’re‬‭all‬‭slowing.‬‭And‬‭the‬
‭macro backdrop's definitely cloudy. Yet, you guys accelerated your growth this quarter.‬

‭ hat factors are you looking at, do you see that would identify why you are growing while‬
W
‭others are really struggling and slowing down?‬

‭ nd‬‭then,‬‭Sundar,‬‭I‬‭think‬‭you‬‭spent‬‭over‬‭$100‬‭billion‬‭on‬‭R&D‬‭over‬‭the‬‭past‬‭five‬‭years.‬‭And,‬‭yet,‬
A
‭there's‬‭a‬‭narrative‬‭that‬‭it's‬‭so‬‭competitive‬‭and‬‭so‬‭expensive‬‭to‬‭compete‬‭going‬‭forward.‬‭Can‬‭you‬
 ‭talk‬‭a‬‭bit‬‭about‬‭how‬‭you're‬‭revisiting‬‭that‬‭R&D‬‭spend?‬‭Any‬‭near-term‬‭cadence‬‭updates‬‭you‬‭can‬
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‭ ive us for growth? And any factors that could change the growth going forward for research‬
g
‭and development spending for you guys? Thanks.‬

‭ undar Pichai, CEO Alphabet and Google:‬‭Maybe I can‬‭comment on how we think about‬
S
‭R&D.‬

‭ nd, look, if anything, I think two things. We are always committed to driving deep computer‬
A
‭science research and innovation. That's the foundation on which the company is built and‬
 ‭taking that and applying it and building new products and services and generating value is the‬
  ‭virtuous cycle. And so nothing changes in that fundamental thesis.‬

‭ e are definitely – as Ruth mentioned on AI investments, we are going to be committed to‬
W
‭making sure we invest to realize the opportunity. But all the work we are doing on efficiency and‬
 ‭optimization applies on the AI side as well. And so we are bringing all that lens there so that we‬
  ‭do this responsibly.‬




                                                                                                                  ‭17‬
 ‭ ut no overall changes in our philosophy, our approach there. And maybe I'll let Philipp‬
 B
‭comment on the overall market dynamics.‬

     ‭ hilipp Schindler, SVP and CBO, Google:‬‭Yes. Look,‬‭I can't comment on others, but our‬
     P
‭focus continues, obviously, to be helping customers through whatever uncertainty or complexity‬
 ‭they are facing. A lot of companies are focused on profitability, driving efficiencies and they are‬
  ‭carefully evaluating the effectiveness of their budgets. Our goal is really to help them maximize‬
   ‭efficiency and drive strong ROI. And I think we have the proven AI-powered tools and solutions‬
    ‭to actually do it.‬

  I‭‬‭called‬‭out‬‭Search‬‭and‬‭Other‬‭Revenues‬‭being‬‭led‬‭by‬‭solid‬‭growth‬‭in‬‭the‬‭retail‬‭vertical.‬‭We‬
 ‭talked‬‭about‬‭the‬‭DR‬‭and‬‭brand‬‭side‬‭on‬‭the‬‭YouTube‬‭side.‬‭I‬‭think‬‭those‬‭are‬‭the‬‭key‬‭points‬‭I‬
‭would make.‬

‭Michael Nathanson (Moffett):‬‭Thank you.‬

‭ perator:‬‭Thank you. The next question comes from‬‭Ken Gawrelski of Wells Fargo. Please go‬
O
‭ahead.‬

‭Ken Gawrelski (Wells Fargo):‬‭Yes, thank you so much‬‭for the opportunity. Appreciate that.‬

‭ an I ask, on Performance Max, you've had great success there. Could you talk about any‬
C
‭vertical or use case expansions? And how long until we possibly get to the point of more‬
 ‭automated AI-generated creative in production?‬

    ‭ hilipp Schindler, SVP and CBO, Google:‬‭Yeah, look,‬‭this is a great question. AI is a‬
    P
‭foundational component that really allows us to help users, advertisers, pubs [publishers],‬
 ‭partners at scale, and we've been on a journey for years, right, to take the key components of‬
  ‭advertising, whether it's bidding, targeting and creatives as well as innovation, frankly, in the‬
   ‭core advertiser and publisher experiences and improve them dramatically through AI.‬
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‭ nd Performance Max is an example of how all this comes together at scale. For advertisers,‬
A
‭they provide us with a business goal, a set of assets, and we can then take care of the rest to‬
 ‭meet consumer demand and really deliver on advertiser ROI. And as you heard it at GML, we‬
  ‭have seen over many quarters, we continue to build new AI features really on top of this.‬

     ‭I think I talked a bit in my prepared remarks about where we're taking some of our products‬
f‭rom a Gen AI perspective. And if you take a look at some of the things we announced there,‬
 ‭it's fair to say, whether you look at our revamped asset creation flow in Performance Max,‬
  ‭whether you look at automatically created assets, whether you look at Product Studio and so‬
   ‭on, that we're on the right path to deliver some really exciting new innovation in automated --‬
    ‭we call it asset creation in the broadest sense.‬

‭Ken Gawrelski (Wells Fargo):‬‭Thank you.‬

‭ perator:‬‭Thank you. Our last question comes from‬‭Mark Mahaney of Evercore. Please go‬
O
‭ahead.‬


                                                                                                           ‭18‬
        ‭ ark Mahaney (Evercore ISI):‬‭Okay, actually, I'll‬‭follow up on that last question, Philipp. You‬
        M
‭pointed out AI has been used to improve the advertising mouse trap at Google for many years.‬
 ‭Do you view generative AI as just a material accelerant of your ability to improve return on ad‬
  ‭spend for the millions of marketers who use Google? And if you think about where generative‬
   ‭AI would have the most impact, could you peel it apart? What's your guess now over the next‬
    ‭couple years where it will have the most impact: on the creative, on the audience creation, on‬
     ‭the campaign optimization? Where do you think the most impact will come from generative AI‬
      ‭just for all your advertising customers? Thanks.‬

  ‭Philipp Schindler, SVP and CBO, Google:‬‭Look, as I‬‭said earlier, generative AI is‬
‭ uper-charging new and existing ads products with really tons of potential ahead. We're really‬
s
‭helping advertisers here make better decisions, solve problems, enhance creativity and I‬
 ‭covered this earlier.‬

   ‭For example, we launched a new conversational experience in Google Ads, the asset creation‬
f‭low. In PMax, I mentioned the automatically created assets, the Product Studio and so on.‬
 ‭When I talk to customers, they are very excited about AI and understandably have some‬
  ‭questions.‬

‭ ne of the top questions is, for example: What's the next best step I should take? This is a key‬
O
‭reason why we launched our Google Ads AI Essentials, which was a big announcement at‬
 ‭GML. It's a checklist of simple steps customers can take right now to unlock the power of AI. It‬
  ‭has to do with the foundation of data and measurement. It has to do with taking action with our‬
   ‭AI products. It really is a mindset shift to set up organizations for AI success.‬

‭ o those are just some of the examples. If you extrapolate those going forward, those are some‬
S
‭of the examples where I see a lot of the upside, apart from the points that Sundar already‬
 ‭mentioned.‬
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‭ undar Pichai, CEO Alphabet and Google:‬‭I think all of this is before we have multimodal‬
S
‭capabilities really in the mix. And so looking at the early innovations there, I think it's going to be‬
 ‭an exciting couple years ahead. Thanks, Mark.‬

‭Mark Mahaney (Evercore ISI):‬‭Thank you, Sundar. Thank‬‭you, Philipp. Congratulations, Ruth.‬

‭ perator:‬‭Thank you. And that concludes our question-and-answer‬‭session for today. I’d like to‬
O
‭turn the conference back over to Jim Friedland for any further remarks.‬

 ‭ im‬‭Friedland,‬‭Director‬‭Investor‬‭Relations:‬‭Thanks,‬‭everyone,‬‭for‬‭joining‬‭us‬‭today.‬‭We‬‭look‬
 J
 ‭forward‬‭to‬‭speaking‬‭with‬‭you‬‭again‬‭on‬‭our‬‭third‬‭quarter‬‭2023‬‭call.‬‭Thank‬‭you‬‭and‬‭have‬‭a‬‭good‬
‭evening.‬

‭ perator:‬‭Thank you, everyone. This concludes today's‬‭conference call. Thank you for‬
O
‭participating. You may now disconnect.‬




                                                                                                              ‭19‬
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‭ his transcript is provided for the convenience of investors only, for a full recording please see‬
T
‭the‬‭Q4 2023 Earnings Call webcast‬‭.‬

‭Operator:‬ ‭Welcome, everyone.‬

‭ hank you for standing by for the Alphabet Fourth Quarter 2023 Earnings conference call. At‬
T
‭this time, all participants are in a listen-only mode. After the speaker presentation, there will be‬
 ‭a question-and-answer session. To ask a question during the session, you will need to press *1‬
  ‭on your telephone.‬

I‭ would now like to hand the conference over to your speaker today, Jim Friedland, Director of‬
 ‭Investor Relations. Please go ahead.‬

‭Jim Friedland, Director Investor Relations:‬ ‭Thank‬‭you.‬

‭ ood afternoon, everyone, and welcome to Alphabet’s Fourth Quarter 2023 Earnings‬
G
‭conference call. With us today are Sundar Pichai, Philipp Schindler and Ruth Porat. Now I’ll‬
 ‭quickly cover the Safe Harbor.‬

‭ ome of the statements that we make today regarding our business, operations and financial‬
S
‭performance may be considered forward-looking. Such statements are based on current‬
 ‭expectations and assumptions that are subject to a number of risks and uncertainties.‬

‭ ctual results could differ materially. Please refer to our Forms 10-K and 10-Q, including the‬
A
‭risk factors discussed in our upcoming Form 10-K filing for the year ended December 31, 2023.‬
 ‭We undertake no obligation to update any forward-looking statement.‬

‭ uring this call, we will present both GAAP and non-GAAP financial measures. A reconciliation‬
D
‭of non-GAAP to GAAP measures is included in today's earnings press release, which is‬
 ‭distributed and available to the public through our Investor Relations website located at‬
  ‭abc.xyz/investor.‬

‭ ur comments will be on year-over-year comparisons unless we state otherwise. And now I’ll‬
O
‭turn the call over to Sundar.‬

‭Sundar Pichai, CEO Alphabet and Google:‬ ‭Hello, everyone.‬

‭ ur results reflect strong momentum and product innovation, continuing into 2024. Today I’m‬
O
‭going to talk about four main topics.‬

‭One, our investments in AI, including how it’s helping Search.‬

‭ wo, Subscriptions, which reached $15 billion in annual revenue, up 5x since 2019.‬
T
‭Subscriptions is growing strongly, powered by YouTube Premium and Music, YouTube TV and‬
 ‭Google One.‬

‭Three, Cloud, which crossed $9 billion in revenues this quarter and saw accelerated growth,‬


                                                                                                       ‭1‬
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‭driven by our gen AI and product leadership.‬

‭And four, our investments and focus to meet the growth opportunities ahead.‬

‭ irst, AI and Search. As you know, we have long led the way in using AI to improve many of our‬
F
‭products, from Search to Ads, to most of our enterprise and consumer products, helping billions‬
 ‭of people already.‬

‭ ast year brought new excitement around gen AI, and I’m proud of how we responded:‬
L
‭responsibly, with deep advances in foundation models and a number of great launches.‬

‭ e closed the year by launching the Gemini era, a new industry-leading series of models that‬
W
‭will fuel the next generation of advances. Gemini is the first realization of the vision we had‬
 ‭when we formed Google DeepMind, bringing together our two world-class research teams. It’s‬
  ‭engineered to understand and combine text, images, audio, video, and code in a natively‬
   ‭multimodal way, and it can run on everything from mobile devices to data centers. Gemini gives‬
    ‭us a great foundation. It’s already demonstrating state-of-the-art capabilities, and it’s only going‬
     ‭to get better.‬

‭ emini Ultra is coming soon. The team is already working on the next versions and bringing it‬
G
‭to our products.‬

‭ hat starts with Search. We’re already experimenting with Gemini in Search, where it's making‬
T
‭our Search Generative Experience, or SGE, faster for users. We’ve seen a 40% reduction in‬
 ‭latency in English in the US. I’m happy with what we’re seeing in the earliest days of SGE. It’s‬
  ‭available through Search Labs in seven languages.‬

‭ y applying generative AI to Search, we’re able to serve a wider range of information needs‬
B
‭and answer new types of questions, including those that benefit from multiple perspectives.‬

‭ eople are finding it particularly useful for more complex questions, like comparisons or longer‬
P
‭queries. It’s also helpful in areas where people are looking for deeper understanding, such as‬
 ‭education or even gift ideas. We’re improving satisfaction, including answers for more‬
  ‭conversational and intricate queries.‬

‭ s I’ve mentioned earlier, we are surfacing more links with SGE and linking to a wider range of‬
A
‭sources on the results page, and will continue to prioritize approaches that add value for our‬
 ‭users and send valuable traffic to publishers. Beyond SGE, we’re continuing to use AI to make‬
  ‭searching more accessible and intuitive.‬

‭ ircle to Search lets you search what you see on Android phones with a simple gesture without‬
C
‭switching apps. It's available starting this week on Pixel 8 and Pixel 8 Pro and the new‬
 ‭Samsung Galaxy S24 series.‬

‭ nd Lens now offers generative AI overviews. You can add text to a visual search to ask‬
A
‭questions about anything you see and get AI-powered insights in the moment.‬




                                                                                                         ‭2‬
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I‭n addition to Search, we are also seeing a lot of interest in our AI-powered solutions for‬
 ‭advertisers. That includes our new conversational experience that uses Gemini to accelerate‬
  ‭the creation of search campaigns.‬

‭ hen there is Bard, our conversational AI tool that complements Search. It's now powered by‬
T
‭Gemini Pro and is much more capable at things like understanding, summarizing, reasoning,‬
 ‭coding, and planning. It’s now in over 40 languages and over 230 countries around the world.‬
  ‭Looking ahead, we’ll be rolling out an even more advanced version for subscribers, powered by‬
   ‭Gemini Ultra.‬

‭ hat’s a good segue to subscriptions. As I said earlier, it is now a $15 billion business annually.‬
T
‭YouTube is the key driver of our subscription revenues.‬

‭ vailable in over 100 countries and regions, YouTube Music and Premium have real‬
A
‭momentum. They are engaging passionate users and driving great returns for the music‬
 ‭industry and creators.‬

‭ ouTube TV is also doing well. We’ve had great consumer feedback on the viewing experience.‬
Y
‭People love the navigation, multiview and unlimited DVR. NFL Sunday Ticket has found its‬
 ‭perfect home on YouTube, and Philipp will talk about that more.‬

‭ et me also talk about our subscription service, Google One. It’s doing incredibly well, with‬
L
‭strong user growth. It provides expanded storage, unlocks exclusive features in Google‬
 ‭products and allows us to build a strong relationship with our most engaged users. Google One‬
  ‭is growing very well, and we’re just about to cross 100 million subscribers.‬

‭ rom here, we are going to bring in more AI features, and look forward to more strong growth to‬
F
‭come.‬

‭Next, Google Cloud.‬

‭ hroughout 2023, we introduced thousands of product advances, including broad gen AI‬
T
‭capabilities across our AI infrastructure, our Vertex AI platform and our new Duet AI agents. In‬
 ‭Q4, our product and gen AI leadership enabled us to win and expand relationships with many‬
  ‭leading brands, including Hugging Face, McDonald’s, Motorola Mobility, and Verizon.‬

‭ oogle Cloud offers our AI Hypercomputer, a groundbreaking, supercomputing architecture that‬
G
‭combines our powerful TPUs and GPUs, AI software and Multislice and Multi-host technology‬
 ‭to provide performance and cost advantages for training and serving models. Customers like‬
  ‭Anthropic, Character.ai, Essential AI, and Mistral AI are building and serving models on it.‬

‭ or developers building gen AI applications, we offer Vertex AI, a comprehensive enterprise AI‬
F
‭platform. It helps customers like Deutsche Telekom and Moody’s discover, customize, augment,‬
 ‭and deploy over 130 gen AI models, including PaLM, Med-PaLM, Sec-PaLM and Gemini, as‬
  ‭well as popular open source and partner models. Vertex AI has seen strong adoption with API‬
   ‭requests increasing nearly 6X from H1 to H2 last year.‬




                                                                                                     ‭3‬
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‭ sing Vertex AI, Samsung recently announced its Galaxy S24 series smartphone with Gemini‬
U
‭and Imagen 2, our advanced text-to-image model. Shutterstock has added Imagen 2 to their AI‬
 ‭image generator, enabling users to turn simple text prompts into unique visuals. And Victoria’s‬
  ‭Secret & Co. will look to personalize and improve the customer experience with Gemini, Vertex‬
   ‭AI Search and Conversations.‬

‭ ustomers are increasingly choosing Duet AI, our packaged AI agents for Google Workspace‬
C
‭and Google Cloud Platform, to boost productivity and improve their operations. Since its launch,‬
 ‭thousands of companies and more than a million trusted testers have used Duet AI. It will‬
  ‭incorporate Gemini soon.‬

I‭n Workspace, Duet AI is helping employees benefit from improved productivity and creativity at‬
 ‭thousands of paying customers around the world, including Singapore Post, Uber and‬
  ‭Woolworths.‬

I‭n Google Cloud Platform, Duet AI assists software developers and cybersecurity analysts.‬
 ‭Duet AI for Developers is the only gen AI offering to support the complete development and‬
  ‭operations lifecycle, fine-tuned with a customer's own code corpus and policies. It is helping‬
   ‭Wayfair, GE Appliances and Commerzbank write better software, faster with AI code‬
    ‭completion, code generation and chat support. With Duet AI in Security Operations, we are‬
     ‭helping cybersecurity teams at Fiserv, Spotify and Pfizer.‬

‭ ur robust growth has been driven by strong direct and indirect channels. With ISVs, we have‬
O
‭nearly tripled the number of co-sell deals from 2022 to 2023. In our ecosystem, there are nearly‬
 ‭90,000 Google Cloud gen AI-enabled consultants, and Accenture has teamed up with Google‬
  ‭Cloud to create a joint generative AI Center of Excellence.‬

‭Next, let me turn to our focus and discipline, as we pursue the opportunities ahead.‬

‭ earch, YouTube and Cloud are supported by our state-of-the-art compute infrastructure. This‬
S
‭infrastructure is also key to realizing our big AI ambitions. It’s a major differentiator for us.‬

‭ e continue to invest responsibly in our data centers and compute to support this new wave of‬
W
‭growth in AI-powered services, for us and for our customers.‬

‭ hrough this, we are being disciplined in how we run the company. You’ve heard me talk about‬
T
‭our efforts to durably re-engineer our cost base, and to improve our velocity and efficiency. That‬
 ‭work continues.‬

‭ eams are working to focus on key priorities, and execute fast, removing layers and simplifying‬
T
‭their organizational structures. As just one example, our Devices team has brought together‬
 ‭different teams from across Nest, Fitbit and other teams into a new functional structure. This will‬
  ‭help us pool resources and drive progress across our Pixel portfolio.‬

‭ cross different teams, we have wound down some non-priority projects, which will help us‬
A
‭invest and operate well in our growth areas.‬




                                                                                                      ‭4‬
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‭ e’re also improving our machine utilization, building on our years of experience in driving cost‬
W
‭efficiencies in our computing infrastructure and operations.‬

‭ nd through our supplier efficiency efforts and automation of certain processes, we’ve made‬
A
‭major improvements in areas like procurement, achieving significant savings.‬

‭That’s a snapshot of the quarter. Before I close, a couple other highlights.‬

‭ ixel 8, our AI-first phone, was awarded Phone of the Year by numerous outlets. It now uses‬
P
‭Gemini Nano, with features like Magic Compose for Google Messages and more to come.‬

I‭n our Other Bets portfolio of companies, Waymo, which is deeply focused on safety, reached‬
 ‭over 1 million fully autonomous, ride-hailing trips.‬

‭ nd Isomorphic Labs entered into strategic partnerships with Eli Lilly and Novartis to apply AI to‬
A
‭treat diseases, which has great potential.‬

‭ 023 was a year of profound innovation and product momentum. Thank you to our many‬
2
‭partners. We succeed when our partners do, and we’re grateful for the work we do together --‬
 ‭from our partners across the Android ecosystem, who were on display at CES; to our deep‬
  ‭relationships with retailers, small businesses and advertising partners; to the next generation of‬
   ‭AI startups and developers, and many more.‬

I‭ also want to thank all of our employees for their hard work throughout 2023 and the start of the‬
 ‭new year. I’m excited for what’s ahead in 2024.‬

‭Philipp.‬

‭Philipp Schindler, SVP and CBO, Google:‬ ‭Thanks, Sundar.‬ ‭And hi, everyone.‬

‭Google Services revenues of $76 billion were up 12% year-on-year.‬

I‭n Google Advertising, Search & Other revenues grew 13% year-on-year, led again by solid‬
 ‭growth in the Retail vertical. We had particular strength in retail in APAC, a trend that began in‬
  ‭the second quarter of 2023 and continued through the end of the year.‬

‭ ouTube Ads revenues were up 16% year-on-year, driven by growth in both direct response‬
Y
‭and brand. And Network revenues declined 2% year-on-year.‬

I‭n Subscriptions, Platforms and Devices, which was previously named Google Other,‬
 ‭year-on-year revenues increased 23%, driven by strong growth in subscriptions.‬

‭ ow, for some color on the quarter and where we see continued upside for long-term‬
N
‭advertising growth.‬

‭ ver the last few calls, I’ve consistently highlighted how we’re putting Google AI to work for our‬
O
‭customers to deliver profitability and help them achieve their goals in a “do more with less”‬


                                                                                                        ‭5‬
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‭environment.‬

‭ rom a product perspective, in Q4, Performance Max remained a bright spot. We’re also‬
F
‭excited about Demand Gen momentum. This is our big bet to help social advertisers find and‬
 ‭convert consumers via immersive, relevant, visual creatives across YouTube, including‬
  ‭YouTube Shorts, Gmail and Discover. In a single campaign, you get access to over 3 billion‬
   ‭users as they stream, scroll, connect, and decide what to buy. Tens of thousands of advertisers‬
    ‭are testing and, on average, seeing 6% more conversions per dollar versus image-only ads in‬
     ‭Discovery campaigns.‬

‭ s we look ahead, we’re also starting to put generative AI in the hands of more and more‬
A
‭businesses to help them build better campaigns and even better-performing ads.‬

‭ utomatically created assets help advertisers show more relevant Search ads by creating‬
A
‭tailored headlines and descriptions based on each ad’s context. Adoption was up with strong‬
 ‭feedback in Q4. In addition to now being available in eight languages, more advanced, gen‬
  ‭AI-powered capabilities are coming to ACA.‬

‭ nd then last week’s big news was that Gemini will power our new conversational experience in‬
A
‭Google Ads. This is open in beta to US and UK advertisers. Early tests show advertisers are‬
 ‭building higher-quality Search campaigns with less effort, especially SMBs who are 42% more‬
  ‭likely to publish a campaign with “good” or “excellent” Ad strength. We can’t wait to see how this‬
   ‭continues to drive performance and level the playing field for advertisers of all sizes.‬

‭ s we shared last quarter, Ads will continue to play an important role in the new Search‬
A
‭experience, and we’ll continue to experiment with new formats native to SGE.‬

‭ GE is creating new opportunities for us to improve commercial journeys for people by showing‬
S
‭relevant ads alongside search results. We’ve also found that people are finding ads either‬
 ‭above or below the AI-powered overview helpful, as they provide useful options for people to‬
  ‭take action and connect with businesses.‬

‭ ooking at our strong Search performance for the fourth quarter, retail was a highlight. We‬
L
‭continued to see a stronger start to the season, up to and including Cyber Five. In Q3, we‬
 ‭indicated that we were seeing early trends of consumers being very price conscious, and we‬
  ‭saw this play out in Q4. With promotional demand at an all-time high, deal-seekers using‬
   ‭Google had access to 2X the deals in the US versus last season, as well as a better shopping‬
    ‭experience. Launches included a one-stop-shop deals destination, new filters like “Get It Fast”‬
     ‭and AI-generated gifting recommendations in SGE. These new features drove incremental‬
      ‭query growth during key shopping moments like Cyber Five.‬

‭ ur proven AI-powered ads solutions were also a win for retailers looking to accelerate omni‬
O
‭growth and capture holiday demand. Quick examples include a large US big-box retailer who‬
 ‭drove a 60%+ increase in omni-ROAS and a 22%+ increase in store traffic using Performance‬
  ‭Max during Cyber Five.‬

‭A well-known global fashion brand, who drove a 15%+ higher omnichannel conversion rate‬


                                                                                                        ‭6‬
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‭ ersus regular shopping traffic by showcasing its store pickup offering across top markets‬
v
‭through "pickup later” on Shopping ads.‬

‭ oving on to YouTube, we’re obviously pleased with YouTube’s advertising revenue growth in‬
M
‭Q4, and also significant growth in our subscription revenues.‬

I‭’ll reiterate what I’ve said before. YouTube’s success starts with creator success. We give‬
 ‭millions of creators more ways to create content and connect with fans; and more ways to make‬
  ‭money and build their own businesses than any other platform.‬

‭ ore creators means more content, which leads to more viewers. And via ads and‬
M
‭subscriptions, these viewers fund our creators and drive the eyeballs and engagement our‬
 ‭advertisers want. To keep this momentum going, we’re focused on delivering value across four‬
  ‭pillars: creation, viewers, monetization, and responsibility.‬

‭ irst, creation, which increasingly takes place on mobile devices. We’ve invested in a full suite‬
F
‭of tools, including our new YouTube Create app for Shorts, to help people make everything from‬
 ‭15-second Shorts to 15-minute videos to 15-hour livestreams with a production studio in the‬
  ‭palm of their hands.‬

‭ en AI is supercharging these capabilities. Anyone with a phone can swap in a new backdrop,‬
G
‭remove background extras, translate their video into dozens of languages, all without a big‬
 ‭studio budget. We’re excited about our first products in this area, from Dream Screen for‬
  ‭AI-generated backgrounds to Aloud for AI-powered dubbing. There’s more to come.‬

‭ umber two, viewers. We continue to grow watch time across YouTube, with strong growth in‬
N
‭Shorts and Connected TV. Shorts remains a top priority. We have 2 billion+ logged-in users‬
 ‭every month, and we’re averaging 70 billion in daily views.‬

‭ onnected TVs, or what we refer to as “the living room,” is where viewership is growing the‬
C
‭fastest. We're investing to make this experience even better with interactive features tailored to‬
 ‭TVs, plus the content people love: our creators, NFL Sunday Ticket, and a range of live sports‬
  ‭and studio content via YouTube TV and Primetime Channels. Put this all together and YouTube‬
   ‭is the must-have app on every Connected TV.‬

‭ onetization is pillar number three and realized through a combination of ads-supported and‬
M
‭subscription offerings. Advertising generates the bulk of our revenue, and we continue to invest‬
 ‭heavily here.‬

‭ e’ve rolled out CTV-first formats, like 30-second non-skippable ads and Pause experiences;‬
W
‭as well as an industry-first, send-to-phone experience that lets people use a second screen to‬
 ‭engage with ads.‬

‭ or Shorts, we’ve developed new formats that are less interruptive to viewers. It’s early, we’re‬
F
‭learning, but excited by the opportunities for ads this can unlock. Shorts monetization continues‬
 ‭to progress nicely.‬




                                                                                                   ‭7‬
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‭ ur AI-powered video formats, from Video Reach and Video View Campaigns to Demand Gen‬
O
‭and Video Action, continue to make advertiser dollars go further and drive results across the‬
 ‭funnel.‬

‭ e’re also introducing new and existing advertisers to YouTube via sports content. 90+ upfront‬
W
‭and scatter advertisers, including Unilever, are partnering with YouTube in our first year across‬
 ‭NFL Sunday Ticket in-game advertising opportunities.‬

‭ ur subscription offerings are also growing at a healthy clip. YouTube Music and Premium‬
O
‭performed well. Premium users are delivering more value to our partners and YouTube than‬
 ‭even ad-supported users do. On average, each additional Premium sign-up boosts earnings for‬
  ‭creators, music and media partners, and YouTube itself. And we've made Premium even more‬
   ‭attractive with new features, bundles and other enhancements.‬

‭ e’re also pleased with our first season of NFL Sunday Ticket. It gave creators new‬
W
‭opportunities to create content and feed user engagement across traditional user content and‬
 ‭professional sports content. Feedback on the user experience, including multiview, has been‬
  ‭great. We’re excited to continue to innovate here.‬

‭ esponsibility is our fourth pillar, and it underlies everything we do across YouTube. We’ll‬
R
‭continue to focus relentlessly on this.‬

‭ s always, deepening our relationships with key partners to bring them the best of Google is a‬
A
‭key priority for us. And we continued to do this across industries in Q4. We just talked about the‬
 ‭NFL. Sundar mentioned Samsung, among others, earlier.‬

‭ nother highlight was our expanded partnership with Porsche to enhance customers’ digital‬
A
‭experiences with a deeper in-vehicle integration of Google built-in services, including Google‬
 ‭Maps and Play.‬

‭ hether it’s continued collaboration with our partners and key ecosystems, or putting Google AI‬
W
‭to work for more customers, I’m excited about the opportunities for continued impact in 2024.‬

I‭’ll wrap with a huge note of gratitude to our customers and partners. Our success is only‬
 ‭possible because of their success. And then to our Googlers for their outstanding work and‬
  ‭focus this year.‬

‭Ruth, over to you.‬

‭ uth Porat, President and Chief Investment Officer; CFO, Alphabet and Google:‬ ‭Thank‬
R
‭you, Philipp.‬

‭ e are very pleased with our full year results, with 2023 Alphabet revenues of $307 billion, up‬
W
‭9% versus 2022, which added $25 billion to revenues for the year. We ended with a strong‬
 ‭fourth quarter with consolidated revenues of $86.3 billion, up 13% versus last year in both‬
  ‭reported and constant currency.‬




                                                                                                    ‭8‬
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‭Search remained the largest contributor to revenue growth.‬

‭ y comments will be on year-over-year comparisons for the fourth quarter, unless I state‬
M
‭otherwise.‬

‭Total Cost of Revenues was $37.6 billion, up 6%.‬

‭ ther Cost of Revenues was $23.6 billion, up 5%, with the increase driven primarily by content‬
O
‭acquisition costs associated with YouTube subscription offerings.‬

‭ he growth rate also reflects the offsetting benefit of lapping $1.2 billion in inventory-related‬
T
‭charges that we called out in the fourth quarter last year, as well as a reduction in depreciation‬
 ‭expense due to changes in estimated useful lives we made starting in the first quarter of 2023.‬

I‭n terms of total expenses, the year-on-year comparisons reflect an additional $1.2 billion in exit‬
 ‭charges that we took in the fourth quarter of 2023 in connection with actions to optimize our‬
  ‭global office space. As you can see in our earnings release, these charges were allocated‬
   ‭across the expense lines in Other Cost of Revenues and OpEx based on associated‬
    ‭headcount.‬

‭ perating expenses were $25 billion, up 11%, primarily reflecting an increase in R&D expenses‬
O
‭which were driven by the real estate charges, followed by compensation.‬

‭Operating income was $23.7 billion, up 30%, and our operating margin was 27%.‬

‭Net income was $20.7 billion, and EPS was $1.64.‬

‭ e delivered Free Cash Flow of $7.9 billion, which was affected by the timing of the $10.5‬
W
‭billion tax payment we made on October 16 that we called out previously, related to the deferral‬
 ‭of certain tax payments to the fourth quarter.‬

‭For the full year 2023, Free Cash Flow was $69 billion.‬

‭ e repurchased a total of $62 billion of our Class A and Class C shares in 2023 and ended the‬
W
‭year with $111 billion in cash and marketable securities.‬

‭Turning to segment results, within Google Services, Revenues were $76.3 billion, up 12%.‬

‭ oogle Search and Other advertising revenues of $48 billion in the quarter were up 13%, led‬
G
‭again by growth in retail.‬

‭ ouTube advertising revenues of $9.2 billion, were up 16% driven by both direct response and‬
Y
‭brand advertising.‬

‭Network advertising revenues of $8.3 billion were down 2%.‬

‭Subscriptions, Platforms and Devices revenues, which we previously referred to as Other‬


                                                                                                       ‭9‬
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‭ evenues, were $10.8 billion up 23%, primarily reflecting growth in YouTube subscription‬
R
‭revenues.‬

‭TAC was $14 billion, up 8%.‬

‭ oogle Services Operating Income was $26.7 billion, up 32%, and the operating margin was‬
G
‭35%.‬

‭Turning to the Google Cloud segment, revenues were $9.2 billion for the quarter, up 26%.‬

‭We’re very pleased with the momentum of GCP, with an increasing contribution from AI.‬

‭ oogle Workspace also delivered strong revenue growth, primarily driven by increases in‬
G
‭average revenue per seat.‬

‭Google Cloud delivered Operating Income of $864 million, and an operating margin of 9%.‬

‭ s to our Other Bets, for the full year 2023, revenues were $1.5 billion and the operating loss‬
A
‭was $4.1 billion. Results in the fourth quarter benefitted from a milestone payment in one of the‬
 ‭Other Bets.‬

‭ urning to our outlook for the business, with respect to Google Services, first, within‬
T
‭Advertising, we were pleased with the sequential revenue growth of Search and YouTube‬
 ‭advertising throughout 2023, which reflects the extraordinary work across our teams to drive‬
  ‭improved experiences for users and attractive ROI for advertisers.‬

‭ s we enter 2024 with advertising revenues of more than $100 billion higher than 2019, we‬
A
‭remain focused on sustaining healthy growth on this larger base.‬

‭ econd, within Subscriptions, Platforms and Devices, our total revenues from Subscription‬
S
‭products reached $15 billion for the full year 2023, driven primarily by substantial growth in‬
 ‭subscribers for our YouTube subscription offerings.‬

‭ he substantial increase in our subscription revenues over the past few years demonstrates the‬
T
‭ability of our teams to deliver high value-add offerings and provides a strong base on which to‬
 ‭build, including through YouTube and newer services like Google One.‬

‭ lay had solid growth again in the fourth quarter, driven primarily by an increase in the number‬
P
‭of buyers.‬

I‭n Devices, we continue to make sizable investments, with increased emphasis on our Pixel‬
 ‭family, particularly with AI-powered innovation, while driving further efficiencies across the‬
  ‭portfolio.‬

‭ urning to Google Cloud, we are pleased with operating performance in the year. Full year‬
T
‭revenues of $33 billion were up 26% versus prior year, ending with strong Q4 performance.‬




                                                                                                    ‭10‬
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‭ he Cloud team is intensely focused on bringing the benefits of Gemini -- our industry-leading‬
T
‭AI technology -- to enterprises and governments globally, and we are gratified with the level of‬
 ‭engagement.‬

‭ he strong demand we are seeing for our vertically integrated AI portfolio is creating new‬
T
‭opportunities for Google Cloud across every product area.‬

I‭n terms of profitability, the improvement in 2023 reflects sustained focus across the team with‬
 ‭the intent to maintain healthy profitability while we continue to invest to support long-term‬
  ‭growth.‬

‭ urning to margins and expenses, as we have repeatedly stressed, we remain committed to our‬
T
‭framework to durably re-engineer our cost base as we invest to support our growth priorities.‬

‭ ey contributors to moderating our expense growth include, first, product and process‬
K
‭prioritization to ensure we have the right resources behind our most important opportunities and‬
 ‭to reallocate resources where we can.‬

‭ econd, organizational efficiency and structure. We’re focused on removing layers to simplify‬
S
‭execution and drive velocity.‬

‭ oth product prioritization and the organization design efforts result in a slower pace of hiring as‬
B
‭you can see with our headcount down year-on-year, reflecting the reductions we announced in‬
 ‭the first quarter of 2023 and a much slower pace of hiring. We will continue to invest in top‬
  ‭technical and engineering talent.‬

‭ inally, we continue to execute the other workstreams to slow expense growth, including‬
F
‭improving efficiency in our technical infrastructure; streamlining operations across Alphabet‬
 ‭through the use of AI; increasing efficiency of our spend with suppliers and vendors through our‬
  ‭central procurement organization and optimizing our real estate portfolio.‬

‭ ith respect to CapEx, our reported CapEx in the fourth quarter was $11 billion, driven‬
W
‭overwhelmingly by investment in our technical infrastructure, with the largest component for‬
 ‭servers, followed by data centers.‬

‭ he step up in CapEx in Q4 reflects our outlook for the extraordinary applications of AI to‬
T
‭deliver for users, advertisers, developers, Cloud enterprise customers, and governments‬
 ‭globally and the long-term growth opportunities that offers.‬

‭In 2024, we expect investment in CapEx will be notably larger than in 2023.‬

‭ ith regard to Other Bets, we’ve been working to sharpen our investment focus while capturing‬
W
‭the upside given compelling technology breakthroughs across the portfolio.‬

‭ or example, last week, Alphabet’s X announced that it would be moving to spin out more‬
F
‭projects as independent companies through external capital, giving X the opportunity to bring‬
 ‭more focus to the breakthrough technologies it is working on to address some of the world’s‬


                                                                                                   ‭11‬
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‭most pressing challenges.‬

‭Thank you. Sundar, Philipp and I will now take your questions.‬

‭ perator:‬ ‭Thank you. As a reminder, to ask a question‬‭you will need to press *1 on your‬
O
‭telephone. To prevent any background noise, we ask that you please mute your line once your‬
 ‭question has been stated. And our first question comes from Brian Nowak with Morgan Stanley.‬
  ‭Your line is now open.‬

‭Brian Nowak (Morgan Stanley):‬ ‭Great, thanks for taking‬‭my questions. I have two for Philipp.‬

‭ hilipp, the first one is about sort of a lot of the new generative AI advertising tools. You‬
P
‭obviously have a lot of irons in the fire here. You have been talking about some of the early‬
 ‭momentum with tens of thousands of advertisers.‬

‭ he question is: Can you sort of walk us through some of the hurdles and gating factors that‬
T
‭we should be thinking through that dictate the pace at which these tools can really be rolled out‬
 ‭broadly, just so we and advertisers can get an understanding for when they could have a bigger‬
  ‭impact on the whole business?‬

‭ nd then secondly, how do you think about the long-term sales force intensity of the advertising‬
A
‭business as you roll more AI-based tools like PMax impacting the overall ad allocation? Thanks.‬

‭Philipp Schindler, SVP and CBO, Google:‬‭Thank you‬‭so much.‬

‭ o I have covered this a little bit on previous quarters. AI has been at the core of our advertising‬
S
‭products for a very, very long time. And the recent advances are really allowing us to drive more‬
 ‭value for advertisers across a large range of different areas: Bidding, targeting, creative, as‬
  ‭well as our core advertiser and publisher experiences.‬

‭ e are seeing in core Search ads, for example, the bidding side, the value-based bidding, as a‬
W
‭very significant one on the targeting side, the broad match on creatives, responsive search ads,‬
 ‭automatically created ads assets. And we are very happy with the progress we're seeing in‬
  ‭those areas.‬

I‭ think I mentioned in one of the previous calls that, one, you asked about hurdles and gating‬
 ‭factors, the AI Essentials play a huge role in this, trying to get everybody ready to really take full‬
  ‭advantage of those tools. We talked about the progress on PMax as well that we were very‬
   ‭happy with in Q4. So overall, I think we are on track with what we're expecting here.‬

‭ n the sales force intensity side, we have done a few reallocations, or let me call it portfolio‬
O
‭adjustments. As you know, we have two large different teams. One is our LCS, Large Customer‬
 ‭Solutions team, that's really focused on transformational growth for our largest and most‬
  ‭sophisticated customers. And we have our -- we call them GCS, Global Customer Solutions‬
   ‭team, which is the channel where really every customer starts, from some of our largest‬
    ‭customers now to also the millions of smaller ones and SMBs.‬




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‭ he GCS is really then scaling growth by dynamically delivering really the right treatment for‬
T
‭every customer. And important to note, it's also our fastest-growing channel and it delivered‬
 ‭particularly strong growth in Q4. So we have done adjustments here to focus more resources‬
  ‭on the GCS side.‬

‭ ut I also want to be clear, when we restructure, there's always an opportunity to be more‬
B
‭efficient and smarter in how we service and grow our customers. We're not restructuring‬
 ‭because AI is taking away roles, that's important here. But we see significant opportunities here‬
  ‭with our AI-powered solution to actually deliver incredible ROI at scale. And that's why we're‬
   ‭doing some of those adjustments.‬

‭ o I look at sales force intensity as a stronger focus going forward on the channels I mentioned‬
S
‭here.‬

‭Brian Nowak (Morgan Stanley):‬ ‭Great. Thanks, Philipp.‬

‭Operator:‬ ‭Our next question comes from Doug Anmuth‬‭with JPMorgan. Your line is now open.‬

‭Doug Anmuth (JPMorgan):‬ ‭Thanks for taking the questions.‬‭One for Ruth and one for Philipp.‬

‭ uth, you're now into year two of durably re-engineering the cost structure. Can you just help‬
R
‭us assess your progress so far, and are there any guideposts that we should be thinking about‬
 ‭going forward?‬

‭ nd then, Philipp, can you talk more about NFL Sunday Ticket and just what your key learnings‬
A
‭were in year one? How are you thinking about the returns on the investment on both from an‬
 ‭advertising perspective and then also subscribers to both Sunday Ticket and YouTube TV?‬
  ‭Thanks.‬

‭ uth Porat, President and Chief Investment Officer; CFO, Alphabet and Google:‬ ‭Thanks‬
R
‭for the question. So we are very pleased with the progress we're continuing to make. And we‬
 ‭are very committed to the framework to durably re-engineer our cost base really as we are‬
  ‭investing to support the growth priorities.‬

I‭ tried to call out a number of them in opening comments. But really, as you're looking at the‬
 ‭work being done across Google, across Alphabet, it does start with product and process‬
  ‭prioritization to make sure we've got the right resources behind the most important‬
   ‭opportunities, and then that creates the opportunity for reallocating resources where we can.‬

‭ hen we talked a lot this quarter about organizational efficiency and structure, and we're‬
T
‭focused on removing layers to simplify execution and drive velocity.‬

‭ he combination of those two, product prioritization and organizational design work, has‬
T
‭resulted in the slower pace of hiring. You can see that in our headcount numbers down‬
 ‭year-on-year. You can see it in some of the results that we delivered in the fourth quarter. And it‬
  ‭also goes to the announcements around first quarter and much slower pace of hiring.‬




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‭ t this point in the quarter, we do estimate that severance-related expense will be roughly‬
A
‭$700 million in the first quarter as we've continued these efforts. But as I said in opening‬
 ‭comments, we will continue to invest in top engineering.‬

‭ o that's sort of the big one if you start with product prioritization and organizational design,‬
S
‭which is why I also made the note about the severance-related expense, which helps pave the‬
 ‭way as we're continuing to do the work that we're doing.‬

‭ ut then we have a host of other workstreams which I talked about, everything with improving‬
B
‭efficiency in our technical infrastructure which is a very large, ongoing effort, streamlining‬
 ‭operations across Alphabet through use of AI. All the work we're doing with our suppliers and‬
  ‭vendors, the work we're doing optimizing our real estate portfolio. So when we've described‬
   ‭durably re-engineering, it's about continuing to build on work that started and that is ongoing.‬

‭ hilipp Schindler, SVP and CBO, Google:‬ ‭So on the‬‭NFL Sunday Ticket side, look, as I said‬
P
‭earlier, NFL Sunday Ticket supports our long-term strategy and really helps solidify YouTube's‬
 ‭position as a must-have app on everyone's TV set.‬

‭ ou asked about some of the learnings. Maybe I start with the viewing experience. We received‬
Y
‭great feedback so far. People like the navigation, multiview, the chat, the lack of latency. Really,‬
 ‭really positive feedback on this one.‬

‭ ou asked about the ads and the subs. Maybe I start with the subscribers. We're pleased with‬
Y
‭the NFL Sunday Ticket signups in our first season, both as part of the YouTube TV bundle and‬
 ‭as a stand-alone offering on YouTube Primetime Channels. Remember, you can access them‬
  ‭via both. Nothing more to share on the subs side today on this one.‬

‭ n the ads side, as you know, advertisers can buy from an NFL lineup as part of our YouTube‬
O
‭Select portfolio. And this actually allows advertisers to reach football fans across YouTube's‬
 ‭pretty unique breadth of NFL content, independently of whether you are viewing live NFL‬
  ‭games or on YouTube TV or Primetime Channels or watching NFL highlights or postgame‬
   ‭commentary on YouTube channels.‬

‭ nd we saw solid demand across the ad market around our YouTube Sunday Ticket offering‬
A
‭here. We're excited about the partnership ahead -- or the partnerships ahead. This is our first‬
 ‭season. And I mentioned over 90 upfront and scatter advertisers partnered with YouTube in our‬
  ‭first year across NFL Sunday Ticket in-game opportunities, which we really appreciate.‬

‭Doug Anmuth (JPMorgan):‬ ‭Thank you, both.‬

‭ perator:‬ ‭Our next question comes from Eric Sheridan‬‭with Goldman Sachs. Your line is now‬
O
‭open.‬

‭Eric Sheridan (Goldman Sachs):‬ ‭Thank you for taking‬‭the questions. Two if I could.‬

‭ undar, a bigger-picture question coming back to your comments early in the call on Search‬
S
‭Generative Experience. When you think about the evolution of product over the next couple of‬


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‭ ears, how do you envision more traditional Search and things like the Google Assistant‬
y
‭continuing to evolve in a world of Search Generative Experience and Bard and what that might‬
 ‭mean for elements of commercial and non-commercial Search and how use cases might‬
  ‭change in the years ahead?‬

‭ nd then, Ruth, I just want to make sure we understood some of the messaging from the‬
A
‭release and the public comments around one-timers in the quarter itself. It seems as if they‬
 ‭were not allocated to the segments but are more elements of Other Bets and Alphabet-level‬
  ‭activities. I just wanted to confirm where elements of those one-timers were captured in the P&L‬
   ‭statement, and whether there were also any elements of legal one-timers that would be called‬
    ‭out this quarter as well. Thank you.‬

‭Sundar Pichai, CEO Alphabet and Google:‬ ‭Thanks, Eric.‬‭Great question.‬

‭ ook, it is an exciting time. Clearly, as I said, as we are incorporating SGE in the product, early‬
L
‭feedback is positive. And we've been iterating on it, and it clearly works for a certain type of‬
 ‭queries very well. We are expanding the set of queries where it works very well.‬

I‭t definitely is answering a certain category of queries for the first time in a better way. So that‬
 ‭gives us direction to proceed as well.‬

‭ verall, one of the things I think people underestimate about Search is the breadth of Search,‬
O
‭the amount of queries we see constantly on a new day which we haven't seen before. And so‬
 ‭the trick here is to deliver that high-quality experience across the breadth of what we see in‬
  ‭Search.‬

‭ nd over time, we think Assistant will be very complementary. And we will again use generative‬
A
‭AI there, particularly with our most advanced models in Bard. And allows us to act more like an‬
 ‭agent over time, if I were to think about the future, and maybe, you know, go beyond answers‬
  ‭and follow through for users even more.‬

‭ o that is directionally what the opportunity set is, obviously a lot of execution ahead. But it's an‬
S
‭area where I think we have a deep sense of what to do. And all the work we have taken so far,‬
 ‭the feedback has been super positive.‬

‭ uth Porat, President and Chief Investment Officer; CFO, Alphabet and Google:‬ ‭And then‬
R
‭in terms of your other question. So on the real estate charge, the $1.2 billion in exit charges‬
 ‭related to real estate, that is in Alphabet-level activities.‬

‭ ut the other comment I was making in opening comments is when you go through the various‬
B
‭line items, R&D, et cetera, you see it spread there. And we have a table, and IR can walk‬
 ‭anybody through the technicals on that just to understand how it then gets arrayed across the‬
  ‭various lines in the P&L.‬

‭ perator:‬ ‭Our next question comes from Michael Nathanson‬‭with MoffettNathanson. Your line‬
O
‭is now open.‬




                                                                                                         ‭15‬
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‭ ichael Nathanson (Moffett):‬ ‭Thanks. I have two for Philipp, I think. Given the importance of‬
M
‭Connected TV engagement at YouTube, can you talk about the opportunity outside the US for‬
 ‭Connected TV and what the company is doing at-large to drive more adoption of YouTube or‬
  ‭Connected TVs, even the Google operating systems? Anything you can talk about outside the‬
   ‭US?‬

‭ nd then you have been consistent about the strength of Shorts over the past year. Can you‬
A
‭talk a bit about the monetization challenges? Do you still see the headwinds that you saw at the‬
 ‭beginning? Anything you can share about the density of the auction or advertising interest on‬
  ‭Shorts? So help us with whether or not that's still a headwind to growth. Thanks so much.‬

‭Philipp Schindler, SVP and CBO, Google:‬ ‭Thank you‬‭so much for your question.‬

‭ n the Connected TV side, I mentioned actually it continues to perform really well. I said‬
O
‭before, YouTube is the leader in US streaming watch time, and it's not just one audience group‬
 ‭diving deep. It's really all audiences. On the international side, it's something we are closely‬
  ‭looking at. There's nothing specific I have to add at this moment in time on this one.‬

‭ n the Shorts monetization side, look, we built Shorts to respond to the huge demand from‬
O
‭both creators and viewers for short-form video, and we are very pleased with the growth we've‬
 ‭seen. I mentioned 2 billion+ logged-in users every month, 70 billion in daily views.‬

‭ pecifically to the monetization question, Shorts monetization continues to progress nicely. In‬
S
‭fact, actually since we introduced revenue sharing for Shorts, the total creator earnings‬
 ‭generated from Shorts have increased every month, and we expect this to continue. And similar‬
  ‭obviously to our long-form videos, we are really committed here to long-term partnership. You‬
   ‭heard me say this before: when creators succeed, we succeed.‬

‭Michael Nathanson (Moffett):‬ ‭Thanks, Philipp.‬

‭Operator:‬ ‭Our next question comes from Stephen Ju‬‭with UBS. Your line is now open.‬

‭ tephen Ju (UBS):‬ ‭Thank you so much. Philipp, this‬‭is not a new question. It's also been‬
S
‭about two years since PMax was launched, but it seems like there has been this long lineage of‬
 ‭product development and rollout of things like Smart Bidding in your history, which I believe at‬
  ‭the time was designed to help smaller advertisers more easily run Search advertising.‬

‭ nd today, you are helping generate creatives as well as manage my spend and maximize ROI‬
A
‭across multiple Google surfaces. So how are you feeling about enabling SMBs who otherwise‬
 ‭could not advertise with you before? And what kind of TAM expansion tailwind does that create‬
  ‭for your revenue growth over the longer term? Thanks.‬

‭ hilipp Schindler, SVP and CBO, Google:‬ ‭Look, as‬‭you know, SMBs are a huge focus for us.‬
P
‭We mentioned this several times before. They're part of our GCS channel. Not only -- there's‬
 ‭more on this, but they've been under a ton of change over the last few years. And our focus has‬
  ‭always been here on investing in solutions that really help level the playing field, and you‬
   ‭mentioned several of those.‬


                                                                                                 ‭16‬
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‭ o actually SMBs can compete with bigger brands and more sophisticated advertisers. The‬
S
‭feedback we are always getting is they need easy solutions that could drive value quickly and‬
 ‭several of the AI-powered solutions that you are mentioning are actually making the workflow‬
  ‭and the whole on-ramp and bidded targeted creative and so on you mentioned so much easier‬
   ‭for SMBs.‬

‭ o we're very satisfied with what we are seeing here. We will continue to invest. And I feel AI is‬
S
‭really a helpful, very interesting future path to make life not only easier but also much more‬
 ‭productive and better ROIs over time, more level playing field for SMBs.‬

‭Stephen Ju (UBS):‬ ‭Thank you.‬

‭Operator:‬‭Our next question comes from Justin Post‬‭with BAML. Your line is now open.‬

‭Justin Post (BAML):‬ ‭Great. Maybe one for Sundar and‬‭one for Ruth.‬

‭ ust on Search growth, I think there are some concerns on use of competitive AI tools as an‬
J
‭alternative to Search. Just wondering if you have seen any changes in query volumes, positive‬
 ‭or negative, since you've seen the year evolve in more Search Generative Experiences? And‬
  ‭what can really make Google stand out versus other AI tools?‬

‭ nd then, Ruth, CapEx was $11 billion, a step up, obviously. Any one-time items in there or is‬
A
‭that how we should think about the new run rate into '24? Thank you.‬

‭ undar Pichai, CEO Alphabet and Google:‬ ‭Thanks, Justin.‬‭First of all, look, we think about‬
S
‭effects on Search obviously more broadly. People have a lot of information choices, and user‬
 ‭expectations are constantly evolving. And so we've been doing this for a long time, and I think‬
  ‭what ends up mattering is a strong continuous track record of innovation.‬

‭ bviously generative AI is a new tool in the arsenal, but there's a lot more that goes into Search‬
O
‭-- the breadth, the depth, the diversity across verticals, the ability to follow through, getting‬
 ‭actually access to rich, diverse sources of content on the Web and putting it all together in a‬
  ‭compelling way.‬

‭ nd I think through the year, too, when we test, we test Search Generative Experience‬
A
‭particularly against everything that's out there. And we can see the progress we are making and‬
 ‭how much users are liking the experience better.‬

‭ nd so I think -- feel very good about the progress. And our roadmap for '24 is strong, both on‬
A
‭the Search and underlying AI progress, including the models. So I'm pretty excited about what's‬
 ‭ahead of us in '24.‬

‭ uth Porat, President and Chief Investment Officer; CFO, Alphabet and Google:‬ ‭And with‬
R
‭respect to CapEx, the CapEx of $11 billion in the fourth quarter, as I indicated, was‬
 ‭overwhelmingly investment in our technical infrastructure. To your question, there was no‬
  ‭one-time item in there. And it really reflects -- is our outlook for everything Sundar and Philipp‬


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‭ nd I have been talking about, the extraordinary applications of AI within Google DeepMind,‬
a
‭Google Services, Google Cloud. It's across the board for users, for advertisers, developers,‬
 ‭Cloud Enterprise customers, governments. And it's really the long-term opportunity that offers.‬

‭ o last quarter, we did note that CapEx would continue to grow in 2024. We do expect 2024‬
S
‭full-year CapEx to be notably larger than 2023. As a note, I think you all know this, but timing of‬
 ‭cash payments can affect the quarterly CapEx number. But the main point is we are continuing‬
  ‭to invest.‬

‭Operator:‬ ‭Our next question comes from Ross Sandler‬‭with Barclays. Your line is now open.‬

‭ oss Sandler (Barclays):‬ ‭Great, thanks. So I guess‬‭question for -- I don't know if it's Sundar‬
R
‭or Philipp. But if we go back to the DOJ trial that happened in the fall, there was a document‬
 ‭that was disclosed from Google that said something along the lines of why leaning on Ad‬
  ‭Quality team to deliver 20% RPM growth in Search is a fragile strategy. Dating back to 2019,‬
   ‭your business has, I think, more than doubled since then.‬

I‭ guess as we sit here today in early 2024, how do you feel about Google's ability to drive‬
 ‭Search RPM going forward? And I guess in the context of what Ruth said tonight about the‬
  ‭large revenue base, just how do you feel about the monetization? Thank you.‬

‭ undar Pichai, CEO Alphabet and Google:‬ ‭Look, I think --‬‭I have tremendous confidence in‬
S
‭the quality-driven -- both our work, be it Search quality, ads quality, our improvements on‬
 ‭Search, our improvements on the ads RPM, all - two foundational pillars, are -- extraordinary‬
  ‭focus on ads quality so that we deliver the actual ROI to advertisers and improve the‬
   ‭experience for users, and all underpinned by rigor and technical excellence and go-to-market‬
    ‭excellence, right? So the fundamental attributes don't change.‬

I‭ think AI gives us opportunity both on the organic side as well as on the monetization side, and‬
 ‭I think we are in the early days of it. I think we will be able to, taking a long-term view, serve‬
  ‭information needs in a deeper way. And so I think about it with that long-term context, and I'm‬
   ‭pretty excited about what's ahead.‬

‭ perator:‬ ‭And our last question will be from Mark‬‭Mahaney with Evercore. Your line is now‬
O
‭open.‬

‭Mark Mahaney (Evercore):‬ ‭Okay, thanks. One question‬‭on YouTube AI and one on Cloud.‬

‭ n Cloud first, there's just this volatility, this material deceleration last quarter, and then nice‬
O
‭re-acceleration this quarter. Is that explained by where we are in the optimization cycle and then‬
 ‭maybe generative AI workloads starting to trickle in now and cause that growth curve to bend‬
  ‭back up? Any commentary just on the sort of the volatility, the deceleration and the‬
   ‭re-acceleration that we have seen?‬

‭ nd then, Philipp, I wanted to ask on the creative side, and particularly on YouTube and ads‬
A
‭and using AI to improve the creative and really to offer SMBs who have been with Google‬
 ‭forever, but offer them now performance-based video ad campaigns created by AI, is that kind‬


                                                                                                   ‭18‬
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‭ f a new growth area? How far along are you in terms of offering this out into the market? And‬
o
‭do you think that this opens up a new area of spend that wasn't there before? Thank you.‬

‭ undar Pichai, CEO Alphabet and Google:‬ ‭Thanks, Mark.‬‭On Cloud, let me take that. First‬
S
‭of all, a combination of factors, I think. I think definitely excitement around the AI solutions on‬
 ‭top of our foundational pillar, be it data analytics, infrastructure, security, et cetera. But AI is‬
  ‭definitely something which is driving interest and early adoption. And as you saw, that greater‬
   ‭than 70% of gen AI unicorns are using Google Cloud.‬

‭ nd so I think it's an area where our strengths will continue to play out as we go through '24,‬
A
‭especially when I look at the innovation ahead from us on the AI front.‬

‭ nd, second, I think there are regional variations, but the cost optimizations in many parts are‬
A
‭something we have mostly worked through, and I think they are also a contributing factor as‬
 ‭well.‬

‭ hilipp Schindler, SVP and CBO, Google:‬ ‭So on your‬‭YouTube question, maybe let me start‬
P
‭with a general view. YouTube's mission you know has enabled millions of creators around the‬
 ‭world to share their voice and connect with audiences and obviously build thriving businesses‬
  ‭here. And AI has been a very critical piece of this already.‬

‭ ou obviously are aware of the Made on YouTube announcement where we introduced a whole‬
Y
‭lot of new complementary creativity features on YouTube, including Dream Screen, for‬
 ‭example, and a lot of other really interesting tools and thoughts.‬

‭ ou can obviously imagine that we can take this more actively to the advertising world already.‬
Y
‭As you know, it continues already to power AI, a lot of our video ad solutions and measurement‬
 ‭capabilities. It's part of video reach campaigns, multi-format ads are - actually, there's‬
  ‭generative creator music that actually makes it easier for creators to design the perfect‬
   ‭soundtrack already. And as I said earlier, AI will unlock a new world of creativity.‬

‭ nd you can see how this will -- if you just look at where models are heading, where multimodal‬
A
‭models are heading, where the generation capabilities of those models are heading, you can‬
 ‭absolutely see how this will impact and positively impact and simplify the flow for creators,‬
  ‭similar to what you see already emerging in some of our core products like ACA on the Search‬
   ‭side.‬

‭Mark Mahaney (Evercore):‬ ‭Thank you.‬

‭ perator:‬ ‭Thank you. And that concludes our question-and-answer‬‭session for today. I'd like‬
O
‭to turn the conference back over to Jim Friedland for any further remarks.‬

‭ im Friedland, Director Investor Relations:‬ ‭Thanks,‬‭everyone, for joining us today. We look‬
J
‭forward to speaking with you again on our first quarter 2024 call. Thank you and have a good‬
 ‭evening.‬

‭Operator:‬ ‭Thank you, everyone. This concludes today's‬‭conference call. Thank you for‬


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‭participating. You may now disconnect.‬




                                                                            ‭20‬
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                   Upload YouTube videos
                   You can upload videos to YouTube in a few easy steps. Use the instructions below to upload your
                   videos from a computer or from a mobile device. Uploading may not be available with supervised
                   experiences on YouTube. Learn more here.


                    Computer         Android    iPhone & iPad




                   Upload videos in YouTube Studio
                   1. Sign in to YouTube Studio IZl .
                   2. In the top-right corner, click CREATE              Upload videos         .
                   3. Select the file you’d like to upload. You can upload up to 15 videos at a time. Be sure to click Edit
                     on each file to edit your video details.

                   Note: Your video will be converted to the highest resolution available to ensure successful playback on
                   different devices and networks. You can view the estimated processing time for SD, HD, and 4K videos.
                   Higher qualities such as 4K or HD may take more time to process. Learn more about video quality after
                   upload and video resolution & aspect ratios. If you’re having issues, check out our common uploading
                   errors guide.

                   If you close the upload experience before you finish choosing your settings, your video will be saved
                   as private on your Content page.


                   Details

                     Add important details to your video. Note: You can click REUSE DETAILS to copy select details
                     from a previously uploaded video.
                       Title             The title of your video.

                                         Note: Video titles have a character limit of 100 characters and cannot include invalid
                                         characters.

                       Description       Info that shows below your video. For video attributions, use the following format:
                                         [Channel Name] [Video Title] [Video ID]

                                         For corrections in your video, add “Correction:” or “Corrections:”. On a separate line, you
                                         can add the timestamp and explanation of your correction. For example:

                                         Correction:

                                         0:35 Reason for correction

                                         This section should appear after any video chapters. When your audience watches your
                                         video, a View Corrections info card will appear.

                                         For formatted text in your descriptions, select bold, italicize, or strikethrough from the
                                         options at the bottom of the description box.

                                         Video descriptions have a character limit of 5,000 characters and cannot include invalid
                                         characters.

                                         Note: If the channel has any active strikes, or if the content may be inappropriate to some
                                         viewers, the corrections feature won't be available.




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                      Thumbnail        The image viewers will view before clicking your video.

                      Playlist         Add your video to one of your existing playlists, or create a playlist.

                      Audience         To comply with the Children’s Online Privacy Protection Act (COPPA), you’re required to
                                       tell us whether your videos are made for kids.

                      Age              Age-restrict videos that may not be appropriate for certain audiences.
                      restriction

                      Related          A video from your channel that is a clickable link in the Shorts player to help direct viewers
                      Video            from your Shorts to your other YouTube content.

                                       With advanced feature access, you can edit Shorts to include a link to a video from your
                                       channel. Videos, Shorts and Live content can be linked.

                                       Note: The video you select has to be public or unlisted and must follow our Community
                                       Guidelines.

                    At the bottom of the Details page, select SHOW MORE to choose your advanced settings.

                      Paid promotion     Let viewers and YouTube know that your video has a paid promotion.

                      Automatic          You can add video chapter titles and timestamps to your videos to make them easier to
                      chapters           watch. You can create your own video chapters or use the automatically generated
                                         chapters by checking the 'Allow automatic chapters (when available and eligible)'
                                         checkbox.

                                         Any video chapters entered will override auto generated video chapters.


                      Featured           Featured Places (when available and eligible) uses destinations you have prominently
                      Places             highlighted in your description, video transcript and video frames to highlight key
                                         places in a carousel in the description of your video. To opt out of automatic Featured
                                         Places, unselect the 'Allow automatic Featured Places' checkbox. Note: Featured
                                         Places doesn’t use your device location data or affect what ads are shown in your video
                                         (if you’re monetizing).

                      Tags               Add descriptive keywords to help correct search mistakes.

                                         Tags can be useful if the content of your video is commonly misspelled. Otherwise, tags
                                         play a minimal role in your video's discovery.

                      Language and       Choose the original video language and caption certification.
                      caption
                      certification

                      Recording date     Enter the date the video was recorded and the location where your video was filmed.
                      and location

                      License and        Select if your video can be embedded on a different website. Indicate if you’d like to
                      distribution       send notifications to your subscribers for your new video.

                      Shorts             Allow others to create Shorts using the audio of your video.
                      sampling

                      Category           Select a category so viewers can find your video more easily. For Education, you can
                                         choose the following options:

                                          • Type: Select activity, concept overview, how-to, lecture, problem walkthrough, real
                                            life application, science experiment, tips, or other as your education type.
                                          • Problems: Add the timestamp and the question that is answered in your video. Note:
                                            this option is only available for the problem walkthrough education type.
                                          • Academic system: Select the country/region that your video aligns to. This allows
                                            you to further specify the level and exam, course, or academic standard. Note: This
                                            may be automatically selected based on your channel’s default country/region.




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                                            • Level: Choose the level for your video, such as Grade 9 or advanced.
                                            • Exam, course, or standard: Search our database to add an academic standard,
                                              exam, or course that relates to your video.


                        Comments and        Choose whether viewers can leave comments on the video. Choose whether viewers
                        ratings             can find how many likes are on your video.


                   Monetization                                                                                              V



                   Ad suitability                                                                                            V



                   Video elements                                                                                            V



                   Checks                                                                                                    V



                   Visibility                                                                                                V




                            Get video upload tips for creators.




                   Watch how to upload videos
                   Check out the following video from the YouTube Creators channel 0 on how to upload videos.


                                How
                                Ho To
                                    To Upload Videos with
                                       Up O d V1d         YouTube S…
                                                        hYouTu



                                             a
                   Subscribe to the YouTube Creators channel 0 for the latest news, updates, and tips.


                   Learn more about uploading videos
                   How many videos you can upload per day                                                                    V



                   Upload audio files                                                                                        V



                   Learn the difference between “upload” and “publish”                                                       V



                   Upload vertical videos                                                                                    V



                   Figure out why your video’s upload date and publish date are different                                    V




                   Related links




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                   • Get an overview of channel performance
                   • Channel customization
                   • Edit video settings
                   • Creator updates




                                                           Need more help?
                                                           Try these next steps:




            l___• _________
                      Post to the help community
                      Get answers from community members
                                                                                                                       J




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        YouTube Help              0..    Descnbe your issue


 Help Center     Community       CreatOI"Tips                                                                                                                                                                                              Youlube (2l

Fix a problem     Watch videos       Manage your account & settings          Supervised experience on YouTube   YouTube Premium   Create & grow your channel     Monetize with the YouTube Partner Program   Policy. safety. & copyright


Upload videos > Upload vi deos longer than 15 minutes

                                                                                                                                              Upload videos

                                                                                                                                             @     Upload YouTube videos
                         Upload videos longer than 15 minutes                                                                                @     Upload videos longer than 15 m inutes

                                                                                                                                             (ID   Upload High Dynam ic Range (HOR)
                                                                                                                                                   videos

                                                                                                                                             @     Record & upload a video




                           Computer         Android      iPhone & iPad



                         Increase your video length limit
                         By default, you can upload videos that are up to 15 minutes long. Verified accounts can upload
                         videos longer than 15 minutes.

                         To verify your Google Account:

                         1. On a computer, go to https://www.youtube.com/verify. 0
                         2. Follow the steps to verify your Google Account. You can choose to get a verification code
                            through a text message on a mobile device or an automated voice call.

                         Make sure you're using an up-to-date version of your browser to upload files greater than 20
                         GB.


                         Maximum upload size
                         The maximum file size you can upload is 256 GB or 12 hours, whichever is less. We've changed
                         the limits on uploads in the past, so you may see older videos that are longer than 12 hours.


                         Troubleshoot common issues
                         I verified my account but my video still won't play.


                         I don't know whether I verified my account yet.


                         I already verified my account but I can't upload long videos.


                         My video is larger than 256 GB.


                          [I] Gi'fflfee<llad(.aboutthisartlde




                         Was this helpful?




                                                                   Need more help?
                                                                         Try these next steps


                                                           0     Post to the help commun ity
                                                                 Get answers from community members




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          YouTube Help               Q.    Describe your issue


   Help Center     Community        Creator Tips


  Fix a problem     Watch videos        Manage your account & settings                      Supervised experience on You Tube   YouTube Premium   Create & grow your channel       Monetize with the YouTube f


 Upload videos    > Upload YouTube videos
                                                                                                                                                              Upload videos


                                                                                                                                                              !ID   Upload YouTube videos

                           Upload YouTube videos                                                                                                              !ID   Upload videos longer t han 15 minutes
                           You can upload videos to YouTube in a few easy steps. Use the instructions below to upload
                           your videos from a computer or from a mobile device. Uploading may not be available with                                           !ID   Upload High Dynamic Range (HDR)
                           supervised experiences on YouTube. Learn more here.                                                                                      videos


                            Computer         Android     iPhone & iPad
                                                                                                                                                              !ID   Record & upload a video




                           Upload videos
                           Use the You Tube Android app to upload videos by recording a new video or selecting an
                           existing one.

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                           Subscribe to the YouTube Creators channel IZJ for the latest news, updates, and tips.
                           YouTube app

                           1. Open the YouTube app a .
                           2. Tap Create 0 > Upload a video.
                           3. Select the f ile you'd like to upload and tap NEXT.
                                   If your video is 60 seconds or less and has a square or vertical aspect ratio, it will be
                                   uploaded as a Short. Learn more.
                                   (Optional) If your video is longer than 60 seconds and has a square or vertical aspect
                                   ratio, you can tap "Edit into a Short" to trim your video and upload it as a Short. Learn
                                   more.

                           If you close the upload experience before you finish choosing ycur settings, your video will be
                           saved as a draft on your Content IZI page.

                           YouTube Studio app


                               Note: You can't self-certify your video ratings through the YouTube Studio app.


                               Open the YouTube Studio app @ .
                           2. On the top, tap Create 0 > Upload a video.
                           3. Select the f ile that you'd like to upload
                           4. Add details to your video, such as a title (max 100 characters), the privacy settings, and
                               monetization settings.
                           5. Tap Next.
                           6. Choose your audience, "Yes, it's made for kids" or "No, it's not made for kids." Learn more
                               about made for kids.
                           7. Tap Upload video to publish your video.


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                            Details                                                           V




                            Checks                                                            V




                            Learn more about uploading videos
                            How many videos you can upload per day


                            "Featured in this video" section on Android


                            Upload over mobile network vs. Wi-Fi                              V




                            Learn the difference between "upload" and "publish"               V




                            Upload vertical videos                                            V




                             PJ Give feedback about this article



                            Was this helpful?           2              2

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                                                                                          Log in




                                 Introducing Instagram Reels
                                                        0 Posted on August 5, 2020




                               Today we're announcing Instagram Reels: a new way to create and
                               discover short, entertaining videos on Instagram.

                               Reels invites you to create fun videos to share with your friends or
                               anyone on Instagram. Record and edit 15-second multi-clip videos with
                               audio, effects, and new creative tools. You can share reels with your
                               followers on Feed, and, if you have a public account, make them
                               available to the wider Instagram community through a new space in
                               Explore. Reels in Explore offers anyone the chance to become a creator
                               on Instagram and reach new audiences on a global stage.




                               How it works




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                               Creating Reels
                               Select Reels at the bottom of the Instagram camera. You'll see a
                               variety of creative editing tools on the left side of your screen to help
                               create your reel, including:

                                •   Audio: Search for a song from the Instagram music library. You
                                    can also use your own original audio by simply recording a reel
                                    with it. When you share a reel with original audio, your audio will be
                                    attributed to you, and if you have a public account, people can
                                    create reels with your audio by selecting "Use Audio" from your
                                    reel.

                                •   AR Effects: Select one of the many effects in our effect gallery,
                                    created both by Instagram and creators all over the world, to
                                    record multiple clips with different effects.

                                •   Timer and Countdown: Set the timer to record any of your clips
                                    hands-free. Once you press record, you'll see a 3-2-1 countdown,
                                    before recording begins for the amount of time you selected.

                                •   Align: Line up objects from your previous clip before recording
                                    your next to help create seamless transitions for moments like
                                    outfit changes or adding new friends into your reel.
                                •   Speed: Choose to speed up or slow down part of the video or audio
                                    you selected. This can help you stay on a beat or make slow motion
                                    videos.

                               Reels can be recorded in a series of clips ( one at a time), all at once, or
                               using video uploads from your gallery. Record the first clip by pressing
                               and holding the capture button. You'll see a progress indicator at the
                               top of the screen as you record. Stop recording to end each clip.




                               Sharing Reels




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                                                        •




                               With Reels, you can share with your followers and ca n be discovered by
                               the huge, diverse Instagram community on Explore.

                                • If you have a Public Account: You can share your reel to a
                                  dedicated space in Explore, where it has the chance to be seen and
                                  discovered by the wider Instagram community. You can also share
                                  your reel with your followers by posting it to your Feed. When you
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                                   share reels featuring certain songs, hashtags, or effects, your reel
                                   may also appear on dedicated pages when someone clicks on that
                                   song, hashtag, or effect.
                                • If you have a Private Account: Reels follows your privacy settings
                                  on Instagram. You can share to Feed so only your followers can see
                                  your reel. People will not be able to use original audio from your
                                  reels, and people cannot share your reels with others who don't
                                  follow you.

                               Once your reel is ready, move to the share screen, where you can save
                               a draft of your reel, change the cover image, add a caption and
                               hashtags, and tag your friends. After you share your reel, it will live on
                               a separate Reels tab on your profile, where people can find the reels
                               you've shared. If you also share to your Feed, your reel will appear on
                               your main profile grid, though you have the option to remove it.

                               Whether you have a public or private account, you can share your reel
                               to your Story, close friends, or in a direct message. If you do so, your
                               reel will behave like a regular Story- it will not be shared to Reels in
                               Explore, it will not appear on your profile, and it will disappear after 24
                               hours.




                               Watching Reels




                                                                                    -
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                               Reels in Explore showcases the best of trending culture on Instagram.
                               Discover an entertaining selection of reels made by anyone on
                               Instagram, in a vertical feed customized for you. If you love a reel, you
                               can easily like, comment or share it with your friends.

                               You 'll also see some reels with a "Featured " label. If your reel is
                               featured in Explore, you'll receive a notification. Featured reels are a
                               selection of public reels chosen by Instagram to help you discover
                               original content we hope will entertain and inspire you.

                               Reels gives people new ways to express themselves, discover more of
                               what they love on Instagram, and help anyone with the ambition of
                               becoming a creator take center stage.

                               For more information on Reels, visit our Help Center.



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                                  Check out more
                                  announcements about product

                                       #ANNOUNCEMENTS #PRODUCT #INSTAGRAM
                                       Instagram Announces New Ways to                                              ➔
                                       Create Music with Friends



                                       #ANNOUNCEMENTS #CREATORS #PRODUCT #INSTAGRAM
                                       Instagram Reels Templates Upgrades                                           ➔



                                       #ANNOUNCEMENTS #PRODUCT #INSTAGRAM
                                       Instagram Announces New Text App                                             ➔


                                                                         View More ➔




                        A bout Us          Featu res          Communit y            Business             Safet y    Bra nd
                        Careers            Reels              Anti-Bullying         Advertising          Threads    Engineering
                        Brand Assets      Stories             Parents               Partners
                                           Messenger          Programs              Success Stories      Creators   Help.x
                                          Search & Explore
                                          Shopping
                                                                                                         Blog




                        English (US)    Instagram from Meta     API       Privacy       Terms         Sitemap




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          YouTube Help            Q.   Describe your issue


   Help Center    Community      Creator Tips


  Fix a problem   Watch videos      Manage your account & settings         Supervised experience on YouTube          YouTube Premium         Create & grow your channel   Monetize wii




                         Shorts editing tips
                         You Tube Shorts lets you get creative by letting you film and edit content using Shorts creation
                         tools. Come explore all the Short c reation tools available to you after recording your Short.

                                                                                                                                         X




                                  What Shorts are

                                  How to get started
                                  with Shorts

                                  Best practices for
                                  using them




                         Subscribe to the YouTube Creators channel 0 for the latest news, updates, and tips.




                         Shorts Creation Tools

                          Jl      Tap Sound to choose a sound, and pick the section that you want included in your video. If you
                                  want to change t he volume, click Volume while in the Shorts editor. Then drag t he lever until it's
                                  where you want it. You can use an audio to create a Short as soon as you hear it, or save it to your
                                  Favorites tab to use later.


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                                Use the Shorts Audio tab to inspi re your Shorts c reation and set the tone for your Short.
                                Choose an upbeat audio to f ilm a dancing video and inspire your audience to dance along
                                with you. Or select a calming sound if you are filming a one minute meditation and you want to
                                leave your viewers feeling zen. Learn more about adding sound here. 0




                   A         Tap Text to add on-screen text to your video. You can use text to talk to your audience. It can also
                             guide your viewers, helping them stay connected through fast edits with clearer context.




                                  Ii
                                Use text to give your viewers calls to action, explain a joke, or introduce yourself. If you are
                                recapping a story and talking directly to the camera, adding text can help your viewer follow
                                along word for word and engage the audience from beginning to end. It can also make your
                                Shorts more accessible to all. Learn more about adding text here. 0




                             Tap Volceover to record audio and narrate your shorts. Move the marker to the spot where you
                             would like to start your voiceover, then tap record.




                                  Ii
                                Voiceovers are another way to infuse your personality and humor into your Shorts, helping
                                your viewers feel connected to you as a creator. Have a fun clip you want to share but it's
                                missing some additional context? Adding a voiceover is the perfect way to add instructions,
                                reactions or funny comments to allow your audience to f ully enjoy your Short.




                    D        Use the Timeline to edit when text is shown in your Short. You can use this feature to t rigger
                   D         different messages at different t imes in your video. To control when text shows up in your Short,
                             drag the start and stop points of a text clip. You can also use t his process to choose when t he text
                             disappears. To reorder text clips, tap and hold them. You can also move clips from top to bottom to
                             control t he front-to-back order your text is shown in your Short.




                                  Ii
                                Make sure to review your timeline carefully to make sure all of the text is exactly where you
                                want it to be before you publish your Short.




                   6,        Filters are a way to add to the style and personality of your Short, or make up for less than ideal
                             lighting. You can sort t hrough the various filters if you would like to add any to your clip.




                                  Ii
                                Filters can be used to brighten up or color correct your Short. There is even a filter t hat adds
                                a vintage black-and-white feel. It's important to remember that any filter you choose during
                                this editing step of c reating a Short will be layered on top of the filter t hat you may have
                                chosen when recording your Short.




                   Thoughts to keep in mind
                     Explore all of t he Shorts creation tools available to you. Play around with the different f ilters
                     and practice recording your voiceover until you get it just right. Remember that you can c lick
                     X in the top left of t he Shorts camera to save any work-in-progress. Then tap Save and exit.
                     Editing tools help create amazing Shorts. Think about t he tone and style of your editing to
                     help guide and inform your storytelling. Use the tools to express your creativity!
                     Check out other Shorts 0 on the You Tube Creators 0 channel to learn more creation tips.

                   Next: check out YouTube policies and guidelines tips


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                                   Annual Report 2021
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                                                         UNITED STATES
                                             SECURITIES AND EXCHANGE COMMISSION
                                                      Washington, D.C. 20549
                                                                      __________________________


                                                                       FORM 10-K
                                                                      __________________________
       (Mark One)
       ☒            ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                           For the fiscal year ended December 31, 2021
                                                                 or
       ☐            TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                For the transition period from       to
                                              Commission File Number: 001-35551
                                                                      __________________________


                                                               OO Meta
                                                          Meta Platforms, Inc.
                                                       (Exact name of registrant as specified in its charter)
                                                                      __________________________
                                        Delaware                                                                         XX-XXXXXXX
               (State or other jurisdiction of incorporation or organization)                              (I.R.S. Employer Identification Number)
                                                        1601 Willow Road, Menlo Park, California 94025
                                                           (Address of principal executive offices and Zip Code)
                                                                                (650) 543-4800
                                                            (Registrant's telephone number, including area code)
                                                                      __________________________
                                                   Securities registered pursuant to Section 12(b) of the Act:

                           Title of each class                              Trading symbol(s)                 Name of each exchange on which registered
            Class A Common Stock, $0.000006 par value                                FB                              The Nasdaq Stock Market LLC
                                                Securities registered pursuant to Section 12(g) of the Act: None

Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes ☐ No ☒
Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes ☐ No ☒
Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 (Exchange Act)
during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for
the past 90 days. Yes ☒ No ☐
Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to Rule 405 of Regulation S-T
(§ 232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit such files). Yes ☒ No ☐
Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting company, or an emerging growth
company. See the definitions of "large accelerated filer," "accelerated filer," "smaller reporting company," and "emerging growth company" in Rule 12b-2 of the
Exchange Act.

Large accelerated filer          ☒                                                                                              Accelerated filer                    ☐
Non-accelerated filer            ☐                                                                                              Smaller reporting company            ☐
                                                                                                                                Emerging growth company              ☐
If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised
financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. ☐
Indicate by check mark whether the registrant has filed a report on and attestation to its management's assessment of the effectiveness of its internal control over financial
reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C. 7262(b)) by the registered public accounting firm that prepared or issued its audit report. ☒
Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes ☐ No ☒

The aggregate market value of the voting and non-voting stock held by non-affiliates of the registrant as of June 30, 2021, the last business day of the registrant's most
recently completed second fiscal quarter, was $857 billion based upon the closing price reported for such date on the Nasdaq Global Select Market. On January 28, 2022,
the registrant had 2,309,080,018 shares of Class A common stock and 412,861,942 shares of Class B common stock outstanding.

                                                         DOCUMENTS INCORPORATED BY REFERENCE

Portions of the registrant's Proxy Statement for the 2022 Annual Meeting of Stockholders are incorporated herein by reference in Part III of this Annual Report on Form
10-K to the extent stated herein. Such proxy statement will be filed with the Securities and Exchange Commission within 120 days of the registrant's fiscal year ended
December 31, 2021.
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                                                Meta Platforms, Inc.
                                                    Form 10-K

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                                NOTE ABOUT FORWARD-LOOKING STATEMENTS

       This Annual Report on Form 10-K contains forward-looking statements. All statements contained in this Annual
Report on Form 10-K other than statements of historical fact, including statements regarding our future results of operations
and financial position, our business strategy and plans, and our objectives for future operations, are forward-looking
statements. The words "believe," "may," "will," "estimate," "continue," "anticipate," "intend," "expect," and similar
expressions are intended to identify forward-looking statements. We have based these forward-looking statements largely on
our current expectations and projections about future events and trends that we believe may affect our financial condition,
results of operations, business strategy, short-term and long-term business operations and objectives, and financial needs.
These forward-looking statements are subject to a number of risks, uncertainties and assumptions, including those described
in Part I, Item 1A, "Risk Factors" in this Annual Report on Form 10-K. Moreover, we operate in a very competitive and
rapidly changing environment. New risks emerge from time to time. It is not possible for our management to predict all risks,
nor can we assess the impact of all factors on our business or the extent to which any factor, or combination of factors, may
cause actual results to differ materially from those contained in any forward-looking statements we may make. In light of
these risks, uncertainties and assumptions, the future events and trends discussed in this Annual Report on Form 10-K may
not occur and actual results could differ materially and adversely from those anticipated or implied in the forward-looking
statements.

      We undertake no obligation to revise or publicly release the results of any revision to these forward-looking statements,
except as required by law. Given these risks and uncertainties, readers are cautioned not to place undue reliance on such
forward-looking statements.

      In October 2021, we changed our corporate name from Facebook, Inc. to Meta Platforms, Inc. We will not distinguish
between our prior and current corporate name and will refer to our current corporate name throughout this Annual Report on
Form 10-K. As such, unless expressly indicated or the context requires otherwise, the terms "Meta," "company," "we," "us,"
and "our" in this document refer to Meta Platforms, Inc., a Delaware corporation, and, where appropriate, its subsidiaries. The
term "Family" refers to our Facebook, Instagram, Messenger, and WhatsApp products. For references to accessing Meta's
products on the "web" or via a "website," such terms refer to accessing such products on personal computers. For references
to accessing Meta's products on "mobile," such term refers to accessing such products via a mobile application or via a
mobile-optimized version of our websites such as m.facebook.com, whether on a mobile phone or tablet.




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                               LIMITATIONS OF KEY METRICS AND OTHER DATA

       The numbers for our key metrics are calculated using internal company data based on the activity of user accounts. We
have historically reported the numbers of our daily active users (DAUs), monthly active users (MAUs), and average revenue
per user (ARPU) (collectively, our "Facebook metrics") based on user activity only on Facebook and Messenger and not on
our other products. Beginning with our Annual Report on Form 10-K for the year ended December 31, 2019, we also report
our estimates of the numbers of our daily active people (DAP), monthly active people (MAP), and average revenue per
person (ARPP) (collectively, our "Family metrics") based on the activity of users who visited at least one of Facebook,
Instagram, Messenger, and WhatsApp (collectively, our "Family" of products) during the applicable period of measurement.
We believe our Family metrics better reflect the size of our community and the fact that many people are using more than one
of our products. As a result, over time we intend to report our Family metrics as key metrics in place of DAUs, MAUs, and
ARPU in our periodic reports filed with the Securities and Exchange Commission.

      While these numbers are based on what we believe to be reasonable estimates of our user base for the applicable
period of measurement, there are inherent challenges in measuring usage of our products across large online and mobile
populations around the world. The methodologies used to measure these metrics require significant judgment and are also
susceptible to algorithm or other technical errors. In addition, we are continually seeking to improve our estimates of our user
base, and such estimates may change due to improvements or changes in our methodology. We regularly review our
processes for calculating these metrics, and from time to time we discover inaccuracies in our metrics or make adjustments to
improve their accuracy, which can result in adjustments to our historical metrics. Our ability to recalculate our historical
metrics may be impacted by data limitations or other factors that require us to apply different methodologies for such
adjustments. We generally do not intend to update previously disclosed Family metrics for any such inaccuracies or
adjustments that are within the error margins disclosed below.

       In addition, our Family metrics and Facebook metrics estimates will differ from estimates published by third parties
due to differences in methodology.

Family Metrics

       Many people in our community have user accounts on more than one of our products, and some people have multiple
user accounts within an individual product. Accordingly, for our Family metrics, we do not seek to count the total number of
user accounts across our products because we believe that would not reflect the actual size of our community. Rather, our
Family metrics represent our estimates of the number of unique people using at least one of Facebook, Instagram, Messenger,
and WhatsApp. We do not require people to use a common identifier or link their accounts to use multiple products in our
Family, and therefore must seek to attribute multiple user accounts within and across products to individual people. To
calculate these metrics, we rely upon complex techniques, algorithms and machine learning models that seek to count the
individual people behind user accounts, including by matching multiple user accounts within an individual product and across
multiple products when we believe they are attributable to a single person, and counting such group of accounts as one
person. These techniques and models require significant judgment, are subject to data and other limitations discussed below,
and inherently are subject to statistical variances and uncertainties. We estimate the potential error in our Family metrics
primarily based on user survey data, which itself is subject to error as well. While we expect the error margin for our Family
metrics to vary from period to period, we estimate that such margin generally will be approximately 3% of our worldwide
MAP. At our scale, it is very difficult to attribute multiple user accounts within and across products to individual people, and
it is possible that the actual numbers of unique people using our products may vary significantly from our estimates,
potentially beyond our estimated error margins. As a result, it is also possible that our Family metrics may indicate changes
or trends in user numbers that do not match actual changes or trends.

       To calculate our estimates of Family DAP and MAP, we currently use a series of machine learning models that are
developed based on internal reviews of limited samples of user accounts and calibrated against user survey data. We apply
significant judgment in designing these models and calculating these estimates. For example, to match user accounts within
individual products and across multiple products, we use data signals such as similar device information, IP addresses, and
user names. We also calibrate our models against data from periodic user surveys of varying sizes and frequency across our
products, which are inherently subject to error. The timing and results of such user surveys have in the past contributed, and
may in the future contribute, to changes in our reported Family metrics from period to period. In addition, our data limitations
may affect our understanding of certain details of our business and increase the risk of error for our Family metrics estimates.
Our techniques and models rely on a variety of data signals from different products, and we rely on more limited data signals



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for some products compared to others. For example, as a result of limited visibility into encrypted products, we have fewer
data signals from WhatsApp user accounts and primarily rely on phone numbers and device information to match WhatsApp
user accounts with accounts on our other products. Similarly, although Messenger Kids users are included in our Family
metrics, we do not seek to match their accounts with accounts on our other applications for purposes of calculating DAP and
MAP. Any loss of access to data signals we use in our process for calculating Family metrics, whether as a result of our own
product decisions, actions by third-party browser or mobile platforms, regulatory or legislative requirements, limitations
while our personnel work remotely during the COVID-19 pandemic, or other factors, also may impact the stability or
accuracy of our reported Family metrics, as well as our ability to report these metrics at all. Our estimates of Family metrics
also may change as our methodologies evolve, including through the application of new data signals or technologies, product
changes, or other improvements in our user surveys, algorithms, or machine learning that may improve our ability to match
accounts within and across our products or otherwise evaluate the broad population of our users. In addition, such evolution
may allow us to identify previously undetected violating accounts (as defined below).

       We regularly evaluate our Family metrics to estimate the percentage of our MAP consisting solely of "violating"
accounts. We define "violating" accounts as accounts which we believe are intended to be used for purposes that violate our
terms of service, including bots and spam. In the fourth quarter of 2021, we estimated that approximately 3% of our
worldwide MAP consisted solely of violating accounts. Such estimation is based on an internal review of a limited sample of
accounts, and we apply significant judgment in making this determination. For example, we look for account information and
behaviors associated with Facebook and Instagram accounts that appear to be inauthentic to the reviewers, but we have
limited visibility into WhatsApp user activity due to encryption. In addition, if we believe an individual person has one or
more violating accounts, we do not include such person in our violating accounts estimation as long as we believe they have
one account that does not constitute a violating account. From time to time, we disable certain user accounts, make product
changes, or take other actions to reduce the number of violating accounts among our users, which may also reduce our DAP
and MAP estimates in a particular period. We intend to disclose our estimates of the percentage of our MAP consisting solely
of violating accounts on an annual basis. Violating accounts are very difficult to measure at our scale, and it is possible that
the actual number of violating accounts may vary significantly from our estimates.

        The numbers of Family DAP and MAP discussed in this Annual Report on Form 10-K, as well as ARPP, do not
include users on our other products, unless they would otherwise qualify as DAP or MAP, respectively, based on their other
activities on our Family products.

Facebook Metrics

       We regularly evaluate our Facebook metrics to estimate the number of "duplicate" and "false" accounts among our
MAUs. A duplicate account is one that a user maintains in addition to his or her principal account. We divide "false" accounts
into two categories: (1) user-misclassified accounts, where users have created personal profiles for a business, organization,
or non-human entity such as a pet (such entities are permitted on Facebook using a Page rather than a personal profile under
our terms of service); and (2) violating accounts, which represent user profiles that we believe are intended to be used for
purposes that violate our terms of service, such as bots and spam. The estimates of duplicate and false accounts are based on
an internal review of a limited sample of accounts, and we apply significant judgment in making this determination. For
example, to identify duplicate accounts we use data signals such as identical IP addresses and similar user names, and to
identify false accounts we look for names that appear to be fake or other behavior that appears inauthentic to the reviewers.
Any loss of access to data signals we use in this process, whether as a result of our own product decisions, actions by third-
party browser or mobile platforms, regulatory or legislative requirements, limitations while our personnel work remotely
during the COVID-19 pandemic, or other factors, also may impact the stability or accuracy of our estimates of duplicate and
false accounts. Our estimates also may change as our methodologies evolve, including through the application of new data
signals or technologies or product changes that may allow us to identify previously undetected duplicate or false accounts and
may improve our ability to evaluate a broader population of our users. Duplicate and false accounts are very difficult to
measure at our scale, and it is possible that the actual number of duplicate and false accounts may vary significantly from our
estimates.

       In the fourth quarter of 2021, we estimated that duplicate accounts may have represented approximately 11% of our
worldwide MAUs. We believe the percentage of duplicate accounts is meaningfully higher in developing markets such as the
Philippines and Vietnam, as compared to more developed markets. In the fourth quarter of 2021, we estimated that false
accounts may have represented approximately 5% of our worldwide MAUs. Our estimation of false accounts can vary as a
result of episodic spikes in the creation of such accounts, which we have seen originate more frequently in specific countries



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such as Indonesia, Nigeria, and Vietnam. From time to time, we disable certain user accounts, make product changes, or take
other actions to reduce the number of duplicate or false accounts among our users, which may also reduce our DAU and
MAU estimates in a particular period. We intend to disclose our estimates of the number of duplicate and false accounts
among our MAUs on an annual basis.

       The numbers of DAUs and MAUs discussed in this Annual Report on Form 10-K, as well as ARPU, do not include
users on Instagram, WhatsApp, or our other products, unless they would otherwise qualify as DAUs or MAUs, respectively,
based on their other activities on Facebook.

User Geography

       Our data regarding the geographic location of our users is estimated based on a number of factors, such as the user's IP
address and self-disclosed location. These factors may not always accurately reflect the user's actual location. For example, a
user may appear to be accessing Facebook from the location of the proxy server that the user connects to rather than from the
user's actual location. The methodologies used to measure our metrics are also susceptible to algorithm or other technical
errors, and our estimates for revenue by user location and revenue by user device are also affected by these factors.




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PART I

Item 1. Business

Overview

       Our mission is to give people the power to build community and bring the world closer together. All of our products,
including our apps, share the vision of helping to bring the metaverse to life.

        We build technology that helps people connect, find communities, and grow businesses. Our useful and engaging
products enable people to connect and share with friends and family through mobile devices, personal computers, virtual
reality (VR) headsets, wearables, and in-home devices. We also help people discover and learn about what is going on in the
world around them, enable people to share their opinions, ideas, photos and videos, and other activities with audiences
ranging from their closest family members and friends to the public at large, and stay connected everywhere by accessing our
products. Meta is moving beyond 2D screens toward immersive experiences like augmented and virtual reality to help build
the metaverse, which we believe is the next evolution in social technology.

       We report financial results for two segments: Family of Apps (FoA) and Reality Labs (RL). For FoA, we generate
substantially all of our revenue from selling advertising placements to marketers. Ads on our platforms enable marketers to
reach people based on a variety of factors including age, gender, location, interests, and behaviors. Marketers purchase ads
that can appear in multiple places including on Facebook, Instagram, Messenger, and third-party applications and websites.
RL generates revenue from sales of consumer hardware products, software and content. Our products include:

Family of Apps

      •     Facebook. Facebook helps give people the power to build community and bring the world closer together. It's a
            place for people to share life's moments and discuss what's happening, nurture and build relationships, discover
            and connect to interests, and create economic opportunity. They can do this through News Feed, Stories, Groups,
            Watch, Marketplace, Reels, Dating, and more.

      •     Instagram. Instagram brings people closer to the people and things they love. Instagram Feed, Stories, Reels,
            Video, Live, Shops, and messaging are places where people and creators can express themselves and push
            culture forward through photos, video, and private messaging, and connect with and shop from their favorite
            businesses.

      •     Messenger. Messenger is a simple yet powerful messaging application for people to connect with friends, family,
            groups, and businesses across platforms and devices through chat, audio and video calls, and Rooms.

      •     WhatsApp. WhatsApp is a simple, reliable, and secure messaging application that is used by people and
            businesses around the world to communicate and transact in a private way.

Reality Labs

      •     Reality Labs. Reality Labs' augmented and virtual reality products help people feel connected, anytime,
            anywhere. Meta Quest lets people defy distance with cutting-edge VR hardware, software, and content. Facebook
            Portal video calling devices help friends and families stay connected and share the moments that matter in
            meaningful ways.

Competition

       Our business is characterized by innovation, rapid change, and disruptive technologies. We compete with companies
providing connection, sharing, discovery, and communication products and services to users online, as well as companies that
sell advertising to businesses looking to reach consumers and/or develop tools and systems for managing and optimizing
advertising campaigns. We face significant competition in every aspect of our business, including, but not limited to,
companies that facilitate the ability of users to share, communicate, and discover content and information online or enable
marketers to reach their existing or prospective audiences, including, for example, Alphabet (Google and YouTube),



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Amazon, Apple, ByteDance (TikTok), Microsoft, Snap (Snapchat), Tencent (WeChat), and Twitter. We compete to attract,
engage, and retain people who use our products, to attract and retain businesses who use our free or paid business and
advertising services, and to attract and retain developers to build compelling mobile and web applications that integrate with
our products. We also compete with companies that develop and deliver consumer hardware and virtual and augmented
reality products and services. As we introduce or acquire new products, as our existing products evolve, or as other
companies introduce new products and services, including as part of efforts to develop the metaverse, we may become
subject to additional competition.

Technology

       Our product development philosophy centers on continuous innovation in creating and improving products that are
social by design, which means that our products are designed to place people and their social interactions at the core of the
product experience. As our user base grows, as engagement with products like video and VR increases, and as we deepen our
investment in new technologies like artificial intelligence, our computing needs continue to expand. We make significant
investments in technology both to improve our existing products and services and to develop new ones, as well as for our
marketers and developers. We are also investing in protecting the security, privacy, and integrity of our platform by investing
in both people and technology to strengthen our systems against abuse.

Sales and Operations

       The majority of our marketers use our self-service ad platform to launch and manage their advertising campaigns. We
also have a global sales force that is focused on attracting and retaining advertisers and providing support to them throughout
the stages of the marketing cycle from pre-purchase decision-making to real-time optimizations to post-campaign analytics.
We work directly with these advertisers, as well as through advertising agencies and resellers. We operate in more than
80 cities around the globe, the majority of which have a sales presence. We also invest in and rely on self-service tools to
provide direct customer support to our users and partners.

Marketing

       Historically, our communities have generally grown organically with people inviting their friends to connect with
them, supported by internal efforts to stimulate awareness and interest. In addition, we have invested and will continue to
invest in marketing our products and services to grow our brand and help build community around the world.

Intellectual Property

       To establish and protect our proprietary rights, we rely on a combination of patents, trademarks, copyrights, trade
secrets, including know-how, license agreements, confidentiality procedures, non-disclosure agreements with third parties,
employee disclosure and invention assignment agreements, and other contractual rights. In addition, to further protect our
proprietary rights, from time to time we have purchased patents and patent applications from third parties. We do not believe
that our proprietary technology is dependent on any single patent or copyright or groups of related patents or copyrights. We
believe the duration of our patents is adequate relative to the expected lives of our products.

Government Regulation

       We are subject to a variety of laws and regulations in the United States and abroad that involve matters central to our
business, many of which are still evolving and being tested in courts, and could be interpreted in ways that could harm our
business. These laws and regulations involve matters including privacy, data use, data protection and personal information,
biometrics, encryption, rights of publicity, content, intellectual property, advertising, marketing, distribution, data security,
data retention and deletion, data localization and storage, data disclosure, artificial intelligence, electronic contracts and other
communications, competition, protection of minors, consumer protection, civil rights, telecommunications, product liability,
e-commerce, taxation, economic or other trade controls including sanctions, anti-corruption and political law compliance,
securities law compliance, and online payment services. In particular, we are subject to federal, state, and foreign laws
regarding privacy and protection of people's data. Foreign data protection, privacy, content, competition, consumer
protection, and other laws and regulations can impose different obligations, or penalties or fines for non-compliance, or be
more restrictive than those in the United States.




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       These U.S. federal and state and foreign laws and regulations, which in some cases can be enforced by private parties
in addition to government entities, are constantly evolving and can be subject to significant change. As a result, the
application, interpretation, and enforcement of these laws and regulations are often uncertain, particularly in the new and
rapidly evolving industry in which we operate, and may be interpreted and applied inconsistently from country to country and
inconsistently with our current policies and practices. For example, regulatory or legislative actions affecting the manner in
which we display content to our users or obtain consent to various practices, or otherwise relating to content that is made
available on our products, could adversely affect our financial results. In the United States, there have been, and continue to
be, various efforts to remove or restrict the scope of the protections available to online platforms under Section 230 of the
Communications Decency Act, and any such changes may increase our costs or require significant changes to our products,
business practices, or operations, which could adversely affect our business and financial results.

       We are also subject to evolving laws and regulations that dictate whether, how, and under what circumstances we can
transfer, process and/or receive certain data that is critical to our operations, including data shared between countries or
regions in which we operate and data shared among our products and services. If we are unable to transfer data between and
among countries and regions in which we operate, or if we are restricted from sharing data among our products and services,
it could affect our ability to provide our services, the manner in which we provide our services or our ability to target ads,
which could adversely affect our financial results. For example, the Privacy Shield, a transfer framework we relied upon for
data transferred from the European Union to the United States, was invalidated in July 2020 by the Court of Justice of the
European Union (CJEU). In addition, the other bases upon which Meta relies to transfer such data, such as Standard
Contractual Clauses (SCCs), have been subjected to regulatory and judicial scrutiny. In August 2020, we received a
preliminary draft decision from the Irish Data Protection Commission (IDPC) that preliminarily concluded that Meta
Platforms Ireland's reliance on SCCs in respect of European user data does not achieve compliance with the General Data
Protection Regulation (GDPR) and preliminarily proposed that such transfers of user data from the European Union to the
United States should therefore be suspended. We believe a final decision in this inquiry may issue as early as the first half of
2022. If a new transatlantic data transfer framework is not adopted and we are unable to continue to rely on SCCs or rely
upon other alternative means of data transfers from Europe to the United States, we will likely be unable to offer a number of
our most significant products and services, including Facebook and Instagram, in Europe, which would materially and
adversely affect our business, financial condition, and results of operations.

        We have been subject to other significant legislative and regulatory developments in the past, and proposed or new
legislation and regulations could significantly affect our business. For example, the GDPR includes operational requirements
for companies that receive or process personal data of residents of the European Union that are different from those
previously in place in the European Union, requires submission of personal data breach notifications to our lead European
Union privacy regulator, the IDPC, and includes significant penalties for non-compliance with the notification obligation as
well as other requirements of the regulation. The GDPR is still a relatively new law, its interpretation is still evolving, and
draft decisions in investigations by the IDPC are subject to review by other European privacy regulators as part of the
GDPR's consistency mechanism, which may lead to significant changes in the final outcome of such investigations. As a
result, the interpretation and enforcement of the GDPR, as well as the imposition and amount of penalties for non-
compliance, are subject to significant uncertainty. In addition, Brazil, the United Kingdom, and other countries have enacted
similar data protection regulations imposing data privacy-related requirements on products and services offered to users in
their respective jurisdictions. The California Consumer Privacy Act, which took effect in January 2020, and its successor, the
California Privacy Rights Act, which will take effect in January 2023, also establish certain transparency rules and create new
data privacy rights for users. In addition, effective December 2020, the European Union's ePrivacy Directive includes
additional limitations on the use of data across messaging products and includes significant penalties for non-compliance.
Changes to our products or business practices as a result of these or similar developments may adversely affect our
advertising business. Similarly, there are a number of legislative proposals in the European Union, the United States, at both
the federal and state level, as well as other jurisdictions that could impose new obligations or limitations in areas affecting our
business. For example, the proposed Digital Markets Act in the European Union and pending proposals to modify
competition laws in the United States and other jurisdictions could cause us to incur significant compliance costs and could
potentially impose new restrictions and requirements on companies like ours, including in areas such as the combination of
data across services, mergers and acquisitions, and product design. In addition, some countries, such as India, are considering
or have passed legislation implementing data protection requirements or requiring local storage and processing of data or
similar requirements that could increase the cost and complexity of delivering our services. New legislation or regulatory
decisions that restrict our ability to collect and use information about minors may also result in limitations on our advertising
services or our ability to offer products and services to minors in certain jurisdictions.




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       We are, and expect to continue to be, the subject of investigations, inquiries, data requests, requests for information,
actions, and audits by government authorities and regulators in the United States, Europe, and around the world, particularly
in the areas of privacy, data protection, law enforcement, consumer protection, civil rights, content moderation, and
competition, as we continue to grow and expand our operations. We are also currently, and may in the future be, subject to
regulatory orders or consent decrees, including the modified consent order we entered into with the U.S. Federal Trade
Commission (FTC), which took effect in April 2020 and, among other matters, requires us to maintain a comprehensive
privacy program. Orders issued by, or inquiries or enforcement actions initiated by, government or regulatory authorities
could cause us to incur substantial costs, expose us to unanticipated civil and criminal liability or penalties (including
substantial monetary remedies), interrupt or require us to change our business practices in a manner materially adverse to our
business, result in negative publicity and reputational harm, divert resources and the time and attention of management from
our business, or subject us to other structural or behavioral remedies that adversely affect our business.

        For additional information about government regulation applicable to our business, see Part I, Item 1A, "Risk Factors"
in this Annual Report on Form 10-K.

Human Capital

       At Meta, we design products to bring the world closer together, one connection at a time. As a company, we believe
that people are at the heart of every connection we build. We are proud of our unique company culture where ideas,
innovation, and impact win, and we work hard to build strong teams across engineering, product design, marketing, and other
areas to further our mission.

       We had a global workforce of 71,970 employees as of December 31, 2021, which represents a 23% year-over-year
increase in employee headcount. We expect headcount growth to continue for the foreseeable future, particularly as we
continue to focus on recruiting employees in technical functions. In addition, we plan to continue to hire a number of
employees and contractors to continue to bolster various privacy, safety, security, and content review initiatives as well as
other functions to support our expected growth.

      Our headquarters are located in Menlo Park, California and we have offices in more than 80 cities around the globe.
The vast majority of our personnel are currently working remotely as a result of the COVID-19 pandemic, and in the long
term, we expect some personnel to continue to transition to working remotely on a regular basis. We offer most of our full-
time employees the option to work remotely on a regular basis.

      Diversity, Equity and Inclusion

     Diversity, equity and inclusion are core to our work at Meta. We seek to build a diverse and inclusive workplace where
we can leverage our collective cognitive diversity to build the best products and make the best decisions for the global
community we serve. While we have made progress, we still have more work to do.

       As part of our diversity and inclusion report, we publish our global gender diversity and U.S. ethnic diversity
workforce data annually. As of June 30, 2021, our global employee base was comprised of 36.7% females and 63.3% males,
and our U.S. employee base was comprised of the following ethnicities: 45.7% Asian, 39.1% White, 6.5% Hispanic,
4.4% Black, 3.9% two or more ethnicities, and 0.4% additional groups (including American Indian or Alaska Native and
Native Hawaiian or Other Pacific Islander). In recent years, we also announced our goals to have 50% of our workforce made
up of underrepresented groups by 2024, and to increase the representation of people of color in leadership positions in the
United States, including Black leadership, by 30% from 2020 to 2025. We will also continue our ongoing efforts to increase
the representation of women in leadership.

       We work to support our goals of diversifying our workforce through recruiting, retention, people development, and
inclusion. We employ our Diverse Slate Approach in our global recruitment efforts, which ensures that teams and hiring
managers have the opportunity to consider qualified people from underrepresented groups for open roles. We have seen
steady increases in hiring rates of people from underrepresented groups since we started testing this approach in 2015. We
also continue to develop inclusive internship programs, and Meta University, our training program for college freshmen and
sophomores with an interest in Computer Science, also utilizes a proactive and inclusive approach to promote participation by
people from underrepresented groups. To help build community among our people and support their professional
development, we invest in our internal Meta Resource Groups and our annual Community events such as Women's



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Community Summit, Black Community Summit, Latin Community Summit, and Pride Community Summit. We also offer
Managing Unconscious Bias, Managing Inclusion, Be the Ally, and other trainings to promote an inclusive workplace by
helping people understand the issues that affect underrepresented communities and how to reduce the effects of bias in the
workplace.

      Compensation and Benefits

       We offer competitive compensation to attract and retain the best people, and we help care for our people so they can
focus on our mission. Our employees' total compensation package includes market-competitive salary, bonuses or sales
incentives, and equity. We generally offer full-time employees equity at the time of hire and through annual equity grants
because we want them to be owners of the company and committed to our long-term success. We have conducted pay equity
analyses for many years, and continue to be committed to pay equity. In 2021, we announced that our analyses indicate that
we continue to have pay equity across genders globally and race in the United States for people in similar jobs, accounting for
factors such as location, role, and level.

       Through Life@ Meta, our holistic approach to benefits, we provide our employees and their loved ones with resources
to help them thrive. We offer a wide range of benefits across areas such as health, family, finance, community, and time
away, including healthcare and wellness benefits, family building benefits, family care resources, retirement savings plans,
access to tax and legal services, Meta Resource Groups to build community at Meta, family leave, and paid time off.

Corporate Information

        We were incorporated in Delaware in July 2004. We completed our initial public offering in May 2012 and our
Class A common stock is currently listed on the Nasdaq Global Select Market under the symbol "FB." In October 2021, we
changed our corporate name from Facebook, Inc. to Meta Platforms, Inc. We expect our Class A common stock to cease
trading under the symbol "FB" and begin trading under the new symbol, "META," on the Nasdaq Global Select Market in the
first half of 2022. Our principal executive offices are located at 1601 Willow Road, Menlo Park, California 94025, and our
telephone number is (650) 543-4800.

       Meta, the Meta logo, Facebook, FB, Instagram, Oculus, WhatsApp, and our other registered or common law
trademarks, service marks, or trade names appearing in this Annual Report on Form 10-K are the property of Meta Platforms,
Inc. or its affiliates. Other trademarks, service marks, or trade names appearing in this Annual Report on Form 10‑K are the
property of their respective owners.

Available Information

       Our Annual Reports on Form 10-K, Quarterly Reports on Form 10-Q, Current Reports on Form 8-K, and amendments
to reports filed pursuant to Sections 13(a) and 15(d) of the Securities Exchange Act of 1934, as amended (Exchange Act), are
filed with the U.S. Securities and Exchange Commission (SEC). We are subject to the informational requirements of the
Exchange Act and file or furnish reports, proxy statements, and other information with the SEC. Such reports and other
information filed by us with the SEC are available free of charge on our website at investor.fb.com when such reports are
available on the SEC's website. We use our investor.fb.com and about.fb.com/news/ websites as well as Mark Zuckerberg's
Facebook Page (www.facebook.com/zuck) and Instagram account (www.instagram.com/zuck) as means of disclosing
material non-public information and for complying with our disclosure obligations under Regulation FD.

       The SEC maintains an Internet site that contains reports, proxy and information statements, and other information
regarding issuers that file electronically with the SEC at www.sec.gov.

       The contents of the websites referred to above are not incorporated into this filing. Further, our references to the URLs
for these websites are intended to be inactive textual references only.




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Item 1A. Risk Factors

Certain factors may have a material adverse effect on our business, financial condition, and results of operations. You should
consider carefully the risks and uncertainties described below, in addition to other information contained in this Annual
Report on Form 10-K, including our consolidated financial statements and related notes. The risks and uncertainties
described below are not the only ones we face. Additional risks and uncertainties that we are unaware of, or that we
currently believe are not material, may also become important factors that adversely affect our business. If any of the
following risks actually occurs, our business, financial condition, results of operations, and future prospects could be
materially and adversely affected. In that event, the trading price of our Class A common stock could decline, and you could
lose part or all of your investment.

Summary Risk Factors

       Our business is subject to a number of risks, including risks that may prevent us from achieving our business
objectives or may adversely affect our business, financial condition, results of operations, cash flows, and prospects. These
risks are discussed more fully below and include, but are not limited to, risks related to:

Risks Related to Our Product Offerings

    •    our ability to add and retain users and maintain levels of user engagement with our products;

    •    the loss of, or reduction in spending by, our marketers;

    •    reduced availability of data signals used by our ad targeting and measurement tools;

    •    ineffective operation with mobile operating systems or changes in our relationships with mobile operating system
         partners;

    •    failure of our new products, or changes to our existing products, to attract or retain users or generate revenue;

Risks Related to Our Business Operations and Financial Results

    •    the COVID-19 pandemic, including its impact on our advertising business;

    •    our ability to compete effectively;

    •    unfavorable media coverage and other risks affecting our ability to maintain and enhance our brands;

    •    volatile or slower user and revenue growth rates in the future;

    •    acquisitions and our ability to successfully integrate our acquisitions;

    •    our ability to build, maintain, and scale our technical infrastructure, and risks associated with disruptions in our
         service;

    •    operating our business in multiple countries around the world;

    •    litigation, including class action lawsuits;

Risks Related to Government Regulation and Enforcement

    •    government restrictions on access to Facebook or our other products, or other actions that impair our ability to sell
         advertising, in their countries;

    •    complex and evolving U.S. and foreign privacy, data use and data protection, content, competition, consumer
         protection, and other laws and regulations;



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    •    the impact of government investigations, enforcement actions, and settlements, including litigation and
         investigations by privacy and competition authorities;

    •    our ability to comply with regulatory and legislative privacy requirements, including our consent order with the
         Federal Trade Commission (FTC);

Risks Related to Data, Security, and Intellectual Property

    •    the occurrence of security breaches, improper access to or disclosure of our data or user data, and other cyber
         incidents or undesirable activity on our platform;

    •    our ability to obtain, maintain, protect, and enforce our intellectual property rights; and

Risks Related to Ownership of Our Class A Common Stock

    •    limitations on the ability of holders of our Class A Common Stock to influence corporate matters due to the dual
         class structure of our common stock and the control of a majority of the voting power of our outstanding capital
         stock by our founder, Chairman, and CEO.

                                           Risks Related to Our Product Offerings

If we fail to retain existing users or add new users, or if our users decrease their level of engagement with our products,
our revenue, financial results, and business may be significantly harmed.

       The size of our user base and our users' level of engagement across our products are critical to our success. Our
financial performance has been and will continue to be significantly determined by our success in adding, retaining, and
engaging active users of our products that deliver ad impressions, particularly for Facebook and Instagram. We anticipate that
our active user growth rate will continue to generally decline over time as the size of our active user base increases. In
addition, we have experienced, and expect to continue to experience, fluctuations and declines in the size of our active user
base in one or more markets from time to time, particularly in markets where we have achieved higher penetration rates. User
growth and engagement are also impacted by a number of other factors, including competitive products and services, such as
TikTok, that have reduced some users' engagement with our products and services, as well as global and regional business
and macroeconomic conditions. For example, beginning in the first quarter of 2020, we experienced significant increases in
the size and engagement of our active user base across a number of regions as a result of the COVID-19 pandemic. More
recently, we have seen these pandemic-related trends subside. We are unable to predict the impact of the pandemic on user
growth and engagement with any certainty, and these trends may continue to be subject to volatility. In the fourth quarter of
2021, we experienced a slight decline on a quarter-over-quarter basis in the total number of DAUs on Facebook, as well as a
slight decline on a quarter-over-quarter basis in the number of DAUs on Facebook in the United States & Canada region. Any
future declines in the size of our active user base may adversely impact our ability to deliver ad impressions and, in turn, our
financial performance.

       If people do not perceive our products to be useful, reliable, and trustworthy, we may not be able to attract or retain
users or otherwise maintain or increase the frequency and duration of their engagement. A number of other social networking
companies that achieved early popularity have since seen their active user bases or levels of engagement decline, in some
cases precipitously. There is no guarantee that we will not experience a similar erosion of our active user base or engagement
levels. Our user engagement patterns have changed over time, and user engagement can be difficult to measure, particularly
as we introduce new and different products and services. Any number of factors can negatively affect user retention, growth,
and engagement, including if:

    •    users increasingly engage with other competitive products or services;

    •    we fail to introduce new features, products, or services that users find engaging or if we introduce new products or
         services, or make changes to existing products and services, that are not favorably received;

    •    users feel that their experience is diminished as a result of the decisions we make with respect to the frequency,



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    prominence, format, size, and quality of ads that we display;

•   users have difficulty installing, updating, or otherwise accessing our products on mobile devices as a result of
    actions by us or third parties that we rely on to distribute our products and deliver our services;

•   user behavior on any of our products changes, including decreases in the quality and frequency of content shared on
    our products and services;

•   we are unable to continue to develop products for mobile devices that users find engaging, that work with a variety
    of mobile operating systems and networks, and that achieve a high level of market acceptance;

•   there are decreases in user sentiment due to questions about the quality or usefulness of our products or our user data
    practices, concerns about the nature of content made available on our products, or concerns related to privacy,
    safety, security, well-being, or other factors;

•   we are unable to manage and prioritize information to ensure users are presented with content that is appropriate,
    interesting, useful, and relevant to them;

•   we are unable to obtain or attract engaging third-party content;

•   we are unable to successfully maintain or grow usage of and engagement with mobile and web applications that
    integrate with our products;

•   users adopt new technologies where our products may be displaced in favor of other products or services, or may not
    be featured or otherwise available;

•   there are changes mandated by legislation, government and regulatory authorities, or litigation that adversely affect
    our products or users;

•   we are unable to offer a number of our most significant products and services, including Facebook and Instagram, in
    Europe, or are otherwise limited in our business operations, as a result of European regulators, courts, or legislative
    bodies determining that our reliance on Standard Contractual Clauses (SCCs) or other legal bases we rely upon to
    transfer user data from the European Union to the United States is invalid;

•   there is decreased engagement with our products, or failure to accept our terms of service, as part of privacy-focused
    changes that we have implemented or may implement in the future, whether voluntarily, in connection with the
    General Data Protection Regulation (GDPR), the European Union's ePrivacy Directive, the California Consumer
    Privacy Act (CCPA), or other laws, regulations, or regulatory actions, or otherwise;

•   technical or other problems prevent us from delivering our products in a rapid and reliable manner or otherwise
    affect the user experience, such as security breaches or failure to prevent or limit spam or similar content;

•   we adopt terms, policies, or procedures related to areas such as sharing, content, user data, or advertising, or we take,
    or fail to take, actions to enforce our policies, that are perceived negatively by our users or the general public,
    including as a result of decisions or recommendations from the independent Oversight Board regarding content on
    our platform;

•   we elect to focus our product decisions on longer-term initiatives that do not prioritize near-term user growth and
    engagement (for example, we have announced plans to focus product decisions on optimizing the young adult
    experience in the long term);

•   we make changes in how we promote different products and services across our family of products;

•   initiatives designed to attract and retain users and engagement are unsuccessful or discontinued, whether as a result
    of actions by us, third parties, or otherwise;




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    •     third-party initiatives that may enable greater use of our products, including low-cost or discounted data plans, are
          scaled back or discontinued, or the pricing of data plans otherwise increases;

    •     there is decreased engagement with our products as a result of taxes imposed on the use of social media or other
          mobile applications in certain countries, internet shutdowns, or other actions by governments that affect the
          accessibility of our products in their countries;

    •     we fail to provide adequate customer service to users, marketers, developers, or other partners;

    •     we, developers whose products are integrated with our products, or other partners and companies in our industry are
          the subject of adverse media reports or other negative publicity, including as a result of our or their user data
          practices; or

    •     our current or future products, such as our development tools and application programming interfaces that enable
          developers to build, grow, and monetize mobile and web applications, reduce user activity on our products by
          making it easier for our users to interact and share on third-party mobile and web applications.

       From time to time, certain of these factors have negatively affected user retention, growth, and engagement to varying
degrees. If we are unable to maintain or increase our user base and user engagement, particularly for our significant revenue-
generating products like Facebook and Instagram, our revenue and financial results may be adversely affected. Any
significant decrease in user retention, growth, or engagement could render our products less attractive to users, marketers, and
developers, which is likely to have a material and adverse impact on our ability to deliver ad impressions and, accordingly,
our revenue, business, financial condition, and results of operations. As our active user growth rate continues to slow, we will
become increasingly dependent on our ability to maintain or increase levels of user engagement and monetization in order to
drive revenue growth.

We generate substantially all of our revenue from advertising. The loss of marketers, or reduction in spending by
marketers, could seriously harm our business.

        Substantially all of our revenue is currently generated from third parties advertising on Facebook and Instagram. As is
common in the industry, our marketers do not have long-term advertising commitments with us. Many of our marketers
spend only a relatively small portion of their overall advertising budget with us. Marketers will not continue to do business
with us, or they will reduce the budgets they are willing to commit to us, if we do not deliver ads in an effective manner, if
they do not believe that their investment in advertising with us will generate a competitive return relative to other alternatives,
or if they are not satisfied for any other reason. We have implemented, and we will continue to implement, changes to our
user data practices. Some of these changes reduce our ability to effectively target ads, which has to some extent adversely
affected, and will continue to adversely affect, our advertising business. If we are unable to provide marketers with a suitable
return on investment, the pricing of our ads may not increase, or may decline, in which case our revenue and financial results
may be harmed.

        Our advertising revenue can also be adversely affected by a number of other factors, including:

    •     decreases in user engagement, including time spent on our products;

    •     our inability to continue to increase user access to and engagement with our products;

    •     product changes or inventory management decisions we may make that change the size, format, frequency, or
          relative prominence of ads displayed on our products or of other unpaid content shared by marketers on our
          products;

    •     our inability to maintain or increase marketer demand, the pricing of our ads, or both;

    •     our inability to maintain or increase the quantity or quality of ads shown to users;

    •     changes to third-party policies that limit our ability to deliver, target, or measure the effectiveness of advertising,
          including changes by mobile operating system and browser providers such as Apple and Google;



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    •    adverse government actions or legislative, regulatory, or other legal developments relating to advertising, including
         developments that may impact our ability to deliver, target, or measure the effectiveness of advertising;

    •    user behavior or product changes that may reduce traffic to features or products that we successfully monetize, such
         as our feed and Stories products, including as a result of increased usage of our Reels or other video or messaging
         products;

    •    reductions of advertising by marketers due to our efforts to implement or enforce advertising policies that protect the
         security and integrity of our platform;

    •    the availability, accuracy, utility, and security of analytics and measurement solutions offered by us or third parties
         that demonstrate the value of our ads to marketers, or our ability to further improve such tools;

    •    loss of advertising market share to our competitors, including if prices to purchase our ads increase or if competitors
         offer lower priced, more integrated, or otherwise more effective products;

    •    limitations on our ability to offer a number of our most significant products and services, including Facebook and
         Instagram, in Europe as a result of European regulators, courts, or legislative bodies determining that our reliance on
         SCCs or other legal bases we rely upon to transfer user data from the European Union to the United States is invalid;

    •    changes in our marketing and sales or other operations that we are required to or elect to make as a result of risks
         related to complying with foreign laws or regulatory requirements or other government actions;

    •    decisions by marketers to reduce their advertising as a result of announcements by us or adverse media reports or
         other negative publicity involving us, our user data practices, our advertising metrics or tools, content on our
         products, our interpretation, implementation, or enforcement of policies relating to content on our products
         (including as a result of decisions or recommendations from the independent Oversight Board), developers with
         mobile and web applications that are integrated with our products, or other companies in our industry;

    •    reductions of advertising by marketers due to objectionable content made available on our products by third parties,
         questions about our user data practices or the security of our platform, concerns about brand safety or potential legal
         liability, or uncertainty regarding their own legal and compliance obligations (for example, a number of marketers
         announced that they paused advertising with us in July 2020 due to concerns about content on our products);

    •    the effectiveness of our ad targeting or degree to which users opt in or out of the use of data for ads, including as a
         result of product changes and controls that we have implemented or may implement in the future in connection with
         the GDPR, ePrivacy Directive, California Consumer Privacy Act (CCPA), other laws, regulations, regulatory
         actions, or litigation, or otherwise, that impact our ability to use data for advertising purposes;

    •    the degree to which users cease or reduce the number of times they engage with our ads;

    •    changes in the way advertising on mobile devices or on personal computers is measured or priced;

    •    the success of technologies designed to block the display of ads or ad measurement tools;

    •    changes in the composition of our marketer base or our inability to maintain or grow our marketer base; and

    •    the impact of macroeconomic and geopolitical conditions, whether in the advertising industry in general, or among
         specific types of marketers or within particular geographies.

       From time to time, certain of these factors have adversely affected our advertising revenue to varying degrees. The
occurrence of any of these or other factors in the future could result in a reduction in demand for our ads, which may reduce
the prices we receive for our ads, or cause marketers to stop advertising with us altogether, either of which would negatively
affect our revenue and financial results. For example, macroeconomic conditions have affected, and may in the future affect,
marketers' ability or willingness to spend with us, as we experienced in 2020 with the regional and worldwide economic



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disruption related to the COVID-19 pandemic and associated declines in advertising activity on our products. The effects of
the pandemic previously resulted in reduced demand for our ads, a related decline in pricing of our ads, and additional
demands on our technical infrastructure as a result of increased usage of our services, and any similar occurrences in the
future may impair our ability to maintain or increase the quantity or quality of ads shown to users and adversely affect our
revenue and financial results.

Our advertising revenue is dependent on targeting and measurement tools that incorporate data signals from user activity
on websites and services that we do not control, and changes to the regulatory environment, third-party mobile operating
systems and browsers, and our own products have impacted, and we expect will continue to impact, the availability of such
signals, which will adversely affect our advertising revenue.

       We rely on data signals from user activity on websites and services that we do not control in order to deliver relevant
and effective ads to our users. Our advertising revenue is dependent on targeting and measurement tools that incorporate
these signals, and any changes in our ability to use such signals will adversely affect our business. For example, legislative
and regulatory developments, such as the GDPR, ePrivacy Directive, and CCPA, have impacted, and we expect will continue
to impact, our ability to use such signals in our ad products. In particular, we have seen an increasing number of users opt to
control certain types of ad targeting in Europe following adoption of the GDPR, which will increase further with expanded
control over certain third-party data as part of our ePrivacy Directive compliance, and we have introduced product changes
that limit data signal use for certain users in California following adoption of the CCPA. Regulatory guidance or decisions or
new legislation in these or other jurisdictions may require us to make additional changes to our products in the future that
further reduce our ability to use these signals. In addition, mobile operating system and browser providers, such as Apple and
Google, have implemented product changes and/or announced future plans to limit the ability of websites and application
developers to collect and use these signals to target and measure advertising. For example, in 2021, Apple made certain
changes to its products and data use policies in connection with changes to its iOS operating system that reduce our and other
iOS developers' ability to target and measure advertising, which has negatively impacted, and we expect will continue to
negatively impact, the size of the budgets marketers are willing to commit to us and other advertising platforms. In addition,
we have implemented, and may continue to implement, product changes that give users the ability to limit our use of such
data signals to improve ads and other experiences on our products and services, including our Off-Facebook Activity tool and
our worldwide offering of certain product changes we implemented in connection with the GDPR. These developments have
limited our ability to target and measure the effectiveness of ads on our platform and negatively impacted our advertising
revenue. For example, our advertising revenue in the second half of 2021 was negatively impacted by marketer reaction to
targeting and measurement challenges associated with iOS changes. If we are unable to mitigate these developments as they
take further effect in the future, our targeting and measurement capabilities will be materially and adversely affected, which
would in turn significantly impact our future advertising revenue growth.

Our user growth, engagement, and monetization on mobile devices depend upon effective operation with mobile operating
systems, networks, technologies, products, and standards that we do not control.

       The substantial majority of our revenue is generated from advertising on mobile devices. There is no guarantee that
popular mobile devices will continue to feature our products, or that mobile device users will continue to use our products
rather than competing products. We are dependent on the interoperability of our products with popular mobile operating
systems, networks, technologies, products, and standards that we do not control, such as the Android and iOS operating
systems and mobile browsers. Any changes, bugs, or technical issues in such systems, or changes in our relationships with
mobile operating system partners, handset manufacturers, browser developers, or mobile carriers, or in their terms of service
or policies that degrade our products' functionality, reduce or eliminate our ability to update or distribute our products, give
preferential treatment to competitive products, limit our ability to deliver, target, or measure the effectiveness of ads, or
charge fees related to the distribution of our products or our delivery of ads could adversely affect the usage of our products
and monetization on mobile devices. For example, Apple previously released an update to its Safari browser that limits the
use of third-party cookies, which reduces our ability to provide the most relevant ads to our users and impacts monetization,
and also released changes to iOS that limit our ability to target and measure ads effectively. We expect that any similar
changes to its, Google's, or other browser or mobile platforms will further limit our ability to target and measure the
effectiveness of ads and impact monetization. Additionally, in order to deliver high quality mobile products, it is important
that our products work well with a range of mobile technologies, products, systems, networks, and standards that we do not
control, and that we have good relationships with handset manufacturers, mobile carriers, and browser developers. We may
not be successful in maintaining or developing relationships with key participants in the mobile ecosystem or in developing
products that operate effectively with these technologies, products, systems, networks, or standards. In the event that it is



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more difficult for our users to access and use our products on their mobile devices, or if our users choose not to access or use
our products on their mobile devices or use mobile products that do not offer access to our products, our user growth and user
engagement could be harmed. From time to time, we may also take actions regarding the distribution of our products or the
operation of our business based on what we believe to be in our long-term best interests. Such actions may adversely affect
our users and our relationships with the operators of mobile operating systems, handset manufacturers, mobile carriers,
browser developers, other business partners, or advertisers, and there is no assurance that these actions will result in the
anticipated long-term benefits. In the event that our users are adversely affected by these actions or if our relationships with
such third parties deteriorate, our user growth, engagement, and monetization could be adversely affected and our business
could be harmed. We have in the past experienced challenges in operating with mobile operating systems, networks,
technologies, products, and standards that we do not control, and any such occurrences in the future may negatively impact
our user growth, engagement, and monetization on mobile devices, which may in turn materially and adversely affect our
business and financial results.

Our new products and changes to existing products could fail to attract or retain users or generate revenue and profits.

       Our ability to retain, increase, and engage our user base and to increase our revenue depends heavily on our ability to
continue to evolve our existing products and to create successful new products, both independently and in conjunction with
developers or other third parties. We may introduce significant changes to our existing products or acquire or introduce new
and unproven products, including using technologies with which we have little or no prior development or operating
experience. For example, we do not have significant experience with consumer hardware products or virtual or augmented
reality technology, which may adversely affect our ability to successfully develop and market these products and
technologies. We continue to incur substantial costs, and we may not be successful in generating profits, in connection with
these efforts. In addition, the introduction of new products, or changes to existing products, may result in new or enhanced
governmental or regulatory scrutiny, litigation, or other complications that could adversely affect our business and financial
results. We have also invested, and expect to continue to invest, significant resources in growing our WhatsApp and
Messenger products to support increasing usage of such products. We have historically monetized messaging in only a
limited fashion, and we may not be successful in our efforts to generate meaningful revenue or profits from messaging over
the long term. In addition, we are moving forward with plans to implement end-to-end encryption across our messaging
services, as well as facilitate cross-app communication between these platforms, which plans have drawn governmental and
regulatory scrutiny in multiple jurisdictions. If our new or enhanced products fail to engage users, marketers, or developers,
or if our business plans are unsuccessful, we may fail to attract or retain users or to generate sufficient revenue, operating
margin, or other value to justify our investments, and our business may be adversely affected.

We make product and investment decisions that may not prioritize short-term financial results and may not produce the
long-term benefits that we expect.

       We frequently make product and investment decisions that may not prioritize short-term financial results if we believe
that the decisions are consistent with our mission and benefit the aggregate user experience and will thereby improve our
financial performance over the long term. For example, we have implemented, and we will continue to implement, changes to
our user data practices. Some of these changes reduce our ability to effectively target ads, which has to some extent adversely
affected, and will continue to adversely affect, our advertising business. For example, our Off-Facebook Activity tool enables
users to place limits on our storage and use of information about their interactions with advertisers' apps and websites, which
reduces our ability to deliver the most relevant and effective ads to our users. Similarly, from time to time we update our
News Feed ranking algorithm to optimize the user experience, and these changes have had, and may in the future have, the
effect of reducing time spent and some measures of user engagement with Facebook, which could adversely affect our
financial results. From time to time, we also change the size, frequency, or relative prominence of ads as part of our product
and monetization strategies. In addition, we have made, and we expect to continue to make, other changes to our products
which may adversely affect the distribution of content of publishers, marketers, and developers, and could reduce their
incentive to invest in their efforts on our products. We also may introduce new features or other changes to existing products,
or introduce new stand-alone products, that attract users away from properties, formats, or use cases where we have more
proven means of monetization, such as our feed products. In addition, as we focus on growing users and engagement across
our family of products, from time to time these efforts have reduced, and may in the future reduce, engagement with one or
more products and services in favor of other products or services that we monetize less successfully or that are not growing as
quickly. For example, we plan to continue to promote Reels, which we do not currently monetize at the same rate as our feed
or Stories products. These decisions may adversely affect our business and results of operations and may not produce the
long-term benefits that we expect.



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We may not be successful in our metaverse strategy and investments, which could adversely affect our business,
reputation, or financial results.

       We believe the metaverse, an embodied internet where people have immersive experiences beyond two-dimensional
screens, is the next evolution in social technology. In 2021, we announced a shift in our business and product strategy to
focus on helping to bring the metaverse to life. We expect this will be a complex, evolving, and long-term initiative that will
involve the development of new and emerging technologies, continued investment in privacy, safety, and security efforts, and
collaboration with other companies, developers, partners, and other participants. However, the metaverse may not develop in
accordance with our expectations, and market acceptance of features, products, or services we build for the metaverse is
uncertain. In addition, we have limited experience with consumer hardware products and virtual and augmented reality
technology, which may enable other companies to compete more effectively than us. We may be unsuccessful in our research
and product development efforts, including if we are unable to develop relationships with key participants in the metaverse or
develop products that operate effectively with metaverse technologies, products, systems, networks, or standards. Our
metaverse efforts may also divert resources and management attention from other areas of our business. We expect to
continue to make significant investments in virtual and augmented reality and other technologies to support these efforts, and
our ability to support these efforts is dependent on generating sufficient profits from other areas of our business. In addition,
as our metaverse efforts evolve, we may be subject to a variety of existing or new laws and regulations in the United States
and international jurisdictions, including in the areas of privacy and e-commerce, which may delay or impede the
development of our products and services, increase our operating costs, require significant management time and attention, or
otherwise harm our business. As a result of these or other factors, our metaverse strategy and investments may not be
successful in the foreseeable future, or at all, which could adversely affect our business, reputation, or financial results.

If we are not able to maintain and enhance our brands, our ability to expand our base of users, marketers, and developers
may be impaired, and our business and financial results may be harmed.

        We believe that our brands have significantly contributed to the success of our business. We also believe that
maintaining and enhancing our brands is critical to expanding our base of users, marketers, and developers. Many of our new
users are referred by existing users. Maintaining and enhancing our brands will depend largely on our ability to continue to
provide useful, reliable, trustworthy, and innovative products, which we may not do successfully. We may introduce new
products or terms of service or policies that users do not like, which may negatively affect our brands. Additionally, the
actions of our developers or advertisers may affect our brands if users do not have a positive experience using third-party
mobile and web applications integrated with our products or interacting with parties that advertise through our products. We
will also continue to experience media, legislative, or regulatory scrutiny of our actions or decisions regarding user privacy,
data use, encryption, content, product design, algorithms, advertising, competition, and other issues, including actions or
decisions in connection with elections or the COVID-19 pandemic, which has in the past adversely affected, and may in the
future adversely affect, our reputation and brands. For example, beginning in September 2021, we became the subject of
media, legislative, and regulatory scrutiny as a result of a former employee's allegations and release of internal company
documents relating to, among other things, our algorithms, advertising and user metrics, and content enforcement practices,
as well as misinformation and other undesirable activity on our platform, and user well-being. In addition, in March 2018, we
announced developments regarding the misuse of certain data by a developer that shared such data with third parties in
violation of our terms and policies. We also may fail to respond expeditiously or appropriately to the sharing of objectionable
content on our services or objectionable practices by advertisers or developers, or to otherwise enforce our policies or address
user concerns, which has occurred in the past and which could erode confidence in our brands. Our brands may also be
negatively affected by the actions of users that are deemed to be hostile or inappropriate to other users, by the actions of users
acting under false or inauthentic identities, by the use of our products or services to disseminate information that is deemed to
be misleading (or intended to manipulate opinions), by perceived or actual efforts by governments to obtain access to user
information for security-related purposes or to censor certain content on our platform, by the use of our products or services
for illicit or objectionable ends, including, for example, any such actions around the pandemic or elections in the United
States and around the world, by decisions or recommendations regarding content on our platform from the independent
Oversight Board, by research or media reports concerning the perceived or actual impacts of our products or services on user
well-being, or by our decisions to remove content or suspend participation on our platform by persons who violate our
community standards or terms of service. Maintaining and enhancing our brands will require us to make substantial
investments and these investments may not be successful. Certain of our actions, such as the foregoing matter regarding
developer misuse of data and concerns around our handling of political speech and advertising, hate speech, and other
content, as well as user well-being issues, have eroded confidence in our brands and may continue to do so in the future. If we



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fail to successfully promote and maintain our brands or if we incur excessive expenses in this effort, our business and
financial results may be adversely affected.

We may not be able to continue to successfully maintain or grow usage of and engagement with mobile and web
applications that integrate with Facebook and our other products.

        We have made and are continuing to make investments to enable developers to build, grow, and monetize mobile and
web applications that integrate with Facebook and our other products. Such existing and prospective developers may not be
successful in building, growing, or monetizing mobile and/or web applications that create and maintain user engagement.
Additionally, developers may choose to build on other platforms, including mobile platforms controlled by third parties,
rather than building products that integrate with Facebook and our other products. We are continuously seeking to balance the
distribution objectives of our developers with our desire to provide an optimal user experience, and we may not be successful
in achieving a balance that continues to attract and retain such developers. For example, from time to time, we have taken
actions to reduce the volume of communications from these developers to users on Facebook and our other products with the
objective of enhancing the user experience, and such actions have reduced distribution from, user engagement with, and our
monetization opportunities from, mobile and web applications integrated with our products. In addition, as part of our efforts
related to privacy, safety, and security, we conduct investigations and audits of platform applications from time to time, and
we also have announced several product changes that restrict developer access to certain user data. In some instances, these
actions, as well as other actions to enforce our policies applicable to developers, have adversely affected, or will adversely
affect, our relationships with developers. If we are not successful in our efforts to maintain or grow the number of developers
that choose to build products that integrate with Facebook and our other products or if we are unable to continue to build and
maintain good relations with such developers, our user growth and user engagement and our financial results may be
adversely affected.

                             Risks Related to Our Business Operations and Financial Results

The COVID-19 pandemic has previously had, and may in the future have, a significant adverse impact on our advertising
revenue and also exposes our business to other risks.

       The COVID-19 pandemic has resulted in authorities implementing numerous preventative measures from time to time
to contain or mitigate the outbreak of the virus, such as travel bans and restrictions, limitations on business activity,
quarantines, and shelter-in-place orders. These measures have caused, and are continuing to cause, business slowdowns or
shutdowns in certain affected countries and regions, which have previously significantly impacted our business and results of
operations. For example, in the second quarter of 2020, our advertising revenue grew 10% year-over-year, which was the
slowest growth rate for any fiscal quarter since our initial public offering. While our advertising revenue growth rate
improved in subsequent quarters, there can be no assurance that it will not decrease again as a result of the effects of the
pandemic. In addition, we believe that the pandemic previously contributed to an acceleration in the growth of online
commerce, which in turn increased demand for our advertising services. More recently, we believe this growth has moderated
in many regions, and we may experience reduced advertising demand and related declines in pricing in future periods to the
extent this trend continues, which could adversely affect our advertising revenue growth. The demand for and pricing of our
advertising services may be materially and adversely impacted by the pandemic for the foreseeable future, and we are unable
to predict the duration or degree of such impact with any certainty. In addition to the impact on our advertising business, the
pandemic exposes our business, operations, and workforce to a variety of other risks, including:

    •    volatility in the size of our user base and user engagement, particularly for our messaging products, whether as a
         result of shelter-in-place measures or other factors;

    •    delays in product development or releases, or reductions in manufacturing production and sales of consumer
         hardware, as a result of inventory shortages, supply chain or labor shortages;

    •    increased misuse of our products and services or user data by third parties, including improper advertising practices
         or other activity inconsistent with our terms, contracts, or policies, misinformation or other illicit or objectionable
         material on our platforms, election interference, or other undesirable activity;




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    •    adverse impacts to our efforts to combat misuse of our products and services and user data as a result of limitations
         on our safety, security, and content review efforts while our workforce is working remotely, such as the necessity to
         rely more heavily on artificial intelligence to perform tasks that our workforce is unable to perform;

    •    significant volatility and disruption of global financial markets, which could cause fluctuations in currency exchange
         rates or negatively impact our ability to access capital in the future;

    •    negative impact on our workforce productivity, product development, and research and development due to
         difficulties resulting from our personnel working remotely;

    •    illnesses to key employees, or a significant portion of our workforce, which may result in inefficiencies, delays, and
         disruptions in our business; and

    •    increased volatility and uncertainty in the financial projections we use as the basis for estimates used in our financial
         statements.

        Any of these developments may adversely affect our business, harm our reputation, or result in legal or regulatory
actions against us. The persistence of COVID-19, and the preventative measures implemented to help limit the spread of the
illness, have impacted, and will continue to impact, our ability to operate our business and may materially and adversely
impact our business, financial condition, and results of operations.

Our business is highly competitive. Competition presents an ongoing threat to the success of our business.

       We compete with companies providing connection, sharing, discovery, and communication products and services to
users online, as well as companies that sell advertising to businesses looking to reach consumers and/or develop tools and
systems for managing and optimizing advertising campaigns. We face significant competition in every aspect of our business,
including, but not limited to, companies that facilitate the ability of users to share, communicate, and discover content and
information online or enable marketers to reach their existing or prospective audiences, including, for example, Alphabet
(Google and YouTube), Amazon, Apple, ByteDance (TikTok), Microsoft, Snap (Snapchat), Tencent (WeChat), and Twitter.
We compete to attract, engage, and retain people who use our products, to attract and retain businesses that use our free or
paid business and advertising services, and to attract and retain developers who build compelling mobile and web
applications that integrate with our products. We also compete with companies that develop and deliver consumer hardware
and virtual and augmented reality products and services. As we introduce or acquire new products, as our existing products
evolve, or as other companies introduce new products and services, including as part of efforts to develop the metaverse, we
may become subject to additional competition.

       Some of our current and potential competitors may have greater resources, experience, or stronger competitive
positions in certain product segments, geographic regions, or user demographics than we do. For example, some of our
competitors may be domiciled in different countries and subject to political, legal, and regulatory regimes that enable them to
compete more effectively than us. These factors may allow our competitors to respond more effectively than us to new or
emerging technologies and changes in market conditions. We believe that some users, particularly younger users, are aware
of and actively engaging with other products and services similar to, or as a substitute for, our products and services, and we
believe that some users have reduced their use of and engagement with our products and services in favor of these other
products and services. In the event that users increasingly engage with other products and services, we may experience a
decline in use and engagement in key user demographics or more broadly, in which case our business would likely be
harmed.

       Our competitors may develop products, features, or services that are similar to ours or that achieve greater acceptance,
may undertake more far-reaching and successful product development efforts or marketing campaigns, or may adopt more
aggressive pricing policies. Some competitors may gain a competitive advantage against us in areas where we operate,
including: by making acquisitions; by limiting our ability to deliver, target, or measure the effectiveness of ads; by imposing
fees or other charges related to our delivery of ads; by making access to our products more difficult or impossible; by making
it more difficult to communicate with our users; or by integrating competing platforms, applications, or features into products
they control such as mobile device operating systems, search engines, browsers, or e-commerce platforms. For example, each
of Apple and Google have integrated competitive products with iOS and Android, respectively. In addition, Apple has
released changes to iOS that limit our ability, and the ability of others in the digital advertising industry, to target and



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measure ads effectively. As a result, our competitors may, and in some cases will, acquire and engage users or generate
advertising or other revenue at the expense of our own efforts, which would negatively affect our business and financial
results. In addition, from time to time, we may take actions in response to competitive threats, but we cannot assure you that
these actions will be successful or that they will not negatively affect our business and financial results.

       We believe that our ability to compete effectively depends upon many factors both within and beyond our control,
including:

    •    the popularity, usefulness, ease of use, performance, and reliability of our products compared to our competitors'
         products;

    •    the size and composition of our user base;

    •    the engagement of users with our products and competing products;

    •    our ability to attract and retain businesses who use our free or paid business and advertising services;

    •    the timing and market acceptance of products, including developments and enhancements to our or our competitors'
         products;

    •    our safety and security efforts and our ability to protect user data and to provide users with control over their data;

    •    our ability to distribute our products to new and existing users;

    •    our ability to monetize our products;

    •    the frequency, size, format, quality, and relative prominence of the ads displayed by us or our competitors;

    •    customer service and support efforts;

    •    marketing and selling efforts, including our ability to measure the effectiveness of our ads and to provide marketers
         with a compelling return on their investments;

    •    our ability to establish and maintain developers' interest in building mobile and web applications that integrate with
         Facebook and our other products;

    •    our ability to establish and maintain publisher interest in integrating their content with Facebook and our other
         products;

    •    changes mandated by legislation, regulatory authorities, or litigation, some of which may have a disproportionate
         effect on us;

    •    acquisitions or consolidation within our industry, which may result in more formidable competitors;

    •    our ability to attract, retain, and motivate talented employees, particularly software engineers, designers, and product
         managers;

    •    our ability to cost-effectively manage and grow our operations; and

    •    our reputation and brand strength relative to those of our competitors.

      If we are not able to compete effectively, our user base, level of user engagement, and ability to deliver ad impressions
may decrease, we may become less attractive to developers and marketers, and our revenue and results of operations may be
materially and adversely affected.




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Unfavorable media coverage negatively affects our business from time to time.

       We receive a high degree of media coverage around the world. Unfavorable publicity regarding, for example, our
privacy practices, advertising policies, product changes, product quality, litigation or regulatory activity, government
surveillance, the actions of our advertisers, the actions of our developers whose products are integrated with our products, the
use of our products or services for illicit or objectionable ends, the substance or enforcement of our community standards,
terms of service, or other policies, the actions of our users, the quality and integrity of content shared on our platform, the
perceived or actual impacts of our products or services on user well-being, or the actions of other companies that provide
similar services to ours, has in the past, and could in the future, adversely affect our reputation. For example, we have been
the subject of significant media coverage involving concerns around our handling of political speech and advertising, hate
speech, and other content, as well as user well-being issues, and we continue to receive negative publicity related to these
topics. Beginning in September 2021, we became the subject of significant media coverage as a result of allegations and the
release of internal company documents by a former employee. In addition, we have been, and may in the future be, subject to
negative publicity in connection with our handling of misinformation and other illicit or objectionable use of our products or
services, including in connection with the COVID-19 pandemic and elections in the United States and around the world. Any
such negative publicity could have an adverse effect on the size, engagement, and loyalty of our user base and marketer
demand for advertising on our products, which could result in decreased revenue and adversely affect our business and
financial results, and we have experienced such adverse effects to varying degrees from time to time.

Our financial results will fluctuate from quarter to quarter and are difficult to predict.

        Our quarterly financial results have fluctuated in the past and will fluctuate in the future. Additionally, we have a
limited operating history with the current scale of our business, which makes it difficult to forecast our future results. As a
result, you should not rely upon our past quarterly financial results as indicators of future performance. You should take into
account the risks and uncertainties frequently encountered by companies in rapidly evolving markets. Our financial results in
any given quarter can be influenced by numerous factors, many of which we are unable to predict or are outside of our
control, including:

    •    our ability to maintain and grow our user base and user engagement, particularly for our products that deliver ad
         impressions;

    •    our ability to attract and retain marketers in a particular period;

    •    our ability to recognize revenue or collect payments from marketers in a particular period, including as a result of
         the effects of the COVID-19 pandemic;

    •    fluctuations in spending by our marketers due to seasonality, such as historically strong spending in the fourth
         quarter of each year, episodic regional or global events, including the COVID-19 pandemic, or other factors;

    •    the frequency, prominence, size, format, and quality of ads shown to users;

    •    the success of technologies designed to block the display of ads;

    •    changes to third-party policies that limit our ability to deliver, target, or measure the effectiveness of advertising,
         including changes by mobile operating system and browser providers such as Apple and Google;

    •    the pricing of our ads and other products;

    •    the diversification and growth of revenue sources beyond advertising on Facebook and Instagram;

    •    our ability to generate revenue from Payments, or the sale of our consumer hardware products or other products we
         may introduce in the future;

    •    changes to existing products or services or the development and introduction of new products or services by us or
         our competitors;




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•   user behavior or product changes that may reduce traffic to features or products that we successfully monetize;

•   increases in marketing, sales, and other operating expenses that we will incur to grow and expand our operations and
    to remain competitive, including costs related to our data centers and technical infrastructure;

•   costs related to our privacy, safety, security, and content review efforts, including as a result of implementing
    changes to our practices, whether voluntarily, in connection with laws, regulations, regulatory actions, or decisions
    or recommendations from the independent Oversight Board, or otherwise;

•   costs and expenses related to the development, manufacturing, and delivery of our consumer hardware products;

•   our ability to maintain gross margins and operating margins;

•   costs related to acquisitions, including costs associated with amortization and additional investments to develop the
    acquired technologies;

•   charges associated with impairment of any assets on our balance sheet;

•   our ability to obtain equipment, components, and labor for our data centers and other technical infrastructure in a
    timely and cost-effective manner;

•   system failures or outages or government blocking, which could prevent us from serving ads for any period of time;

•   breaches of security or privacy, and the costs associated with any such breaches and remediation;

•   changes in the manner in which we distribute our products or inaccessibility of our products due to third-party
    actions;

•   fees paid to third parties for content or the distribution of our products;

•   refunds or other concessions provided to advertisers;

•   share-based compensation expense, including acquisition-related expense;

•   adverse litigation judgments, settlements, or other litigation-related costs;

•   changes in the legislative or regulatory environment, including with respect to privacy, data protection, and content,
    or actions by governments or regulators, including fines, orders, or consent decrees;

•   the overall tax rate for our business, which is affected by the mix of income we earn in the U.S. and in jurisdictions
    with different tax rates, the effects of share-based compensation, the effects of integrating intellectual property from
    acquisitions, the effects of changes in our business or structure, and the effects of discrete items such as legal and tax
    settlements and tax elections;

•   the impact of changes in tax laws or judicial or regulatory interpretations of tax laws, which are recorded in the
    period such laws are enacted or interpretations are issued, and may significantly affect the effective tax rate of that
    period;

•   tax obligations that may arise from resolutions of tax examinations, including the examination we are currently
    under by the Internal Revenue Service (IRS), that materially differ from the amounts we have anticipated;

•   fluctuations in currency exchange rates and changes in the proportion of our revenue and expenses denominated in
    foreign currencies;

•   trading activity in our share repurchase program;




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    •    fluctuations in the market values of our investments in marketable securities, in the valuation of our equity
         investments, and in interest rates;

    •    changes in U.S. generally accepted accounting principles; and

    •    changes in regional or global business or macroeconomic conditions, including as a result of the COVID-19
         pandemic, which may impact the other factors described above.

Our rates of growth may be volatile in the near term as a result of the COVID-19 pandemic, and we expect they will
decline over time in the future.

       We have in the past experienced, and may in the future experience, volatility in our user and revenue growth rates as a
result of the COVID-19 pandemic, although we are unable to predict the duration or degree of such volatility with any
certainty. In the long term, we expect that our user growth rate will generally decline over time as the size of our active user
base increases, and the size of our active user base may fluctuate or decline in one or more markets, particularly as we
achieve greater market penetration. We also expect our revenue growth rate will continue to decline over time as our revenue
increases to higher levels. As our growth rates experience volatility or decline, investors' perceptions of our business may be
adversely affected and the trading price of our Class A common stock could decline.

Our costs are continuing to grow, and some of our investments, particularly our investments in virtual and augmented
reality, have the effect of reducing our operating margin and profitability. If our investments are not successful longer-
term, our business and financial performance will be harmed.

       Operating our business is costly, and we expect our expenses to continue to increase in the future as we broaden our
user base, as users increase the amount and types of content they consume and the data they share with us, for example with
respect to video, as we develop and implement new products, as we market new and existing products and promote our
brands, as we continue to expand our technical infrastructure, as we continue to invest in new and unproven technologies, and
as we continue to hire additional employees and contractors to support our expanding operations, including our efforts to
focus on privacy, safety, security, and content review. In addition, from time to time we are subject to settlements, judgments,
fines, or other monetary penalties in connection with legal and regulatory developments that may be material to our business.
We are also continuing to increase our investments in new platforms and technologies, including as we continue our efforts
related to building the metaverse. Some of these investments, particularly our significant investments in virtual and
augmented reality, have generated only limited revenue and reduced our operating margin and profitability, and we expect
the adverse financial impact of such investments to continue for the foreseeable future. For example, our investments in
Reality Labs reduced our 2021 overall operating profit by approximately $10 billion, and we expect our investments to
increase in future periods. If our investments are not successful longer-term, our business and financial performance will be
harmed.

We plan to continue to make acquisitions and pursue other strategic transactions, which could impact our financial
condition or results of operations and may adversely affect the price of our common stock.

       As part of our business strategy, we have made and intend to continue to make acquisitions to add specialized
employees and complementary companies, products, or technologies, and from time to time may enter into other strategic
transactions such as investments and joint ventures. We may not be able to find suitable acquisition candidates, and we may
not be able to complete acquisitions or other strategic transactions on favorable terms, or at all, including as a result of
regulatory challenges. For example, in 2021, the United Kingdom Competition and Markets Authority issued an order
directing us to divest our Giphy acquisition, which we have appealed. In some cases, the costs of such acquisitions or other
strategic transactions may be substantial, and there is no assurance that we will realize expected synergies from future growth
and potential monetization opportunities for our acquisitions or a favorable return on investment for our strategic
investments.

        We may pay substantial amounts of cash or incur debt to pay for acquisitions or other strategic transactions, which has
occurred in the past and could adversely affect our liquidity. The incurrence of indebtedness would also result in increased
fixed obligations and increased interest expense, and could also include covenants or other restrictions that would impede our
ability to manage our operations. We may also issue equity securities to pay for acquisitions and we regularly grant RSUs to
retain the employees of acquired companies, which could increase our expenses, adversely affect our financial results, and



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result in dilution to our stockholders. In addition, any acquisitions or other strategic transactions we announce could be
viewed negatively by users, marketers, developers, or investors, which may adversely affect our business or the price of our
Class A common stock.

        We may also discover liabilities, deficiencies, or other claims associated with the companies or assets we acquire that
were not identified in advance, which may result in significant unanticipated costs. The effectiveness of our due diligence
review and our ability to evaluate the results of such due diligence are dependent upon the accuracy and completeness of
statements and disclosures made or actions taken by the companies we acquire or their representatives, as well as the limited
amount of time in which acquisitions are executed. In addition, we may fail to accurately forecast the financial impact of an
acquisition or other strategic transaction, including tax and accounting charges. Acquisitions or other strategic transactions
may also result in our recording of significant additional expenses to our results of operations and recording of substantial
finite-lived intangible assets on our balance sheet upon closing. Any of these factors may adversely affect our financial
condition or results of operations.

We may not be able to successfully integrate our acquisitions, and we incur significant costs to integrate and support the
companies we acquire.

       The integration of acquisitions requires significant time and resources, particularly with respect to companies that have
significant operations or that develop products where we do not have prior experience, and we may not manage these
processes successfully. We continue to make substantial investments of resources to support our acquisitions, which has in
the past resulted, and we expect will in the future result, in significant ongoing operating expenses and the diversion of
resources and management attention from other areas of our business. We cannot assure you that these investments will be
successful. If we fail to successfully integrate the companies we acquire, we may not realize the benefits expected from the
transaction and our business may be harmed.

Our business is dependent on our ability to maintain and scale our technical infrastructure, and any significant disruption
in our service, including as a result of the COVID-19 pandemic, could damage our reputation, result in a potential loss of
users and engagement, and adversely affect our financial results.

       Our reputation and ability to attract, retain, and serve our users is dependent upon the reliable performance of our
products and our underlying technical infrastructure. We have in the past experienced, and may in the future experience,
interruptions in the availability or performance of our products from time to time. Our systems may not be adequately
designed or may not operate with the reliability and redundancy necessary to avoid performance delays or outages that could
be harmful to our business. If our products are unavailable when users attempt to access them, or if they do not load as
quickly as expected, users may not use our products as often in the future, or at all, and our ability to serve ads may be
disrupted, any of which could adversely affect our business and financial performance. We have experienced such issues to
varying degrees from time to time. For example, in October 2021, a combination of an error and a bug resulted in an
approximately six-hour outage of our services. In addition, as the amount and types of information shared on our products
continue to grow and evolve, as the usage patterns of our global community continue to evolve, and as our internal
operational demands continue to grow, we will need an increasing amount of technical infrastructure, including network
capacity and computing power, to continue to satisfy our needs. It is possible that we may fail to continue to effectively scale
and grow our technical infrastructure to accommodate these increased demands, which may adversely affect our user
engagement and advertising revenue growth. In addition, our business may be subject to interruptions, delays, or failures
resulting from earthquakes, adverse weather conditions, other natural disasters, power loss, terrorism, geopolitical conflict,
other physical security threats, cyber-attacks, or other catastrophic events. Global climate change could result in certain types
of natural disasters occurring more frequently or with more intense effects. Any such events may result in users being subject
to service disruptions or outages and we may not be able to recover our technical infrastructure and user data in a timely
manner to restart or provide our services, which may adversely affect our financial results. We also have been, and may in the
future be, subject to increased energy or other costs to maintain the availability or performance of our products in connection
with any such events.

       In 2020, the increase in the use of our products as a result of the COVID-19 pandemic increased demands on our
technical infrastructure. We may not be able to accommodate any such demands in the future, including as a result of our
reduced data center operations and personnel working remotely during the pandemic.

      A substantial portion of our network infrastructure is provided by third parties. Any disruption or failure in the services



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we receive from these providers could harm our ability to handle existing or increased traffic and could significantly harm
our business. Any financial or other difficulties these providers face may adversely affect our business, and we exercise little
control over these providers, which increases our vulnerability to problems with the services they provide. Due to the effects
of the COVID-19 pandemic, we have experienced, and expect to continue to experience, supply and labor shortages and other
disruptions in logistics and the supply chain for our technical infrastructure. As a result, we have had to make certain changes
to our procurement practices, and in the future we may not be able to procure sufficient components, equipment, or services
from third parties to satisfy our needs, or we may be required to procure such components, equipment, or services on
unfavorable terms.

       Any of these developments may result in interruptions in the availability or performance of our products, require
unfavorable changes to existing products, delay the introduction of future products, or otherwise adversely affect our business
and financial results.

We could experience unforeseen difficulties in building and operating key portions of our technical infrastructure.

       We have designed and built our own data centers and key portions of our technical infrastructure through which we
serve our products, and we plan to continue to significantly expand the size of our infrastructure primarily through data
centers, subsea and terrestrial fiber optic cable systems, and other projects. The infrastructure expansion we are undertaking is
complex and involves projects in multiple locations around the world, including in emerging markets that expose us to
increased risks relating to anti-corruption compliance and political challenges, among others. We have in the past suspended,
and may in the future suspend, certain of these projects as a result of the COVID-19 pandemic. Additional unanticipated
delays or disruptions in the completion of these projects, including due to any shortage of labor necessary in building portions
of such projects, or availability of components, challenges in obtaining required government or regulatory approvals, or other
geopolitical challenges or actions by governments, whether as a result of the pandemic, trade disputes, or otherwise, may lead
to increased project costs, operational inefficiencies, interruptions in the delivery or degradation of the quality or reliability of
our products, or impairment of assets on our balance sheet. In addition, there may be issues related to this infrastructure that
are not identified during the testing phases of design and implementation, which may only become evident after we have
started to fully utilize the underlying equipment, that could further degrade the user experience or increase our costs. Further,
much of our technical infrastructure is located outside the United States, and it is possible that action by a foreign
government, or our response to such government action, could result in the impairment of a portion of our technical
infrastructure, which may interrupt the delivery or degrade the quality or reliability of our products and lead to a negative
user experience or increase our costs. Any of these events could adversely affect our business, reputation, or financial results.

Real or perceived inaccuracies in our community and other metrics may harm our reputation and negatively affect our
business.

       The numbers for our key metrics, which include our Family metrics (DAP, MAP, and average revenue per person
(ARPP)) and Facebook metrics (DAUs, MAUs, and average revenue per user (ARPU)), are calculated using internal
company data based on the activity of user accounts. While these numbers are based on what we believe to be reasonable
estimates of our user base for the applicable period of measurement, there are inherent challenges in measuring usage of our
products across large online and mobile populations around the world. The methodologies used to measure these metrics
require significant judgment and are also susceptible to algorithm or other technical errors. In addition, we are continually
seeking to improve our estimates of our user base, and such estimates may change due to improvements or changes in our
methodology. We regularly review our processes for calculating these metrics, and from time to time we discover
inaccuracies in our metrics or make adjustments to improve their accuracy, which can result in adjustments to our historical
metrics. Our ability to recalculate our historical metrics may be impacted by data limitations or other factors that require us to
apply different methodologies for such adjustments. We generally do not intend to update previously disclosed Family
metrics for any such inaccuracies or adjustments that are within the error margins disclosed below.

       In addition, our Family metrics and Facebook metrics estimates will differ from estimates published by third parties
due to differences in methodology.

       Many people in our community have user accounts on more than one of our products, and some people have multiple
user accounts within an individual product. Accordingly, for our Family metrics, we do not seek to count the total number of
user accounts across our products because we believe that would not reflect the actual size of our community. Rather, our
Family metrics represent our estimates of the number of unique people using at least one of Facebook, Instagram, Messenger,



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and WhatsApp. We do not require people to use a common identifier or link their accounts to use multiple products in our
Family, and therefore must seek to attribute multiple user accounts within and across products to individual people. To
calculate these metrics, we rely upon complex techniques, algorithms and machine learning models that seek to count the
individual people behind user accounts, including by matching multiple user accounts within an individual product and across
multiple products when we believe they are attributable to a single person, and counting such group of accounts as one
person. These techniques and models require significant judgment, are subject to data and other limitations discussed below,
and inherently are subject to statistical variances and uncertainties. We estimate the potential error in our Family metrics
primarily based on user survey data, which itself is subject to error as well. While we expect the error margin for our Family
metrics to vary from period to period, we estimate that such margin generally will be approximately 3% of our worldwide
MAP. At our scale, it is very difficult to attribute multiple user accounts within and across products to individual people, and
it is possible that the actual numbers of unique people using our products may vary significantly from our estimates,
potentially beyond our estimated error margins. As a result, it is also possible that our Family metrics may indicate changes
or trends in user numbers that do not match actual changes or trends.

       To calculate our estimates of Family DAP and MAP, we currently use a series of machine learning models that are
developed based on internal reviews of limited samples of user accounts and calibrated against user survey data. We apply
significant judgment in designing these models and calculating these estimates. For example, to match user accounts within
individual products and across multiple products, we use data signals such as similar device information, IP addresses, and
user names. We also calibrate our models against data from periodic user surveys of varying sizes and frequency across our
products, which are inherently subject to error. The timing and results of such user surveys have in the past contributed, and
may in the future contribute, to changes in our reported Family metrics from period to period. In addition, our data limitations
may affect our understanding of certain details of our business and increase the risk of error for our Family metrics estimates.
Our techniques and models rely on a variety of data signals from different products, and we rely on more limited data signals
for some products compared to others. For example, as a result of limited visibility into encrypted products, we have fewer
data signals from WhatsApp user accounts and primarily rely on phone numbers and device information to match WhatsApp
user accounts with accounts on our other products. Similarly, although Messenger Kids users are included in our Family
metrics, we do not seek to match their accounts with accounts on our other applications for purposes of calculating DAP and
MAP. Any loss of access to data signals we use in our process for calculating Family metrics, whether as a result of our own
product decisions, actions by third-party browser or mobile platforms, regulatory or legislative requirements, limitations
while our personnel work remotely during the COVID-19 pandemic, or other factors, also may impact the stability or
accuracy of our reported Family metrics, as well as our ability to report these metrics at all. Our estimates of Family metrics
also may change as our methodologies evolve, including through the application of new data signals or technologies, product
changes, or other improvements in our user surveys, algorithms, or machine learning that may improve our ability to match
accounts within and across our products or otherwise evaluate the broad population of our users. In addition, such evolution
may allow us to identify previously undetected violating accounts (as defined below).

       We regularly evaluate our Family metrics to estimate the percentage of our MAP consisting solely of "violating"
accounts. We define "violating" accounts as accounts which we believe are intended to be used for purposes that violate our
terms of service, including bots and spam. In the fourth quarter of 2021, we estimated that approximately 3% of our
worldwide MAP consisted solely of violating accounts. Such estimation is based on an internal review of a limited sample of
accounts, and we apply significant judgment in making this determination. For example, we look for account information and
behaviors associated with Facebook and Instagram accounts that appear to be inauthentic to the reviewers, but we have
limited visibility into WhatsApp user activity due to encryption. In addition, if we believe an individual person has one or
more violating accounts, we do not include such person in our violating accounts estimation as long as we believe they have
one account that does not constitute a violating account. From time to time, we disable certain user accounts, make product
changes, or take other actions to reduce the number of violating accounts among our users, which may also reduce our DAP
and MAP estimates in a particular period. We intend to disclose our estimates of the percentage of our MAP consisting solely
of violating accounts on an annual basis. Violating accounts are very difficult to measure at our scale, and it is possible that
the actual number of violating accounts may vary significantly from our estimates.

       We also regularly evaluate our Facebook metrics to estimate the number of "duplicate" and "false" accounts among
our MAUs. A duplicate account is one that a user maintains in addition to his or her principal account. We divide "false"
accounts into two categories: (1) user-misclassified accounts, where users have created personal profiles for a business,
organization, or non-human entity such as a pet (such entities are permitted on Facebook using a Page rather than a personal
profile under our terms of service); and (2) violating accounts, which represent user profiles that we believe are intended to
be used for purposes that violate our terms of service, such as bots and spam. The estimates of duplicate and false accounts



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are based on an internal review of a limited sample of accounts, and we apply significant judgment in making this
determination. For example, to identify duplicate accounts we use data signals such as identical IP addresses and similar user
names, and to identify false accounts we look for names that appear to be fake or other behavior that appears inauthentic to
the reviewers. Any loss of access to data signals we use in this process, whether as a result of our own product decisions,
actions by third-party browser or mobile platforms, regulatory or legislative requirements, limitations while our personnel
work remotely during the COVID-19 pandemic, or other factors, also may impact the stability or accuracy of our estimates of
duplicate and false accounts. Our estimates also may change as our methodologies evolve, including through the application
of new data signals or technologies or product changes that may allow us to identify previously undetected duplicate or false
accounts and may improve our ability to evaluate a broader population of our users. Duplicate and false accounts are very
difficult to measure at our scale, and it is possible that the actual number of duplicate and false accounts may vary
significantly from our estimates.

       In the fourth quarter of 2021, we estimated that duplicate accounts may have represented approximately 11% of our
worldwide MAUs. We believe the percentage of duplicate accounts is meaningfully higher in developing markets such as the
Philippines and Vietnam, as compared to more developed markets. In the fourth quarter of 2021, we estimated that false
accounts may have represented approximately 5% of our worldwide MAUs. Our estimation of false accounts can vary as a
result of episodic spikes in the creation of such accounts, which we have seen originate more frequently in specific countries
such as Indonesia, Nigeria, and Vietnam. From time to time, we disable certain user accounts, make product changes, or take
other actions to reduce the number of duplicate or false accounts among our users, which may also reduce our DAU and
MAU estimates in a particular period. We intend to disclose our estimates of the number of duplicate and false accounts
among our MAUs on an annual basis.

      Other data limitations also may affect our understanding of certain details of our business. For example, while user-
provided data indicates a decline in usage among younger users, this age data may be unreliable because a disproportionate
number of our younger users register with an inaccurate age. Accordingly, our understanding of usage by age group may not
be complete.

       In addition, our data regarding the geographic location of our users is estimated based on a number of factors, such as
the user's IP address and self-disclosed location. These factors may not always accurately reflect the user's actual location.
For example, a user may appear to be accessing Facebook from the location of the proxy server that the user connects to
rather than from the user's actual location. The methodologies used to measure our metrics are also susceptible to algorithm
or other technical errors, and our estimates for revenue by user location and revenue by user device are also affected by these
factors.

       In addition, from time to time we provide, or rely on, certain other metrics and estimates, including those relating to
the reach and effectiveness of our ads. Many of our metrics involve the use of estimations and judgments, and our metrics
and estimates are subject to software bugs, inconsistencies in our systems, and human error. Such metrics and estimates also
change from time to time due to improvements or changes in our terminology or methodology, including as a result of loss of
access to data signals we use in calculating such metrics and estimates. We have in the past been, and may in the future be,
subject to litigation as well as marketer, regulatory, and other inquiries regarding the accuracy of such metrics and estimates.
Where marketers, developers, or investors do not perceive our metrics or estimates to be accurate, or where we discover
material inaccuracies in our metrics or estimates, we may be subject to liability, our reputation may be harmed, and marketers
and developers may be less willing to allocate their budgets or resources to our products that deliver ad impressions, which
could negatively affect our business and financial results.

We cannot assure you that we will effectively manage our growth.

       Our employee headcount and the scope and complexity of our business have increased significantly, with the number
of employees increasing to 71,970 as of December 31, 2021 from 58,604 as of December 31, 2020, and we expect headcount
growth to continue for the foreseeable future. In addition, we plan to continue to hire a number of employees and contractors
to continue to bolster various privacy, safety, security, and content review initiatives as well as other functions to support our
expected growth. The growth and expansion of our business and products create significant challenges for our management,
operational, and financial resources, including managing multiple relationships with users, marketers, developers, and other
third parties. As our operations and the number of our third-party relationships continue to grow, our information technology
systems or our internal controls and procedures may not be adequate to support such growth. In addition, some members of
our management do not have significant experience managing a large global business operation, so our management may not



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be able to manage such growth effectively. Additionally, the vast majority of our personnel are currently working remotely as
a result of the COVID-19 pandemic, which limits their ability to perform certain job functions and may negatively impact
productivity. In the long term, we may experience such challenges to productivity and collaboration as some personnel
transition to working remotely on a regular basis, and we may experience difficulties integrating recently hired personnel
when our offices re-open. To effectively manage our growth, we must continue to adapt to a remote work environment;
improve our operational, financial, and management processes and systems; and effectively expand, train, and manage our
personnel. As our organization continues to grow, and we are required to implement more complex organizational
management structures, we may find it increasingly difficult to maintain the benefits of our corporate culture, including our
ability to quickly develop and launch new and innovative products. This could negatively affect our business performance.

We have significant international operations and plan to continue expanding our operations abroad where we have more
limited operating experience, and this may subject us to increased business, economic, and legal risks that could affect our
financial results.

       We have significant international operations and plan to continue the international expansion of our business
operations and the translation of our products. We currently make Facebook available in more than 100 different languages,
and we have offices or data centers in more than 30 different countries. We may enter new international markets where we
have limited or no experience in marketing, selling, and deploying our products. Our products are generally available
globally, but some or all of our products or functionality may not be available in certain markets due to legal and regulatory
complexities. For example, several of our products are not generally available in China. We also outsource certain operational
functions to third-party vendors globally. If we fail to deploy, manage, or oversee our international operations successfully,
our business may suffer. In addition, we are subject to a variety of risks inherent in doing business internationally, including:

    •    political, social, or economic instability;

    •    risks related to legal, regulatory, and other government scrutiny applicable to U.S. companies with sales and
         operations in foreign jurisdictions, including with respect to privacy, tax, law enforcement, content, trade
         compliance, supply chain, competition, consumer protection, intellectual property, environmental, health and safety,
         licensing, and infrastructure matters;

    •    potential damage to our brand and reputation due to compliance with local laws, including potential censorship or
         requirements to provide user information to local authorities;

    •    enhanced difficulty in reviewing content on our platform and enforcing our community standards across different
         languages and countries;

    •    fluctuations in currency exchange rates and compliance with currency controls;

    •    foreign exchange controls and tax and other regulations and orders that might prevent us from repatriating cash
         earned in countries outside the United States or otherwise limit our ability to move cash freely, and impede our
         ability to invest such cash efficiently;

    •    higher levels of credit risk and payment fraud;

    •    enhanced difficulties of integrating any foreign acquisitions;

    •    burdens of complying with a variety of foreign laws, including laws related to taxation, content removal, content
         moderation, data localization, data protection, e-commerce and payments, and regulatory oversight;

    •    reduced protection for intellectual property rights in some countries;

    •    difficulties in staffing, managing, and overseeing global operations and the increased travel, infrastructure, and legal
         compliance costs associated with multiple international locations, including difficulties arising from personnel
         working remotely during the COVID-19 pandemic;

    •    compliance with statutory equity requirements and management of tax consequences; and



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    •    geopolitical events affecting us, our marketers or our industry, including trade disputes and pandemics.

        In addition, we must manage the potential conflicts between locally accepted business practices in any given
jurisdiction and our obligations to comply with laws and regulations, including anti-corruption laws or regulations applicable
to us, such as the U.S. Foreign Corrupt Practices Act and the U.K. Bribery Act 2010. We also must manage our obligations to
comply with laws and regulations related to import and export controls, trade restrictions, and sanctions, including
regulations established by the U.S. Office of Foreign Assets Control. Government agencies and authorities have a broad
range of civil and criminal penalties they may seek to impose against companies for violations of anti-corruption laws or
regulations, import and export controls, trade restrictions, sanctions, and other laws, rules, and regulations.

       If we are unable to expand internationally and manage the complexity of our global operations successfully, our
financial results could be adversely affected. We also may be required to or elect to cease or modify our operations or the
offering of our products and services in certain regions, including as a result of the risks described above, which could
adversely affect our business, user growth and engagement, and financial results.

We face design, manufacturing, and supply chain risks that, if not properly managed, could adversely impact our
financial results.

       We face a number of risks related to design, manufacturing, and supply chain management with respect to our
consumer hardware products. For example, the consumer hardware products we sell from time to time have had, and in the
future may have, quality issues resulting from the design or manufacture of the products, or from the software used in the
products. Sometimes, these issues may be caused by components we purchase from other manufacturers or suppliers. Our
brand and financial results could be adversely affected by any such quality issues, other failures to meet our customers'
expectations, or findings of our consumer hardware products to be defective.

       We rely on third parties to manufacture and manage the logistics of transporting and distributing our consumer
hardware products, which subjects us to a number of risks that have been exacerbated as a result of the COVID-19 pandemic.
We have experienced, and may in the future experience, supply or labor shortages or other disruptions in logistics and the
supply chain, which could result in shipping delays and negatively impact our operations, product development, and sales.
We could be negatively affected if we are not able to engage third parties with the necessary capabilities or capacity on
reasonable terms, or if those we engage with fail to meet their obligations (whether due to financial difficulties,
manufacturing or supply constraints, or other reasons), or make adverse changes in the pricing or other material terms of such
arrangements with them. The manufacturing, distribution, and sale of our consumer hardware products also may be
negatively impacted by macroeconomic conditions, geopolitical challenges, trade disputes, or other actions by governments
that subject us to supply shortages, increased costs, or supply chain disruptions.

       We also require the suppliers and business partners of our consumer hardware products to comply with laws and
certain company policies regarding sourcing practices and standards on labor, health and safety, the environment, and
business ethics, but we do not control them or their practices and standards. If any of them violates laws, fails to implement
changes in accordance with newly enacted laws, or implements practices or standards regarded as unethical, corrupt, or non-
compliant, we could experience supply chain disruptions, government action or fines, canceled orders, or damage to our
reputation.

We face inventory risk with respect to our consumer hardware products.

       We are exposed to inventory risks with respect to our consumer hardware products as a result of rapid changes in
product cycles and pricing, unsafe or defective merchandise, supply chain disruptions, changes in consumer demand and
consumer spending patterns, changes in consumer tastes with respect to our consumer hardware products, and other factors.
The demand for our products can also change significantly between the time inventory or components are ordered and the
date of sale. While we endeavor to accurately predict these trends and avoid overstocking or understocking consumer
hardware products we may sell, from time to time we have experienced difficulties in accurately predicting and meeting the
consumer demand for our products. In addition, when we begin selling or manufacturing a new consumer hardware product
or enter new international markets, it may be difficult to establish vendor relationships, determine appropriate product or
component selection, and accurately forecast demand. The acquisition of certain types of inventory or components may
require significant lead-time and prepayment and they may not be returnable. Any one of the foregoing factors may adversely



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affect our operating results.

We are involved in numerous class action lawsuits and other litigation matters that are expensive and time consuming,
and, if resolved adversely, could harm our business, financial condition, or results of operations.

        We are involved in numerous lawsuits, including stockholder derivative lawsuits and putative class action lawsuits,
many of which claim statutory damages and/or seek significant changes to our business operations, and we anticipate that we
will continue to be a target for numerous lawsuits in the future. Because of the scale of our user, advertiser, and developer
base, the plaintiffs in class action cases filed against us typically claim enormous monetary damages even if the alleged per-
user or entity harm is small or non-existent. In addition, we have in the past, and may in the future, be subject to additional
class action lawsuits based on claims related to advertising, antitrust, privacy, biometrics, content, algorithms, employment,
activities on our platform, consumer protection, or product performance or other claims related to the use of consumer
hardware and software, including virtual reality technology and products, which are new and unproven. For example, we are
currently the subject of multiple putative class action suits in connection with our platform and user data practices and the
misuse of certain data by a developer that shared such data with third parties in violation of our terms and policies; the
disclosure of our earnings results for the second quarter of 2018; our acquisitions of Instagram and WhatsApp, as well as
other alleged anticompetitive conduct; and a former employee's allegations and release of internal company documents
beginning in September 2021. The results of any such lawsuits and claims cannot be predicted with certainty, and any
negative outcome from any such lawsuits could result in payments of substantial monetary damages or fines, or undesirable
changes to our products or business practices, and accordingly our business, financial condition, or results of operations could
be materially and adversely affected.

        There can be no assurances that a favorable final outcome will be obtained in all our cases, and defending any lawsuit
is costly and can impose a significant burden on management and employees. Any litigation to which we are a party may
result in an onerous or unfavorable judgment that may not be reversed upon appeal or in payments of substantial monetary
damages or fines, or we may decide to settle lawsuits on similarly unfavorable terms, which has occurred in the past and
which could adversely affect our business, financial conditions, or results of operations.

We may have exposure to greater than anticipated tax liabilities.

       Our tax obligations, including income and non-income taxes, are based in part on our corporate operating structure and
intercompany arrangements, including the manner in which we operate our business, develop, value, manage, protect, and use
our intellectual property, and the valuations of our intercompany transactions. The tax laws applicable to our business,
including the laws of the United States and other jurisdictions, are subject to interpretation and certain jurisdictions are
aggressively interpreting their laws in new ways in an effort to raise additional tax revenue from companies such as Meta. We
are subject to regular review and audit by U.S. federal, state, and foreign tax authorities. Tax authorities may disagree with
certain positions we have taken, including our methodologies for valuing developed technology or intercompany
arrangements, and any adverse outcome of such a review or audit could increase our worldwide effective tax rate, increase
the amount of non-income taxes imposed on our business, and harm our financial position, results of operations, and cash
flows. For example, in 2016 and 2018, the IRS issued formal assessments relating to transfer pricing with our foreign
subsidiaries in conjunction with the examination of the 2010 through 2013 tax years. Although we disagree with the IRS's
position and are litigating this issue, the ultimate resolution is uncertain and, if resolved in a manner unfavorable to us, may
adversely affect our financial results.

       The determination of our worldwide provision for income taxes and other tax liabilities requires significant judgment
by management, and there are many transactions where the ultimate tax determination is uncertain. Our provision for income
taxes is determined by the manner in which we operate our business, and any changes to such operations or laws applicable to
such operations may affect our effective tax rate. Although we believe that our provision for income taxes and estimates of
our non-income tax liabilities are reasonable, the ultimate settlement may differ from the amounts recorded in our financial
statements and may materially affect our financial results in the period or periods for which such determination is made.

      Our future income tax rates could be volatile and difficult to predict due to changes in jurisdictional profit split,
changes in the amount and recognition of deferred tax assets and liabilities, or by changes in tax laws, regulations, or
accounting principles.




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Changes in tax laws or tax rulings could materially affect our financial position, results of operations, and cash flows.

       The tax regimes we are subject to or operate under, including income and non-income taxes, are unsettled and may be
subject to significant change. Changes in tax laws or tax rulings, or changes in interpretations of existing laws, could
materially affect our financial position, results of operations, and cash flows. For example, the 2017 Tax Cuts and Jobs Act
(Tax Act) enacted in December 2017 had a significant impact on our tax obligations and effective tax rate for the fourth
quarter of 2017. The issuance of additional regulatory or accounting guidance related to the Tax Act, or other executive or
Congressional actions in the United States or globally could materially increase our tax obligations and significantly impact
our effective tax rate in the period such guidance is issued or such actions take effect, and in future periods. In addition, many
countries have recently proposed or recommended changes to existing tax laws or have enacted new laws that could
significantly increase our tax obligations in many countries where we do business or require us to change the manner in
which we operate our business.

       Over the last several years, the Organization for Economic Cooperation and Development has been working on a Base
Erosion and Profit Shifting Project that, if implemented, would change various aspects of the existing framework under
which our tax obligations are determined in many of the countries in which we do business. In 2021, more than 140 countries
tentatively signed on to a framework that imposes a minimum tax rate of 15%, among other provisions. As this framework is
subject to further negotiation and implementation by each member country, the timing and ultimate impact of any such
changes on our tax obligations are uncertain. Similarly, the European Commission and several countries have issued
proposals that would apply to various aspects of the current tax framework under which we are taxed. These proposals
include changes to the existing framework to calculate income tax, as well as proposals to change or impose new types of
non-income taxes, including taxes based on a percentage of revenue. For example, several jurisdictions have proposed or
enacted taxes applicable to digital services, which include business activities on digital advertising and online marketplaces,
and which apply to our business.

       The European Commission has conducted investigations in multiple countries focusing on whether local country tax
rulings or tax legislation provides preferential tax treatment that violates European Union state aid rules and concluded that
certain member states, including Ireland, have provided illegal state aid in certain cases. These investigations may result in
changes to the tax treatment of our foreign operations.

       Due to the large and expanding scale of our international business activities, many of these types of changes to the
taxation of our activities described above could increase our worldwide effective tax rate, increase the amount of non-income
taxes imposed on our business, and harm our financial position, results of operations, and cash flows. Such changes may also
apply retroactively to our historical operations and result in taxes greater than the amounts estimated and recorded in our
financial statements.

Given our levels of share-based compensation, our tax rate may vary significantly depending on our stock price.

        The tax effects of the accounting for share-based compensation may significantly impact our effective tax rate from
period to period. In periods in which our stock price is higher than the grant price of the share-based compensation vesting in
that period, we will recognize excess tax benefits that will decrease our effective tax rate. For example, in 2021, excess tax
benefits recognized from share-based compensation decreased our provision for income taxes by $1.13 billion and our
effective tax rate by two percentage points as compared to the tax rate without such benefits. In future periods in which our
stock price is lower than the grant price of the share-based compensation vesting in that period, our effective tax rate may
increase. The amount and value of share-based compensation issued relative to our earnings in a particular period will also
affect the magnitude of the impact of share-based compensation on our effective tax rate. These tax effects are dependent on
our stock price, which we do not control, and a decline in our stock price could significantly increase our effective tax rate
and adversely affect our financial results.

If our goodwill or intangible assets become impaired, we may be required to record a significant charge to earnings.

       We review our intangible assets for impairment when events or changes in circumstances indicate the carrying value
may not be recoverable, such as a decline in stock price and market capitalization. We test goodwill for impairment at the
reporting unit level at least annually. If such goodwill or intangible assets are deemed to be impaired, an impairment loss
equal to the amount by which the carrying amount exceeds the fair value of the assets would be recognized. We may be
required to record a significant charge in our financial statements during the period in which any impairment of our goodwill



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or intangible assets is determined, which would negatively affect our results of operations.

The loss of one or more of our key personnel, or our failure to attract and retain other highly qualified personnel in the
future, could harm our business.

      We currently depend on the continued services and performance of our key personnel, including Mark Zuckerberg and
Sheryl K. Sandberg. Although we have entered into employment agreements with Mr. Zuckerberg and Ms. Sandberg, the
agreements have no specific duration and constitute at-will employment. In addition, many of our key technologies and
systems are custom-made for our business by our personnel. The loss of key personnel, including members of management as
well as key engineering, product development, marketing, and sales personnel, could disrupt our operations and have an
adverse effect on our business.

        As we continue to grow, we cannot guarantee we will continue to attract and retain the personnel we need to maintain
our competitive position. In particular, we intend to continue to hire a significant number of technical personnel in the
foreseeable future, and we expect to continue to face significant challenges in hiring such personnel, particularly for
engineering talent, whether as a result of competition with other companies or other factors. As we continue to mature, the
incentives to attract, retain, and motivate employees provided by our equity awards or by future arrangements may not be as
effective as in the past, and if we issue significant equity to attract additional employees or to retain our existing employees,
we would incur substantial additional share-based compensation expense and the ownership of our existing stockholders
would be further diluted. Our ability to attract, retain, and motivate employees may also be adversely affected by stock price
volatility. In addition, restrictive immigration policies or legal or regulatory developments relating to immigration may
negatively affect our efforts to attract and hire new personnel as well as retain our existing personnel. If we do not succeed in
attracting, hiring, and integrating excellent personnel, or retaining and motivating existing personnel, we may be unable to
grow effectively.

Our CEO has control over key decision making as a result of his control of a majority of the voting power of our
outstanding capital stock.

        Mark Zuckerberg, our founder, Chairman, and CEO, is able to exercise voting rights with respect to a majority of the
voting power of our outstanding capital stock and therefore has the ability to control the outcome of matters submitted to our
stockholders for approval, including the election of directors and any merger, consolidation, or sale of all or substantially all
of our assets. This concentrated control could delay, defer, or prevent a change of control, merger, consolidation, or sale of all
or substantially all of our assets that our other stockholders support, or conversely this concentrated control could result in the
consummation of such a transaction that our other stockholders do not support. This concentrated control could also
discourage a potential investor from acquiring our Class A common stock, which has limited voting power relative to the
Class B common stock, and might harm the trading price of our Class A common stock. In addition, Mr. Zuckerberg has the
ability to control the management and major strategic investments of our company as a result of his position as our CEO and
his ability to control the election or, in some cases, the replacement of our directors. In the event of his death, the shares of
our capital stock that Mr. Zuckerberg owns will be transferred to the persons or entities that he has designated. As a board
member and officer, Mr. Zuckerberg owes a fiduciary duty to our stockholders and must act in good faith in a manner he
reasonably believes to be in the best interests of our stockholders. As a stockholder, even a controlling stockholder,
Mr. Zuckerberg is entitled to vote his shares, and shares over which he has voting control as governed by a voting agreement,
in his own interests, which may not always be in the interests of our stockholders generally.

We cannot guarantee that our share repurchase program will be fully consummated or that it will enhance long-term
stockholder value. Share repurchases could also increase the volatility of the trading price of our stock and will diminish
our cash reserves.

       Although our board of directors has authorized a share repurchase program that does not have an expiration date, the
program does not obligate us to repurchase any specific dollar amount or to acquire any specific number of shares of our
Class A common stock. We cannot guarantee that the program will be fully consummated or that it will enhance long-term
stockholder value. The program could affect the trading price of our stock and increase volatility, and any announcement of a
termination of this program may result in a decrease in the trading price of our stock. In addition, this program will diminish
our cash reserves.




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                                Risks Related to Government Regulation and Enforcement

Actions by governments that restrict access to Facebook or our other products in their countries, censor or moderate
content on our products in their countries, or otherwise impair our ability to sell advertising in their countries, could
substantially harm our business and financial results.

        Governments from time to time seek to censor or moderate content available on Facebook or our other products in
their country, restrict access to our products from their country partially or entirely, or impose other restrictions that may
affect the accessibility of our products in their country for an extended period of time or indefinitely. For example, user
access to Facebook and certain of our other products has been or is currently restricted in whole or in part in China, Iran, and
North Korea. In addition, government authorities in other countries may seek to restrict user access to our products if they
consider us to be in violation of their laws or a threat to public safety or for other reasons, and certain of our products have
been restricted by governments in other countries from time to time. For example, in June 2020, Hong Kong adopted a
National Security Law that provides authorities with the ability to obtain information, remove and block access to content,
and suspend user services, and if we are found to be in violation of this law then the use of our products may be restricted. In
addition, if we are required to or elect to make changes to our marketing and sales or other operations in Hong Kong as a
result of the National Security Law, our revenue and business in the region will be adversely affected. It is also possible that
government authorities could take action that impairs our ability to sell advertising, including in countries where access to our
consumer-facing products may be blocked or restricted. For example, we generate meaningful revenue from a limited number
of resellers representing advertisers based in China, and it is possible that the Chinese government could take action that
reduces or eliminates our China-based advertising revenue, whether as a result of the trade dispute with the United States, in
response to content issues or information requests in Hong Kong or elsewhere, or for other reasons, or take other action
against us, such as imposing taxes or other penalties, which could adversely affect our financial results. Similarly, if we are
found to be out of compliance with certain legal requirements for social media companies in Turkey, the Turkish government
could take action to reduce or eliminate our Turkey-based advertising revenue or otherwise adversely impact access to our
products. In the event that content shown on Facebook or our other products is subject to censorship, access to our products is
restricted, in whole or in part, in one or more countries, we are required to or elect to make changes to our operations, or other
restrictions are imposed on our products, or our competitors are able to successfully penetrate new geographic markets or
capture a greater share of existing geographic markets that we cannot access or where we face other restrictions, our ability to
retain or increase our user base, user engagement, or the level of advertising by marketers may be adversely affected, we may
not be able to maintain or grow our revenue as anticipated, and our financial results could be adversely affected.

Our business is subject to complex and evolving U.S. and foreign laws and regulations regarding privacy, data use and
data protection, content, competition, safety and consumer protection, e-commerce, and other matters. Many of these laws
and regulations are subject to change and uncertain interpretation, and could result in claims, changes to our products
and business practices, monetary penalties, increased cost of operations, or declines in user growth or engagement, or
otherwise harm our business.

       We are subject to a variety of laws and regulations in the United States and abroad that involve matters central to our
business, including privacy, data use, data protection and personal information, biometrics, encryption, rights of publicity,
content, intellectual property, advertising, marketing, distribution, data security, data retention and deletion, data localization
and storage, data disclosure, artificial intelligence, electronic contracts and other communications, competition, protection of
minors, consumer protection, civil rights, telecommunications, product liability, e-commerce, taxation, economic or other
trade controls including sanctions, anti-corruption and political law compliance, securities law compliance, and online
payment services. The introduction of new products, expansion of our activities in certain jurisdictions, or other actions that
we may take may subject us to additional laws, regulations, or other government scrutiny. In addition, foreign data protection,
privacy, content, competition, consumer protection, and other laws and regulations can impose different obligations or be
more restrictive than those in the United States.

       These U.S. federal and state and foreign laws and regulations, which in some cases can be enforced by private parties
in addition to government entities, are constantly evolving and can be subject to significant change. As a result, the
application, interpretation, and enforcement of these laws and regulations are often uncertain, particularly in the new and
rapidly evolving industry in which we operate, and may be interpreted and applied inconsistently from country to country and
inconsistently with our current policies and practices. For example, regulatory or legislative actions affecting the manner in
which we display content to our users or obtain consent to various practices could adversely affect user growth and
engagement. Such actions could affect the manner in which we provide our services or adversely affect our financial results.



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       We are also subject to evolving laws and regulations that dictate whether, how, and under what circumstances we can
transfer, process and/or receive certain data that is critical to our operations, including data shared between countries or
regions in which we operate and data shared among our products and services. For example, in 2016, the European Union
and United States agreed to a transfer framework for data transferred from the European Union to the United States, called
the Privacy Shield, but the Privacy Shield was invalidated in July 2020 by the Court of Justice of the European Union
(CJEU). In addition, the other bases upon which Meta relies to transfer such data, such as Standard Contractual Clauses
(SCCs), have been subjected to regulatory and judicial scrutiny. For example, the CJEU considered the validity of SCCs as a
basis to transfer user data from the European Union to the United States following a challenge brought by the Irish Data
Protection Commission (IDPC). Although the CJEU upheld the validity of SCCs in July 2020, our continued reliance on
SCCs will be the subject of future regulatory consideration. In particular, in August 2020, we received a preliminary draft
decision from the IDPC that preliminarily concluded that Meta Platforms Ireland's reliance on SCCs in respect of European
user data does not achieve compliance with the GDPR and preliminarily proposed that such transfers of user data from the
European Union to the United States should therefore be suspended. Meta Platforms Ireland challenged procedural aspects of
this IDPC inquiry in a judicial review commenced in the Irish High Court in September 2020. In May 2021, the court rejected
Meta Platforms Ireland's procedural challenges and the inquiry subsequently recommenced. We believe a final decision in
this inquiry may issue as early as the first half of 2022. If a new transatlantic data transfer framework is not adopted and we
are unable to continue to rely on SCCs or rely upon other alternative means of data transfers from Europe to the United
States, we will likely be unable to offer a number of our most significant products and services, including Facebook and
Instagram, in Europe, which would materially and adversely affect our business, financial condition, and results of
operations. In addition, we have been managing investigations and lawsuits in Europe, India, and other jurisdictions regarding
the August 2016 update to WhatsApp's terms of service and privacy policy and its sharing of certain data with other Meta
products and services, including a lawsuit currently pending before the Supreme Court of India, and also became subject to
government inquiries and lawsuits regarding the 2021 update to WhatsApp's terms of service and privacy policy. If we are
unable to transfer data between and among countries and regions in which we operate, or if we are restricted from sharing
data among our products and services, it could affect our ability to provide our services, the manner in which we provide our
services or our ability to target ads, which could adversely affect our financial results.

        We have been subject to other significant legislative and regulatory developments in the past, and proposed or new
legislation and regulations could significantly affect our business in the future. For example, we have implemented a number
of product changes and controls as a result of requirements under the European General Data Protection Regulation (GDPR),
and may implement additional changes in the future. The GDPR also requires submission of personal data breach
notifications to our lead European Union privacy regulator, the IDPC, and includes significant penalties for non-compliance
with the notification obligation as well as other requirements of the regulation. The GDPR is still a relatively new law, its
interpretation is still evolving, and draft decisions in investigations by the IDPC are subject to review by other European
privacy regulators as part of the GDPR's consistency mechanism, which may lead to significant changes in the final outcome
of such investigations. As a result, the interpretation and enforcement of the GDPR, as well as the imposition and amount of
penalties for non-compliance, are subject to significant uncertainty. In addition, Brazil, the United Kingdom, and other
countries have enacted similar data protection regulations imposing data privacy-related requirements on products and
services offered to users in their respective jurisdictions. The California Consumer Privacy Act (CCPA), which took effect in
January 2020, and its successor, the California Privacy Rights Act (CPRA), which will take effect in January 2023, also
establish certain transparency rules and create new data privacy rights for users, including limitations on our use of certain
sensitive personal information and more ability for users to control how their data is shared with third parties. These laws and
regulations are evolving and subject to interpretation, and resulting limitations on our advertising services, or reductions of
advertising by marketers, have to some extent adversely affected, and will continue to adversely affect, our advertising
business. For example, regulators continue to issue guidance concerning the ePrivacy Directive's requirements regarding the
use of cookies and similar technologies. In addition, effective December 2020, the ePrivacy Directive includes additional
limitations on the use of data across messaging products and includes significant penalties for non-compliance. Changes to
our products or business practices as a result of these or similar developments may adversely affect our advertising business.
Similarly, there are a number of legislative proposals in the European Union, the United States, at both the federal and state
level, as well as other jurisdictions that could impose new obligations or limitations in areas affecting our business. For
example, the proposed Digital Markets Act in the European Union and pending proposals to modify competition laws in the
United States and other jurisdictions could cause us to incur significant compliance costs and could potentially impose new
restrictions and requirements on companies like ours, including in areas such as the combination of data across services,
mergers and acquisitions, and product design. In addition, some countries, such as India, are considering or have passed
legislation implementing data protection requirements or requiring local storage and processing of data or similar



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requirements that could increase the cost and complexity of delivering our services. New legislation or regulatory decisions
that restrict our ability to collect and use information about minors may also result in limitations on our advertising services
or our ability to offer products and services to minors in certain jurisdictions.

       These laws and regulations, as well as any associated claims, inquiries, or investigations or any other government
actions, have in the past led to, and may in the future lead to, unfavorable outcomes including increased compliance costs,
delays or impediments in the development of new products, negative publicity and reputational harm, increased operating
costs, diversion of management time and attention, and remedies that harm our business, including fines or demands or orders
that we modify or cease existing business practices.

We have been subject to regulatory and other government investigations, enforcement actions, and settlements, and we
expect to continue to be subject to such proceedings and other inquiries in the future, which could cause us to incur
substantial costs or require us to change our business practices in a manner materially adverse to our business.

       We receive formal and informal inquiries from government authorities and regulators regarding our compliance with
laws and regulations, many of which are evolving and subject to interpretation. We are and expect to continue to be the
subject of investigations, inquiries, data requests, requests for information, actions, and audits in the United States, Europe,
and around the world, particularly in the areas of privacy, data protection, law enforcement, consumer protection, civil rights,
content moderation, and competition, as we continue to grow and expand our operations. In addition, we are currently, and
may in the future be, subject to regulatory orders or consent decrees. For example, data protection, competition, and
consumer protection authorities in the European Union and other jurisdictions have initiated actions, investigations, or
administrative orders seeking to restrict the ways in which we collect and use information, or impose sanctions, and other
authorities may do the same. In addition, beginning in March 2018, we became subject to FTC, state attorneys general, and
other government inquiries in the United States, Europe, and other jurisdictions in connection with our platform and user data
practices as well as the misuse of certain data by a developer that shared such data with third parties in violation of our terms
and policies. In July 2019, we entered into a settlement and modified consent order to resolve the FTC inquiry, which was
approved by the federal court and took effect in April 2020. Among other matters, our settlement with the FTC required us to
pay a penalty of $5.0 billion and to significantly enhance our practices and processes for privacy compliance and oversight.
The state attorneys general inquiry and certain government inquiries in other jurisdictions remain ongoing. Beginning in
September 2018, we also became subject to IDPC and other government inquiries in connection with a third-party cyber-
attack that exploited a vulnerability in Facebook's code to steal user access tokens and access certain profile information from
user accounts on Facebook. We also notify the IDPC, our lead European Union privacy regulator under the GDPR, of certain
other personal data breaches and privacy issues, and are subject to inquiries and investigations by the IDPC and other
European regulators regarding various aspects of our regulatory compliance.

       In addition, we are subject to various litigation and formal and informal inquiries and investigations by competition
authorities in the United States, Europe, and other jurisdictions, which relate to many aspects of our business, including with
respect to users and advertisers, as well as our industry. Such inquiries, investigations, and lawsuits concern, among other
things, our business practices in the areas of social networking or social media services, digital advertising, and/or mobile or
online applications, as well as our acquisitions. For example, in June 2019 we were informed by the FTC that it had opened
an antitrust investigation of our company. In addition, beginning in the third quarter of 2019, we became the subject of
antitrust inquiries and investigations by the U.S. Department of Justice and state attorneys general. Beginning in December
2020, we also became subject to lawsuits by the FTC and the attorneys general from 46 states, the territory of Guam, and the
District of Columbia in the U.S. District Court for the District of Columbia alleging that we violated antitrust laws, including
by acquiring Instagram in 2012 and WhatsApp in 2014 and by maintaining conditions on access to our platform, among other
things. The complaints of the FTC and attorneys general both sought a permanent injunction against our company's alleged
violations of the antitrust laws, and other equitable relief, including divestiture or reconstruction of Instagram and WhatsApp.
We are also subject to other government inquiries and investigations relating to our business activities and disclosure
practices. For example, beginning in September 2021, we became subject to government investigations and requests relating
to allegations and the release of internal company documents by a former employee.

       Orders issued by, or inquiries or enforcement actions initiated by, government or regulatory authorities could cause us
to incur substantial costs, expose us to unanticipated civil and criminal liability or penalties (including substantial monetary
remedies), interrupt or require us to change our business practices in a manner materially adverse to our business, result in
negative publicity and reputational harm, divert resources and the time and attention of management from our business, or
subject us to other structural or behavioral remedies that adversely affect our business, and we have experienced some of



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these adverse effects to varying degrees from time to time.

Compliance with our FTC consent order, the GDPR, the CCPA, the ePrivacy Directive, and other regulatory and
legislative privacy requirements require significant operational resources and modifications to our business practices, and
any compliance failures may have a material adverse effect on our business, reputation, and financial results.

        We are engaged in ongoing privacy compliance and oversight efforts, including in connection with our modified
consent order with the FTC, requirements of the GDPR, and other regulatory and legislative requirements around the world,
such as the CCPA and the ePrivacy Directive. In particular, we are maintaining a comprehensive privacy program in
connection with the FTC consent order that includes substantial management and board of directors oversight, stringent
operational requirements and reporting obligations, prohibitions against making misrepresentations relating to user data, a
process to regularly certify our compliance with the privacy program to the FTC, and regular assessments of our privacy
program by an independent third-party assessor, which has been and will continue to be challenging and costly to maintain
and enhance. These compliance and oversight efforts are increasing demand on our systems and resources, and require
significant new and ongoing investments, including investments in compliance processes, personnel, and technical
infrastructure. We are reallocating resources internally to assist with these efforts, and this has had, and will continue to have,
an adverse impact on our other business initiatives. In addition, these efforts require substantial modifications to our business
practices and make some practices such as product and ads development more difficult, time-consuming, and costly. As a
result, we believe our ability to develop and launch new features, products, and services in a timely manner has been and will
continue to be adversely affected. We also expect that our privacy compliance and oversight efforts will require significant
time and attention from our management and board of directors. The requirements of the FTC consent order and other
privacy-related laws and regulations are complex and apply broadly to our business, and from time to time we notify relevant
authorities of instances where we are not in full compliance with these requirements or otherwise discover privacy issues, and
we expect to continue to do so as any such issues arise in the future. In addition, regulatory and legislative privacy
requirements are constantly evolving and can be subject to significant change and uncertain interpretation. If we are unable to
successfully implement and comply with the mandates of the FTC consent order, GDPR, CCPA, ePrivacy Directive, or other
regulatory or legislative requirements, or if we are found to be in violation of the consent order or other applicable
requirements, we may be subject to regulatory or governmental investigations or lawsuits, which may result in significant
monetary fines, judgments, or other penalties, and we may also be required to make additional changes to our business
practices. Any of these events could have a material adverse effect on our business, reputation, and financial results.

We may incur liability as a result of information retrieved from or transmitted over the internet or published using our
products or as a result of claims related to our products, and legislation regulating content on our platform may require us
to change our products or business practices and may adversely affect our business and financial results.

       We have faced, currently face, and will continue to face claims relating to information or content that is published or
made available on our products, including our policies and enforcement actions with respect to such information or content.
In particular, the nature of our business exposes us to claims related to defamation, dissemination of misinformation or news
hoaxes, discrimination, harassment, intellectual property rights, rights of publicity and privacy, personal injury torts, laws
regulating hate speech or other types of content, online safety, consumer protection, and breach of contract, among others.
This risk is enhanced in certain jurisdictions outside the United States where our protection from liability for third-party
actions may be unclear or where we may be less protected under local laws than we are in the United States. For example, in
April 2019, the European Union passed a directive (the European Copyright Directive) expanding online platform liability for
copyright infringement and regulating certain uses of news content online, which member states are currently implementing
into their national laws. In addition, the European Union revised the European Audiovisual Media Service Directive to apply
to online video-sharing platforms, which member states are expected to implement by 2021. In the United States, there have
been, and continue to be, various legislative and executive efforts to remove or restrict the scope of the protections available
to online platforms under Section 230 of the Communications Decency Act, as well as to impose new obligations on online
platforms with respect to commerce listings, user content, counterfeit goods and copyright-infringing material, and our
current protections from liability for third-party content in the United States could decrease or change. We could incur
significant costs investigating and defending such claims and, if we are found liable, significant damages. We could also face
fines, orders restricting or blocking our services in particular geographies, or other government-imposed remedies as a result
of content hosted on our services. For example, legislation in Germany and India has resulted in the past, and may result in
the future, in the imposition of fines or other penalties for failure to comply with certain content removal, law enforcement
cooperation, and disclosure obligations. Numerous other countries in Europe, the Middle East, Asia-Pacific, and Latin
America are considering or have implemented similar legislation imposing potentially significant penalties, including fines,



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service throttling, or advertising bans, for failure to remove certain types of content or follow certain processes. For example,
we have been subject to fines and may in the future be subject to other penalties in connection with social media legislation in
Russia and Turkey. Content-related legislation also has required us in the past, and may require us in the future, to change our
products or business practices, increase our costs, or otherwise impact our operations or our ability to provide services in
certain geographies. For example, the European Copyright Directive requires certain online services to obtain authorizations
for copyrighted content or to implement measures to prevent the availability of that content, which may require us to make
substantial investments in compliance processes. Member states' laws implementing the European Copyright Directive may
also require online platforms to pay for content. In addition, our compliance costs may significantly increase as a result of the
Digital Services Act proposed in the European Union, which is expected to take effect in 2023, and other content-related
legislative developments such as online safety bills in Ireland and the United Kingdom. In the United States, changes to
Section 230 of the Communications Decency Act or new state or federal content-related legislation may increase our costs or
require significant changes to our products, business practices, or operations, which could adversely affect user growth and
engagement. Any of the foregoing events could adversely affect our business and financial results.

Payment transactions may subject us to additional regulatory requirements and other risks that could be costly and
difficult to comply with or that could harm our business.

       Several of our products offer Payments functionality, including enabling our users to purchase virtual and digital
goods from developers that offer applications using our Payments infrastructure, send money to other users, and make
donations to certain charitable organizations, among other activities. We are subject to a variety of laws and regulations in the
United States, Europe, and elsewhere, including those governing anti-money laundering and counter-terrorist financing,
money transmission, stored value, gift cards and other prepaid access instruments, electronic funds transfer, virtual currency,
consumer protection, charitable fundraising, trade sanctions, and import and export restrictions. Depending on how our
Payments products evolve, we may also be subject to other laws and regulations including those governing gambling,
banking, and lending. In some jurisdictions, the application or interpretation of these laws and regulations is not clear. To
increase flexibility in how our use of Payments may evolve and to mitigate regulatory uncertainty, we have received certain
payments licenses in the United States, the European Economic Area, and other jurisdictions, which will generally require us
to demonstrate compliance with many domestic and foreign laws in these areas. Our efforts to comply with these laws and
regulations could be costly and result in diversion of management time and effort and may still not guarantee compliance. In
the event that we are found to be in violation of any such legal or regulatory requirements, we may be subject to monetary
fines or other penalties such as a cease and desist order, or we may be required to make product changes, any of which could
have an adverse effect on our business and financial results.

       In addition, we are subject to a variety of additional risks as a result of Payments transactions, including: increased
costs and diversion of management time and effort and other resources to deal with bad transactions or customer disputes;
potential fraudulent or otherwise illegal activity by users, developers, employees, or third parties; restrictions on the
investment of consumer funds used to transact Payments; and additional disclosure and reporting requirements. We have also
launched certain payments functionality on WhatsApp and have announced plans to develop digital payments products and
services, which may subject us to many of the foregoing risks and additional licensing requirements.

Our digital payments initiatives subject us to significant regulatory scrutiny and other risks that could adversely affect our
business, reputation, or financial results.

       We are pursuing digital payments initiatives, such as Novi, a digital wallet that we expect to offer as both a standalone
application and subsequently integrated in other Meta products. These initiatives may use blockchain-based assets, such as
the USDP stablecoin issued by Paxos Trust Company, which is being used in a Novi pilot program in the United States and
Guatemala beginning in October 2021. Our future initiatives to support commerce in the metaverse also may use blockchain-
based assets in digital payments. Use of blockchain-based assets in payments are a relatively new and unproven technology,
and the laws and regulations surrounding them are uncertain and evolving. These digital payments efforts have drawn
significant scrutiny from governments and regulators in multiple jurisdictions and we expect that scrutiny to continue. We are
participating in responses to inquiries from governments and regulators related to our digital payments initiatives, and
adverse government or regulatory actions or negative publicity resulting from such participation may adversely affect our
reputation and harm our business.

      As our digital payments initiatives evolve, we may be subject to a variety of laws and regulations in the United States
and international jurisdictions, including those governing payments, financial services, virtual currency, anti-money



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laundering, counter-terrorism financing, trade sanctions, data protection, tax, consumer protection, and competition. In many
jurisdictions, the application or interpretation of these laws and regulations is not clear, particularly with respect to evolving
laws and regulations that are applied to blockchain and digital payments. In addition, Novi has also received state money
transmitter licenses in the United States, with more pending approval, and has other financial services license applications
pending in certain other countries that would allow us to conduct digital wallet activities in those countries. These licenses,
laws, and regulations, as well as any associated inquiries or investigations, may delay or impede the development of digital
payments products and services we offer, increase our operating costs, require significant management time and attention, or
otherwise harm our business.

        In addition, market acceptance of digital payments products and services is subject to significant uncertainty. As such,
there can be no assurance that digital payments products and services we offer will be made available in a timely manner, or
at all. We do not have significant prior experience with blockchain-based technology, which may adversely affect our ability
to successfully develop and market such digital payments products and services. We will also incur increased costs in
connection with these efforts, and our investments may not be successful. Any of these events could adversely affect our
business, reputation, or financial results.

                                 Risks Related to Data, Security, and Intellectual Property

Security breaches, improper access to or disclosure of our data or user data, other hacking and phishing attacks on our
systems, or other cyber incidents could harm our reputation and adversely affect our business.

       Our industry is prone to cyber-attacks by third parties seeking unauthorized access to our data or users' data or to
disrupt our ability to provide service. Our products and services involve the collection, storage, processing, and transmission
of a large amount of data. Any failure to prevent or mitigate security breaches and improper access to or disclosure of our
data or user data, including personal information, content, or payment information from users, or information from marketers,
could result in the loss, modification, disclosure, destruction, or other misuse of such data, which could harm our business
and reputation and diminish our competitive position. In addition, computer malware, viruses, social engineering (such as
spear phishing attacks), scraping, and general hacking continue to be prevalent in our industry, have occurred on our systems
in the past, and will occur on our systems in the future. We also regularly encounter attempts to create false or undesirable
user accounts, purchase ads, or take other actions on our platform for purposes such as spamming, spreading misinformation,
or other objectionable ends. As a result of our prominence, the size of our user base, the types and volume of personal data
and content on our systems, and the evolving nature of our products and services (including our efforts involving new and
emerging technologies), we believe that we are a particularly attractive target for such breaches and attacks, including from
nation states and highly sophisticated, state-sponsored, or otherwise well-funded actors. Our efforts to address undesirable
activity on our platform also increase the risk of retaliatory attacks. Such breaches and attacks may cause interruptions to the
services we provide, degrade the user experience, cause users or marketers to lose confidence and trust in our products,
impair our internal systems, or result in financial harm to us. Our efforts to protect our company data or the information we
receive, and to disable undesirable activities on our platform, may also be unsuccessful due to software bugs or other
technical malfunctions; employee, contractor, or vendor error or malfeasance, including defects or vulnerabilities in our
vendors' information technology systems or offerings; government surveillance; breaches of physical security of our facilities
or technical infrastructure; or other threats that evolve. In addition, third parties may attempt to fraudulently induce
employees or users to disclose information in order to gain access to our data or our users' data. Cyber-attacks continue to
evolve in sophistication and volume, and inherently may be difficult to detect for long periods of time. Although we have
developed systems and processes that are designed to protect our data and user data, to prevent data loss, to disable
undesirable accounts and activities on our platform, and to prevent or detect security breaches, we cannot assure you that
such measures will provide absolute security, that we will be able to react in a timely manner, or that our remediation efforts
will be successful. The changes in our work environment as a result of the COVID-19 pandemic could also impact the
security of our systems, as well as our ability to protect against attacks and detect and respond to them quickly.

       In addition, some of our developers or other partners, such as those that help us measure the effectiveness of ads, may
receive or store information provided by us or by our users through mobile or web applications integrated with our products.
We provide limited information to such third parties based on the scope of services provided to us. However, if these third
parties or developers fail to adopt or adhere to adequate data security practices, or in the event of a breach of their networks,
our data or our users' data may be improperly accessed, used, or disclosed.

      We experience such cyber-attacks and other security incidents of varying degrees from time to time, and we incur



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significant costs in protecting against or remediating such incidents. In addition, we are subject to a variety of laws and
regulations in the United States and abroad relating to cybersecurity and data protection, as well as obligations under our
modified consent order with the FTC. As a result, affected users or government authorities could initiate legal or regulatory
actions against us in connection with any actual or perceived security breaches or improper access to or disclosure of data,
which has occurred in the past and which could cause us to incur significant expense and liability or result in orders or
consent decrees forcing us to modify our business practices. Such incidents or our efforts to remediate such incidents may
also result in a decline in our active user base or engagement levels. Any of these events could have a material and adverse
effect on our business, reputation, or financial results.

       For example, in September 2018, we announced our discovery of a third-party cyber-attack that exploited a
vulnerability in Facebook's code to steal user access tokens, which were then used to access certain profile information from
approximately 29 million user accounts on Facebook. The events surrounding this cyber-attack became the subject of Irish
Data Protection Commission and other government inquiries. Any such inquiries could subject us to substantial fines and
costs, require us to change our business practices, divert resources and the attention of management from our business, or
adversely affect our business.

We anticipate that our ongoing efforts related to privacy, safety, security, and content review will identify additional
instances of misuse of user data or other undesirable activity by third parties on our platform.

       In addition to our efforts to mitigate cybersecurity risks, we are making significant investments in privacy, safety,
security, and content review efforts to combat misuse of our services and user data by third parties, including investigations
and audits of platform applications, as well as other enforcement efforts. As a result of these efforts we have discovered and
announced, and anticipate that we will continue to discover and announce, additional incidents of misuse of user data or other
undesirable activity by third parties. We may not discover all such incidents or activity, whether as a result of our data or
technical limitations, including our lack of visibility over our encrypted services, the scale of activity on our platform,
challenges related to our personnel working remotely during the COVID-19 pandemic, the allocation of resources to other
projects, or other factors, and we may be notified of such incidents or activity by the independent privacy assessor required
under our modified consent order with the FTC, the media, or other third parties. Such incidents and activities have in the
past, and may in the future, include the use of user data or our systems in a manner inconsistent with our terms, contracts or
policies, the existence of false or undesirable user accounts, election interference, improper advertising practices, activities
that threaten people's safety on- or offline, or instances of spamming, scraping, data harvesting, unsecured datasets, or
spreading misinformation. We may also be unsuccessful in our efforts to enforce our policies or otherwise remediate any
such incidents. Consequences of any of the foregoing developments include negative effects on user trust and engagement,
harm to our reputation and brands, changes to our business practices in a manner adverse to our business, and adverse effects
on our business and financial results. Any such developments may also subject us to additional litigation and regulatory
inquiries, which could subject us to monetary penalties and damages, divert management's time and attention, and lead to
enhanced regulatory oversight.

Our products and internal systems rely on software and hardware that is highly technical, and any errors, bugs, or
vulnerabilities in these systems, or failures to address or mitigate technical limitations in our systems, could adversely
affect our business.

       Our products and internal systems rely on software and hardware, including software and hardware developed or
maintained internally and/or by third parties, that is highly technical and complex. In addition, our products and internal
systems depend on the ability of such software and hardware to store, retrieve, process, and manage immense amounts of
data. The software and hardware on which we rely has contained, and will in the future contain, errors, bugs, or
vulnerabilities, and our systems are subject to certain technical limitations that may compromise our ability to meet our
objectives. Some errors, bugs, or vulnerabilities inherently may be difficult to detect and may only be discovered after the
code has been released for external or internal use. For example, in September 2018, we announced our discovery of a third-
party cyber-attack that exploited a vulnerability in Facebook's code to steal user access tokens and access certain profile
information from user accounts on Facebook. Errors, bugs, vulnerabilities, design defects, or technical limitations within the
software and hardware on which we rely, or human error in using such systems, have in the past led to, and may in the future
lead to, outcomes including a negative experience for users and marketers who use our products, compromised ability of our
products to perform in a manner consistent with our terms, contracts, or policies, delayed product introductions or
enhancements, targeting, measurement, or billing errors, compromised ability to protect the data of our users and/or our
intellectual property or other data, or reductions in our ability to provide some or all of our services. For example, we make



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commitments to our users as to how their data will be used within and across our products, and our systems are subject to
errors, bugs and technical limitations that may prevent us from fulfilling these commitments reliably. In addition, any errors,
bugs, vulnerabilities, or defects in our systems or the software and hardware on which we rely, failures to properly address or
mitigate the technical limitations in our systems, or associated degradations or interruptions of service or failures to fulfill our
commitments to our users, have in the past led to, and may in the future lead to, outcomes including damage to our
reputation, loss of users, loss of marketers, loss of revenue, regulatory inquiries, litigation, or liability for fines, damages, or
other remedies, any of which could adversely affect our business and financial results.

If we are unable to protect our intellectual property, the value of our brands and other intangible assets may be
diminished, and our business may be adversely affected.

        We rely and expect to continue to rely on a combination of confidentiality, assignment, and license agreements with
our employees, consultants, and third parties with whom we have relationships, as well as trademark, copyright, patent, trade
secret, and domain name protection laws, to protect our proprietary rights. In the United States and internationally, we have
filed various applications for protection of certain aspects of our intellectual property, and we currently hold a significant
number of registered trademarks and issued patents in multiple jurisdictions and have acquired patents and patent applications
from third parties. Third parties may knowingly or unknowingly infringe our proprietary rights, third parties may challenge
proprietary rights held by us, and pending and future trademark and patent applications may not be approved. In addition,
effective intellectual property protection may not be available in every country in which we operate or intend to operate our
business. In any or all of these cases, we may be required to expend significant time and expense in order to prevent
infringement or to enforce our rights. Although we have generally taken measures to protect our proprietary rights, there can
be no assurance that others will not offer products or concepts that are substantially similar to ours and compete with our
business. In addition, we regularly contribute software source code under open source licenses and have made other
technology we developed available under other open licenses, and we include open source software in our products. As a
result of our open source contributions and the use of open source in our products, we may license or be required to license or
disclose code and/or innovations that turn out to be material to our business and may also be exposed to increased litigation
risk. If the protection of our proprietary rights is inadequate to prevent unauthorized use or appropriation by third parties, the
value of our brands and other intangible assets may be diminished and competitors may be able to more effectively mimic our
products, services, and methods of operations. Any of these events could have an adverse effect on our business and financial
results.

We are currently, and expect to be in the future, party to patent lawsuits and other intellectual property rights claims that
are expensive and time consuming and, if resolved adversely, could have a significant impact on our business, financial
condition, or results of operations.

       Companies in the internet, technology, and media industries own large numbers of patents, copyrights, trademarks, and
trade secrets, and frequently enter into litigation based on allegations of infringement, misappropriation, or other violations of
intellectual property or other rights. In addition, various "non-practicing entities" that own patents and other intellectual
property rights often attempt to aggressively assert their rights in order to extract value from technology companies.
Furthermore, from time to time we may introduce or acquire new products, including in areas where we historically have not
competed, which could increase our exposure to patent and other intellectual property claims from competitors and non-
practicing entities.

        From time to time, we receive notice from patent holders and other parties alleging that certain of our products and
services, or user content, infringe their intellectual property rights. We presently are involved in a number of intellectual
property lawsuits, and as we face increasing competition and gain an increasingly high profile, we expect the number of
patent and other intellectual property claims against us to grow. Defending patent and other intellectual property litigation is
costly and can impose a significant burden on management and employees, and there can be no assurances that favorable
final outcomes will be obtained in all cases. In addition, plaintiffs may seek, and we may become subject to, preliminary or
provisional rulings in the course of any such litigation, including potential preliminary injunctions requiring us to cease some
or all of our operations. We may decide to settle such lawsuits and disputes on terms that are unfavorable to us. Similarly, if
any litigation to which we are a party is resolved adversely, we may be subject to an unfavorable judgment that may not be
reversed upon appeal. The terms of such a settlement or judgment may require us to cease some or all of our operations or
pay substantial amounts to the other party. In addition, we may have to seek a license to continue practices found to be in
violation of a third party's rights, which may not be available on reasonable terms, or at all, and may significantly increase our
operating costs and expenses. As a result, we may also be required to develop alternative non-infringing technology or



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practices or discontinue the practices. The development of alternative non-infringing technology or practices could require
significant effort and expense, could result in less effective technology or practices or otherwise negatively affect the user
experience, or may not be feasible. We have experienced unfavorable outcomes in such disputes and litigation in the past, and
our business, financial condition, and results of operations could be adversely affected as a result of an unfavorable resolution
of the disputes and litigation referred to above.

                                Risks Related to Ownership of Our Class A Common Stock

The trading price of our Class A common stock has been and will likely continue to be volatile.

       The trading price of our Class A common stock has been, and is likely to continue to be, volatile. Since shares of our
Class A common stock were sold in our initial public offering in May 2012 at a price of $38.00 per share, our stock price has
ranged from $17.55 to $384.33 through December 31, 2021. In addition to the factors discussed in this Annual Report on
Form 10-K, the trading price of our Class A common stock has in the past fluctuated and may in the future fluctuate
significantly in response to numerous factors, many of which are beyond our control, including:

    •    actual or anticipated fluctuations in our revenue and other operating results for either of our reportable segments;

    •    the financial projections we may provide to the public, any changes in these projections, or our failure to meet these
         projections;

    •    actions of securities analysts who initiate or maintain coverage of us, changes in financial estimates by any securities
         analysts who follow our company, or our failure to meet these estimates or the expectations of investors;

    •    additional shares of our stock being sold into the market by us, our existing stockholders, or in connection with
         acquisitions, or the anticipation of such sales;

    •    investor sentiment with respect to our competitors, our business partners, and our industry in general;

    •    announcements by us or our competitors of significant products or features, technical innovations, acquisitions,
         strategic partnerships, joint ventures, or capital commitments;

    •    announcements by us or estimates by third parties of actual or anticipated changes in the size of our user base, the
         level of user engagement, or the effectiveness of our ad products;

    •    changes in operating performance and stock market valuations of technology companies in our industry, including
         our developers and competitors;

    •    price and volume fluctuations in the overall stock market, including as a result of trends in the economy as a whole;

    •    the inclusion, exclusion, or deletion of our stock from any trading indices, such as the S&P 500 Index;

    •    media coverage of our business and financial performance;

    •    lawsuits threatened or filed against us, or developments in pending lawsuits;

    •    adverse government actions or legislative or regulatory developments relating to advertising, competition, content,
         privacy, or other matters, including interim or final rulings by tax, judicial, or regulatory bodies;

    •    trading activity in our share repurchase program; and

    •    other events or factors, including those resulting from war, incidents of terrorism, pandemics, and other disruptive
         external events, or responses to these events.

       In addition, the stock markets have experienced extreme price and volume fluctuations that have affected and continue
to affect the market prices of equity securities of many technology companies. We are currently subject to securities litigation



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in connection with our platform and user data practices and the misuse of certain data by a developer that shared such data
with third parties in violation of our terms and policies; the disclosure of our earnings results for the second quarter of 2018;
and a former employee's allegations and release of internal company documents beginning in September 2021. We may
experience more such litigation following future periods of volatility. Any securities litigation could subject us to substantial
costs, divert resources and the attention of management from our business, and adversely affect our business.

We do not intend to pay cash dividends for the foreseeable future.

       We have never declared or paid cash dividends on our capital stock. We currently intend to retain any future earnings
to finance the operation and expansion of our business and fund our share repurchase program, and we do not expect to
declare or pay any cash dividends in the foreseeable future. As a result, you may only receive a return on your investment in
our Class A common stock if the trading price of your shares increases.

The dual class structure of our common stock and a voting agreement between certain stockholders have the effect of
concentrating voting control with our CEO and certain other holders of our Class B common stock; this will limit or
preclude your ability to influence corporate matters.

        Our Class B common stock has ten votes per share and our Class A common stock has one vote per share.
Stockholders who hold shares of Class B common stock, including certain of our executive officers, employees, and directors
and their affiliates, together hold a substantial majority of the voting power of our outstanding capital stock. Because of the
ten-to-one voting ratio between our Class B and Class A common stock, the holders of our Class B common stock
collectively control a majority of the combined voting power of our common stock and therefore are able to control all
matters submitted to our stockholders for approval so long as the shares of Class B common stock represent at least 9.1% of
all outstanding shares of our Class A and Class B common stock. This concentrated control will limit or preclude your ability
to influence corporate matters for the foreseeable future.

       Transfers by holders of Class B common stock will generally result in those shares converting to Class A common
stock, subject to limited exceptions, such as certain transfers effected for estate planning or charitable purposes. The
conversion of Class B common stock to Class A common stock will have the effect, over time, of increasing the relative
voting power of those holders of Class B common stock who retain their shares in the long term. If, for example,
Mr. Zuckerberg retains a significant portion of his holdings of Class B common stock for an extended period of time, he
could, in the future, continue to control a majority of the combined voting power of our outstanding capital stock.

Our status as a "controlled company" could make our Class A common stock less attractive to some investors or otherwise
harm our stock price.

       Because we qualify as a "controlled company" under the corporate governance rules for Nasdaq-listed companies, we
are not required to have a majority of our board of directors be independent, nor are we required to have a compensation
committee or an independent nominating function. In the future we could elect not to have a majority of our board of
directors be independent or not to have a compensation committee or an independent nominating function. Accordingly,
should the interests of our controlling stockholder differ from those of other stockholders, the other stockholders may not
have the same protections afforded to stockholders of companies that are subject to all of the corporate governance rules for
Nasdaq-listed companies. Our status as a controlled company could make our Class A common stock less attractive to some
investors or otherwise harm our stock price.

Delaware law and provisions in our certificate of incorporation and bylaws could make a merger, tender offer, or proxy
contest difficult, thereby depressing the trading price of our Class A common stock.

       Our status as a Delaware corporation and the anti-takeover provisions of the Delaware General Corporation Law may
discourage, delay, or prevent a change in control by prohibiting us from engaging in a business combination with an
interested stockholder for a period of three years after the person becomes an interested stockholder, even if a change of
control would be beneficial to our existing stockholders. In addition, our current certificate of incorporation and bylaws
contain provisions that may make the acquisition of our company more difficult, including the following:

    •    until the first date on which the outstanding shares of our Class B common stock represent less than 35% of the
         combined voting power of our common stock, any transaction that would result in a change in control of our



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    company requires the approval of a majority of our outstanding Class B common stock voting as a separate class;

•   we currently have a dual class common stock structure, which provides Mr. Zuckerberg with the ability to control
    the outcome of matters requiring stockholder approval, even if he owns significantly less than a majority of the
    shares of our outstanding Class A and Class B common stock;

•   when the outstanding shares of our Class B common stock represent less than a majority of the combined voting
    power of common stock, certain amendments to our certificate of incorporation or bylaws will require the approval
    of two-thirds of the combined vote of our then-outstanding shares of Class A and Class B common stock;

•   when the outstanding shares of our Class B common stock represent less than a majority of the combined voting
    power of our common stock, vacancies on our board of directors will be able to be filled only by our board of
    directors and not by stockholders;

•   when the outstanding shares of our Class B common stock represent less than a majority of the combined voting
    power of our common stock, our board of directors will be classified into three classes of directors with staggered
    three-year terms and directors will only be able to be removed from office for cause;

•   when the outstanding shares of our Class B common stock represent less than a majority of the combined voting
    power of our common stock, our stockholders will only be able to take action at a meeting of stockholders and not
    by written consent;

•   only our chairman, our chief executive officer, our president, or a majority of our board of directors are authorized to
    call a special meeting of stockholders;

•   advance notice procedures apply for stockholders to nominate candidates for election as directors or to bring matters
    before an annual meeting of stockholders;

•   our certificate of incorporation authorizes undesignated preferred stock, the terms of which may be established, and
    shares of which may be issued, without stockholder approval; and

•   certain litigation against us can only be brought in Delaware.




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Item 1B. Unresolved Staff Comments

      None.

Item 2. Properties

      Our corporate headquarters are located in Menlo Park, California. As of December 31, 2021, we owned and leased
approximately 10 million square feet of office and building space for our corporate headquarters and in the surrounding areas,
and approximately 69 acres of land to be developed to accommodate anticipated future growth.

       In addition, we have offices in more than 80 cities across North America, Europe, the Middle East, Africa, Asia
Pacific, and Latin America. We also own 18 data centers globally.

      We believe that our facilities are adequate for our current needs.

Item 3. Legal Proceedings

       Beginning on March 20, 2018, multiple putative class actions and derivative actions were filed in state and federal
courts in the United States and elsewhere against us and certain of our directors and officers alleging violations of securities
laws, breach of fiduciary duties, and other causes of action in connection with our platform and user data practices as well as
the misuse of certain data by a developer that shared such data with third parties in violation of our terms and policies, and
seeking unspecified damages and injunctive relief. Beginning on July 27, 2018, two putative class actions were filed in
federal court in the United States against us and certain of our directors and officers alleging violations of securities laws in
connection with the disclosure of our earnings results for the second quarter of 2018 and seeking unspecified damages. These
two actions subsequently were transferred and consolidated in the U.S. District Court for the Northern District of California
with the putative securities class action described above relating to our platform and user data practices. On September 25,
2019, the district court granted our motion to dismiss the consolidated putative securities class action, with leave to amend.
On November 15, 2019, a second amended complaint was filed in the consolidated putative securities class action. On
August 7, 2020, the district court granted our motion to dismiss the second amended complaint, with leave to amend. On
October 16, 2020, a third amended complaint was filed in the consolidated putative securities class action. On December 20,
2021, the district court granted our motion to dismiss the third amended complaint, with prejudice. On January 17, 2022, the
plaintiffs filed a notice of appeal of the order dismissing their case. In addition, our platform and user data practices, as well
as the events surrounding the misuse of certain data by a developer, became the subject of U.S. Federal Trade Commission
(FTC), state attorneys general, and other government inquiries in the United States, Europe, and other jurisdictions. We
entered into a settlement and modified consent order to resolve the FTC inquiry, which took effect in April 2020 and required
us to pay a penalty of $5.0 billion and to significantly enhance our practices and processes for privacy compliance and
oversight. The state attorneys general inquiry and certain government inquiries in other jurisdictions remain ongoing and
could subject us to additional substantial fines and costs, require us to change our business practices, divert resources and the
attention of management from our business, or adversely affect our business. On July 16, 2021, a stockholder derivative
action was filed in Delaware Chancery Court against certain of our directors and officers asserting breach of fiduciary duty
and related claims relating to our historical platform and user data practices, as well as our settlement with the FTC. On
July 20, 2021, other stockholders filed an amended derivative complaint in a related Delaware Chancery Court action,
asserting breach of fiduciary duty and related claims against certain of our current and former directors and officers in
connection with our historical platform and user data practices. On November 4, 2021, the lead plaintiffs filed a second
amended and consolidated complaint in the stockholder derivative action. We believe the lawsuits described above are
without merit, and we are vigorously defending them.

       We also notify the Irish Data Protection Commission (IDPC), our lead European Union privacy regulator under the
General Data Protection Regulation (GDPR), of certain other personal data breaches and privacy issues, and are subject to
inquiries and investigations by the IDPC and other European regulators regarding various aspects of our regulatory
compliance. For example, in August 2020, we received a preliminary draft decision from the IDPC that preliminarily
concluded that Meta Platforms Ireland's reliance on Standard Contractual Clauses in respect of European user data does not
achieve compliance with the GDPR and preliminarily proposed that such transfers of user data from the European Union to
the United States should therefore be suspended. Meta Platforms Ireland challenged procedural aspects of this IDPC inquiry
in a judicial review commenced in the Irish High Court in September 2020. On May 14, 2021, the court rejected Meta
Platforms Ireland's procedural challenges, and the inquiry subsequently recommenced. We believe a final decision in this



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inquiry may issue as early as the first half of 2022. For additional information, see Part I, Item 1A, "Risk Factors—Our
business is subject to complex and evolving U.S. and foreign laws and regulations regarding privacy, data use and data
protection, content, competition, safety and consumer protection, e-commerce, and other matters" in this Annual Report on
Form 10-K. Any such inquiries or investigations could subject us to substantial fines and costs, require us to change our
business practices, divert resources and the attention of management from our business, or adversely affect our business.

       In addition, we are subject to various litigation and government inquiries and investigations, formal or informal, by
competition authorities in the United States, Europe, and other jurisdictions. Such investigations, inquiries, and lawsuits
concern, among other things, our business practices in the areas of social networking or social media services, digital
advertising, and/or mobile or online applications, as well as our acquisitions. For example, in June 2019 we were informed by
the FTC that it had opened an antitrust investigation of our company. On December 9, 2020, the FTC filed a complaint
against us in the U.S. District Court for the District of Columbia alleging that we engaged in anticompetitive conduct and
unfair methods of competition in violation of Section 5 of the Federal Trade Commission Act and Section 2 of the Sherman
Act, including by acquiring Instagram in 2012 and WhatsApp in 2014 and by maintaining conditions on access to our
platform. In addition, beginning in the third quarter of 2019, we became the subject of antitrust investigations by the U.S.
Department of Justice and state attorneys general. On December 9, 2020, the attorneys general from 46 states, the territory of
Guam, and the District of Columbia filed a complaint against us in the U.S. District Court for the District of Columbia
alleging that we engaged in anticompetitive conduct in violation of Section 2 of the Sherman Act, including by acquiring
Instagram in 2012 and WhatsApp in 2014 and by maintaining conditions on access to our platform. The complaint also
alleged that we violated Section 7 of the Clayton Act by acquiring Instagram and WhatsApp. The complaints of the FTC and
attorneys general both sought a permanent injunction against our company's alleged violations of the antitrust laws, and other
equitable relief, including divestiture or reconstruction of Instagram and WhatsApp. On June 28, 2021, the court granted our
motions to dismiss the complaints filed by the FTC and attorneys general, dismissing the FTC's complaint with leave to
amend and dismissing the attorneys general's case without prejudice. On July 28, 2021, the attorneys general filed a notice of
appeal of the order dismissing their case. On August 19, 2021, the FTC filed an amended complaint, and on October 4, 2021,
we filed a motion to dismiss this amended complaint. On January 11, 2022, the court denied our motion to dismiss the FTC's
amended complaint. Multiple putative class actions have also been filed in state and federal courts in the United States
against us alleging violations of antitrust laws and other causes of action in connection with these acquisitions and other
alleged anticompetitive conduct, and seeking damages and unspecified injunctive relief. Several of the cases brought on
behalf of certain advertisers and users were consolidated in the U.S. District Court for the Northern District of California. On
January 14, 2022, the court granted, in part, and denied, in part, our motion to dismiss the consolidated actions. We believe
these lawsuits are without merit, and we are vigorously defending them. The result of such litigation, investigations or
inquiries could subject us to substantial monetary remedies and costs, interrupt or require us to change our business practices,
divert resources and the attention of management from our business, or subject us to other structural or behavioral remedies
that adversely affect our business.

       We are also subject to other government inquiries and investigations relating to our business activities and disclosure
practices. For example, beginning in September 2021, we became subject to government investigations and requests relating
to a former employee's allegations and release of internal company documents concerning, among other things, our
algorithms, advertising and user metrics, and content enforcement practices, as well as misinformation and other undesirable
activity on our platform, and user well-being. Beginning on October 27, 2021, multiple putative class actions were filed in
federal court in the United States against us and certain of our directors and officers alleging violations of securities laws in
connection with the same matters. We believe these lawsuits are without merit, and we are vigorously defending them.

       In addition, we are subject to litigation and other proceedings involving law enforcement and other regulatory
agencies, including in particular in Brazil, Russia, and other countries in Europe, in order to ascertain the precise scope of our
legal obligations to comply with the requests of those agencies, including our obligation to disclose user information in
particular circumstances. A number of such instances have resulted in the assessment of fines and penalties against us. We
believe we have multiple legal grounds to satisfy these requests or prevail against associated fines and penalties, and we
intend to vigorously defend such fines and penalties.

       We are also party to various other legal proceedings, claims, and regulatory, tax or government inquiries and
investigations that arise in the ordinary course of business, and we may in the future be subject to additional legal
proceedings and disputes.

Item 4. Mine Safety Disclosures

      Not applicable.



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PART II

Item 5. Market for Registrant's Common Equity, Related Stockholder Matters and Issuer Purchases of Equity
        Securities

Market Information for Common Stock

       Our Class A common stock has been listed on the Nasdaq Global Select Market under the symbol "FB" since May 18,
2012. Prior to that time, there was no public market for our stock. We expect our Class A common stock to cease trading
under the symbol "FB" and begin trading under the new symbol, "META," on the Nasdaq Global Select Market in the first
half of 2022.

       Our Class B common stock is not listed on any stock exchange nor traded on any public market.

Holders of Record

       As of December 31, 2021, there were 3,258 stockholders of record of our Class A common stock, and the closing price
of our Class A common stock was $336.35 per share as reported on the Nasdaq Global Select Market. Because many of our
shares of Class A common stock are held by brokers and other institutions on behalf of stockholders, we are unable to
estimate the total number of stockholders represented by these record holders. As of December 31, 2021, there were
32 stockholders of record of our Class B common stock.

Dividend Policy

      We have never declared or paid any cash dividend on our common stock. We intend to retain any future earnings to
finance the operation and expansion of our business and fund our share repurchase program, and we do not expect to pay cash
dividends in the foreseeable future.

Purchases of Equity Securities by the Issuer and Affiliated Purchasers

       The following table summarizes the share repurchase activity for the three months ended December 31, 2021:
                                                                                        Total Number of Shares     Approximate Dollar
                                                                                         Purchased as Part of    Value of Shares that May
                                             Total Number of       Average Price Paid    Publicly Announced      Yet Be Purchased Under
                                            Shares Purchased (1)      Per Share (2)           Programs (1)       the Plans or Programs (1)
                                               (in thousands)                                (in thousands)             (in millions)

October 1 - 31, 2021                                    21,703     $         326.20                   21,703     $                50,893
November 1 - 30, 2021                                   21,606     $         335.09                   21,606     $                43,653
December 1 - 31, 2021                                   14,728     $         329.97                   14,728     $                38,793
                                                        58,037                                        58,037
_________________________
(1) Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in January 2017
    and does not have an expiration date. The timing and actual number of shares repurchased depend on a variety of factors, including
    price, general business and market conditions, and other investment opportunities, and shares may be repurchased through open
    market purchases or privately negotiated transactions, including through the use of trading plans intended to qualify under Rule
    10b5-1 under the Exchange Act.

(2) Average price paid per share includes costs associated with the repurchases.

Recent Sale of Unregistered Securities and Use of Proceeds

       Recent Sale of Unregistered Securities

       None.




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Stock Performance Graph

This performance graph shall not be deemed "soliciting material" or to be "filed" with the SEC for purposes of Section 18 of
the Exchange Act, or otherwise subject to the liabilities under that Section, and shall not be deemed to be incorporated by
reference into any filing of Meta Platforms, Inc. under the Securities Act of 1933, as amended, or the Exchange Act.

       The following graph shows a comparison of the cumulative total return for our Class A common stock, the Dow Jones
Internet Composite Index (DJINET), the Standard & Poor's 500 Stock Index (S&P 500) and the Nasdaq Composite Index
(Nasdaq Composite) for the five years ended December 31, 2021. The graph assumes that $100 was invested at the market
close on the last trading day for the fiscal year ended December 31, 2016 in the Class A common stock of Meta Platforms,
Inc., the DJINET, the S&P 500, and the Nasdaq Composite and data for the DJINET, the S&P 500, and the Nasdaq
Composite assumes reinvestments of gross dividends. The stock price performance of the following graph is not necessarily
indicative of future stock price performance.



                         Comparison of Five-Year Cumulative Total Return for Meta Platforms, Inc.,
                                        DJINET, S&P 500 and Nasdaq Composite


      $350

      $300


      $250

      $200

      $150


      $100

       $50
                 12/31/2016        12/31/2017        12/31/2018      12/31/2019       12/31/2020        12/31/2021

                     Meta Platforms, Inc.       --+-- DJINET            S&P 500              Nasdaq Composite
                                                                                    ------
Item 6. [Reserved]




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Item 7. Management's Discussion and Analysis of Financial Condition and Results of Operations

You should read the following discussion of our financial condition and results of operations in conjunction with our
consolidated financial statements and the related notes included in Part II, Item 8, "Financial Statements and Supplementary
Data" of this Annual Report on Form 10-K. In addition to our historical consolidated financial information, the following
discussion contains forward-looking statements that reflect our plans, estimates, and beliefs. Our actual results could differ
materially from those discussed in the forward-looking statements. Factors that could cause or contribute to these differences
include those discussed below and elsewhere in this Annual Report on Form 10-K, particularly in Part I, Item 1A, "Risk
Factors." For a discussion of limitations in the measurement of certain of our community metrics, see the section entitled
"Limitations of Key Metrics and Other Data" in this Annual Report on Form 10-K.

To supplement our consolidated financial statements, which are prepared and presented in accordance with generally
accepted accounting principles in the United States (GAAP), we present revenue on a constant currency basis and free cash
flow, which are non-GAAP financial measures. Revenue on a constant currency basis is presented in the section entitled "—
Revenue—Foreign Exchange Impact on Revenue." To calculate revenue on a constant currency basis, we translated revenue
for the full year 2021 using 2020 monthly exchange rates for our settlement or billing currencies other than the U.S. dollar.
For a full description of our free cash flow non-GAAP measure, see the section entitled "—Liquidity and Capital Resources
—Free Cash Flow."

These non-GAAP financial measures are not intended to be considered in isolation or as a substitute for, or superior to,
financial information prepared and presented in accordance with GAAP. These measures may be different from non‑GAAP
financial measures used by other companies, limiting their usefulness for comparison purposes. Moreover, presentation of
revenue on a constant currency basis is provided for year-over-year comparison purposes, and investors should be cautioned
that the effect of changing foreign currency exchange rates has an actual effect on our operating results. We believe these
non-GAAP financial measures provide investors with useful supplemental information about the financial performance of our
business, enable comparison of financial results between periods where certain items may vary independent of business
performance, and allow for greater transparency with respect to key metrics used by management in operating our business.

Executive Overview of Full Year 2021 Results

      Our key community metrics and financial results for 2021 are as follows:

Family of Apps metrics:

  •   Family daily active people (DAP) was 2.82 billion on average for December 2021, an increase of 8% year-over-year.
  •   Family monthly active people (MAP) was 3.59 billion as of December 31, 2021, an increase of 9% year-over-year.
  •   Facebook daily active users (DAUs) were 1.93 billion on average for December 2021, an increase of 5% year-over-
      year.
  •   Facebook monthly active users (MAUs) were 2.91 billion as of December 31, 2021, an increase of 4% year-over-year.
  •   Ad impressions delivered across our Family of Apps increased by 10% year-over-year in 2021, and the average price
      per ad increased by 24% year-over-year in 2021.




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Consolidated and segment results:

      Beginning in the fourth quarter of 2021, we report our financial results based on two reportable segments: Family of
Apps (FoA) and Reality Labs (RL). FoA includes Facebook, Instagram, Messenger, WhatsApp, and other services. RL
includes our augmented and virtual reality related consumer hardware, software, and content.

                                            Family of Apps                             Reality Labs                             Total
                                     Year Ended          Year-over-           Year Ended              Year-over-      Year Ended         Year-over-
                                     December 31,          Year               December 31,              Year          December 31,         Year
                                    2021        2020     % Change            2021          2020       % Change       2021       2020     % Change

                                                                                    (dollars in millions)
Revenue                          $115,655     $ 84,826       36%        $     2,274     $ 1,139         100%       $117,929   $ 85,965      37%
Costs and expenses               $ 58,709     $ 45,532       29%        $ 12,467        $ 7,762             61%    $ 71,176   $ 53,294      34%
Income (loss) from operations    $ 56,946     $ 39,294       45%        $ (10,193) $ (6,623)            (54)%      $ 46,753   $ 32,671      43%
Operating margin                    49%         46%                         (448)%       (581)%                      40%        38%


  •   Net income was $39.37 billion with diluted earnings per share of $13.77 for the year ended December 31, 2021.
  •   Capital expenditures, including principal payments on finance leases, were $19.24 billion for the year ended
      December 31, 2021.
  •   Effective tax rate was 16.7% for the year ended December 31, 2021.
  •   Cash and cash equivalents and marketable securities were $48.0 billion as of December 31, 2021.
  •   Headcount was 71,970 as of December 31, 2021, an increase of 23% year-over-year.

       Our mission is to give people the power to build community and bring the world closer together. All of our products,
including our apps, share the vision of helping to bring the metaverse to life.

       In 2021, we continued to focus on our main revenue growth priorities: (i) helping marketers use our products to
connect with consumers where they are and (ii) making our ads more relevant and effective. We also continued to invest
based on the following company priorities: (i) continue making progress on the major social issues facing the internet and our
company, including privacy, safety, and security; (ii) build new experiences that meaningfully improve people's lives today
and set the stage for even bigger improvements in the future; (iii) keep building our business by supporting the millions of
businesses that rely on our services to grow and create jobs; and (iv) communicate more transparently about what we're doing
and the role our services play in the world.

       Our advertising revenue growth in the second half of 2021 was adversely affected by reduced marketer spending as a
result of limitations on our ad targeting and measurement tools arising from changes to the iOS operating system. We expect
that future advertising revenue growth will continue to be adversely affected by these and other limitations on our ad
targeting and measurement tools arising from changes to the regulatory environment and third-party mobile operating
systems and browsers.

       Our business and results of operations have also been impacted by the COVID-19 pandemic and the preventative
measures implemented by authorities from time to time to help limit the spread of the illness, which have caused, and are
continuing to cause, business slowdowns or shutdowns in certain affected countries and regions. Beginning in the first quarter
of 2020, we experienced significant increases in the size and engagement of our active user base across a number of regions
as a result of the COVID-19 pandemic. More recently, we have seen these pandemic-related trends subside, particularly in
certain developed markets. We are unable to predict the impact of the pandemic on user growth and engagement with any
certainty and these trends may continue to be subject to volatility.

       The COVID-19 pandemic has also had a varied impact on the demand for and pricing of our ads from period to period.
While we experienced a reduction in demand and a related decline in pricing during the onset of the pandemic, we believe the
pandemic subsequently contributed to an acceleration in the growth of online commerce, particularly during the second half
of 2020, and we experienced increasing demand for advertising as a result of this trend. More recently, we believe this
growth has moderated in many regions, which to some extent adversely affected our advertising revenue growth in the
second half of 2021. We may experience reduced advertising demand and related declines in pricing in future periods to the
extent this trend continues, which could adversely affect our advertising revenue growth. However, the impact of the



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pandemic on user growth and engagement, the demand for and pricing of our advertising services, as well as on our overall
results of operations, remains highly uncertain for the foreseeable future.

       User growth and engagement were also impacted by a number of other factors in the second half of 2021. For
example, competitive products and services have reduced some users' engagement with our products and services, and in
response to competitive pressures, we have introduced new features such as Reels, which is growing in usage but is not
currently monetized at the same rate as our feed or Stories products. We also saw a deceleration in our community growth
rates as the size of our community continued to increase. In addition, we experienced year-over-year declines in ad
impressions delivered in the United States & Canada region. These trends adversely affected advertising revenue growth in
the second half of 2021 and we expect will continue to affect our advertising revenue growth in the foreseeable future. Other
global and regional business and macroeconomic conditions also have had, and we believe will continue to have, an impact
on our user growth and engagement and advertising revenue growth.

        We anticipate that additional investments in our data center capacity, servers, network infrastructure, and office
facilities, as well as scaling our headcount to support our growth, including in our Reality Labs initiatives, will continue to
drive expense growth in 2022. We expect 2022 capital expenditures to be in the range of $29-34 billion and total expenses to
be in the range of $90-95 billion. In 2022, we also expect that our year-over-year total expense growth rates may significantly
exceed our year-over-year revenue growth rates, which would adversely affect our operating margin and profitability.




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Trends in Our Family Metrics

       The numbers for our key Family metrics, our DAP, MAP, and average revenue per person (ARPP), do not include
users on our other products unless they would otherwise qualify as DAP or MAP, respectively, based on their other activities
on our Family products.

       Trends in the number of people in our community affect our revenue and financial results by influencing the number of
ads we are able to show, the value of our ads to marketers, the volume of Payments transactions, as well as our expenses and
capital expenditures. Substantially all of our daily and monthly active people (as defined below) access our Family products
on mobile devices.

    •     Daily Active People (DAP). We define a daily active person as a registered and logged-in user of Facebook,
          Instagram, Messenger, and/or WhatsApp (collectively, our "Family" of products) who visited at least one of these
          Family products through a mobile device application or using a web or mobile browser on a given day. We do not
          require people to use a common identifier or link their accounts to use multiple products in our Family, and therefore
          must seek to attribute multiple user accounts within and across products to individual people. Our calculations of
          DAP rely upon complex techniques, algorithms, and machine learning models that seek to estimate the underlying
          number of unique people using one or more of these products, including by matching user accounts within an
          individual product and across multiple products when we believe they are attributable to a single person, and
          counting such group of accounts as one person. As these techniques and models require significant judgment, are
          developed based on internal reviews of limited samples of user accounts, and are calibrated against user survey data,
          there is necessarily some margin of error in our estimates. We view DAP, and DAP as a percentage of MAP, as
          measures of engagement across our products. For additional information, see the section entitled "Limitations of
          Key Metrics and Other Data" in this Annual Report on Form 10-K.

                                                                       Daily Active People
                                                                           Worldwide
                                                                           (in billions)
                                                               (daily average over month ended)

                                    3.00                                                   2.72     2.76     2.81      2.82
                                                                         2.54     2.60
                                                       2.36     2.47
                                              2.26

                                    2.00




                                    1.00




                                    0.00
                                             Dec 31   Mar 31   Jun 30   Sep 30    Dec 31   Mar 31   Jun 30   Sep 30   Dec 31
                                              2019     2020     2020     2020      2020     2021     2021     2021     2021
                               DAP/MAP:       78%      79%      79%      79%       79%      79%      79%      78%      79%

        Note: We report the numbers of DAP and MAP as specific amounts, but these numbers are estimates of the numbers of unique people using our
        products and are subject to statistical variances and errors. While we expect the error margin for these estimates to vary from period to period, we
        estimate that such margin generally will be approximately 3% of our worldwide MAP. At our scale, it is very difficult to attribute multiple user
        accounts within and across products to individual people, and it is possible that the actual numbers of unique people using our products may vary
        significantly from our estimates, potentially beyond our estimated error margins. For additional information, see the section entitled "Limitations of
        Key Metrics and Other Data" in this Annual Report on Form 10-K. In the second quarter of 2020, we updated our Family metrics calculations to
        reflect recent data from a periodic WhatsApp user survey and to incorporate certain methodology improvements, and we estimate such updates
        contributed an aggregate of approximately 40 million DAP to our reported worldwide DAP in June 2020. In the first quarter of 2021, we updated
        our Family metrics calculations to maintain calibration of our models against recent user survey data, and we estimate such update contributed an
        aggregate of approximately 60 million DAP to our reported worldwide DAP in March 2021.

        Worldwide DAP increased 8% to 2.82 billion on average during December 2021 from 2.60 billion during December
2020.




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•     Monthly Active People (MAP). We define a monthly active person as a registered and logged-in user of one or more
      Family products who visited at least one of these Family products through a mobile device application or using a
      web or mobile browser in the last 30 days as of the date of measurement. We do not require people to use a common
      identifier or link their accounts to use multiple products in our Family, and therefore must seek to attribute multiple
      user accounts within and across products to individual people. Our calculations of MAP rely upon complex
      techniques, algorithms, and machine learning models that seek to estimate the underlying number of unique people
      using one or more of these products, including by matching user accounts within an individual product and across
      multiple products when we believe they are attributable to a single person, and counting such group of accounts as
      one person. As these techniques and models require significant judgment, are developed based on internal reviews of
      limited samples of user accounts, and are calibrated against user survey data, there is necessarily some margin of
      error in our estimates. We view MAP as a measure of the size of our global active community of people using our
      products. For additional information, see the section entitled "Limitations of Key Metrics and Other Data" in this
      Annual Report on Form 10-K.

                                                                 Monthly Active People
                                                                     Worldwide
                                                                     (in billions)

                           4.00
                                                                                                3.51     3.58     3.59
                                                                                       3.45
                                                                    3.21      3.30
                                                        3.14
                                     2.89      2.99
                           3.00



                           2.00



                           1.00



                           0.00
                                    Dec 31    Mar 31    Jun 30      Sep 30    Dec 31   Mar 31   Jun 30   Sep 30   Dec 31
                                     2019      2020      2020        2020      2020     2021     2021     2021     2021


    Note: We report the numbers of DAP and MAP as specific amounts, but these numbers are estimates of the numbers of unique people using our
    products and are subject to statistical variances and errors. While we expect the error margin for these estimates to vary from period to period, we
    estimate that such margin generally will be approximately 3% of our worldwide MAP. At our scale, it is very difficult to attribute multiple user
    accounts within and across products to individual people, and it is possible that the actual numbers of unique people using our products may vary
    significantly from our estimates, potentially beyond our estimated error margins. For additional information, see the section entitled "Limitations of
    Key Metrics and Other Data" in this Annual Report on Form 10-K. In the second quarter of 2020, we updated our Family metrics calculations to
    reflect recent data from a periodic WhatsApp user survey and to incorporate certain methodology improvements, and we estimate such updates
    contributed an aggregate of approximately 50 million MAP to our reported worldwide MAP in June 2020. In the first quarter of 2021, we updated
    our Family metrics calculations to maintain calibration of our models against recent user survey data, and we estimate such update contributed an
    aggregate of approximately 70 million MAP to our reported worldwide MAP in March 2021.

    As of December 31, 2021, we had 3.59 billion MAP, an increase of 9% from 3.30 billion as of December 31, 2020.




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    •     Average Revenue Per Person (ARPP). We define ARPP as our total revenue during a given quarter, divided by the
          average of the number of MAP at the beginning and end of the quarter. While ARPP includes all sources of revenue,
          the number of MAP used in this calculation only includes users of our Family products as described in the definition
          of MAP above. We estimate that the share of revenue from users who are not also MAP was not material.

                                                                      Revenue
                                                                    Worldwide
                                                           (in $ millions, except ARPP)
                       35,000                                                                                           33,671

                                                                                                    29,077    29,010    $1,032
                                                                                28,072
                       28,000                                                             26,171
                                                                                                     $497      $734
                                                                                 $885
                                   21,082                        21,470                    $732
                       21,000                          18,687
                                    $346
                                             17,737               $249
                                                        $366                                                            $32,639
                                              $297
                       14,000                                                   $27,187             $28,580   $28,276
                                                                                          $25,439
                                   $20,736                       $21,221
                                             $17,440   $18,321
                        7,000


                             0
                                   Dec 31    Mar 31    Jun 30    Sep 30         Dec 31    Mar 31    Jun 30    Sep 30    Dec 31
                                    2019      2020      2020      2020           2020      2021      2021      2021      2021

                           ARPP:     $7.38    $6.03     $6.10    $6.76          $8.62     $7.75      $8.36     $8.18     $9.39

                                                            ■ Ad Rennue          ■ Non-Ad Rewnue

        Note: Non-advertising revenue includes RL revenue generated from the delivery of consumer hardware products and FoA Other revenue, which
        consists of net fees we receive from developers using our Payments infrastructure and revenue from various other sources.

       Our annual worldwide ARPP in 2021, which represents the sum of quarterly ARPP during such period, was $33.68, an
increase of 22% from 2020.




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Trends in Our Facebook User Metrics

       The numbers for our key Facebook metrics, our DAUs, MAUs, and average revenue per user (ARPU), do not include
users on Instagram, WhatsApp, or our other products, unless they would otherwise qualify as DAUs or MAUs, respectively,
based on their other activities on Facebook.

      Trends in the number of users affect our revenue and financial results by influencing the number of ads we are able to
show, the value of our ads to marketers, the volume of Payments transactions, as well as our expenses and capital
expenditures. Substantially all of our daily and monthly active users (as defined below) access Facebook on mobile devices.

    •      Daily Active Users (DAUs). We define a daily active user as a registered and logged-in Facebook user who visited
           Facebook through our website or a mobile device, or used our Messenger application (and is also a registered
           Facebook user), on a given day. We view DAUs, and DAUs as a percentage of MAUs, as measures of user
           engagement on Facebook.
                                                                                                   Daily Active Users
                                                                                                       Worldwide
                                                                                                      (in millions)
                                                                                         (daily average over the month ended)

                                                       2,500

                                                                                                       1,820 1,845 1,878 1,908 1,930 1,929
                                                       2,000        1,657 1,734 1,785
                                                       1,500

                                                       1,000

                                                         500

                                                           0
                                                                     Dec 31      Mar 31     Jun 30      Sep 30      Dec 31    Mar 31     Jun 30     Sep 30     Dec 31
                                                                     2019         2020       2020        2020        2020      2021       2021       2021      2021

                                                     DAU/MAU:        66%          67%        66%         66%         66%       66%         66%        66%        66%
                                       Daily Active Users                                                                                                   Daily Active Users
                                          US & Canada                                                                                                             Europe
                                          (in millions)                                                                                                        (in millions)
                             (daily average over the month ended)                                                                                 (daily average over the month ended)

   350                                                                                                                350
                                                                                                                                 294        305        305       305        308        309       307        308        309
   300                                                                                                                300
   250                           198        196                                           196                         250
            190        195                             195        195         195                    195
   200                                                                                                                200
   150                                                                                                                150
   100                                                                                                                100
    50                                                                                                                 50
    0                                                                                                                    0
            Dec 31     Mar 31    Jun 30     Sep 30     Dec 31     Mar 31      Jun 30     Sep 30     Dec 31                      Dec 31     Mar 31     Jun 30     Sep 30     Dec 31     Mar 31    Jun 30     Sep 30     Dec 31
             2019       2020      2020       2020      2020        2021        2021       2021       2021                        2019       2020       2020       2020      2020        2021      2021       2021       2021

  DAU/MAU: 77%           77%       77%        77%        76%        75%         75%        75%         74%       DAU/MAU: 75%               75%        74%        74%        74%        73%       73%        73%        72%

                                          Daily Active Users                                                                                                  Daily Active Users
                                             Asia-Pacific                                                                                                       Rest of World
                                             (in millions)                                                                                                       (in millions)
                                (daily average over the month ended)                                                                                (daily average over the month ended)

    900
                                                                    760         788        805        806               900
    800                            699        727        744                                                            800
              641        678
    700                                                                                                                 700                              583       593        598        613       618        622        619
    600                                                                                                                 600        532        556
    500                                                                                                                 500
    400                                                                                                                 400
    300                                                                                                                 300
    200                                                                                                                 200
    100                                                                                                                 100
      0                                                                                                                   0
              Dec 31    Mar 31     Jun 30     Sep 30     Dec 31    Mar 31       Jun 30     Sep 30     Dec 31                      Dec 31     Mar 31     Jun 30     Sep 30     Dec 31    Mar 31     Jun 30     Sep 30     Dec 31
               2019      2020       2020       2020      2020       2021         2021       2021       2021                        2019       2020       2020       2020      2020       2021       2021       2021       2021

 DAU/MAU:      62%        62%       61%         62%       62%         62%         62%        63%        63% DAU/MAU: 65%                    65%        65%        65%        65%        65%       65%        66%        65%


         Note: For purposes of reporting DAUs, MAUs, and ARPU by geographic region, Europe includes all users in Russia and Turkey and Rest of World
         includes all users in Africa, Latin America, and the Middle East.




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       Worldwide DAUs increased 5% to 1.93 billion on average during December 2021 from 1.84 billion during December
2020. Users in India, Bangladesh, and Vietnam represented the top three sources of growth in DAUs during December 2021,
relative to the same period in 2020.

     •    Monthly Active Users (MAUs). We define a monthly active user as a registered and logged-in Facebook user who
          visited Facebook through our website or a mobile device, or used our Messenger application (and is also a registered
          Facebook user), in the last 30 days as of the date of measurement. MAUs are a measure of the size of our global
          active user community on Facebook.

                                                                                      Monthly Active Users
                                                                                          Worldwide
                                                                                         (in millions)

                                              3,500
                                                                                                                           2,895 2,910 2,912
                                              3,000                            2,701 2,740 2,797 2,853
                                                         2,498 2,603
                                              2,500

                                              2,000

                                              1,500

                                              1,000

                                                500

                                                  0
                                                         Dec 31     Mar 31      Jun 30      Sep 30   Dec 31      Mar 31     Jun 30     Sep 30      Dec 31
                                                          2019       2020        2020        2020    2020         2021       2021       2021        2021

                                  Monthly Active Users                                                                                          Monthly Active Users
                                     US & Canada                                                                                                      Europe
                                     (in millions)                                                                                                 (in millions)

   400                                                                                                 500
                                                                                                                             406        410         413        419       423       420       423        427
                                                                                                                   394
                                                                                                       400
   300
           248     253      256      255      258      259        259        261         262
                                                                                                       300
   200
                                                                                                       200

   100
                                                                                                       100

     0                                                                                                   0
          Dec 31   Mar 31   Jun 30   Sep 30   Dec 31   Mar 31     Jun 30     Sep 30      Dec 31                   Dec 31     Mar 31     Jun 30      Sep 30     Dec 31    Mar 31    Jun 30    Sep 30     Dec 31
           2019     2020     2020     2020    2020      2021       2021       2021        2021                     2019       2020       2020        2020      2020       2021      2021      2021       2021

                                 Monthly Active Users                                                                                            Monthly Active Users
                                    Asia-Pacific                                                                                                   Rest of World
                                    (in millions)                                                                                                   (in millions)

  1,400
                                                       1,230 1,265 1,278 1,278                         1,200
                      1,142          1,166 1,199                                                                                                                                     951       949        945
  1,200
          1,038 1,093                                                                                  1,000
                                                                                                                               851        892         906        921       940
                                                                                                                    817
  1,000
                                                                                                        800
   800
                                                                                                        600
   600
                                                                                                        400
   400

   200                                                                                                  200

     0                                                                                                       0
          Dec 31   Mar 31   Jun 30   Sep 30   Dec 31   Mar 31     Jun 30     Sep 30      Dec 31                    Dec 31     Mar 31      Jun 30      Sep 30    Dec 31    Mar 31    Jun 30     Sep 30     Dec 31
           2019     2020     2020     2020    2020      2021       2021       2021        2021                      2019       2020        2020        2020     2020       2021      2021       2021       2021



        As of December 31, 2021, we had 2.91 billion MAUs, an increase of 4% from December 31, 2020. Users in India,
Vietnam, and Bangladesh represented the top three sources of growth in 2021, relative to the same period in 2020.




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Trends in Our Monetization by Facebook User Geography

       We calculate our revenue by user geography based on our estimate of the geography in which ad impressions are
delivered, virtual and digital goods are purchased, or consumer hardware products are shipped. We define ARPU as our total
revenue in a given geography during a given quarter, divided by the average of the number of MAUs in the geography at the
beginning and end of the quarter. While ARPU includes all sources of revenue, the number of MAUs used in this calculation
only includes users of Facebook and Messenger as described in the definition of MAU above. While the share of revenue
from users who are not also Facebook or Messenger MAUs has grown over time, we estimate that revenue from users who
are Facebook or Messenger MAUs represents the substantial majority of our total revenue. See "Average Revenue Per Person
(ARPP)" above for our estimates of trends in our monetization of our Family products. The geography of our users affects
our revenue and financial results because we currently monetize users in different geographies at different average rates. Our
revenue and ARPU in regions such as United States & Canada and Europe are relatively higher primarily due to the size and
maturity of those online and mobile advertising markets. For example, ARPU in 2021 in the United States & Canada region
was more than 12 times higher than in the Asia-Pacific region.
                                                                                                   Revenue
                                                                                                 Worldwide
                                                                                        (in $ millions, except ARPU)
                                                                                                                                                        33,671
                                                  35,000
                                                                                                          28,072                  29,077 29,010
                                                                                                                        26,171                          $1,032
                                                  28,000
                                                                  21,082                       21,470        $885                  $497       $734
                                                  21,000                    17,737 18,687                                $732
                                                                   $346                         $249                                                    $32,639
                                                  14,000                     $297     $366                $27,187 $25,439 $28,580 $28,276
                                                                  $20,736 $17,440 $18,321 $21,221
                                                      7,000

                                                         0
                                                                  Dec 31    Mar 31    Jun 30   Sep 30     Dec 31        Mar 31    Jun 30     Sep 30     Dec 31
                                                                   2019      2020      2020     2020       2020         2021       2021       2021       2021

                                                       ARPU:      $8.52     $6.95     $7.05     $7.89        $10.14       $9.27    $10.12     $10.00      $11.57
                                               Revenue                                                                                                     Revenue
                                            US & Canada                                                                                                     Europe
                                    (in $ millions, except ARPU)                                                                                (in $ millions, except ARPU)
18,000                                                                                         15,826 10,000
                                                                                                                                                                                                                   8,357
15,000                                                  13,734              13,738 13,613                                                                                                 7,270
                                                                  12,405                         $764                                                               7,011                              6,955
                                                                                                          7,500                                                                6,523                                $183
12,000        10,248                         10,137      $584                 $372     $519                                                                                                 $65
                                   9,291                            $508                                                 5,159                          5,104        $189                               $134
                         8,562                                                                                                                4,502                             $150
9,000          $227                                                                                       5,000                    4,254
                                              $149
                                   $232                                                        $15,062                     $88                            $53                                                      $8,174
                         $183                           $13,150 $11,897 $13,366 $13,094                                                        $91                  $6,822                 $7,205      $6,821
6,000                                                                                                                                $83                                       $6,373
              $10,021              $9,059    $9,988                                                       2,500          $5,071                          $5,051
                         $8,379                                                                                                    $4,171     $4,411
3,000

    0                                                                                                             0
              Dec 31     Mar 31    Jun 30    Sep 30      Dec 31    Mar 31    Jun 30   Sep 30    Dec 31                   Dec 31    Mar 31     Jun 30     Sep 30     Dec 31     Mar 31      Jun 30      Sep 30      Dec 31
               2019       2020      2020      2020       2020       2021      2021     2021      2021                     2019      2020       2020       2020      2020        2021        2021        2021        2021

  ARPU: $ 41.41 $ 34.18 $ 36.49 $ 39.63 $ 53.56 $ 48.03 $ 53.01 $ 52.34 $ 60.57                                       ARPU: $13.21 $10.64 $11.03 $12.41 $16.87 $15.49 $17.23 $ 16.50 $ 19.68

                                                Revenue                                                                                                 Revenue
                                              Asia-Pacific                                                                                          Rest of World
                                     (in $ millions, except ARPU)                                                                            (in $ millions, except ARPU)
   8,000                                                                                                 5,000
                                                                                               6,244
                                                                                      5,461              4,000
   6,000                                                                    5,190                                                                                                                               3,244
                                                         4,793     4,789                        $61                                                                                     2,879       2,981
                                              4,230                                    $63               3,000                                                    2,534      2,454
                3,665                                                         $38                                                                                                                                $24
   4,000                  3,257     3,341                 $90       $54                                                 2,010                          1,999                             $22         $18
                                               $28                                                                                1,664                            $22
                 $23                                                                           $6,183 2,000                                 1,553                             $20
                           $21       $29                                     $5,152   $5,398                              $8                            $19                                         $2,963      $3,220
                                              $4,202     $4,703    $4,735                                                                                                               $2,857
   2,000        $3,642                                                                                                             $10                            $2,512     $2,434
                          $3,236    $3,312                                                               1,000          $2,002               $14       $1,980
                                                                                                                                  $1,654    $1,539

         0                                                                                                    0
                Dec 31    Mar 31    Jun 30    Sep 30     Dec 31    Mar 31    Jun 30   Sep 30   Dec 31                   Dec 31    Mar 31    Jun 30     Sep 30     Dec 31     Mar 31     Jun 30      Sep 30      Dec 31
                2019       2020      2020      2020       2020      2021      2021     2021    2021                     2019       2020      2020       2020       2020       2021       2021        2021       2021

   ARPU:       $3.57     $3.06     $2.99     $3.67       $4.05     $3.94     $4.16    $4.30     $4.89        ARPU:      $2.48     $1.99     $1.78       $2.22      $2.77      $2.64       $3.05       $3.14       $3.43

                                                                                 ■ Ad Re\·enue           ■ Non-Ad Re\·enue

             Note: Non-advertising revenue includes RL revenue generated from the delivery of consumer hardware products and FoA Other revenue, which
             consists of net fees we receive from developers using our Payments infrastructure and revenue from various other sources.




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      Our revenue by user geography in the charts above is geographically apportioned based on our estimation of the geographic location of our users
      when they perform a revenue-generating activity. This allocation differs from our revenue disaggregated by geography disclosure in Note 2 —
      Revenue in our consolidated financial statements included in Part II, Item 8, "Financial Statements and Supplemental Data" where revenue is
      geographically apportioned based on the addresses of our customers.

       Our annual worldwide ARPU in 2021, which represents the sum of quarterly ARPU during such period, was $40.96,
an increase of 28% from 2020. For 2021, ARPU increased by 40% in Rest of World, 35% in Europe, 31% in the United
States & Canada, and 26% in Asia‑Pacific, as compared with 2020. In addition, user growth was more rapid in geographies
with relatively lower ARPU, such as Asia‑Pacific and Rest of World. We expect that user growth in the future will be
primarily concentrated in those regions where ARPU is relatively lower, such that worldwide ARPU may continue to
increase at a slower rate relative to ARPU in any geographic region, or potentially decrease even if ARPU increases in each
geographic region.




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Critical Accounting Policies and Estimates

        Our consolidated financial statements are prepared in accordance with U.S. GAAP. The preparation of these
consolidated financial statements requires us to make estimates and assumptions that affect the reported amounts of assets,
liabilities, revenue, costs and expenses, and related disclosures. On an ongoing basis, we evaluate our estimates and
assumptions based on historical experience and on various other assumptions that we believe are reasonable under the
circumstances. Our actual results could differ from these estimates under different assumptions or conditions.

       An accounting policy is deemed to be critical if the nature of the estimates or assumptions is material due to the levels
of subjectivity and judgment necessary to account for highly uncertain matters or the susceptibility of such matters to change,
and the impact of the estimates and assumptions on our consolidated financial statements is material. We believe that the
assumptions and estimates associated with gross vs. net in revenue recognition, valuation of equity investments, income
taxes, loss contingencies, and valuation of long-lived assets including goodwill, intangible assets, and property and
equipment, and their associated estimated useful lives, when applicable, have the greatest potential impact on our
consolidated financial statements. Therefore, we consider these to be our critical accounting policies and estimates. For
further information on all of our significant accounting policies, see Note 1 — Summary of Significant Accounting Policies
in the accompanying notes to consolidated financial statements included in Part II, Item 8, "Financial Statements and
Supplementary Data" of this Annual Report on Form 10-K.

Gross vs. Net in Revenue Recognition

       For revenue generated from arrangements that involve third parties, there is significant judgment in evaluating whether
we are the principal, and report revenue on a gross basis, or the agent, and report revenue on a net basis. In this assessment,
we consider if we obtain control of the specified goods or services before they are transferred to the customer, as well as
other indicators such as the party primarily responsible for fulfillment, inventory risk, and discretion in establishing price.
The assessment of whether we are considered the principal or the agent in a transaction could impact our revenue and cost of
revenue recognized on the consolidated statements of income.

Valuation of Equity Investments

       For our equity securities without readily determinable fair values accounted for using the measurement alternative,
determining whether an equity security issued by the same issuer is similar to the equity security we hold may require
judgment in (a) assessment of differences in rights and obligations associated with the instruments such as voting rights,
distribution rights and preferences, and conversion features, and (b) adjustments to the observable price for differences such
as, but not limited to, rights and obligations, control premium, liquidity, or principal or most advantageous markets. In
addition, the identification of observable transactions will depend on the timely reporting of these transactions from our
investee companies, which may occur in a period subsequent to when the transactions take place. Therefore, our fair value
adjustment for these observable transactions may occur in a period subsequent to when the transaction actually occurred. For
equity investments, we perform a qualitative assessment at each reporting date to determine whether there are triggering
events for impairment. The qualitative assessment considers factors such as, but not limited to, the investee's financial
condition and business outlook; industry and sector performance; regulatory, economic or technological environment;
operational and financing cash flows; and other relevant events and factors affecting the investee. When indicators of
impairment exist, we estimate the fair value of our equity investments using the market approach and/or the income approach
and recognize impairment loss in the consolidated statements of income if the estimated fair value is less than the carrying
value. Estimating fair value requires judgment and use of estimates such as discount rates, forecast cash flows, holding
period, and market data of comparable companies, among others.

Income Taxes

       We are subject to income taxes in the United States and numerous foreign jurisdictions. Significant judgment is
required in determining our provision for income taxes and income tax assets and liabilities, including evaluating
uncertainties in the application of accounting principles and complex tax laws.

       We recognize tax benefits from uncertain tax positions only if we believe that it is more likely than not that the tax
position will be sustained on examination by the taxing authorities based on the technical merits of the position. These
uncertain tax positions include our estimates for transfer pricing that have been developed based upon analyses of appropriate



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arms-length prices. Similarly, our estimates related to uncertain tax positions concerning research and development tax
credits are based on an assessment of whether our available documentation corroborating the nature of our activities
supporting the tax credits will be sufficient. Although we believe that we have adequately reserved for our uncertain tax
positions (including net interest and penalties), we can provide no assurance that the final tax outcome of these matters will
not be materially different. We make adjustments to these reserves in accordance with the income tax accounting guidance
when facts and circumstances change, such as the closing of a tax audit or the refinement of an estimate. To the extent that
the final tax outcome of these matters is different from the amounts recorded, such differences will affect the provision for
income taxes in the period in which such determination is made, and could have a material impact on our financial condition
and operating results.

Loss Contingencies

        We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations that arise
in the ordinary course of business. Certain of these matters include speculative claims for substantial or indeterminate
amounts of damages. Additionally, we are required to comply with various legal and regulatory obligations around the world,
and we regularly become subject to new laws and regulations in the jurisdictions in which we operate. The requirements for
complying with these obligations may be uncertain and subject to interpretation and enforcement by regulatory and other
authorities, and any failure to comply with such obligations could eventually lead to asserted legal or regulatory action. With
respect to these matters, asserted and unasserted, we evaluate the associated developments on a regular basis and accrue a
liability when we believe that it is both probable that a loss has been incurred and the amount can be reasonably estimated. If
we determine there is a reasonable possibility that we may incur a loss and the loss or range of loss can be reasonably
estimated, we disclose the possible loss in the accompanying notes to the consolidated financial statements to the extent
material.

       We review the developments in our contingencies that could affect the amount of the provisions that have been
previously recorded, and the matters and related reasonably possible losses disclosed. We make adjustments to our provisions
and changes to our disclosures accordingly to reflect the merits of our defenses and the impact of negotiations, settlements,
regulatory proceedings, rulings, advice of legal counsel, and updated information. Significant judgment is required to
determine the probability of loss and the estimated amount of loss, including when and if the probability and estimate has
changed for asserted and unasserted matters. Certain factors, in particular, have resulted in significant changes to these
estimates and judgments in prior quarters based on updated information available. For example, in certain jurisdictions where
we operate, fines and penalties may be the result of new laws and preliminary interpretations regarding the basis of assessing
damages, which may make it difficult to estimate what such fines and penalties would amount to if successfully asserted
against us. In addition, certain government inquiries and investigations, such as matters before our lead European Union
privacy regulator, the IDPC, are subject to review by other regulatory bodies before decisions are finalized, which can lead to
significant changes in the outcome of an inquiry. As a result of these and other factors, we reasonably expect that our
estimates and judgments with respect to our contingencies may continue to be revised in future quarters.

       The ultimate outcome of these matters, such as whether the likelihood of loss is remote, reasonably possible, or
probable or if and when the reasonably possible range of loss is estimable, is inherently uncertain. Therefore, if one or more
of these matters were resolved against us for amounts in excess of management's estimates of losses, our results of operations
and financial condition, including in a particular reporting period in which any such outcome becomes probable and
estimable, could be materially adversely affected. See Note 11 — Commitments and Contingencies and Note 14 — Income
Taxes of the accompanying notes to our consolidated financial statements included in Part II, Item 8, "Financial Statements
and Supplementary Data" and Part I, Item 3, "Legal Proceedings" of this Annual Report on Form 10-K for additional
information regarding these contingencies.

Valuation of Long-lived Assets including Goodwill, Intangible Assets, and Property and Equipment and Estimated Useful
Lives

       We allocate the fair value of purchase consideration to the tangible assets acquired, liabilities assumed, and intangible
assets acquired based on their estimated fair values. The excess of the fair value of purchase consideration over the fair values
of these identifiable assets and liabilities is recorded as goodwill to reporting units based on the expected benefit from the
business combination. Such valuations require management to make significant estimates and assumptions, especially with
respect to intangible assets. Significant estimates in valuing certain intangible assets include, but are not limited to, estimated
replacement costs and future expected cash flows from acquired users, acquired technology, acquired patents, and trade
names from a market participant perspective, useful lives, and discount rates. Management's estimates of fair value are based



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upon assumptions believed to be reasonable, but which are inherently uncertain and unpredictable and, as a result, actual
results may differ from estimates. Allocation of purchase consideration to identifiable assets and liabilities affects our
amortization expense, as acquired finite-lived intangible assets are amortized over the useful life, whereas any indefinite-
lived intangible assets, including goodwill, are not amortized. During the measurement period, which is not to exceed one
year from the acquisition date, we may record adjustments to the assets acquired and liabilities assumed, with the
corresponding offset to goodwill. Upon the conclusion of the measurement period, any subsequent adjustments are recorded
to earnings.

       Goodwill is tested for impairment at the reporting unit level annually or more frequently if events or changes in
circumstances would more likely than not reduce the fair value of a reporting unit below its carrying value. We have two
reporting units subject to goodwill impairment testing. As of December 31, 2021, no impairment of goodwill has been
identified.

       Long-lived assets, including property and equipment and finite-lived intangible assets are reviewed for possible
impairment whenever events or circumstances indicate that the carrying amount of such assets may not be recoverable. The
evaluation is performed at the lowest level for which identifiable cash flows are largely independent of the cash flows of
other assets and liabilities. Recoverability of these assets is measured by a comparison of the carrying amounts to the future
undiscounted cash flows the assets are expected to generate from the use and eventual disposition. If such review indicates
that the carrying amount of property and equipment and intangible assets is not recoverable, the carrying amount of such
assets is reduced to fair value. We have not recorded any material impairment charges during the years presented.

       The useful lives of our long-lived assets including property and equipment and finite-lived intangible assets are
determined by management when those assets are initially recognized and are routinely reviewed for the remaining estimated
useful lives. The current estimate of useful lives represents our best estimate based on current facts and circumstances, but
may differ from the actual useful lives due to changes in future circumstances such as changes to our business operations,
changes in the planned use of assets, and technological advancements. When we change the estimated useful life assumption
for any asset, the remaining carrying amount of the asset is accounted for prospectively and depreciated or amortized over the
revised estimated useful life.

       In connection with our periodic reviews of the estimated useful lives of property and equipment, we extended the
estimated average useful lives of our server and network assets category. The effect of the 2021 change was a reduction in
depreciation expense of $620 million and an increase in net income of $516 million, or $0.18 per diluted share. The impact
from the changes in our estimates was calculated based on the asset bases existing as of the effective dates of the changes and
applying the revised useful lives prospectively. See Note 1 — Summary of Significant Accounting Policies in the
accompanying notes to consolidated financial statements included in Part II, Item 8, "Financial Statements and
Supplementary Data" of this Annual Report on Form 10-K, for additional information regarding changes in the estimated
useful lives of our property and equipment.




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Components of Results of Operations

Revenue

Family of Apps (FoA)

       Advertising. We generate substantially all of our revenue from advertising. Our advertising revenue is generated by
displaying ad products on Facebook, Instagram, Messenger, and third-party affiliated websites or mobile applications.
Marketers pay for ad products either directly or through their relationships with advertising agencies or resellers, based on the
number of impressions delivered or the number of actions, such as clicks, taken by users.

       We recognize revenue from the display of impression-based ads in the contracted period in which the impressions are
delivered. Impressions are considered delivered when an ad is displayed to a user. We recognize revenue from the delivery of
action-based ads in the period in which a user takes the action the marketer contracted for. The number of ads we show is
subject to methodological changes as we continue to evolve our ads business and the structure of our ads products. We
calculate price per ad as total advertising revenue divided by the number of ads delivered, representing the effective price
paid per impression by a marketer regardless of their desired objective such as impression or action. For advertising revenue
arrangements where we are not the principal, we recognize revenue on a net basis.

      Other revenue. Other revenue consists of net fees we receive from developers using our Payments infrastructure and
revenue from various other sources.

Reality Labs (RL)

      RL revenue is generated from the delivery of consumer hardware products, such as Meta Quest, Facebook Portal, and
wearables, and related software and content.

Cost of Revenue and Operating Expenses

       Cost of revenue. Our cost of revenue consists primarily of expenses associated with the delivery and distribution of
our products. These include expenses related to the operation of our data centers and technical infrastructure, such as
depreciation expense from servers, network infrastructure and buildings, as well as payroll and related expenses which
include share-based compensation for employees on our operations teams, and energy and bandwidth costs. Cost of revenue
also includes costs associated with partner arrangements, including traffic acquisition costs and credit card and other fees
related to processing customer transactions; RL cost of products sold; and content costs.

       Research and development. Research and development expenses consist primarily of payroll and related expenses
which include share-based compensation, facilities-related costs for employees on our engineering and technical teams who
are responsible for developing new products as well as improving existing products, and professional services.

       Marketing and sales. Marketing and sales expenses consist primarily of marketing and promotional expenses and
payroll and related expenses which include share-based compensation for our employees engaged in sales, sales support,
marketing, business development, and customer service functions. Our marketing and sales expenses also include
professional services such as content reviewers to support our community and product operations.

        General and administrative. General and administrative expenses consist primarily of legal-related costs, which
include accruals for estimated fines, settlements, or other losses in connection with legal and related matters, as well as other
legal fees; payroll and related expenses which include share-based compensation for certain of our executives as well as our
legal, finance, human resources, corporate communications and policy, and other administrative employees; other taxes, such
as digital services taxes, other tax levies, and gross receipts taxes; and professional services.




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Results of Operations

      In this section, we discuss the results of our operations for the year ended December 31, 2021 compared to the year
ended December 31, 2020. For a discussion of the year ended December 31, 2020 compared to the year ended December 31,
2019, please refer to Part II, Item 7, "Management's Discussion and Analysis of Financial Condition and Results of
Operations" in our Annual Report on Form 10-K for the year ended December 31, 2020.

         The following table sets forth our consolidated statements of income data (in millions):

                                                                                                   Year Ended December 31,
                                                                                          2021              2020             2019
Revenue                                                                             $     117,929      $      85,965   $      70,697
Costs and expenses:
  Cost of revenue                                                                          22,649             16,692          12,770
  Research and development                                                                 24,655             18,447          13,600
  Marketing and sales                                                                      14,043             11,591           9,876
  General and administrative                                                                9,829              6,564          10,465
     Total costs and expenses                                                              71,176             53,294          46,711
Income from operations                                                                     46,753             32,671          23,986
Interest and other income, net                                                                531                509             826
Income before provision for income taxes                                                   47,284             33,180          24,812
Provision for income taxes                                                                  7,914              4,034           6,327
Net income                                                                          $      39,370      $      29,146   $      18,485

         The following table sets forth our consolidated statements of income data (as a percentage of revenue)(1):

                                                                                                   Year Ended December 31,
                                                                                          2021              2020             2019
Revenue                                                                                     100 %              100 %           100 %
Costs and expenses:
  Cost of revenue                                                                             19                19              18
  Research and development                                                                    21                21              19
  Marketing and sales                                                                         12                13              14
  General and administrative                                                                   8                 8              15
    Total costs and expenses                                                                  60                62              66
Income from operations                                                                        40                38              34
Interest and other income, net                                                                —                  1               1
Income before provision for income taxes                                                      40                39              35
Provision for income taxes                                                                     7                 5               9
Net income                                                                                    33 %              34 %            26 %
_________________________
(1) Percentages have been rounded for presentation purposes and may differ from unrounded results.




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         Share-based compensation expense included in costs and expenses (in millions):
                                                                                                    Year Ended December 31,
                                                                                             2021             2020                2019
 Cost of revenue                                                                         $       577    $           447    $           377
 Research and development                                                                      7,106              4,918              3,488
 Marketing and sales                                                                             837                691                569
 General and administrative                                                                      644                480                402
     Total share-based compensation expense                                              $     9,164    $         6,536    $         4,836


         Share-based compensation expense included in costs and expenses (as a percentage of revenue)(1):
                                                                                                    Year Ended December 31,
                                                                                             2021             2020                2019
Cost of revenue                                                                                 —%                   1%                  1%
Research and development                                                                        6                    6                   5
Marketing and sales                                                                             1                    1                   1
General and administrative                                                                      1                    1                   1
    Total share-based compensation expense                                                      8%                   8%                  7%
_________________________
(1) Percentages have been rounded for presentation purposes and may differ from unrounded results.

Revenue

      The following table sets forth our revenue by segment. For comparative purposes, amounts in prior periods have been
recast:
                                                              Year Ended December 31,
                                                                                                            2021 vs 2020       2020 vs 2019
                                                     2021               2020                 2019            % Change           % Change
                                                                 (dollars in millions)
  Advertising                                   $     114,934     $        84,169        $     69,655              37 %               21 %
  Other revenue                                           721                 657                 541              10 %               21 %
Family of Apps                                        115,655              84,826              70,196              36 %               21 %
Reality Labs                                            2,274               1,139                 501             100 %              127 %
    Total revenue                               $     117,929     $        85,965        $     70,697              37 %               22 %

        Family of Apps

       FoA revenue in 2021 increased $30.83 billion, or 36%, compared to 2020. The increase was mostly driven by an
increase in advertising revenue.

        Advertising

       Advertising revenue in 2021 increased $30.76 billion, or 37%, compared to 2020 as a result of increases in both the
average price per ad and the number of ads delivered. In 2021, the average price per ad increased by 24%, as compared with a
decrease of approximately 10% in 2020. The increase in average price per ad in 2021 was mainly caused by a recovery from
declines in advertising demand in the first two quarters of 2020, due to the onset of the COVID-19 pandemic. Additionally,
overall advertising demand increased, as compared to 2020, across our ad products and in all regions in part due to the
continued growth of online commerce. In 2021, the number of ads delivered increased by 10%, as compared with an
approximate 34% increase in 2020. The increase in the ads delivered in 2021 was driven by increases in users and the number
and frequency of ads displayed across our products. We anticipate that future advertising revenue growth will be driven by a
combination of price and the number of ads delivered.



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      Reality Labs

       RL revenue increased $1.14 billion, or 100%, from 2020 to 2021, and $638 million, or 127%, from 2019 to 2020. The
increases in both periods were mostly driven by increases in the volume of our consumer hardware products sold.

      Revenue Seasonality and Customer Concentration

       Revenue is traditionally seasonally strong in the fourth quarter of each year due in part to seasonal holiday demand.
We believe that this seasonality in both advertising revenue and RL consumer hardware sales affects our quarterly results,
which generally reflect significant growth in revenue between the third and fourth quarters and a decline between the fourth
and subsequent first quarters. For instance, our total revenue increased 16%, 31%, and 19% between the third and fourth
quarters of 2021, 2020, and 2019, respectively, while total revenue for the first quarters of 2021, 2020, and 2019 declined
7%, 16%, and 11% compared to the fourth quarters of 2020, 2019, and 2018, respectively. We note the decline in total
revenue in the first quarter of 2020 was exacerbated by the non-seasonal impact of the onset of the COVID-19 pandemic.

      No customer represented 10% or more of total revenue during the years ended December 31, 2021, 2020, and 2019.

      Foreign Exchange Impact on Revenue

       The general weakening of the U.S. dollar relative to certain foreign currencies in the full year 2021 compared to the
same period in 2020 had a favorable impact on revenue. If we had translated revenue for the full year 2021 using the prior
year's monthly exchange rates for our settlement or billing currencies other than the U.S. dollar, our total revenue and
advertising revenue would have been $116.29 billion and $113.31 billion, respectively. Using these constant rates, total
revenue and advertising revenue would have been $1.64 billion and $1.62 billion lower than actual total revenue and
advertising revenue, respectively, for the full year 2021. Using the same constant rates, full year 2021 total revenue and
advertising revenue would have been $30.32 billion and $29.15 billion, respectively, higher than actual total revenue and
advertising revenue for the full year 2020.

Cost of revenue
                                                           Year Ended December 31,
                                                                                                     2021 vs 2020   2020 vs 2019
                                                   2021              2020                 2019        % Change       % Change
                                                              (dollars in millions)
Cost of revenue                              $       22,649    $        16,692        $     12,770          36 %            31%
Percentage of revenue                                 19%                19%                 18%

       Cost of revenue in 2021 increased $5.96 billion, or 36%, compared to 2020. The majority of the increase was due to an
increase in Reality Labs cost of products sold and an increase in operational expenses related to our data centers and technical
infrastructure, partially offset by a decrease in the depreciation growth rate mostly due to increases in the useful lives of
servers and network assets. To a lesser extent, costs associated with partner arrangements, including traffic acquisition and
payment processing costs, also increased.

       See Note 1 — Summary of Significant Accounting Policies in the notes to the consolidated financial statements
included in Part II, Item 8 of this Annual Report on Form 10-K for additional information regarding changes in the estimated
useful lives of our servers and network assets.

       In 2022, we anticipate that cost of revenue will increase as we continue to expand our data center capacity and
technical infrastructure to support user growth and engagement and the delivery of new products and services, and, to a lesser
extent, due to higher content costs.




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Research and development
                                                          Year Ended December 31,
                                                                                                    2021 vs 2020   2020 vs 2019
                                                  2021               2020                2019        % Change       % Change
                                                             (dollars in millions)
Research and development                     $      24,655    $        18,447        $     13,600          34 %            36%
Percentage of revenue                                21%                21%                 19%

       Research and development expenses in 2021 increased $6.21 billion, or 34%, compared to 2020. The increase was
primarily due to an increase in payroll and related expenses as a result of a 30% growth in employee headcount from
December 31, 2020 to December 31, 2021 in engineering and other technical functions supporting our continued investment
in our family of products and Reality Labs. To a lesser extent, Realty Labs technology development costs also increased.

       In 2022, we plan to continue to hire software engineers and other technical employees, and to increase our investment
to support our research and development initiatives in our family of products and in Reality Labs.

Marketing and sales
                                                          Year Ended December 31,
                                                                                                    2021 vs 2020   2020 vs 2019
                                                  2021               2020                2019        % Change       % Change
                                                             (dollars in millions)
Marketing and sales                          $      14,043    $        11,591        $      9,876          21 %            17%
Percentage of revenue                                12%                13%                 14%

       Marketing and sales expenses in 2021 increased $2.45 billion, or 21%, compared to 2020. The increase was primarily
due to increases in marketing and promotional expenses, payroll and related expenses, and product and community operations
expenses. Our payroll and related expenses increased as a result of a 9% increase in employee headcount from December 31,
2020 to December 31, 2021 in our marketing and sales functions.

       In 2022, we plan to continue the hiring of marketing and sales employees to support our marketing, sales, and
partnership efforts, and we anticipate marketing expenses will increase.

General and administrative
                                                          Year Ended December 31,
                                                                                                    2021 vs 2020   2020 vs 2019
                                                  2021              2020                 2019        % Change       % Change
                                                             (dollars in millions)
  Legal accrual related to FTC settlement $             —     $             —        $      5,000           NM             NM
  Other general and administrative                   9,829               6,564              5,465          50 %           20 %
General and administrative                  $        9,829    $          6,564       $     10,465          50 %          (37)%
Percentage of revenue                                 8%                  8%                15%

       General and administrative expenses in 2021 increased $3.27 billion, or 50%, compared to 2020. The increase was
primarily due to increases in legal-related costs and payroll and related expenses. Our payroll and related expenses increased
as a result of a 25% increase in employee headcount from December 31, 2020 to December 31, 2021 in our general and
administrative functions.

        See Note 11 — Commitments and Contingencies in the notes to our consolidated financial statements included in
Part II, Item 8, "Financial Statements and Supplementary Data" and Part I, Item 3, "Legal Proceedings" of this Annual Report
on Form 10-K for additional information regarding estimated fines, settlements, or other losses in connection with legal-
related costs.




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      In 2022, we plan to continue to increase general and administrative expenses to support overall company growth. We
may also incur significant discrete charges such as legal-related accruals and settlement costs in general and administrative
expenses.

Segment profitability

      The following table sets forth income (loss) from operations by segment. For comparative purposes, amounts in prior
periods have been recast:

                                                           Year Ended December 31,
                                                                                                          2021 vs 2020   2020 vs 2019
                                                  2021                2020                 2019            % Change       % Change
                                                               (dollars in millions)
Family of Apps                               $       56,946 $            39,294 $            28,489              45 %           38 %
Reality Labs                                        (10,193)             (6,623)             (4,503)            (54)%          (47)%
    Total income from operations             $       46,753 $            32,671 $            23,986              43 %           36 %

      Family of Apps

       FoA income from operations in 2021 increased $17.65 billion, or 45%, compared to 2020. The increase was due to the
growth in advertising revenue partially offset by an increase in costs and expenses, the majority of which was due to an
increase in payroll and related expenses as a result of higher employee headcount, higher legal-related costs, and increases in
costs related to our data centers and technical infrastructure.

       FoA income from operations in 2020 increased $10.81 billion, or 38%, compared to 2019. The increase was due to the
growth in advertising revenue and a one-time $5.0 billion FTC settlement accrual recorded in 2019, partially offset by an
increase in costs and expenses, the majority of which was due to an increase in payroll and related expenses as a result of
higher employee headcount, increases in costs related to our data centers and technical infrastructure, and higher marketing
and promotional expenses.

      Reality Labs

       RL loss from operations in 2021 increased $3.57 billion, or 54%, compared to 2020, and in 2020 increased
$2.12 billion, or 47%, compared to 2019. The majority of the increases in loss from operations in both periods were driven by
increases in payroll and related expenses primarily due to the growth in RL research and development headcount and higher
gross losses from increases in volume of consumer hardware sales.

Interest and other income, net
                                                           Year Ended December 31,
                                                                                                          2021 vs 2020   2020 vs 2019
                                                  2021                 2020                2019            % Change       % Change
                                                               (dollars in millions)
Interest income, net                         $           461    $             672      $          904           (31)%          (26)%
Foreign currency exchange losses, net                    (140)                (129)               (105)           (9)%         (23)%
Other income (expense), net                               210                  (34)                 27             NM            NM
    Interest and other income, net           $            531 $                509 $               826             4%          (38)%

       Interest and other income, net in 2021 increased $22 million, or 4%, compared to 2020. The increase was due to an
increase in other income from net unrealized gains recognized for our equity investments, partially offset by a decrease in
interest income as a result of lower interest rates compared to 2020.




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Provision for income taxes
                                                          Year Ended December 31,
                                                                                                   2021 vs 2020 %   2020 vs 2019 %
                                                   2021             2020                 2019         Change           Change
                                                             (dollars in millions)
Provision for income taxes                    $      7,914    $        4,034         $     6,327            96 %             (36)%
Effective tax rate                                  16.7%             12.2%               25.5%

       Our provision for income taxes in 2021 increased $3.88 billion, or 96%, compared to 2020, primarily due to an
increase in income from operations and the effects of the tax election described below.

      Our effective tax rate in 2021 increased compared to 2020, mostly due to the effects of the tax election described
below and tax effects of a shift in jurisdictional mix of earnings.

       In the third quarter of 2020, as part of finalizing our U.S. income tax return, we elected to capitalize and amortize
certain research and development expenses for U.S. income tax purposes. As a result, we recorded a total of $1.07 billion
income tax benefit for the year ended December 31, 2020.

      Effective Tax Rate Items. Our effective tax rate in the future will depend upon the proportion between the following
items and income before provision for income taxes: U.S. tax benefits from foreign-derived intangible income, tax effects
from share-based compensation, tax effects of integrating intellectual property from acquisitions, settlement of tax
contingency items, tax effects of changes in our business, and the effects of changes in tax law.

       The accounting for share-based compensation may increase or decrease our effective tax rate based upon the
difference between our share-based compensation expense and the deductions taken on our tax return, which depend upon the
stock price at the time of employee award vesting. If our stock price remains constant to the January 28, 2022 price, and
absent U.S. tax legislation changes and other one-time events, we expect our effective tax rate for the full year 2022 to be
similar to the effective tax rate for the full year 2021. This includes the effects of the mandatory capitalization and
amortization of research and development expenses starting in 2022, as required by the 2017 Tax Cuts and Jobs Act (Tax
Act). The mandatory capitalization requirement increases our cash tax liabilities but also decreases our effective tax rate due
to increasing the foreign-derived intangible income deduction. If the mandatory capitalization requirement is deferred, our
effective tax rate in 2022 could be a few percentage points higher when compared to current law and our cash tax liabilities
could be several billion dollars lower.

       Integrating intellectual property from acquisitions into our business generally involves intercompany transactions that
have the impact of increasing our provision for income taxes. Consequently, our provision for income taxes and our effective
tax rate may initially increase in the period of an acquisition and integration. The magnitude of this impact will depend upon
the specific type, size, and taxing jurisdictions of the intellectual property as well as the relative contribution to income in
subsequent periods.

      See Note 14 — Income Taxes in the notes to consolidated financial statements included in Part II, Item 8, "Financial
Statements and Supplementary Data" of this Annual Report on Form 10-K for additional information regarding income tax
contingencies.




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Liquidity and Capital Resources

       Our principal sources of liquidity are our cash and cash equivalents, marketable securities, and cash generated from
operations. Cash and cash equivalents and marketable securities consist mostly of cash on deposit with banks, investments in
money market funds, investments in U.S. government securities, U.S. government agency securities, and investment grade
corporate debt securities. Cash and cash equivalents and marketable securities were $48.0 billion as of December 31, 2021, a
decrease of $13.96 billion from December 31, 2020. The decrease was primarily due to $44.54 billion for repurchases of our
Class A common stock, $19.24 billion for capital expenditures, including principal payments on finance leases, and
$5.51 billion of taxes paid related to net share settlement of employee restricted stock units (RSU) awards, offset by
$57.68 billion of cash generated from operations for the year ended December 31, 2021.

       Cash paid for income taxes was $8.52 billion for the year ended December 31, 2021. As of December 31, 2021, our
federal net operating loss carryforward was $10.61 billion and our federal tax credit carryforward was $527 million. We
anticipate the utilization of a significant portion of these net operating losses and credits within the next two years.

      Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in
January 2017 and does not have an expiration date. In 2021, we repurchased and subsequently retired 136 million shares of
our Class A common stock for $44.81 billion. As of December 31, 2021, $38.79 billion remained available and authorized for
repurchases.

       As of December 31, 2021, $10.61 billion of the $48.0 billion in cash and cash equivalents and marketable securities
was held by our foreign subsidiaries. The Tax Act imposed a mandatory transition tax on accumulated foreign earnings and
eliminated U.S. taxes on foreign subsidiary distributions. As a result, earnings in foreign jurisdictions are available for
distribution to the U.S. without incremental U.S. taxes.

       We currently anticipate that our available funds and cash flow from operations will be sufficient to meet our
operational cash needs and fund our share repurchase program for at least the next 12 months and thereafter for the
foreseeable future.

      The following table presents our cash flows (in millions):

                                                                                         Year Ended December 31,
                                                                                 2021             2020             2019
Net cash provided by operating activities                                   $      57,683 $         38,747 $         36,314
Net cash used in investing activities                                       $      (7,570) $       (30,059) $       (19,864)
Net cash used in financing activities                                       $     (50,728) $       (10,292) $        (7,299)

Cash Provided by Operating Activities

        Cash provided by operating activities during 2021 mostly consisted of $39.37 billion net income adjusted for certain
non-cash items, including $9.16 billion of share-based compensation expense and $7.97 billion of depreciation and
amortization. The increase in cash flow from operating activities during 2021 compared to 2020 was primarily due to higher
net income as adjusted for certain non-cash items, such as share-based compensation expense and deferred income taxes,
partially offset by changes in working capital.

Cash Used in Investing Activities

        Cash used in investing activities during 2021 primarily consisted of $18.57 billion of purchases of property and
equipment as we continued to invest in data centers, servers, office facilities, and network infrastructure offset by
$12.18 billion of net sales and maturities of marketable securities. The decrease in cash used in investing activities during
2021 compared to 2020 was mostly due to decreases in net purchases of marketable securities and equity investments,
partially offset by an increase in purchases of property and equipment.

      We anticipate making capital expenditures of approximately $29 billion to $34 billion in 2022.




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Cash Used in Financing Activities

        Cash used in financing activities during 2021 mostly consisted of $44.54 billion for repurchases of our Class A
common stock and $5.51 billion of taxes paid related to net share settlement of RSUs. The increase in cash used in financing
activities during 2021 compared to 2020 was mostly due to the increase in repurchases of our Class A common stock.

Free Cash Flow

      In addition to other financial measures presented in accordance with U.S. GAAP, we monitor free cash flow (FCF) as
a non-GAAP measure to manage our business, make planning decisions, evaluate our performance, and allocate resources.
We define FCF as net cash provided by operating activities reduced by net purchases of property and equipment and principal
payments on finance leases.

       We believe that FCF is one of the key financial indicators of our business performance over the long term and provides
useful information regarding how cash provided by operating activities compares to the property and equipment investments
required to maintain and grow our business.

      We have chosen our definition for FCF because we believe that this methodology can provide useful supplemental
information to help investors better understand underlying trends in our business. We use FCF in discussions with our senior
management and board of directors.

       FCF has limitations as an analytical tool, and you should not consider it in isolation or as a substitute for analysis of
other GAAP financial measures, such as net cash provided by operating activities. FCF is not intended to represent our
residual cash flow available for discretionary expenses. Some of the limitations of FCF are:

      •     FCF does not reflect our future contractual commitments; and
      •     other companies in our industry present similarly titled measures differently than we do, limiting their usefulness
            as comparative measures.

       Management compensates for the inherent limitations associated with using the FCF measure through disclosure of
such limitations, presentation of our financial statements in accordance with GAAP, and reconciliation of FCF to the most
directly comparable GAAP measure, net cash provided by operating activities, as presented below.

        The following is a reconciliation of FCF to the most comparable GAAP measure, net cash provided by operating
activities (in millions):
                                                                                          Year Ended December 31,
                                                                                  2021              2020             2019
Net cash provided by operating activities                                    $       57,683 $         38,747 $          36,314
  Less: Purchases of property and equipment                                         (18,567)         (15,115)          (15,102)
  Less: Principal payments on finance leases                                           (677)            (604)             (552)
Free cash flow                                                               $       38,439 $         23,028 $          20,660

Off-Balance Sheet Arrangements

      As of December 31, 2021, we did not have any off-balance sheet arrangements that are reasonably likely to have a
material current or future effect on our financial condition, results of operations, liquidity, capital expenditures, or capital
resources.




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Contractual Obligations

       Our principal commitments consist mostly of obligations under operating leases and other contractual commitments.
Our operating lease obligations mostly include among others, certain of our offices, data centers, colocations and land. Our
other contractual commitments are primarily related to our investments in servers, network infrastructure and Reality Labs.
The following table summarizes our commitments to settle contractual obligations in cash as of December 31, 2021 (in
millions):

                                                                                          Payment Due by Period
                                                        Total            2022            2023-2024           2025-2026        Thereafter
 Operating lease obligations, including
 imputed interest(1)                               $      25,410    $       1,559    $        3,966      $        3,837   $       16,048
 Finance lease obligations, including imputed
 interest(1)                                               2,303              678               603                 322              700
 Transition tax payable                                    1,537               —                848                 689               —
 Other contractual commitments                            23,080           14,502             5,426                 609            2,543
      Total contractual obligations                $      52,330    $      16,739    $       10,843      $        5,457   $       19,291
_________________________
(1) Includes variable lease payments that were fixed subsequent to lease commencement or modification.

      Additionally, as part of the normal course of business, we may also enter into multi-year agreements to purchase
renewable energy that do not specify a fixed or minimum volume commitment or to purchase certain server components that
do not specify a fixed or minimum price commitment. These agreements are generally entered into in order to secure either
volume or price. Using projected market prices or expected volume consumption, the total estimated spend is approximately
$8.06 billion. The ultimate spend under these agreements may vary and will be based on prevailing market prices or actual
volume purchased.

       Our other liabilities also include $4.40 billion related to the uncertain tax positions as of December 31, 2021. Due to
uncertainties in the timing of the completion of tax audits, the timing of the resolution of these positions is uncertain and we
are unable to make a reasonably reliable estimate of the timing of payments in individual years beyond 12 months. As a
result, this amount is not included in the above contractual obligations table.

Contingencies

       We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations. We
record a liability when we believe that it is both probable that a liability has been incurred, and that the amount can be
reasonably estimated. If we determine there is a reasonable possibility that we may incur a loss and the loss or range of loss
can be estimated, we disclose the possible loss in the accompanying notes to the consolidated financial statements to the
extent material. Significant judgment is required to determine both probability and the estimated amount of loss. Such matters
are inherently unpredictable and subject to significant uncertainties, some of which are beyond our control. Should any of
these estimates and assumptions change or prove to be incorrect, it could have a material impact on our results of operations,
financial position, and cash flows.

       See Note 11 — Commitments and Contingencies and Note 14 — Income Taxes in the notes to our consolidated
financial statements included in Part II, Item 8, "Financial Statements and Supplementary Data" and Part I, Item 3, "Legal
Proceedings" of this Annual Report on Form 10-K for additional information regarding contingencies.

Recently Issued Accounting Pronouncements

      For further information on recently issued accounting pronouncements, see Note 1 — Summary of Significant
Accounting Policies in the accompanying notes to consolidated financial statements included in Part II, Item 8, "Financial
Statements and Supplementary Data" of this Annual Report on Form 10-K.




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Item 7A. Quantitative and Qualitative Disclosures About Market Risk

      We are exposed to market risks, including changes to foreign currency exchange rates, interest rates, and equity
investment risk.

Foreign Currency Exchange Risk

       We have foreign currency risks related to our revenue and operating expenses denominated in currencies other than the
U.S. dollar, primarily the Euro. Accordingly, changes in exchange rates, and in particular a strengthening of the U.S. dollar,
have in the past, and may in the future, negatively affect our revenue and other operating results as expressed in U.S. dollars.

       We have experienced and will continue to experience fluctuations in our net income as a result of transaction gains or
losses related to revaluing monetary asset and liability balances that are denominated in currencies other than the functional
currency of the entities in which they are recorded. At this time, we have not entered into, but in the future we may enter into,
derivatives or other financial instruments in an attempt to hedge our foreign currency exchange risk. It is difficult to predict
the effect hedging activities would have on our results of operations. Foreign currency losses of $140 million, $129 million,
and $105 million were recognized in 2021, 2020, and 2019, respectively, as interest and other income, net in our consolidated
statements of income.

Interest Rate Sensitivity

      Our exposure to changes in interest rates relates primarily to interest earned and market value on our cash and cash
equivalents and marketable securities.

      Our cash and cash equivalents and marketable securities consist of cash, certificates of deposit, time deposits, money
market funds, U.S. government securities, U.S. government agency securities, and investment grade corporate debt securities.
Our investment policy and strategy are focused on preservation of capital and supporting our liquidity requirements. Changes
in U.S. interest rates affect the interest earned on our cash and cash equivalents and marketable securities, and the market
value of those securities. A hypothetical 100 basis point increase in interest rates would have resulted in a decrease of
$714 million and $794 million in the market value of our available-for-sale debt securities as of December 31, 2021 and
December 31, 2020, respectively. Any realized gains or losses resulting from such interest rate changes would only occur if
we sold the investments prior to maturity.

Equity Investment Risk

       Our equity investments are subject to a wide variety of market-related risks that could have a material impact on the
carrying value of our holdings. We continually evaluate our equity investments in privately-held companies.

        Our equity investments are investments in equity securities of privately-held companies without readily determinable
fair values. We elected to account for most of our equity investments using the measurement alternative, which is cost, less
any impairment, adjusted for changes in fair value resulting from observable transactions for identical or similar investments
of the same issuer. We perform a qualitative assessment at each reporting date to determine whether there are triggering
events for impairment. The qualitative assessment considers factors such as, but not limited to, the investee's financial
condition and business outlook; industry and sector performance; economic or technological environment; and other relevant
events and factors affecting the investee. Valuations of our equity investments are complex due to the lack of readily
available market data and observable transactions. Volatility in the global economic climate and financial markets, including
recent and ongoing effects related to the impact of the COVID-19 pandemic, which requires significant judgments, could
result in a material impairment charge on our equity investments. Equity investments accounted for under the equity method
were immaterial as of December 31, 2021 and December 31, 2020. Our total equity investments had a carrying value of
$6.78 billion and $6.23 billion as of December 31, 2021 and December 31, 2020, respectively.

       For additional information about our equity investments, see Note 1 — Summary of Significant Accounting Policies,
Note 5 — Equity Investments, and Note 6 — Fair Value Measurements in the notes to the consolidated financial statements
included in Part II, Item 8, "Financial Statements and Supplementary Data" and Part II, Item 7, "Management’s Discussion
and Analysis of Financial Conditions and Results of Operations — Critical Accounting Policies and Estimates" contained in
this Annual Report on Form 10-K.



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Item 8. Financial Statements and Supplementary Data

                                              META PLATFORMS, INC.

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                                Report of Independent Registered Public Accounting Firm

To the Stockholders and the Board of Directors of Meta Platforms, Inc.

Opinion on the Financial Statements

We have audited the accompanying consolidated balance sheets of Meta Platforms, Inc. (the Company) as of December 31,
2021 and 2020, the related consolidated statements of income, comprehensive income, stockholders' equity and cash flows
for each of the three years in the period ended December 31, 2021, and the related notes (collectively referred to as the
"consolidated financial statements"). In our opinion, the consolidated financial statements present fairly, in all material
respects, the financial position of the Company at December 31, 2021 and 2020, and the results of its operations and its cash
flows for each of the three years in the period ended December 31, 2021, in conformity with U.S. generally accepted
accounting principles.

We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States)
(PCAOB), the Company's internal control over financial reporting as of December 31, 2021, based on criteria established in
Internal Control – Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission
(2013 framework), and our report dated February 2, 2022 expressed an unqualified opinion thereon.

Basis for Opinion

These financial statements are the responsibility of the Company's management. Our responsibility is to express an opinion
on the Company's financial statements based on our audits. We are a public accounting firm registered with the PCAOB and
are required to be independent with respect to the Company in accordance with the U.S. federal securities laws and the
applicable rules and regulations of the Securities and Exchange Commission and the PCAOB.

We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan and perform
the audit to obtain reasonable assurance about whether the financial statements are free of material misstatement, whether due
to error or fraud. Our audits included performing procedures to assess the risks of material misstatement of the financial
statements, whether due to error or fraud, and performing procedures that respond to those risks. Such procedures included
examining, on a test basis, evidence regarding the amounts and disclosures in the financial statements. Our audits also
included evaluating the accounting principles used and significant estimates made by management, as well as evaluating the
overall presentation of the financial statements. We believe that our audits provide a reasonable basis for our opinion.

Critical Audit Matters

The critical audit matters communicated below are matters arising from the current period audit of the financial statements
that were communicated or required to be communicated to the Audit & Risk Oversight Committee and that: (1) relate to
accounts or disclosures that are material to the financial statements and (2) involved our especially challenging, subjective or
complex judgments. The communication of critical audit matters does not alter in any way our opinion on the consolidated
financial statements, taken as a whole, and we are not, by communicating the critical audit matters below, providing separate
opinions on the critical audit matters or on the accounts or disclosures to which they relate.




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                     Loss Contingencies
Description of the   As described in Note 11 to the consolidated financial statements, the Company is party to various
Matter               legal proceedings, claims, and regulatory or government inquiries and investigations. The Company
                     accrues a liability when it believes a loss is probable and the amount can be reasonably estimated. In
                     addition, the Company believes it is reasonably possible that it will incur a loss in some of these
                     cases, actions or inquiries described above. When applicable, the Company discloses an estimate of
                     the amount of loss or range of possible loss that may be incurred. However, for certain other matters,
                     the Company discloses that the amount of such losses or a range of possible losses cannot be
                     reasonably estimated at this time.

                     Auditing the Company's accounting for, and disclosure of, these loss contingencies was especially
                     challenging due to the significant judgment required to evaluate management's assessments of the
                     likelihood of a loss, and their estimate of the potential amount or range of such losses.

How We Addressed     We obtained an understanding, evaluated the design and tested the operating effectiveness of controls
the Matter in Our    over the identification and evaluation of these matters, including controls relating to the Company's
Audit                assessment of the likelihood that a loss will be realized and their ability to reasonably estimate the
                     potential range of possible losses.

                     To test the Company's assessment of the probability of incurrence of a loss, whether the loss was
                     reasonably estimable, and the conclusion and disclosure regarding any range of possible losses,
                     including when the Company believes it cannot be reasonably estimated at this time, we read the
                     minutes or a summary of the meetings of the committees of the board of directors, read the
                     proceedings, claims, and regulatory, or government inquiries and investigations, or summaries as we
                     deemed appropriate, requested and received internal and external legal counsel confirmation letters,
                     met with internal and external legal counsel to discuss the nature of the various matters, and obtained
                     representations from management. We also evaluated the appropriateness of the related disclosures
                     included in Note 11 to the consolidated financial statements.




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                      Uncertain Tax Positions
Description of the    As discussed in Note 14 to the consolidated financial statements, the Company has received certain
Matter                notices from the Internal Revenue Service (IRS) related to transfer pricing agreements with the
                      Company's foreign subsidiaries for certain periods examined. The IRS has stated that it will also
                      apply its position to tax years subsequent to those examined. If the IRS prevails in its position, it
                      could result in an additional federal tax liability, plus interest and any penalties asserted. The
                      Company uses judgment to (1) determine whether a tax position's technical merits are more-likely-
                      than-not to be sustained and (2) measure the amount of tax benefit that qualifies for recognition.

                      Auditing the Company's accounting for, and disclosure of, these uncertain tax positions was
                      especially challenging due to the significant judgment required to assess management's evaluation of
                      technical merits and the measurement of the tax position based on interpretations of tax laws and
                      legal rulings.

How We Addressed      We obtained an understanding, evaluated the design and tested the operating effectiveness of controls
the Matter in Our     over the Company's process to assess the technical merits of tax positions related to these transfer
Audit                 pricing agreements and to measure the benefit of those tax positions.

                      As part of our audit procedures over the Company's accounting for these positions, we involved our
                      tax professionals to assist with our assessment of the technical merits of the Company's tax positions.
                      This included assessing the Company's correspondence with the relevant tax authorities, evaluating
                      income tax opinions or other third-party advice obtained by the Company, and requesting and
                      receiving confirmation letters from third-party advisors. We also used our knowledge of, and
                      experience with, the application of international and local income tax laws by the relevant income tax
                      authorities to evaluate the Company's accounting for those tax positions. We analyzed the Company's
                      assumptions and data used to determine the amount of the federal tax liability recognized and tested
                      the mathematical accuracy of the underlying data and calculations. We also evaluated the
                      appropriateness of the related disclosures included in Note 14 to the consolidated financial statements
                      in relation to these matters.




                                                                                                      /s/ Ernst & Young LLP
We have served as the Company's auditor since 2007.
Redwood City, California
February 2, 2022




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                                Report of Independent Registered Public Accounting Firm

To the Stockholders and the Board of Directors of Meta Platforms, Inc.

Opinion on Internal Control over Financial Reporting

We have audited Meta Platforms, Inc.'s internal control over financial reporting as of December 31, 2021, based on criteria
established in Internal Control – Integrated Framework issued by the Committee of Sponsoring Organizations of the
Treadway Commission (2013 framework) (the COSO criteria). In our opinion, Meta Platforms, Inc. (the Company)
maintained, in all material respects, effective internal control over financial reporting as of December 31, 2021, based on the
COSO criteria.

We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States)
(PCAOB), the consolidated balance sheets of the Company as of December 31, 2021 and 2020, the related consolidated
statements of income, comprehensive income, stockholders' equity and cash flows for each of the three years in the period
ended December 31, 2021, and the related notes and our report dated February 2, 2022 expressed an unqualified opinion
thereon.

Basis for Opinion

The Company's management is responsible for maintaining effective internal control over financial reporting and for its
assessment of the effectiveness of internal control over financial reporting included in the accompanying Management's
Report on Internal Control over Financial Reporting. Our responsibility is to express an opinion on the Company's internal
control over financial reporting based on our audit. We are a public accounting firm registered with the PCAOB and are
required to be independent with respect to the Company in accordance with the U.S. federal securities laws and the applicable
rules and regulations of the Securities and Exchange Commission and the PCAOB.

We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and perform
the audit to obtain reasonable assurance about whether effective internal control over financial reporting was maintained in
all material respects.

Our audit included obtaining an understanding of internal control over financial reporting, assessing the risk that a material
weakness exists, testing and evaluating the design and operating effectiveness of internal control based on the assessed risk,
and performing such other procedures as we considered necessary in the circumstances. We believe that our audit provides a
reasonable basis for our opinion.

Definition and Limitations of Internal Control Over Financial Reporting

A company's internal control over financial reporting is a process designed to provide reasonable assurance regarding the
reliability of financial reporting and the preparation of financial statements for external purposes in accordance with generally
accepted accounting principles. A company's internal control over financial reporting includes those policies and procedures
that (1) pertain to the maintenance of records that, in reasonable detail, accurately and fairly reflect the transactions and
dispositions of the assets of the company; (2) provide reasonable assurance that transactions are recorded as necessary to
permit preparation of financial statements in accordance with generally accepted accounting principles, and that receipts and
expenditures of the company are being made only in accordance with authorizations of management and directors of the
company; and (3) provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use, or
disposition of the company's assets that could have a material effect on the financial statements.

Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also,
projections of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate
because of changes in conditions, or that the degree of compliance with the policies or procedures may deteriorate.

                                                                                                         /s/ Ernst & Young LLP
Redwood City, California
February 2, 2022




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                                                META PLATFORMS, INC.
                                        CONSOLIDATED BALANCE SHEETS
                                  (In millions, except for number of shares and par value)

                                                                                                        December 31,
                                                                                                 2021                  2020
Assets
Current assets:
  Cash and cash equivalents                                                                  $     16,601      $         17,576
  Marketable securities                                                                            31,397                44,378
  Accounts receivable, net                                                                         14,039                11,335
  Prepaid expenses and other current assets                                                         4,629                 2,381
    Total current assets                                                                           66,666                75,670
Equity investments                                                                                  6,775                 6,234
Property and equipment, net                                                                        57,809                45,633
Operating lease right-of-use assets                                                                12,155                 9,348
Intangible assets, net                                                                                634                   623
Goodwill                                                                                           19,197                19,050
Other assets                                                                                        2,751                 2,758
Total assets                                                                                 $    165,987      $        159,316


Liabilities and stockholders' equity
Current liabilities:
  Accounts payable                                                                           $      4,083      $          1,331
  Partners payable                                                                                  1,052                 1,093
  Operating lease liabilities, current                                                              1,127                 1,023
  Accrued expenses and other current liabilities                                                   14,312                11,152
  Deferred revenue and deposits                                                                       561                   382
    Total current liabilities                                                                      21,135                14,981
Operating lease liabilities, non-current                                                           12,746                 9,631
Other liabilities                                                                                   7,227                 6,414
    Total liabilities                                                                              41,108                31,026
Commitments and contingencies
Stockholders' equity:
  Common stock, $0.000006 par value; 5,000 million Class A shares authorized, 2,328
  million and 2,406 million shares issued and outstanding, as of December 31, 2021 and
  2020, respectively; 4,141 million Class B shares authorized, 413 million and 443 million
  shares issued and outstanding, as of December 31, 2021 and 2020, respectively                        —                     —
  Additional paid-in capital                                                                       55,811                50,018
  Accumulated other comprehensive income (loss)                                                      (693)                  927
  Retained earnings                                                                                69,761                77,345
    Total stockholders' equity                                                                    124,879               128,290
Total liabilities and stockholders' equity                                                 $      165,987 $             159,316

                              See Accompanying Notes to Consolidated Financial Statements.




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                                         META PLATFORMS, INC.
                                CONSOLIDATED STATEMENTS OF INCOME
                                    (In millions, except per share amounts)

                                                                                 Year Ended December 31,
                                                                          2021            2020             2019
Revenue                                                              $     117,929   $      85,965    $      70,697
Costs and expenses:
  Cost of revenue                                                           22,649          16,692           12,770
  Research and development                                                  24,655          18,447           13,600
  Marketing and sales                                                       14,043          11,591            9,876
  General and administrative                                                 9,829           6,564           10,465
     Total costs and expenses                                               71,176          53,294           46,711
Income from operations                                                      46,753          32,671           23,986
Interest and other income, net                                                 531             509              826
Income before provision for income taxes                                    47,284          33,180           24,812
Provision for income taxes                                                   7,914           4,034            6,327
Net income                                                           $      39,370   $      29,146    $      18,485
Earnings per share attributable to Class A and Class B common
stockholders:
  Basic                                                              $       13.99   $        10.22   $           6.48
  Diluted                                                            $       13.77   $        10.09   $           6.43
Weighted-average shares used to compute earnings per share
attributable to Class A and Class B common stockholders:
  Basic                                                                      2,815            2,851           2,854
  Diluted                                                                    2,859            2,888           2,876
Share-based compensation expense included in costs and expenses:
  Cost of revenue                                                    $         577   $          447   $         377
  Research and development                                                   7,106            4,918           3,488
  Marketing and sales                                                          837              691             569
  General and administrative                                                   644              480             402
     Total share-based compensation expense                          $       9,164   $        6,536   $       4,836

                           See Accompanying Notes to Consolidated Financial Statements.




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                                     META PLATFORMS, INC.
                       CONSOLIDATED STATEMENTS OF COMPREHENSIVE INCOME
                                           (In millions)

                                                                                     Year Ended December 31,
                                                                              2021            2020             2019
Net income                                                                $     39,370    $      29,146   $      18,485
Other comprehensive income (loss):
 Change in foreign currency translation adjustment, net of tax                  (1,116)           1,056               (151)
 Change in unrealized gain (loss) on available-for-sale investments and
 other, net of tax                                                                (504)             360             422
Comprehensive income                                                      $     37,750 $         30,562   $      18,756

                             See Accompanying Notes to Consolidated Financial Statements.




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                                                               META PLATFORMS, INC.
                                                 CONSOLIDATED STATEMENTS OF STOCKHOLDERS' EQUITY
                                                                     (In millions)
                                                                                Class A and Class B
                                                                                  Common Stock                               Accumulated
                                                                                                                                Other                        Total
                                                                                                            Additional      Comprehensive     Retained   Stockholders'
                                                                              Shares         Par Value    Paid-In Capital   Income (Loss)     Earnings      Equity
     Balances at December 31, 2018                                               2,854 $              —   $      42,906 $           (760) $      41,981 $     84,127
      Issuance of common stock for cash upon exercise of stock options               1                —              15               —              —            15
      Issuance of common stock for settlement of RSUs                               32                —              —                —              —            —
      Shares withheld related to net share settlement and other                    (13)               —          (1,906)              —            (675)      (2,581)
      Share-based compensation                                                      —                 —           4,836               —              —         4,836
      Share repurchases                                                            (22)               —              —                —          (4,099)      (4,099)
      Other comprehensive income                                                    —                 —              —               271             —           271
      Net income                                                                    —                 —              —                —          18,485       18,485
     Balances at December 31, 2019                                               2,852                —          45,851             (489)        55,692      101,054
      Issuance of common stock for settlement of RSUs                               38                —              —                —              —            —
      Shares withheld related to net share settlement                              (14)               —          (2,369)              —          (1,195)      (3,564)




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      Share-based compensation                                                      —                 —           6,536               —              —         6,536
      Share repurchases                                                            (27)               —              —                —          (6,298)      (6,298)
      Other comprehensive income                                                    —                 —              —             1,416             —         1,416
      Net income                                                                    —                 —              —                —          29,146       29,146
     Balances at December 31, 2020                                               2,849                —          50,018              927         77,345      128,290
      Issuance of common stock for settlement of RSUs                               45                —              —                —              —            —
      Shares withheld related to net share settlement                              (17)               —          (3,371)              —          (2,144)      (5,515)
      Share-based compensation                                                      —                 —           9,164               —              —         9,164
      Share repurchases                                                           (136)               —              —                —         (44,810)     (44,810)
      Other comprehensive loss                                                      —                 —              —            (1,620)            —        (1,620)
      Net income                                                                    —                 —              —                —          39,370       39,370
     Balances at December 31, 2021                                               2,741 $              —   $      55,811 $           (693) $      69,761 $    124,879


                                                      See Accompanying Notes to Consolidated Financial Statements.
                                                                                                                                                                         Case 1:20-cv-03590-JEB Document 324-29 Filed 04/05/24 Page 512 of 969
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                                         META PLATFORMS, INC.
                                CONSOLIDATED STATEMENTS OF CASH FLOWS
                                               (In millions)
                                                                                      Year Ended December 31,
                                                                               2021            2020             2019
Cash flows from operating activities
  Net income                                                              $      39,370    $      29,146    $     18,485
  Adjustments to reconcile net income to net cash provided by operating
  activities:
     Depreciation and amortization                                                7,967            6,862           5,741
     Share-based compensation                                                     9,164            6,536           4,836
     Deferred income taxes                                                          609           (1,192)            (37)
     Other                                                                         (127)             118              39
  Changes in assets and liabilities:
     Accounts receivable                                                         (3,110)          (1,512)         (1,961)
     Prepaid expenses and other current assets                                   (1,750)             135              47
     Other assets                                                                  (349)             (34)             41
     Accounts payable                                                             1,436              (17)            113
     Partners payable                                                               (12)             178             348
     Accrued expenses and other current liabilities                               3,357           (1,054)          7,300
     Deferred revenue and deposits                                                  187              108             123
     Other liabilities                                                              941             (527)          1,239
       Net cash provided by operating activities                                 57,683           38,747          36,314
Cash flows from investing activities
  Purchases of property and equipment                                           (18,567)         (15,115)        (15,102)
  Purchases of marketable securities                                            (30,407)         (33,930)        (23,910)
  Sales of marketable securities                                                 31,671           11,787           9,565
  Maturities of marketable securities                                            10,915           13,984          10,152
  Purchases of equity investments                                                   (47)          (6,361)            (61)
  Acquisitions of businesses, net of cash acquired, and purchases of
  intangible assets                                                                (851)            (388)           (508)
  Other investing activities                                                       (284)             (36)             —
       Net cash used in investing activities                                     (7,570)         (30,059)        (19,864)
Cash flows from financing activities
  Taxes paid related to net share settlement of equity awards                    (5,515)          (3,564)         (2,337)
  Repurchases of Class A common stock                                           (44,537)          (6,272)         (4,202)
  Principal payments on finance leases                                             (677)            (604)           (552)
  Net change in overdraft in cash pooling entities                                   14               24            (223)
  Other financing activities                                                        (13)             124              15
       Net cash used in financing activities                                    (50,728)         (10,292)         (7,299)
Effect of exchange rate changes on cash, cash equivalents, and restricted
cash                                                                               (474)             279               4
Net increase (decrease) in cash, cash equivalents, and restricted cash           (1,089)          (1,325)          9,155
Cash, cash equivalents, and restricted cash at beginning of the period           17,954           19,279          10,124
Cash, cash equivalents, and restricted cash at end of the period          $      16,865 $         17,954 $        19,279

Reconciliation of cash, cash equivalents, and restricted cash to the
consolidated balance sheets
  Cash and cash equivalents                                                $     16,601    $      17,576    $     19,079
  Restricted cash, included in prepaid expenses and other current assets            149              241               8
  Restricted cash, included in other assets                                         115              137             192
Total cash, cash equivalents, and restricted cash                          $     16,865    $      17,954    $     19,279

                              See Accompanying Notes to Consolidated Financial Statements.



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                                       META PLATFORMS, INC.
                              CONSOLIDATED STATEMENTS OF CASH FLOWS
                                             (In millions)

                                                                                   Year Ended December 31,
                                                                           2021             2020             2019
Supplemental cash flow data
  Cash paid for income taxes, net                                     $       8,525     $       4,229    $      5,182
  Non-cash investing and financing activities:
    Property and equipment in accounts payable and accrued expenses
    and other current liabilities                                     $       3,404     $       2,201    $      1,887
    Acquisition of businesses in accrued expenses and other current
    liabilities and other liabilities                                 $           73    $          118   $          —
    Other current assets through financing arrangement in accrued
    expenses and other current liabilities                            $           508   $          —     $          —
    Repurchases of Class A common stock in accrued expenses and
    other current liabilities                                         $           340   $          68    $          43


                            See Accompanying Notes to Consolidated Financial Statements.




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                                         META PLATFORMS, INC.
                              NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

Note 1. Summary of Significant Accounting Policies

Organization and Description of Business

       We were incorporated in Delaware in July 2004. In October 2021, we changed our corporate name from Facebook,
Inc. to Meta Platforms, Inc. Our mission is to give people the power to build community and bring the world closer together.
All of our products, including our apps, share the vision of helping to bring the metaverse to life.

     We report our financial results based on two reportable segments: Family of Apps (FoA) and Reality Labs (RL). The
segment information aligns with how the chief operating decision maker (CODM), who is our Chief Executive Officer
(CEO), reviews and manages the business. We generate substantially all of our revenue from advertising.

Basis of Presentation

       We prepared the consolidated financial statements in accordance with U.S. generally accepted accounting principles
(GAAP). The consolidated financial statements include the accounts of Meta Platforms, Inc., its subsidiaries where we have
controlling financial interests, and any variable interest entities for which we are deemed to be the primary beneficiary. All
intercompany balances and transactions have been eliminated.

Use of Estimates

       Preparation of consolidated financial statements in conformity with GAAP requires the use of estimates and judgments
that affect the reported amounts in the consolidated financial statements and accompanying notes. These estimates form the
basis for judgments we make about the carrying values of our assets and liabilities, which are not readily apparent from other
sources. We base our estimates and judgments on historical information and on various other assumptions that we believe are
reasonable under the circumstances. GAAP requires us to make estimates and judgments in several areas, including, but not
limited to, those related to revenue recognition, valuation of equity investments, income taxes, loss contingencies, valuation
of long-lived assets including goodwill, intangible assets, and property and equipment, and their associated estimated useful
lives, credit losses of available-for-sale (AFS) debt securities, credit losses of accounts receivable, fair value of financial
instruments, and leases. These estimates are based on management's knowledge about current events and expectations about
actions we may undertake in the future. Actual results could differ materially from those estimates.

       In connection with our periodic reviews of the estimated useful lives of property and equipment, we extended the
estimated average useful lives of selected cohorts of servers and network assets from three years to four years in prior years
as well as in 2021 as a result of longer refresh cycles in our data centers. Prior year changes individually or in aggregate did
not have a material impact to the consolidated financial statements. The effect of the 2021 changes was a reduction in
depreciation expense of $620 million and an increase in net income of $516 million, or $0.18 per diluted share for the year
ended December 31, 2021. The impact from the changes in our estimates was calculated based on the asset bases existing as
of the effective dates of the changes and applying the revised estimated useful lives prospectively.

Revenue Recognition

        Revenue is recognized when control of the promised goods or services is transferred to our customers, in an amount
that reflects the consideration we expect to be entitled to in exchange for those goods or services.

      We determine revenue recognition by applying the following steps:

      •    identification of the contract, or contracts, with a customer;
      •    identification of the performance obligations in the contract;
      •    determination of the transaction price;
      •    allocation of the transaction price to the performance obligations in the contract; and
      •    recognition of revenue when, or as, we satisfy a performance obligation.




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         Revenue excludes sales and usage‑based taxes where it has been determined that we are acting as a pass‑through
agent.

         Advertising

        Advertising revenue is generated by displaying ad products on Facebook, Instagram, Messenger, and third-party
affiliated websites or mobile applications. Marketers pay for ad products either directly or through their relationships with
advertising agencies or resellers, based on the number of impressions delivered or the number of actions, such as clicks, taken
by our users.

       We recognize revenue from the display of impression-based ads in the contracted period in which the impressions are
delivered. Impressions are considered delivered when an ad is displayed to users. We recognize revenue from the delivery of
action-based ads in the period in which a user takes the action the marketer contracted for. In general, we report advertising
revenue on a gross basis, since we control the advertising inventory before it is transferred to our customers. Our control is
evidenced by our sole ability to monetize the advertising inventory before it is transferred to our customers. For revenue
generated from arrangements that involve third-party publishers, we evaluate whether we are the principal or the agent, and
for those advertising revenue arrangements where we are the agent, we recognize revenue on a net basis.

       We may accept lower consideration than the amount promised per the contract for certain revenue transactions and
certain customers may receive cash-based incentives, credits, or refunds, which are accounted for as variable consideration
when estimating the amount of revenue to recognize. We estimate these amounts and reduce revenue based on the amounts
expected to be provided to customers. We believe that there will not be significant changes to our estimates of variable
consideration.

         Reality Labs Revenue

       RL revenue is generated from the delivery of consumer hardware products, such as Meta Quest, Facebook Portal, and
wearables, and related software and content. Revenue is recognized at the time control of the products is transferred to
customers, which is generally at the time of delivery, in an amount that reflects the consideration RL expects to be entitled to
in exchange for the products.

         Other Revenue

      Other revenue consists of net fees we receive from developers using our Payments infrastructure and revenue from
various other sources.

         Deferred Revenue and Deposits

       Deferred revenue and deposits mostly consists of billings and payments we receive from marketers in advance of
revenue recognition, revenue not yet recognized for unspecified software upgrades and updates for various RL products.
Deposits relate to unused balances held on behalf of our users who primarily use these balances to make purchases in games
on our platform. Once the unused balance is utilized by a user, the majority of this amount would then be payable to the
developer and the balance would be recognized as revenue. The increase in the deferred revenue and deposits balance for the
year ended December 31, 2021 was driven by cash payments from customers in advance of satisfying our performance
obligations in RL sales and advertising revenue, offset by revenue recognized that was included in the deferred revenue
balance at the beginning of the period.

       Our payment terms vary by the products or services offered. The term between billings and when payment is due is not
significant. For certain products or services and customer types, we require payment before the products or services are
delivered to the customer.

         Practical Expedients and Exemptions

       We expense sales commissions when incurred if the amortization period is one year or less. These costs are recorded
within marketing and sales on our consolidated statements of income.




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       We do not disclose the value of unsatisfied performance obligations for (i) contracts with an original expected length
of one year or less and (ii) contracts for which we recognize revenue at the amount to which we have the right to invoice for
services performed.

Cost of Revenue

       Our cost of revenue consists primarily of expenses associated with the delivery and distribution of our products. These
include expenses related to the operation of our data centers and technical infrastructure, such as depreciation expense from
servers, network infrastructure and buildings, as well as payroll and related expenses which include share-based
compensation for employees on our operations teams, and energy and bandwidth costs. Cost of revenue also includes costs
associated with partner arrangements, including traffic acquisition costs and credit card and other fees related to processing
customer transactions; RL cost of products sold; and content costs.

Content Costs

       Our content costs are mostly related to payments to content providers from whom we license video and music to
increase engagement on the platform. For licensed video, we expense the cost per title when the title is accepted and available
for viewing if the capitalization criteria are not met. Video content costs that meet the criteria for capitalization were not
material to date.

      For licensed music, we expense the license fees over the contractual license period. Expensed content costs are
included in cost of revenue on the consolidated statements of income.

Software Development Costs

       Software development costs, including costs to develop software products or the software component of products to be
marketed or sold to external users, are expensed before the software or technology reach technological feasibility, which is
typically reached shortly before the release of such products.

       Software development costs also include costs to develop software to be used solely to meet internal needs and
applications used to deliver our services. These software development costs meet the criteria for capitalization once the
preliminary project stage is complete and it is probable that the project will be completed and the software will be used to
perform the function intended.

      Development costs that meet the criteria for capitalization were not material to date.

Share-based Compensation

      Share-based compensation expense consists of the company's restricted stock units (RSUs) expense. RSUs granted to
employees are measured based on the grant-date fair value. In general, our RSUs vest over a service period of four years.
Share-based compensation expense is generally recognized based on the straight-line basis over the requisite service period.
We account for forfeitures as they occur.

Income Taxes

       We are subject to income taxes in the United States and numerous foreign jurisdictions. Significant judgment is
required in determining our provision for income taxes and income tax assets and liabilities, including evaluating
uncertainties in the application of accounting principles and complex tax laws.

       We record a provision for income taxes for the anticipated tax consequences of the reported results of operations using
the asset and liability method. Under this method, we recognize deferred income tax assets and liabilities for the expected
future consequences of temporary differences between the financial reporting and tax bases of assets and liabilities, as well as
for loss and tax credit carryforwards. Deferred tax assets and liabilities are measured using the tax rates that are expected to
apply to taxable income for the years in which those tax assets and liabilities are expected to be realized or settled. We
recognize the deferred income tax effects of a change in tax rates in the period of the enactment.




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       We record a valuation allowance to reduce our deferred tax assets to the net amount that we believe is more likely than
not to be realized. We consider all available evidence, both positive and negative, including historical levels of income,
expectations and risks associated with estimates of future taxable income and ongoing tax planning strategies in assessing the
need for a valuation allowance.

       We recognize tax benefits from uncertain tax positions only if we believe that it is more likely than not that the tax
position will be sustained on examination by the taxing authorities based on the technical merits of the position. These
uncertain tax positions include our estimates for transfer pricing that have been developed based upon analyses of appropriate
arms-length prices. Similarly, our estimates related to uncertain tax positions concerning research tax credits are based on an
assessment of whether our available documentation corroborating the nature of our activities supporting the tax credits will
be sufficient. Although we believe that we have adequately reserved for our uncertain tax positions (including net interest and
penalties), we can provide no assurance that the final tax outcome of these matters will not be materially different. We make
adjustments to these reserves in accordance with the income tax accounting guidance when facts and circumstances change,
such as the closing of a tax audit or the refinement of an estimate. To the extent that the final tax outcome of these matters is
different from the amounts recorded, such differences will affect the provision for income taxes in the period in which such
determination is made, and could have a material impact on our financial condition and operating results.

Advertising Expense

      Advertising costs are expensed when incurred and are included in marketing and sales expenses on the consolidated
statements of income. We incurred advertising expenses of $2.99 billion, $2.26 billion, and $1.57 billion for the years ended
December 31, 2021, 2020, and 2019, respectively.

Cash and Cash Equivalents, Marketable Securities, and Restricted Cash

      Cash and cash equivalents consist of cash on deposit with banks and highly liquid investments with maturities of
90 days or less from the date of purchase.

       We hold investments in marketable securities, consisting of U.S. government securities, U.S. government agency
securities, and investment grade corporate debt securities. We classify our marketable securities as available-for-sale (AFS)
investments in our current assets because they represent investments of cash available for current operations. Our AFS
investments are carried at estimated fair value with any unrealized gains and losses, net of taxes, included in accumulated
other comprehensive income (loss) in stockholders' equity. AFS debt securities with an amortized cost basis in excess of
estimated fair value are assessed to determine what amount of that difference, if any, is caused by expected credit losses.
Allowance for credit losses on AFS debt securities are recognized as a charge in interest and other income, net on our
consolidated statements of income, and any remaining unrealized losses, net of taxes, are included in accumulated other
comprehensive income (loss) in stockholders' equity. The amounts of credit losses recorded for the years ended December 31,
2021 and 2020 were not material. There was no impairment charge for any unrealized losses in 2019. We determine realized
gains or losses on sale of marketable securities on a specific identification method and include such gains or losses in interest
and other income, net on the consolidated statements of income.

       We also maintain a multi-currency notional cash pool for our participating entities with a third-party bank provider.
Actual cash balances are not physically converted and are not commingled between participating legal entities. We classify
the overdraft balances within accrued expenses and other current liabilities on the consolidated balance sheets.

      We classify certain restricted cash balances within prepaid expenses and other current assets and other assets on the
consolidated balance sheets based upon the term of the remaining restrictions.

Equity Investments

       Our equity investments are investments in equity securities of privately-held companies without readily determinable
fair values. We elected to account for most of our equity investments using the measurement alternative, which is cost, less
any impairment, adjusted for changes in fair value from observable transactions for identical or similar investments of the
same issuer as of the respective transaction dates. The change in carrying value, if any, is recognized in interest and other
income, net on our consolidated statements of income. We periodically review our equity investments for impairment. If




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indicators exist and the estimated fair value of an investment is below the carrying amount, we will write down the
investment to fair value.

     In addition, we also held equity investments accounted for under the equity method which were immaterial as of
December 31, 2021 and 2020.

Fair Value Measurements

       We apply fair value accounting for all financial assets and liabilities and non-financial assets and liabilities that are
recognized or disclosed at fair value in the financial statements on a recurring basis. We define fair value as the price that
would be received from selling an asset or paid to transfer a liability in an orderly transaction between market participants at
the measurement date. When determining the fair value measurements for assets and liabilities, which are required to be
recorded at fair value, we consider the principal or most advantageous market in which we would transact and the market-
based risk measurements or assumptions that market participants would use in pricing the asset or liability, such as risks
inherent in valuation techniques, transfer restrictions and credit risk. Fair value is estimated by applying the following
hierarchy, which prioritizes the inputs used to measure fair value into three levels and bases the categorization within the
hierarchy upon the lowest level of input that is available and significant to the fair value measurement:

      Level 1- Quoted prices in active markets for identical assets or liabilities.

       Level 2- Observable inputs other than quoted prices in active markets for identical assets and liabilities, quoted prices
for identical or similar assets or liabilities in inactive markets, or other inputs that are observable or can be corroborated by
observable market data for substantially the full term of the assets or liabilities.

       Level 3- Inputs that are generally unobservable and typically reflect management's estimate of assumptions that market
participants would use in pricing the asset or liability.

      Our cash equivalents and marketable securities are classified within Level 1 or Level 2 of the fair value hierarchy
because their fair value is derived from quoted market prices or alternative pricing sources and models utilizing observable
market inputs.

        Our equity investments accounted for using the measurement alternative are recorded at fair value on a non-recurring
basis. When indicators of impairment exist or observable price changes of qualified transactions occur, the respective equity
investment would be classified within Level 3 of the fair value hierarchy because the valuation methods include a
combination of the observable transaction price at the transaction date and other unobservable inputs including volatility,
rights, and obligations of the securities we hold.

Accounts Receivable and Allowances

       Accounts receivable are recorded and carried at the original invoiced amount less an allowance for any potential
uncollectible amounts. We make estimates of expected credit and collectibility trends for the allowance for credit losses and
allowance for unbilled receivables based upon our assessment of various factors, including historical experience, the age of
the accounts receivable balances, credit quality of our customers, current economic conditions, reasonable and supportable
forecasts of future economic conditions, and other factors that may affect our ability to collect from customers. Expected
credit losses are recorded as general and administrative expenses on our consolidated statements of income. As of
December 31, 2021 and 2020, the allowances for accounts receivable were immaterial.

Property and Equipment

       Property and equipment, which includes amounts recorded under finance leases, which are amortized, are stated at cost
less accumulated depreciation. Depreciation is computed using the straight-line method over the estimated useful lives of the
assets or the remaining lease term, whichever is shorter.




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       The estimated useful lives of property and equipment and amortization periods of finance lease right-of-use assets are
described below:

Property and Equipment                                             Useful Life/ Amortization period
Servers and network assets                                         Four years
Buildings                                                          25 to 30 years
Equipment and other                                                One to 25 years
Finance lease right-of-use assets                                  Three to 20 years
Leasehold improvements                                             Lesser of estimated useful life or remaining lease term


       We evaluate at least annually the recoverability of property and equipment for possible impairment whenever events or
circumstances indicate that the carrying amount of such assets may not be recoverable. If such review indicates that the
carrying amount of property and equipment assets is not recoverable, and the asset's fair value is less than the carrying
amount, an impairment charge is recognized. We have not recorded any material impairment charges during the years
presented.

       The useful lives of our property and equipment are determined by management when those assets are initially
recognized and are routinely reviewed for the remaining estimated useful lives. Our current estimate of useful lives represents
the best estimate of the useful lives based on current facts and circumstances, but may differ from the actual useful lives due
to changes in future circumstances such as changes to our business operations, changes in the planned use of assets, and
technological advancements. When we change the estimated useful life assumption for any asset, the remaining carrying
amount of the asset is accounted for prospectively and depreciated or amortized over the revised estimated useful life. See
section "Use of Estimates" above for additional information regarding changes in the estimated useful lives of our servers and
network assets.

       Servers and network assets include property and equipment mostly in our data centers, which is used to support
production traffic. Land and assets held within construction in progress are not depreciated. Construction in progress is
related to the construction or development of property and equipment that have not yet been placed in service for their
intended use.

      The cost of maintenance and repairs is expensed as incurred. When assets are retired or otherwise disposed of, the cost
and related accumulated depreciation are removed from their respective accounts, and any gain or loss on such sale or
disposal is reflected in income from operations.

Lease Obligations

       We have operating leases comprised of certain offices, data centers, land, colocations, network infrastructure, and
other equipment. We also have finance leases for certain network infrastructure. We determine if an arrangement is a lease at
inception. Most of our leases contain lease and non-lease components. Non-lease components include fixed payments for
maintenance, utilities, real estate taxes, and management fees. We combine fixed lease and non-lease components and
account for them as a single lease component. Our lease agreements may contain variable costs such as contingent rent
escalations, common area maintenance, insurance, real estate taxes, or other costs. Such variable lease costs are expensed as
incurred on the consolidated statements of income. For certain colocation and equipment leases, we apply a portfolio
approach to effectively account for the operating lease right-of-use (ROU) assets and lease liabilities.

      For leases with a lease term greater than 12 months, ROU assets and lease liabilities are recognized on the
consolidated balance sheets at the commencement date based on the present value of the remaining fixed lease payments and
includes only payments that are fixed and determinable at the time of commencement.

       Our lease terms may include options to extend or terminate the lease when it is reasonably certain that we will exercise
such options. When determining the probability of exercising such options, we consider contract-based, asset-based, entity-
based, and market-based factors.




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       As most of our leases do not provide an implicit rate, we use our incremental borrowing rate based on the information
available at the commencement date in determining the present value of lease payments. Our incremental borrowing rate is a
hypothetical rate based on our understanding of what our credit rating would be in a similar economic environment.

        Operating leases are included in operating lease ROU assets, operating lease liabilities, current, and operating lease
liabilities, non-current on our consolidated balance sheets. Finance leases are included in property and equipment, net,
accrued expenses and other current liabilities, and other liabilities on our consolidated balance sheets.

        Operating lease costs are recognized on a straight-line basis over the lease terms. Finance lease assets are amortized on
a straight-line basis over the shorter of the estimated useful lives of the assets or the lease terms.

Loss Contingencies

        We are involved in legal proceedings, claims, and regulatory, tax or government inquiries and investigations that arise
in the ordinary course of business. Certain of these matters include speculative claims for substantial or indeterminate
amounts of damages. Additionally, we are required to comply with various legal and regulatory obligations around the world,
and we regularly become subject to new laws and regulations in the jurisdictions in which we operate. The requirements for
complying with these obligations may be uncertain and subject to interpretation and enforcement by regulatory and other
authorities, and any failure to comply with such obligations could eventually lead to asserted legal or regulatory action. With
respect to these matters, asserted and unasserted, we evaluate the associated developments on a regular basis and accrue a
liability when we believe that it is both probable that a loss has been incurred and the amount can be reasonably estimated. If
we determine there is a reasonable possibility that we may incur a loss and the loss or range of loss can be reasonably
estimated, we disclose the possible loss in the accompanying notes to the consolidated financial statements to the extent
material.

       We review the developments in our contingencies that could affect the amount of the provisions that have been
previously recorded, and the matters and related reasonably possible losses disclosed. We make adjustments to our provisions
and changes to our disclosures accordingly to reflect the merits of our defenses and the impact of negotiations, settlements,
regulatory proceedings, rulings, advice of legal counsel, and updated information. Significant judgment is required to
determine the probability of loss and the estimated amount of loss, including when and if the probability and estimate has
changed for asserted and unasserted matters. Certain factors, in particular, have resulted in significant changes to these
estimates and judgments in prior quarters based on updated information available. For example, in certain jurisdictions where
we operate, fines and penalties may be the result of new laws and preliminary interpretations regarding the basis of assessing
damages, which may make it difficult to estimate what such fines and penalties would amount to if successfully asserted
against us. In addition, certain government inquiries and investigations, such as matters before our lead European Union
privacy regulator, the IDPC, are subject to review by other regulatory bodies before decisions can be finalized, which can
lead to significant changes in the outcome of an inquiry. As a result of these and other factors, we reasonably expect that our
estimates and judgments with respect to our contingencies may continue to be revised in future quarters.

Business Combinations

       We allocate the fair value of purchase consideration to the tangible assets acquired, liabilities assumed and intangible
assets acquired based on their estimated fair values. The excess of the fair value of purchase consideration over the fair values
of these identifiable assets and liabilities is recorded as goodwill to reporting units based on the expected benefit from the
business combination. Allocation of purchase consideration to identifiable assets and liabilities affects the amortization
expense, as acquired finite-lived intangible assets are amortized over the useful life, whereas any indefinite-lived intangible
assets, including goodwill, are not amortized. During the measurement period, which is not to exceed one year from the
acquisition date, we record adjustments to the assets acquired and liabilities assumed, with the corresponding offset to
goodwill. Upon the conclusion of the measurement period, any subsequent adjustments are recorded to earnings. Acquisition-
related expenses are recognized separately from business combinations and are expensed as incurred.

Goodwill and Intangibles Assets

       We allocate goodwill to reporting units based on the expected benefit from business combinations. We evaluate our
reporting units annually, as well as when changes in our operating segments occur. For changes in reporting units, we
reassign goodwill using a relative fair value allocation approach. Goodwill is tested for impairment at the reporting unit level



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annually or more frequently if events or changes in circumstances would more likely than not reduce the fair value of a
reporting unit below its carrying value. We have two reporting units subject to goodwill impairment testing. As of
December 31, 2021, no impairment of goodwill has been identified.

       We evaluate the recoverability of finite-lived intangible assets for possible impairment whenever events or
circumstances indicate that the carrying amount of such assets may not be recoverable. The evaluation of these intangible
assets are performed at the lowest level for which identifiable cash flows are largely independent of the cash flows of other
assets and liabilities. Recoverability of these assets is measured by a comparison of the carrying amounts to the future
undiscounted cash flows the assets are expected to generate from the use and eventual disposition. If such review indicates
that the carrying amount of finite-lived intangible assets is not recoverable, and the assets fair value is less than the carrying
amount, an impairment charge is recognized. We have not recorded any material impairment charges during the years
presented.

        Our finite-lived intangible assets are amortized on a straight-line basis over the estimated useful lives of the assets.
Indefinite-lived intangible assets are not amortized. If an indefinite-lived intangible asset is subsequently determined to have
a finite useful life, the asset will be tested for impairment and accounted for as a finite-lived intangible asset prospectively
over its estimated remaining useful life. We routinely review the remaining estimated useful lives of finite-lived intangible
assets. If we change the estimated useful life assumption for any asset, the remaining unamortized balance is amortized over
the revised estimated useful life.

Foreign Currency

       Generally, the functional currency of our international subsidiaries is the local currency. We translate the financial
statements of these subsidiaries to U.S. dollars using month-end rates of exchange for assets and liabilities, and average rates
of exchange for revenue, costs, and expenses. Translation gains and losses are recorded in accumulated other comprehensive
income (loss) as a component of stockholders' equity. As of December 31, 2021, we had a cumulative translation loss, net of
tax of $677 million and as of December 31, 2020, we had a cumulative translation gain, net of tax of $439 million.

       Foreign currency transaction gains and losses from transactions denominated in a currency other than the functional
currency of the subsidiary involved are recorded within interest and other income, net on our consolidated statements of
income. Net losses resulting from foreign currency transactions were $140 million, $129 million, and $105 million for the
years ended December 31, 2021, 2020, and 2019, respectively.

Credit Risk and Concentration

       Our financial instruments that are potentially subject to concentrations of credit risk consist primarily of cash, cash
equivalents, restricted cash, marketable securities, and accounts receivable. The majority of cash equivalents consists of
money market funds, that primarily invest in U.S. government and agency securities. Marketable securities consist of
investments in U.S. government securities, U.S. government agency securities, and investment grade corporate debt
securities. Our investment portfolio in corporate debt securities is highly liquid and diversified among individual issuers. The
amount of credit losses recorded for the year ended December 31, 2021 was not material.

       Accounts receivable are typically unsecured and are derived from revenue earned from customers across different
industries and countries. We generated 41%, 42%, and 43% of our revenue for the years ended December 31, 2021, 2020,
and 2019, respectively, from marketers and developers based in the United States, with the majority of revenue outside of the
United States coming from customers located in western Europe, China, Canada, Australia, Brazil, and Thailand.

       We perform ongoing credit evaluations of our customers and generally do not require collateral. We maintain an
allowance for estimated credit losses, and bad debt expense on these losses was not material during the years ended
December 31, 2021, 2020, or 2019. In the event that accounts receivable collection cycles deteriorate, our operating results
and financial position could be adversely affected.

      No customer represented 10% or more of total revenue during the years ended December 31, 2021, 2020, and 2019.




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Recently Adopted Accounting Pronouncements

      On January 1, 2021, we adopted Accounting Standards Update (ASU) No. 2020-01, Investments—Equity Securities
(Topic 321), Investments—Equity Method and Joint Ventures (Topic 323), and Derivatives and Hedging (Topic 815) (ASU
2020-01), which clarifies the interaction of the accounting for equity securities under Topic 321, the accounting for equity
method investments in Topic 323, and the accounting for certain forward contracts and purchased options in Topic 815. The
adoption of this new standard did not have a material impact on our consolidated financial statements.

       On October 1, 2021, we early adopted ASU No. 2020-06, Debt—Debt with Conversion and Other Options (Subtopic
470-20) and Derivatives and Hedging—Contracts in Entity's Own Equity (Subtopic 815-40): Accounting for Convertible
Instruments and Contracts in an Entity’s Own Equity (ASU 2020-06), which simplifies the accounting for convertible
instruments by reducing the number of accounting models available for convertible debt instruments. This guidance also
eliminates the treasury stock method to calculate diluted earnings per share for convertible instruments and requires the use of
the if-converted method. The new standard was effective for us beginning January 1, 2022, with early adoption permitted.
The adoption of this new standard did not have a material impact on our consolidated financial statements.

      On October 1, 2021, we early adopted ASU No. 2021-05, Leases (Topic 842): Lessors – Certain Leases with Variable
Lease Payments (ASU 2016-02), which requires a lessor to classify a lease with variable lease payments that do not depend
on an index or rate as an operating lease if specified criteria are met. The new standard was effective for us beginning
January 1, 2022, with early adoption permitted. The adoption of this new standard did not have a material impact on our
consolidated financial statements.

Accounting Pronouncements Not Yet Adopted

       In October 2021, the FASB issued ASU No. 2021-08, Business Combinations (Topic 805): Accounting for Contract
Assets and Contract Liabilities from Contracts with Customers (ASU 2021-08), which clarifies that an acquirer of a business
should recognize and measure contract assets and contract liabilities in a business combination in accordance with
Accounting Standards Codification (ASC) Topic 606, Revenue from Contracts with Customers (Topic 606). This guidance
will be effective for us in the first quarter of 2023 on a prospective basis, with early adoption permitted. We are currently
evaluating the impact of the new guidance on our consolidated financial statements.

       In November 2021, the FASB issued ASU No. 2021-10, Government Assistance (Topic 832): Disclosure by Business
Entities about Government Assistance (ASU 2021-10), which improves the transparency of government assistance received
by most business entities by requiring the disclosure of: (1) the types of government assistance received; (2) the accounting
for such assistance; and (3) the effect of the assistance on a business entity's financial statements. This guidance will be
effective for us in the year ended December 31, 2022, with early adoption permitted. We are currently evaluating the impact
of the new guidance on our consolidated financial statements.

Note 2. Revenue

      Revenue disaggregated by revenue source and by segment consists of the following (in millions). For comparative
purposes, amounts in prior periods have been recast:

                                                                                          Year Ended December 31,
                                                                                  2021              2020             2019
  Advertising                                                                $     114,934    $       84,169    $      69,655
  Other revenue                                                                        721               657              541
Family of Apps                                                               $     115,655    $       84,826    $      70,196
Reality Labs                                                                         2,274             1,139              501
    Total revenue                                                            $     117,929    $       85,965    $      70,697




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         Revenue disaggregated by geography, based on the addresses of our customers, consists of the following (in millions):

                                                                                                Year Ended December 31,
                                                                                        2021               2020              2019
                            (1)
United States and Canada                                                          $       51,541     $       38,433    $        32,206
Europe(2)                                                                                 29,057             20,349             16,826
Asia-Pacific                                                                              26,739             19,848             15,406
Rest of World(2)                                                                          10,592              7,335              6,259
    Total revenue                                                                 $      117,929     $       85,965    $        70,697
_________________________
(1) United States revenue was $48.38 billion, $36.25 billion, and $30.23 billion for the years ended December 31, 2021, 2020, and 2019,
    respectively.
(2) Europe includes Russia and Turkey, and Rest of World includes Africa, Latin America, and the Middle East.

     Our total deferred revenue was $596 million and $371 million as of December 31, 2021 and 2020, respectively. As of
December 31, 2021, we expect $517 million of our deferred revenue to be realized in less than a year.


Note 3. Earnings per Share

       We compute earnings per share (EPS) of Class A and Class B common stock using the two-class method. As the
liquidation and dividend rights for both Class A and Class B common stock are identical, the undistributed earnings are
allocated on a proportionate basis to the weighted-average number of common shares outstanding for the period. Basic EPS is
computed by dividing net income by the weighted-average number of shares of our Class A and Class B common stock
outstanding.

      For the calculation of diluted EPS, net income for basic EPS is adjusted by the effect of dilutive securities, including
awards under our equity compensation plans.

       In addition, the computation of the diluted EPS of Class A common stock assumes the conversion of our Class B
common stock to Class A common stock, while the diluted EPS of Class B common stock does not assume the conversion of
those shares to Class A common stock. Diluted EPS is computed by dividing the resulting net income by the weighted-
average number of fully diluted common shares outstanding.

     RSUs with anti-dilutive effect were excluded from the EPS calculation and they were not material for the years ended
December 31, 2021, 2020, and 2019.

      Basic and diluted EPS are the same for each class of common stock because they are entitled to the same liquidation
and dividend rights.




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      The numerators and denominators of the basic and diluted EPS computations for our common stock are calculated as
follows (in millions, except per share amounts):

                                                                                     Year Ended December 31,
                                                                      2021                      2020                    2019
                                                              Class          Class      Class          Class    Class          Class
                                                               A              B          A              B        A              B
Basic EPS:
Numerator
  Net income                                                 $ 33,328    $ 6,042      $ 24,607     $ 4,539     $ 15,569    $ 2,916
Denominator
  Shares used in computation of basic earnings per share       2,383         432        2,407          444       2,404            450
Basic EPS                                                    $ 13.99     $ 13.99      $ 10.22      $ 10.22     $ 6.48      $     6.48
Diluted EPS:
Numerator
  Net income                                                 $ 33,328    $ 6,042      $ 24,607     $ 4,539     $ 15,569    $ 2,916
  Reallocation of net income as a result of conversion of
  Class B to Class A common stock                               6,042         —     4,539               —     2,916             —
  Reallocation of net income to Class B common stock               —         (93)      —               (58)      —             (18)
    Net income for diluted EPS                               $ 39,370    $ 5,949 $ 29,146          $ 4,481 $ 18,485        $ 2,898
Denominator
  Shares used in computation of basic earnings per share       2,383         432        2,407          444       2,404            450
  Conversion of Class B to Class A common stock                  432          —           444           —          450             —
  Weighted-average effect of dilutive RSUs                        44          —            37           —           22              1
  Shares used in computation of diluted earnings per share     2,859         432        2,888          444       2,876            451
Diluted EPS                                                  $ 13.77     $ 13.77      $ 10.09      $ 10.09     $ 6.43      $     6.43




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Note 4. Cash and Cash Equivalents and Marketable Securities

      The following table sets forth the cash and cash equivalents and marketable securities (in millions):

                                                                                                     December 31,
                                                                                            2021                       2020
Cash and cash equivalents:
  Cash                                                                              $               7,308   $                  6,488
  Money market funds                                                                                8,850                      9,755
  U.S. government securities                                                                           25                      1,016
  U.S. government agency securities                                                                   108                         —
  Certificates of deposit and time deposits                                                           250                        305
  Corporate debt securities                                                                            60                         12
Total cash and cash equivalents                                                                    16,601                     17,576
Marketable securities:
  U.S. government securities                                                                       10,901                     20,921
  U.S. government agency securities                                                                 5,927                     11,698
  Corporate debt securities                                                                        14,569                     11,759
Total marketable securities                                                                        31,397                     44,378
    Total cash and cash equivalents and marketable securities                       $              47,998   $                 61,954

      The gross unrealized gains on our marketable securities were not material and $641 million as of December 31, 2021
and 2020, respectively. The gross unrealized losses and the allowance for credit losses on our marketable securities were not
material as of December 31, 2021 and 2020.

      The following table classifies our marketable securities by contractual maturities (in millions):

                                                                                                                  December 31, 2021
Due within one year                                                                                           $                3,352
Due after one year to five years                                                                                              28,045
    Total                                                                                                     $               31,397

Note 5. Equity Investments

       Our equity investments are investments in equity securities of privately-held companies without readily determinable
fair values. On July 7, 2020, we completed our equity investment in Jio Platforms Limited (Jio), a subsidiary of Reliance
Industries Limited, for $5.82 billion. The following table summarizes our equity investments that were measured using
measurement alternative and equity method (in millions):
                                                                                                     December 31,
                                                                                            2021                       2020
Equity investments under measurement alternative:
  Initial cost                                                                      $              6,480    $                 6,171
  Cumulative upward adjustments                                                                      311                         26
  Cumulative impairment/downward adjustments                                                        (50)                       (25)
  Carrying value                                                                                   6,741                      6,172
Equity investments under equity method                                                                34                         62
    Total equity investments                                                        $              6,775    $                 6,234




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Note 6. Fair Value Measurements

       The following table summarizes our assets measured at fair value and the classification by level of input within the fair
value hierarchy (in millions):
                                                                                                     Fair Value Measurement at
                                                                                                        Reporting Date Using

                                                                                                 Quoted Prices in       Significant
                                                                                                     Active               Other
                                                                                                   Markets for          Observable
                                                                                  December 31,   Identical Assets         Inputs
Description                                                                           2021          (Level 1)            (Level 2)
Cash equivalents:
  Money market funds                                                          $          8,850   $        8,850     $             —
  U.S. government securities                                                                25               25                   —
  U.S. government agency securities                                                        108              108                   —
  Certificates of deposit and time deposits                                                250               —                   250
  Corporate debt securities                                                                 60               —                    60
Marketable securities:
  U.S. government securities                                                            10,901           10,901                  —
  U.S. government agency securities                                                      5,927            5,927                  —
  Corporate debt securities                                                             14,569               —               14,569
    Total cash equivalents and marketable securities                          $         40,690   $       25,811     $        14,879

                                                                                                     Fair Value Measurement at
                                                                                                        Reporting Date Using
                                                                                                 Quoted Prices in       Significant
                                                                                                     Active               Other
                                                                                                   Markets for          Observable
                                                                                  December 31,   Identical Assets         Inputs
Description                                                                           2020          (Level 1)            (Level 2)
Cash equivalents:
  Money market funds                                                          $          9,755   $         9,755    $             —
  U.S. government securities                                                             1,016             1,016                  —
  Certificates of deposit and time deposits                                                305                —                  305
  Corporate debt securities                                                                 12                —                   12
Marketable securities:
  U.S. government securities                                                            20,921           20,921                  —
  U.S. government agency securities                                                     11,698           11,698                  —
  Corporate debt securities                                                             11,759               —               11,759
    Total cash equivalents and marketable securities                          $         55,466   $       43,390     $        12,076

       We classify our cash equivalents and marketable securities within Level 1 or Level 2 because we use quoted market
prices or alternative pricing sources and models utilizing market observable inputs to determine their fair value.

       We also have assets and liabilities classified within Level 3 because factors used to develop the estimated fair value are
unobservable inputs that are not supported by market activity. As of December 31, 2021, included in the total $6.78 billion of
equity investments, $913 million was measured at fair value and was classified within Level 3 of the fair value measurement
hierarchy on a non-recurring basis. As of December 31, 2020, our Level 3 equity investments were not material. For
information regarding equity investments, see Note 5 — Equity Investments.




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Note 7. Property and Equipment

      Property and equipment, net consists of the following (in millions):
                                                                                                          December 31,
                                                                                                   2021                  2020
  Land                                                                                       $        1,688 $               1,326
  Servers and network assets                                                                         25,584                20,544
  Buildings                                                                                          22,531                17,360
  Leasehold improvements                                                                              5,795                 4,321
  Equipment and other                                                                                 4,764                 3,917
  Finance lease right-of-use assets                                                                   2,840                 2,295
  Construction in progress                                                                           14,687                11,288
Property and equipment, gross                                                                        77,889                61,051
Less: Accumulated depreciation                                                                      (20,080)              (15,418)
    Property and equipment, net                                                              $       57,809 $              45,633

       Construction in progress includes costs mostly related to construction of data centers, network infrastructure, and
office buildings. Prior year balances of certain property and equipment categories have been reclassified to conform to the
current year's presentation.

      Depreciation expense on property and equipment was $7.56 billion, $6.39 billion, and $5.18 billion for the years ended
December 31, 2021, 2020, and 2019, respectively. The majority of the property and equipment depreciation expense was
from servers and network assets depreciation of $4.94 billion, $4.38 billion, and $3.69 billion for the years ended
December 31, 2021, 2020, and 2019, respectively.

Note 8. Leases

        We have entered into various non-cancelable operating lease agreements mostly for certain of our offices, data centers,
colocations, and land. We have also entered into various non-cancelable finance lease agreements for certain network
infrastructure. Our leases have original lease periods expiring between 2022 and 2093. Many leases include one or more
options to renew. We do not assume renewals in our determination of the lease term unless the renewals are deemed to be
reasonably assured. Our lease agreements generally do not contain any material residual value guarantees or material
restrictive covenants.

      The components of lease costs are as follows (in millions):

                                                                                         Year Ended December 31,
                                                                                 2021              2020                  2019
Finance lease cost
  Amortization of right-of-use assets                                        $         344   $          259 $                 195
  Interest                                                                              15               14                    12
Operating lease cost                                                                 1,540            1,391                 1,139
Variable lease cost and other, net                                                     272              269                   160
    Total lease cost                                                         $       2,171   $        1,933 $               1,506




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      Supplemental balance sheet information related to leases is as follows:

                                                                                                           December 31,
                                                                                                    2021                    2020
Weighted-average remaining lease term
 Finance leases                                                                                     13.9 years               14.9 years
 Operating leases                                                                                   13.0 years               12.2 years
Weighted-average discount rate
  Finance leases                                                                                           2.7 %                   2.9 %
  Operating leases                                                                                         2.8 %                   3.1 %

      The following is a schedule, by years, of maturities of lease liabilities as of December 31, 2021 (in millions):
                                                                                            Operating Leases            Finance Leases

2022                                                                                       $            1,425 $                        90
2023                                                                                                    1,542                          65
2024                                                                                                    1,513                          45
2025                                                                                                    1,354                          45
2026                                                                                                    1,295                          45
Thereafter                                                                                              9,995                         406
  Total undiscounted cash flows                                                                        17,124                         696
  Less: Imputed interest                                                                               (3,251)                       (115)
    Present value of lease liabilities                                                     $           13,873 $                       581


Lease liabilities, current                                                                 $            1,127       $                 75
Lease liabilities, non-current                                                                         12,746                        506
    Present value of lease liabilities                                                     $           13,873       $                581

       The table above does not include lease payments that were not fixed at commencement or lease modification. As of
December 31, 2021, we have additional operating and finance leases, that have not yet commenced, with lease obligations of
approximately $8.34 billion and $1.62 billion, respectively, mostly for offices, data centers, and network infrastructure. These
operating and finance leases will commence between 2022 and 2028 with lease terms of greater than one year to 30 years.

      Supplemental cash flow information related to leases is as follows (in millions):
                                                                                            Year Ended December 31,
                                                                                  2021                 2020                   2019
Cash paid for amounts included in the measurement of lease liabilities:
  Operating cash flows for operating leases                                  $        1,406     $           1,208       $            902
  Operating cash flows for finance leases                                    $           15     $              14       $             12
  Financing cash flows for finance leases                                    $            677   $             604       $            552
Lease liabilities arising from obtaining right-of-use assets:
  Operating leases                                                           $        4,466     $           1,158       $          5,081
  Finance leases                                                             $          160     $             121       $            193




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Note 9. Goodwill and Intangible Assets

       During the year ended December 31, 2021, we purchased certain intangible assets and completed several business
acquisitions that were not material to our consolidated financial statements, individually and in aggregate. Accordingly,
pro forma historical results of operations related to these business acquisitions during the year ended December 31, 2021
have not been presented. We have included the financial results of these business acquisitions in our consolidated financial
statements from their respective dates of acquisition.

       Goodwill generated from all business acquisitions completed was primarily attributable to expected synergies from
future growth and potential monetization opportunities. The amount of goodwill generated that was deductible for tax
purposes was not material.

       Changes in the carrying amount of goodwill by reportable segment for the years ended December 31, 2021 and 2020
are as follows (in millions):

                                                                                     Family of Apps       Reality Labs            Total
 Balance as of December 31, 2019                                                                                           $        18,715
   Acquisitions                                                                                                                        322
   Effect of currency translation adjustment                                                                                            13
 Balance as of December 31, 2020                                                                                                    19,050
   Acquisitions                                                                                                                        210
   Adjustments/transfer                                                                                                               (191)
   Effect of currency translation adjustment                                                                                            (4)
   Segment allocation in the fourth quarter of 2021 (1)                             $         18,455 $              610             19,065
   Acquisitions in the fourth quarter of 2021                                                     —                 128                128
   Effect of currency translation adjustment                                                       3                  1                  4
 Balance as of December 31, 2021                                                    $         18,458 $              739 $           19,197
_________________________
(1) Represents reallocation of goodwill as a result of our change in segments in the fourth quarter of 2021. See Note 15 — Segment and
    Geographical Information for further details.

       The following table sets forth the major categories of the intangible assets and the weighted-average remaining useful
lives for those assets that are not already fully amortized (in millions):

                                                               December 31, 2021                              December 31, 2020
                                  Weighted-
                                  Average
                                 Remaining           Gross                           Net            Gross                           Net
                                 Useful Lives       Carrying     Accumulated       Carrying        Carrying     Accumulated       Carrying
                                  (in years)        Amount       Amortization      Amount          Amount       Amortization      Amount
   Acquired users                    0.0        $      2,057    $      (2,057) $         —     $      2,057    $      (1,840) $           217
  Acquired technology               2.6                1,412           (1,169)          243           1,297           (1,088)             209
  Acquired patents                  3.4                  827             (722)          105             805             (677)             128
  Trade names                       3.0                  644             (633)           11             636             (622)              14
  Other                             12.1                 176             (167)            9             223             (168)              55
Total finite-lived assets                              5,116           (4,748)          368           5,018           (4,395)             623
Total indefinite-lived assets       N/A                  266               —            266              —                —                —
    Total intangible assets,
    net                                         $      5,382    $      (4,748) $        634    $      5,018    $      (4,395) $           623

      Amortization expense of intangible assets for the years ended December 31, 2021, 2020, and 2019 was $407 million,
$473 million, and $562 million, respectively.




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       As of December 31, 2021, expected amortization expense for the unamortized finite-lived intangible assets for the next
five years and thereafter is as follows (in millions):


2022                                                                                                                    $               164
2023                                                                                                                                    103
2024                                                                                                                                     61
2025                                                                                                                                     18
2026                                                                                                                                     13
Thereafter                                                                                                                                9
    Total                                                                                                               $               368


Note 10. Liabilities

         The components of accrued expenses and other current liabilities are as follows (in millions):
                                                                                                                 December 31,
                                                                                                         2021                   2020
                            (1)
Legal-related accruals                                                                            $           3,254     $           1,622
Accrued compensation and benefits                                                                             3,152                 2,609
Accrued property and equipment                                                                                1,392                 1,414
Accrued taxes                                                                                                 1,256                 2,038
Other current liabilities                                                                                     5,258                 3,469
    Accrued expenses and other current liabilities                                                $          14,312     $          11,152
_________________________
(1) Includes accruals for estimated fines, settlements, or other losses in connection with legal and related matters, as well as other legal
    fees. For further information, see Legal and Related Matters in Note 11 — Commitments and Contingencies.

         The components of other liabilities are as follows (in millions):
                                                                                                                 December 31,
                                                                                                         2021                   2020
Income tax payable                                                                                $             5,938   $              5,025
Other liabilities                                                                                               1,289                  1,389
    Other liabilities                                                                             $             7,227   $              6,414

Note 11. Commitments and Contingencies

         Guarantee

       In 2018, we established a multi-currency notional cash pool for certain of our entities with a third-party bank provider.
Actual cash balances are not physically converted and are not commingled between participating legal entities. As part of the
notional cash pool agreement, the bank extends overdraft credit to our participating entities as needed, provided that the
overall notionally pooled balance of all accounts in the pool at the end of each day is at least zero. In the unlikely event of a
default by our collective entities participating in the pool, any overdraft balances incurred would be guaranteed by Meta
Platforms, Inc.

         Other Contractual Commitments

       We have $23.08 billion of non-cancelable contractual commitments as of December 31, 2021, which are primarily
related to our investments in servers, network infrastructure, and Reality Labs. These commitments are primarily due within
five years.




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      Legal and Related Matters

       Beginning on March 20, 2018, multiple putative class actions and derivative actions were filed in state and federal
courts in the United States and elsewhere against us and certain of our directors and officers alleging violations of securities
laws, breach of fiduciary duties, and other causes of action in connection with our platform and user data practices as well as
the misuse of certain data by a developer that shared such data with third parties in violation of our terms and policies, and
seeking unspecified damages and injunctive relief. Beginning on July 27, 2018, two putative class actions were filed in
federal court in the United States against us and certain of our directors and officers alleging violations of securities laws in
connection with the disclosure of our earnings results for the second quarter of 2018 and seeking unspecified damages. These
two actions subsequently were transferred and consolidated in the U.S. District Court for the Northern District of California
with the putative securities class action described above relating to our platform and user data practices. On September 25,
2019, the district court granted our motion to dismiss the consolidated putative securities class action, with leave to amend.
On November 15, 2019, a second amended complaint was filed in the consolidated putative securities class action. On
August 7, 2020, the district court granted our motion to dismiss the second amended complaint, with leave to amend. On
October 16, 2020, a third amended complaint was filed in the consolidated putative securities class action. On December 20,
2021, the district court granted our motion to dismiss the third amended complaint, with prejudice. On January 17, 2022, the
plaintiffs filed a notice of appeal of the order dismissing their case. In addition, our platform and user data practices, as well
as the events surrounding the misuse of certain data by a developer, became the subject of U.S. Federal Trade Commission
(FTC), state attorneys general, and other government inquiries in the United States, Europe, and other jurisdictions. We
entered into a settlement and modified consent order to resolve the FTC inquiry, which took effect in April 2020. Among
other matters, our settlement with the FTC required us to pay a penalty of $5.0 billion which was paid in April 2020 upon the
effectiveness of the modified consent order. The state attorneys general inquiry and certain government inquiries in other
jurisdictions remain ongoing. On July 16, 2021, a stockholder derivative action was filed in Delaware Chancery Court against
certain of our directors and officers asserting breach of fiduciary duty and related claims relating to our historical platform
and user data practices, as well as our settlement with the FTC. On July 20, 2021, other stockholders filed an amended
derivative complaint in a related Delaware Chancery Court action, asserting breach of fiduciary duty and related claims
against certain of our current and former directors and officers in connection with our historical platform and user data
practices. On November 4, 2021, the lead plaintiffs filed a second amended and consolidated complaint in the stockholder
derivative action. We believe the lawsuits described above are without merit, and we are vigorously defending them.

       We also notify the Irish Data Protection Commission (IDPC), our lead European Union privacy regulator under the
General Data Protection Regulation (GDPR), of certain other personal data breaches and privacy issues, and are subject to
inquiries and investigations by the IDPC and other European regulators regarding various aspects of our regulatory
compliance. The GDPR is still a relatively new law and draft decisions in investigations by the IDPC are subject to review by
other European privacy regulators as part of the GDPR's consistency mechanism, which may lead to significant changes in
the final outcome of such investigations. As a result, the interpretation and enforcement of the GDPR, as well as the
imposition and amount of penalties for non-compliance, are subject to significant uncertainty. Although we are vigorously
defending our regulatory compliance, we have accrued significant amounts for loss contingencies related to these inquiries
and investigations in Europe, and we believe there is a reasonable possibility that additional accruals for losses related to
these matters could be material in the aggregate.

       We are also subject to other government inquiries and investigations relating to our business activities and disclosure
practices. For example, beginning in September 2021, we became subject to government investigations and requests relating
to a former employee's allegations and release of internal company documents concerning, among other things, our
algorithms, advertising and user metrics, and content enforcement practices, as well as misinformation and other undesirable
activity on our platform, and user well-being. Beginning on October 27, 2021, multiple putative class actions were filed in
federal court in the United States against us and certain of our directors and officers alleging violations of securities laws in
connection with the same matters. We believe these lawsuits are without merit, and we are vigorously defending them.

       In addition, we are subject to litigation and other proceedings involving law enforcement and other regulatory
agencies, including in particular in Brazil, Russia, and other countries in Europe, in order to ascertain the precise scope of our
legal obligations to comply with the requests of those agencies, including our obligation to disclose user information in
particular circumstances. A number of such instances have resulted in the assessment of fines and penalties against us. We
believe we have multiple legal grounds to satisfy these requests or prevail against associated fines and penalties, and we
intend to vigorously defend such fines and penalties.




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       With respect to the cases, actions, and inquiries described above, we evaluate the associated developments on a regular
basis and accrue a liability when we believe a loss is probable and the amount can be reasonably estimated. In addition, we
believe there is a reasonable possibility that we may incur a loss in some of these matters. With respect to the matters
described above that do not include an estimate of the amount of loss or range of possible loss, such losses or range of
possible losses either cannot be estimated or are not individually material, but we believe there is a reasonable possibility that
they may be material in the aggregate.

       We are also party to various other legal proceedings, claims, and regulatory, tax or government inquiries and
investigations that arise in the ordinary course of business. For example, we are subject to various litigation and government
inquiries and investigations, formal or informal, by competition authorities in the United States, Europe, and other
jurisdictions. Such investigations, inquiries, and lawsuits concern, among other things, our business practices in the areas of
social networking or social media services, digital advertising, and/or mobile or online applications, as well as our
acquisitions. For example, in June 2019 we were informed by the FTC that it had opened an antitrust investigation of our
company. On December 9, 2020, the FTC filed a complaint against us in the U.S. District Court for the District of Columbia
alleging that we engaged in anticompetitive conduct and unfair methods of competition in violation of Section 5 of the
Federal Trade Commission Act and Section 2 of the Sherman Act, including by acquiring Instagram in 2012 and WhatsApp
in 2014 and by maintaining conditions on access to our platform. In addition, beginning in the third quarter of 2019, we
became the subject of antitrust investigations by the U.S. Department of Justice and state attorneys general. On December 9,
2020, the attorneys general from 46 states, the territory of Guam, and the District of Columbia filed a complaint against us in
the U.S. District Court for the District of Columbia alleging that we engaged in anticompetitive conduct in violation of
Section 2 of the Sherman Act, including by acquiring Instagram in 2012 and WhatsApp in 2014 and by maintaining
conditions on access to our platform. The complaint also alleged that we violated Section 7 of the Clayton Act by acquiring
Instagram and WhatsApp. The complaints of the FTC and attorneys general both sought a permanent injunction against our
company's alleged violations of the antitrust laws, and other equitable relief, including divestiture or reconstruction of
Instagram and WhatsApp. On June 28, 2021, the court granted our motions to dismiss the complaints filed by the FTC and
attorneys general, dismissing the FTC's complaint with leave to amend and dismissing the attorneys general's case without
prejudice. On July 28, 2021, the attorneys general filed a notice of appeal of the order dismissing their case. On August 19,
2021, the FTC filed an amended complaint, and on October 4, 2021, we filed a motion to dismiss this amended complaint. On
January 11, 2022, the court denied our motion to dismiss the FTC's amended complaint. Multiple putative class actions have
also been filed in state and federal courts in the United States against us alleging violations of antitrust laws and other causes
of action in connection with these acquisitions and other alleged anticompetitive conduct, and seeking damages and
unspecified injunctive relief. Several of the cases brought on behalf of certain advertisers and users were consolidated in the
U.S. District Court for the Northern District of California. On January 14, 2022, the court granted, in part, and denied, in part,
our motion to dismiss the consolidated actions. We believe these lawsuits are without merit, and we are vigorously defending
them.

       Additionally, we are required to comply with various legal and regulatory obligations around the world. The
requirements for complying with these obligations may be uncertain and subject to interpretation and enforcement by
regulatory and other authorities, and any failure to comply with such obligations could eventually lead to asserted legal or
regulatory action. With respect to these other legal proceedings, claims, regulatory, tax, or government inquiries and
investigations, and other matters, asserted and unasserted, we evaluate the associated developments on a regular basis and
accrue a liability when we believe a loss is probable and the amount can be reasonably estimated. In addition, we believe
there is a reasonable possibility that we may incur a loss in some of these other matters. We believe that the amount of losses
or any estimable range of possible losses with respect to these other matters will not, either individually or in the aggregate,
have a material adverse effect on our business and consolidated financial statements.

      The ultimate outcome of the legal and related matters described in this section, such as whether the likelihood of loss is
remote, reasonably possible, or probable, or if and when the reasonably possible range of loss is estimable, is inherently
uncertain. Therefore, if one or more of these matters were resolved against us for amounts in excess of management's
estimates of loss, our results of operations and financial condition, including in a particular reporting period in which any
such outcome becomes probable and estimable, could be materially adversely affected.

      For information regarding income tax contingencies, see Note 14 — Income Taxes.




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      Indemnifications

        In the normal course of business, to facilitate transactions of services and products, we have agreed to indemnify
certain parties with respect to certain matters. We have agreed to hold certain parties harmless against losses arising from a
breach of representations or covenants, or out of intellectual property infringement or other claims made by third parties.
These agreements may limit the time within which an indemnification claim can be made and the amount of the claim. In
addition, we have entered into indemnification agreements with our officers, directors, and certain employees, and our
certificate of incorporation and bylaws contain similar indemnification obligations.

       It is not possible to determine the maximum potential amount under these indemnification agreements due to the
limited history of prior indemnification claims and the unique facts and circumstances involved in each particular agreement.
Historically, payments made by us under these agreements have not had a material impact on our consolidated financial
statements. In our opinion, as of December 31, 2021, there was not a reasonable possibility we had incurred a material loss
with respect to indemnification of such parties. We have not recorded any liability for costs related to indemnification
through December 31, 2021.

Note 12. Stockholders' Equity

      Common Stock

       Our certificate of incorporation authorizes the issuance of Class A common stock and Class B common stock. As of
December 31, 2021, we are authorized to issue 5,000 million shares of Class A common stock and 4,141 million shares of
Class B common stock, each with a par value of $0.000006 per share. Holders of our Class A common stock and Class B
common stock are entitled to dividends when, as and if, declared by our board of directors, subject to the rights of the holders
of all classes of stock outstanding having priority rights to dividends. As of December 31, 2021, we have not declared any
dividends. The holder of each share of Class A common stock is entitled to one vote, while the holder of each share of
Class B common stock is entitled to ten votes. Shares of our Class B common stock are convertible into an equivalent number
of shares of our Class A common stock and generally convert into shares of our Class A common stock upon transfer.
Class A common stock and Class B common stock are referred to as common stock throughout the notes to these financial
statements, unless otherwise noted.

    As of December 31, 2021, there were 2,328 million shares of Class A common stock and 413 million shares of Class B
common stock issued and outstanding.

      Share Repurchase Program

       Our board of directors has authorized a share repurchase program of our Class A common stock, which commenced in
January 2017 and does not have an expiration date. As of December 31, 2020, $8.60 billion remained available and
authorized for repurchases under this program. In January 2021 and October 2021, additional $25.0 billion and $50.0 billion
of repurchases were authorized under this program, respectively. In 2021, we repurchased and subsequently retired
136 million shares of our Class A common stock for an aggregate amount of $44.81 billion. As of December 31, 2021,
$38.79 billion remained available and authorized for repurchases.

       The timing and actual number of shares repurchased under the repurchase program depend on a variety of factors,
including price, general business and market conditions, and other investment opportunities, and shares may be repurchased
through open market purchases or privately negotiated transactions, including through the use of trading plans intended to
qualify under Rule 10b5-1 under the Securities Exchange Act of 1934, as amended.

      Share-based Compensation Plans

       Since 2020, we have maintained one active share-based employee compensation plan, the 2012 Equity Incentive Plan,
which was amended in each of June 2016, February 2018 (Amended 2012 Plan). Our Amended 2012 Plan provides for the
issuance of incentive and nonqualified stock options, restricted stock awards, stock appreciation rights, RSUs, performance
shares, and stock bonuses to qualified employees, directors, and consultants. Shares that are withheld in connection with the
net settlement of RSUs or forfeited under our stock plan are added to the reserves of the Amended 2012 Plan.




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       As of December 31, 2021, there were 116 million shares of our Class A common stock reserved for future issuance
under our Amended 2012 Plan. Pursuant to the automatic increase provision under our Amended 2012 Plan, the number of
shares reserved for issuance increases automatically on January 1 of each of the calendar years during the term of the
Amended 2012 Plan, which will continue through April 2026 , by a number of shares of Class A common stock equal to the
lesser of (i) 2.5% of the total issued and outstanding shares of our Class A common stock as of the immediately preceding
December 31st or (ii) a number of shares determined by our board of directors. Pursuant to this automatic increase provision,
our board of directors approved an increase of 20 million shares of Class A common stock reserved for issuance effective
January 1, 2022.

      The following table summarizes the activities for our unvested RSUs for the year ended December 31, 2021:
                                                                                                                    Weighted-Average
                                                                                                                     Grant Date Fair
                                                                                                Number of Shares    Value Per Share
                                                                                                 (in thousands)
Unvested at December 31, 2020                                                                           96,733      $         181.88
 Granted                                                                                                59,127      $         305.40
 Vested                                                                                                (44,574) $             198.95
 Forfeited                                                                                             (12,438) $             211.58
Unvested at December 31, 2021                                                                           98,848 $              244.32

       The weighted-average grant date fair value of RSUs granted in the years ended December 31, 2020 and 2019 was
$188.73 and $173.66, respectively. The fair value as of the respective vesting dates of RSUs that vested during the years
ended December 31, 2021, 2020, and 2019 was $14.42 billion, $9.38 billion, and $6.01 billion, respectively. The income tax
benefit recognized related to awards vested or exercised during the years ended December 31, 2021, 2020, and 2019 was
$3.08 billion, $1.81 billion, and $0.98 billion, respectively.

      As of December 31, 2021, there was $22.77 billion of unrecognized share-based compensation expense related to
RSUs awards. This unrecognized compensation expense is expected to be recognized over a weighted-average period of
approximately three years based on vesting under the award service conditions.

Note 13. Interest and Other Income, Net

      The following table presents the detail of interest and other income, net (in millions):

                                                                                            Year Ended December 31,
                                                                                   2021                2020                 2019
Interest income, net                                                         $            461     $           672       $          904
Foreign currency exchange losses, net                                                     (140)               (129)                (105)
Other income (expense), net                                                                210                 (34)                  27
    Interest and other income, net                                           $             531 $               509 $                826



Note 14. Income Taxes

      The components of income before provision for income taxes are as follows (in millions):

                                                                                            Year Ended December 31,
                                                                                   2021                2020                 2019
Domestic                                                                     $       43,669       $       24,233        $      5,317
Foreign                                                                               3,615                8,947              19,495
    Income before provision for income taxes                                 $       47,284       $       33,180        $     24,812




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      The provision for income taxes consists of the following (in millions):
                                                                                            Year Ended December 31,
                                                                                   2021              2020               2019
Current:
  Federal                                                                     $        4,971     $       3,297      $      4,321
  State                                                                                  548               523               565
  Foreign                                                                              1,786             1,211             1,481
Total current tax expense                                                              7,305             5,031             6,367


Deferred:
  Federal                                                                                 585               (859)              (39)
  State                                                                                    43               (122)               19
  Foreign                                                                                 (19)               (16)              (20)
Total deferred tax (benefits)/expense                                                     609               (997)              (40)
    Provision for income taxes                                                $        7,914     $       4,034      $      6,327

      A reconciliation of the U.S. federal statutory income tax rates to our effective tax rate is as follows (in percentages):

                                                                                            Year Ended December 31,
                                                                                   2021              2020               2019
U.S. federal statutory income tax rate                                                21.0 %            21.0 %            21.0 %
State income taxes, net of federal benefit                                             1.0               0.8               1.8
Share-based compensation                                                               0.5               0.2               4.5
Excess tax benefits related to share-based compensation                               (2.2)             (1.6)             (0.7)
Research and development tax credits                                                  (1.3)             (1.3)             (0.8)
Foreign-derived intangible income deduction                                           (3.5)             (1.9)               —
Effect of non-U.S. operations                                                          0.9              (2.4)             (5.8)
Non-deductible FTC settlement accrual                                                   —                 —                4.5
Research and development capitalization                                                 —               (3.0)               —
Other                                                                                  0.3               0.4               1.0
     Effective tax rate                                                               16.7 %            12.2 %            25.5 %




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      Our deferred tax assets (liabilities) are as follows (in millions):

                                                                                                           December 31,
                                                                                                    2021                  2020
Deferred tax assets:
  Net operating loss carryforward                                                              $        2,443 $              2,437
  Tax credit carryforward                                                                               1,385                1,055
  Share-based compensation                                                                                319                  243
  Accrued expenses and other liabilities                                                                1,195                1,108
  Lease liabilities                                                                                     2,597                2,058
  Capitalized research and development                                                                  1,691                1,922
  Other                                                                                                   449                  340
Total deferred tax assets                                                                              10,079                9,163
  Less: valuation allowance                                                                            (1,586)              (1,218)
    Deferred tax assets, net of valuation allowance                                                     8,493                7,945

Deferred tax liabilities:
  Depreciation and amortization                                                                        (4,425)              (3,811)
  Right-of-use assets                                                                                  (2,339)              (1,876)
Total deferred tax liabilities                                                                         (6,764)              (5,687)
    Net deferred tax assets                                                                    $        1,729 $              2,258

       The valuation allowance was approximately $1.59 billion and $1.22 billion as of December 31, 2021 and 2020,
respectively, primarily relating to U.S. state tax credit carryforwards and U.S. foreign tax credits for which we do not believe
a tax benefit is more likely than not to be realized.

       As of December 31, 2021, the U.S. federal and state net operating loss carryforwards were $10.61 billion and
$2.11 billion, which will begin to expire in 2028 and 2027, respectively, if not utilized. We have federal tax credit
carryforwards of $527 million, which will begin to expire in 2029, if not utilized, and state tax credit carryforwards of
$3.18 billion, most of which do not expire.

       Utilization of our net operating loss and tax credit carryforwards may be subject to substantial annual limitations due
to the ownership change limitations provided by the Internal Revenue Code and similar state provisions. Such annual
limitations could result in the expiration of the net operating loss and tax credit carryforwards before their utilization. The
events that may cause ownership changes include, but are not limited to, a cumulative stock ownership change of greater than
50% over a three‑year period.

      The following table reflects changes in the gross unrecognized tax benefits (in millions):

                                                                                           Year Ended December 31,
                                                                                   2021             2020                  2019
Gross unrecognized tax benefits ‑ beginning of period                        $        8,692    $        7,863     $          4,678
  Increases related to prior year tax positions                                         328               356                2,309
  Decreases related to prior year tax positions                                         (86)             (253)                (525)
  Increases related to current year tax positions                                       963             1,045                1,402
  Decreases related to settlements of prior year tax positions                          (90)             (319)                  (1)
Gross unrecognized tax benefits ‑ end of period                              $        9,807 $           8,692 $              7,863

       These unrecognized tax benefits were primarily accrued for the uncertainties related to transfer pricing with our
foreign subsidiaries, which include licensing of intellectual property, providing services and other transactions, as well as for



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the uncertainties with our research tax credits. During all years presented, we recognized interest and penalties related to
unrecognized tax benefits within the provision for income taxes on the consolidated statements of income. The amount of
interest and penalties accrued as of December 31, 2021 and 2020 were $960 million and $774 million, respectively.

       If the balance of gross unrecognized tax benefits of $9.81 billion as of December 31, 2021 were realized in a future
period, this would result in a tax benefit of $5.70 billion within our provision of income taxes at such time.

       We are subject to taxation in the United States and various other state and foreign jurisdictions. The material
jurisdictions in which we are subject to potential examination include the United States and Ireland. We are under
examination by the Internal Revenue Service (IRS) for our 2014 through 2019 tax years and by the Irish tax authorities for
our 2016 through 2018 tax years. Our 2020 and subsequent tax years remain open to examination by the IRS. Our 2019 and
subsequent tax years remain open to examination in Ireland.

       In July 2016, we received a Statutory Notice of Deficiency (Notice) from the IRS related to transfer pricing with our
foreign subsidiaries in conjunction with the examination of the 2010 tax year. While the Notice applies only to the 2010 tax
year, the IRS stated that it will also apply its position for tax years subsequent to 2010 and has done so in years covered by
the second Notice described below. We do not agree with the position of the IRS and have filed a petition in the Tax Court
challenging the Notice. On January 15, 2020, the IRS's amendment to answer was filed stating that it planned to assert at trial
an adjustment that is higher than the adjustment stated in the Notice. The first session of the trial was completed in March
2020 and a second session commenced in October 2021. Based on the information provided, we believe that, if the IRS
prevails in its updated position, this could result in an additional federal tax liability of an estimated, aggregate amount of up
to approximately $9.0 billion in excess of the amounts in our originally filed U.S. return, plus interest and any penalties
asserted.

       In March 2018, we received a second Notice from the IRS in conjunction with the examination of our 2011 through
2013 tax years. The IRS applied its position from the 2010 tax year to each of these years and also proposed new adjustments
related to other transfer pricing with our foreign subsidiaries and certain tax credits that we claimed. If the IRS prevails in its
position for these new adjustments, this could result in an additional federal tax liability of up to approximately $680 million
in excess of the amounts in our originally filed U.S. returns, plus interest and any penalties asserted. We do not agree with the
positions of the IRS in the second Notice and have filed a petition in the Tax Court challenging the second Notice.

       We have previously accrued an estimated unrecognized tax benefit consistent with the guidance in ASC 740, Income
Taxes (ASC 740), that is lower than the potential additional federal tax liability from the positions taken by the IRS in the two
Notices and its Pretrial Memorandum. In addition, if the IRS prevails in its positions related to transfer pricing with our
foreign subsidiaries, the additional tax that we would owe would be partially offset by a reduction in the tax that we owe
under the mandatory transition tax on accumulated foreign earnings from the 2017 Tax Cuts and Jobs Act. As of
December 31, 2021, we have not resolved these matters and proceedings continue in the Tax Court.

       We believe that adequate amounts have been reserved in accordance with ASC 740 for any adjustments to the
provision for income taxes or other tax items that may ultimately result from these examinations. The timing of the
resolution, settlement, and closure of any audits is highly uncertain, and it is reasonably possible that the balance of gross
unrecognized tax benefits could significantly change in the next 12 months. Given the number of years remaining that are
subject to examination, we are unable to estimate the full range of possible adjustments to the balance of gross unrecognized
tax benefits. If the taxing authorities prevail in the assessment of additional tax due, the assessed tax, interest, and penalties, if
any, could have a material adverse impact on our financial position, results of operations, and cash flows.

Note 15. Segment and Geographical Information

       Beginning in the fourth quarter of 2021, we report our financial results based on two reportable segments: Family of
Apps (FoA) and Reality Labs (RL). FoA includes Facebook, Instagram, Messenger, WhatsApp, and other services. RL
includes augmented and virtual reality related consumer hardware, software, and content. As of December 31, 2021, our
operating segments are the same as our reportable segments.

       The CODM, who is our CEO, allocates resources to and assesses the performance of each operating segment using
information about the operating segment's revenue and income (loss) from operations. The CODM does not evaluate
operating segments using asset or liability information.



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       Revenue and costs and expenses are generally directly attributed to our segments. These costs and expenses include
certain product development related operating expenses, costs associated with the partnership arrangements, consumer
hardware product costs, content costs, and legal-related costs. Indirect costs are allocated to segments based on a reasonable
allocation methodology, when such costs are significant to the performance measures of the operating segments. Indirect cost
of revenue is allocated to our segments based on usage, such as costs related to the operation of our data centers and technical
infrastructure. Indirect operating expenses, such as facilities, information technology, certain shared research and
development activities, recruiting, and physical security expenses, are mostly allocated based on headcount.

     The following table sets forth our segment information of revenue and income (loss) from operations (in millions). For
comparative purposes, amounts in prior periods have been recast:

                                                                                              Year Ended December 31,
                                                                                   2021                 2020                   2019
Revenue:
  Family of Apps                                                           $         115,655 $              84,826 $              70,196
   Reality Labs                                                                        2,274                 1,139                   501
     Total revenue                                                         $         117,929 $              85,965 $              70,697

Income (loss) from operations:
  Family of Apps                                                           $           56,946 $             39,294 $              28,489
  Reality Labs                                                                        (10,193)              (6,623)               (4,503)
    Total income from operations                                           $           46,753 $             32,671 $              23,986

         For information regarding revenue disaggregated by geography, see Note 2 — Revenue.

      The following table sets forth our long-lived assets by geographic area, which consist of property and equipment, net
and operating lease right-of-use assets (in millions):

                                                                                                               December 31,
                                                                                                        2021                   2020
United States                                                                                   $           55,497    $           43,128
Rest of the world(1)                                                                                        14,467                11,853
    Total long-lived assets                                                                     $           69,964    $           54,981
_________________________
(1) No individual country, other than disclosed above, exceeded 10% of our total long-lived assets for any period presented.




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Item 9. Changes in and Disagreements with Accountants on Accounting and Financial Disclosure

      None.

Item 9A. Controls and Procedures

Evaluation of Disclosure Controls and Procedures

       Our management, with the participation of our chief executive officer (CEO) and chief financial officer (CFO), has
evaluated the effectiveness of our disclosure controls and procedures (as defined in Rules 13a- 15(e) and 15d- 15(e) under the
Securities Exchange Act of 1934, as amended (Exchange Act)), as of the end of the period covered by this Annual Report on
Form 10-K. Based on such evaluation, our CEO and CFO have concluded that as of December 31, 2021, our disclosure
controls and procedures are designed at a reasonable assurance level and are effective to provide reasonable assurance that
information we are required to disclose in reports that we file or submit under the Exchange Act is recorded, processed,
summarized, and reported within the time periods specified in the rules and forms of the Securities and Exchange
Commission (SEC), and that such information is accumulated and communicated to our management, including our CEO and
CFO, as appropriate, to allow timely decisions regarding required disclosure.

Management's Report on Internal Control over Financial Reporting

       Our management is responsible for establishing and maintaining adequate internal control over financial reporting (as
defined in Rule 13a-15(f) under the Exchange Act). Management conducted an assessment of the effectiveness of our internal
control over financial reporting based on the criteria set forth in Internal Control—Integrated Framework issued by the
Committee of Sponsoring Organizations of the Treadway Commission (2013 framework). Based on the assessment,
management has concluded that its internal control over financial reporting was effective as of December 31, 2021 to provide
reasonable assurance regarding the reliability of financial reporting and the preparation of financial statements in accordance
with U.S. GAAP. Our independent registered public accounting firm, Ernst & Young LLP, has issued an audit report with
respect to our internal control over financial reporting, which appears in Part II, Item 8 of this Annual Report on Form 10-K.

Changes in Internal Control

      There were no changes in our internal control over financial reporting identified in management's evaluation pursuant
to Rules 13a-15(d) or 15d-15(d) of the Exchange Act during the fourth quarter of 2021 that materially affected, or are
reasonably likely to materially affect, our internal control over financial reporting.

Limitations on Effectiveness of Controls and Procedures and Internal Control over Financial Reporting

       In designing and evaluating the disclosure controls and procedures and internal control over financial reporting,
management recognizes that any controls and procedures, no matter how well designed and operated, can provide only
reasonable assurance of achieving the desired control objectives. In addition, the design of disclosure controls and procedures
and internal control over financial reporting must reflect the fact that there are resource constraints and that management is
required to apply judgment in evaluating the benefits of possible controls and procedures relative to their costs.

Item 9B. Other Information

      None.

Item 9C. Disclosure Regarding Foreign Jurisdictions that Prevent Inspections

      Not Applicable.




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PART III

Item 10. Directors, Executive Officers and Corporate Governance

      The information required by this item is incorporated by reference to our Proxy Statement for the 2022 Annual
Meeting of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2021.

       Our board of directors has adopted a Code of Conduct applicable to all officers, directors, and employees, which is
available on our website (investor.fb.com) under "Leadership & Governance." We intend to satisfy the disclosure
requirement under Item 5.05 of Form 8-K regarding amendment to, or waiver from, a provision of our Code of Conduct by
posting such information on the website address and location specified above.

Item 11. Executive Compensation

      The information required by this item is incorporated by reference to our Proxy Statement for the 2022 Annual
Meeting of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2021.

Item 12. Security Ownership of Certain Beneficial Owners and Management and Related Stockholder Matters

      The information required by this item is incorporated by reference to our Proxy Statement for the 2022 Annual
Meeting of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2021.

Item 13. Certain Relationships and Related Transactions, and Director Independence

      The information required by this item is incorporated by reference to our Proxy Statement for the 2022 Annual
Meeting of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2021.

Item 14. Principal Accounting Fees and Services

      The information required by this item is incorporated by reference to our Proxy Statement for the 2022 Annual
Meeting of Stockholders to be filed with the SEC within 120 days of the fiscal year ended December 31, 2021.




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PART IV

Item 15. Exhibits and Financial Statement Schedules

We have filed the following documents as part of this Form 10-K:

1. Consolidated Financial Statements:
                                                                                                                   Page
Reports of Independent Registered Public Accounting Firm (PCAOB ID No. 42)                                         75
Consolidated Balance Sheets                                                                                        79
Consolidated Statements of Income                                                                                  80
Consolidated Statements of Comprehensive Income                                                                    81
Consolidated Statements of Stockholders' Equity                                                                    82
Consolidated Statements of Cash Flows                                                                              83
Notes to Consolidated Financial Statements                                                                         85

2. Financial Statement Schedules

All schedules have been omitted because they are not required, not applicable, not present in amounts sufficient to require
submission of the schedule, or the required information is otherwise included.

3. Exhibits

   Exhibit                                                               Incorporated by Reference
                                                                                                                     Filed
  Number                   Exhibit Description              Form       File No.     Exhibit          Filing Date    Herewith

 3.1          Amended and Restated Certificate of          8-K      001-35551      3.1         October 28, 2021
              Incorporation.
 3.2          Amended and Restated Bylaws.                 8-K      001-35551      3.2         October 28, 2021
 3.3          Description of Registrant's Capital Stock.                                                                X
 4.1          Form of Class A Common Stock                                                                              X
              Certificate.
 4.2          Form of Class B Common Stock                                                                              X
              Certificate.
 4.3          Form of "Type 1" Holder Voting               S-1      333-179287     4.3         February 8, 2012
              Agreement, between Registrant, Mark
              Zuckerberg, and certain parties thereto.
 10.1+        Form of Indemnification Agreement.           8-K      001-35551      10.1        April 15, 2019
 10.2(A)+     2012 Equity Incentive Plan, as amended.      10-Q     001-35551      10.1        April 30, 2020
 10.2(B)+     2012 Equity Incentive Plan forms of          10-Q     001-35551      10.2        July 31, 2012
              award agreements.
 10.2(C)+     2012 Equity Incentive Plan forms of          10-Q     001-35551      10.1        May 4, 2017
              award agreements (Additional Forms).
 10.2(D)+     2012 Equity Incentive Plan forms of          10-Q     001-35551      10.1        July 27, 2017
              award agreements (Additional Forms).
 10.2(E)+     2012 Equity Incentive Plan forms of          10-Q     001-35551      10.2        April 26, 2018
              award agreements (Additional Forms).
 10.2(F)+     2012 Equity Incentive Plan forms of          10-K     001-35551      10.3(G)     January 31, 2019
              award agreements (Additional Forms).
 10.2(G)+     2012 Equity Incentive Plan forms of          10-Q     001-35551      10.2        April 25, 2019
              award agreements (Additional Forms).
 10.2(H)+     2012 Equity Incentive Plan forms of          10-Q     001-35551      10.2        April 30, 2020
              award agreements (Additional Forms).




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  Exhibit                                                           Incorporated by Reference
                                                                                                               Filed
 Number                 Exhibit Description              Form     File No.     Exhibit          Filing Date   Herewith

10.2(I)+    2012 Equity Incentive Plan forms of         10-Q    001-35551     10.2        July 29, 2021
            award agreements (Additional Forms).
10.3+       Bonus Plan, effective January 1, 2022.                                                               X
10.4+       Bonus Plan, effective January 1, 2019.      10-Q    001-35551     10.3        April 25, 2019
10.5+       Amended and Restated Offer Letter, dated    S-1     333-179287    10.6        February 8, 2012
            January 27, 2012, between Registrant and
            Mark Zuckerberg.
10.6+       Amended and Restated Employment             S-1     333-179287    10.7        February 8, 2012
            Agreement, dated January 27, 2012,
            between Registrant and Sheryl K.
            Sandberg.
10.7+       Amended and Restated Offer Letter, dated    S-1     333-179287    10.9        February 8, 2012
            January 27, 2012, between Registrant and
            Mike Schroepfer.
10.8+       Amended and Restated Offer Letter, dated    10-K    001-35551     10.10       January 29, 2015
            August 25, 2014, between Registrant and
            David M. Wehner.
10.9+       Offer Letter, dated May 6, 2019, between    10-Q    001-35551     10.3        April 30, 2020
            Registrant and Jennifer G. Newstead.
10.10+      Offer Letter, dated June 5, 2020, between   10-Q    001-35551     10.1        April 29, 2021
            Registrant and Christopher K. Cox.
10.11+      Form of Executive Officer Offer Letter.     10-Q    001-35551     10.3        July 25, 2019
10.12+      Executive Sales Incentive Plan.             10-Q    001-35551     10.4        July 25, 2019
10.13+      Director Compensation Policy, as            10-Q    001-35551     10.1        July 29, 2021
            amended.
10.14+      Indemnification Agreement Relating to       10-Q    001-35551     10.2        April 29, 2021
            Subsidiary Operations, dated March 14,
            2021, between Registrant and Mark
            Zuckerberg.
21.1        List of Subsidiaries.                                                                                X
23.1        Consent of Independent Registered Public                                                             X
            Accounting Firm.
31.1        Certification of Mark Zuckerberg, Chief                                                              X
            Executive Officer, pursuant to Rule
            13a-14(a)/15d-14(a), as adopted pursuant
            to Section 302 of the Sarbanes-Oxley Act
            of 2002.
31.2        Certification of David M. Wehner, Chief                                                              X
            Financial Officer, pursuant to
            Rule 13a-14(a)/15d-14(a), as adopted
            pursuant to Section 302 of the Sarbanes-
            Oxley Act of 2002.
32.1#       Certification of Mark Zuckerberg, Chief                                                              X
            Executive Officer, pursuant to 18 U.S.C.
            Section 1350, as adopted pursuant to
            Section 906 of the Sarbanes-Oxley Act of
            2002.
32.2#       Certification of David M. Wehner, Chief                                                              X
            Financial Officer, pursuant to 18 U.S.C.
            Section 1350, as adopted pursuant to
            Section 906 of the Sarbanes-Oxley Act of
            2002.




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   Exhibit                                                                  Incorporated by Reference
                                                                                                                        Filed
  Number                   Exhibit Description                Form        File No.      Exhibit         Filing Date    Herewith

 101.INS       Inline XBRL Instance Document (the                                                                         X
               instance document does not appear in the
               Interactive Data File because its XBRL
               tags are embedded within the Inline XBRL
               document).
 101.SCH       Inline XBRL Taxonomy Extension                                                                             X
               Schema Document.
 101.CAL       Inline XBRL Taxonomy Extension                                                                             X
               Calculation Linkbase Document.
 101.DEF       Inline XBRL Taxonomy Extension                                                                             X
               Definition Linkbase Document.
 101.LAB       Inline XBRL Taxonomy Extension Labels                                                                      X
               Linkbase Document.
 101.PRE       Inline XBRL Taxonomy Extension                                                                             X
               Presentation Linkbase Document.
 104           Cover Page Interactive Data File                                                                           X
               (formatted as inline XBRL and contained
               in Exhibit 101).

       + Indicates a management contract or compensatory plan.

        # This certification is deemed not filed for purposes of Section 18 of the Securities Exchange Act of 1934, as amended
(Exchange Act), or otherwise subject to the liability of that section, nor shall it be deemed incorporated by reference into any
filing under the Securities Act of 1933, as amended, or the Exchange Act.

Item 16. Form 10-K Summary

       None.




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                                                      SIGNATURES

      Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the Registrant has duly
caused this Annual Report on Form 10-K to be signed on its behalf by the undersigned, thereunto duly authorized, in the City
of Menlo Park, State of California, on this 2nd day of February 2022.


                                                          META PLATFORMS, INC.


Date:        February 2, 2022                             /s/ David M. Wehner
                                                          David M. Wehner

                                                          Chief Financial Officer




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                                                  POWER OF ATTORNEY

       KNOW ALL PERSONS BY THESE PRESENTS, that each person whose signature appears below constitutes and
appoints David M. Wehner and Katherine R. Kelly, and each of them, as his or her true and lawful attorneys-in-fact and
agents, with full power of substitution and resubstitution, for him or her and in his or her name, place and stead, in any and all
capacities, to sign any and all amendments to this Annual Report on Form 10-K, and to file the same, with all exhibits
thereto, and other documents in connection therewith, with the Securities and Exchange Commission, granting unto said
attorneys-in-fact and agents, and each of them, full power and authority to do and perform each and every act and thing
requisite and necessary to be done in connection therewith, as fully to all intents and purposes as he or she might or could do
in person, hereby ratifying and confirming that all said attorneys-in-fact and agents, or any of them or their or his or her
substitute or substitutes, may lawfully do or cause to be done by virtue hereof.

      Pursuant to the requirements of the Securities Exchange Act of 1934, this Annual Report on Form 10-K has been
signed by the following persons on behalf of the Registrant and in the capacities and on the dates indicated:

                  Signature                                          Title                                    Date


            /s/ Mark Zuckerberg                   Chairman and Chief Executive Officer                 February 2, 2022
                Mark Zuckerberg                       (Principal Executive Officer)

            /s/ David M. Wehner                           Chief Financial Officer                      February 2, 2022
                David M. Wehner                        (Principal Financial Officer)

            /S/ Susan J.S. Taylor                       Chief Accounting Officer                       February 2, 2022
                Susan J.S. Taylor                     (Principal Accounting Officer)

              /s/ Peggy Alford                                    Director                             February 2, 2022
                  Peggy Alford


           /s/ Marc L. Andreessen                                 Director                             February 2, 2022
               Marc L. Andreessen


           /s/ Andrew W. Houston                                  Director                             February 2, 2022
               Andrew W. Houston


              /s/ Nancy Killefer                                  Director                             February 2, 2022
                 Nancy Killefer


           /s/ Robert M. Kimmitt                                  Director                             February 2, 2022
               Robert M. Kimmitt


           /s/ Sheryl K. Sandberg                                 Director                             February 2, 2022
               Sheryl K. Sandberg


              /s/ Peter A. Thiel                                  Director                             February 2, 2022
                 Peter A. Thiel


             /s/ Tracey T. Travis                                 Director                             February 2, 2022
                Tracey T. Travis


                 /s/ Tony Xu                                      Director                             February 2, 2022
                    Tony Xu




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                                                        SHAREHOLDER INFORMATION
DIRECTORS
                                                        Investor Relations
Mark Zuckerberg
                                                        Meta Platforms, Inc.
Founder, Chairman and Chief Executive Officer,
Meta                                                    1601 Willow Road
                                                        Menlo Park, California 94025
Sheryl K. Sandberg                                      investor@fb.com
Chief Operating Officer, Meta
                                                        Investor Relations Website
Robert M. Kimmitt                                       http://investor.fb.com
Senior International Counsel, WilmerHale                Meta’s Class A common stock trades on Nasdaq
Peggy Alford                                            under the ticker symbol ‘‘FB’’
Executive Vice President, Global Sales, PayPal
                                                        Transfer Agent
Holdings
                                                        Computershare Trust Company, N.A.
Marc L. Andreessen                                      462 South 4th Street
Co-founder & General Partner, Andreessen Horowitz       Louisville, Kentucky 40202
Drew Houston                                            1 (855) 879-3967 (U.S.)
Co-founder and Chief Executive Officer, Dropbox         1 (781) 575-4340 (non-U.S.)
                                                        http://www.computershare.com/investor
Nancy Killefer
Retired Senior Partner, McKinsey & Company              Independent Registered Public Accounting Firm
                                                        Ernst & Young LLP
Peter A. Thiel
President, Thiel Capital                                Annual Shareholder Meeting
                                                        Meta’s Annual Shareholder Meeting will be held
Tracey T. Travis                                        virtually via live audio webcast on May 25, 2022 at
Executive Vice President and Chief Financial Officer,
                                                        10:00 am PT at
The Estée Lauder Companies
                                                        www.virtualshareholdermeeting.com/META2022
Tony Xu
Co-founder and Chief Executive Officer, DoorDash        Please refer to http://investor.fb.com/annual-
                                                        proxy.cfm for important information regarding
                                                        attending the Virtual Annual Shareholder
                                                        Meeting.

This Annual Report contains forward-looking
statements. All statements contained in this
Annual Report other than statements of historical
fact, including statements regarding our future
results of operations and financial position, our
business strategy and plans, and our objectives
for future operations, are forward-looking
statements. Please read the section of our Annual
Report on Form 10-K entitled ‘‘Note About
Forward-Looking Statements’’ for a discussion of
the limitations and risks regarding
forward-looking statements made in this Annual
Report. These forward-looking statements are
subject to a number of risks, uncertainties and
assumptions, including those described in Part I,       Meta, the Meta logo, Facebook, FB, Instagram, Oculus, WhatsApp,
                                                        and our other registered or common law trademarks, service
Item 1A, ‘‘Risk Factors’’ of our Annual Report on       marks, or trade names appearing in this Annual Report on Form
Form 10-K included herein, which may cause              10-K are the property of Meta Platforms, Inc. or its affiliates.
actual results to differ materially from those          Other trademarks, service marks, or trade names appearing in
                                                        this Annual Report are the property of their respective owners.
contained in any forward-looking statements we
may make. We undertake no obligation to revise
or publicly release the results of any revision to
these forward-looking statements, except as
required by law. Given these risks and
uncertainties, readers are cautioned not to place
undue reliance on such forward-looking
statements.
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               Exhibit 365
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                                                   UNITED STATES
                                       SECURITIES AND EXCHANGE COMMISSION
                                                                   Washington, D.C. 20549



                                                                     FORM 10-K
  (Mark One)
  ~                  ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                         For the fiscal year ended December 31, 2021
                                                                               OR
  □                TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                       For the transition period from ___ to ___ .
                                                              Commission file number: 001-37580



                                                             Alphabet Inc.
                                                      (Exact name of registrant as specified in its charter)

                                    Delaware                                                                        XX-XXXXXXX
           (Slate or other jurisdiction of incorporation or organization)                                (I.R.S. Employer Identification No.)

                                                                  1600 Amphitheatre Parkway
                                                                   Mountain View, CA 94043
                                                     (Address of principal executive offices, including zip code)
                                                                             (650) 253-0000
                                                       (Registrant's telephone number, including area code)
                                       Securities registered pursuant to Section 12(b) of the Act:
                 Title of each class                       Trading..§Y.mbol(~)        Name of each exchange on which registered
       Class A Common Stock, $0.001 par value                    GOOGL                          Nasdaq Stock Market LLC
                                                                                              (Nasdaq Global Select Market)
        Class C Capital Stock, $0.001 par value                  GOOG                           Nasdaq Stock Market LLC
                                                                                              (Nasdaq Global Select Market)
                                                 Securities registered pursuant to Section 12(g) of the Act:
                                                                            Title of each class
                                                                                  None


  Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act.                  Yes ~     No □
  Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act.                  Yes □ No ~
  Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange
  Act of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such reports), and (2) has
  been subject to such filing requirements for the past 90 days. Yes ~ No □
  Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted pursuant to
  Rule 405 of Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was
  required to submit such files). Yes ~ No □
  Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller reporting
  company, or an emerging growth company. See the definitions of "large accelerated filer," "accelerated filer," "smaller reporting company,"
  and "emerging growth company" in Rule 12b-2 of the Exchange Act.


                                                                                                                    Meta-FTC-Klein
                                                                                                                             .
                                                                                                                        -DX-50
                                                                                                                       (4-19-23)
https://www.sec.gov/Archives/edgar/data/0001652044/000165204422000019/goog-20211231 .htm                             WWW.DIGITALEVIDENCEGROUP.COM            1/137


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  Large accelerated filer                                                         Accelerated filer                                          □
  Non-accelerated filer                                                           Smaller reporting company                                  □
  Emerging growth company

  If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying
  with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. □
  Indicate by check mark whether the registrant has filed a report on and attestation to its management's assessment of the effectiveness of
  its internal control over financial reporting under Section 404(b) of the Sarbanes-Oxley Act (15 U.S.C.7262(b)) by the registered public
  accounting firm that prepared or issued its audit report. ~
  Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act).      Yes □     No ~
  As of June 30, 2021, the aggregate market value of shares held by non-affiliates of the registrant (based upon the closing sale prices of
  such shares on the Nasdaq Global Select Market on June 30, 2021) was approximately $1,451.1 billion. For purposes of calculating the
  aggregate market value of shares held by non-affiliates, we have assumed that all outstanding shares are held by non-affiliates, except for
  shares held by each of our executive officers, directors and 5% or greater stockholders. In the case of 5% or greater stockholders, we have
  not deemed such stockholders to be affiliates unless there are facts and circumstances which would indicate that such stockholders
  exercise any control over our company, or unless they hold 10% or more of our outstanding common stock. These assumptions should not
  be deemed to constitute an admission that all executive officers, directors and 5% or greater stockholders are, in fact, affiliates of our
  company, or that there are not other persons who may be deemed to be affiliates of our company. Further information concerning
  shareholdings of our officers, directors and principal stockholders is included or incorporated by reference in Part Ill, Item 12 of this Annual
  Report on Form 10-K.

  As of January 25, 2022, there were 300,754,904 shares of the registrant's Class A common stock outstanding, 44,576,938 shares of the
  registrant's Class B common stock outstanding, and 315,639,479 shares of the registrant's Class C capital stock outstanding.


                                               DOCUMENTS INCORPORATED BY REFERENCE
  Portions of the registrant's Proxy Statement for the 2022 Annual Meeting of Stockholders are incorporated herein by reference in Part Ill of
  this Annual Report on Form 10-K to the extent stated herein. Such proxy statement will be filed with the Securities and Exchange
  Commission within 120 days of the registrant's fiscal year ended December 31, 2021.




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                                                              Form 10-K
                                            For the Fiscal Year Ended December 31, 2021

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                                          NOTE ABOUT FORWARD-LOOKING STATEMENTS
        This Annual Report on Form 10-K contains forward-looking statements within the meaning of the Private Securities
  Litigation Reform Act of 1995. These include, among other things, statements regarding:
           the ongoing effect of the novel coronavirus pandemic ("COVID-19"), including its macroeconomic effects on our
           business, operations, and financial results;
           the growth of our business and revenues and our expectations about the factors that influence our success and trends
           in our business;
           fluctuations in our revenue growth rate and operating margin and various factors contributing to such fluctuations;
           our expectation that the continuing shift from an offline to on line world will continue to benefit our business;
           our expectation that the portion of our revenues that we derive from non-advertising revenues will continue to increase
           and may affect our margins;
           our expectation that our traffic acquisition costs (TAC) and the associated TAC rate will fluctuate, which could affect
           our overall margins;
           our expectation that our monetization trends will fluctuate, which could affect our revenues and margins;
           fluctuations in our revenue growth, as well as the change in paid clicks and cost-per-click and the change in
           impressions and cost-per-impression, and various factors contributing to such fluctuations;
           our expectation that we will continue to periodically review, refine, and update our methodologies for monitoring,
           gathering, and counting the number of paid clicks and impressions;
           our expectation that our results will be affected by our performance in international markets as users in developing
           economies increasingly come online;
           our expectation that our foreign exchange risk management program will not fully offset our net exposure to
           fluctuations in foreign currency exchange rates;
           the expected variability of gains and losses related to hedging activities under our foreign exchange risk management
           program;
           the amount and timing of revenue recognition from customer contracts with commitments for performance obligations,
           including our estimate of the remaining amount of commitments and when we expect to recognize revenue;
           fluctuations in our capital expenditures;
           our plans to continue to invest in new businesses, products, services and technologies, systems, land and buildings
           for data centers and offices, and infrastructure, as well as to continue to invest in acquisitions and strategic
           investments;
           our pace of hiring and our plans to provide competitive compensation programs;
           our expectation that our cost of revenues, research and development (R&D) expenses, sales and marketing
           expenses, and general and administrative expenses may increase in amount and/or may increase as a percentage of
           revenues and may be affected by a number of factors;
           estimates of our future compensation expenses;
           our expectation that our other income (expense), net (Ol&E), will fluctuate in the future, as it is largely driven by
           market dynamics;
           fluctuations in our effective tax rate;
           seasonal fluctuations in internet usage and advertiser expenditures, underlying business trends such as traditional
           retail seasonality, which are likely to cause fluctuations in our quarterly results;
           the sufficiency of our sources of funding;
           our potential exposure in connection with new and pending investigations, proceedings, and other contingencies;



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            the sufficiency and timing of our proposed remedies in response to decisions from the European Commission (EC)
            and other regulators and governmental entities;
            our expectations regarding the timing, design, and ongoing phased implementation of our new global enterprise
            resource planning (ERP) system;
            the expected timing, amount, and effect of Alphabet lnc.'s share repurchases;
            our long-term sustainability and diversity goals;
  as well as other statements regarding our future operations, financial condition and prospects, and business strategies.
  Forward-looking statements may appear throughout this report and other documents we file with the Securities and Exchange
  Commission (SEC), including without limitation, the following sections: Part I, Item 1 "Business;" Part I, Item 1A "Risk Factors;"
  and Part II, Item 7 "Management's Discussion and Analysis of Financial Condition and Results of Operations.'' Forward-
  looking statements generally can be identified by words such as "anticipates," "believes," "estimates," "expects," "intends,"
  "plans," "predicts," "projects," "will be," "will continue," "may," "could," "will likely result," and similar expressions. These
  forward-looking statements are based on current expectations and assumptions that are subject to risks and uncertainties,
  which could cause our actual results to differ materially from those reflected in the forward-looking statements. Factors that
  could cause or contribute to such differences include, but are not limited to, those discussed in this Annual Report on Form
  10-K, and in particular, the risks discussed in Part I, Item 1A, "Risk Factors" of this report and those discussed in other
  documents we file with the SEC. We undertake no obligation to revise or publicly release the results of any revision to these
  forward-looking statements, except as required by law. Given these risks and uncertainties, readers are cautioned not to place
  undue reliance on such forward-looking statements.
       As used herein, "Alphabet," "the company," "we," "us," "our," and similar terms include Alphabet Inc. and its subsidiaries,
  unless the context indicates otherwise.
        "Alphabet," "Google," and other trademarks of ours appearing in this report are our property. This report contains
  additional trade names and trademarks of other companies. We do not intend our use or display of other companies' trade
  names or trademarks to imply an endorsement or sponsorship of us by such companies, or any relationship with any of these
  companies.
  PARTI
  ITEM 1.          BUSINESS
  Overview
        As our founders Larry and Sergey wrote in the original founders' letter, "Google is not a conventional company. We do
  not intend to become one.'' That unconventional spirit has been a driving force throughout our history, inspiring us to tackle big
  problems and invest in moonshots like artificial intelligence (Al) research and quantum computing. We continue this work
  under the leadership of Sundar Pichai, who has served as CEO of Google since 2015 and as CEO of Alphabet since 2019.
       Alphabet is a collection of businesses - the largest of which is Google. We report Google in two segments, Google
  Services and Google Cloud; we also report all non-Google businesses collectively as Other Bets. Other Bets include earlier
  stage technologies that are further afield from our core Google business. We take a long-term view and manage the portfolio
  of Other Bets with the discipline and rigor needed to deliver long-term returns. Alphabet's structure is about helping each of
  our businesses prosper through strong leaders and independence.
  Access and technology for everyone
       The Internet is one of the world's most powerful equalizers; it propels ideas, people and businesses large and small. Our
  mission to organize the world's information and make it universally accessible and useful is as relevant today as it was when
  we were founded in 1998. Since then, we have evolved from a company that helps people find answers to a company that
  also helps people get things done.
         We are focused on building an even more helpful Google for everyone, and we aspire to give everyone the tools they
  need to increase their knowledge, health, happiness, and success. Every year, there are trillions of searches on Google, and
  15% of the searches we see every day are new. We continue to invest deeply in Al and other technologies to ensure the most
  helpful search experience possible. YouTube provides people with entertainment, information, and opportunities to learn
  something new. And Google Assistant offers the best way to get things done seamlessly across different devices, providing
  intelligent help throughout a person's day, no matter where they are.
     We are continually innovating and building new product features that will help our users, partners, customers, and
  communities. We have invested more than $100 billion in R&D over the last five years. In addition, with the onset of


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  the pandemic, we have focused in particular on features that help people in their daily lives and that support businesses
  working to serve their customers. For example, we have added live busyness trends in Google Maps that help users instantly
  spot when a neighborhood or part of town is near or at its busiest. We have also helped businesses navigate uncertainty
  during an uneven economic recovery, and we have worked to address the complex challenge of distributing critical information
  about COVID-19 vaccines to billions of people around the world. Importantly, we have made authoritative content a key focus
  area across both Google Search and YouTube to help users find trusted public health information.
        Other Bets also remain focused on innovation through technology that can positively affect people's lives. For instance,
  Waymo is working toward our goal of making transportation safer and easier for everyone and Verily is developing tools and
  platforms to improve health outcomes.
  Moonshots
        Many companies get comfortable doing what they have always done, making only incremental changes. This
  incrementalism leads to irrelevance over time, especially in technology, where change tends to be revolutionary, not
  evolutionary. People thought we were crazy when we acquired YouTube and Android and when we launched Chrome, but
  those efforts have matured into major platforms for digital video and mobile devices and a safer, popular browser. We continue
  to look toward the future and to invest for the long term within each of our segments. As we said in the original founders' letter,
  we will not shy away from high-risk, high-reward projects that we believe in, as they are the key to our long-term success.
  The power of Al
        Across the company, investments in Al and machine learning are increasingly driving many of our latest innovations and
  have enabled us to build products that are smarter and more helpful. For example, in May of 2021, we introduced Multitask
  Unified Model - or MUM - which has the potential to transform how Google helps with complex tasks. MUM is trained
  across 75 different languages, which means that it can learn from sources written in one language and help bring that
  information to people in another. It is also multimodal, so it understands information across text and images and, in the future,
  can expand to more modalities like video and audio. We are currently experimenting with MUM's capabilities to make
  searching more natural and intuitive and even enable entirely new ways to search.
        DeepMind also made a significant Al-powered breakthrough, solving a 50-year-old protein folding challenge, which will
  help the world better understand one of life's fundamental building blocks, and will enable researchers to tackle new and
  difficult problems, from fighting diseases to environmental sustainability. DeepMind has since shared its new AlphaFold protein
  structure database, which doubled the number of high-accuracy human protein structures available to researchers.
  Google
        For reporting purposes, Google comprises two segments: Google Services and Google Cloud.
  Google Services
        Serving our users
       We have always been a company committed to building helpful products that can improve the lives of millions of people.
  Our product innovations have made our services widely used, and our brand one of the most recognized in the world. Google
  Services' core products and platforms include ads, Android, Chrome, hardware, Gmail, Google Drive, Google Maps, Google
  Photos, Google Play, Search, and YouTube, each with broad and growing adoption by users around the world.
       Our products and services have come a long way since the company was founded more than two decades ago. Rather
  than the ten blue links in our early search results, users can now get direct answers to their questions using their computer,
  mobile device, or their own voice, making it quicker, easier and more natural to find what they are looking for.
       This drive to make information more accessible and helpful has led us over the years to improve the discovery and
  creation of digital content both on the web and through platforms like Google Play and YouTube. With the continued adoption
  of mobile, people are consuming more digital content by watching more videos, playing more games, listening to more music,
  reading more books, and using more apps than ever before. Working with content creators and partners, we continue to build
  new ways for people around the world to find great digital content.
        Fueling all of these great digital experiences are extraordinary platforms and hardware. That is why we continue to invest
  in platforms like our Android mobile operating system, Chrome browser, and Chrome operating system, as



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  well as growing our family of hardware devices. We see tremendous potential for devices to be helpful and make people's
  lives easier by combining the best of our Al, software and hardware. This potential is reflected in our latest generation of
  hardware products such as Pixel 5a 5G and Pixel 6 phones, the Fitbit Charge 5, Chromecast with Google TV, and the new
  Google Nest Cams and Nest Doorbell. Creating products that people rely on every day is a journey that we are investing in for
  the long run.
       The key to building helpful products for users is our commitment to privacy, security, and user choice. We protect user
  privacy and security with products that are secure by default and private by design, and that keep users in control of their data.
  Our privacy-preserving technologies safeguard individual privacy and enhance data protection. As the Internet evolves, so
  does our approach to privacy and security. We continue to enhance our anti-malware features in Chrome and drive
  improvements such as auto-delete controls that automatically delete web and app searches after 18 months. And we continue
  to keep users and their passwords safe through advances like our built-in password manager.
          How we make monex
       We have built world-class advertising technologies for advertisers, agencies, and publishers to power their digital
  marketing businesses. Our advertising solutions help millions of companies grow their businesses through our wide range of
  products across devices and formats, and we aim to ensure positive user experiences by serving the right ads at the right time
  and by building deep partnerships with brands and agencies.
       Google Services generates revenues primarily by delivering both performance and brand advertising that appears on
  Google Search & other properties, YouTube and Google Network partners' properties ("Google Network properties"). We
  continue to invest in both performance and brand advertising and seek to improve the measurability of advertising so
  advertisers understand the effectiveness of their campaigns.
      •     Performance advertising creates and delivers relevant ads that users will click on, leading to direct engagement with
            advertisers. Performance advertising lets our advertisers connect with users while driving measurable results. Our ads
            tools allow performance advertisers to create simple text-based ads.
      •     Brand advertising helps enhance users' awareness of and affinity for advertisers' products and services, through
            videos, text, images, and other interactive ads that run across various devices. We help brand advertisers deliver
            digital videos and other types of ads to specific audiences for their brand-building marketing campaigns.
         We have allocated substantial resources to stopping bad advertising practices and protecting users on the web. We
  focus on creating the best advertising experiences for our users and advertisers in many ways, including filtering out invalid
  traffic, removing billions of bad ads from our systems every year, and closely monitoring the sites, apps, and videos where ads
  appear and blacklisting them when necessary to ensure that ads do not fund bad content.
      We continue to look to the future and are making long-term investments that we expect to grow revenues beyond
  advertising, including revenues from Google Play, hardware, and YouTube non-advertising.
            Google Play generates revenues from sales of apps and in-app purchases and digital content sold in the Google Play
            store.
            Hardware generates revenues from sales of Fitbit wearable devices, Google Nest home products, Pixel phones, and
            other devices.
            YouTube non-advertising generates revenues from YouTube Premium and YouTube TV subscriptions and other
            services.
  Google Cloud
        Google was a company built in the cloud. We continue to invest in infrastructure, security, data management, analytics,
  and Al. We see significant opportunity in helping businesses utilize these strengths with features like data migration, modern
  development environments, and machine learning tools to provide enterprise-ready cloud services, including Google Cloud
  Platform and Google Workspace. Google Cloud Platform enables developers to build, test, and deploy applications on its
  highly scalable and reliable infrastructure. Google Workspace collaboration tools - which include apps like Gmail, Docs,
  Drive, Calendar, Meet and more - are designed with real-time collaboration and machine intelligence to help people work
  smarter. Because more and more of today's digital experiences are being built in the cloud, Google Cloud products help
  businesses of all sizes take advantage of the latest technology advances to operate more efficiently.
            Google Cloud Platform generates revenues from infrastructure, platform and other services.



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           Google Workspace generates revenues from cloud-based collaboration tools for enterprises, such as Gmail, Docs,
           Drive, Calendar and Meet.
       Our cloud services are generally provided on either a consumption or subscription basis and may have contract terms
  longer than a year.
  Other Bets
       Across Alphabet, we are also using technology to try to solve big problems that affect a wide variety of industries.
  Alphabet's investment in the portfolio of Other Bets includes emerging businesses at various stages of development, ranging
  from those in the R&D phase to those that are in the beginning stages of commercialization, and our goal is for them to
  become thriving, successful businesses in the medium to long term. While these early-stage businesses naturally come with
  considerable uncertainty, some of them are already generating revenue and making important strides in their industries.
  Revenues from Other Bets are generated primarily from the sale of health technology and internet services.
       Other Bets operate as independent companies and some of them have their own boards with independent members and
  outside investors. We are investing in the portfolio of Other Bets and being very deliberate about the focus, scale, and pace of
  investments.
  Competition
      Our business is characterized by rapid change as well as new and disruptive technologies. We face formidable
  competition in every aspect of our business, including from:
           General purpose search engines and information services, such as Baidu, Microsoft's Bing, Naver, Seznam, Yahoo,
           and Yandex.
           Vertical search engines and e-commerce providers, such as Amazon and eBay (e-commerce), Booking's Kayak
           (travel queries), Microsoft's Linkedln Uob queries), and WebMD (health queries). Some users will navigate directly to
           such content, websites, and apps rather than go through Google.
           Social networks offered by ByteDance, Meta, Snap, and Twitter. Some users increasingly rely on social networks for
           product or service referrals, rather than seeking information through traditional search engines.
           Other online advertising platforms and networks, such as Amazon, AppNexus, Criteo, and Meta, that compete for
           advertisers that use Google Ads, our primary auction-based advertising platform.
           Other forms of advertising, such as billboards, magazines, newspapers, radio, and television. Our advertisers typically
           advertise in multiple media, both online and offline.
           Companies that design, manufacture, and market consumer hardware products, including businesses that have
           developed proprietary platforms, such as Amazon, Apple, and Microsoft.
           Digital assistant providers, such as Amazon and Apple.
           Providers of enterprise cloud services, such as Alibaba, Amazon, Microsoft, and Salesforce.
           Providers of digital video services, such as Amazon, Apple, AT&T, ByteDance, Disney, Hulu, Meta, and Netflix.
           Other digital content and application platform providers, such as Amazon and Apple.
           Providers of workspace connectivity and productivity products, such as Meta, Microsoft, Salesforce, and Zoom.
        Competing successfully depends heavily on our ability to develop and distribute innovative products and technologies to
  the marketplace across our businesses. Specifically, for advertising, competing successfully depends on attracting and
  retaining:
           users, for whom other products and services are literally one click away, largely on the basis of the relevance of our
           advertising, as well as the general usefulness, security, and availability of our products and services;
           advertisers, primarily based on our ability to generate sales leads, and ultimately customers, and to deliver their
           advertisements in an efficient and effective manner across a variety of distribution channels; and
           content providers, primarily based on the quality of our advertiser base, our ability to help these partners generate
           revenues from advertising, and the terms of our agreements with them.
        For additional information about competition, see Risk Factors in Item 1A of this Annual Report on Form 10-K.


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  Ongoing Commitment to Sustainability
       We believe that every business has the opportunity and obligation to protect our planet. Sustainability is one of our core
  values at Google, and we strive to build sustainability into everything we do. We have been a leader on sustainability and
  climate change since Google's founding over 20 years ago. These are some of our key achievements over the past two
  decades:
           In 2007, we became the first major company to be carbon neutral for our operations.
           In 2017, we became the first major company to match 100% of our annual electricity use with renewable energy,
           which we have achieved for four consecutive years.
           In 2020, we issued $5.75 billion in sustainability bonds-the largest sustainability or green bond issuance by any
           company in history at the time. The net proceeds from the issuance are used to fund environmentally and socially
           responsible projects in the following eight areas: energy efficiency, clean energy, green buildings, clean transportation,
           circular economy and design, affordable housing, commitment to racial equity, and support for small businesses and
           COVID-19 crisis response. As of December 31, 2020, we have allocated $3.47 billion of the net proceeds, as outlined
           in our Sustainability Bond Impact Report published in 2021.
           Also in 2020, we compensated for our legacy carbon footprint, making Google the first major company to be carbon
           neutral for its entire operating history.
      Our sustainability strategy is focused on three key pillars: accelerating the transition to carbon-free energy and a circular
  economy, empowering everyone with technology, and benefiting the people and places where we operate.
       To accelerate the transition to a carbon-free economy, in 2020, we launched our third decade of climate action, and we
  are now working toward a new set of ambitious goals. By 2030, we aim to:
           achieve net-zero emissions across all of our operations and value chain;
           become the first major company to run on carbon-free energy 24 hours a day, seven days a week, 365 days a year;
           enable 5 gigawatts of new carbon-free energy through investments in our key manufacturing regions; and
           help more than 500 cities and local governments reduce an aggregate of 1 gigaton of carbon emissions annually.
       To accelerate the transition to a circular economy, we are working to maximize the reuse of finite resources across our
  operations, products, and supply chains and to enable others to do the same. We are also working to empower everyone with
  technology by committing to help 1 billion people make more sustainable choices by the end of 2022 through our core
  products.
       To benefit the people and places where we operate, we have set goals to replenish more water than we consume by
  2030 and to support water security in communities where we operate. We will focus on three areas: enhancing our
  stewardship of water resources across Google office campuses and data centers; replenishing our water use and improving
  watershed health and ecosystems in water-stressed communities; and sharing technology and tools that help everyone
  predict, prevent, and recover from water stress.
       We remain steadfast in our commitment to sustainability, and we will continue to lead and encourage others to join us in
  improving the health of our planet. We are proud of what we have achieved so far, and we are energized to help move the
  world closer to a more sustainable and carbon-free future for all.
       More information on our approach to sustainability can be found in our annual sustainability reports, including Google's
  Environmental Report and Alphabet's 2021 Sustainability Bond Impact Report, which outlines the allocation of our net
  proceeds from our sustainability bonds. The contents of our sustainability reports are not incorporated by reference into this
  Annual Report on Form 10-K or in any other report or document we file with the SEC. For additional information about risks
  and uncertainties applicable to our commitments to attain certain sustainability goals, see Risk Factors in Item 1A of this
  Annual Report on Form 10-K.
  Culture and Workforce
        We are a company of curious, talented, and passionate people. We embrace collaboration and creativity, and encourage
  the iteration of ideas to address complex challenges in technology and society.
          Our people are critical for our continued success, so we work hard to create an environment where employees can have
  fulfilling careers, and be happy, healthy, and productive. We offer industry-leading benefits and programs to take care of the
  diverse needs of our employees and their families, including opportunities for career growth and


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  development, resources to support their financial health, and access to excellent healthcare choices. Our competitive
  compensation programs help us to attract and retain top candidates, and we will continue to invest in recruiting talented
  people to technical and non-technical roles, and rewarding them well. We provide a variety of high quality training and support
  to our managers to build and strengthen their capabilities--ranging from courses for new managers, to learning resources that
  help them provide feedback and manage performance, to coaching and individual support.
       At Alphabet, we are committed to making diversity, equity, and inclusion part of everything we do and to growing a
  workforce that is representative of the users we serve. More information on Google's approach to diversity can be found in our
  annual diversity reports, available publicly at diversity.google. The contents of our diversity reports are not incorporated by
  reference into this Annual Report on Form 10-K or in any other report or document we file with the SEC.
       As of December 31, 2021, Alphabet had 156,500 employees. We have work councils and statutory employee
  representation obligations in certain countries, and we are committed to supporting protected labor rights, maintaining an open
  culture and listening to all employees. Supporting healthy and open dialogue is central to how we work, and we communicate
  information about the company through multiple internal channels to our employees.
       When necessary, we contract with businesses around the world to provide specialized services where we do not have
  appropriate in-house expertise or resources, often in fields that require specialized training like cafe operations, content
  moderation, customer support, and physical security. We also contract with temporary staffing agencies when we need to
  cover short-term leaves, when we have spikes in business needs, or when we need to quickly incubate special projects. We
  choose our partners and staffing agencies carefully, and review their compliance with Google's Supplier Code of Conduct. We
  continually make improvements to promote a respectful and positive working environment for everyone - employees,
  vendors, and temporary staff alike.
  Government Regulation
        We are subject to numerous United States (U.S.) federal, state, and foreign laws and regulations covering a wide variety
  of subject matters. Like other companies in the technology industry, we face heightened scrutiny from both U.S. and foreign
  governments with respect to our compliance with laws and regulations. Many of these laws and regulations are evolving and
  their applicability and scope, as interpreted by the courts, remain uncertain.
       Our compliance with these laws and regulations may be onerous and could, individually or in the aggregate, increase our
  cost of doing business, make our products and services less useful, limit our ability to pursue certain business models, cause
  us to change our business practices, affect our competitive position relative to our peers, and/or otherwise have an adverse
  effect on our business, reputation, financial condition, and operating results.
       For additional information about government regulation applicable to our business, see Risk Factors in Item 1A, Trends in
  Our Business and Financial Effect in Part II, Item 7, and Legal Matters in Note 10 of the Notes to Consolidated Financial
  Statements included in Part 11, Item 8 of this Annual Report on Form 10-K.
  Intellectual Property
       We rely on various intellectual property laws, confidentiality procedures and contractual prov1s1ons to protect our
  proprietary technology and our brand. We have registered, and applied for the registration of, U.S. and international
  trademarks, service marks, domain names and copyrights. We have also filed patent applications in the U.S. and foreign
  countries covering certain of our technology, and acquired patent assets to supplement our portfolio. We have licensed in the
  past, and expect that we may license in the future, certain of our rights to other parties. For additional information, see Risk
  Factors in Item 1A of this Annual Report on Form 10-K.
  Available Information
        Our website is located at www.abc.xyz, and our investor relations website is located at www.abc.xyz/investor. Our Annual
  Reports on Form 10-K, Quarterly Reports on Form 10-Q, Current Reports on Form 8-K, and our Proxy Statements, and any
  amendments to these reports, are available through our investor relations website, free of charge, after we file them with the
  SEC. We also provide a link to the section of the SEC's website at www.sec.gov that has all of the reports that we file or
  furnish with the SEC.
       We webcast via our investor relations website our earnings calls and certain events we participate in or host with
  members of the investment community. Our investor relations website also provides notifications of news or announcements
  regarding our financial performance and other items that may be material or of interest to our investors, including SEC filings,
  investor events, press and earnings releases, and biogs. We also share Google news and product updates on Google's
  Keyword blog at https://www.blog.google/, that may be material or of interest to our investors. Further, corporate governance
  information, including our certificate of incorporation, bylaws, governance


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  guidelines, board committee charters, and code of conduct, is also available on our investor relations website under the
  heading "Other." The contents of our websites are not incorporated by reference into this Annual Report on Form 10-K or in
  any other report or document we file with the SEC, and any references to our websites are intended to be inactive textual
  references only.
  ITEM 1A.         RISK FACTORS
       Our operations and financial results are subject to various risks and uncertainties, including but not limited to those
  described below, which could harm our business, reputation, financial condition, and operating results, and affect the trading
  price of our Class A and Class C stock.
        Risks Specific to our Company
       We generate a significant portion of our revenues from advertising, and reduced spending by advertisers, a loss
  of partners, or new and existing technologies that block ads online and/or affect our ability to customize ads could
  harm our business.
        We generated more than 80% of total revenues from the display of ads online in 2021. Many of our advertisers,
  companies that distribute our products and services, digital publishers, and content providers can terminate their contracts
  with us at any time. These partners may not continue to do business with us if we do not create more value (such as
  increased numbers of users or customers, new sales leads, increased brand awareness, or more effective monetization) than
  their available alternatives. Changes to our advertising policies and data privacy practices, as well as changes to other
  companies' advertising and/or data privacy practices have in the past, and may in the future, affect the advertising that we are
  able to provide, which could harm our business. In addition, technologies have been developed that make customized ads
  more difficult or that block the display of ads altogether and some providers of online services have integrated technologies
  that could potentially impair the availability and functionality of third-party digital advertising. Failing to provide superior value
  or deliver advertisements effectively and competitively could harm our reputation, financial condition, and operating results.
        In addition, expenditures by advertisers tend to be cyclical, reflecting overall economic conditions and budgeting and
  buying patterns. Adverse macroeconomic conditions have affected, and may in the future affect, the demand for advertising,
  resulting in fluctuations in the amounts our advertisers spend on advertising, which could harm our financial condition and
  operating results.
      We face intense competition. If we do not continue to innovate and provide products and services that are useful
  to users, customers, and other partners, we may not remain competitive, which could harm our business and
  operating results.
         Our business environment is rapidly evolving and intensely competitive. Our businesses face changing technologies,
  shifting user needs, and frequent introductions of rival products and services. To compete successfully, we must accurately
  anticipate technology developments and deliver innovative, relevant and useful products, services, and technologies in a
  timely manner. As our businesses evolve, the competitive pressure to innovate will encompass a wider range of products and
  services. We must continue to invest significant resources in R&D, including through acquisitions, in order to enhance our
  technology and new and existing products and services.
        We have many competitors in different industries. Our current and potential domestic and international competitors range
  from large and established companies to emerging start-ups. Some competitors have longer operating histories and well
  established relationships in various sectors. They can use their experience and resources in ways that could affect our
  competitive position, including by making acquisitions, continuing to invest heavily in R&D and in talent, aggressively initiating
  intellectual property claims (whether or not meritorious), and continuing to compete aggressively for users, advertisers,
  customers, and content providers. Further, discrepancies in enforcement of existing laws may enable our lesser known
  competitors to aggressively interpret those laws without commensurate scrutiny, thereby affording them competitive
  advantages. Our competitors may also be able to innovate and provide products and services faster than we can or may
  foresee the need for products and services before us.
        Our operating results may also suffer if our products and services are not responsive to the needs of our users,
  advertisers, publishers, customers, and content providers. As technologies continue to develop, our competitors may be able
  to offer experiences that are, or that are seen to be, substantially similar to or better than ours. This may force us to compete
  in different ways and expend significant resources in order to remain competitive. If our competitors are more successful than
  we are in providing compelling products and services or in attracting and retaining users, advertisers, publishers, customers,
  and content providers, our operating results could be harmed.
       Our ongoing investment in new businesses, products, services, and technologies is inherently risky, and could
  divert management attention and harm our financial condition and operating results.

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        We have invested and expect to continue to invest in new businesses, products, services, and technologies. The
  investments that we are making across Google Services, Google Cloud, and Other Bets reflect our ongoing efforts to innovate
  and provide products and services that are useful to users, advertisers, publishers, customers, and content providers. Our
  investments in Google Services, Google Cloud, and Other Bets span a wide range of industries beyond online advertising.
  Such investments ultimately may not be commercially viable or may not result in an adequate return of capital and, in pursuing
  new strategies, we may incur unanticipated liabilities. These endeavors may involve significant risks and uncertainties,
  including diversion of resources and management attention from current operations and, with respect to Other Bets, the use of
  alternative investment, governance, or compensation structures that may fail to adequately align incentives across the
  company or otherwise accomplish their objectives.
       Within Google Services, we continue to invest heavily in hardware, including our smartphones, home devices, and
  wearables, which is a highly competitive market with frequent introduction of new products and services, rapid adoption of
  technological advancements by competitors, short product life cycles, evolving industry standards, continual improvement in
  product price and performance characteristics, and price and feature sensitivity on the part of consumers and businesses.
  There can be no assurance we will be able to provide hardware that competes effectively.
       Within Google Cloud, we devote significant resources to develop and deploy our enterprise-ready cloud services,
  including Google Cloud Platform and Google Workspace. We are incurring costs to build and maintain infrastructure to support
  cloud computing services and hire talent, particularly to support and scale our salesforce. At the same time, our competitors
  are rapidly developing and deploying cloud-based services. Pricing and delivery models are competitive and evolving, and we
  may not attain sufficient scale and profitability to achieve our business objectives.
       Within Other Bets, we are investing significantly in the areas of health, life sciences, and transportation, among others.
  These investment areas face intense competition from large, experienced, and well-funded competitors and our offerings may
  not be able to compete effectively or to operate at sufficient levels of profitability.
        In addition, new and evolving products and services, including those that use Al and machine learning, raise ethical,
  technological, legal, regulatory, and other challenges, which may negatively affect our brands and demand for our products
  and services. Because all of these new ventures are inherently risky, no assurance can be given that such strategies and
  offerings will be successful and will not harm our reputation, financial condition, and operating results.
       Our revenue growth rate could decline over time, and we anticipate downward pressure on our operating margin
  in the future.
        Our revenue growth rate could decline over time as a result of a number of factors, including increasing competition.
  Changes in device mix, geographic mix, ongoing product and policy changes, product mix, and property mix and an increasing
  competition for advertising may also affect our advertising revenue growth rate. We may also experience a decline in our
  revenue growth rate as our revenues increase to higher levels, if there is a decrease in the rate of adoption of our products,
  services, and technologies, or due to deceleration or decline in demand for devices used to access our services, among other
  factors.
        In addition, we may also experience downward pressure on our operating margin resulting from a variety of factors, such
  as the continued expansion of our business into new fields, including products and services such as hardware, Google Cloud,
  and subscription products, as well as significant investments in Other Bets, all of which may have margins lower than those
  we generate from advertising. We may also experience downward pressure on our operating margins from increasing
  regulations, increasing competition, and increased costs for many aspects of our business. Due to these factors and the
  evolving nature of our business, our historical revenue growth rate and historical operating margin may not be indicative of our
  future performance. For additional information, see Trends in Our Business and Financial Effect in Part II, Item 7 of this Annual
  Report on Form 10-K.
      Our intellectual property rights are valuable, and any inability to protect them could reduce the value of our
  products, services, and brands as well as affect our ability to compete.
       Our patents, trademarks, trade secrets, copyrights, and other intellectual property rights are important assets for us.
  Various events outside of our control pose a threat to our intellectual property rights, as well as to our products, services, and
  technologies. For example, effective intellectual property protection may not be available in every country in which our
  products and services are distributed or made available through the Internet. Also, the efforts we have taken to protect our
  proprietary rights may not be sufficient or effective. Although we seek to obtain patent protection for our innovations, it is
  possible we may not be able to protect some of these innovations. Moreover, we may not have adequate patent or copyright
  protection for certain innovations that later turn out to be important. There is always the possibility that the scope of the
  protection gained will be insufficient or that an issued patent may be deemed invalid or unenforceable.



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       We also seek to maintain certain intellectual property as trade secrets. The secrecy of such trade secrets and other
  sensitive information could be compromised, which could cause us to lose the competitive advantage resulting from these
  trade secrets. We also face risks associated with our trademarks. For example, there is a risk that the word "Google" could
  become so commonly used that it becomes synonymous with the word "search." Some courts have ruled that "Google" is a
  protectable trademark, but it is possible that other courts, particularly those outside of the U.S., may reach a different
  determination. If this happens, we could lose protection for this trademark, which could result in other people using the word
  "Google" to refer to their own products, thus diminishing our brand.
       Any significant impairment of our intellectual property rights could harm our business and our ability to compete. Also,
  protecting our intellectual property rights is costly and time consuming. Any increase in the unauthorized use of our intellectual
  property could make it more expensive to do business and harm our operating results.
       Our business depends on strong brands, and failing to maintain and enhance our brands would hurt our ability
  to expand our base of users, advertisers, customers, content providers, and other partners.
        Our strong brands have significantly contributed to the success of our business. Maintaining and enhancing the brands
  within Google Services, Google Cloud, and Other Bets increases our ability to enter new categories and launch new and
  innovative products and services that better serve the needs of our users, advertisers, customers, content providers, and other
  partners. Our brands have been, and may in the future be, negatively affected by a number of factors, including, among
  others, reputational issues, third-party content shared on our platforms, data privacy and security issues and developments,
  and product or technical performance failures. For example, if we fail to respond appropriately to the sharing of misinformation
  or objectionable content on our services and/or products or objectionable practices by advertisers, or otherwise to adequately
  address user concerns, our users may lose confidence in our brands.
        Furthermore, failure to maintain and enhance equity in our brands may harm our business, financial condition, and
  operating results. Our success will depend largely on our ability to remain a technology leader and continue to provide high-
  quality, trustworthy, innovative products and services that are truly useful and play a valuable role in a range of settings.
       We face a number of manufacturing and supply chain risks that could harm our financial condition, operating
  results, and prospects.
      We face a number of risks related to manufacturing and supply chain management, which could affect our ability to
  supply both our products and our internet-based services.
       We rely on other companies to manufacture many of our finished products; to design certain of our components and
  parts; to participate in the distribution of our products and services; and to design, manufacture, or assemble certain
  components and parts in our technical infrastructure. Our business could be negatively affected if we are not able to engage
  these companies with the necessary capabilities or capacity on reasonable terms, or if those we engage fail to meet their
  obligations (whether due to financial difficulties or other reasons), or make adverse changes in the pricing or other material
  terms of our arrangements with them.
        We have experienced and/or may in the future experience supply shortages and/or price increases that could negatively
  affect our operations, driven by raw material, component or part availability, manufacturing capacity, labor shortages, industry
  allocations, logistics capacity, tariffs, trade disputes and barriers, natural disasters or pandemics, the effects of climate change
  (such as sea level rise, drought, flooding, heat waves, wildfires and resultant air quality effects and power shutoffs associated
  with wildfire prevention, and increased storm severity), and significant changes in the financial or business condition of our
  suppliers. In addition, some of the components we use in our technical infrastructure and products are available from only one
  or limited sources, and we may not be able to find replacement vendors on favorable terms in the event of a supply chain
  disruption. In addition, a significant supply interruption that affects us or our vendors could delay critical data center upgrades
  or expansions and delay product availability.
       We may enter into long-term contracts for materials and products that commit us to significant terms and conditions. We
  may be liable for materials and products that are not consumed due to market acceptance, technological change,
  obsolescences, quality, product recalls, and warranty issues. For instance, because certain of our hardware supply contracts
  have volume-based pricing or minimum purchase requirements, if the volume of our hardware sales decreases or does not
  reach projected targets, we could face increased materials and manufacturing costs or other financial liabilities that could
  make our products more costly per unit to manufacture and negatively affect our financial results. Furthermore, certain of our
  competitors may negotiate more favorable contractual terms based on volume and other commitments that may provide them
  with competitive advantages and may affect our supply.



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       Our products and services have had, and in the future may have, quality issues resulting from design, manufacturing, or
  operations. Sometimes, these issues may be caused by components we purchase from other manufacturers or suppliers. If
  the quality of our products and services does not meet expectations or our products or services are defective, it could harm
  our reputation, financial condition, and operating results.
       We require our suppliers and business partners to comply with laws and, where applicable, our company policies, such
  as the Google Supplier Code of Conduct, regarding workplace and employment practices, data security, environmental
  compliance, and intellectual property licensing, but we do not control them or their practices. Violations of law or unethical
  business practices could result in supply chain disruptions, canceled orders, harm to key relationships, and damage to our
  reputation. Their failure to procure necessary license rights to intellectual property could affect our ability to sell our products
  or services and expose us to litigation or financial claims.
       Interruption to, interference with, or failure of our complex information technology and communications systems
  could hurt our ability to effectively provide our products and services, which could harm our reputation, financial
  condition, and operating results. In addition, problems with the design or implementation of our new global
  enterprise resource planning system could harm our business and operations.
        The availability of our products and services and fulfillment of our customer contracts depend on the continuing operation
  of our information technology and communications systems. Our systems are vulnerable to damage, interference, or
  interruption from modifications or upgrades, terrorist attacks, natural disasters or pandemics, the effects of climate change
  (such as sea level rise, drought, flooding, heat waves, wildfires and resultant air quality effects and power shutoffs associated
  with wildfire prevention, and increased storm severity), power loss, telecommunications failures, computer viruses,
  ransomware attacks, computer denial of service attacks, phishing schemes, or other attempts to harm or access our systems.
  Some of our data centers are located in areas with a high risk of major earthquakes or other natural disasters. Our data
  centers are also subject to break-ins, sabotage, and intentional acts of vandalism, and, in some cases, to potential disruptions
  resulting from problems experienced by facility operators. Some of our systems are not fully redundant, and disaster recovery
  planning cannot account for all eventualities. The occurrence of a natural disaster or pandemic, closure of a facility, or other
  unanticipated problems affecting our data centers could result in lengthy interruptions in our service. In addition, our products
  and services are highly technical and complex and have contained in the past, and may contain in the future, errors or
  vulnerabilities, which could result in interruptions in or failure of our services or systems.
        In addition, we rely extensively on information systems and technology to manage our business and summarize
  operating results. We are in the process of a multi-year implementation of a new ERP system, which is designed to accurately
  maintain our financial records, enhance the flow of financial information, improve data management, and provide timely
  information to our management team. As the phased implementation continues, we may experience delays, increased costs,
  and other difficulties. Failure to successfully design and implement the ERP system as planned could harm our business,
  financial condition, and operating results. Additionally, if we do not effectively implement the ERP system as planned or the
  ERP system does not operate as intended, the effectiveness of our internal control over financial reporting could be negatively
  affected.
      Our international operations expose us to additional risks that could harm our business, our financial condition,
  and operating results.
        Our international operations are significant to our revenues and net income, and we plan to continue to grow
  internationally. International revenues accounted for approximately 54% of our consolidated revenues in 2021. In addition to
  risks described elsewhere in this section, our international operations expose us to other risks, including the following:
           restrictions on foreign ownership and investments, and stringent foreign exchange controls that might prevent us from
           repatriating cash earned in countries outside the U.S.;
           import and export requirements, tariffs and other market access barriers that may prevent or impede us from offering
           products or providing services to a particular market, or that could limit our ability to source assemblies and finished
           products from a particular market, and may increase our operating costs;
           longer payment cycles in some countries, increased credit risk, and higher levels of payment fraud;
           an evolving foreign policy landscape that may adversely affect our revenues and could subject us to new regulatory
           costs and challenges (including the transfer of personal data between the EU and the United Kingdom and new
           customer requirements), in addition to other adverse effects that we are unable to effectively anticipate;



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           anti-corruption laws, such as the U.S. Foreign Corrupt Practices Act, and other local laws prohibiting certain payments
           to government officials, violations of which could result in civil and criminal penalties;
           uncertainty regarding liability for services and content, including uncertainty as a result of local laws and lack of legal
           precedent; and
           different employee/employer relationships, existence of works councils and labor unions, and other challenges caused
           by distance, language, and cultural differences, making it harder to do business in certain jurisdictions.
        Because we conduct business in currencies other than U.S. dollars but report our financial results in U.S. dollars, we
  have faced, and will continue to face, exposure to fluctuations in foreign currency exchange rates. Although we hedge a
  portion of our international currency exposure, significant fluctuations in exchange rates between the U.S. dollar and foreign
  currencies may adversely affect our revenues and earnings. Hedging programs are also inherently risky and could expose us
  to additional risks that could harm our financial condition and operating results.
        Risks Related to our Industry
      People access the Internet through a variety of platforms and devices that continue to evolve with the
  advancement of technology and user preferences. If manufacturers and users do not widely adopt versions of our
  products and services developed for these interfaces, our business could be harmed.
       People access the Internet through a growing variety of devices such as desktop computers, mobile phones,
  smartphones, laptops and tablets, video game consoles, voice-activated speakers, wearables, automobiles, and television-
  streaming devices. Our products and services may be less popular on some interfaces. Each manufacturer or distributor may
  establish unique technical standards for its devices, and our products and services may not be available or may only be
  available with limited functionality for our users or our advertisers on these devices as a result. Some manufacturers may also
  elect not to include our products on their devices. In addition, search queries are increasingly being undertaken via voice-
  activated speakers, apps, social media or other platforms, which could harm our business. It is hard to predict the challenges
  we may encounter in adapting our products and services and developing competitive new products and services. We expect
  to continue to devote significant resources to creating and supporting products and services across multiple platforms and
  devices. Failing to attract and retain a substantial number of new device manufacturers, suppliers, distributors, developers,
  and users, or failing to develop products and technologies that work well on new devices and platforms, could harm our
  business, financial condition, and operating results and ability to capture future business opportunities.
       Data privacy and security concerns relating to our technology and our practices could damage our reputation,
  cause us to incur significant liability, and deter current and potential users or customers from using our products
  and services. Software bugs or defects, security breaches, and attacks on our systems could result in the improper
  disclosure and use of user data and interference with our users' and customers' ability to use our products and
  services, harming our business operations and reputation.
       Concerns about, including the adequacy of, our practices with regard to the collection, use, governance, disclosure, or
  security of personal information or other data-privacy-related matters, even if unfounded, could harm our reputation, financial
  condition, and operating results. Our policies and practices may change over time as expectations and regulations regarding
  privacy and data change.
       Our products and services involve the storage, handling, and transmission of proprietary and other sensitive information.
  Software bugs, theft, misuse, defects, vulnerabilities in our products and services, and security breaches expose us to a risk of
  loss or improper use and disclosure of such information, which could result in litigation and other potential liability, including
  regulatory fines and penalties, as well as reputational harm. Additionally, our products incorporate highly technical and
  complex technologies, and thus our technologies and software have contained, and are likely in the future to contain,
  undetected errors, bugs, or vulnerabilities. We have in the past discovered, and may in the future discover, some errors in our
  software code only after we have released the code. Systems and control failures, security breaches, failure to comply with
  our privacy policies, and/or inadvertent disclosure of user data could result in government and legal exposure, seriously harm
  our reputation, brand, and business, and impair our ability to attract and retain users or customers. Such incidents have
  occurred in the past and may continue to occur due to the scale and nature of our products and services. While there is no
  guarantee that such incidents will not cause significant damage, we expect to continue to expend significant resources to
  maintain security protections that limit the effect of bugs, theft, misuse, and security vulnerabilities or breaches.
       We experience cyber attacks and other attempts to gain unauthorized access to our systems on a regular basis. Cyber
  attacks continue to evolve in sophistication and volume, and inherently may be difficult to detect for long periods of time. We
  have seen, and will continue to see, industry-wide vulnerabilities, such as the Log4j vulnerability reported in December 2021,
  which could affect our or other parties' systems. We expect to continue to experience such


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  incidents or vulnerabilities in the future. Our efforts to address undesirable activity on our platform may also increase the risk
  of retaliatory attack. We may experience future security issues, whether due to employee error or malfeasance or system
  errors or vulnerabilities in our or other parties' systems. While we may not determine some of these issues to be material at
  the time they occur and may remedy them quickly, there is no guarantee that these issues will not ultimately result in
  significant legal, financial, and reputational harm, including government inquiries and enforcement actions, litigation, and
  negative publicity. Because the techniques used to obtain unauthorized access to, disable or degrade service provided by or
  otherwise sabotage systems change frequently and often are recognized only after being launched against a target, even
  taking all reasonable precautions, including those required by law, we have been unable in the past and may continue to be
  unable to anticipate or detect attacks or vulnerabilities or implement adequate preventative measures.
       Further, if any partners with whom we share user or other customer information fail to implement adequate data-security
  practices or fail to comply with our terms and policies or otherwise suffer a network or other security breach, our users'
  information may be improperly accessed, used, or disclosed. If an actual or perceived breach of our or our business partners'
  or service providers' security occurs, the market perception of the effectiveness of our security measures would be harmed,
  we could lose users and customers, our trade secrets or those of our business partners may be compromised, and we may be
  exposed to significant legal and financial risks, including legal claims (which may include class-action litigation) and regulatory
  action, fines, and penalties. Any of the foregoing consequences could have a material and adverse effect on our business,
  reputation, and results of operations.
         While we have dedicated significant resources to privacy and security incident response capabilities, including dedicated
  worldwide incident response teams, our response process, particularly during times of a natural disaster or pandemic, may not
  be adequate, may fail to accurately assess the severity of an incident, may not be fast enough to prevent or limit harm, or may
  fail to sufficiently remediate an incident. As a result, we may suffer significant legal, reputational, or financial exposure, which
  could harm our business, financial condition, and operating results.
      For additional information, see also our risk factor on privacy and data protection regulations under 'Risks Related to
  Laws and Regulations' below.
       Our ongoing investments in safety, security, and content review will likely continue to identify abuse of our
  platforms and misuse of user data.
        In addition to our efforts to prevent and mitigate cyber attacks, we are making significant investments in safety, security,
  and review efforts to combat misuse of our services and unauthorized access to user data by third parties, including
  investigation and review of platform applications that could access the information of users of our services. As a result of these
  efforts, we have in the past discovered, and may in the future discover, incidents of unnecessary access to or misuse of user
  data or other undesirable activity by third parties. However, we may not have discovered, and may in the future not discover,
  all such incidents or activity, whether as a result of our data limitations, including our lack of visibility over our encrypted
  services, the scale of activity on our platform, or other factors, including factors outside of our control such as a natural
  disaster or pandemic, and we may learn of such incidents or activity via third parties. Such incidents and activities may include
  the use of user data or our systems in a manner inconsistent with our terms, contracts or policies, the existence of false or
  undesirable user accounts, election interference, improper ad purchases, activities that threaten people's safety on- or off-line,
  or instances of spamming, scraping, or spreading disinformation. While we may not determine some of these incidents to be
  material at the time they occurred and we may remedy them quickly, there is no guarantee that these issues will not ultimately
  result in significant legal, financial, and reputational harm, including government inquiries and enforcement actions, litigation,
  and negative publicity.
       We may also be unsuccessful in our efforts to enforce our policies or otherwise prevent or remediate any such incidents.
  Any of the foregoing developments may negatively affect user trust and engagement, harm our reputation and brands, require
  us to change our business practices in ways that harm our business operations and adversely affect our business and
  financial results. Any such developments may also subject us to additional litigation and regulatory inquiries, which could
  result in monetary penalties and damages, divert management's time and attention, and lead to enhanced regulatory
  oversight.
      Problematic content on our platforms, including low-quality user-generated content, web spam, content farms,
  and other violations of our guidelines could affect the quality of our services, which could damage our reputation and
  deter our current and potential users from using our products and services.
        We, like others in the industry, face violations of our content guidelines across our platforms, including sophisticated
  attempts by bad actors to manipulate our hosting and advertising systems to fraudulently generate revenues, or to otherwise
  generate traffic that does not represent genuine user interest or intent. While we invest significantly in efforts to promote high-
  quality and relevant results and to detect and prevent low-quality content and


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  invalid traffic, we have been unable and may continue to be unable to adequately detect and prevent all such abuses or
  promote uniformly high-quality content.
        Many websites violate or attempt to violate our guidelines, including by seeking to inappropriately rank higher in search
  results than our search engine's assessment of their relevance and utility would rank them. Such efforts have affected, and
  may continue to affect, the quality of content on our platforms and lead them to display false, misleading, or undesirable
  content. Although English-language web spam in our search results has been reduced, and web spam in most other
  languages is limited, we expect web spammers will continue to seek inappropriate ways to improve their rankings. We
  continuously combat web spam in our search results, including through indexing technology that makes it harder for spam-
  like, less useful web content to rank highly. We also continue to invest in and deploy proprietary technology to detect and
  prevent web spam on our platforms. We also face other challenges from low-quality and irrelevant content websites, including
  content farms, which are websites that generate large quantities of low-quality content to help them improve their search
  rankings. We are continually launching algorithmic changes designed to detect and prevent abuse from low-quality websites.
  We also face other challenges on our platforms, including violations of our content guidelines involving incidents such as
  attempted election interference, activities that threaten the safety and/or well-being of our users on- or off-line, and the
  spreading of misinformation or disinformation.
       If we fail to either detect and prevent an increase in problematic content or effectively promote high-quality content, it
  could hurt our reputation for delivering relevant information or reduce use of our platforms, harming our financial condition or
  operating results. It may also subject us to litigation and regulatory action, which could result in monetary penalties and
  damages and divert management's time and attention.
       Our business depends on continued and unimpeded access to the Internet by us and our users. Internet access
  providers may be able to restrict, block, degrade, or charge for access to certain of our products and services, which
  could lead to additional expenses and the loss of users and advertisers.
        Our products and services depend on the ability of our users to access the Internet, and certain of our products require
  significant bandwidth to work effectively. Currently, this access is provided by companies that have significant market power in
  the broadband and internet access marketplace, including incumbent telephone companies, cable companies, mobile
  communications companies, and government-owned service providers. Some of these providers have taken, or have stated
  that they may take measures that could degrade, disrupt, or increase the cost of user access to certain of our products by
  restricting or prohibiting the use of their infrastructure to support or facilitate our offerings, by charging increased fees to us or
  our users to provide our offerings, or by providing our competitors preferential access. Some jurisdictions have adopted
  regulations prohibiting certain forms of discrimination by internet access providers; however, substantial uncertainty exists in
  the U.S. and elsewhere regarding such protections. For example, in 2018 the U.S. Federal Communications Commission
  repealed net neutrality rules, which could permit internet access providers to restrict, block, degrade, or charge for access to
  certain of our products and services. In addition, in some jurisdictions, our products and services have been subject to
  government-initiated restrictions or blockages. These could harm existing key relationships, including with our users,
  customers, advertisers, and/or content providers, and impair our ability to attract new ones; damage our reputation; and
  increase costs, thereby negatively affecting our business.
        Risks Related to laws, Regulations, and Policies
       We face increased regulatory scrutiny as well as changes in regulatory conditions, laws, and policies governing
  a wide range of topics that may negatively affect our business.
        We and other companies in the technology industry face increased regulatory scrutiny, enforcement action, and other
  proceedings. For instance, the U.S. Department of Justice, joined by a number of state Attorneys General, filed an antitrust
  complaint against Google on October 20, 2020, alleging that Google violated U.S. antitrust laws relating to Search and Search
  advertising. Similarly, on December 16, 2020, a number of state Attorneys General filed an antitrust complaint against Google
  in the U.S. District Court for the Eastern District of Texas, alleging that Google violated U.S. antitrust laws as well as state
  deceptive trade laws relating to its advertising technology. Various other regulatory agencies in the U.S. and around the world,
  including competition enforcers, consumer protection agencies, data protection authorities, grand juries, inter-agency
  consultative groups, and a range of other governmental bodies have and continue to review and in some cases challenge our
  products and services and their compliance with laws and regulations around the world. We continue to cooperate with these
  investigations and defend litigation where appropriate. Various laws, regulations, investigations, enforcement lawsuits, and
  regulatory actions have in the past, and may in the future, result in substantial fines and penalties, injunctive relief, ongoing
  auditing and monitoring obligations, changes to our products and services, alterations to our business models and operations,
  and collateral litigation, all of which could harm our business, reputation, financial condition, and operating results.



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        Changes in international and local social, political, economic, tax, and regulatory conditions or in laws and policies have
  in the past, and may in the future, increase our cost of doing business and limit our ability to pursue certain business models,
  offer products or services in certain jurisdictions, or cause us to change our business practices. We have in the past had to
  alter or stop offering certain products and services as a result of laws or regulations that made them unfeasible, and new laws
  or regulations could result in our having to terminate, alter, or withdraw products and services in the future. Additional costs of
  doing business, new limitations, or changes to our business model or practices could harm our business, reputation, financial
  condition, and operating results.
       We are subject to regulations, laws, and policies that govern a wide range of topics, including those related to matters
  beyond our core products and services. For instance, new regulations, laws, policies, and international accords relating to
  environmental and social matters, including sustainability, climate change, human capital, and diversity, are being developed
  and formalized in Europe, the U.S., and elsewhere, which may entail specific, target-driven frameworks and/or disclosure
  requirements. We have implemented robust environmental and social programs, adopted reporting frameworks and principles,
  and announced a number of goals and initiatives, including those related to environmental sustainability and diversity. The
  implementation of these goals and initiatives may require considerable investments, and our goals, with all of their
  contingencies, dependencies, and in certain cases, reliance on third-party verification and/or performance, are complex and
  ambitious, and we cannot guarantee that we will achieve them.
       Additionally, there can be no assurance that our current programs, reporting frameworks, and principles will be in
  compliance with any new environmental and social laws and regulations that may be promulgated in the U.S. and elsewhere,
  and the costs of changing any of our current practices to comply with any new legal and regulatory requirements in the U.S.
  and elsewhere may be substantial. Furthermore, industry and market practices may further develop to become even more
  robust than what is required under any new laws and regulations, and we may have to expend significant efforts and
  resources to keep up with market trends and stay competitive among our peers.
        A variety of new and existing laws and/or interpretations could harm our business.
        We are subject to numerous U.S. and foreign laws and regulations covering a wide variety of subject matters. New laws
  and regulations, or new interpretations or applications of existing laws and regulations in a manner inconsistent with our
  practices, have made, and may continue to make, our products and services less useful, limit our ability to pursue certain
  business models or offer certain products and services in certain jurisdictions, require us to incur substantial costs, expose us
  to civil or criminal liability, or cause us to change our business practices. These laws and regulations are evolving and involve
  matters central to our business, including, among others:
           Laws and regulations around the world focused on large technology platforms, including the Digital Markets Act in the
           European Union and proposed antitrust legislation on self-preferencing and mergers and acquisitions in the U.S.,
           which may limit certain business practices, and in some cases, create the risk of significant penalties.
           Privacy laws, such as the GDPR, CCPA, CPRA, Virginia COPA, and ColoPA (as defined and discussed further below).
           Data protection laws passed by many states within the U.S. and by certain countries regarding notification to data
           subjects and/or regulators when there is a security breach of personal data.
           Consumer protection laws, including EU's New Deal for Consumers, which could result in monetary penalties and
           create a range of new compliance obligations.
           New laws further restricting the collection, processing and/or sharing of advertising-related data. Copyright or similar
           laws around the world, including the EU Directive on Copyright in the Digital Single Market (EUCD) and EU member
           state transpositions. These and similar laws that have been adopted or proposed introduce new licensing regimes that
           could affect our ability to operate. The EUCD and similar laws could also increase the liability of some content-sharing
           services with respect to content uploaded by their users. Some of these laws, as well as follow-on administrative or
           judicial actions, have also created or may create a new property right in news publications that limits the ability of
           some online services to link to, interact with, or present such content. They may also require individual or collective
           compensation negotiations with news agencies and publishers for the use of such content, which may result in
           payment obligations that significantly exceed the value that such content provides to Google and its users, potentially
           harming our services, commercial operations, and business results.
           Data localization laws, which generally mandate that certain types of data collected in a particular country be stored
           and/or processed within that country.



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           Various U.S. and international laws that govern the distribution of certain materials to children and regulate the ability
           of online services to collect information from minors, including the Children's Online Privacy Protection Act of 1998
           and the United Kingdom's Age-Appropriate Design Code.
           Various laws with regard to content moderation and removal, and related disclosure obligations, such as the Network
           Enforcement Act in Germany and the European Union's pending Digital Services Act, which may affect our
           businesses and operations and may subject us to significant fines if such laws are interpreted and applied in a manner
           inconsistent with our practices or when we may not proactively discover such content due to the scale of third-party
           content and the limitations of existing technologies. Other countries, including Singapore, Australia, and the United
           Kingdom, have implemented or are considering similar legislation imposing penalties for failure to remove certain
           types of content.
           Various legislative, litigation, and regulatory activity regarding our Google Play billing policies and business model,
           which could result in monetary penalties, damages and/or prohibition.
           Various legislative and regulatory activity requiring disclosure of information about the operation of our services and
           algorithms, which may make it easier for websites to artificially promote low-quality, deceptive, or harmful content on
           services like Google Search and YouTube, potentially harming the quality of our services.
       In addition, the applicability and scope of these laws, as interpreted by the courts, remain uncertain and could harm our
  business. For example:
           We rely on statutory safe harbors, as set forth in the Digital Millennium Copyright Act and Section 230 of the
           Communications Decency Act in the U.S. and the E-Commerce Directive in Europe, against liability for various linking,
           caching, and hosting activities. Any legislation or court rulings affecting these safe harbors may adversely affect us.
           There are legislative proposals in both the U.S. and EU that could reduce our safe harbor protection.
           Court decisions such as the judgment of the Court of Justice of the European Union (CJEU) on May 13, 2014 on the
           'right to be forgotten,' which allows individuals to demand that Google remove search results about them in certain
           instances, may limit the content we can show to our users and impose significant operational burdens.
       The introduction of new businesses, products, services, and technologies, our activities in certain jurisdictions, or other
  actions we take have subjected us, and will likely continue to subject us, to additional laws and regulations. Our investment in
  a variety of new fields, such as healthcare and payment services, has expanded, and will continue to expand, the scope of
  regulations that apply to our business. The costs of compliance with these laws and regulations are high and are likely to
  increase in the future. Any failure on our part to comply with laws and regulations can result in negative publicity and diversion
  of management time and effort and may subject us to significant liabilities and other penalties.
      We are subject to claims, suits, government investigations, other proceedings, and consent decrees that may
  harm our business, financial condition, and operating results.
       We are subject to claims, suits, government investigations, other proceedings, and consent decrees involving
  competition, intellectual property, data privacy and security, consumer protection, tax, labor and employment, commercial
  disputes, content generated by our users, goods and services offered by advertisers or publishers using our platforms, and
  other matters. Due to our manufacturing and sale of an expanded suite of products and services, including hardware as well
  as Google Cloud offerings, we also are subject to a variety of claims including product warranty, product liability, and
  consumer protection claims related to product defects, among other litigation. We may also be subject to claims involving
  health and safety, hazardous materials usage, other environmental effects, or service disruptions or failures.
        Any of these types of legal proceedings can have an adverse effect on us because of legal costs, diversion of
  management resources, negative publicity and other factors. Determining reserves for our pending litigation is a complex, fact-
  intensive process that requires significant judgment. The resolution of one or more such proceedings has resulted in, and may
  in the future result in, additional substantial fines, penalties, injunctions, and other sanctions that could harm our business,
  financial condition, and operating results.
        We may be subject to legal liability associated with providing online services or content.
       Our products and services let users exchange information, advertise products and services, conduct business, and
  engage in various online activities. We also place advertisements displayed on other companies' websites, and we offer third-
  party products, services, and/or content. The law relating to the liability of on line service providers for others' activities on their
  services is still somewhat unsettled around the world. Claims have been brought against us, and we



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  expect will continue to be brought against us, for defamation, negligence, breaches of contract, copyright and trademark
  infringement, unfair competition, unlawful activity, torts, fraud, or other legal theories based on the nature and content of
  information available on or via our services.
       We may be subject to claims by virtue of our involvement in hosting, transmitting, marketing, branding, or providing
  access to content created by third parties. Defense of such actions could be costly and involve significant time and attention of
  our management and other resources, may result in monetary liabilities or penalties, and may require us to change our
  business in an adverse manner.
     Privacy and data protection regulations are complex and rapidly evolving areas. Any failure or alleged failure to
  comply with these laws could harm our business, reputation, financial condition, and operating results.
        Authorities around the world have adopted and are considering a number of legislative and regulatory proposals
  concerning data protection and limits on encryption of user data. Adverse legal rulings, legislation, or regulation have resulted
  in, and may continue to result in, fines and orders requiring that we change our data practices, which could have an adverse
  effect on our ability to provide services, harming our business operations. Complying with these evolving laws could result in
  substantial costs and harm the quality of our products and services, negatively affecting our business, and may be particularly
  challenging during certain times, such as a natural disaster or pandemic. Amongst others, we are and will be subject to the
  following laws and regulations:
           The General Data Protection Regulation (GDPR), which applies to all of our activities conducted from an
           establishment in the EU or related to products and services that we offer to EU users or customers, or the monitoring
           of their behavior in the EU. Ensuring compliance with the range of obligations created by the GDPR is an ongoing
           commitment that involves substantial costs. Despite our efforts, governmental authorities or others have asserted and
           may continue to assert that our business practices fail to comply with its requirements. If our operations are found to
           violate the GDPR requirements, we may incur substantial fines, have to change our business practices, and face
           reputational harm, any of which could have an adverse effect on our business. Serious breaches of the GDPR can
           result in administrative fines of up to 4% of annual worldwide revenues. Fines of up to 2% of annual worldwide
           revenues can be levied for other specified violations.
           Various state privacy laws, such as the California Consumer Privacy Act of 2018 (CCPA), which came into effect in
           January of 2020; the California Privacy Rights Act (CPRA), which will go into effect in 2023; the Virginia Consumer
           Data Protection Act (Virginia COPA), which will go into effect in 2023; and the Colorado Privacy Act (ColoPA), which
           will go into effect in 2023; all of which give new data privacy rights to their respective residents (including, in California,
           a private right of action in the event of a data breach resulting from our failure to implement and maintain reasonable
           security procedures and practices) and impose significant obligations on controllers and processors of consumer data.
           SB-327 in California, which regulates the security of data in connection with internet connected devices.
        Further, we are subject to evolving laws and regulations that dictate whether, how, and under what circumstances we can
  transfer, process and/or receive personal data. The EU-U.S. and the Swiss-U.S. Privacy Shield frameworks that previously
  allowed U.S. companies that self-certify to the U.S. Department of Commerce and publicly commit to comply with specified
  requirements to import personal data from the EU and Switzerland have been invalidated by the CJEU. The CJEU upheld
  Standard Contractual Clauses (SCCs) as a valid transfer mechanism, provided they meet certain requirements. On June 4,
  2021, the European Commission published new SCCs for this purpose, and we may have to adapt our existing contractual
  arrangements to meet these new requirements. The validity of data transfer mechanisms remains subject to legal, regulatory,
  and political developments in both Europe and the U.S., such as recent recommendations from the European Data Protection
  Board, decisions from supervisory authorities, recent proposals for reform of the data transfer mechanisms for transfers of
  personal data outside the United Kingdom, and potential invalidation of other data transfer mechanisms, which, together with
  increased enforcement action from supervisory authorities in relation to cross-border transfers of personal data, could have a
  significant adverse effect on our ability to process and transfer personal data outside of the European Economic Area and/or
  the United Kingdom.
       These laws and regulations are evolving and subject to interpretation, including developments which create some
  uncertainty, and compliance obligations could cause us to incur costs or harm the operations of our products and services in
  ways that harm our business. For example, in the EU, several supervisory authorities have issued new guidance concerning
  the ePrivacy Directive's requirements regarding the use of cookies and similar technologies, including limitations on the use of
  data across messaging products and specific requirements for enabling users to accept or reject cookies, and have in some
  cases brought (and may seek to bring in the future) enforcement action in relation to those requirements. In the U.S., certain
  types of cookies may be deemed sales of personal information



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  within the CCPA and other state laws, such that certain disclosure requirements and limitations apply to the use of such
  cookies. In addition, some countries are considering or have passed legislation implementing data protection requirements or
  requiring local storage and processing of data that could increase the cost and complexity of delivering our services and
  carries the potential of service interruptions in those countries.
       We face, and may continue to face, intellectual property and other claims that could be costly to defend, result in
  significant damage awards or other costs (including indemnification awards), and limit our ability to use certain
  technologies in the future.
        We, like other internet, technology and media companies, are frequently subject to litigation based on allegations of
  infringement or other violations of intellectual property rights. In addition, patent-holding companies may frequently seek to
  generate income from patents they have obtained by bringing claims against us. As we have grown, the number of intellectual
  property claims against us has increased and may continue to increase as we develop new products, services, and
  technologies.
       We have had patent, copyright, trade secret, and trademark infringement lawsuits filed against us claiming that certain of
  our products, services, and technologies infringe the intellectual property rights of others. Other parties have also sought
  broad injunctive relief against us by filing claims in U.S. and international courts and the U.S. International Trade Commission
  (ITC) for exclusion and cease-and-desist orders, which could limit our ability to sell our products or services in the U.S. or
  elsewhere if our products or services or those of our customers or suppliers are found to infringe the intellectual property
  subject to the claims. Adverse results in any of these lawsuits may include awards of monetary damages, costly royalty or
  licensing agreements (if licenses are available at all), or orders preventing us from offering certain features, functionalities,
  products, or services. They may also cause us to change our business practices and require development of non-infringing
  products, services, or technologies, which could result in a loss of revenues for us and otherwise harm our business.
         Many of our agreements with our customers and partners, including certain suppliers, require us to defend against
  certain intellectual property infringement claims and in some cases indemnify them for certain intellectual property
  infringement claims against them, which could result in increased costs for defending such claims or significant damages if
  there were an adverse ruling in any such claims. Such customers and partners may also discontinue the use of our products,
  services, and technologies, as a result of injunctions or otherwise, which could result in loss of revenues and adversely affect
  our business. Moreover, intellectual property indemnities provided to us by our suppliers, when obtainable, may not cover all
  damages and losses suffered by us and our customers arising from intellectual property infringement claims. Furthermore, in
  connection with our divestitures, we have agreed, and may in the future agree, to provide indemnification for certain potential
  liabilities, including those associated with intellectual property claims. Regardless of their merits, intellectual property claims
  are often time consuming and expensive to litigate or settle. To the extent such claims are successful, they may harm our
  business, including our product and service offerings, financial condition, or operating results.
        Risks Related to Ownership of our Stock
      We cannot guarantee that any share repurchase program will be fully consummated or will enhance long-term
  stockholder value, and share repurchases could increase the volatility of our stock prices and could diminish our
  cash reserves.
       We engage in share repurchases of our Class A and Class C stock from time to time in accordance with authorizations
  from the Board of Directors of Alphabet. Our repurchase program does not have an expiration date and does not obligate
  Alphabet to repurchase any specific dollar amount or to acquire any specific number of shares. Further, our share repurchases
  could affect our share trading prices, increase their volatility, reduce our cash reserves and may be suspended or terminated
  at any time, which may result in a decrease in the trading prices of our stock.
        The concentration of our stock ownership limits our stockholders' ability to influence corporate matters.
        Our Class B stock has 10 votes per share, our Class A stock has one vote per share, and our Class C stock has no
  voting rights. As of December 31, 2021, Larry Page and Sergey Brin beneficially owned approximately 85.9% of our
  outstanding Class B stock, which represented approximately 51.4% of the voting power of our outstanding common stock.
  Through their stock ownership, Larry and Sergey have significant influence over all matters requiring stockholder approval,
  including the election of directors and significant corporate transactions, such as a merger or other sale of our company or our
  assets, for the foreseeable future. In addition, because our Class C stock carries no voting rights (except as required by
  applicable law), the issuance of the Class C stock, including in future stock-based acquisition transactions and to fund
  employee equity incentive programs, could continue Larry and Sergey's current relative voting power and their ability to elect
  all of our directors and to determine the outcome of most matters submitted to a vote of our stockholders. The share
  repurchases made pursuant to our repurchase program may also



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  affect Larry and Sergey's relative voting power. This concentrated control limits or severely restricts other stockholders' ability
  to influence corporate matters and we may take actions that some of our stockholders do not view as beneficial, which could
  reduce the market price of our Class A stock and our Class C stock.
      Provisions in our charter documents and under Delaware law could discourage a takeover that stockholders
  may consider favorable.
       Provisions in Alphabet's certificate of incorporation and bylaws may have the effect of delaying or preventing a change of
  control or changes in our management. These provisions include the following:
           Our certificate of incorporation provides for a tri-class capital stock structure. As a result of this structure, Larry and
           Sergey have significant influence over all matters requiring stockholder approval. This concentrated control could
           discourage others from initiating any potential merger, takeover, or other change of control transaction that other
           stockholders may view as beneficial.
           Our Board of Directors has the right to elect directors to fill a vacancy created by the expansion of the Board of
           Directors or the resignation, death, or removal of a director.
           Our stockholders may not act by written consent, which makes it difficult to take certain actions without holding a
           stockholders' meeting.
           Our certificate of incorporation prohibits cumulative voting in the election of directors. This limits the ability of minority
           stockholders to elect director candidates.
           Stockholders must provide advance notice to nominate individuals for election to the Board of Directors or to propose
           matters that can be acted upon at a stockholders' meeting. These provisions may discourage or deter a potential
           acquirer from conducting a solicitation of proxies to elect the acquirer's own slate of directors or otherwise attempting
           to obtain control of our company.
           Our Board of Directors may issue, without stockholder approval, shares of undesignated preferred stock, which makes
           it possible for our Board of Directors to issue preferred stock with voting or other rights or preferences that could
           impede the success of any attempt to acquire us.
       As a Delaware corporation, we are also subject to certain Delaware anti-takeover provisions. Under Delaware law, a
  corporation may not engage in a business combination with any holder of 15% or more of its outstanding voting stock unless
  the holder has held the stock for three years or, among other things, the Board of Directors has approved the transaction. Our
  Board of Directors could rely on Delaware law to prevent or delay an acquisition of us.
        General Risks
       The continuing effects of COVID-19 are highly unpredictable and could be significant, and may have an adverse
  effect on our business, operations and our future financial performance.
       Since COVID-19 was declared a global pandemic by the World Health Organization, our business, operations and
  financial performance have been, and may continue to be, affected by the macroeconomic impacts resulting from the efforts to
  control the spread of COVID-19. As a result of the scale of the ongoing pandemic, including the introduction of new variants of
  COVID-19 and vaccination and other efforts to control the spread, our revenue growth rate and expenses as a percentage of
  our revenues in future periods may differ significantly from our historical rates, and our future operating results may fall below
  expectations. Additionally, we may experience a significant and prolonged shift in user behavior such as a shift in interests to
  less commercial topics.
       As a result of the pandemic, our workforce shifted to operating in a primarily remote working environment, which
  continues to create inherent productivity, connectivity, and oversight challenges. The effects of the ongoing pandemic are
  dynamic and uneven. As we prepare to return our workforce in more locations back to the office, we may experience
  increased costs and/or disruption as we experiment with hybrid work models, in addition to potential effects on our ability to
  operate effectively and maintain our corporate culture.
        Our operating results may fluctuate, which makes our results difficult to predict and could cause our results to
  fall short of expectations.
       Our operating results have fluctuated, and may in the future fluctuate, as a result of a number of factors, many outside of
  our control, including the cyclicality and seasonality in our business and geopolitical events. As a result, comparing our
  operating results (including our expenses as a percentage of our revenues) on a period-to-period basis may not be
  meaningful, and our past results should not be relied on as an indication of our future performance. Consequently, our
  operating results in future quarters may fall below expectations.

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      Acquisitions, joint ventures, investments, and divestitures could result in operating difficulties, dilution, and
  other consequences that may harm our business, financial condition, and operating results.
       Acquisitions, joint ventures, investments and divestitures are important elements of our overall corporate strategy and
  use of capital, and these transactions could be material to our financial condition and operating results. We expect to continue
  to evaluate and enter into discussions regarding a wide array of such potential strategic transactions, which could create
  unforeseen operating difficulties and expenditures. Some of the areas where we face risks include:
           diversion of management time and focus from operating our business to challenges related to acquisitions and other
           strategic transactions;
           failure to obtain required approvals on a timely basis, if at all, from governmental authorities, or conditions placed
           upon approval that could, among other things, delay or prevent us from completing a transaction, or otherwise restrict
           our ability to realize the expected financial or strategic goals of a transaction;
           failure to successfully integrate and further develop the acquired business or technology;
           implementation or remediation of controls, procedures, and policies at the acquired company;
           integration of the acquired company's accounting, human resource (including cultural integration and retention of
           employees), and other administrative systems, and coordination of product, engineering, and sales and marketing
           functions;
           transition of operations, users, and customers onto our existing platforms;
           in the case of foreign acquisitions, the need to integrate operations across different cultures and languages and to
           address the particular economic, currency, political, and regulatory risks associated with specific countries;
           liability for activities of the acquired company before the acquisition, including patent and trademark infringement
           claims, data privacy and security issues, violations of laws, commercial disputes, tax liabilities, warranty claims,
           product liabilities, and other known and unknown liabilities; and
           litigation or other claims in connection with the acquired company, including claims from terminated employees,
           customers, former stockholders, or other third parties.
       Our failure to address these risks or other problems encountered in connection with our past or future acquisitions and
  other strategic transactions could cause us to fail to realize their anticipated benefits, incur unanticipated liabilities, and harm
  our business generally.
       Our acquisitions and other strategic transactions could also result in dilutive issuances of our equity securities, the
  incurrence of debt, contingent liabilities, or amortization expenses, or impairment of goodwill and/or purchased long-lived
  assets, and restructuring charges, any of which could harm our financial condition or operating results. Also, the anticipated
  benefits or value of our acquisitions and other strategic transactions may not materialize. In connection with our divestitures,
  we have agreed, and may in the future agree, to provide indemnification for certain potential liabilities, which may harm our
  financial condition or operating results.
        If we were to lose the services of key personnel, we may not be able to execute our business strategy.
        Our future success depends in large part upon the continued service of key members of our senior management team.
  For instance, Sundar Pichai is critical to the overall management of Alphabet and its subsidiaries and plays an important role
  in the development of our technology, maintaining our culture, and setting our strategic direction. All of our executive officers
  and key employees are at-will employees, and we do not maintain any key-person life insurance policies. The loss of key
  personnel could seriously harm our business.
      We rely on highly skilled personnel and, if we are unable to retain or motivate key personnel, hire qualified
  personnel, or maintain our corporate culture, we may not be able to grow effectively.
       Our performance largely depends on the talents and efforts of highly skilled individuals. Our ability to compete effectively
  and our future success depends on our continuing to identify, hire, develop, motivate, and retain highly skilled personnel for all
  areas of our organization. Competition in our industry for qualified employees is intense, and certain of our competitors have
  directly targeted our employees. In addition, our compensation arrangements, such as our equity award programs, may not
  always be successful in attracting new employees and retaining and motivating our existing employees. Restrictive
  immigration policy and regulatory changes may also affect our ability to hire, mobilize, or retain some of our global talent.



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       In addition, we believe that our corporate culture fosters innovation, creativity, and teamwork. As our organization grows
  and evolves, we may need to implement more complex organizational management structures or adapt our corporate culture
  and work environments to ever-changing circumstances, such as during times of a natural disaster or pandemic, and these
  changes could affect our ability to compete effectively or have an adverse effect on our corporate culture.
       We are exposed to fluctuations in the fair values of our investments and, in some instances, our financial
  statements incorporate valuation methodologies that are subjective in nature resulting in fluctuations over time.
        The fair value of our investments may in the future be, and certain investments have been in the past, negatively affected
  by liquidity, credit deterioration or losses, performance and financial results of the underlying entities, foreign exchange rates,
  changes in interest rates, including changes that may result from the implementation of new benchmark rates, the effect of
  new or changing regulations, the stock market in general, or other factors.
       We measure certain of our non-marketable equity and debt securities, certain other instruments including stock-based
  compensation awards settled in the stock of certain Other Bets, and certain assets and liabilities acquired in a business
  combination, at fair value on a nonrecurring basis. The determination of fair value involves use of appropriate valuation
  methods and certain unobservable inputs, requires management judgment and estimation, and may change over time. We
  adjust the carrying value of our non-marketable equity securities to fair value for observable transactions of identical or similar
  investments of the same issuer or for impairments. All gains and losses on non-marketable equity securities, are recognized in
  other income (expense), which increases the volatility of our other income (expense). The unrealized gains and losses we
  record from fair value remeasurements of our non-marketable equity securities in any particular period may differ significantly
  from the gains or losses we ultimately experience on such investments.
       As a result of these factors, the value or liquidity of our cash equivalents, as well as our marketable and non-marketable
  securities could decline and result in a material impairment, which could adversely affect our financial condition and operating
  results.
      We could be subject to changes in tax rates, the adoption of new U.S. or international tax legislation, or
  exposure to additional tax liabilities.
        Our future income taxes could be negatively affected by earnings being lower than anticipated in jurisdictions that have
  lower statutory tax rates and higher than anticipated in jurisdictions that have higher statutory tax rates, the net gains and
  losses recognized by legal entities on certain hedges and related hedged intercompany and other transactions under our
  foreign exchange risk management program, decreases in our stock price for shares paid as employee compensation,
  changes in the valuation of our deferred tax assets or liabilities, the application of different provisions of tax laws or changes in
  tax laws, regulations, or accounting principles (including changes in the interpretation of existing laws), as well as certain
  discrete items.
        In addition, we are subject to regular review and audit by both domestic and foreign tax authorities. As a result, we have
  received, and may in the future receive, assessments in multiple jurisdictions, including in Europe, on various tax-related
  assertions, such as transfer-pricing adjustments or permanent-establishment claims. Any adverse outcome of such a review
  or audit could have a negative effect on our operating results and financial condition and could require us to change our
  business practices in a manner adverse to our business. It may also subject us to additional litigation and regulatory inquiries,
  resulting in the diversion of management's time and attention. In addition, the determination of our worldwide provision for
  income taxes and other tax liabilities requires significant judgment, and there are many transactions and calculations for which
  the ultimate tax determination is uncertain. Although we believe our estimates are reasonable, the ultimate tax outcome may
  differ from the amounts recorded in our financial statements and may affect our financial results in the period or periods for
  which such determination is made.
        Furthermore, due to shifting economic and political conditions, tax policies, laws, or rates in various jurisdictions may be
  subject to significant changes in ways that impair our financial results. Various jurisdictions around the world have enacted or
  are considering digital services taxes, which could lead to inconsistent and potentially overlapping international tax regimes.
  The Organization for Economic Cooperation and Development (OECD) continues to advance proposals relating to its initiative
  for modernizing international tax rules, with the goal of having different countries implement a modernized and aligned
  international tax framework, but there can be no guarantee that this will occur.
        In addition, in response to significant market volatility and disruptions to business operations resulting from the global
  spread of COVID-19, legislatures and taxing authorities in many jurisdictions in which we operate may propose changes to
  their tax rules. These changes could include modifications that have temporary effect, and more permanent



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  changes. The effect of these potential new rules on us, our long-term tax planning, and our effective tax rate could be material.
        The trading price for our Class A stock and non-voting Class C stock may continue to be volatile.
        The trading price of our stock has at times experienced substantial price volatility and may continue to be volatile. In
  addition to the factors discussed in this report, the trading price of our Class A stock and Class C stock have fluctuated, and
  may continue to fluctuate widely, in response to various factors, many of which are beyond our control, including, among
  others, the activities of our peers and changes in broader economic and political conditions around the world. These broad
  market and industry factors may harm the market price of our Class A stock and our Class C stock, regardless of our actual
  operating performance.
  ITEM 1B.         UNRESOLVED STAFF COMMENTS
        Not applicable.
  ITEM2.           PROPERTIES
       Our headquarters are located in Mountain View, California. We also own and lease office and building space in the
  surrounding areas near our headquarters. In addition, we own and lease office/building space and R&D sites around the
  world, primarily in North America, Europe, South America, and Asia. We own and operate data centers in the U.S., Europe,
  South America, and Asia. We believe our existing facilities, both owned and leased, are in good condition and suitable for the
  conduct of our business.
  ITEM 3.          LEGAL PROCEEDINGS
       For a description of our material pending legal proceedings, see Legal Matters in Note 10 of the Notes to Consolidated
  Financial Statements included in Part II, Item 8 of this Annual Report on Form 10-K, which is incorporated herein by reference.
  ITEM 4.          MINE SAFETY DISCLOSURES
        Not applicable.



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  PART II
  ITEM 5.          MARKET FOR REGISTRANT'S COMMON EQUITY, RELATED STOCKHOLDER MATTERS AND ISSUER
                   PURCHASES OF EQUITY SECURITIES
       As of October 2, 2015, Alphabet Inc. became the successor issuer of Google Inc. pursuant to Rule 12g-3(a) under the
  Exchange Act. Our Class A common stock has been listed on the Nasdaq Global Select Market under the symbol "GOOG"
  since August 19, 2004 and under the symbol "GOOGL" since April 3, 2014. Prior to August 19, 2004, there was no public
  market for our stock. Our Class B common stock is neither listed nor traded. Our Class C capital stock has been listed on the
  Nasdaq Global Select Market under the symbol "GOOG" since April 3, 2014.
  Holders of Record
       As of December 31, 2021, there were approximately 4,907 and 1,733 stockholders of record of our Class A common
  stock and Class C capital stock, respectively. Because many of our shares of Class A common stock and Class C capital
  stock are held by brokers and other institutions on behalf of stockholders, we are unable to estimate the total number of
  stockholders represented by these record holders. As of December 31, 2021, there were approximately 64 stockholders of
  record of our Class B common stock.
  Dividend Policy
        We have never declared or paid any cash dividend on our common or capital stock. The primary use of capital continues
  to be to invest for the long-term growth of the business. We regularly evaluate our cash and capital structure, including the
  size, pace, and form of capital return to stockholders.
  Issuer Purchases of Equity Securities
       The following table presents information with respect to Alphabet's repurchases of Class A common stock and Class C
  capital stock during the quarter ended December 31, 2021:
                                                                                                             Total Number of     Approximate Dollar
                                                                                                           Shares Purchased      Value of Shares that
                                Total Number of      Total Number of                                       as Part of Publicly        May Yet Be
                                Class A Shares       Class C Shares      Average Price    Average Price        Announced          Purchased Under
                                   Purchased            Purchased        Paid per Class   Paid per Class         Programs           the Program
              Period           (in thousands) !1l   (in thousands) !1l     A Share! 2l      C Share! 2l     (in thousands) !1l       (in millions)
  October 1 - 31                            126                1,445     $    2,812.76    $   2,794.72                1,571      $          26,450
  November 1 - 30                           289                1,393     $    2,943.97    $   2,956.73                1,682      $          21,479
  December 1 - 31                           250                1,169     $    2,880.79    $   2,898.56                1,419      $          17,371
    Total                                   665                4,007                                                  4,672
  (1)
           The repurchases are being executed from time to time, subject to general business and market conditions and other investment
          opportunities, through open market purchases or privately negotiated transactions, including through Rule 10b5-1 plans. The
          repurchase program does not have an expiration date. See Note 11 of the Notes to Consolidated Financial Statements included in
          Item 8 of this Annual Report on Form 10-K for additional information related to share repurchases.
  (2 l   Average price paid per share includes costs associated with the repurchases.



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  Stock Performance Graphs
       The graph below matches Alphabet Inc. Class A's cumulative 5-year total stockholder return on common stock with the
  cumulative total returns of the S&P 500 index, the NASDAQ Composite index, and the ROG Internet Composite index. The
  graph tracks the performance of a $100 investment in our common stock and in each index (with the reinvestment of all
  dividends) from December 31, 2016 to December 31, 2021. The returns shown are based on historical results and are not
  intended to suggest future performance.


                                         COMPARISON OF CUMULATIVE 5-YEAR TOTAL RETURN*
                                                 ALPHABET INC. CLASS A COMMON STOCK
                                                   Among Alphabet Inc., the S&P 500 Index, the
                                     NASDAQ Composite Index, and the ROG Internet Composite Index

             $400


             $350


             $300


             $250


             $200


             $150


             $100


               $50


                   $0



                        =     Alphabet Inc. Class A            """""""""" S&P 500                                 NASDAQ Composite
                        -     RDG Internet Composite


        *$100 invested on December 31, 2016 in stock or index, including reinvestment of dividends. Fiscal year ending December 31.
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       The graph below matches Alphabet Inc. Class C's cumulative 5-year total stockholder return on capital stock with the
  cumulative total returns of the S&P 500 index, the NASDAQ Composite index, and the ROG Internet Composite index. The
  graph tracks the performance of a $100 investment in our Class C capital stock and in each index (with the reinvestment of all
  dividends) from December 31, 2016 to December 31, 2021. The returns shown are based on historical results and are not
  intended to suggest future performance.


                                         COMPARISON OF CUMULATIVE 5-YEAR TOTAL RETURN*
                                                  ALPHABET INC. CLASS C CAPITAL STOCK
                                                   Among Alphabet Inc., the S&P 500 Index, the
                                     NASDAQ Composite Index, and the ROG Internet Composite Index

          $400


          $350


          $300


          $250


          $200


          $150


          $100


            $50


             $0



                   -       Alphabet Inc. Class C            """""""""" S&P 500                                  NASDAQ Composite
                   -       ROG Internet Composite


        *$100 invested on December 31, 2016 in stock or in index, including reinvestment of dividends. Fiscal year ending December 31.
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  ITEM 6.          [Reserved]




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  ITEM 7.          MANAGEMENT'S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF
                   OPERATIONS
       Please read the following discussion and analysis of our financial condition and results of operations together with "Note
  about Forward-Looking Statements," Part I, Item 1 "Business," Part I, Item 1A "Risk Factors," and our consolidated financial
  statements and related notes included under Item 8 of this Annual Report on Form 10-K.
       We have omitted discussion of 2019 results where it would be redundant to the discussion previously included in Item 7
  of our 2020 Annual Report on Form 10-K.
  Understanding Alphabet's Financial Results
       Alphabet is a collection of businesses - the largest of which is Google. We report Google in two segments, Google
  Services and Google Cloud; we also report all non-Google businesses collectively as Other Bets. Other Bets include earlier
  stage technologies that are further afield from our core Google business. For further details on our segments, see Part I, Item
  1 "Business" and Note 15 of the Notes to Consolidated Financial Statements included in Item 8 of this Annual Report on Form
  10-K.
  Trends in Our Business and Financial Effect
        The following long-term trends have contributed to the results of our consolidated operations, and we anticipate that they
  will continue to affect our future results:
        •   Users' behaviors and advertising continue to shift online as the digital economy evolves.
       The continuing shift from an offline to online world has contributed to the growth of our business since inception,
  contributing to revenue growth, and we expect that this online shift will continue to benefit our business.
      • Users are increasingly using diverse devices and modalities to access our products and services, and our
  advertising revenues are increasingly coming from new formats.
      Our users are accessing the Internet via diverse devices and modalities, such as smartphones, wearables and smart
  home devices, and want to be able to be connected no matter where they are or what they are doing. We are focused on
  expanding our products and services to stay in front of these trends in order to maintain and grow our business.
       We are increasingly generating advertising revenues from different channels, including mobile, and newer advertising
  formats. The margins on advertising revenues from these channels and newer products have generally been lower than those
  from traditional desktop search. Additionally, as the market for a particular device type or modality matures, our revenues may
  be affected. For example, growth in the global smartphone market has slowed due to various factors, including increased
  market saturation in developed countries, which can affect our mobile advertising revenue growth rates.
       We expect TAC paid to our distribution partners and Google Network partners to increase as our revenues grow and TAC
  as a percentage of our advertising revenues ("TAC rate") to be affected by changes in device mix; geographic mix; partner
  mix; partner agreement terms; the percentage of queries channeled through paid access points; product mix; the relative
  revenue growth rates of advertising revenues from different channels; and revenue share terms.
        We expect these trends to continue to affect our revenue growth rates and put pressure on our margins.
     • As online advertising evolves, we continue to expand our product offerings, which may affect our
  monetization.
        As interactions between users and advertisers change, and as online user behavior evolves, we continue to expand and
  evolve our product offerings to serve these changing needs. Over time, we expect our monetization trends to fluctuate. For
  example, we have seen an increase in revenues from ads on YouTube and Google Play, which monetize at a lower rate than
  our traditional search ads.
       • As users in developing economies increasingly come online, our revenues from international markets
  continue to increase and movements in foreign exchange rates affect such revenues.
       The shift to online, as well as the advent of the multi-device world, has brought opportunities outside of the U.S.,
  including in emerging markets, such as India. We continue to invest heavily and develop localized versions of our products
  and advertising programs relevant to our users in these markets. This has led to a trend of increased revenues from emerging
  markets. We expect that our results will continue to be affected by our performance in these markets, particularly as low-cost
  mobile devices become more available. This trend could affect our revenues as developing markets initially monetize at a
  lower rate than more mature markets.



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       International revenues represent a significant portion of our revenues and are subject to fluctuations in foreign currency
  exchange rates relative to the U.S. dollar. While we have a foreign exchange risk management program designed to reduce
  our exposure to these fluctuations, this program does not fully offset their effect on our revenues and earnings.
      • The portion of revenues that we derive from non-advertising revenues is increasing and may adversely affect
  margins.
        Non-advertising revenues have grown over time. We expect this trend to continue as we focus on expanding our
  offerings through products and services like Google Cloud, Google Play, hardware products, and YouTube subscriptions. We
  currently derive non-advertising revenues primarily from sales of apps and in-app purchases, digital content products, and
  hardware; and licensing and service fees, including fees received for Google Cloud services and subscription and other
  services. A number of Other Bets initiatives are in their initial development stages, and as such, revenues from these
  businesses could be volatile. In addition, the margins on these revenues vary significantly and may be lower than the margins
  on our advertising revenues.
      • As we continue to serve our users and expand our businesses, we will invest heavily in operating and capital
  expenditures.
       We continue to make significant R&D investments in areas of strategic focus across Google Services, Google Cloud and
  Other Bets. We also expect to continue to invest in land and buildings for data centers and offices, and information technology
  assets, which includes servers and network equipment, to support the long-term growth of our business. In addition,
  acquisitions and strategic investments contribute to the breadth and depth of our offerings, expand our expertise in
  engineering and other functional areas, and build strong partnerships around strategic initiatives. For example, in January
  2021 we closed the acquisition of Fitbit, Inc. for $2.1 billion, which is expected to help spur innovation in wearable devices.
      • We face continuing changes in regulatory conditions, laws, and public policies, which could affect our
  business practices and financial results.
       Changes in social, political, economic, tax, and regulatory conditions or in laws and policies governing a wide range of
  topics and related legal matters have resulted in fines and caused us to change our business practices. As these global trends
  continue, our cost of doing business may increase, and our ability to pursue certain business models or offer certain products
  or services may be limited. Examples include the antitrust complaints filed by the U.S. Department of Justice and a number of
  state Attorneys General, the Digital Markets Act in Europe, and various legislative proposals in the U.S. focused on large
  technology platforms.
        •   Our employees are critical to our success and we expect to continue investing in them.
        Our employees are among our best assets and are critical for our continued success. We expect to continue hiring
  talented employees around the globe and to provide competitive compensation programs. For additional information see
  Culture and Workforce in Part I, Item 1 "Business."
  Seasonality and other
        Our advertising revenues are affected by seasonal fluctuations in internet usage, advertising expenditures, and
  underlying business trends, such as traditional retail seasonality. Additionally, our non-advertising revenues, including those
  generated from Google Cloud, Google Play, hardware, and YouTube, may be affected by fluctuations driven by changes in
  pricing, digital content releases, fee structures, new product and service launches, other market dynamics, as well as
  seasonality.
  Revenues and Monetization Metrics
        Google Services
       Google Services revenues consist of revenues generated from advertising ("Google advertising") as well as revenues
  from other sources ("Google other revenues").
        Google Advertising
        Google advertising revenues are comprised of the following:
            Google Search & other, which includes revenues generated on Google search properties (including revenues from
            traffic generated by search distribution partners who use Google.com as their default search in browsers, toolbars,
            etc.), and other Google owned and operated properties like Gmail, Google Maps, and Google Play;
            YouTube ads, which includes revenues generated on YouTube properties; and



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           Google Network, which includes revenues generated on Google Network properties participating in AdMob, AdSense,
           and Google Ad Manager.
       We use certain metrics to track how well traffic across various properties is monetized as it relates to our advertising
  revenues: paid clicks and cost-per-click pertain to traffic on Google Search & other properties, while impressions and cost-per-
  impressions pertain to traffic on our Network partners' properties.
       Paid clicks represent engagement by users and include clicks on advertisements by end-users on Google search
  properties and other Google owned and operated properties including Gmail, Google Maps, and Google Play. Cost-per-click is
  defined as click-driven revenues divided by our total number of paid clicks and represents the average amount we charge
  advertisers for each engagement by users.
        Impressions include impressions displayed to users on Google Network properties participating primarily in AdMob,
  AdSense, and Google Ad Manager. Cost-per-impression is defined as impression-based and click-based revenues divided by
  our total number of impressions, and represents the average amount we charge advertisers for each impression displayed to
  users.
       As our business evolves, we periodically review, refine, and update our methodologies for monitoring, gathering, and
  counting the number of paid clicks and the number of impressions, and for identifying the revenues generated by the
  corresponding click and impression activity.
       Our advertising revenue growth, as well as the change in paid clicks and cost-per-click on Google Search & other
  properties and the change in impressions and cost-per-impression on Google Network properties and the correlation between
  these items, have been affected and may continue to be affected by various factors, including:
           advertiser competition for keywords;
           changes in advertising quality, formats, delivery or policy;
           changes in device mix;
           changes in foreign currency exchange rates;
           fees advertisers are willing to pay based on how they manage their advertising costs;
           general economic conditions, including the effect of COVID-19;
           seasonality; and
           traffic growth in emerging markets compared to more mature markets and across various advertising verticals and
           channels.
        Google Other
        Google other revenues are comprised of the following:
           Google Play, which includes sales of apps and in-app purchases and digital content sold in the Google Play store;
           Devices and Services, which includes sales of hardware, including Fitbit wearable devices, Google Nest home
           products, and Pixel phones;
           YouTube non-advertising, which includes YouTube Premium and YouTube TV subscriptions; and
           other products and services.
        Google Cloud
        Google Cloud revenues are comprised of the following:
           Google Cloud Platform, which includes fees for infrastructure, platform, and other services;
           Google Workspace, which includes fees for cloud-based collaboration tools for enterprises, such as Gmail, Docs,
           Drive, Calendar and Meet; and
           other enterprise services.
        Other Bets
        Revenues from Other Bets are generated primarily from the sale of health technology and internet services.



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        For further details on how we recognize revenue, see Note 1 of the Notes to Consolidated Financial Statements included
  in Item 8 of this Annual Report on Form 10-K.
  Costs and Expenses
        Our cost structure has two components: cost of revenues and operating expenses. Our operating expenses include costs
  related to R&D, sales and marketing, and general and administrative functions. Certain of these expenses, including those
  associated with the operation of our technical infrastructure as well as components of our operating expenses, are generally
  less variable in nature and may not correlate to the changes in revenue.
        Cost of Revenues
        Cost of revenues is comprised of TAC and other costs of revenues.
           TAC includes:
                    Amounts paid to our distribution partners who make available our search access points and services. Our
                    distribution partners include browser providers, mobile carriers, original equipment manufacturers, and
                    software developers.
                    Amounts paid to Google Network partners primarily for ads displayed on their properties.
           Other cost of revenues includes:
                    Content acquisition costs, which are payments to content providers from whom we license video and other
                    content for distribution on YouTube and Google Play (we pay fees to these content providers based on
                    revenues generated or a flat fee).
                    Expenses associated with our data centers (including bandwidth, compensation expenses, depreciation,
                    energy, and other equipment costs) as well as other operations costs (such as content review as well as
                    customer and product support costs).
                    Inventory and other costs related to the hardware we sell.
        The cost of revenues as a percentage of revenues generated from ads placed on Google Network properties are
  significantly higher than the cost of revenues as a percentage of revenues generated from ads placed on Google Search &
  other properties, because most of the advertiser revenues from ads served on Google Network properties are paid as TAC to
  our Google Network partners.
       Q9.erating Ex9.enses
       Operating expenses are generally incurred during our normal course of business, which we categorize as either R&D,
  sales and marketing, or general and administrative.
        The main components of our R&D expenses are:
           compensation expenses for engineering and technical employees responsible for R&D related to our existing and new
           products and services;
           depreciation; and
           professional services fees primarily related to consulting and outsourcing services.
        The main components of our sales and marketing expenses are:
           compensation expenses for employees engaged in sales and marketing, sales support, and certain customer service
           functions; and
           spending relating to our advertising and promotional activities in support of our products and services.
        The main components of our general and administrative expenses are:
           compensation expenses for employees in finance, human resources, information technology, legal, and other
           administrative support functions;
           expenses related to legal matters, including fines and settlements; and
           professional services fees, including audit, consulting, outside legal, and outsourcing services.



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  Other Income (Expense), Net
       Other income (expense), net primarily consists of interest income (expense), the effect of foreign currency exchange
  gains (losses), net gains (losses) and impairment on our marketable and non-marketable securities, performance fees, and
  income (loss) and impairment from our equity method investments.
       For additional details, including how we account for our investments and factors that can drive fluctuations in the value of
  our investments, see Note 1 and Note 3 of the Notes to Consolidated Financial Statements included in Part II, Item 8 of this
  Annual Report on Form 10-K as well as Item 7A, "Quantitative and Qualitative Disclosures About Market Risk".
  Provision for Income Taxes
       Provision for income taxes represents the estimated amount of federal, state, and foreign income taxes incurred in the
  U.S. and the many jurisdictions in which we operate. The provision includes the effect of reserve provisions and changes to
  reserves that are considered appropriate as well as the related net interest and penalties.
       For additional details, including a reconciliation of the U.S. federal statutory rate to our effective tax rate, see Note 14 of
  the Notes to Consolidated Financial Statements included in Item 8 of this Annual Report on Form 10-K.
  Executive Overview
       The following table summarizes consolidated financial results for the years ended December 31, 2020 and 2021 unless
  otherwise specified (in millions, except for per share information and percentages):
                                                                             Year Ended December 31,
                                                                             2020              2021            $ Change     %Change
  Consolidated revenues                                             $        182,527     $    257,637      $      75,110         41 %
  Change in consolidated constant currency revenues                                                                              39 %

  Cost of revenues                                                  $         84,732     $    110,939      $      26,207         31 %
  Operating expenses                                                $         56,571     $     67,984      $      11,413         20 %

  Operating income                                                  $        41,224   $        78,714   $         37,490         91 %
  Operating margin                                                               23 %              31 %                           8%

  Other income (expense), net                                       $          6,858     $      12,020     $       5,162         75 %

  Net Income                                                        $        40,269      $     76,033      $      35,764         89 %
  Diluted EPS                                                       $         58.61      $     112.20      $       53.59         91 %

  Number of Employees                                                          135,301           156,500           21,199        16 %

           Revenues were $257.6 billion, an increase of 41 %. The increase in revenues was primarily driven by Google Services
           and Google Cloud. The adverse effect of COVID-19 on 2020 advertising revenues also contributed to the year-over-
           year growth.
           Cost of revenues was $110.9 billion, an increase of 31%, primarily driven by increases in TAC and content acquisition
           costs. An overall increase in data centers and other operations costs was partially offset by a reduction in depreciation
           expense due to the change in the estimated useful life of our servers and certain network equipment.
           Operating expenses were $68.0 billion, an increase of 20%, primarily driven by headcount growth, increases in
           advertising and promotional expenses and charges related to legal matters.
  Other information:
           Operating cash flow was $91.7 billion, primarily driven by revenues generated from our advertising products.
           Share repurchases were $50.3 billion, an increase of 62%. See Note 11 of the Notes to Consolidated Financial
           Statements included in Item 8 of this Annual Report on Form 10-K for further information.



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           Capital expenditures, which primarily reflected investments in technical infrastructure, were $24.6 billion.
           In January 2021, we updated the useful lives of certain of our servers and network equipment, resulting in a reduction
           in depreciation expense of $2.6 billion recorded primarily in cost of revenues and R&D. See Note 1 of the Notes to
           Consolidated Financial Statements included in Item 8 of this Annual Report on Form 10-K for further information.
           Our acquisition of Fitbit closed in early January 2021, and the related revenues are included in Google other. See
           Note 8 of the Notes to Consolidated Financial Statements included in Item 8 of this Annual Report on Form 10-K for
           further information.
           On February 1, 2022, the Company announced that the Board of Directors had approved and declared a 20-for-one
           stock split in the form of a one-time special stock dividend on each share of the Company's Class A, Class B, and
           Class C stock. See Note 11 of the Notes to Consolidated Financial Statements included in Item 8 of this Annual
           Report on Form 10-K for additional information.
  The Effect of COVID-19 on our Financial Results
       We began to observe the effect of COVID-19 on our financial results in March 2020 when, despite an increase in users'
  search activity, our advertising revenues declined compared to the prior year. This was due to a shift of user search activity to
  less commercial topics and reduced spending by our advertisers. For the quarter ended June 30, 2020 our advertising
  revenues declined due to the continued effects of COVID-19 and the related reductions in global economic activity, but we
  observed a gradual return in user search activity to more commercial topics. This was followed by increased spending by our
  advertisers, which continued throughout the second half of 2020. Additionally, over the course of 2020, we experienced
  variability in our margins as many of our expenses are less variable in nature and/or may not correlate to changes in
  revenues. Market volatility contributed to fluctuations in the valuation of our equity investments. Further, our assessment of the
  credit deterioration of our customers due to changes in the macroeconomic environment during the period was reflected in our
  allowance for credit losses for accounts receivable.
       Throughout 2021 we remained focused on innovating and investing in the services we offer to consumers and
  businesses to support our long-term growth. The impact of COVID-19 on 2020 financial results affected year-over-year growth
  trends. The COVID-19 pandemic continues to evolve, be unpredictable and affect our business and financial results. Our past
  results may not be indicative of our future performance, and historical trends in our financial results may differ materially.
  Financial Results
  Revenues
        The following table presents revenues by type (in millions):
                                                                                                     Year Ended December 31,
                                                                                                   2020                   2021
    Google Search & other                                                                  $   104,062 $                       148,951
    YouTube ads                                                                                 19,772                          28,845
    Google Network                                                                              23,090                          31,701
                                                                                           -------
       Google advertising                                                                      146,924                         209,497
    Google other                                                                                21,711                          28,032
                                                                                           -------
  Google Services total                                                                        168,635                         237,529
  Google Cloud                                                                                  13,059                          19,206
  Other Bets                                                                                       657                             753
  Hedging gains (losses)                                                                           176                             149
       Total revenues                                                                      $   182,527 $                       257,637
                                                                                                                 =======
  Google Services
        Google advertising revenues
        Google Search & other
        Google Search & other revenues increased $44.9 billion from 2020 to 2021. The overall growth was driven by
  interrelated factors including increases in search queries resulting from growth in user adoption and usage, primarily



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  on mobile devices, growth in advertiser spending, and improvements we have made in ad formats and delivery. The adverse
  effect of COVID-19 on 2020 revenues also contributed to the year-over-year increase.
        YouTube ads
       YouTube ads revenues increased $9.1 billion from 2020 to 2021. Growth was driven by our direct response and brand
  advertising products. Growth for our direct response advertising products was primarily driven by increased advertiser
  spending as well as improvements to ad formats and delivery. Growth for our brand advertising products was primarily driven
  by increased spending by our advertisers and the adverse effect of COVID-19 on 2020 revenues.
        Google Network
       Google Network revenues increased $8.6 billion from 2020 to 2021. The growth was primarily driven by strength in
  AdMob, Google Ad Manager, and AdSense. The adverse effect of COVID-19 on 2020 revenues also contributed to the year-
  over-year increase.
        Monetization Metrics
        Paid clicks and cost-per-click
        The following table presents changes in paid clicks and cost-per-click (expressed as a percentage) from 2020 to 2021:
                                                                                                            Year Ended December
                                                                                                                     31,
                                                                                                                    2021
  Paid clicks change                                                                                                       23 %
  Cost-per-click change                                                                                                    15 %

       Paid clicks increased from 2020 to 2021 driven by a number of interrelated factors, including an increase in search
  queries resulting from growth in user adoption and usage, primarily on mobile devices; an increase in clicks relating to ads on
  Google Play; growth in advertiser spending; and improvements we have made in ad formats and delivery. The adverse effect
  of COVID-19 on 2020 paid clicks also contributed to the increase.
       The increase in cost-per-click from 2020 to 2021 was driven by a number of interrelated factors including changes in
  device mix, geographic mix, growth in advertiser spending, ongoing product changes, and property mix, as well as the
  adverse effect of COVID-19 in 2020.
        Impressions and cost-per-impression
      The following table presents changes in impressions and cost-per-impression (expressed as a percentage) from 2020 to
  2021:
                                                                                                            Year Ended December
                                                                                                                     31,
                                                                                                                    2021
  Impressions change                                                                                                        2%
  Cost-per-impression change                                                                                               35 %

        Impressions increased from 2020 to 2021 primarily driven by growth in AdMob, partially offset by a decline in impressions
  related to AdSense. The increase in cost-per-impression was primarily driven by the adverse effect of COVID-19 in 2020 as
  well as the effect of interrelated factors including ongoing product and policy changes and improvements we have made in ad
  formats and delivery, changes in device mix, geographic mix, product mix, and property mix.
        Google other revenues
       Google other revenues increased $6.3 billion from 2020 to 2021. The growth was primarily driven by YouTube non-
  advertising and hardware, followed by Google Play. Growth for YouTube non-advertising was primarily due to an increase in
  paid subscribers. Growth in hardware reflects the inclusion of Fitbit revenues, as the acquisition closed in January 2021, and
  an increase in phone sales. Growth for Google Play was primarily driven by sales of apps and in-app purchases.



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  Google Cloud
      Google Cloud revenues increased $6.1 billion from 2020 to 2021. The growth was primarily driven by GCP followed by
  Google Workspace offerings. Google Cloud's infrastructure and platform services were the largest drivers of growth in GCP.
  Revenues by Geography
       The following table presents revenues by geography as a percentage of revenues, determined based on the addresses
  of our customers:
                                                                                               Year Ended December 31,
                                                                                             2020                   2021
  United States                                                                                     47 %                   46 %
  EMEA                                                                                              30 %                   31 %
  APAC                                                                                              18 %                   18 %
  Other Americas                                                                                     5%                     5%

       For further details on revenues by geography, see Note 2 of the Notes to Consolidated Financial Statements included in
  Item 8 of this Annual Report on Form 10-K.
  Use of Constant Currency Revenues and Constant Currency Revenue Percentage Change
        The effect of currency exchange rates on our business is an important factor in understanding period to period
  comparisons. We use non-GMP constant currency revenues and non-GMP percentage change in constant currency
  revenues for financial and operational decision-making and as a means to evaluate period-to-period comparisons. We believe
  the presentation of results on a constant currency basis in addition to U.S. Generally Accepted Accounting Principles (GMP)
  results helps improve the ability to understand our performance because it excludes the effects of foreign currency volatility
  that are not indicative of our core operating results.
       Constant currency information compares results between periods as if exchange rates had remained constant period
  over period. We define constant currency revenues as total revenues excluding the effect of foreign exchange rate movements
  and hedging activities, and use it to determine the constant currency revenue percentage change on a year-on-year basis.
  Constant currency revenues are calculated by translating current period revenues using prior year comparable period
  exchange rates, as well as excluding any hedging effects realized in the current period.
        Constant currency revenue percentage change is calculated by determining the change in current period revenues over
  prior year comparable period revenues where current period foreign currency revenues are translated using prior year
  comparable period exchange rates and hedging effects are excluded from revenues of both periods.
      These results should be considered in addition to, not as a substitute for, results reported in accordance with GMP.
  Results on a constant currency basis, as we present them, may not be comparable to similarly titled measures used by other
  companies and are not a measure of performance presented in accordance with GMP.



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       The following table presents the foreign exchange effect on international revenues and total revenues (in millions, except
  percentages):

                                                                                  Year Ended December 31,
                                                                                2020                    2021             % Change from Prior
                                                                                                                                Year
  EMEA revenues                                                         $            55,370        $           79,107                   43 %
  EMEA constant currency revenues                                                                              76,321                   38 %

  APAC revenues                                                                      32,550                    46,123                   42 %
  APAC constant currency revenues                                                                              45,666                   40 %

  Other Americas revenues                                                              9,417                   14,404                   53 %
  Other Americas constant currency revenues                                                                    14,317                   52 %

  United States revenues                                                             85,014                   117,854                   39 %

  Hedging gains (losses)                                                               176                    149
  Total revenues                                                        $          182,527         $      257,637                       41 %
  Revenues, excluding hedging effect                                    $          182,351         $      257,488
  Exchange rate effect                                                                                     (3,330)
  Total constant currency revenues                                                                 $      254,158                       39 %

       EMEA revenue growth from 2020 to 2021 was favorably affected by foreign currency exchange rates, primarily due to the
  U.S. dollar weakening relative to the Euro and British pound.
       APAC revenue growth from 2020 to 2021 was favorably affected by foreign currency exchange rates, primarily due to the
  U.S. dollar weakening relative to the Australian dollar, partially offset by the U.S. dollar strengthening relative to the Japanese
  yen.
        Other Americas growth change from 2020 to 2021 was favorably affected by changes in foreign currency exchange
  rates, primarily due to the U.S. dollar weakening relative to the Canadian dollar, partially offset by the U.S. dollar strengthening
  relative to the Argentine peso and the Brazilian real.
  Costs and Expenses
  Cost of Revenues
        The following tables present cost of revenues, including TAC (in millions, except percentages):
                                                                                                         Year Ended December 31,
                                                                                                       2020                     2021
  TAC                                                                                          $ 32,778 $                          45,566
  Other cost of revenues                                                                         51,954                            65,373
                                                                                             --------
  Total cost of revenues                                                                     $   84,732 $                         110,939
                                                                                             ========
  Total cost of revenues as a percentage of revenues                                                           46.4 %                  43.1 %

       Cost of revenues increased $26.2 billion from 2020 to 2021. The increase was due to an increase in other cost of
  revenues and TAC of $13.4 billion and $12.8 billion, respectively.
       The increase in TAC from 2020 to 2021 was due to an increase in TAC paid to distribution partners and to Google
  Network partners, primarily driven by growth in revenues subject to TAC. The TAC rate decreased from 22.3% to 21.8% from
  2020 to 2021 primarily due to a revenue mix shift from Google Network properties to Google Search & other properties. The
  TAC rate on Google Search & other properties revenues and the TAC rate on Google Network revenues were both
  substantially consistent from 2020 to 2021.
       The increase in other cost of revenues from 2020 to 2021 was driven by increases in content acquisition costs primarily
  for YouTube, data center and other operations costs, and hardware costs. The increase in data center and



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  other operations costs was partially offset by a reduction in depreciation expense due to the change in the estimated useful life
  of our servers and certain network equipment beginning in the first quarter of 2021.
  Research and Development
        The following table presents R&D expenses (in millions, except percentages):
                                                                                                  Year Ended December 31,
                                                                                                2020                   2021
  Research and development expenses                                                        $       27,573   $               31,562
  Research and development expenses as a percentage of revenues                                      15.1 %                   12.3 %

      R&D expenses increased $4.0 billion from 2020 to 2021. The increase was primarily due to an increase in compensation
  expenses of $3.5 billion, largely resulting from an 11% increase in headcount, and an increase in professional service fees of
  $516 million. This increase was partially offset by a reduction in depreciation expense of $450 million including the effect of our
  change in the estimated useful life of our servers and certain network equipment.
  Sales and Marketing
        The following table presents sales and marketing expenses (in millions, except percentages):
                                                                                                  Year Ended December 31,
                                                                                                2020                   2021
  Sales and marketing expenses                                                             $       17,946   $               22,912
  Sales and marketing expenses as a percentage of revenues                                            9.8 %                     8.9 %

       Sales and marketing expenses increased $5.0 billion from 2020 to 2021, primarily driven by an increase in advertising
  and promotional activities of $2.5 billion and an increase in compensation expenses of $2.2 billion. The increase in advertising
  and promotional activities was driven by both increased spending in the current period and a reduction in spending in 2020
  due to COVID-19. The increase in compensation expenses was largely due to a 14% increase in headcount.
  General and Administrative
        The following table presents general and administrative expenses (in millions, except percentages):
                                                                                                  Year Ended December 31,
                                                                                                2020                   2021
  General and administrative expenses                                                      $       11,052   $               13,510
  General and administrative expenses as a percentage of revenues                                     6.1 %                    5.2 %

        General and administrative expenses increased $2.5 billion from 2020 to 2021. The increase was primarily driven by a
  $1.7 billion increase in charges relating to legal matters and a $664 million increase in compensation expenses, largely
  resulting from a 14% increase in headcount. These increases were partially offset by a reduction in expense of $808 million
  related to a decline in allowance for credit losses for accounts receivable, as 2020 reflected a higher allowance related to the
  economic effect of COVID-19.



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  Segment Profitability
        The following table presents segment operating income (loss) (in millions).
                                                                                                             Year Ended December 31,
                                                                                                            2020                   2021
  Operating income (loss):
    Google Services                                                                                 $              54,606 $    91,855
    Google Cloud                                                                                                   (5,607)     (3,099)
    Other Bets                                                                                                     (4,476)     (5,281)
    Corporate costs, unallocated( 1l                                                                               (3,299)     (4,761)
         Total income from operations                                                               $              41,224 $    78,714
                                                                                                                           =======
  (1)
        Unallocated corporate costs primarily include corporate initiatives, corporate shared costs, such as finance and legal, including certain
        fines and settlements, as well as costs associated with certain shared R&D activities. Additionally, hedging gains (losses) related to
        revenue are included in corporate costs.

  Google Services
       Google services operating income increased $37.2 billion from 2020 to 2021. The increase was due to growth in
  revenues partially offset by increases in TAC, content acquisition costs, compensation expenses, advertising and promotional
  expenses, and charges related to certain legal matters. The increase in expenses was partially offset by a reduction in costs
  driven by the change in the estimated useful life of our servers and certain network equipment. The effect of COVID-19 on
  2020 results affected the year-over-year increase in operating income.
  Google Cloud
       Google Cloud operating loss decreased $2.5 billion from 2020 to 2021. The decrease in operating loss was primarily
  driven by growth in revenues, partially offset by an increase in expenses, primarily driven by compensation expenses. The
  increase in expenses was partially offset by a reduction in costs driven by the change in the estimated useful life of our
  servers and certain network equipment.
  Other Bets
       Other Bets operating loss increased $805 million from 2020 to 2021. The increase in operating loss was primarily driven
  by increases in compensation expenses, including an increase in valuation-based compensation charges during the second
  quarter of 2021.
  Other Income (Expense), Net
        The following table presents other income (expense), net, (in millions):
                                                                                                             Year Ended December 31,
                                                                                                            2020                   2021
  Other income (expense), net                                                                       $              6,858    $             12,020

       Other income (expense), net, increased $5.2 billion from 2020 to 2021. The increase was primarily driven by increases in
  net unrealized gains recognized for our marketable and non-marketable equity securities of $6.9 billion, partially offset by an
  increase in accrued performance fees related to certain investments of $1.3 billion.
        See Note 3 of the Notes to Consolidated Financial Statements included in Item 8 of this Annual Report on Form 10-K for
  further information.
  Provision for Income Taxes
        The following table presents provision for income taxes (in millions, except for effective tax rate):

                                                                                                           Year Ended December 31,
                                                                                                         2020                     2021
  Provision for income taxes                                                                    $               7,813   $            14,701
  Effective tax rate                                                                                             16.2 %                16.2 %

       The provision for income taxes increased from 2020 to 2021, primarily due to an increase in pre-tax earnings, including in
  countries that have higher statutory rates, partially offset by an increase in the stock-based compensation related tax benefit,
  and the U.S. federal Foreign-Derived Intangible Income tax deduction benefit. Our effective tax rate

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  was substantially consistent from 2020 to 2021. See Note 14 of the Notes to Consolidated Financial Statements included in
  Item 8 of this Annual Report on Form 10-K for further information.
  Financial Condition
  Cash, Cash Equivalents, and Marketable Securities
       As of December 31, 2021, we had $139.6 billion in cash, cash equivalents, and short-term marketable securities. Cash
  equivalents and marketable securities are comprised of time deposits, money market funds, highly liquid government bonds,
  corporate debt securities, mortgage-backed and asset-backed securities, and marketable equity securities.
  Sources, Uses of Cash and Related Trends
       Our principal sources of liquidity are cash, cash equivalents, and marketable securities, as well as the cash flow that we
  generate from operations. The primary use of capital continues to be to invest for the long-term growth of the business. We
  regularly evaluate our cash and capital structure, including the size, pace and form of capital return to stockholders.
        The following table presents our cash flows (in millions):
                                                                                                 Year Ended December 31,
                                                                                                2020                 2021
  Net cash provided by operating activities                                                $        65,124 $                91,652
  Net cash used in investing activities                                                    $       (32,773) $              (35,523)
  Net cash used in financing activities                                                    $       (24,408) $              (61,362)

        Cash Provided by Operating Activities
        Our largest source of cash provided by operations are advertising revenues generated by Google Search & other
  properties, Google Network properties, and YouTube ads. Additionally, we generate cash through sales of apps and in-app
  purchases, digital content products, and hardware; and licensing and service fees including fees received for Google Cloud
  offerings and subscription-based products.
      Our primary uses of cash from operating activities include payments to distribution and Google Network partners, for
  compensation and related costs, and for content acquisition costs. In addition, uses of cash from operating activities include
  hardware inventory costs, income taxes, and other general corporate expenditures.
       Net cash provided by operating activities increased from 2020 to 2021 primarily due to the net effect of an increase in
  cash received from revenues and cash paid for cost of revenues and operating expenses, and changes in operating assets
  and liabilities.
        Cash Used in Investing Activities
       Cash provided by investing activities consists primarily of maturities and sales of our investments in marketable and non-
  marketable securities. Cash used in investing activities consists primarily of purchases of marketable and non-marketable
  securities, purchases of property and equipment, and payments for acquisitions.
      Net cash used in investing activities increased from 2020 to 2021 primarily due to a decrease in maturities and sales of
  marketable securities, an increase in purchases of property and equipment, offset by a decrease in purchases of non-
  marketable securities.
        Cash Used in Financing Activities
        Cash provided by financing activities consists primarily of proceeds from issuance of debt and proceeds from the sale of
  interest in consolidated entities. Cash used in financing activities consists primarily of repurchases of common and capital
  stock, net payments related to stock-based award activities, and repayments of debt.
       Net cash used in financing activities increased from 2020 to 2021 primarily due to repayment of debt and an increase in
  cash payments for repurchases of common and capital stock.
 Liquidity and Material Cash Requirements
        We expect existing cash, cash equivalents, short-term marketable securities, cash flows from operations and financing
  activities to continue to be sufficient to fund our operating activities and cash commitments for investing and financing
  activities for at least the next 12 months and thereafter for the foreseeable future.



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        Capital Expenditures and Leases
       We make investments in land and buildings for data centers and offices and information technology assets through
  purchases of property and equipment and lease arrangements to provide capacity for the growth of our services and products.
           Ca12ital Ex12enditures
        Our capital investments in property and equipment consist primarily of the following major categories:
        • technical infrastructure, which consists of our investments in servers and network equipment for computing, storage
          and networking requirements for ongoing business activities, including machine learning (collectively referred to as
          our information technology assets) and data center land and building construction; and
        • office facilities, ground up development projects and related building improvements.
       Construction in progress consists primarily of technical infrastructure and office facilities which have not yet been placed
  in service for our intended use. The time frame from date of purchase to placement in service of these assets may extend
  from months to years. For example, our data center construction projects are generally multi-year projects with multiple
  phases, where we acquire qualified land and buildings, construct buildings, and secure and install information technology
  assets.
       During the years ended December 31, 2020 and 2021, we spent $22.3 billion and $24.6 billion on capital expenditures,
  respectively. Depreciation of our property and equipment commences when the deployment of such assets are completed and
  are ready for our intended use. Land is not depreciated. For the years ended December 31, 2020 and 2021, our depreciation
  and impairment expenses on property and equipment were $12.9 billion and $11.6 billion, respectively.
           Leases
         For the years ended December 31, 2020 and 2021, we recognized total operating lease assets of $2.8 billion and $3.0
  billion, respectively. As of December 31, 2021, the amount of total future lease payments under operating leases, which had a
  weighted average remaining lease term of 8 years, was $15.5 billion, of which $2.5 billion is short-term. As of December 31,
  2021, we have entered into leases that have not yet commenced with future short-term and long-term lease payments of $606
  million and $5.2 billion, excluding purchase options, that are not yet recorded on our Consolidated Balance Sheets. These
  leases will commence between 2022 and 2026 with non-cancelable lease terms of 1 to 25 years.
        For the years ended December 31, 2020 and 2021, our operating lease expenses (including variable lease costs) were
  $2.9 billion and $3.4 billion, respectively. Finance lease costs were not material for the years ended December 31, 2020 and
  2021. See Note 4 of the Notes to Consolidated Financial Statements included in Item 8 of this Annual Report on Form 10-K for
  further information on leases.
        Financing
       We have a short-term debt financing program of up to $10.0 billion through the issuance of commercial paper, which
  increased from $5.0 billion in September 2021. Net proceeds from this program are used for general corporate purposes. As
  of December 31, 2021, we had no commercial paper outstanding.
       As of December 31, 2021, we had $10.0 billion of revolving credit facilities with no amounts outstanding. In April 2021,
  we terminated the existing revolving credit facilities, which were scheduled to expire in July 2023, and entered into two new
  revolving credit facilities in the amounts of $4.0 billion and $6.0 billion, which will expire in April 2022 and April 2026,
  respectively. The interest rates for the new credit facilities are determined based on a formula using certain market rates, as
  well as our progress toward the achievement of certain sustainability goals. No amounts have been borrowed under the new
  credit facilities.
       As of December 31, 2021, we have senior unsecured notes outstanding with a total carrying value of $12.8 billion with
  short-term and long-term future interest payments of $231 million and $4.0 billion, respectively. See Note 6 of the Notes to
  Consolidated Financial Statements included in Item 8 of this Annual Report on Form 10-K for further information on our debt.
        Share Repurchase Program
       In April 2021, the Board of Directors of Alphabet authorized the company to repurchase up to $50.0 billion of its Class C
  stock. In July 2021, the Alphabet board approved an amendment to the April 2021 authorization, permitting the company to
  repurchase both Class A and Class C shares in a manner deemed in the best interest of the company and its stockholders,
  taking into account the economic cost and prevailing market conditions, including the relative trading



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  prices and volumes of the Class A and Class C shares. In accordance with the authorizations of the Board of Directors of
  Alphabet, during 2021 we repurchased and subsequently retired 20.3 million aggregate shares for $50.3 billion. Of the
  aggregate amount repurchased and subsequently retired, 1.2 million shares were Class A stock repurchased for $3.4 billion.
  As of December 31, 2021, $17.4 billion remains available for Class A and Class C share repurchases under the amended
  authorization. The repurchases are being executed from time to time, subject to general business and market conditions and
  other investment opportunities, through open market purchases or privately negotiated transactions, including through Rule
  10b5-1 plans. The repurchase program does not have an expiration date. See Note 11 of the Notes to Consolidated Financial
  Statements included in Item 8 of this Annual Report on Form 10-K.
        European Commission Fines
        In 2017, 2018 and 2019, the EC announced decisions that certain actions taken by Google infringed European
  competition law and imposed fines of €2.4 billion ($2.7 billion as of June 27, 2017), €4.3 billion ($5.1 billion as of June 30,
  2018), and €1.5 billion ($1.7 billion as of March 20, 2019), respectively. While each EC decision is under appeal, we included
  the fines in accrued expenses and other current liabilities on our Consolidated Balance Sheets as we provided bank
  guarantees (in lieu of a cash payment) for the fines.
        Taxes
       As of December 31, 2021, we had short-term and long-term income taxes payable of $784 million and $5.7 billion related
  to a one-time transition tax payable incurred as a result of the U.S. Tax Cuts and Jobs Act ("Tax Act"). As permitted by the Tax
  Act, we will pay the transition tax in annual interest-free installments through 2025. We also have taxes payable of $3.5 billion
  primarily related to uncertain tax positions as of December 31, 2021.
        Purchase Commitments
        We regularly enter into significant non-cancelable contractual obligations primarily related to data center operations and
  build-outs, information technology assets, office buildings, purchases of inventory, and network capacity arrangements. As of
  December 31, 2021, such purchase commitments, which do not qualify for recognition on our Consolidated Balance Sheets,
  amount to $13.7 billion, of which $11.9 billion is short-term. These amounts represent the non-cancelable portion of
  agreements or the minimum cancellation fee. For those agreements with variable terms, we do not estimate the non-
  cancelable obligation beyond any minimum quantities and/or pricing as of December 31, 2021.
  Critical Accounting Estimates
       We prepare our consolidated financial statements in accordance with GMP. In doing so, we have to make estimates and
  assumptions. Our critical accounting estimates are those estimates that involve a significant level of uncertainty at the time the
  estimate was made, and changes in them have had or are reasonably likely to have a material effect on our financial condition
  or results of operations. Accordingly, actual results could differ materially from our estimates. We base our estimates on past
  experience and other assumptions that we believe are reasonable under the circumstances, and we evaluate these estimates
  on an ongoing basis. We have reviewed our critical accounting estimates with the audit and compliance committee of our
  Board of Directors.
      See Note 1 of the Notes to Consolidated Financial Statements included in Item 8 of this Annual Report on Form 10-K for
  a summary of significant accounting policies and the effect on our financial statements.
  Fair Value Measurements of Non-Marketable Equity Securities
        We measure certain financial instruments at fair value on a nonrecurring basis, consisting primarily of our non-
  marketable equity securities. These investments are accounted for under the measurement alternative and are measured at
  cost, less impairment, subject to upward and downward adjustments resulting from observable price changes for identical or
  similar investments of the same issuer. These adjustments require quantitative assessments of the fair value of our securities,
  which may require the use of unobservable inputs. Pricing adjustments are determined by using various valuation
  methodologies and involve the use of estimates using the best information available, which may include cash flow projections
  or other available market data.
        Non-marketable equity securities are also evaluated for impairment, based on qualitative factors including the companies'
  financial and liquidity position and access to capital resources, among others. When indicators of impairment exist, we prepare
  quantitative measurements of the fair value of our equity investments using a market approach or an income approach, which
  requires judgment and the use of unobservable inputs, including discount rates, investee revenues and costs, and comparable
  market data of private and public companies, among others. When our assessment indicates that an impairment exists, we
  write down the investment to its fair value.


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       We also have compensation arrangements with payouts based on realized returns from certain investments, i.e.
  performance fees. We recognize compensation expense based on the estimated payouts, which may result in expense
  recognized before investment returns are realized, and may require the use of unobservable inputs.
  Property and Equipment
       We assess the reasonableness of the useful lives of our property and equipment periodically as well as when other
  changes occur, such as when there are changes to ongoing business operations, changes in the planned use and utilization of
  assets, or technological advancements, that could indicate a change in the period over which we expect to benefit from the
  assets.
  Income Taxes
      We are subject to income taxes in the U.S. and foreign jurisdictions. Significant judgment is required in evaluating our
  uncertain tax positions and determining our provision for income taxes.
        Recording an uncertain tax position involves various qualitative considerations, including evaluation of comparable and
  resolved tax exposures, applicability of tax laws, and likelihood of settlement. We evaluate uncertain tax positions periodically,
  considering changes in facts and circumstances, such as new regulations or recent judicial opinions, as well as the status of
  audit activities by taxing authorities. Although we believe we have adequately reserved for our uncertain tax positions, no
  assurance can be given that the final tax outcome of these matters will not be different. To the extent that the final tax outcome
  of these matters is different than the amounts recorded, such differences will affect the provision for income taxes and the
  effective tax rate in the period in which such determination is made.
       The provision for income taxes includes the effect of reserve provisions and changes to reserves that are considered
  appropriate as well as the related net interest and penalties. In addition, we are subject to the continuous examination of our
  income tax returns by the Internal Revenue Services (IRS) and other tax authorities which may assert assessments against
  us. We regularly assess the likelihood of adverse outcomes resulting from these examinations and assessments to determine
  the adequacy of our provision for income taxes.
  Loss Contingencies
        We are regularly subject to claims, suits, regulatory and government investigations, and other proceedings involving
  competition, intellectual property, privacy, tax and related compliance, labor and employment, commercial disputes, content
  generated by our users, goods and services offered by advertisers or publishers using our platforms, personal injury consumer
  protection, and other matters. Certain of these matters include speculative claims for substantial or indeterminate amounts of
  damages. We record a liability when we believe that it is probable that a loss has been incurred and the amount can be
  reasonably estimated. If we determine that a loss is reasonably possible and the loss or range of loss can be estimated, we
  disclose the possible loss in Note 10 of the Notes to Consolidated Financial Statements included in Item 8 of this Annual
  Report on Form 10-K.
       We evaluate, on a regular basis, developments in our legal matters that could affect the amount of liability that has been
  previously accrued, and the matters and related reasonably possible losses disclosed, and make adjustments and changes to
  our disclosures as appropriate. Significant judgment is required to determine both the likelihood and the estimated amount of a
  loss related to such matters. Until the final resolution of such matters, there may be an exposure to loss in excess of the
  amount recorded, and such amounts could be material.
  Change in Accounting Estimate
        In January 2021, we completed an assessment of the useful lives of our servers and certain network equipment. In doing
  so, we determined we should adjust the estimated useful life. This change in accounting estimate was effective beginning
  fiscal year 2021 and is detailed further in Note 1 of the Notes to Consolidated Financial Statements included in Item 8 of this
  Annual Report on Form 10-K.
  ITEM 7A.         QUANTITATIVE AND QUALITATIVE DISCLOSURES ABOUT MARKET RISK
       We are exposed to financial market risks, including changes in foreign currency exchange rates, interest rates, and
  equity investment risks.
  Foreign Currency Exchange Risk
        We transact business globally in multiple currencies. International revenues, as well as costs and expenses denominated
  in foreign currencies, expose us to the risk of fluctuations in foreign currency exchange rates against the U.S. dollar. Principal
  currencies hedged included the Australian dollar, British pound, Canadian dollar, Euro, and Japanese yen. For the purpose of
  analyzing foreign currency exchange risk, we considered the historical trends in

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  foreign currency exchange rates and determined that it was reasonably possible that adverse changes in exchange rates of
  10% could be experienced in the near term.
       We use foreign exchange forward contracts to offset the foreign exchange risk on assets and liabilities denominated in
  currencies other than the functional currency of the subsidiary. These forward contracts reduce, but do not entirely eliminate,
  the effect of foreign currency exchange rate movements on our assets and liabilities. The foreign currency gains and losses on
  these assets and liabilities are recorded in other income (expense), net, which are offset by the gains and losses on the
  forward contracts.
       If an adverse 10% foreign currency exchange rate change was applied to total monetary assets, liabilities, and
  commitments denominated in currencies other than the functional currencies at the balance sheet date, it would have resulted
  in an adverse effect on income before income taxes of approximately $497 million and $285 million as of December 31, 2020
  and 2021, respectively, after consideration of the effect of foreign exchange contracts in place for the years ended
  December 31, 2020 and 2021.
       We use foreign currency forwards and option contracts, including collars (an option strategy comprised of a combination
  of purchased and written options) to protect forecasted U.S. dollar-equivalent earnings from changes in foreign currency
  exchange rates. When the U.S. dollar strengthens, gains from foreign currency options and forwards reduce the foreign
  currency losses related to our earnings. When the U.S. dollar weakens, losses from foreign currency collars and forwards
  offset the foreign currency gains related to our earnings. These hedging contracts reduce, but do not entirely eliminate, the
  effect of foreign currency exchange rate movements. We designate these contracts as cash flow hedges for accounting
  purposes. We reflect the gains or losses of foreign currency spot rate changes as a component of AOCI and subsequently
  reclassify them into revenues to offset the hedged exposures as they occur.
        If the U.S. dollar weakened by 10% as of December 31, 2020 and 2021, the amount recorded in AOCI related to our
  foreign exchange contracts before tax effect would have been approximately $912 million and $1.3 billion lower as of
  December 31, 2020 and 2021, respectively. The change in the value recorded in AOCI would be expected to offset a
  corresponding foreign currency change in forecasted hedged revenues when recognized.
        We use foreign exchange forward contracts designated as net investment hedges to hedge the foreign currency risks
  related to investment in foreign subsidiaries. These forward contracts serve to offset the foreign currency translation risk from
  our foreign operations.
        If the U.S. dollar weakened by 10%, the amount recorded in cumulative translation adjustment (CTA) within AOCI related
  to our net investment hedge would have been approximately $1.0 billion lower as of both December 31, 2020 and 2021. The
  change in value recorded in CTA would be expected to offset a corresponding foreign currency translation gain or loss from
  our investment in foreign subsidiaries.
  Interest Rate Risk
        Our Corporate Treasury investment strategy is to achieve a return that will allow us to preserve capital and maintain
  liquidity. We invest primarily in debt securities, including those of the U.S. government and its agencies, corporate debt
  securities, mortgage-backed securities, money market and other funds, municipal securities, time deposits, asset backed
  securities, and debt instruments issued by foreign governments. By policy, we limit the amount of credit exposure to any one
  issuer. Our investments in both fixed rate and floating rate interest earning securities carry a degree of interest rate risk. Fixed
  rate securities may have their fair market value adversely affected due to a rise in interest rates, while floating rate securities
  may produce less income than predicted if interest rates fall. Unrealized gains or losses on our marketable debt securities are
  primarily due to interest rate fluctuations as compared to interest rates at the time of purchase. For certain fixed and variable
  rate debt securities, we have elected the fair value option for which changes in fair value are recorded in other income
  (expense), net. We measure securities for which we have not elected the fair value option at fair value with gains and losses
  recorded in AOCI until the securities are sold, less any expected credit losses.
       We use value-at-risk (VaR) analysis to determine the potential effect of fluctuations in interest rates on the value of our
  marketable debt security portfolio. The VaR is the expected loss in fair value, for a given confidence interval, for our
  investment portfolio due to adverse movements in interest rates. We use a variance/covariance VaR model with 95%
  confidence interval. The estimated one-day loss in fair value of marketable debt securities as of December 31, 2020 and 2021
  are shown below (in millions):
                                                                                                                  12-Month Average
                                                                               As of December 31,                 As of December 31,
                                                                              2020             2021             2020             2021
  Risk Category - Interest Rate                                         $            144   $          139   $        145   $            148



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        Actual future gains and losses associated with our marketable debt security portfolio may differ materially from the
  sensitivity analyses performed as of December 31, 2020 and 2021 due to the inherent limitations associated with predicting
  the timing and amount of changes in interest rates and our actual exposures and positions. VaR analysis is not intended to
  represent actual losses but is used as a risk estimation.
  Equity Investment Risk
       Our marketable and non-marketable equity securities are subject to a wide variety of market-related risks that could
  substantially reduce or increase the fair value of our holdings.
       Our marketable equity securities are publicly traded stocks or funds and our non-marketable equity securities are
  investments in privately held companies, some of which are in the startup or development stages.
       We record marketable equity securities not accounted for under the equity method at fair value based on readily
  determinable market values, of which publicly traded stocks and mutual funds are subject to market price volatility, and
  represent $5.9 billion and $7.8 billion of our investments as of December 31, 2020 and 2021, respectively. A hypothetical
  adverse price change of 10% on our December 31, 2021 balance, which could be experienced in the near term, would
  decrease the fair value of marketable equity securities by $780 million. From time to time, we may enter into derivatives to
  hedge the market price risk on certain of our marketable equity securities.
         Our non-marketable equity securities not accounted for under the equity method are adjusted to fair value for observable
  transactions for identical or similar investments of the same issuer or impairment (referred to as the measurement alternative).
  The fair value measured at the time of the observable transaction is not necessarily an indication of the current fair value as of
  the balance sheet date. These investments, especially those that are in the early stages, are inherently risky because the
  technologies or products these companies have under development are typically in the early phases and may never
  materialize, and they may experience a decline in financial condition, which could result in a loss of a substantial part of our
  investment in these companies. The success of our investment in any private company is also typically dependent on the
  likelihood of our ability to realize appreciation in the value of investments through liquidity events such as public offerings,
  acquisitions, private sales or other market events. As of December 31, 2020 and 2021, the carrying value of our non-
  marketable equity securities, which were accounted for under the measurement alternative, was $18.9 billion and $27 .6 billion,
  respectively. Valuations of our equity investments in private companies are inherently more complex due to the lack of readily
  available market data. Volatility in the global economic climate and financial markets could result in a significant impairment
  charge relating to our non-marketable equity securities. Changes in valuation of non-marketable equity securities may not
  directly correlate with changes in valuation of marketable equity securities. Additionally, observable transactions at lower
  valuations could result in significant losses on our non-marketable equity securities. The effect of COVID-19 on our
  impairment assessment requires significant judgment due to the uncertainty around the duration and severity of the effect.
       The carrying values of our equity method investments, which totaled approximately $1.4 billion and $1.5 billion as of
  December 31, 2020 and 2021, respectively, generally do not fluctuate based on market price changes. However, these
  investments could be impaired if the carrying value exceeds the fair value and is not expected to recover.
       For further information about our equity investments, see Note 1 and Note 3 of the Notes to Consolidated Financial
  Statements included in Item 8 of this Annual Report on Form 10-K.



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                             REPORT OF INDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM
  To the Stockholders and the Board of Directors of Alphabet Inc.
  Opinion on the Financial Statements
  We have audited the accompanying consolidated balance sheets of Alphabet Inc. (the Company) as of December 31, 2020
  and 2021, the related consolidated statements of income, comprehensive income, stockholders' equity and cash flows for
  each of the three years in the period ended December 31, 2021, and the related notes and financial statement schedule listed
  in the Index at Item 15 (collectively referred to as the "consolidated financial statements"). In our opinion, the consolidated
  financial statements present fairly, in all material respects, the financial position of the Company at December 31, 2020 and
  2021, and the results of its operations and its cash flows for each of the three years in the period ended December 31, 2021,
  in conformity with U.S. generally accepted accounting principles.
  We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States)
  (PCAOB), the Company's internal control over financial reporting as of December 31, 2021, based on criteria established in
  Internal Control-Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway Commission
  (2013 framework), and our report dated February 1, 2022 expressed an unqualified opinion thereon.
  Basis for Opinion
  These financial statements are the responsibility of the Company's management. Our responsibility is to express an opinion
  on the Company's financial statements based on our audits. We are a public accounting firm registered with the PCAOB and
  are required to be independent with respect to the Company in accordance with the U.S. federal securities laws and the
  applicable rules and regulations of the U.S. Securities and Exchange Commission and the PCAOB.
  We conducted our audits in accordance with the standards of the PCAOB. Those standards require that we plan and perform
  the audit to obtain reasonable assurance about whether the financial statements are free of material misstatement, whether
  due to error or fraud. Our audits included performing procedures to assess the risks of material misstatement of the financial
  statements, whether due to error or fraud, and performing procedures that respond to those risks. Such procedures included
  examining, on a test basis, evidence regarding the amounts and disclosures in the financial statements. Our audits also
  included evaluating the accounting principles used and significant estimates made by management, as well as evaluating the
  overall presentation of the financial statements. We believe that our audits provide a reasonable basis for our opinion.
  Critical Audit Matter
  The critical audit matter communicated below is a matter arising from the current period audit of the financial statements that
  was communicated or required to be communicated to the audit committee and that: (1) relates to accounts or disclosures that
  are material to the financial statements and (2) involved our especially challenging, subjective or complex judgments. The
  communication of the critical audit matter does not alter in any way our opinion on the consolidated financial statements, taken
  as a whole, and we are not, by communicating the critical audit matter below, providing a separate opinion on the critical audit
  matter or on the accounts or disclosures to which it relates.



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  Loss Contingencies
  Description of the The Company is regularly subject to claims, suits, regulatory and government investigations, and other
  Matter             proceedings involving competition, intellectual property, privacy, tax and related compliance, labor and
                     employment, commercial disputes, content generated by its users, goods and services offered by
                     advertisers or publishers using their platforms, personal injury, consumer protection, and other matters. As
                     described in Note 10 to the consolidated financial statements "Contingencies" such claims, suits,
                     regulatory and government investigations, and other proceedings could result in adverse consequences.

                       Significant judgment is required to determine both the likelihood, and the estimated amount, of a loss
                       related to such matters. Auditing management's accounting for and disclosure of loss contingencies from
                       these matters involved challenging and subjective auditor judgment in assessing the Company's
                       evaluation of the probability of a loss, and the estimated amount or range of loss.
  How We               We tested relevant controls over the identified risks associated with management's accounting for and
  Addressed the        disclosure of these matters. This included controls over management's assessment of the probability of
  Matter in Our        incurrence of a loss and whether the loss or range of loss was reasonably estimable and the development
  Audit                of related disclosures.

                       Our audit procedures included gaining an understanding of previous rulings issued by regulators and the
                       status of ongoing lawsuits, reviewing letters addressing the matters from internal and external legal
                       counsel, meeting with internal legal counsel to discuss the allegations, and obtaining a representation
                       letter from management on these matters. We also evaluated the Company's disclosures in relation to
                       these matters.



  /s/ Ernst & Young LLP

  We have served as the Company's auditor since 1999.

  San Jose, California
  February 1, 2022




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                                REPORT OF INDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM
  To the Stockholders and the Board of Directors of Alphabet Inc.
  Opinion on Internal Control over Financial Reporting
  We have audited Alphabet lnc.'s internal control over financial reporting as of December 31, 2021, based on criteria
  established in Internal Control-Integrated Framework issued by the Committee of Sponsoring Organizations of the Treadway
  Commission (2013 framework), (the COSO criteria). In our opinion, Alphabet Inc. (the Company) maintained, in all material
  respects, effective internal control over financial reporting as of December 31, 2021, based on the COSO criteria.
  We also have audited, in accordance with the standards of the Public Company Accounting Oversight Board (United States)
  (PCAOB), the 2021 consolidated financial statements of the Company and our report dated February 1, 2022 expressed an
  unqualified opinion thereon.
  Basis for Opinion
  The Company's management is responsible for maintaining effective internal control over financial reporting and for its
  assessment of the effectiveness of internal control over financial reporting included in the accompanying Management's
  Report on Internal Control over Financial Reporting. Our responsibility is to express an opinion on the Company's internal
  control over financial reporting based on our audit. We are a public accounting firm registered with the PCAOB and are
  required to be independent with respect to the Company in accordance with the U.S. federal securities laws and the applicable
  rules and regulations of the U.S. Securities and Exchange Commission and the PCAOB.
  We conducted our audit in accordance with the standards of the PCAOB. Those standards require that we plan and perform
  the audit to obtain reasonable assurance about whether effective internal control over financial reporting was maintained in all
  material respects.
  Our audit included obtaining an understanding of internal control over financial reporting, assessing the risk that a material
  weakness exists, testing and evaluating the design and operating effectiveness of internal control based on the assessed risk,
  and performing such other procedures as we considered necessary in the circumstances. We believe that our audit provides a
  reasonable basis for our opinion.
  Definition and Limitations of Internal Control over Financial Reporting
  A company's internal control over financial reporting is a process designed to provide reasonable assurance regarding the
  reliability of financial reporting and the preparation of financial statements for external purposes in accordance with generally
  accepted accounting principles. A company's internal control over financial reporting includes those policies and procedures
  that (1) pertain to the maintenance of records that, in reasonable detail, accurately and fairly reflect the transactions and
  dispositions of the assets of the company; (2) provide reasonable assurance that transactions are recorded as necessary to
  permit preparation of financial statements in accordance with generally accepted accounting principles, and that receipts and
  expenditures of the company are being made only in accordance with authorizations of management and directors of the
  company; and (3) provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use, or
  disposition of the company's assets that could have a material effect on the financial statements.
  Because of its inherent limitations, internal control over financial reporting may not prevent or detect misstatements. Also,
  projections of any evaluation of effectiveness to future periods are subject to the risk that controls may become inadequate
  because of changes in conditions, or that the degree of compliance with the policies or procedures may deteriorate.

  /s/ Ernst & Young LLP

  San Jose, California
  February 1, 2022




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                                                       Alphabet Inc.
                                            CONSOLIDATED BALANCE SHEETS
           (In millions, except share amounts which are reflected in thousands, and par value per share amounts)
                                                                                                          As of December 31,
                                                                                                   2020                        2021
  Assets
  Current assets:
      Cash and cash equivalents                                                               $        26,465       $              20,945
      Marketable securities                                                                           110,229                     118,704
       Total cash, cash equivalents, and marketable securities                                        136,694                     139,649
       Accounts receivable, net                                                                        30,930                      39,304
       Income taxes receivable, net                                                                       454                         966
       Inventory                                                                                          728                       1,170
       Other current assets                                                                             5,490                       7,054
           Total current assets                                                                       174,296                     188,143
  Non-marketable securities                                                                            20,703                      29,549
  Deferred income taxes                                                                                 1,084                       1,284
  Property and equipment, net                                                                          84,749                      97,599
  Operating lease assets                                                                               12,211                      12,959
  Intangible assets, net                                                                                1,445                       1,417
  Goodwill                                                                                             21,175                      22,956
  Other non-current assets                                                                              3,953                       5,361
           Total assets                                                                       $       319,616       $             359,268
  Liabilities and Stockholders' Equity
  Current liabilities:
      Accounts payable                                                                        $            5,589    $               6,037
      Accrued compensation and benefits                                                                   11,086                   13,889
      Accrued expenses and other current liabilities                                                      28,631                   31,236
      Accrued revenue share                                                                                7,500                    8,996
      Deferred revenue                                                                                     2,543                    3,288
      Income taxes payable, net                                                                            1,485                      808
            Total current liabilities                                                                     56,834                   64,254
  Long-term debt                                                                                          13,932                   14,817
  Deferred revenue, non-current                                                                              481                      535
  Income taxes payable, non-current                                                                        8,849                    9,176
  Deferred income taxes                                                                                    3,561                    5,257
  Operating lease liabilities                                                                             11,146                   11,389
  Other long-term liabilities                                                                              2,269                    2,205
            Total liabilities                                                                             97,072                  107,633
  Contingencies (Note 10)
  Stockholders' equity:
      Preferred stock, $0.001 par value per share, 100,000 shares authorized; no shares issued
      and outstanding                                                                                           0                       0
      Class A and Class B common stock, and Class C capital stock and additional paid-in
      capital, $0.001 par value per share: 15,000,000 shares authorized (Class A 9,000,000,
      Class B 3,000,000, Class C 3,000,000); 675,222 (Class A 300,730, Class B 45,843, Class
      C 328,649) and 662,121 (Class A 300,737, Class B 44,665, Class C 316,719) shares
      issued and outstanding                                                                           58,510                      61,774
      Accumulated other comprehensive income (loss)                                                       633                      (1,623)
      Retained earnings                                                                               163,401                     191,484
           Total stockholders' equity                                                                 222,544                     251,635
           Total liabilities and stockholders' equity                                          $      319,616       $             359,268


                                                         See accompanying notes.



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                                                              Alphabet Inc.
                                             CONSOLIDATED STATEMENTS OF INCOME
                                               (In millions, except per share amounts)
                                                                                                      Year Ended December 31,
                                                                                               2019            2020             2021
  Revenues                                                                                 $   161,857    $    182,527    $     257,637
  Costs and expenses:
      Cost of revenues                                                                          71,896          84,732          110,939
      Research and development                                                                  26,018          27,573           31,562
      Sales and marketing                                                                       18,464          17,946           22,912
      General and administrative                                                                 9,551          11,052           13,510
      European Commission fines                                                                  1,697               0                0
  Total costs and expenses                                                                     127,626         141,303          178,923
  Income from operations                                                                        34,231          41,224           78,714
  Other income (expense), net                                                                    5,394           6,858           12,020
  Income before income taxes                                                                    39,625          48,082           90,734
  Provision for income taxes                                                                     5,282           7,813           14,701
  Net income                                                                               $    34,343    $     40,269    $      76,033

  Basic net income per share of Class A and B common stock and Class C
  capital stock                                                                            $     49.59    $       59.15   $      113.88
  Diluted net income per share of Class A and B common stock and Class C
  capital stock                                                                            $     49.16    $       58.61   $      112.20


                                                         See accompanying notes.



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                                                    Alphabet Inc.
                                  CONSOLIDATED STATEMENTS OF COMPREHENSIVE INCOME
                                                     (In millions)
                                                                                                     Year Ended December 31,
                                                                                           2019                2020               2021
  Net income                                                                       $        34,343         $    40,269        $    76,033
  Other comprehensive income (loss):
      Change in foreign currency translation adjustment                                       (119)              1,139              (1,442)
      Available-for-sale investments:
          Change in net unrealized gains (losses)                                             1,611              1,313              (1,312)
          Less: reclassification adjustment for net (gains) losses included in net
          income                                                                                  ( 111)          (513)                   (64)
          Net change, net of income tax benefit (expense) of $(221 ), $(230), and
          $394                                                                               1,500                    800           (1,376)
      Cash flow hedges:
          Change in net unrealized gains (losses)                                                   22                 42                716
          Less: reclassification adjustment for net (gains) losses included in net
          income                                                                              (299)                   (116)              (154)
          Net change, net of income tax benefit (expense) of $42, $11, and
          $(122)                                                                              (277)                (74)               562
  Other comprehensive income (loss)                                                          1,104               1,865             (2,256)
  Comprehensive income                                                             $        35,447 $            42,134 $           73,777


                                                         See accompanying notes.



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                                                          Alphabet Inc.
                                  CONSOLIDATED STATEMENTS OF STOCKHOLDERS' EQUITY
                              (In millions, except share amounts which are reflected in thousands)
                                                          Class A and Class B
                                                      Common Stock, Class C Capital          Accumulated
                                                               Stock and
                                                        Additional Paid-In Capital              Other                            Total
                                                                                           Comprehensive      Retained       Stockholders'
                                                         Shares            Amount           Income (Loss)     Earnings          Equity
  Balance as of December 31, 2018                         695,556     $      45,049    $          (2,306) $     134,885 $        177,628
      Cumulative effect of accounting change                    0                 0                  (30)            (4)             (34)
      Common and capital stock issued                       8,120               202                    0              0              202
      Stock-based compensation expense                          0            10,890                    0              0           10,890
      Income tax withholding related to vesting
      of restricted stock units and other                       0            (4,455)                   0              0           (4,455)
      Repurchases of capital stock                        (15,341)           (1,294)                   0        (17,102)         (18,396)
      Sale of interest in consolidated entities                 0               160                    0              0              160
      Net income                                                0                 0                    0         34,343           34,343
      Other comprehensive income (loss)                         0                 0                1,104              0            1,104
  Balance as of December 31, 2019                         688,335            50,552               (1,232)       152,122          201,442
      Common and capital stock issued                       8,398               168                    0              0              168
      Stock-based compensation expense                          0            13,123                    0              0           13,123
      Income tax withholding related to vesting
      of restricted stock units and other                       0            (5,969)                   0              0           (5,969)
      Repurchases of capital stock                        (21,511)           (2,159)                   0        (28,990)         (31,149)
      Sale of interest in consolidated entities                 0             2,795                    0              0            2,795
      Net income                                                0                 0                    0         40,269           40,269
      Other comprehensive income (loss)                         0                 0                1,865              0            1,865
  Balance as of December 31, 2020                         675,222            58,510                  633        163,401          222,544
      Common and capital stock issued                       7,225                12                    0              0               12
      Stock-based compensation expense                          0            15,539                    0              0           15,539
      Income tax withholding related to vesting
      of restricted stock units and other                         0         (10,273)                    0                0        (10,273)
      Repurchases of common and capital
      stock                                               (20,326)           (2,324)                   0        (47,950)         (50,274)
      Sale of interest in consolidated entities                 0               310                    0              0              310
      Net income                                                0                 0                    0         76,033           76,033
      Other comprehensive income (loss)                         0                 0               (2,256)             0           (2,256)
  Balance as of December 31, 2021                         662,121 $          61,774 $             (1,623) $     191,484 $        251,635


                                                         See accompanying notes.



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                                                        Alphabet Inc.
                                          CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                         (In millions)
                                                                                                      Year Ended December 31,
                                                                                               2019            2020             2021
  Operating activities
  Net income                                                                               $     34,343    $     40,269    $      76,033
  Adjustments:
      Depreciation and impairment of property and equipment                                      10,856          12,905           11,555
      Amortization and impairment of intangible assets                                              925             792              886
      Stock-based compensation expense                                                           10,794          12,991           15,376
      Deferred income taxes                                                                         173           1,390            1,808
      Gain on debt and equity securities, net                                                    (2,798)         (6,317)         (12,270)
      Other                                                                                        (592)          1,267             (213)
  Changes in assets and liabilities, net of effects of acquisitions:
      Accounts receivable                                                                        (4,340)         (6,524)          (9,095)
      Income taxes, net                                                                          (3,128)          1,209             (625)
      Other assets                                                                                 (621)         (1,330)          (1,846)
      Accounts payable                                                                              428             694              283
      Accrued expenses and other liabilities                                                      7,170           5,504            7,304
      Accrued revenue share                                                                       1,273           1,639            1,682
      Deferred revenue                                                                               37             635              774
           Net cash provided by operating activities                                             54,520          65,124           91,652
  Investing activities
  Purchases of property and equipment                                                           (23,548)        (22,281)         (24,640)
  Purchases of marketable securities                                                           (100,315)       (136,576)        (135,196)
  Maturities and sales of marketable securities                                                  97,825         132,906          128,294
  Purchases of non-marketable securities                                                         (1,932)         (7,175)          (2,838)
  Maturities and sales of non-marketable securities                                                 405           1,023              934
  Acquisitions, net of cash acquired, and purchases of intangible assets                         (2,515)           (738)          (2,618)
  Other investing activities                                                                        589              68              541
           Net cash used in investing activities                                                (29,491)        (32,773)         (35,523)
  Financing activities
  Net payments related to stock-based award activities                                           (4,765)         (5,720)         (10,162)
  Repurchases of common and capital stock                                                       (18,396)        (31,149)         (50,274)
  Proceeds from issuance of debt, net of costs                                                      317          11,761           20,199
  Repayments of debt                                                                               (585)         (2,100)         (21,435)
  Proceeds from sale of interest in consolidated entities, net                                      220           2,800              310
           Net cash used in financing activities                                                (23,209)        (24,408)         (61,362)
  Effect of exchange rate changes on cash and cash equivalents                                      (23)             24             (287)
  Net increase (decrease) in cash and cash equivalents                                            1,797           7,967           (5,520)
  Cash and cash equivalents at beginning of period                                               16,701          18,498           26,465
  Cash and cash equivalents at end of period                                               $     18,498 $        26,465 $         20,945

  Supplemental disclosures of cash flow information
     Cash paid for income taxes, net of refunds                                            $      8,203    $      4,990    $      13,412

                                                         See accompanying notes.



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                                                               Alphabet Inc.
                                       NOTES TO CONSOLIDATED FINANCIAL STATEMENTS
  Note 1. Summary of Significant Accounting Policies
        Google was incorporated in California in September 1998 and re-incorporated in the State of Delaware in August 2003.
  In 2015, we implemented a holding company reorganization, and as a result, Alphabet Inc. ("Alphabet") became the successor
  issuer to Google.
  Basis of Consolidation
        The consolidated financial statements of Alphabet include the accounts of Alphabet and entities consolidated under the
  variable interest and voting models. All intercompany balances and transactions have been eliminated.
  Use of Estimates
          Preparation of consolidated financial statements in conformity with GMP requires us to make estimates and
  assumptions that affect the amounts reported and disclosed in the financial statements and the accompanying notes. Actual
  results could differ materially from these estimates due to uncertainties, including the effects of COVID-19. On an ongoing
  basis, we evaluate our estimates, including those related to the allowance for credit losses; fair values of financial instruments,
  intangible assets, and goodwill; useful lives of intangible assets and property and equipment; income taxes; and contingent
  liabilities, among others. We base our estimates on assumptions, both historical and forward looking, that are believed to be
  reasonable, and the results of which form the basis for making judgments about the carrying values of assets and liabilities.
         In January 2021, we completed an assessment of the useful lives of our servers and network equipment and adjusted
  the estimated useful life of our servers from three years to four years and the estimated useful life of certain network
  equipment from three years to five years. This change in accounting estimate was effective beginning in fiscal year 2021.
  Based on the carrying value of servers and certain network equipment as of December 31, 2020 and those acquired during
  the year ended December 31, 2021, the effect of this change in estimate was a reduction in depreciation expense of $2.6
  billion and an increase in net income of $2.0 billion, or $3.02 per basic share and $2.98 per diluted share, for the year ended
  December 31, 2021.
  Revenue Recognition
        Revenues are recognized when control of the promised goods or services is transferred to our customers, and the
  collectibility of an amount that we expect in exchange for those goods or services is probable. Sales and other similar taxes
  are excluded from revenues.
  Advertising Revenues
        We generate advertising revenues primarily by delivering advertising on:
           Google Search and other properties, including revenues from traffic generated by search distribution partners who use
           Google.com as their default search in browsers, toolbars, etc. and other Google owned and operated properties like
           Gmail, Google Maps, and Google Play;
           YouTube properties; and
           Google Network properties, including revenues from Google Network properties participating in AdMob, AdSense, and
           Google Ad Manager.
      Our customers generally purchase advertising inventory through Google Ads, Google Ad Manager, and Google
  Marketing Platform, among others.
       We offer advertising by delivering both performance and brand advertising. We recognize revenues for performance
  advertising when a user engages with the advertisement, such as a click, a view, or a purchase. For brand advertising, we
  recognize revenues when the ad is displayed, or a user views the ad.
       For ads placed on Google Network properties, we evaluate whether we are the principal (i.e., report revenues on a gross
  basis) or agent (i.e., report revenues on a net basis). Generally, we report advertising revenues for ads placed on Google
  Network properties on a gross basis, that is, the amounts billed to our customers are recorded as revenues, and amounts paid
  to Google Network partners are recorded as cost of revenues. Where we are the principal, we control the advertising inventory
  before it is transferred to our customers. Our control is evidenced by our sole ability to monetize the advertising inventory
  before it is transferred to our customers and is further supported by us being primarily responsible to our customers and
  having a level of discretion in establishing pricing.


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  Google Cloud Revenues
        Google Cloud revenues consist of revenues from:
           Google Cloud Platform, which includes fees for infrastructure, platform, and other services;
           Google Workspace, which includes fees for cloud-based collaboration tools for enterprises, such as Gmail, Docs,
           Drive, Calendar, and Meet; and
           other enterprise services.
         Our cloud services are generally provided on either a consumption or subscription basis and may have contract terms
  longer than a year. Revenues related to cloud services provided on a consumption basis are recognized when the customer
  utilizes the services, based on the quantity of services consumed. Revenues related to cloud services provided on a
  subscription basis are recognized ratably over the contract term as the customer receives and consumes the benefits of the
  cloud services.
  Google Other Revenues
        Google other revenues consist of revenues from:
        • Google Play, which includes sales of apps and in-app purchases and digital content sold in the Google Play store;
        • hardware, which includes sales of Fitbit wearable devices, Google Nest home products, and Pixel phones;
        • YouTube non-advertising, which includes YouTube Premium and YouTube TV subscriptions; and
        • other products and services.
       As it relates to Google other revenues, the most significant judgment is determining whether we are the principal or agent
  for app sales and in-app purchases through the Google Play store. We report revenues from these transactions on a net basis
  because our performance obligation is to facilitate a transaction between app developers and end users, for which we earn a
  service fee.
  Arrangements with Multiple Performance Obligations
        Our contracts with customers may include multiple performance obligations. For such arrangements, we allocate
  revenues to each performance obligation based on its relative standalone selling price. We generally determine standalone
  selling prices based on the prices charged to customers or using expected cost plus margin.
  Customer Incentives and Credits
       Certain customers receive cash-based incentives or credits, which are accounted for as variable consideration. We
  estimate these amounts based on the expected amount to be provided to customers and reduce revenues. We believe that
  there will not be significant changes to our estimates of variable consideration.
  Sales Commissions
      We expense sales commissions when incurred and when the amortization period (the period of the expected benefit) is
  one year or less. We recognize an asset for certain sales commissions if we expect the period of benefit of these costs to
  exceed one year and recognize the expense over the amortization period. These costs are recorded within sales and
  marketing expenses.
  Cost of Revenues
        Cost of revenues consists of TAC and other costs of revenues.
           TAC includes:
                    Amounts paid to our distribution partners who make available our search access points and services. Our
                    distribution partners include browser providers, mobile carriers, original equipment manufacturers, and
                    software developers.
                    Amounts paid to Google Network partners primarily for ads displayed on their properties.
           Other cost of revenues includes:
                    Content acquisition costs, which are payments to content providers from whom we license video and other
                    content for distribution on YouTube and Google Play (we pay fees to these content providers based on
                    revenues generated or a flat fee).


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                    Expenses associated with our data centers (including bandwidth, compensation expenses, depreciation,
                    energy, and other equipment costs) as well as other operations costs (such as content review as well as
                    customer and product support costs).
                    Inventory and other costs related to the hardware we sell.
  Software Development Costs
        We expense software development costs, including costs to develop software products or the software component of
  products to be sold, leased, or marketed to external users, before technological feasibility is reached. Technological feasibility
  is typically reached shortly before the release of such products. As a result, development costs that meet the criteria for
  capitalization were not material for the periods presented.
        Software development costs also include costs to develop software to be used solely to meet internal needs and cloud
  based applications used to deliver our services. We capitalize development costs related to these software applications once
  the preliminary project stage is complete and it is probable that the project will be completed and the software will be used to
  perform the function intended. Costs capitalized for developing such software applications were not material for the periods
  presented.
  Stock-based Compensation
         Stock-based compensation primarily consists of Alphabet restricted stock units (RSUs). RSUs are equity classified and
  measured at the fair market value of the underlying stock at the grant date. We recognize RSU expense using the straight-line
  attribution method over the requisite service period and account for forfeitures as they occur.
       For RSUs, shares are issued on the vesting dates net of the applicable statutory income tax withholding to be paid by us
  on behalf of our employees. As a result, fewer shares are issued than the number of RSUs outstanding, and the income tax
  withholding is recorded as a reduction to additional paid-in capital.
       Additionally, stock-based compensation also includes other stock-based awards, such as performance stock units
  (PSUs) that include market conditions and awards that may be settled in cash or the stock of certain Other Bets. PSUs and
  certain Other Bet awards are equity classified and expense is recognized over the requisite service period. Certain Other Bet
  awards are liability classified and remeasured at fair value through settlement. The fair value of Other Bet awards is based on
  the equity valuation of the respective Other Bet.
  Advertising and Promotional Expenses
       We expense advertising and promotional costs in the period in which they are incurred. For the years ended
  December 31, 2019, 2020 and 2021, advertising and promotional expenses totaled approximately $6.8 billion, $5.4 billion, and
  $7.9 billion, respectively.
  Performance Fees
        Performance fees refer to compensation arrangements with payouts based on realized returns from certain investments.
  We recognize compensation expense based on the estimated payouts, which may result in expense recognized before
  investment returns are realized, and may require the use of unobservable inputs. Performance fees are recorded as a
  component of other income (expense), net.
  Fair Value Measurements
       Fair value is an exit price, representing the amount that would be received to sell an asset or paid to transfer a liability in
  an orderly transaction between market participants. As such, fair value is a market-based measurement that is determined
  based on assumptions that market participants would use in pricing an asset or a liability. Assets and liabilities recorded at fair
  value are measured and classified in accordance with a three-tier fair value hierarchy based on the observability of the inputs
  available in the market used to measure fair value:
        Level 1 - Observable inputs that reflect quoted prices (unadjusted) for identical assets or liabilities in active markets.
       Level 2 - Inputs that are based upon quoted prices for similar instruments in active markets, quoted prices for identical or
       similar instruments in markets that are not active, and model-based valuation techniques for which all significant inputs
       are observable in the market or can be derived from observable market data. Where applicable, these models project
       future cash flows and discount the future amounts to a present value using market-based observable inputs including
       interest rate curves, foreign exchange rates, and credit ratings.
        Level 3 - Unobservable inputs that are supported by little or no market activities.



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      The fair value hierarchy requires an entity to maximize the use of observable inputs and minimize the use of
  unobservable inputs when measuring fair value.
        Our financial assets and liabilities that are measured at fair value on a recurring basis include cash equivalents,
  marketable securities, derivative financial instruments, and certain non-marketable debt securities. Our financial assets
  measured at fair value on a nonrecurring basis include non-marketable equity securities. Other financial assets and liabilities
  are carried at cost with fair value disclosed, if required.
        We measure certain other instruments, including stock-based compensation awards settled in the stock of certain Other
  Bets, and certain assets and liabilities acquired in a business combination, also at fair value on a nonrecurring basis. The
  determination of fair value involves the use of appropriate valuation methods and relevant inputs into valuation models.
  Financial Instruments
        Our financial instruments include cash, cash equivalents, marketable and non-marketable securities, derivative financial
  instruments and accounts receivable.
  Credit Risks
        We are subject to credit risk from cash equivalents, marketable securities, derivative financial instruments, including
  foreign exchange contracts, and accounts receivable. We manage our credit risk exposure through timely assessment of our
  counterparty creditworthiness, credit limits and use of collateral management. Foreign exchange contracts are transacted with
  various financial institutions with high credit standing. Accounts receivable are typically unsecured and are derived from
  revenues earned from customers located around the world. We manage our credit risk exposure by performing ongoing
  evaluations to determine customer credit and we limit the amount of credit we extend. We generally do not require collateral
  from our customers.
  Cash Equivalents
       We invest excess cash primarily in government bonds, corporate debt securities, mortgage-backed and asset-backed
  securities, time deposits, and money market funds.
  Marketable Securities
         We classify all marketable debt securities that have stated maturities of three months or less from the date of purchase
  as cash equivalents and those with stated maturities of greater than three months as marketable securities on our
  Consolidated Balance Sheets. We determine the appropriate classification of our investments in marketable debt securities at
  the time of purchase and reevaluate such designation at each balance sheet date. We have classified and accounted for our
  marketable debt securities as available-for-sale. After consideration of our risk versus reward objectives, as well as our
  liquidity requirements, we may sell these debt securities prior to their stated maturities. As we view these securities as
  available to support current operations, we classify highly liquid securities with maturities beyond 12 months as current assets
  under the caption marketable securities on the Consolidated Balance Sheets. We carry these securities at fair value, and
  report the unrealized gains and losses, net of taxes, as a component of stockholders' equity, except for the changes in
  allowance for expected credit losses, which are recorded in other income (expense), net. For certain marketable debt
  securities we have elected the fair value option, for which changes in fair value are recorded in other income (expense), net.
  We determine any realized gains or losses on the sale of marketable debt securities on a specific identification method, and
  we record such gains and losses as a component of other income (expense), net.
       Our investments in marketable equity securities are measured at fair value with the related gains and losses, including
  unrealized, recognized in other income (expense), net. We classify our marketable equity securities subject to long-term lock-
  up restrictions beyond twelve months as other non-current assets on the Consolidated Balance Sheets.
  Non-Marketable Securities
        We account for non-marketable equity securities through which we exercise significant influence but do not have control
  over the investee under the equity method. Our non-marketable equity securities not accounted for under the equity method
  are primarily accounted for under the measurement alternative. Under the measurement alternative, the carrying value is
  measured at cost, less any impairment, plus or minus changes resulting from observable price changes in orderly transactions
  for identical or similar investments of the same issuer. Adjustments are determined primarily based on a market approach as
  of the transaction date and are recorded as a component of other income (expense), net.
        Non-marketable debt securities are classified as available-for-sale securities.



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        Non-marketable securities that do not have stated contractual maturity dates are classified as other non-current assets
  on the Consolidated Balance Sheets.
  Derivative Financial Instruments
        See Note 3 for the accounting policy pertaining to derivative financial instruments.
  Accounts Receivable
       Our payment terms for accounts receivable vary by the types and locations of our customers and the products or
  services offered. The term between invoicing and when payment is due is not significant. For certain products or services and
  customers, we require payment before the products or services are delivered to the customer.
       We maintain an allowance for credit losses for accounts receivable, which is recorded as an offset to accounts
  receivable, and changes in such are classified as general and administrative expense in the Consolidated Statements of
  Income. We assess collectibility by reviewing accounts receivable on a collective basis where similar characteristics exist and
  on an individual basis when we identify specific customers with known disputes or collectibility issues. In determining the
  amount of the allowance for credit losses, we consider historical collectibility based on past due status and make judgments
  about the creditworthiness of customers based on ongoing credit evaluations. We also consider customer-specific information,
  current market conditions (such as the effects caused by COVID-19), and reasonable and supportable forecasts of future
  economic conditions.
      The allowance for credit losses on accounts receivable was $789 million and $550 million as of December 31, 2020 and
  2021, respectively.
  Other
       Our financial instruments also include debt and equity investments in companies with which we also have commercial
  arrangements. For these transactions, judgment is required to assess the substance of the arrangements, such as the market
  value of similar transactions or the fair value of the investment based on stand-alone transactions, and whether the
  agreements should be accounted for as separate transactions under the applicable GMP.
  Impairment of Investments
        We periodically review our debt and non-marketable equity securities for impairment.
        For debt securities in an unrealized loss position, we determine whether a credit loss exists. The credit loss is estimated
  by considering available information relevant to the collectibility of the security and information about past events, current
  conditions, and reasonable and supportable forecasts. Any credit loss is recorded as a charge to other income (expense), net,
  not to exceed the amount of the unrealized loss. Unrealized losses other than the credit loss are recognized in accumulated
  other comprehensive income (AOCI). If we have an intent to sell, or if it is more likely than not that we will be required to sell a
  debt security in an unrealized loss position before recovery of its amortized cost basis, we will write down the security to its fair
  value and record the corresponding charge as a component of other income (expense), net.
        For non-marketable equity securities, including equity method investments, we consider whether impairment indicators
  exist by evaluating the companies' financial and liquidity position and access to capital resources, among other indicators. If
  the assessment indicates that the investment is impaired, we write down the investment to its fair value by recording the
  corresponding charge as a component of other income (expense), net. We prepare quantitative measurements of the fair
  value of our equity investments using a market approach or an income approach.
  Inventory
      Inventory consists primarily of finished goods and is stated at the lower of cost and net realizable value. Cost is
  computed using the first-in, first-out method.
  Variable Interest Entities
        We determine at the inception of each arrangement whether an entity in which we have made an investment or in which
  we have other variable interests is considered a variable interest entity (VIE). We consolidate VIEs when we are the primary
  beneficiary. We are the primary beneficiary of a VIE when we have the power to direct activities that most significantly affect
  the economic performance of the VIE and have the obligation to absorb the majority of their losses or benefits. If we are not
  the primary beneficiary in a VIE, we account for the investment or other variable interests in a VIE in accordance with
  applicable GMP.
       Periodically, we assess whether any changes in our interest or relationship with the entity affect our determination of
  whether the entity is a VIE and, if so, whether we are the primary beneficiary.

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  Property and Equipment
       Property and equipment includes the following categories: land and buildings, information technology assets,
  construction in progress, leasehold improvements, and furniture and fixtures. Land and buildings include land, offices, data
  centers, and related building improvements. Information technology assets include servers and network equipment. We
  account for property and equipment at cost less accumulated depreciation. We compute depreciation using the straight-line
  method over the estimated useful lives of the assets, which we regularly evaluate. We depreciate buildings over periods of
  seven to 25 years. We depreciate information technology assets generally over periods of four to five years (generally, four
  years for servers and five years for network equipment).
        We depreciate leasehold improvements over the shorter of the remaining lease term or the estimated useful lives of the
  assets. Construction in progress is the construction or development of property and equipment that have not yet been placed
  in service for our intended use. Depreciation for equipment, buildings, and leasehold improvements commences once they are
  ready for our intended use. Land is not depreciated.
  leases
       We determine if an arrangement is a lease at inception. Our lease agreements generally contain lease and non-lease
  components. Payments under our lease arrangements are primarily fixed. Non-lease components primarily include payments
  for maintenance and utilities. We combine fixed payments for non-lease components with lease payments and account for
  them together as a single lease component which increases the amount of our lease assets and liabilities.
       Certain lease agreements contain variable payments, which are expensed as incurred and not included in the lease
  assets and liabilities. These amounts include payments affected by the Consumer Price Index, payments contingent on wind
  or solar production for power purchase arrangements, and payments for maintenance and utilities.
        Lease assets and liabilities are recognized at the present value of the future lease payments at the lease commencement
  date. The interest rate used to determine the present value of the future lease payments is our incremental borrowing rate,
  because the interest rate implicit in our leases is not readily determinable. Our incremental borrowing rate is estimated to
  approximate the interest rate on a collateralized basis with similar terms and payments, and in economic environments where
  the leased asset is located. Our lease terms include periods under options to extend or terminate the lease when it is
  reasonably certain that we will exercise that option. We generally use the base, non-cancelable, lease term when determining
  the lease assets and liabilities. Lease assets also include any prepaid lease payments and lease incentives.
       Operating lease assets and liabilities are included on our Consolidated Balance Sheet. The current portion of our
  operating lease liabilities is included in accrued expenses and other current liabilities, and the long-term portion is included in
  operating lease liabilities. Finance lease assets are included in property and equipment, net. Finance lease liabilities are
  included in accrued expenses and other current liabilities or long-term debt.
        Operating lease expense (excluding variable lease costs) is recognized on a straight-line basis over the lease term.
  long-lived Assets, Goodwill and Other Acquired Intangible Assets
        We review property and equipment and intangible assets, excluding goodwill, for impairment when events or changes in
  circumstances indicate the carrying amount may not be recoverable. The evaluation is performed at the lowest level of
  identifiable cash flows independent of other assets. We measure recoverability of these assets by comparing the carrying
  amounts to the future undiscounted cash flows that the assets or the asset group are expected to generate. If the carrying
  value of the assets or asset group is not recoverable, the impairment recognized is measured as the amount by which the
  carrying value exceeds its fair value. Impairments were not material for the periods presented.
       We allocate goodwill to reporting units based on the expected benefit from the business combination. We evaluate our
  reporting units periodically, as well as when changes in our operating segments occur. For changes in reporting units, we
  reassign goodwill using a relative fair value allocation approach. We test our goodwill for impairment at least annually, or more
  frequently if events or changes in circumstances indicate that the asset may be impaired. Goodwill impairments were not
  material for the periods presented.
        Intangible assets with definite lives are amortized over their estimated useful lives on a straight-line basis generally over
  periods ranging from one to twelve years.



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  Income Taxes
       We account for income taxes using the asset and liability method, under which we recognize the amount of taxes
  payable or refundable for the current year and deferred tax assets and liabilities for the future tax consequences of events that
  have been recognized in our financial statements or tax returns. We measure current and deferred tax assets and liabilities
  based on provisions of enacted tax law. We evaluate the realization of our deferred tax assets based on all available evidence
  and establish a valuation allowance to reduce deferred tax assets when it is more likely than not that they will not be realized.
        We recognize the financial statement effects of a tax position when it is more likely than not that, based on technical
  merits, the position will be sustained upon examination. The tax benefits of the position recognized in the financial statements
  are then measured based on the largest amount of benefit that is greater than 50% likely to be realized upon settlement with a
  taxing authority. In addition, we recognize interest and penalties related to unrecognized tax benefits as a component of the
  income tax provision.
  Business Combinations
        We include the results of operations of the businesses that we acquire as of the acquisition date. We allocate the
  purchase price of the acquisitions to the assets acquired and liabilities assumed based on their estimated fair values. The
  excess of the purchase price over the fair values of identifiable assets and liabilities is recorded as goodwill. Acquisition-
  related expenses are recognized separately from the business combination and are expensed as incurred.
  Foreign Currency
       We translate the financial statements of our international subsidiaries to U.S. dollars using month-end exchange rates for
  assets and liabilities, and average rates for the annual period derived from month-end exchange rates for revenues, costs,
  and expenses. We record translation gains and losses in AOCI as a component of stockholders' equity. We reflect net foreign
  exchange transaction gains and losses resulting from the conversion of the transaction currency to functional currency as a
  component of foreign currency exchange gain (loss) in other income (expense), net.
  Prior Period Reclassifications
        Certain amounts in prior periods have been reclassified to conform with current period presentation.
  Note 2. Revenues
  Revenue Recognition
        The following table presents revenues disaggregated by type (in millions):
                                                                                                      Year Ended December 31,
                                                                                               2019            2020             2021
    Google Search & other                                                                  $    98,115    $    104,062    $     148,951
    YouTube ads                                                                                 15,149          19,772           28,845
    Google Network                                                                              21,547          23,090           31,701
       Google advertising                                                                      134,811         146,924          209,497
    Google other                                                                                17,014          21,711           28,032
  Google Services total                                                                        151,825         168,635          237,529
  Google Cloud                                                                                   8,918          13,059           19,206
  Other Bets                                                                                       659             657              753
  Hedging gains (losses)                                                                           455             176              149
       Total revenues                                                                      $   161,857    $    182,527    $     257,637

          No individual customer or groups of affiliated customers represented more than 10% of our revenues in 2019, 2020, or
  2021.



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        The following table presents revenues disaggregated by geography, based on the addresses of our customers (in
  millions):
                                                                                       Year Ended December 31,
                                                                     2019                       2020                    2021
  United States                                            $    74,843        46 % $        85,014       47 % $    117,854      46 %
  EMEA( 1l                                                      50,645        31            55,370       30         79,107      31
  APAC( 1l                                                      26,928        17            32,550       18         46,123      18
  Other Americas( 1l                                             8,986         6             9,417        5         14,404       5
  Hedging gains (losses)                                           455         0               176        0            149       0
      Total revenues                                       $   161,857       100 % $       182,527      100 % $    257,637     100 %

  (1)
         Regions represent Europe, the Middle East, and Africa (EMEA); Asia-Pacific (APAC); and Canada and Latin America ("Other
        Americas").
  Revenue Backlog and Deferred Revenues
        As of December 31, 2021 we had $51.0 billion of remaining performance obligations ("revenue backlog"), primarily
  related to Google Cloud, and expect to recognize approximately half of this amount as revenues over the next 24 months with
  the remaining thereafter. Our revenue backlog represents commitments in customer contracts for future services that have not
  yet been recognized as revenues. The amount and timing of revenue recognition for these commitments is largely driven by
  when our customers utilize services and our ability to deliver in accordance with relevant contract terms, which could affect our
  estimate of revenue backlog and when we expect to recognize such as revenues. Revenue backlog includes related deferred
  revenue currently recorded as well as amounts that will be invoiced in future periods, and excludes contracts with an original
  expected term of one year or less and cancellable contracts.
       We record deferred revenues when cash payments are received or due in advance of our performance, including
  amounts which are refundable. Deferred revenues primarily relate to Google Cloud and Google other. Total deferred revenue
  as of December 31, 2020 was $3.0 billion, of which $2.3 billion was recognized as revenues for the year ending December 31,
  2021.
  Note 3. Financial Instruments
  Debt Securities
        We classify our marketable debt securities, which are accounted for as available-for-sale within Level 2 in the fair value
  hierarchy, because we use quoted market prices to the extent available or alternative pricing sources and models utilizing
  market observable inputs to determine fair value.
        For certain marketable debt securities, we have elected the fair value option for which changes in fair value are recorded
  in other income (expense), net. The fair value option was elected for these securities to align with the unrealized gains and
  losses from related derivative contracts. Unrealized net gains (losses) related to debt securities still held where we have
  elected the fair value option were $87 million and $(35) million as of December 31, 2020 and December 31, 2021,
  respectively. As of December 31, 2020 and December 31, 2021, the fair value of these debt securities was $2.0 billion and
  $4.7 billion, respectively.



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        The following tables summarize debt securities, for which we did not elect the fair value option, by significant investment
  categories as of December 31, 2020 and 2021 (in millions):
                                                                                               As of December 31, 2020
                                                                               Gross             Gross                             Cash and
                                                            Adjusted         Unrealized        Unrealized          Fair              Cash             Marketable
                                                              Cost             Gains            losses            Value           Equivalents         Securities
  Level 2:
  Time deposits( 1l                           $   3,564                   $          0     $             0 $    3,564            $      3,564         $       0
  Government bonds                               55,156                            793                  (9)    55,940                   2,527            53,413
  Corporate debt securities                      31,521                            704                  (2)    32,223                       8            32,215
  Mortgage-backed and asset-backed securities    16,767                            364                  (7)    17,124                       0            17,124
     Total                                    $ 107,008                   $      1,861     $           (18) $ 108,851            $      6,099         $ 102,752

                                                                                               As of December 31, 2021
                                                                             Gross            Gross                                Cash and
                                                            Adjusted       Unrealized       Unrealized             Fair              Cash             Marketable
                                                              Cost           Gains           losses               Value           Equivalents         Securities
  Level 2:
  Time deposits( 1l                           $   5,133                  $           0     $             0 $    5,133            $      5,133         $       0
  Government bonds                               53,288                            258                (238)    53,308                       5            53,303
  Corporate debt securities                      35,605                            194                (223)    35,576                      12            35,564
  Mortgage-backed and asset-backed securities    18,829                             96                (112)    18,813                       0            18,813
     Total                                    $ 112,855                  $         548     $          (573) $ 112,830            $      5,150         $ 107,680
  (1)
        The majority of our time deposits are domestic deposits.

       We determine realized gains or losses on the sale or extinguishment of debt securities on a specific identification
  method. We recognized gross realized gains of $292 million, $899 million, and $432 million for the years ended December 31,
  2019, 2020, and 2021, respectively. We recognized gross realized losses of $143 million, $184 million, and $329 million for the
  years ended December 31, 2019, 2020, and 2021, respectively. We reflect these gains and losses as a component of other
  income (expense), net.
        The following table summarizes the estimated fair value of investments in marketable debt securities by stated
  contractual maturity dates (in millions):
                                                                                                                                                 As of
                                                                                                                                            December 31, 2021
  Due in 1 year or less                                                                                                                 $                  16,192
  Due in 1 year through 5 years                                                                                                                            78,625
  Due in 5 years through 10 years                                                                                                                           4,675
  Due after 10 years                                                                                                                                       12,864
     Total                                                                                                                              $                 112,356

        The following tables present fair values and gross unrealized losses recorded to AOCI as of December 31, 2020 and
  2021, aggregated by investment category and the length of time that individual securities have been in a continuous loss
  position (in millions):
                                                                                       As of December 31, 2020
                                                  less than 12 Months                     12 Months or Greater                                Total
                                                                   Unrealized                               Unrealized                                Unrealized
                                               Fair Value            loss             Fair Value              loss               Fair Value             loss
  Government bonds                 $                5,516      $              (9) $                3    $                0   $        5,519      $             (9)
  Corporate debt securities                         1,999                     ( 1)                 0                     0            1,999                    (1)
  Mortgage-backed and asset-backed
  securities                                          929                  (5)                  242                  (2)              1,171                   (7)
     Total                         $                8,444      $          (15) $                245     $            (2) $            8,689      $           (17)



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                                                                                 As of December 31, 2021
                                                 Less than 12 Months               12 Months or Greater                           Total
                                                                Unrealized                       Unrealized                               Unrealized
                                              Fair Value          Loss          Fair Value         Loss              Fair Value             Loss
  Government bonds                 $             32,843     $         (236) $           71   $             (2) $        32,914       $           (238)
  Corporate debt securities                      22,737               (152)            303                 (5)          23,040                   (157)
  Mortgage-backed and asset-backed
  securities                                     11,502               (106)            248                 (6)          11,750                   (112)
     Total                         $             67,082     $         (494) $          622   $            (13) $        67,704       $           (507)

       During the years ended December 31, 2020 and 2021, we did not recognize significant credit losses and the ending
  allowance for credit losses was immaterial. See Note 7 for further details on other income (expense), net.
  Equity Investments
      The following discusses our marketable equity securities, non-marketable equity securities, gains and losses on
  marketable and non-marketable equity securities, as well as our equity securities accounted for under the equity method.
       Our marketable equity securities are publicly traded stocks or funds measured at fair value and classified within Level 1
  and 2 in the fair value hierarchy because we use quoted prices for identical assets in active markets or inputs that are based
  upon quoted prices for similar instruments in active markets.
        Our non-marketable equity securities are investments in privately held companies without readily determinable market
  values. The carrying value of our non-marketable equity securities is adjusted to fair value upon observable transactions for
  identical or similar investments of the same issuer or impairment (referred to as the measurement alternative). Non-
  marketable equity securities that have been remeasured during the period based on observable transactions are classified
  within Level 2 or Level 3 in the fair value hierarchy because we estimate the value based on valuation methods which may
  include a combination of the observable transaction price at the transaction date and other unobservable inputs including
  volatility, rights, and obligations of the securities we hold. The fair value of non-marketable equity securities that have been
  remeasured due to impairment are classified within Level 3.
  Gains and losses on marketable and non-marketable equity securities
     Gains and losses reflected in other income (expense), net, for marketable and non-marketable equity securities are
  summarized below (in millions):
                                                                                                              Year Ended December 31,
                                                                                                              2020                        2021
  Net gain (loss) on equity securities sold during the period                                       $   1,339 $                               1, 196
  Unrealized gain (loss) on equity securities held as of the end of the period                          4,253                                11,184
                                                                                                    -------
      Total gain (loss) recognized in other income (expense), net                                   $   5,592 $                              12,380
                                                                                                    =======
       In the table above, net gain (loss) on equity securities sold during the period reflects the difference between the sale
  proceeds and the carrying value of the equity securities at the beginning of the period or the purchase date, if later.
        Cumulative net gains (losses) on equity securities sold during the period, which is summarized in the following table (in
  millions), represents the total net gains (losses) recognized after the initial purchase date of the equity security. While these
  net gains may have been reflected in periods prior to the period of sale, we believe they are important supplemental
  information as they reflect the economic net gains recognized on the securities sold during the period. Cumulative net gains
  are calculated as the difference between the sale price and the initial purchase price for the equity security sold during the
  period.



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                                                                                                               Equity Securities Sold During the Year
                                                                                                                       Ended December 31,
                                                                                                                     2020                  2021
  Total sale price                                                                                        $   4,767 $                              5,604
  Total initial cost                                                                                          2,674                                1,206
                                                                                                          -------
     Cumulative net gains( 1l                                                                             $   2,093 $                              4,398
  (1)
         Cumulative net gains excludes cumulative losses of $738 million resulting from our equity derivatives, which hedged the changes in
         fair value of certain marketable equity securities sold during the year ended December 31, 2021. The associated derivative liabilities
         arising from these losses were settled against our holdings of the underlying equity securities.

             Carrying value of marketable and non-marketable equity securities
      The carrying value is measured as the total initial cost plus the cumulative net gain (loss). The carrying values for
  marketable and non-marketable equity securities are summarized below (in millions):
                                                                                                         As of December 31, 2020
                                                                                     Marketable Equity         Non-Marketable
                                                                                        Securities             Equity Securities           Total
  Total initial cost                                                              $             2,227      $             14,616     $           16,843
  Cumulative net gain (loss)( 1l                                                                3,631                     4,277                  7,908
      Carrying value( 2l                                                          $             5,858      $             18,893     $           24,751

  <1)    Non-marketable equity securities cumulative net gain (loss) is comprised of $6.1 billion gains and $1.9 billion losses (including
         impairment).
  <2 )   The long-term portion of marketable equity securities (subject to long-term lock-up restrictions) of $429 million is included within other
         non-current assets.

                                                                                                         As of December 31, 2021
                                                                                  Marketable Equity            Non-Marketable
                                                                                     Securities                Equity Securities           Total
  Total initial cost                                                             $             4,211      $              15,135     $           19,346
  Cumulative net gain (loss)( 1l                                                               3,587                     12,436                 16,023
      Carrying value( 2l                                                         $             7,798      $              27,571     $           35,369

  <1)    Non-marketable equity securities cumulative net gain (loss) is comprised of $14.1 billion gains and $1.7 billion losses (including
         impairment).
  <2 )   The long-term portion of marketable equity securities (subject to long-term lock-up restrictions) of $1.4 billion is included within other
         non-current assets.



         Marketable equity securities
       The following table summarizes marketable equity securities measured at fair value by significant investment categories
  as of December 31, 2020 and 2021 (in millions):
                                                                    As of December 31, 2020                           As of December 31, 2021
                                                               Cash and Cash         Marketable Equity          Cash and Cash       Marketable Equity
                                                                Equivalents             Securities               Equivalents           Securities
  Level 1:
  Money market funds                                       $           12,210     $                 0      $                7,499   $                  0
  Marketable equity securities( 1H2 l                                       0                   5,470                           0                  7,447
                                                                       12,210                   5,470                       7,499                  7,447
  Level 2:
  Mutual funds                                                              0                     388                           0                    351
     Total                                                 $           12,210     $             5,858      $                7,499   $              7,798

  (1)    The balance as of December 31, 2020 and 2021 includes investments that were reclassified from non-marketable equity securities
         following the commencement of public market trading of the issuers or acquisition by public entities (certain investments are subject to
          short-term lock-up restrictions).
  (2)
         As of December 31, 2020 and 2021, the long-term portion of marketable equity securities (subject to long-term lock-up restrictions) of
         $429 million and $1 .4 billion, respectively, is included within other non-current assets.



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  Non-marketable equity securities
       The following is a summary of unrealized gains and losses recorded in other income (expense), net, which are included
  as adjustments to the carrying value of non-marketable equity securities held as of the end of the period (in millions):
                                                                                                    Year Ended December 31,
                                                                                                    2020                2021
  Unrealized gains on non-marketable equity securities                                      $         3,020 $                  9,971
  Unrealized losses on non-marketable equity securities (including impairment)                       (1,489)
                                                                                            -----'------'--
                                                                                                                                (122)
     Total unrealized gain (loss) recognized on non-marketable equity securities            $         1,531 $                  9,849
                                                                                            =======
       During the year ended December 31, 2021, included in the $27.6 billion of non-marketable equity securities held as of
  the end of the period, $18.6 billion were measured at fair value resulting in a net unrealized gain of $9.8 billion.
  Equity securities accounted for under the Equity Method
       As of December 31, 2020 and 2021, equity securities accounted for under the equity method had a carrying value of
  approximately $1.4 billion and $1.5 billion, respectively. Our share of gains and losses, including impairments, are included as
  a component of other income (expense), net, in the Consolidated Statements of Income. See Note 7 for further details on
  other income (expense), net.
  Derivative Financial Instruments
        We enter into derivative instruments to manage risks relating to our ongoing business operations. The primary risk
  managed with derivative instruments is foreign exchange risk. We use foreign currency contracts to reduce the risk that our
  cash flows, earnings, and investment in foreign subsidiaries will be adversely affected by foreign currency exchange rate
  fluctuations. We also enter into derivative instruments to partially offset our exposure to other risks and enhance investment
  returns.
        We recognize derivative instruments as either assets or liabilities in the Consolidated Balance Sheets at fair value and
  classify the derivatives primarily within Level 2 in the fair value hierarchy. We present our collar contracts (an option strategy
  comprised of a combination of purchased and written options) at net fair values where both the purchased and written options
  are with the same counterparty. For other derivative contracts, we present at gross fair values. We primarily record changes in
  the fair value in the Consolidated Statements of Income as either other income (expense), net, or revenues, or in the
  Consolidated Balance Sheets in AOCI, as discussed below.
        We enter into master netting arrangements, which reduce credit risk by permitting net settlement of transactions with the
  same counterparty. Further, we enter into collateral security arrangements that provide for collateral to be received or pledged
  when the net fair value of certain financial instruments fluctuates from contractually established thresholds. Cash collateral
  received related to derivative instruments under our collateral security arrangements are included in other current assets with
  a corresponding liability. Cash and non-cash collateral pledged related to derivative instruments under our collateral security
  arrangements are included in other current assets.
  Cash Flow Hedges
        We designate foreign currency forward and option contracts (including collars) as cash flow hedges to hedge certain
  forecasted revenue transactions denominated in currencies other than the U.S. dollar. These contracts have maturities of 24
  months or less.
        Cash flow hedge amounts included in the assessment of hedge effectiveness are deferred in AOCI and subsequently
  reclassified to revenue when the hedged item is recognized in earnings. We exclude the change in forward points and time
  value from our assessment of hedge effectiveness. The initial value of the excluded component is amortized on a straight-line
  basis over the life of the hedging instrument and recognized in revenues. The difference between fair value changes of the
  excluded component and the amount amortized to revenues is recorded in AOCI. If the hedged transactions become probable
  of not occurring, the corresponding amounts in AOCI are reclassified to other income (expense), net in the period of de-
  designation.
       As of December 31, 2021, the net accumulated gain on our foreign currency cash flow hedges before tax effect was
  $518 million, which is expected to be reclassified from AOCI into earnings within the next 12 months.
  Fair Value Hedges
      We designate foreign currency forward contracts as fair value hedges to hedge foreign currency risks for our investments
  denominated in currencies other than the U.S. dollar. Fair value hedge amounts included in the


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  assessment of hedge effectiveness are recognized in other income (expense), net, along with the offsetting gains and losses
  of the related hedged items. We exclude changes in forward points from the assessment of hedge effectiveness and
  recognize changes in the excluded component in other income (expense), net.
  Net Investment Hedges
        We designate foreign currency forward contracts as net investment hedges to hedge the foreign currency risks related to
  our investment in foreign subsidiaries. Net investment hedge amounts included in the assessment of hedge effectiveness are
  recognized in AOCI along with the foreign currency translation adjustment. We exclude changes in forward points from the
  assessment of hedge effectiveness and recognize changes in the excluded component in other income (expense), net.
  Other Derivatives
        Other derivatives not designated as hedging instruments consist primarily of foreign currency forward contracts that we
  use to hedge intercompany transactions and other monetary assets or liabilities denominated in currencies other than the
  functional currency of a subsidiary. Gains and losses on these contracts, as well as the related costs, are recognized in other
  income (expense), net, along with the foreign currency gains and losses on monetary assets and liabilities.
        We also use derivatives not designated as hedging instruments to manage risks relating to interest rates, commodity
  prices, credit exposures and to enhance investment returns. Additionally, from time to time, we enter into derivatives to hedge
  the market price risk on certain of our marketable equity securities. Gains (losses) arising from these derivatives are reflected
  within the "other" component of other income (expense), net and the offsetting recognized gains (losses) on the marketable
  equity securities are reflected within the gain (loss) on equity securities, net component of other income (expense), net. See
  Note 7 for further details on other income (expense), net.
        The gross notional amounts of outstanding derivative instruments were as follows (in millions):
                                                                                                        As of December 31,
                                                                                                 2020                        2021
  Derivatives Designated as Hedging Instruments:
  Foreign exchange contracts
    Cash flow hedges                                                                       $            10,187    $                 16,362
    Fair value hedges                                                                      $             1,569    $                  2,556
    Net investment hedges                                                                  $             9,965    $                 10,159
  Derivatives Not Designated as Hedging Instruments:
  Foreign exchange contracts                                                               $            39,861    $                 41,031
  Other contracts                                                                          $             2,399    $                  4,275



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        The fair values of outstanding derivative instruments were as follows (in millions):
                                                                                                  As of December 31, 2020
                                                                            Fair Value of                  Fair Value of
                                                                             Derivatives                 Derivatives Not
                                                                           Designated as                  Designated as           Total Fair
                                        Balance Sheet location          Hedging Instruments            Hedging Instruments          Value
  Derivative Assets:
  Level 2:
  Foreign exchange contracts         Other current and non-
                                     current assets                 $                      33      $                   316    $                349
  Other contracts                    Other current and non-
                                     current assets                                           0                         16                      16
       Total                                                        $                      33      $                   332    $                365
  Derivative Liabilities:
  Level 2:
  Foreign exchange contracts         Accrued expenses and
                                     other liabilities, current
                                     and non-current                $                   395        $                   185    $                580
       Other contracts               Accrued expenses and
                                     other liabilities, current
                                     and non-current                                          0                        942                     942
       Total                                                        $                   395        $                 1,127    $            1,522

                                                                                                  As of December 31, 2021
                                                                            Fair Value of                  Fair Value of
                                                                             Derivatives                 Derivatives Not
                                                                           Designated as                  Designated as           Total Fair
                                        Balance Sheet location          Hedging Instruments            Hedging Instruments          Value
  Derivative Assets:
  Level 2:
  Foreign exchange contracts        Other current and non-
                                    current assets                  $                   867        $                    42    $                909
  Other contracts                   Other current and non-
                                    current assets                                        0                             52                      52
       Total                                                        $                   867        $                    94    $                961
  Derivative Liabilities:
  Level 2:
  Foreign exchange contracts        Accrued expenses and
                                    other liabilities, current
                                    and non-current                 $                      8       $                   452    $                460
  Other contracts                   Accrued expenses and
                                    other liabilities, current
                                    and non-current                                        0                           121                     121
       Total                                                        $                      8       $                   573    $                581




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      The gains (losses) on derivatives in cash flow hedging and net investment hedging relationships recognized in other
  comprehensive income (OCI) were summarized below (in millions):
                                                                                                     Gains (losses) Recognized in OCI
                                                                                                      on Derivatives Before Tax Effect
                                                                                                         Year Ended December 31,
                                                                                        2019                            2020                             2021
   Derivatives in Cash Flow Hedging Relationship:
   Foreign exchange contracts
     Amount included in the assessment of effectiveness                   $                          38 $                           102 $                            806
     Amount excluded from the assessment of effectiveness                                           (14)                            (37)                              48
   Derivatives in Net Investment Hedging Relationship:
   Foreign exchange contracts
     Amount included in the assessment of effectiveness                                             131                            (851)                            754
        Total                                                             $                         155     $                      (786) $                        1,608

        The effect of derivative instruments on income was summarized below (in millions):
                                                                                               Gains (losses) Recognized in Income
                                                                                                     Year Ended December 31,
                                                                                2019                                2020                               2021
                                                                                          Other                               Other                              other
                                                                                         income                              income                             income
                                                                                       (expense),                          (expense),                         (expense),
                                                                     Revenues              net           Revenues              net          Revenues              net
  Total amounts presented in the Consolidated Statements of
  Income in which the effects of cash flow and fair value hedges
  are recorded                                                   $ 161,857        $        5,394     $ 182,527          $      6,858    $ 257,637         $     12,020


  Gains (Losses) on Derivatives in Cash Flow Hedging
  Relationship:
     Foreign exchange contracts
        Amount of gains (losses) reclassified from AOCI to
        income                                                   $        367     $             0    $          144     $           0   $        165      $            0
        Amount excluded from the assessment of effectiveness
        recognized in earnings based on an amortization
        approach                                                             88                 0                33                 0            (16)                  0
  Gains (Losses) on Derivatives in Fair Value Hedging
  Relationship:
     Foreign exchange contracts
        Hedged items                                                          0              (19)                 0               18               0                (95)
        Derivatives designated as hedging instruments                         0               19                  0              (18)              0                 95
        Amount excluded from the assessment of effectiveness                  0               25                  0                4               0                  8
  Gains (Losses) on Derivatives in Net Investment Hedging
  Relationship:
     Foreign exchange contracts
        Amount excluded from the assessment of effectiveness                  0              243                  0              151               0                 82
  Gains (Losses) on Derivatives Not Designated as Hedging
  Instruments:
     Foreign exchange contracts                                             0               (413)                   0            718               0               (860)
    Other Contracts                                                         0                  0                  0             (906)              0                101
 Total gains (losses)                                            $        455     $         (145) $             177     $        (33) $          149      $        (669)




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  Offsetting of Derivatives
        The gross amounts of derivative instruments subject to master netting arrangements with various counterparties, and
    cash and non-cash collateral received and pledged under such agreements were as follows (in millions):
  Offsetting of Assets
                                                                                      As of December 31, 2020
                                                                                         Gross Amounts Not Offset in the Consolidated Balance
                                                                                                Sheets, but Have Legal Rights to Offset
                                                     Gross Amounts
                                    Gross Amounts     Offset in the   Net Presented in                                Cash           Non-Cash
                                    of Recognized     Consolidated    the Consolidated         Financial            Collateral       Collateral           Net Assets
                                        Assets       Balance Sheets    Balance Sheets        Instruments            Received         Received              Exposed

  Derivatives                       $       397      $        (32) $            365      $         (295) (1) $             (16) $                 0   $           54

                                                                                      As of December 31, 2021
                                                                                         Gross Amounts Not Offset in the Consolidated Balance
                                                                                                Sheets, but Have Legal Rights to Offset
                                                     Gross Amounts
                                    Gross Amounts     Offset in the   Net Presented in                                               Non-Cash
                                    of Recognized     Consolidated    the Consolidated         Financial        Cash Collateral      Collateral           Net Assets
                                        Assets       Balance Sheets    Balance Sheets        Instruments          Received           Received              Exposed

  Derivatives                       $       999      $        (38) $            961      $         (434) (1) $            (394) $             (12) $             121
  (1)
          The balances as of December 31, 2020 and 2021 were related to derivative liabilities which are allowed to be net settled against
           derivative assets in accordance with our master netting agreements.

  Offsetting of Liabilities
                                                                                      As of December 31, 2020
                                                                                         Gross Amounts Not Offset in the Consolidated Balance
                                                                                                Sheets, but Have Legal Rights to Offset
                                                     Gross Amounts    Net Presented in
                                    Gross Amounts     Offset in the         the                                       Cash           Non-Cash
                                    of Recognized     Consolidated     Consolidated            Financial            Collateral       Collateral
                                       Liabilities   Balance Sheets   Balance Sheets         Instruments            Pledged           Pledged         Net Liabilities

  Derivatives                       $     1,554      $        (32) $          1,522      $         (295) (2 ) $              (1) $         (943) $              283

                                                                                      As of December 31, 2021
                                                                                          Gross Amounts Not Offset in the Consolidated Balance
                                                                                                 Sheets, but Have Legal Rights to Offset
                                                     Gross Amounts    Net Presented in
                                    Gross Amounts     Offset in the         the                                       Cash           Non-Cash
                                    of Recognized     Consolidated     Consolidated            Financial            Collateral       Collateral
                                       Liabilities   Balance Sheets   Balance Sheets         Instruments            Pledged           Pledged         Net Liabilities

  Derivatives                       $       619      $        (38) $            581      $         (434) (2 ) $              (4) $         (110) $                33
  (2 )   The balances as of December 31, 2020 and 2021 were related to derivative assets which are allowed to be net settled against derivative
           liabilities in accordance with our master netting agreements.

  Note 4. Leases
       We have entered into operating lease agreements primarily for data centers, land and offices throughout the world with
  lease periods expiring between 2022 and 2063.
           Components of operating lease expense were as follows (in millions):
                                                                                                                            Year Ended December 31,
                                                                                                                          2020                        2021
  Operating lease cost                                                                                          $                 2,267   $                   2,699
  Variable lease cost                                                                                                               619                         726
          Total operating lease cost                                                                            $                 2,886   $                   3,425



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        Supplemental information related to operating leases was as follows (in millions):
                                                                                                   Year Ended December 31,
                                                                                                  2020                 2021
  Cash payments for operating leases                                                         $           2,004   $             2,489
  New operating lease assets obtained in exchange for operating lease liabilities            $           2,765   $             2,951

        As of December 31, 2021, our operating leases had a weighted average remaining lease term of 8 years and a weighted
  average discount rate of 2.3%. Future lease payments under operating leases as of December 31, 2021 were as follows (in
  millions):
  2022                                                                                                       $                 2,539
  2023                                                                                                                         2,527
  2024                                                                                                                         2,226
  2025                                                                                                                         1,815
  2026                                                                                                                         1,401
  Thereafter                                                                                                                   4,948
    Total future lease payments                                                                                               15,456
  Less imputed interest                                                                                                       (1,878)
     Total lease liability balance                                                                           $                13,578

        As of December 31, 2021, we have entered into leases that have not yet commenced with short-term and long-term
  future lease payments of $606 million and $5.2 billion, excluding purchase options, that are not yet recorded on our
  Consolidated Balance Sheets. These leases will commence between 2022 and 2026 with non-cancelable lease terms of 1 to
  25 years.
  Note 5. Variable Interest Entities
  Consolidated VIEs
       We consolidate VIEs in which we hold a variable interest and are the primary beneficiary. The results of operations and
  financial position of these VI Es are included in our consolidated financial statements.
         For certain consolidated VIEs, their assets are not available to us and their creditors do not have recourse to us. As of
  December 31, 2020 and 2021, assets that can only be used to settle obligations of these VIEs were $5.7 billion and $6.0
  billion, respectively, and the liabilities for which creditors only have recourse to the VIEs were $2.3 billion and $2.5 billion,
  respectively.
        Total noncontrolling interests (NCI), including redeemable noncontrolling interests (RNCI), in our consolidated
  subsidiaries was $3.9 billion and $4.3 billion as of December 31, 2020 and 2021, respectively. NCI and RNCI are included
  within additional paid-in capital. Net loss attributable to noncontrolling interests was not material for any period presented and
  is included within the "other" component of other income (expense), net. See Note 7 for further details on other income
  (expense), net.
  Waymo
       In June 2021, Waymo, a self-driving technology development company and a consolidated VIE, completed an investment
  round of $2.5 billion, the majority of which represented investment from Alphabet. The investments from external parties were
  accounted for as equity transactions and resulted in recognition of noncontrolling interests.
  Unconsolidated VIEs
       We have investments in VI Es in which we are not the primary beneficiary. These VIEs include private companies that are
  primarily early stage companies and certain renewable energy entities in which activities involve power generation using
  renewable sources.
        We have determined that the governance structures of these entities do not allow us to direct the activities that would
  significantly affect their economic performance. Therefore, we are not the primary beneficiary, and the results of operations
  and financial position of these VIEs are not included in our consolidated financial statements. We account for these
  investments as non-marketable equity securities or equity method investments.
       The maximum exposure of these unconsolidated VI Es is generally based on the current carrying value of the investments
  and any future funding commitments. We have determined that the single source of our exposure to these


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  VIEs is our capital investments in them. The carrying value, and maximum exposure of these unconsolidated VIEs were $1.7
  billion and $1.9 billion, respectively, as of December 31, 2020 and $2.7 billion and $2.9 billion, respectively, as of December
  31,2021.
  Note 6. Debt
  Short-Term Debt
       We have a debt financing program of up to $10.0 billion through the issuance of commercial paper, which increased from
  $5.0 billion in September 2021. Net proceeds from this program are used for general corporate purposes. We had no
  commercial paper outstanding as of December 31, 2020 and 2021.
        Our short-term debt balance also includes the current portion of certain long-term debt.
  long-Term Debt
        Total outstanding debt is summarized below (in millions, except percentages):

                                                                                                                      As of December 31,
                                                                                           Effective Interest
                                                       Maturity         Coupon Rate               Rate               2020             2021
  Debt
  2011-2020 Notes Issuances                          2024 - 2060      0.45% - 3.38%         0.57% - 3.38%       $      14,000     $    13,000
  Future finance lease payments, net( 1l                                                                                1,201           2,086
     Total debt                                                                                                        15,201          15,086
  Unamortized discount and debt issuance
  costs                                                                                                                   (169)            (156)
  Less: Current portion of Notes( 2l                                                                                      (999)
  Less: Current portion future finance lease
  payments, nett 1H2 l                                                                                                   (101)           (113)
        Total long-term debt                                                                                    $      13,932 $        14,817
  (1)
        Net of imputed interest.
  (2)   Total current portion of long-term debt is included within other accrued expenses and current liabilities. See Note 7.

       The notes in the table above are comprised of fixed-rate senior unsecured obligations and generally rank equally with
  each other. We may redeem the notes at any time in whole or in part at specified redemption prices. The effective interest
  rates are based on proceeds received with interest payable semi-annually.
       The total estimated fair value of the outstanding notes, including the current portion, was approximately $14.0 billion and
  $12.4 billion as of December 31, 2020 and December 31, 2021, respectively. The fair value was determined based on
  observable market prices of identical instruments in less active markets and is categorized accordingly as Level 2 in the fair
  value hierarchy.
       As of December 31, 2021, the aggregate future principal payments for long-term debt, including finance lease liabilities,
  for each of the next five years and thereafter were as follows (in millions):
  2022                                                                                                                      $             187
  2023                                                                                                                                     146
  2024                                                                                                                                   1,159
  2025                                                                                                                                   1,162
  2026                                                                                                                                   2,165
  Thereafter                                                                                                                            10,621
     Total                                                                                                                  $          15,440

  Credit Facility
       As of December 31, 2021, we have $10.0 billion of revolving credit facilities. No amounts were outstanding under the
  credit facilities as of December 31, 2020 and 2021.



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        In April 2021, we terminated the existing $4.0 billion revolving credit facilities, which were scheduled to expire in July
  2023, and entered into two new revolving credit facilities in the amounts of $4.0 billion and $6.0 billion, which will expire in
  April 2022 and April 2026, respectively. The interest rates for the new credit facilities are determined based on a formula using
  certain market rates, as well as our progress toward the achievement of certain sustainability goals. No amounts have been
  borrowed under the new credit facilities.
  Note 7. Supplemental Financial Statement Information
  Property and Equipment, Net
           Property and equipment, net, consisted of the following (in millions):
                                                                                                              As of December 31,
                                                                                                       2020                        2021
  Land and buildings                                                                               $      49,732 $     58,881
  Information technology assets                                                                           45,906       55,606
  Construction in progress                                                                                23,111       23,171
  Leasehold improvements                                                                                   7,516        9,146
  Furniture and fixtures                                                                                     197          208
     Property and equipment, gross                                                                       126,462      147,012
  Less: accumulated depreciation                                                                         (41,713)     (49,414)
     Property and equipment, net                                                                   $      84,749 $     97,599
                                                                                                                  =======
              Accrued expenses and other current liabilities
           Accrued expenses and other current liabilities consisted of the following (in millions):
                                                                                                              As of December 31,
                                                                                                       2020                        2021
  European Commission fines( 1 l                                                                   $          10,409    $   9,799
  Payables to brokers for unsettled investment trades                                                            754          397
  Accrued customer liabilities                                                                                 3,118        3,505
  Accrued purchases of property and equipment                                                                  2,197        2,415
  Current operating lease liabilities                                                                          1,694        2,189
  Other accrued expenses and current liabilities                                                              10,459       12,931
    Accrued expenses and other current liabilities                                                 $          28,631   $   31,236
                                                                                                                       =======
  ( 1)   Includes the effects of foreign exchange and interest. See Note 10 for further details.



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  Accumulated Other Comprehensive Income (Loss)
        Components of AOCI, net of income tax, were as follows (in millions):
                                                                                    Unrealized Gains
                                                              Foreign Currency        (losses) on          Unrealized Gains
                                                                 Translation        Available-for-Sale     (losses) on Cash
                                                                Adjustments           Investments             Flow Hedges             Total
  Balance as of December 31, 2018                         $             (1,884) $                (688) $               266 $             (2,306)
  Cumulative effect of accounting change                                     0                      0                  (30)                 (30)
    Other comprehensive income (loss) before
    reclassifications                                                     (119)                 1,611                   36                    1,528
    Amounts excluded from the assessment of
    hedge effectiveness recorded in AOCI                                     0                       0                 (14)                 (14)
    Amounts reclassified from AOCI                                           0                   ( 111)               (299)                (410)
  Other comprehensive income (loss)                                       (119)                 1,500                 (277)               1,104
  Balance as of December 31, 2019                                       (2,003)                   812                  (41)              (1,232)
    Other comprehensive income (loss) before
    reclassifications                                                    1,139                  1,313                   79                2,531
    Amounts excluded from the assessment of
    hedge effectiveness recorded in AOCI                                     0                      0                  (37)                     (37)
    Amounts reclassified from AOCI                                           0                   (513)                (116)                    (629)
  Other comprehensive income (loss)                                      1,139                    800                  (74)                   1,865
  Balance as of December 31, 2020                                         (864)                 1,612                 (115)                     633
    Other comprehensive income (loss) before
    reclassifications                                                   (1,442)                (1,312)                 668               (2,086)
    Amounts excluded from the assessment of
    hedge effectiveness recorded in AOCI                                     0                      0                   48                   48
    Amounts reclassified from AOCI                                           0                    (64)                (154)                (218)
  Other comprehensive income (loss)                                     (1,442)                (1,376)                 562               (2,256)
  Balance as of December 31, 2021                         $             (2,306) $                 236 $                447 $             (1,623)


        The effects on net income of amounts reclassified from AOCI were as follows (in millions):
                                                                                                Gains (losses) Reclassified from AOCI to the
                                                                                                    Consolidated Statements of Income
                                                                                                           Year Ended December 31,
                   AOCI Components                                 location                       2019              2020               2021
  Unrealized gains (losses) on available-for-sale investments
                                               Other income (expense), net          $                    149    $        650      $              82
                                               Benefit (provision) for income taxes                      (38)           (137)                   (18)
                                               Net of income tax                                         111             513                     64
  Unrealized gains (losses) on cash flow hedges
  Foreign exchange contracts                   Revenue                                                   367               144                 165
  Interest rate contracts                      Other income (expense), net                                 6                 6                   6
                                               Benefit (provision) for income taxes                      (74)              (34)                (17)
                                               Net of income tax                                         299               116                 154
  Total amount reclassified, net of income tax                                      $                    410    $          629    $            218



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  Other Income (Expense), Net
          Components of other income (expense), net, were as follows (in millions):
                                                                                                           Year Ended December 31,
                                                                                                   2019              2020              2021
  Interest income                                                                             $        2,427 $          1,865 $           1,499
  Interest expense( 1 J                                                                                 (100)            (135)             (346)
  Foreign currency exchange gain (loss), net (2 J                                                        103             (344)             (240)
  Gain (loss) on debt securities, net                                                                    149              725              (110)
  Gain (loss) on equity securities, net                                                                2,649            5,592            12,380
  Performance fees                                                                                      (326)            (609)           (1,908)
  Income (loss) and impairment from equity method investments, net                                       390              401               334
  Other( 3 J                                                                                             102             (637)              411
     Other income (expense), net                                                              $        5,394 $          6,858 $          12,020

  ( 1)   Interest expense is net of interest capitalized of $167 million, $218 million, and $163 million for the years ended December 31, 2019,
           2020, and 2021, respectively.
  (2 )   Our foreign currency exchange gain (loss), net, is primarily related to the forward points for our foreign currency hedging contracts and
           foreign exchange transaction gains and losses from the conversion of the transaction currency to the functional currency, offset by the
           foreign currency hedging contracts' losses and gains.
  (3 )   During the year ended December 31, 2020, we entered into derivatives that hedged the changes in fair value of certain marketable
           equity securities, which resulted in losses of $902 million and gains of $92 million for the years ended December 31, 2020 and 2021,
           respectively. The offsetting recognized gains and losses on the marketable equity securities are reflected in Gain (loss) on equity
           securities, net.

  Note 8. Acquisitions
  Fitbit
         In January 2021, we closed the acquisition of Fitbit, a leading wearables brand for $2.1 billion. The addition of Fitbit to
  Google Services is expected to help spur innovation in wearable devices. The assets acquired and liabilities assumed were
  recorded at fair value. The purchase price excludes post acquisition compensation arrangements. The purchase price was
  attributed to $440 million cash acquired, $590 million of intangible assets, $1.2 billion of goodwill and $92 million of net
  liabilities assumed. Goodwill was recorded in the Google Services segment and primarily attributable to synergies expected to
  arise after the acquisition. Goodwill is not expected to be deductible for tax purposes.
  Other Acquisitions
       During the year ended December 31, 2021, we completed other acquisitions and purchases of intangible assets for total
  consideration of approximately $885 million, net of cash acquired, of which the total amount of goodwill expected to be
  deductible for tax purposes is approximately $118 million. Proforma results of operations for these acquisitions have not been
  presented because they are not material to our consolidated results of operations, either individually or in the aggregate.




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  Note 9. Goodwill and Other Intangible Assets
  Goodwill
        Changes in the carrying amount of goodwill for the years ended December 31, 2020 and 2021 were as follows (in
  millions):
                                                                                  Google
                                                               Google            Services         Google Cloud        Other Bets          Total
  Balance as of December 31, 2019                         $      19,921      $               0 $            0 $               703    $      20,624
    Acquisitions                                                    204                     53            189                   0              446
    Foreign currency translation and other
    adjustments                                                      46                 56                  5                  (2)             105
    Allocation in the fourth quarter of 2020( 1)                (20,171)            18,408              1,763                   0                0
  Balance as of December 31, 2020                                     0             18,517              1,957                 701           21,175
    Acquisitions                                                      0              1,325                382                 103            1,810
    Foreign currency translation and other
    adjustments                                                         0              (16)                (2)                (11)             (29)
  Balance as of December 31, 2021                         $             0 $         19,826 $            2,337 $               793 $         22,956
  (1)
        Represents reallocation of goodwill as a result of our change in segments in the fourth quarter of 2020. See Note 15 for further details.

  Other Intangible Assets
        Information regarding purchased intangible assets was as follows (in millions):
                                                                                                              As of December 31, 2020
                                                                                                    Gross                                  Net
                                                                                                   Carrying          Accumulated         Carrying
                                                                                                   Amount            Amortization        Amount
     Patents and developed technology                                                         $         4,639    $         3,649     $         990
     Customer relationships                                                                               266                 49               217
     Trade names and other                                                                                624                461               163
  Total definite-lived intangible assets                                                                5,529              4,159             1,370
  Indefinite-lived intangible assets                                                                       75                  0                75
     Total intangible assets                                                                  $         5,604    $         4,159     $       1,445

                                                                                                              As of December 31, 2021
                                                                                                    Gross                                  Net
                                                                                                   Carrying          Accumulated         Carrying
                                                                                                   Amount            Amortization         Value
     Patents and developed technology                                                         $         4,786    $         4,112     $         674
     Customer relationships                                                                               506                140               366
     Trade names and other                                                                                534                295               239
  Total definite-lived intangible assets                                                                5,826              4,547             1,279
  Indefinite-lived intangible assets                                                                      138                  0               138
     Total intangible assets                                                                  $         5,964    $         4,547     $       1,417

       Patents and developed technology, customer relationships, and trade names and other have weighted-average
  remaining useful lives of 0.7 years, 3.5 years, and 4.5 years, respectively.
        For all intangible assets acquired and purchased during the year ended December 31, 2021, patents and developed
  technology have a weighted-average useful life of 4.1 years, customer relationships have a weighted-average useful life of 4.3
  years, and trade names and other have a weighted-average useful life of 9.9 years.
       Amortization expense relating to purchased intangible assets was $795 million, $774 million, and $875 million for the
  years ended December 31, 2019, 2020, and 2021, respectively.



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        As of December 31, 2021, expected amortization expense relating to purchased intangible assets for each of the next
  five years and thereafter was as follows (in millions):
   2022                                                                                                        $                 537
   2023                                                                                                                          255
   2024                                                                                                                          226
   2025                                                                                                                           98
   2026                                                                                                                           61
   Thereafter                                                                                                                    102
                                                                                                               $               1,279

  Note 10. Contingencies
  Indemnifications
        In the normal course of business, including to facilitate transactions in our services and products and corporate activities,
  we indemnify certain parties, including advertisers, Google Network partners, customers of Google Cloud offerings, lessors
  and service providers with respect to certain matters. We have agreed to hold certain parties harmless against losses arising
  from a breach of representations or covenants, or out of intellectual property infringement or other claims made against certain
  parties. Several of these agreements limit the time within which an indemnification claim can be made and the amount of the
  claim. In addition, we have entered into indemnification agreements with our officers and directors, and our bylaws contain
  similar indemnification obligations to our agents.
        It is not possible to make a reasonable estimate of the maximum potential amount under these indemnification
  agreements due to the unique facts and circumstances involved in each particular agreement. Additionally, we have a limited
  history of prior indemnification claims, and the payments we have made under such agreements have not had a material
  adverse effect on our results of operations, cash flows, or financial position. However, to the extent that valid indemnification
  claims arise in the future, future payments by us could be significant and could have a material adverse effect on our results of
  operations or cash flows in a particular period.
       As of December 31, 2021, we did not have any material indemnification claims that were probable or reasonably
  possible.
  legal Matters
  Antitrust Investigations
        On November 30, 2010, the EC's Directorate General for Competition opened an investigation into various antitrust-
  related complaints against us.
       On June 27, 2017, the EC announced its decision that certain actions taken by Google regarding its display and ranking
  of shopping search results and ads infringed European competition law. The EC decision imposed a €2.4 billion ($2.7 billion
  as of June 27, 2017) fine. On September 11, 2017, we appealed the EC decision to the General Court, and on September 27,
  2017, we implemented product changes to bring shopping ads into compliance with the EC's decision. We recognized a
  charge of $2.7 billion for the fine in the second quarter of 2017. On November 10, 2021, the General Court rejected our
  appeal, and we subsequently filed an appeal with the European Court of Justice on January 20, 2022.
       On July 18, 2018, the EC announced its decision that certain provisions in Google's Android-related distribution
  agreements infringed European competition law. The EC decision imposed a €4.3 billion ($5.1 billion as of June 30, 2018) fine
  and directed the termination of the conduct at issue. On October 9, 2018, we appealed the EC decision. On October 29, 2018,
  we implemented changes to certain of our Android distribution practices. We recognized a charge of $5.1 billion for the fine in
  the second quarter of 2018.
         On March 20, 2019, the EC announced its decision that certain contractual provisions in agreements that Google had
  with AdSense for Search partners infringed European competition law. The EC decision imposed a fine of €1.5 billion ($1.7
  billion as of March 20, 2019) and directed actions related to AdSense for Search partners' agreements, which we implemented
  prior to the decision. On June 4, 2019, we appealed the EC decision. We recognized a charge of $1.7 billion for the fine in the
  first quarter of 2019.
      While each EC decision is under appeal, we included the fines in accrued expenses and other current liabilities on our
  Consolidated Balance Sheets as we provided bank guarantees (in lieu of a cash payment) for the fines.



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        From time to time we are subject to formal and informal inquiries and investigations on competition matters by regulatory
  authorities in the U.S., Europe, and other jurisdictions. In August 2019, we began receiving civil investigative demands from
  the U.S. Department of Justice (DOJ) requesting information and documents relating to our prior antitrust investigations and
  certain aspects of our business. The DOJ and a number of state Attorneys General filed a lawsuit on October 20, 2020
  alleging that Google violated U.S. antitrust laws relating to Search and Search advertising. Separately, on December 16, 2020,
  a number of state Attorneys General filed an antitrust complaint against Google in the U.S. District Court for the Eastern
  District of Texas, alleging that Google violated U.S. antitrust laws as well as state deceptive trade laws relating to its
  advertising technology. On June 22, 2021, the EC opened a formal investigation into Google's advertising technology business
  practices. On July 7, 2021, a number of state Attorneys General filed an antitrust complaint against us in the U.S. District
  Court for the Northern District of California, alleging that Google's operation of Android and Google Play violated U.S. antitrust
  laws and state antitrust and consumer protection laws. We believe these complaints are without merit and will defend
  ourselves vigorously. The DOJ and state Attorneys General continue their investigations into certain aspects of our business.
  We continue to cooperate with federal and state regulators in the U.S., the EC and other regulators around the world.
  Patent and Intellectual Property Claims
        We have had patent, copyright, trade secret, and trademark infringement lawsuits filed against us claiming that certain of
  our products, services, and technologies infringe others' intellectual property rights. Adverse results in these lawsuits may
  include awards of substantial monetary damages, costly royalty or licensing agreements, or orders preventing us from offering
  certain features, functionalities, products, or services. As a result, we may have to change our business practices and develop
  non-infringing products or technologies, which could result in a loss of revenues for us and otherwise harm our business. In
  addition, the U.S. International Trade Commission (ITC) has increasingly become an important forum to litigate intellectual
  property disputes because an ultimate loss in an ITC action can result in a prohibition on importing infringing products into the
  U.S. Because the U.S. is an important market, a prohibition on importation could have an adverse effect on us, including
  preventing us from importing many important products into the U.S. or necessitating workarounds that may limit certain
  features of our products.
        Furthermore, many of our agreements with our customers and partners require us to indemnify them against certain
  intellectual property infringement claims, which would increase our costs as a result of defending such claims, and may
  require that we pay significant damages if there were an adverse ruling in any such claims. In addition, our customers and
  partners may discontinue the use of our products, services, and technologies, as a result of injunctions or otherwise, which
  could result in loss of revenues and adversely affect our business.
        In 2010, Oracle America, Inc. (Oracle) brought a copyright lawsuit against Google in the Northern District of California,
  alleging that Google's Android operating system infringes Oracle's copyrights related to certain Java application programming
  interfaces (Java APls). After trial, final judgment was entered by the district court in favor of Google on June 8, 2016, and the
  court decided post-trial motions in favor of Google. Oracle appealed and on March 27, 2018, the Federal Circuit Court of
  Appeals reversed and remanded the case for a trial on damages. On May 29, 2018, we filed a petition for a rehearing at the
  Federal Circuit, and on August 28, 2018, the Federal Circuit denied the petition. On January 24, 2019, we filed a petition to the
  U.S. Supreme Court to review the case. On April 29, 2019, the Supreme Court requested the views of the Solicitor General
  regarding our petition. On September 27, 2019, the Solicitor General recommended denying our petition, and we provided our
  response on October 16, 2019. On November 15, 2019, the Supreme Court granted our petition and made a decision to
  review the case. The Supreme Court heard oral arguments in our case on October 7, 2020. On April 5, 2021, the Supreme
  Court reversed the Federal Circuit's ruling and found that Google's use of the Java AP ls was a fair use as a matter of law. The
  Supreme Court remanded the case to the Federal Circuit for further proceedings in conformity with the Supreme Court
  opinion. On May 14, 2021, the Federal Circuit entered an order affirming the district court's final judgment in favor of Google.
  On June 21, 2021, the Federal Circuit issued a mandate returning the case to the district court, and the case is now
  concluded.
  Other
       We are also regularly subject to claims, suits, regulatory and government investigations, other proceedings, and consent
  decrees involving competition, intellectual property, privacy, tax and related compliance, labor and employment, commercial
  disputes, content generated by our users, goods and services offered by advertisers or publishers using our platforms,
  personal injury, consumer protection, and other matters. For example, we have a number of privacy investigations and suits
  ongoing in multiple jurisdictions. Such claims, suits, regulatory and government investigations, other proceedings, and consent
  decrees could result in substantial fines and penalties, injunctive relief, ongoing auditing and monitoring obligations, changes
  to our products and services, alterations to our business models and operations, and collateral related civil litigation or other
  adverse consequences, all of which could harm our business, reputation, financial condition, and operating results.



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         Certain of these outstanding matters include speculative, substantial or indeterminate monetary amounts. We record a
  liability when we believe that it is probable that a loss has been incurred, and the amount can be reasonably estimated. If we
  determine that a loss is reasonably possible and the loss or range of loss can be estimated, we disclose the reasonably
  possible loss. We evaluate developments in our legal matters that could affect the amount of liability that has been previously
  accrued, and the matters and related reasonably possible losses disclosed, and make adjustments as appropriate. Significant
  judgment is required to determine both the likelihood of there being and the estimated amount of a loss related to such
  matters.
       With respect to our outstanding matters, based on our current knowledge, we believe that the amount or range of
  reasonably possible loss will not, either individually or in aggregate, have a material adverse effect on our business,
  consolidated financial position, results of operations, or cash flows. However, the outcome of such matters is inherently
  unpredictable and subject to significant uncertainties.
        We expense legal fees in the period in which they are incurred.
  Non-Income Taxes
        We are under audit by various domestic and foreign tax authorities with regards to non-income tax matters. The subject
  matter of non-income tax audits primarily arises from disputes on the tax treatment and tax rate applied to the sale of our
  products and services in these jurisdictions and the tax treatment of certain employee benefits. We accrue non-income taxes
  that may result from examinations by, or any negotiated agreements with, these tax authorities when a loss is probable and
  reasonably estimable. If we determine that a loss is reasonably possible and the loss or range of loss can be estimated, we
  disclose the reasonably possible loss. Due to the inherent complexity and uncertainty of these matters and judicial process in
  certain jurisdictions, the final outcome may be materially different from our expectations.
        For information regarding income tax contingencies, see Note 14.
  Note 11. Stockholders' Equity
  Preferred Stock
      Our Board of Directors has authorized 100 million shares of preferred stock, $0.001 par value, issuable in series. As of
  December 31, 2020 and 2021, no shares were issued or outstanding.
  Class A and Class B Common Stock and Class C Capital Stock
        Our Board of Directors has authorized three classes of stock, Class A and Class B common stock, and Class C capital
  stock. The rights of the holders of each class of our common and capital stock are identical, except with respect to voting.
  Each share of Class A common stock is entitled to one vote per share. Each share of Class 8 common stock is entitled to 10
  votes per share. Class C capital stock has no voting rights, except as required by applicable law. Shares of Class B common
  stock may be converted at any time at the option of the stockholder and automatically convert upon sale or transfer to Class A
  common stock.
  Share Repurchases
       In April 2021, the Board of Directors of Alphabet authorized the company to repurchase up to $50.0 billion of its Class C
  stock. In July 2021, the Alphabet board approved an amendment to the April 2021 authorization, permitting the company to
  repurchase both Class A and Class C shares in a manner deemed in the best interest of the company and its stockholders,
  taking into account the economic cost and prevailing market conditions, including the relative trading prices and volumes of
  the Class A and Class C shares. As of December 31, 2021, $17.4 billion remains available for Class A and Class C share
  repurchases under the amended authorization.
         In accordance with the authorizations of the Board of Directors of Alphabet, during the years ended December 31, 2020
  and 2021, we repurchased and subsequently retired 21.5 million and 20.3 million aggregate shares for $31.1 billion and $50.3
  billion, respectively. Of the aggregate amount repurchased and subsequently retired during 2021, 1.2 million shares were
  Class A stock for $3.4 billion.
  Stock Split Effected in Form of Stock Dividend ("Stock Split")
        On February 1, 2022, the Company announced that the Board of Directors had approved and declared a 20-for-one
  stock split in the form of a one-time special stock dividend on each share of the Company's Class A, Class B, and Class C
  stock. The Stock Split is subject to stockholder approval of an amendment to the Company's Amended and Restated
  Certificate of Incorporation to increase the number of authorized shares of Class A, Class B, and Class C stock to
  accommodate the Stock Split.



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        If approval is obtained, each of the Company's stockholders of record at the close of business on July 1, 2022 (the
  "Record Date"), will receive, after the close of business on July 15, 2022, a dividend of 19 additional shares of the same class
  of stock for every share held by such stockholder as of the Record Date.
  Note 12. Net Income Per Share
        We compute net income per share of Class A, Class B, and Class C stock using the two-class method. Basic net income
  per share is computed using the weighted-average number of shares outstanding during the period. Diluted net income per
  share is computed using the weighted-average number of shares and the effect of potentially dilutive securities outstanding
  during the period. Potentially dilutive securities consist of restricted stock units and other contingently issuable shares. The
  dilutive effect of outstanding restricted stock units and other contingently issuable shares is reflected in diluted earnings per
  share by application of the treasury stock method. The computation of the diluted net income per share of Class A stock
  assumes the conversion of Class B stock, while the diluted net income per share of Class B stock does not assume the
  conversion of those shares.
        The rights, including the liquidation and dividend rights, of the holders of our Class A, Class B, and Class C stock are
  identical, except with respect to voting. Furthermore, there are a number of safeguards built into our certificate of
  incorporation, as well as Delaware law, which preclude our Board of Directors from declaring or paying unequal per share
  dividends on our Class A, Class B, and Class C stock. Specifically, Delaware law provides that amendments to our certificate
  of incorporation which would have the effect of adversely altering the rights, powers, or preferences of a given class of stock
  must be approved by the class of stock adversely affected by the proposed amendment. In addition, our certificate of
  incorporation provides that before any such amendment may be put to a stockholder vote, it must be approved by the
  unanimous consent of our Board of Directors. As a result, the undistributed earnings for each year are allocated based on the
  contractual participation rights of the Class A, Class B, and Class C stock as if the earnings for the year had been distributed.
  As the liquidation and dividend rights are identical, the undistributed earnings are allocated on a proportionate basis.
        In the years ended December 31, 2019, 2020 and 2021, the net income per share amounts are the same for Class A,
  Class B, and Class C stock because the holders of each class are entitled to equal per share dividends or distributions in
  liquidation in accordance with the Amended and Restated Certificate of Incorporation of Alphabet Inc.
       The following tables set forth the computation of basic and diluted net income per share of Class A, Class B, and Class
  C stock (in millions, except share amounts which are reflected in thousands and per share amounts):
                                                                                                                       Year Ended December 31,
                                                                                                                                 2019
                                                                                                            Class A             Class B              Class C
  Basic net income per share:
   Numerator
       Allocation of undistributed earnings                                                             $       14,846      $           2,307    $       17,190
   Denominator
       Number of shares used in per share computation                                                          299,402              46,527              346,667
  Basic net income per share                                                                            $        49.59      $        49.59       $        49.59
  Diluted net income per share:
    Numerator
        Allocation of undistributed earnings for basic computation                                      $       14,846      $           2,307    $       17,190
        Reallocation of undistributed earnings as a result of conversion of Class B to Class A shares            2,307                      0                 0
        Reallocation of undistributed earnings                                                                    (126)                   (20)              126
            Allocation of undistributed earnings                                                        $       17,027      $           2,287    $       17,316
    Denominator
      Number of shares used in basic computation                                                               299,402              46,527              346,667
      Weighted-average effect of dilutive securities
         Add:
         Conversion of Class B to Class A shares outstanding                                                    46,527                      0                 0
         Restricted stock units and other contingently issuable shares                                                413                   0             5,547
       Number of shares used in per share computation                                                          346,342              46,527              352,214
  Diluted net income per share                                                                          $        49.16      $        49.16       $        49.16




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                                                                                                                      Year Ended December 31,
                                                                                                                               2020
                                                                                                            Class A           Class B              Class C
  Basic net income per share:
   Numerator
       Allocation of undistributed earnings                                                             $       17,733    $           2,732    $       19,804
   Denominator
       Number of shares used in per share computation                                                          299,815            46,182              334,819
  Basic net income per share                                                                            $        59.15    $           59.15    $        59.15
  Diluted net income per share:
    Numerator
        Allocation of undistributed earnings for basic computation                                      $       17,733    $           2,732    $       19,804
        Reallocation of undistributed earnings as a result of conversion of Class B to Class A shares            2,732                    0                 0
        Reallocation of undistributed earnings                                                                    (180)                 (25)              180
            Allocation of undistributed earnings                                                        $       20,285    $           2,707    $       19,984
    Denominator
      Number of shares used in basic computation                                                               299,815            46,182              334,819
      Weighted-average effect of dilutive securities
        Add:
         Conversion of Class B to Class A shares outstanding                                                    46,182                    0                 0
         Restricted stock units and other contingently issuable shares                                              87                    0             6,125
      Number of shares used in per share computation                                                           346,084            46,182              340,944
  Diluted net income per share                                                                          $        58.61    $           58.61    $        58.61


                                                                                                                      Year Ended December 31,
                                                                                                                               2021
                                                                                                            Class A           Class B              Class C
  Basic net income per share:
   Numerator
       Allocation of undistributed earnings                                                             $       34,200    $           5,174    $       36,659
   Denominator
       Number of shares used in per share computation                                                          300,310            45,430              321,910
  Basic net income per share                                                                            $       113.88    $       113.88       $       113.88
  Diluted net income per share:
    Numerator
        Allocation of undistributed earnings for basic computation                                      $       34,200    $           5,174    $       36,659
            Reallocation of undistributed earnings as a result of conversion of Class B to Class A
            shares                                                                                               5,174                    0                    0
            Reallocation of undistributed earnings                                                                (581)                 (77)                 581
        Allocation of undistributed earnings                                                            $       38,793    $           5,097    $       37,240
    Denominator
      Number of shares used in basic computation                                                               300,310            45,430              321,910
      Weighted-average effect of dilutive securities
          Add:
          Conversion of Class B to Class A shares outstanding                                                   45,430                    0                 0
          Restricted stock units and other contingently issuable shares                                             15                    0            10,009
       Number of shares used in per share computation                                                          345,755            45,430              331,919
  Diluted net income per share                                                                          $       112.20    $       112.20       $       112.20




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  Note 13. Compensation Plans
  Stock Plans
       Our stock plans include the Alphabet Amended and Restated 2012 Stock Plan, the Alphabet 2021 Stock Plan and Other
  Bet stock-based plans. Under our stock plans, RSUs and other types of awards may be granted. An RSU award is an
  agreement to issue shares of our Class C stock at the time the award vests. RSUs generally vest over four years contingent
  upon employment on the vesting date.
       As of December 31, 2021, there were 37,479,707 shares of Class C stock reserved for future issuance under the
  Alphabet 2021 Stock Plan.
  Stock-Based Compensation
       For the years ended December 31, 2019, 2020, and 2021, total stock-based compensation expense was $11.7 billion,
  $13.4 billion, and $15.7 billion, including amounts associated with awards we expect to settle in Alphabet stock of $10.8 billion,
  $12.8 billion, and $15.0 billion, respectively.
       For the years ended December 31, 2019, 2020, and 2021, we recognized tax benefits on total stock-based
  compensation expense, which are reflected in the provision for income taxes in the Consolidated Statements of Income, of
  $1.8 billion, $2.7 billion, and $3.1 billion, respectively.
        For the years ended December 31, 2019, 2020, and 2021, tax benefit realized related to awards vested or exercised
  during the period was $2.2 billion, $3.6 billion, and $5.9 billion, respectively. These amounts do not include the indirect effects
  of stock-based awards, which primarily relate to the R&D tax credit.
  Stock-Based Award Activities
        The following table summarizes the activities for unvested Alphabet RSUs for the year ended December 31, 2021:
                                                                                                      Unvested Restricted Stock Units
                                                                                                                             Weighted-
                                                                                                                              Average
                                                                                                      Number of              Grant-Date
                                                                                                       Shares                Fair Value
  Unvested as of December 31, 2020                                                                      19,288,793       $        1,262.13
     Granted                                                                                            10,582,700       $        1,949.16
     Vested                                                                                            (11,209,486)      $        1,345.98
     Forfeited/canceled                                                                                 (1,767,294)      $        1,425.48
  Unvested as of December 31, 2021                                                                      16,894,713       $        1,626.13

       The weighted-average grant-date fair value of RSUs granted during the years ended December 31, 2019 and 2020 was
  $1,092.36 and $1,407.97, respectively. Total fair value of RSUs, as of their respective vesting dates, during the years ended
  December 31, 2019, 2020, and 2021 were $15.2 billion, $17.8 billion, and $28.8 billion, respectively.
      As of December 31, 2021, there was $25.8 billion of unrecognized compensation cost related to unvested employee
  RSUs. This amount is expected to be recognized over a weighted-average period of 2.5 years.
  401 (k) Plans
       We have two 401 (k) Savings Plans that qualify as deferred salary arrangements under Section 401 (k) of the Internal
  Revenue Code. Under these 401 (k) Plans, matching contributions are based upon the amount of the employees' contributions
  subject to certain limitations. We recognized expense of approximately $724 million, $855 million, and $916 million for the
  years ended December 31, 2019, 2020, and 2021, respectively.
  Note 14. Income Taxes
        Income from continuing operations before income taxes consisted of the following (in millions):
                                                                                                      Year Ended December 31,
                                                                                               2019               2020            2021
  Domestic operations                                                                      $    16,426    $        37,576    $      77,016
  Foreign operations                                                                            23,199             10,506           13,718
     Total                                                                                 $    39,625    $        48,082    $      90,734



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        Provision for income taxes consisted of the following (in millions):
                                                                                                          Year Ended December 31,
                                                                                                 2019              2020              2021
  Current:
    Federal and state                                                                      $          2,424   $          4,789   $     10,126
    Foreign                                                                                           2,713              1,687          2,692
       Total                                                                                          5,137              6,476         12,818
  Deferred:
    Federal and state                                                                                   286              1,552          2,018
    Foreign                                                                                            (141)              (215)          (135)
       Total                                                                                            145              1,337          1,883
  Provision for income taxes                                                               $          5,282 $            7,813 $       14,701

        The reconciliation of federal statutory income tax rate to our effective income tax rate was as follows:
                                                                                                        Year Ended December 31,
                                                                                               2019               2020               2021
  U.S. federal statutory tax rate                                                                21.0 %             21.0 %             21.0 %
  Foreign income taxed at different rates                                                        (4.9)              (0.3)               0.2
  Foreign-derived intangible income deduction                                                    (0.7)              (3.0)              (2.5)
  Stock-based compensation expense                                                               (0.7)              (1.7)              (2.5)
  Federal research credit                                                                        (2.5)              (2.3)              (1.6)
  Deferred tax asset valuation allowance                                                          0.0                1.4                0.6
  State and local income taxes                                                                    1.1                1.1                1.0
  Effective tax rate                                                                             13.3 %             16.2 %             16.2 %

        Our effective tax rate for 2019 was affected significantly by earnings realized in foreign jurisdictions with statutory tax
  rates lower than the federal statutory tax rate because substantially all of the income from foreign operations was earned by
  an Irish subsidiary. As of December 31, 2019, we have simplified our corporate legal entity structure and now license
  intellectual property from the U.S. that was previously licensed from Bermuda resulting in an increase in the portion of our
  income earned in the U.S.
       On July 27, 2015, the U.S. Tax Court, in an opinion in Altera Corp. v. Commissioner, invalidated the portion of the
  Treasury regulations issued under IRC Section 482 requiring related-party participants in a cost sharing arrangement to share
  stock-based compensation costs. The U.S. Tax Court issued the final decision on December 28, 2015. As a result of that
  decision, we recorded a tax benefit related to the anticipated reimbursement of cost share payment for previously shared
  stock-based compensation costs.
        On June 7, 2019, the U.S. Court of Appeals for the Ninth Circuit overturned the 2015 Tax Court decision in Altera Corp. v.
  Commissioner, and upheld the portion of the Treasury regulations issued under IRC Section 482 requiring related-party
  participants in a cost sharing arrangement to share stock-based compensation costs. As a result of the Ninth Circuit court
  decision, our cumulative net tax benefit of $418 million related to previously shared stock-based compensation costs was
  reversed in the year ended December 31, 2019.
       In 2020, there was an increase in valuation allowance for net deferred tax assets that are not likely to be realized relating
  to certain of our Other Bets.



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  Deferred Income Taxes
         Deferred income taxes reflect the net effects of temporary differences between the carrying amounts of assets and
  liabilities for financial reporting purposes and the amounts used for income tax purposes. Significant components of our
  deferred tax assets and liabilities were as follows (in millions):
                                                                                                            As of December 31,
                                                                                                     2020                        2021
  Deferred tax assets:
    Accrued employee benefits                                                                $                 580 $                       549
    Accruals and reserves not currently deductible                                                           1,049                       1,816
    Tax credits                                                                                              3,723                       5,179
    Net operating losses                                                                                     1,085                       1,790
    Operating leases                                                                                         2,620                       2,503
    Intangible assets                                                                                        1,525                       2,034
    Other                                                                                                      981                         925
       Total deferred tax assets                                                                            11,563                      14,796
       Valuation allowance                                                                                  (4,823)                     (7,129)
       Total deferred tax assets net of valuation allowance                                                  6,740                       7,667
  Deferred tax liabilities:
    Property and equipment, net                                                                             (3,382)                  (5,237)
    Net investment gains                                                                                    (1,901)                  (3,229)
    Operating leases                                                                                        (2,354)                  (2,228)
    Other                                                                                                   (1,580)                    (946)
       Total deferred tax liabilities                                                                       (9,217)                 (11,640)
  Net deferred tax assets (liabilities)                                                      $              (2,477) $                (3,973)

        As of December 31, 2021, our federal, state, and foreign net operating loss carryforwards for income tax purposes were
  approximately $5.6 billion, $4.6 billion, and $1.7 billion respectively. If not utilized, the federal net operating loss carryforwards
  will begin to expire in 2023, foreign net operating loss carryforwards will begin to expire in 2025 and the state net operating
  loss carryforwards will begin to expire in 2028. It is more likely than not that certain net operating loss carryforwards will not be
  realized; therefore, we have recorded a valuation allowance against them. The net operating loss carryforwards are subject to
  various annual limitations under the tax laws of the different jurisdictions.
       As of December 31, 2021, our California R&D carryforwards for income tax purposes were approximately $5.0 billion that
  can be carried over indefinitely. We believe the state tax credit is not likely to be realized.
       As of December 31, 2021, our investment tax credit carryforwards for state income tax purposes were approximately
  $700 million and will begin to expire in 2025. We use the flow-through method of accounting for investment tax credits. We
  believe this tax credit is not likely to be realized.
       As of December 31, 2021, we maintained a valuation allowance with respect to California deferred tax assets, certain
  federal net operating losses, certain state tax credits, net deferred tax assets relating to certain Other Bets, and certain foreign
  net operating losses that we believe are not likely to be realized. We continue to reassess the remaining valuation allowance
  quarterly, and if future evidence allows for a partial or full release of the valuation allowance, a tax benefit will be recorded
  accordingly.



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  Uncertain Tax Positions
        The following table summarizes the activity related to our gross unrecognized tax benefits (in millions):
                                                                                                      Year Ended December 31,
                                                                                               2019            2020             2021
  Beginning gross unrecognized tax benefits                                                $     4,652 $          3,377 $          3,837
    Increases related to prior year tax positions                                                  938              372              529
    Decreases related to prior year tax positions                                                 (143)            (557)            (263)
    Decreases related to settlement with tax authorities                                        (2,886)             (45)            (329)
    Increases related to current year tax positions                                                816              690            1,384
  Ending gross unrecognized tax benefits                                                   $     3,377 $          3,837 $          5,158

        The total amount of gross unrecognized tax benefits was $3.4 billion, $3.8 billion, and $5.2 billion as of December 31,
  2019, 2020, and 2021, respectively, of which $2.3 billion, $2.6 billion, and $3.7 billion, if recognized, would affect our effective
  tax rate, respectively.
       As of December 31, 2020 and 2021, we accrued $222 million and $270 million in interest and penalties in provision for
  income taxes, respectively.
        We file income tax returns in the U.S. federal jurisdiction and in many state and foreign jurisdictions. Our two major tax
  jurisdictions are the U.S. federal and Ireland. We are subject to the continuous examination of our income tax returns by the
  IRS and other tax authorities. The IRS is currently examining our 2016 through 2018 tax returns. We have also received tax
  assessments in multiple foreign jurisdictions asserting transfer pricing adjustments or permanent establishment. We continue
  to defend any and all such claims as presented.
       The tax years 2014 through 2020 remain subject to examination by the appropriate governmental agencies for Irish tax
  purposes. There are other ongoing audits in various other jurisdictions that are not material to our financial statements.
        We regularly assess the likelihood of adverse outcomes resulting from these examinations to determine the adequacy of
  our provision for income taxes. We continue to monitor the progress of ongoing discussions with tax authorities and the effect,
  if any, of the expected expiration of the statute of limitations in various taxing jurisdictions.
       We believe that an adequate provision has been made for any adjustments that may result from tax examinations.
  However, the outcome of tax audits cannot be predicted with certainty. If any issues addressed in our tax audits are resolved
  in a manner not consistent with management's expectations, we could be required to adjust our provision for income taxes in
  the period such resolution occurs. Although the timing of resolution, settlement, and closure of audits is not certain, it is
  reasonably possible that our unrecognized tax benefits from certain U.S. federal, state and non U.S. tax positions could
  decrease by approximately $2.0 billion in the next 12 months. Positions that may be resolved include various U.S. and non-
  U.S. matters.
  Note 15. Information about Segments and Geographic Areas
        We report our segment results as Google Services, Google Cloud, and Other Bets:
        • Google Services includes products and services such as ads, Android, Chrome, hardware, Google Maps, Google
          Play, Search, and YouTube. Google Services generates revenues primarily from advertising; sales of apps and in-app
          purchases, digital content products, and hardware; and fees received for subscription-based products such as
          YouTube Premium and YouTube TV.
        • Google Cloud includes Google's infrastructure and platform services, collaboration tools, and other services for
          enterprise customers. Google Cloud generates revenues from fees received for Google Cloud Platform services,
          Google Workspace collaboration tools and other enterprise services.
        • Other Bets is a combination of multiple operating segments that are not individually material. Revenues from Other
          Bets are generated primarily from the sale of health technology and internet services.
       Revenues, certain costs, such as costs associated with content and traffic acquisition, certain engineering activities, and
  hardware, as well as certain operating expenses are directly attributable to our segments. Due to the integrated nature of
  Alphabet, other costs and expenses, such as technical infrastructure and office facilities, are managed centrally at a
  consolidated level. The associated costs, including depreciation and impairment, are allocated to operating segments as a
  service cost generally based on usage or headcount.



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       Unallocated corporate costs primarily include corporate initiatives, corporate shared costs, such as finance and legal,
  including certain fines and settlements, as well as costs associated with certain shared R&D activities. Additionally, hedging
  gains (losses) related to revenue are included in corporate costs.
           Our operating segments are not evaluated using asset information.
      Information about segments during the periods presented were as follows (in millions). For comparative purposes,
  amounts in prior periods have been recast:
                                                                                                            Year Ended December 31,
                                                                                                    2019                2020                2021
  Revenues:
     Google Services                                                                          $     151,825     $        168,635    $       237,529
     Google Cloud                                                                                     8,918               13,059             19,206
     Other Bets                                                                                         659                  657                753
     Hedging gains (losses)                                                                             455                  176                149
         Total revenues                                                                       $     161,857     $        182,527    $       257,637
  Operating income (loss):
     Google Services                                                                          $       48,999 $            54,606 $               91,855
     Google Cloud                                                                                     (4,645)             (5,607)                (3,099)
     Other Bets                                                                                       (4,824)             (4,476)                (5,281)
     Corporate costs, unallocated( 1J                                                                 (5,299)             (3,299)                (4,761)
         Total income from operations                                                         $       34,231 $            41,224 $               78,714

  ( 1)   Corporate costs, unallocated includes a fine and legal settlement totaling $2.3 billion for the year ended December 31, 2019.

           For revenues by geography, see Note 2.
       The following table presents long-lived assets by geographic area, which includes property and equipment, net and
  operating lease assets (in millions):
                                                                                                                     As of December 31,
                                                                                                              2020                        2021
  Long-lived assets:
     United States                                                                                   $               69,315    $              80,207
     International                                                                                                   27,645                   30,351
          Total long-lived assets                                                                    $               96,960    $             110,558



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  ITEM 9.           CHANGES IN AND DISAGREEMENTS WITH ACCOUNTANTS ON ACCOUNTING AND FINANCIAL
                   DISCLOSURE
        None.
  ITEM 9A.         CONTROLS AND PROCEDURES
  Evaluation of Disclosure Controls and Procedures
       Our management, with the participation of our chief executive officer and chief financial officer, evaluated the
  effectiveness of our disclosure controls and procedures pursuant to Rule 13a-15 under the Exchange Act, as of the end of the
  period covered by this Annual Report on Form 10-K.
        Based on this evaluation, our chief executive officer and chief financial officer concluded that, as of December 31, 2021,
  our disclosure controls and procedures are designed at a reasonable assurance level and are effective to provide reasonable
  assurance that information we are required to disclose in reports that we file or submit under the Exchange Act is recorded,
  processed, summarized, and reported within the time periods specified in the SEC's rules and forms, and that such
  information is accumulated and communicated to our management, including our chief executive officer and chief financial
  officer, as appropriate, to allow timely decisions regarding required disclosure.
  Changes in Internal Control over Financial Reporting
        We rely extensively on information systems to manage our business and summarize and report operating results. In
  2019, we began a multi-year implementation of a new global ERP system, which will replace much of our existing core
  financial systems. The ERP system is designed to accurately maintain our financial records, enhance the flow of financial
  information, improve data management and provide timely information to our management team. The implementation is
  expected to continue in phases over the next few years. We completed the implementation of certain of our subledgers, which
  included changes to our processes, procedures and internal controls over financial reporting during the second quarter of
  2021. There have been no changes in our internal control over financial reporting that occurred during the quarter ended
  December 31, 2021 that have materially affected, or are reasonably likely to materially affect, our internal control over financial
  reporting. However, as the phased implementation of the new ERP system continues, we will change our processes and
  procedures, which in turn, could result in changes to our internal control over financial reporting. As such changes occur, we
  will evaluate quarterly whether such changes materially affect our internal control over financial reporting.
        As a result of COVID-19, our global workforce continued to operate primarily in a work from home environment for the
  quarter ended December 31, 2021. While we continue to evolve our work model in response to the uneven effects of the
  ongoing pandemic around the world, we believe that our internal controls over financial reporting continue to be effective. We
  have continued to re-evaluate and refine our financial reporting process to provide reasonable assurance that we could report
  our financial results accurately and in a timely manner.
  Management's Report on Internal Control over Financial Reporting
        Our management is responsible for establishing and maintaining adequate internal control over financial reporting, as
  defined in Rule 13a-15(f) of the Exchange Act. Our management conducted an evaluation of the effectiveness of our internal
  control over financial reporting based on the framework in Internal Control-Integrated Framework issued by the Committee of
  Sponsoring Organizations of the Treadway Commission (2013 framework). Based on this evaluation, management concluded
  that our internal control over financial reporting was effective as of December 31, 2021. Management reviewed the results of
  its assessment with our Audit and Compliance Committee. The effectiveness of our internal control over financial reporting as
  of December 31, 2021 has been audited by Ernst & Young LLP, an independent registered public accounting firm, as stated in
  its report which is included in Item 8 of this Annual Report on Form 10-K.
  Limitations on Effectiveness of Controls and Procedures
       In designing and evaluating the disclosure controls and procedures, management recognizes that any controls and
  procedures, no matter how well designed and operated, can provide only reasonable assurance of achieving the desired
  control objectives. In addition, the design of disclosure controls and procedures must reflect the fact that there are resource
  constraints and that management is required to apply its judgment in evaluating the benefits of possible controls and
  procedures relative to their costs.
  ITEM 98.         OTHER INFORMATION
        None.



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  ITEM 9C.         DISCLOSURE REGARDING FOREIGN JURISDICTIONS THAT PREVENT INSPECTIONS
        Not applicable.



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  PART Ill
  ITEM 10.         DIRECTORS, EXECUTIVE OFFICERS AND CORPORATE GOVERNANCE
        The information required by this item will be included under the caption "Directors, Executive Officers, and Corporate
  Governance" in our Proxy Statement for the 2022 Annual Meeting of Stockholders to be filed with the SEC within 120 days of
  the fiscal year ended December 31, 2021 (2022 Proxy Statement) and is incorporated herein by reference. The information
  required by this item regarding delinquent filers pursuant to Item 405 of Regulation S-K will be included under the caption
  "Delinquent Section 16(a) Reports" in the 2022 Proxy Statement and is incorporated herein by reference.
  ITEM 11.     EXECUTIVE COMPENSATION
       The information required by this item will be included under the captions "Director Compensation," "Executive
  Compensation" and "Directors, Executive Officers, and Corporate Governance-Corporate Governance and Board Matters-
  Compensation Committee Interlocks and Insider Participation" in the 2022 Proxy Statement and is incorporated herein by
  reference.
  ITEM 12.         SECURITY OWNERSHIP OF CERTAIN BENEFICIAL OWNERS AND MANAGEMENT AND RELATED
                   STOCKHOLDER MATTERS
       The information required by this item will be included under the captions "Common Stock Ownership of Certain Beneficial
  Owners and Management" and "Equity Compensation Plan Information" in the 2022 Proxy Statement and is incorporated
  herein by reference.
  ITEM 13.         CERTAIN RELATIONSHIPS AND RELATED TRANSACTIONS, AND DIRECTOR INDEPENDENCE
       The information required by this item will be included under the captions "Certain Relationships and Related
  Transactions" and "Directors, Executive Officers, and Corporate Governance-Corporate Governance and Board Matters-
  Director Independence" in the 2022 Proxy Statement and is incorporated herein by reference.
  ITEM 14.         PRINCIPAL ACCOUNTANT FEES AND SERVICES
        The information required by this item will be included under the caption "Independent Registered Public Accounting Firm"
  in the 2022 Proxy Statement and is incorporated herein by reference.



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  PART IV
  ITEM 15.         EXHIBITS, FINANCIAL STATEMENT SCHEDULES
          We have filed the following documents as part of this Annual Report on Form 10-K:
  1. Consolidated Financial Statements

  ReRorts of lndeRendent Registered Public Accounting Firm
  Financial Statements:
     Consolidated Balance Sheets
     Consolidated Statements of Income
     Consolidated Statements of ComRrehensive Income
     Consolidated Statements of Stockholders' Eguity:
     Consolidated Statements of Cash Flows
     Notes to Consolidated Financial Statements

  2. Financial Statement Schedules
  Schedule II: Valuation and Qualifying Accounts
      The table below details the activity of the allowance for credit losses and sales credits for the years ended December 31,
  2019, 2020 and 2021 (in millions):
                                                                                     Balance at                                                   Balance at
                                                                                  Beginning of Year        Additions             Usage            End of Year
  Year ended December 31, 2019                                                $                729     $         1,481     $        (1,457) $              753
  Year ended December 31, 2020                                                $                753     $         2,013     $        (1,422) $            1,344
  Year ended December 31, 2021                                                $              1,344     $         2,092     $        (2,047) $            1,389

  Note:     Additions to the allowance for credit losses are charged to expense. Additions to the allowance for sales credits are charged against revenues.


       All other schedules have been omitted because they are not required, not applicable, or the required information is
  otherwise included.
  3. Exhibits
                                                                                                            Incorporated by reference herein
     Exhibit
     Number                                         Description                                              Form                                 Date
  2.01                      6greement and Plan of Merger, dated October                     Current Report on Form 8-K (File October 2, 2015
                            2, 2015,...QY. and among Google Inc., the                       No. 001-37580)
                            Registrant and MaRle Technologies Inc.
  3.01                      Amended and Restated Certificate of                             Current Report on Form 8-K (File October 2, 2015
                            lncorRoration of the Registrant, dated October 2,               No. 001-37580)
                            2015
  3.02                      Amended and Restated Bylaws of the                              Current Report on Form 8-K/A               October 27, 2020
                            Registrant, dated October 21, 2020                              (File No. 001-37580)
  4.01                      §Recimen Class A Common Stock certificate                       Current Report on Form 8-K (File           October 2, 2015
                                                                                            No. 001-37580)
  4.02                      §Recimen Class C CaRital Stock certificate                      Current Report on Form 8-K (File           October 2, 2015
                                                                                            No. 001-37580)
  4.03                      AIP-habet Inc. Deferred ComRensation Plan                       Current Report on Form 8-K (File           October 2, 2015
                                                                                            No. 001-37580)
  4.04                      Transfer Restriction Agreement, dated October                   Current Report on Form 8-K (File           October 2, 2015
                            2, 2015, between the Registrant and Larry: Pag~                 No. 001-37580)
                            and certain of his affiliates
  4.05                      Transfer Restriction Agreement, dated October                   Current Report on Form 8-K (File October 2, 2015
                            2, 2015, between the Registrant and Serg~y:                     No. 001-37580)
                            Brin and certain of his affiliates
  4.06             *        Joinder Agreement, dated December 31, 2021,
                            among the Registrant, Serg§Y. Brin and certain
                            of his affiliates




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                                                                                            Incorporated by reference herein
     Exhibit
     Number                                  Description                                    Form                               Date
  4.07                  Transfer Restriction Agreement, dated October          Current Report on Form 8-K (File October 2, 2015
                        2, 2015, between the Registrant and Eric E.            No. 001-37580)
                        Schmidt and certain of its affiliates
  4.08                  Class C Undertaking, dated October 2, 2015,            Current Report on Form 8-K (File     October 2, 2015
                        executed by the Registrant                             No. 001-37580)
  4.09                  Indenture, dated February...12, 2016, between          Registration Statement on Form       February 12, 2016
                        the Registrant and The Bank of New York                S-3
                        Mellon Trust ComRany, NA, as Trustee                   (File No. 333-209510)
  4.10                  Registrant Registration Rights Agreement dated         Registration Statement on Form       February 12, 2016
                        December 14, 2015                                      S-3
                                                                               (File No. 333-209518)
  4.11                  First Surwlemental Indenture, dated ARril 27,          Current Report on Form 8-K           April 27, 2016
                        2016, between the Registrant and The Bank of           (File No. 001-37580)
                        New York Mellon Trust ComRany, NA, as
                        trustee
  4.12                  Form of the Registrant's 3.375% Notes due
                        2024 (included in Exhibit 4.11)
  4.13                  Form of the Registrant's 1.998% Note due 2026          Current Report on Form 8-K (File August 9, 2016
                                                                               No. 001-37580)
  4.14                  Form of Global Note reRresenting the                   Current Report on Form 8-K (File August5,2020
                        Registrant's 0.450% notes due 2025                     No. 001-37580)
  4.15                  Form of Global Note reRresenting the                   Current Report on Form 8-K (File August5,2020
                        Registrant's 0.800% notes due 2027                     No. 001-37580)
  4.16                  Form of Global Note reRresenting the                   Current Report on Form 8-K (File August5,2020
                        Registrant's 1.100% notes due 2030                     No. 001-37580)
  4.17                  Form of Global Note reRresenting the                   Current Report on Form 8-K (File August 5, 2020
                        Registrant's 1.900% notes due 2040                     No. 001-37580)
  4.18                  Form of Global Note reRresenting the                   Current Report on Form 8-K (File August5,2020
                        Registrant's 2.050% notes due 2050                     No. 001-37580)
  4.19                  Form of Global Note reRresenting the                   Current Report on Form 8-K (File August5,2020
                        Registrant's 2.250% notes due 2060                     No. 001-37580)
  4.20             *    DescriRtion of Registrant's Securities
  10.01            ♦    Form of Indemnification Agreement entered into         Current Report on Form 8-K (File October 2, 2015
                        between the Registrant, its affiliates and its         No. 001-37580)
                        directors and officers
  10.02            ♦    ComRensation Plan Agreement, dated October             Current Report on Form 8-K (File October 2, 2015
                        2, 2015, between Google Inc. and the Registrant        No. 001-37580)
  10.03            ♦    Director Arrangements Agreement, dated                 Current Report on Form 8-K (File October 2, 2015
                        October 2, 2015, between Google Inc. and the           No. 001-37580)
                        Registrant
  10.04            ♦    AIRhabet Inc. Deferred ComRensation Plan               Current Report on Form 8-K (File     October 2, 2015
                                                                               No. 001-37580)
  10.05            ♦    Google Inc. 2004 Stock Plan, as amended                Current Report on Form 8-K (File     June 7, 2011
                                                                               No. 000-50726)
  10.05.1          ♦    Goo~le Inc. 2004 Stock Plan - Form of Goog)§_          Annual Report on Form 10-K           March 30, 2005
                        Stoc O1:.1tion Agreement                               (File No. 000-50726)
  10.05.2          ♦    Google Inc. 2004 Stock Plan - Form of Goog)§_          Annual Report on Form 10-K           March 30, 2005
                        Restricted Stock Unit Agreement                        (File No. 000-50726)
  10.05.3          ♦    Google Inc. 2004 Stock Plan - Amendment to             Registration Statement on Form       April 20, 2007
                        Stock ORtion Agreements                                S-3
                                                                               (File No. 333-142243)
  10.06            ♦    Al1:.1habet Inc. Amended and Restated 2012             Current Report on Form 8-K           June 5, 2020
                        Stock Plan                                             (File No. 001-37580)



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                                                                                            Incorporated by reference herein
     Exhibit
     Number                                  Description                                     Form                              Date
  10.06.1          ♦     AIRhabet Inc. Amended and Restated 2012               Annual Report on Form 10-K           February 4, 2020
                         Stock Plan - Form of AIRhabet Restricted Stock        (File No. 001-37580)
                         Unit Agreement
  10.06.2          ♦     AIRhabet Inc. Amended and Restated 2012               Annual Report on Form 10-K           February 4, 2020
                         Stock Plan - Performance Stock Unit Agreement         (File No. 001-37580)
  10.07            ♦     AIRhabet Inc. 2021 Stock Plan                         Current Report on Form 8-K (file     June 4, 2021
                                                                               No. 001-37580)
  10.07.1          ♦     AIRhabet Inc. 2021 Stock Plan - Form of               Quarterly Report on Form 10-Q        July 28, 2021
                         AIRhabet Restricted Stock Unit Agreement              (file No. 001-37580)
  10.07.2          ♦   * AIRhabet Inc. 2021 Stock Plan - Form of
                         AIRhabet 2022 Non-CEO Performance Stock
                         Unit Agreement
  10.08            ♦   * AIRhabet Inc. ComRanY. Bonus Plan
  14.01                  Code of Conduct of the Registrant as amended Annual Report on Form 10-K                    February 6, 2018
                         on SeRtember 21, 2017                             (File No. 001-37580)
  21.01            *     Subsidiaries of the Registrant
  23.01            *     Consent of lndeRendent Registered Public
                         Accounting Firm
  24.01            *     Power of Attorney_(incorRorated bY. reference to
                         the signature Rage of this Annual ReRort on
                         Form 10-K)
  31.01            *     Certification of Chief Executive Officer RUrsuant
                         to Exchange Act Rules 13a-14(g_) and 15d-
                         14(§}, as adoRted RUrsuant to Section 302 of the
                         Sarbanes-Oxley Act of 2002
  31.02            *     Certification of Chief Financial Officer RUrsuant
                         to Exchange Act Rules 13a-14(§) and 15d-
                         14(§}, as adoRted RUrsuant to Section 302 of the
                         Sarbanes-Oxley Act of 2002
  32.01                  Certifications of Chief Executive Officer and
                         Chief Financial Officer RUrsuant to 18 U.S.C.
                         Section 1350, as adoRted RUrsuant to Section
                         906 of the Sarbanes-OxleY. Act of 2002
  101.INS          *     lnline XBRL Instance Document - the instance
                         document does not appear in the Interactive
                         Data File because its XBRL tags are embedded
                         within the lnline XBRL document
  101.SCH          *     lnline XBRL Taxonomy Extension Schema
                         Document
  101.CAL          *     lnline XBRL Taxonomy Extension Calculation
                         Linkbase Document
  101.DEF          *     lnline XBRL Taxonomy Extension Definition
                         Linkbase Document
  101.LAB          *     lnline XBRL Taxonomy Extension Label
                         Linkbase Document
  101.PRE          *     lnline XBRL Taxonomy Extension Presentation
                         Linkbase Document
  104                    Cover Page Interactive Data File (embedded
                         within the lnline XBRL document and contained
                         in Exhibit 101)



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          Indicates management compensatory plan, contract, or arrangement.
  *       Filed herewith.
          Furnished herewith.

  ITEM 16.         FORM 10-K SUMMARY
        None.



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                                                                         SIGNATURES

       Pursuant to the requirements of Section 13 or 15(d) of the Securities Exchange Act of 1934, the Registrant has duly
  caused this Annual Report on Form 10-K to be signed on its behalf by the undersigned, thereunto duly authorized.

        Date: February 1, 2022

        ALPHABET INC.
        By:           /s/            SUNDAR PICHAI
                                       Sundar Pichai
                                   Chief Executive Officer
                       (Principal Executive Officer of the Registrant)




                                                                POWER OF ATTORNEY

        KNOW ALL PERSONS BY THESE PRESENTS, that each person whose signature appears below constitutes and
  appoints Sundar Pichai and Ruth M. Porat, jointly and severally, his or her attorney-in-fact, with the power of substitution, for
  him or her in any and all capacities, to sign any amendments to this Annual Report on Form 10-K and to file the same, with
  exhibits thereto and other documents in connection therewith, with the Securities and Exchange Commission, hereby ratifying
  and confirming all that each of said attorneys-in-fact, or his or her substitute or substitutes, may do or cause to be done by
  virtue hereof.

       Pursuant to the requirements of the Securities Exchange Act of 1934, this Annual Report on Form 10-K has been signed
  below by the following persons on behalf of the Registrant and in the capacities and on the dates indicated.




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                                        filgnature                                         Title
                                                               Chief Executive Officer and Director (Principal
                                 Isl SUNDAR PICHAI             Executive Officer)                                    February 1, 2022
       -------- -----------
              Sund a r Pichai
                                                               Senior Vice President and Chief Financial Officer
                           Isl       RUTH M. PORAT             (Principal Financial Officer)                         February 1, 2022
       -------- -----------
              Ruth M. Porat
                                                              Vice President and Chief Accounting Officer
                   Isl         AMIE THUENER OTOOLE            (Principal Accounting Officer)                         February 1, 2022
       - - - - - -Amie
                  - -Thuener
                       - - -O'Toole
                             --------
                     Is/         FRANCES H. ARNOLD             Director                                              February 1, 2022
                                     Frances H. Arnold
                               Isl    SERGEY BRIN              Co-Founder and Director                               February 1, 2022
                                       Sergey Brin
                           Isl       L. JOHN DOERR             Director                                              February 1, 2022
                                       l. John Doerr
                   Isl     ROGER W. FERGUSON, JR.              Director                                              February 1, 2022
                                 Roger W. Ferguson, Jr.
                         Isl     JOHN L. HENNESSY              Director, Chair                                       February 1, 2022
       - - - - - - -John
                     - -l. - ---------
                           Hennessy
                               Isl     ANN MATHER              Director                                              February 1, 2022
                                        Ann Mather
                               Isl    ALAN R. MU LALLY         Director                                              February 1, 2022
                                      Alan R. Mulally
                               Isl     LARRY PAGE              Co-Founder and Director                               February 1, 2022
                                        Larry Page
                           Isl       K. RAM SHRIRAM            Director                                              February 1, 2022
                                      K. Ram Shriram
                     Isl         Robin L. Washington           Director                                              February 1, 2022
                                 Robin l. Washington




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               Exhibit 366
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                                         IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF COLUMBIA


              TIKTOK INC. and BYTEDANCE LTD.,

                                         Plaintiffs,

                          v.                                            Civil Case No. 20-cv-2658

              DONALD J. TRUMP, in his official capacity as
              President of the United States; WILBUR L.
              ROSS, JR., in his official capacity as Secretary
              of Commerce; and U.S. DEPARTMENT OF
              COMMERCE,

                                         Defendants.


                                                DECLARATION OF VANESSA PAPPAS

                          I, Vanessa Pappas, under penalty of perjury, hereby declare as follows:

                          1.     I am the head of TikTok Inc. and the interim head of the global TikTok business

             for ByteDance Ltd. (“ByteDance”), TikTok Inc.’s parent company. My responsibilities include

             overseeing the content, product, operations, and marketing teams for TikTok’s global platform,

             and direct oversight of our U.S. Safety team. For clarity, references in this declaration to “TikTok

             Inc.” are to the U.S. corporate entity and references to “TikTok” are to the software application

             and business unit.

                          2.     The purpose of this declaration is to discuss the effects of President Trump’s

             Executive Order dated August 6, 2020 regarding TikTok and the actions taken by the Department

             of Commerce on September 18, 2020, which I will refer to collectively as the “TikTok Ban” or

             “Ban.”

                          3.     This declaration is based upon my personal knowledge and belief and/or upon my

             review of business records of TikTok Inc. and ByteDance.


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                  A. TikTok’s Business

                          4.   TikTok is a video-sharing platform designed to provide a creative and entertaining

             forum for our users to express themselves and make connections with other content creators and

             viewers. TikTok enables hundreds of millions of users to share expressive content ranging from

             humorous videos to artistic, political, and religious speech.

                          5.   TikTok Inc. is a U.S. company with hundreds of U.S. employees. Its headquarters

             are located in Los Angeles, California.

                          6.   TikTok Inc. is led by a U.S.-based leadership team. I am based in the United States,

             along with our Global Chief Security Officer (Roland Cloutier), our Head of Safety (Eric Han),

             and our General Counsel (Erich Andersen). Our leadership team is deeply committed to protecting

             U.S. user data privacy and security, promoting U.S.-led content moderation and localized

             community guidelines, and cooperating with the U.S. government in accordance with the law.

                          7.   TikTok Inc. is committed to hiring U.S. personnel beyond the highest levels of

             leadership as well—we have already hired dozens of employees with years of experience from

             other leading U.S. technology companies.

                          8.   TikTok Inc. is owned by ByteDance, a global company incorporated in the Cayman

             Islands with offices in the United States, China, Singapore, and the United Kingdom, among other

             locations. TikTok has been offered in more than 200 countries, but it is not and has never been

             offered in China, and there is no connection between TikTok Inc. and the Chinese government.

                          9.   TikTok’s user base in the United States has grown at a rapid pace. In August 2018,

             we had 14,579,171 monthly active users. By February 2019, we reached 26,739,143 monthly

             active users, and by October of that same year, our total number of monthly active users in the

             United States had climbed to 39,897,768. As of August 18, 2020, TikTok had 92,762,039 monthly




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             active users in the United States. Today, based on quarterly usage, over 100 million Americans

             use TikTok. 1

                          10.   TikTok’s international growth has followed a similar trajectory. By January 2018,

             we had 54,793,729 global active users. By December of that year, the number of global active

             users rose to 271,188,301. As of July 2020, TikTok had 689,174,209 global active users, and by

             August 18, 2020, TikTok had 2,426,446,959 global downloads.

                          11.   TikTok’s initial growth was spurred by its appeal to those who value the blend of

             light entertainment and humor that our app provides. But today, TikTok has also become a forum

             for all types of political speech. Many content creators use our app to express solidarity with social

             movements, highlight their political preferences and candidates of choice, and speak out on today’s

             many pressing political issues, all to an audience of millions of viewers.

                          12.   In addition, especially during the COVID-19 pandemic as in-person entertainment

             and communication forums have declined or disappeared, TikTok has become a very important

             source of income for innovative communicators and content creators in the United States. For

             example, creators can enter into partnerships with brands who pay to sponsor their content, use the

             livestream feature of the app and receive monetary gifts from the audience, and can link their

             personal websites for goods and merchandise to their TikTok profile.

                          13.   To support the creators who rely upon TikTok for their livelihoods, we have

             announced the launch of the Creator Fund, which will provide one billion dollars over the next

             three years to invest in more than a million creators in the United States. We have also funded




             1
              These monthly and quarterly active users figures have not been de-duplicated, to account, for
             example, for the same user on multiple devices.


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             creators who make educational content as part of our Creative Learning Fund, and we help to

             connect creators with brands for sponsorships.

                          14.   TikTok Inc. has always invested heavily in data privacy and security protections

             for our users, as well as protections to help ensure a safe online experience on TikTok. Maintaining

             a safe and supportive environment for our users is a critical priority for us. Our business model

             rests on the principle that a safe environment is essential to helping people feel comfortable with

             expressing themselves openly and creatively. We take steps to protect the privacy and security of

             U.S. user data in our collection and use of data, including industry-standard encryption to protect

             user data and security controls to protect the integrity of our source code and safeguard against

             data breaches, hackers, and other malicious actors.

                          15.   We also aim to cultivate an environment for authentic interactions by making

             focused efforts to keep deceptive content and accounts off TikTok. Our U.S. content moderation

             is led by a U.S.-based team and operates independently from China. To my knowledge, there has

             never been a request from the Chinese government to moderate content on TikTok, and we would

             reject such a request for content moderation if we received one.

                  B. The Impact of the TikTok Ban on Our Business

                          16.   Our business model is not complicated: We provide a platform for our community

             of users to create and share content. To survive, we need to be able to do two related things: grow

             our users and continue to enable the development of good content. Those two things feed the

             economic foundations of our business: advertising revenue, attraction of talent (both as employees

             and among creators on our platform), and continued investment in our platform. The TikTok Ban

             irreversibly harms us by destroying our ability to grow and maintain users, develop content, earn

             revenue from advertisers, and attract and retain business partners and employees.




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                          17.   First, the TikTok Ban will cause our user base to stagnate and then precipitously

             decline. Before the Ban, TikTok was one of the fastest growing apps in the United States, and we

             were on a growth trajectory that enabled our platform to directly compete with major social media

             platforms like Instagram. For TikTok to remain competitive, continued growth at this stage in our

             development is critical. New users are the lifeblood of a social media application like TikTok;

             without new users, we cannot compete with other platforms.

                          18.   As the first step of the TikTok Ban, the Commerce Department has ordered the

             removal of TikTok from the U.S. app stores as of September 27, 2020. Removing the app from

             U.S. app stores will halt the influx of any new U.S. users, immediately foreclosing the hundreds

             of millions of Americans who have not yet downloaded the app from joining the TikTok

             community. Until July 1, when rumors of a ban first began to circulate, TikTok was adding

             approximately 424,000 new daily U.S. users each day. Eliminating this influx of new U.S. users

             would cripple our growth and immediately cut into our market share.

                          19.   Notwithstanding the superior technology and innovations that have made TikTok

             such an overwhelming success, our experience reveals that users and content creators will shift to

             less attractive and less functional substitutes if TikTok becomes unavailable to new users. When

             the remaining Commerce Department restrictions come into effect on November 12, 2020, and

             TikTok is shut down entirely in the United States, this erosion of our competitive position will

             significantly accelerate. Based on data from the Indian government’s two-week ban on TikTok in

             2019, our modeling indicates that 40–50% of our daily active users before the U.S. government’s

             TikTok Ban will not return to TikTok even if the Ban is lifted after two months; if the Ban is in

             place for six months, 80–90% of daily active users will not return. Accordingly, even if the TikTok

             Ban is later lifted, we would not be able to make up for lost ground, because people who would




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             have downloaded TikTok will have already turned to other competing platforms such as Byte,

             Triller, Zynn, and the Reels feature on Instagram to post and consume short-video content to fill

             the void left behind in the wake of the TikTok Ban.

                          20.   The TikTok Ban in the United States will also have a major impact on TikTok’s

             global growth. Because content created and shared by U.S. users is highly exportable to other

             English-speaking markets like the United Kingdom, Canada, and Australia, U.S. content can

             comprise as much as 60% of the content in TikTok ’s non-U.S. markets. TikTok ’s success in

             these markets currently relies heavily on U.S. content. Banning TikTok in the United States will

             result in a massive decrease in content available globally, which will decrease business and impact

             both our new users and core user base worldwide. Here too, even if the TikTok Ban were later

             reversed, there would be no recovering from the harm that even a temporary disruption would

             cause.

                          21.   Second, removing TikTok from the app stores will cut into our existing user base,

             and the subsequent shutdown ordered on November 12 will eliminate our user base entirely. As

             soon as TikTok is removed from the app stores, our competitors will have a window to entice

             TikTok creators to switch platforms and to knock TikTok out of the market. Even before the

             Commerce Department took action, TikTok was under intense competitive pressure. When

             Secretary of State Pompeo first announced that President Trump was considering a ban of TikTok,

             we saw a significant drop in our user base, with a reduction of over 500,000 daily active users.

             Meanwhile, just days after President Trump made his own threat to ban TikTok, Instagram

             launched a directly competing feature called Reels. Other applications such as Byte, Triller, Zynn,

             Clash, YouTube Shorts, and Snapchat also are competitors, and several of these apps have topped

             the app stores in the weeks since the August 6 executive order.




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                          22.   These competing services are seizing the opportunity to capitalize on the

             uncertainty surrounding TikTok and to recruit our current creators, with some platforms going as

             far as to offer millions of dollars and exclusive deals to our creators. 2 For example, Triller recently

             signed TikTok’s largest creator, Charli D’Amelio. 3 As prominent creators leave TikTok for other

             platforms in response to the Ban, their departure will have cascading effects on TikTok’s user

             base—because of the halo effect associated with major personalities on the TikTok app, the

             departure of even one top creator can lead thousands of members of their fan base to the next

             platform as well.

                          23.   Third, the TikTok Ban will dramatically undercut the commercial goodwill

             associated with the TikTok application and impede our ability to form and maintain commercial

             partnerships. Our commercial partners want to work with us because of the vibrant TikTok

             community. By destroying that community—first by shutting TikTok out of the app stores and

             then by shutting down TikTok entirely—the TikTok Ban will deal a heavy blow to our reputation

             and attractiveness as a commercial partner. This collapse of goodwill will harm our revenues from

             existing partnerships and prevent us from realizing revenue from future opportunities, as

             prospective partners forge relationships with our competitors instead.

                          24.   This breakdown of TikTok’s goodwill and reputation is particularly harmful in

             relation to U.S. advertisers. Businesses like TikTok place a premium on U.S. advertisers, which




             2
               Deepa Seetharaman & Euirim Choi, World News: Ban Threat Opens Door to Rival Platforms,
             Wall St. J. (Aug. 5, 2020), https://www.wsj.com/articles/tiktok-users-drawn-to-rival-platforms-as-
             trump-threatens-u-s-ban-11596555375.
             3
               Julia Alexander, TikTok’s most popular creator, Charli D’Amelio, has joined rival app Triller,
             The Verge (Sept. 15, 2020), https://www.theverge.com/2020/9/15/21438111/charli-damelio-
             tiktok-triller-app-rival-dixie-marc-heidi.


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             are often the most successful at generating revenue for TikTok because they typically pay better

             rates for views of their advertisements than do advertisers in other markets. Advertising is a

             relationship-based business; if we are perceived to be an unreliable partner in the marketplace,

             advertisers will build partnerships with other platforms. In fact, the August 6 executive order

             began to destabilize our relationships with advertisers even before the implementing regulations

             took effect. After President Trump issued the executive order, companies started to turn down or

             pull back from agreements we were pursuing with them. Approximately a dozen brands, including

             some of the largest consumer goods companies in the United States, cancelled or delayed their

             planned advertising for August. This loss of stability has already impacted our business: even

             before the Commerce Department identified the prohibited transactions that officially

             implemented the executive order, we lost $10 million of revenue in the month of August alone.

                          25.   The reputation damage caused by the TikTok Ban will also impact our deals with

             some of our marquee content partners, especially major media conglomerates and major sports

             leagues. Our relationships with these entities generate goodwill, positive brand impact, and media

             exposure for TikTok. As the loss of these partnerships accelerates as the TikTok Ban takes effect,

             we will experience a deep, unquantifiable harm to TikTok’s credibility and competitiveness in the

             U.S. market and worldwide, which makes it unlikely that these relationships could be salvaged

             even if the TikTok Ban is later lifted.

                          26.   Fourth, the TikTok Ban will devastate our U.S. workforce, permanently harming

             our ability to recruit and retain talent. TikTok is a technology company, and we compete fiercely

             for the software engineers and other talent we rely upon to run our business. These candidates

             often have multiple offers from other companies, and our competitors have been aggressively

             trying to recruit our talent since the TikTok Ban was first announced. Meanwhile, we have been




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             hampered in our ability to attract talent. Since July 1, 2020, 52 candidates have declined offers of

             employment with ByteDance and TikTok Inc. specifically due to the perceived uncertainty caused

             by the government’s investigation of and threats against TikTok. As the TikTok Ban comes into

             effect, these problems with recruitment and retention will be greatly magnified, given that the

             business these employees support would be banned in the United States.



                          Pursuant to 28 U.S.C. § 1746 and under penalty of perjury, I affirm that the foregoing facts

             are true and correct to the best of my knowledge.

                          Executed this 23rd day of September, 2020.



                                                        ____________________________

                                                                Vanessa Pappas




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                                                                                         TikTok Australia Pty Ltd
                                                                                          Level 10, 68 Pitt Street
                                                                                              Sydney NSW 2000


TikTok’s Response to the ACCC’s Report on Social Media Services Issues Paper


1.         Introduction

          TikTok welcomes the opportunity to respond to the ACCC’s Issues Paper on social media services for
          the sixth report in the Digital Platform Services Inquiry (Issues Paper).

          TikTok is an entertainment platform whose mission is to inspire creativity and bring joy. As a young
          and growing company, a challenger in a crowded digital sector with many strong incumbents, we
          have been fortunate to benefit from strong growth since our initial 2017 launch in Australia. That
          growth is testament to the power to convert great new ideas into commercial success through
          merits‐based competition, and shows Australian consumers were eager for the greater choice that
          TikTok provides.

          As an entertainment platform, we have a competitive set which extends beyond the ‘social media
          services’ listed in the Issues Paper, and includes YouTube and YouTube Shorts, Reels, Netflix (which
          recently announced its “Fast Laughs” feature), Twitch, and many others. TikTok competes vigorously
          in dynamic and constantly developing markets for both users and advertisers. The main way we
          compete is by seeking to provide our community with quality products and services – so they can
          access content that engages and inspires. In this respect, we are continually innovating and adapting
          the features of our platform to serve the needs of our growing community of more than one billion
          people worldwide.

          We face fierce competition in offering these services, from both incumbents and other challengers.
          Many entrenched incumbents have large app ecosystems at their disposal, which they have
          leveraged into new competing products in the face of TikTok’s disruptive growth. TikTok hopes to
          continue growing and building out its features in Australia in order to provide even more
          competition in various areas of the digital economy.

          In this highly competitive environment, online consumer safety is a top priority for TikTok, and we
          have robust policies and processes in place to protect consumers from scams and misleading or
          deceptive conduct.

2.         About TikTok in Australia

           TikTok launched in Australia in May 2017. Since that time, we have grown to where millions of
           Australians come to TikTok to be entertained, to learn and to connect. Since our local launch, and as
           the ACCC states in the Issues Paper,1 we have continued to grow around the world and TikTok now
           has over one billion global users.

          We attribute our successful entry to the quality and innovation in our products and services. We
          offer our users a fun, welcoming experience where authenticity is celebrated. In the fast‐changing
          digital world, TikTok is consistently working to develop new features to respond to our community’s
          needs and expectations.

1    Issues Paper, p 10.
                                                                                      MetaFTC-Klein-
                                                                                          DX-116
                                                                                         (4-20-23)
                                                                                        WWW.DIGITALEVIDENCEGROUP.COM
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          We have historically been able to grow based on the value of our “discovery engine,” as epitomized
          by our “For You” feed, which delivers creative content that our users are interested in, instead of
          focusing only on social connections. We provided users with engaging content in an appealing
          format which they were not finding on other platforms, partly because other platforms appeared
          focused on delivering content which only affirmed existing relationships and interests, instead of
          delivering novel and fresh experiences.

          Upon opening TikTok, users are presented with the “For You” feed, our landing page which provides
          users with a stream of videos curated to their interests based on their interaction with the platform.2
          Users may also look to their “Following” feed and “Friends” tab,3 which include content from TikTok
          accounts that a user has proactively chosen to follow. It is worth noting that, unlike say a user’s
          network on Facebook, in many cases, a user will have no real‐world connection to many of the
          accounts that they follow and TikTok has historically been less reliant on the so‐called “social graph”
          associated with pure social networking. However, we have explored ways that social connections
          may provide other avenues to discovery and entertainment. All of these feature improvements,
          optionality, and innovations feed back into TikTok’s core entertainment purpose.

3.        Competitive landscape

3.1.      Competition beyond “social media services” across a broad competitive set

          TikTok is an entertainment platform, competing with many conventional and developing forms of
          media where delineated categories are increasingly blurred. We find ourselves competing in a so‐
          called “attention economy” to provide interesting and engaging content. At TikTok, we often say
          while users may “check” other platforms, they “watch” TikTok. CNBC relevantly reported in 2021
          that “the competitive lines between traditional media companies and online video services like
          TikTok, Google’s YouTube, Facebook’s Instagram and Amazon’s Twitch are blurring.”4

          We witness a competitive canvas that includes but extends beyond the “main social media services”
          identified in the Issues Paper, to include YouTube, as well as YouTube Shorts, Reels, Reddit, Twitter,
          Twitch, and many others. As TikTok has grown, many firms have developed their products to
          become more like TikTok.5 The UK communications regulator has observed a fierce competitive
          growth of similar features elsewhere:

                    “Instagram and Facebook’s parent company Meta (previously known as Facebook) said in its
                    Q1 2022 earnings calls that Reels would be core to its business strategy and future growth.
                    The company highlighted that 20% of the time spent on Instagram globally was spent on
                    Reels, and that video overall makes up 50% of the time that people spend on Facebook.
                    Meanwhile, YouTube announced in June 2022 that 1.5 billion global users log into YouTube
                    Shorts monthly. Alphabet, the parent company of YouTube, announced in its Q1 2022
                    earnings call that YouTube Shorts was averaging over 30 billion daily views – four times as
                    many as a year earlier. Twitter is set to follow this trend in 2022, preparing to roll out a new


2    TikTok, ‘How TikTok Recommends Videos #ForYou’ (Web Page, 19 June 2020) <https://newsroom.tiktok.com/en-us/how-
     tiktok-recommends-videos-for-you>.
3    TikTok, ‘Friends Tab’ (Web Page) <https://support.tiktok.com/en/using-tiktok/exploring-videos/friends-tab>.
4    Sherman, Alex, ‘TikTok and Instagram inch closer to the streaming wars as competitive barriers blur’, CNBC (Online, 5 July
     2021) <https://www.cnbc.com/2021/07/05/tiktok-and-instagram-inch-closer-to-streaming-wars.html>.
5    Isaac, Mike, ‘Meta tweaks Facebook app to act more like TikTok’, The New York Times (Online, 21 July 2022)
     <https://www.nytimes.com/2022/07/21/technology/facebook-app-changes-home.html>.


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                   test feature that invites users to post video reactions to tweets… Snap is also developing its
                   service through investing in UK originals.”6

         A further example is Netflix, which recently launched a “Fast Laughs” feed for mobile devices. Netflix
         now identifies TikTok as a competitor to its investors,7 as did the music streaming platform Spotify in
         its annual report.8 These are just some examples of the ever‐developing competitive landscape. The
         resulting picture is an intense and fluid competitive environment of adapting services grappling for
         time and attention.

3.2.     Overcoming barriers to entry

         There are no doubt structural challenges for new entrants wishing to compete against large and
         established platforms like Meta’s Facebook. For example, it may be difficult to attract advertisers
         until a certain scale and reach has been realised – with advertisers looking for platforms that have
         exposure to a large number of consumers. Further, in relation to social networking, users are
         generally attracted to networks where they can find a significant number of connections (for
         example, friends, professional contacts, or people with similar interests), and a more established
         player will obviously have an immediate advantage over a new entrant whose users do not have
         those developed networks in place.

         We have, nevertheless, seen that it is possible for new entrants to establish themselves relatively
         quickly and to effectively compete based on the quality and innovation of their product and service
         offerings, as the recent growth of TikTok has shown.

         TikTok wishes to continue presenting new and disruptive competition to incumbent platforms. Many
         of these platforms have market power across broad app ecosystems, which they can leverage into
         new services in a way challenger firms (such as TikTok) cannot. It is critical that TikTok and other new
         entrants maintain their ability to build out and diversify their offerings to provide important new
         competition.

3.3.     Low switching costs and multi‐homing

         TikTok sees a significant degree of multi‐homing by both users and advertisers. Users generally
         employ multiple platforms for the same or similar types of services, such as entertainment,
         messaging, content and social interactions. Similarly, advertisers may promote different content on
         different platforms, or the same content across multiple platforms. We believe that this ability of
         users and advertisers to easily switch platforms and multi‐home drives competition.

         Most platforms do not operate on an exclusive basis. There are generally no subscription fees
         connected with the use of these platforms. Participation is rarely invitational and compatibility issues
         with users operating on more than one platform rarely occur.

         TikTok users have very limited, if any, switching costs and there are no real practical limits with
         TikTok users being active on and sharing their content on other platforms. TikTok allows users to
         easily download their TikTok videos and share them elsewhere. This can be seen, for example, by the

6   The Office of Communications (OFCOM), ‘Media Nations: UK 2022’ (Report, 17 August 2022) pp 27-28
    <https://www.ofcom.org.uk/__data/assets/pdf_file/0016/242701/media-nations-report-2022.pdf>.
7   Netflix, Inc., ‘Shareholder Letter for Q2 2020’ (Letter, 16 July 2020)
    <https://s22.q4cdn.com/959853165/files/doc_financials/2020/q2/FINAL-Q2-20-Shareholder-Letter-V3-with-Tables.pdf>.
8   Spotify Technology S.A., ‘Annual Report pursuant to section 13 or 15(d) of the Securities Exchange Act of 1934 for the fiscal year
    ended December 31, 2021’ (Annual Report, 3 February 2022)
    <https://s29.q4cdn.com/175625835/files/doc_financials/2021/AR/2021-Spotify-AR.pdf>.


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          number of videos with TikTok watermarks that are shared to Reels. TikTok users can also find friends
          on Facebook and invite them to TikTok, and sign up to TikTok by using their Google or Facebook
          accounts. While there are some platforms where it is more difficult or time‐consuming for users to
          download content to share with another platform (for example, to export an entire social graph or
          download albums of photos)9, it is generally easy for users to move between platforms.

          In this way, it is not the case that users permanently switch between providers like customers might
          switch between sellers of specific products – rather, platform users may keep their accounts with
          different providers and simply add to the number of apps on their mobile phones.

          The significance of multi‐homing is supported by the Issues Paper’s data, which refer to Australian
          adult social media users using Facebook (75%), Instagram (44%), Snapchat (20%), Twitter (16%) and
          TikTok (15%) and add to more than 100%. This is also illustrated by the multi‐homing statistics
          included in the UK CMA’s Final Report with respect to Facebook/Giphy, as set out in Figure 1
          below.10

          Figure 1: Consumer cross‐visiting behaviour amongst social media platforms, March 2021 (UK)

                               Facebook
                               Blue &
                               Messenqer lnstaqram WhatsApp Snapchat TikTok                                        Twitter
           Facebook
           Blue&
           Messenger                   100.0              90.2              91 .8           83.7         84.4         89.4
           In stag ram                  62.5             100.0              67.0            86.9         80.1         72 .3
           WhatsApp                     70.3              74.1             100.0            83.7         77.5         69. 1
           Snapchat                     20.4              30.5              26.6           100.0         45.3         25.0
           TikTok                       29.9              40.9              35.8            66.0        100.0         37.5
           Twitter                      45.8              53.4              46.2            52.7         54.3        100.0
          Source: CMA analysis of ComScore MMX Multi‐Platform data supplied by Facebook. Total Digital
          Population, UK.

3.4.      Demographics

          In response to the question in the Issues Paper regarding the influence that demographics have on
          users’ choice of platform,11 our view is that it is the quality and features of a service which drive the
          popularity of a platform more than any other factor. Younger users are often “early adopters” of
          new technology, but in the relatively short time TikTok has operated in Australia, we have already
          seen our community “age up” and our users broadly diversify.12 Third parties have also observed

9    Data types between platforms may not always be “apples to apples” because of unique features.
10   Competition and Markets Authority (CMA), ‘Completed acquisition by Facebook, Inc. (now Meta Platforms, Inc.) of Giphy, Inc.’
     (Final Report, 30 November 2021) p 110 (Figure 16)
     <https://assets.publishing.service.gov.uk/media/61a64a618fa8f5037d67b7b5/Facebook__Meta__GIPHY_-
     _Final_Report_1221_.pdf>.
11   Issues Paper, p 12 (Question 10).
12   Kantar, ‘The Power of TikTok: Achieving breakthrough brand building with TikTok’ (Slide Deck, September 2020) p 30
     <https://www.tiktok.com/business/library/the-power-of-tiktok.pdf>, “[T]he platform is swiftly attracting older users.”; TikTok,
     ‘Family time has evolved: From TV to TikTok’ (Web Page, 26 March 2021) <https://www.tiktok.com/business/en/blog/from-tv-
     to-tiktok-family-time-has-evolved?platform=facebook&channel=facebook-organic-post-blog-familytime-
     44281&attr_source=facebook&attr_medium=organic-post&attr_campaign=facebook-organic-post-blog-familytime-
     44281&attr_agency=gbmhq>, “Parents make up an active, vocal and fast-growing slice of the community on TikTok”.


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         increasing adoption of TikTok among older users13 and that TikTok sees teen usage rates similar to
         other platforms.14

4.       Advertising

4.1.     Competition for advertising budgets is vigorous

         Advertising is the principal source of TikTok’s revenues. We compete with other digital platforms, as
         well as various other forms of advertising, for advertising budgets based on effectiveness and return
         on the advertiser’s spend. Platforms compete to show advertisers the effectiveness of the platform,
         such as the richness of data, the ability to target certain audiences, evidence of audience
         engagement, a large and diverse user base, and time spent on a platform. Brands are sophisticated
         with their advertising spend. We make detailed data and analytics tools available for advertisers to
         track their ad spend and effects. Advertisers evaluate the return on their advertising budget and shift
         between different services if the ad does not return the expected value.

4.2.     How we sell advertising

         We sell advertising directly on TikTok via our TikTok for Business Advertising platform.15 That
         advertising takes two main forms:

         (a)       Advertisers may utilise the self‐serve ad platform to bid for and purchase in‐feed advertising
                   (i.e., in the “For You” feed) and manage their own campaign (typically referred to as “auction
                   ads”); and

         (b)       An advertiser can engage TikTok to manage an advertising campaign on its behalf by
                   contacting the TikTok brand partnership team (typically referred to as “reservation ads”).

4.3.     “Influencer” advertising on TikTok

         TikTok does not typically refer to "influencers", instead, TikTok refers to users who post content on
         TikTok as “creators". Any user can create content for TikTok and attract views, attention and
         followers. Some creators are followed by a significant number of other users.

         In Australia, TikTok provides creators with a range of opportunities to monetise, including through
         the “TikTok Creator Marketplace”16 which is available in 24 countries and allows brands to connect
         with and sponsor creators who take part. Creators can build a profile through this program which
         allows brands to browse, search and invite creators they want to work with, serving as an incentive
         to attract entertaining and engaging content.

         Creators may also connect with brands outside of our platform and programs, where an individual
         creator has (or will) receive something of value from a third party to promote that brand's products
         or service. This could be a brand endorsement, partnership, or other kind of promotion. In such
         circumstances, creators must comply with our Branded Content Policy17, which requires the branded
         content toggle to be turned on when posting and prohibits advertising of products or services

13  The Guardian, 'Older People Using TikTok to Defy Ageist Stereotypes Research Finds' (Web Page, 18 May 2022), available at
<https://www.theguardian.com/technology/2022/may/18/older-people-using-tiktok-to-defy-ageist-stereotypes-research-finds>
14 Pew Research Center, 'Teens, Social Media and Technology 2022' (Web page, 10 August 2022)

<https://www.pewresearch.org/internet/2022/08/10/teens-social-media-and-technology-2022/>
15 TikTok, ‘TikTok for Business’ (Web Page) <https://www.tiktok.com/business/en-AU>.
16 TikTok, ‘Creator Marketplace’ (Web Page) <https://www.tiktok.com/creators/creator-portal/en-us/getting-paid-to-create/creator-

    marketplace/>.
17 TikTok, ‘Branded Content Policy’ (Web Page) <https://www.tiktok.com/legal/bc-policy?lang=en>.




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                                                                                                          TikTo k
         relating to certain industries. To the extent that Branded Content does not comply with these rules,
         we remove the content or impose other restrictions.

         TikTok also operates “creator funds”18 in some countries (including the US, UK, France, Germany,
         Spain and Italy) which is an opportunity to be compensated based on certain content metrics, but
         this program is not currently available in Australia.

5.       Consumer engagement with platforms

         TikTok is dedicated to consumer safety. Our aim is to protect consumers against various harms
         including scams and misleading or deceptive content. We strive to be the most transparent and
         accountable company in the industry when it comes to keeping our users safe.

         We have a number of tools available to our users to assist with consumer safety online, including:

         (a)       Our Terms of Service19 which describe how TikTok can be appropriately used. Our Terms of
                   Service provide that users that find inappropriate content can report this to us, and that we
                   take reasonable measures to expeditiously remove infringing material that we become
                   aware of. We can also disable a user account, including if a user’s activities might violate
                   applicable laws. Our Terms of Service also incorporate our Community Guidelines.

         (b)       Our Community Guidelines20 which are our code of conduct for a safe and friendly
                   environment on TikTok. We created our Community Guidelines so users know what is, and
                   what is not, allowed on the platform. In accordance with the Guidelines, we remove content
                   or accounts that involve spam or fake engagement, impersonation, or misleading
                   information that causes significant harm.

         (c)       TikTok has an Online Safety Centre21 which provides tools and resources for users of all ages
                   to facilitate safe use of an online environment. This includes resources specifically for
                   parents and younger people (such as our Family Pairing features, which allows parents to link
                   their TikTok account to their teen’s account in order to enable a variety of content and
                   privacy settings).22

         (d)       We regularly publish Transparency Reports23 to provide insight into the volume and nature
                   of content removed for violating our Community Guidelines or Terms of Service, and how we
                   respond to law enforcement requests for information, government requests for content
                   removals and copyrighted content take‐down notices.24

         (e)       Advertisers must also comply with TikTok's Terms of Service, Community Guidelines and
                   additionally, our Ads Policy25, which set out the requirements for and limitations around the



18  TikTok, ‘TikTok Creator Fund: Your questions answered’ (Web Page, 25 March 2021) <https://newsroom.tiktok.com/en-
    gb/tiktok-creator-fund-your-questions-answered>; TikTok, ‘TikTok Creator Fund Terms’ (Web Page)
    <https://www.tiktok.com/legal/tiktok-creator-fund-terms?lang=en>.
19 TikTok, ‘Terms of Service’ (Web Page, February 2021) <https://www.tiktok.com/legal/terms-of-service-row?lang=en>.
20 TikTok, ‘Community Guidelines’ (Web Page, February 2022) <https://www.tiktok.com/community-guidelines?lang=en>.
21 TikTok, ‘Safety Centre’ (Web Page) <https://www.TikTok.com/safety/en-au/>.
22 TikTok, ‘Guardian’s Guide’ (Web Page) <https://www.TikTok.com/safety/en-au/guardians-guide/?enter_method=category_card>.
23 TikTok, ‘Reports’ (Web Page) <https://www.TikTok.com/transparency/en/reports/>.
24 TikTok, ‘Community Guidelines Enforcement Report’ (Report, 30 June 2022)

    <https://www.TikTok.com/transparency/en/community-guidelines-enforcement-2022-1/>. For example, our Community
    Guidelines Enforcement Report states that the total volume of ads removed for violating our advertising policies and guidelines
    increased in that quarter.
25 TikTok, ' TikTok Advertising Policies: Industry Entry – Oceania’ (Web Page) <https://ads.tiktok.com/help/article?aid=10005239>.




                                                                                                                                  6
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                                                                                                TikTo k
                    types of ads that can appear on TikTok. We strive to keep up with changing times and
                    regulations, and our ads policies are reflective of that.

6.         Other comments and corrections on the Issues Paper

          In providing our response to the Issues Paper, we have not sought to address every matter raised by
          the ACCC, and instead we hope that our comments will assist the ACCC in better understanding our
          platform. Again, without having considered or fact‐checked each of the matters in the Issues Paper,
          we note that:

          (a)       It is not clear to us what is meant by “posts” in Table 1 in the Issues Paper26, as TikTok does
                    not offer text posts for users in a way that is equivalent to posts on Facebook;

          (b)       The Issues Paper lists a number of platforms collectively termed “social media service
                    providers.” However, the listed platforms generally focus on different experiences and
                    offerings for users, not all of which involve “social” connections as a key factor. For example,
                    platforms like Facebook and WhatsApp emphasise social connections and messaging
                    features, whereas TikTok focuses on entertaining and inspiring content, regardless of
                    whether it originates from a social connection;

          (c)       The Issues Paper raises questions regarding the extent to which users engage with social
                    media service through apps, as opposed to mobile or desktop web browsers,27 and states
                    that the majority of social media usage is on mobile apps.28 Without seeking to comment on
                    the other platforms, we note that TikTok is a mobile‐first app experience, and while it is
                    possible to visit TikTok on a desktop, it is a small part of our consumption and not a business
                    focus; and

          (d)       The Reuters report referred to in the Issues Paper29 which states that TikTok’s ad revenue in
                    2022 will be greater than that of Twitter and Snapchat is referring to global, as opposed to
                    Australian revenue.



29 September 2022




26   Issues Paper, p 7.
27   Issues Paper, p 12 (Question 12).
28   Issues Paper, p 2.
29   Issues Paper, p 8.


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      cl'TikTok                                                                                                                                              Home   Q Search




                   IGetting started
                     Creating an account                For You
                     Setting up your profile

                      Adding a profile photo or video

                      Changing your nickname             Jump to a section

                      Changing your username             What Is For You on TlkTok? • Why a video Is recommended on your For You feed • How to manage your
                                                         For You feed
                      linking another social media
                      account

                      Changing language preferences

                    IFor You
                                                         What is For You on TikTok?
                     Creating your first video

                                                         For You is a personalized feed of videos based on your interests and engagement. The For You feed
                    Using TikTok                         is the first feed you'll see when you open TikTok. We have a wide variety of content and we want to
                                                         show the most interesting and relevant videos to everyone. The more you use TikTok, the better the
                    Account and privacy                  For You feed becomes at recommending videos and finding creators that you love.
                    settings

                    Safety

                    Log in and
                                                         Why a video is recommended on your For You feed
                    troubleshooting
                                                         At TikTok, we want to help you understand why certain videos appear on your For You feed. That's
                    TikTok LIVE, Gifts, and
                    wallet
                                                         why we share this information on each video in the feed.


                                                         To learn why a video is recommended to you:
                                                                                                                                                                               0
                    Monetize on TikTok                   1. In the TikT:,k app, tap the Share button on the side of a video in the For You feed.
                                                         2. Tap Why this video. We'll list some reasons why a video shows up on your feed, such as:
                                                          • You commented on, liked, shared, or watched similar videos
                                                          • This video is popular in your country
                                                          • This video was posted recently
                                                          • This video is longer, and you seem to like longer videos
                                                          • You're fa lowing this creator


                                                         Keep in mind, if you've recently refreshed your For You feed, you'll see a variety of videos while we
                                                         learn your preferences to launch your new personalized feed.

                                                         Learn more about why a video is recommended in For You.




                                                         How to manage your For You feed

                                                         You can use the following features to help influence the content you see on your For You feed or have
                                                         a new set of videos recommended to you:
                                                         • Not interested: If you don't care for a specific video, you can let us know by sharing feedback
                                                         you're not interested and we'll show you fewer videos like it.
                                                         • Refresh your feed: You can refresh your For You feed to view a new set of popular videos, as if
                                                         you've just signed up for TikTok.
                                                         • Filter video keywords: Filter out specific words or hashtags on TikTok to remove videos that contain
                                                         those keywcrds from your For You and Following feeds.

                                                         Learn more about how to report content on TikTok.




                                                         Was this helpful?
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                                                         Helpful links
                                                         Creat ing an account
                                                         Setting up your profile
                                                         Creating a TikTok video



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                   Getting started

                   Using TikTok
                                                           Suggested accounts
                   Account and privacy
                   I
                   settings
                                                            Jump to a section
                       Account information

                        Screen time                         How TikTok suggests accounts to you • How TikTok suggests your account to others • How to tum
                                                            sugge sted accounts on or off
                        Changing language preferences

                   IAccount privacy settings
                        choosing between a private or       To help you 'ind and follow people you might know on TikTok, we may:
                        public account                        Suggest a:counts to you, by showing you their videos and the Add Friends feature on your profile.
                                                            • Suggest your account to others on TikTok so they can follow you.
                       Isuggested accounts
                        TikTok Global Privacy Center

                        Unk your email on Android
                        devices                             How TikTok suggests accounts to you
                        Teen privacy and safety settings
                                                            Depending on the information you choose to share with TikTok, we may show an account to you
                        Location information on TikTok      because the account belongs to:
                                                            • Someone Nho has turned on Contacts in the Suggest your account to others setting, added their
                        Activity Status on TikTok           phone number or email address to their TikTok account and whose phone number or email address is
                                                            in your phone contacts, and you've chosen to sync your phone contact s in the Sync contacts and
                        Comments
                                                            Facebook friends setting.


                                                                                                                                                                                0
                        Direct messages                     • Someone Nho has t urned on Contacts in the Suggest your account to others setting, has your
                                                            phone number or email address in their phone contacts and they've chosen to sync their phone
                        Duets                               contacts in the Sync contacts and Facebook friends setting, and you've added your phone number or
                                                            email address to your TikTok account.
                        Stitch
                                                            • Someone you're friends with on Facebook, who has turned on Facebook friends in the Suggest
                        Refresh your For You feed           your account to others setting, and you and the other person have chosen to sync your Facebook
                                                            friends list ir the Sync contacts and Facebook friends setting.
                        Remove original sounds              • Someone you have mutual connections with on TikTok or Facebook (in select regions). You may
                                                            have mutual connections with someone because you follow the same accounts, you follow accounts
                        Video downloads
                                                            that already follow them, they follow accounts you also follow and those accounts follow you back, or
                        Video privacy                       you're connected with the same accounts on Facebook.
                                                            • Someone who follows you on TikTok.
                        Dark mode
                                                            You can turn Sync contacts and Facebook friends on or off in your Privacy settings.
                        Profile view history

                        TikTok Post View History            Keep in mind:
                                                            • We will co,tinue to suggest Facebook friends to you even after your initial sync. You don't have to
                       Ads and data                         re-sync your Facebook friends list periodically.
                                                            • If you sync phone contacts, your account may also be suggested to others if you've turned on
                        How your ads are personalized
                                                            Contacts in the Suggest your account to others setting.
                        Advertiser settings                 • If you remove TikTok's access to your phone contacts in your device settings or tu rn off the sync
                                                            contacts setting, we'll no longer sync contacts, though we'll continue to suggest accounts to you
                        Mute advertisers                    from your previously synced contacts. If you wish to remove all your phone contacts that were
                                                            synced to TikTok and stop syncing contacts on all devices, you can Remove previously synced
                        Your ad activity
                                                            contacts from the Sync contacts and Facebook friends setting.
                        Using off•TikTok activity for ad
                        targeting

                        Targeted ads

                        Control your off•TikTok data        How TikTok suggests your account to others
                        Ad Experience specialist            Depending on the information you allow TikTok to share, we may suggest your account to:
                                                              Contacts
                        About This ad
                                                            • Facebook friends
                        Commercial Content Library          • People who open or send links to you
                                                            You can turn these settings on or off at any t ime from Suggest your account to others in your Privacy
                        Requesting your data                settings.

                        How your email and phone
                                                            Keep in mind:
                        number are used on TikTok
                                                            • Even if all these settings are turned off, your account may st ill be suggested to those you follow,
                        How we process face and voice       interact with, or share mutual connections with on TikTok.
                        information                         • If you're aged 13 to 17, your account won't be suggested to mutual connections.
                                                            • If your account is private and these settings are on, we will suggest others to follow your account,
                       Deleting an account                  but only people you approve can follow you and watch your videos.
                        Delete your account
                                                            Contacts
                        Deactivate your account             When Contacts in the Suggest your account to others setting is on, your account may be suggested
                                                            to others on TikTok if:
                   Safety                                   • You've added your phone number or email address to your TikTok account;
                                                            • The person we're suggesting your account to has chosen to sync their phone contacts to TikTok;
                   Log in and                               and
                   troubleshooting                          • Your phone number or email address is in their contacts.


                   TikTok LIVE. Gifts. and                  Keep in mind:

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                   wallet               • If you turn on this setting, you don't need to sync your phone contacts with your TikTok account to
                                        have your account suggested to others.
                   Monetize on TikTok   • In additior, if you've chosen to sync phone contacts, then we may also suggest your account to
                                        someone whose phone number or email address you have in your phone contacts and they've added
                                        their phone number or email address to their TikTok account.


                                        Facebook Friends
                                        When Facebook friends in the Suggest your account to others setting is on, your account may be
                                        suggested to someone else on TikTok who is your Facebook friend or who shares the same
                                        connection with you t hrough Facebook friends (in select regions) if both of you have chosen to sync
                                        your Facebo:>k friends list with TikTok.

                                        People Who Open or Send Unks to You
                                        When People who open or send links to you in the suggest your account to others setting is on, your
                                        TikTok account may be suggested to someone else on TikTok who sent you a link or who opened a
                                        link you sent to a video on TikTok. This includes links that are shared off the TikTok platform (for
                                        example, by text message or a third-party platform}.




                                        How to tum suggested accounts on or off

                                        You can review and control how your account is suggested to others and how accounts are
                                        suggested to you in your Privacy settings.

                                        Suggest your account to others
                                        Use this setting to control if your account is suggested to Contacts, Facebook friends, and People
                                        who open or send links to you. These settings are turned on by default if you're aged 18 or older.

                                        To change how your account is suggested to others:
                                        1. In the TikTok app, tap Profile at the bottom.
                                        2 . Tap the Menu button at the top.
                                        3. Tap Settings and privacy.
                                        4. Tap Prtvacy, then tap Suggest your account to others.
                                        5. Choose \Mlo you'd like to suggest your account to. If you turn on Facebook friends, then you must
                                        also Sync Facebook frtends.


                                        Sync contacts and Facebook !~ends
                                        Use this setting to allow Tiklok to sync your phone contacts and Facebook friends and help you find
                                        and follow people. You can stop syncing at any time and remove any previously synced data from
                                        TikTok.


                                        Keep in mind, if you sync phone contacts and you've turned on Contacts in the Suggest your account
                                        to others setting, your account may also be suggested to someone whose phone number or email
                                        address is in your phone contacts and who has added their phone number or email address to TikTok.


                                        To sync your phone contacts or Facebook friends on Tiklok:
                                        1. In the TikTok app, tap Profile at the bottom.
                                        2. Tap the Menu button at the top.
                                        3. Tap Settings and p~vacy.
                                        4. Tap Prtvacy, then tap Sync contacts and Facebook friends.
                                        5. Turn the Sync contacts or Sync Facebook friends setting on or off. You can also remove previously
                                        synced data.

                                        Note: If you remove Tiklok's access to your phone contacts in your device settings, we'll no longer
                                        sync contacts, though we'll continue to suggest accounts to you from your previously synced
                                        contacts. If you wish to remove all your phone contacts that were synced to Tiklok and stop syncing
                                        contacts on all devices, you can Remove prevlously synced contacts from the Sync contacts and
                                        Facebook friends setting. Learn more about how your phone number is used on Tiklok.




                                        Was this helpful?
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                                        Helpful links
                                        Creating an account
                                        Setting up your profile
                                        Creating a Tiklok video




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            Getting Started On TikTok

            TikTok creation essentials

            Foundations for success

            TikTok content strategy

             TikTok Stories: What It Is and How
            Ito Use It
              Developing your content strategy

              Success With 1 minute+ Content
                                                       Here on TikTok, we want creators such as yourself to entertain others and share authentically on our platform. Our
                                                       newest feature, Stories, will enable you to further connect with your audience in a new way, allowing your followers
              Creator communities
                                                       more insight into your daily life.
              Q&A: engaging with yo1X
             community

              Understanding your audience
                                                       What Are TikTok Stories?

              Defining your brand                      T[klok is excited to announce that Stories are officially here. What are Stories? It's a new feature on our platform that
                                                       allows you to share videos up to 15 seconds on your profile that disappears after 24 hours.
              Understanding your analytics
                                                       This new tool is designed to support deeper engagement between you and your audience through a real and authentic
            Community Guidelines and                   look into your daily life. St ories will provide a home for existing relationships to flourish on TikTok, offering your friends
            Safety                                     and followers a more familiar lens into your world.

            Getting paid to create                     Therefore, Stories on TikTok bring the creative expression true to platform without thinking too much about content
                                                       strategy.
            Product Feature Updates

            How to Level Up Your Gaming
                                                       How to Use Stories
            Content

                                                       1. To use this new TikTok feature, click the "+" sign on ymx home screen on the For You Feed.

                                                       2. From there, record Stories content using the Quick camera to capture up to 15 seconds of content per Stories frame.

                                                       3. Then you can click "Post to Story" to enable the tool. Content posted to Stories will disappear after 24 hours,
                                                       inspiring audiences to check on their favorite creators daily to never miss a thing.

                                                       After that, you can see who has watched and interacted with your Story through likes and comments.




                                                       How to Watch TikTok Stories
                                                       A Stories tag will be added to a user's TikTok video when they have a watchable Story. Stories will also be visible
                                                       through creators' avatars that will be colorfully highlighted when the user has posted Stories. Vocalize your thoughts
                                                       about TikTok Stories through liking, commenting, or direct messaging the original creator if you both follow each other.

                                                       We're experimenting with St ories globally, and hope to bring the feature to more users in the coming months.

                                                       Start sharing your TikTok Stories today and tag us to tell us what you've learned from the #CreatorPortal!




                                                       Next article

                                                       Developing your content strategy
                                                                                                                                                              -
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                   Getting started

                  IUsing TikTok
                                                          Camera tools
                   ICreating videos
                    ICamera tools
                                                           Jump to a section
                     Effects
                                                           Flip , Speed , Video length , Tlmer , Flash , Zoom
                      Sounds

                     Editing, posting, and deleting

                     Editing TikTok videos and photos

                     Duets                                 Flip

                      Stitch                               To change camera direction while recording:

                     TikTok Stories
                                                           1. Tap Flip on top right corner of the camera screen.
                     Text posts                            2. The camera will change to the front or back camera.

                      Create playlists of your videos

                      Credit a video

                     Add Yours                             Speed
                     Books
                                                           To set or adjust the speed while recording:
                     Movies and TV
                                                           1. Tap Speed on top right corner of the camera screen.
                     Accessibility for your videos

                     TikTok Creator Center
                                                           2. Locate the speed options above the red recording button.
                                                           3. Set your desired speed.                                                                                           0
                      Creator tools on TikTok              Note: Speeds 0.3x and O.Sx will slow the video, 1x is the standard shooting speed, and 2x and 3x will
                                                           speed up the video.
                     About Al•generated content

                      Support nonprofits on TikTok

                    Exploring videos

                     For You
                                                           Video length

                     Friends Tab                           Your videos on TikTok can be different lengths:
                                                           • Videos you create on TikTok can be up to 60 seconds long.
                      STEM feed
                                                           • Videos you upload can be up to 3 minutes long.

                     Liking
                                                           For videos recorded in your TikTok app:
                      sharing                              1. Tap the+ at the bottom.
                                                           2. Choose 15s or 60s at the bottom.
                      Accessibility for watching videos       • If you choose 15s, your video will automatically stop recording after 15 seconds.

                      Your favorite books
                                                             • If you choose 60s, you can stop recording at any time, or your video will automatically stop
                                                           recording after 60 seconds.
                      Your favorite movies and TV          3. Tap the red button to start and stop recording, then tap the checkmark.
                      shows                                4. Tap AdJust clips in th~ top right.
                                                           5. Slide the red bar left or right to set the length of t ime needed for your video.
                      Add songs from TikTok                Note: If you select a sound before you record or upload your video, the video length will be
                                                           determined by the sound length.
                      watch videos in a Series

                     Donations on TikTok                   For videos you upload:
                                                           In the Android or iPhone app
                      Watch videos in a playlist           1. Tap the + at the bottom to create a video.
                                                           2. Tap Upload at the bottom.
                     How TikTok recommends content
                                                           3. Choose the video you'd like to upload, then tap Next.
                      Cast TikTok to a TV                  4. Slide the red bar left or right to set the length of time needed for your video.

                      Video downloads                      On your computer
                                                           1. Click the [cloud Icon] in the top right.
                     Discover and search
                                                           2. Click Select video to upload.
                    Messaging and notifications            3. Choose the video you'd like to upload.
                                                           When you upload a video on your computer, your entire video will be uploaded. To change the length
                      Comments
                                                           of the video, upload your video from your Android or iPhone app.
                     Direct messages
                                                           For videos lcnger than 60 seconds, a few features aren't available right now:
                     Notifications                         • Duet
                                                           • Stitch
                     TikTok stickers
                                                           Note: Videos longer than 60 seconds can't include someone else's content.
                    Followers and Following

                     Following and unfollowing

                     Finding friends from your
                      contacts                             nmer
                     Removing followers
                                                           Use the timer to record videos without holding down the record button.
                     Rlorkinn uc:Prc:

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                                                       To record us ng the timer:
                     Finding your blocked list
                                                       1. Tap Timer, located on the right side panel.
                    Growing your audience              2. Choose your preferred video duration by marking the stop point.
                     How to grow your audience         3. Tap Start countdown. The app will count down and then start recording. Stop recording at anytime
                                                       by tapping the record button.
                     Verified accounts on TikTok

                     Personal and Business Accounts
                     on TikTok

                     Government, Politician, and       Flash
                     Political Party Accounts
                                                       To turn on flash while recording:
                     My videos aren't getting views

                     How can creators earn on          1. Tap +, on the bottom of the screen, to create a video.
                     TikTok?                           2. Tap Flash to turn on the light and tap again to turn off the light.

                     Use Promote to grow your TikTok   Note: This feature is only available when you are using your back camera (not in selfie mode).
                     audience

                    Report a problem


                   Account and privacy
                   settings                            Zoom

                                                       To zoom in or out while recording:
                   Safety

                                                       1. Long press on the camera screen.
                   Log in and
                                                       2. Hold and 11ove in one direction to zoom out.
                   troubleshooting
                                                       3. Hold and return to the original position to zoom in.

                   TikTok LIVE, Gifts, and
                                                       Another way to zoom:
                   wallet
                                                       1. Open the camera screen by tapping +.
                   Monetize on TikTok
                                                       2. Pinch your fingers together or apart to zoom in or out.




                                                       Was this helpful?
                                                                                                                                I-iii Mill

                                                       Helpful links
                                                       Creat ing an account
                                                       Sett ing up your profile
                                                       Creating a TikTok video




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      cl'TikTok                                                                                                                                               Home   Q Search




                   Getting started

                   Using TikTok
                                                          Video privacy
                   Account and privacy
                  Isettings
                                                           On TikTok, you can apply different privacy settings to each video you share, whether your account is
                      Account information
                                                           private or public. Your visibility settings help play a role in how your content is seen on TikTok. We
                       Screen time                         provide tools that allow you to control who can see your posts and select the audience of each post.
                                                           You can choose to make your TikTok video available to everyone, restrict it to friends or followers, or
                       Changing language preferences
                                                           make it private so that only you can view it. You can also adjust your settings later if you've changed
                   IAccount privacy settings               your mind.

                       choosing between a private or       All videos are required to follow Community Guidelines. When we identify content that violates these
                       public account                      policies, we remove it from our platform and the account owner will be notified.

                       Suggested accounts

                       TikTok Global Privacy Center
                                                           Choose who can view your videos

                       Unk your email on Android           To change the privacy setting on a new post:
                       devices                             1. Create your video.
                                                           2 . On t he Post screen, choose who can view your video.
                       Teen privacy and safety settings      0
                                                                 If you have a public account , you can choose Everyone (people on or off nkTok), Friends
                                                           (followers you follow back), or Only you.
                       Location information on TikTok
                                                             0
                                                                 If you have a private account, you can choose Followers, Frfends (followers you follow back), or
                       Activity Status on TikTok           Only you.

                       Comments
                                                           To change the privacy setting on a video you already posted:
                       Direct messages

                       Duets
                                                           1. In the TikT:>k app, go to t he video you'd like to update. You can find your videos on your Profile.
                                                           2. Tap the More options ... butt on on the side of the video.
                                                           3. Tap Pr1vacy settings at the bottom. You may need to swipe left.
                                                                                                                                                                                0
                       Stitch                              4. Below W ho can watch this video, choose who can view your video.
                                                             0
                                                                If you have a public account , you can choose Everyone (people on or off nkTok), Friends
                       Refresh your For You feed
                                                           (followers you follow back), or Only me.
                       Remove original sounds
                                                             0
                                                                If you have a private account, you can choose Followers, Frtends (followers you follow back), or
                                                           Only me.
                       Video downloads

                      IVideo privacy                       Note: The view count on your videos reflects all views to date, it does not reset after you update the
                                                           privacy setti ngs.
                       Dark mode
                                                           We recommend tagging your video if it contains t hemes that may not be appropriate for
                       Profile view history                everyone. Content tagged as audience controlled will be inaccessible to users under the age of 18
                                                           which helps limit exposure to content that may not be suitable for everyone.
                       TikTok Post View History

                      Ads and data
                                                           Content visibility on TikTok
                       How your ads are personalized

                                                           If you create content, your content may be visible to others across the world in any of our features,
                       Advertiser settings
                                                           even if t hey aren't available in your region. This includes content that you've already published
                       Mute advertisers                    through your TikTok account and future content.

                       Your ad activity                    For more information on managing your video privacy settings, please visit the TikTok Privacy Center.

                       Using off-TikTok activity for ad
                       targeting

                       Targeted ads

                       Control your off-TikTok data

                       Ad Experience specialist

                       About This ad

                       Commercial Content Library
                                                           Was this helpful?
                                                                                                                                      I-iii Mill
                       Requesting your data

                       How your email and phone
                       number are used on TikTok

                       How we process face and voice       Helpful links
                       information
                                                           Creat ing an account
                      Deleting an account                  Setting up your profile
                                                           Creating a TikTok video
                       Delete your account

                       Deactivate your account


                   Safety

                   Log in and
                   troubleshooting

                   TikTok LIVE. Gifts. and

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                   wallet

                   Monetize on TikTok




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      cl'TikTok                                                                                                                                         Home   Q Search




                  IGetting started
                    Creating an account                Changing your nickname
                   ISetting up your profile
                     Adding a profile photo or video

                    IChanging your nickname             A nickname on TikTok is the name on your account in addition to your username. Your nickname is
                                                        displayed in various areas in TikTok including the For You feed, Friends Tab, comments, and direct
                     Changing your username             messages. All TikTok accounts are required to have nicknames.

                     linking another social media
                                                        To change your nickname:
                     account
                                                        1. In the TikTok app, tap Profile at the bottom.
                     Changing language preferences      2. Tap Edit r,oflle.
                                                        3. Tap Name.
                    For You                             4. Enter your desired nickname. You can enter up to 30 characters. Keep in m ind, nicknames must
                                                        adhere to oLr Community Guidelines.
                    Creating your first video
                                                        5. Tap Save.

                   Using TikTok
                                                        Note: Your nickname can only be changed once every 7 days.

                   Account and privacy
                   settings

                   Safety

                   Log in and
                   troubleshooting

                   TikTok LIVE, Gifts, and
                                                        Was this helpful?
                                                                                                                                IMMiii
                   wallet
                                                                                                                                                                          0
                   Monetize on TikTok


                                                        Helpful links
                                                        Creat ing an account
                                                        Setting up your profile
                                                        Creating a TikTok video




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                    Getting started

                    Using TikTok
                                                         Choosing between a private or
                    Account and privacy
                                                         public account
                   Isettings
                     Account information

                      Screen time
                                                          On TikTok, you can choose whether to have a private account or a public account.
                      Changing language preferences
                                                          Private account
                    IAccount privacy settings
                                                          If you choose a private account , you approve the people you allow to:
                      choosing between a private or
                                                          • FollowyoL-
                     Ipublic account
                                                          • Watch you videos, LIVE videos, bios, and likes
                      Suggested accounts                  • See your followers and following lists
                                                          People won't be able to Duet or Stitch with, or download your videos.
                      TikTok Global Privacy Center
                                                          Public account
                      Unk your email on Android
                      devices                             Depending on your selected privacy settings, your posts may be visible to, and shared by, anyone on
                                                          or ott l1klok whether or not they have a I 1k lok account. Anyone can:
                      Teen privacy and safety settings
                                                          • FollowyoL-
                      Location information on TikTok      • Watch ym.r videos, LIVE videos, bios, and likes
                                                          • See your followers and following lists
                      Activity Status on TikTok           Depending on your privacy settings, other people may also be able to download, Duet and Stitch with
                                                          your videos. Your content may appear in search engines, biogs, social media posts and news sites.
                      Comments

                      Direct messages

                      Duets
                                                          A few things to know about private and public accounts:
                                                          • Your name, username and profile photo will always be visible to anyone on or off TikTok.
                                                          • Other people will be able to search for your account.
                                                                                                                                                                                0
                                                          • You can always restrict the visibility of your posts individually by changing your video settings, and
                      Stitch
                                                          your posts will be limited to the audience you select.
                      Refresh your For You feed           • You can choose who can comment on your videos, who can send you d irect messages, and decide
                                                          whether your account is suggested to others.
                      Remove original sounds

                                                          To set your TikTok account as private or public:
                      Video downloads
                                                          1. In the TikTok app, tap Profile at the bottom.
                      Video privacy                                        =
                                                          2. Tap the Menu button at the top.
                                                          3. Tap Settings and privacy, then tap Privacy.
                      Dark mode                           4. Turn Private account on or off.

                      Profile view history
                                                          To learn more about your privacy on TikTok, visit our Privacy Center.
                      TikTok Post View History

                     Ads and data

                      How your ads are personalized

                      Advertiser settings

                      Mute advertisers

                      Your ad activity

                      Using off•TikTok activity for ad
                      targeting
                                                          Was this helpful?
                                                                                                                                    I-iii Mill
                      Targeted ads

                      Control your off-TikTok data

                      Ad Experience specialist

                      About This ad                       Helpful links
                      Commercial Content Library          Creat ing an account
                                                          Setting up your profile
                      Requesting your data                Creating a TikTok video

                      How your email and phone
                      number are used on TikTok

                      How we process face and voice
                      information

                     Deleting an account

                      Delete your account

                      Deactivate your account


                    Safety

                    Log in and
                    troubleshooting

                    TikTok LIVE. Gifts. and

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                    wallet

                    Monetize on TikTok




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                   Getting started

                   Using TikTok
                                                        Direct messages
                   Account and privacy
                  Isettings                              Jump to a section
                    Account information

                     Screen time                         About direct messaging on TikTok • Who can send direct messages on TlkTok • How t o find your direct
                                                         messages • How to send a direct message • How to use stickers In a direct message • How to delete,
                     Changing language preferences       mute, and filter direct messages • How to manage who can send you direct messages • How to turn read
                                                         status on or off • How to use safety features for direct messaging • Why you can't send or receive direct
                   IAccount privacy settings             messages • How to report a direct message • How t o block someone from sending you a direct message

                     choosing between a private or
                     public account

                     Suggested accounts
                                                         About direct messaging on TikTok
                     TikTok Global Privacy Center

                     Unk your email on Android           Direct messaging (OM} helps you connect with your friends and community on TikTok. Messaging
                     devices                             means you can send and receive messages, and TikTok videos, directly on Tiklok.

                     Teen privacy and safety settings    With direct nessaging on TikTok, you can:
                                                         • Share TikTok videos with others.
                     Location information on TikTok
                                                         • Send and receive messages with mutual followed friends, suggested f riends and contacts, and
                     Activity Status on TikTok           people you may know.
                                                         • Adjust privacy settings to determine who can send you direct messages.
                     Comments                            • Adjust notification settings.
                                                         • Report accounts and content that violates our Community Guidelines.
                    IDirect messages                     • Check who has read your direct messages.
                     Duets
                                                         • Find out who is active or was recently active.

                     Stitch

                     Refresh your For You feed

                     Remove original sounds              Who can send direct messages on TikTok
                     Video downloads
                                                         Direct messaging on TikTok is available to:
                     Video privacy                       • Registered account holders aged 16 and older. Parents and guardians of 16 to 18-year- old users
                                                         can set restrictions on this feature through Family Pairing.
                     Dark mode                           • Anyone who has permission to send a direct message to others. You can control who can send you
                                                         direct messages ln your Privacy settings. Keep in mind, if you update your direct message setting to
                     Profile view history
                                                         No one, you won't be able to receive direct messages. You can still access your message history in
                     TikTok Post View History            your lnbox, but you can't receive new direct messages in t hose chats.

                    Ads and data

                     How your ads are personalized

                     Advertiser settings                 How to find your direct messages
                     Mute advertisers
                                                         To view all your d irect messages on TikTok:
                     Your ad activity                    1. 111 ll1t~ TikT:.>k afJfJ, lafJ lnbox al ll1e IJollom.
                                                         2. Tap a name from the Messages list to go to the chat.
                     Using off-TikTok activity for ad
                     targeting

                     Targeted ads

                     Control your off-TikTok data        How to send a direct message
                     Ad Experience specialist
                                                         You can share content such as TikTok videos, effects, hashtags, or sounds through a direct message.
                     About This ad
                                                         To send con:ent through a direct message:
                     Commercial Content Library          1. In the Tiklok app, go to t he video or other shareable content, like effect, hashtag, or sound, you'd
                                                         like to share.
                     Requesting your data
                                                              To search, tap the Search button at the top of your screen and enter what you're looking for in
                                                              0




                     How your email and phone            the search bar.
                     number are used on TikTok               You can also tap an effect, hashtag, or sound directly from a video to share.
                                                              0



                                                         2. Tap the Share button. For videos, you can also press and hold on the video you'd like to share.
                     How we process face and voice       3. Tap the profile photo of the user you'd like to share with. You can select multiple people to share
                     information                         with.
                                                         4. Enter an cptional message and tap Send.
                    Deleting an account

                     Delete your account                 Note: Private videos can't be shared. If t he creator of the video changed the video status from public
                                                         to private af:er you shared it in a message, the video will be unavailable and you won't be able to
                     Deactivate your account
                                                         watch it.

                   Safety
                                                         To send a direct message in a chat:
                   Log in and                            1. In the TikTok app, tap lnbox at the bottom.
                   troubleshooting                       2. From here:
                                                                  If you have recent messages, tap a name from the Messages list to go to the chat.
                   TikTok LIVE. Gifts. and                •       It,,,•.,, t ...t ln\A, cnmonno ,:,nrl thou tnlln,., " " ' ' he:>rlr   t , n t ho rh!!of' h11ttnn ,:,I tho t nn thon t,:,n thoor



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                   wallet               name to go to the chat.
                                        3. Type a message. You can also tap the Ernojl button to send GIFs, emojis, and stickers.
                   Monetize on TikTok   4 . Tap the Send button.
                                        5. To reply to a message, you can also use the suggested replies displayed above the message bar or
                                        below a shared video after you've watched it. Suggested replies for shared videos are based on the
                                        content of the video. This feature is currently not available to everyone.
                                        Alternatively, if you follow someone and they follow you back, you can go to their Profile and tap
                                        Message to send a direct message.

                                        Note: You won't be able to send a direct message to someone that follows you if they have their
                                        direct message privacy setting set to No one.




                                        How to use stickers in a direct message

                                        To send stickers in a direct message:
                                        1. In the TikTok app, go to the chat in your lnbox.
                                        2. Tap the Emojl button in the message bar.
                                        3. Tap the Sticker store button.
                                        4. Choose a sticker you'd like to use from the Video stickers or Sticker sets tabs.

                                        For video stickers:
                                         0  Tap a video sticker to send it in a direct message.
                                          0
                                            Tap the ~mers at t he top to sort by most popular, newest, or trending stickers.
                                          • To add a sticker to your Favorites, tap the Favorites button on the sticker. Tap it again to remove it
                                        from your Favorites.

                                        for sticker sets:
                                          0
                                            To view the sticker details, press and hold on the sticker. From here, you can choose to view all
                                        stickers by the creator on their profile, view the original video, and report the sticker.
                                          0
                                            To save a sticker set, tap Add. The sticker set will be added to the sticker panel and ready for you
                                        to use in ad rect message.
                                          0
                                            Once you add a sticker set , tap Use. You'll be directed to the sticker panel where you can send a
                                        sticker in a direct message.
                                          0 To view all your saved sticker sets, tap Added at the top. From here, you can drag and drop the
                                        sticker set to change the order and tap the Delete button next to the sticker set to remove it.

                                        To create a video sticker in a direct message:
                                        1. In the TikT:>k app, go to a d irect message in your lnbox.
                                        2. Tap the Emojl button.
                                        3. Tap the Favorites button, then tap the Create sticker button.
                                        4. Choose a video from the Uked, Posted, or Favorites tabs.
                                        5. Edit the sticker, as needed. You can choose to add text and crop the video. When you're done, tap
                                        Next
                                        6. To choose who can discover and use your video sticker in TikTok, tum the Add to stJcker store
                                        setting on or off.
                                        7. Tap Create sticker. Your sticker is added to the favorites tab in your direct messages and is ready to
                                        be used. To 'emove the sticker from your favorites, tap and hold on the sticker, then tap Remove.


                                        Any stickers you create are also available from your profile where you can send them in a direct
                                        message, view the original video, add them to the sticker store or delete them. Learn more about
                                        stickers on TikTok.




                                        How to delete, mute, and filter direct messages

                                        To delete a chat:
                                        1. In the TikTok app, tap lnbox at the bottom.
                                        2. Below Messages:
                                             For iOS devices, swipe left on a chat and tap Delete.
                                           ° For Android devices, press and hold, then tap Delete.

                                        To delete a single direct message:
                                        1. Go to the chat in your lnbox.
                                        2. Press and hold on the d irect message, then tap Delete:
                                          0
                                            To delete the message only for you, tap Delete for me. The receiver(s) will still see the message.
                                          0
                                            To delete the message for both you and the receiver(s), t ap Delete for everyone within 3 minutes
                                        of sending the message.

                                        To mute direct message noti fications:
                                        1. In the TikTok app, tap lnbox at the bottom of your screen.
                                        2. Below Messages:
                                           ° For iOS devices, swipe left on a chat and tap More, then tap M ute to stop getting notifications.
                                           ° For Android devices, press and hold, then tap Mute to stop getting notifications.
                                        Or, to mute notifications directly from a chat:
                                          • Tap the More options button at the top of the chat, then turn the Mute notifications setting on or
                                        off.


                                        To filter direct messages:
                                        1. In the TikTok app, tap lnbox at the bottom.
                                        2. Tap Message requests, then tap the Settings button.
                                        3. Choose your filter preferences:
                                          o    FllterQd rMUQSts: FiltAr mAss;;.nAs th;;.t ;;,nnA;;.r tn h A frnm uns;;,fo snurr.As. Onr.A vn11 ;;,r.r.Ant thASA

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                                     messages, they appear in your lnbox.
                                       0
                                        Atways allow business messages: Receive messages from TikTok Creator Marketplace brands.
                                     They can send you up to 3 messages before you accept their requests.




                                     How to manage who can send you direct messages

                                     To turn on your direct messages or change who can send you direct messages:
                                     1. In the TikTok app, tap Profile at the bottom.
                                     2. Tap the Menu button at the top.
                                     3. Tap Settings and p~vacy.
                                     4. Tap Prtvacy.
                                     5. Tap Direct messages, then tap Direct messages and choose who you'd like to allow to send you
                                     direct messages. Keep in mind, some of these settings are not available to everyone.
                                       0
                                          Everyone: Anyone can send you a d irect message. Messages from mutual friends and people you
                                     follow appear in your lnbox. Messages from people you don't follow appear in Message requests. You
                                     can choose to accept, delete or report these messages.
                                      • Suggested friends: Matched friends, including synced Facebook friends and phone contacts, and
                                     followers who you follow back, can send you a d irect message.
                                      • Friends: Any followers that you follow back can send you a direct message.
                                      • No one: You can't receive direct messages from anyone. Keep in mind, if you update your direct
                                     message selting to No one, you won't be able to receive direct messages. You can still access your
                                     message history in your lnbox, but you can't receive new d irect messages in those chats.




                                     How to tum read status on or off

                                     Read status lets you see if someone has read your direct message and vice versa.

                                     To turn read status on or off:
                                     1. In the TikTok app, tap Profile at the bottom.
                                     2. Tap the Menu button at the top.
                                     3. Tap Settings and privacy.
                                     4. Tap Prtvacy, then tap Direct messages.
                                     5. Turn the Read status setting on or off. For users aged 18 and older, the setting is turned on by
                                     default.


                                     Note: The other person will know when you read their message only when both of you have read
                                     status turned on.




                                     How to use safety features for direct messaging

                                     There are several safety features for direct messaging to ensure messages adhere to our Community
                                     Guidelines a1d to give you the opportunity to report unwanted messages or block someone from
                                     sending you messages.




                                     Why you can't send or receive direct messages

                                     If you can't send or receive a direct message on TikTok, it could be because your content or message
                                     has been fla~ged or reported, or your account is temporarily suspended.
                                     Our Community Guidelines provide guidance on what is and what isn't allowed on TikTok to help
                                     foster a welcoming, safe, and entertaining experience. If a direct message contains content that
                                     violates our Community Guidelines, it may be automatically blocked or, if reported, flagged for
                                     additional review by our Safety team.


                                     If a direct message violates our Community Guidelines, we may:
                                     • Send a warning in the app t he first time your content violates our Community Guidelines.
                                     • Permanently ban your account if the direct message violates a zero-tolerance policy. We may also
                                     block a device to help prevent future accounts from being created.
                                     • Suspend ',Our account's ability to send direct messages for a period of time (typically between 24
                                     and 4 8 hours), depending on the severity of the violation and previous violations.
                                     • Restrict your account to a view-only experience (typically between 72 hours and one week). This
                                     means your account can't send direct messages.
                                     • Notify you that your account may be permanently banned after several violations. This means that
                                     if the behavior persists, the account will be permanently banned.

                                     Learn more about content violations and bans.




                                     How to report a direct message

                                     If you receive a message that you think goes against our Community Guidelines, we encourage you to
                                     report it to us.


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                                                                   304 Page 730 of 969
                                     To report a direct message:
                                     1. In the TikTok app, tap lnbox at the bottom.
                                     2. Below Messages:
                                       ° For iOS devices, swipe left on a chat, then tap Report and follow the instructions provided.
                                       0
                                         For Android devices, press and hold on a chat, then tap Report and follow the instructions
                                     provided.
                                     3. (Optional) Tap on a chat for more report options:
                                       0
                                         Tap the Report button at the top and follow the instructions provided to report
                                       0
                                         Tap the More options button at the top, then select Report and follow the instructions provided.
                                       0
                                         Press and hold on a direct message, then select Report and follow the instructions provided.
                                       0
                                         In a new chat, tap Report on the banner at the bottom of the screen and follow the instructions
                                     provided.




                                     How to block someone from sending you a direct message

                                     You can block someone so they can't send you direct messages or view your videos on TikTok.
                                     To block someone in your lnbox:
                                     1. In the TikTok app, tap lnbox at the bottom.
                                     2. Below Messages:
                                       ° For iOS devices, swipe left on a chat and tap More, then tap Block.
                                       ° For Android devices, press and hold on a chat, then tap Block.
                                     3. Tap Block again to confirm.
                                     Or,
                                     1. Go to the direct message.
                                     2. Tap the More options buttons at the top.
                                     3. Turn the Block setting on.
                                     4. Tap Block again to confirm.

                                     Note: A Block button will appear next to blocked messages.

                                     Note: Direct messages on TikTok are encrypted at rest and while in transit. End-to-end encryption is
                                     not currentl~ available. We place a premium on ensuring that our younger users have a safe
                                     experience by default on TikTok. like many companies, we maintain t he ability to decrypt user data in
                                     response to valid legal process and to enforce our Community Guidelines, and we regularly publish
                                     Transparenc·, Reports to provide visibility into this work. We maintain internal controls to ensure that
                                     only personnel with proper authorization and a demonstrated need to perform their job have access
                                     to certain decrypted data like contact information or direct messages.




                                     Was this helpful?
                                                                                                               IMMl!i

                                     Helpful links
                                     Creating an account
                                     Sett ing up your profile
                                     Creat ing a Tiklok video




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Case 1:20-cv-03590-JEB Document 324-29 Filed 04/05/24 Page 731 of 969




             Exhibit 376
                       Case 1:20-cv-03590-JEB Document 324-29 Filed 04/05/24 Page 732 of 969

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                            $M                                                 <<:N<O==:                                      P:N<Q:R:SS
  !7A>AFÿÿALFÿTUIJ"ICAIBÿGÿIBCK>AIBÿ                        !9@@IJJIBÿI?Fÿ1U@WF#                      !2DD7Dÿ4@K?XFÿ2"FBAIGIC>AIBÿ1D#
                      H>BIV>AIB#
                                                                           P<9ÿ6YZYÿS&[ÿ6&-''&
                                                                     \'4&)43100';ÿ]+ÿP9P:ON<9:R
                                                         !8""FJJÿGÿIBCIK>?ÿ4EFCUAI^FÿGGICFJ#ÿ!_IKÿC"F#
                                                          +'`12&-%4&a2ÿ&'0',[)4'ÿ4b78'-;ÿ14c0b/14`ÿ%-'%ÿc)/'
                                                                             .QP=5ÿ9PdNQ<<<
e['cfÿ&['ÿ%,,-),-1%&'ÿ8)gÿ8'0)hÿ1*ÿ&['ÿi)-7ÿSNjÿ*1014`ÿ12ÿ14&'4/'/ÿ&)ÿ217b0&%4')b20kÿ2%&12*kÿ&['ÿ*1014`ÿ)801̀%&1)4ÿ)*ÿ&['ÿ-'`12&-%4&ÿb4/'-ÿ%4kÿ)*ÿ&['ÿ*)00)h14`
,-)3121)42l
 mÿZ-1&&'4ÿc)77b41c%&1)42ÿ,b-2b%4&ÿ&)ÿ+b0'ÿQ9Rÿb4/'-ÿ&['ÿ6'cb-1&1'2ÿ]c&ÿ.:Pÿei+ÿ9d<YQ9R5
 mÿ6)01c1&14`ÿ7%&'-1%0ÿ,b-2b%4&ÿ&)ÿ+b0'ÿ:Q%N:9ÿb4/'-ÿ&['ÿMgc[%4`'ÿ]c&ÿ.:Pÿei+ÿ9Q<Y:Q%N:95
 mÿo-'Nc)77'4c'7'4&ÿc)77b41c%&1)42ÿ,b-2b%4&ÿ&)ÿ+b0'ÿ:Q/N9.85ÿb4/'-ÿ&['ÿMgc[%4`'ÿ]c&ÿ.:Pÿei+ÿ9Q<Y:Q/N9.855
 mÿo-'Nc)77'4c'7'4&ÿc)77b41c%&1)42ÿ,b-2b%4&ÿ&)ÿ+b0'ÿ:d'NQ.c5ÿb4/'-ÿ&['ÿMgc[%4`'ÿ]c&ÿ.:Pÿei+ÿ9Q<Y:d'NQ.c55
6'cb-1&1'2ÿ-'`12&'-'/ÿ,b-2b%4&ÿ&)ÿ6'c&1)4ÿ:9.85ÿ)*ÿ&['ÿ]c&l
                     p1&0'ÿ)*ÿ'%c[ÿc0%22                  ÿ                   p-%/14`ÿ6k78)0.25              ÿ q%7'ÿ)*ÿ'%c[ÿ'gc[%4`'ÿ)4ÿh[1c[ÿ-'`12&'-'/
         e)77)4ÿ6&)cf;ÿ,%-ÿ3%0b'ÿr<Y:<ÿ,'-ÿ2[%-'          ÿ                         Zsp                      ÿ                     qt6M
                  :Y=<<uÿq)&'2ÿ$b'ÿ9<99                   ÿ                        Zsp99                     ÿ                     qt6M
                  9YRR<uÿq)&'2ÿ$b'ÿ9<9O                   ÿ                        Zsp9  O                   ÿ                     qt6M
v4/1c%&'ÿ8kÿc['cfÿ7%-fÿh['&['-ÿ&['ÿ-'`12&-%4&ÿ12ÿ%4ÿ'7'-`14`ÿ̀-)h&[ÿc)7,%4kÿ%2ÿ/'*14'/ÿ14ÿ+b0'ÿQ<Rÿ)*ÿ&['ÿ6'cb-1&1'2ÿ]c&ÿ)*ÿ:=ddÿ.w9d<YQ<Rÿ)*ÿ&[12ÿc[%,&'-5ÿ)-ÿ+b0'ÿ:98N9ÿ)*
&['ÿ6'cb-1&1'2ÿMgc[%4`'ÿ]c&ÿ)*ÿ:=dQÿ.w9Q<Y:98N9ÿ)*ÿ&[12ÿc[%,&'-5Y
M7'-`14`ÿ̀-)h&[ÿc)7,%4kÿm
v*ÿ%4ÿ'7'-`14`ÿ̀-)h&[ÿc)7,%4k;ÿ14/1c%&'ÿ8kÿc['cfÿ7%-fÿ1*ÿ&['ÿ-'`12&-%4&ÿ[%2ÿ'0'c&'/ÿ4)&ÿ&)ÿb2'ÿ&['ÿ'g&'4/'/ÿ&-%421&1)4ÿ,'-1)/ÿ*)-ÿc)7,0k14`ÿh1&[ÿ%4kÿ4'hÿ)-ÿ-'312'/ÿ*14%4c1%0
%cc)b4&14`ÿ2&%4/%-/2ÿ,-)31/'/ÿ,b-2b%4&ÿ&)ÿ6'c&1)4ÿ:d.%5ÿ)*ÿ&['ÿMgc[%4`'ÿ]c&Yÿm
                     Case 1:20-cv-03590-JEB Document 324-29 Filed 04/05/24 Page 733 of 969

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          ÿÿ!"ÿ#$#$"ÿ%&'&ÿ()*ÿ+,%&'&-.ÿ/0012ÿ03&'ÿ1'/)ÿ0&0ÿ4&2/4ÿ5ÿ6/7687ÿ03/)ÿ/ÿ5ÿ9*ÿ8:2ÿ;ÿ<;=&)ÿ>2*
ÿ8?ÿ5ÿ0&0ÿ:&0ÿ&ÿ@8/ÿ&81)ÿ;ÿ&)'ÿA88&/8ÿ&2ÿ%&'&*ÿA8/0ÿ8?ÿ5ÿ1'/)ÿ0&0ÿ&ÿ?1/052ÿ&0ÿBC5//0ÿ!!*ÿ&2ÿ!!*#ÿ8
5/0ÿ8"ÿ0)/3';*
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                Case 1:20-cv-03590-JEB Document 324-29 Filed 04/05/24 Page 734 of 969

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  55ÿ3523ÿ52ÿ15ÿ&ÿ5ÿ43ÿÿÿ 23ÿ5ÿ 3ÿ353.8ÿ!2ÿ%3ÿ553ÿ3ÿ ÿ5ÿ4ÿ ÿ4&ÿ52ÿ5
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5495:53A4ÿ:BB6;A:CÿD;6ÿ:9ÿ:E644F495ÿG352ÿ524ÿH8I8ÿJ;A469F495ÿ5;ÿ647;CA4ÿ524ÿ;<575:9839Eÿ377<47KÿG23=2ÿG3CCÿ9;Gÿ39=C<84ÿL6:=C4ÿ:98ÿM:CF:65
5;E45246ÿ39A47539Eÿ5;ÿ:=N<364ÿ9OPÿ;Dÿ524ÿ94GC?ÿD;6F48ÿ33Q3;QÿJC;4:Cÿ4<7394778
R7ÿ:ÿB:65ÿ;Dÿ524ÿ84:CKÿ33Q3;Qÿ37ÿ=64:539Eÿ:ÿ94Gÿ=;FB:9?ÿ=:CC48ÿ33Q3;QÿJC;4:Cÿ52:5ÿG3CCÿ44ÿ647B;9734C4ÿD;6ÿB6;A3839Eÿ:CCÿ33Q3;Qÿ746A3=47ÿ5;
<7467ÿ39ÿH93548ÿI5:547ÿ:98ÿF;75ÿ;Dÿ524ÿ<7467ÿ39ÿ524ÿ6475ÿ;Dÿ524ÿG;6C88ÿ3;8:?Kÿ524ÿ:8F393756:53;9ÿ2:7ÿ=;98353;9:CC?ÿ:BB6;A48ÿ:ÿC:98F:6Qÿ84:C
G2464ÿL6:=C4ÿ44=;F47ÿ33Q3;QS7ÿ74=<64ÿ=C;<8ÿB6;A38468
33Q3;QÿJC;4:CÿG3CCÿ44ÿF:T;635?ÿ;G948ÿ4?ÿRF463=:9ÿ39A475;67Kÿ39=C<839EÿL6:=C4ÿ:98ÿM:CF:658ÿ33Q3;QÿJC;4:CÿG3CCÿ44ÿ:9ÿ3984B498495
RF463=:9ÿ=;FB:9?Kÿ24:8N<:654648ÿ39ÿ524ÿH8I8KÿG352ÿD;<6ÿRF463=:97ÿ;<5ÿ;Dÿ524ÿD3A4ÿF4F446ÿ>;:68ÿ;Dÿ@364=5;678
RCCÿ524ÿ33Q3;Qÿ54=29;C;E?ÿG3CCÿ44ÿ39ÿB;774773;9ÿ;Dÿ33Q3;QÿJC;4:CKÿ:98ÿ=;FBC?ÿG352ÿH8I8ÿC:G7ÿ:98ÿB63A:=?ÿ64E<C:53;978ÿ@:5:ÿB63A:=?ÿD;6ÿUOO
F3CC3;9ÿRF463=:9ÿ33Q3;Qÿ<7467ÿG3CCÿ44ÿN<3=QC?ÿ475:4C37248ÿ4?ÿF;A39Eÿ:CCÿRF463=:9ÿ8:5:ÿ5;ÿL6:=C4S7ÿJ4946:53;9ÿ9ÿVC;<8ÿ8:5:ÿ=495467Kÿ524
F;75ÿ74=<64ÿ=C;<8ÿ8:5:ÿ=495467ÿ39ÿ524ÿG;6C88
>:748ÿ;9ÿ84=:847ÿ;Dÿ41B46349=4ÿ74=<639Eÿ524ÿG;6C8S7ÿF;75ÿ7497353A4ÿ8:5:KÿL6:=C4S7ÿJ4946:53;9ÿ9ÿVC;<8ÿD<CC?ÿ37;C:547ÿ6<9939Eÿ:BBC3=:53;97ÿ:98
647B;987ÿ5;ÿ74=<635?ÿ5264:57ÿ:<5;9;F;<7C?8ÿ3237ÿ<93N<4ÿ54=29;C;E?ÿ4C3F39:547ÿ524ÿ637Qÿ;DÿD;643E9ÿE;A469F4957ÿ7B?39Eÿ;9ÿRF463=:9ÿ<7467ÿ;6
56?39Eÿ5;ÿ39DC<49=4ÿ524FÿG352ÿ83739D;6F:53;98
W9ÿ:88353;9ÿ5;ÿ357ÿ4N<35?ÿB;7353;9KÿM:CF:65ÿG3CCÿ4639Eÿ357ÿ;F93=2:994Cÿ645:3Cÿ=:B:43C35347ÿ39=C<839Eÿ357ÿM:CF:658=;Fÿ:77;65F495Kÿ4V;FF46=4
F:6Q45BC:=4KÿD<CD3CCF495KÿB:?F495ÿ:98ÿF4:7<64F4952:72:2746A3=4ÿ:8A4653739Eÿ746A3=48
33Q3;QÿJC;4:CÿG3CCÿ=64:54ÿF;64ÿ52:9ÿ9XKOOOÿ94GÿT;47ÿ39ÿ524ÿH93547ÿI5:547ÿ:98ÿ33Q3;QÿJC;4:CÿG3CCÿB:?ÿF;64ÿ52:9ÿYXÿ43CC3;9ÿ39ÿ94Gÿ5:1ÿ8;CC:67
5;ÿ524ÿH8I8ÿ364:7<6?8
33Q3;QÿJC;4:CKÿ5;E45246ÿG352ÿL6:=C4KÿIWJKÿJ4946:CÿR5C:953=KÿI4N<;3:KÿM:CF:65ÿ:98ÿV;:5<4ÿG3CCÿ=64:54ÿ:9ÿ48<=:53;9:Cÿ39353:53A4ÿ5;ÿ84A4C;Bÿ:98
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                                            As filed with the Securities and Exchange Commission on October 3, 2013
                                                                                                                                            Registration No. 333-

                                                                 UNITED STATES
                                                     SECURITIES AND EXCHANGE COMMISSION
                                                                        Washington, D.C. 20549

                                                                       FORM S-1
                                                                REGISTRATION STATEMENT
                                                                             UNDER
                                                                    THE SECURITIES ACT OF 1933

                                                                             Twitter, Inc.
                                                        (Exact name of Registrant as specified in its charter)

                      Delaware                                                     7370                                                  XX-XXXXXXX
  (State or other jurisdiction of incorporation or                    (Primary Standard Industrial                                    (I.R.S. Employer
                    organization)                                     Classification Code Number)                                  Identification Number)
                                                                1355 Market Street, Suite 900
                                                              San Francisco, California 94103
                                                                      (415) 222-9670
                    (Address, including zip code, and telephone number, including area code, of Registrant’s principal executive offices)

                                                                       Richard Costolo
                                                                   Chief Executive Officer
                                                                          Twitter, Inc.
                                                                1355 Market Street, Suite 900
                                                               San Francisco, California 94103
                                                                        (415) 222-9670
                             (Name, address, including zip code, and telephone number, including area code, of agent for service)

                                                                               Copies to:
             Steven E. Bochner, Esq.                                      Vijaya Gadde, Esq.                                     Alan F. Denenberg, Esq.
             Katharine A. Martin, Esq.                                    Sean Edgett, Esq.                                     Davis Polk & Wardwell LLP
              Rezwan D. Pavri, Esq.                                           Twitter, Inc.                                        1600 El Camino Real
      Wilson Sonsini Goodrich & Rosati, P.C.                         1355 Market Street, Suite 900                              Menlo Park, California 94025
               650 Page Mill Road                                   San Francisco, California 94103                                   (650) 752-2000
            Palo Alto, California 94304                                     (415) 222-9670
                  (650) 493-9300

         Approximate date of commencement of proposed sale to the public: As soon as practicable after this registration statement becomes effective.
         If any of the securities being registered on this Form are to be offered on a delayed or continuous basis pursuant to Rule 415 under the Securities Act,
check the following box: ¨
         If this Form is filed to register additional securities for an offering pursuant to Rule 462(b) under the Securities Act, please check the following box and list
the Securities Act registration statement number of the earlier effective registration statement for the same offering. ¨
         If this Form is a post-effective amendment filed pursuant to Rule 462(c) under the Securities Act, check the following box and list the Securities Act
registration statement number of the earlier effective registration statement for the same offering. ¨
         If this Form is a post-effective amendment filed pursuant to Rule 462(d) under the Securities Act, check the following box and list the Securities Act
registration statement number of the earlier effective registration statement for the same offering. ¨
         Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller reporting company. See
the definitions of “large accelerated filer,” “accelerated filer” and “smaller reporting company” in Rule 12b-2 of the Exchange Act. (Check one):
Large accelerated filer         ¨                                                                                                       Accelerated filer                  ¨
Non-accelerated filer        x (Do not check if a smaller reporting company)                                                         Smaller reporting company           ¨

                                                               CALCULATION OF REGISTRATION FEE

                                                                                                        Proposed Maximum
                                                                                                             Aggregate                         Amount of
                      Title of Each Class of Securities to be Registered                                 Offering Price(1)(2)                Registration Fee
Common Stock, $0.000005 par value per share                                                                $1,000,000,000                       $128,800
(1) Estimated solely for the purpose of computing the amount of the registration fee pursuant to Rule 457(o) under the Securities Act of 1933, as amended.
(2) Includes the aggregate offering price of additional shares that the underwriters have the right to purchase from the Registrant, if any.
        The Registrant hereby amends this registration statement on such date or dates as may be necessary to delay its effective date until the
Registrant shall file a further amendment which specifically states that this registration statement shall thereafter become effective in accordance with
Section 8(a) of the Securities Act of 1933 or until the registration statement shall become effective on such date as the Securities and Exchange
Commission, acting pursuant to said Section 8(a), may determine.
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The information in this preliminary prospectus is not complete and may be changed. These securities may not be sold until the
registration statement filed with the Securities and Exchange Commission is effective. This preliminary prospectus is not an
offer to sell nor does it seek an offer to buy these securities in any jurisdiction where the offer or sale is not permitted.
                                         Subject To Completion. Dated October 3, 2013.

                                                                   Shares




                                                      Twitter, Inc.
                                                       Common Stock

      This is an initial public offering of shares of common stock of Twitter, Inc.

       Prior to this offering, there has been no public market for the common stock. It is currently estimated that the initial
public offering price per share will be between $       and $       . We intend to list the common stock on the          under the
symbol “TWTR”.

      We are an “emerging growth company” as defined under the federal securities laws and, as such, may elect to comply
with certain reduced public company reporting requirements for future filings.

    See “Risk Factors” beginning on page 16 to read about factors you should consider before buying shares of the
common stock.


       Neither the Securities and Exchange Commission nor any other regulatory body has approved or disapproved
of these securities or passed upon the accuracy or adequacy of this prospectus. Any representation to the contrary
is a criminal offense.



                                                                                                   Per Share              Total
Initial public offering price                                                                  $                  $
Underwriting discount                                                                          $                  $
Proceeds, before expenses, to Twitter                                                          $                  $

      To the extent that the underwriters sell more than          shares of common stock, the underwriters have the option to
purchase up to an additional          shares from Twitter at the initial public offering price less the underwriting discount.


      The underwriters expect to deliver the shares against payment in New York, New York on                    , 2013.

Goldman, Sachs & Co.                                  Morgan Stanley                                            J.P. Morgan
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    BofA Merrill Lynch                                  Deutsche Bank Securities


Allen & Company LLC                                                      CODE Advisors



                               Prospectus dated    , 2013
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Public. Real-Time. Conversational. Distributed. 200,000,000+ MONTHLY ACTIVE USERS 500,000,000+ TWEETS PER DAY
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      Through and including                 , 2013 (the 25th day after the date of this prospectus), all dealers effecting
transactions in these securities, whether or not participating in this offering, may be required to deliver a prospectus.
This is in addition to a dealer’s obligation to deliver a prospectus when acting as an underwriter and with respect to
an unsold allotment or subscription.


        We have not authorized anyone to provide any information or to make any representations other than those contained
in this prospectus or in any free writing prospectuses we have prepared. We take no responsibility for, and can provide no
assurance as to the reliability of, any other information that others may give you. This prospectus is an offer to sell only the
shares offered hereby, but only under circumstances and in jurisdictions where it is lawful to do so. The information contained
in this prospectus is current only as of its date.
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                                                   PROSPECTUS SUMMARY

        This summary highlights selected information that is presented in greater detail elsewhere in this prospectus. This
  summary does not contain all of the information you should consider before investing in our common stock. You should
  read this entire prospectus carefully, including the sections titled “Risk Factors” and “Management’s Discussion and
  Analysis of Financial Condition and Results of Operations” and our consolidated financial statements and the related
  notes included elsewhere in this prospectus, before making an investment decision. Unless the context otherwise
  requires, the terms “Twitter,” “the company,” “we,” “us” and “our” in this prospectus refer to Twitter, Inc. and its consolidated
  subsidiaries.

                                                          TWITTER, INC.

        Twitter is a global platform for public self-expression and conversation in real time. By developing a fundamentally
  new way for people to create, distribute and discover content, we have democratized content creation and distribution,
  enabling any voice to echo around the world instantly and unfiltered.

        Our platform is unique in its simplicity: Tweets are limited to 140 characters of text. This constraint makes it easy for
  anyone to quickly create, distribute and discover content that is consistent across our platform and optimized for mobile
  devices. As a result, Tweets drive a high velocity of information exchange that makes Twitter uniquely “live.” We aim to
  become an indispensable daily companion to live human experiences.

        People are at the heart of Twitter. We have already achieved significant global scale, and we continue to grow. We
  have more than 215 million monthly active users, or MAUs, and more than 100 million daily active users, spanning nearly
  every country. Our users include millions of people from around the world, as well as influential individuals and
  organizations, such as world leaders, government officials, celebrities, athletes, journalists, sports teams, media outlets
  and brands. Our users create approximately 500 million Tweets every day.

         Twitter is a public, real-time platform where any user can create a Tweet and any user can follow other users. We do
  not impose restrictions on whom a user can follow, which greatly enhances the breadth and depth of available content and
  allows users to discover the content they care about most. Additionally, users can be followed by thousands or millions of
  other users without requiring a reciprocal relationship, enhancing the ability of our users to reach a broad audience. The
  public nature of our platform allows us and others to extend the reach of Twitter content beyond our properties. Media
  outlets distribute Tweets beyond our properties to complement their content by making it more timely, relevant and
  comprehensive. Tweets have appeared on over one million third-party websites, and in the second quarter of 2013 there
  were approximately 30 billion online impressions of Tweets off of our properties.

         Twitter provides a compelling and efficient way for people to stay informed about their interests, discover what is
  happening in their world right now and interact directly with each other. We enable the timely creation and distribution of
  ideas and information among people and organizations at a local and global scale. Our platform allows users to browse
  through Tweets quickly and explore content more deeply through links, photos, media and other applications that can be
  attached to each Tweet. As a result, when events happen in the world, whether planned, like sporting events and
  television shows, or unplanned, like natural disasters and political revolutions, the digital experience of those events
  happens in real time on Twitter. People can communicate with each other during these events as they occur, creating
  powerful shared experiences.

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         We are inspired by how Twitter has been used around the world. President Obama used our platform to first declare
  victory publicly in the 2012 U.S. presidential election, with a Tweet that was viewed approximately 25 million times on our
  platform and widely distributed offline in print and broadcast media. A local resident in Abbottabad, Pakistan unknowingly
  reported the raid on Osama Bin Laden’s compound on Twitter hours before traditional media and news outlets began to
  report on the event. During the earthquake and subsequent tsunami in Japan, people came to Twitter to understand the
  extent of the disaster, find loved ones and follow the nuclear crisis that ensued. For individuals and organizations seeking
  timely distribution of content, Twitter moves beyond traditional broadcast mediums by assembling connected audiences.
  Twitter brings people together in shared experiences allowing them to discover and consume content and just as easily
  add their own voice in the moment.

        Our platform partners and advertisers enhance the value we create for our users.
        Ÿ Platform Partners. Millions of platform partners, which include publishers, media outlets and developers, have
          integrated with Twitter, adding value to our user experience by contributing content to our platform, broadly
          distributing content from our platform across their properties and using Twitter content and tools to enhance their
          websites and applications. Many of the world’s most trusted media outlets, including the BBC, CNN and Times of
          India, regularly use Twitter as a platform for content distribution.
        Ÿ Advertisers. Advertisers use our Promoted Products, the majority of which are pay-for-performance, to promote
          their brands, products and services, amplify their visibility and reach, and complement and extend the
          conversation around their advertising campaigns. We enable our advertisers to target an audience based on a
          variety of factors, including a user’s Interest Graph. The Interest Graph maps, among other things, interests
          based on users followed and actions taken on our platform, such as Tweets created and engagement with
          Tweets. We believe a user’s Interest Graph produces a clear and real-time signal of a user’s interests, greatly
          enhancing the relevance of the ads we can display for users and enhancing our targeting capabilities for
          advertisers.

  Although we do not generate revenue directly from users or platform partners, we benefit from network effects where more
  activity on Twitter results in the creation and distribution of more content, which attracts more users, platform partners and
  advertisers, resulting in a virtuous cycle of value creation.

        Mobile has become the primary driver of our business. Our mobile products are critical to the value we create for
  our users, and they enable our users to create, distribute and discover content in the moment and on-the-go. The 140
  character constraint of a Tweet emanates from our origins as an SMS-based messaging system, and we leverage this
  simplicity to develop products that seamlessly bridge our user experience across all devices. In the three months ended
  June 30, 2013, 75% of our average MAUs accessed Twitter from a mobile device, including mobile phones and tablets,
  and over 65% of our advertising revenue was generated from mobile devices. We expect that the proportion of active
  users on, and advertising revenue generated from, mobile devices, will continue to grow in the near term.

         We have experienced rapid growth in our revenue in recent periods. From 2011 to 2012, revenue increased by
  198% to $316.9 million, net loss decreased by 38% to $79.4 million and Adjusted EBITDA increased by 149% to $21.2
  million. From the six months ended June 30, 2012 to the six months ended June 30, 2013, revenue increased by 107% to
  $253.6 million, net loss increased by 41% to $69.3 million and Adjusted EBITDA increased by $20.7 million to
  $21.4 million. For information on how we define and calculate Adjusted EBITDA, and a reconciliation of net loss to
  Adjusted EBITDA, see the section titled “—Summary Consolidated Financial and Other Data—Non-GAAP Financial
  Measures.”

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      We have also experienced significant growth in our user base, as measured by MAUs, and user engagement, as
  measured by timeline views.


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  For information on how we define and calculate the number of MAUs and the number of timeline views and factors that
  can affect these metrics, see the sections titled “Management’s Discussion and Analysis of Financial Condition and
  Results of Operations—Key Metrics” and “Industry Data and Company Metrics.”

  The Evolution of Content Creation, Distribution and Discovery
        The Internet and digitization have allowed for virtually all content to be made available online, but the vast array of
  content has made it difficult for people to find what is important or relevant to them. Over time, technologies have been
  developed to address this challenge:

         Web Browsers. In the early to mid-1990s, browsers, including Netscape Navigator and Internet Explorer,
  presented content on the Internet in a visually appealing manner and allowed people to navigate to specific websites, but
  the content experience was generally not personalized or tailored to a person’s interests and information was often difficult
  to find.

        Web Portals. In the mid to late-1990s, Yahoo!, AOL, MSN and other web portals aggregated and categorized
  popular content and other communication features to help people discover relevant information on the Internet. These
  portals, while convenient, and with some ability to personalize, offer access to a limited amount of content.

         Search Engines. In the early-2000s, Google and other search engines began providing a way to search a vast
  amount of content, but search results are limited by the quality of the search algorithm and the amount of content in the
  search index. In addition, given the lag between live events and the creation and indexing of digital content, search engine
  results may lack real-time information. Also, search engines generally do not surface content that a person has not
  requested, but may find interesting.

        Social Networks. In the mid-2000s, social networks, such as Facebook, emerged as a new way to connect with
  friends and family online, but they are generally closed, private networks that do not include content from outside a
  person’s friends, family and mutual connections. Consequently, the depth and breadth of content available to people is
  generally limited. Additionally, content from most social networks is not broadly available off their networks, such as on
  other websites, applications or traditional media outlets like television, radio and print.

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  Twitter Continues the Evolution
       Twitter continues the evolution of content creation, distribution and discovery by combining the following four
  elements at scale to create a global platform for public self-expression and conversation in real time. We believe Twitter
  can be the content creation, distribution and discovery platform for the Internet and evolving mobile ecosystem.
        Ÿ Public. Twitter is open to the world. Content on Twitter is broadly accessible to our users and unregistered
          visitors. All users can create Tweets and follow other users. In addition, because the public nature of Twitter
          allows content to travel virally on and off our properties to other websites and media, such as television and print,
          people can benefit from Twitter content even if they are not Twitter users or following the user that originally
          tweeted.
        Ÿ Real-Time. News breaks on Twitter. The combination of our tools, technology and format enables our users to
          quickly create and distribute content globally in real time with 140 keystrokes or the flash of a photo, and the click
          of a button. The ease with which our users can create content combined with our broad reach results in users
          often receiving content faster than other forms of media.
        Ÿ Conversational. Twitter is where users come to express themselves and interact with the world. Our users can
          interact on Twitter directly with other users, including people from around the world, as well as influential
          individuals and organizations. Importantly, these interactions can occur in public view, thereby creating an
          opportunity for all users to follow and participate in conversations on Twitter.
        Ÿ Distributed. Tweets go everywhere. The simple format of a Tweet, the public nature of content on Twitter and
          the ease of distribution off our properties allow media outlets to display Tweets on their online and offline
          properties, thereby extending the reach of Tweets beyond our properties. A 2013 study conducted by Arbitron Inc.
          and Edison Research found that 44% of Americans hear about Tweets through media channels other than Twitter
          almost every day.

  Our Value Proposition to Users
        People are at the heart of Twitter. We have more than 215 million MAUs from around the world. People come to
  Twitter for many reasons, and we believe that two of the most significant are the breadth of Twitter content and our broad
  reach. Our users consume content and engage in conversations that interest them by discovering and following the
  people and organizations they find most compelling.

        Our platform provides our users with the following benefits:
        Ÿ Sharing Content with the World. Users leverage our platform to express themselves publicly to the world, share
          with their friends and family and participate in conversations. The public, real-time nature and tremendous global
          reach of our platform make it the content distribution platform of choice for many of the world’s most influential
          individuals and organizations, as well as millions of people and small businesses.
        Ÿ Discovering Unique and Relevant Content. Twitter’s over 215 million MAUs, spanning nearly every country,
          provide great breadth and depth of content across a broad range of topics, including literature, politics, finance,
          music, movies, comedy, sports and news.
        Ÿ Breaking News and Engaging in Live Events. Users come to Twitter to discover what is happening in the world
          right now directly from other Twitter users. On Twitter, users tweet about live events instantly, whether it is
          celebrities tweeting to their fans, journalists breaking news or people providing eyewitness accounts of events as
          they unfold. Many individuals and

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          organizations choose to break news first on Twitter because of the unique reach and speed of distribution on our
          platform. As a result, Twitter is a primary source of information and complements traditional media as a second
          screen, enhancing the overall experience of an event by allowing users to share the experience with other users
          in real time. We believe this makes Twitter the social soundtrack to life in the moment.
        Ÿ Participating in Conversations. Through Twitter, users not only communicate with friends and family, but they
          also participate in conversations with other people from around the world, in ways that would not otherwise be
          possible. In addition to participating in conversations, users can simply follow conversations on Twitter or express
          interest in the conversation by retweeting or favoriting.

  Our Value Proposition to Platform Partners
         The value we create for our users is enhanced by our platform partners, which include publishers, media outlets and
  developers. These platform partners have integrated with Twitter through an application programming interface, or API,
  that we provide which allows them to contribute their content to our platform, distribute Twitter content across their
  properties and use Twitter content and tools to enhance their websites and applications. We provide a set of development
  tools, APIs and embeddable widgets that allow our partners to seamlessly integrate with our platform.

        We provide our platform partners with the following benefits:
        Ÿ Distribution Channel. Platform partners use Twitter as a complementary distribution channel to expand their
          reach and engage with their audiences. Publishers and media outlets contribute content created for other media
          channels to Twitter and tweet content specifically created for Twitter. We provide platform partners with a set of
          widgets that they can embed on their websites and an API for their mobile applications to enable Twitter users to
          tweet content directly from those properties. As our users engage with this content on Twitter, they can be
          directed back to our partners’ websites and applications.
        Ÿ Complementary Real-Time and Relevant Content. Twitter enables platform partners to embed or display
          relevant Tweets on their online and offline properties to enhance the experience for their users. Additionally, by
          enhancing the activity related to their programming or event on Twitter, media outlets can drive tune-in and
          awareness of their original content, leveraging Twitter’s strength as a second screen for television programming.
          For example, during Super Bowl XLVII, over 24 million Tweets regarding the Super Bowl were sent during the
          game alone and 45% of television ads shown during the Super Bowl used a hashtag to invite viewers to engage
          in conversation about those television ads on Twitter.
        Ÿ Canvas for Enhanced Content with Twitter Cards. Platform partners use Twitter Cards to embed images, video
          and interactive content directly into a Tweet. Twitter Cards allow platform partners to create richer content that all
          users can interact with and distribute.
        Ÿ Building with Twitter Content. Platform partners leverage Tweets to enhance the experience for their users.
          Developers incorporate Twitter content and use Twitter tools to build a broad range of applications. Media
          partners incorporate Twitter content to enrich their programming and increase viewer engagement by providing
          real-time Tweets that express public opinion and incorporate results from viewer polls on Twitter.

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  Our Value Proposition to Advertisers
         We provide compelling value to our advertisers by delivering the ability to reach a large global audience through our
  unique set of advertising services, the ability to target ads based on our deep understanding of our users and the
  opportunity to generate significant earned media. Advertisers can use Twitter to communicate directly with their followers
  for free, but many choose to purchase our advertising services to reach a broader audience and further promote their
  brands, products and services.

        Our platform provides our advertisers with the following benefits:
        Ÿ Unique Ad Formats Native to the User Experience. Our Promoted Products, which are Promoted Tweets,
          Promoted Accounts and Promoted Trends, provide advertisers with an opportunity to reach our users without
          disrupting or detracting from the user experience on our platform.
        Ÿ Targeting. Our pay-for-performance Promoted Products enable advertisers to reach users based on many
          factors. Importantly, because our asymmetric follow model does not require mutual follower relationships, people
          can follow the users that they find most interesting. These follow relationships are then combined with other
          factors, such as the actions that users take on our platform, including the Tweets they engage with and what they
          tweet about, to form a user’s Interest Graph. We believe a user’s Interest Graph produces a clear and real-time
          signal of a user’s interests, greatly enhancing our targeting capability.
        Ÿ Earned Media and Viral Global Reach. The public and widely distributed nature of our platform enables Tweets
          to spread virally, potentially reaching all of our users and people around the world. Our users retweet, reply to or
          start conversations about interesting Tweets, whether those Tweets are Promoted Tweets or organic Tweets by
          advertisers. An advertiser only gets charged when a user engages with a Promoted Tweet that was placed in a
          user’s timeline because of its promotion. By creating highly compelling and engaging ads, our advertisers can
          benefit from users retweeting their content across our platform at no incremental cost.
        Ÿ Advertising in the Moment. Twitter’s real-time nature allows our advertisers to capitalize on live events, existing
          conversations and trending topics. By using our Promoted Products, advertisers can create a relevant ad in real
          time that is shaped by these events, conversations and topics.
        Ÿ Pay-for-Performance and Attractive Return on Investment. Our advertisers pay for Promoted Tweets and
          Promoted Accounts on a pay-for-performance basis. Our advertisers only pay us when a user engages with their
          ad, such as when a user clicks on a link in a Promoted Tweet, expands a Promoted Tweet, replies to or favorites
          a Promoted Tweet, retweets a Promoted Tweet for the first time, follows a Promoted Account or follows the
          account that tweets a Promoted Tweet. The pay-for-performance structure aligns our interests in delivering
          relevant and engaging ads to our users with those of our advertisers.
        Ÿ Extension of Offline Advertising Campaigns. Twitter advertising complements offline advertising campaigns,
          such as television ads. Integrating hashtags allows advertisers to extend the reach of an offline ad by driving
          significant earned media and continued conversation on Twitter.

  Our Value Proposition to Data Partners
        We offer data licenses that allow our data partners to access, search and analyze historical and real-time data on
  our platform. Since the first Tweet, our users have created over 300 billion Tweets

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  spanning nearly every country. Our data partners use this data to generate and monetize data analytics, from which data
  partners can identify user sentiment, influence and other trends. For example, one of our data partners applies its
  algorithms to Twitter data to create and sell products to its customers that identify activity trends across Twitter which may
  be relevant to its customers’ investment portfolios.

  Growth Strategy
       We have aligned our growth strategy around the three primary constituents of our platform: users, platform partners
  and advertisers.
        Ÿ Users. We believe that there is a significant opportunity to expand our user base. Industry sources estimate
          that as of 2012 there were 2.4 billion Internet users and 1.2 billion smartphone users, of which only 215 million
          are MAUs of Twitter.
              Ÿ Geographic Expansion. We plan to develop a broad set of partnerships globally to increase relevant local
                content on our platform and make Twitter more accessible in new and emerging markets.
              Ÿ Mobile Applications. We plan to continue to develop and improve our mobile applications to drive user
                adoption of these applications.
              Ÿ Product Development. We plan to continue to build and acquire new technologies to develop and
                improve our products and services and make our platform more valuable and accessible to people around
                the world. We also plan to continue to focus on making Twitter simple and easy to use, particularly for new
                users.
        Ÿ Platform Partners. We believe growth in our platform partners is complementary to our user growth strategy
          and the overall expansion of our platform.
              Ÿ Expand the Twitter Platform to Integrate More Content. We plan to continue to build and acquire new
                technologies to enable our platform partners to distribute content of all forms.
              Ÿ Partner with Traditional Media. We plan to continue to leverage our media relationships to drive more
                content distribution on our platform and create more value for our users and advertisers.
        Ÿ Advertisers. We believe we can increase the value of our platform for our advertisers by enhancing our
          advertising services and making our platform more accessible.
              Ÿ Targeting.    We plan to continue to improve the targeting capabilities of our advertising services.
              Ÿ Opening our Platform to Additional Advertisers. We believe that advertisers outside of the United States
                represent a substantial opportunity and we plan to invest to increase our advertising revenue from
                international advertisers, including by launching our self-serve advertising platform in selected international
                markets.
              Ÿ New Advertising Formats. We intend to develop new and unique ad formats for our advertisers. For
                example, we recently introduced our lead generation and application download Twitter Cards and Twitter
                Amplify, which allows advertisers to embed ads into real-time video content.

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  Risks Associated with Our Business
        Our business is subject to numerous risks and uncertainties, including those highlighted in the section titled “Risk
  Factors” immediately following this prospectus summary. These risks include, but are not limited to, the following:
        Ÿ If we fail to grow our user base, or if user engagement or the number of paid engagements with our pay-for-
          performance Promoted Products, which we refer to as ad engagements, on our platform decline, our revenue,
          business and operating results may be harmed;
        Ÿ If our users do not continue to contribute content or their contributions are not valuable to other users, we may
          experience a decline in the number of users accessing our products and services, which could result in the loss
          of advertisers and revenue;
        Ÿ We generate the substantial majority of our revenue from advertising, and the loss of advertising revenue could
          harm our business;
        Ÿ If we are unable to compete effectively for users and advertiser spend, our business and operating results could
          be harmed;
        Ÿ Our operating results may fluctuate from quarter to quarter, which makes them difficult to predict;
        Ÿ User growth and engagement depend upon effective interoperation with operating systems, networks, devices,
          web browsers and standards that we do not control;
        Ÿ If we fail to expand effectively in international markets, our revenue and our business will be harmed;
        Ÿ We anticipate that we will expend substantial funds in connection with the tax liabilities that arise upon the initial
          settlement of restricted stock units, or RSUs, in connection with this offering, and the manner in which we fund
          that expenditure may have an adverse effect on our financial condition; and
        Ÿ Existing executive officers, directors and holders of 5% or more of our common stock will collectively beneficially
          own % of our common stock and continue to have substantial control over us after this offering, which will limit
          your ability to influence the outcome of important transactions, including a change in control.

  Channels for Disclosure of Information
        Investors, the media and others should note that, following the completion of this offering, we intend to announce
  material information to the public through filings with the Securities and Exchange Commission, or the SEC, our corporate
  blog at blog.twitter.com, the investor relations page on our website, press releases, public conference calls and webcasts.
  We also intend to announce information regarding us and our business, operating results, financial condition and other
  matters through Tweets on the following Twitter accounts:            ,       and        .

        The information that is tweeted by the foregoing Twitter accounts could be deemed to be material information. As
  such, we encourage investors, the media and others to follow the Twitter accounts listed above and to review the
  information tweeted by such accounts.

         Any updates to the list of Twitter accounts through which we will announce information will be posted on the investor
  relations page on our website.

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  Corporate Information
        Twitter, Inc. was incorporated in Delaware in April 2007. Our principal executive offices are located at 1355 Market
  Street, Suite 900, San Francisco, California 94103, and our telephone number is (415) 222-9670. Our website address is
  www.twitter.com. Information contained on, or that can be accessed through, our website does not constitute part of this
  prospectus and inclusions of our website address in this prospectus are inactive textual references only.

         “Twitter,” the Twitter bird logo, “Tweet,” “Retweet” and our other registered or common law trademarks, service
  marks or trade names appearing in this prospectus are the property of Twitter, Inc. Other trademarks and trade names
  referred to in this prospectus are the property of their respective owners.

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                                                       THE OFFERING

  Common stock offered by us                                              shares

  Common stock to be outstanding after this offering

                                                                          shares

  Option to purchase additional shares of common stock from
    us
                                                                          shares

  Use of proceeds                                                  We estimate that the net proceeds from the sale of
                                                                   shares of our common stock in this offering will be
                                                                   approximately $        (or approximately $      if the
                                                                   underwriters’ option to purchase additional shares of our
                                                                   common stock from us is exercised in full), based upon
                                                                   the assumed initial public offering price of $      per
                                                                   share, which is the midpoint of the estimated offering
                                                                   price range set forth on the cover page of this
                                                                   prospectus, and after deducting estimated underwriting
                                                                   discounts and commissions and estimated offering
                                                                   expenses payable by us.
                                                                   The principal purposes of this offering are to increase our
                                                                   capitalization and financial flexibility, create a public
                                                                   market for our common stock and enable access to the
                                                                   public equity markets for us and our stockholders. We
                                                                   intend to use the net proceeds from this offering for
                                                                   general corporate purposes, including working capital,
                                                                   operating expenses and capital expenditures. We also
                                                                   may use a portion of the net proceeds to satisfy our
                                                                   anticipated tax withholding and remittance obligations
                                                                   related to the settlement of our outstanding RSUs.
                                                                   Additionally, we may use a portion of the net proceeds to
                                                                   acquire businesses, products, services or technologies.
                                                                   However, except for our proposed acquisition of MoPub,
                                                                   Inc., or MoPub, in exchange for shares of our common
                                                                   stock, we do not have agreements or commitments for
                                                                   any material acquisitions at this time. See the section
                                                                   titled “Use of Proceeds” for additional information.

  Concentration of Ownership                                       Upon completion of this offering, our executive officers,
                                                                   directors and holders of 5% or more of our common
                                                                   stock will beneficially own, in the aggregate,
                                                                   approximately % of our outstanding shares of common
                                                                   stock.

  Proposed          symbol                                         “TWTR”

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        The number of shares of our common stock that will be outstanding after this offering is based on 472,613,753
  shares of our common stock (including preferred stock on an as-converted basis) outstanding as of June 30, 2013, and
  excludes:
        Ÿ 44,157,061 shares of our common stock issuable upon the exercise of options to purchase shares of our
          common stock outstanding as of June 30, 2013, with a weighted-average exercise price of $1.82 per share;
        Ÿ 59,913,992 shares of our common stock subject to RSUs outstanding as of June 30, 2013;
        Ÿ 116,512 shares of our common stock, on an as-converted basis, issuable upon the exercise of a warrant to
          purchase convertible preferred stock outstanding as of June 30, 2013, with an exercise price of $0.34 per share;
        Ÿ 27,002,040 shares of our common stock subject to RSUs granted after June 30, 2013;
        Ÿ up to 14,791,464 shares of our common stock issuable upon completion of our acquisition of MoPub; and
        Ÿ         shares of our common stock reserved for future issuance under our equity compensation plans which will
            become effective prior to the completion of this offering, consisting of:
               Ÿ          shares of our common stock reserved for future issuance under our 2013 Equity Incentive Plan, or
                   our 2013 Plan;
               Ÿ 7,814,902 shares of our common stock reserved for future issuance under our 2007 Equity Incentive Plan,
                 or our 2007 Plan (after giving effect to an increase of 20,000,000 shares of our common stock reserved for
                 issuance under our 2007 Plan after June 30, 2013 and the grant of 27,002,040 shares of our common
                 stock subject to RSUs granted after June 30, 2013), which number of shares will be added to the shares of
                 our common stock to be reserved under our 2013 Plan upon its effectiveness; and
               Ÿ         shares of our common stock reserved for future issuance under our 2013 Employee Stock
                   Purchase Plan, or our ESPP.

        Our 2013 Plan and ESPP each provide for annual automatic increases in the number of shares reserved thereunder
  and our 2013 Plan also provides for increases to the number of shares that may be granted thereunder based on shares
  under our 2007 Plan that expire, are forfeited or otherwise repurchased by us, as more fully described in the section titled
  “Executive Compensation—Employee Benefit and Stock Plans.”

        Except as otherwise indicated, all information in this prospectus assumes:
        Ÿ the automatic conversion of all outstanding shares of our Class A junior preferred stock and our convertible
          preferred stock into an aggregate of 333,099,000 shares of our common stock, the conversion of which will occur
          immediately prior to the completion of this offering;
        Ÿ the filing and effectiveness of our amended and restated certificate of incorporation in Delaware and the adoption
          of our amended and restated bylaws, each of which will occur immediately prior to the completion of this offering;
          and
        Ÿ no exercise by the underwriters of their option to purchase up to an additional        shares of our common
          stock from us.

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                                        SUMMARY CONSOLIDATED FINANCIAL AND OTHER DATA

         The following tables summarize our consolidated financial and other data. We have derived the summary
  consolidated statement of operations data for the years ended December 31, 2010, 2011 and 2012 from our audited
  consolidated financial statements included elsewhere in this prospectus. We have derived the summary consolidated
  statement of operations data for the six months ended June 30, 2012 and 2013 and our balance sheet data as of June 30,
  2013 from our unaudited interim consolidated financial statements included elsewhere in this prospectus. The unaudited
  interim consolidated financial statements have been prepared on the same basis as the audited consolidated financial
  statements and reflect, in the opinion of management, all adjustments of a normal, recurring nature that are necessary for
  a fair statement of the unaudited interim consolidated financial statements. Our historical results are not necessarily
  indicative of the results that may be expected in the future and the results in the six months ended June 30, 2013 are not
  necessarily indicative of results to be expected for the full year or any other period. The following summary consolidated
  financial and other data should be read in conjunction with the section titled “Management’s Discussion and Analysis of
  Financial Condition and Results of Operations” and our consolidated financial statements and related notes included
  elsewhere in this prospectus.

                                                                                                                                Six Months Ended
                                                                                            Year Ended December 31,                  June 30,
                                                                                         2010         2011         2012          2012       2013
                                                                                                  (In thousands, except per share data)
  Consolidated Statement of Operations Data:
  Revenue                                                                            $ 28,278      $ 106,313      $316,933       $122,359      $253,635
  Costs and expenses(1)
          Cost of revenue                                                              43,168         61,803       128,768          58,157     91,828
          Research and development                                                     29,348         80,176       119,004          46,345    111,837
          Sales and marketing                                                           6,289         25,988         86,551         34,105     77,697
          General and administrative                                                   16,952         65,757         59,693         30,758     35,096
                  Total costs and expenses                                             95,757        233,724       394,016        169,365    316,458
                  Loss from operations                                                (67,479)      (127,411)       (77,083)       (47,006)   (62,823)
  Interest income (expense), net                                                           55           (805)        (2,486)          (890)    (2,746)
  Other income (expense), net                                                            (117)        (1,530)           399            (12)    (2,548)
                  Loss before income taxes                                            (67,541)      (129,746)       (79,170)       (47,908)   (68,117)
  Provision (benefit) for income taxes                                                   (217)        (1,444)           229          1,196      1,134
                  Net loss                                                           $(67,324)     $(128,302)     $ (79,399)     $ (49,104) $ (69,251)
  Deemed dividend to investors in relation to the tender offer                             —          35,816             —              —          —
  Net loss attributable to common stockholders                                       $(67,324)     $(164,118)     $ (79,399)     $ (49,104) $ (69,251)
  Weighted-average shares used to compute net loss per share attributable to
      common stockholders:
          Basic and diluted                                                              75,992        102,544        117,401        114,825       129,853
  Net loss per share attributable to common stockholders:
          Basic and diluted                                                          $    (0.89)   $     (1.60)   $     (0.68)   $     (0.43) $      (0.53)
  Pro forma net loss per share attributable to common stockholders (unaudited):(2)
         Basic and diluted                                                                                        $     (0.18)                 $     (0.15)

  Other Financial Information:(3)
  Adjusted EBITDA                                                                    $(51,184)     $ (42,835)     $ 21,164       $     670 $ 21,392
  Non-GAAP net loss                                                                  $(54,066)     $ (65,533)     $ (35,191)     $ (22,232) $ (26,888)


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  (1)    Costs and expenses include stock-based compensation expense as follows:
                                                                                                                                        Six Months Ended
                                                                                                       Year Ended December 31,               June 30,
                                                                                                     2010       2011        2012        2012          2013
                                                                                                                       (In thousands)
  Cost of revenue                                                                                   $ 200      $ 1,820    $ 800       $    420     $ 1,955
  Research and development                                                                           3,409      33,559      12,622       6,291        24,197
  Sales and marketing                                                                                  249       1,553       1,346         620         4,614
  General and administrative                                                                         2,073      23,452      10,973       8,796         4,802
         Total stock-based compensation                                                             $5,931     $60,384    $25,741     $ 16,127     $ 35,568
  (2)    See Note 9 to our consolidated financial statements for an explanation of the calculations of our pro forma net loss per share attributable to common
         stockholders.
  (3)    See the section titled “—Non-GAAP Financial Measures” for additional information and a reconciliation of net loss to Adjusted EBITDA and net loss to
         non-GAAP net loss.

                                                                                                                           As of June 30, 2013
                                                                                                                                                       Pro Forma
                                                                                                      Actual              Pro Forma(1)              as Adjusted(2)(3)
                                                                                                                            (In thousands)
  Consolidated Balance Sheet Data:
  Cash and cash equivalents                                                                         $ 164,509             $     164,509             $
  Short-term investments                                                                              210,549                   210,549
  Working capital                                                                                     382,820                   382,820
  Property and equipment, net                                                                         242,553                   242,553
  Total assets                                                                                        964,059                   964,059
  Total liabilities                                                                                   255,898                   247,163
  Class A junior preferred stock                                                                       37,106                        —
  Convertible preferred stock                                                                         835,430                        —
  Total stockholders’ equity (deficit)                                                               (164,375)                  716,896
  (1)    The pro forma column in the balance sheet data table above reflects (a) the automatic conversion of all outstanding shares of our Class A junior
         preferred stock and our convertible preferred stock into an aggregate of 333,099,000 shares of our common stock, which conversion will occur
         immediately prior to the completion of this offering, as if such conversion had occurred on June 30, 2013, (b) the resulting reclassification of the
         restricted Class A junior preferred stock and preferred stock warrant liability from other long-term liabilities to additional paid-in capital and (c) stock-
         based compensation expense of $329.6 million, associated with Pre-2013 RSUs for which the service condition was satisfied as of June 30, 2013, and
         which we expect to record upon completion of this offering, as further described in the section titled “Management’s Discussion and Analysis of
         Financial Condition and Results of Operations—Critical Accounting Policies and Estimates—Stock-Based Compensation.”
  (2)    The pro forma as adjusted column in the balance sheet data table above gives effect to (a) the pro forma adjustments set forth above, (b) the sale and
         issuance by us of           shares of our common stock in this offering, based upon the assumed initial public offering price of $          per share, which is
         the midpoint of the estimated offering price range set forth on the cover page of this prospectus, and after deducting estimated underwriting discounts
         and commissions and estimated offering expenses payable by us and (c) the filing and effectiveness of our amended and restated certificate of
         incorporation in Delaware.
  (3)    Each $1.00 increase or decrease in the assumed initial public offering price of $         per share, which is the midpoint of the estimated offering price
         range set forth on the cover page of this prospectus, would increase or decrease, as applicable, the amount of our cash and cash equivalents, working
         capital, total assets and total stockholders’ equity by $      , assuming that the number of shares offered by us, as set forth on the cover page of this
         prospectus, remains the same, after deducting estimated underwriting discounts and commissions payable by us. An increase or decrease of
         1.0 million shares in the number of shares offered by us would increase or decrease, as applicable, the amount of our cash and cash equivalents,
         working capital, total assets and total stockholders’ equity by $      , assuming an initial public offering price of $      per share, which is the midpoint
         of the estimated offering price range set forth on the cover page of this prospectus, after deducting estimated underwriting discounts and commissions
         payable by us.


  Non-GAAP Financial Measures

         To supplement our consolidated financial statements presented in accordance with generally accepted accounting
  principles in the United States, or GAAP, we consider certain financial measures that are not prepared in accordance with
  GAAP, including Adjusted EBITDA and non-GAAP net loss.

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  These non-GAAP financial measures are not based on any standardized methodology prescribed by GAAP and are not
  necessarily comparable to similarly-titled measures presented by other companies.

  Adjusted EBITDA
        We define Adjusted EBITDA as net loss adjusted to exclude stock-based compensation expense, depreciation and
  amortization expense, interest and other expenses and provision (benefit) for income taxes.

         The following table presents a reconciliation of net loss to Adjusted EBITDA for each of the periods indicated:

                                                                                                              Six Months Ended
                                                                              Year Ended December 31,              June 30,
                                                                           2010        2011         2012       2012       2013
                                                                                             (In thousands)
  Reconciliation of Net Loss to Adjusted EBITDA
  Net loss                                                               $(67,324)   $(128,302)   $(79,399)   $(49,104) $(69,251)
         Stock-based compensation expense                                   5,931       60,384      25,741      16,127    35,568
         Depreciation and amortization expense                             10,364       24,192      72,506      31,549    48,647
         Interest and other expense                                            62        2,335       2,087         902     5,294
         Provision (benefit) for income taxes                                (217)      (1,444)        229       1,196     1,134
  Adjusted EBITDA                                                        $(51,184)   $ (42,835)   $ 21,164    $    670 $ 21,392


  Non-GAAP Net Loss
        We define non-GAAP net loss as net loss adjusted to exclude stock-based compensation expense, amortization of
  acquired intangible assets and the income tax effects related to acquisitions.

         The following table presents a reconciliation of net loss to non-GAAP net loss for each of the periods indicated:

                                                                                                              Six Months Ended
                                                                              Year Ended December 31,              June 30,
                                                                           2010        2011         2012       2012       2013
                                                                                             (In thousands)
  Reconciliation of Net Loss to Non-GAAP Net Loss
  Net loss                                                               $(67,324)   $(128,302)   $(79,399)   $(49,104) $(69,251)
         Stock-based compensation expense                                   5,931       60,384      25,741      16,127    35,568
         Amortization of acquired intangible assets                         7,506        4,697      18,687      10,255     7,178
         Income tax effects related to acquisitions                          (179)      (2,312)       (220)        490      (383)
  Non-GAAP net loss                                                      $(54,066)   $ (65,533)   $(35,191)   $(22,232) $(26,888)

         We use the non-GAAP financial measures of Adjusted EBITDA and non-GAAP net loss in evaluating our operating
  results and for financial and operational decision-making purposes. We believe that Adjusted EBITDA and non-GAAP net
  loss help identify underlying trends in our business that could otherwise be masked by the effect of the expenses that we
  exclude in Adjusted EBITDA and non-GAAP net loss. We believe that Adjusted EBITDA and non-GAAP net loss provide
  useful information about our operating results, enhance the overall understanding of our past performance and future
  prospects and allow for greater transparency with respect to key metrics used by our management in its financial and
  operational decision-making. We use these measures to establish budgets and operational goals for managing our
  business and evaluating our performance. We are presenting the non-GAAP measures of Adjusted EBITDA and non-
  GAAP net loss to assist investors in seeing our operating results through the eyes of

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  management, and because we believe that these measures provide an additional tool for investors to use in comparing
  our core business operating results over multiple periods with other companies in our industry.

         These non-GAAP financial measures should not be considered in isolation from, or as a substitute for, financial
  information prepared in accordance with GAAP. There are a number of limitations related to the use of these non-GAAP
  financial measures rather than net loss, which is the nearest GAAP equivalent of these financial measures. Some of these
  limitations are:
        Ÿ These non-GAAP financial measures exclude certain recurring, non-cash charges such as stock-based
          compensation expense and amortization of acquired intangible assets;
        Ÿ Stock-based compensation expense, which is not reflected in these non-GAAP financial measures, has been,
          and will continue to be for the foreseeable future, a significant recurring expense in our business and an
          important part of our compensation strategy;
        Ÿ Adjusted EBITDA does not reflect tax payments that reduce cash available to us;
        Ÿ Adjusted EBITDA excludes depreciation and amortization expense and, although these are non-cash charges,
          the property and equipment being depreciated and amortized may have to be replaced in the future; and
        Ÿ The expenses that we exclude in our calculation of these non-GAAP financial measures may differ from the
          expenses, if any, that our peer companies may exclude from similarly-titled non-GAAP measures when they
          report their results of operations.

       We have attempted to compensate for these limitations by providing the nearest GAAP equivalents of these non-
  GAAP financial measures and describing these GAAP equivalents under the section titled “Management’s Discussion and
  Analysis of Financial Condition and Results of Operations—Results of Operations.”

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                                                        RISK FACTORS

        Investing in our common stock involves a high degree of risk. You should carefully consider the risks and uncertainties
described below, together with all of the other information in this prospectus, including “Management’s Discussion and
Analysis of Financial Condition and Results of Operations” and our consolidated financial statements and related notes,
before making a decision to invest in our common stock. The risks and uncertainties described below may not be the only
ones we face. If any of the risks actually occur, our business, financial condition, operating results and prospects could be
materially and adversely affected. In that event, the market price of our common stock could decline, and you could lose part
or all of your investment.

Risks Related to Our Business and Our Industry

If we fail to grow our user base, or if user engagement or ad engagement on our platform decline, our revenue,
business and operating results may be harmed.
       The size of our user base and our users’ level of engagement are critical to our success. We had 218.3 million average
MAUs in the three months ended June 30, 2013, which was a 44% increase from 151.4 million average MAUs in the three
months ended June 30, 2012. Our financial performance has been and will continue to be significantly determined by our
success in growing the number of users and increasing their overall level of engagement on our platform as well as the
number of ad engagements. We anticipate that our user growth rate will slow over time as the size of our user base increases.
For example, in general, a higher proportion of Internet users in the United States uses Twitter than Internet users in other
countries and, in the future, we expect our user growth rate in certain international markets, such as Argentina, France, Japan,
Russia, Saudi Arabia and South Africa, to continue to be higher than our user growth rate in the United States. To the extent
our user growth rate slows, our success will become increasingly dependent on our ability to increase levels of user
engagement and ad engagement on Twitter. We generate a substantial majority of our revenue based upon engagement by
our users with the ads that we display. If people do not perceive our products and services to be useful, reliable and
trustworthy, we may not be able to attract users or increase the frequency of their engagement with our platform and the ads
that we display. A number of consumer-oriented websites that achieved early popularity have since seen their user bases or
levels of engagement decline, in some cases precipitously. There is no guarantee that we will not experience a similar erosion
of our user base or engagement levels. A number of factors could potentially negatively affect user growth and engagement,
including if:
      Ÿ users engage with other products, services or activities as an alternative to ours;
      Ÿ influential users, such as world leaders, government officials, celebrities, athletes, journalists, sports teams, media
        outlets and brands or certain age demographics conclude that an alternative product or service is more relevant;
      Ÿ we are unable to convince potential new users of the value and usefulness of our products and services;
      Ÿ there is a decrease in the perceived quality of the content generated by our users;
      Ÿ we fail to introduce new and improved products or services or if we introduce new products or services that are not
        favorably received;
      Ÿ technical or other problems prevent us from delivering our products or services in a rapid and reliable manner or
        otherwise affect the user experience;
      Ÿ we are unable to present users with content that is interesting, useful and relevant to them;
      Ÿ users believe that their experience is diminished as a result of the decisions we make with respect to the frequency,
        relevance and prominence of ads that we display;
      Ÿ there are user concerns related to privacy and communication, safety, security or other factors;

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      Ÿ we are unable to combat spam or other hostile or inappropriate usage on our platform;
      Ÿ there are adverse changes in our products or services that are mandated by, or that we elect to make to address,
        legislation, regulatory authorities or litigation, including settlements or consent decrees;
      Ÿ we fail to provide adequate customer service to users; or
      Ÿ we do not maintain our brand image or our reputation is damaged.

      If we are unable to increase our user growth or engagement, or if they decline, this could result in our products and
services being less attractive to potential new users, as well as advertisers, which would have a material and adverse impact
on our business, financial condition and operating results.

If our users do not continue to contribute content or their contributions are not valuable to other users, we may
experience a decline in the number of users accessing our products and services and user engagement, which could
result in the loss of advertisers and revenue.
       Our success depends on our ability to provide users of our products and services with valuable content, which in turn
depends on the content contributed by our users. We believe that one of our competitive advantages is the quality, quantity
and real-time nature of the content on Twitter, and that access to unique or real-time content is one of the main reasons users
visit Twitter. Our ability to expand into new international markets depends on the availability of relevant local content in those
markets. We seek to foster a broad and engaged user community, and we encourage world leaders, government officials,
celebrities, athletes, journalists, sports teams, media outlets and brands to use our products and services to express their
views to broad audiences. We also encourage media outlets to use our products and services to distribute their content. If
users, including influential users, do not continue to contribute content to Twitter, and we are unable to provide users with
valuable and timely content, our user base and user engagement may decline. Additionally, if we are not able to address user
concerns regarding the safety and security of our products and services or if we are unable to successfully prevent abusive or
other hostile behavior on our platform, the size of our user base and user engagement may decline. We rely on the sale of
advertising services for the substantial majority of our revenue. If we experience a decline in the number of users or a decline
in user engagement, including as a result of the loss of world leaders, government officials, celebrities, athletes, journalists,
sports teams, media outlets and brands who generate content on Twitter, advertisers may not view our products and services
as attractive for their marketing expenditures, and may reduce their spending with us which would harm our business and
operating results.

We generate the substantial majority of our revenue from advertising. The loss of advertising revenue could harm
our business.
      The substantial majority of our revenue is currently generated from third parties advertising on Twitter. We generated
85% and 87% of our revenue from advertising in 2012 and the six months ended June 30, 2013, respectively. We generate
substantially all of our advertising revenue through the sale of our three Promoted Products: Promoted Tweets, Promoted
Accounts and Promoted Trends. As is common in the industry, our advertisers do not have long-term advertising commitments
with us. In addition, many of our advertisers purchase our advertising services through one of several large advertising
agency holding companies. Advertising agencies and potential new advertisers may view our Promoted Products as
experimental and unproven, and we may need to devote additional time and resources to educate them about our products
and services. Advertisers also may choose to reach users through our free products and services, instead of our Promoted
Products. Advertisers will not continue to do business with us, or they will reduce the prices they are willing to pay to advertise
with us, if we do not deliver ads in an effective manner, or if they do not believe that their investment in advertising with us will
generate a competitive return relative to alternatives, including online, mobile

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and traditional advertising platforms. Our advertising revenue could be adversely affected by a number of other factors,
including:
      Ÿ decreases in user engagement with Twitter and with the ads on our platform;
      Ÿ if we are unable to demonstrate the value of our Promoted Products to advertisers and advertising agencies or if we
        are unable to measure the value of our Promoted Products in a manner which advertisers and advertising agencies
        find useful;
      Ÿ if our Promoted Products are not cost effective or valuable for certain types of advertisers or if we are unable to
        develop cost effective or valuable advertising services for different types of advertisers;
      Ÿ if we are unable to convince advertisers and brands to invest resources in learning to use our products and services
        and maintaining a brand presence on Twitter;
      Ÿ product or service changes we may make that change the frequency or relative prominence of ads displayed on
        Twitter or that detrimentally impact revenue in the near term with the goal of achieving long term benefits;
      Ÿ our inability to increase advertiser demand and inventory;
      Ÿ our inability to increase the relevance of ads shown to users;
      Ÿ our inability to help advertisers effectively target ads, including as a result of the fact that we do not collect extensive
        private personally identifiable information directly from our users and that we do not have real-time geographic
        information for all of our users;
      Ÿ continuing decreases in the cost per ad engagement;
      Ÿ loss of advertising market share to our competitors;
      Ÿ the degree to which users access Twitter content through applications that do not contain our ads;
      Ÿ if we enter into revenue sharing arrangements or other partnerships with third parties;
      Ÿ our new advertising strategies, such as television targeting and real-time video clips embedded in Tweets, do not
        gain traction;
      Ÿ the impact of new technologies that could block or obscure the display of our ads;
      Ÿ adverse legal developments relating to advertising or measurement tools related to the effectiveness of advertising,
        including legislative and regulatory developments, and developments in litigation;
      Ÿ adverse media reports or other negative publicity involving us or other companies in our industry;
      Ÿ our inability to create new products and services that sustain or increase the value of our advertising services to both
        our advertisers and our users;
      Ÿ the impact of fraudulent clicks or spam on our Promoted Products and our users;
      Ÿ changes in the way our advertising is priced; and
      Ÿ the impact of macroeconomic conditions and conditions in the advertising industry in general.

      The occurrence of any of these or other factors could result in a reduction in demand for our ads, which may reduce the
prices we receive for our ads, either of which would negatively affect our revenue and operating results.

If we are unable to compete effectively for users and advertiser spend, our business and operating results could be
harmed.
       Competition for users of our products and services is intense. Although we have developed a new global platform for
public self-expression and conversation in real time, we face strong competition in our
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business. We compete against many companies to attract and engage users, including companies which have greater
financial resources and substantially larger user bases, such as Facebook (including Instagram), Google, LinkedIn, Microsoft
and Yahoo!, which offer a variety of Internet and mobile device-based products, services and content. For example, Facebook
operates a social networking site with significantly more users than Twitter and has been introducing features similar to those
of Twitter. In addition, Google may use its strong position in one or more markets to gain a competitive advantage over us in
areas in which we operate, including by integrating competing features into products or services they control. As a result, our
competitors may acquire and engage users at the expense of the growth or engagement of our user base, which would
negatively affect our business. We also compete against smaller companies, such as Sina Weibo, LINE and Kakao, each of
which is based in Asia.

      We believe that our ability to compete effectively for users depends upon many factors both within and beyond our
control, including:
      Ÿ the popularity, usefulness, ease of use, performance and reliability of our products and services compared to those
        of our competitors;
      Ÿ the amount, quality and timeliness of content generated by our users;
      Ÿ the timing and market acceptance of our products and services;
      Ÿ the continued adoption of our products and services internationally;
      Ÿ our ability, and the ability of our competitors, to develop new products and services and enhancements to existing
        products and services;
      Ÿ the frequency and relative prominence of the ads displayed by us or our competitors;
      Ÿ our ability to establish and maintain relationships with platform partners that integrate with our platform;
      Ÿ changes mandated by, or that we elect to make to address, legislation, regulatory authorities or litigation, including
        settlements and consent decrees, some of which may have a disproportionate effect on us;
      Ÿ the application of antitrust laws both in the United States and internationally;
      Ÿ government action regulating competition;
      Ÿ our ability to attract, retain and motivate talented employees, particularly engineers, designers and product
        managers;
      Ÿ acquisitions or consolidation within our industry, which may result in more formidable competitors; and
      Ÿ our reputation and the brand strength relative to our competitors.

        We also face significant competition for advertiser spend. The substantial majority of our revenue is currently generated
through ads on Twitter, and we compete against online and mobile businesses, including those referenced above, and
traditional media outlets, such as television, radio and print, for advertising budgets. In order to grow our revenue and improve
our operating results, we must increase our share of spending on advertising relative to our competitors, many of which are
larger companies that offer more traditional and widely accepted advertising products. In addition, some of our larger
competitors have substantially broader product or service offerings and leverage their relationships based on other products
or services to gain additional share of advertising budgets.

     We believe that our ability to compete effectively for advertiser spend depends upon many factors both within and
beyond our control, including:
      Ÿ the size and composition of our user base relative to those of our competitors;

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      Ÿ our ad targeting capabilities, and those of our competitors;
      Ÿ the timing and market acceptance of our advertising services, and those of our competitors;
      Ÿ our marketing and selling efforts, and those of our competitors;
      Ÿ the pricing for our Promoted Products relative to the advertising products and services of our competitors;
      Ÿ the return our advertisers receive from our advertising services, and those of our competitors; and
      Ÿ our reputation and the strength of our brand relative to our competitors.

       In recent years, there have been significant acquisitions and consolidation by and among our actual and potential
competitors. We anticipate this trend of consolidation will continue, which will present heightened competitive challenges for
our business. Acquisitions by our competitors may result in reduced functionality of our products and services. For example,
following Facebook’s acquisition of Instagram, Facebook disabled Instagram’s photo integration with Twitter such that
Instagram photos are no longer viewable within Tweets and users are now re-directed to Instagram to view Instagram photos
through a link within a Tweet. As a result, our users may be less likely to click on links to Instagram photos in Tweets, and
Instagram users may be less likely to tweet or remain active users of Twitter. Any similar elimination of integration with Twitter
in the future, whether by Facebook or others, may adversely impact our business and operating results.

       Consolidation may also enable our larger competitors to offer bundled or integrated products that feature alternatives to
our platform. Reduced functionality of our products and services, or our competitors’ ability to offer bundled or integrated
products that compete directly with us, may cause our user growth, user engagement and ad engagement to decline and
advertisers to reduce their spend with us.

      If we are not able to compete effectively for users and advertiser spend our business and operating results would be
materially and adversely affected.

Our operating results may fluctuate from quarter to quarter, which makes them difficult to predict.
       Our quarterly operating results have fluctuated in the past and will fluctuate in the future. As a result, our past quarterly
operating results are not necessarily indicators of future performance. Our operating results in any given quarter can be
influenced by numerous factors, many of which we are unable to predict or are outside of our control, including:
      Ÿ our ability to grow our user base and user engagement;
      Ÿ our ability to attract and retain advertisers;
      Ÿ the occurrence of planned significant events, such as the Super Bowl, or unplanned significant events, such as
        natural disasters and political revolutions;
      Ÿ fluctuations in spending by our advertisers, including as a result of seasonality and extraordinary news events, or
        other factors;
      Ÿ the number of ad engagements by users;
      Ÿ the pricing of our ads and other products and services;
      Ÿ the development and introduction of new products or services or changes in features of existing products or services;
      Ÿ the impact of competitors or competitive products and services;
      Ÿ our ability to maintain or increase revenue;
      Ÿ our ability to maintain or improve gross margins and operating margins;

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      Ÿ increases in research and development, marketing and sales and other operating expenses that we may incur to
        grow and expand our operations and to remain competitive;
      Ÿ stock-based compensation expense, including in the year we complete this offering;
      Ÿ costs related to the acquisition of businesses, talent, technologies or intellectual property, including potentially
        significant amortization costs;
      Ÿ system failures resulting in the inaccessibility of our products and services;
      Ÿ breaches of security or privacy, and the costs associated with remediating any such breaches;
      Ÿ adverse litigation judgments, settlements or other litigation-related costs, and the fees associated with investigating
        and defending claims;
      Ÿ changes in the legislative or regulatory environment, including with respect to security, privacy or enforcement by
        government regulators, including fines, orders or consent decrees;
      Ÿ fluctuations in currency exchange rates and changes in the proportion of our revenue and expenses denominated in
        foreign currencies;
      Ÿ changes in U.S. generally accepted accounting principles; and
      Ÿ changes in global business or macroeconomic conditions.

        Given our limited operating history and the rapidly evolving markets in which we compete, our historical operating
results may not be useful to you in predicting our future operating results. We believe our rapid growth may understate the
potential seasonality of our business. As our revenue growth rate slows, we expect that the seasonality in our business may
become more pronounced and may in the future cause our operating results to fluctuate. For example, advertising spending is
traditionally seasonally strong in the fourth quarter of each year and we believe that this seasonality affects our quarterly
results, which generally reflect higher sequential advertising revenue growth from the third to fourth quarter compared to
sequential advertising revenue growth from the fourth quarter to the subsequent first quarter. In addition, global economic
concerns continue to create uncertainty and unpredictability and add risk to our future outlook. An economic downturn in any
particular region in which we do business or globally could result in reductions in advertising revenue, as our advertisers
reduce their advertising budgets, and other adverse effects that could harm our operating results.

User growth and engagement depend upon effective interoperation with operating systems, networks, devices, web
browsers and standards that we do not control.
       We make our products and services available across a variety of operating systems and through websites. We are
dependent on the interoperability of our products and services with popular devices, desktop and mobile operating systems
and web browsers that we do not control, such as Mac OS, Windows, Android, iOS, Chrome and Firefox. Any changes in such
systems, devices or web browsers that degrade the functionality of our products and services or give preferential treatment to
competitive products or services could adversely affect usage of our products and services. Further, if the number of platforms
for which we develop our product expands, it will result in an increase in our operating expenses. In order to deliver high
quality products and services, it is important that our products and services work well with a range of operating systems,
networks, devices, web browsers and standards that we do not control. In addition, because a majority of our users access
our products and services through mobile devices, we are particularly dependent on the interoperability of our products and
services with mobile devices and operating systems. We may not be successful in developing relationships with key
participants in the mobile industry or in developing products or services that operate effectively with these operating systems,
networks, devices, web browsers and standards. In the event that it is difficult for our users to access and use our products
and services, particularly on their mobile devices, our user growth and engagement could be harmed, and our business and
operating results could be adversely affected.
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If we fail to expand effectively in international markets, our revenue and our business will be harmed.
       We may not be able to monetize our products and services internationally as effectively as in the United States as a
result of competition, advertiser demand, differences in the digital advertising market and digital advertising conventions, as
well as differences in the way that users in different countries access or utilize our products and services. Differences in the
competitive landscape in international markets may impact our ability to monetize our products and services. For example, in
South Korea we face intense competition from a messaging service offered by Kakao, which offers some of the same
communication features as Twitter. The existence of a well-established competitor in an international market may adversely
affect our ability to increase our user base, attract advertisers and monetize our products in such market. We may also
experience differences in advertiser demand in international markets. For example, during times of political upheaval,
advertisers may choose not to advertise on Twitter. Certain international markets are also not as familiar with digital
advertising in general, or in new forms of digital advertising such as our Promoted Products. Further, we face challenges in
providing certain advertising products, features or analytics in certain international markets, such as the European Union, due
to government regulation. Our products and services may also be used differently abroad than in the United States. In
particular, in certain international markets where Internet access is not as rapid or reliable as in the United States, users tend
not to take advantage of certain features of our products and services, such as rich media included in Tweets. Additionally, in
certain emerging markets, such as India, many users access our products and services through feature phones with limited
functionality, rather than through smartphones, our website or desktop applications. This limits our ability to deliver certain
features to those users and may limit the ability of advertisers to deliver compelling advertisements to users in these markets
which may result in reduced ad engagements which would adversely affect our business and operating results.

       If our revenue from our international operations, and particularly from operations in the countries and regions on which
we have focused our spending, does not exceed the expense of establishing and maintaining these operations, our business
and operating results will suffer. In addition, our user base may expand more rapidly in international regions where we are less
successful in monetizing our products and services. As our user base continues to expand internationally, we will need to
increase revenue from the activity generated by our international users in order to grow our business. For example, users
outside the United States constituted 77% of our average MAUs in the three months ended June 30, 2013, but our
international revenue, as determined based on the billing location of our advertisers, was only 25% of our consolidated
revenue in the three months ended June 30, 2013. Our inability to successfully expand internationally could adversely affect
our business, financial condition and operating results.

We have a limited operating history in a new and unproven market for our platform, which makes it difficult to
evaluate our future prospects and may increase the risk that we will not be successful.
      We have developed a global platform for public self-expression and conversation in real time, and the market for our
products and services is relatively new and may not develop as expected, if at all. People who are not our users may not
understand the value of our products and services and new users may initially find our product confusing. There may be a
perception that our products and services are only useful to users who tweet, or to influential users with large audiences.
Convincing potential new users of the value of our products and services is critical to increasing our user base and to the
success of our business.
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      We have a limited operating history, and only began to generate revenue in 2009 and we started to sell our Promoted
Products in 2010, which makes it difficult to effectively assess our future prospects or forecast our future results. You should
consider our business and prospects in light of the risks and challenges we encounter or may encounter in this developing
and rapidly evolving market. These risks and challenges include our ability to, among other things:
      Ÿ increase our number of users and user engagement;
      Ÿ successfully expand our business, especially internationally;
      Ÿ develop a reliable, scalable, secure, high-performance technology infrastructure that can efficiently handle increased
        usage globally;
      Ÿ convince advertisers of the benefits of our Promoted Products compared to alternative forms of advertising;
      Ÿ develop and deploy new features, products and services;
      Ÿ successfully compete with other companies, some of which have substantially greater resources and market power
        than us, that are currently in, or may in the future enter, our industry, or duplicate the features of our products and
        services;
      Ÿ attract, retain and motivate talented employees, particularly engineers, designers and product managers;
      Ÿ process, store, protect and use personal data in compliance with governmental regulations, contractual obligations
        and other obligations related to privacy and security;
      Ÿ continue to earn and preserve our users’ trust, including with respect to their private personal information; and
      Ÿ defend ourselves against litigation, regulatory, intellectual property, privacy or other claims.

       If we fail to educate potential users and potential advertisers about the value of our products and services, if the market
for our platform does not develop as we expect or if we fail to address the needs of this market, our business will be harmed.
We may not be able to successfully address these risks and challenges or others. Failure to adequately address these risks
and challenges could harm our business and cause our operating results to suffer.

We have incurred significant operating losses in the past, and we may not be able to achieve or subsequently
maintain profitability.
        Since our inception, we have incurred significant operating losses, and, as of June 30, 2013, we had an accumulated
deficit of $418.6 million. Although our revenue has grown rapidly, increasing from $28.3 million in 2010 to $316.9 million in
2012, we expect that our revenue growth rate will slow in the future as a result of a variety of factors, including the gradual
slow down in the growth rate of our user base. We believe that our future revenue growth will depend on, among other factors,
our ability to attract new users, increase user engagement and ad engagement, increase our brand awareness, compete
effectively, maximize our sales efforts, demonstrate a positive return on investment for advertisers, successfully develop new
products and services and expand internationally. Accordingly, you should not rely on the revenue growth of any prior
quarterly or annual period as an indication of our future performance. We also expect our costs to increase in future periods
as we continue to expend substantial financial resources on:
      Ÿ our technology infrastructure;
      Ÿ research and development for our products and services;
      Ÿ sales and marketing;

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      Ÿ domestic and international expansion efforts;
      Ÿ attracting and retaining talented employees;
      Ÿ strategic opportunities, including commercial relationships and acquisitions; and
      Ÿ general administration, including personnel costs and legal and accounting expenses related to being a public
        company.

These investments may not result in increased revenue or growth in our business.

       In addition, we have granted stock options and RSUs to our employees. RSUs granted to domestic employees before
February 2013 and all RSUs granted to international employees, or the Pre-2013 RSUs, vest upon the satisfaction of both a
service condition and a performance condition. The service condition for a majority of the Pre-2013 RSUs is satisfied over a
period of four years. The performance condition will be satisfied on the earlier of (i) the date that is the earlier of (x) six months
after the effective date of this offering or (y) March 8th of the calendar year following the effective date of this offering (which
we may elect to accelerate to February 15th); and (ii) the date of a change in control. As of June 30, 2013, no stock-based
compensation expense had been recognized for the Pre-2013 RSUs because a qualifying event as described above was not
probable. In the quarter in which this offering is completed, we will begin recording stock-based compensation expense based
on the grant-date fair value of the Pre-2013 RSUs using the accelerated attribution method, net of estimated forfeitures. If this
offering had been completed on June 30, 2013, we would have recorded $329.6 million of cumulative stock-based
compensation expense related to the Pre-2013 RSUs on that date, and an additional $234.2 million of unrecognized stock-
based compensation expense related to the Pre-2013 RSUs, net of estimated forfeitures, would be recognized over a
weighted-average period of approximately three years. In addition to stock-based compensation expense associated with the
Pre-2013 RSUs, as of June 30, 2013, we had unrecognized stock-based compensation expense of approximately $296.7
million related to other outstanding equity awards, after giving effect to estimated forfeitures, which we expect to recognize
over a weighted-average period of approximately four years. Further, we made grants of equity awards after June 30, 2013,
and we have unrecognized stock-based compensation expense of $452.9 million related to such equity awards, after giving
effect to estimated forfeitures, which we expect to recognize over a weighted-average period of approximately four years.
Following the completion of this offering, the stock-based compensation expense related to Pre-2013 RSUs and other
outstanding equity awards will have a significant negative impact on our ability to achieve profitability on a GAAP basis in
2013 and 2014.

       If we are unable to generate adequate revenue growth and to manage our expenses, we may continue to incur
significant losses in the future and may not be able to achieve or maintain profitability.

Our business depends on continued and unimpeded access to our products and services on the Internet by our
users and advertisers. If we or our users experience disruptions in Internet service or if Internet service providers are
able to block, degrade or charge for access to our products and services, we could incur additional expenses and
the loss of users and advertisers.
       We depend on the ability of our users and advertisers to access the Internet. Currently, this access is provided by
companies that have significant market power in the broadband and Internet access marketplace, including incumbent
telephone companies, cable companies, mobile communications companies, government-owned service providers, device
manufacturers and operating system providers, any of whom could take actions that degrade, disrupt or increase the cost of
user access to our products or services, which would, in turn, negatively impact our business. For example, access to Twitter
is blocked in China. The adoption of any laws or regulations that adversely

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affect the growth, popularity or use of the Internet, including laws or practices limiting Internet neutrality, could decrease the
demand for, or the usage of, our products and services, increase our cost of doing business and adversely affect our
operating results. We also rely on other companies to maintain reliable network systems that provide adequate speed, data
capacity and security to us and our users. As the Internet continues to experience growth in the number of users, frequency of
use and amount of data transmitted, the Internet infrastructure that we and our users rely on may be unable to support the
demands placed upon it. The failure of the Internet infrastructure that we or our users rely on, even for a short period of time,
could undermine our operations and harm our operating results.

Our new products, services and initiatives and changes to existing products, services and initiatives could fail to
attract users and advertisers or generate revenue.
       Our ability to increase the size and engagement of our user base, attract advertisers and generate revenue will depend
in part on our ability to create successful new products and services, both independently and in conjunction with third parties.
We may introduce significant changes to our existing products and services or develop and introduce new and unproven
products and services, including technologies with which we have little or no prior development or operating experience. For
example, in 2013, we introduced Vine, a mobile application that enables users to create and distribute videos that are up to
six seconds in length, and #Music, a mobile application that helps users discover new music and artists based on Twitter data.
If new or enhanced products or services fail to engage users and advertisers, we may fail to attract or retain users or to
generate sufficient revenue or operating profit to justify our investments, and our business and operating results could be
adversely affected. In addition, we have launched and expect to continue to launch strategic initiatives, such as the Nielsen
Twitter TV Rating, that do not directly generate revenue but which we believe will enhance our attractiveness to users and
advertisers. In the future, we may invest in new products, services and initiatives to generate revenue, but there is no
guarantee these approaches will be successful. We may not be successful in future efforts to generate revenue from our new
products or services. If our strategic initiatives do not enhance our ability to monetize our existing products and services or
enable us to develop new approaches to monetization, we may not be able to maintain or grow our revenue or recover any
associated development costs and our operating results could be adversely affected.

Spam could diminish the user experience on our platform, which could damage our reputation and deter our current
and potential users from using our products and services.
       “Spam” on Twitter refers to a range of abusive activities that are prohibited by our terms of service and is generally
defined as unsolicited, repeated actions that negatively impact other users with the general goal of drawing user attention to a
given account, site, product or idea. This includes posting large numbers of unsolicited mentions of a user, duplicate Tweets,
misleading links (e.g., to malware or click-jacking pages) or other false or misleading content, and aggressively following and
un-following accounts, adding users to lists, sending invitations, retweeting and favoriting Tweets to inappropriately attract
attention. Our terms of service also prohibit the creation of serial or bulk accounts, both manually or using automation, for
disruptive or abusive purposes, such as to tweet spam or to artificially inflate the popularity of users seeking to promote
themselves on Twitter. Although we continue to invest resources to reduce spam on Twitter, we expect spammers will continue
to seek ways to act inappropriately on our platform. In addition, we expect that increases in the number of users on our
platform will result in increased efforts by spammers to misuse our platform. We continuously combat spam, including by
suspending or terminating accounts we believe to be spammers and launching algorithmic changes focused on curbing
abusive activities. Our actions to combat spam require the diversion of significant time and focus of our engineering team from
improving our products and services. If spam increases on Twitter, this could hurt our reputation for delivering relevant content
or reduce user growth and user engagement and result in continuing operational cost to us.
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If we fail to effectively manage our growth, our business and operating results could be harmed.
        We continue to experience rapid growth in our headcount and operations, which will continue to place significant
demands on our management, operational and financial infrastructure. As of June 30, 2013, we had approximately 2,000
employees, an increase of over 1,800 employees since January 1, 2010. We intend to continue to make substantial
investments to expand our operations, research and development, sales and marketing and general and administrative
organizations, as well as our international operations. We face significant competition for employees, particularly engineers,
designers and product managers, from other Internet and high-growth companies, which include both publicly-traded and
privately-held companies, and we may not be able to hire new employees quickly enough to meet our needs. To attract highly
skilled personnel, we have had to offer, and believe we will need to continue to offer, highly competitive compensation
packages. In addition, as we have grown, we have significantly expanded our operating lease commitments. As we continue
to grow, we are subject to the risks of over-hiring, over-compensating our employees and over-expanding our operating
infrastructure, and to the challenges of integrating, developing and motivating a rapidly growing employee base in various
countries around the world. In addition, we may not be able to innovate or execute as quickly as a smaller, more efficient
organization. If we fail to effectively manage our hiring needs and successfully integrate our new hires, our efficiency and
ability to meet our forecasts and our employee morale, productivity and retention could suffer, and our business and operating
results could be adversely affected.

       Providing our products and services to our users is costly and we expect our expenses to continue to increase in the
future as we broaden our user base and increase user engagement, as users increase the amount of content they contribute,
and as we develop and implement new features, products and services that require more infrastructure, such as our mobile
video product, Vine. In addition, our operating expenses, such as our research and development expenses and sales and
marketing expenses, have grown rapidly as we have expanded our business. Historically, our costs have increased each year
due to these factors and we expect to continue to incur increasing costs to support our anticipated future growth. We expect to
continue to invest in our infrastructure in order to enable us to provide our products and services rapidly and reliably to users
around the world, including in countries where we do not expect significant near-term monetization. Continued growth could
also strain our ability to maintain reliable service levels for our users and advertisers, develop and improve our operational,
financial, legal and management controls, and enhance our reporting systems and procedures. As a public company we will
incur significant legal, accounting and other expenses that we did not incur as a private company. Our expenses may grow
faster than our revenue, and our expenses may be greater than we anticipate. Managing our growth will require significant
expenditures and allocation of valuable management resources. If we fail to achieve the necessary level of efficiency in our
organization as it grows, our business, operating results and financial condition would be harmed.

Our business and operating results may be harmed by a disruption in our service, or by our failure to timely and
effectively scale and adapt our existing technology and infrastructure.
       One of the reasons people come to Twitter is for real-time information. We have experienced, and may in the future
experience, service disruptions, outages and other performance problems due to a variety of factors, including infrastructure
changes, human or software errors, hardware failure, capacity constraints due to an overwhelming number of people
accessing our products and services simultaneously, computer viruses and denial of service or fraud or security attacks.
Although we are investing significantly to improve the capacity, capability and reliability of our infrastructure, we are not
currently serving traffic equally through our co-located data centers that support our platform. Accordingly, in the event of a
significant issue at the data center supporting most of our network traffic,

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some of our products and services may become inaccessible to the public or the public may experience difficulties accessing
our products and services. For example, in July 2012, due to the failure of two parallel systems at nearly the same time in one
of our data centers, Twitter became inaccessible for approximately two hours. Any disruption or failure in our infrastructure
could hinder our ability to handle existing or increased traffic on our platform, which could significantly harm our business.

        As the number of our users increases and our users generate more content, including photos and videos hosted by
Twitter, we may be required to expand and adapt our technology and infrastructure to continue to reliably store, serve and
analyze this content. It may become increasingly difficult to maintain and improve the performance of our products and
services, especially during peak usage times, as our products and services become more complex and our user traffic
increases. In addition, because we lease our data center facilities, we cannot be assured that we will be able to expand our
data center infrastructure to meet user demand in a timely manner, or on favorable economic terms. If our users are unable to
access Twitter or we are not able to make information available rapidly on Twitter, users may seek other channels to obtain
the information, and may not return to Twitter or use Twitter as often in the future, or at all. This would negatively impact our
ability to attract users and advertisers and increase engagement of our users. We expect to continue to make significant
investments to maintain and improve the capacity, capability and reliability of our infrastructure. To the extent that we do not
effectively address capacity constraints, upgrade our systems as needed and continually develop our technology and
infrastructure to accommodate actual and anticipated changes in technology, our business and operating results may be
harmed.

Action by governments to restrict access to our products and services or censor Twitter content could harm our
business and operating results.
       Governments have sought, and may in the future seek, to censor content available through our products and services,
restrict access to our products and services from their country entirely or impose other restrictions that may affect the
accessibility of our products and services for an extended period of time or indefinitely. For example, domestic Internet service
providers in China have blocked access to Twitter, and other countries, including Iran, Libya, Pakistan and Syria, have
intermittently restricted access to Twitter, and we believe that access to Twitter has been blocked in these countries primarily
for political reasons. In addition, governments in other countries may seek to restrict access to our products and services if
they consider us to be in violation of their laws. In the event that access to our products and services is restricted, in whole or
in part, in one or more countries or our competitors are able to successfully penetrate geographic markets that we cannot
access, our ability to retain or increase our user base and user engagement may be adversely affected, and our operating
results may be harmed.

If we are unable to maintain and promote our brand, our business and operating results may be harmed.
       We believe that maintaining and promoting our brand is critical to expanding our base of users and advertisers.
Maintaining and promoting our brand will depend largely on our ability to continue to provide useful, reliable and innovative
products and services, which we may not do successfully. We may introduce new features, products, services or terms of
service that users, platform partners or advertisers do not like, which may negatively affect our brand. Additionally, the actions
of platform partners may affect our brand if users do not have a positive experience using third-party applications or websites
integrated with Twitter or that make use of Twitter content. Our brand may also be negatively affected by the actions of users
that are hostile or inappropriate to other people, by users impersonating other people, by users identified as spam, by users
introducing excessive amounts of spam on our platform or by third parties obtaining control over users’ accounts. For
example, in April 2013, attackers obtained the credentials to the Twitter account of the Associated Press news service
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through a “phishing” attack targeting Associated Press employees. The attackers posted an erroneous Tweet from the
Associated Press account reporting that there had been explosions at the White House, triggering a stock market decline, and
focusing media attention on our brand and security efforts. Maintaining and enhancing our brand may require us to make
substantial investments and these investments may not achieve the desired goals. If we fail to successfully promote and
maintain our brand or if we incur excessive expenses in this effort, our business and operating results could be adversely
affected.

Negative publicity could adversely affect our business and operating results.
        We receive a high degree of media coverage around the world. Negative publicity about our company, including about
our product quality and reliability, changes to our products and services, privacy and security practices, litigation, regulatory
activity, the actions of our users or user experience with our products and services, even if inaccurate, could adversely affect
our reputation and the confidence in and the use of our products and services. For example, service outages on Twitter
typically result in widespread media reports. Such negative publicity could also have an adverse effect on the size,
engagement and loyalty of our user base and result in decreased revenue, which could adversely affect our business and
operating results.

Our future performance depends in part on support from platform partners and data partners.
       We believe user engagement with our products and services depends in part on the availability of applications and
content generated by platform partners. Beginning in 2012, we launched Twitter Cards, which allow platform partners to
ensure that whenever they or any user tweets from their websites or applications, the Tweet will automatically include rich
content like a photo, a video, a sound clip, an article summary or information about a product, and make it instantly accessible
to any other user on Twitter. Twitter Cards allow platform partners to create lightweight interactive applications to promote their
content or their products. The availability and development of these applications and content depends on platform partners’
perceptions and analysis of the relative benefits of developing applications and content for our products and services. If
platform partners focus their efforts on other platforms, the availability and quality of applications and content for our products
and services may suffer. There is no assurance that platform partners will continue to develop and maintain applications and
content for our products and services. If platform partners cease to develop and maintain applications and content for our
products and services, user engagement may decline. In addition, we generate revenue from licensing our historical and real-
time data to third parties. If any of these relationships are terminated or not renewed, or if we are unable to enter into similar
relationships in the future, our operating results could be adversely affected.

We focus on product innovation and user engagement rather than short-term operating results.
       We encourage employees to quickly develop and help us launch new and innovative features. We focus on improving
the user experience for our products and services and on developing new and improved products and services for the
advertisers on our platform. We prioritize innovation and the experience for users and advertisers on our platform over short-
term operating results. We frequently make product and service decisions that may reduce our short-term operating results if
we believe that the decisions are consistent with our goals to improve the user experience and performance for advertisers,
which we believe will improve our operating results over the long term. These decisions may not be consistent with the short-
term expectations of investors and may not produce the long-term benefits that we expect, in which case our user growth and
user engagement, our relationships with advertisers and our business and operating results could be harmed. In addition, our
focus on the user experience may negatively impact our relationships with our existing or prospective advertisers. This could
result in a loss of advertisers, which could harm our revenue and operating results.
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Our international operations are subject to increased challenges and risks.
       We have offices around the world and our products and services are available in multiple languages. We expect to
continue to expand our international operations in the future by opening offices in new jurisdictions and expanding our
offerings in new languages. However, we have limited operating history outside the United States, and our ability to manage
our business and conduct our operations internationally requires considerable management attention and resources and is
subject to the particular challenges of supporting a rapidly growing business in an environment of multiple languages,
cultures, customs, legal and regulatory systems, alternative dispute systems and commercial markets. International expansion
has required and will continue to require us to invest significant funds and other resources. Operating internationally subjects
us to new risks and may increase risks that we currently face, including risks associated with:
      Ÿ recruiting and retaining talented and capable employees in foreign countries and maintaining our company culture
        across all of our offices;
      Ÿ providing our products and services and operating across a significant distance, in different languages and among
        different cultures, including the potential need to modify our products, services, content and features to ensure that
        they are culturally relevant in different countries;
      Ÿ increased competition from local websites, mobile applications and services that provide real-time communications,
        such as Sina Weibo in China, LINE in Japan and Kakao in South Korea, which have expanded and may continue to
        expand their geographic footprint;
      Ÿ differing and potentially lower levels of user growth, user engagement and ad engagement in new and emerging
        geographies;
      Ÿ different levels of advertiser demand;
      Ÿ greater difficulty in monetizing our products and services;
      Ÿ compliance with applicable foreign laws and regulations, including laws and regulations with respect to privacy,
        consumer protection, spam and content, and the risk of penalties to our users and individual members of
        management if our practices are deemed to be out of compliance;
      Ÿ longer payment cycles in some countries;
      Ÿ credit risk and higher levels of payment fraud;
      Ÿ operating in jurisdictions that do not protect intellectual property rights to the same extent as the United States;
      Ÿ compliance with anti-bribery laws including, without limitation, compliance with the Foreign Corrupt Practices Act and
        the U.K. Bribery Act, including by our business partners;
      Ÿ currency exchange rate fluctuations;
      Ÿ foreign exchange controls that might require significant lead time in setting up operations in certain geographic
        territories and might prevent us from repatriating cash earned outside the United States;
      Ÿ political and economic instability in some countries;
      Ÿ double taxation of our international earnings and potentially adverse tax consequences due to changes in the tax
        laws of the United States or the foreign jurisdictions in which we operate; and
      Ÿ higher costs of doing business internationally, including increased accounting, travel, infrastructure and legal
        compliance costs.

      If we are unable to manage the complexity of our global operations successfully, our business, financial condition and
operating results could be adversely affected.

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Our products and services may contain undetected software errors, which could harm our business and operating
results.
       Our products and services incorporate complex software and we encourage employees to quickly develop and help us
launch new and innovative features. Our software has contained, and may now or in the future contain, errors, bugs or
vulnerabilities. For example, we experienced a service outage in June 2012 during which Twitter service was inaccessible for
approximately two hours as a result of a cascading software bug in one of our infrastructure components. Some errors in our
software code may only be discovered after the product or service has been released. Any errors, bugs or vulnerabilities
discovered in our code after release could result in damage to our reputation, loss of users, loss of platform partners, loss of
advertisers or advertising revenue or liability for damages, any of which could adversely affect our business and operating
results.

Our business is subject to complex and evolving U.S. and foreign laws and regulations. These laws and regulations
are subject to change and uncertain interpretation, and could result in claims, changes to our business practices,
monetary penalties, increased cost of operations or declines in user growth, user engagement or ad engagement, or
otherwise harm our business.
       We are subject to a variety of laws and regulations in the United States and abroad that involve matters central to our
business, including privacy, rights of publicity, data protection, content regulation, intellectual property, competition, protection
of minors, consumer protection and taxation. Many of these laws and regulations are still evolving and being tested in courts
and could be interpreted or applied in ways that could harm our business, particularly in the new and rapidly evolving industry
in which we operate. The introduction of new products or services may subject us to additional laws and regulations. In
addition, foreign data protection, privacy, consumer protection, content regulation and other laws and regulations are often
more restrictive than those in the United States. In particular, the European Union and its member states traditionally have
taken broader views as to types of data that are subject to privacy and data protection, and have imposed greater legal
obligations on companies in this regard. A number of proposals are pending before federal, state and foreign legislative and
regulatory bodies that could significantly affect our business. For example, regulation relating to the 1995 European Union
Data Protection Directive is currently being considered by European legislative bodies that may include more stringent
operational requirements for entities processing personal information and significant penalties for non-compliance. Similarly,
there have been a number of recent legislative proposals in the United States, at both the federal and state level, that would
impose new obligations in areas such as privacy and liability for copyright infringement by third parties. The U.S. government,
including the Federal Trade Commission, or the FTC, and the Department of Commerce, has announced that it is reviewing
the need for greater regulation for the collection of information concerning user behavior on the Internet, including regulation
aimed at restricting certain online tracking and targeted advertising practices. Additionally, recent amendments to U.S. patent
laws may affect the ability of companies, including us, to protect their innovations and defend against claims of patent
infringement. We currently allow use of our platform without the collection of extensive personal information, such as age. We
may experience additional pressure to expand our collection of personal information in order to comply with new and
additional regulatory demands or we may independently decide to do so. Having additional personal information may subject
us to additional regulation. Further, it is difficult to predict how existing laws and regulations will be applied to our business and
the new laws and regulations to which we may become subject, and it is possible that they may be interpreted and applied in
a manner that is inconsistent with our practices. These existing and proposed laws and regulations can be costly to comply
with and can delay or impede the development of new products and services, result in negative publicity, significantly increase
our operating costs, require significant time and attention of management and technical personnel and subject us to inquiries
or investigations, claims or other remedies, including fines or demands that we modify or cease existing business practices.

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Regulatory investigations and settlements could cause us to incur additional expenses or change our business
practices in a manner materially adverse to our business.
       We have been subject to regulatory investigations in the past, and expect to continue to be subject to regulatory
scrutiny as our business grows and awareness of our brand increases. In March 2011, to resolve an investigation into various
incidents, we entered into a settlement agreement with the FTC that, among other things, requires us to establish an
information security program designed to protect non-public consumer information and also requires that we obtain biennial
independent security assessments. The obligations under the settlement agreement remain in effect until the latter of
March 2, 2031, or the date 20 years after the date, if any, on which the U.S. government or the FTC files a complaint in federal
court alleging any violation of the order. We expect to continue to be the subject of regulatory inquiries, investigations and
audits in the future by the FTC and other regulators around the world.

       It is possible that a regulatory inquiry, investigation or audit might result in changes to our policies or practices, and may
cause us to incur substantial costs or could result in reputational harm, prevent us from offering certain products, services,
features or functionalities, cause us to incur substantial costs or require us to change our business practices in a manner
materially adverse to our business. Violation of existing or future regulatory orders, settlements or consent decrees could
subject us to substantial monetary fines and other penalties that could negatively affect our financial condition and operating
results.

Even though Twitter is a global platform for public self-expression and conversation, user trust regarding privacy is
important to the growth of users and the increase in user engagement on our platform, and privacy concerns relating
to our products and services could damage our reputation and deter current and potential users and advertisers
from using Twitter.
       From time to time, concerns have been expressed by governments, regulators and others about whether our products,
services or practices compromise the privacy of users and others. Concerns about, governmental or regulatory actions
involving our practices with regard to the collection, use, disclosure or security of personal information or other privacy-related
matters, even if unfounded, could damage our reputation, cause us to lose users and advertisers and adversely affect our
operating results. While we strive to comply with applicable data protection laws and regulations, as well as our own posted
privacy policies and other obligations we may have with respect to privacy and data protection, the failure or perceived failure
to comply may result, and in some cases has resulted, in inquiries and other proceedings or actions against us by
governments, regulators or others, as well as negative publicity and damage to our reputation and brand, each of which could
cause us to lose users and advertisers, which could have an adverse effect on our business.

       Any systems failure or compromise of our security that results in the unauthorized access to or release of our users’ or
advertisers’ data could significantly limit the adoption of our products and services, as well as harm our reputation and brand
and, therefore, our business. We expect to continue to expend significant resources to protect against security breaches. The
risk that these types of events could seriously harm our business is likely to increase as we expand the number of products
and services we offer, increase the size of our user base and operate in more countries.

       Governments and regulators around the world are considering a number of legislative and regulatory proposals
concerning data protection. In addition, the interpretation and application of consumer and data protection laws or regulations
in the United States, Europe and elsewhere are often uncertain and in flux, and in some cases, laws or regulations in one
country may be inconsistent with, or contrary to, those of another country. It is possible that these laws and regulations may
be interpreted and applied in a manner that is inconsistent with our practices. If so, in addition to the possibility of fines, this
could result in an order requiring that we change our practices, which could have an adverse effect on our business and
operating results. Complying with new laws and regulations could cause us to incur substantial costs or require us to change
our business practices in a manner materially adverse to our business.

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If our security measures are breached, or if our products and services are subject to attacks that degrade or deny the
ability of users to access our products and services, our products and services may be perceived as not being
secure, users and advertisers may curtail or stop using our products and services and our business and operating
results could be harmed.
       Our products and services involve the storage and transmission of users’ and advertisers’ information, and security
breaches expose us to a risk of loss of this information, litigation and potential liability. We experience cyber-attacks of varying
degrees on a regular basis, and as a result, unauthorized parties have obtained, and may in the future obtain, access to our
data or our users’ or advertisers’ data. For example, in February 2013, we disclosed that sophisticated unknown third parties
had attacked our systems and may have had access to limited information for approximately 250,000 users. Our security
measures may also be breached due to employee error, malfeasance or otherwise. Additionally, outside parties may attempt
to fraudulently induce employees, users or advertisers to disclose sensitive information in order to gain access to our data or
our users’ or advertisers’ data or accounts, or may otherwise obtain access to such data or accounts. Since our users and
advertisers may use their Twitter accounts to establish and maintain online identities, unauthorized communications from
Twitter accounts that have been compromised may damage their reputations and brands as well as ours. Any such breach or
unauthorized access could result in significant legal and financial exposure, damage to our reputation and a loss of
confidence in the security of our products and services that could have an adverse effect on our business and operating
results. Because the techniques used to obtain unauthorized access, disable or degrade service or sabotage systems change
frequently and often are not recognized until launched against a target, we may be unable to anticipate these techniques or to
implement adequate preventative measures. If an actual or perceived breach of our security occurs, the market perception of
the effectiveness of our security measures could be harmed, we could lose users and advertisers and we may incur significant
legal and financial exposure, including legal claims and regulatory fines and penalties. Any of these actions could have a
material and adverse effect on our business, reputation and operating results.

We may face lawsuits or incur liability as a result of content published or made available through our products and
services.
        We have faced and will continue to face claims relating to content that is published or made available through our
products and services or third party products or services. In particular, the nature of our business exposes us to claims related
to defamation, intellectual property rights, rights of publicity and privacy, illegal content, content regulation and personal injury
torts. The law relating to the liability of providers of online products or services for activities of their users remains somewhat
unsettled, both within the United States and internationally. This risk may be enhanced in certain jurisdictions outside the
United States where we may be less protected under local laws than we are in the United States. In addition, the public nature
of communications on our network exposes us to risks arising from the creation of impersonation accounts intended to be
attributed to our users or advertisers. We could incur significant costs investigating and defending these claims. If we incur
costs or liability as a result of these events occurring, our business, financial condition and operating results could be
adversely affected.

Our intellectual property rights are valuable, and any inability to protect them could reduce the value of our products,
services and brand.
       Our trade secrets, trademarks, copyrights, patents and other intellectual property rights are important assets for us. We
rely on, and expect to continue to rely on, a combination of confidentiality and license agreements with our employees,
consultants and third parties with whom we have relationships, as well as trademark, trade dress, domain name, copyright,
trade secret and patent laws, to protect our brand and other intellectual property rights. However, various events outside of
our control pose a threat to our intellectual property rights, as well as to our products, services and

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technologies. For example, we may fail to obtain effective intellectual property protection, or effective intellectual property
protection may not be available in every country in which our products and services are available. Also, the efforts we have
taken to protect our intellectual property rights may not be sufficient or effective, and any of our intellectual property rights may
be challenged, which could result in them being narrowed in scope or declared invalid or unenforceable. There can be no
assurance our intellectual property rights will be sufficient to protect against others offering products or services that are
substantially similar to ours and compete with our business.

       We rely on non-patented proprietary information and technology, such as trade secrets, confidential information, know-
how and technical information. While in certain cases we have agreements in place with employees and third parties that
place restrictions on the use and disclosure of this intellectual property, these agreements may be breached, or this
intellectual property may otherwise be disclosed or become known to our competitors, which could cause us to lose any
competitive advantage resulting from this intellectual property.

       We are pursuing registration of trademarks and domain names in the United States and in certain jurisdictions outside
of the United States. Effective protection of trademarks and domain names is expensive and difficult to maintain, both in terms
of application and registration costs as well as the costs of defending and enforcing those rights. We may be required to
protect our rights in an increasing number of countries, a process that is expensive and may not be successful or which we
may not pursue in every country in which our products and services are distributed or made available.

       We are party to numerous agreements that grant licenses to third parties to use our intellectual property, including our
trademarks. For example, many third parties distribute their content through Twitter, or embed Twitter content in their
applications or on their websites, and make use of our trademarks in connection with their services. If the licensees of our
trademarks are not using our trademarks properly, it may limit our ability to protect our trademarks and could ultimately result
in our trademarks being declared invalid or unenforceable. We have a policy designed to assist third parties in the proper use
of our brand, trademarks and other assets, and we have an internal team dedicated to enforcing our policy and protecting our
brand. Our brand protection team routinely receives and reviews reports of improper and unauthorized use of the Twitter
brand, trademarks or assets and issues takedown notices or initiates discussions with the third parties to correct the issues.
However, there can be no assurance that we will be able to protect against the unauthorized use of our brand, trademarks or
other assets. If we fail to maintain and enforce our trademark rights, the value of our brand could be diminished. There is also
a risk that one or more of our trademarks could become generic, which could result in them being declared invalid or
unenforceable. For example, there is a risk that the word “Tweet” could become so commonly used that it becomes
synonymous with any short comment posted publicly on the Internet, and if this happens, we could lose protection of this
trademark.

       We also seek to obtain patent protection for some of our technology and as of June 30, 2013, we had 6 issued U.S.
patents and approximately 80 patent applications on file in the United States and abroad, although there can be no assurance
that these applications will be ultimately issued as patents. We may be unable to obtain patent or trademark protection for our
technologies and brands, and our existing patents and trademarks, and any patents or trademarks that may be issued in the
future, may not provide us with competitive advantages or distinguish our products and services from those of our
competitors. In addition, any patents and trademarks may be contested, circumvented, or found unenforceable or invalid, and
we may not be able to prevent third parties from infringing, diluting or otherwise violating them. Effective protection of patent
rights is expensive and difficult to maintain, both in terms of application and maintenance costs, as well as the costs of
defending and enforcing those rights.

     Our Innovator’s Patent Agreement, or IPA, also limits our ability to prevent infringement of our patents. In May 2013, we
implemented the IPA, which we enter into with our employees and consultants,
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including our founders. The IPA, which applies to our current and future patents, allows us to assert our patents defensively.
The IPA also allows us to assert our patents offensively with the permission of the inventors of the applicable patent. Under
the IPA, an assertion of claims is considered for a defensive purpose if the claims are asserted: (i) against an entity that has
filed, maintained, threatened or voluntarily participated in a patent infringement lawsuit against us or any of our users,
affiliates, customers, suppliers or distributors; (ii) against an entity that has used its patents offensively against any other party
in the past ten years, so long as the entity has not instituted the patent infringement lawsuit defensively in response to a
patent litigation threat against the entity; or (iii) otherwise to deter a patent litigation threat against us or our users, affiliates,
customers, suppliers or distributors. In addition, the IPA provides that the above limitations apply to any future owner or
exclusive licensee of any of our patents, which could limit our ability to sell or license our patents to third parties. While we
may be able to claim protection of our intellectual property under other rights, such as trade secrets or contractual obligations
with our employees not to disclose or use confidential information, we may be unable to assert our patent rights against third
parties that we believe are infringing our patents, even if such third parties are developing products and services that compete
with our products and services. For example, in the event that an inventor of one of our patents leaves us for another
company and uses our patented technology to compete with us, we would not be able to assert that patent against such other
company unless the assertion of the patent right is for a defensive purpose. In such event, we may be limited in our ability to
assert a patent right against another company, and instead would need to rely on trade secret protection or the contractual
obligation of the inventor to us not to disclose or use our confidential information. In addition, the terms of the IPA could affect
our ability to monetize our intellectual property portfolio.

       Significant impairments of our intellectual property rights, and limitations on our ability to assert our intellectual property
rights against others, could harm our business and our ability to compete. Also, obtaining, maintaining and enforcing our
intellectual property rights is costly and time consuming. Any increase in the unauthorized use of our intellectual property
could make it more expensive to do business and harm our operating results.

We are currently, and expect to be in the future, party to intellectual property rights claims that are expensive and
time consuming to defend, and, if resolved adversely, could have a significant impact on our business, financial
condition or operating results.
       Companies in the Internet, technology and media industries own large numbers of patents, copyrights, trademarks and
trade secrets, and frequently enter into litigation based on allegations of infringement, misappropriation or other violations of
intellectual property or other rights. Many companies in these industries, including many of our competitors, have substantially
larger patent and intellectual property portfolios than we do, which could make us a target for litigation as we may not be able
to assert counterclaims against parties that sue us for patent, or other intellectual property infringement. In addition, various
“non-practicing entities” that own patents and other intellectual property rights often attempt to aggressively assert claims in
order to extract value from technology companies. Further, from time to time we may introduce new products and services,
including in areas where we currently do not have an offering, which could increase our exposure to patent and other
intellectual property claims from competitors and non-practicing entities. In addition, although our standard terms and
conditions for our Promoted Products and public APIs do not provide advertisers and platform partners with indemnification for
intellectual property claims against them, some of our agreements with advertisers, platform partners and data partners
require us to indemnify them for certain intellectual property claims against them, which could require us to incur considerable
costs in defending such claims, and may require us to pay significant damages in the event of an adverse ruling. Such
advertisers, platform partners and data partners may also discontinue use of our products, services and technologies as a
result of injunctions or otherwise, which could result in loss of revenue and adversely impact our business.
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        We presently are involved in a number of intellectual property lawsuits, and as we face increasing competition and gain
an increasingly high profile, we expect the number of patent and other intellectual property claims against us to grow. There
may be intellectual property or other rights held by others, including issued or pending patents, that cover significant aspects
of our products and services, and we cannot be sure that we are not infringing or violating, and have not infringed or violated,
any third-party intellectual property rights or that we will not be held to have done so or be accused of doing so in the future.
Any claim or litigation alleging that we have infringed or otherwise violated intellectual property or other rights of third parties,
with or without merit, and whether or not settled out of court or determined in our favor, could be time-consuming and costly to
address and resolve, and could divert the time and attention of our management and technical personnel. Some of our
competitors have substantially greater resources than we do and are able to sustain the costs of complex intellectual property
litigation to a greater degree and for longer periods of time than we could. The outcome of any litigation is inherently
uncertain, and there can be no assurances that favorable final outcomes will be obtained in all cases. In addition, plaintiffs
may seek, and we may become subject to, preliminary or provisional rulings in the course of any such litigation, including
potential preliminary injunctions requiring us to cease some or all of our operations. We may decide to settle such lawsuits
and disputes on terms that are unfavorable to us. Similarly, if any litigation to which we are a party is resolved adversely, we
may be subject to an unfavorable judgment that may not be reversed upon appeal. The terms of such a settlement or
judgment may require us to cease some or all of our operations or pay substantial amounts to the other party. In addition, we
may have to seek a license to continue practices found to be in violation of a third party’s rights. If we are required, or choose
to enter into royalty or licensing arrangements, such arrangements may not be available on reasonable terms, or at all, and
may significantly increase our operating costs and expenses. As a result, we may also be required to develop or procure
alternative non-infringing technology or discontinue use of the technology. The development or procurement of alternative
non-infringing technology could require significant effort and expense or may not be feasible. An unfavorable resolution of the
disputes and litigation referred to above could adversely affect our business, financial condition, and operating results.

Many of our products and services contain open source software, and we license some of our software through open
source projects, which may pose particular risks to our proprietary software, products, and services in a manner that
could have a negative effect on our business.
       We use open source software in our products and services and will use open source software in the future. In addition,
we regularly contribute software source code to open source projects under open source licenses or release internal software
projects under open source licenses, and anticipate doing so in the future. The terms of many open source licenses to which
we are subject have not been interpreted by U.S. or foreign courts, and there is a risk that open source software licenses
could be construed in a manner that imposes unanticipated conditions or restrictions on our ability to provide or distribute our
products or services. Additionally, we may from time to time face claims from third parties claiming ownership of, or
demanding release of, the open source software or derivative works that we developed using such software, which could
include our proprietary source code, or otherwise seeking to enforce the terms of the applicable open source license. These
claims could result in litigation and could require us to make our software source code freely available, purchase a costly
license or cease offering the implicated products or services unless and until we can re-engineer them to avoid infringement.
This re-engineering process could require significant additional research and development resources, and we may not be able
to complete it successfully. In addition to risks related to license requirements, use of certain open source software can lead to
greater risks than use of third-party commercial software, as open source licensors generally do not provide warranties or
controls on the origin of software. Additionally, because any software source code we contribute to open source projects is
publicly available, our ability to protect our intellectual property rights with respect to such software source code may be
limited or lost entirely, and we are unable to prevent our competitors or
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others from using such contributed software source code. Any of these risks could be difficult to eliminate or manage, and, if
not addressed, could have a negative effect on our business, financial condition and operating results.

We may expend substantial funds in connection with the tax liabilities that arise upon the initial settlement of RSUs
in connection with this offering, and the manner in which we fund that expenditure may have an adverse effect on
our financial condition.
       We may expend substantial funds to satisfy tax withholding and remittance obligations when we settle a portion of our
RSUs granted prior to the date of this prospectus. Pre-2013 RSUs vest upon the satisfaction of both a service condition and a
performance condition. The service condition for the majority of the Pre-2013 RSUs is satisfied over a period of four years.
The performance condition in connection with our Pre-2013 RSUs will be satisfied on the earlier of (i) the date that is the
earlier of (x) six months after the effective date of this offering or (y) March 8th of the calendar year following the effective date
of this offering (which we may elect to accelerate to February 15th); and (ii) the date of a change in control. On the settlement
dates for the Pre-2013 RSUs, we may choose to allow our employees who are not executive officers to sell shares of our
common stock received upon the vesting and settlement of Pre-2013 RSUs in the public market to satisfy their income tax
obligations related to the vesting and settlement of such awards, or we may withhold shares and remit income taxes on behalf
of the holders of the Pre-2013 RSUs at the applicable minimum statutory rates, which we refer to as a net settlement. We
expect the applicable minimum statutory rates to be approximately 40% on average, and the income taxes due would be
based on the then-current value of the underlying shares of our common stock. Based on the number of Pre-2013 RSUs
outstanding as of June 30, 2013 for which the service condition had been satisfied on that date, and assuming (i) the
performance condition had been satisfied on that date and (ii) that the price of our common stock at the time of settlement
was equal to $        , which is the midpoint of the estimated offering price range set forth on the cover page of this prospectus,
we estimate that this tax obligation on the initial settlement date would be approximately $           in the aggregate. The amount
of this obligation could be higher or lower, depending on the price of shares of our common stock on the initial settlement date
for the Pre-2013 RSUs. To settle these Pre-2013 RSUs on the initial settlement date, assuming a 40% tax withholding rate, if
we choose to undertake a net settlement of all of these awards rather than allowing our employees who are not executive
officers to sell shares of our common stock in the public market to satisfy their income tax obligations related to the vesting
and settlement of Pre-2013 RSUs, we would expect to deliver an aggregate of approximately                     shares of our common
stock to Pre-2013 RSU holders and withhold an aggregate of approximately                    shares of our common stock. In
connection with these net settlements, we would withhold and remit the tax liabilities on behalf of the Pre-2013 RSU holders to
the relevant tax authorities in cash.

       If we choose to undertake a net settlement of our Pre-2013 RSUs, then in order to fund the tax withholding and
remittance obligations on behalf of our Pre-2013 RSU holders, we would expect to use a substantial portion of our cash and
cash equivalent balances, or, alternatively, we may choose to borrow funds or a combination of cash and borrowed funds to
satisfy these obligations.

We may require additional capital to support our operations or the growth of our business, and we cannot be certain
that this capital will be available on reasonable terms when required, or at all.
       From time to time, we may need additional financing to operate or grow our business. Our ability to obtain additional
financing, if and when required, will depend on investor and lender demand, our operating performance, the condition of the
capital markets and other factors, and we cannot assure you that additional financing will be available to us on favorable
terms when required, or at all. If we raise additional funds through the issuance of equity, equity-linked or debt securities,
those securities may have rights, preferences or privileges senior to the rights of our common stock, and our existing
stockholders may experience dilution. If we are unable to obtain adequate financing or financing on
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terms satisfactory to us when we require it, our ability to continue to support the operation or growth of our business could be
significantly impaired and our operating results may be harmed.

We rely on assumptions and estimates to calculate certain of our key metrics, and real or perceived inaccuracies in
such metrics may harm our reputation and negatively affect our business.
       The numbers of our active users and timeline views are calculated using internal company data that has not been
independently verified. While these numbers are based on what we believe to be reasonable calculations for the applicable
period of measurement, there are inherent challenges in measuring usage and user engagement across our large user base
around the world. For example, there are a number of false or spam accounts in existence on our platform. We currently
estimate that false or spam accounts represent less than 5% of our MAUs. However, this estimate is based on an internal
review of a sample of accounts and we apply significant judgment in making this determination. As such, our estimation of
false or spam accounts may not accurately represent the actual number of such accounts, and the actual number of false or
spam accounts could be higher than we have currently estimated. We are continually seeking to improve our ability to
estimate the total number of spam accounts and eliminate them from the calculation of our active users, but we otherwise
treat multiple accounts held by a single person or organization as multiple users for purposes of calculating our active users
because we permit people and organizations to have more than one account. Additionally, some accounts used by
organizations are used by many people within the organization. As such, the calculations of our active users may not
accurately reflect the actual number of people or organizations using our platform.

      Our metrics are also affected by mobile applications that automatically contact our servers for regular updates with no
user action involved, and this activity can cause our system to count the user associated with such a device as an active user
on the day such contact occurs. The calculations of MAUs presented in this prospectus may be affected by this activity. The
impact of this automatic activity on our metrics varies by geography because mobile application usage varies in different
regions of the world. In addition, our data regarding user geographic location is based on the IP address associated with the
account when a user initially registered the account on Twitter. The IP address may not always accurately reflect a user’s
actual location at the time of user engagement on our platform.

       We present and discuss timeline views in the six months ended June 30, 2012, but we did not track all of the timeline
views on our mobile applications during the three months ended March 31, 2012. We have included in this prospectus
estimates for actual timeline views in the three months ended March 31, 2012 for the mobile applications we did not track. We
believe these estimates to be reasonable, but actual numbers could differ from our estimates. In addition, timeline views in the
three months and six months ended June 30, 2012 exclude an immaterial number of timeline views in our mobile applications,
certain of which were not fully tracked until June 2012.

      We regularly review and may adjust our processes for calculating our internal metrics to improve their accuracy. Our
measures of user growth and user engagement may differ from estimates published by third parties or from similarly-titled
metrics of our competitors due to differences in methodology. If advertisers, platform partners or investors do not perceive our
user metrics to be accurate representations of our user base or user engagement, or if we discover material inaccuracies in
our user metrics, our reputation may be harmed and advertisers and platform partners may be less willing to allocate their
budgets or resources to our products and services, which could negatively affect our business and operating results.

We depend on highly skilled personnel to grow and operate our business, and if we are unable to hire, retain and
motivate our personnel, we may not be able to grow effectively.
      Our future success will depend upon our continued ability to identify, hire, develop, motivate and retain highly skilled
personnel, including senior management, engineers, designers and product
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managers. Our ability to execute efficiently is dependent upon contributions from our employees, in particular our senior
management team. We do not have employment agreements other than offer letters with any member of our senior
management or other key employee, and we do not maintain key person life insurance for any employee. In addition, from
time to time, there may be changes in our senior management team that may be disruptive to our business. If our senior
management team, including any new hires that we may make, fails to work together effectively and to execute our plans and
strategies on a timely basis, our business could be harmed.

       Our growth strategy also depends on our ability to expand and retain our organization with highly skilled personnel.
Identifying, recruiting, training and integrating qualified individuals will require significant time, expense and attention. In
addition to hiring new employees, we must continue to focus on retaining our best employees. Many of our employees may be
able to receive significant proceeds from sales of our equity in the public markets after this offering, which may reduce their
motivation to continue to work for us. Competition for highly skilled personnel is intense, particularly in the San Francisco Bay
Area, where our headquarters is located. We may need to invest significant amounts of cash and equity to attract and retain
new employees and we may never realize returns on these investments. If we are not able to effectively add and retain
employees, our ability to achieve our strategic objectives will be adversely impacted, and our business will be harmed.

Our corporate culture has contributed to our success, and if we cannot maintain this culture as we grow, we could
lose the innovation, creativity and teamwork fostered by our culture, and our business may be harmed.
       We believe that our culture has been and will continue to be a key contributor to our success. From January 1, 2010 to
June 30, 2013, we increased the size of our workforce by more than 1,800 employees, and we expect to continue to hire
aggressively as we expand. If we do not continue to develop our corporate culture or maintain our core values as we grow
and evolve, we may be unable to foster the innovation, creativity and teamwork we believe we need to support our growth.
Moreover, liquidity available to our employee securityholders following this offering could lead to disparities of wealth among
our employees, which could adversely impact relations among employees and our culture in general. Our transition from a
private company to a public company may result in a change to our corporate culture, which could harm our business.

We rely in part on application marketplaces and Internet search engines to drive traffic to our products and services,
and if we fail to appear high up in the search results or rankings, traffic to our platform could decline and our
business and operating results could be adversely affected.
       We rely on application marketplaces, such as Apple’s App Store and Google’s Play, to drive downloads of our mobile
applications. In the future, Apple, Google or other operators of application marketplaces may make changes to their
marketplaces which make access to our products and services more difficult. We also depend in part on Internet search
engines, such as Google, Bing and Yahoo!, to drive traffic to our website. For example, when a user types an inquiry into a
search engine, we rely on a high organic search result ranking of our webpages in these search results to refer the user to our
website. However, our ability to maintain high organic search result rankings is not within our control. Our competitors’ search
engine optimization, or SEO, efforts may result in their websites receiving a higher search result page ranking than ours, or
Internet search engines could revise their methodologies in a way that would adversely affect our search result rankings. For
example, Google has integrated its social networking offerings, including Google+, with certain of its products, including
search, which has negatively impacted the organic search ranking of our webpages. If Internet search engines modify their
search algorithms in ways that are detrimental to us, or if our competitors’ SEO efforts are more successful than ours, the
growth in our user base could slow. Our website has experienced fluctuations in search result rankings in the past, and we
anticipate similar fluctuations in

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the future. Any reduction in the number of users directed to our mobile applications or website through application
marketplaces and search engines could harm our business and operating results.

More people are using devices other than personal computers to access the Internet and new platforms to produce
and consume content, and we need to continue to promote the adoption of our mobile applications, and our
business and operating results may be harmed if we are unable to do so.
        The number of people who access the Internet through devices other than personal computers, including mobile
phones, smartphones, handheld computers such as net books and tablets, video game consoles and television set-top
devices, has increased dramatically in the past few years. In the three months ended June 30, 2013, over 65% of our
advertising revenue was generated from mobile devices. Since we generate a majority of our advertising revenue through
users on mobile devices, we must continue to drive adoption of our mobile applications. In addition, mobile users frequently
change or upgrade their mobile devices. Our business and operating results may be harmed if our users do not install our
mobile application when they change or upgrade their mobile device. Although we generate the majority of our advertising
revenue from ad engagements on mobile devices, certain of our products and services, including Promoted Trends and
Promoted Accounts, receive less prominence on our mobile applications than they do on our desktop applications. This has in
the past reduced, and may in the future continue to reduce, the amount of revenue we are able to generate from these
products and services as users increasingly access our products and services through mobile and alternative devices. In
addition, as new devices and platforms are continually being released, users may consume content in a manner that is more
difficult to monetize. It is difficult to predict the problems we may encounter in adapting our products and services and
developing competitive new products and services that are compatible with new devices or platforms. If we are unable to
develop products and services that are compatible with new devices and platforms, or if we are unable to drive continued
adoption of our mobile applications, our business and operating results may be harmed.

Future acquisitions and investments could disrupt our business and harm our financial condition and operating
results.
       Our success will depend, in part, on our ability to expand our products and services, and grow our business in response
to changing technologies, user and advertiser demands, and competitive pressures. In some circumstances, we may
determine to do so through the acquisition of complementary businesses and technologies rather than through internal
development, including, for example, our recent acquisitions of Vine Labs, Inc., a mobile application that enables users to
create and distribute videos that are up to six seconds in length, and Bluefin Labs, Inc., a social television analytics company
that provides data products to brand advertisers, agencies and television networks. We also recently entered into a definitive
agreement to acquire MoPub, a mobile-focused advertising exchange. The identification of suitable acquisition candidates can
be difficult, time-consuming and costly, and we may not be able to successfully complete identified acquisitions. The risks we
face in connection with acquisitions include:
      Ÿ diversion of management time and focus from operating our business to addressing acquisition integration
        challenges;
      Ÿ coordination of research and development and sales and marketing functions;
      Ÿ retention of key employees from the acquired company;
      Ÿ cultural challenges associated with integrating employees from the acquired company into our organization;
      Ÿ integration of the acquired company’s accounting, management information, human resources and other
        administrative systems;

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      Ÿ the need to implement or improve controls, procedures, and policies at a business that prior to the acquisition may
        have lacked effective controls, procedures and policies;
      Ÿ liability for activities of the acquired company before the acquisition, including intellectual property infringement
        claims, violations of laws, commercial disputes, tax liabilities and other known and unknown liabilities;
      Ÿ unanticipated write-offs or charges; and
      Ÿ litigation or other claims in connection with the acquired company, including claims from terminated employees,
        users, former stockholders or other third parties.

       Our failure to address these risks or other problems encountered in connection with our past or future acquisitions and
investments could cause us to fail to realize the anticipated benefits of these acquisitions or investments, cause us to incur
unanticipated liabilities, and harm our business generally. Future acquisitions could also result in dilutive issuances of our
equity securities, the incurrence of debt, contingent liabilities, amortization expenses, incremental operating expenses or the
write-off of goodwill, any of which could harm our financial condition or operating results.

If we fail to maintain an effective system of disclosure controls and internal control over financial reporting, our
ability to produce timely and accurate financial statements or comply with applicable regulations could be impaired.
       As a public company, we will be subject to the reporting requirements of the Securities Exchange Act of 1934, as
amended, or the Exchange Act, the Sarbanes-Oxley Act of 2002, or the Sarbanes-Oxley Act, and the rules and regulations of
the             . We expect that the requirements of these rules and regulations will continue to increase our legal, accounting
and financial compliance costs, make some activities more difficult, time consuming and costly, and place significant strain on
our personnel, systems and resources.

      The Sarbanes-Oxley Act requires, among other things, that we maintain effective disclosure controls and procedures
and internal control over financial reporting. We are continuing to develop and refine our disclosure controls and other
procedures that are designed to ensure that information required to be disclosed by us in the reports that we will file with the
SEC is recorded, processed, summarized and reported within the time periods specified in SEC rules and forms, and that
information required to be disclosed in reports under the Exchange Act is accumulated and communicated to our principal
executive and financial officers. We are also continuing to improve our internal control over financial reporting. In order to
maintain and improve the effectiveness of our disclosure controls and procedures and internal control over financial reporting,
we have expended, and anticipate that we will continue to expend, significant resources, including accounting-related costs
and significant management oversight.

        Our current controls and any new controls that we develop may become inadequate because of changes in conditions
in our business. Further, weaknesses in our disclosure controls or our internal control over financial reporting may be
discovered in the future. Any failure to develop or maintain effective controls, or any difficulties encountered in their
implementation or improvement, could harm our operating results or cause us to fail to meet our reporting obligations and may
result in a restatement of our financial statements for prior periods. Any failure to implement and maintain effective internal
control over financial reporting also could adversely affect the results of management evaluations and independent registered
public accounting firm audits of our internal control over financial reporting that we will eventually be required to include in our
periodic reports that will be filed with the SEC. Ineffective disclosure controls and procedures and internal control over
financial reporting could also cause investors to lose confidence in our reported financial and other information, which would
likely have a negative effect on the trading price of our common stock. In addition, if we are unable to continue to meet these
requirements, we may not be able to remain listed on the                .

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       We are not currently required to comply with the SEC rules that implement Section 404 of the Sarbanes-Oxley Act, and
are therefore not required to make a formal assessment of the effectiveness of our internal control over financial reporting for
that purpose. Upon becoming a public company, we will be required provide an annual management report on the
effectiveness of our internal control over financial reporting commencing with our second annual report on Form 10-K. Our
independent registered public accounting firm is not required to audit the effectiveness of our internal control over financial
reporting until after we are no longer an “emerging growth company,” as defined in the Jumpstart Our Business Startups Act of
2012, or the JOBS Act. At such time, our independent registered public accounting firm may issue a report that is adverse in
the event it is not satisfied with the level at which our internal control over financial reporting is documented, designed or
operating.

      Any failure to maintain effective disclosure controls and internal control over financial reporting could have a material
and adverse effect on our business and operating results, and cause a decline in the price of our common stock.

We are an emerging growth company, and any decision on our part to comply only with certain reduced reporting
and disclosure requirements applicable to emerging growth companies could make our common stock less
attractive to investors.
         We are an emerging growth company, and, for as long as we continue to be an emerging growth company, we may
choose to take advantage of exemptions from various reporting requirements applicable to other public companies but not to
“emerging growth companies,” including, but not limited to, not being required to have our independent registered public
accounting firm audit our internal control over financial reporting under Section 404 of the Sarbanes-Oxley Act, reduced
disclosure obligations regarding executive compensation in our periodic reports and proxy statements, and exemptions from
the requirements of holding a nonbinding advisory vote on executive compensation and stockholder approval of any golden
parachute payments not previously approved. We could be an emerging growth company for up to five years following the
completion of this offering. We will cease to be an emerging growth company upon the earliest of: (i) the end of the fiscal year
following the fifth anniversary of this offering, (ii) the first fiscal year after our annual gross revenue are $1.0 billion or more,
(iii) the date on which we have, during the previous three-year period, issued more than $1.0 billion in non-convertible debt
securities or (iv) the end of any fiscal year in which the market value of our common stock held by non-affiliates exceeded
$700 million as of the end of the second quarter of that fiscal year. We cannot predict if investors will find our common stock
less attractive if we choose to rely on these exemptions. If some investors find our common stock less attractive as a result of
any choices to reduce future disclosure, there may be a less active trading market for our common stock and the price of our
common stock may be more volatile.

       Under the JOBS Act, emerging growth companies can also delay adopting new or revised accounting standards until
such time as those standards apply to private companies. We have irrevocably elected not to avail ourselves of this
accommodation allowing for delayed adoption of new or revised accounting standards, and, therefore, we will be subject to
the same new or revised accounting standards as other public companies that are not emerging growth companies.

If currency exchange rates fluctuate substantially in the future, our operating results, which are reported in U.S.
dollars, could be adversely affected.
       As we continue to expand our international operations, we will become more exposed to the effects of fluctuations in
currency exchange rates. We incur expenses for employee compensation and other operating expenses at our international
locations in the local currency, and accept payment from advertisers or data partners in currencies other than the U.S. dollar.
Since we conduct business in

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currencies other than U.S. dollars but report our operating results in U.S. dollars, we face exposure to fluctuations in currency
exchange rates. Consequently, exchange rate fluctuations between the U.S. dollar and other currencies could have a material
impact on our operating results.

Our business is subject to the risks of earthquakes, fire, power outages, floods and other catastrophic events, and to
interruption by man-made problems such as terrorism.
       A significant natural disaster, such as an earthquake, fire, flood or significant power outage could have a material
adverse impact on our business, operating results, and financial condition. Our headquarters and certain of our co-located
data center facilities are located in the San Francisco Bay Area, a region known for seismic activity. Despite any precautions
we may take, the occurrence of a natural disaster or other unanticipated problems at our data centers could result in lengthy
interruptions in our services. In addition, acts of terrorism and other geo-political unrest could cause disruptions in our
business. All of the aforementioned risks may be further increased if our disaster recovery plans prove to be inadequate. We
have implemented a disaster recovery program, which allows us to move production to a back-up data center in the event of a
catastrophe. Although this program is functional, we do not currently serve network traffic equally from each data center, so if
our primary data center shuts down, there will be a period of time that our products or services, or certain of our products or
services, will remain inaccessible to our users or our users may experience severe issues accessing our products and
services.

       We do not carry business interruption insurance sufficient to compensate us for the potentially significant losses,
including the potential harm to our business that may result from interruptions in our ability to provide our products and
services.

We may have exposure to greater than anticipated tax liabilities, which could adversely impact our operating results.
       Our income tax obligations are based in part on our corporate operating structure, including the manner in which we
develop, value and use our intellectual property and the scope of our international operations. The tax laws applicable to our
international business activities, including the laws of the United States and other jurisdictions, are subject to interpretation.
The taxing authorities of the jurisdictions in which we operate may challenge our methodologies for valuing developed
technology (or other intangible assets) or intercompany arrangements, which could increase our worldwide effective tax rate
and harm our financial condition and operating results. We are subject to review and audit by U.S. federal and state and
foreign tax authorities. Tax authorities may disagree with certain positions we have taken and any adverse outcome of such a
review or audit could have a negative effect on our financial position and operating results. In addition, our future income
taxes could be adversely affected by earnings being lower than anticipated in jurisdictions that have lower statutory tax rates
and higher than anticipated in jurisdictions that have higher statutory tax rates, by changes in the valuation of our deferred tax
assets and liabilities, or by changes in tax laws, regulations or accounting principles. Tax expenses, or disputes with tax
authorities, could adversely impact our operating results.

If our goodwill or intangible assets become impaired, we may be required to record a significant charge to earnings.
       Under GAAP, we review our intangible assets for impairment when events or changes in circumstances indicate the
carrying value may not be recoverable. Goodwill is required to be tested for impairment at least annually. As of June 30, 2013,
we had recorded a total of $178.2 million of goodwill and intangible assets related to our acquisitions. An adverse change in
market conditions, particularly if such change has the effect of changing one of our critical assumptions or estimates, could
result in a

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change to the estimation of fair value that could result in an impairment charge to our goodwill or intangible assets. Any such
material charges may have a material negative impact on our operating results.

Our ability to use our net operating loss carryforwards and certain other tax attributes may be limited.
       As of December 31, 2012, we had U.S. federal net operating loss carryforwards of approximately $298.8 million and
state net operating loss carryforwards of approximately $216.7 million. Under Sections 382 and 383 of Internal Revenue Code
of 1986, as amended, or the Code, if a corporation undergoes an “ownership change,” the corporation’s ability to use its pre-
change net operating loss carryforwards and other pre-change tax attributes, such as research tax credits, to offset its post-
change income and taxes may be limited. In general, an “ownership change” occurs if there is a cumulative change in our
ownership by “5% shareholders” that exceeds 50 percentage points over a rolling three-year period. Similar rules may apply
under state tax laws. In the event that it is determined that we have in the past experienced an ownership change, or if we
experience one or more ownership changes as a result of this offering or future transactions in our stock, then we may be
limited in our ability to use our net operating loss carryforwards and other tax assets to reduce taxes owed on the net taxable
income that we earn. Any such limitations on the ability to use our net operating loss carryforwards and other tax assets could
adversely impact our business, financial condition and operating results.

Risks Related to Ownership of Our Common Stock and this Offering

Existing executive officers, directors and holders of 5% or more of our common stock will collectively beneficially
own % of our common stock and continue to have substantial control over us after this offering, which will limit
your ability to influence the outcome of important transactions, including a change in control.
        Our directors, executive officers and each of our stockholders who own greater than 5% of our outstanding common
stock and their affiliates, in the aggregate, will beneficially own approximately % of the outstanding shares of our common
stock after this offering, based on the number of shares outstanding as of June 30, 2013. As a result, these stockholders, if
acting together, will be able to influence or control matters requiring approval by our stockholders, including the election of
directors and the approval of mergers, acquisitions or other extraordinary transactions. They may also have interests that
differ from yours and may vote in a way with which you disagree and which may be adverse to your interests. This
concentration of ownership may have the effect of delaying, preventing or deterring a change in control of our company, could
deprive our stockholders of an opportunity to receive a premium for their common stock as part of a sale of our company and
might ultimately affect the market price of our common stock.

Anti-takeover provisions contained in our amended and restated certificate of incorporation and amended and
restated bylaws, as well as provisions of Delaware law, could impair a takeover attempt.
      Our amended and restated certificate of incorporation, amended and restated bylaws and Delaware law contain or will
contain provisions which could have the effect of rendering more difficult, delaying, or preventing an acquisition deemed
undesirable by our board of directors. Among other things, our amended and restated certificate of incorporation and
amended and restated bylaws will include provisions:
      Ÿ creating a classified board of directors whose members serve staggered three-year terms;
      Ÿ authorizing “blank check” preferred stock, which could be issued by our board of directors without stockholder
        approval and may contain voting, liquidation, dividend and other rights superior to our common stock;

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      Ÿ limiting the liability of, and providing indemnification to, our directors and officers;
      Ÿ limiting the ability of our stockholders to call and bring business before special meetings;
      Ÿ requiring advance notice of stockholder proposals for business to be conducted at meetings of our stockholders and
        for nominations of candidates for election to our board of directors; and
      Ÿ controlling the procedures for the conduct and scheduling of board of directors and stockholder meetings.

     These provisions, alone or together, could delay or prevent hostile takeovers and changes in control or changes in our
management.

      As a Delaware corporation, we are also subject to provisions of Delaware law, including Section 203 of the Delaware
General Corporation law, which prevents certain stockholders holding more than 15% of our outstanding common stock from
engaging in certain business combinations without approval of the holders of at least two-thirds of our outstanding common
stock not held by such 15% or greater stockholder.

       Any provision of our amended and restated certificate of incorporation, amended and restated bylaws or Delaware law
that has the effect of delaying, preventing or deterring a change in control could limit the opportunity for our stockholders to
receive a premium for their shares of our common stock, and could also affect the price that some investors are willing to pay
for our common stock.

An active trading market for our common stock may never develop or be sustained.
       We intend to apply for the listing of our common stock on the          under the symbol “TWTR”. However, we cannot
assure you that an active trading market for our common stock will develop on that exchange or elsewhere or, if developed,
that any market will be sustained. Accordingly, we cannot assure you of the likelihood that an active trading market for our
common stock will develop or be maintained, the liquidity of any trading market, your ability to sell your shares of our common
stock when desired or the prices that you may obtain for your shares.

The market price of our common stock may be volatile, and you could lose all or part of your investment.

       Prior to this offering, there has been no public market for shares of our common stock. The initial public offering price of
our common stock will be determined through negotiation between us and the underwriters. This price will not necessarily
reflect the price at which investors in the market will be willing to buy and sell shares of our common stock following this
offering. In addition, the market price of our common stock following this offering is likely to be highly volatile and could be
subject to wide fluctuations in response to various factors, some of which are beyond our control.

       The market price of our common stock following this offering may fluctuate substantially and may be higher or lower
than the initial public offering price. The market price of our common stock following this offering will depend on a number of
factors many of which are beyond our control and may not be related to our operating performance. These fluctuations could
cause you to lose all or part of your investment in our common stock since you might be unable to sell your shares at or above
the price you paid in this offering. Factors that could cause fluctuations in the market price of our common stock include the
following:
      Ÿ price and volume fluctuations in the overall stock market from time to time;
      Ÿ volatility in the market prices and trading volumes of technology stocks;

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      Ÿ changes in operating performance and stock market valuations of other technology companies generally, or those in
        our industry in particular;
      Ÿ sales of shares of our common stock by us or our stockholders;
      Ÿ failure of securities analysts to maintain coverage of us, changes in financial estimates by securities analysts who
        follow our company, or our failure to meet these estimates or the expectations of investors;
      Ÿ the financial projections we may provide to the public, any changes in those projections or our failure to meet those
        projections;
      Ÿ announcements by us or our competitors of new products or services;
      Ÿ the public’s reaction to our press releases, other public announcements and filings with the SEC;
      Ÿ rumors and market speculation involving us or other companies in our industry;
      Ÿ actual or anticipated changes in our operating results or fluctuations in our operating results;
      Ÿ actual or anticipated developments in our business, our competitors’ businesses or the competitive landscape
        generally;
      Ÿ litigation involving us, our industry or both, or investigations by regulators into our operations or those of our
        competitors;
      Ÿ developments or disputes concerning our intellectual property or other proprietary rights;
      Ÿ announced or completed acquisitions of businesses or technologies by us or our competitors;
      Ÿ new laws or regulations or new interpretations of existing laws or regulations applicable to our business;
      Ÿ changes in accounting standards, policies, guidelines, interpretations or principles;
      Ÿ any significant change in our management; and
      Ÿ general economic conditions and slow or negative growth of our markets.

      In addition, in the past, following periods of volatility in the overall market and the market price of a particular company’s
securities, securities class action litigation has often been instituted against these companies. This litigation, if instituted
against us, could result in substantial costs and a diversion of our management’s attention and resources.

A total of     , or %, of our outstanding shares of our common stock after this offering will be restricted from
immediate resale, but may be sold on a stock exchange in the near future. The large number of shares eligible for
public sale or subject to rights requiring us to register them for public sale could depress the market price of our
common stock.

       The market price of our common stock could decline as a result of sales of a large number of shares of our common
stock in the market after this offering, and the perception that these sales could occur may also depress the market price of
our common stock. Based on shares of our capital stock outstanding as of June 30, 2013, we will have               shares of our
common stock outstanding after this offering. Our executive officers, directors and the holders of substantially all of our capital
stock and securities convertible into or exchangeable for our capital stock have entered into market standoff agreements with
us or will enter into lock-up agreements with the underwriters under which they have agreed or will agree, subject to specific
exceptions, not to sell any of our stock for 180 days following the date of this prospectus. As a result of these agreements and
the provisions of our investors’ rights
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agreement described further in the section titled “Description of Capital Stock—Registration Rights,” and subject to the
provisions of Rule 144 or Rule 701, shares of our common stock will be available for sale in the public market as follows:
      Ÿ beginning on the date of this prospectus, all        shares of our common stock sold in this offering will be
        immediately available for sale in the public market;
      Ÿ beginning as early as February 15, 2014, up to an aggregate of             shares of our common stock that are held by
        our employees who are not executive officers may be eligible for sale in the public market in order to satisfy the
        income tax obligations of such employees resulting from the vesting and settlement of a portion of the outstanding
        Pre-2013 RSUs (or up to an aggregate of            shares of our common stock held by our employees who are not
        executive officers if we choose to undertake a net settlement of all of these awards to satisfy a portion of such
        income tax obligations); and
      Ÿ beginning 181 days after the date of this prospectus, the remainder of the shares of our common stock will be
        eligible for sale in the public market from time to time thereafter, subject in some cases to the volume and other
        restrictions of Rule 144, as described below.

      Upon completion of this offering, stockholders owning an aggregate of             shares will be entitled, under contracts
providing for registration rights, to require us to register shares of our common stock owned by them for public sale in the
United States. In addition, we intend to file a registration statement to register approximately        shares reserved for future
issuance under our equity compensation plans. Upon effectiveness of that registration statement, subject to the satisfaction of
applicable exercise periods and expiration of the market standoff agreements and lock-up agreements referred to above, the
shares of our common stock issued upon exercise of outstanding stock options or the vesting of RSUs will be available for
immediate resale in the United States in the open market.

      Sales of our common stock as restrictions end or pursuant to registration rights may make it more difficult for us to sell
equity securities in the future at a time and at a price that we deem appropriate. These sales also could cause the price of our
common stock to fall and make it more difficult for you to sell shares of our common stock.

In making your investment decision, you should understand that we and the underwriters have not authorized any
other party to provide you with information concerning us or this offering.
       You should carefully evaluate all of the information in this prospectus. We have in the past received, and may continue
to receive, a high degree of media coverage, including coverage that is not directly attributable to statements made by our
officers and employees, that incorrectly reports on statements made by our officers or employees, or that is misleading as a
result of omitting information provided by us, our officers or employees. We and the underwriters have not authorized any
other party to provide you with information concerning us or this offering.

We may invest or spend the proceeds of this offering in ways with which you may not agree or in ways which may
not yield a return.
       The net proceeds from the sale of our shares of our common stock by us in this offering may be used for general
corporate purposes, including working capital, operating expenses and capital expenditures. We anticipate making capital
expenditures in 2013 of approximately $225 million to $275 million, and we may use a portion of the net proceeds to fund our
anticipated capital expenditures. We also may use a portion of the net proceeds to satisfy our anticipated tax withholding and
remittance obligations related to the settlement of our outstanding RSUs. Additionally, we may use a portion of the net
proceeds to acquire businesses, products, services or technologies. However, we do not have
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agreements or commitments for any specific material acquisitions at this time. Our management will have considerable
discretion in the application of the net proceeds, and you will not have the opportunity, as part of your investment decision, to
assess whether the proceeds are being used appropriately. Until the net proceeds are used, they may be placed in
investments that do not produce significant income or that may lose value.

Purchasers in this offering will experience immediate and substantial dilution in the book value of their investment.
        The assumed initial public offering price of $     per share, which is the midpoint of the estimated offering price range
set forth on the cover page of this prospectus, is substantially higher than the net tangible book value per share of our
outstanding common stock immediately after this offering. Therefore, if you purchase our common stock in this offering, you
will incur immediate dilution of $     in the net tangible book value per share from the price you paid. In addition, purchasers
who bought shares from us in this offering will have contributed % of the total consideration paid to us by our stockholders to
purchase shares of our common stock, in exchange for acquiring approximately % of our outstanding shares of our capital
stock as of June 30, 2013 after giving effect to this offering. The vesting of RSUs and the exercise of outstanding stock
options and a warrant will result in further dilution.

If securities or industry analysts do not publish or cease publishing research or reports about us, our business or
our market, or if they change their recommendations regarding our common stock adversely, the price of our
common stock and trading volume could decline.
       The trading market for our common stock will be influenced by the research and reports that securities or industry
analysts may publish about us, our business, our market or our competitors. If any of the analysts who may cover us change
their recommendation regarding our common stock adversely, or provide more favorable relative recommendations about our
competitors, the price of our common stock would likely decline. If any analyst who may cover us were to cease coverage of
our company or fail to regularly publish reports on us, we could lose visibility in the financial markets, which in turn could
cause the price of our common stock or trading volume to decline.

We do not expect to declare any dividends in the foreseeable future.
      We do not anticipate declaring any cash dividends to holders of our common stock in the foreseeable future.
Consequently, investors may need to rely on sales of their common stock after price appreciation, which may never occur, as
the only way to realize any future gains on their investment. Investors seeking cash dividends should not purchase our
common stock.

Prior to this offering, there has been limited trading of our common stock at prices that may be higher than what our
common stock will trade at once it is listed.
      Prior to this offering, our shares have not been listed on any stock exchange or other public trading market, but there
has been some trading of our securities in private trades. These trades were speculative, and the trading price of our
securities in these trades was privately negotiated. We cannot assure you that the price of our common stock will equal or
exceed the price at which our securities have traded prior to this offering.
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                             SPECIAL NOTE REGARDING FORWARD-LOOKING STATEMENTS

       This prospectus contains forward-looking statements within the meaning of the federal securities laws, which
statements involve substantial risks and uncertainties. Forward-looking statements generally relate to future events or our
future financial or operating performance. In some cases, you can identify forward-looking statements because they contain
words such as “may,” “will,” “should,” “expects,” “plans,” “anticipates,” “could,” “intends,” “target,” “projects,” “contemplates,”
“believes,” “estimates,” “predicts,” “potential” or “continue” or the negative of these words or other similar terms or expressions
that concern our expectations, strategy, plans or intentions. Forward-looking statements contained in this prospectus include,
but are not limited to, statements about:
      Ÿ our ability to attract and retain users and increase the level of engagement of our users;
      Ÿ our ability to develop or acquire new products and services, improve our existing products and services and increase
        the value of our products and services;
      Ÿ our ability to attract advertisers to our platform and increase the amount that advertisers spend with us;
      Ÿ our expectations regarding our user growth rate and the usage of our mobile applications;
      Ÿ our ability to increase our revenue and our revenue growth rate;
      Ÿ our ability to improve user monetization, including advertising revenue per timeline view;
      Ÿ our future financial performance, including trends in cost per ad engagement, revenue, cost of revenue, operating
        expenses and income taxes;
      Ÿ the effects of seasonal trends on our results of operations;
      Ÿ the sufficiency of our cash and cash equivalents and cash generated from operations to meet our working capital
        and capital expenditure requirements;
      Ÿ our ability to timely and effectively scale and adapt our existing technology and network infrastructure;
      Ÿ our ability to successfully acquire and integrate companies and assets; and
      Ÿ our ability to successfully enter new markets and manage our international expansion.

      We caution you that the foregoing list may not contain all of the forward-looking statements made in this prospectus.

      You should not rely upon forward-looking statements as predictions of future events. We have based the forward-
looking statements contained in this prospectus primarily on our current expectations and projections about future events and
trends that we believe may affect our business, financial condition, results of operations and prospects. The outcome of the
events described in these forward-looking statements is subject to risks, uncertainties and other factors described in the
section titled “Risk Factors” and elsewhere in this prospectus. Moreover, we operate in a very competitive and rapidly
changing environment. New risks and uncertainties emerge from time to time and it is not possible for us to predict all risks
and uncertainties that could have an impact on the forward-looking statements contained in this prospectus. We cannot
assure you that the results, events and circumstances reflected in the forward-looking statements will be achieved or occur,
and actual results, events or circumstances could differ materially from those described in the forward-looking statements.

       The forward-looking statements made in this prospectus relate only to events as of the date on which the statements
are made. We undertake no obligation to update any forward-looking statements made in this prospectus to reflect events or
circumstances after the date of this prospectus or to reflect new information or the occurrence of unanticipated events, except
as required by law. We may not actually achieve the plans, intentions or expectations disclosed in our forward-looking
statements and you should not place undue reliance on our forward-looking statements. Our forward-looking statements do
not reflect the potential impact of any future acquisitions, mergers, dispositions, joint ventures or investments we may make.
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                                        INDUSTRY DATA AND COMPANY METRICS

       This prospectus contains estimates and information concerning our industry, including market size and growth rates of
the markets in which we participate, that are based on industry publications and reports. This information involves a number of
assumptions and limitations, and you are cautioned not to give undue weight to these estimates. We have not independently
verified the accuracy or completeness of the data contained in these industry publications and reports. The industry in which
we operate is subject to a high degree of uncertainty and risk due to variety of factors, including those described in the “Risk
Factors” section. These and other factors could cause results to differ materially from those expressed in these publications
and reports.

       We review a number of metrics, including MAUs, timeline views, timeline views per MAU and advertising revenue per
timeline view, to evaluate our business, measure our performance, identify trends affecting our business, formulate business
plans and make strategic decisions. See the section titled “Management’s Discussion and Analysis of Financial Condition and
Results of Operation—Key Metrics” for a discussion of how we calculate MAUs, timeline views, timeline views per MAU and
advertising revenue per timeline view.

        The numbers of active users and timeline views presented in this prospectus are based on internal company data.
While these numbers are based on what we believe to be reasonable estimates for the applicable period of measurement,
there are inherent challenges in measuring usage and user engagement across our large user base around the world. For
example, there are a number of false or spam accounts in existence on our platform. We currently estimate that false or spam
accounts represent less than 5% of our MAUs. However, this estimate is based on an internal review of a sample of accounts
and we apply significant judgment in making this determination. As such, our estimation of false or spam accounts may not
accurately represent the actual number of such accounts, and the actual number of false or spam accounts could be higher
than we have currently estimated. We are continually seeking to improve our ability to estimate the total number of spam
accounts and eliminate them from the calculation of our active users. For example, we made an improvement in our spam
detection capabilities in the second quarter of 2013 and suspended a large number of accounts. Spam accounts that we have
identified are not included in the active user numbers presented in this prospectus. We treat multiple accounts held by a single
person or organization as multiple users for purposes of calculating our active users because we permit people and
organizations to have more than one account. Additionally, some accounts used by organizations are used by many people
within the organization. As such, the calculations of our active users may not accurately reflect the actual number of people or
organizations using our platform.

      Our metrics are also affected by applications that automatically contact our servers for regular updates with no user
action involved, and this activity can cause our system to count the users associated with such applications as active users on
the day or days such contact occurs. In the three months ended June 30, 2013, approximately seven percent of all active
users used applications that have the capability to automatically contact our servers for regular updates. As such, the
calculations of MAUs presented in this prospectus may be affected as a result of automated activity. We expect that the
percentage of active users that use applications that have the capability to automatically contact our servers for regular
updates will decline over time, particularly as usage of our mobile applications increases.

      In addition, our data regarding user geographic location for purposes of reporting the geographic location of our MAUs
is based on the IP address associated with the account when a user initially registered the account on Twitter. The IP address
may not always accurately reflect a user’s actual location at the time of user engagement on our platform.

      We present and discuss timeline views in the six months ended June 30, 2012, but we did not track all of the timeline
views on our mobile applications during the three months ended March 31,
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2012. We have included in this prospectus estimates for actual timeline views in the three months ended March 31, 2012 for
the mobile applications we did not track. We believe these estimates to be reasonable, but actual numbers could differ from
our estimates. In addition, timeline views in the three months and six months ended June 30, 2012 exclude an immaterial
number of timeline views for our mobile applications, certain of which were not fully tracked until June 2012.

      We regularly review and may adjust our processes for calculating our internal metrics to improve their accuracy. Our
measures of user growth and user engagement may differ from estimates published by third parties or from similarly-titled
metrics of our competitors due to differences in methodology.

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                                                       USE OF PROCEEDS

      We estimate that the net proceeds to us from the sale of shares of our common stock in this offering will be
approximately $       , based upon the assumed initial public offering price of $     per share, which is the midpoint of the
estimated offering price range set forth on the cover page of this prospectus, and after deducting estimated underwriting
discounts and commissions and estimated offering expenses payable by us. If the underwriters’ option to purchase additional
shares of our common stock from us is exercised in full, we estimate that the net proceeds to us would be approximately
$     , after deducting estimated underwriting discounts and commissions and estimated offering expenses payable by us.

      Each $1.00 increase or decrease in the assumed initial public offering price of $      per share would increase or
decrease the net proceeds that we receive from this offering by approximately $        , assuming that the number of shares
offered by us, as set forth on the cover page of this prospectus, remains the same and after deducting the estimated
underwriting discounts and commissions payable by us. Similarly, each increase or decrease of one million in the number of
shares of our common stock offered by us would increase or decrease the net proceeds that we receive from this offering by
approximately $       , assuming the assumed initial public offering price remains the same and after deducting the estimated
underwriting discounts and commissions payable by us.

       The principal purposes of this offering are to increase our capitalization and financial flexibility, create a public market
for our common stock and enable access to the public equity markets for us and our stockholders.

       We intend to use the net proceeds from this offering for general corporate purposes, including working capital,
operating expenses and capital expenditures. We anticipate making capital expenditures in 2013 of approximately $225
million to $275 million, and we may use a portion of the net proceeds to fund our anticipated capital expenditures. We also
may use a portion of the net proceeds to satisfy our anticipated tax withholding and remittance obligations related to the
settlement of our outstanding Pre-2013 RSUs, or we may choose to allow our employees who are not executive officers
holding such awards to sell shares of our common stock in the public market to satisfy their income tax obligations related to
the vesting and settlement of such awards. Based on the number of Pre-2013 RSUs outstanding as of June 30, 2013 for
which the service condition had been satisfied on that date, and assuming (i) the performance condition had been satisfied on
that date, (ii) we choose to undertake a net settlement of all of our Pre-2013 RSUs and (iii) that the price of our common stock
at the time of settlement was equal to $      , which is the midpoint of the estimated offering price range set forth on the cover
page of this prospectus, we estimate that this tax obligation on the initial settlement date would be approximately $        in the
aggregate. The amount of this obligation could be higher or lower, depending on the price of shares of our common stock on
the initial settlement date for the Pre-2013 RSUs. Additionally, we may use a portion of the net proceeds to acquire
businesses, products, services or technologies. However, except for our proposed acquisition of MoPub in exchange for
shares of our common stock, we do not have agreements or commitments for any material acquisitions at this time. We
cannot specify with certainty the particular uses of the net proceeds that we will receive from this offering. Accordingly, we will
have broad discretion in using these proceeds. Pending the use of proceeds from this offering as described above, we plan to
invest the net proceeds that we receive in this offering in short-term and long-term interest-bearing obligations, including
government and investment-grade debt securities and money market funds.


                                                        DIVIDEND POLICY

       We have never declared or paid any cash dividends on our capital stock. We currently intend to retain any future
earnings and do not expect to pay any dividends in the foreseeable future. Any future determination to declare cash dividends
will be made at the discretion of our board of directors, subject to applicable laws, and will depend on a number of factors,
including our financial condition, results of operations, capital requirements, contractual restrictions, general business
conditions and other factors that our board of directors may deem relevant.

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                                                                       CAPITALIZATION

        The following table sets forth cash and cash equivalents, as well as our capitalization, as of June 30, 2013 as follows:
        Ÿ on an actual basis;
        Ÿ on a pro forma basis, giving effect to (i) the automatic conversion of all outstanding shares of our Class A junior
          preferred stock and our convertible preferred stock into an aggregate of 333,099,000 shares of our common stock,
          which conversion will occur immediately prior to the completion of this offering, as if such conversion had occurred
          on June 30, 2013, (ii) the resulting reclassification of the restricted Class A junior preferred stock of $6.7 million and
          preferred stock warrant liability of $2.0 million from other long-term liabilities to additional paid-in capital, (iii) stock-
          based compensation expense of $329.6 million associated with Pre-2013 RSUs for which the service condition was
          satisfied as of June 30, 2013, and which we expect to record upon completion of this offering, as described in
          footnote (1) below and (iv) the filing and effectiveness of our amended and restated certificate of incorporation in
          Delaware; and
        Ÿ on a pro forma as adjusted basis, giving effect to the pro forma adjustments set forth above and the sale and
          issuance by us of       shares of our common stock in this offering, based upon the assumed initial public offering
          price of $     per share, which is the midpoint of the estimated offering price range set forth on the cover page of
          this prospectus, and after deducting estimated underwriting discounts and commissions and estimated offering
          expenses payable by us.

      You should read this table together with our consolidated financial statements and related notes, and the sections titled
“Selected Consolidated Financial and Other Data” and “Management’s Discussion and Analysis of Financial Condition and
Results of Operations” that are included elsewhere in this prospectus.

                                                                                                                                As of June 30, 2013
                                                                                                                                                    Pro Forma
                                                                                                                                      Pro               as
                                                                                                                     Actual        Forma(1)        Adjusted(2)
                                                                                                                         (In thousands, except share and
                                                                                                                                  per share data)
Cash, cash equivalents and short-term investments                                                                  $ 375,058      $ 375,058       $
Restricted Class A junior preferred stock and preferred stock warrant liabilities included in other long term
   liabilities                                                                                                         8,735              —
Redeemable Class A junior preferred stock, par value $0.000005 per share: 15,000,000 shares authorized,
   3,523,675 issued and outstanding, actual; no shares authorized, issued and outstanding, pro forma and
   pro forma as adjusted                                                                                              37,106              —
Convertible preferred stock, par value $0.000005 per share: 329,691,856 shares authorized, 329,575,325
   issued and outstanding, actual; no shares authorized, issued and outstanding, pro forma and pro forma as
   adjusted                                                                                                         835,430               —
Stockholders’ equity (deficit):
       Preferred stock, par value $0.000005 per share: no shares authorized, issued and outstanding, actual;
                     shares authorized, no shares issued and outstanding, pro forma and pro forma as adjusted             —               —
       Common stock, par value $0.000005 per share: 600,000,000 shares authorized, 139,514,753 shares
             issued and outstanding, actual;            shares authorized, 472,613,753 shares issued and
             outstanding, pro forma and             shares authorized,        shares issued and outstanding, pro
             forma as adjusted                                                                                             1               2
       Additional paid-in capital                                                                                    254,831       1,465,733
       Accumulated other comprehensive loss                                                                             (653)           (653)
       Accumulated deficit                                                                                          (418,554)       (748,186)
                 Total stockholders’ equity (deficit)                                                               (164,375)        716,896
                         Total capitalization                                                                      $ 716,896      $ 716,896       $

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(1)   The pro forma data as of June 30, 2013 gives effect to stock-based compensation expense of $329.6 million associated with Pre-2013 RSUs for which the
      service condition was satisfied as of June 30, 2013 and which we expect to record upon completion of this offering, as further described in “Management’s
      Discussion and Analysis of Financial Condition and Results of Operations—Critical Accounting Policies and Estimates—Stock-Based Compensation.” The
      pro forma adjustment related to stock-based compensation expense of $329.6 million has been reflected as an increase to additional paid-in capital and
      accumulated deficit. We estimate that an aggregate of approximately                 million shares underlying Pre-2013 RSUs outstanding as of June 30, 2013
      will vest and settle on              in connection with the satisfaction of the performance condition to their vesting, resulting in the net issuance of an
      aggregate of approximately               million shares to the holders if we choose to undertake a net settlement of all of these awards rather than allowing
      our employees who are not executive officers to sell shares of our common stock in the public market to satisfy their income tax obligations related to the
      vesting and settlement of such awards. These shares have not been included in our pro forma or pro forma as adjusted shares outstanding.
(2)   Each $1.00 increase or decrease in the assumed initial public offering price of our common stock of $          per share, which is the midpoint of the estimated
      offering price range set forth on the cover page of this prospectus, would increase or decrease, as applicable, the amount of our pro forma as adjusted cash
      and cash equivalents, additional paid-in capital and total stockholders’ equity by approximately $       , assuming that the number of shares offered by us, as
      set forth on the cover page of this prospectus, remains the same and after deducting estimated underwriting discounts and commissions payable by us. An
      increase or decrease of 1.0 million shares in the number of shares offered by us would increase or decrease, as applicable, the amount of our pro forma as
      adjusted cash and cash equivalents, additional paid-in capital and total stockholders’ equity by approximately $         , assuming that the number of shares
      offered by us, as set forth on the cover page of this prospectus, remains the same and after deducting estimated underwriting discounts and commissions
      payable by us.

      If the underwriters’ option to purchase additional shares of our common stock from us were exercised in full, pro forma
as adjusted cash and cash equivalents, additional paid-in capital, total stockholders’ equity and shares outstanding as of June
30, 2013 would be $        ,$      ,$      and $     , respectively.

       The pro forma and pro forma as adjusted columns in the table above are based on 472,613,753 shares of our common
stock (including preferred stock on an as-converted basis) outstanding as of June 30, 2013, and exclude the following:
      Ÿ 44,157,061 shares of our common stock issuable upon the exercise of options to purchase shares of our common
        stock outstanding as of June 30, 2013, with a weighted-average exercise price of $1.82 per share;
      Ÿ 59,913,992 shares of our common stock subject to RSUs outstanding as of June 30, 2013;
      Ÿ 116,512 shares of our common stock, on an as-converted basis, issuable upon the exercise of a warrant to purchase
        convertible preferred stock outstanding as of June 30, 2013, with an exercise price of $0.34 per share;
      Ÿ 27,002,040 shares of our common stock subject to RSUs granted after June 30, 2013;
      Ÿ up to 14,791,464 shares of our common stock issuable upon completion of our acquisition of MoPub; and
      Ÿ         shares of our common stock reserved for future issuance under our equity compensation plans which will
          become effective prior to the completion of this offering, consisting of:
              Ÿ              shares of our common stock reserved for future issuance under our 2013 Plan;
              Ÿ 7,814,902 shares of our common stock reserved for future issuance under our 2007 Plan (after giving effect to
                an increase of 20,000,000 shares of our common stock reserved for issuance under our 2007 Plan after
                June 30, 2013 and the grant of 27,002,040 shares of our common stock subject to RSUs granted after June
                30, 2013), which number of shares will be added to the shares of our common stock to be reserved under our
                2013 Plan upon its effectiveness; and
              Ÿ              shares of our common stock reserved for future issuance under our ESPP.

      Our 2013 Plan and ESPP each provide for annual automatic increases in the number of shares reserved thereunder,
and our 2013 Plan also provides for increases to the number of shares that may be granted thereunder based on shares
under our 2007 Plan that expire, are forfeited or otherwise repurchased by us, as more fully described in the section titled
“Executive Compensation—Employee Benefit and Stock Plans.”

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                                                            DILUTION

       If you invest in our common stock in this offering, your ownership interest will be diluted to the extent of the difference
between the initial public offering price per share of our common stock and the pro forma as adjusted net tangible book value
per share of our common stock immediately after this offering. Net tangible book value dilution per share to new investors
represents the difference between the amount per share paid by purchasers of shares of our common stock in this offering
and the pro forma as adjusted net tangible book value per share of our common stock immediately after completion of this
offering.

      Net tangible book value per share is determined by dividing our total tangible assets less our total liabilities by the
number of shares of our common stock outstanding. Our historical net tangible deficit as of June 30, 2013 was $342.5 million,
or $2.46 per share. Our pro forma net tangible book value as of June 30, 2013 was $538.7 million, or $1.14 per share, based
on the total number of shares of our common stock outstanding as of June 30, 2013, after giving effect to the automatic
conversion of all outstanding shares of our Class A junior preferred stock and our convertible preferred stock as of June 30,
2013 into an aggregate of 333,099,000 shares of our common stock, which conversion will occur immediately prior to the
completion of this offering, and the resulting reclassification of the restricted Class A junior preferred stock and preferred stock
warrant liability from other long-term liabilities to additional paid-in capital.

       After giving effect to the sale by us of       shares of our common stock in this offering at the assumed initial public
offering price of $      per share, which is the midpoint of the estimated offering price range set forth on the cover page of this
prospectus, and after deducting estimated underwriting discounts and commissions and estimated offering expenses payable
by us, our pro forma as adjusted net tangible book value as of June 30, 2013 would have been $             million, or $      per
share. This represents an immediate increase in pro forma net tangible book value of $          per share to our existing
stockholders and an immediate dilution in pro forma net tangible book value of $          per share to investors purchasing
shares of our common stock in this offering at the assumed initial public offering price. The following table illustrates this
dilution:

Assumed initial public offering price per share                                                                           $
      Pro forma net tangible book value (deficit) per share as of June 30, 2013                               $1.14
      Increase in pro forma net tangible book value (deficit) per share attributable to new investors in
         this offering
Pro forma as adjusted net tangible book value per share immediately after this offering
Dilution in pro forma net tangible book value per share to new investors in this offering                                 $

       Each $1.00 increase or decrease in the assumed initial public offering price of $       per share, which is the midpoint of
the estimated offering price range set forth on the cover page of this prospectus, would increase or decrease, as applicable,
our pro forma as adjusted net tangible book value per share to new investors by $         , and would increase or decrease, as
applicable, dilution per share to new investors in this offering by $    , assuming that the number of shares offered by us, as
set forth on the cover page of this prospectus, remains the same and after deducting estimated underwriting discounts and
commissions and estimated offering expenses payable by us. Similarly, each increase or decrease of 1.0 million shares in the
number of shares offered by us would increase or decrease, as applicable, our pro forma as adjusted net tangible book value
by approximately $        per share and increase or decrease, as applicable, the dilution to new investors by $        per share,
assuming the assumed initial public offering price remains the same, and after deducting underwriting discounts and
commissions and estimated offering expenses payable by us.

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       If the underwriters’ option to purchase additional shares of our common stock from us is exercised in full, the pro forma
as adjusted net tangible book value per share of our common stock, as adjusted to give effect to this offering, would be $
per share, and the dilution in pro forma net tangible book value per share to new investors in this offering would be $       per
share.

       The following table presents, as of June 30, 2013, after giving effect to the automatic conversion of all outstanding
shares of our Class A junior preferred stock and our convertible preferred stock into our common stock immediately prior to
the completion of this offering, the differences between the existing stockholders and the new investors purchasing shares of
our common stock in this offering with respect to the number of shares purchased from us, the total consideration paid or to
be paid to us, which includes net proceeds received from the issuance of our common stock and preferred stock, cash
received from the exercise of stock options and the average price per share paid or to be paid to us at the assumed initial
public offering price of $     per share, which is the midpoint of the estimated offering price range set forth on the cover page
of this prospectus, before deducting estimated underwriting discounts and commissions and estimated offering expenses
payable by us:

                                                                     Shares Purchased            Total Consideration         Average
                                                                                                                             Price Per
                                                                    Number     Percent       Amount            Percent        Share
Existing stockholders                                                                    %   $                           %   $
New investors
      Totals                                                                      100%       $                    100%

       Each $1.00 increase or decrease in the assumed initial public offering price of $      per share, which is the midpoint of
the estimated offering price range set forth on the cover page of this prospectus, would increase or decrease, as applicable,
the total consideration paid by new investors and total consideration paid by all stockholders by approximately $      ,
assuming that the number of shares offered by us, as set forth on the cover page of this prospectus, remains the same and
after deducting estimated underwriting discounts and commissions and estimated offering expenses payable by us.

       Except as otherwise indicated, the above discussion and tables assume no exercise of the underwriters’ option to
purchase additional shares of our common stock from us. If the underwriters’ option to purchase additional shares of our
common stock were exercised in full, our existing stockholders would own % and our new investors would own % of the
total number of shares of our common stock outstanding upon the completion of this offering.

       The number of shares of our common stock that will be outstanding after this offering is based on 472,613,753 shares
of our common stock (including preferred stock on an as-converted basis) outstanding as of June 30, 2013, and excludes:
      Ÿ 44,157,061 shares of our common stock issuable upon the exercise of options to purchase shares of our common
        stock outstanding as of June 30, 2013, with a weighted-average exercise price of $1.82 per share;
      Ÿ 59,913,992 shares of our common stock subject to RSUs outstanding as of June 30, 2013;
      Ÿ 116,512 shares of our common stock, on an as-converted basis, issuable upon the exercise of a warrant to purchase
        convertible preferred stock outstanding as of June 30, 2013, with an exercise price of $0.34 per share;
      Ÿ 27,002,040 shares of our common stock subject to RSUs granted after June 30, 2013;
      Ÿ up to 14,791,464 shares of our common stock issuable upon completion of our acquisition of MoPub; and

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      Ÿ         shares of our common stock reserved for future issuance under our equity compensation plans which will
          become effective prior to the completion of this offering, consisting of:
             Ÿ         shares of our common stock reserved for future issuance under our 2013 Plan;
             Ÿ 7,814,902 shares of our common stock reserved for future issuance under our 2007 Plan (after giving effect to
               an increase of 20,000,000 shares of our common stock reserved for issuance under our 2007 Plan after
               June 30, 2013 and the grant of 27,002,040 shares of our common stock subject to RSUs granted after June
               30, 2013), which number of shares will be added to the shares of our common stock to be reserved under our
               2013 Plan upon its effectiveness; and
             Ÿ         shares of our common stock reserved for future issuance under our ESPP.

      Our 2013 Plan and ESPP each provide for annual automatic increases in the number of shares reserved thereunder,
and our 2013 Plan also provides for increases to the number of shares that may be granted thereunder based on shares
under our 2007 Plan that expire, are forfeited or otherwise repurchased by us, as more fully described in the section titled
“Executive Compensation—Employee Benefit and Stock Plans.”

       To the extent that any outstanding options to purchase our common stock or a warrant to purchase convertible
preferred stock are exercised, RSUs are settled or new awards are granted under our equity compensation plans, there will
be further dilution to investors participating in this offering.

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                                         SELECTED CONSOLIDATED FINANCIAL AND OTHER DATA

       The following selected consolidated statement of operations data for the years ended December 31, 2010, 2011 and
2012 and the consolidated balance sheet data as of December 31, 2011 and 2012 have been derived from our audited
consolidated financial statements included elsewhere in this prospectus. The consolidated balance sheet data as of
December 31, 2010 has been derived from our audited consolidated financial statements not included in this prospectus. The
selected consolidated statement of operations data for the six months ended June 30, 2012 and 2013 and the consolidated
balance sheet data as of June 30, 2013 have been derived from our unaudited interim consolidated financial statements
included elsewhere in this prospectus. The unaudited interim consolidated financial statements have been prepared on the
same basis as the audited financial statements and reflect, in the opinion of management, all adjustments, of a normal,
recurring nature that are necessary for a fair statement of the unaudited interim consolidated financial statements. Our
historical results are not necessarily indicative of the results that may be expected in the future and the results in the six
months ended June 30, 2013 are not necessarily indicative of results to be expected for the full year or any other period. You
should read the following selected consolidated financial and other data below in conjunction with the section titled
“Management’s Discussion and Analysis of Financial Condition and Results of Operations” and our consolidated financial
statements and related notes included elsewhere in this prospectus.

                                                                                                                             Six Months Ended
                                                                                          Year Ended December 31,                 June 30,
                                                                                        2010        2011         2012        2012          2013
                                                                                                 (In thousands, except per share data)
Consolidated Statement of Operations Data:
Revenue                                                                             $ 28,278      $ 106,313      $316,933       $ 122,359      $ 253,635
Costs and expenses(1)
        Cost of revenue                                                               43,168         61,803       128,768          58,157          91,828
        Research and development                                                      29,348         80,176       119,004          46,345        111,837
        Sales and marketing                                                            6,289         25,988         86,551         34,105          77,697
        General and administrative                                                    16,952         65,757         59,693         30,758          35,096
               Total costs and expenses                                               95,757        233,724       394,016         169,365        316,458
               Loss from operations                                                  (67,479)      (127,411)       (77,083)       (47,006)       (62,823)
Interest income (expense), net                                                            55           (805)        (2,486)          (890)         (2,746)
Other income (expense), net                                                             (117)        (1,530)           399            (12)         (2,548)
               Loss before income taxes                                              (67,541)      (129,746)       (79,170)       (47,908)        (68,117)
Provision (benefit) for income taxes                                                    (217)        (1,444)           229          1,196           1,134
               Net loss                                                             $(67,324)     $(128,302)     $ (79,399)     $ (49,104)     $ (69,251)
Deemed dividend to investors in relation to the tender offer                              —          35,816             —              —              —
Net loss attributable to common stockholders                                        $(67,324)     $(164,118)     $ (79,399)     $ (49,104)     $ (69,251)
Weighted-average shares used to compute net loss per share attributable to common
   stockholders:
       Basic and diluted                                                                75,992        102,544        117,401        114,825        129,853
Net loss per share attributable to common stockholders:
       Basic and diluted                                                            $    (0.89)   $     (1.60)   $     (0.68)   $     (0.43)   $     (0.53)
Pro forma net loss per share attributable to common stockholders (unaudited):(2)
       Basic and diluted                                                                                         $     (0.18)                  $     (0.15)

Other Financial Information:(3)
Adjusted EBITDA                                                                     $(51,184)     $ (42,835)     $ 21,164       $     670      $ 21,392
Non-GAAP net loss                                                                   $(54,066)     $ (65,533)     $ (35,191)     $ (22,232)     $ (26,888)

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(1)   Costs and expenses include stock-based compensation expense as follows:

                                                                                                                                Six Months Ended
                                                                                                Year Ended December 31,              June 30,
                                                                                              2010       2011       2012        2012          2013
                                                                                                                 (In thousands)
                                                                                                                                   (Unaudited)
Cost of revenue                                                                              $ 200      $ 1,820    $ 800      $    420     $ 1,955
Research and development                                                                      3,409      33,559     12,622       6,291        24,197
Sales and marketing                                                                             249       1,553      1,346         620         4,614
General and administrative                                                                    2,073      23,452     10,973       8,796         4,802
       Total stock-based compensation                                                        $5,931     $60,384    $25,741    $ 16,127     $ 35,568

(2)   See Note 9 to our consolidated financial statements for an explanation of the calculations of our pro forma net loss per share attributable to common
      stockholders.
(3)   See the sections titled “Prospectus Summary—Summary Consolidated Financial and Other Data—Non-GAAP Financial Measures” for additional information
      and a reconciliation of net loss to Adjusted EBITDA and net loss to non-GAAP net loss.

                                                                                                                                                     As of
                                                                                             Year Ended December 31,
                                                                                                                                                    June 30,
                                                                                   2010                 2011                 2012                     2013
                                                                                                               (In thousands)
                                                                                                                                                (Unaudited)
Consolidated Balance Sheet Data:
Cash and cash equivalents                                                       $ 134,253            $ 218,996             $ 203,328            $     164,509
Short-term investments                                                             43,484              330,543               221,528                  210,549
Working capital                                                                   167,088              548,324               444,587                  382,820
Property and equipment, net                                                        26,385               61,983               185,574                  242,553
Total assets                                                                      224,473              720,675               831,568                  964,059
Total liabilities                                                                  35,432               87,391               207,204                  255,898
Redeemable convertible preferred stock                                                 —                    49                37,106                   37,106
Convertible preferred stock                                                       279,534              835,073               835,430                  835,430
Total stockholders’ deficit                                                     $ (90,493)           $(201,838)            $(248,172)           $    (164,375)

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     MANAGEMENT’S DISCUSSION AND ANALYSIS OF FINANCIAL CONDITION AND RESULTS OF OPERATIONS

       The following discussion and analysis of our financial condition and results of operations should be read in conjunction
with the section titled “Selected Consolidated Financial and Other Data” and the consolidated financial statements and related
notes thereto included elsewhere in this prospectus. This discussion contains forward-looking statements that involve risks
and uncertainties. Our actual results could differ materially from those discussed below. Factors that could cause or contribute
to such differences include, but are not limited to, those identified below and those discussed in the section titled “Risk
Factors” included elsewhere in this prospectus.

Overview

       Twitter is a global platform for public self-expression and conversation in real time. Our platform is unique in its
simplicity: Tweets are limited to 140 characters of text. This constraint makes it easy for anyone to quickly create, distribute
and discover content that is consistent across our platform and optimized for mobile devices. As a result, Tweets drive a high
velocity of information exchange that makes Twitter uniquely “live.”

      We have already achieved significant global scale, and we continue to grow. We have more than 215 million MAUs
spanning nearly every country. Our users include millions of people from around the world, as well as influential individuals
and organizations, such as world leaders, government officials, celebrities, athletes, journalists, sports teams, media outlets
and brands. Our users create approximately 500 million Tweets every day.

       The value we create for our users is enhanced by our platform partners and advertisers. Millions of platform partners,
which include publishers, media outlets and developers, have integrated with Twitter, adding value to our user experience by
contributing content to our platform, broadly distributing content from our platform across their properties and using Twitter
content and tools to enhance their websites and applications. In addition, advertisers use our Promoted Products to promote
their brands, products and services, amplify their visibility and reach, and complement and extend the conversation around
their advertising campaigns. Although we do not generate revenue directly from users or platform partners, we benefit from
network effects where more activity on Twitter results in the creation and distribution of more content, which attracts more
users, platform partners and advertisers, resulting in a virtuous cycle of value creation.

       We generate the substantial majority of our revenue from the sale of advertising services, with the balance coming from
data licensing arrangements. We generate nearly all of our advertising revenue through the sale of our three Promoted
Products: Promoted Tweets, Promoted Accounts and Promoted Trends. The substantial majority of our advertising revenue is
generated on a pay-for-performance basis, which means advertisers are only charged when a user engages with their ad,
creating an attractive value proposition for our advertisers.

       We launched our first Promoted Products in mid-2010 in the United States by introducing Promoted Tweets in search
results and Promoted Trends. Since that time, we have expanded our Promoted Products to add Promoted Accounts and
extended our Promoted Products across our platform and to additional geographies. We generate advertising sales in the
United States and certain other geographies through our direct sales force, as well as through our self-serve advertising
platform.

      We introduced Promoted Products on our iOS and Android mobile applications in February 2012. Over 65% of our
advertising revenue was generated from mobile devices in the three months ended June 30, 2013.

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       Our international revenue was $53.0 million and $62.8 million in 2012 and the six months ended June 30, 2013,
respectively, representing 17% and 25% of our total revenue for those periods, respectively. We launched Promoted Products
in selected international markets in the third quarter of 2011, and we expect to continue to launch our Promoted Products in
additional markets over time. We have recently focused our international spending on sales support and marketing activities in
specific countries, including Australia, Brazil, Canada, Japan and the United Kingdom. In certain international geographies
where we have not invested to build a local sales force, we rely on resellers that serve as outside sales agents for the sale of
our Promoted Products. In the six months ended June 30, 2013, we and our resellers sold our Promoted Products to
advertisers in over 20 countries outside of the United States. We record advertising revenue based on the billing location of
our advertisers, rather than the location of our users.

      We are headquartered in San Francisco, California, and have offices in over 15 cities around the world.

Key Milestones

      We have developed our advertising services through the introduction of numerous products and services, including:

             Key Advertising Launches



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Key Metrics
      We review a number of metrics, including the following key metrics, to evaluate our business, measure our
performance, identify trends affecting our business, formulate business plans and make strategic decisions:
      Monthly Active Users (MAUs). We define MAUs as Twitter users who logged in and accessed Twitter through our
website, mobile website, desktop or mobile applications, SMS or registered third-party applications or websites in the 30-day
period ending on the date of measurement. Average MAUs for a period represent the average of the MAUs at the end of each
month during the period. In the discussion of our results of operations we compare average MAUs for the last three months of
each period discussed in such comparison. MAUs are a measure of the size of our active user base. In the three months
ended June 30, 2013, we had 218.3 million average MAUs, which represents an increase of 44% from the three months
ended June 30, 2012. In the three months ended June 30, 2013, we had 49.2 million average MAUs in the United States and
169.1 million average MAUs in the rest of the world, which represent increases of 35% and 47%, respectively, from the three
months ended June 30, 2012. For additional information on how we calculate the number of MAUs and factors that can affect
this metric, see the section titled “Industry Data and Company Metrics.”
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       Timeline Views, Timeline Views Per MAU and Advertising Revenue Per Timeline View. We define timeline views as
the total number of timelines requested when registered users visit Twitter, refresh a timeline or view search results while
logged in on our website, mobile website or desktop or mobile applications (excluding our TweetDeck and Mac clients, as we
do not fully track this data). We believe that timeline views and timeline views per MAU are measures of user engagement.
Timeline views per MAU are calculated by dividing the total timeline views for the period by the average MAUs for the last
three months of such period. In the three months and six months ended June 30, 2013, we had 150.9 billion and 287.2 billion
timeline views, respectively, which represent increases of 69% and 79% from the three months and six months ended June
30, 2012, respectively. In the three months and six months ended June 30, 2013, we had 40.6 billion and 80.2 billion timeline
views in the United States, respectively, which represent increases of 45% and 57% from the three months and six months
ended June 30, 2012, respectively. In the three months and six months ended June 30, 2013, we had 110.3 billion and
207.1 billion timeline views in the rest of the world, respectively, which represent increases of 79% and 89% from the three
months and six months ended June 30, 2012, respectively. In the three months ended June 30, 2013, we had 691 timeline
views per MAU, which represents an increase of 17% from the three months ended June 30, 2012. In the three months ended
June 30, 2013, we had 825 timeline views per MAU in the United States and 652 timeline views per MAU in the rest of the
world, which represent increases of 8% and 22% from the three months ended June 30, 2012, respectively. For additional
information on how we calculate the number of timeline views and factors that can affect this metric, see the section titled
“Industry Data and Company Metrics.”

      We define advertising revenue per timeline view as advertising revenue per 1,000 timeline views during the applicable
period. We believe that advertising revenue per timeline view is a measure of our ability to monetize our platform. In the three
months ended June 30, 2013, our advertising revenue per timeline view was $0.80, which represents a 26% increase from the
three months ended June 30, 2012. In the three months ended June 30, 2013, our advertising revenue per timeline view in
the United States was $2.17 and our advertising revenue per timeline view in the rest of the world was $0.30, which represent
increases of 26% and 111% from the three months ended June 30, 2012, respectively. We record advertising revenue based
on the billing location of our advertisers, rather than the location of our users.
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Factors Affecting Our Future Performance
      User Growth, User Engagement and Monetization. User growth trends reflected in the number of MAUs, user
engagement trends reflected in timeline views and timeline views per MAU and monetization trends reflected in advertising
revenue per timeline view are key factors that affect our revenue. As our user base and the level of engagement of our users
grow, we believe the potential to increase our revenue grows.
            User Growth. We have experienced significant growth in our number of users over the last several years. In
      general, a higher proportion of Internet users in the United States uses Twitter than Internet users in other countries.
      Accordingly, in the future we expect our user growth rate in certain international markets, such as Argentina, France, Japan,
      Russia, Saudi Arabia and South Africa, to continue to be higher than our user growth rate in the United States. However, we
      expect to face challenges in entering some markets, such as China, where access to Twitter is blocked, as well as certain
      other countries that have intermittently restricted access to Twitter. Restrictions or
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  limitations on access to Twitter may adversely impact our ability to increase the size of our user base and generate
  additional revenue in certain markets.
        Our user base continues to grow. Although we do not separately track whether an MAU has only used Twitter on a
  desktop or on a mobile device, the usage of our mobile applications continues to grow. In the three months ended June 30,
  2013, 75% of our average MAUs accessed Twitter from a mobile device, compared to 66% in the three months ended June
  30, 2012.
        We may face challenges in increasing the size of our user base, including, among others, competition from
  alternative products and services, a decline in the number of influential users on Twitter or a perceived decline in the quality
  of content available on Twitter. We intend to drive growth in our user base by continuing to demonstrate the value and
  usefulness of our products and services to potential new users, and by introducing new products, services and features.
  We anticipate that our user growth rate will slow over time as the size of our user base increases. To the extent our user
  growth or user growth rate slows, our revenue growth will become increasingly dependent on our ability to increase levels
  of user engagement, as measured by timeline views and timeline views per MAU, and monetization, as measured by
  advertising revenue per timeline view.
         User Engagement. We broadly measure user engagement on our platform through timeline views and the number
  of timeline views per MAU. In the three months ended June 30, 2013, timeline views increased 69% and timeline views per
  MAU increased 17%, compared to the three months ended June 30, 2012. We continue to develop products for our
  platform, and to develop partnerships globally to increase relevant local content on our platform, with the goal of increasing
  our user engagement. In particular, our most engaged users are generally those who access Twitter via our mobile
  applications. In the three months ended June 30, 2013, a substantial majority of timeline views were on mobile devices, and
  the increase in timeline views was driven by mobile user engagement. We expect this trend to continue in the near term,
  and we plan to continue to develop and improve our mobile applications to further drive user adoption of these applications.
  However, to the extent user engagement as measured by timeline views and timeline views per MAU does not increase,
  our revenue growth will depend in large part on our ability to increase MAUs or monetization of our platform.
         Monetization. We measure monetization of our platform through advertising revenue per timeline view. There are
  many variables that impact timeline views and advertising revenue per timeline view, such as the number of MAUs, the
  number of timeline views per MAU, which timeline views we monetize and the amount of advertising we choose to display,
  our users’ engagement with our Promoted Products and advertiser demand. Generally, for our pay-for-performance
  Promoted Products, we design our algorithms to optimize for the combined impact of a number of factors, including the
  overall user experience, the number of ads we deliver to a particular user, the likelihood that our users will engage with the
  ads, the value we deliver to advertisers and the impact of the advertisers’ bids. We design our algorithms to enhance the
  user experience by delivering relevant ads to a user based on the user’s Interest Graph, and these ads may contain
  information of interest to the user or may provide promotional offers that are not available anywhere else. Our algorithms
  also enhance the value that we deliver to advertisers because the targeting capabilities of our algorithms allow advertisers
  to deliver ads that are relevant to a user’s interests, thereby increasing the effectiveness of an advertiser’s advertising
  campaign.
         We regularly refine our algorithms to drive monetization while maximizing the long-term value of our platform for our
  users and advertisers. Given the large number of variables that drive advertising revenue per timeline view, including
  decisions that we make regarding optimizing user experience and satisfying advertiser demand, certain individual
  components may decline while others increase. Ultimately, it is the combination of the changes in these components that
  impacts advertising revenue per timeline view. For example, advertising revenue has increased sequentially in each of the
  five quarters ended June 30, 2013, driven by sequential increases in paid user
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  engagements with our pay-for-performance Promoted Products, or ad engagements, over those same periods, partially
  offset by sequential decreases in average cost per ad engagement during the same periods. The number of ad
  engagements increased 55%, 32%, 78%, 15% and 124% sequentially in the three months ended June 30, 2012,
  September 30, 2012, December 31, 2012, March 31, 2013 and June 30, 2013, respectively. The increases in ad
  engagements over these periods were primarily due to increases in MAUs, user engagement levels, as measured by
  timeline views per MAU, and advertiser demand. Average cost per ad engagement decreased 18%, 9%, 19%, 12% and
  46% sequentially in the three months ended June 30, 2012, September 30, 2012, December 31, 2012, March 31, 2013 and
  June 30, 2013, respectively. The decreases in cost per ad engagement over these periods were primarily due to an
  increase in supply of advertising inventory available in our auctions, which was partially offset by increased demand for our
  Promoted Products. Supply of advertising inventory increased as we expanded the distribution of our Promoted Products to
  our mobile applications and additional markets outside of the United States in 2012. The increase in advertising inventory
  provided us with additional opportunities to place ads on our platform. This increase in advertising inventory combined with
  efforts in the three months ended June 30, 2013 to improve the advertiser experience by refining our algorithms to balance
  the distribution of an advertiser’s budget throughout the day reduced the amount that advertisers were required to bid to
  win auctions for our pay-for-performance Promoted Products. This reduction in cost per ad engagement made our
  Promoted Products more attractive for our existing advertisers and new advertisers, including small and medium sized
  businesses with smaller advertising budgets, as well as international advertisers. As we continue to optimize for advertiser
  value and the overall user experience, the cost per ad engagement may continue to decline over time, and we expect the
  cost per ad engagement to decline in the near term. In the event that cost per ad engagement continues to decline, and we
  are unable to continue to offset the impact of such decreases on advertising revenue by increasing the number of ad
  engagements, our advertising revenue would decline. We believe that, in order to increase the cost per ad engagement, we
  will need to increase advertiser demand for our Promoted Products by enhancing the value of such products. We plan to
  increase the value of our Promoted Products by increasing the size and engagement of our user base, improving our ability
  to target advertising to our users’ interests and improving the ability of our advertisers to optimize their campaigns and
  measure the results of their campaigns. We also believe our goal of maximizing the long-term value of our platform for our
  users and advertisers should make Promoted Products more attractive to our existing and new advertisers and allow us to
  deliver more relevant ads on our platform.
         In addition, our advertising revenue per timeline view in the United States is substantially higher than our advertising
  revenue per timeline view in the rest of the world. For example, during the three months ended June 30, 2013, our
  advertising revenue per timeline view in the United States was $2.17 and our advertising revenue per timeline view in the
  rest of the world was $0.30. We expect this disparity to continue for the foreseeable future. Accordingly, to the extent the
  number of international users and engagement by international users grow faster than U.S. users and engagement by U.S.
  users, total advertising revenue per timeline view may be adversely impacted even if total advertising revenue continues to
  increase.
        We have also been able to generate significant revenue through our mobile applications. We introduced Promoted
  Products on our iOS and Android mobile applications in February 2012, and have since expanded to include Promoted
  Products on our other mobile applications. In the three months ended June 30, 2013, over 65% of our advertising revenue
  was generated from mobile devices. We have experienced strong growth in advertising revenue from mobile devices
  because user engagement, as measured by timeline views, is significantly higher on mobile applications than on our
  desktop applications, and we expect this trend to continue. However, Promoted Accounts and Promoted Trends receive
  less prominence on our mobile applications than they do on our desktop applications, which means that fewer users see
  them displayed on our mobile applications, resulting in fewer ad engagements with Promoted Accounts and fewer
  impressions of Promoted
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  Trends on mobile applications. Primarily as a result of Promoted Accounts and Promoted Trends receiving less prominence
  on mobile applications, we have generated higher advertising revenue per timeline view on our desktop applications than
  on our mobile applications. Although advertising revenue per timeline view on our desktop applications is higher than
  advertising revenue per timeline view on our mobile applications, the substantial majority of our timeline views and
  advertising revenue is generated from mobile applications. Accordingly, to the extent that user engagement on mobile
  applications continues to increase faster than user engagement on our desktop applications, advertising revenue per
  timeline view may be adversely impacted even if total advertising revenue continues to increase.
        We intend to continue to increase the monetization of our platform by improving the targeting capabilities of our
  advertising services to enhance the value of our Promoted Products for advertisers, expanding our sales efforts to reach
  advertisers in additional international markets, opening our platform to additional advertisers through our self-serve
  advertising platform and developing new ad formats for advertisers.

       Effectiveness of Our Advertising Services. Advertisers can use Twitter to communicate directly with their followers for
free, but many choose to purchase our advertising services to reach a broader audience and further promote their brands,
products and services. We believe that increasing the effectiveness of our Promoted Products for advertisers will increase the
amount that advertisers spend with us. We aim to increase the value of our Promoted Products by increasing the size and
engagement of our user base, improving our ability to target advertising to our users’ interests and improving the ability of our
advertisers to optimize their campaigns and measure the results of their campaigns. We may also develop new advertising
products and services.

       International Expansion. We intend to invest in our international operations in order to expand our user base and
advertiser base and increase user engagement and monetization internationally. In the three months ended June 30, 2013,
we had 169.1 million average MAUs internationally compared to 49.2 million average MAUs in the United States. In addition,
our number of users is growing at a faster rate in many international markets, such as Argentina, France, Japan, Russia,
Saudi Arabia and South Africa. However, we derive the substantial majority of our advertising revenue from advertisers in the
United States. We also generate significantly more advertising revenue per timeline view in the United States than
internationally, with advertising revenue per timeline view in the three months ended June 30, 2013 of $2.17 in the United
States and $0.30 internationally. Further, because we record advertising revenue based on the billing location of our
advertisers, engagement by international users with ads placed by advertisers located in the United States increases our
advertising revenue per timeline view in the United States. In order to increase our international advertising revenue, we plan
to invest in our international operations. In the near term, we plan to increase the size of our sales and marketing support
teams in Australia, Brazil, Ireland and the Netherlands, and we plan to extend our self-serve advertising platform to countries
outside of the United States.

        We face challenges in increasing our advertising revenue internationally, including local competition, differences in
advertiser demand, differences in the digital advertising market and conventions, and differences in the manner in which
Twitter is accessed and used internationally. We face competition from well established competitors in certain international
markets, including Kakao in South Korea and LINE in Japan. In addition, certain international markets are not as familiar with
digital advertising in general, or with new forms of digital advertising, such as our Promoted Products. In these jurisdictions we
are investing to educate advertisers about the benefits of our advertising services. However, we expect that it may require a
significant investment of time and resources to educate advertisers in many international markets. We also face challenges in
providing certain advertising products, features or analytics in certain international markets, such as the European Union, due
to government regulation. In addition, in certain emerging markets, many users access

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Twitter through feature phones with limited functionality, rather than through smartphones, our website or desktop
applications. This limits our ability to deliver certain features to these users and may limit the ability of advertisers to deliver
compelling ads to users in these markets. We are investing to improve our applications for feature phones in order to improve
our ability to monetize our products and services in international markets.

       Competition. We face significant competition for users and advertisers. We compete against many companies to
attract and engage users and for advertiser spend, including companies with greater financial resources and substantially
larger user bases, such as Facebook (including Instagram), Google, LinkedIn, Microsoft and Yahoo!, which offer a variety of
Internet and mobile device-based products, services and content. In recent years there have been significant acquisitions and
consolidation by and among our actual and potential competitors. We must compete effectively for users and advertisers in
order to grow our business and increase our revenue. We believe that our ability to compete effectively for users depends
upon a number of factors, including the quality of our products and services; and our ability to compete effectively for
advertisers depends upon a number of factors, including our ability to offer attractive advertising products with unique
targeting capabilities and the size of our active user base. We intend to continue to invest in research and development to
improve our products and services for users and advertisers and to grow our active user base in order to address the
competitive challenges in our industry. As part of our strategy to improve our products and services, we may acquire other
companies to add engineering talent or complementary products and technologies.

       Investment in Infrastructure. We intend to increase the capacity and enhance the capability and reliability of our
infrastructure. Our infrastructure is critical to providing users, platform partners, advertisers and data partners access to our
platform, particularly during major planned and unplanned events, such as elections, sporting events or natural disasters,
when activity on our platform increases dramatically. As our user base and the activity on our platform grow, we expect that
investments and expenses associated with our infrastructure will continue to grow. These investments and expenses include
the expansion of our data center operations and related operating costs, additional servers and networking equipment to
increase the capacity of our infrastructure and increased bandwidth costs.

      Products and Services Innovation. Our ability to increase the size and engagement of our user base, attract
advertisers and increase our revenue will depend, in part, on our ability to improve existing products and services and to
successfully develop or acquire new products and services. We plan to continue to make significant investments in research
and development and, from time to time, we may acquire companies to enhance our products, services and technical
capabilities.

      Investment in Talent. We intend to invest in hiring and retaining talented employees to grow our business and
increase our revenue. As of June 30, 2013, we had approximately 2,000 full-time employees, an increase of over 900 full-time
employees, or approximately 90%, from June 30, 2012. We expect to grow headcount for the foreseeable future as we
continue to invest in our business. We have also made and intend to continue to make acquisitions that add engineers,
designers, product managers and other personnel with specific technology expertise. In addition, we must retain our high-
performing personnel in order to continue to develop, sell and market our products and services and manage our business.

       Seasonality. Advertising spending is traditionally strongest in the fourth quarter of each year. Historically, this
seasonality in advertising spending has affected our quarterly results, with higher sequential advertising revenue growth from
the third quarter to the fourth quarter compared to sequential advertising revenue growth from the fourth quarter to the
subsequent first quarter. For example, our advertising revenue increased 63% and 45% between the third and fourth quarters
of 2011 and 2012, respectively, while advertising revenue for the first quarter of 2012 and 2013 increased 37% and 1%
compared to the fourth quarter of 2011 and 2012, respectively. In addition, advertising

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revenue per timeline view increased 31% between the third and fourth quarter of 2012, while advertising revenue per timeline
view decreased 13% between the fourth quarter of 2012 and the first quarter of 2013. The rapid growth in our business may
have partially masked seasonality to date and the seasonal impacts may be more pronounced in the future.

       Stock-Based Compensation Expense. Since May 2011, we have been granting RSUs to our employees. The Pre-
2013 RSUs vest upon the satisfaction of both a service condition and a performance condition. The service condition for a
majority of the Pre-2013 RSUs is satisfied over a period of four years. The performance condition will be satisfied on the
earlier of (i) the date that is the earlier of (x) six months after the effective date of this offering or (y) March 8th of the calendar
year following the effective date of this offering (which we may elect to accelerate to February 15th); and (ii) the date of a
change in control. As of June 30, 2013, no stock-based compensation expense had been recognized for the Pre-2013 RSUs
because a qualifying event as described above was not probable. In the quarter in which this offering is completed, we will
begin recording stock-based compensation expense based on the grant-date fair value of the Pre-2013 RSUs using the
accelerated attribution method, net of estimated forfeitures. If this offering had been completed on June 30, 2013, we would
have recorded $329.6 million of cumulative stock-based compensation expense related to the Pre-2013 RSUs on that date,
and an additional $234.2 million of unrecognized stock-based compensation expense related to the Pre-2013 RSUs, net of
estimated forfeitures, would be recognized over a weighted-average period of approximately three years. In addition to stock-
based compensation expense associated with the Pre-2013 RSUs, as of June 30, 2013, we had unrecognized stock-based
compensation expense of approximately $296.7 million related to other outstanding equity awards, after giving effect to
estimated forfeitures, which we expect to recognize over a weighted-average period of approximately four years. Further, we
made grants of equity awards after June 30, 2013, and we have unrecognized stock-based compensation expense of
$452.9 million related to such equity awards, after giving effect to estimated forfeitures, which we expect to recognize over a
weighted-average period of approximately four years.

        On the settlement dates for the Pre-2013 RSUs, we may choose to allow our employees who are not executive officers
to sell shares of our common stock received upon the vesting and settlement of the Pre-2013 RSUs in the public market to
satisfy their income tax obligations related to the vesting and settlement of such awards, or we may choose to undertake a net
settlement of these awards and withhold and remit income taxes on behalf of the holders of Pre-2013 RSUs at the applicable
minimum statutory rates. We expect the applicable minimum statutory rates to be approximately 40% on average, and the
income taxes due would be based on the then-current value of the underlying shares of our common stock. Based on the
number of Pre-2013 RSUs outstanding as of June 30, 2013 for which the service condition had been satisfied on that date,
and assuming (i) the performance condition had been satisfied on that date and (ii) that the price of our common stock at the
time of settlement was equal to $        , which is the midpoint of the estimated offering price range set forth on the cover page
of this prospectus, we estimate that this tax obligation on the initial settlement date would be approximately $         in the
aggregate. The amount of this obligation could be higher or lower, depending on the price of shares of our common stock on
the initial settlement date for the Pre-2013 RSUs. To settle these Pre-2013 RSUs on the initial settlement date, assuming a
40% tax withholding rate, if we choose to undertake a net settlement of all of these awards rather than allowing our
employees who are not executive officers to sell shares of our common stock in the public market to satisfy their income tax
obligations related to the vesting and settlement of such awards, we would expect to deliver an aggregate of approximately
         shares of our common stock to Pre-2013 RSU holders and withhold an aggregate of approximately                   shares of
our common stock. In connection with these net settlements, we would withhold and remit the tax liabilities on behalf of the
Pre-2013 RSU holders to the relevant tax authorities in cash.

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Components of Results of Operations

Revenue
       We generate the substantial majority of our revenue from the sale of advertising services. We also generate revenue by
licensing our data to third parties.

Advertising Services
     We generate substantially all of our advertising revenue by selling our Promoted Products. Currently, our Promoted
Products consist of the following:
      Ÿ Promoted Tweets. Promoted Tweets, which are labeled as “promoted,” appear within a user’s timeline or search
        results just like an ordinary Tweet regardless of device, whether it be desktop or mobile. Using our proprietary
        algorithms and understanding of the interests of each user, we can deliver Promoted Tweets that are intended to be
        relevant to a particular user. We enable our advertisers to target an audience based on our users’ Interest Graphs.
        Our Promoted Tweets are pay-for-performance advertising that are priced through an auction. We recognize
        advertising revenue when a user engages with a Promoted Tweet.
      Ÿ Promoted Accounts. Promoted Accounts, which are labeled as “promoted,” appear in the same format and place
        as accounts suggested by our Who to Follow recommendation engine. Promoted Accounts provide a way for our
        advertisers to grow a community of users who are interested in their business, products or services. Our Promoted
        Accounts are pay-for-performance advertising that are priced through an auction. We recognize advertising revenue
        when a user follows a Promoted Account.
      Ÿ Promoted Trends. Promoted Trends, which are labeled as “promoted,” appear at the top of the list of trending
        topics for an entire day in a particular country or on a global basis. When a user clicks on a Promoted Trend, search
        results for that trend are shown in a timeline and a Promoted Tweet created by the advertiser is displayed to the user
        at the top of those search results. We sell our Promoted Trends on a fixed-fee-per-day basis. We feature one
        Promoted Trend per day per geography, and recognize advertising revenue from a Promoted Trend when it is
        displayed on our platform.

Data Licensing
       We offer data licenses that allow our data partners to access, search and analyze historical and real-time data on our
platform, which data consists of public Tweets and their content. Our data partners generally purchase licenses to access all
or a portion of our data for a fixed period, which is typically two years. We recognize data licensing revenue as the licensed
data is made available to our data partners. In the six months ended June 30, 2013, our top five data partners accounted for
approximately 75% of our data licensing revenue, and approximately 10% of total revenue in the period. We expect data
licensing revenue to decrease as a percentage of our total revenue over time.

Cost of Revenue and Operating Expenses
      Cost of Revenue
      Cost of revenue consists primarily of data center costs related to our co-located facilities, which include lease and
hosting costs, related support and maintenance costs and energy and bandwidth costs, as well as depreciation of our servers
and networking equipment, and personnel-related costs, including salaries, benefits and stock-based compensation, for our
operations teams. Cost of revenue also includes allocated facilities and other supporting overhead costs, amortization of
acquired intangible assets and capitalized labor costs. Many of the elements of our cost of revenue are relatively fixed, and
cannot be reduced in the near term to offset any decline in our revenue.

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      We plan to continue increasing the capacity and enhancing the capability and reliability of our infrastructure to support
user growth and increased activity on our platform. We anticipate a significant increase in cost of revenue in the year ending
December 31, 2013 as a result of the stock-based compensation expense associated with the Pre-2013 RSUs as described in
“—Factors Affecting Our Future Performance—Stock-Based Compensation Expense.” We expect that cost of revenue will
increase in dollar amount for the foreseeable future and vary in the near term from period to period as a percentage of
revenue.

      Research and Development
       Research and development expenses consist primarily of personnel-related costs, including salaries, benefits and
stock-based compensation, for our engineers and other employees engaged in the research and development of our products
and services. In addition, research and development expenses include allocated facilities and other supporting overhead
costs.

      We plan to continue to hire employees for our engineering, product management and design teams to support our
research and development efforts. We anticipate a significant increase in research and development expenses in the year
ending December 31, 2013 as a result of the stock-based compensation expense associated with the Pre-2013 RSUs as
described in “—Factors Affecting Our Future Performance—Stock-Based Compensation Expense.” We expect that research
and development costs will increase in dollar amount for the foreseeable future and vary in the near term from period to period
as a percentage of revenue.

      Sales and Marketing
      Sales and marketing expenses consist primarily of personnel-related costs, including salaries, benefits and stock-based
compensation for our employees engaged in sales, sales support, commissions, business development and media,
marketing, corporate communications and customer service functions. In addition, marketing and sales-related expenses also
include market research, tradeshows, branding, marketing and public relations costs, as well as allocated facilities and other
supporting overhead costs.

       We plan to continue to invest in sales and marketing to expand internationally, grow our advertiser base and increase
our brand awareness. We anticipate a significant increase in sales and marketing expenses in the year ending December 31,
2013 as a result of the stock-based compensation expense associated with the Pre-2013 RSUs as described in “—Factors
Affecting Our Future Performance—Stock-Based Compensation Expense.” We expect that sales and marketing expenses will
increase in dollar amount for the foreseeable future and vary in the near term from period to period as a percentage of
revenue.

      General and Administrative
       General and administrative expenses consist primarily of personnel-related costs, including salaries, benefits and stock-
based compensation, for our executive, finance, legal, information technology, human resources and other administrative
employees. In addition, general and administrative expenses include fees and costs for professional services, including
consulting, third-party legal and accounting services and facilities and other supporting overhead costs that are not allocated
to other departments.

     We plan to continue to expand our business both domestically and internationally, and expect to increase the size of our
general and administrative function to help grow our business. We expect that we will incur additional general and
administrative expenses as a result of being a publicly-traded company.

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We also anticipate a significant increase in general and administrative expenses in the year ending December 31, 2013 as a
result of the stock-based compensation expense associated with the Pre-2013 RSUs as described in “—Factors Affecting Our
Future Performance—Stock-Based Compensation Expense.” We expect that general and administrative expenses will
increase in dollar amount for the foreseeable future and vary in the near term from period to period as a percentage of
revenue.

      Provision (Benefit) for Income Taxes
       Provision for income taxes consists of federal and state income taxes in the United States and income taxes in certain
foreign jurisdictions, and deferred income taxes and changes in related valuation allowance reflecting the net tax effects of
temporary differences between the carrying amounts of assets and liabilities for financial reporting purposes and the amounts
used for income tax purposes.

        As of December 31, 2012, we had $298.8 million of federal and $216.7 million of state net operating loss carryforwards
available to reduce future taxable income. These net operating loss carryforwards will begin to expire for federal income tax
purposes and state income tax purposes in 2027 and 2017, respectively. We expect our net operating loss carryforwards to
increase in the quarter in which we initially settle a portion of the Pre-2013 RSUs as a result of the vesting of such RSUs. We
also have research credit carryforwards of $6.6 million and $10.5 million for federal and state income tax purposes,
respectively. The federal research credit carryforward will begin to expire in 2027. The state research credit carryforward has
no expiration date. Utilization of the net operating loss carryforwards and research carryforwards credit may be subject to an
annual limitation due to the ownership change limitations set forth in the Code, and similar state provisions. Any annual
limitation may result in the expiration of net operating losses and research credits before utilization.

Results of Operations

      The following tables set forth our consolidated statement of operations data for each of the periods presented:

                                                                                                              Six Months Ended
                                                                    Year Ended December 31,                        June 30,
                                                             2010            2011             2012          2012            2013
                                                                                         (In thousands)
                                                                                                                (Unaudited)
Revenue
      Advertising services                               $  7,321         $ 77,710        $269,421        $ 101,302     $ 221,432
      Data licensing                                       20,957            28,603         47,512           21,057        32,203
            Total revenue                                $ 28,278         $ 106,313       $316,933        $ 122,359     $ 253,635
Costs and expenses(1)
      Cost of revenue                                       43,168           61,803        128,768           58,157         91,828
      Research and development                              29,348           80,176        119,004           46,345       111,837
      Sales and marketing                                    6,289           25,988          86,551          34,105         77,697
      General and administrative                            16,952           65,757          59,693          30,758         35,096
            Total costs and expenses                        95,757          233,724        394,016          169,365       316,458
            Loss from operations                           (67,479)        (127,411)        (77,083)        (47,006)      (62,823)
Interest income (expense), net                                  55             (805)         (2,486)           (890)        (2,746)
Other income (expense), net                                   (117)          (1,530)            399             (12)        (2,548)
            Loss before income taxes                       (67,541)        (129,746)        (79,170)        (47,908)       (68,117)
Provision (benefit) for income taxes                          (217)          (1,444)            229           1,196          1,134
            Net loss                                     $ (67,324)       $(128,302)      $ (79,399)      $ (49,104)    $ (69,251)
(1)
      Costs and expenses include stock-based compensation expense as follows:

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                                                                                                                    Six Months Ended
                                                                           Year Ended December 31,                       June 30,
                                                                       2010         2011          2012             2012           2013
                                                                                             (In thousands)
                                                                                                                      (Unaudited)
      Cost of revenue                                              $   200          $ 1,820     $   800        $    420        $ 1,955
      Research and development                                       3,409           33,559      12,622           6,291         24,197
      Sales and marketing                                              249            1,553       1,346             620          4,614
      General and administrative                                     2,073           23,452      10,973           8,796          4,802
           Total                                                   $ 5,931          $60,384     $25,741        $ 16,127        $35,568

      The following table sets forth our consolidated statement of operations data for each of the periods presented as a
percentage of revenue:

                                                                                                                        Six Months
                                                                                        Year Ended                         Ended
                                                                                       December 31,                      June 30,
                                                                             2010          2011         2012          2012       2013
Revenue
      Advertising services                                                     26%             73%       85%            83%          87%
      Data licensing                                                           74              27        15             17           13
            Total Revenue                                                     100             100       100            100          100
Costs and expenses
      Cost of revenue                                                         153            58          41             48           36
      Research and development                                                104            75          38             38           44
      Sales and marketing                                                      22            24          27             28           31
      General and administrative                                               60            62          19             25           14
            Total costs and expenses                                          339           220         124            138          125
            Loss from operations                                             (239)         (120)        (24)           (38)         (25)
Interest income (expense), net                                                 —             (1)         (1)            (1)          (1)
Other income (expense), net                                                    —             (1)         —              —            (1)
            Loss before income taxes                                         (239)         (122)        (25)           (39)         (27)
Provision (benefit) for income taxes                                           (1)           (1)         —               1           —
            Net loss                                                         (238)%        (121)%       (25)%          (40)%        (27)%

Six Months Ended June 30, 2012 and 2013

Revenue

                                                                                             Six Months Ended
                                                                                                  June 30,
                                                                                          2012               2013            % Change
                                                                                         (Unaudited, in thousands)
Advertising services                                                                   $101,302           $221,432                  119%
Data licensing                                                                           21,057             32,203                   53%
     Total revenue                                                                     $122,359           $253,635                  107%

      Revenue in the six months ended June 30, 2013 increased by $131.3 million compared to the six months ended June
30, 2012.

      In the six months ended June 30, 2013, advertising revenue increased by 119% compared to the six months ended
June 30, 2012. The increase was primarily attributable to a 79% increase in timeline views in the six months ended June 30,
2013, compared to the same period in the prior year, as well
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as an increase in demand from advertisers that drove an increase in advertising revenue per timeline view of 22% in the six
months ended June 30, 2013 compared to the same period in the prior year. The increase in timeline views was driven by a
44% increase in average MAUs, and a 24% increase in the user engagement levels of MAUs, as measured by timeline views
per MAU, in the six months ended June 30, 2013 compared to the same period in the prior year. The increase in advertising
revenue per timeline view was primarily driven by a 199% increase in ad engagements per timeline view, partially offset by a
59% decrease in average cost per ad engagement in the six months ended June 30, 2013 compared to the same period in
the prior year. The increase in ad engagements per timeline view, combined with the increase in timeline views, resulted in a
435% increase in the number of ad engagements in the six months ended June 30, 2013 compared to the same period in the
prior year. Advertising revenue also benefited from sales of our Promoted Products on our mobile applications, which were
launched in the six months ended June 30, 2012, as well as from an increase in international revenue.

      In the six months ended June 30, 2013, data licensing revenue increased by 53% compared to the six months ended
June 30, 2012. The increase in data licensing revenue was attributable to a 25% net increase in licensing fees from existing
data partners, as well as an increase in licensing fees from new data partners in the six months ended June 30, 2013
compared to the same period in the prior year.

Cost of Revenue

                                                                                  Six Months Ended
                                                                                       June 30,
                                                                              2012                   2013          % Change
                                                                               (Unaudited, dollar amounts
                                                                                     in thousands)
Cost of revenue                                                            $ 58,157              $ 91,828                58%
Cost of revenue as a percentage of revenue                                       48%                   36%

      In the six months ended June 30, 2013, cost of revenue increased by $33.7 million compared to the six months ended
June 30, 2012. The increase was primarily attributable to a $14.4 million increase in depreciation expense related to capital
leases for additional server and networking equipment, a $7.7 million increase in allocated facilities and other supporting
overhead costs, a $6.4 million increase in personnel-related costs, mainly driven by an increase in average employee
headcount and recognition of stock-based compensation expense related to Post-2013 RSUs we began to grant in February
2013, and a $5.2 million increase in data center costs related to our co-located facilities.

Research and Development

                                                                                    Six Months Ended
                                                                                         June 30,
                                                                               2012                  2013          % Change
                                                                               (Unaudited, dollar amounts
                                                                                     in thousands)
Research and development                                                    $ 46,345              $ 111,837             141%
Research and development as a percentage of revenue                               38%                    44%

       In the six months ended June 30, 2013, research and development expense increased by $65.5 million compared to
the six months ended June 30, 2012. The increase was primarily attributable to a $61.5 million increase in personnel-related
costs, mainly driven by an increase in average employee headcount and recognition of stock-based compensation expense
related to Post-2013 RSUs we began to grant in February 2013, and a $13.1 million increase in allocated facilities and other
supporting overhead costs. These increases were partially offset by a $9.1 million increase in the capitalization of costs
associated with developing software for internal use.
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Sales and Marketing

                                                                                         Six Months Ended
                                                                                              June 30,
                                                                                    2012                  2013                 % Change
                                                                                    (Unaudited, dollar amounts
                                                                                          in thousands)
Sales and marketing                                                           $ 34,105                  $ 77,697                   128%
Sales and marketing as a percentage of revenue                                      28%                       31%

      In the six months ended June 30, 2013, sales and marketing expenses increased by $43.6 million compared to the six
months ended June 30, 2012. The increase was primarily attributable to a $26.6 million increase in personnel-related costs,
mainly driven by an increase in average employee headcount and recognition of stock-based compensation expense related
to RSUs granted to domestic employees and other service providers starting in February 2013, or Post-2013 RSUs, an
$11.2 million increase in marketing and sales-related expenses and a $5.8 million increase in allocated facilities and other
supporting overhead costs.

General and Administrative

                                                                                       Six Months Ended
                                                                                            June 30,
                                                                                   2012                   2013                 % Change
                                                                                    (Unaudited, dollar amounts
                                                                                          in thousands)
General and administrative                                                   $ 30,758                   $ 35,096                       14%
General and administrative as a percentage of revenue                              25%                        14%

      In the six months ended June 30, 2013, general and administrative expenses increased by $4.3 million compared to the
six months ended June 30, 2012. The increase was primarily attributable to an increase in costs for professional services of
$6.9 million and a $4.3 million increase in personnel-related costs, mainly driven by an increase in average employee
headcount. These increases were partially offset by a $6.9 million decrease in unallocated facilities and other supporting
overhead costs, resulting from increased allocation of overhead costs to other functions with higher headcount growth.

Provision (Benefit) for Income Taxes

                                                                                                               Six Months Ended
                                                                                                                    June 30,
                                                                                                            2012                2013
                                                                                                                  (Unaudited,
                                                                                                                 in thousands)
Provision for income taxes                                                                          $            1,196     $      1,134

       Our provision for income taxes in the six months ended June 30, 2013 did not change significantly compared to the six
months ended June 30, 2012, resulting in income tax expense of $1.1 million in the six months ended June 30, 2013. The
slight decrease was primarily due to a reduction in state income taxes and tax benefits arising from acquisitions, offset by an
increase in foreign tax expense.

Years Ended December 31, 2010, 2011 and 2012

Revenue

                                                         Year Ended December 31,                        2010 to 2011       2011 to 2012
                                                  2010             2011                2012              % Change           % Change
                                                              (In thousands)
Advertising services                          $  7,321        $  77,710            $ 269,421                   961%                247%
Data licensing                                  20,957           28,603               47,512                    36%                 66%
     Total revenue                            $ 28,278        $ 106,313            $ 316,933                   276%                198%

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      2012 Compared to 2011.      Revenue in 2012 increased by $210.6 million compared to 2011.

      In 2012, advertising revenue increased by 247% compared to 2011. The increase was primarily attributable to the
expansion of our advertising service offerings in the second half of 2011 and the first half of 2012, as well as a 59% increase
in average MAUs in 2012 compared to 2011. We expanded our advertising service offerings through the introduction of
Promoted Tweets in all user timelines in October 2011 and Promoted Products on mobile applications in February 2012.

      In 2012, data licensing revenue increased by 66% compared to 2011. The increase in data licensing revenue was
primarily attributable to a 51% net increase in licensing fees from existing data partners in 2012 compared to 2011, and to a
lesser extent from an increase in licensing fees from new data partners.

      2011 Compared to 2010.      Revenue in 2011 increased by $78.0 million compared to 2010.

      In 2011, advertising revenue increased by 961% compared to 2010. The increase was primarily attributable to the full
year impact of Promoted Products in 2011, as these products were introduced in 2010, an expansion in our advertising
service offerings in 2011 and a 115% increase in average MAUs in 2011 compared to 2010. We introduced our first Promoted
Product, Promoted Trends, in June 2010 and expanded our advertising service offerings through the introduction of Promoted
Tweets in all user timelines in October 2011.

      In 2011, data licensing revenue increased by 36% compared to 2010. The increase in data licensing revenue was
primarily attributable to a 22% net increase in licensing fees from existing data partners in 2011 compared to 2010.

Cost of Revenue

                                                          Year Ended December 31,                  2010 to 2011      2011 to 2012
                                                 2010               2011              2012          % Change          % Change
                                                               (In thousands)
Cost of revenue                                $43,168          $61,803             $128,768                43%             108%
Cost of revenue as a percentage of
  revenue                                           153%              58%                    41%

      2012 Compared to 2011. In 2012, cost of revenue increased by $67.0 million compared to 2011. The increase was
primarily attributable to a $28.9 million increase in depreciation expense related to additional server and networking
equipment capital leases, a $14.0 million increase in amortization of acquired intangible assets, a $10.0 million increase in
data center costs related to our co-located facilities, a $7.8 million increase in personnel-related costs, mainly driven by an
increase in average employee headcount and a $6.3 million increase in allocated facilities and other supporting overhead
expenses.

       2011 Compared to 2010. In 2011, cost of revenue increased by $18.6 million compared to 2010. The increase was
primarily attributable to a $17.4 million increase in depreciation expense related to additional server and networking
equipment capital leases and an $8.0 million increase in personnel-related costs (including a $1.1 million charge recorded in
connection with the 2011 tender offer which is described below), mainly driven by an increase in average employee
headcount. These increases were partially offset by a $7.1 million decrease in data center costs as a result of our move from
a third-party hosting solution to a co-located facility.

      In 2011, the investors in our Series G convertible preferred stock financing commenced a tender offer to purchase
shares of our common stock and Series A through Series F convertible preferred

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stock from our employees, consultants and other stockholders. The tender offer closed in September 2011, and we recorded
$34.7 million of stock-based compensation expense related to the excess of the price per share of our common stock paid to
our employees and consultants in the tender offer over the fair value of the tendered shares. This $34.7 million of stock-based
compensation expense in 2011 was allocated among cost of revenue, research and development expenses, sales and
marketing expenses and general and administrative expenses in amounts of $1.1 million, $19.1 million, $0.4 million and $14.1
million, respectively.

Research and Development

                                                           Year Ended December 31,                  2010 to 2011    2011 to 2012
                                                 2010                2011              2012          % Change        % Change
                                                         (Dollar amounts in thousands)
Research and development                       $29,348            $80,176           $119,004               173%              48%
Research and development as a
  percentage of revenue                            104%                 75%                   38%

      2012 Compared to 2011. In 2012, research and development expenses increased by $38.8 million compared to 2011.
The increase was primarily attributable to a $21.7 million increase in personnel-related costs, mainly driven by an increase in
average employee headcount, and a $23.9 million increase in allocated facilities and other supporting overhead expenses.
These increases were partially offset by a $6.8 million increase in the capitalization of costs associated with developing
software for internal use.

       2011 Compared to 2010. In 2011, research and development expenses increased by $50.8 million compared to 2010.
The increase was primarily attributable to a $56.7 million increase in personnel-related costs (including a $19.1 million charge
recorded in connection with the 2011 tender offer), mainly driven by an increase in average employee headcount. These
increases were partially offset by a $3.8 million increase in the capitalization of costs associated with developing software for
internal use and a $2.1 million decrease in amortization of acquired intangible assets.

Sales and Marketing

                                                            Year Ended December 31,                 2010 to 2011    2011 to 2012
                                                  2010               2011               2012         % Change        % Change
                                                          (Dollar amounts in thousands)
Sales and marketing                              $6,289           $25,988            $86,551               313%            233%
Sales and marketing as a percentage of
  revenue                                               22%              24%               27%

      2012 Compared to 2011. In 2012, sales and marketing expenses increased by $60.6 million compared to 2011. The
increase was primarily attributable to a $34.6 million increase in personnel-related costs, mainly driven by an increase in
average employee headcount, a $15.9 million increase in allocated facilities and other supporting overhead expenses and a
$10.1 million increase in marketing and sales-related expenses.

      2011 Compared to 2010. In 2011, sales and marketing expenses increased by $19.7 million compared to 2010. The
increase was primarily attributable to a $16.3 million increase in personnel-related costs, mainly driven by an increase in
average employee headcount, a $1.9 million increase in allocated facilities and other supporting overhead expenses and a
$1.5 million increase in marketing and sales-related expenses.

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General and Administrative

                                                            Year Ended December 31,                     2010 to 2011        2011 to 2012
                                                   2010               2011              2012             % Change            % Change
                                                          (Dollar amounts in thousands)
General and administrative                       $16,952           $65,757           $59,693                   288%                 (9)%
General and administrative as a
  percentage of revenue                                60%               62%               19%

       2012 Compared to 2011. In 2012, general and administrative expense decreased by $6.1 million compared to 2011.
The decrease was primarily attributable to a $19.9 million decrease in unallocated facilities and supporting costs, driven by
slower headcount growth in the general and administrative function relative to other functional areas, partially offset by a $7.9
million increase in personnel-related costs (which takes into account a $14.1 million charge recorded in 2011 in connection
with the 2011 tender offer), mainly driven by an increase in average employee headcount and an increase of $5.9 million in
fees and costs for professional services. Excluding the impact of the 2011 tender offer, personnel-related costs increased by
$22.0 million in 2012 compared to 2011.

      2011 Compared to 2010. In 2011, general and administrative expenses increased by $48.8 million compared to 2010.
The increase was primarily due to a $29.3 million increase in personnel-related costs (including a $14.1 million charge
recorded in connection with the 2011 tender offer), which was driven by an increase in average employee headcount, a
$12.0 million increase in fees and costs for professional services and a $7.5 million increase in unallocated facilities and other
supporting costs.

Provision (Benefit) for Income Taxes

                                                                                                         Year Ended December 31,
                                                                                                 2010                2011          2012
                                                                                                              (In thousands)
Provision (benefit) for income taxes                                                           $ (217)          $ (1,444)          $ 229

       2012 Compared to 2011. Our provision for income taxes in 2012 increased by $1.7 million compared to an income tax
benefit of $1.4 million in 2011. The increase was primarily due to the increased tax expenses in foreign and state jurisdictions,
partially offset by the decrease in income tax benefit arising from acquisitions.

      2011 Compared to 2010. Our benefit for income taxes in 2011 increased by $1.2 million compared to an income tax
benefit of $0.2 million in 2010. The increase was primarily attributable to an increase in the income tax benefit arising from
acquisitions.

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Quarterly Results of Operations

       The following table sets forth our unaudited consolidated statement of operations data for each of the ten quarters in the
period ended June 30, 2013. The unaudited quarterly statement of operations data set forth below have been prepared on a
basis consistent with our audited annual consolidated financial statements and include, in our opinion, all normal recurring
adjustments necessary for a fair statement of the financial information contained in those statements. Our historical results are
not necessarily indicative of the results that may be expected in the future. The following quarterly financial data should be
read in conjunction with our audited consolidated financial statements and the related notes included elsewhere in this
prospectus.

                                                                                             Three Months Ended
                                              Mar. 31,     Jun. 30,     Sep. 30,    Dec. 31, Mar. 31, Jun. 30, Sep. 30,              Dec. 31,    Mar. 31,    Jun. 30,
                                               2011         2011         2011        2011      2012       2012  2012                  2012        2013        2013
                                                                                      (Unaudited, in thousands)
Consolidated Statement of Operations
    Data:
Revenue
        Advertising revenue                     11,561       13,619       19,942      32,588         44,500     56,802      68,665     99,454     100,460     120,972
        Data licensing                           6,349        7,154        6,482       8,618          9,813     11,244      13,662     12,793      13,883      18,320
                Total revenue                 $ 17,910     $ 20,773     $ 26,424    $ 41,206       $ 54,313   $ 68,046    $ 82,327   $112,247    $114,343    $139,292
Costs and expenses(1)
        Cost of revenue                         15,453    10,632    15,719    19,999    27,629    30,528     33,693    36,918     41,255     50,573
        Research and development                10,163    14,687    34,721    20,605    18,976    27,369     32,319    40,340     47,574     64,263
        Sales and marketing                      3,652     5,147     7,368     9,821    14,450    19,655     23,662    28,784     32,439     45,258
        General and administrative               8,709    13,244    27,776    16,028    13,389    17,369     13,954    14,981     16,982     18,114
                Total costs and expenses        37,977    43,710    85,584    66,453    74,444    94,921   103,628    121,023   138,250    178,208
                Loss from operations           (20,067) (22,937) (59,160) (25,247) (20,131) (26,875)        (21,301)   (8,776)   (23,907)   (38,916)
Interest income (expense), net                    (260)     (188)     (204)     (153)     (377)     (513)      (766)     (830)    (1,233)    (1,513)
Other income (expense), net                        (17)   (1,437)       36      (112)     (259)      247        938      (527)    (1,529)    (1,019)
                Loss before income taxes       (20,344) (24,562) (59,328) (25,512) (20,767) (27,141)        (21,129)  (10,133)   (26,669)   (41,448)
Provision (benefit) for income taxes                —         —     (1,993)      549       754       442        461    (1,428)       357        777
Net loss                                      $(20,344) $(24,562) $(57,335) $(26,061) $(21,521) $(27,583) $ (21,590) $ (8,705) $ (27,026) $ (42,225)
Other Financial Information:
Adjusted EBITDA(2)                            $(14,411) $(10,817) $(13,145) $ (4,462) $ (875) $ 1,545 $ 2,923 $ 17,571 $ 11,745 $ 9,647
Non-GAAP net loss(3)                          $(17,670) $(16,088) $(18,520) $(13,255) $(11,369) $(10,863) $ (12,688) $ (271) $ (10,524) $ (16,364)
(1)   Costs and expenses include stock-based compensation expense as follows:

                                                                                                 Three Months Ended
                                               Mar. 31,     Jun. 30,     Sep. 30,       Dec. 31, Mar. 31, Jun. 30, Sep. 30,          Dec. 31,     Mar. 31,   Jun. 30,
                                                2011         2011         2011            2011     2012       2012     2012           2012         2013       2013
                                                                                          (Unaudited, in thousands)
      Cost of revenue                          $      95    $     188    $ 1,327        $    210 $ 220 $         200 $    198        $     182   $     484   $ 1,471
      Research and development                       898        3,421     20,482           8,758    2,165      4,126    2,722            3,609       8,425    15,772
      Sales and marketing                            203          247        704             399       307       313      365              361       2,065     2,549
      General and administrative                   1,184        4,341     16,856           1,071    2,535      6,261      983            1,194       1,948     2,854
             Total stock-based compensation
                 expense                       $ 2,380      $ 8,197      $ 39,369       $ 10,438    $ 5,227    $ 10,900    $ 4,268   $ 5,346     $ 12,922    $ 22,646

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(2)   The following table presents a reconciliation of net loss to Adjusted EBITDA for each of the periods indicated:
                                                                                                Three Months Ended
                                                     Mar. 31,    Jun. 30,   Sep. 30,    Dec. 31, Mar. 31, Jun. 30, Sep. 30,          Dec. 31,   Mar. 31,   Jun. 30,
                                                      2011        2011       2011        2011      2012       2012  2012              2012       2013       2013
                                                                                         (Unaudited, in thousands)
      Reconciliation of Net Loss to Adjusted
         EBITDA:
      Net loss                                       $(20,344) $(24,562) $(57,335) $(26,061) $(21,521) $(27,583) $(21,590) $ (8,705) $(27,026) $(42,225)
             Stock-based compensation expense           2,380     8,197    39,369    10,438     5,227    10,900     4,268     5,346    12,922    22,646
             Depreciation and amortization
             expense                                    3,276     3,923     6,646    10,347   14,029  17,520                19,956   21,001   22,730        25,917
             Interest and other expense (income)          277     1,625       168       265      636     266                  (172)   1,357    2,762         2,532
             Provision (benefit) for income taxes          —         —     (1,993)      549      754     442                   461   (1,428)     357           777
      Adjusted EBITDA                                $(14,411) $(10,817) $(13,145) $ (4,462) $ (875) $ 1,545               $ 2,923 $ 17,571 $ 11,745       $ 9,647
(3)   The following table presents a reconciliation of net loss to non-GAAP net loss for each of the periods indicated:
                                                                                                Three Months Ended
                                                     Mar. 31,    Jun. 30,    Sep. 30,   Dec. 31, Mar. 31, Jun. 30, Sep. 30,          Dec. 31,   Mar. 31,   Jun. 30,
                                                      2011        2011        2011       2011      2012       2012  2012              2012       2013       2013
                                                                                         (Unaudited, in thousands)
      Reconciliation of Net Loss to Non-GAAP
         Net Loss:
      Net loss                                       $(20,344) $(24,562) $(57,335) $(26,061) $(21,521) $(27,583) $(21,590) $ (8,705) $(27,026) $(42,225)
             Stock-based compensation expense           2,380     8,197    39,369    10,438     5,227    10,900     4,268     5,346    12,922    22,646
             Amortization of acquired intangible
                assets                                    294         277       1,441      2,685       4,435       5,820     4,634     3,798      3,876      3,302
             Income tax effects related to
                acquisitions                               —         —     (1,995)     (317)      490        —         —                (710)     (296)      (87)
      Non-GAAP net loss                              $(17,670) $(16,088) $(18,520) $(13,255) $(11,369) $(10,863) $(12,688) $            (271) $(10,524) $(16,364)


Quarterly Trends

         Revenue

       Spending by advertisers is traditionally strongest in the fourth quarter of each year. Historically, this seasonality in
advertising spending has affected our quarterly results with higher sequential advertising revenue growth from the third to the
fourth quarter compared to sequential advertising revenue growth from the fourth quarter to the subsequent first quarter. For
example, our advertising revenue increased 63% and 45% between the third and fourth quarters of 2011 and 2012,
respectively, while advertising revenue for the first quarter of 2012 and 2013 increased 37% and 1% compared to the fourth
quarter of 2011 and 2012, respectively. In addition, advertising revenue per timeline view increased 31% between the third
and fourth quarter of 2012, while advertising revenue per timeline view decreased 13% between the fourth quarter of 2012
and the first quarter of 2013. The rapid growth in our business may have partially masked seasonality to date and the
seasonal impacts may be more pronounced in the future.

         Cost of Revenue and Operating Expenses

      Cost of revenue increased in every quarter presented except in the three months ended June 30, 2011, primarily due to
the continued expansion of our co-located data center facilities and an increase in average employee headcount. Our move
from a third-party hosting solution to a co-located facility in 2011 resulted in a temporary decrease in cost of revenue in the
three months ended June 30, 2011.

      Operating expense increased in every quarter presented except in the three months ended December 31, 2011,
primarily due to the continued expansion of our facilities and an increase in average

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employee headcount. In the three months ended September 30, 2011, as a result of the 2011 tender offer described above,
we recorded a non-recurring stock-based compensation expense of $34.7 million related to the excess of the price per share
of our common stock paid to our employees and consultants over the fair value of the tendered shares. This $34.7 million
compensation expense was allocated among cost of revenue, research and development expenses, sales and marketing
expenses and general and administrative expenses in amounts of $1.1 million, $19.1 million, $0.4 million and $14.1 million,
respectively. In addition to the stock-based compensation expense, we experienced a varied level of capitalization of research
and development expense as a result of the development of software programs and websites for internal use, due to the
timing and extent of projects eligible for capitalization.

Liquidity and Capital Resources

                                                                                 Year Ended                        Six Months Ended
                                                                                December 31,                            June 30,
                                                                    2010            2011              2012        2012           2013
                                                                                               (In thousands)
                                                                                                                      (Unaudited)
Consolidated Statements of Cash Flows Data:
Net loss                                                          $ (67,324)     $(128,302)      $(79,399)      $(49,104)     $(69,251)
Net cash provided by (used in) operating activities                 (48,737)       (70,597)       (27,935)       (22,994)        9,659
Net cash provided by (used in) investing activities                  48,974       (324,875)        49,443        (38,645)      (22,474)
Net cash provided by (used in) financing activities                114,315         480,210        (37,124)       (14,151)      (25,370)

      As of June 30, 2013, we had $375.1 million of cash, cash equivalents and marketable securities, of which $27.8 million
was held by our foreign subsidiaries. Cash equivalents and marketable securities are comprised of our investments in short-
term and long-term interest-bearing obligations, including government and investment-grade debt securities and money
market funds.

       Our principal source of liquidity has been private sales of convertible preferred stock. From our inception through June
30, 2013, we have completed several rounds of equity financing through the issuance of shares of our Series A through
Series G convertible preferred stock with total cash proceeds to us of $759.2 million. Proceeds from our preferred stock
financing transactions have been used primarily to fund our operations and acquisitions. We believe that our existing cash and
cash equivalent balance together with cash generated from operations will be sufficient to meet our working capital and capital
expenditure requirements for at least the next 12 months.

        Our Pre-2013 RSUs vest upon the satisfaction of both a service condition and a performance condition. The service
condition for a majority of the Pre-2013 RSUs is satisfied over a period of four years. The performance condition will be
satisfied on the earlier of (i) the date that is the earlier of (x) six months after the effective date of this offering or (y) March 8th
of the calendar year following the effective date of this offering (which we may elect to accelerate to February 15th); and
(ii) the date of a change in control. On the settlement dates for the Pre-2013 RSUs, we may choose to allow our employees
who are not executive officers to sell shares of our common stock received upon the vesting and settlement of the Pre-2013
RSUs in the public market to satisfy their income tax obligations related to the vesting and settlement of such awards or we
may choose to undertake a net settlement and withhold and remit income taxes on behalf of the holders of Pre-2013 RSUs at
the applicable minimum statutory rates. We expect the applicable minimum statutory rates to be approximately 40% on
average, and the income taxes due would be based on the then-current value of the underlying shares of our common stock.
Based on the number of Pre-2013 RSUs outstanding as of June 30, 2013 for which the service condition had been satisfied
on that date, and assuming (i) the
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performance condition had been satisfied on that date and (ii) that the price of our common stock at the time of settlement
was equal to $        , which is the midpoint of the estimated offering price range set forth on the cover page of this prospectus,
we estimate that this tax obligation on the initial settlement date would be approximately $        in the aggregate. The amount
of this obligation could be higher or lower, depending on the price of shares of our common stock on the initial settlement date
for the Pre-2013 RSUs. To settle these Pre-2013 RSUs on the initial settlement date, assuming a 40% tax withholding rate, if
we choose to undertake a net settlement of all of these awards rather than allowing our employees who are not executive
officers to sell shares of our common stock in the public market to satisfy their income tax obligations related to the vesting
and settlement of such awards, we would expect to deliver an aggregate of approximately                 shares of our common
stock to Pre-2013 RSU holders and withholding an aggregate of approximately                  shares of our common stock. In
connection with these net settlements, we would withhold and remit the tax liabilities on behalf of the Pre-2013 RSU holders to
the relevant tax authorities in cash.

       If we choose to undertake a net settlement of our Pre-2013 RSUs, then in order to fund the tax withholding and
remittance obligations on behalf of our Pre-2013 RSU holders, we would expect to use a substantial portion of our cash and
cash equivalent balances, or, alternatively, we may choose to borrow funds or a combination of cash and borrowed funds to
satisfy these obligations.

Operating Activities
      Cash provided by (used in) operating activities consisted of net loss adjusted for certain non-cash items including
depreciation and amortization, stock-based compensation, deferred income taxes and non-cash expense related to
acquisitions, as well as the effect of changes in working capital and other activities.

       Cash provided by operating activities in the six months ended June 30, 2013 was $9.7 million, an increase in cash
inflow of $32.7 million compared to the six months ended June 30, 2012. Cash provided by operating activities was driven by
a net loss of $69.3 million, as adjusted for the exclusion of non-cash expenses totaling $87.6 million and the effect of changes
in working capital and other carrying balances that resulted in cash outflow of $8.7 million.

      Cash used in operating activities in 2012 was $27.9 million, a decrease in cash outflow of $42.7 million compared to
2011. Cash used in operating activities was driven by a net loss of $79.4 million, as adjusted for the exclusion of non-cash
expenses totaling $104.8 million and the effect of changes in working capital and other carrying balances that resulted in cash
outflow of $53.3 million.

      Cash used in operating activities in 2011 was $70.6 million, an increase in cash outflow of $21.9 million compared to
2010. Cash used in operating activities was driven by a net loss of $128.3 million, as adjusted for the exclusion of non-cash
expenses totaling $86.9 million and the effect of changes in working capital and other carrying balances that resulted in cash
outflow of $29.2 million.

Investing Activities
      Our primary investing activities consisted of purchases of property and equipment, particularly purchases of servers and
networking equipment, purchases and disposal of marketable securities, leasehold improvements for our facilities and
acquisitions of businesses.

       Cash used in investing activities in the six months ended June 30, 2013 was $22.5 million, a decrease in cash outflow
of $16.2 million compared to the six months ended June 30, 2012. The decrease in cash outflow was due to a decrease in
purchases of marketable securities of $123.7 million and an increase in sales of marketable securities of $17.8 million,
partially offset by the decrease in the proceeds from maturities of marketable securities of $122.0 million.
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       Cash provided by investing activities in 2012 was $49.4 million, an increase in cash inflow of $374.3 million compared
to 2011. The increase in cash inflow was due to the increase in sales and maturities of marketable securities of $449.5 million
and a reduction in use of cash as acquisition consideration of $17.4 million. Such increases in cash inflow were partially offset
by increased purchases of marketable securities of $55.0 million and property and equipment of $39.1 million.

      Cash used in investing activities in 2011 was $324.9 million, an increase in cash outflow of $373.8 million compared to
2010. The increase in cash outflow was due to an increase in purchases of marketable securities of $439.9 million, an
increase in cash used as acquisition consideration of $17.4 million and an increase in purchases of property and equipment of
$5.9 million. Such increases in cash outflow were partially offset by the increase of proceeds from sales and maturities of
marketable securities of $93.9 million.

        We anticipate making capital expenditures in 2013 of approximately $225 million to $275 million, a portion of which we
will finance through capital leases, as we continue to expand our co-located data centers and our office facilities.

Financing Activities
      Our primary financing activities consisted of private sales of convertible preferred stock, capital lease financing and
stock option exercises by employees and other service providers.

      Cash used in financing activities in the six months ended June 30, 2013 was $25.4 million, an increase of $11.2 million
in cash outflow compared to the six months ended June 30, 2012. The increase in cash outflow was due to an increase in
repayments of capital lease obligations partially offset by an increase in proceeds from option exercises.

       Cash used in financing activities in 2012 was $37.1 million, an increase in cash outflow of $517.3 million compared to
2011. The increase in cash outflow was due to the absence of equity financing transactions, an increase in repayments of
capital lease obligations and a decrease in proceeds from option exercises.

      Cash provided by financing activities in 2011 was $480.2 million, an increase in cash inflow of $365.9 million compared
to 2010. The increase in cash inflow was due to increased equity financing and an increase in proceeds from option
exercises, partially offset by an increase in repayments of capital lease obligations.

Off Balance Sheet Arrangements
      We do not have any off-balance sheet arrangements and did not have any such arrangements in the six months ended
June 30, 2013 or in 2012, 2011 or 2010.

Contractual Obligations

      Our principal commitments consist of obligations under capital and operating leases for equipment, office space and co-
located data center facilities. The following table summarizes our commitments to settle contractual obligations in cash as of
December 31, 2012.

                                                                                       Payments Due by Period
                                                                                Less than                                 More than
                                                                    Total        1 year          1-3 years    3-5 years    5 years
                                                                                           (In thousands)
Operating lease obligations                                      $160,091       $26,906       $ 58,524        $50,091     $24,570
Capital lease obligations                                         121,366        52,861         65,893          2,612          —
     Total contractual obligations                               $281,457       $79,767       $124,417        $52,703     $24,570

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       As of December 31, 2012, we had liabilities of $12.2 million related to uncertain tax positions. Due to uncertainties in
the timing of potential tax audits, the timing of the resolution of these positions is uncertain and we are unable to make a
reasonably reliable estimate of the timing of payments in individual years beyond 12 months. As a result, this amount is not
included in the above table. We also have $18.5 million of non-cancelable contractual commitments as of December 31, 2012,
primarily related to our bandwidth and other services arrangements. These commitments are generally due within one to three
years.

Critical Accounting Policies and Estimates

       We prepare our consolidated financial statements in accordance with generally accepted accounting principles in the
United States, or U.S. GAAP. In doing so, we have to make estimates and assumptions that affect our reported amounts of
assets, liabilities, revenue and expenses, as well as related disclosure of contingent assets and liabilities. To the extent that
there are material differences between these estimates and actual results, our financial condition or operating results would
be affected. We base our estimates on past experience and other assumptions that we believe are reasonable under the
circumstances, and we evaluate these estimates on an ongoing basis. We refer to accounting estimates of this type as critical
accounting policies and estimates, which we discuss further below.

Revenue Recognition
       We generate the substantial majority of our revenue from the sale of advertising services with the balance coming from
data licensing arrangements. We generate our advertising revenue primarily from the sale of our three Promoted Products:
(i) Promoted Tweets, (ii) Promoted Accounts and (iii) Promoted Trends. Promoted Tweets and Promoted Accounts are pay-for-
performance advertising products priced through an auction. Promoted Trends are featured by geography and offered on a
fixed-fee-per-day basis. Advertisers are obligated to pay when a user engages with a Promoted Tweet or follows a Promoted
Account or when a Promoted Trend is displayed. Users engage with Promoted Tweets by expanding, retweeting, favoriting or
replying to Tweets or following the account that tweets a Promoted Tweet. These products may be sold in combination as a
multiple element arrangement or separately on a stand-alone basis. Fees for these advertising services are recognized in the
period when advertising is delivered as evidenced by a user engaging with a Promoted Tweet, as captured by a click,
following a Promoted Account or through the display of a Promoted Trend on our platform. Data licensing revenue is
generated based on monthly service fees charged to the data partners over the period in which Twitter data is made available
to them.

      Revenue is recognized only when (1) persuasive evidence of an arrangement exists; (2) the price is fixed or
determinable; (3) the service is performed; and (4) collectability of the related fee is reasonably assured. While the majority of
our revenue transactions are based on standard business terms and conditions, we also enter into non-standard sales
agreements with advertisers and data partners that sometimes involve multiple elements.

       For arrangements involving multiple deliverables, judgment is required to determine the appropriate accounting,
including developing an estimate of the stand-alone selling price of each deliverable. When neither vendor-specific objective
evidence nor third-party evidence of selling price exists, we use our best estimate of selling price (BESP) to allocate the
arrangement consideration on a relative selling price basis to each deliverable. The objective of BESP is to determine the
selling price of each deliverable when it is sold to advertisers on a stand-alone basis. In determining BESPs, we take into
consideration various factors, including, but not limited to, prices we charge for similar offerings, sales volume, geographies,
pricing strategies and market conditions. Multiple deliverable arrangements primarily consist of

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combinations of our pay-for-performance products, Promoted Trends and Promoted Accounts, which are priced through an
auction, and Promoted Trends, which are priced on a fixed-fee-per day per geography basis. For arrangements that include a
combination of these products, we develop an estimate of the selling price for these products in order to allocate any potential
discount to all advertising products in the arrangement. The estimate of selling price for pay-for-performance products is
determined based on the winning bid price; and the estimate of selling price for Promoted Trends is based on Promoted
Trends sold on a stand-alone basis and/or separately priced in a bundled arrangement by reference to a list price by
geography which is approved periodically. We believe the use of BESP results in revenue recognition in a manner consistent
with the underlying economics of the transaction and allocates the arrangement consideration on a relative selling price basis
to each deliverable.

Income Taxes
      We are subject to income taxes in the United States and several foreign jurisdictions. Significant judgment is required in
evaluating our uncertain tax positions and determining our provision for income taxes.

       Although we believe we have adequately reserved for our uncertain tax positions, no assurance can be given that the
final outcome of these matters will not be different. We adjust these reserves in light of changing facts and circumstances,
such as the closing of a tax audit or the refinement of an estimate. To the extent that the final outcome of these matters is
different than the amounts recorded, such differences will impact the provision for income taxes in the period in which such
determination is made. The provision for income taxes includes the impact of reserve provisions and changes to reserves that
are considered appropriate, as well as any related interest or penalties.

       Our effective tax rates have differed from the statutory rate primarily due to the tax impact of foreign operations, state
taxes, certain benefits realized in recording the tax effects of business combinations, and the recording of U.S. valuation
allowance. Our future provision for income taxes could be adversely affected by earnings being lower than anticipated in
countries where we have lower statutory rates and higher than anticipated in countries where we have higher statutory tax
rates, changes in the valuation of our deferred tax assets or liabilities, or changes in tax laws, regulations or accounting
principles. In addition, we are subject to examination of our income tax returns by tax authorities in the United States and
foreign jurisdictions. We regularly assess the likelihood of adverse outcomes resulting from these examinations to determine
the adequacy of our provision for income taxes.

       On January 2, 2013, the American Taxpayer Relief Act of 2012 was enacted, which includes a reinstatement of the
federal research and development credit for the tax year ended December 31, 2012. Our consolidated financial statements
reflected the effect of the American Taxpayer Relief Act of 2012 in the six months ended June 30, 2013, the reporting period of
enactment. The American Taxpayer Relief Act of 2012 did not have a material effect on our consolidated financial statements
in the six months ended June 30, 2013 due to our U.S. valuation allowance position.

Stock-Based Compensation
       Our stock-based compensation expense for stock options granted to employees and other service providers is
estimated based on the option’s fair value as calculated by the Black-Scholes option pricing model and is recognized as
expense over the requisite service period. The Black-Scholes model requires various highly judgmental assumptions,
including expected volatility and expected term. If any of the assumptions used in the Black-Scholes model change
significantly, stock-based compensation expense may differ materially in the future from that recorded in the current period. In
addition, we are required to estimate the expected forfeiture rate and only recognize expense for those shares that are subject
to stock options that are expected to vest. We estimate the expected forfeiture rate based on historical experience and our
expectations regarding future pre-vesting

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termination behavior of employees and other service providers. To the extent our actual forfeiture rate is different from our
estimate, stock-based compensation expense is adjusted accordingly.

      Stock-based compensation expense for employees is recorded net of estimated forfeiture on a straight-line basis over
the requisite service period. Stock options granted have a contractual term of ten years and generally vest over four years.
Stock-based compensation expense for other service providers is remeasured at each reporting period as services are
performed.

       We also issued restricted Class A junior preferred stock subject to a lapsing right of repurchase to certain continuing
employees in connection with acquisitions. The lapsing of the right of repurchase is dependent on the respective employee’s
continued employment with us during the requisite service period, which is generally four years from the issuance date. We
have the option to repurchase the unvested shares upon termination of employment prior to the right of repurchase lapsing.
The fair value of the restricted Class A junior preferred stock issued to employees is recorded as compensation expense on a
straight-line basis over the requisite service period. These shares of restricted Class A junior preferred stock are included as
part of other long-term liabilities on the consolidated balance sheets. The fair value of these shares is remeasured at each
reporting period until the restricted Class A junior preferred stock is settled through conversion or redemption or until the
redemption feature expires, and the change in fair value is recorded as an addition to or reduction in compensation expense
during the period of change. The fair value of these shares is determined based on the fair value of the underlying Class A
junior preferred stock estimated as part of the capital stock and business enterprise valuation process.

       Our stock-based compensation expense for RSUs is estimated at the grant date based on the fair value of our common
stock. Under our 2007 Plan, we have granted RSUs to domestic and international employees and other service providers. The
Pre-2013 RSUs vest upon the satisfaction of both a service condition and a performance condition. The service condition for a
majority of the Pre-2013 RSUs is satisfied over a period of four years. The performance condition will be satisfied on the
earlier of (i) the date that is the earlier of (x) six months after the effective date of this offering or (y) March 8th of the calendar
year following the effective date of this offering (which we may elect to accelerate to February 15th); and (ii) the date of a
change in control. The RSU shares are to be delivered no later than 30 days following the satisfaction of the service and
performance conditions.

      Post-2013 RSUs are not subject to a performance condition in order to vest. The service condition for a majority of the
Post-2013 RSUs is satisfied over a period of four years. Under the terms of our 2007 Plan, the shares underlying Post-2013
RSUs that satisfy the service condition are to be delivered to holders no later than the fifteenth day of the third month following
the end of the calendar year the service condition is satisfied, but no earlier than August 15, 2014. The stock-based
compensation expense associated with the Pre-2013 RSUs is recorded net of estimated forfeiture on a straight-line basis over
the requisite service period.

       As of June 30, 2013, no stock-based compensation expense had been recognized for Pre-2013 RSUs because a
qualifying event for the awards’ vesting was not probable. In the quarter in which this offering is completed, we will begin
recording stock-based compensation expense based on the grant-date fair value of the Pre-2013 RSUs using the accelerated
attribution method, net of estimated forfeiture. The following table summarizes, on an unaudited pro forma basis, the stock-
based compensation expense related to the Pre-2013 RSUs that we would incur during the quarter in which this offering is
completed, assuming this offering was effective on June 30, 2013 (in thousands).

                                      As of June 30, 2013                                           From inception to June 30, 2013
                                                            “Unvested” Pre-2013 RSUs                   Pro Forma Stock-Based
      “Vested” Pre-2013 RSUs Outstanding(1)                      Outstanding(2)                        Compensation Expense
                     8,343                                          35,226                                   $329,632

                                                                   85
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(1)   For purposes of this table, “Vested” RSUs represent the shares underlying Pre-2013 RSUs for which the service condition had been satisfied as of June 30,
      2013.
(2)   For purposes of this table, “Unvested” RSUs represent the shares underlying Pre-2013 RSUs for which the service condition had not been satisfied as of
      June 30, 2013 and excludes estimated forfeitures of RSUs.

      We estimate that the remaining unrecognized stock-based compensation expense relating to the Pre-2013 RSUs would
be approximately $234.2 million, after giving effect to estimated forfeitures and would be recognized over a weighted-average
period of approximately three years if this offering was effective on June 30, 2013.

Summary of Projected Stock-Based Compensation Expense, Net of Estimated Forfeitures

                                                              Remainder                                                              Beyond
                                                               of 2013            2014            2015             2016               2016           Total
                                                                                                (Unaudited, in thousands)
Pre-2013 RSUs                                                 $ 96,355         $ 95,338        $ 36,465         $  5,727         $    335        $234,220
Post-2013 RSUs                                                  32,935           62,425          56,570           51,373           10,549         213,852
Restricted Class A junior and common stock                      15,407           18,484          15,091            9,258              609          58,849
Stock Options                                                    4,684            9,138           7,445            2,669              102          24,038
Total                                                         $149,381         $185,385        $115,571         $ 69,027         $ 11,595        $530,959

      In addition to stock-based compensation expense associated with the Pre-2013 RSUs, as of June 30, 2013, we had
unrecognized stock-based compensation expense of approximately $296.7 million related to other outstanding equity awards,
which we expect to recognize over a weighted-average period of approximately four years. Further, we made grants of equity
awards after June 30, 2013, and we have unrecognized stock-based compensation expense of $452.9 million related to such
equity awards, after giving effect to estimated forfeitures, which we expect to recognize over a weighted-average period of
approximately four years.

Valuation of Our Common Stock
       The historical valuations of our common stock were determined in accordance with the guidelines outlined in the
American Institute of Certified Public Accountants Practice Aid, Valuation of Privately-Held-Company Equity Securities Issued
as Compensation. In the absence of a public trading market, we considered all relevant facts and circumstances known at the
time of valuation, made certain assumptions based on future expectations and exercised significant judgment to determine the
fair value of our common stock. The factors considered in determining the fair value include, but are not limited to, the
following:
      Ÿ third-party valuations of our common stock completed as of November 18, 2011, March 15, 2012, October 15,
        2012, December 4, 2012, February 25, 2013, May 15, 2013 and August 5, 2013;
      Ÿ recent issuances of preferred stock, as well as the rights, preferences and privileges of our preferred stock relative to
        our common stock;
      Ÿ recent private stock sale transactions;
      Ÿ our historical financial results and estimated trends and projections for our future operating and financial
        performance;
      Ÿ the likelihood of achieving a liquidity event, such as an initial public offering or sale of our company, given prevailing
        market conditions;
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       Ÿ the market performance of comparable, publicly-traded companies; and
       Ÿ the overall economic and industry conditions and outlook.

       We have granted the following RSUs and stock options since January 1, 2012:

                                                              Shares            Shares         Grant-Date Fair      Exercise Price
                                                             Underlying        Underlying      Value Per Share        Per Share
                       Grant Date                              RSUs             Options            (RSUs)             (Options)
2012
       First Quarter
             January 13, 2012                                   474,000                —       $        13.05                  —
             February 10, 2012                                7,875,221                —       $        13.05                  —
             March 9, 2012                                      837,500                —       $        13.05                  —
       Second Quarter
             April 12, 2012                                   4,487,575        1,880,049       $        14.42       $      14.42
             May 11, 2012                                     4,334,375               —        $        14.42                 —
             June 19, 2012                                    1,604,376          116,532       $        14.42       $      14.42
       Third Quarter
             July 19, 2012                                    3,498,000                —       $        14.42                  —
             August 9, 2012                                   2,411,000                —       $        14.42                  —
             September 27, 2012                                 555,000                —       $        14.42                  —
       Fourth Quarter
             October 1, 2012                                  2,276,500                —       $        14.42                  —
             October 12, 2012                                 1,938,100                —       $        14.42                  —
             November 7, 2012                                   200,000                —       $        18.40                  —
             November 12, 2012                                3,200,582                —       $        18.40                  —
             December 20, 2012                                2,241,500                —       $        17.00                  —
2013
       First Quarter
             January 24, 2013                                 1,985,700                —       $        17.00                  —
             February 13, 2013                                1,875,964                —       $        17.00                  —
             March 8, 2013                                    9,439,306                —       $        17.00                  —
       Second Quarter
             April 2, 2013                                      265,500                —       $        17.00
             April 10, 2013                                   1,677,650                —       $        17.00                  —
             April 24, 2013                                     240,000                —       $        17.00                  —
             May 10, 2013                                     1,778,567                —       $        17.00                  —
             June 20, 2013                                    2,288,206                —       $        17.41                  —
       Third Quarter
             August 9, 2013                                 26,972,280                 —       $        20.62                  —
             September 5, 2013                                  29,760                 —       $        20.62                  —

        In order to determine the fair value of our common stock underlying stock option and RSU grants, we generally first
determine our business enterprise value, or BEV, and then allocate the BEV to each element of our capital structure
(preferred stock, common stock, warrant and options). Our BEV was estimated using the subject company transaction
method, which is one of the three primary methodologies of the market-based approach. This methodology utilizes the most
recent negotiated arm’s-length transactions involving the sale or transfer of our stock or equity interests. Our indicated BEV at
each valuation date was allocated to the shares of preferred stock, common stock, warrant and options using the Black-
Scholes option-pricing model. Estimates of the volatility of our common stock were based on available information on the
volatility of our common stock of comparable, publicly-traded companies and estimates of expected term were based on the
estimated time to liquidity event.

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      November 18, 2011 Valuation
      We determined the fair value of our common stock to be $13.05 per share as of November 18, 2011. In estimating our
BEV, we utilized the pre-money valuation implied in the Series G convertible preferred stock financing completed in July 2011
as the most appropriate indication of our aggregate equity value, adjusted by an estimated rate of return. The BEV resulting
from this analysis was then allocated to our capital structure using the Black-Scholes option-pricing model and a non-
marketability discount of 15% was applied. Based on the valuation of our common stock completed in November 2011, the fair
value of RSUs granted through March 9, 2012 was determined to be $13.05 per share.

      March 15, 2012 Valuation
       We determined the fair value of our common stock to be $14.42 per share as of March 15, 2012. In estimating our BEV,
we utilized the pre-money valuation implied in the Series G convertible preferred stock financing as the most appropriate
indication of our aggregate equity value, adjusted by the estimated rate of return. We determined that an increase in the
aggregate equity value consistent with a required rate of return was appropriate considering our rapid growth and
developments since the date of the Series G convertible preferred stock financing. The increase in valuation was further
supported by improvements in our business and financial results as evidenced by our sequential revenue growth between
July 2011 and March 2012 of $54.3 million in the three months ended March 31, 2012 compared to $26.4 million in the three
months ended September 30, 2011. We also continued to progress on our business plan. The operating metrics also
continued to improve in the three months ended March 31, 2012 compared to the three months ended September 30, 2011.
The BEV resulting from this analysis was then allocated to our capital structure using the Black-Scholes option-pricing model
and a non-marketability discount of 15% was applied. Based on the valuation of our common stock completed in March 2012,
the fair value of RSUs and exercise price of stock options granted through October 12, 2012 was determined to be $14.42 per
share.

      October 15, 2012 Valuation
     We determined the fair value of our common stock to be $18.40 per share as of October 15, 2012 based on the subject
company transaction method.

       In the absence of a recent equity financing from which we historically derived the implied BEV, we utilized the arm’s-
length transactions of our equity in the secondary market from our most recent common stock valuation date of March 15,
2012 through October 15, 2012 to calculate the fair value of our common stock. Factors considered in this methodology
included size and amount of equity sold, relationship of the parties involved, timing compared to the valuation date and our
financial condition at the time of the sale. In recent secondary market common stock transactions, the price of our common
stock ranged between $15.50 and $25.50 per share, with a weighted-average transaction price of approximately $18.40 per
share. Based on the valuation of our common stock completed in October 2012, the fair value of RSUs granted through
November 12, 2012 was determined to be $18.40 per share.

      December 4, 2012 Valuation
       We determined the fair value of our common stock to be $17.00 per share as of December 4, 2012. In estimating our
BEV, we utilized the pre-money valuation implied in the then-pending negotiations for a third-party tender offer to purchase
stock from existing stockholders. As of the valuation date, we had entered into a non-binding term sheet for a tender offer,
which outlined the third-party investor’s intent to purchase $75 million worth of our common stock and Class A junior preferred
stock from employees, consultants and other stockholders at $17.00 per share. The BEV, which was derived from the
proposed tender offer transaction price of $17.00 per share of our common stock and Class A junior preferred stock, was then
allocated to our capital structure using the Black-
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Scholes option-pricing model. We also considered secondary market activity and determined that such activity was consistent
with the $17.00 per share price in the proposed tender offer. Based on the valuation of our common stock completed in
December 2012, the fair value of RSUs granted through February 13, 2013 was determined to be $17.00 per share.

      February 25, 2013 Valuation
       We determined the fair value of our common stock to be $17.00 per share as of February 25, 2013. In estimating our
BEV, we utilized the pre-money valuation implied in the then-recently launched, but not yet closed, third party tender offer. As
of the valuation date, the tender offer was ongoing. The tender offer was completed on March 4, 2013 with a total of
$59.6 million worth of shares of our common stock and Class A junior preferred stock being purchased. The BEV, which was
derived from the tender offer transaction price of $17.00 per share of our common stock and Class A junior preferred stock,
was then allocated to our capital structure using the Black-Scholes option-pricing model. We also considered secondary
market activity and determined that such activity was consistent with the $17.00 per share price in the tender offer. Based on
the valuation of our common stock completed in February 2013, the fair value of RSUs granted through May 10, 2013 was
determined to be $17.00 per share.

      May 15, 2013 Valuation
       We determined the fair value of our common stock to be $17.41 per share as of May 15, 2013 based on the subject
company transaction method. We utilized the arm’s-length transactions of our equity securities in the secondary market since
our most recent common stock valuation date, February 25, 2013, and the tender offer completed on March 4, 2013 to
estimate the fair value of our common stock. Factors considered in this methodology included the number of shares sold,
relationship of the parties involved, timing of the transactions in relation to the valuation date and our financial condition. The
weighted-average transaction price of the recent secondary market common stock transactions and the tender offer was
approximately $17.41 per share. Based on the valuation of our common stock completed in May 2013, the fair value of RSUs
granted through June 20, 2013 was determined to be $17.41 per share.

      August 5, 2013 Valuation
       We determined the fair value of our common stock to be $20.62 per share as of August 5, 2013 based on the subject
company transaction method. We utilized the arm’s-length transactions of our equity securities in the secondary market since
our most recent common stock valuation date, May 15, 2013, to estimate the fair value of our common stock. Factors
considered in this methodology included the number of shares sold, relationship of the parties involved, timing of the
transactions in relation to the valuation date and our financial condition. The weighted-average transaction price of the recent
secondary market common stock transactions was approximately $20.62 per share. Based on the valuation of our common
stock completed in August 2013, the fair value of RSUs granted through September 5, 2013 was determined to be $20.62 per
share.

Quantitative and Qualitative Disclosure about Market Risk

      We have operations both within the United States and internationally, and we are exposed to market risks in the
ordinary course of our business. These risks include primarily interest rate and foreign exchange risks.

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Interest Rate Fluctuation Risk
      Our investment portfolio mainly consists of short-term and long-term interest-bearing obligations, including government
and investment-grade debt securities and money market funds. These securities are classified as available-for-sale and,
consequently, are recorded on the consolidated balance sheets at fair value with unrealized gains or losses reported as a
separate component of accumulated other comprehensive income (loss), net of tax. Our investment policy and strategy is
focused on the preservation of capital and supporting our liquidity requirements. We do not enter into investments for trading
or speculative purposes.

      A rise in interest rates could have a material adverse impact on the fair value of our investment portfolio. Based on our
investment portfolio balance as of December 31, 2012 and June 30, 2013, a hypothetical increase in interest rates of 100
basis points would result in a decrease of approximately $0.9 million in the market value of our available-for-sale securities.
We currently do not hedge these interest rate exposures.

Foreign Currency Exchange Risk
      Transaction Exposure
       We transact business in various foreign currencies and have international revenue, as well as costs denominated in
foreign currencies, primarily the Euro, British Pound and Japanese Yen. This exposes us to the risk of fluctuations in foreign
currency exchange rates. Accordingly, changes in exchange rates, and in particular a strengthening of the U.S. dollar, would
negatively affect our revenue and other operating results as expressed in U.S. dollars.

       We have experienced and will continue to experience fluctuations in our net loss as a result of transaction gains or
losses related to revaluing certain current asset and current liability balances that are denominated in currencies other than
the functional currency of the entities in which they are recorded. Foreign currency gain and loss were not significant in 2010,
2011 or 2012 or in the six months ended June 30, 2013. At this time we do not, but we may in the future, enter into derivatives
or other financial instruments in an attempt to hedge our foreign currency exchange risk. It is difficult to predict the impact
hedging activities would have on our results of operations.

      Translation Exposure
       We are also exposed to foreign exchange rate fluctuations as we convert the financial statements of our foreign
subsidiaries into U.S. dollars in consolidation. If there is a change in foreign currency exchange rates, the conversion of our
foreign subsidiaries’ financial statements into U.S. dollars would result in a gain or loss recorded as a component of
accumulated other comprehensive income (loss) which is part of stockholders’ deficit.

      Revenue and related expenses generated from our international subsidiaries are generally denominated in the
currencies of the local countries. Primary currencies include the Euros, British Pound and Japanese Yen. The statements of
income of our international operations are translated into U.S. dollars at exchange rates indicative of market rates during each
applicable period. To the extent the U.S. dollar strengthens against foreign currencies, the translation of these foreign
currency-denominated transactions would result in reduced consolidated revenue and operating expenses. Conversely, our
consolidated revenue and operating expenses would increase if the U.S. dollar weakens against foreign currencies. Foreign
currency translation gains and losses were not significant in 2010, 2011 or 2012 or in the six months ended June 30, 2013.
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                                                LETTER FROM @TWITTER

Twitter was born on March 21, 2006 with just 24 characters:




                                     just setting up my nvttr
                                     3/21/06, 3:50PM


We started with a simple idea: share what you’re doing, 140 characters at a time. People took that idea and strengthened it by
using @names to have public conversations, #hashtags to organize movements, and Retweets to spread news around the
world. Twitter represents a service shaped by the people, for the people.

The mission we serve as Twitter, Inc. is to give everyone the power to create and share ideas and information instantly without
barriers. Our business and revenue will always follow that mission in ways that improve–and do not detract from–a free and
global conversation.

Thank you for supporting us through your Tweets, your business, and now, your potential ownership of this service we
continue to build with you.

Yours,

@twitter

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                                                           BUSINESS

Overview

      Twitter is a global platform for public self-expression and conversation in real time. By developing a fundamentally new
way for people to create, distribute and discover content, we have democratized content creation and distribution, enabling
any voice to echo around the world instantly and unfiltered.

      Our platform is unique in its simplicity: Tweets are limited to 140 characters of text. This constraint makes it easy for
anyone to quickly create, distribute and discover content that is consistent across our platform and optimized for mobile
devices. As a result, Tweets drive a high velocity of information exchange that makes Twitter uniquely “live.” We aim to
become an indispensable daily companion to live human experiences.

       People are at the heart of Twitter. People come to Twitter for many reasons, and we believe that two of the most
significant are the breadth of Twitter content and our broad reach. We have already achieved significant global scale, and we
continue to grow. We have more than 215 million MAUs, and more than 100 million daily active users, spanning nearly every
country. Our users include millions of people from around the world, as well as influential individuals and organizations, such
as world leaders, government officials, celebrities, athletes, journalists, sports teams, media outlets and brands. Our users
create approximately 500 million Tweets every day.

       Twitter is a public, real-time platform where any user can create a Tweet and any user can follow other users. We do
not impose restrictions on whom a user can follow, which greatly enhances the breadth and depth of available content and
allows users to discover the content they care about most. Additionally, users can be followed by thousands or millions of
other users without requiring a reciprocal relationship, which we refer to as an asymmetric follow model. This asymmetric
follow model significantly enhances the ability of our users to reach a broad audience. The public nature of our platform allows
us and others to extend the reach of Twitter content beyond our properties. Media outlets distribute Tweets beyond our
properties to complement their content by making it more timely, relevant and comprehensive. Tweets have appeared on over
one million third-party websites, and in the second quarter of 2013 there were approximately 30 billion online impressions of
Tweets off of our properties.

       Twitter provides a compelling and efficient way for people to stay informed about their interests, discover what is
happening in their world right now and interact directly with each other. We enable the timely creation and distribution of ideas
and information among people and organizations at a local and global scale. Our platform allows users to browse through
Tweets quickly and explore content more deeply through links, photos, media and other applications that can be attached to
each Tweet. As a result, when events happen in the world, whether planned, like sporting events and television shows, or
unplanned, like natural disasters and political revolutions, the digital experience of those events happens in real time on
Twitter. People can communicate with each other during these events as they occur, creating powerful shared experiences.

      Our platform partners and advertisers enhance the value we create for our users.
      Ÿ Platform Partners. Over six million websites have integrated with Twitter, adding value to our user experience by
        contributing content to our platform, broadly distributing content from our platform across their properties and using
        Twitter content and tools to enhance their websites and applications. Many of the world’s most trusted media outlets,
        including the BBC, CNN and Times of India, regularly use Twitter as a platform for content distribution. In addition,
        over

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         three million applications have been registered by developers to enable them to integrate with our platform, and
         leverage Twitter content to enhance and extend their applications in new and creative ways.
      Ÿ Advertisers. Advertisers use our Promoted Products, the majority of which are pay-for-performance, to promote
        their brands, products and services, amplify their visibility and reach, and complement and extend the conversation
        around their advertising campaigns. We enable our advertisers to target an audience based on a variety of factors,
        including a user’s Interest Graph. The Interest Graph maps, among other things, interests based on users followed
        and actions taken on our platform, such as Tweets created and engagement with Tweets. We believe a user’s
        Interest Graph produces a clear and real-time signal of a user’s interests, greatly enhancing the relevance of the ads
        we can display for users and enhancing our targeting capabilities for advertisers. Our Promoted Products are
        incorporated into our platform without disrupting or detracting from the user experience and are designed to be as
        compelling and useful to our users as organic content on our platform.
Although we do not generate revenue directly from users or platform partners, we benefit from network effects where more
activity on Twitter results in the creation and distribution of more content, which attracts more users, platform partners and
advertisers, resulting in a virtuous cycle of value creation.

      Mobile has become the primary driver of our business. Our mobile products are critical to the value we create for our
users, and they enable our users to create, distribute and discover content in the moment and on-the-go. The 140 character
constraint of a Tweet emanates from our origins as an SMS-based messaging system, and we leverage this simplicity to
develop products that seamlessly bridge our user experience across all devices. In the three months ended June 30, 2013,
75% of our average MAUs accessed Twitter from a mobile device and over 65% of our advertising revenue was generated
from mobile devices. We expect that the proportion of active users on, and advertising revenue generated from, mobile
devices, will continue to grow in the near term.

      We have experienced rapid growth in our user base and revenue in recent periods. In the three months ended June 30,
2013, our average MAUs increased by 44% to 218.3 million, compared to the three months ended June 30, 2012. From 2011
to 2012, revenue increased by 198% to $316.9 million, net loss decreased by 38% to $79.4 million and Adjusted EBITDA
increased by 149% to $21.2 million. From the six months ended June 30, 2012 to the six months ended June 30, 2013,
revenue increased by 107% to $253.6 million, net loss increased by 41% to $69.3 million and Adjusted EBITDA increased by
$20.7 million to $21.4 million. For information on how we define and calculate the number of MAUs and factors that can affect
this metric, see the sections titled “Industry Data and Company Metrics” and “Management’s Discussion and Analysis of
Financial Condition and Results of Operations—Key Metrics.” For information on how we define and calculate Adjusted
EBITDA, and a reconciliation of net loss to Adjusted EBITDA, see the section titled “Prospectus Summary—Summary
Consolidated Financial and Other Data—Non-GAAP Financial Measures.”

The Evolution of Content Creation, Distribution and Discovery
      The Internet and digitization have allowed for virtually all content to be made available online, but the vast array of
content has made it difficult for people to find what is important or relevant to them. Over time, technologies have been
developed to address this challenge:
       Web Browsers. In the early to mid-1990s, browsers, including Netscape Navigator and Internet Explorer, presented
content on the Internet in a visually appealing manner and provided a better user interface to retrieve content by navigating
specific websites and from one website to another. Early browsers were pre-loaded with bookmarks directing people to
popular websites, but the content experience was generally not personalized or tailored to a person’s interests and
information was often difficult to find unless the person knew what they were looking for and where to find it.
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      Web Portals. In the mid to late-1990s, Yahoo!, AOL, MSN and other web portals aggregated and categorized popular
content and other communication features to help people discover relevant information on the Internet. These portals, while
convenient and with some ability to personalize, offer access to a limited amount of content.

       Search Engines. In the early-2000s, Google and other search engines rose to prominence by developing new ways to
search for information on the Internet. Search engines provide much greater depth and breadth of relevant information than
portals. Although search engines focus on delivering comprehensive and relevant information as directed by a specific user
request, the search results are often only as good as the search algorithm and the amount of content in the search index. In
addition, given the lag between live events and the creation and indexing of digital content, search engine results may lack
real-time information. Because search engines only respond to specific user requests, they also generally do not surface
content that a person has not requested, but may find interesting.

       Social Networks. In the mid-2000s, social networks, such as Facebook, emerged as a new way to connect with
friends and family online. Social networks allow people to share information with their friends and family and discover
information based on the interests of their connections. Although social networks enable their users to create and share
content, they are generally closed, private networks that do not include content from outside the user’s friends, family and
mutual connections. Consequently, while the content delivered by a social network may be relevant, the source is generally
limited to those people with whom the user has a mutual, symmetric relationship, and, therefore, the depth and breadth of
content available to people is also generally limited. Additionally, because most social network users have the expectation that
only a limited portion of the content they create will be made available to the public, most social network content is generally
only available within the particular social network on which it originated and is not broadly available off their networks, such as
on other websites, applications or traditional media outlets like television, radio and print.

Twitter Continues the Evolution
       Twitter continues the evolution of content creation, distribution and discovery by combining the following four elements
at scale to create a global platform for public self-expression and conversation in real time. We believe Twitter can be the
content creation, distribution and discovery platform for the Internet and evolving mobile ecosystem.
      Ÿ Public.     Twitter is open to the world.
         Content on Twitter is broadly accessible to our users and unregistered visitors. All users can create Tweets and follow
         other users. Since the vast majority of users on Twitter choose to communicate publicly on our platform, users can
         follow other users without requiring a reciprocal relationship. This asymmetric follow model significantly increases the
         breadth and depth of content available to users on our properties. In addition, the public nature of Twitter allows
         people to benefit from Twitter content even if they are not Twitter users or following the user that originally tweeted,
         as that content can travel virally on and off our properties to other websites and media, such as television and print.
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        For example, during Hurricane Sandy in the United States in October 2012, Twitter provided a powerful tool for
        crucial emergency response as government officials, such as Dawn Zimmer (@dawnzimmernj), mayor of Hoboken,
        New Jersey, and Mike Bloomberg (@MikeBloomberg), mayor of New York City, relief organizations and the public
        used our platform to instantly broadcast essential information.


                                                   Dawn Zimmer
                                                   @dawnzimmernj

                                   Just advi.sed the national guard has arrived in
                                   Hoboken. More to come.



                                                   Mike Bloomberg 0
                                                   @M ikeBloomberg

                                   NYC Tap Water is absolurtely safe to drink
                                   #-SandyNYC # Recovery
                                   11   0 At




                                                   American Red Cross 0
                                        +
                                        ~
                                                   @Redcross

                                   In Hoboken , we have 20 vehicles and 6 box
                                   tmcks w boxed lunches, ready-to-eat meals,
                                   water, 7 n1e11tal health workers (11.1.12 ) #Sandy
                                   11 ••   t   1    1?



      Ÿ Real-Time.    News breaks on Twitter.
        Real-time content allows our users to enhance experiences by digitally connecting to a global conversation as events
        unfold, and enables our users to engage with each other directly and instantly in the moment and on-the-go. The
        combination of our tools, technology and format enables our users to quickly create and distribute content globally in
        real time with 140 keystrokes or the flash of a photo, and the click of a button. The ease with which our users can
        create content combined with our broad reach results in users often receiving content faster than other forms of
        media. Additionally, because our platform allows any of our over 215 million MAUs to contribute content, we have a
        vastly larger production capability than traditional media and news outlets.
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        For example, when US Airways Flight 1549 landed on the Hudson River near New York City, Twitter user Jānis
        Krūms (@jkrums) was among the first on the scene and tweeted his account of the situation for the world to see, all
        in real time.


                                            Janis Kflilms
                                 r          @jkrurns

                                     tv.'itpic.com/13s;xa -There's a plane in the
                                     Hudson. rm on the ferry going to pick up the
                                     peop,le. Crazy.




      Ÿ Conversational.    Twitter is where users come to express themselves and interact with the world.
        Our users can interact on Twitter directly with other users, including people from around the world, as well as
        influential individuals and organizations. Importantly, these interactions can occur in public view, thereby creating an
        opportunity for all users to follow and participate in conversations on Twitter. These public conversations offer a
        complementary communication channel to media companies and advertisers and an opportunity for them to increase
        their ad engagement and reach through Twitter.
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        For example, when a Twitter user sought cooking advice from chef Mario Batali (@Mariobatali), the user received a
        response from @Mariobatali and musician Gavin Rossdale (@GavinRossdale) joined the conversation and provided
        some advice of his own.


                                             M'a rto Bamll @Mariobateli 0
                                            u~ San Marzano tomatoes., cook garlic less? #heymb
                                             RT@amarah31 :i am a good cook, but my red sauce tastes
                                             biltar. \Mlat could b@ the reason?


                                             GAV1N IROSSDAILE G<iamRo~ale           0
                                             @Marlobatall @amaralh31 could be the basil-too much too
                                             long

                                                                                                          2/ 5121) 2
                                             Mario Batalli CM    iObalali   O
                                             behind tllis handsome rocker facade lies a brilliarit ,oookl I

                                             RT @GavinRo5sda e: @Marioba.tali @amarah31 could be lhe
                                             basil-too muc:h too, lofllg"
                                                                                                                       _,,
      Ÿ Distributed.   Tweets go everywhere.
        Tweets are distributed not only on Twitter, but also off our properties by millions of websites around the world. Media
        outlets distribute Tweets beyond our properties to complement their content by making it more timely, relevant and
        comprehensive. The simple format of a Tweet, the public nature of content on Twitter and the ease of distribution off
        our properties allow media outlets to display Tweets on their online and offline properties, thereby extending the
        reach of Tweets beyond our properties. A 2013 study conducted by Arbitron Inc. and Edison Research found that
        44% of Americans hear about Tweets through media channels other than Twitter almost every day.
                                                                  97
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         For example, when President Barack Obama (@barackobama) won the 2012 U.S. presidential election, he first
         declared victory publicly not on television or other public media, but on Twitter. The President’s Tweet was viewed
         approximately 25 million times on our platform and widely distributed offline in print and broadcast media.


                                              Barack. Obama 0
                                              @BarackObama

                                     Four morn years.
                                     pic.twitter.com/bAJE6Vom




      The combination of being public, real-time, conversational and distributed forms the foundation of our ability to provide
value to our users, platform partners and advertisers.

Our Value Proposition to Users
      People are at the heart of Twitter. We have more than 215 million MAUs from around the world. People come to Twitter
for many reasons, and we believe that two of the most significant are the breadth of Twitter content and our broad reach. Our
users consume content and engage in conversations that interest them by discovering and following the people and
organizations they find most compelling. Our broad reach allows our users to express themselves publicly to a large global
audience, and participate in global conversations.

       Our platform has been used for charitable campaigns, disaster relief efforts, bearing witness to history, communicating
with elected officials, political movements, responding to fans, empathizing with one another, parody as social commentary,
product announcements and live play-by-play of sporting events.

      Our users contribute to the vibrancy of our platform by creating unique content and by favoriting, mentioning and
retweeting content they discover. The interaction among our users, including some of the world’s most influential individuals
and organizations, combined with the public, real-time, conversational and widely distributed nature of our platform creates a
unique value proposition for our users, whether they are contributing content or discovering and consuming it.

      Specifically, our platform provides our users with the following benefits:
      Ÿ Sharing Content with the World. Users leverage our platform to express themselves publicly to the world, share
        with their friends and family and participate in conversations by tweeting messages, photos and videos to their
        followers in real time. The public, real-time nature and

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        tremendous global reach of our platform make it the content distribution platform of choice for many of the world’s
        most influential individuals and organizations, as well as millions of people and small businesses. Musicians tweet to
        launch albums, bloggers and journalists tweet to promote their latest posts or stories, professional athletes tweet to
        announce trades from one team to another, astronauts tweet photos from space and CEOs tweet corporate news.
        For example, NASA tweeted the discovery of ice on Mars by the Mars Phoenix Rover (@MarsPhoenix).


                                                  MarsPhoenix     0
                                                  @Mars Phoenix

                                     Are you ready to oelebrat e? WeU. get ready: We
                                     have ICE!!!!! Yes, ICE, *WATER ICE* on Marsl
                                     woot! !! Best day ever!!
                                         rt   ,



        Nobukazu Kuriki (@kurikiyama_EN) tweeted his journey up Mount Everest.


                                                  Nobukazu IKuriki
                                                  @ku ri kiyama_EN

                                     I've left 7500m camp for Everest summit push
                                     on 10:30pm ,JST. H's real]y ooldt dark and Uke
                                     spa.re. I can only see stars.
                                     1   rt   , ,._ 1



      Ÿ Discovering Unique and Relevant Content. Twitter’s over 215 million MAUs, spanning nearly every country, provide
        great breadth and depth of content across a broad range of topics, including literature, politics, finance, music,
        movies, comedy, sports and news. Twitter uniquely allows a user to filter the vast amount of content by choosing
        other users that they want to follow, thereby creating a highly relevant timeline of information that is personalized to
        their interests. We provide search and other discovery features, including trends, hashtags and #Discover, that help
        users find content ranging from well-known to obscure sources to follow events or topics that are most interesting to
        them. We further improve the relevancy of content our users receive by making recommendations for additional
        content based on their Interest Graph.
      Ÿ Breaking News and Engaging in Live Events. Users come to Twitter to discover what is happening in the world
        right now directly from other Twitter users. On Twitter, users tweet about live events instantly, whether it is celebrities
        tweeting to their fans, journalists breaking news or people providing eyewitness accounts of events as they unfold.
        Many individuals and organizations choose to break news first on Twitter because of the unique reach and speed of
        distribution on our platform. These events may be planned, like sporting events and television shows, or unplanned,
        like natural disasters and political revolutions. Users tweet about these events to entertain, editorialize, or
        commiserate and, in some cases, as a public service. We believe that no other platform complements live
        experiences as well as Twitter. As a result, Twitter is a primary source of information for our users. In addition, Twitter
        serves as a second screen to traditional media, enhancing the overall experience of an event by allowing users to
        share the experience with other users in real time. We believe this makes Twitter the social soundtrack to life in the
        moment.
                                                                     99
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        For example, when the power at the Mercedes-Benz Superdome in New Orleans went out during the 2013 Super
        Bowl, the creative team at Oreo (@Oreo) was quick to tweet about the situation to engage users during the live
        event.


                                                         Oreo Cookiie 0
                                                         @Oreo

                                    Fower olll!t? No problem.
                                    pie. twitter .com/ dnQ7pOgC
                                         4'




        The British Monarchy (@ClarenceHouse) announced the birth of Prince George of Cambridge on Twitter.


                                   .__ ...,....,.. Clarence IHouse 0
                                          • •'           @ClarenceHouse

                                    Her Royal Highness The Duchess of Cambridge
                                   wru; safely delivered of a son at 4.24pm
                                    .,        Pt.I   ~




      Ÿ Participating in Conversations. We believe Twitter is the largest source of public conversation in the world. Through
        Twitter, users not only communicate with friends and family, but they also participate in conversations with other
        people from around the world, in ways that would not otherwise be possible.

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         For example, during the NBA lockout, Oklahoma City Thunder player Kevin Durant (@KDTrey5) was looking to get
         some exercise and he turned to Twitter. @KDTrey5 tweeted and as a result connected with college student George
         Overbey (@groverbey) and joined a flag football game at Oklahoma State University that night.
                               (
                                          Kallin Durant.C KDTreyS   O
                                          This lockout is really boning .. anybody !)laying Rag footb     In
                                          Okc ..l ooed to nm aro1Jnd cg- somelhi ng!



                                          George, OVetil>e,y @groverbe),
                                          Got a game tonight in S illwaterll I need a deep threat!I RT
                                          @KDTrey5: This lock.out is really boring ..anyibody playing flag
                                          football In Ol<c ..



                                          Kevin Durant @KDTrey5     0
                                          @gmverooy can I play




                                          George,Gverbe,y @gmvPJ~
                                          011ly if you bring yoor A game. Yes for real! Gome up early anci
                                          hangout, go over some plays RT @KDTrey5: @groverbey
                                          forreal?


                                                                                                        10,r"'.1 /"J   1

                                          George, Overibey ~r'OV8Jbey
                                          Had one of the best n ights of my life tonight.. Game ball goBS
                                          t,o @KDTrey5 . 4 Ids and 3 p icks! Tharnks for coming up bfo!



         In addition to participating in conversations, users can simply follow conversations on Twitter or express interest in
         the conversation by retweeting or favoriting.

Our Value Proposition to Platform Partners
       The value we create for our users is enhanced by our platform partners, which include publishers, media outlets and
developers. These platform partners have integrated with Twitter through an API that we provide which allows them to
contribute their content to our platform, distribute Twitter content across their properties and use Twitter content and tools to
enhance their websites and applications.

       We provide a set of development tools, APIs and embeddable widgets that allow our partners to seamlessly integrate
with our platform. More than three million applications have been registered by developers to enable them to integrate with
our platform and leverage Twitter content to enhance and extend their applications in new and creative ways.

      Specifically, we provide our platform partners with the following benefits:
      Ÿ Distribution Channel. Platform partners use Twitter as a complementary distribution channel to expand their reach
        and engage with their audiences. Publishers and media outlets contribute content created for other media channels
        to Twitter and tweet content specifically created for Twitter. We provide platform partners with a set of widgets that
        they can embed on their websites and an API for their mobile applications to enable Twitter users to tweet content
        directly from
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        those properties. As our users engage with this content on Twitter, they can be directed back to our partners’
        websites and applications. We also provide our platform partners with a set of analytics tools to measure the user
        engagement and traffic generated by Twitter users.
      Ÿ Complementary Real-Time and Relevant Content. Twitter enables platform partners to embed or display relevant
        Tweets on their online and offline properties to enhance the experience for their users. Additionally, by enhancing the
        activity related to their programming or event on Twitter, media outlets can drive tune-in and awareness of their
        original content, leveraging Twitter’s strength as a second screen for television programming. For example, during
        Super Bowl XLVII, over 24 million Tweets regarding the Super Bowl were sent during the game alone and 45% of
        television ads shown during the Super Bowl used a hashtag to invite viewers to engage in conversation about those
        television ads on Twitter. In addition, in August 2013, Nielsen released the findings of a study which demonstrated
        that the volume of Tweets about a television program caused an increase in live television ratings in 29% of sampled
        television programs. Nielsen has also launched a measurement product based exclusively on Twitter data. This
        metric will measure the reach of the television conversation on Twitter and will serve to complement Nielsen’s
        existing television ratings, giving television networks and advertisers real-time metrics to better understand television
        audience social activity.
      Ÿ Canvas for Enhanced Content with Twitter Cards. Platform partners use Twitter Cards to embed images, video and
        interactive content directly into a Tweet. Twitter Cards allow platform partners to create richer content that all users
        can interact with and distribute. In addition, by integrating Twitter Cards functionality into their websites, platform
        partners can ensure that whenever they or any user tweets from their websites or applications, the Tweet will
        automatically include rich content like a photo, a video, a sound clip, an article summary or information about a
        product, and make it instantly accessible to any other user on Twitter.
      Ÿ Building with Twitter Content. Platform partners leverage Tweets to enhance the experience for their users.
        Developers incorporate Twitter content and use Twitter tools to build a broad range of applications. Media partners
        incorporate Twitter content to enrich their programming and increase viewer engagement by providing real-time
        Tweets that express public opinion and incorporate results from viewer polls on Twitter. For example, one developer
        uses access to Twitter content to provide alerts for its clients about a variety of topics and industries in advance of
        mainstream news. The developer’s application scans through all Tweets generated on our platform and identifies
        Tweets that appear to be credible and newsworthy based on certain aspects of a Tweet, such as the influence of the
        user who tweeted it, the user’s geographic location and patterns of the user’s Tweets. Another developer uses its
        algorithms and access to content on our platform to generate reports for brands, media companies and political
        campaigns that let the developer’s clients know what people are saying about them on Twitter and why.

Our Value Proposition to Advertisers
      We provide compelling value to our advertisers by delivering the ability to reach a large global audience through our
unique set of advertising services, the ability to target ads based on our deep understanding of our users and the opportunity
to generate significant earned media. Advertisers can use Twitter to communicate directly with their followers for free, but
many choose to purchase our advertising services to reach a broader audience and further promote their brands, products
and services.

      Advertisers can market on our platform in a variety of ways, from broad global campaigns to highly-targeted local ads.
Our Promoted Products enable our advertisers to promote their brands, products and services, amplify their visibility and
reach, and complement and extend the conversation around their advertising campaigns. By leveraging our targeting
capabilities, advertisers can reach users that are more likely to engage with their ads and improve the return on their spending
on advertising.
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      We use an auction for our pay-for-performance Promoted Products. The algorithms underlying the auction take into
account the predicted ad engagement rate of an advertiser’s campaign. As such, advertisers with higher quality and more
relevant ads generally have a higher probability of being successful in the auction and can win the auction with lower bids.

      Specifically, our platform provides our advertisers with the following benefits:
      Ÿ Unique Ad Formats Native to the User Experience. Our Promoted Products provide advertisers with an opportunity
        to reach our users without disrupting or detracting from the user experience on our platform. For example, Promoted
        Tweets appear within a user’s timeline just like an organic Tweet, regardless of device, whether it be desktop or
        mobile. Advertisers can incorporate Twitter Cards into Promoted Tweets for many purposes, including to drive
        product webpage visits or application installs. Similarly, Promoted Accounts and Promoted Trends also appear in the
        same format and place as organic account recommendations and trends, respectively. All of our Promoted Products
        are labeled as “promoted.”
      Ÿ Targeting. Our pay-for-performance Promoted Products enable advertisers to reach users based on many factors.
        Importantly, because our asymmetric follow model does not require mutual follower relationships, people can follow
        the users that they find most interesting. These follow relationships are then combined with information regarding a
        user’s activity on our platform, including who the user replies to, what Tweets the user favorites or retweets, links the
        user clicks, the location of the user and what the user tweets about, to form a user’s Interest Graph. Twitter’s
        asymmetric follow model makes it easy for users to follow and unfollow other users. As a result, our users regularly
        add and remove accounts from their follow list, improving and updating their Interest Graphs. We believe a user’s
        Interest Graph produces a clear and real-time signal of a user’s interests, greatly enhancing our targeting capability.
        For example, New Relic (@newrelic) uses Twitter to target its business-to-business audience of developers and IT
        decision makers using a combination of interest and keyword targeting. Its goal on Twitter is to drive purchases and
        installs of its application performance management services. @newrelic has used Twitter to drive traffic to blog posts,
        share infographics and offer discounts. In July 2013, @newrelic offered a free trial of Code School, an online learning
        platform, for deploying its service. This promotion nearly doubled the number of Twitter-driven deployments
        compared to the month before.


                                               NewRel1ic 0
                                              @newrelic

                                     Time to Level Up! Get a FREE Month of Code
                                     School classes when you deploy New Relic. It's
                                     that easy; new·reHc.com/lp/oodeschool?...
                                        Promoted by Ne-,,,Relic




      Ÿ Earned Media and Viral Global Reach. The public and widely distributed nature of our platform enables Tweets to
        spread virally, potentially reaching all of our users and people around the world. Our users retweet, reply to or start
        conversations about interesting Tweets, whether those Tweets are Promoted Tweets or organic Tweets by
        advertisers. An advertiser only gets charged when a user engages with a Promoted Tweet that was placed in a
        user’s timeline because of its promotion. By creating highly compelling and engaging ads, our advertisers can benefit
        from users retweeting their content across our platform at no incremental cost.
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        For example, Mondelēz International has promoted Wheat Thins (@WheatThins) with a “Must. Have. Wheat. Thins.”
        slogan that appears on its advertising campaigns on TV and Twitter. During the campaign, @WheatThins asked its
        customers to send Tweets and Vines about having their Wheat Thins eaten or stolen by other fans of the product.
        Customers could win boxes of Wheat Thins by tweeting #MustHaveWheatThins. The integration across screens and
        promotion on Twitter drove over 242,000 Tweets mentioning the Wheat Thins brand during the advertising campaign
        and resulted in a significant increase in followers on Twitter.


                                    IINll&r Wheat Thins
                                    rot~ @WheatThins
                                    Have our Wheat 11rin Been Taken? Probably
                                    Flavor Protection .com
                                    #MustHaveWheat1 hins
                                    vine.co/v/bl'ilvl Bol5M 95
                                       F'rO"rloted b)I Wheal Thins




                                    ,o3JAM 23~ 13


      Ÿ Advertising in the Moment. Twitter’s real-time nature allows our advertisers to capitalize on live events, existing
        conversations and trending topics. By using our Promoted Products, advertisers can create a relevant ad in real time
        that is shaped by these events, conversations and topics.
      Ÿ Pay-for-Performance and Attractive Return on Investment. Our advertisers pay for Promoted Tweets and Promoted
        Accounts on a pay-for-performance basis. Our advertisers only pay us when a user engages with their ad, such as
        when a user clicks on a link in a Promoted Tweet, expands a Promoted Tweet, replies to or favorites a Promoted
        Tweet, retweets a Promoted Tweet for the first time, follows a Promoted Account or follows the account that tweets a
        Promoted Tweet. The pay-for-performance structure aligns our interests in delivering relevant and engaging ads to
        our users with those of our advertisers.
        In 2012, we commissioned a survey with Nielsen to measure the impact of our advertising services on brand
        awareness and purchase intent. Nielsen’s study found that users who
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        engaged with a brand’s Promoted Tweet reported on average 30% higher brand favorability and 53% higher
        purchase intent than users who did not engage. These results highlight the value of an ad engagement on Twitter
        and the importance of reaching a relevant audience with compelling content to further drive ad engagement.
        For example, Bonobos (@Bonobos), an online men’s apparel retailer, wanted to make room for its fall season line
        and recruit new customers. @Bonobos held a “Twixclusive,” a 24-hour sale exclusively on Twitter. The company
        increased anticipation of the sale with Tweets several days in advance. On the day of the sale, @Bonobos used
        Promoted Tweets in timelines to announce an exclusive Twitter deal for $49 chinos. The deal was only available
        through Twitter and not advertised anywhere else. @Bonobos encouraged users to spread the word to unlock the
        deal, which was done almost immediately. The advertising campaign netted a number of first-time purchasers.



                                    ■ Bon.obos
                                             @Bonobos

                                    TWIXCLUSIVE Sale! Our 1 and only Washed
                                    Chinos. Wer,e $88, now $49. 24-hour saJe
                                    unlocks after 49 RTs. bno.bs/twittcrsalc
                                        Promo!   b:, Bonot>o:;




      Ÿ Extension of Offline Advertising Campaigns. Twitter advertising complements offline advertising campaigns, such
        as television ads. Integrating hashtags allows advertisers to extend the reach of an offline ad by driving significant
        earned media and continued conversation on Twitter. Additionally, we enable advertisers to engage directly on
        Twitter with users who have been exposed to their ads on television. We believe that synchronizing Twitter and
        television advertising campaigns makes brand messages more engaging and interactive.
      Ÿ Connect in Context. Because the vast majority of Tweets are public, advertisers can gain meaningful insights and
        market intelligence from, and respond directly to, the feedback in customers’ and others’ Tweets. Our users discuss
        what they care about and what is happening around them right now. Our advertisers have powerful context to
        connect their messages to what is most meaningful to users in real time, and can engage with their customers in a
        way that is unique to Twitter.
      Ÿ Twitter Amplify. Advertisers and media outlets can use Twitter Amplify to drive ad engagement and conversation on
        our platform during live programs. With Twitter Amplify, media outlets can attach real-time video clips about live
        events to Promoted Tweets, including instant replays of sports highlights and behind-the-scenes content, providing
        users with timely content that complements their television experience or reminds users to tune in to what they may
        be missing. For example, during the NCAA college basketball tournament, which began in March 2013, some of our
        users received Promoted Tweets containing video highlights of plays from tournament games in real time, allowing
        them to view these highlights within the Promoted Tweet directly in their timelines. Twitter Amplify provides
        advertisers with the opportunity to embed short video ads before and after the real-time video clip in a Promoted
        Tweet, complementing the conversation that is happening about these live events on our platform and in the world.
        Twitter Amplify partners include large advertisers and prominent media partners.

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Our Value Proposition to Data Partners
       We offer data licenses that allow our data partners to access, search and analyze historical and real-time data on our
platform. Since the first Tweet, our users have created over 300 billion Tweets spanning nearly every country. Our data
partners use this data to generate and monetize data analytics, from which data partners can identify user sentiment,
influence and other trends.

      Specifically, our platform provides our data partners with the following benefits:
      Ÿ Access to Actionable Data. Our platform enables data partners to analyze and act upon data that is current,
        unfiltered and public. Our data is the foundation for applications and tools that can draw relationships between social
        interactions and business results, and even derive signals that influence economic, political and public health and
        safety decisions. For example, one of our data partners applies its algorithms to Twitter data to create and sell
        products to its customers that identify activity trends across Twitter which may be relevant to its customers’
        investment portfolios.
      Ÿ Ability to Create Measurement Standards. We provide our data partners with the tools and data to find the right
        signal for the right audience. Our users tweet to express their thoughts and opinions about what is happening around
        them, creating data that can be analyzed to identify trends and other valuable insights.

Our Market Opportunity
       We offer advertising services to help advertisers better achieve their goals, particularly as people worldwide spend
more time engaging with mobile content. We provide advertisers with a platform to take on a human voice and reach a broad
set of users and the tools to target users and generate interest. We design our advertising services to be engaging for users
and personalized to their interests. Twitter’s public, real-time, conversational and widely distributed content and our
differentiated ability to target users through their Interest Graphs enable advertisers to promote their brands, products and
services, amplify their visibility and reach, and complement and extend the conversation around their advertising campaigns.

      We believe our advertising services address the large online and mobile advertising markets:
      Ÿ Online Advertising. From 2012 to 2017, the worldwide online advertising market, excluding mobile advertising, is
        projected to increase from $91.1 billion to $124.7 billion, representing a 6.5% compounded annual growth rate,
        according to industry sources.
      Ÿ Mobile Advertising. From 2012 to 2017, the worldwide mobile advertising market is projected to increase from
        $10.0 billion to $52.2 billion, representing a 39.2% compounded annual growth rate, according to industry sources.

Growth Strategy
      We believe that the growth of our business is driven by a virtuous cycle that starts with what is best for our users.
Growth in our user base drives more unique content, which in turn drives the viral, organic promotion of content on and off our
properties, thereby attracting more platform partners and advertisers. As we attract more users, the value proposition for
advertisers increases, thereby incentivizing advertisers to develop unique and compelling content for our platform. We have
aligned our growth strategy around these three primary constituents.
      Ÿ Users. Growth in our user base and user engagement is a fundamental driver to the growth of our business, and
        we believe that there is a significant opportunity to expand our user base. Since our inception, our user base has
        primarily grown organically and virally. Industry sources

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        estimate that as of 2012 there were 2.4 billion Internet users and 1.2 billion smartphone users, of which only 215
        million are MAUs of Twitter.
            Ÿ Geographic Expansion. We continue to focus on growing our user base across all geographies. We plan to
              develop a broad set of partnerships globally to increase relevant local content on our platform and make
              Twitter more accessible in new and emerging markets.
            Ÿ Mobile Applications. In the three months ended June 30, 2013, 75% of our average MAUs accessed Twitter
              from a mobile device. Our most engaged users are those who access Twitter via our mobile applications. We
              plan to continue to develop and improve our mobile applications to drive user adoption of these applications.
            Ÿ Product Development. We plan to continue to build and acquire new technologies to develop and improve
              our products and services and make our platform more valuable and accessible to people around the world.
              We also plan to continue to focus on making Twitter simple and easy to use, particularly for new users.
      Ÿ Platform Partners. We believe growth in our platform partners is complementary to our user growth strategy and
        the overall expansion of our platform.
            Ÿ Expand the Twitter Platform to Integrate More Content. We plan to continue to build and acquire new
              technologies to enable our platform partners to distribute content of all forms.
            Ÿ Partner with Traditional Media. Twitter has a complementary relationship with other media, including music
              services, news outlets and television networks. We plan to continue to leverage our media relationships to
              drive more content distribution on our platform and create more value for our users and advertisers.
      Ÿ Advertisers. We believe we can increase the value of our platform for our advertisers by enhancing our advertising
        services and making our platform more accessible.
            Ÿ Targeting. We plan to continue to improve the targeting capabilities of our advertising services. We recently
              introduced keyword targeting, which allows advertisers to reach users based on words, including words
              marked with a hashtag, in their recent Tweets and the Tweets with which users recently engaged and
              television targeting, which enables advertisers to engage directly with people on Twitter who have been
              exposed to their ads on television.
            Ÿ Opening Our Platform to Additional Advertisers. We believe that advertisers outside of the United States
              represent a substantial opportunity and we plan to invest to increase our advertising revenue from
              international advertisers. Approximately 25% of our total revenue in the three months ended June 30, 2013,
              came from advertisers with billing locations outside of the United States, but approximately 77% of our
              average MAUs in the three months ended June 30, 2013 were from outside of the United States. We recently
              launched our self-serve advertising platform in the United States and we intend to launch our self-serve
              advertising platform in selected international markets. Our self-serve advertising platform allows advertisers to
              purchase advertising on Twitter through an automated online platform rather than through our direct sales
              force or our resellers. In international markets, our Promoted Products are currently only available for sale
              through our direct sales force or our resellers. As such, the number of advertisers on our platform in
              international markets is currently limited to those parties that our direct sales force or resellers contact and
              enlist as advertisers. Since our self-serve advertising platform opens our advertising platform to all advertisers,
              opening our self-serve advertising platform in international markets will allow us to reach many more potential
              advertisers than is currently possible.
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             Ÿ New Advertising Formats. We intend to develop new and unique ad formats for our advertisers. For
               example, we recently introduced our lead generation and application download Twitter Cards, and Twitter
               Amplify, which allows advertisers to embed ads into real-time video content.

Our Products and Services
      We design our products to create a user-centric, interactive experience. Our development efforts focus on simplicity and
ensuring that content can be accessed on any platform.

Products for Users
      Twitter.    Twitter allows users to express themselves and create, distribute and discover content.
      Ÿ Home Timeline. The timeline is a key component of the user experience. A user’s timeline displays the user’s
        individual Tweets as well as Tweets from the users they follow, with the most recent Tweets appearing at the top of
        the timeline. The timeline prompts the user to refresh whenever a followed user sends a new Tweet. The timeline is
        designed to be simple and easy to digest, and displays only the user profile picture and text content of each Tweet. If
        a Tweet contains rich media content, or is part of a broader conversation involving favorites, replies and Retweets,
        the user can expand the Tweet to display this content in the timeline.
      Ÿ Self-Expression Mechanisms.
             Ÿ Tweet Composer. When a user wants to create a Tweet, they can do so by simply clicking on the “Compose
               new Tweet” box or icon, composing a Tweet and clicking “Tweet” to send the Tweet to their followers.
             Ÿ Profile. The user profile includes a user’s name, Twitter username, location, website, photograph and short
               biography, and also includes lists of the accounts that the user is following, the user’s followers, the user’s
               Tweets and media gallery.
             Ÿ Lists. A list is a curated group of Twitter users. Users can create their own lists or subscribe to lists created
               by other users. Viewing a list timeline will show the user a stream of Tweets from only the users on that list.
      Ÿ Social Mechanisms.
             Ÿ Follow. Users select which other users they want to follow based on what interests them. The Tweets of the
               users they follow are displayed in their timeline.
             Ÿ Who to Follow. Our user recommendation engine, “Who to Follow,” provides users with recommendations for
               other users to follow based on their interests and who they are currently following.
             Ÿ Favorites, @Replies and Retweets. Various features enable users to interact with Tweets created by other
               users. Users can click on the “Favorite” button on a Tweet to demonstrate their support of or interest in the
               Tweet. Users can also reply to a Tweet created by another user by clicking the “Reply” button on the Tweet,
               which we refer to as an @reply, building on the original content and sharing their thoughts and opinions with
               the sender. A Tweet can also be resent, or retweeted, by a user that has received it by clicking the “Retweet”
               button on the Tweet, which enables users to redistribute the original Tweet to their followers.
             Ÿ Mentions. Users can refer to, or mention, other users in their Tweets and Retweets by denoting the recipient
               with the “@” symbol followed by their username. We display mentions, including @replies, on the @Connect
               page of the user mentioned.
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            Ÿ @Connect. Users can see their history of interactions with other Twitter users by going to their @Connect
              page, which collects and displays information about a user’s followers and interactions with other users on
              Twitter.
            Ÿ Direct Messages. In order to allow non-public communication among Twitter users, Twitter allows users to
              send private messages, known as direct messages. Users can only send a direct message to a user who is
              following them and can only receive direct messages from users they follow.
            Ÿ Protected Tweets. Twitter also provides its users with the ability to make their Tweets private. A user who
              chooses to utilize this feature must choose to accept a new follower request before his or her Tweets are
              visible to that follower.
      Ÿ Discovery Mechanisms.
            Ÿ Trends. Topics that are tweeted about at a high rate can become trends on Twitter. Trends are often
              indicators of what is current and popular at any given moment in a particular country or worldwide. Some
              trends are preceded by “#,” which we refer to as a hashtag. The use of hashtags on our platform was initiated
              by our users and hashtags are included in Tweets to mark them as relating to a topic, enabling trends to be
              more easily identified and conversations on a given topic to be more easily found.
            Ÿ Search. Twitter Search enables users to find a real-time targeted list of the Tweets and users most relevant
              to their search topic by keyword, hashtag or username.
            Ÿ #Discover. The Twitter #Discover tool enables users to find interesting and relevant information that they
              may not have found in their own timeline or through searches. A user’s interests, their followers and activity
              determine what is displayed on the user’s #Discover page.
      Ÿ Notifications.
            Ÿ Email, SMS and Push Notifications. Users can customize how they are notified about activity on Twitter.
              They may elect to receive email notifications, SMS messages and mobile push notifications, which are alerts
              sent to the home screen of a mobile device by a mobile application.
      Ÿ Platform Ubiquity.   We make Twitter available across a variety of mobile and desktop applications and websites.
            Ÿ Mobile Applications. Twitter is available across a wide range of mobile devices, including Android phones
              and tablets, iPhone, iPad, Blackberry, Windows Phone and Nokia S40. We tailor our products and services to
              each system to create a rich Twitter experience for our users, taking advantage of the capabilities of each
              device and its operating system.
            Ÿ Mobile Web and Twitter.com. Twitter is available on the web at mobile.twitter.com and twitter.com. We
              operate tailored versions of our mobile website for smartphone browsers and feature phone browsers to
              deliver a compelling user experience for users, regardless of how they access our platform.
            Ÿ SMS. Users in many countries around the world can register, follow accounts, receive notifications and send
              Tweets entirely through SMS. Our relationships with over 250 mobile carriers enable users who are customers
              of these carriers to engage with Twitter through SMS.
            Ÿ Desktop Applications. Our TweetDeck application enables users to view multiple streams of Tweets in real
              time, and execute custom search queries against real-time content. A Twitter application is available on the
              Macintosh and Windows 8 platforms.
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      Vine. Vine is a mobile application available on the iOS and Android operating systems that enables users to create
and distribute short looping videos of up to six seconds in length. Vine users create and distribute their videos to their
followers on Vine, with the option of tweeting them to their Twitter followers and sharing them on social networks. Users on
Vine can follow other users, re-broadcast to their followers by revining, comment on videos and embed videos on websites.
We do not currently place, or currently plan to place, ads on Vine.

       #Music. #Music is a mobile application that helps users discover new music and artists based on Tweets. #Music is
available on the iOS platform. #Music uses data from the Twitter API to surface trending music artists in a variety of genres,
and allows users to browse through artists based on social relationships on Twitter. We do not currently place, or currently
plan to place, ads on #Music.

        Our terms of service govern our users’ access to and use of our products and services, as well as any content
uploaded, downloaded or appearing on our products and services. By agreeing to our terms of service, our users agree to be
responsible for their use of our products and services, for any content they post to our products and services and for any
consequences thereof. Our terms of service allow us to alter or limit use of our products and services or terminate a user’s
right to use them at our sole discretion. We have the right to remove or refuse to distribute any content and to suspend or
terminate users at any time. Our users retain their rights to any content they submit, post or display on our products and
services and grant us a license to use, publish and distribute such content, including to our third-party partners. Our users
also agree to our privacy policy which describes our collection and use of their information. Our users agree that we, and the
third parties with whom we partner, may place targeted advertising on our products and services. Any user may terminate this
agreement with us at any time for any reason by deactivating their account and discontinuing their use of our products and
services.

Products for Platform Partners
       We provide a set of tools, public APIs and embeddable widgets that developers can use to contribute their content to
our platform, distribute Twitter content across their properties and enhance their websites and applications with Twitter
content. Over six million websites have integrated with Twitter, adding value to our user experience. In addition, over three
million applications have been registered by developers to enable them to integrate with our platform, and leverage Twitter
content to enhance and extend their applications in new and creative ways. The goal of our platform product development is
to make it easy for developers to integrate seamlessly with Twitter.

      Key elements of the Twitter platform products include:
      Ÿ Twitter Cards. Twitter Cards enable developers to attach content and functionality to Tweets, and have that content
        appear wherever a Tweet is displayed throughout web and mobile applications. Developers can link Twitter Cards
        directly to their own mobile application or website, in order to drive visits and application installs.
      Ÿ The Twitter Public API. The Twitter public API allows platform partners to integrate Twitter content and follower
        relationships into their applications. For example, a platform partner can connect to the Twitter public API in order to
        collect, filter and integrate real-time content from Twitter into a live television program or a third-party website to
        integrate Tweets into a sentiment monitoring application to help companies monitor and measure conversation on
        Twitter about their brand.
      Ÿ Twitter for Websites. Twitter for Websites is a set of tools that enable platform partners to integrate Twitter content
        and functionality into their websites. Sites can embed single Tweets or timelines of Tweets, or add Tweet buttons to
        their websites that make it easy for visitors to follow particular accounts or Tweet about the content they are viewing.
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Products and Services for Advertisers
       Our Promoted Products enable our advertisers to promote their brands, products and services, amplify their visibility
and reach, and extend the conversation around their advertising message. Currently, our Promoted Products consist of the
following:
      Ÿ Promoted Tweets. Promoted Tweets, which are labeled as “promoted,” appear within a user’s timeline or search
        results just like an ordinary Tweet regardless of device, whether it be desktop or mobile. Using our proprietary
        algorithm and understanding of the interests of each user, we can deliver Promoted Tweets that are intended to be
        relevant to a particular user.
      Ÿ Promoted Accounts. Promoted Accounts, which are labeled as “promoted,” appear in the same format and place
        as accounts suggested by our Who to Follow recommendation engine. Promoted Accounts provide a way for our
        advertisers to grow a community of users who are interested in their business, products or services.
      Ÿ Promoted Trends. Promoted Trends, which are labeled as “promoted,” appear at the top of the list of trending
        topics for an entire day in a particular country or on a global basis. When a user clicks on a Promoted Trend, search
        results for that trend are shown in a timeline and a Promoted Tweet created by our advertisers is displayed to the
        user at the top of those search results. We feature one Promoted Trend per day per geography.

      Our technology platform and information database enable us to provide targeting capabilities that make it possible for
advertisers to promote their brands, products and services, amplify their visibility and reach, and complement and extend the
conversation around their advertising campaigns, including the following:
      Ÿ Interest and Gender Targeting. Advertisers can target Promoted Tweets and Promoted Account campaigns based
        on interests and gender of users, which we predict based on the accounts that a user follows, and their history of
        interaction with content on Twitter.
      Ÿ Geographic Targeting. Advertisers can target Promoted Tweet and Promoted Account campaigns based on user
        geography. Advertisers can also purchase a Promoted Trend on a country-by-country or worldwide basis. We receive
        information regarding a user’s location based upon the user’s IP address or, if the user has turned on location
        services on their mobile device, the location of the user’s mobile device at the time of user engagement to the extent
        possible. In the event that real-time location information is not available, we estimate the user’s location based upon
        an aggregation of IP addresses from which the user has recently accessed Twitter. If a user’s current geographic
        location is not available or we are unable to assign a geographic location to a user at the time the user engages with
        Twitter based on recent data, we deliver advertising that is based on the geographic location of the user at the time
        that such user initially registered for an account on Twitter based on the user’s IP address.
      Ÿ Keyword Targeting. Advertisers can target specific words that users engage with on Twitter, including words
        marked with a hashtag, either through search queries, the Tweets a user creates or the Tweets a user engages with.
      Ÿ Television Targeting. Advertisers can target users who have been exposed to their ads on television. We provide
        advertisers with this targeting capability by analyzing a user’s Tweets to determine which television shows a user has
        tweeted about and matching this information with information regarding which commercials were aired during these
        shows.
      Ÿ Device Targeting.    Advertisers can target based on specific mobile or desktop devices to reach users in specific
        contexts.
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      When our customers purchase advertising services they have the ability to monitor their advertising campaigns as
follows:
      Ÿ Campaign Management. Our campaign management capability tools allow advertisers to monitor and make
        changes to campaigns in real time as ads are delivered. This allows advertisers to actively manage their campaigns
        as they gain deeper insight into their target audience and react to events and user reactions as they unfold.
      Ÿ Real-Time Analytics. Our analytics tools give our advertisers insight into user response to their ads, which helps
        them to understand the success of campaigns as well as customer preferences.
      Ÿ Advertiser API. Our APIs enable advertisers to integrate with Twitter and build websites and applications that
        integrate our campaign management and analytics tools.

     MoPub Inc.
      On September 9, 2013 we entered into a definitive agreement, or the MoPub Merger Agreement, to acquire MoPub, a
mobile-focused advertising exchange. Once we complete the acquisition of MoPub, we plan to invest to grow MoPub’s current
business, including by extending advertising across the mobile ecosystem through the MoPub exchange. We also plan to use
MoPub’s technology to build real-time bidding into the Twitter ads platform so that our advertisers can more easily automate
and scale their advertising purchases.

       Subject to the terms and conditions of the MoPub Merger Agreement, upon the closing of the proposed acquisition, all
of the issued and outstanding shares of capital stock of MoPub, other than any dissenting shares, and all equity awards to
purchase shares of MoPub common stock held by individuals who will continue to provide services to us, will be converted
into the right to receive an aggregate of up to 14,791,464 shares of our common stock, subject to certain adjustments and
vesting terms described in the MoPub Merger Agreement, and MoPub will become one of our wholly-owned subsidiaries. The
MoPub Merger Agreement contains customary representations, warranties and covenants by us and MoPub, including
covenants regarding operation of its business by MoPub and its subsidiaries prior to the closing. The closing of the transaction
is subject to customary closing conditions, including approval by MoPub’s stockholders and expiration or termination of the
applicable waiting period under the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended. The closing of the
transaction is not subject to a vote of our stockholders. The MoPub Merger Agreement contains certain termination rights for
both MoPub and us, including for the failure to consummate the transaction by December 20, 2013.

Products for Data Partners
      We offer subscription access to our data feed for data partners who wish to access data beyond the public API.

Competition
      We face significant competition for users, advertisers and personnel.

      Users. We compete against many companies to attract and engage users, some of which have greater financial
resources and substantially larger user bases, such as Facebook (including Instagram), Google, LinkedIn, Microsoft and
Yahoo!. We also compete against smaller companies such as Sina Weibo, LINE and Kakao, each of which is based in Asia.

      We believe that our ability to compete effectively for users depends upon many factors, including the usefulness, ease
of use, performance and reliability of our products and services; the amount, quality

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and timeliness of content generated by our users; our ability to establish and maintain relationships with platform partners that
integrate with our platform; and our reputation and the strength of our brand.

       Advertisers. We also face significant competition for advertiser spend. The substantial majority of our revenue is
generated from the sale of advertising services, and we compete against online and mobile businesses and traditional media
outlets, such as television, radio and print, for spending on advertising.

      We believe that our ability to compete effectively for advertiser spend depends upon many factors, including the size
and composition of our user base; our ad targeting capabilities; the timing and market acceptance of our advertising services;
our marketing and selling efforts; the return our advertisers receive from our advertising services; and our reputation and the
strength of our brand.

      Personnel. We also experience significant competition for highly skilled personnel, including senior management,
engineers, designers and product managers. Our growth strategy depends in part on our ability to retain our existing
personnel and add additional highly skilled employees. Competition for highly skilled personnel is intense, particularly in the
San Francisco Bay Area, where our headquarters is located, and we compete for personnel against online and mobile
businesses, other companies in the technology industry and traditional media businesses, such as television, radio and print.

      We believe that our ability to compete effectively for highly skilled personnel depends upon many factors, including a
work environment that encourages independence, creativity and innovation; opportunities to work on challenging, meaningful
and important products; the reputation and strength of our brand; and compensation.

       We believe that we compete favorably on the factors described above. However, our industry is evolving rapidly and is
becoming increasingly competitive. See the sections titled “Risk Factors—If we are unable to compete effectively for users
and advertiser spend, our business and operating results could be harmed” and “Risk Factors—We depend on highly skilled
personnel to grow and operate our business, and if we are unable to hire, retain and motivate our personnel, we may not be
able to grow effectively.”

Technology, Research and Development
       Twitter is composed of a set of core, scalable and distributed services that are built from proprietary and open source
technologies. These systems are capable of delivering billions of short messages to hundreds of millions of people a day in an
efficient and reliable way.
      Ÿ Twitter’s Scale. Tweets are delivered to users via the twitter.com website, through over a dozen owned and
        operated Twitter applications, and through widgets that appear on over six million different websites. We deliver more
        than 200 billion Tweets per day to our users. Each time a user creates a Tweet, it is delivered to each follower of
        such user that requests a timeline. If a follower then retweets it, the Tweet is delivered to each of their followers who
        request a timeline. In addition, we deliver to users any Tweets that may be generated through our trends, search or
        #Discover functions. This process requires our infrastructure to collect and efficiently deliver large volumes of
        information daily.
      Ÿ Real-time, Service Oriented Architecture. Twitter’s architecture is optimized so users perceive instantaneous
        change. The time between a Tweet being created and having it available for users to see and interact with in the
        product is measured in tenths of a second. In general, the latency between two events occurring in our infrastructure
        is measured in millisecond increments.
      Ÿ Foundational Infrastructure and Data. Our users have created over 300 billion Tweets. Our customized technology
        replicates and balances this data across multiple geographically distributed databases and allows us to store, access
        and modify it at scale.

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      Ÿ Relevancy and Content Analysis. We have built systems and algorithms to organize content to enable users to find
        and discover the most relevant content, people and topics on Twitter. Our key technologies include a distributed,
        fixed-latency, high performance search system that allows us to efficiently index, retrieve and score users and their
        content in real time. We have also built a trending platform to determine trending topics on Twitter.
      Ÿ Advertising Technology. Our advertising platform allows advertisers to reach users based on many factors,
        including their Interest Graphs. We use sophisticated algorithms to determine the likelihood of user engagement with
        specific ads. We use these algorithms to match advertiser demand with Twitter users by placing Promoted Tweets
        and Promoted Accounts into a user’s Twitter experience in a way that optimizes for both user experience and the
        value we deliver to advertisers.

Sales and Marketing
       We have a global sales force and sales support staff that is focused on attracting and retaining advertisers. Our sales
force and sales support staff assists advertisers throughout the advertising campaign cycle, from pre-purchase decision
making to real-time optimizations as they utilize our campaign management tools, and to post-campaign analytics reports to
assess the effectiveness of their advertising campaigns. Our advertisers also use our self-serve advertising platform to launch
and manage their advertising campaigns.

      Since our inception, our user base has grown primarily by word-of-mouth. Our marketing efforts to date have focused
on amplifying and accelerating this word-of-mouth momentum. Through these efforts and people’s increased usage of Twitter
worldwide, we have been able to build our brand with relatively minimal marketing costs.

Intellectual Property
      We seek to protect our intellectual property rights by relying on federal, state and common law rights in the United
States and other countries, as well as contractual restrictions. We generally enter into confidentiality and invention assignment
agreements with our employees and contractors, and confidentiality agreements with other third parties, in order to limit
access to, and disclosure and use of, our confidential information and proprietary technology. In addition to these contractual
arrangements, we also rely on a combination of trademarks, trade dress, domain names, copyrights, trade secrets and
patents to help protect our brand and our other intellectual property.

       As of June 30, 2013, we had 6 issued patents and approximately 80 filed patent applications in the United States and
foreign countries relating to message distribution, graphical user interfaces, security and related technologies. Our issued
United States patents are expected to expire between 2028 and 2030.

       We may be unable to obtain patent or trademark protection for our technologies and brands, and our existing patents
and trademarks, and any patents or trademarks that may be issued in the future, may not provide us with competitive
advantages or distinguish our products and services from those of our competitors. In addition, any patents and trademarks
may be contested, circumvented or found unenforceable or invalid, and we may not be able to prevent third parties from
infringing, diluting or otherwise violating them.

      In May 2013, we implemented our Innovator’s Patent Agreement, or IPA, which we enter into with our employees and
consultants, including our founders. We implemented the IPA because we were concerned about the recent proliferation of
offensive patent lawsuits, including lawsuits by “non-practicing entities.” We are also encouraging other companies to
implement the IPA in an effort to reduce the
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number of patents with offensive rights which may be transferred to third parties, including non-practicing entities. We believe
that a reduction in the number of patents with transferrable offensive rights may reduce the number of offensive lawsuits that
may be filed, particularly by non-practicing entities.

        The IPA, which applies to our current and future patents, allows us to assert our patents defensively. The IPA also
allows us to assert our patents offensively with the permission of the inventors of that particular patent. Under the IPA, an
assertion of claims is considered for a defensive purpose if the claims are asserted: (i) against an entity that has filed,
maintained, threatened or voluntarily participated in a patent infringement lawsuit against us or any of our users, affiliates,
customers, suppliers or distributors; (ii) against an entity that has used its patents offensively against any other party in the
past ten years, so long as the entity has not instituted the patent infringement lawsuit defensively in response to a patent
litigation threat against the entity; or (iii) otherwise to deter a patent litigation threat against us or our users, affiliates,
customers, suppliers or distributors. In addition, the IPA provides that the above limitations apply to any future owner or
exclusive licensee of any of our patents, which could limit our ability to sell or license our patents to third parties including to
non-practicing entities.

       Companies in the Internet, technology and media industries own large numbers of patents, copyrights, trademarks and
trade secrets, and frequently enter into litigation based on allegations of infringement, misappropriation, or other violations of
intellectual property or other rights. In addition, various “non-practicing entities” that own patents and other intellectual
property rights often attempt to aggressively assert their rights in order to extract value from technology companies. We are
presently involved in a number of intellectual property lawsuits, and from time to time we face, and we expect to face in the
future, allegations that we have infringed or otherwise violated the patents, copyrights, trademarks, trade secrets, and other
intellectual property rights of third parties, including our competitors and non-practicing entities. As we face increasing
competition and as our business grows, we will likely face more intellectual property-related claims and litigation matters. For
additional information, see the sections titled “Risk Factors—We are currently, and expect to be in the future, party to
intellectual property rights claims that are expensive and time consuming to defend, and, if resolved adversely, could have a
significant impact on our business, financial condition or operating results” and “—Legal Proceedings.”

Government Regulation
       We are subject to a number of U.S. federal and state and foreign laws and regulations that involve matters central to
our business. These laws and regulations may involve privacy, rights of publicity, data protection, content regulation,
intellectual property, competition, protection of minors, consumer protection, taxation or other subjects. Many of these laws
and regulations are still evolving and being tested in courts and could be interpreted in ways that could harm our business. In
addition, the application and interpretation of these laws and regulations often are uncertain, particularly in the new and
rapidly evolving industry in which we operate.

       We are also subject to federal, state and foreign laws regarding privacy and the protection of user data. Foreign data
protection, privacy, consumer protection, content regulation and other laws and regulations are often more restrictive than
those in the United States. There are also a number of legislative proposals pending before the U.S. Congress, various state
legislative bodies and foreign governments concerning data protection that could affect us. For example, regulation relating to
the 1995 European Union Data Protection Directive is currently being considered by European legislative bodies that may
include more stringent operational requirements for entities processing personal information and significant penalties for non-
compliance.

       In March 2011, to resolve an investigation into various incidents, we entered into a settlement agreement with the FTC
that, among other things, requires us to establish an information security program
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designed to protect non-public consumer information and also requires that we obtain biennial independent security
assessments. The FTC investigation was the result of two separate incidents in which unauthorized intruders obtained
administrative passwords of certain Twitter employees. In one of the incidents, the intruder accessed the employee’s
administrative capabilities to fraudulently reset various user passwords and post unauthorized Tweets. The obligations under
the settlement agreement remain in effect until the latter of March 2, 2031, or the date 20 years after the date, if any, on which
the U.S. government or the FTC files a complaint in federal court alleging any violation of the order. Violation of existing or
future regulatory orders, settlements, or consent decrees could subject us to substantial monetary fines and other penalties
that could negatively affect our financial condition and results of operations.

       Twitter users may be restricted from accessing Twitter from certain countries, and other countries have intermittently
restricted access to Twitter. For example, Twitter is not directly accessible in China. It is possible that other governments may
seek to restrict access to or our block our website or mobile applications, censor content available through our products or
impose other restrictions that may affect the accessibility or usability of Twitter for an extended period of time or indefinitely.

       We have a public policy team that monitors legal and regulatory developments in the U.S., as well as a number of
foreign countries, and works with policymakers and regulators in the U.S. and internationally.

       For additional information, see the section titled “Risk Factors—Our business is subject to complex and evolving U.S.
and foreign laws and regulations. These laws and regulations are subject to change and uncertain interpretation, and could
result in claims, changes to our business practices, monetary penalties, increased cost of operations or declines in user
growth, user engagement or ad engagement, or otherwise harm our business.”

Employees
      As of June 30, 2013, we had approximately 2,000 full-time employees.

Legal Proceedings
       We are currently involved in, and may in the future be involved in, legal proceedings, claims and government
investigations in the ordinary course of business. We are involved in litigation, and may in the future be involved in litigation,
with third parties asserting, among other things, infringement of their intellectual property rights. In addition, the nature of our
business exposes us to claims related to defamation, rights of publicity and privacy, and personal injury torts resulting from
information that is published or made available on our platform. This risk is enhanced in certain jurisdictions outside the United
States where our protection from liability for content published on our platform by third parties may be unclear and where we
may be less protected under local laws than we are in the United States. Although the results of the legal proceedings, claims
and government investigations in which we are involved cannot be predicted with certainty, we do not believe that there is a
reasonable possibility that the final outcome of these matters will have a material adverse effect on our business, financial
condition or operating results.

       Future litigation may be necessary, among other things, to defend ourselves, our platform partners and our users by
determining the scope, enforceability, and validity of third-party proprietary rights or to establish our proprietary rights. The
results of any current or future litigation cannot be predicted with certainty, and regardless of the outcome, litigation can have
an adverse impact on us because of defense and settlement costs, diversion of management resources and other factors.

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Facilities
       In April 2011, we entered into a lease effective through April 2018 for approximately 214,950 square feet of office space
that houses our principal offices in San Francisco, California. In June 2012, we amended the lease to include approximately
85,259 square feet of additional office space for a term effective through November 2021. We have leases with data center
operators in the United States pursuant to various lease agreements and co-location arrangements. We believe our facilities
are sufficient for our current needs.
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                                                       MANAGEMENT

Executive Officers and Directors
      The following table provides information regarding our executive officers and directors as of August 31, 2013:

                    Name                  Age                                       Position
Executive Officers:
Richard Costolo                            49   Chief Executive Officer and Director
Ali Rowghani                               40   Chief Operating Officer
Mike Gupta                                 42   Chief Financial Officer
Adam Bain                                  39   President of Global Revenue
Christopher Fry                            43   Senior Vice President of Engineering
Vijaya Gadde                               38   General Counsel and Secretary
Non-Employee Directors:
Jack Dorsey                                36   Chairman
Peter Chernin                              62   Director
Peter Currie                               57   Director
Peter Fenton                               41   Director
David Rosenblatt                           45   Director
Evan Williams                              41   Director

Executive Officers
       Richard Costolo. Mr. Costolo has served as our Chief Executive Officer since October 2010 and as a member of our
board of directors since September 2009. From September 2009 to October 2010, Mr. Costolo served as our Chief Operating
Officer. From June 2007 to June 2009, Mr. Costolo served as Group Product Manager at Google Inc., a provider of Internet-
related products and services. From October 2003 to May 2007, Mr. Costolo served as Co-Founder and Chief Executive
Officer of FeedBurner, Inc., an RSS subscription feed provider, which was acquired by Google in 2007. Mr. Costolo holds a
B.S. in Computer Science from the University of Michigan, Ann Arbor.

       Mr. Costolo was selected to serve on our board of directors because of his extensive background as a founder and an
executive of companies in the technology industry and the perspective and experience he brings as our Chief Executive
Officer.

       Ali Rowghani. Mr. Rowghani has served as our Chief Operating Officer since December 2012 and served as our Chief
Financial Officer from March 2010 to December 2012. From June 2002 to March 2010, Mr. Rowghani served in several roles
at Pixar Animation Studios, Inc., a computer animation film studio, including as Chief Financial Officer and Senior Vice
President of Strategic Planning. Mr. Rowghani holds a B.A. in International Relations and an M.B.A. from Stanford University.

       Mike Gupta. Mr. Gupta has served as our Chief Financial Officer since December 2012 and served as our Vice
President of Corporate Finance and Treasurer from November 2012 to December 2012. From May 2011 to November 2012,
Mr. Gupta served in two roles at Zynga Inc., an online provider of social game services, including as Senior Vice President
and Treasurer. From February 2003 to May 2011, Mr. Gupta served in several roles at Yahoo! Inc., an Internet company,
including as Senior Vice President of Corporate Development and Finance and Chief Treasury Officer. Mr. Gupta holds a B.S.
in Accounting and Economics from New York University and an M.B.A. from the University of Chicago.
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      Adam Bain. Mr. Bain has served as our President of Global Revenue since September 2010. From September 1999
to September 2010, Mr. Bain served in several roles at News Corporation, a diversified media company, including as
Executive Vice President of Products & Technology and as President of its advertising arm, Fox Audience Network, Inc.
Mr. Bain holds a B.A. in English Journalism from Miami University.

       Christopher Fry. Mr. Fry has served as our Senior Vice President of Engineering since March 2013. From April 2012
to March 2013, Mr. Fry served as our Vice President of Engineering. From June 2005 to April 2012, Mr. Fry served in several
roles at salesforce.com, inc., an enterprise software company, including as Senior Vice President, Development. Mr. Fry holds
a B.A. in Cognitive Science from Vassar College and a Ph.D. in Cognitive Science from the University of California, San
Diego.

       Vijaya Gadde. Ms. Gadde has served as our General Counsel and Secretary since August 2013 and served as our
Director, Legal from July 2011 to August 2013. From October 2010 to July 2011, Ms. Gadde served as Senior Director and
Associate General Counsel, Corporate, at Juniper Networks, Inc., a provider of network infrastructure products and services.
From October 2000 to April 2010, Ms. Gadde was an attorney at Wilson Sonsini Goodrich & Rosati, P.C. Ms. Gadde holds a
B.S. in Industrial and Labor Relations from Cornell University and a J.D. from New York University School of Law.

Non-Employee Directors
     Jack Dorsey. Mr. Dorsey is one of our founders and has served as the Chairman of our board of directors since
October 2008 and as a member of our board of directors since May 2007. Mr. Dorsey served as our President and Chief
Executive Officer from May 2007 to October 2008. Since February 2009, Mr. Dorsey has served as Co-Founder and Chief
Executive Officer of Square, Inc., a provider of payment processing services.

       Mr. Dorsey was selected to serve on our board of directors because of the perspective and experience he brings as one
of our founders and as one of our largest stockholders, as well as his extensive experience with technology companies.

      Peter Chernin. Mr. Chernin has served as a member of our board of directors since November 2012. Since June
2009, Mr. Chernin has served as Founder and Chairman of Chernin Entertainment, LLC, a film and television production
company, and The Chernin Group LLC, which is involved in strategic opportunities in media, technology and entertainment.
Since October 2010, Mr. Chernin has served as Co-Founder and Chairman of CA Media, LP, which builds and manages
media, technology and entertainment businesses throughout the Asia Pacific region. From October 1996 to June 2009,
Mr. Chernin served in several roles at News Corporation, most recently as President and Chief Operating Officer, and served
as Chairman and Chief Executive Officer of The Fox Group, a subsidiary of News Corporation. Mr. Chernin currently serves
on the boards of directors of American Express Company, a diversified financial services company, and Pandora Media, Inc.,
an online music streaming company. Mr. Chernin previously served on the boards of directors of various companies in the
media industry and the technology industry, including News Corporation, DirecTV, Inc., E*Trade Financial Corporation and
Gemstar-TV Guide International, Inc. Mr. Chernin holds a B.A. in English Literature from the University of California, Berkeley.

      Mr. Chernin was selected to serve on our board of directors because of his operating and management experience at
global media companies, his expertise in online and mobile markets and other new technologies and his service on the
boards of directors of numerous other companies.

      Peter Currie. Mr. Currie has served as a member of our board of directors since November 2010. Since April 2004,
Mr. Currie has served as President of Currie Capital LLC, a private investment firm. Mr. Currie previously served as Executive
Vice President and Chief Administrative Officer of

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Netscape Communications Corporation, a software company, and as Executive Vice President and Chief Financial Officer of
McCaw Cellular Communications, Inc., a wireless communications company. Mr. Currie currently serves on the boards of
directors of Schlumberger Limited, a petroleum industry services company, and a number of privately held companies.
Mr. Currie previously served on the boards of directors of Clearwire Corporation, CNET Networks, Inc., Safeco Corporation
and Sun Microsystems, Inc. Mr. Currie currently serves as President of the board of trustees of Phillips Academy. Mr. Currie
holds a B.A. in Economics and French Literature from Williams College and an M.B.A. from Stanford University.

       Mr. Currie was selected to serve on our board of directors because of his strong financial and operational expertise as a
result of his service on the boards of directors of numerous other companies and experience serving in senior operating roles
in high-growth, technology-driven companies.

      Peter Fenton. Mr. Fenton has served as a member of our board of directors since February 2009. Since September
2006, Mr. Fenton has served as a General Partner of Benchmark Capital, a venture capital firm. From October 1999 to May
2006, Mr. Fenton served as a Managing Partner at Accel Partners, a venture capital firm. Mr. Fenton currently serves on the
boards of directors of Yelp, Inc., a local directory and user review service, and a number of privately held companies.
Mr. Fenton holds a B.A. in Philosophy and an M.B.A. from Stanford University.

      Mr. Fenton was selected to serve on our board of directors because of his extensive experience in the venture capital
industry and his knowledge of technology companies.

      David Rosenblatt. Mr. Rosenblatt has served as a member of our board of directors since December 2010. Since
November 2011, Mr. Rosenblatt has served as Chief Executive Officer of 1stdibs.com, Inc., an online luxury marketplace.
From October 2008 to May 2009, Mr. Rosenblatt served as President of Global Display Advertising at Google. Mr. Rosenblatt
joined Google in March 2008 in connection with Google’s acquisition of DoubleClick, Inc., a provider of digital marketing
technology and services. Mr. Rosenblatt joined DoubleClick in 1997 as part of its initial management team and served in
several executive positions during his tenure, including as Chief Executive Officer from July 2005 to March 2008 and
President from 2000 to July 2005. Mr. Rosenblatt currently serves on the boards of directors of IAC/InterActiveCorp, a media
and Internet company, and a number of privately held companies. Mr. Rosenblatt holds a B.A. in East Asian Studies from Yale
University and an M.B.A. from Stanford University.

       Mr. Rosenblatt was selected to serve on our board of directors because of his operating and management experience
with a range of Internet and technology companies, particularly his experience with companies that focused on monetizing
large online audiences.

       Evan Williams. Mr. Williams is one of our founders and has served as a member of our board of directors since May
2007. From October 2008 to October 2010, Mr. Williams served as our President and Chief Executive Officer, from July 2009
to March 2010, as our Chief Financial Officer and from February 2008 to October 2008, as our Chief Product Officer. Since
April 2011, Mr. Williams has served as Chief Executive Officer of Medium, an online publishing platform, and since October
2006, as Chief Executive Officer of The Obvious Corporation, a technology systems innovator.

      Mr. Williams was selected to serve on our board of directors because of the perspective and experience he brings as
one of our founders and as one of our largest stockholders, as well as his extensive experience with technology companies.

      Each executive officer serves at the discretion of our board of directors and holds office until his successor is duly
elected and qualified or until his earlier resignation or removal. There are no family relationships among any of our directors or
executive officers.

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Code of Business Conduct and Ethics
        Our board of directors has adopted a code of business conduct and ethics that applies to all of our employees, officers
and directors, including our Chief Executive Officer, Chief Financial Officer and other executive and senior financial officers.
The full text of our code of business conduct and ethics will be posted on the investor relations page on our website. We
intend to disclose any amendments to our code of business conduct and ethics, or waivers of its requirements, on our website
or in filings under the Exchange Act.

Board of Directors
      Our business and affairs are managed under the direction of our board of directors. Our board of directors consists of,
and our current certificate of incorporation authorizes, seven directors, four of whom qualify as “independent” under the listing
standards of the                . Pursuant to our current certificate of incorporation and amended and restated voting
agreement, our current directors were elected as follows:
      Ÿ Mr. Costolo was elected as the designee reserved for the person serving as our Chief Executive Officer;
      Ÿ Mr. Dorsey was elected as the designee nominated by the person serving as our Chief Executive Officer and
        approved by a majority of the other members of our board of directors;
      Ÿ Messrs. Currie and Rosenblatt were elected as the designees nominated by our nominating and corporate
        governance committee;
      Ÿ Messrs. Chernin and Fenton were elected as the designees nominated by our nominating and corporate governance
        committee and approved by holders of a majority of shares of our capital stock owned by certain parties to our
        amended and restated voting agreement; and
      Ÿ Mr. Williams was elected as the designee nominated by holders of a majority of shares of our Series A convertible
        preferred stock owned by certain parties to our amended and restated voting agreement.

       Our amended and restated voting agreement will terminate and the provisions of our current certificate of incorporation
by which our directors were elected will be amended and restated in connection with this offering. After this offering, the
number of directors will be fixed by our board of directors, subject to the terms of our amended and restated certificate of
incorporation and amended and restated bylaws that will become effective immediately prior to the completion of this offering.
Each of our current directors will continue to serve as a director until the election and qualification of his successor, or until his
earlier death, resignation or removal.

Classified Board of Directors
       We intend to adopt an amended and restated certificate of incorporation that will provide that, immediately after the
completion of this offering, our board of directors will be divided into three classes with staggered three-year terms. Only one
class of directors will be elected at each annual meeting of stockholders, with the other classes continuing for the remainder of
their respective three-year terms. Our current directors will be divided among the three classes as follows:
      Ÿ the Class I directors will be Messrs. Costolo and Fenton, and their terms will expire at the annual meeting of
        stockholders to be held in 2014;
      Ÿ the Class II directors will be Messrs. Rosenblatt and Williams, and their terms will expire at the annual meeting of
        stockholders to be held in 2015; and
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      Ÿ the Class III directors will be Messrs. Chernin, Currie and Dorsey, and their terms will expire at the annual meeting of
        stockholders to be held in 2016.

      Each director’s term will continue until the election and qualification of his successor, or his earlier death, resignation or
removal. Any increase or decrease in the number of directors will be distributed among the three classes so that, as nearly as
possible, each class will consist of one-third of our directors.

     This classification of our board of directors may have the effect of delaying or preventing changes in control of our
company.

Director Independence
      Our board of directors has undertaken a review of the independence of each director. Based on information provided by
each director concerning his background, employment and affiliations, our board of directors has determined that Messrs.
Chernin, Currie, Fenton and Rosenblatt do not have a relationship that would interfere with the exercise of independent
judgment in carrying out the responsibilities of a director and that each of these directors is “independent” as that term is
defined under the listing standards of the               . In making these determinations, our board of directors considered the
current and prior relationships that each non-employee director has with our company and all other facts and circumstances
our board of directors deemed relevant in determining their independence, including the beneficial ownership of our capital
stock by each non-employee director, and the transactions involving them described in the section titled “Certain
Relationships and Related Party Transactions.”

Lead Independent Director
       Prior to the completion of this offering, our board of directors will adopt corporate governance guidelines. Our corporate
governance guidelines will provide that one of our independent directors should serve as our Lead Independent Director at
any time when our Chief Executive Officer serves as the Chairman of our board of directors or if the Chairman is not
otherwise independent. Because Mr. Dorsey is our Chairman, our board of directors has appointed Mr. Currie to serve as our
Lead Independent Director. As Lead Independent Director, Mr. Currie will preside over periodic meetings of our independent
directors, serve as a liaison between our Chairman and our independent directors and perform such additional duties as our
board of directors may otherwise determine and delegate.

Committees of the Board of Directors
       Our board of directors has established an audit committee, a compensation committee and a nominating and corporate
governance committee. The composition and responsibilities of each of the committees of our board of directors is described
below. Members will serve on these committees until their resignation or until as otherwise determined by our board of
directors.

Audit Committee
       Our audit committee consists of Messrs. Currie, Fenton and Rosenblatt, with Mr. Currie serving as Chairman, each of
whom meets the requirements for independence under the listing standards of the              and SEC rules and regulations.
Each member of our audit committee also meets the financial literacy and sophistication requirements of the listing standards
of the       . In addition, our board of directors has determined that Mr. Currie is an audit committee financial expert within
the meaning of Item 407(d) of Regulation S-K under the Securities Act of 1933, as amended, or the Securities Act. Following
the completion of this offering, our audit committee will, among other things:
      Ÿ select a qualified firm to serve as the independent registered public accounting firm to audit our financial statements;

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      Ÿ help to ensure the independence and performance of the independent registered public accounting firm;
      Ÿ discuss the scope and results of the audit with the independent registered public accounting firm, and review, with
        management and the independent registered public accounting firm, our interim and year-end operating results;
      Ÿ develop procedures for employees to submit concerns anonymously about questionable accounting or audit matters;
      Ÿ review our policies on risk assessment and risk management;
      Ÿ review related party transactions; and
      Ÿ approve or, as required, pre-approve, all audit and all permissible non-audit services, other than de minimis non-
        audit services, to be performed by the independent registered public accounting firm.

       Our audit committee will operate under a written charter, to be effective prior to the completion of this offering, that
satisfies the applicable rules and regulations of the SEC and the listing standards of the               .

Compensation Committee
      Our compensation committee consists of Messrs. Chernin, Fenton and Rosenblatt, with Mr. Fenton serving as
Chairman, each of whom meets the requirements for independence under the listing standards of the           and SEC rules
and regulations. Each member of our compensation committee is also a non-employee director, as defined pursuant to Rule
16b-3 promulgated under the Exchange Act, or Rule 16b-3, and an outside director, as defined pursuant to Section 162(m) of
the Code, or Section 162(m). Following the completion of this offering, our compensation committee will, among other things:
      Ÿ review, approve and determine, or make recommendations to our board of directors regarding, the compensation of
        our executive officers;
      Ÿ administer our equity compensation plans;
      Ÿ review and approve and make recommendations to our board of directors regarding incentive compensation and
        equity compensation plans; and
      Ÿ establish and review general policies relating to compensation and benefits of our employees.

       Our compensation committee will operate under a written charter, to be effective prior to the completion of this offering,
that satisfies the applicable rules and regulations of the SEC and the listing standards of the       .

Nominating and Corporate Governance Committee
       Our nominating and governance committee consists of Messrs. Chernin, Currie and Rosenblatt, with Mr. Currie serving
as Chairman, each of whom meets the requirements for independence under the listing standards of the           and SEC
rules and regulations. Following the completion of this offering, our nominating and corporate governance committee will,
among other things:
      Ÿ identify, evaluate and select, or make recommendations to our board of directors regarding, nominees for election to
        our board of directors and its committees;
      Ÿ evaluate the performance of our board of directors and of individual directors;

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       Ÿ consider and make recommendations to our board of directors regarding the composition of our board of directors
         and its committees;
       Ÿ review developments in corporate governance practices;
       Ÿ evaluate the adequacy of our corporate governance practices and reporting; and
       Ÿ develop and make recommendations to our board of directors regarding corporate governance guidelines and
         matters.

     Our nominating and corporate governance committee will operate under a written charter, to be effective prior to the
completion of this offering, that satisfies the applicable listing standards of the .

Compensation Committee Interlocks and Insider Participation
       None of the members of our compensation committee is or has been an officer or employee of our company. None of
our executive officers currently serves, or in the past year has served, as a member of the board of directors or compensation
committee (or other board committee performing equivalent functions) of any entity that has one or more of its executive
officers serving on our board of directors or compensation committee. From December 2010 through January 2011, we sold
an aggregate of 1,192,544 shares of our Series F convertible preferred stock to Benchmark Capital Partners VI, L.P. at a
purchase price of approximately $7.63 per share, for an aggregate purchase price of $9,104,119. Mr. Fenton is a General
Partner of Benchmark Capital. The sale of our Series F convertible preferred stock to Benchmark Capital Partners VI, L.P. was
made in connection with our Series F convertible preferred stock financing and on substantially the same terms and
conditions as all other sales of our Series F convertible preferred stock by us.

Non-Employee Director Compensation
      Our non-employee directors do not currently receive, and did not receive in 2012, any cash compensation for their
service on our board of directors and committees of our board of directors. As of December 31, 2012, Messrs. Currie and
Rosenblatt were the only non-employee directors who held unvested shares of our common stock that would have
accelerated if their services had been terminated in connection with a change in control.

     The following table provides information regarding the total compensation that was granted to each of our directors who
was not serving as an executive officer in 2012.

                                                    Name                                                              Stock Awards(1)                Total
Jack Dorsey(2)                                                                                                                 —                          —
Peter Chernin(3)                                                                                                      $ 3,680,000             $    3,680,000
Peter Currie(4)                                                                                                                —                          —
Peter Fenton                                                                                                                   —                          —
David Rosenblatt(5)                                                                                                            —                          —
Evan Williams                                                                                                                  —                          —
(1)
      The amounts reported represent the aggregate grant-date fair value of the RSUs awarded to the director in 2012, calculated in accordance with ASC Topic
      718. Such grant-date fair value does not take into account any estimated forfeitures related to service-vesting conditions. The assumptions used in
      calculating the grant-date fair value of the RSUs reported in this column are set forth in “Management’s Discussion and Analysis of Financial Condition and
      Results of Operations—Critical Accounting Policies and Estimates—Stock-Based Compensation.”
(2)   As of December 31, 2012, Mr. Dorsey had one option to purchase a total of 2,000,000 shares of our common stock. 25% of the shares of our common stock
      subject to this option vested on May 9, 2012, and the balance vests in 36 successive equal monthly installments, subject to continued service through each
      such date. 791,666 of the shares of our common stock subject to this option were vested as of December 31, 2012.

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(3)   As of December 31, 2012, Mr. Chernin had 200,000 RSUs. The RSUs vest upon the satisfaction of a service condition and a performance condition. The
      service condition will be satisfied as to 25% of the shares underlying the RSUs upon completion of one year of service measured from the vesting
      commencement date, subject to continued service through such date. Thereafter, but prior to satisfaction of the performance condition, an additional 1/48th of
      the total number of shares underlying the RSUs vests in monthly installments, subject to continued service through each such vesting date. After satisfaction
      of the performance condition, an additional 3/48th of the total number of shares underlying the RSUs will vest in quarterly installments, subject to continued
      service through each such vesting date. The performance condition will be satisfied on the earlier of (i) the date that is the earlier of (x) six months after the
      effective date of this offering or (y) March 8th of the calendar year following the effective date of this offering (which we may elect to accelerate to February
      15th); and (ii) a change in control. The service condition was satisfied as to none of the shares of our common stock underlying the RSUs as of December
      31, 2012. In July 2013, Mr. Chernin transferred all of his rights, title and interest with respect to the RSUs to The Chernin Group, LLC.
(4)   As of December 31, 2012, Mr. Currie had one option to purchase a total of 400,000 shares of our common stock. 25% of the shares of our common stock
      subject to this option vested on November 18, 2011, and the balance vests in 36 successive equal monthly installments, subject to continued service through
      each such date. 208,333 of the shares of our common stock subject to this option were vested as of December 31, 2012.
(5)   As of December 31, 2012, Mr. Rosenblatt had one option to purchase a total of 400,000 shares of our common stock. 25% of the shares of our common
      stock subject to this option vested on December 21, 2011, and the balance vests in 36 successive equal monthly installments, subject to continued service
      through each such date. 200,000 of the shares of our common stock subject to this option were vested as of December 31, 2012.

       Directors who are also our employees receive no additional compensation for their service as directors. During 2012,
Mr. Costolo was an employee. See the section titled “Executive Compensation” for additional information about his
compensation. In addition, Mr. Dorsey was our Executive Chairman in January 2012. Mr. Dorsey did not receive in 2012 any
additional compensation for his service as Executive Chairman.

       Following the completion of this offering, we intend to implement a formal policy pursuant to which our non-employee
directors would be eligible to receive equity awards and annual cash retainers as compensation for service on our board of
directors and committees of our board of directors.
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                                                             EXECUTIVE COMPENSATION

Summary Compensation Table

     The following table provides information regarding the total compensation for services rendered in all capacities that
was earned by each individual who served as our principal executive officer at any time in 2012, and our two other most highly
compensated executive officers who were serving as executive officers as of December 31, 2012. These individuals were our
named executive officers for 2012.

                                                                                                Non-Equity       Non-Qualified
         Name and                                                   Stock         Option      Incentive Plan       Deferred           All Other
         Principal                       Salary       Bonus        Awards         Awards      Compensation       Compensation       Compensation           Total
          Position             Year       ($)          ($)          ($)(1)         ($)(1)         ($)(2)          Earnings ($)            ($)               ($)
Richard Costolo
   Chief Executive Officer     2012     200,000(3)          —      8,401,957     2,903,783                  —                  —                  —     11,505,740
Adam Bain
   President of Global
   Revenue                     2012     200,000             —      4,705,102     1,613,325            200,000                  —                  —      6,718,427
Christopher Fry
   Senior Vice President of
   Engineering                 2012     145,513       100,000     10,094,000             —                  —                  —                  —     10,339,513
(1)   The amounts reported represent the aggregate grant-date fair value of the stock options and RSUs awarded to the named executive officer in 2012,
      calculated in accordance with ASC Topic 718. Such grant-date fair value does not take into account any estimated forfeitures related to service-vesting
      conditions. The assumptions used in calculating the grant-date fair value of the RSUs reported in this column are set forth in the section titled “Management’s
      Discussion and Analysis of Financial Condition and Results of Operations—Critical Accounting Policies and Estimates—Stock-Based Compensation.”
(2)   The amounts reported represent the total performance-based commissions earned and payable under our sales commission arrangement established for Mr.
      Bain.
(3)   Mr. Costolo’s annual salary was reduced to $14,000, effective August 2013.


Non-Equity Incentive Plan Awards

       Adam Bain, our President of Global Revenue, was eligible to participate in a sales commission arrangement providing
for the opportunity to receive incentive compensation based on the achievement of specified revenue targets throughout the
year. For 2012, his target incentive compensation was equal to $200,000. The amounts earned under his incentive
compensation opportunity were calculated by multiplying the applicable commission rate by the quarterly revenue actually
achieved. The total amount of commissions paid to Mr. Bain under his 2012 sales commission arrangement is set forth under
the “Non-Equity Incentive Plan Compensation” column of the Summary Compensation Table.

Pension Benefits and Nonqualified Deferred Compensation

     We do not provide a pension plan for our employees, and none of our named executive officers participated in a
nonqualified deferred compensation plan in 2012.
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Outstanding Equity Awards at 2012 Year-End

     The following table sets forth information regarding outstanding stock options and stock awards held by our named
executive officers as of December 31, 2012:

                                                                   Option Awards                                                           Stock Awards(1)
                                                    Number of         Number of
                                                    Securities         Securities                                                  Number of           Market Value
                                                    Underlying        Underlying                                                    Shares or           of Shares or
                                                   Unexercised       Unexercised              Option              Option          Units of Stock       Units of Stock
                                                   Options (#)        Options (#)          Exercise Price        Expiration       That Have Not        That Have Not
         Name              Grant Date(2)           Exercisable      Unexercisable              ($)(3)               Date            Vested (#)          Vested ($)(4)
Richard Costolo                 9/4/2009(5)           2,863,494          1,222,572                    0.43         9/3/2019                    —                    —
                              11/23/2010(6)           2,140,772          1,969,512                    1.83       11/22/2020                    —                    —
                               4/12/2012(7)                  —             388,440                   14.42        4/11/2022                    —                    —
                               4/12/2012(8)                  —                    —                     —                 —              582,660
Adam Bain                      9/24/2010(9)           1,488,631          1,157,825                    0.85        9/23/2020                    —                    —
                              11/23/2010(6)             208,332            191,668                    1.83       11/22/2020                    —                    —
                               4/12/2012(10)                 —             217,526                   14.42        4/11/2022                    —                    —
                               4/12/2012(11)                 —                    —                     —                 —              326,290
Christopher Fry                5/11/2012(12)                 —                    —                     —                 —              600,000
                               7/19/2012(13)                 —                    —                     —                 —              100,000
(1)    As further described in the footnotes below, the shares of our common stock underlying the RSUs will vest upon the satisfaction of both a service condition
       and a performance condition. The performance condition will be satisfied on the earlier of (i) the date that is the earlier of (x) six months after the effective
       date of this offering or (y) March 8th of the calendar year following the effective date of this offering (which we may elect to accelerate to February 15th);
       and (ii) the date of a change in control.
(2)    Each of the outstanding equity awards was granted pursuant to our 2007 Plan.
(3)    This column represents the fair value of a share of our common stock on the date of grant, as determined by our board of directors.
(4)    The market price for our common stock is based upon the assumed initial public offering price of $            per share, which is the midpoint of the estimated
       offering price range set forth on the cover page of this prospectus.
(5)    25% of the shares of our common stock subject to this option vested on September 1, 2010, and the balance vests in 36 successive equal monthly
       installments, subject to continued service through each such vesting date. In December 2012, Mr. Costolo transferred all of his rights, title and interest with
       respect to 273,000 vested shares of our common stock originally subject to this option to his spouse, who subsequently transferred all of her rights, title and
       interest with respect to such shares to the Lorin Costolo 2012 Gift Trust, for which The Northern Trust Company serves as trustee.
(6)    25% of the shares of our common stock subject to this option vested on November 22, 2011, and the balance vests in 36 successive equal monthly
       installments, subject to continued service through each such vesting date.
(7)    6.25% of the shares of our common stock subject to this option will vest on each of July 1, 2014, October 1, 2014, January 1, 2015 and April 1, 2015, and
       18.75% of the shares of our common subject to this option vests on each of July 1, 2015, October 1, 2015, January 1, 2016 and April 1, 2016, subject to
       continued service through each such vesting date.
(8)    6.25% of the shares of our common stock underlying the RSUs will vest on each of July 1, 2014, October 1, 2014, January 1, 2015 and April 1, 2015, and
       18.75% of the shares of our common stock underlying the RSUs vests on each of July 1, 2015, October 1, 2015, January 1, 2016 and April 1, 2016, subject
       to continued service through each such vesting date.
(9)    25% of the shares of our common stock subject to this option vested on September 7, 2011, and the balance vests in 36 successive equal monthly
       installments, subject to continued service through each such vesting date.
(10)   12.5% of the shares of our common stock subject to this option will vest on July 1, 2014, and the balance vests in seven successive equal quarterly
       installments, subject to continued service through each such vesting date.
(11)   12.5% of the shares of our common stock underlying the RSUs will vest on July 1, 2014, and the balance vests in seven successive equal quarterly
       installments, subject to continued service through each such vesting date.
(12)   The service condition was satisfied as to 25% of the total number of shares of our common stock underlying the RSUs on May 1, 2013. Thereafter, but prior
       to satisfaction of the performance condition, an additional 1/48th of the total number of shares of our common stock underlying the RSUs vests in monthly
       installments, subject to continued service through each vesting date. After satisfaction of the performance condition, an additional 3/48th of the total number
       of shares of our common stock underlying the RSUs will vest in quarterly installments, subject to continued service through each such vesting date.
(13)   The service condition was satisfied as to 25% of the total number of shares of our common stock underlying the RSUs on July 1, 2013. Thereafter, but prior
       to satisfaction of the performance condition, an additional 1/48th of the total number of shares of our common stock underlying the RSUs vests in monthly
       installments, subject to continued service through each such vesting date. After satisfaction of the performance condition, an additional 3/48th of the total
       number of shares of our common stock underlying the RSUs will vest in quarterly installments, subject to continued service through each such vesting date.

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Potential Payments upon Termination or Change of Control

       In August 2013, we adopted a change of control severance policy applicable to our executive officers and certain other
key employees that superseded all previous severance and change of control arrangements we had entered into with these
eligible employees prior to the policy becoming effective. Under this policy, if any eligible employee is involuntarily terminated
for any reason other than cause, death or disability on or within 12 months following a change of control, such employee
would be entitled to receive severance benefits as exclusively provided for under this policy. Upon the occurrence of such an
event, an eligible employee would be entitled to the following if such employee timely signs and does not revoke a release of
claims: (i) a lump sum severance payment equal to 100% of such employee’s annual base salary, (ii) payment for up to 12
months of COBRA premiums to continue health insurance coverage for him and his eligible dependents that were covered
under our healthcare plan or, in the event payment for COBRA premiums would violate applicable law, a taxable lump sum
payment for an amount equal to the COBRA premiums we would have paid during the equivalent period and (iii) the
acceleration of vesting of 50% (100% in the case of our CEO and CFO) of the shares underlying all unvested equity awards
held by such employee immediately prior to such termination. In addition, in the event any of the amounts provided for under
this policy or otherwise payable to an eligible employee would constitute a “parachute payment” within the meaning of Section
280G of the Code and could be subject to the related excise tax, the eligible employee would be entitled to receive either full
payment of benefits or such lesser amount which would result in no portion of the benefits being subject to the excise tax,
whichever results in the greater amount of after-tax benefits to the eligible employee.

Employee Benefit and Stock Plans

2013 Equity Incentive Plan

       Prior to the completion of this offering, our board of directors will adopt, and our stockholders will approve, our 2013
Plan. We expect that our 2013 Plan will be effective on the business day immediately prior to the effective date of the
registration statement of which this prospectus forms a part. Our 2013 Plan will provide for the grant of incentive stock
options, within the meaning of Section 422 of the Code, to our employees and any parent and subsidiary corporations’
employees, and for the grant of nonstatutory stock options, restricted stock, RSUs, stock appreciation rights, performance
units and performance shares to our employees, directors and consultants and our parent and subsidiary corporations’
employees and consultants.

        Authorized Shares. A total of          shares of our common stock will be reserved for issuance pursuant to our 2013
Plan. In addition, the shares reserved for issuance under our 2013 Plan also will include (a) those shares reserved but
unissued under our 2007 Plan as of the effective date described above and (b) shares returned to our 2007 Plan as the result
of expiration or termination of awards or shares previously issued pursuant to our 2007 Plan that are forfeited or repurchased
by us (provided that the maximum number of shares that may be added to our 2007 Plan pursuant to (a) and (b) is
         shares). The number of shares available for issuance under our 2013 Plan will also include an annual increase on the
first day of each fiscal year beginning on January 1, 2014, equal to the least of:
      Ÿ           shares;
      Ÿ     % of the outstanding shares of our common stock as of the last day of the immediately preceding fiscal year; or
      Ÿ such other amount as our board of directors may determine.

     Plan Administration. Our board of directors or one or more committees appointed by our board of directors will
administer our 2013 Plan. In the case of awards intended to qualify as ‘‘performance-based
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compensation’’ within the meaning of Section 162(m), the committee will consist of two or more ‘‘outside directors’’ within the
meaning of Section 162(m). In addition, if we determine it is desirable to qualify transactions under our 2013 Plan as exempt
under Rule 16b-3, such transactions will be structured to satisfy the requirements for exemption under Rule 16b-3. Subject to
the provisions of our 2013 Plan, the administrator has the power to administer our 2013 Plan, including but not limited to, the
power to interpret the terms of our 2013 Plan and awards granted under it, to create, amend and revoke rules relating to our
2013 Plan, including creating sub-plans, and to determine the terms of the awards, including the exercise price, the number of
shares subject to each such award, the exercisability of the awards and the form of consideration, if any, payable upon
exercise. The administrator also has the authority to amend existing awards to reduce or increase their exercise prices, to
allow participants the opportunity to transfer outstanding awards to a financial institution or other person or entity selected by
the administrator and to institute an exchange program by which outstanding awards may be surrendered in exchange for
awards of the same type which may have a higher or lower exercise price or different terms, awards of a different type and/or
cash.

       Stock Options. Stock options may be granted under our 2013 Plan. The exercise price of options granted under our
2013 Plan must at least be equal to the fair market value of our common stock on the date of grant. The term of an incentive
stock option may not exceed ten years, except that with respect to any participant who owns more than 10% of the voting
power of all classes of our outstanding stock, the term must not exceed five years and the exercise price must equal at least
110% of the fair market value on the grant date. For nonstatutory stock options the exercise price must equal at least 100% of
the fair market value. The administrator will determine the methods of payment of the exercise price of an option, which may
include cash, shares or other property acceptable to the administrator, as well as other types of consideration permitted by
applicable law. After the termination of service of an employee, director or consultant, he or she may exercise his or her option
for the period of time stated in his or her option agreement. Generally, if termination is due to death or disability, the option will
remain exercisable for 12 months. In all other cases, the option generally will remain exercisable for three months following
the termination of service. An option may not be exercised later than the expiration of its term. However, if the exercise of an
option is prevented by applicable law the exercise period may be extended under certain circumstances. Subject to the
provisions of our 2013 Plan, the administrator determines the other terms of options.

       Stock Appreciation Rights. Stock appreciation rights may be granted under our 2013 Plan. Stock appreciation rights
allow the recipient to receive the appreciation in the fair market value of our common stock between the exercise date and the
date of grant. Stock appreciation rights may not have a term exceeding ten years. After the termination of service of an
employee, director or consultant, he or she may exercise his or her stock appreciation right for the period of time stated in his
or her stock appreciation rights agreement. However, in no event may a stock appreciation right be exercised later than the
expiration of its term. Subject to the provisions of our 2013 Plan, the administrator determines the other terms of stock
appreciation rights, including when such rights become exercisable and whether to pay any increased appreciation in cash or
with shares of our common stock, or a combination thereof, except that the per share exercise price for the shares to be
issued pursuant to the exercise of a stock appreciation right will be no less than 100% of the fair market value per share on
the date of grant.

       Restricted Stock. Restricted stock may be granted under our 2013 Plan. Restricted stock awards are grants of shares
of our common stock that vest in accordance with terms and conditions established by the administrator. The administrator will
determine the number of shares of restricted stock granted to any employee, director or consultant and, subject to the
provisions of our 2013 Plan, will determine the terms and conditions of such awards. The administrator may impose whatever
conditions to vesting it determines to be appropriate (for example, the administrator may set restrictions based on the
achievement of specific performance goals or continued service to us); provided, however, that the
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administrator, in its sole discretion, may accelerate the time at which any restrictions will lapse or be removed. Recipients of
restricted stock awards generally will have voting and dividend rights with respect to such shares upon grant without regard to
vesting, unless the administrator provides otherwise. Shares of restricted stock that do not vest are subject to our right of
repurchase or forfeiture.

       RSUs. RSUs may be granted under our 2013 Plan. RSUs are bookkeeping entries representing an amount equal to
the fair market value of one share of our common stock. Subject to the provisions of our 2013 Plan, the administrator
determines the terms and conditions of RSUs, including the vesting criteria (which may include accomplishing specified
performance criteria or continued service to us) and the form and timing of payment. Notwithstanding the foregoing, the
administrator, in its sole discretion, may accelerate the time at which any restrictions will lapse or be removed.

       Performance Units and Performance Shares. Performance units and performance shares may be granted under our
2013 Plan. Performance units and performance shares are awards that will result in a payment to a participant only if
performance goals established by the administrator are achieved or the awards otherwise vest. The administrator will
establish organizational or individual performance goals or other vesting criteria in its discretion, which, depending on the
extent to which they are met, will determine the number and/or the value of performance units and performance shares to be
paid out to participants. After the grant of a performance unit or performance share, the administrator, in its sole discretion,
may reduce or waive any performance criteria or other vesting provisions for such performance units or performance shares.
Performance units shall have an initial dollar value established by the administrator on or prior to the grant date. Performance
shares shall have an initial value equal to the fair market value of our common stock on the grant date. The administrator, in
its sole discretion, may pay earned performance units or performance shares in the form of cash, in shares or in some
combination thereof.

       Outside Directors. Our 2013 Plan will provide that all outside directors will be eligible to receive all types of awards
(except for incentive stock options) under our 2013 Plan. In connection with this offering, we intend to implement a formal
policy pursuant to which our outside directors will be eligible to receive equity awards under our 2013 Plan. Our 2013 Plan will
provide that in any given year, an outside director will not receive (i) cash-settled awards having a grant-date fair value greater
than $      , increased to $      in connection with his or her initial service; and (ii) stock-settled awards having a grant-date
fair value greater than $     , increased to $      in connection with his or her initial service, in each case, as determined
under GAAP.

       Non-Transferability of Awards. Unless the administrator provides otherwise, our 2013 Plan generally will not allow for
the transfer of awards and only the recipient of an award may exercise an award during his or her lifetime.

       Certain Adjustments. In the event of certain changes in our capitalization, to prevent diminution or enlargement of the
benefits or potential benefits available under our 2013 Plan, the administrator will adjust the number and class of shares that
may be delivered under our 2013 Plan and/or the number, class and price of shares covered by each outstanding award, and
the numerical share limits set forth in our 2013 Plan. In the event of our proposed liquidation or dissolution, the administrator
will notify participants as soon as practicable and all awards will terminate immediately prior to the consummation of such
proposed transaction.

      Merger or Change in Control. Our 2013 Plan will provide that in the event of a merger or change in control, as defined
under our 2013 Plan, each outstanding award will be treated as the administrator determines, except that if a successor
corporation or its parent or subsidiary does not assume or substitute an equivalent award for any outstanding award, then
such award will fully vest, all restrictions on such award will lapse, all performance goals or other vesting criteria applicable to
such
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award will be deemed achieved at 100% of target levels and such award will become fully exercisable, if applicable, for a
specified period prior to the transaction. The award will then terminate upon the expiration of the specified period of time. If the
service of an outside director is terminated on or following a change in control, other than pursuant to a voluntary resignation,
his or her options, RSUs and stock appreciation rights, if any, will vest fully and become immediately exercisable, all
restrictions on his or her restricted stock will lapse and all performance goals or other vesting requirements for his or her
performance shares and units will be deemed achieved at 100% of target levels, and all other terms and conditions met.

      Amendment; Termination. The administrator will have the authority to amend, suspend or terminate our 2013 Plan
provided such action does not impair the existing rights of any participant. Our 2013 Plan automatically will terminate in 2023,
unless we terminate it sooner.

2013 Employee Stock Purchase Plan

       Prior to the completion of this offering, our board of directors will adopt, and our stockholders will approve, our ESPP.
We expect that our ESPP will be effective on the effective date of the registration statement of which this prospectus forms a
part. We believe that allowing our employees to participate in our ESPP provides them with a further incentive towards
ensuring our success and accomplishing our corporate goals.

        Authorized Shares. A total of         shares of our common stock will be made available for sale under our ESPP. The
number of shares of our common stock made available for sale under our ESPP will also include an annual increase on the
first day of each fiscal year beginning on January 1, 2014, equal to the least of:
      Ÿ          shares;
      Ÿ     % of the outstanding shares of our common stock as of the last day of the immediately preceding fiscal year; or
      Ÿ such other amount as our board of directors may determine.

       Plan Administration. Our compensation committee will administer our ESPP, and have full and exclusive authority to
interpret the terms of our ESPP and determine eligibility to participate, subject to the conditions of our ESPP, as described
below.

      Eligibility. Generally, all of our employees will be eligible to participate if they are employed by us, or any participating
subsidiary, for at least 20 hours per week and more than five months in any calendar year. However, an employee may not be
granted rights to purchase shares of our common stock under our ESPP if such employee:
      Ÿ immediately after the grant would own capital stock possessing 5% or more of the total combined voting power or
        value of all classes of our capital stock; or
      Ÿ hold rights to purchase shares of our common stock under all of our employee stock purchase plans that accrue at a
        rate that exceeds $25,000 worth of shares of our common stock for each calendar year.

       Offering Periods. Our ESPP is intended to qualify under Section 423 of the Code, and will provide for                -month
offering periods. The offering periods are scheduled to start on the first trading day on or after         and          of each
year, except for the first offering period, which will commence on the first trading day on or after completion of this offering and
will end on the first trading day on or after         . Each offering period will include purchase periods, which will be the
approximately            months commencing with one exercise date and ending with the next exercise date.
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       Contributions. Our ESPP will permit participants to purchase shares of our common stock through payroll deductions
of up to % of their eligible compensation. A participant may purchase a maximum of shares of our common stock during an
offering period.

       Exercise of Purchase Right. Amounts deducted and accumulated by the participant are used to purchase shares of
our common stock at the end of each             -month purchase period. The purchase price of the shares will be 85% of the
lower of the fair market value of our common stock on the first trading day of each offering period or on the exercise date. If
the fair market value of our common stock on the exercise date is less than the fair market value on the first trading day of the
offering period, participants will be withdrawn from the current offering period following their purchase of shares of our
common stock on the purchase date and will be automatically re-enrolled in a new offering period. Participants may end their
participation at any time during an offering period and will be paid their accrued contributions that have not yet been used to
purchase shares of our common stock. Participation ends automatically upon termination of employment with us.

      Non-Transferability. A participant may not transfer rights granted under our ESPP. If our compensation committee
permits the transfer of rights, it may only be done by will, the laws of descent and distribution or as otherwise provided under
our ESPP.

      Merger or Change in Control. Our ESPP will provide that in the event of a merger or change in control, as defined
under our ESPP, a successor corporation may assume or substitute each outstanding purchase right. If the successor
corporation refuses to assume or substitute for the outstanding purchase right, the offering period then in progress will be
shortened, and a new exercise date will be set. The administrator will notify each participant that the exercise date has been
changed and that the participant’s option will be exercised automatically on the new exercise date unless prior to such date
the participant has withdrawn from the offering period.

       Amendment; Termination. The administrator will have the authority to amend, suspend or terminate our ESPP, except
that, subject to certain exceptions described in our ESPP, no such action may adversely affect any outstanding rights to
purchase shares of our common stock under our ESPP. Our ESPP automatically will terminate in 2033, unless we terminate it
sooner.

2007 Equity Incentive Plan, as Amended

      Our board of directors and stockholders adopted our 2007 Plan in May 2007. Our 2007 Plan was most recently
amended in January 2013. Our 2007 Plan allows for the grant of incentive stock options to our employees and any of our
parent and subsidiary corporations’ employees, and for the grant of nonqualified stock options and restricted stock awards to
employees, officers, directors and consultants of ours and our parent and subsidiary corporations.

       Authorized Shares. Our 2007 Plan will be terminated in connection with this offering, and accordingly, no shares will
be available for issuance under the 2007 Plan following the completion of this offering. Our 2007 Plan will continue to govern
outstanding awards granted thereunder. As of June 30, 2013, options to purchase 42,963,936 shares of our common stock
remained outstanding under our 2007 Plan at a weighted-average exercise price of approximately $1.83 per share and RSUs
covering 59,913,992 shares of our common stock remained outstanding under our 2007 Plan at a weighted-average grant-
date fair value of approximately $15.16 per share.

       Plan Administration. Our compensation committee currently administers our 2007 Plan. Subject to the provisions of
our 2007 Plan, the administrator has the power to interpret and administer our 2007 Plan and any agreement thereunder and
to determine the terms of awards (including the recipients), the number of shares subject to each award, the exercise price (if
any), the fair market value of a share of our common stock, if such stock is not publicly-traded, listed or admitted to trading on
a national
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securities exchange, nor reported in any newspaper or other source, the vesting schedule applicable to the awards together
with any vesting acceleration and the terms of the award agreement for use under our 2007 Plan. The administrator may, at
any time, authorize the issuance of new awards in exchange for the surrender and cancellation of any or all outstanding
awards with the consent of a participant. The administrator may also buy out an award previously granted for cash, shares or
other consideration as the administrator and the participant may agree.

       Options. Stock options may be granted under our 2007 Plan. The exercise price per share of all options must equal at
least 85% of the fair market value per share of our common stock on the date of grant, and the exercise price per share of
incentive stock options must equal at least 100% of the fair market value per share of our common stock on the date of grant.
The term of an incentive stock option may not exceed ten years. An incentive stock option granted to a participant who owns
more than 10% of the total combined voting power of all classes of our stock on the date of grant, or any parent or subsidiary
corporations, may not have a term in excess of five years and must have an exercise price of at least 110% of the fair market
value per share of our common stock on the date of grant. The administrator will determine the methods of payment of the
exercise price of an option, which may include cash, shares or certain other property or other consideration acceptable to the
administrator. After a participant’s termination of service, the participant generally may exercise his or her options, to the
extent vested as of such date of termination, for three months after termination. If termination is due to death or disability, the
option generally will remain exercisable, to the extent vested as of such date of termination, until the one-year anniversary of
such termination. However, in no event may an option be exercised later than the expiration of its term. If termination is for
cause, then an option automatically expires upon first notification to the participant of such termination or, if later, such time as
the conditions for cause are determined by the administrator to have occurred.

       Restricted Stock. Restricted stock may be granted under our 2007 Plan. Restricted stock awards are grants of shares
of our common stock that are subject to various restrictions, including restrictions on transferability and forfeiture provisions.
Shares of restricted stock will vest, and the restrictions on such shares will lapse, in accordance with terms and conditions
established by the administrator.

       RSUs. RSUs may be granted under our 2007 Plan. RSUs are bookkeeping entries representing an amount equal to
the fair market value of one share of our common stock. The administrator determines the terms and conditions of RSUs,
including the number of units granted, the vesting criteria (which may include accomplishing specified performance criteria or
continued service to us) and the form and timing of payment. Notwithstanding the foregoing, the administrator, in its sole
discretion may accelerate the time at which any restrictions will lapse or be removed.

      Transferability or Assignability of Awards. Our 2007 Plan generally does not allow for the transfer or assignment of
awards, other than by gift to an immediate family member, and only the recipient of an award may exercise such an award
during his or her lifetime.

      Certain Adjustments. In the event of certain changes in our capitalization, the exercise prices of and the number of
shares subject to outstanding options, and the purchase price of and the numbers of shares subject to outstanding awards will
be proportionately adjusted, subject to any required action by our board of directors or stockholders.

       Merger or Change in Control. Our 2007 Plan provides that, in the event of a merger, change in control or other
company combination transaction, as defined under our 2007 Plan, each outstanding award may be assumed or substituted
for an equivalent award. In the event that awards are not assumed or substituted for, then the vesting of outstanding awards
will be accelerated, and options will become exercisable in full prior to such corporate transaction. Options, to the extent they
remain unexercised, will then generally terminate immediately prior to the corporate transaction.
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      Amendment; Termination. Our board of directors may amend our 2007 Plan at any time, provided that such
amendment does not impair the rights under outstanding awards without the participant’s written consent. As noted above,
upon completion of this offering, our 2007 Plan will be terminated and no further awards will be granted thereunder. All
outstanding awards will continue to be governed by their existing terms.

2011 Acquisition Option Plan
      Our board of directors and stockholders adopted our 2011 Acquisition Option Plan, or our 2011 Plan, in May 2011. Our
2011 Plan was adopted for the purpose of granting options to new employees in connection with our acquisition of
TweetDeck, Inc. in May 2011.

      Authorized Shares. Our 2011 Plan will be terminated in connection with this offering, and accordingly, no shares will
be available for issuance under the 2011 Plan following the completion of this offering. Our 2011 Plan will continue to govern
outstanding options granted thereunder. As of June 30, 2013, options to purchase 12,880 shares of our common stock
remained outstanding under our 2011 Plan at a weighted-average exercise price of approximately $0.44 per share.

       Plan Administration. Our compensation committee currently administers our 2011 Plan. Subject to the provisions of
our 2011 Plan, the administrator has the power and discretion to take any action it deems necessary or advisable for
administration of our 2011 Plan. The administrator may modify, extend or renew outstanding options and authorize the grant of
new options in substitution, provided that any action may not, without the written consent of a participant, impair any of such
participant’s rights under any option previously granted. The administrator may reduce the exercise price of outstanding
options without the consent of the participant by providing written notice. The administrator may also, with the consent of the
participant, issue new options in exchange for the surrender and cancellation of any or all outstanding options. The
administrator also may buy out an option previously granted for cash, shares or other consideration as the administrator and
the participant may agree.

      Options. Only nonqualified stock options may be granted under our 2011 Plan. The exercise price per share of all
options under our 2011 Plan is established by the administrator at the time of grant. The administrator determines the
methods of payment of the exercise price of an option, which may include cash, shares or certain other property or other
consideration acceptable to the administrator. After a participant’s termination of service, the participant generally may
exercise his or her options, to the extent vested as of such date of termination, for three months after termination. If
termination is due to death or disability, the option generally will remain exercisable, to the extent vested as of such date of
termination, until the one-year anniversary of such termination. However, in no event may an option be exercised later than
the expiration of its term. If termination is for cause, then an option automatically expires upon the participant’s termination
date (or, if later, such time as the conditions for cause are determined by the administrator to have occurred).

      Transferability or Assignability of Options. Our 2011 Plan generally does not allow for the transfer or assignment of
awards, other than by gift to an immediate family member, and only the recipient of an award may exercise such an award
during his or her lifetime.

       Certain Adjustments. In the event of certain changes in our capitalization, the exercise prices of and the number of
shares subject to outstanding options will be proportionately adjusted, subject to any required action by our board of directors
or stockholders.

       Merger or Change in Control. In the event of a merger, change in control or other company combination transaction,
as defined under our 2011 Plan, each outstanding option may be assumed or substituted for an equivalent award. In the event
that options are not assumed or substituted for, then
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the vesting of outstanding options will be accelerated, and options will become exercisable in full prior to such corporate
transaction. Options, to the extent they remain unexercised, will then generally terminate immediately prior to the corporate
transaction.

      Amendment; Termination. Our board of directors may amend our 2011 Plan at any time, provided that such
amendment does not impair the rights under outstanding options without the participant’s written consent. As noted above,
upon completion of this offering, our 2011 Plan will be terminated and no further options will be granted thereunder. All
outstanding options will continue to be governed by their existing terms.

Bluefin Labs, Inc. 2008 Stock Plan
      In connection with our acquisition of Bluefin Labs, Inc. in February 2013, we assumed options granted under the Bluefin
Labs, Inc. 2008 Stock Plan, or the Bluefin Plan, held by Bluefin employees who continued employment with us or one of our
subsidiaries after the closing, and converted them into options to purchase shares of our common stock. The Bluefin Plan was
terminated on the closing of the acquisition, but the Bluefin Plan will continue to govern the terms of options we assumed in
the acquisition. As of June 30, 2013, options to purchase 496,439 shares of our common stock remained outstanding under
the Bluefin Plan at a weighted-average exercise price of approximately $2.22 per share.

       Our compensation committee currently administers the Bluefin Plan. The administrator determines the methods of
payment of the exercise price of an option, which may include cash or cash equivalents or other consideration acceptable to
the administrator in its discretion. After a participant’s termination of service, the participant may generally exercise his or her
options, to the extent vested as of such date of termination, for three months after termination. If termination is due to
disability, the option will generally remain exercisable, to the extent vested as of such date of termination, for at least six
months. If termination is due to death, the option generally will remain exercisable, to the extent vested as of such date of
termination, for at least 12 months. However, in no event may an option be exercised later than the expiration of its term.
Options generally may be transferrable only by a beneficiary designation, a will or the laws of descent and distribution.
However, the stock option agreement may allow for transfer of nonstatutory stock options by gift to a family member or gift to
an inter vivos or testamentary trust in which the participant’s immediate family has a beneficial interest, subject to the
conditions specified in the Bluefin Plan. Incentive stock options may be exercised during the participant’s lifetime only by the
participant or the participant’s guardian.

      In the event of certain changes in our capitalization, the exercise prices of and the number of shares subject to
outstanding options under the Bluefin Plan will be appropriately adjusted. In the event of a merger or consolidation, each
option will be subject to the agreement of merger or consolidation, which will provide for one or more of the following: the
continuation, assumption or substitution of awards, full acceleration of options followed by the cancellation of such options
and/or the settlement of the full value of outstanding options in cash or cash equivalents followed by the cancellation of
outstanding options subject to certain conditions.

Crashlytics, Inc. 2011 Stock Plan
      In connection with our acquisition of Crashlytics, Inc. in January 2013, we assumed options granted under the
Crashlytics, Inc. 2011 Stock Plan, or the Crashlytics Plan, held by Crashlytics employees who continued employment with us
or one of our subsidiaries after the closing, and converted them into options to purchase shares of our common stock. The
Crashlytics Plan was terminated on the closing of the acquisition, but the Crashlytics Plan will continue to govern the terms of
options we assumed in the acquisition. As of June 30, 2013, options to purchase 325,630 shares of our common stock
remained outstanding under the Crashlytics Plan at a weighted-average exercise price of approximately $0.54 per share.
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       Our compensation committee currently administers the Crashlytics Plan. The administrator determines the methods of
payment of the exercise price of an option, which may include cash or cash equivalents or other consideration acceptable to
the administrator in its discretion. After a participant’s termination of service, the participant generally may exercise his or her
options, to the extent vested as of such date of termination, for three months after termination. If termination is due to
disability, the option generally will remain exercisable, to the extent vested as of such date of termination, for at least six
months. If termination is due to death, the option generally will remain exercisable, to the extent vested as of such date of
termination, for at least 12 months. However, in no event may an option be exercised later than the expiration of its term.
Options generally may be transferrable only by a beneficiary designation, a will or the laws of descent and distribution.
However, the stock option agreement may allow for transfer of nonstatutory stock options by gift to a family member or gift to
an inter vivos or testamentary trust in which the participant’s immediate family has a beneficial interest, subject to the
conditions specified in the Crashlytics Plan. Incentive stock options may be exercised during the participant’s lifetime only by
the participant or the participant’s guardian.

        In the event of certain changes in our capitalization, the exercise prices of and the number of shares subject to
outstanding options under the Crashlytics Plan will be appropriately adjusted. In the event of a merger or consolidation, or in
the event of a sale of all or substantially all of our stock or assets, all options will be treated in the manner described in the
definitive transaction agreement (or, if none exists, by the determination by our board of directors), which will provide for one
or more of the following: the continuation, assumption or substitution of awards, cancellation of the options with or without
consideration (provided that if options are cancelled without any consideration, requisite notice must be provided), suspension
of the right to exercise the option during a limited period of time and/or termination of any right to early exercise.

Mixer Labs, Inc. 2008 Stock Plan
       In connection with our acquisition of Mixer Labs, Inc. in December 2009, we assumed options issued under the Mixer
Labs, Inc. 2008 Stock Plan, or the Mixer Labs Plan, held by Mixer Labs employees who continued employment with us after
the closing, and converted them into options to purchase shares of our common stock. The Mixer Labs Plan was terminated
on the closing of the acquisition, but the Mixer Labs Plan will continue to govern the terms of options we assumed in the
acquisition. As of June 30, 2013, options to purchase 103,176 shares of our common stock remained outstanding under the
Mixer Labs Plan at a weighted-average exercise price of approximately $0.11 per share.

      Our compensation committee currently administers the Mixer Labs Plan. The administrator determines the methods of
payment of the exercise price of an option, which may include cash or cash equivalents or other consideration acceptable to
the administrator in its discretion. After a participant’s termination of service, the participant may generally exercise his or her
options, to the extent vested as of such date of termination, for three months after termination. If termination is due to disability
or death, the option generally will remain exercisable, to the extent vested as of such date of termination, for six months. If
termination is due to cause, the option will terminate on termination. In no event may an option be exercised later than the
expiration of its term. Options generally may not be sold, pledged, assigned, hypothecated, transferred or disposed of in any
manner other than by will or by the laws of descent or distribution.

       In the event of certain changes in our capitalization, the exercise prices of and the number of shares subject to
outstanding options under the Mixer Labs Plan will be appropriately adjusted. The Mixer Labs Plan provides that, in the event
of a corporate transaction, all options may be assumed or substituted for an equivalent option or right or terminated in
exchange for a payment of cash, securities and/or or property equal to the fair market value of the stock that is vested and
exercisable reduced by

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the exercise price payable in connection with the option. In the event options are not assumed, substituted or exchanged,
options will terminate upon the consummation of the corporate transaction.

Executive Incentive Compensation Plan
      Our Executive Incentive Compensation Plan, or our Incentive Compensation Plan, was adopted by our compensation
committee in August 2013. Our Incentive Compensation Plan allows our compensation committee to provide cash incentive
awards to employees selected by our compensation committee, including our named executive officers, based upon
performance goals established by our compensation committee.

       Under our Incentive Compensation Plan, our compensation committee determines the performance goals applicable to
any award, which goals may include, without limitation, the attainment of research and development milestones, sales
bookings, business divestitures and acquisitions, cash flow, cash position, operating results and operating metrics, product
defect measures, product release timelines, productivity, return on assets, return on capital, return on equity, return on
investment, return on sales, sales results, sales growth, stock price, time to market, total stockholder return, working capital
and individual objectives such as peer reviews or other subjective or objective criteria. The performance goals may differ from
participant to participant and from award to award.

       Our compensation committee currently administers our Incentive Compensation Plan. The administrator of our
Incentive Compensation Plan may, in its sole discretion and at any time, increase, reduce or eliminate a participant’s actual
award, and/or increase, reduce or eliminate the amount allocated to the bonus pool for a particular performance period. The
actual award may be below, at or above a participant’s target award, in the discretion of the administrator. The administrator
may determine the amount of any reduction on the basis of such factors as it deems relevant, and it is not required to
establish any allocation or weighting with respect to the factors it considers.

       Actual awards are paid in cash only after they are earned, which usually requires continued employment through the
last day of the performance period and the date the actual award is paid. Payment of awards occurs as soon as
administratively practicable after they are earned, but no later than the dates set forth in our Incentive Compensation Plan.

      Our board of directors and our compensation committee have the authority to amend, alter, suspend or terminate our
Incentive Compensation Plan, provided such action does not impair the existing rights of any participant with respect to any
earned awards.

401(k) Plan
       We maintain a tax-qualified retirement plan, or the 401(k) plan, that provides eligible employees with an opportunity to
save for retirement on a tax-advantaged basis. Eligible employees are able to participate in the 401(k) plan as of the first day
of the month following the date they meet the 401(k) plan’s eligibility requirements, and participants are able to defer up
to 100% of their eligible compensation subject to applicable annual Code limits. All participants’ interests in their deferrals
are 100% vested when contributed. The 401(k) plan permits us to make matching contributions and profit sharing
contributions to eligible participants, although we have not made any such contributions to date.
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                                  CERTAIN RELATIONSHIPS AND RELATED PARTY TRANSACTIONS

      In addition to the compensation arrangements, including employment, termination of employment and change in control
arrangements, discussed in the sections titled “Management” and “Executive Compensation” and the registration rights
described in the section titled “Description of Capital Stock—Registration Rights,” the following is a description of each
transaction since January 1, 2010 and each currently proposed transaction in which:
       Ÿ we have been or are to be a participant;
       Ÿ the amount involved exceeded or exceeds $120,000; and
       Ÿ any of our directors, executive officers or holders of more than 5% of our outstanding capital stock, or any immediate
         family member of, or person sharing the household with, any of these individuals or entities, had or will have a direct
         or indirect material interest.

Equity Financings

Series F Convertible Preferred Stock Financing

       From December 2010 through January 2011, we sold an aggregate of 26,197,896 shares of our Series F convertible
preferred stock at a purchase price of approximately $7.63 per share, for an aggregate purchase price of $199,999,978. The
following table summarizes purchases of our Series F convertible preferred stock by holders of more than 5% of our
outstanding capital stock:

                                                                                                                        Shares of
                                                                                                                        Series F
                                                                                                                       Convertible              Total Purchase
                                               Stockholder                                                           Preferred Stock                 Price
Entities affiliated with Spark Capital(1)                                                                                1,964,842              $ 14,999,997
Benchmark Capital Partners VI, L.P.(2)                                                                                   1,192,544                 9,104,119
(1)    Affiliates of Spark Capital holding our securities whose shares are aggregated for purposes of reporting share ownership information include Spark Capital
       II, L.P. and Spark Capital Founders’ Fund II, LLC.
(2)    Peter Fenton, a member of our board of directors, is a General Partner of Benchmark Capital.


Series G Convertible Preferred Stock Financing

       During July 2011, we sold an aggregate of 10,097,159 shares of our Series G-1 convertible preferred stock at a
purchase price of approximately $16.09 per share, for an aggregate purchase price of $162,499,987. The following table
summarizes purchases of our Series G-1 convertible preferred stock by holders of more than 5% of our outstanding capital
stock:

                                                                                                                   Shares of
                                                                                                                  Series G-1
                                                                                                                  Convertible                   Total Purchase
                                         Stockholder                                                            Preferred Stock                      Price
Entities affiliated with Rizvi Traverse(1)                                                                                                      $
(1)    Affiliates of Rizvi Traverse holding our securities whose shares are aggregated for purposes of reporting share ownership information include        and
                .

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      During July 2011, we sold an aggregate of 14,757,386 shares of our Series G-2 convertible preferred stock at a
purchase price of $16.09 per share, for an aggregate purchase price of $237,499,978. The following table summarizes
purchases of our Series G-2 convertible preferred stock by holders of more than 5% of our outstanding capital stock:

                                                                                                                         Shares of
                                                                                                                        Series G-2
                                                                                                                        Convertible             Total Purchase
                                                 Stockholder                                                          Preferred Stock                Price
Entities affiliated with DST Global(1)                                                                                  12,427,273             $199,999,991
(1)   Affiliates of DST Global holding our securities whose shares are aggregated for purposes of reporting share ownership information include DST Global II,
      L.P., DST Investments 3 Limited and DST Investments IV, L.P.


2011 Third-Party Tender Offer
       In July 2011, we entered into a letter agreement, which was amended in August 2011, with certain holders of our capital
stock, including entities affiliated with DST Global and Rizvi Traverse, pursuant to which we agreed to waive certain transfer
restrictions in connection with, and assist in the administration of, a tender offer that such holders proposed to commence. In
August 2011, these holders commenced a tender offer to purchase shares of our capital stock from certain of our
securityholders. Messrs. Costolo, Dorsey and Rowghani, each of whom is one of our directors or executive officers, sold
shares of our capital stock in the tender offer. An aggregate of 22,634,944 shares of our capital stock were tendered pursuant
to the tender offer at a price of approximately $15.93 per share after taking into account a transaction fee.

2013 Third-Party Tender Offer
        In January 2013, we entered into a letter agreement with certain holders of our capital stock pursuant to which we
agreed to waive certain transfer restrictions in connection with, and assist in the administration of, a tender offer that such
holders proposed to commence. In January 2013, these holders commenced a tender offer to purchase shares of our capital
stock from certain of our securityholders. Mr. Bain, one of our executive officers, sold shares of our capital stock in the tender
offer. An aggregate of 3,508,336 shares of our capital stock were tendered pursuant to the tender offer at a price of $17.00 per
share.

Investors’ Rights Agreement
       We are party to an investors’ rights agreement which provides, among other things, that certain holders of our capital
stock have the right to demand that we file a registration statement or request that their shares of our capital stock be covered
by a registration statement that we are otherwise filing. See the section titled “Description of Capital Stock—Registration
Rights” for additional information regarding these registration rights.

Right of First Refusal
       Pursuant to our current bylaws, certain of our equity compensation plans and certain agreements with our stockholders,
including a right of first refusal and co-sale agreement, we or our assignees have a right to purchase shares of our capital
stock which stockholders propose to sell to other parties. This right will terminate upon the completion of this offering. Since
January 1, 2010, we have waived or assigned our right of first refusal in connection with the sale of certain shares of our
capital stock, resulting in the purchase of such shares by certain holders of more than 5% of our capital stock in a series of
transactions. See the section titled “Principal Stockholders” for additional information regarding beneficial ownership of our
capital stock.
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Voting Agreement
       We are party to a voting agreement under which certain holders of our capital stock, including entities with which certain
of our directors are affiliated, have agreed to vote their shares of our capital stock on certain matters, including with respect to
the election of directors. Upon the completion of this offering, the voting agreement will terminate and none of our
stockholders will have any special rights regarding the election or designation of members of our board of directors.

Holder Voting Agreements
       We are party to voting agreements under which certain holders of our capital stock, including entities affiliated with DST
Global and Rizvi Traverse, have agreed to vote their shares of our capital stock as directed by, and have granted an
irrevocable proxy to, an officer appointed for the purpose of acting as a proxyholder by our board of directors at such officer’s
discretion on matters to be voted upon by stockholders, subject to certain limited exceptions. Upon the completion of this
offering, certain of these voting agreements will terminate. The remaining voting agreements, each of which has been
modified pursuant to an agreement between such holders and us, will remain in effect for a period of 180 days after the date
of this prospectus. See the section titled “Description of Capital Stock—Voting Agreements” for a description of the voting
agreements that remain in effect for a period of 180 days after the date of this prospectus.

      We are party to a voting agreement under which an entity affiliated with Rizvi Traverse agreed to vote 13,722,222
shares of our capital stock owned by it as directed by, and has granted an irrevocable proxy to, Obvious, LLC, an entity
controlled by Mr. Williams, who is one of our directors, on certain matters to be voted upon by stockholders. This voting
agreement will terminate upon the completion of this offering.

       We are party to a voting agreement under which a holder of our capital stock agreed to vote 277,778 shares of our
capital stock owned by it as directed by, and has granted an irrevocable proxy to, Obvious, LLC, an entity controlled by
Mr. Williams, who is one of our directors, on certain matters to be voted upon by stockholders. This voting agreement will
terminate upon the completion of this offering.

       We are party to a voting agreement under which an entity affiliated with Rizvi Traverse agreed to vote 10,782,076
shares of our capital stock owned by it as directed by, and has granted an irrevocable proxy to, entities affiliated with Spark
Capital on certain matters to be voted upon by stockholders. This voting agreement will terminate upon the completion of this
offering.

       We are party to a voting agreement under which an entity affiliated with Rizvi Traverse agreed to vote 9,638,320 shares
of our capital stock owned by it as directed by, and has granted an irrevocable proxy to, entities affiliated with Union Square
Ventures on certain matters to be voted upon by stockholders. This voting agreement will terminate upon the completion of
this offering.

Transactions with West Studios, LLC
      Jack Dorsey, one of our directors, has a direct ownership interest in West Studios, LLC. In 2011 and 2012, we incurred
$0.3 million and $1.9 million, respectively, of expense for marketing and communication services rendered to us by West
Studios, LLC. No expense was incurred in relation to this arrangement in the six months ended June 30, 2013. There was no
outstanding payable balance to West Studios, LLC as of June 30, 2013.
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Other Transactions
     We have granted stock options and RSUs to our executive officers and certain of our directors. See the sections titled
“Executive Compensation—Outstanding Equity Awards at 2012 Year-End” and “Management—Non-Employee Director
Compensation” for a description of these stock options and RSUs.

      Prior to the completion of this offering, we expect to enter into change in control agreements with certain of our
executive officers pursuant to our change in control severance policy that, among other things, provides for certain severance
and change in control benefits. See the section titled “Executive Compensation—Potential Payments upon Termination or
Change in Control” for additional information regarding this policy.

       Other than as described above under this section titled “Certain Relationships and Related Party Transactions,” since
January 1, 2010, we have not entered into any transactions, nor are there any currently proposed transactions, between us
and a related party where the amount involved exceeds, or would exceed, $120,000, and in which any related person had or
will have a direct or indirect material interest. We believe the terms of the transactions described above were comparable to
terms we could have obtained in arm’s-length dealings with unrelated third parties.

Limitation of Liability and Indemnification of Officers and Directors
       We expect to adopt an amended and restated certificate of incorporation, which will become effective immediately prior
to the completion of this offering, and which will contain provisions that limit the liability of our directors for monetary damages
to the fullest extent permitted by Delaware law. Consequently, our directors will not be personally liable to us or our
stockholders for monetary damages for any breach of fiduciary duties as directors, except liability for the following:
      Ÿ any breach of their duty of loyalty to our company or our stockholders;
      Ÿ any act or omission not in good faith or that involves intentional misconduct or a knowing violation of law;
      Ÿ unlawful payments of dividends or unlawful stock repurchases or redemptions as provided in Section 174 of the
        Delaware General Corporation Law; or
      Ÿ any transaction from which they derived an improper personal benefit.

       Any amendment to, or repeal of, these provisions will not eliminate or reduce the effect of these provisions in respect of
any act, omission or claim that occurred or arose prior to that amendment or repeal. If the Delaware General Corporation Law
is amended to provide for further limitations on the personal liability of directors of corporations, then the personal liability of
our directors will be further limited to the greatest extent permitted by the Delaware General Corporation Law.

       In addition, we expect to adopt amended and restated bylaws, which will become effective immediately prior to the
completion of this offering, and which will provide that we will indemnify, to the fullest extent permitted by law, any person who
is or was a party or is threatened to be made a party to any action, suit or proceeding by reason of the fact that he or she is or
was one of our directors or officers or is or was serving at our request as a director or officer of another corporation,
partnership, joint venture, trust or other enterprise. Our amended and restated bylaws are expected to provide that we may
indemnify to the fullest extent permitted by law any person who is or was a party or is threatened to be made a party to any
action, suit or proceeding by reason of the fact that he or she is or was one of our employees or agents or is or was serving at
our request as an employee or agent of another corporation, partnership, joint venture, trust or other enterprise. Our amended
and restated bylaws will also provide that we must advance expenses incurred by or on behalf of a director or officer in
advance of the final disposition of any action or proceeding, subject to limited exceptions.
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         Further, we have entered into or will enter into indemnification agreements with each of our directors and executive
officers that may be broader than the specific indemnification provisions contained in the Delaware General Corporation Law.
These indemnification agreements require us, among other things, to indemnify our directors and executive officers against
liabilities that may arise by reason of their status or service. These indemnification agreements also require us to advance all
expenses incurred by the directors and executive officers in investigating or defending any such action, suit or proceeding. We
believe that these agreements are necessary to attract and retain qualified individuals to serve as directors and executive
officers.

        The limitation of liability and indemnification provisions that are expected to be included in our amended and restated
certificate of incorporation, amended and restated bylaws and in indemnification agreements that we have entered into or will
enter into with our directors and executive officers may discourage stockholders from bringing a lawsuit against our directors
and executive officers for breach of their fiduciary duties. They may also reduce the likelihood of derivative litigation against
our directors and executive officers, even though an action, if successful, might benefit us and other stockholders. Further, a
stockholder’s investment may be adversely affected to the extent that we pay the costs of settlement and damage awards
against directors and executive officers as required by these indemnification provisions. At present, we are not aware of any
pending litigation or proceeding involving any person who is or was one of our directors, officers, employees or other agents
or is or was serving at our request as a director, officer, employee or agent of another corporation, partnership, joint venture,
trust or other enterprise, for which indemnification is sought, and we are not aware of any threatened litigation that may result
in claims for indemnification.

       We have obtained insurance policies under which, subject to the limitations of the policies, coverage is provided to our
directors and executive officers against loss arising from claims made by reason of breach of fiduciary duty or other wrongful
acts as a director or executive officer, including claims relating to public securities matters, and to us with respect to payments
that may be made by us to these directors and executive officers pursuant to our indemnification obligations or otherwise as a
matter of law.

     Certain of our non-employee directors may, through their relationships with their employers, be insured and/or
indemnified against certain liabilities incurred in their capacity as members of our board of directors.

     The underwriting agreement will provide for indemnification by the underwriters of us and our officers, directors and
employees for certain liabilities arising under the Securities Act or otherwise.

      Insofar as indemnification for liabilities arising under the Securities Act may be permitted to directors, officers or persons
controlling our company pursuant to the foregoing provisions, we have been informed that, in the opinion of the SEC, such
indemnification is against public policy as expressed in the Securities Act and is therefore unenforceable.

Policies and Procedures for Related Party Transactions
       Following the completion of this offering, our audit committee will have the primary responsibility for reviewing and
approving or disapproving “related party transactions,” which are transactions between us and related persons in which the
aggregate amount involved exceeds or may be expected to exceed $120,000 and in which a related person has or will have a
direct or indirect material interest. Upon the completion of this offering, our policy regarding transactions between us and
related persons will provide that a related person is defined as a director, executive officer, nominee for director or greater
than 5% beneficial owner of our common stock, in each case since the beginning of the most recently completed year, and
any of their immediate family members. Our audit committee charter that will be in effect upon the completion of this offering
will provide that our audit committee shall review and approve or disapprove any related party transactions.
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                                                PRINCIPAL STOCKHOLDERS

       The following table sets forth certain information with respect to the beneficial ownership of our capital stock as of
August 31, 2013, and as adjusted to reflect the sale of our common stock offered by us in this offering assuming no exercise
of the underwriters’ option to purchase additional shares of our common stock from us, for:
      Ÿ each of our named executive officers;
      Ÿ each of our directors;
      Ÿ all of our current directors and executive officers as a group; and
      Ÿ each person known by us to be the beneficial owner of more than 5% of the outstanding shares of our common
        stock.

      We have determined beneficial ownership in accordance with the rules of the SEC, and thus it represents sole or
shared voting or investment power with respect to our securities. Unless otherwise indicated below, to our knowledge, the
persons and entities named in the table have sole voting and sole investment power with respect to all shares that they
beneficially owned, subject to community property laws where applicable. The information does not necessarily indicate
beneficial ownership for any other purpose, including for purposes of Sections 13(d) and 13(g) of the Securities Act.

       We have based our calculation of the percentage of beneficial ownership prior to this offering on 473,839,475 shares of
our common stock outstanding as of August 31, 2013, which includes 333,099,000 shares of our common stock resulting from
the automatic conversion of all outstanding shares of our Class A junior preferred stock and our convertible preferred stock
into our common stock immediately prior to the completion of this offering, as if this conversion had occurred as of August 31,
2013. We have based our calculation of the percentage of beneficial ownership after this offering on          shares of our
common stock outstanding immediately after the completion of this offering, assuming that the underwriters will not exercise
their option to purchase up to an additional       shares of our common stock from us in full. We have deemed shares of
our common stock subject to stock options that are currently exercisable or exercisable within 60 days of August 31, 2013 or
issuable pursuant to RSUs which are subject to vesting conditions expected to occur within 60 days of August 31, 2013 to be
outstanding and to be beneficially owned by the person holding the stock option or RSU for the purpose of computing the
percentage ownership of that person. We did not deem these shares outstanding, however, for the purpose of computing the
percentage ownership of any other person.
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     Unless otherwise indicated, the address of each beneficial owner listed in the table below is c/o Twitter, Inc., 1355
Market Street, Suite 900, San Francisco, California 94103.

                                                                          Number of Shares                      Percentage of Shares Beneficially Owned
                                                                            Beneficially
                    Name of Beneficial Owner                                 Owned(1)                      Before the Offering                 After the Offering
       Named Executive Officers and
          Directors:
       Richard Costolo(2)                                                       7,589,608                                  1.6%
       Adam Bain(3)                                                             1,722,350                                    *
       Christopher Fry(4)                                                              —                                    —
       Jack Dorsey(5)                                                          23,411,350                                  4.9%
       Peter Chernin(6)                                                                —                                    —
       Peter Currie(7)                                                            291,666                                    *
       Peter Fenton(8)                                                         31,568,740                                  6.7%
       David Rosenblatt(9)                                                        283,333                                    *
       Evan Williams(10)                                                       56,909,847                                 12.0%
       All executive officers and directors as a
          group (12 persons)(11)
       5% Stockholders:
       Entities affiliated with Rizvi Traverse
       Entities affiliated with Spark Capital
       Benchmark Capital Partners VI, L.P.
       Entities affiliated with Union Square
         Ventures
       Entities affiliated with DST Global
*        Represents beneficial ownership of less than one percent (1%) of the outstanding shares of our common stock.
(1)      There are currently no RSUs which will become vested within 60 days of August 31, 2013 that are beneficially owned by the individuals and entities listed in
         the table above.
(2)      Consists of (i) 566,920 shares held of record by the Richard Costolo 2001 Living Trust dated February 8, 2001, for which Mr. Costolo serves as trustee, and
         the Lorin Costolo 2001 Living Trust dated February 8, 2001, for which Mr. Costolo’s spouse serves as trustee, (ii) 6,749,688 shares issuable pursuant to
         outstanding stock options held by Mr. Costolo which are exercisable within 60 days of August 31, 2013 and (iii) 273,000 shares issuable pursuant to
         outstanding stock options held by the Lorin Costolo 2012 Gift Trust, for which The Northern Trust Company serves as trustee, which are exercisable within 60
         days of August 31, 2013. Mr. Costolo also holds RSUs, none of which will be vested within 60 days of August 31, 2013.
(3)      Consists solely of shares issuable pursuant to outstanding stock options which are exercisable within 60 days of August 31, 2013. Mr. Bain also holds RSUs,
         none of which will be vested within 60 days of August 31, 2013.
(4)      Mr. Fry holds RSUs, none of which will be vested within 60 days of August 31, 2013.
(5)      Consists of (i) 19,848,942 shares held of record by The Jack Dorsey Revocable Trust dated December 8, 2010, for which Mr. Dorsey serves as trustee,
         (ii) 2,354,076 shares held of record by The Jack Dorsey 2010 Annuity Trust, for which Mr. Dorsey serves as trustee, and (iii) 1,208,332 shares issuable
         pursuant to outstanding stock options which are exercisable within 60 days of August 31, 2013. Mr. Dorsey has granted Mr. Williams a proxy to vote the
         shares held by him as described in footnote 10 below. This voting proxy will terminate upon the completion of this offering.
(6)      The Chernin Group, LLC, for which Mr. Chernin serves as founder and chairman, holds RSUs, none of which will be vested within 60 days of August 31,
         2013.
(7)      Consists solely of shares issuable pursuant to outstanding stock options which are exercisable within 60 days of August 31, 2013.
(8)      Consists of (i) the shares listed in footnote        below which are held by Benchmark Capital Partners VI, L.P. and (ii) 1,688 shares held of record by the
         Fenton Family Trust, for which Mr. Fenton and his spouse serve as trustees. Mr. Fenton is a managing member of Benchmark Capital Management Co. VI,
         L.L.C., the general partner of Benchmark Capital Partners VI, L.P. and, therefore, may be deemed to hold voting and dispositive power over the shares held
         by Benchmark Capital Partners VI, L.P.
(9)      Consists solely of shares issuable pursuant to outstanding stock options which are exercisable within 60 days of August 31, 2013.
(10)     Consists of (i) 3,193,373 shares held of record by Mr. Williams, (ii) 617,229 shares held of record by the Williams 2010 Qualified Annuity Trust 1, for which
         Mr. Williams’ spouse serves as trustee, (iii) 617,229 shares held of record by the Williams 2010 Qualified Annuity Trust 2, for which Mr. Williams serves as
         trustee, (iv) 308,582 shares held of record by the

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       Williams 2010 Qualified Annuity Trust 3, for which Mr. Williams’ spouse serves as trustee, (v) 308,582 shares held of record by the Williams 2010 Qualified
       Annuity Trust 4, for which Mr. Williams’ spouse serves as trustee, (vi) 7,024,657 shares held of record by the Williams 2010 Qualified Annuity Trust 5, for
       which Mr. Williams’ spouse serves as trustee, (vii) 564,058 shares held of record by the Green Monster Trust dated November 7, 2012, for which the
       Goldman Sachs Trust Company serves as trustee, (viii) 9,143 shares held of record by Mr. Williams’ spouse and (ix) 44,266,994 shares held of record by
       Obvious, LLC, of which Mr. Williams is the sole member. Mr. Williams and Mr. Dorsey are parties to a voting agreement that will terminate in connection with
       this offering. Under this agreement, Mr. Dorsey granted Mr. Williams a proxy to vote the shares held by him or his transferees. In addition, Obvious, LLC is a
       party to certain voting agreements that will terminate upon the completion of this offering. Under these voting agreements, certain stockholders, including
       certain entities affiliated with Rizvi Traverse, have granted Obvious, LLC a proxy to vote certain shares held by them or their transferees. Since such voting
       agreements will terminate in connection with this offering, the table above does not reflect shares held by such stockholders as being beneficially owned by
       Mr. Williams.
(11)   Consists of (i)           shares held of record by our current directors and executive officers and (ii) 12,734,271 shares issuable pursuant to outstanding stock
       options which are exercisable within 60 days of August 31, 2013. Our current directors and executive officers also hold RSUs, none of which will be vested
       within 60 days of August 31, 2013.

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                                            DESCRIPTION OF CAPITAL STOCK

General

       The following description summarizes certain important terms of our capital stock, as they are expected to be in effect
immediately prior to the completion of this offering. We expect to adopt an amended and restated certificate of incorporation
and amended and restated bylaws in connection with the completion of this offering, and this description summarizes the
provisions that are expected to be included in such documents. Because it is only a summary, it does not contain all the
information that may be important to you. For a complete description of the matters set forth in this “Description of Capital
Stock,” you should refer to our amended and restated certificate of incorporation, amended and restated bylaws and amended
and restated investors’ rights agreement, which are included as exhibits to the registration statement of which this prospectus
forms a part, and to the applicable provisions of Delaware law. Immediately following the completion of this offering, our
authorized capital stock will consist of        shares of capital stock, $0.000005 par value per share, of which:
      Ÿ           shares are designated as common stock; and
      Ÿ           shares are designated as preferred stock.

        Assuming the conversion of all outstanding shares of our Class A junior preferred stock and our convertible preferred
stock into shares of our common stock, which will occur immediately prior to the completion of this offering, as of June 30,
2013, there were 472,613,753 shares of our common stock outstanding, held by 704 stockholders of record, and no shares of
our preferred stock outstanding. Our board of directors is authorized, without stockholder approval except as required by the
listing standards of the       , to issue additional shares of our capital stock.

Common Stock

Dividend Rights
      Subject to preferences that may apply to any shares of preferred stock outstanding at the time, the holders of our
common stock are entitled to receive dividends out of funds legally available if our board of directors, in its discretion,
determines to issue dividends and then only at the times and in the amounts that our board of directors may determine. See
the section titled “Dividend Policy” for additional information.

Voting Rights
       Holders of our common stock are entitled to one vote for each share held on all matters submitted to a vote of
stockholders. We have not provided for cumulative voting for the election of directors in our amended and restated certificate
of incorporation. Our amended and restated certificate of incorporation establishes a classified board of directors that is
divided into three classes with staggered three-year terms. Only the directors in one class will be subject to election by a
plurality of the votes cast at each annual meeting of stockholders, with the directors in the other classes continuing for the
remainder of their respective three-year terms.

No Preemptive or Similar Rights
       Our common stock is not entitled to preemptive rights, and is not subject to conversion, redemption or sinking fund
provisions.
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Right to Receive Liquidation Distributions
      If we become subject to a liquidation, dissolution or winding-up, the assets legally available for distribution to our
stockholders would be distributable ratably among the holders of our common stock and any participating preferred stock
outstanding at that time, subject to prior satisfaction of all outstanding debt and liabilities and the preferential rights of and the
payment of liquidation preferences, if any, on any outstanding shares of preferred stock.

Fully Paid and Non-Assessable
       All of the outstanding shares of our common stock are, and the shares of our common stock to be issued pursuant to
this offering will be, fully paid and non-assessable.

Preferred Stock

      Our board of directors is authorized, subject to limitations prescribed by Delaware law, to issue preferred stock in one or
more series, to establish from time to time the number of shares to be included in each series and to fix the designation,
powers, preferences and rights of the shares of each series and any of its qualifications, limitations or restrictions, in each
case without further vote or action by our stockholders. Our board of directors can also increase or decrease the number of
shares of any series of preferred stock, but not below the number of shares of that series then outstanding, without any further
vote or action by our stockholders. Our board of directors may authorize the issuance of preferred stock with voting or
conversion rights that could adversely affect the voting power or other rights of the holders of our common stock. The
issuance of preferred stock, while providing flexibility in connection with possible acquisitions and other corporate purposes,
could, among other things, have the effect of delaying, deferring or preventing a change in control of our company and might
adversely affect the market price of our common stock and the voting and other rights of the holders of our common stock. We
have no current plan to issue any shares of preferred stock.

Options

       As of June 30, 2013, we had outstanding options to purchase an aggregate of 44,157,061 shares of our common stock,
with a weighted-average exercise price of approximately $1.82 per share, under our equity compensation plans, the equity
compensation plans we assumed in connection with certain of our acquisitions and a stand-alone option agreement.

RSUs

       As of June 30, 2013, we had outstanding 59,913,992 shares of our common stock subject to RSUs, with a weighted-
average grant-date fair value of approximately $15.16 per share, under our 2007 Plan. Our outstanding Pre-2013 RSUs will
generally vest upon the satisfaction of both a service condition and a performance condition. For the majority of our
outstanding RSUs, the service condition will be satisfied as to 25% of the Pre-2013 RSUs upon completion of one year of
service measured from the vesting commencement date, and the balance will vest in 36 successive equal monthly
installments, subject to continued service through each such vesting date. The performance condition for the Pre-2013 RSUs
will be satisfied on the earlier of (i) the date that is the earlier of (x) six months after the effective date of this offering or
(y) March 8th of the calendar year following the effective date of this offering (which we may elect to accelerate to February
15th); and (ii) the date of a change in control. On February 13, 2013, we began granting RSUs to U.S. employees which did
not contain a performance condition; however, these RSUs contain a provision prohibiting settlement prior to August 15, 2014.
The majority of these Post-2013 RSUs vest over a service period of four years.
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Warrant

      As of June 30, 2013, we had an outstanding warrant to purchase up to 116,512 shares of our common stock, on an as-
converted basis, with an exercise price of $0.34 per share. This warrant is exercisable at any time on or before December 16,
2018.

Voting Agreements

       We have entered into voting agreements with RTLC II, LLC and Compliance Matter Services, LLC, under which these
stockholders have agreed to vote their shares of our capital stock as directed by, and have granted an irrevocable proxy to, an
officer appointed for the purpose of acting as a proxyholder by our board of directors at such officer’s discretion on matters to
be voted upon by stockholders, subject to certain limited exceptions. These voting agreements will remain in effect for a
period of 180 days after the date of this prospectus.

Registration Rights

        After the completion of this offering, certain holders of our common stock will be entitled to rights with respect to the
registration of their shares under the Securities Act. These registration rights are contained in our Amended and Restated
Investors’ Rights Agreement, or IRA, dated as of July 19, 2007, as most recently amended on November 14, 2011. We and
certain holders of our preferred stock are parties to the IRA. The registration rights set forth in the IRA will expire five years
following the completion of this offering, or, with respect to any particular stockholder, when such stockholder is able to sell all
of its shares pursuant to Rule 144 of the Securities Act or a similar exemption during any 90-day period. We will pay the
registration expenses (other than underwriting discounts, selling commissions and stock transfer taxes) of the holders of the
shares registered pursuant to the registrations described below. In an underwritten offering, the managing underwriter, if any,
has the right, subject to specified conditions, to limit the number of shares such holders may include. We expect that our
stockholders will waive their rights under the IRA (i) to notice of this offering and (ii) to include their registrable shares in this
offering. In addition, in connection with this offering, we expect that each stockholder that has registration rights will agree not
to sell or otherwise dispose of any securities without the prior written consent of the underwriters for a period of 180 days after
the date of this prospectus, subject to certain terms and conditions and early release of certain holders in specified
circumstances. See the section titled “Underwriters” for additional information regarding such restrictions.

Demand Registration Rights
        After the completion of this offering, the holders of up to approximately       shares of our common stock will be
entitled to certain demand registration rights. At any time beginning 180 days after the effective date of this offering, the
holders of at least 50% of these shares then outstanding can request that we register the offer and sale of their shares. We
are obligated to effect only two such registrations. Such request for registration must cover securities the anticipated
aggregate public offering price of which, before payment of underwriting discounts and commissions, is at least $20,000,000.
If we determine that it would be seriously detrimental to our stockholders to effect such a demand registration, we have the
right to defer such registration, not more than once in any 12-month period, for a period of up to 120 days.

Piggyback Registration Rights
      After the completion of this offering, if we propose to register the offer and sale of our common stock under the
Securities Act, in connection with the public offering of such common stock the holders
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of up to approximately             shares of our common stock (including 116,512 shares of our common stock, on an as-
converted basis, issuable upon the exercise of a warrant to purchase convertible preferred stock that was outstanding as of
June 30, 2013) will be entitled to certain “piggyback” registration rights allowing the holders to include their shares in such
registration, subject to certain marketing and other limitations. As a result, whenever we propose to file a registration
statement under the Securities Act, other than with respect to (1) a demand registration, (2) a Form S-3 registration, (3) a
registration related to any employee benefit plan or a corporate reorganization or other transaction covered by Rule 145
promulgated under the Securities Act or (4) a registration on any registration form which does not permit secondary sales or
does not include substantially the same information as would be required to be included in a registration statement covering
the public offering of our common stock, the holders of these shares are entitled to notice of the registration and have the
right, subject to certain limitations, to include their shares in the registration.

S-3 Registration Rights
        After the completion of this offering, the holders of up to approximately        shares of our common stock (including
116,512 shares of our common stock, on an as-converted basis, issuable upon the exercise of a warrant to purchase
convertible preferred stock that was outstanding as of June 30, 2013) will be entitled to certain Form S-3 registration rights.
The holders of at least 10% of these shares then outstanding may make a written request that we register the offer and sale of
their shares on a registration statement on Form S-3 if we are eligible to file a registration statement on Form S-3 so long as
the request covers securities the anticipated aggregate public offering price of which, before payment of underwriting
discounts and commissions, is at least $5,000,000. One of our stockholders and its affiliates may also request that we register
all or a portion of their shares on one occasion. These stockholders may make an unlimited number of requests for
registration on Form S-3; however, we will not be required to effect a registration on Form S-3 if we have effected two such
registrations within the 12-month period preceding the date of the request. Additionally, if we determine that it would be
seriously detrimental to our stockholders to effect such a registration, we have the right to defer such registration, not more
than once in any 12-month period, for a period of up to 120 days.

Anti-Takeover Provisions

      The provisions of Delaware law, our amended and restated certificate of incorporation and our amended and restated
bylaws, which are summarized below, may have the effect of delaying, deferring or discouraging another person from
acquiring control of our company. They are also designed, in part, to encourage persons seeking to acquire control of us to
negotiate first with our board of directors. We believe that the benefits of increased protection of our potential ability to
negotiate with an unfriendly or unsolicited acquirer outweigh the disadvantages of discouraging a proposal to acquire us
because negotiation of these proposals could result in an improvement of their terms.

Delaware Law
      We will be governed by the provisions of Section 203 of the Delaware General Corporation Law. In general, Section 203
prohibits a public Delaware corporation from engaging in a “business combination” with an “interested stockholder” for a
period of three years after the date of the transaction in which the person became an interested stockholder, unless:
      Ÿ the transaction was approved by the board of directors prior to the time that the stockholder became an interested
        stockholder;
      Ÿ upon consummation of the transaction which resulted in the stockholder becoming an interested stockholder, the
        interested stockholder owned at least 85% of the voting stock of the
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         corporation outstanding at the time the transaction commenced, excluding shares owned by directors who are also
         officers of the corporation and shares owned by employee stock plans in which employee participants do not have
         the right to determine confidentially whether shares held subject to the plan will be tendered in a tender or exchange
         offer; or
      Ÿ at or subsequent to the time the stockholder became an interested stockholder, the business combination was
        approved by the board of directors and authorized at an annual or special meeting of the stockholders, and not by
        written consent, by the affirmative vote of at least two-thirds of the outstanding voting stock which is not owned by
        the interested stockholder.

       In general, Section 203 defines a “business combination” to include mergers, asset sales and other transactions
resulting in financial benefit to a stockholder and an “interested stockholder” as a person who, together with affiliates and
associates, owns, or within three years did own, 15% or more of the corporation’s outstanding voting stock. These provisions
may have the effect of delaying, deferring or preventing changes in control of our company.

Amended and Restated Certificate of Incorporation and Amended and Restated Bylaw Provisions
       Our amended and restated certificate of incorporation and our amended and restated bylaws will include a number of
provisions that could deter hostile takeovers or delay or prevent changes in control of our board of directors or management
team, including the following:
       Board of Directors Vacancies. Our amended and restated certificate of incorporation and amended and restated
bylaws will authorize only our board of directors to fill vacant directorships, including newly created seats. In addition, the
number of directors constituting our board of directors will be permitted to be set only by a resolution adopted by a majority
vote of our entire board of directors. These provisions would prevent a stockholder from increasing the size of our board of
directors and then gaining control of our board of directors by filling the resulting vacancies with its own nominees. This will
make it more difficult to change the composition of our board of directors and will promote continuity of management.

      Classified Board. Our amended and restated certificate of incorporation and amended and restated bylaws will
provide that our board of directors is classified into three classes of directors. A third party may be discouraged from making a
tender offer or otherwise attempting to obtain control of us as it is more difficult and time consuming for stockholders to
replace a majority of the directors on a classified board of directors. See the section titled “Management—Classified Board of
Directors.”

       Stockholder Action; Special Meeting of Stockholders. Our amended and restated certificate of incorporation will
provide that our stockholders may not take action by written consent, but may only take action at annual or special meetings
of our stockholders. As a result, a holder controlling a majority of our capital stock would not be able to amend our amended
and restated bylaws or remove directors without holding a meeting of our stockholders called in accordance with our amended
and restated bylaws. Our amended and restated bylaws will further provide that special meetings of our stockholders may be
called only by a majority of our board of directors, the chairman of our board of directors, our Chief Executive Officer or our
President, thus prohibiting a stockholder from calling a special meeting. These provisions might delay the ability of our
stockholders to force consideration of a proposal or for stockholders controlling a majority of our capital stock to take any
action, including the removal of directors.

      Advance Notice Requirements for Stockholder Proposals and Director Nominations. Our amended and restated
bylaws will provide advance notice procedures for stockholders seeking to bring business before our annual meeting of
stockholders or to nominate candidates for election as directors
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at our annual meeting of stockholders. Our amended and restated bylaws will also specify certain requirements regarding the
form and content of a stockholder’s notice. These provisions might preclude our stockholders from bringing matters before our
annual meeting of stockholders or from making nominations for directors at our annual meeting of stockholders if the proper
procedures are not followed. We expect that these provisions may also discourage or deter a potential acquirer from
conducting a solicitation of proxies to elect the acquirer’s own slate of directors or otherwise attempting to obtain control of our
company.

       No Cumulative Voting. The Delaware General Corporation Law provides that stockholders are not entitled to cumulate
votes in the election of directors unless a corporation’s certificate of incorporation provides otherwise. Our amended and
restated certificate of incorporation does not provide for cumulative voting.

      Directors Removed Only for Cause. Our amended and restated certificate of incorporation will provide that
stockholders may remove directors only for cause.

      Amendment of Charter Provisions. Any amendment of the above provisions in our amended and restated certificate of
incorporation would require approval by holders of at least 80% of our then outstanding capital stock.

       Issuance of Undesignated Preferred Stock. Our board of directors will have the authority, without further action by our
stockholders, to issue up to         shares of undesignated preferred stock with rights and preferences, including voting
rights, designated from time to time by our board of directors. The existence of authorized but unissued shares of preferred
stock would enable our board of directors to render more difficult or to discourage an attempt to obtain control of us by means
of a merger, tender offer, proxy contest or other means.

Transfer Agent and Registrar

      Upon the completion of this offering, the transfer agent and registrar for our common stock will be            . The transfer
agent and registrar’s address is        .

Limitations of Liability and Indemnification

      See “Certain Relationships and Related Party Transactions—Limitation of Liability and Indemnification of Officers and
Directors.”

Listing

      We intend to apply for the listing of our common stock on the                 under the symbol “TWTR”.
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                                           SHARES ELIGIBLE FOR FUTURE SALE

       Prior to this offering, there has been no public market for our common stock, and we cannot predict the effect, if any,
that market sales of shares of our common stock or the availability of shares of our common stock for sale will have on the
market price of our common stock prevailing from time to time. Future sales of our common stock in the public market, or the
availability of such shares for sale in the public market, could adversely affect market prices prevailing from time to time. As
described below, only a limited number of shares of our common stock will be available for sale shortly after this offering due
to contractual and legal restrictions on resale. Nevertheless, sales of our common stock in the public market after such
restrictions lapse, or the perception that those sales may occur, could adversely affect the prevailing market price at such time
and our ability to raise equity capital in the future.

        Following the completion of this offering, based on the number of shares of our capital stock outstanding as of June 30,
2013, we will have a total of           shares of our common stock outstanding. Of these outstanding shares, all          shares
of our common stock sold in this offering will be freely tradable, except that any shares purchased in this offering by our
affiliates, as that term is defined in Rule 144 under the Securities Act, would only be able to be sold in compliance with the
Rule 144 limitations described below.

        The remaining outstanding shares of our common stock will be, and shares underlying outstanding RSUs and shares
subject to stock options will be upon issuance, deemed “restricted securities” as defined in Rule 144 under the Securities Act.
Restricted securities may be sold in the public market only if they are registered or if they qualify for an exemption from
registration under Rule 144 or Rule 701 under the Securities Act, which rules are summarized below. All of our executive
officers, directors and holders of substantially all of our capital stock and securities convertible into or exchangeable for our
capital stock have entered into market standoff agreements with us or will enter into lock-up agreements with the underwriters
under which they have agreed or will agree, subject to specific exceptions, not to sell any of our stock for 180 days following
the date of this prospectus. As a result of these agreements and the provisions of our IRA described above under the section
titled “Description of Capital Stock—Registration Rights,” and subject to the provisions of Rule 144 or Rule 701, shares of our
common stock will be available for sale in the public market as follows:
      Ÿ beginning on the date of this prospectus, all        shares of our common stock sold in this offering will be
        immediately available for sale in the public market;
      Ÿ beginning as early as February 15, 2014, up to an aggregate of            shares of our common stock that are held by
        our employees who are not executive officers may be eligible for sale in the public market in order to satisfy the
        income tax obligations of such employees resulting from the vesting and settlement of a portion of the outstanding
        Pre-2013 RSUs (or up to an aggregate of            shares of our common stock held by our employees who are not
        executive officers if we choose to undertake a net settlement of all of these awards to satisfy a portion of such
        income tax obligations); and
      Ÿ beginning 181 days after the date of this prospectus, the remainder of the shares of our common stock will be
        eligible for sale in the public market from time to time thereafter, subject in some cases to the volume and other
        restrictions of Rule 144, as described below.

Lock-Up Agreements

      We, our executive officers, directors and other holders of our capital stock and securities convertible into or
exchangeable for our capital stock have agreed or will agree that, subject to certain exceptions, for a period of 180 days after
the date of this prospectus, we and they will not, without the prior written consent of Goldman, Sachs & Co., dispose of or
hedge any shares or any securities
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convertible into or exchangeable for shares of our capital stock. Under the terms of the lock-up agreements, beginning
February 15, 2014, employees who are not executive officers may be eligible to sell up to an aggregate of           shares of
our common stock in the public market in order to satisfy the income tax obligations of such employees resulting from the
vesting and settlement of a portion of the outstanding Pre-2013 RSUs (or up to an aggregate of            shares of our common
stock held by our employees who are not executive officers if we choose to undertake a net settlement of all of these awards
to satisfy a portion of such income tax obligations). Goldman, Sachs & Co. may, in its discretion, release any of the securities
subject to these lock-up agreements at any time.

Rule 144

       In general, under Rule 144 as currently in effect, once we have been subject to the public company reporting
requirements of Section 13 or Section 15(d) of the Exchange Act for at least 90 days, a person who is not deemed to have
been one of our affiliates for purposes of the Securities Act at any time during the 90 days preceding a sale and who has
beneficially owned the shares of our common stock proposed to be sold for at least six months is entitled to sell those shares
without complying with the manner of sale, volume limitation or notice provisions of Rule 144, subject to compliance with the
public information requirements of Rule 144. If such a person has beneficially owned the shares proposed to be sold for at
least one year, including the holding period of any prior owner other than our affiliates, then that person would be entitled to
sell those shares without complying with any of the requirements of Rule 144.

       In general, under Rule 144, as currently in effect, our affiliates or persons selling shares of our common stock on behalf
of our affiliates are entitled to sell upon expiration of the market standoff agreements and lock-up agreements described
above, within any three-month period, a number of shares that does not exceed the greater of:
      Ÿ 1% of the number of shares of our capital stock then outstanding, which will equal approximately             shares
        immediately after this offering; or
      Ÿ the average weekly trading volume of our common stock during the four calendar weeks preceding the filing of a
        notice on Form 144 with respect to that sale.

      Sales under Rule 144 by our affiliates or persons selling shares of our common stock on behalf of our affiliates are also
subject to certain manner of sale provisions and notice requirements and to the availability of current public information about
us.

Rule 701

       Rule 701 generally allows a stockholder who purchased shares of our capital stock pursuant to a written compensatory
plan or contract and who is not deemed to have been an affiliate of our company during the immediately preceding 90 days to
sell these shares in reliance upon Rule 144, but without being required to comply with the public information, holding period,
volume limitation or notice provisions of Rule 144. Rule 701 also permits affiliates of our company to sell their Rule 701 shares
under Rule 144 without complying with the holding period requirements of Rule 144. All holders of Rule 701 shares, however,
are required to wait until 90 days after the date of this prospectus before selling those shares pursuant to Rule 701.

Registration Rights

       Pursuant to our IRA, the holders of up to approximately     shares of our common stock (including 116,512 shares
of our common stock, on an as-converted basis, issuable upon the exercise of a warrant to purchase convertible preferred
stock that was outstanding as of June 30, 2013), or their
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transferees, will be entitled to certain rights with respect to the registration of the offer and sale of those shares under the
Securities Act. See the section titled “Description of Capital Stock—Registration Rights” for a description of these registration
rights. If the offer and sale of these shares of our common stock are registered, the shares will be freely tradable without
restriction under the Securities Act, subject to the Rule 144 limitations applicable to affiliates, and a large number of shares
may be sold into the public market.

Registration Statement

       We intend to file a registration statement on Form S-8 under the Securities Act promptly after the completion of this
offering to register shares of our common stock subject to RSUs and options outstanding, as well as reserved for future
issuance, under our equity compensation plans and the equity compensation plans we assumed in connection with certain of
our acquisitions. The registration statement on Form S-8 is expected to become effective immediately upon filing, and shares
of our common stock covered by the registration statement will then become eligible for sale in the public market, subject to
the Rule 144 limitations applicable to affiliates, vesting restrictions and any applicable market standoff agreements and lock-
up agreements. See the section titled “Executive Compensation—Employee Benefit and Stock Plans” for a description of our
equity compensation plans.

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    MATERIAL U.S. FEDERAL INCOME TAX CONSEQUENCES TO NON-U.S. HOLDERS OF OUR COMMON STOCK

      The following is a summary of the material U.S. federal income tax consequences to non-U.S. holders (as defined
below) of the ownership and disposition of our common stock, but does not purport to be a complete analysis of all the
potential tax considerations relating thereto. This summary is based upon the provisions of the Code, Treasury regulations
promulgated thereunder, administrative rulings and judicial decisions, all as of the date hereof. These authorities may be
changed, possibly retroactively, so as to result in U.S. federal income tax consequences different from those set forth below.
We have not sought any ruling from the Internal Revenue Service, or the IRS, with respect to the statements made and the
conclusions reached in the following summary, and there can be no assurance that the IRS will agree with such statements
and conclusions.

       This summary also does not address the tax considerations arising under the laws of any non-U.S., state or local
jurisdiction or under U.S. federal gift and estate tax laws, except to the limited extent set forth below. In addition, this
discussion does not address the potential application of the Medicare contribution tax or any tax considerations applicable to
an investor’s particular circumstances or to investors that may be subject to special tax rules, including, without limitation:
      Ÿ banks, insurance companies or other financial institutions;
      Ÿ persons subject to the alternative minimum tax;
      Ÿ tax-exempt organizations;
      Ÿ controlled foreign corporations, passive foreign investment companies and corporations that accumulate earnings to
        avoid U.S. federal income tax;
      Ÿ dealers in securities or currencies;
      Ÿ traders in securities that elect to use a mark-to-market method of accounting for their securities holdings;
      Ÿ persons that own, or are deemed to own, more than 5% of our capital stock (except to the extent specifically set forth
        below);
      Ÿ certain former citizens or long-term residents of the United States;
      Ÿ persons who hold our common stock as a position in a hedging transaction, “straddle,” “conversion transaction” or
        other risk reduction transaction;
      Ÿ persons who do not hold our common stock as a capital asset within the meaning of Section 1221 of the Code; or
      Ÿ persons deemed to sell our common stock under the constructive sale provisions of the Code.

       In addition, if a partnership or entity classified as a partnership for U.S. federal income tax purposes holds our common
stock, the tax treatment of a partner generally will depend on the status of the partner and upon the activities of the
partnership. Accordingly, partnerships that hold our common stock, and partners in such partnerships, should consult their tax
advisors.

      You are urged to consult your tax advisor with respect to the application of the U.S. federal income tax laws to
your particular situation, as well as any tax consequences of the purchase, ownership and disposition of our
common stock arising under the U.S. federal estate or gift tax rules or under the laws of any state, local, non-U.S. or
other taxing jurisdiction or under any applicable tax treaty.

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Non-U.S. Holder Defined

       For purposes of this discussion, you are a non-U.S. holder, if you are any holder other than a partnership or other entity
classified as a partnership for U.S. federal income tax purposes, or:
      Ÿ an individual citizen or resident of the United States (for tax purposes);
      Ÿ a corporation or other entity taxable as a corporation created or organized in the United States or under the laws of
        the United States or any political subdivision thereof;
      Ÿ an estate whose income is subject to U.S. federal income tax regardless of its source; or
      Ÿ a trust (x) whose administration is subject to the primary supervision of a U.S. court and which has one or more U.S.
        persons who have the authority to control all substantial decisions of the trust or (y) which has made a valid election
        to be treated as a U.S. person.

Distributions

       We have not made any distributions on our common stock. However, if we do make distributions on our common stock,
those payments will constitute dividends for U.S. tax purposes to the extent paid from our current or accumulated earnings
and profits, as determined under U.S. federal income tax principles. To the extent those distributions exceed both our current
and our accumulated earnings and profits, they will constitute a return of capital and will first reduce your basis in our common
stock, but not below zero, and then will be treated as gain from the sale of stock.

        Any dividend paid to you generally will be subject to U.S. withholding tax either at a rate of 30% of the gross amount of
the dividend or such lower rate as may be specified by an applicable income tax treaty. In order to receive a reduced treaty
rate, you must provide us with an IRS Form W-8BEN or other appropriate version of IRS Form W-8, including a U.S. taxpayer
identification number, certifying qualification for the reduced rate. A non-U.S. holder of shares of our common stock eligible for
a reduced rate of U.S. withholding tax pursuant to an income tax treaty may obtain a refund of any excess amounts withheld
by filing an appropriate claim for refund with the IRS. If the non-U.S. holder holds the stock through a financial institution or
other agent acting on the non-U.S. holder’s behalf, the non-U.S. holder will be required to provide appropriate documentation
to the agent, which then will be required to provide certification to us or our paying agent, either directly or through other
intermediaries.

       Dividends received by you that are effectively connected with your conduct of a U.S. trade or business (and, if an
income tax treaty applies, that are attributable to a permanent establishment maintained by you in the U.S.), are exempt from
such withholding tax. In order to obtain this exemption, you must provide us with an IRS Form W-8ECI or other applicable IRS
Form W-8 properly certifying such exemption. Such effectively connected dividends, although not subject to withholding tax,
generally are taxed at the same graduated rates applicable to U.S. persons, net of certain deductions and credits. In addition,
if you are a corporate non-U.S. holder, dividends you receive that are effectively connected with your conduct of a U.S. trade
or business may also be subject to a branch profits tax at a rate of 30% or such lower rate as may be specified by an
applicable income tax treaty.

Gain on Disposition of Our Common Stock

       You generally will not be required to pay U.S. federal income tax on any gain realized upon the sale or other disposition
of our common stock unless:
      Ÿ the gain is effectively connected with your conduct of a U.S. trade or business (and, if an income tax treaty applies,
        the gain is attributable to a permanent establishment maintained by you in the United States);
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      Ÿ you are an individual who is present in the United States for a period or periods aggregating 183 days or more during
        the calendar year in which the sale or disposition occurs and certain other conditions are met; or
      Ÿ our common stock constitutes a U.S. real property interest by reason of our status as a “United States real property
        holding corporation,” or USRPHC, for U.S. federal income tax purposes at any time within the shorter of the five-year
        period preceding your disposition of, or your holding period for, our common stock.

      We believe that we are not currently and will not become a USRPHC. However, because the determination of whether
we are a USRPHC depends on the fair market value of our U.S. real property relative to the fair market value of our other
business assets, there can be no assurance that we will not become a USRPHC in the future. Even if we become a USRPHC,
however, as long as our common stock is regularly traded on an established securities market, such common stock will be
treated as U.S. real property interests only if you actually or constructively hold more than 5% of such regularly traded
common stock at any time during the shorter of the five-year period preceding your disposition of, or your holding period for,
our common stock.

       If you are a non-U.S. holder described in the first bullet above, you will be required to pay tax on the net gain derived
from the sale under regular graduated U.S. federal income tax rates, and a corporate non-U.S. holder described in the first
bullet above also may be subject to the branch profits tax at a 30% rate, or such lower rate as may be specified by an
applicable income tax treaty. If you are an individual non-U.S. holder described in the second bullet above, you will be
required to pay a flat 30% tax on the gain derived from the sale, which tax may be offset by U.S.-source capital losses for the
year. You should consult any applicable income tax or other treaties that may provide for different rules.

Federal Estate Tax

       Our common stock beneficially owned by an individual who is not a citizen or resident of the United States (as defined
for U.S. federal estate tax purposes) at the time of their death will generally be includable in the decedent’s gross estate for
U.S. federal estate tax purposes, unless an applicable estate tax treaty provides otherwise.

Backup Withholding and Information Reporting

     Generally, we must report annually to the IRS the amount of dividends paid to you, your name and address, and the
amount of tax withheld, if any. A similar report will be sent to you. Pursuant to applicable income tax treaties or other
agreements, the IRS may make these reports available to tax authorities in your country of residence.

       Payments of dividends on or of proceeds from the disposition of our common stock made to you may be subject to
additional information reporting and backup withholding at a current rate of 28% unless you establish an exemption, for
example, by properly certifying your non-U.S. status on a Form W-8BEN or another appropriate version of IRS Form W-8.
Notwithstanding the foregoing, backup withholding and information reporting may apply if either we or our paying agent has
actual knowledge, or reason to know, that you are a U.S. person.

       Backup withholding is not an additional tax; rather, the U.S. income tax liability of persons subject to backup withholding
will be reduced by the amount of tax withheld. If withholding results in an overpayment of taxes, a refund or credit may
generally be obtained from the IRS, provided that the required information is furnished to the IRS in a timely manner.

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Legislation Affecting Taxation of our Common Stock Held by or through Foreign Entities

       Legislation enacted in 2010 generally will impose a U.S. federal withholding tax of 30% on dividends on and the gross
proceeds of a disposition of our common stock, paid to a “foreign financial institution” (as specially defined under these rules),
unless such institution enters into an agreement with the U.S. government to withhold on certain payments and to collect and
provide to the U.S. tax authorities substantial information regarding the U.S. account holders of such institution (which
includes certain equity and debt holders of such institution, as well as certain account holders that are foreign entities with
U.S. owners) or otherwise establishes an exemption. The legislation also generally will impose a U.S. federal withholding tax
of 30% on dividends on and the gross proceeds of a disposition of our common stock paid to a non-financial foreign entity
unless such entity provides the withholding agent with a certification identifying certain substantial direct and indirect U.S.
owners of the entity, certifies that there are none or otherwise establishes an exemption. This withholding obligation under this
legislation with respect to dividends on our common stock will not begin until July 1, 2014 and with respect to the gross
proceeds of a sale or other disposition of our common stock will not begin until January 1, 2017. Under certain circumstances,
a non-U.S. holder might be eligible for refunds or credits of such taxes. An intergovernmental agreement between the United
States and an applicable foreign country may modify the requirements described in this paragraph. Prospective investors are
encouraged to consult with their own tax advisors regarding the possible implications of this legislation on their investment in
our common stock.

     Each prospective investor should consult its own tax advisor regarding the particular U.S. federal, state and local and
non-U.S. tax consequences of purchasing, holding and disposing of our common stock, including the consequences of any
proposed change in applicable laws.

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                                                          UNDERWRITING

      We and the underwriters named below will enter into an underwriting agreement with respect to the shares of our
common stock being offered. Subject to certain conditions, each underwriter will severally agree to purchase the number of
shares indicated in the following table. Goldman, Sachs & Co. is the representative of the underwriters.

                                                  Underwriters                                                        Number of Shares
Goldman, Sachs & Co.
Morgan Stanley & Co. LLC
J.P. Morgan Securities LLC
Merrill Lynch, Pierce, Fenner & Smith
            Incorporated
Deutsche Bank Securities Inc
Allen & Company LLC
Code Advisors LLC
      Total

      The underwriters will be committed to take and pay for all of the shares of our common stock being offered, if any are
taken, other than the shares of our common stock covered by the option described below unless and until this option is
exercised.

       The underwriters will have an option to buy up to an additional      shares of our common stock from us to cover
sales by the underwriters of a greater number of shares than the total number set forth in the table above. They may exercise
that option for 30 days. If any shares of our common stock are purchased pursuant to this option, the underwriters will
severally purchase shares of our common stock in approximately the same proportion as set forth in the table above.

      The following table shows the per share and total underwriting discounts and commissions to be paid to the
underwriters by us. Such amounts are shown assuming both no exercise and full exercise of the underwriters’ option to
purchase additional shares of our common stock.

                                                                                                       No Exercise          Full Exercise
Per Share                                                                                          $                    $
Total                                                                                              $                    $

       Shares of our common stock sold by the underwriters to the public will initially be offered at the initial public offering
price set forth on the cover of this prospectus. Any shares of our common stock sold by the underwriters to securities dealers
may be sold at a discount of up to $       per share from the initial public offering price. After the initial offering of the shares of
our common stock, the representative may change the offering price and the other selling terms. The offering of the shares of
our common stock by the underwriters is subject to receipt and acceptance and subject to the underwriters’ right to reject any
order in whole or in part.

       We and our officers, directors and other holders of our capital stock have agreed or will agree with the underwriters,
subject to certain exceptions, not to dispose of or hedge any of our capital stock or securities convertible into or exchangeable
for shares of our capital stock during the period from the date of this prospectus continuing through the date that is 180 days
after the date of this prospectus. Under the terms of the lock-up agreements, beginning February 15, 2014, employees who
are not executive officers may be eligible to sell up to an aggregate of        shares of our common stock in the public
market in order to satisfy the income tax obligations of such employees resulting
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from the vesting and settlement of a portion of the outstanding Pre-2013 RSUs (or up to an aggregate of             shares of our
common stock held by our employees who are not executive officers if we choose to undertake a net settlement of all of these
awards to satisfy a portion of such income tax obligations). Goldman, Sachs & Co. may, in its discretion, release any of the
securities subject to the lock-up agreements at any time. See the section titled “Shares Eligible for Future Sale” for a
discussion of certain transfer restrictions.

       Prior to this offering, there has been no public market for the shares of our common stock. The initial public offering
price has been negotiated between us and the representative. Among the factors considered in determining the initial public
offering price of the shares of our common stock, in addition to prevailing market conditions, were our historical performance,
estimates of our business potential and earnings prospects, an assessment of our management and the consideration of the
above factors in relation to market valuation of companies in related businesses.

      We intend to apply for the listing of our common stock on the          under the symbol “TWTR”.

       In connection with this offering, the underwriters may purchase and sell shares of our common stock in the open
market. These transactions may include short sales, stabilizing transactions and purchases to cover positions created by short
sales. Short sales involve the sale by the underwriters of a greater number of shares than they are required to purchase in the
offering. A “covered short position” is a short position that is not greater than the amount of additional shares for which the
underwriters’ option described above may be exercised. The underwriters may close out any covered short position by either
exercising their option to purchase additional shares of our common stock or purchasing shares in the open market. In
determining the source of shares of our common stock to close out the covered short position, the underwriters will consider,
among other things, the price of shares available for purchase in the open market as compared to the price at which they may
purchase additional shares pursuant to the option described above. “Naked” short sales are any short sales that create a
short position greater than the amount of additional shares for which the option described above may be exercised. The
underwriters must close out any naked short position by purchasing shares of our common stock in the open market. A naked
short position is more likely to be created if the underwriters are concerned that there may be downward pressure on the price
of our common stock in the open market after pricing that could adversely affect investors who purchase in the offering.
Stabilizing transactions consist of various bids for or purchases of our common stock made by the underwriters in the open
market prior to the completion of the offering.

       The underwriters may also impose a penalty bid. This occurs when a particular underwriter repays to the underwriters a
portion of the underwriting discount received by it because the representative has repurchased shares of our common stock
sold by or for the account of such underwriter in stabilizing or short covering transactions.

        Purchases to cover a short position and stabilizing transactions, as well as other purchases by the underwriters for their
own accounts, may have the effect of preventing or retarding a decline in the market price of our common stock, and together
with the imposition of the penalty bid, may stabilize, maintain or otherwise affect the market price of our common stock. As a
result, the price of our common stock may be higher than the price that otherwise might exist in the open market. If these
activities are commenced, they may be discontinued at any time. These transactions may be effected on the                    , in
the over-the-counter market or otherwise.

European Economic Area

      In relation to each Member State of the European Economic Area which has implemented the Prospectus Directive
(each, a Relevant Member State), each underwriter has represented and agreed
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that with effect from and including the date on which the Prospectus Directive is implemented in that Relevant Member State
(the Relevant Implementation Date) it has not made and will not make an offer of securities to the public in that Relevant
Member State prior to the publication of a prospectus in relation to the securities which has been approved by the competent
authority in that Relevant Member State or, where appropriate, approved in another Relevant Member State and notified to
the competent authority in that Relevant Member State, all in accordance with the Prospectus Directive, except that it may,
with effect from and including the Relevant Implementation Date, make an offer of securities to the public in that Relevant
Member State at any time:
              (a)     to legal entities which are authorised or regulated to operate in the financial markets or, if not so
                      authorised or regulated, whose corporate purpose is solely to invest in securities;
              (b)     to any legal entity which has two or more of (1) an average of at least 250 employees during the last
                      financial year; (2) a total balance sheet of more than €43,000,000 and (3) an annual net turnover of
                      more than €50,000,000, as shown in its last annual or consolidated accounts;
              (c)     to fewer than 100 natural or legal persons (other than qualified investors as defined in the Prospectus
                      Directive) subject to obtaining the prior consent of the representative for any such offer; or
              (d)     in any other circumstances which do not require the publication by the Issuer of a prospectus pursuant
                      to Article 3 of the Prospectus Directive.

       For the purposes of this provision, the expression an “offer of securities to the public” in relation to any securities in any
Relevant Member State means the communication in any form and by any means of sufficient information on the terms of the
offer and the securities to be offered so as to enable an investor to decide to purchase or subscribe for the securities, as the
same may be varied in that Relevant Member State by any measure implementing the Prospectus Directive in that Relevant
Member State and the expression Prospectus Directive means Directive 2003/71/EC and includes any relevant implementing
measure in each Relevant Member State.

United Kingdom

      Each underwriter has represented and agreed that:
              (a)     it has only communicated or caused to be communicated and will only communicate or cause to be
                      communicated an invitation or inducement to engage in investment activity (within the meaning of
                      Section 21 of the Financial Services and Markets Act 2000 (the “FSMA”)) received by it in connection
                      with the issue or sale of the securities in circumstances in which Section 21(1) of the FSMA does not
                      apply to the Issuer; and
              (b)     it has complied and will comply with all applicable provisions of the FSMA with respect to anything done
                      by it in relation to the securities in, from or otherwise involving the United Kingdom.

Hong Kong

       The securities may not be offered or sold by means of any document other than (i) in circumstances which do not
constitute an offer to the public within the meaning of the Companies Ordinance (Cap. 32, Laws of Hong Kong), (ii) to
“professional investors” within the meaning of the Securities and Futures Ordinance (Cap. 571, Laws of Hong Kong) and any
rules made thereunder or
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(iii) in other circumstances which do not result in the document being a “prospectus” within the meaning of the Companies
Ordinance (Cap. 32, Laws of Hong Kong), and no advertisement, invitation or document relating to the securities may be
issued or may be in the possession of any person for the purpose of issue (in each case whether in Hong Kong or elsewhere),
which is directed at, or the contents of which are likely to be accessed or read by, the public in Hong Kong (except if permitted
to do so under the laws of Hong Kong) other than with respect to securities which are or are intended to be disposed of only to
persons outside Hong Kong or only to “professional investors” within the meaning of the Securities and Futures Ordinance
(Cap. 571, Laws of Hong Kong) and any rules made thereunder.

Singapore

         This prospectus has not been registered as a prospectus with the Monetary Authority of Singapore. Accordingly, this
prospectus and any other document or material in connection with the offer or sale, or invitation for subscription or purchase,
of the securities may not be circulated or distributed, nor may the securities be offered or sold, or be made the subject of an
invitation for subscription or purchase, whether directly or indirectly, to persons in Singapore other than (i) to an institutional
investor under Section 274 of the Securities and Futures Act, Chapter 289 of Singapore (the “SFA”), (ii) to a relevant person,
or any person pursuant to Section 275(1A), and in accordance with the conditions, specified in Section 275 of the SFA or
(iii) otherwise pursuant to, and in accordance with the conditions of, any other applicable provision of the SFA.

        Where the securities are subscribed or purchased under Section 275 by a relevant person which is: (a) a corporation
(which is not an accredited investor) the sole business of which is to hold investments and the entire share capital of which is
owned by one or more individuals, each of whom is an accredited investor; or (b) a trust (where the trustee is not an
accredited investor) whose sole purpose is to hold investments and each beneficiary is an accredited investor, shares,
debentures and units of shares and debentures of that corporation or the beneficiaries’ rights and interest in that trust shall not
be transferable for 6 months after that corporation or that trust has acquired the securities under Section 275 except: (1) to an
institutional investor under Section 274 of the SFA or to a relevant person, or any person pursuant to Section 275(1A), and in
accordance with the conditions, specified in Section 275 of the SFA; (2) where no consideration is given for the transfer; or
(3) by operation of law.

Japan

       The securities have not been and will not be registered under the Financial Instruments and Exchange Law of Japan
(the Financial Instruments and Exchange Law) and each underwriter has agreed that it will not offer or sell any securities,
directly or indirectly, in Japan or to, or for the benefit of, any resident of Japan (which term as used herein means any person
resident in Japan, including any corporation or other entity organized under the laws of Japan), or to others for re-offering or
resale, directly or indirectly, in Japan or to a resident of Japan, except pursuant to an exemption from the registration
requirements of, and otherwise in compliance with, the Financial Instruments and Exchange Law and any other applicable
laws, regulations and ministerial guidelines of Japan.

       The underwriters do not expect sales to discretionary accounts to exceed 5% of the total number of securities offered.

      We estimate that our share of the total expenses of the offering, excluding underwriting discounts and commissions, will
be approximately $      .

       We have agreed to indemnify the several underwriters against certain liabilities, including liabilities under the Securities
Act.
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        The underwriters and their respective affiliates are full service financial institutions engaged in various activities, which
may include securities trading, commercial and investment banking, financial advisory, investment management, investment
research, principal investment, hedging, financing and brokerage activities. Certain of the underwriters and their respective
affiliates have, from time to time, performed, and may in the future perform, various financial advisory and investment banking
services for us, for which they received or will receive customary fees and expenses.

      In the ordinary course of their various business activities, the underwriters and their respective affiliates may make or
hold a broad array of investments and actively trade debt and equity securities (or related derivative securities) and financial
instruments (including bank loans) for their own account and for the accounts of their customers, and such investment and
securities activities may involve securities and/or instruments of us. The underwriters and their respective affiliates may also
make investment recommendations and/or publish or express independent research views in respect of such securities or
instruments and may at any time hold, or recommend to clients that they acquire, long and/or short positions in such securities
and instruments.

       Three funds and one discretionary client account managed by an affiliate of one of the underwriters beneficially own an
aggregate of 2,703,914 shares of our Series E preferred stock that they purchased from us in 2009. Such shares will convert
upon the closing of this offering into 2,703,914 shares of our common stock. In 2011, one of the underwriters arranged a loan
for one of our stockholders, most of which loan has since been syndicated to third parties. The loan is secured indirectly by
less than 5% of our outstanding capital stock. If the borrower were to default on its obligation to repay the loan when due, the
lenders would have the right to sell the shares securing the loan following the expiry of the lock-up applicable to our
stockholders as described above. Also in 2011, one of the underwriters acquired record ownership of 41,436 shares of our
common stock in connection with our acquisition of a private company in which such underwriter held an equity interest. Of
these shares, the underwriter beneficially owns 33,415 shares of our common stock and the remaining shares are beneficially
owned by certain of its employees. Also in 2011, a fund affiliated with one of the underwriters acquired 16,884 shares of our
common stock in connection with our acquisition of substantially all of the assets of a private company in which that
underwriter held an equity interest. In addition, in 2011, one of the underwriters received from one of our stockholders the right
to be paid an amount in cash pursuant to a formula designed to capture a portion of any increase in the value of a portion of
such stockholder’s investment in our common stock during the six-month period after this offering. At the estimated offering
price range set forth on the cover page of this prospectus, the underwriter would not be entitled to receive any cash
payment. In 2013, an employee of one of the underwriters invested $100,000 in a fund that owns shares of our common
stock. Certain of the underwriters and their respective affiliates also may have invested in funds that acquired our securities
prior to January 12, 2013.

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                                                       LEGAL MATTERS

       Wilson Sonsini Goodrich & Rosati, P.C., Palo Alto, California, which has acted as our counsel in connection with this
offering, will pass upon the validity of the shares of our common stock being offered by this prospectus. As of the date of this
prospectus, an investment fund associated with Wilson Sonsini Goodrich & Rosati, P.C. beneficially owns 8,904 shares of our
convertible preferred stock, which will be converted into 8,904 shares of our common stock upon completion of this offering.
The underwriters have been represented by Davis Polk & Wardwell LLP, Menlo Park, California.


                                                            EXPERTS

      The consolidated financial statements as of December 31, 2012 and 2011 and for each of the three years in the period
ended December 31, 2012 included in this prospectus have been so included in reliance on the report of
PricewaterhouseCoopers LLP, an independent registered public accounting firm, given on the authority of said firm as experts
in accounting and auditing.


                                    WHERE YOU CAN FIND ADDITIONAL INFORMATION

       We have filed with the SEC a registration statement on Form S-1 under the Securities Act with respect to the shares of
our common stock offered by this prospectus. This prospectus, which constitutes a part of the registration statement, does not
contain all of the information set forth in the registration statement, some of which is contained in exhibits to the registration
statement as permitted by the rules and regulations of the SEC. For further information with respect to us and our common
stock, we refer you to the registration statement, including the exhibits filed as a part of the registration statement. Statements
contained in this prospectus concerning the contents of any contract or any other document is not necessarily complete. If a
contract or document has been filed as an exhibit to the registration statement, please see the copy of the contract or
document that has been filed. Each statement is this prospectus relating to a contract or document filed as an exhibit is
qualified in all respects by the filed exhibit. You may obtain copies of this information by mail from the Public Reference
Section of the SEC, 100 F Street, N.E., Room 1580, Washington, D.C. 20549, at prescribed rates. You may obtain information
on the operation of the public reference rooms by calling the SEC at 1-800-SEC-0330. The SEC also maintains an Internet
website that contains reports, proxy statements and other information about issuers, like us, that file electronically with the
SEC. The address of that website is www.sec.gov.

       As a result of this offering, we will become subject to the information and reporting requirements of the Exchange Act
and, in accordance with this law, will file periodic reports, proxy statements and other information with the SEC. These
periodic reports, proxy statements and other information will be available for inspection and copying at the SEC’s public
reference facilities and the website of the SEC referred to above. We also maintain a website at www.twitter.com. Upon
completion of this offering, you may access these materials free of charge as soon as reasonably practicable after they are
electronically filed with, or furnished to, the SEC. Information contained on our website is not a part of this prospectus and the
inclusion of our website address in this prospectus is an inactive textual reference only.
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                         REPORT OF INDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM

To the Board of Directors and Stockholders of
Twitter, Inc.

In our opinion, the accompanying consolidated balance sheets and the related consolidated statements of operations,
comprehensive loss, redeemable convertible preferred stock, convertible preferred stock and stockholders’ deficit, and cash
flows present fairly, in all material respects, the financial position of Twitter, Inc. and its subsidiaries (the “Company”) at
December 31, 2012 and 2011, and the results of their operations and their cash flows for each of the three years in the period
ended December 31, 2012 in conformity with accounting principles generally accepted in the United States of America. In
addition, in our opinion, the accompanying financial statement schedule presents fairly, in all material respects, the information
set forth therein when read in conjunction with the related consolidated financial statements. These financial statements and
financial statement schedule are the responsibility of the Company’s management. Our responsibility is to express an opinion
on these financial statements and financial statement schedule based on our audits. We conducted our audits of these
statements in accordance with the standards of the Public Company Accounting Oversight Board (United States). Those
standards require that we plan and perform the audit to obtain reasonable assurance about whether the financial statements
are free of material misstatement. An audit includes examining, on a test basis, evidence supporting the amounts and
disclosures in the financial statements, assessing the accounting principles used and significant estimates made by
management, and evaluating the overall financial statement presentation. We believe that our audits provide a reasonable
basis for our opinion.

/s/ PricewaterhouseCoopers, LLP

San Jose, California

July 12, 2013
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                                                                      TWITTER, INC.
                                                       CONSOLIDATED BALANCE SHEETS
                                                        (In thousands, except par value)

                                                                                                                December 31,                       Pro forma
                                                                                                                                      June 30,   June 30, 2013
                                                                                                               2011         2012        2013        (Note 2)
                                                                                                                                             (Unaudited)
Assets
Current assets:
       Cash and cash equivalents                                                                           $218,996     $203,328      $164,509   $     164,509
       Short-term investments                                                                               330,543      221,528       210,549         210,549
       Accounts receivable, net of allowance for doubtful accounts of $1,828, $1,280 and $1,140 as of
           December 31, 2011 and 2012, and June 30, 2013, respectively                                       39,834      112,155       123,709         123,709
       Prepaid expenses and other current assets                                                              6,695       17,455        23,953          23,953
              Total current assets                                                                          596,068      554,466       522,720         522,720
Property and equipment, net                                                                                  61,983      185,574       242,553         242,553
Intangible assets, net                                                                                        6,418        3,753        14,439          14,439
Goodwill                                                                                                     36,761       68,813       163,715         163,715
Other assets                                                                                                 19,445       18,962        20,632          20,632
              Total assets                                                                                 $720,675     $831,568      $964,059   $     964,059
Liabilities, redeemable convertible preferred stock, convertible preferred stock and stockholders’
   equity (deficit)
Current liabilities:
        Accounts payable                                                                                   $    4,543   $     8,432   $ 10,421   $      10,421
        Accrued and other current liabilities                                                                  20,507        52,611     67,941          67,941
        Capital leases, short-term                                                                             22,694        48,836     61,538          61,538
                 Total current liabilities                                                                     47,744       109,879    139,900         139,900
Capital leases, long-term                                                                                      21,104        65,732     80,131          80,131
Long-term tax liabilities                                                                                      13,617        12,156     12,156          12,156
Other long-term liabilities                                                                                     4,926        19,437     23,711          14,976
                 Total liabilities                                                                             87,391       207,204    255,898         247,163
Commitments and contingencies (Note 16)
Redeemable convertible preferred stock:
        Class A junior preferred stock, $0.000005 par value—15,000 shares authorized; 135, 3,569 and
            3,524 shares issued and outstanding at December 31, 2011 and 2012, and June 30, 2013,
            respectively (aggregate liquidation preference of $135, $3,569 and $3,524 as of December 31,
            2011 and 2012, and June 30, 2013, respectively); no shares issued and outstanding, pro forma          49         37,106     37,106               —
Convertible preferred stock:
        Series A convertible preferred stock, $0.000005 par value—76,968 shares authorized; 76,968
            shares issued and outstanding at December 31, 2011 and 2012, and June 30, 2013 (aggregate
            liquidation preference of $86); no shares issued and outstanding, pro forma                           86            86         86                —
        Series B convertible preferred stock, $0.000005 par value—49,324 shares authorized; 49,324
            shares issued and outstanding at December 31, 2011 and 2012, and June 30, 2013 (aggregate
            liquidation preference of $5,480); no shares issued and outstanding, pro forma                      5,773         5,773      5,773               —
        Series C convertible preferred stock, $0.000005 par value—62,934 shares authorized; 62,817
            shares issued and outstanding at December 31, 2011 and 2012, and June 30, 2013 (aggregate
            liquidation preference of $21,566); no shares issued and outstanding, pro forma                    21,705        21,705     21,705               —

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                                                                                                           December 31,                         Pro forma
                                                                                                                                 June 30,     June 30, 2013
                                                                                                         2011         2012         2013          (Note 2)
                                                                                                                                         (Unaudited)
      Series D convertible preferred stock, $0.000005 par value—50,982 shares authorized;
         50,982 shares issued and outstanding at December 31, 2011 and 2012, and June 30,
         2013 (aggregate liquidation preference of $36,635); No shares issued and outstanding,
         pro forma                                                                                       36,440       36,440       36,440                 —
      Series E convertible preferred stock, $0.000005 par value—38,431 shares authorized;
         38,431 shares issued and outstanding at December 31, 2011 and 2012, and June 30,
         2013 (aggregate liquidation preference of $102,371); No shares issued and
         outstanding, pro forma                                                                         102,180      102,180      102,180                 —
      Series F convertible preferred stock, $0.000005 par value—26,198 shares authorized;
         26,198 shares issued and outstanding at December 31, 2011 and 2012, and June 30,
         2013 (aggregate liquidation preference of $200,000); No shares issued and
         outstanding, pro forma                                                                         199,843      199,843      199,843                 —
      Series G convertible preferred stock, $0.000005 par value—24,855 shares authorized;
         24,855 shares issued and outstanding at December 31, 2011 and 2012, and June 30,
         2013 (aggregate liquidation preference of $400,000); No shares issued and
         outstanding, pro forma                                                                         469,046      469,403      469,403                 —
              Total convertible preferred stock                                                         835,073      835,430      835,430                 —
Stockholders’ equity (deficit):
      Common stock, $0.000005 par value—600,000 shares authorized; 118,967, 125,597 and
         139,515 shares issued and outstanding as of December 31, 2011 and 2012, and June
         30, 2013, respectively; 472,614 shares issued and outstanding pro forma                               1            1            1                 2
      Additional paid-in capital                                                                          68,097      101,787      254,831         1,465,733
      Accumulated other comprehensive loss                                                                   (32)        (657)        (653)             (653)
      Accumulated deficit                                                                               (269,904)    (349,303)    (418,554)         (748,186)
      Total stockholders’ equity (deficit)                                                              (201,838)    (248,172)    (164,375)          716,896
              Total liabilities, redeemable convertible preferred stock, convertible preferred stock
                 and stockholders’ equity (deficit)                                                    $ 720,675    $ 831,568    $ 964,059    $     964,059




                         The accompanying notes are an integral part of these consolidated financial statements.
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                                                       TWITTER, INC.
                                     CONSOLIDATED STATEMENTS OF OPERATIONS
                                         (In thousands, except per share data)

                                                                   Year Ended December 31,                Six Months Ended June 30,
                                                            2010            2011           2012            2012              2013
                                                                                                                 (Unaudited)
Revenue                                                 $ 28,278        $ 106,313      $316,933       $ 122,359         $ 253,635
Costs and expenses
      Cost of revenue                                     43,168           61,803       128,768          58,157             91,828
      Research and development                            29,348           80,176       119,004          46,345           111,837
      Sales and marketing                                  6,289           25,988         86,551         34,105             77,697
      General and administrative                          16,952           65,757         59,693         30,758             35,096
            Total costs and expenses                      95,757          233,724       394,016         169,365           316,458
            Loss from operations                         (67,479)        (127,411)       (77,083)       (47,006)          (62,823)
Interest income (expense), net                                55             (805)        (2,486)          (890)            (2,746)
Other income (expense), net                                 (117)          (1,530)           399            (12)            (2,548)
            Loss before income taxes                     (67,541)        (129,746)       (79,170)       (47,908)           (68,117)
Provision (benefit) for income taxes                        (217)          (1,444)           229          1,196              1,134
            Net loss                                    $(67,324)       $(128,302)     $ (79,399)     $ (49,104)        $ (69,251)
Deemed dividend to investors in relation to the
   tender offer                                               —            35,816             —                 —                 —
Net loss attributable to common stockholders            $(67,324)       $(164,118)     $ (79,399)     $    (49,104)     $    (69,251)
Weighted-average shares used to compute net loss
   per share attributable to common stockholders:
            Basic and diluted                               75,992          102,544        117,401         114,825          129,853
Net loss per share attributable to common
   stockholders:
            Basic and diluted                           $    (0.89)     $     (1.60)   $     (0.68)   $       (0.43)    $       (0.53)
Pro forma net loss per share attributable to common
   stockholders (unaudited):
            Basic and diluted                                                          $     (0.18)                     $       (0.15)




                    The accompanying notes are an integral part of these consolidated financial statements.
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                                                       TWITTER, INC.
                               CONSOLIDATED STATEMENTS OF COMPREHENSIVE LOSS
                                                (In thousands)

                                                                Year Ended December 31,                Six Months Ended June 30,
                                                        2010             2011             2012          2012              2013
                                                                                                              (Unaudited)
Net loss                                             $(67,324)        $(128,302)      $(79,399)    $    (49,104)      $   (69,251)
Other comprehensive income (loss):
      Unrealized gain (loss) on investments in
         available-for-sale securities, net of tax             56            (43)            41              (2)               (32)
      Foreign currency translation adjustment                   7              5           (666)           (210)                36
Net change in accumulated other comprehensive
  loss                                                     63               (38)          (625)            (212)                4
      Comprehensive loss                             $(67,261)        $(128,340)      $(80,024)    $    (49,316)      $   (69,247)




                    The accompanying notes are an integral part of these consolidated financial statements.
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                                                                      TWITTER, INC.
CONSOLIDATED STATEMENTS OF REDEEMABLE CONVERTIBLE PREFERRED STOCK, CONVERTIBLE PREFERRED
                             STOCK AND STOCKHOLDERS’ DEFICIT
                                      (In thousands)

                                                                                                                                                 Six Months
                                                                                     Year Ended December 31,                                   Ended June 30,
                                                                           2010               2011                 2012                             2013
                                                                     Shares   Amount    Shares    Amount     Shares   Amount                  Shares   Amount
                                                                                                                                                 (Unaudited)
Redeemable convertible preferred stock
     Balance, beginning of period                                         —     $        —          —    $        —        135   $       49     3,569   $ 37,106
     Issuance of stock in connection with acquisitions                    —              —          —             —      2,621       35,501        —          —
     Issuance of restricted stock to employees in connection with
         acquisitions                                                     —              —        135            49        704       —             —        —
     Issuance of stock for other acquisition-related costs                —              —         —             —         121    1,556            —        —
     Forfeiture of restricted stock                                       —              —         —             —         (12)      —            (45)      —
             Balance, end of period                                       —     $        —        135    $       49      3,569 $ 37,106         3,524 $ 37,106
Convertible preferred stock
     Balance, beginning of period                                    286,086    $165,230       293,376   $279,534      329,575   $835,073     329,575   $835,430
     Conversion of Series A convertible preferred stock to
         common stock                                                 (9,604)           (10)        —             —         —            —         —          —
     Issuance of Series C convertible preferred stock in
         connection with acquisition                                   2,040           964          —             —         —            —         —          —
     Issuance of Series F convertible preferred stock, net of
         issuance costs of $50 and $107 during 2010 and 2011,
         respectively                                                 14,854        113,350     11,344        86,493        —            —         —          —
     Issuance of Series G convertible preferred stock, net of
         issuance costs of $1,487                                         —              —      24,855       398,513        —            —         —          —
     Series G convertible preferred stock issuance cost
         adjustment                                                       —           —             —          —            —         357          —          —
     Compensation for employees in relation to the tender offer           —           —             —      34,717           —          —           —          —
     Deemed dividend to investors in relation to the tender offer         —           —             —      35,816           —          —           —          —
             Balance, end of period                                  293,376    $279,534       329,575   $835,073      329,575   $835,430     329,575   $835,430
Stockholders’ deficit
Common stock
      Balance, beginning of period                                    72,654    $        1      96,463   $        1    118,967   $       1    125,597   $     1
      Issuance of common stock in connection with acquisitions         2,495             —       2,279            —        632           —      6,254         —
      Issuance of restricted stock to employees in connection with
          acquisitions                                                  720              —       1,302            —       903            —      3,230         —
      Issuance of stock for other acquisition-related costs              —               —          59            —        42            —         33         —
      Conversion of Series A convertible preferred stock to
          common stock                                                 9,604             —          —             —         —            —         —          —
      Purchase of restricted stock by employees at fair value            840             —          —             —         —            —         —          —
      Exercise of stock options                                       10,398             —      19,408            —      5,577           —      4,523         —
      Repurchase of unvested early-exercised stock options                —              —         (98)           —       (142)          —        (39)        —
      Forfeiture of restricted stock                                    (248)            —        (446)           —       (382)          —        (83)        —
              Balance, end of period                                  96,463 $           1     118,967 $          1    125,597 $         1    139,515 $       1

                        The accompanying notes are an integral part of these consolidated financial statements.
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                                                                                                                                                Six Months
                                                                                         Year Ended December 31,                              Ended June 30,
                                                                               2010               2011                 2012                         2013
                                                                        Shares    Amount   Shares    Amount     Shares    Amount             Shares    Amount
                                                                                                                                                (Unaudited)
Additional paid-in capital
       Balance, beginning of period                                         —    $   5,303         —    $ 15,286           —    $ 68,097          —    $ 101,787
       Issuance of common stock in connection with acquisitions             —        1,462         —      18,496           —      11,626          —      109,945
       Issuance of restricted stock to employees in connection
           with acquisitions                                                —          133         —         1,773         —        3,815         —        12,465
       Issuance of stock for other acquisition-related costs                —                      —           104         —          773         —           722
       Conversion of Series A convertible preferred stock to
           common stock                                                     —           10         —            —          —           —          —            —
       Purchase of restricted stock by employees at fair value              —          707         —            —          —           —          —            —
       Exercise of stock options                                            —        1,873         —        10,480         —        2,317         —         5,769
       Repurchase of unvested early-exercised stock options                 —           —          —          (173)        —           (5)        —           (71)
       Reclassification of early-exercise liability relating to stock
           options                                                          —          —           —      (3,881)          —          (14)        —           —
       Vesting of early exercised shares                                    —          —           —       1,579           —        1,126         —          348
       Stock-based compensation for employees                               —       4,764          —      18,855           —       13,267         —       23,280
       Stock-based compensation for non-employees                           —       1,034          —       5,578           —          785         —          586
       Balance, end of period                                               —    $ 15,286          —    $ 68,097           —    $ 101,787         —    $ 254,831
Accumulated other comprehensive loss
       Balance, beginning of period                                         —    $     (57)        —    $        6         —    $     (32)        —    $     (657)
       Comprehensive income (loss)                                          —           63         —           (38)        —         (625)        —             4
       Balance, end of period                                               —    $       6         —    $      (32)        —    $    (657)        —    $     (653)
Accumulated deficit
       Balance, beginning of period                                         —    $ (38,462)        —    $(105,786)         —    $(269,904)        —    $(349,303)
       Net loss                                                             —      (67,324)        —     (128,302)         —      (79,399)        —      (69,251)
       Deemed dividend to investors in relation to the tender offer         —           —          —      (35,816)         —           —          —           —
       Balance, end of period                                               —    $(105,786)        —    $(269,904)         —    $(349,303)        —    $(418,554)
Total stockholders’ deficit                                             96,463   $ (90,493)   118,967   $(201,838)    125,597   $(248,172)   139,515   $(164,375)




                         The accompanying notes are an integral part of these consolidated financial statements.

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                                                                        TWITTER, INC.
                                                CONSOLIDATED STATEMENTS OF CASH FLOWS
                                                             (In thousands)

                                                                                                                                                     Six Months Ended
                                                                                                       Year Ended December 31,                            June 30,
                                                                                                    2010        2011        2012                     2012          2013
                                                                                                                                                        (Unaudited)
Cash flows from operating activities
Net loss                                                                                        $ (67,324)     $(128,302)       $ (79,399)      $ (49,104)      $ (69,251)
Adjustments to reconcile net loss to net cash provided by (used in) operating activities:
       Depreciation and amortization                                                                 10,364          24,192          72,506          31,549          48,647
       Stock-based compensation expense                                                               5,931          60,384          25,741          16,127          35,568
       Provision for bad debt                                                                            —            1,828           1,844             435             245
       Deferred income tax benefit                                                                     (220)         (2,252)         (1,098)           (133)           (508)
       Non-cash acquisition-related costs                                                                —               —            1,715           1,025             566
       Amortization of investment premium and other                                                   1,673           2,739           4,102           2,426           3,045
       Changes in assets and liabilities, net of assets acquired and liabilities assumed from
           acquisitions:
              Accounts receivable                                                                    (4,838)        (33,023)         (73,898)        (35,566)        (11,349)
              Prepaid expenses and other assets                                                      (1,994)         (2,597)          (6,691)         (5,896)         (5,301)
              Accounts payable                                                                        1,497            (918)           2,931           1,401          (1,923)
              Accrued and other liabilities                                                           6,174           7,352           24,312          14,742           9,920
                      Net cash provided by (used in) operating activities                           (48,737)        (70,597)         (27,935)        (22,994)          9,659
Cash flows from investing activities
Purchases of property and equipment, net of proceeds from sales                                      (5,692)         (11,546)        (50,599)        (26,533)        (26,761)
Purchases of marketable securities                                                                  (47,681)       (487,595)        (542,638)       (359,351)       (235,625)
Proceeds from maturities of marketable securities                                                   103,878         178,540          621,049         342,318         220,346
Proceeds from sales of marketable securities                                                             —            19,277          26,300           6,502          24,300
Restricted cash                                                                                          —            (4,645)         (3,143)         (1,908)         (2,412)
Business combinations, net of cash acquired                                                          (1,531)        (18,906)          (1,526)            327          (2,322)
                      Net cash provided by (used in) investing activities                            48,974        (324,875)          49,443         (38,645)        (22,474)
Cash flows from financing activities
Repayments of capital lease obligations                                                              (1,615)       (15,103)          (39,436)        (15,195)        (31,068)
Proceeds from issuances of convertible preferred stock, net of issuance costs                       113,350        485,006                —               —               —
Proceeds from exercise of stock options and sales of restricted stock to employees at fair
   value, net of repurchase                                                                        2,580          10,307            2,312           1,044           5,698
                      Net cash provided by (used in) financing activities                        114,315         480,210          (37,124)        (14,151)        (25,370)
                      Net increase (decrease) in cash and cash equivalents                       114,552       $ 84,738         $ (15,616)      $ (75,790)      $ (38,185)
                      Foreign exchange effect on cash and cash equivalents                             7               5              (52)            (23)           (634)
                      Cash and cash equivalents at beginning of period                          $ 19,694       $ 134,253        $ 218,996       $ 218,996       $ 203,328
                      Cash and cash equivalents at end of period                                $134,253       $ 218,996        $ 203,328       $ 143,183       $ 164,509
Supplemental cash flow data
      Interest paid in cash                                                                     $      244     $      1,457     $      3,126    $      1,098    $      3,048
Supplemental disclosures of non-cash investing and financing activities
      Common and convertible preferred stock issued in connection with acquisitions             $ 2,426        $ 18,496         $ 47,127        $ 35,640        $ 109,945
      Equipment purchases under capital leases                                                  $ 22,616       $ 37,882         $ 110,206       $ 41,431        $ 58,757
      Accrued equipment purchases                                                               $     —        $ 5,049          $ 15,734        $ 23,611        $ 9,331
      Deemed dividend to investors in relation to the tender offer                              $     —        $ 35,816         $      —        $     —         $      —
      Unpaid deferred offering costs                                                            $     —        $     —          $      —        $     —         $ 1,600

                         The accompanying notes are an integral part of these consolidated financial statements.

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                                                         TWITTER, INC.
                                   NOTES TO CONSOLIDATED FINANCIAL STATEMENTS

Note 1. The Company
       Twitter, Inc. (“Twitter” or the “Company”) was founded in 2007, and is headquartered in San Francisco, California.
Twitter is a public platform where any user can create a Tweet and any user can follow other users. Each Tweet is limited to
140 characters of text, but can also contain rich media, including photos, videos and applications.

Note 2. Summary of Significant Accounting Policies
Basis of Presentation
       The consolidated financial statements include the accounts of the Company and its wholly owned subsidiaries. All
significant intercompany accounts and transactions have been eliminated in consolidation.

       In May 2010 and May 2011, the Company declared a three-for-one and two-for-one stock split, respectively, for all
preferred and common shares then issued and outstanding. All information related to common stock, preferred stock, stock
options and a warrant to purchase preferred stock has been retroactively adjusted to give effect to the stock splits.

Use of Estimates
         The preparation of the Company’s consolidated financial statements in conformity with generally accepted accounting
principles in the United States of America (U.S. GAAP) requires management to make estimates and assumptions that affect
the reported amounts of assets, liabilities, revenue and expenses, as well as related disclosure of contingent assets and
liabilities. Actual results could differ materially from the Company’s estimates. To the extent that there are material differences
between these estimates and actual results, the Company’s financial condition or operating results will be affected. The
Company bases its estimates on past experience and other assumptions that the Company believes are reasonable under the
circumstances, and the Company evaluates these estimates on an ongoing basis.

Unaudited Interim Consolidated Financial Statements
      The accompanying interim consolidated balance sheet as of June 30, 2013, and the consolidated statements of
operations, comprehensive loss and cash flows for the six months ended June 30, 2012 and 2013 and the consolidated
statement of redeemable convertible preferred stock, convertible preferred stock and stockholders’ deficit for the six months
ended June 30, 2013 and the related footnote disclosures are unaudited. These unaudited interim consolidated financial
statements have been prepared in accordance with U.S. GAAP. The unaudited interim consolidated financial statements have
been prepared on the same basis as the audited financial statements and reflect, in management’s opinion, include all
adjustments of a normal, recurring nature that are necessary for the fair statement of the Company’s financial position as of
June 30, 2013 and its consolidated results of operations and cash flows for the six months ended June 30, 2012 and 2013.
The results for the six months ended June 30, 2013 are not necessarily indicative of the results expected for the full fiscal year
or any other period.
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Unaudited Pro Forma Consolidated Balance Sheet
      Upon the consummation of the initial public offering contemplated by the Company, all of the outstanding shares of
redeemable convertible preferred stock and convertible preferred stock will automatically convert into 333.1 million shares of
common stock. The unaudited pro forma consolidated balance sheet as of June 30, 2013 has been prepared assuming the
conversion of the Class A junior preferred stock and the convertible preferred stock into common stock. This pro forma
adjustment also gives effect to reclassification of restricted Class A junior preferred stock and the preferred stock warrant,
which are currently classified as liabilities, to stockholders’ deficit.

        The unaudited pro forma balance sheet also gives effect to approximately $329.6 million of stock-based compensation
expense associated with the Pre-2013 RSUs, which the Company expects to record upon the completion of the Company’s
initial public offering. This amount relates to Pre-2013 RSUs for which both the service condition was satisfied as of June 30,
2013, as the performance condition would become probable as of June 30, 2013, assuming the completion of an initial public
offering as of that day. Refer to the Stock-Based Compensation Expense section of this note for further details. This pro forma
adjustment related to stock-based compensation expense has been reflected as an increase to additional paid-in capital and
accumulated deficit. Approximately 8.3 million shares of Pre-2013 RSUs earned as of June 30, 2013 have not been included
in the pro forma balance sheet disclosure of shares outstanding as the settlement of these shares is taking place subsequent
to the effective date of the initial public offering. Payroll tax expenses and other withholding obligations have not been
included in the pro forma adjustments. Pre-2013 RSU holders generally will incur taxable income based upon the value of the
shares on the date they are settled and the Company is required to withhold taxes on such value at applicable minimum
statutory rates. The Company currently expects that the average of these withholding rates will be approximately 40%. The
Company is unable to quantify these obligations as of June 30, 2013 and will remain unable to quantify this amount until the
settlement of the Pre-2013 RSUs as the withholding obligations will be based on the value of the shares on the date that is the
earlier of (i) six months after the date of the Company’s initial public offering and (ii) March 8th of the calendar year following
the effective date of the Company’s initial public offering.

Revenue Recognition
        The Company generates revenue principally from the sale of advertising services and, to a lesser extent, from entering
into data licensing arrangements. The Company’s advertising services include three primary products: (i) Promoted Tweets,
(ii) Promoted Accounts and (iii) Promoted Trends. Promoted Tweets and Promoted Accounts are pay-for-performance
advertising products priced through an auction. Promoted Trends are featured by geography and offered on a fixed-fee-per-
day basis. Advertisers are obligated to pay when a user engages with a Promoted Tweet or follows a Promoted Account or
when a Promoted Trend is displayed. Users engage with Promoted Tweets by clicking on a link in a Promoted Tweet,
expanding, retweeting, favoriting or replying to a Promoted Tweet or following the account that tweets a Promoted Tweet.
These products may be sold in combination as a multiple element arrangement or separately on a stand-alone basis. Fees for
these advertising services are recognized in the period when advertising is delivered as evidenced by a user engaging with a
Promoted Tweet, as captured by a click, following a Promoted Account or through the display of a Promoted Trend on the
Company’s platform. Data licensing revenue is generated based on monthly service fees charged to the data partners over
the period in which the Company’s data is made available to them.

      Revenue is recognized only when (1) persuasive evidence of an arrangement exists; (2) the price is fixed or
determinable; (3) the service is performed; and (4) collectability of the related fee is reasonably assured. While the majority of
the Company’s revenue transactions are based on standard business terms and conditions, the Company also enters into
non-standard sales agreements with advertisers and data partners that sometimes involve multiple elements.
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       For arrangements involving multiple deliverables, judgment is required to determine the appropriate accounting,
including developing an estimate of the stand-alone selling price of each deliverable. When neither vendor-specific objective
evidence nor third-party evidence of selling price exists, the Company uses its best estimate of selling price (BESP) to
allocate the arrangement consideration on a relative selling price basis to each deliverable. The objective of BESP is to
determine the selling price of each deliverable when it is sold to advertisers on a stand-alone basis. In determining BESPs,
the Company takes into consideration various factors, including, but not limited to, prices the Company charges for similar
offerings, sales volume, geographies, pricing strategies and market conditions. Multiple deliverable arrangements primarily
consist of combinations of the Company’s pay-for-performance products, Promoted Tweets and Promoted Accounts, which
are priced through an auction, and Promoted Trends, which are priced on a fixed-fee-per day per geography basis. For
arrangements that include a combination of these products, the Company develops an estimate of the selling price for these
products in order to allocate any potential discount to all advertising products in the arrangement. The estimate of selling price
for pay-for-performance products is determined based on the winning bid price; the estimate of selling price for Promoted
Trends is based on Promoted Trends sold on a stand-alone basis and/or separately priced in a bundled arrangement by
reference to a list price by geography which is approved periodically. The Company believes the use of BESP results in
revenue recognition in a manner consistent with the underlying economics of the transaction and allocates the arrangement
consideration on a relative selling price basis to each deliverable.

Cost of Revenue
       Cost of revenue consists primarily of data center costs related to the Company’s co-located facilities, which includes
lease and hosting costs, related support and maintenance costs and energy and bandwidth costs, as well as depreciation of
its servers and networking equipment, networking costs and personnel-related costs, including salaries, benefits and stock-
based compensation, for its operations teams. Cost of revenue also includes allocated facilities and other supporting
overhead costs, amortization expense of technology acquired through acquisitions and capitalized labor costs.

Stock-Based Compensation Expense
       The Company accounts for stock-based compensation expense under the fair value recognition and measurement
provisions of U.S. GAAP.

       Stock-based compensation awards granted to employees are measured based on the grant-date fair value with the
resulting expense recognized over the respective period during which the award recipient is required to provide service.

      The Company estimates the fair value of stock options granted using the Black-Scholes option pricing model on the
dates of grant. Calculating the fair value of stock options using the Black-Scholes model requires various highly judgmental
assumptions including the expected term of the stock options and stock price volatility. The Company estimates the expected
term of stock options granted based on the simplified method. The Company estimates the expected volatility of its common
stock on the dates of grant based on the average historical stock price volatility of a group of its comparable, publicly-traded
companies in its industry. The risk-free interest rate is based on the U.S. Treasury yield curve in effect at the time of grant.
Expected dividend yield is 0% as the Company has not paid and does not anticipate paying dividends on the common stock.
In addition, the Company is required to estimate the expected forfeiture rate and only recognize expense for those shares
expected to vest. The Company estimates the forfeiture rate based on the historical experience of the Company’s stock-based
awards that are granted and forfeited prior to vesting.

      The fair value of stock options granted to non-employees, including consultants, is initially measured on the grant date
and remeasured each reporting period based on the same methodology

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described above. Stock-based compensation expense is recorded net of estimated forfeiture on a straight-line basis over the
requisite service period. The stock options granted have a contractual term of ten years and generally vest over four years.

       The Company has historically issued restricted Class A junior preferred stock and common stock subject to a lapsing
right of repurchase to continuing employees of certain acquired companies. Since these issuances are subject to post-
acquisition employment, the Company has accounted for them as post-acquisition stock-based compensation expense. Since
the restricted Class A junior preferred stock contain certain redemption features, they are liability-classified on the
consolidated balance sheets, and their fair value is remeasured each reporting period. Refer to Note 10—Redeemable
Convertible Preferred Stock for further details on Class A junior preferred stock’s redemption and other features, and Note 5—
Fair Value Measurement for a description of valuation estimates. The restricted common stock are equity classified and
valued based on the fair value on the date of issuance. Stock-based compensation expense for these shares is recorded on a
straight-line basis over the requisite service period, net of estimated forfeiture.

       Pre-2013 RSUs, as defined and further described in Note 12—Common Stock and Stockholders’ Deficit, vest upon
satisfaction of both a service condition and a performance condition. The service condition for these awards is generally
satisfied over four years. The performance condition is satisfied upon the occurrence of a qualifying liquidity event, defined as
the earlier of (i) the date that is the earlier of (x) six months after the effective date of this offering or (y) March 8th of the
calendar year following the effective date of this offering; and (ii) the date of a change in control. Pre-2013 RSUs for which the
service condition has been satisfied are not forfeitable should employment terminate prior to the performance condition being
satisfied. In addition, the vesting condition that will be satisfied subsequent to the Company’s initial public offering does not
affect the expense attribution period for the RSUs for which the service condition has been satisfied as of the effective date of
the initial public offering. As of June 30, 2013, the Company had not recognized any stock-based compensation expense for
the Pre-2013 RSUs, because a qualifying event as described above had not occurred. Although the performance condition for
the Pre-2013 RSUs is satisfied on a date subsequent to the initial public offering, because the satisfaction of the performance
condition becomes probable upon the completion of the Company’s initial public offering for the Pre-2013 RSUs for which the
service condition has been satisfied as of such date, the Company will record a significant cumulative stock-based
compensation expense for these RSUs in the quarter in which the qualifying event occurs, using the accelerated attribution
method. The remaining unrecognized stock-based compensation expense related to the Pre-2013 RSUs will be recorded over
the remaining requisite service period using the accelerated attribution method, net of estimated forfeitures. The stock-based
compensation expense for RSUs is measured based on the grant-date fair value.

       Post-2013 RSUs, as defined and further described in Note 12—Common Stock and Stockholders’ Deficit, are not
subject to a performance condition in order to vest. The service condition for these awards is generally satisfied over four
years. The compensation expense related to these RSUs is based on the grant-date fair value and is recognized on a
straight-line basis, net of estimated forfeitures, over the requisite service period.

Acquisitions
       The Company accounts for acquisitions of entities that include inputs and processes and have the ability to create
outputs as business combinations in accordance with Accounting Standards Codification (“ASC”) Topic 805 Business
Combinations. The purchase price of the acquisition is allocated to the tangible and intangible assets acquired and liabilities
assumed based on their estimated fair values at the acquisition dates. The excess of the purchase price over those fair values
is recorded as goodwill. During the measurement period, which may be up to one year from the

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acquisition date, the Company may record adjustments to the assets acquired and liabilities assumed with the corresponding
offset to goodwill. Upon the conclusion of the measurement period or final determination of the values of assets acquired or
liabilities assumed, whichever comes first, any subsequent adjustments are recorded to the consolidated statements of
operations.

      Costs to exit or restructure certain activities of an acquired company or the Company’s internal operations are
accounted for as one-time termination and exit costs and are accounted for separately from the business combination.
Restructuring and other acquisition-related costs are expensed as incurred.

Operating and Capital Leases
       The Company leases office space and data center facilities under operating leases. Certain lease agreements contain
free or escalating rent payment provisions. The Company recognizes rent expense under such leases on a straight-line basis
over the term of the lease. Lease renewal periods are considered on a lease-by-lease basis in determining the lease term.

       The Company also enters into server and networking equipment lease arrangements with original lease terms ranging
from two to four years. The classification of each lease arrangement is determined in accordance with the criteria outlined in
ASC Topic 840 Leases. The Company’s server and networking equipment leases typically are accounted for as capital leases
as they meet one or more of the four capital lease classification criteria. Assets acquired under capital leases are amortized
over the shorter of the remaining lease term or their estimated useful life, which is generally two to four years. As of
December 31, 2011 and 2012, and June 30, 2013, the Company had capital lease obligations included in short-term and long-
term capital lease obligations in the consolidated balance sheets of $43.8 million, $114.6 million, and $141.7 million,
respectively. In the years ended December 31, 2010, 2011 and 2012, the Company recorded approximately $0.3 million,
$1.3 million and $3.1 million, respectively, of interest expense in relation to these capital lease arrangements. In the six
months ended June 30, 2012 and 2013, the Company recorded $1.1 million and $3.0 million of interest expense, respectively.

Cash, Cash Equivalents and Investments
      The Company invests its excess cash primarily in short-term interest-bearing obligations, including government and
investment-grade debt securities and money market funds. The Company classifies all liquid investments with stated
maturities of three months or less from date of purchase as cash equivalents and all liquid investments with stated maturities
of greater than three months from the date of purchase as marketable securities.

        The Company determines the appropriate classification of its investments in marketable securities at the time of
purchase and reevaluates such designation at each balance sheet date. The Company has classified and accounted for its
marketable securities as available-for-sale. After consideration of the Company’s capital preservation objectives, as well as its
liquidity requirements, the Company may sell securities prior to their stated maturities. The Company classifies securities with
stated maturities of 12 months or greater as long-term investments in the consolidated balance sheets. As of December 31,
2011 and 2012 and June 30, 2013, the Company did not hold any long-term investments. The Company carries its available-
for-sale securities at fair value, and reports the unrealized gains and losses, net of taxes, as a component of stockholders’
deficit, except for unrealized losses determined to be other than temporary which are recorded as other income (expense),
net. The Company determines any realized gains or losses on the sale of marketable securities on a specific identification
method and records such gains and losses as a component of other income (expense), net.
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       The Company evaluates the investments periodically for possible other-than-temporary impairment. A decline in fair
value below the amortized costs of debt securities is considered an other-than-temporary impairment if the Company has the
intent to sell the security or it is more likely than not that the Company will be required to sell the security before recovery of
the entire amortized cost basis. In those instances, an impairment charge equal to the difference between the fair value and
the amortized cost basis is recognized in earnings. Regardless of the Company’s intent or requirement to sell a debt security,
impairment is considered other-than-temporary if the Company does not expect to recover the entire amortized cost basis.

Concentration of Credit Risk
       Financial instruments that potentially subject the Company to significant concentration of credit risk consist primarily of
cash, cash equivalents, marketable securities and accounts receivable. The primary focus of the Company’s investment
strategy is to preserve capital and meet liquidity requirements. The Company’s investment policy addresses the level of credit
exposure by limiting the concentration in any one corporate issuer or sector and establishing a minimum allowable credit
rating. To manage the risk exposure, the Company invests cash, cash equivalents and short-term investments in a variety of
fixed income securities, including short-term interest-bearing obligations, including government and investment-grade debt
securities and money market funds. The Company places its cash primarily in checking and money market accounts with
reputable financial institutions. Deposits held with these financial institutions may exceed the amount of insurance provided on
such deposits, if any.

       The Company’s accounts receivable are typically unsecured and are derived from customers around the world in
different industries. The Company performs ongoing credit evaluations of its customers and maintains allowances for potential
credit losses. Historically, such losses have been within management’s expectations. As of December 31, 2011 and 2012, one
customer accounted for 13% of the Company’s net accounts receivable balance. As of June 30, 2013, no single customer
accounted for more than 10% of the Company’s net accounts receivable balance. Two customers accounted for 42% and
20%, respectively, of the Company’s revenue in 2010. No single customer accounted for more than 10% of the Company’s
revenue in the years ended December 31, 2011 and 2012, and the six months ended June 30, 2012 and 2013.

Accounts Receivable, Net
       The Company records accounts receivable at the invoiced amount. The Company maintains an allowance for doubtful
accounts to reserve for potentially uncollectible receivable amounts. In evaluating the Company’s ability to collect outstanding
receivable balances, the Company considers various factors including the age of the balance, the creditworthiness of the
customer, which is assessed based on ongoing credit evaluations and payment history, and the customer’s current financial
condition.

Property and Equipment, Net
       Property and equipment are stated at cost and depreciated using the straight-line method over the estimated useful
lives of the assets. Assets acquired under capital leases and leasehold improvements are amortized using the straight-line
method over the shorter of the lease term or the estimated useful life. The estimated useful lives of property and equipment
are described below:

                    Property and Equipment                                               Estimated Useful Life
Computer hardware and networking equipment                      Three to four years
Computer software                                               One to three years
Office equipment and other                                      Five years
Leased equipment and leasehold improvements                     Lesser of estimated useful life or remaining lease term
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       Costs of maintenance and repairs that do not improve or extend the lives of the respective assets are expensed as
incurred. Upon retirement or sale, the cost and related accumulated depreciation are removed from the balance sheet and the
resulting gain or loss is reflected in operating expenses.

Goodwill
       Goodwill represents the excess of the purchase price over the fair value of the net tangible and intangible assets
acquired in a business combination. Goodwill is not amortized, but is tested for impairment at least annually or more
frequently if events or changes in circumstances indicate that the asset may be impaired. The Company’s impairment tests
are based on a single operating segment and reporting unit structure. The goodwill impairment test involves a two-step
process. The first step involves comparing the fair value of the Company’s reporting unit to its carrying value, including
goodwill. If the carrying value of the reporting unit exceeds its fair value, the second step of the test is performed by
comparing the carrying value of the goodwill in the reporting unit to its implied fair value. An impairment charge is recognized
for the excess of the carrying value of goodwill over its implied fair value.

      The Company’s annual goodwill impairment test resulted in no impairment charges in any of the periods presented in
the accompanying consolidated financial statements.

Intangible Assets, Net
      Intangible assets are carried at cost and amortized on a straight-line basis over their estimated useful lives, which is
generally 12 to 18 months, other than for one asset purchase for which the estimated useful life is 42 months. The Company
reviews identifiable amortizable intangible assets to be held and used for impairment whenever events or changes in
circumstances indicate that the carrying value of the assets may not be recoverable. Determination of recoverability is based
on the lowest level of identifiable estimated undiscounted cash flows resulting from use of the asset and its eventual
disposition. Measurement of any impairment loss is based on the excess of the carrying value of the asset over its fair value.
There has been no impairment charges recorded in any of the periods presented in the accompanying consolidated financial
statements. See Note 7—Goodwill and Other Intangible Assets for additional information.

Fair Value Measurements
         The Financial Accounting Standards Board (“FASB”)’s authoritative guidance on fair value measurements establishes a
framework for measuring fair value and expands required disclosure about the fair value measurements of assets and
liabilities. This guidance requires the Company to classify and disclose assets and liabilities measured at fair value on a
recurring basis, as well as fair value measurements of assets and liabilities measured on a nonrecurring basis in periods
subsequent to initial measurement, in a three-tier fair value hierarchy as described below.

       The guidance defines fair value as the exchange price that would be received for an asset or paid to transfer a liability
in the principal or most advantageous market for the asset or liability in an orderly transaction between market participants on
the measurement date. Valuation techniques used to measure fair value must maximize the use of observable inputs and
minimize the use of unobservable inputs. The guidance describes three levels of inputs that may be used to measure fair
value:
      Level 1—Observable inputs, such as quoted prices in active markets for identical assets or liabilities.
      Level 2—Observable inputs other than Level 1 prices, such as quoted prices for similar assets or liabilities, quoted
prices in markets that are not active or other inputs that are observable or can be corroborated by observable market data for
substantially the full term of the assets or liabilities.
      Level 3—Unobservable inputs that are supported by little or no market activity and that are significant to the fair value of
the assets or liabilities.

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       The Company measures its cash equivalents, short-term investments, restricted Class A junior preferred stock and
preferred stock warrant liabilities at fair value. The Company classifies its cash equivalents and short-term investments within
Level 1 or Level 2 because the Company values these investments using quoted market prices or alternative pricing sources
and models utilizing market observable inputs. The fair value of the Company’s Level 1 financial assets is based on quoted
market prices of the identical underlying security. The fair value of the Company’s Level 2 financial assets is based on inputs
that are directly or indirectly observable in the market, including the readily-available pricing sources for the identical
underlying security that may not be actively traded. The Company classifies its restricted Class A junior preferred stock and
preferred stock warrant within Level 3, because they are valued using valuation techniques using certain inputs that are
unobservable in the market. See Note 5—Fair Value Measurements for further details.

Internal Use Software and Website Development Costs
       The Company capitalizes certain costs incurred in developing software programs or websites for internal use. In the
years ended December 31, 2010, 2011 and 2012, and the six months ended June 30, 2012 and 2013, the Company
capitalized costs totaling approximately $1.3 million, $4.8 million, $11.6 million, $4.1 million and $13.2 million, respectively.
The estimated useful life of costs capitalized is evaluated for each specific project and is generally one year. In the years
ended December 31, 2010, 2011 and 2012, and the six months ended June 30, 2012 and 2013, the amortization of
capitalized costs included in cost of revenue totaled approximately $0.3 million, $1.9 million, $5.6 million, $3.0 million and
$2.6 million, respectively. Capitalized internal use software development costs are included in property and equipment, net.
Included in the capitalized amounts above are zero, $0.7 million, $1.3 million, $0.5 million and $3.3 million of stock-based
compensation expense in the years ended December 31, 2010, 2011 and 2012, and the six months ended June 30, 2012 and
2013, respectively.

Income Taxes
         The Company accounts for its income taxes using the asset and liability method whereby deferred tax assets and
liabilities are determined based on temporary differences between the bases used for financial reporting and income tax
reporting purposes, as well as for operating loss and tax credit carryforwards. Deferred income taxes are provided based on
the enacted tax rates expected to be in effect at the time such temporary differences are expected to reverse. A valuation
allowance is provided for deferred tax assets if it is more-likely-than-not that the Company will not realize those tax assets
through future operations.

       The Company evaluates and accounts for uncertain tax positions using a two-step approach. Recognition (step one)
occurs when the Company concludes that a tax position, based solely on its technical merits, is more-likely-than-not to be
sustainable upon examination. Measurement (step two) determines the amount of benefit that is greater than 50% likely to be
realized upon ultimate settlement with a taxing authority that has full knowledge of all relevant information. De-recognition of a
tax position that was previously recognized would occur when the Company subsequently determines that a tax position no
longer meets the more-likely-than-not threshold of being sustained.

Comprehensive Loss
      Comprehensive loss consists of two components, net loss and other comprehensive income (loss). Other
comprehensive income (loss) refers to gains and losses that are recorded as an element of stockholders’ equity and are
excluded from net loss. The Company’s other comprehensive income (loss) is comprised of unrealized gain or loss on
available-for-sale securities, net of tax, and foreign currency translation adjustment.

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Recent Accounting Pronouncements
      In February 2013, the FASB issued Accounting Standards Update (“ASU”) No. 2013-02 “Reporting of Amounts
Reclassified Out of Accumulated Other Comprehensive Income.” ASU No. 2013-02 requires an entity to disaggregate the total
change of each component of other comprehensive income either on the face of the income statement or as a separate
disclosure in the notes. The new guidance became effective for reporting periods beginning after December 15, 2012 and is
applied prospectively. The Company adopted this guidance during the three months ended March 31, 2013, and the adoption
did not have any impact on its financial position, results of operations or cash flows as the amounts reclassified out of
accumulated other comprehensive loss are not significant.

       In July 2013, the FASB issued a new accounting standard update on the financial statement presentation of
unrecognized tax benefits. The new guidance provides that a liability related to an unrecognized tax benefit would be
presented as a reduction of a deferred tax asset for a net operating loss carryforward, a similar tax loss or a tax credit
carryforward if such settlement is required or expected in the event the uncertain tax position is disallowed. The new guidance
becomes effective for the Company on January 1, 2014 and it should be applied prospectively to unrecognized tax benefits
that exist at the effective date with retrospective application permitted. The Company is currently assessing the impacts of this
new guidance.

Note 3. Acquisitions
2011 Acquisitions
      In May 2011, the Company acquired 100% of the equity interest of TweetDeck, Inc. (“TweetDeck”), a privately-held U.S.
corporation with operations in London, United Kingdom, which developed a Twitter interface application for modifying the
display of Tweets. The acquisition of TweetDeck has been accounted for as a business combination. The purchase price of
$20.4 million ($17.1 million in cash and $3.3 million in the Company’s common stock) was allocated as follows: $2.3 million to
developed technology, $0.7 million to assets acquired and $1.2 million to liabilities assumed based on their estimated fair
value on the acquisition date, and the excess $18.6 million of the purchase price over the fair value of net assets acquired
was recorded as goodwill. Goodwill is primarily attributable to the enhancement of the Twitter user experience, expected
synergies arising from the acquisition and the value of acquired talent. Goodwill is not deductible for U.S. income tax
purposes. Developed technology was amortized on a straight-line basis over its estimated useful life of 12 months.

       In 2011, the Company acquired five additional companies. These acquisitions, which were not individually significant,
were accounted for as business combinations. The total purchase price for these acquisitions of $18.5 million (paid with the
Company’s common stock and Class A junior preferred stock valued at approximately $15.2 million and cash consideration of
$3.3 million) was allocated as follows: $8.4 million to developed technology, $0.4 million to assets acquired and $2.2 million to
deferred tax liability, and the excess $11.9 million of the purchase price over the fair value of net assets acquired was
recorded as goodwill. Goodwill is primarily attributable to the value of acquired assembled workforce and is not deductible for
U.S. income tax purposes. Developed technologies was amortized on a straight-line basis over their estimated useful life of 12
months.

      In relation to the 2011 acquisitions, the Company also agreed to pay up to $15.5 million in both cash and equity
consideration contingent upon the continued employment with the Company of certain employees of the acquired entities. The
Company recognizes compensation expense in relation to these cash and equity consideration over the requisite service
periods of up to 48 months from the respective acquisition dates on a straight-line basis.

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2012 Acquisitions
      In January 2012, the Company acquired 100% of the equity interest of Dasient, Inc. (“Dasient”), a privately-held
company based in Sunnyvale, California which provided Internet security services to protect advertising networks from
malicious ads. The acquisition of Dasient has been accounted for as a business combination. The purchase price of
$19.1 million ($0.1 million in cash and $19.0 million in the Company’s Class A junior preferred stock) was allocated as follows:
$7.7 million to developed technology, $0.8 million to assets acquired and $1.4 million to liabilities assumed based on their
estimated fair value on the acquisition date, and the excess $12.0 million of the purchase price over the fair value of net
assets acquired was recorded as goodwill. Goodwill is primarily attributable to the Company’s ability to further enhance the
security of its web platform from malware and other online abuses, its ability to more effectively identify and monitor fraudulent
accounts or activities on its platform and the value of acquired talent. Goodwill is not deductible for U.S. income tax purposes.
Developed technology was amortized on a straight-line basis over its estimated useful life of 12 months.

       In 2012, the Company acquired nine additional companies. These acquisitions, which were not individually significant,
were accounted for as business combinations. The total purchase price for these acquisitions of $33.1 million (paid with the
Company’s common stock and Class A junior preferred stock valued at approximately $28.1 million and cash consideration of
$5.0 million) was primarily allocated as follows: $8.3 million to developed technology and $4.7 million, of which $3.5 million is
cash acquired, to net assets acquired based on their estimated fair value on the acquisition date, and the excess $20.1 million
of the purchase price over the fair value of net assets acquired was recorded as goodwill. Goodwill recorded in relation to
these acquisitions is primarily attributable to expected synergies and the value of acquired assembled workforce. Five of the
acquisitions resulted in tax-deductible goodwill of $10.0 million for U.S. income tax purposes. Developed technology will be
amortized on a straight-line basis over their estimated useful life of 12 months.

       Under the terms of the acquisitions, the Company has the right to the return of a fixed number of shares issued to non-
employee investors if specified performance conditions tied to certain key employees’ continued employment at the Company
for one year after the acquisition are not met. The fair value of these contingently returnable shares of approximately $4.0
million and $3.0 million for Class A junior preferred stock and common stock issued, respectively, was included in the
purchase price and classified as part of redeemable convertible preferred stock and stockholders’ deficit, respectively, on the
consolidated balance sheets. The Company believes that the performance condition will be fully satisfied for these shares. As
of June 30, 2013, none of the consideration has been returned to the Company.

      In relation to the 2012 acquisitions, the Company also agreed to pay up to $28.5 million of cash and equity
consideration contingent upon the continued employment with the Company of certain employees of the acquired entities. The
Company recognizes compensation expense related to these consideration over the requisite service periods of up to
48 months from the respective acquisition dates on a straight-line basis.

       The results of operations for each of these acquisitions have been included in the Company’s consolidated statements
operations since the date of acquisition. Revenue and loss from operations arising from the acquisitions completed in 2012
that are included in the Company’s consolidated statements of operations for 2012 were zero and $26.9 million, respectively.

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       The following summary of unaudited pro forma results of operations of the Company for the years ended December 31,
2011 and 2012 is presented using the assumption that the acquisitions made in 2012 were completed as of January 1, 2011.
These pro forma results of the Company have been prepared for comparative purposes only and do not purport to be
indicative of the results of operations which would have resulted had the acquisitions occurred as of January 1, 2011, nor is it
indicative of future operating results. The pro forma results presented include amortization charges for acquired intangible
assets, adjustments for incremental compensation expense related to the post-combination service arrangements entered into
with the continuing employees and related tax effects (in thousands):

                                                                                                         Year Ended December 31,
                                                                                                         2011              2012
                                                                                                               (Unaudited)
Revenue                                                                                              $ 106,313         $ 316,933
Net loss                                                                                              (166,317)          (70,200)

2013 Acquisitions (unaudited)
       In January 2013, the Company acquired Crashlytics, Inc. (“Crashlytics”), a privately-held company based in Cambridge,
Massachusetts, which developed mobile application crash reporting and analysis solutions for mobile application developers.
The acquisition of Crashlytics has been accounted for as a business combination. The purchase price of $38.2 million paid in
the Company’s common stock was allocated as follows: $5.0 million to developed technology, $0.3 million to assets acquired,
$0.3 million to deferred tax liability recorded and $0.1 million to liabilities assumed, and the excess of $33.3 million to the
purchase price over the fair value of net assets acquired was recorded as goodwill. Goodwill is primarily attributable to the
Company’s ability to further improve the efficiency and the overall performance of its mobile platform and the value of acquired
talent. Goodwill is not deductible for U.S. income tax purposes. Developed technology will be amortized on a straight-line
basis over its estimated useful life of 12 months. Under the terms of the acquisition, the Company has the right to the return of
shares issued to non-employee investors if specified performance conditions tied to certain key employees’ continued
employment at the Company for one year after the acquisition are not met. The fair value of these contingently returnable
shares of $6.7 million is included in the purchase price and is classified as part of stockholders’ deficit on the consolidated
balance sheets. The Company believes that the performance condition will be fully satisfied for these shares. As of June 30,
2013, none of the consideration has been returned to the Company.

        In February 2013, the Company acquired Bluefin Labs, Inc. (“Bluefin”), a privately-held company based in Cambridge,
Massachusetts, which provided social television analytics services to brand advertisers, agencies and TV networks. The
acquisition of Bluefin has been accounted for as a business combination. The purchase price of $67.3 million paid in the
Company’s common stock was allocated as follows: $7.4 million to developed technology, $1.8 million to assets acquired and
$1.9 million to liabilities assumed based on their estimated fair value on the acquisition date, and the excess $60.0 million of
the purchase price over the fair value of net assets acquired was recorded as goodwill. Goodwill is primarily attributable to the
potential for future product offering, ability to further enhance the advertiser experience in using the Company’s services and
the value of acquired talent. Goodwill is not deductible for U.S. income tax purposes. Developed technology will be amortized
on a straight-line basis over its estimated useful life of 18 months. Under the terms of the acquisition, the Company has the
right to the return of shares issued to non-employee investors if specified performance conditions tied to certain key
employees’ continued employment at the Company for one year after the acquisition are not met. The fair value of these
contingently returnable shares of $7.9 million is included in the purchase price and is classified as part of stockholders’ deficit
on the consolidated balance sheets. The Company believes that the performance condition will be fully satisfied for these
shares. As of June 30, 2013, none of the consideration has been returned to the Company.

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       In June 2013, the Company completed the acquisition of certain assets of a privately-held company for the total
purchase price of $2.5 million. This transaction was accounted for as a purchase of assets and, accordingly, the total
purchase price was allocated to the identifiable intangible assets acquired based on their respective fair values on the
acquisition date. As a result of this transaction, the Company recorded intangible assets of $2.5 million, which was comprised
of $2.0 million of assembled workforce and $0.5 million of developed technology. The developed technology and assembled
workforce will be amortized on a straight-line basis over their estimated useful lives of 12 and 42 months, respectively.

       During the six months ended June 30, 2013, the Company completed acquisitions of three additional companies, which
were not individually significant and accounted for as business combinations. The total purchase price for these acquisitions
of $4.5 million paid in the Company’s common stock was primarily allocated to $3.0 million of developed technology and $0.1
million of assumed liabilities based on their estimated fair value on the acquisition date, and the excess $1.6 million of the
purchase price over the fair value of net assets acquired was recorded as goodwill. Goodwill recorded in relation to these
acquisitions is primarily attributable to expected synergies and the value of acquired assembled workforce. Goodwill is not
deductible for U.S. income tax purposes. Developed technology will be amortized on a straight-line basis over their estimated
useful life of 24 months.

       In relation to the 2013 acquisitions, the Company also agreed to pay up to $54.9 million of equity consideration which
was to be paid to certain employees of the acquired entities contingent upon their continued employment with the Company.
The Company recognizes compensation expense related to the equity consideration over the requisite services periods of up
to 48 months from the respective acquisition dates on a straight-line basis. The Company also granted to continuing
employees options to purchase 0.8 million shares of common stock in exchange for their outstanding options to purchase the
shares of the acquired entities. Excluding the fair value of the stock options that was allocated and recorded as part of the
purchase price for the portion of the service period completed pre-acquisition, the Company will recognize approximately $9.2
million of stock-based compensation expense in relation to these stock options over the remaining requisite service periods of
up to 48 months from the respective acquisition dates on a straight-line basis.

       The Company has considered all potential identifiable intangible assets in its past business combinations and
determined that it was not appropriate to allocate material amounts to identifiable intangible assets other than acquired
developed technologies. In valuing acquired developed technologies, the Company determined that neither the income
approach nor the market approach was relevant, and, consistent with a market participant approach that would weigh a
“make” versus “buy” decision when considering the acquisition of a particular incremental technology, applied the cost
approach in determining the amount of purchase price allocated to acquired developed technology. The cost approach uses
the concept of reproduction cost as an indicator of fair value. The premise of the cost approach is that a prudent investor
would pay no more for an asset than the amount for which the asset could be replaced with a new one. Reproduction cost
refers to the cost incurred to reproduce the asset using the exact same specifications. In order to apply the cost method to
determine the fair value of each acquired developed technology, the Company considered the following: (i) the estimated
development hours or equivalent of person months required to reproduce the technology, (ii) the related labor cost and (iii) an
expected market participant profit margin.

       For certain transactions that were considered asset acquisitions, the Company had identified assembled workforce as
an intangible asset. The Company used the cost approach to value the assembled workforce. The cost approach takes into
consideration the relevant costs to replace the workforce, which include recruiting and training costs required until the
employees become fully integrated.

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      The results of operations for each of these acquisitions have been included in the Company’s consolidated statements
operations since the date of acquisition. Revenue and loss from operations arising from the acquisitions completed during the
six months ended June 30, 2013 that are included in the Company’s consolidated statements of operations for the six months
ended June 30, 2013 were $1.3 million and $17.7 million, respectively.

      The following summary of unaudited pro forma results of operations of the Company for the six months ended June 30,
2012 and 2013 is presented using the assumption that the acquisitions made during the six months ended June 30, 2013
were completed as of January 1, 2012. These pro forma results of the Company have been prepared for comparative
purposes only and do not purport to be indicative of the results of operations which would have resulted had the acquisitions
occurred as of January 1, 2012, nor is it indicative of future operating results. The pro forma results presented include
amortization charges for acquired intangible assets, adjustments for incremental compensation expense related to the post-
combination service arrangements entered into with the continuing employees and related tax effects (in thousands):

                                                                                                        Six months ended June 30,
                                                                                                        2012                2013
                                                                                                               (Unaudited)
Revenue                                                                                             $   123,866         $    253,686
Net loss                                                                                                (72,283)             (65,190)

Note 4. Cash, Cash Equivalents and Short-term Investments
      Cash, cash equivalents and short-term investments consist of the following (in thousands):

                                                                                                  December 31,                June 30,
                                                                                              2011           2012               2013
                                                                                                                            (Unaudited)
Cash and cash equivalents:
      Cash                                                                                 $ 20,661       $ 18,928          $ 52,363
      Money market funds                                                                     62,087         56,934             34,261
      U.S. government and agency securities including treasury bills                         71,750        115,225             55,387
      Corporate notes and commercial paper                                                   64,498         12,241             22,498
Total cash and cash equivalents                                                            $218,996       $203,328          $ 164,509
Short-term investments:
      U.S. government and agency securities including treasury bills                       $209,443       $102,211          $ 96,628
      Corporate notes and commercial paper                                                  121,100        119,317            113,921
Total short-term investments                                                               $330,543       $221,528          $ 210,549

       The following tables summarize unrealized gains and losses related to available-for-sale securities classified as short-
term investments on the Company’s consolidated balance sheets as of December 31, 2011 and 2012 and June 30, 2013 (in
thousands):

                                                                                               December 31, 2011
                                                                          Gross              Gross           Gross          Aggregated
                                                                         Amortized         Unrealized      Unrealized        Estimated
                                                                          Costs              Gains           Losses          Fair Value
US Government and agency securities including treasury bills            $209,452       $            7     $      (16)       $ 209,443
Corporate notes and commercial paper                                     121,134                   11            (45)         121,100
     Total available-for-sale securities classified as short-term
        investments                                                     $330,586       $           18     $      (61)       $ 330,543

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                                                                                                   December 31, 2012
                                                                           Gross                 Gross           Gross             Aggregated
                                                                          Amortized            Unrealized      Unrealized           Estimated
                                                                           Costs                 Gains           Losses             Fair Value
US Government and agency securities including treasury bills              $102,191         $            21       $        (1)      $ 102,211
Corporate notes and commercial paper                                       119,339                       7               (29)        119,317
     Total available-for-sale securities classified as short-term
        investments                                                       $221,530         $            28       $       (30)      $ 221,528

                                                                                                      June 30, 2013
                                                                           Gross                 Gross             Gross           Aggregated
                                                                          Amortized            Unrealized       Unrealized          Estimated
                                                                           Costs                 Gains            Losses            Fair Value
                                                                                                       (Unaudited)
US Government and agency securities including treasury bills              $ 96,624         $             8       $        (4)      $ 96,628
Corporate notes and commercial paper                                       113,960                       9               (48)       113,921
     Total available-for-sale securities classified as short-term
        investments                                                       $210,584         $            17       $       (52)      $ 210,549

      The available-for-sale securities classified as cash and cash equivalents on the consolidated balance sheets are not
included in the tables above as the gross unrealized gains and losses were immaterial for each period; their carrying value
approximates fair value because of the short maturity period of these instruments.

      The following tables show all short-term investments in an unrealized loss position for which other-than-temporary
impairment has not been recognized and the related gross unrealized losses and fair value, aggregated by investment
category and the length of time that individual securities have been in a continuous unrealized loss position (in thousands):

                                                                                    December 31, 2011
                                                       Less than 12 Months         12 Months or Greater                         Total
                                                                   Unrealized                  Unrealized                            Unrealized
                                                     Fair Value      Loss        Fair Value       Loss               Fair Value        Loss
US Government and agency securities including
  treasury bills                                     $ 85,407       $    (16)    $         —       $         —       $ 85,407      $       (16)
Corporate notes and commercial paper                   49,525            (45)              —                 —         49,525              (45)
     Total short-term investments in an
        unrealized loss position                     $134,932       $    (61)    $         —       $         —       $134,932      $       (61)

                                                                                        December 31, 2012
                                                         Less than 12 Months           12 Months or Greater                      Total
                                                                    Unrealized                     Unrealized                        Unrealized
                                                       Fair Value      Loss          Fair Value       Loss            Fair Value       Loss
US Government and agency securities including
  treasury bills                                       $ 9,993      $      (1)   $          —       $        —        $ 9,993      $        (1)
Corporate notes and commercial paper                    69,068            (29)              —                —         69,068              (29)
     Total short-term investments in an unrealized
        loss position                                  $79,061      $     (30)   $          —       $        —        $79,061      $       (30)

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                                                                                            June 30, 2013
                                                          Less than 12 Months          12 Months or Greater                   Total
                                                                      Unrealized                     Unrealized                   Unrealized
                                                        Fair Value      Loss          Fair Value       Loss        Fair Value       Loss
                                                                                             (Unaudited)
US Government and agency securities including
  treasury bills                                        $17,585       $      (4)      $      —       $      —      $17,585       $         (4)
Corporate notes and commercial paper                     46,878             (48)             —              —       46,878                (48)
     Total short-term investments in an unrealized
        loss position                                   $64,463       $     (52)      $      —       $      —      $64,463       $        (52)

      Investments are reviewed periodically to identify possible other-than-temporary impairments. No impairment loss has
been recorded on the securities included in the tables above as the Company believes that the decrease in fair value of these
securities is temporary and expects to recover up to (or beyond) the initial cost of investment for these securities.

Note 5. Fair Value Measurements
       The following tables set forth the fair value of the Company’s financial assets and liabilities measured at fair value on a
recurring basis as of December 31, 2011 and 2012 and June 30, 2013 based on the three-tier fair value hierarchy (in
thousands):

                                                                                                      December 31, 2011
                                                                                   Level 1           Level 2       Level 3            Total
Assets
Cash equivalents:
     Money market funds                                                        $ 62,087          $        —       $     —        $ 62,087
     Treasury bills                                                              13,000                   —             —          13,000
     Agency securities                                                               —                58,750            —          58,750
     Commercial paper                                                                —                64,498            —          64,498
Short-term investments:
     Treasury bills                                                                27,544                 —             —             27,544
     Agency securities                                                                 —             168,844            —            168,844
     Commercial paper                                                                  —              56,979            —             56,979
     Corporate notes                                                                   —              64,121            —             64,121
     U.S. government securities                                                        —              13,055            —             13,055
Liabilities
     Preferred stock warrant(1)                                                      —                 —           (1,752)         (1,752)
            Total                                                              $102,631          $426,247         $(1,752)       $527,126

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                                                                                                December 31, 2012
                                                                              Level 1          Level 2       Level 3      Total
Assets
Cash equivalents:
     Money market funds                                                     $ 56,934       $       —         $     —    $ 56,934
     Treasury bills                                                           71,073               —               —      71,073
     Agency securities                                                            —            32,626              —      32,626
     Commercial paper                                                             —            10,199              —      10,199
     Corporate notes                                                              —             2,042              —       2,042
     U.S. government securities                                                   —            11,526              —      11,526
Short-term investments:
     Treasury bills                                                             8,000              —               —       8,000
     Agency securities                                                             —           36,038              —      36,038
     Commercial paper                                                              —           26,852              —      26,852
     Corporate notes                                                               —           92,465              —      92,465
     U.S. government securities                                                    —           58,173              —      58,173
Liabilities
     Restricted Class A junior preferred stock(1)                                 —              —            (4,964)     (4,964)
     Preferred stock warrant(1)                                                   —              —            (1,943)     (1,943)
            Total                                                           $136,007       $269,921          $(6,907)   $399,021

                                                                                                   June 30, 2013
                                                                              Level 1          Level 2        Level 3     Total
                                                                                                    (Unaudited)
Assets
Cash equivalents:
     Money market funds                                                     $ 34,261       $       —         $     —    $ 34,261
     Treasury bills                                                           36,374               —               —      36,374
     Agency securities                                                            —            19,013              —      19,013
     Commercial paper                                                             —            22,498              —      22,498
Short-term investments:
     Treasury bills                                                            37,437              —               —      37,437
     Agency securities                                                             —           45,322              —      45,322
     Commercial paper                                                              —           40,648              —      40,648
     Corporate notes                                                               —           73,273              —      73,273
     U.S. government securities                                                    —           13,869              —      13,869
Liabilities
     Restricted Class A junior preferred stock(1)                                 —              —            (6,744)     (6,744)
     Preferred stock warrant(1)                                                   —              —            (1,991)     (1,991)
            Total                                                           $108,072       $214,623          $(8,735)   $313,960
(1)
      Restricted Class A junior preferred stock and the preferred stock warrant are included in other long-term liabilities on the
      consolidated balance sheets.

Fair Value of Restricted Class A Junior Preferred Stock
       The Company’s restricted Class A junior preferred stock liability originates from the issuance of Class A junior preferred
stock as part of post-acquisition service arrangements to certain continuing employees. Since these issuances contain certain
redemption features, they are classified as liabilities on the consolidated balance sheets, and their fair value is remeasured
each reporting period. Refer to Note 10—Redeemable Convertible Preferred Stock for further details on Class A junior
preferred stock’s redemption and other features. In order to determine the fair value of Class A junior preferred
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stock, the Company first determines the business enterprise value, or BEV, using the market transaction method which utilizes
the most recent negotiated arm’s-length transactions involving the sale or transfer of the Company’s stock or equity interests.
The estimated BEV is then allocated to the shares of preferred stock, common stock, warrant and stock options using the
Black-Scholes option pricing model. Estimates of the volatility for the Black-Scholes option pricing model were based on the
volatility of common stock of a group of comparable, publicly-traded companies. Estimates of expected term were based on
the estimated time to liquidity event. The risk-free interest rate was based on the U.S. Treasury yield for a term consistent with
the estimated expected term.

      The following table presents a reconciliation of the Class A junior preferred stock liability measured at fair value as of
December 31, 2011 and 2012 and June 30, 2013 using significant unobservable inputs, and the amount of loss recorded in
the Company’s consolidated statements of operations as a result of change in fair value (in thousands):

Class A junior preferred stock liabilities
Balance as of December 31, 2011                                                                                           $   —
     Vesting of restricted stock                                                                                           3,942
     Revaluation                                                                                                           1,022
Balance as of December 31, 2012                                                                                            4,964
     Vesting of restricted stock (unaudited)                                                                               1,310
     Revaluation (unaudited)                                                                                                 470
Balance as of June 30, 2013 (unaudited)                                                                                   $6,744

Fair Value of Preferred Stock Warrant
       In December 2008, the Company issued a fully vested warrant in connection with obtaining a loan, which was
subsequently repaid in full in April 2009. The warrant is exercisable for 116,512 shares of Series C convertible preferred stock
with an exercise price of $0.34 per share at the sole discretion of the warrant holder within ten years from the date of
issuance. The Company utilized the Black-Scholes option pricing model to determine the fair value of the outstanding
preferred stock warrant. Estimates of the volatility for the option pricing model were based on the volatility of common stock of
a group of comparable, publicly-traded companies. Estimates of expected term were based on the remaining contractual
period of the warrant. The risk-free interest rate was based on the U.S. Treasury yield for a term consistent with the estimated
expected term. The key inputs used in preferred stock warrant valuation as of December 31, 2011 and 2012 and June 30,
2013 were as follows:

                                                                                             December 31,
                                                                                      2011                  2012    June 30, 2013
                                                                                                                     (Unaudited)
Expected dividend yield                                                                 —                  —                 —
Risk-free interest rate                                                               1.35%              0.95%             1.40%
Expected volatility                                                                  52.88%             54.71%            53.10%
Expected life (in years)                                                              6.96               5.96              5.46

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      The following table presents a reconciliation of the preferred stock warrant measured at fair value as of December 31,
2011 and 2012 and June 30, 2013 using significant unobservable inputs, and the amount of gain or loss recorded in the
Company’s consolidated statements of operations in other income (expense) as a result of change in fair value (in
thousands):

Preferred stock warrant liabilities
Balance as of December 31, 2010                                                                                          $ 280
     Revaluation                                                                                                          1,472
Balance as of December 31, 2011                                                                                           1,752
     Revaluation                                                                                                            191
Balance as of December 31, 2012                                                                                           1,943
     Revaluation (unaudited)                                                                                                 48
Balance as of June 30, 2013 (unaudited)                                                                                  $1,991

Note 6. Property and Equipment, Net
      The following table presents the detail of property and equipment, net for the periods presented (in thousands):

                                                                                          December 31,
                                                                                      2011           2012        June 30, 2013
                                                                                                                  (Unaudited)
Property and equipment, net
Equipment                                                                          $ 63,776      $197,659       $     267,071
Furniture and leasehold improvements                                                  6,690        34,363              38,732
Capitalized software                                                                  6,523        16,466              27,000
Construction in progress                                                              7,550        10,323              24,228
      Total                                                                          84,539       258,811             357,031
Less: Accumulated depreciation and amortization                                     (22,556)      (73,237)           (114,478)
      Property and equipment, net                                                  $ 61,983      $185,574       $     242,553

      The gross carrying amount of property and equipment includes $64.5 million, $187.9 million and $251.0 million of server
and networking equipment acquired under capital leases as of December 31, 2011 and 2012, and June 30, 2013,
respectively. The accumulated depreciation of the equipment under capital leases totaled $17.2 million, $57.7 million and
$89.7 million as of December 31, 2011 and 2012, and June 30, 2013, respectively.

      Depreciation expense totaled $2.9 million, $19.5 million and $53.8 million for the years ended December 31, 2010, 2011
and 2012, respectively and $21.2 million and $41.4 million for the six months ended June 30, 2012 and 2013, respectively.
Included in these amounts were depreciation expense for server and networking equipment acquired under capital leases in
the amount of $2.0 million, $15.3 million and $40.5 million for the year ended December 31, 2010, 2011 and 2012,
respectively, and $15.7 million and $32.0 million for the six months ended June 30, 2012 and 2013, respectively.

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Note 7. Goodwill and Other Intangible Assets
      The following table presents the goodwill activities for the periods presented (in thousands):

Goodwill
Balance as of December 31, 2010                                                                                          $  6,149
     TweetDeck acquisition                                                                                                 18,558
     Other acquisitions                                                                                                    12,054
Balance as of December 31, 2011                                                                                            36,761
     Dasient acquisition                                                                                                   11,963
     Other acquisitions                                                                                                    20,089
Balance as of December 31, 2012                                                                                            68,813
     Crashlytics acquisition (unaudited)                                                                                   33,254
     Bluefin acquisition (unaudited)                                                                                       60,019
     Other acquisitions (unaudited)                                                                                         1,629
Balance as of June 30, 2013 (unaudited)                                                                                  $163,715

      For each of the period presented, gross goodwill balance equaled the net balance since no impairment charges have
been recorded. Refer to Note 3—Acquisitions for further details about goodwill.

      The following table presents the detail of other intangible assets for the periods presented (in thousands):

                                                                              Gross Carrying      Accumulated             Net
                                                                                  Value           Amortization       Carrying Value
December 31, 2011:
     Developed technology                                                    $       18,287       $    (11,869)   $           6,418
December 31, 2012:
     Developed technology                                                    $       34,309       $    (30,556)   $           3,753
June 30, 2013 (unaudited):
     Developed technology                                                    $       50,213       $    (37,714)   $          12,499
     Assembled workforce                                                     $        1,960       $        (20)   $           1,940
          Total                                                              $       52,173       $    (37,734)   $          14,439

      Amortization expense associated with other intangible assets for the years ended December 31, 2010, 2011 and 2012
was $7.5 million, $4.7 million and $18.7 million, respectively, and for the six months ended June 30, 2012 and 2013, it was
$10.3 million and $7.2 million, respectively. These expenses were included in cost of revenue on the accompanying
consolidated statements of operations. Estimated future amortization expense as of June 30, 2013 was $7.1 million for the
remaining six months of 2013, and $5.6 million, $1.2 million and $0.5 million for years ending December 31, 2014, 2015 and
2016, respectively.

Note 8. Accrued and Other Current Liabilities
      The following table presents the detail of accrued and other current liabilities for the periods presented (in thousands):

                                                                                              December 31,
                                                                                           2011         2012          June 30, 2013
                                                                                                                       (Unaudited)
Accrued equipment purchases under capital lease                                         $ 4,004        $17,223       $       20,423
Accrued compensation                                                                      3,309          8,467               11,389
Accrued tax liabilities                                                                   5,266          5,711                7,352
Accrued professional services                                                             1,465          3,625                8,116
Accrued other                                                                             6,463         17,585               20,661
     Total                                                                              $20,507        $52,611       $       67,941

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Note 9. Net Loss per Share
       The Company computes net loss per share of common stock in conformity with the two-class method required for
participating securities. The Company considers all series of the Company’s redeemable convertible preferred stock and
convertible preferred stock to be participating securities as the holders of the preferred stock are entitled to receive a
noncumulative dividend on a pari passu basis in the event that a dividend is paid on common stock. The Company also
considers the shares issued upon the early exercise of stock options subject to repurchase to be participating securities,
because holders of such shares have non-forfeitable dividend rights in the event a dividend is paid on common stock. The
holders of all series of convertible preferred stock and the holders of early exercised shares subject to repurchase do not have
a contractual obligation to share in the losses of the Company. As such, the Company’s net losses for the years ended
December 31, 2010, 2011 and 2012, and the six months ended June 30, 2012 and 2013 were not allocated to these
participating securities.

       Basic net loss per share is computed by dividing total net loss attributable to common stockholders by the weighted-
average common shares outstanding. The weighted-average common shares outstanding is adjusted for shares subject to
repurchase such as unvested restricted stock granted to employees in connection with acquisitions, contingently returnable
shares and escrowed shares supporting indemnification obligations that are issued in connection with acquisitions and
unvested stock options exercised. Diluted net loss per share is computed by dividing the net loss attributable to common
stockholders by the weighted-average number of common shares outstanding including potential dilutive common stock
instruments. In the years ended December 31, 2010, 2011 and 2012, and the six months ended June 30, 2012 and 2013, the
Company’s potential common stock instruments such as stock options, RSUs, shares subject to repurchases, shares of
preferred stock and the preferred stock warrant were not included in the computation of diluted loss per share as the effect of
including these shares in the calculation would have been anti-dilutive.

     The following table presents the calculation of basic and diluted net loss per share for periods presented (in thousands,
except per share data).

                                                                   Year Ended December 31,                Six Months Ended June 30,
                                                            2010            2011           2012            2012              2013
                                                                                                                 (Unaudited)
Net loss                                                $(67,324)       $(128,302)     $ (79,399)     $    (49,104)      $   (69,251)
Less: Deemed dividend to investors in relation to
   the tender offer                                           —            35,816             —                 —                 —
Net loss attributable to common stockholders            $(67,324)       $(164,118)     $ (79,399)     $    (49,104)      $   (69,251)
Basic shares:
      Weighted-average common shares
         outstanding                                        82,471          109,891        120,845         119,350           135,914
      Weighted-average unvested restricted stock
         subject to repurchase                              (6,479)          (7,347)        (3,444)          (4,525)          (6,061)
      Weighted-average shares used to compute
         basic net loss per share                           75,992          102,544        117,401         114,825           129,853
Diluted shares:
      Weighted-average shares used to compute
         diluted net loss per share                         75,992          102,544        117,401         114,825           129,853
Net loss per share attributable to common
   stockholders:
      Basic                                             $    (0.89)     $     (1.60)   $     (0.68)   $       (0.43)     $      (0.53)
      Diluted                                           $    (0.89)     $     (1.60)   $     (0.68)   $       (0.43)     $      (0.53)

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Unaudited Pro Forma Net Loss per Share
       Pro forma basic and diluted net loss per share were computed to give effect to the automatic conversion of Series A
convertible preferred stock, Series B convertible preferred stock, Series C convertible preferred stock, Series D convertible
preferred stock, Series E convertible preferred stock, Series F convertible preferred stock and Series G convertible preferred
stock and Class A junior preferred stock using the if converted method as though the conversion had occurred as of the
beginning of the period or the original date of issuance, if later. In addition, the pro forma share amounts give effect to the
Company’s Pre-2013 RSUs that have satisfied the service condition as of December 31, 2012 and June 30, 2013. These
RSUs will vest and settle upon the satisfaction of a qualifying event as further defined in Note 12—Common Stock and
Stockholders’ Deficit. Stock-based compensation expense associated with the Pre-2013 RSUs is excluded from this pro forma
presentation. If the qualifying event had occurred on June 30, 2013, the Company would have recorded $329.6 million of
stock-based compensation expense related to these RSUs.

                                                                                                  Year Ended             Six Months
                                                                                                 December 31,         Ended June 30,
                                                                                                     2012                   2013
                                                                                                             (Unaudited)
Net loss                                                                                         $    (79,399)        $    (69,251)
Basic shares:
      Weighted-average shares used to compute basic net loss per share                                117,401              129,853
      Pro forma adjustment to reflect assumed conversion of preferred stock to occur
         upon completion of the Company’s initial public offering                                     331,431              332,286
      Pro forma adjustment to reflect assumed vesting of Pre-2013 RSUs                                  1,068                5,895
      Weighted-average shares used to compute basic pro forma net loss per share                      449,900              468,034
Diluted shares:
      Weighted-average shares used to compute basic pro forma net loss per share                      449,900              468,034
      Effect of potentially dilutive securities                                                            —                    —
      Weighted-average shares used to compute diluted pro forma net loss per share                    449,900              468,034
Net loss per share attributable to common stockholders:
      Basic and Diluted                                                                          $      (0.18)        $       (0.15)

      The following potential common shares were excluded from the calculation of diluted net loss per share attributable to
common stockholders and pro forma diluted net loss per share because their effect would have been anti-dilutive for the
periods presented (in thousands):

                                                                         Year Ended December 31,          Six Months Ended June 30,
                                                                     2010         2011         2012         2012             2013
                                                                                                                 (Unaudited)
Stock options                                                     71,551        55,066       48,787         54,332          44,157
Post-2013 RSUs                                                        —             —            —              —           16,345
Shares subject to repurchase                                       7,783         5,526        4,237          5,153           7,196
Preferred stock warrant                                              117           117          117            117             117

Note 10. Redeemable Convertible Preferred Stock
      As of June 30, 2013, the Company’s Certificate of Incorporation, as amended, authorizes the Company to issue
15.0 million shares of Class A junior preferred stock. Under the terms of the Certificate of Incorporation, the Board of Directors
may determine the rights, preferences and terms of the Company’s authorized shares of preferred stock.

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Voting and Dividends
       Each holder of Class A junior preferred stock is entitled to the number of votes equal to one-tenth of the number of
shares of common stock into which they may be converted. The holders of Class A junior preferred stock are also entitled to
receive dividends whenever funds are legally available and when and if declared by the Board of Directors on a pari passu
basis. Such dividends are noncumulative.

Liquidation
       In the event of any liquidation, dissolution or winding up of the Company, either voluntary or involuntary, subject to
payment in full of the liquidation preference of the Series G convertible preferred stock, Series F convertible preferred stock,
Series E convertible preferred stock, Series D convertible preferred stock, Series C convertible preferred stock, Series B
convertible preferred stock and Series A convertible preferred stock, the holders of the then outstanding Class A junior
preferred stock are first entitled to receive, prior and in preference to any payment or distribution, or setting aside for any
payment or distribution, of any available funds and assets on any shares of the common stock, an amount equal to the greater
of (a) $1.00 per share of Class A junior preferred stock, adjusted for stock splits, combinations, stock dividends or
recapitalizations of the Class A junior preferred stock, plus all declared but unpaid dividends, or (b) the per share amount that
would have been paid if it had been converted to common stock. If upon liquidation, dissolution or winding up of the Company
and payment in full of the liquidation preference of the convertible senior preferred stock (Series A convertible preferred stock,
Series B convertible preferred stock, Series C convertible preferred stock, Series D convertible preferred stock, Series E
convertible preferred stock, Series F convertible preferred stock and Series G convertible preferred stock), the available funds
and assets to be distributed to the holders of the Class A junior preferred stock shall be insufficient to permit the payment to
such stockholders of the full preferential amount, then all of the available funds and assets shall be distributed among the
holders of the then outstanding Class A junior preferred stock pro rata based on the amounts to which such holders would
otherwise be entitled.

Conversion
       Each share of Class A junior preferred stock automatically converts into fully paid and non-assessable shares of
common stock immediately upon the earlier of (1) the closing of a firm commitment underwritten public offering pursuant to an
effective registration statement filed covering the offer and sale of common stock in which the aggregated public offering price
equals or exceeds $25 million, or (2) the receipt of the consent of at least 60% of the holders of then outstanding shares of
senior preferred stock to convert the outstanding shares of Class A junior preferred stock into common stock provided that all
outstanding shares of senior preferred stock are similarly converted into common stock upon such event. The Class A junior
preferred stock is not convertible into common stock at the option of the stockholder.

       The conversion price is initially defined as the Class A Junior Preferred Liquidation Preference of $1.00 per share and
subject to the following adjustments: (a) issuance of common stock as dividends or distributions, and other dividends and
distributions; (b) subdivision or combination of outstanding shares of common stock, without a corresponding combination of
the convertible senior preferred stock and the Class A junior preferred stock; (c) reclassification, exchange and substitution, or
(d) reorganization, consolidation and mergers. As of December 31, 2011, 2012 and June 30, 2013, each share of Class A
junior preferred stock will convert into common stock on a one to one basis.
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Redemption
       At any time following November 18, 2018 and upon the written request from holders of at least a majority of the then
outstanding shares of Class A junior preferred stock, the Company must redeem all outstanding shares of Class A junior
preferred stock within 180 days following the receipt of request, provided that the Company will have outstanding one or more
shares of one or more classes or series of stock immediately following the redemption. The redemption price for each share of
Class A junior preferred stock redeemed would be a cash payment equal to the fair market value of such share as of the
respective date of issuance of such share as determined by the Board of Directors or a committee in good faith.

Restricted Class A Junior Preferred Stock
       The Company has granted restricted Class A junior preferred stock to certain key continuing employees in connection
with acquisitions subject to a lapsing right of repurchase. The lapsing of the right of repurchase is dependent on the respective
employee’s continued employment at the Company during the requisite service period, which is generally four years from the
issuance date. The Company has the option to repurchase the unvested shares upon termination of employment prior to the
right of repurchase lapsing. The fair value of the restricted Class A junior preferred stock issued to employees is recorded as
compensation expense on a straight-line basis over the requisite service period. These shares are included as part of other
long-term liabilities on the Company’s consolidated balance sheets. The fair value of these shares is remeasured at each
reporting period until the Class A junior preferred stock is settled through conversion or redemption or until the redemption
feature expires, and the change in fair value is recorded as an addition to or reduction in compensation expense during the
period of change. The fair value of these shares is determined based on the fair value of the underlying Class A junior
preferred stock estimated as part of the Company’s capital stock and business enterprise valuation process. Refer to Note 5—
Fair Value Measurements for further details.

      The activities for the restricted Class A junior preferred stock issued to employees for the year ended December 31,
2012 and the six months ended June 30, 2013 are summarized as follows (in thousands, except per share data):

                                                                                                               Weighted-Average
                                                                                                                Grant-Date Fair
                                                                                          Number of Shares      Value Per Share
Unvested restricted Class A junior preferred stock at December 31, 2011                                 135    $         13.06
    Granted                                                                                             704    $         13.62
    Vested                                                                                              (22)   $         13.06
    Forfeited                                                                                           (12)   $         13.06
Unvested restricted Class A junior preferred stock at December 31, 2012                                 805    $         13.55
    Vested (unaudited)                                                                                 (304)   $         13.59
    Forfeited (unaudited)                                                                               (45)   $         13.06
Unvested restricted Class A junior preferred stock at June 30, 2013 (unaudited)                         456    $         13.57

       In the year ended December 31, 2012 and the six months ended June 30, 2012 and 2013, the Company recognized
$4.9 million, $1.9 million and $1.8 million of compensation expense, respectively, related to the restricted Class A junior
preferred stock issued to employees inclusive of the effect of fair value remeasurement. The amount of compensation
expense recorded in relation to restricted Class A junior preferred stock in the years ended December 31, 2010 and 2011 was
not material. As of

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June 30, 2013, the unamortized stock-based compensation expense related to restricted Class A junior preferred stock was
approximately $5.4 million with a weighted-average remaining requisite service period of 2.60 years.

Note 11. Convertible Preferred Stock
      As of June 30, 2013, the Company’s Certificate of Incorporation, as amended, authorizes the Company to issue
329.7 million shares of convertible preferred stock. Under the terms of the Certificate of Incorporation, the Board of Directors
may determine the rights, preferences and terms of the Company’s authorized shares of preferred stock.

Voting
       The holders of Series A convertible preferred stock, Series B convertible preferred stock, Series C convertible preferred
stock, Series D convertible preferred stock, Series E convertible preferred stock, Series F convertible preferred stock and
Series G convertible preferred stock have one vote for each share of common stock into which they may be converted.

Dividends
       The holders of Series A convertible preferred stock, Series B convertible preferred stock, Series C convertible preferred
stock, Series D convertible preferred stock, Series E convertible preferred stock, Series F convertible preferred stock and
Series G convertible preferred stock shall be entitled to receive, only when and as declared by the Board of Directors, but only
out of funds that are legally available therefore, cash dividends on a pari passu basis. Such dividends shall be noncumulative.

Liquidation
       In the event of any liquidation, dissolution or winding up of the Company, either voluntary or involuntary, the holders of
the then outstanding convertible preferred stock are first entitled to receive, prior and in preference to any payment or
distribution of any available funds and assets to the holders of Class A junior preferred stock or common stock. The holders of
convertible preferred stock are entitled to proceeds equal to the greater of original issue price plus declared and unpaid
dividends or per share amount that would have been paid if it has been converted to common stock. The full preferential
amount is first paid to the holders of the series of convertible preferred stock with the highest level of liquidation preference
then to the stockholders of the next level of preference in order (Series G convertible preferred stock, Series F convertible
preferred stock, Series E convertible preferred stock, Series D convertible preferred stock, Series C convertible preferred
stock, Series B convertible preferred stock and Series A convertible preferred stock; listed in the order of highest liquidation
preference to the lowest). If the available funds and assets become insufficient to satisfy the full preferential payment for the
stockholders of a particular series of convertible preferred stock in order, then all of the available funds and assets shall be
distributed among the holders of that series of convertible preferred stock pro-rata based on the amounts to which such
holders would otherwise be entitled.

       Unless otherwise approved by a vote of 60% of holders of the Series B convertible preferred stock, Series C convertible
preferred stock, Series D convertible preferred stock, Series E convertible preferred stock, Series F convertible preferred
stock and Series G convertible preferred stock voting as one class, and provided that no such approval or waiver shall be
effective with respect to the rights of holders of Series G convertible preferred stock unless holders of least 65% of the
Series G convertible preferred stock approve, a deemed liquidation event will occur upon (a) reorganization by share
exchange, consolidation or merger where voting securities pre-transaction do not represent or are not

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converted into securities of the surviving entity that possess at least a majority of the voting power of all securities of the
surviving corporation; or (b) sale of all or substantially all of assets of the Company.

        If there are any available funds and assets remaining after the payment or distribution to holders of preferred stock of
their full preferential amount described above, then all such remaining available funds and assets shall be distributed among
the holders of the then outstanding common stock pro rata according to the number of common stock held by each holder
thereof.

      These liquidation features cause the Series A convertible preferred stock, Series B convertible preferred stock,
Series C convertible preferred stock, Series D convertible preferred stock, Series E convertible preferred stock,
Series F convertible preferred stock and Series G convertible preferred stock to be classified as mezzanine equity rather than
as a component of stockholders’ deficit.

Conversion
       Each share of preferred stock, at the option of the holder, is convertible into a number of fully paid shares of common
stock. Conversion of preferred stock occurs automatically and immediately upon the earlier to occur of the closing of a firm
commitment underwritten public offering pursuant to an effective registration statement filed covering the offer and sale of
common stock in which (i) the aggregate public offering price equals or exceeds $25 million, (ii) with respect to the Series F
convertible preferred stock only, the public offer price per share of which is not less than one times the original issue price of
the Series F convertible preferred stock, (iii) with respect to the Series E convertible preferred stock only, the public offer price
per share of which is not less than one times the original issue price of the Series E convertible preferred stock and (iv) with
respect to the Series D convertible preferred stock only, the initial public offering price per share of which is not less than two
times the original price of preferred stock, or the date specified by holders of at least 60% of the then outstanding
Series B convertible preferred stock, Series C convertible preferred stock, Series D convertible preferred stock,
Series E convertible preferred stock, Series F convertible preferred stock and Series G convertible preferred stock, provided
however, that in the event that the holders of at least 65% of the then outstanding shares of holders Series G convertible
preferred stock, at least a majority of the then outstanding shares of Series F convertible preferred stock or at least of 65% of
the then outstanding share of Series E convertible preferred stock do not consent or agree to the conversion, conversion shall
not be effective to any shares of the relevant series of Series G convertible preferred stock, Series F convertible preferred
stock or Series E convertible preferred stock for which the approval threshold was not achieved.

       The conversion price is initially defined as the original issue price of $0.001 for Series A convertible preferred stock,
$0.11 for Series B convertible preferred stock, $0.35 for Series C convertible preferred stock, $0.72 for Series D convertible
preferred stock, $2.67 for Series E convertible preferred stock, $7.63 for Series F convertible preferred stock and $16.09 for
Series G convertible preferred stock, subject to adjustments: (a) issuance of common stock as dividends or distributions, and
other dividends and distributions; (b) subdivision or combination of outstanding shares of common stock; (c) reclassification,
exchange and substitution or (d) reorganization, consolidation and mergers. Additionally, the conversion price of all series of
convertible preferred stock is subject to adjustment upon certain sale of shares of common or preferred stock below their then
effective conversion price, as well as upon certain sales of rights, options or convertible securities whereupon the price of
shares of common stock issuable upon exercise of such rights, options or convertible securities is below their then effective
conversion price. As of December 31, 2011 and 2012 and June 30, 2013, each share of preferred stock will convert into
common stock on a one to one basis.

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Note 12. Common Stock and Stockholders’ Deficit
Common Stock
      As of June 30, 2013, the Company is authorized to issue 600.0 million shares of $0.000005 par value common stock in
accordance with the Certificate of Incorporation, as amended.

        Each share of common stock is entitled to one vote. The holders of common stock are also entitled to receive dividends
whenever funds are legally available and when and if declared by the Board of Directors, subject to the prior rights of holders
of all classes of stock outstanding. As of June 30, 2013, no dividends have been declared.

Restricted Common Stock
      The Company has granted restricted common stock to certain key continuing employees in connection with the
acquisitions. Vesting of this stock is dependent on the respective employee’s continued employment at the Company during
the requisite service period, which is generally three to four years from the issuance date, and the Company has the option to
repurchase the unvested shares upon termination of employment. The fair value of the restricted common stock issued to
employees is recorded as compensation expense on a straight-line basis over the requisite service period.

     The activities for the restricted common stock issued to employees for the year ended December 31, 2012 and the six
months ended June 30, 2013 are summarized as follows (in thousands, except per share data):

                                                                                                              Weighted-Average
                                                                                                               Grant-Date Fair
                                                                                          Number of Shares     Value Per Share
Unvested restricted common stock at December 31, 2011                                                2,391    $          5.82
    Granted                                                                                            903    $         18.40
    Vested                                                                                          (1,453)   $          2.99
    Canceled                                                                                          (382)   $         12.95
Unvested restricted common stock at December 31, 2012                                                1,459    $         14.57
    Granted (unaudited)                                                                              3,230    $         17.01
    Vested (unaudited)                                                                                (286)   $          4.03
    Canceled (unaudited)                                                                               (83)   $         12.95
Unvested restricted common stock at June 30, 2013 (unaudited)                                        4,320    $         17.12

      In the years ended December 31, 2010, 2011 and 2012, the Company recorded $0.1 million, $1.8 million and
$6.3 million, respectively, of compensation expense related to restricted common stock issued to employees. In the six
months ended June 30, 2012 and 2013, the Company recorded $3.9 million and $12.5 million of compensation expense,
respectively, in relation to the restricted common stock issued to employees. As of June 30, 2013, there was $53.5 million of
unamortized stock-based compensation expense related to restricted common stock issued which is expected to be
recognized over a weighted-average period of 3.32 years.

Equity Incentive Plans
      As of June 30, 2013, the Company’s 2007 Equity Incentive Plan provides for the issuance of stock options, restricted
stock and RSU grants for up to 159.4 million shares of common stock to eligible participants and there were 14.8 million
shares available for future issuance.

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       Under the 2007 Equity Incentive Plan, stock options may not be granted at less than 85% of the fair value of common
stock on the date of the grant, provided that (i) the exercise price of an incentive stock option will not be less than 100% of the
fair market value of common stock on the date of the grant and (ii) the exercise price of any option granted to a 10%
stockholder will not be less than 110% of the fair market value of common stock on the date of the grant. Fair value is
determined by the Board of Directors in good faith based on information available to it and the Company’s management at the
time of grant if such common stock is not publicly-traded, listed or admitted to trading on a national securities exchange, nor
reported in any newspaper or other source. Stock options become exercisable at such times and under such conditions as
determined by the Board of Directors. Stock options generally vest over four years and have a maximum term of ten years.

       Under the 2007 Equity Incentive Plan, the Company has granted RSUs to domestic and international employees. RSUs
granted to (i) international employees; and (ii) domestic employees prior to February 2013 (“Pre-2013 RSUs”) vest upon the
satisfaction of both a service condition and a performance condition. The service condition for these awards is generally
satisfied over four years. The performance condition is satisfied upon the occurrence of a qualifying event, defined as the
earlier of (i) the date that is the earlier of (x) six months after the effective date of this offering or (y) March 8th of the calendar
year following the effective date of this offering; and (ii) the date of a change in control.

       RSUs granted to domestic employees starting in February 2013 (“Post-2013 RSUs”) are not subject to a performance
condition in order to vest. The majority of Post-2013 RSUs vest over a service period of four years. Under the terms of the
2007 Equity Incentive Plan, the shares underlying Post-2013 RSUs that satisfy the service condition are to be delivered to
holders no later than the fifteenth day of the third month following the end of the calendar year the service condition is
satisfied, or if later, the end of the Company’s tax year, but no earlier than August 15, 2014.

       The Company’s 2011 Acquisition Option Plan was adopted for the purpose of granting stock options to new employees
in connection with the acquisition of TweetDeck, Inc. in May 2011. The 2011 Acquisition Option Plan provides for the issuance
of 70,000 stock options to eligible participants. As of June 30, 2013, 13,000 stock options granted under this plan were
outstanding and 7,000 stock options were available for future issuance.

      The Company also assumed stock options of acquired entities in connection with the acquisitions of Mixer Labs, Inc.,
Crashlytics, Inc. and Bluefin Labs, Inc. While the respective stock plans were terminated on the closing of the acquisitions,
they continue to govern the terms of stock options assumed in the respective acquisition. As of June 30, 2013, there were an
aggregate of 925,000 outstanding stock options assumed in these acquisitions.

      In addition to these equity compensation plans, there were 255,000 stock options outstanding as of June 30, 2013
under a stand-alone stock option agreement entered into with an employee in July 2009.

Early Exercise of Stock Options
      The 2007 Equity Incentive Plan allows for grants of immediately exercisable stock options. The unvested shares of
common stock exercised are subject to the Company’s right to repurchase at the original exercise price. As of December 31,
2011, 2012, and June 30, 2013, a total of 2.4 million, 1.0 million and 0.5 million shares of unvested stock options exercised by
the employees were subject to repurchase at an aggregate price of $2.3 million, $1.2 million and $0.8 million, respectively.
These amounts are recorded as accrued and other current liabilities and other long-term liabilities on the Company’s
consolidated balance sheets and will be reclassified to additional paid-in capital as the Company’s repurchase right lapses. In
the year ended December 31, 2012 and the six months ended

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June 30, 2013, the Company repurchased 142,000 and 39,000 shares, respectively, of common stock related to unvested
stock options, at the original exercise price due to the termination of employees. In the year ended December 31, 2012 and
the six months ended June 30, 2013, the Company issued 178,000 and 3,000 shares of common stock, respectively, in
connection with the employees’ exercise of stock options prior to vesting.

Stock Option Activity
       A summary of stock option activity for the year ended December 31, 2012 and the six months ended June 30, 2013 is
as follows (in thousands, except years and per share data):

                                                                                                        Options Outstanding
                                                                                                                       Weighted-
                                                                                                                         Average
                                                                                               Weighted-               Remaining
                                                                     Number of             Average Exercise          Contractual Life       Aggregate
                                                                      Shares                Price Per Share             (in years)        Intrinsic Value
Outstanding at December 31, 2011                                        55,066             $           1.25                        8.29   $   649,836
     Options granted                                                     1,997             $          14.42
     Options exercised                                                  (5,577)            $           0.42
     Options canceled                                                   (2,699)            $           2.74
Outstanding at December 31, 2012                                        48,787             $           1.80                        7.38   $   741,508
     Options assumed in connection with
        acquisitions (unaudited)                                           822             $            1.55
     Options exercised (unaudited)                                      (4,523)            $            1.28
     Options canceled (unaudited)                                         (929)            $            3.47
Outstanding at June 30, 2013 (unaudited)                                44,157             $            1.82                       6.93   $   688,622
Vested and expected to vest at June 30, 2013
  (unaudited)(1)                                                        43,276             $            1.73                       6.91   $   678,753
Exercisable at June 30, 2013 (unaudited)                                30,858             $            1.12                       6.66   $   502,643
(1)   The expected to vest options are the result of applying pre-vesting forfeiture rate assumptions to unvested options outstanding.

      The aggregate intrinsic value in the table above represents the difference between the estimated fair value of common
stock and the exercise price of outstanding, in-the-money stock options.

      The total intrinsic value of stock options exercised in the years ended December 31, 2010, 2011 and 2012, and the six
months ended June 30, 2012 and 2013 were $7.1 million, $144.0 million, $84.6 million, $14.3 million and $71.3 million,
respectively. The total fair value of stock options vested in 2010, 2011 and 2012 and the six months ended June 30, 2012 and
2013 were $2.4 million, $7.1 million, $11.7 million, $6.5 million and $4.3 million, respectively.

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RSU Activity
      The following table summarizes the activity related to the Company’s Pre- and Post-2013 RSUs for the year ended
December 31, 2012 and the six months ended June 30, 2013. For purposes of this table, vested RSUs represent the shares
for which the service condition had been fulfilled as of each respective date (in thousands, except per share data):

                                                                                                        RSUs Outstanding
                                                                                                                   Weighted-
                                                                                                                 Average Grant-
                                                                                                                 Date Fair Value
                                                                                                   Shares          Per Share
Unvested and outstanding at December 31, 2011                                                   9,468             $      12.63
     Granted                                                                                   35,934             $      14.60
     Vested                                                                                    (3,005)            $      12.48
     Canceled                                                                                  (2,943)            $      13.28
Unvested and outstanding at December 31, 2012                                                  39,454             $      14.39
     Granted (unaudited)                                                                       19,551             $      17.05
     Vested (unaudited)                                                                        (5,278)            $      13.42
     Canceled (unaudited)                                                                      (2,163)            $      14.35
Unvested and outstanding at June 30, 2013 (unaudited)                                          51,564             $      15.50
Vested and outstanding at June 30, 2013 (unaudited)                                             8,350             $      13.08

Stock-Based Compensation Expense
      Total stock-based compensation expense recorded for employee and non-employee stock options, Post-2013 RSUs
and restricted common and Class A junior preferred stock in the years ended December 31, 2010, 2011 and 2012 and the six
months ended June 30, 2012 and 2013 is summarized as follows (in thousands):

                                                                Year Ended December 31,            Six Months Ended June 30,
                                                         2010            2011           2012         2012             2013
                                                                                                          (Unaudited)
Employee                                                $4,897        $54,582        $23,269   $      14,148      $    34,415
Non-employee                                             1,034          5,802          2,472           1,979            1,153
Total                                                   $5,931        $60,384        $25,741   $      16,127      $    35,568

     The compensation expense is allocated based on the cost center the award holder belongs to. Total stock-based
compensation expense by function is as follows (in thousands):

                                                                Year Ended December 31,            Six Months Ended June 30,
                                                         2010            2011           2012         2012             2013
                                                                                                          (Unaudited)
Cost of revenue                                         $ 200         $ 1,820        $   800   $         420      $     1,955
Research and development                                 3,409         33,559         12,622           6,291           24,197
Sales and marketing                                        249          1,553          1,346             620            4,614
General and administrative                               2,073         23,452         10,973           8,796            4,802
Total                                                   $5,931        $60,384        $25,741   $      16,127      $    35,568

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       In connection with their participation in the Series G convertible preferred stock financing, the Series G convertible
preferred stock investors also participated in a tender offer to purchase up to an aggregate of 24.9 million shares of additional
common and Series A convertible preferred stock through Series F convertible preferred stock from the Company’s
employees and existing stockholders with the maximum aggregate offer price of up to $396 million. In such tender offer, the
Series G convertible preferred stock investors agreed to purchase outstanding shares of the Company’s capital stock,
regardless of class or series of capital stock, at the same $16.09 per share purchase price paid to the Company for shares of
Series G convertible preferred stock. The purchase price per share in the tender offer represented an excess to the fair value
of the Company’s outstanding common stock and Series A through Series F convertible preferred stock, as determined by the
Company’s most recent valuation of its capital stock at time of the transaction. At the time of the tender offer, the fair value of
the Company’s common stock was $12.95 per share and the fair value of the Company’s Series A through F convertible
preferred stock ranged from $12.95 to $14.51 per share. The tender offer closed in September 2011, and at the close of the
transaction, the Company recorded $34.7 million as compensation expense related to the excess of the selling price per share
of common stock paid to the Company’s employees and consultants over the fair value of the tendered share, and
$35.8 million as deemed dividends in relation to excess of the selling price per share of common and preferred stock paid to
existing investors in excess of the fair value of the shares tendered. These amounts represent the excess of the aggregate
transaction price over the aggregate fair value of the shares purchased in the tender offer.

      In the six months ended June 30, 2013, a third-party investor offered to purchase up to $78.2 million worth of common
and Class A junior preferred stock from the Company’s eligible employees at a price of $17.00 per share which management
and the Board of Directors determined to represent the fair value of the shares tendered.

      The Company modified the terms of stock options for certain employees upon their termination or change in
employment status and recorded $1.1 million, $10.1 million and $4.4 million of incremental stock-based compensation
expense in the years ended December 31, 2010, 2011 and 2012, respectively. During the six months ended June 30, 2012,
the Company recorded $4.4 million of stock-based compensation expense as a result of stock option modifications. The
amount of stock-based compensation expense recorded in relation to stock options modified was not material for the six
months ended June 30, 2013.

      No income tax benefits have been recognized for stock-based compensation arrangements as of June 30, 2013.

       The Company capitalized zero, $0.7 million and $1.3 million of stock-based compensation expense associated with the
cost for developing software for internal use in the years ended December 31, 2010, 2011 and 2012, respectively, and
$0.5 million and $3.3 million during the six months ended June 30, 2012 and 2013, respectively.

       The weighted-average grant-date fair value of stock options granted to employees in the years ended December 31,
2010, 2011 and 2012 and the six months ended June 30, 2012 and 2013 was $0.55, $1.34, $7.42, $7.42 and $11.13 per
share, respectively. The fair value of stock options granted to employees was determined using the Black-Scholes option
pricing model with the following weighted-average assumptions:

                                                                   Year Ended December 31,             Six Months Ended June 30,
                                                           2010             2011           2012          2012             2013
                                                                                                              (Unaudited)
Expected dividend yield                                      —                —              —              —                —
Risk-free interest rate                                    2.21%            2.36%          1.30%          1.30%            1.07%
Expected volatility                                       50.08%           42.57%         51.79%         51.79%           53.77%
Expected term (in years)                                   6.07             6.06           6.56           6.56             5.63

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       During the year ended December 31, 2010, the Company granted 1.7 million shares of stock options to non-employees
at a weighted-average grant-date fair value of $1.09 per share. No additional stock options were granted to non-employees in
2011 and 2012 and the six months ended June 30, 2012 and 2013. Historical stock options granted to non-employees were
valued on the date of grant using the Black-Scholes pricing model and are re-valued each reporting period as they vest. The
fair value of stock options granted to non-employees was remeasured at each reporting period using the Black-Scholes option
pricing model with the following range of assumptions:

                                                                         Year Ended December 31,                             Six Months Ended June 30,
                                                               2010               2011                   2012                  2012               2013
                                                                                                                                     (Unaudited)
Expected dividend yield                                               —                    —                    —                     —                   —
Risk-free interest rate                                      2.29%-3.38%          1.69%-3.04%          1.22%-1.38%           1.49%-1.57%         1.32%-1.59%
Expected volatility                                        53.90%-65.66%        44.64%-49.33%        54.44%-54.80%         53.24%-53.36%      51.62%-52.96%
Expected term (in years)                                      8.13-10.01            7.63-9.48            7.71-8.02             8.21-8.52           7.21-7.76

      As of June 30, 2013, there was $24.0 million of unamortized stock-based compensation expense related to unvested
stock options granted to employees and non-employee service providers which is expected to be recognized over a weighted-
average period of 2.90 years. The unamortized stock-based compensation expense related to Post-2013 RSUs of
$213.9 million as of June 30, 2013 is expected to be recognized over a weighted-average period of 3.73 years.

       As of June 30, 2013, no stock-based compensation expense had been recognized for Pre-2013 RSUs because a
qualifying event for the awards’ vesting was not probable. In the quarter in which the Company’s initial public offering is
completed, the Company will begin recording stock-based compensation expense using the accelerated attribution method,
net of estimated forfeiture, based on the grant-date fair value of the RSUs. The following table summarizes, on an unaudited
pro forma basis, the stock-based compensation expense related to the Pre-2013 RSUs that the Company would have
incurred, assuming an initial public offering had occurred on June 30, 2013 (in thousands):

                                           As of June 30, 2013                                                        From Inception to June 30, 2013
              “Vested” Pre-2013 RSUs                               “Unvested” Pre-2013 RSUs                              Pro Forma Stock-Based
                  Outstanding(1)                                        Outstanding(2)                                   Compensation Expense
                                               8,343                                              35,226          $                                   329,632
(1)   For purposes of this table, “Vested” RSUs represent the shares underlying Pre-2013 RSUs for which the service condition had been satisfied as of June 30,
      2013.
(2)   For purposes of this table, “Unvested” RSUs represent the shares underlying Pre-2013 RSUs for which the service condition had not been satisfied as of
      June 30, 2013 and exclude estimated forfeitures of RSUs.

      The Company estimates that the remaining unrecognized stock-based compensation expense relating to the Pre-2013
RSUs would be approximately $234.2 million, after giving effect to estimated forfeitures and would be recognized in the
remainder of 2013 and thereafter if an initial public offering had occurred on June 30, 2013.

Note 13. Income Taxes
      The domestic and foreign components of pre-tax loss for the years ended December 31, 2010, 2011 and 2012 are as
follows (in thousands):

                                                                                                                         Year Ended December 31,
                                                                                                                  2010            2011                 2012
Domestic                                                                                                        $(67,605)       $ (46,510)         $(53,699)
Foreign                                                                                                               64          (83,236)          (25,471)
Loss before income taxes                                                                                        $(67,541)       $(129,746)         $(79,170)

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       The components of the provision (benefit) for income taxes for the years ended December 31, 2010, 2011 and 2012 are
as follows (in thousands):

                                                                                                      Year Ended December 31,
                                                                                           2010                2011                 2012
Current:
     Federal                                                                         $            —        $       —            $       —
     State                                                                                        3               536                 (300)
     Foreign                                                                                      —               272                1,627
           Total current provision for income taxes                                               3               808                1,327
Deferred:
     Federal                                                                                 (188)              (1,861)             (608)
     State                                                                                    (32)                (391)              (89)
     Foreign                                                                                   —                    —               (401)
           Total deferred benefit for income taxes                                           (220)              (2,252)           (1,098)
Provision (benefit) for income taxes                                                 $       (217)         $    (1,444)         $    229

     The following is a reconciliation of the statutory federal income tax rate to the Company’s effective tax rate for the years
ended December 31, 2010, 2011 and 2012:

                                                                                                  Year Ended December 31,
                                                                                    2010                   2011                 2012
Tax at federal statutory rate                                                          34.0%                    35.0%                35.0%
State taxes, net of federal benefit                                                     0.1                     (0.1)                 0.5
Stock-based compensation                                                               (1.6)                    (6.9)                (1.9)
Research and development credits                                                        1.6                      3.6                   —
Valuation Allowance                                                                   (30.7)                     8.8                (10.1)
Nondeductible expenses                                                                 (1.4)                    (2.0)                (8.7)
Foreign rate differential                                                                —                     (22.7)               (12.7)
Change in tax positions                                                                (0.8)                   (14.6)                (2.8)
Other                                                                                  (0.9)                      —                   0.4
     Effective tax rate                                                                 0.3%                     1.1%                (0.3)%

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      The tax effects of temporary differences and related deferred tax assets and liabilities as of December 31, 2011 and
2012 are as follows (in thousands):

                                                                                                         Year Ended December 31,
                                                                                                          2011            2012
Deferred tax assets:
      Net operating losses carryforwards                                                             $    46,661       $    68,431
      Accruals and reserves                                                                                1,851             6,698
      Stock-based compensation expense                                                                     3,960             5,376
      Research and development credits                                                                     7,862            10,052
      Other                                                                                                1,788               610
            Total deferred tax assets                                                                     62,122            91,167
      Valuation allowance                                                                                (24,895)          (42,175)
Total deferred tax assets, net of valuation allowance                                                     37,227            48,992
Deferred tax liabilities:
      Fixed assets and intangible assets                                                               (21,542)          (35,991)
      Other                                                                                             (2,671)             (754)
            Total deferred tax liabilities                                                             (24,213)          (36,745)
Net deferred tax assets                                                                              $ 13,014          $ 12,247

       Based on the available objective evidence, management believes it is more-likely-than-not that the net U.S. deferred tax
assets was not fully realizable as of the year ended December 31, 2012. Accordingly, the Company has established a full
valuation allowance against its U.S. deferred tax assets to the extent not offset by liabilities from uncertain tax positions.

       For the year ended December 31, 2012, the Company has not provided for income taxes on $2.5 million of its
undistributed earnings for certain foreign subsidiaries because these earnings are intended to be permanently reinvested in
operations outside the U.S. Determining the unrecognized deferred tax liabilities associated with these earnings is not
practicable.

       At December 31, 2012, the Company had $298.8 million of federal and $216.7 million of state net operating loss
carryforwards available to reduce future taxable income, which will begin to expire in 2027 for federal and 2017 for state tax
purposes, and $106.6 million of net operating loss carryforwards for both federal and state income tax purposes are
attributable to employee stock option deductions, the benefit from which will be allocated to additional paid-in capital rather
than current income when recognized.

       The Company also has research credit carryforwards of $6.6 million and $10.5 million for federal and state income tax
purposes, respectively. The federal credit carryforward will begin to expire in 2027. The state tax credits have no expiration
date. On January 2, 2013, the American Taxpayer Relief Act (“Act”) of 2012 was enacted, which includes a reinstatement of
the federal research and development credit for the tax year ended December 31, 2012. Pursuant to the guidance of ASC
Topic 740 Income Taxes, the consolidated financial statements reflect the effect of the Act in the first quarter of 2013, the
reporting period of enactment. The Act had no material effect on the consolidated financial statements in the six months
ended June 30, 2013 due to the Company’s U.S. valuation allowance position.

       Utilization of the net operating loss carryforwards and credits may be subject to an annual limitation due to the
ownership change limitations provided by the Internal Revenue Code of 1986, as amended (the “Code”), and similar state
provisions. Any annual limitation may result in the expiration of net operating losses and credits before utilization.
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      As of December 31, 2012, the unrecognized tax benefit was $23.4 million, all of which would result in corresponding
adjustments to valuation allowance. A reconciliation of the beginning and ending amount of unrecognized tax benefit is as
follows (in thousands):

                                                                                                 Year Ended December 31,
                                                                                          2010             2011             2012
Balance at the beginning of the year                                                  $      394        $    1,275        $ 25,845
     Reductions related to prior year tax positions                                           —               (344)         (3,612)
     Additions related to current year tax positions                                         881            24,914           1,119
Balance at the end of the year                                                        $    1,275        $   25,845        $ 23,352

       Total unrecognized tax benefits increased by $3.3 million in the period from December 31, 2012 to June 30, 2013. The
total unrecognized tax benefits as of December 31, 2011 and 2012 includes $12.2 million and $11.2 million, respectively, of
unrecognized tax benefit that have been netted against the related deferred tax assets. The remaining balances are recorded
on the Company’s consolidated balance sheets as follows (in thousands):

                                                                                                        Year Ended December 31,
                                                                                                         2011            2012
Total unrecognized tax benefits balance                                                             $  25,845         $  23,352
Amounts netted against related deferred tax assets                                                    (12,228)          (11,196)
Unrecognized tax benefits recorded on consolidated balance sheets                                   $ 13,617          $ 12,156

        The net unrecognized tax benefit of $13.6 million and $12.2 million as of December 31, 2011 and 2012, respectively,
was included in the other long-term liabilities on the Company’s consolidated balance sheets. The Company does not believe
that its unrecognized tax benefits will significantly change within the next 12 months.

     The Company recognizes interest and/or penalties related to income tax matters as a component of income tax
expense. As of December 31, 2012 there were no significant accrued interest and penalties related to uncertain tax positions.

       The Company is subject to taxation in the United States and various state and foreign jurisdictions. The material
jurisdictions in which the Company is subject to potential examination by taxing authorities include the United States,
California and Ireland. The Company believes that adequate amounts have been reserved in these jurisdictions. The
Company’s 2007 to 2012 tax years remain subject to examination by the United States and California, and its 2011 to 2012
tax years remain subject to examination in Ireland. The Company remains subject to possible examination in various other
jurisdictions that are not expected to result in material tax adjustments.

Note 14. Related Party Transactions
      One of the Company’s directors has a direct ownership interest in a vendor that provides marketing and communication
services to the Company. For the years ended December 31, 2010, 2011 and 2012, the Company incurred zero, $0.3 million
and $1.9 million, respectively, of expense for services rendered, and during the six months ended June 30, 2012, the
Company incurred $0.9 million. No expense was incurred in relation to this arrangement during the six months ended
June 30, 2013. There was no outstanding payable balance associated with the vendor as of June 30, 2013.

Note 15. Employee Benefit Plan
     The Company adopted a 401(k) Plan that qualifies as a deferred compensation arrangement under Section 401 of the
Code. Under the 401(k) Plan, participating employees may defer a portion of

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their pretax earnings not to exceed the maximum amount allowable. The Company has not made any matching contributions
to date.

Note 16. Commitments and Contingencies
Operating and Capital Leases
         The Company has entered into various non-cancelable operating lease agreements for certain offices and data center
facilities in the U.S. with contractual lease periods expiring between 2012 and 2021. In particular, in 2011, the Company
entered into an office space lease for its headquarters in San Francisco with a 6-year term, renewable for an additional period
of 5 years. In 2012, the Company entered into a lease amendment for additional office space in its headquarters with an 8-
year term. Total lease commitments under the lease, as amended, amount to $67.7 million. Under the terms of the lease, as
amended, the Company is responsible for certain taxes, insurance, maintenance and management expenses.

      A summary of gross and net lease commitments as of December 31, 2012 is as follows (unaudited, in thousands):

                                                                                         Operating Leases         Capital Leases
Years ending December 31,
2013                                                                                     $       26,906           $    52,861
2014                                                                                             29,261                42,439
2015                                                                                             29,263                23,454
2016                                                                                             28,070                 2,612
2017                                                                                             22,021                    —
Due after 5 years                                                                                24,570                    —
                                                                                         $      160,091               121,366
Less: Amounts representing interest                                                                                     6,798
Total capital lease obligation                                                                                        114,568
Less: Short-term portion                                                                                               48,836
Long-term portion                                                                                                 $    65,732

      A summary of gross and net lease commitments as of June 30, 2013 is as follows (unaudited, in thousands):

                                                                                         Operating Leases         Capital Leases
Remaining six months ending December 31, 2013                                            $       18,280           $     34,740
Years ending December 31,
2014                                                                                             41,089                62,162
2015                                                                                             43,092                43,176
2016                                                                                             40,933                 9,564
2017                                                                                             35,561                   916
Due after 5 years                                                                                42,369                    —
                                                                                         $      221,324               150,558
Less: Amounts representing interest                                                                                     8,889
Total capital lease obligation                                                                                        141,669
Less: Short-term portion                                                                                               61,538
Long-term portion                                                                                                 $    80,131

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      Rent expense under the Company’s operating leases, including co-location arrangements for the Company’s data
centers, was $2.2 million, $8.6 million and $19.4 million for the years ended December 31, 2010, 2011 and 2012, respectively,
and $8.9 million and $13.2 million for the six months ended June 30, 2012 and 2013, respectively. The Company also had
$18.5 million of non-cancelable contractual commitments as of December 31, 2012, primarily related to our bandwidth and
other services arrangements. These commitments are generally due within one to three years.

Legal Proceedings
       The Company is currently involved in, and may in the future be involved in, legal proceedings, claims and governmental
investigations in the normal course of business. Legal fees and other costs associated with such actions are expensed as
incurred. The Company assesses, in conjunction with its legal counsel, the need to record a liability for litigation and
contingencies. Litigation accruals are recorded when and if it is determined that a loss related matter is both probable and
reasonably estimable. Material loss contingencies that are reasonably possible of occurrence, if any, are subject to
disclosures. As of December 31, 2012 and June 30, 2013, there was no litigation or contingency with at least a reasonable
possibility of a material loss. No losses have been recorded during years ended December 31, 2010, 2011 and 2012 and the
six months ended June 30, 2013 with respect to litigation or loss contingencies.

Indemnification
       In the ordinary course of business, the Company often includes standard indemnification provisions in its arrangements
with its customers, partners, suppliers and vendors. Pursuant to these provisions, the Company may be obligated to indemnify
such parties for losses or claims suffered or incurred in connection with its service, breach of representations or covenants,
intellectual property infringement or other claims made against such parties. These provisions may limit the time within which
an indemnification claim can be made. It is not possible to determine the maximum potential amount under these
indemnification obligations due to the limited history of prior indemnification claims and the unique facts and circumstances
involved in each particular agreement. The Company has never incurred significant expense defending its licensees against
third party claims, nor has it ever incurred significant expense under its standard service warranties or arrangements with its
customers, partners, suppliers and vendors. Accordingly, the Company had no liabilities recorded for these provisions as of
December 31, 2011 and 2012, and June 30, 2013.

Note 17. Segment Information and Operations by Geographic Area
      The Company has a single operating segment and reporting unit structure. The Company’s chief operating decision-
maker is the chief executive officer who reviews financial information presented on a consolidated basis, accompanied by
disaggregated information about revenue by geographic region for purposes of allocating resources and evaluating financial
performance.
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Revenue
     Revenue by geography is based on the billing addresses of the customers. The following table sets forth revenue by
geographic area (in thousands):

                                                                           Year Ended                        Six Months Ended
                                                                          December 31,                            June 30,
                                                                2010         2011             2012           2012          2013
                                                                                                                (Unaudited)
Revenue:
    United States                                             $26,346      $102,225         $263,917      $106,687     $190,799
    International                                               1,932         4,088           53,016        15,672       62,836
          Total Revenue                                       $28,278      $106,313         $316,933      $122,359     $253,635

     No individual country from the international markets contributed in excess of 10% of the total revenue for the years
ended December 31, 2010, 2011 and 2012 and the six months ended June 30, 2012 and 2013.

Long-Lived Assets
      The following table sets forth long-lived assets by geographic area (in thousands):

                                                                                              As of December 31,          June 30,
                                                                                             2011          2012             2013
                                                                                                                        (Unaudited)
Long-lived assets:
     United States                                                                       $61,978        $183,319        $ 238,523
     International                                                                             5           2,255            4,030
           Total long-lived assets                                                       $61,983        $185,574        $ 242,553

Note 18. Subsequent Events
      The Company has evaluated subsequent events through July 12, 2013, the date the consolidated financial statements
were available for issuance.

       From January 1, 2013 through July 12, 2013, the Company granted 19.6 million RSUs to its employees, and the
unrecognized stock-based compensation expense relating to these RSUs as of their grant date was $274.4 million, after
giving effect to estimated forfeitures.

Note 19. Subsequent Events (unaudited)
       The Company has evaluated subsequent events through August 20, 2013, the date the unaudited interim consolidated
financial statements were available for issuance.

        Subsequent to July 12, 2013, the Company granted 27.0 million RSUs to its employees, and the unrecognized stock-
based compensation expense relating to these RSUs as of their grant date was $452.9 million, after giving effect to estimated
forfeitures.

      In August 2013, the Certificate of Incorporation was amended to increase the number of shares of common stock
authorized to be issued by 100.0 million shares to 700.0 million shares.

      In August 2013, the 2007 Equity Incentive Plan was amended to increase the number of shares of common stock
reserved for issuance by 20.0 million shares to 179.4 million shares.

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       On September 9, 2013, the Company entered into a definitive agreement to acquire privately held MoPub Inc., a
mobile-focused advertising exchange. Upon closing of the proposed transaction all of the issued and outstanding shares of
capital stock of MoPub, and all equity awards to purchase shares of MoPub common stock held by individuals who will
continue to provide service to the Company, will be converted into the right to receive an aggregate of 14.8 million shares of
the Company’s common stock. The definitive agreement contains certain termination rights for both MoPub and the Company,
including for the failure to consummate the transaction by December 20, 2013.
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                                                SCHEDULE II
                                     VALUATION AND QUALIFYING ACCOUNTS
                          FOR THE YEARS ENDED DECEMBER 31, 2010, 2011 AND 2012

                                                           Balance
                                                              at                              Charged/
                                                          Beginning         Changes           Credited
                                                              of               to             to Other     Balance at
                                                            Year            Expenses         Accounts      End of Year
                                                                                  (In thousands)
Allowance for Deferred Tax Assets:
Year ended December 31, 2010                              $ 12,329         $ 23,925            $    —      $ 36,254
Year ended December 31, 2011                              $ 36,254         $(11,878)           $ 519       $ 24,895
Year ended December 31, 2012                              $ 24,895         $ 15,250            $ 2,030     $ 42,175

                                                     Balance
                                                        at
                                                    Beginning
                                                        of              Additions             Write-off/   Balance at
                                                      Year            (Reductions)          Adjustments    End of Year
                                                                                 (In thousands)
Allowance for Doubtful Accounts:
Year ended December 31, 2010                        $    —            $       —            $        —      $      —
Year ended December 31, 2011                        $    —            $    1,828           $        —      $   1,828
Year ended December 31, 2012                        $ 1,828           $    1,844           $    (2,392)    $   1,280

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                                                              PART II
                                      INFORMATION NOT REQUIRED IN PROSPECTUS

ITEM 13. OTHER EXPENSES OF ISSUANCE AND DISTRIBUTION.
     The following table sets forth all expenses to be paid by us, other than underwriting discounts and commissions, upon
completion of this offering. All amounts shown are estimates except for the SEC registration fee and the FINRA filing fee.

SEC registration fee                                                                                                     $ 128,800
FINRA filing fee                                                                                                           150,500
Exchange listing fee                                                                                                          *
Printing and engraving expenses                                                                                               *
Legal fees and expenses                                                                                                       *
Accounting fees and expenses                                                                                                  *
Blue sky fees and expenses                                                                                                    *
Transfer agent and registrar fees                                                                                             *
Miscellaneous expenses                                                                                                        *
      Total                                                                                                              $    *

*    To be filed by amendment.


ITEM 14. INDEMNIFICATION OF DIRECTORS AND OFFICERS.

      Section 145 of the Delaware General Corporation Law authorizes a corporation’s board of directors to grant, and
authorizes a court to award, indemnity to officers, directors and other corporate agents.

       We expect to adopt an amended and restated certificate of incorporation, which will become effective immediately prior
to the completion of this offering, and which will contain provisions that limit the liability of our directors for monetary damages
to the fullest extent permitted by Delaware law. Consequently, our directors will not be personally liable to us or our
stockholders for monetary damages for any breach of fiduciary duties as directors, except liability for the following:
      Ÿ any breach of their duty of loyalty to our company or our stockholders;
      Ÿ any act or omission not in good faith or that involves intentional misconduct or a knowing violation of law;
      Ÿ unlawful payments of dividends or unlawful stock repurchases or redemptions as provided in Section 174 of the
        Delaware General Corporation Law; or
      Ÿ any transaction from which they derived an improper personal benefit.

       Any amendment to, or repeal of, these provisions will not eliminate or reduce the effect of these provisions in respect of
any act, omission or claim that occurred or arose prior to that amendment or repeal. If the Delaware General Corporation Law
is amended to provide for further limitations on the personal liability of directors of corporations, then the personal liability of
our directors will be further limited to the greatest extent permitted by the Delaware General Corporation Law.

       In addition, we expect to adopt amended and restated bylaws, which will become effective immediately prior to the
completion of this offering, and which will provide that we will indemnify, to the fullest extent permitted by law, any person who
is or was a party or is threatened to be made a party to any action, suit or proceeding by reason of the fact that he or she is or
was one of our directors or
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officers or is or was serving at our request as a director or officer of another corporation, partnership, joint venture, trust or
other enterprise. Our amended and restated bylaws are expected to provide that we may indemnify to the fullest extent
permitted by law any person who is or was a party or is threatened to be made a party to any action, suit or proceeding by
reason of the fact that he or she is or was one of our employees or agents or is or was serving at our request as an employee
or agent of another corporation, partnership, joint venture, trust or other enterprise. Our amended and restated bylaws will
also provide that we must advance expenses incurred by or on behalf of a director or officer in advance of the final disposition
of any action or proceeding, subject to very limited exceptions.

        Further, prior to the completion of this offering, we expect to enter into indemnification agreements with each of our
directors and executive officers that may be broader than the specific indemnification provisions contained in the Delaware
General Corporation Law. These indemnification agreements will require us, among other things, to indemnify our directors
and executive officers against liabilities that may arise by reason of their status or service. These indemnification agreements
will also require us to advance all expenses incurred by the directors and executive officers in investigating or defending any
such action, suit or proceeding. We believe that these agreements are necessary to attract and retain qualified individuals to
serve as directors and executive officers.

        The limitation of liability and indemnification provisions that are expected to be included in our amended and restated
certificate of incorporation, amended and restated bylaws and the indemnification agreements that we enter into with our
directors and executive officers may discourage stockholders from bringing a lawsuit against our directors and executive
officers for breach of their fiduciary duties. They may also reduce the likelihood of derivative litigation against our directors and
executive officers, even though an action, if successful, might benefit us and other stockholders. Further, a stockholder’s
investment may be adversely affected to the extent that we pay the costs of settlement and damage awards against directors
and executive officers as required by these indemnification provisions. At present, we are not aware of any pending litigation
or proceeding involving any person who is or was one of our directors, officers, employees or other agents or is or was
serving at our request as a director, officer, employee or agent of another corporation, partnership, joint venture, trust or other
enterprise, for which indemnification is sought, and we are not aware of any threatened litigation that may result in claims for
indemnification.

       We have obtained insurance policies under which, subject to the limitations of the policies, coverage is provided to our
directors and executive officers against loss arising from claims made by reason of breach of fiduciary duty or other wrongful
acts as a director or executive officer, including claims relating to public securities matters, and to us with respect to payments
that may be made by us to these directors and executive officers pursuant to our indemnification obligations or otherwise as a
matter of law.

     The underwriting agreement to be filed as Exhibit 1.1 to this registration statement provides for indemnification by the
underwriters of us and our officers and directors for certain liabilities arising under the Securities Act and otherwise.

ITEM 15. RECENT SALES OF UNREGISTERED SECURITIES.
       Since July 1, 2010, we issued the following unregistered securities (after giving effect to a two-for-one stock split
effected in May 2011):

Preferred Stock Issuances
       From December 2010 through January 2011, we sold an aggregate of 26,197,896 shares of our Series F convertible
preferred stock to nine accredited investors at a purchase price of approximately $7.63 per share, for an aggregate purchase
price of $199,999,978.

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      During July 2011, we sold an aggregate of 10,097,159 shares of our Series G-1 convertible preferred stock to two
accredited investors at a purchase price of approximately $16.09 per share, for an aggregate purchase price of $162,499,987.

      During July 2011, we sold an aggregate of 14,757,386 shares of our Series G-2 convertible preferred stock to 21
accredited investors at a purchase price of approximately $16.09 per share, for an aggregate purchase price of $237,499,978.

Option and RSU Issuances
      Since July 1, 2010, we granted to our directors, officers, employees, consultants and other service providers options to
purchase an aggregate of 32,651,260 shares of our common stock under our equity compensation plans at exercise prices
ranging from approximately $0.05 to $14.42 per share.

      Since July 1, 2010, we assumed options to purchase an aggregate of 822,069 shares of our common stock under the
equity compensation plans we assumed in connection with certain of our acquisitions at exercise prices ranging from
approximately $0.24 to $3.02 per share.

     Since July 1, 2010, we granted to our directors, officers, employees, consultants and other service providers an
aggregate of 92,720,637 RSUs to be settled in shares of our common stock under our equity compensation plans.

Shares Issued in Connection with Acquisitions
       Since July 1, 2010, we issued an aggregate of 17,541,606 shares of our common stock, 2,038,950 shares of our Series
C convertible preferred stock and 3,590,948 shares of our Class A Junior preferred stock in connection with our acquisitions of
certain companies or their assets and as consideration to individuals and entities who were former service providers and/or
stockholders of such companies.

       None of the foregoing transactions involved any underwriters, underwriting discounts or commissions, or any public
offering. We believe the offers, sales and issuances of the above securities were exempt from registration under the Securities
Act by virtue of Section 4(2) of the Securities Act because the issuance of securities to the recipients did not involve a public
offering, or in reliance on Rule 701 because the transactions were pursuant to compensatory benefit plans or contracts
relating to compensation as provided under such rule. The recipients of the securities in each of these transactions
represented their intentions to acquire the securities for investment only and not with a view to or for sale in connection with
any distribution thereof, and appropriate legends were placed upon the stock certificates issued in these transactions. All
recipients had adequate access, through their relationships with us, to information about us. The sales of these securities
were made without any general solicitation or advertising.

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ITEM 16. EXHIBITS AND FINANCIAL STATEMENT SCHEDULES.
      (a)     Exhibits.

 Exhibit Number                                                               Description
     1.1*                 Form of Underwriting Agreement.
     2.1                  Agreement and Plan of Reorganization among the Registrant, Raptor Merger Inc., MoPub Inc. and
                          Fortis Advisors LLC, as Stockholders’ Agent, dated as of September 9, 2013.
     3.1                  Restated Certificate of Incorporation of the Registrant, as currently in effect.
     3.2*                 Form of Amended and Restated Certificate of Incorporation of the Registrant, to be in effect upon the
                          completion of this offering.
     3.3                  Bylaws of the Registrant, as currently in effect.
     3.4*                 Form of Amended and Restated Bylaws of the Registrant, to be in effect upon the completion of this
                          offering.
     4.1*                 Form of common stock certificate of the Registrant.
     4.2                  Amended and Restated Investors’ Rights Agreement among the Registrant and certain holders of its
                          capital stock, dated as of November 14, 2011.
     4.3                  Warrant to purchase shares of Series C convertible preferred stock issued to Silicon Valley Bank, dated
                          as of December 16, 2008.
     4.4                  Holder Voting Agreement between the Registrant and Compliance Matter Services, LLC, dated as of
                          July 28, 2011.
     4.5                  Holder Voting Agreement among the Registrant, RTLC II, LLC and J.P. Morgan Digital Growth Fund L.P.,
                          dated as of July 28, 2011.
     4.6                  Side Letter Agreement among the Registrant, RTLC, LLC, RTLC II, LLC, Compliance Matter Services,
                          LLC and J.P. Morgan Digital Growth Fund L.P., dated as of July 28, 2011.
     5.1*                 Opinion of Wilson Sonsini Goodrich & Rosati, P.C.
    10.1+                 Form of Indemnification Agreement between the Registrant and each of its directors and executive
                          officers.
    10.2+*                Twitter, Inc. 2013 Equity Incentive Plan and related form agreements.
    10.3+*                Twitter, Inc. 2013 Employee Stock Purchase Plan and related form agreements.
    10.4+                 Twitter, Inc. 2007 Equity Incentive Plan and related form agreements.
    10.5+                 Twitter, Inc. 2011 Acquisition Option Plan.
    10.6+                 Bluefin Labs, Inc. 2008 Stock Plan.
    10.7+                 Crashlytics, Inc. 2011 Stock Plan.
    10.8+                 Mixer Labs, Inc. 2008 Stock Plan.
    10.9+                 Twitter, Inc. Executive Incentive Compensation Plan.
    10.10+                Twitter, Inc. Change of Control Severance Policy.
    10.11+*               Offer Letter between the Registrant and Richard Costolo.
    10.12+*               Offer Letter between the Registrant and Ali Rowghani.
    10.13+*               Offer Letter between the Registrant and Mike Gupta.
    10.14+*               Offer Letter between the Registrant and Adam Bain.

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 Exhibit Number                                                           Description

    10.15+*              Offer Letter between the Registrant and Christopher Fry.
    10.16+*              Offer Letter between the Registrant and Vijaya Gadde.
    10.17+               Offer Letter between the Registrant and Peter Chernin, dated as of October 16, 2012.
    10.18                Office Lease between the Registrant and Sri Nine Market Square LLC, dated as of April 20, 2011, as
                         amended on May 16, 2011, September 30, 2011 and June 1, 2012.
    10.19                Form of Innovator’s Patent Agreement.
    21.1*                List of subsidiaries of the Registrant.
    23.1                 Consent of PricewaterhouseCoopers LLP, Independent Registered Public Accounting Firm.
    23.2*                Consent of Wilson Sonsini Goodrich & Rosati, P.C. (included in Exhibit 5.1).
    24.1                 Power of Attorney (see page II-7 to this Registration Statement on Form S-1).
    99.1*                Consent of The Nielsen Company.
* To be filed by amendment.
+ Indicates management contract or compensatory plan.


       (b)     Financial Statement Schedules.
      All financial statement schedules are omitted because the information called for is not required or is shown either in the
consolidated financial statements or in the notes thereto.

ITEM 17. UNDERTAKINGS.
       The undersigned Registrant hereby undertakes to provide to the underwriters at the closing specified in the underwriting
agreement certificates in such denominations and registered in such names as required by the underwriters to permit prompt
delivery to each purchaser.

       Insofar as indemnification for liabilities arising under the Securities Act of 1933 may be permitted to directors, officers
and controlling persons of the registrant pursuant to the foregoing provisions, or otherwise, the registrant has been advised
that in the opinion of the Securities and Exchange Commission such indemnification is against public policy as expressed in
the Act and is, therefore, unenforceable. In the event that a claim for indemnification against such liabilities (other than the
payment by the registrant of expenses incurred or paid by a director, officer or controlling person of the registrant in the
successful defense of any action, suit or proceeding) is asserted by such director, officer or controlling person in connection
with the securities being registered, the registrant will, unless in the opinion of its counsel the matter has been settled by
controlling precedent, submit to a court of appropriate jurisdiction the question whether such indemnification by it is against
public policy as expressed in the Act and will be governed by the final adjudication of such issue.

       The undersigned Registrant hereby undertakes that:
       (1)     For purposes of determining any liability under the Securities Act of 1933, the information omitted from the form of
               prospectus filed as part of this registration statement in reliance upon Rule 430A and contained in a form of
               prospectus filed by the Registrant pursuant to Rule 424(b)(1) or (4) or 497(h) under the Securities Act shall be
               deemed to be part of this registration statement as of the time it was declared effective.
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      (2)   For the purpose of determining any liability under the Securities Act of 1933, each post-effective amendment that
            contains a form of prospectus shall be deemed to be a new registration statement relating to the securities
            offered therein, and the offering of such securities at that time shall be deemed to be the initial bona fide offering
            thereof.

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                                                         SIGNATURES

      Pursuant to the requirements of the Securities Act of 1933, the Registrant has duly caused this registration statement
on Form S-1 to be signed on its behalf by the undersigned, thereunto duly authorized, in San Francisco, California, on the 3rd
day of October, 2013.

                                                                               TWITTER, INC.

                                                                               By: /s/ Richard Costolo
                                                                                   Richard Costolo
                                                                                   Chief Executive Officer

                                                    POWER OF ATTORNEY

       KNOW ALL PERSONS BY THESE PRESENTS, that each person whose signature appears below hereby constitutes
and appoints Richard Costolo and Mike Gupta, and each of them, as his true and lawful attorney-in-fact and agent with full
power of substitution, for him in any and all capacities, to sign any and all amendments to this registration statement (including
post-effective amendments or any abbreviated registration statement and any amendments thereto filed pursuant to Rule
462(b) under the Securities Act of 1933 increasing the number of securities for which registration is sought), and to file the
same, with all exhibits thereto and other documents in connection therewith, with the Securities and Exchange Commission,
granting unto said attorney-in-fact, proxy and agent full power and authority to do and perform each and every act and thing
requisite and necessary to be done in connection therewith, as fully for all intents and purposes as he might or could do in
person, hereby ratifying and confirming all that said attorney-in-fact, proxy and agent, or his substitute, may lawfully do or
cause to be done by virtue hereof.

       Pursuant to the requirements of the Securities Act of 1933, this registration statement on Form S-1 has been signed by
the following persons in the capacities and on the dates indicated.

                      Signature                                            Title                                  Date


/s/ Richard Costolo                                  Chief Executive Officer and Director                    October 3, 2013
Richard Costolo                                      (Principal Executive Officer)

/s/ Mike Gupta                                       Chief Financial Officer                                 October 3, 2013
Mike Gupta                                           (Principal Financial Officer)

/s/ Luca Baratta                                     Vice President, Finance                                 October 3, 2013
Luca Baratta                                         (Principal Accounting Officer)

/s/ Jack Dorsey                                      Chairman and Director                                   October 3, 2013
Jack Dorsey

/s/ Peter Chernin                                    Director                                                October 3, 2013
Peter Chernin

/s/ Peter Currie                                     Director                                                October 3, 2013
Peter Currie

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                       Signature                         Title                   Date


/s/ Peter Fenton                       Director                             October 3, 2013
Peter Fenton

/s/ David Rosenblatt                   Director                             October 3, 2013
David Rosenblatt

/s/ Evan Williams                      Director                             October 3, 2013
Evan Williams

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